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JOSEPH H. HUNT
Assistant Attorney General, Civil Division
BILLY J. WILLIAMS
United States Attorney
AUGUST E. FLENTJE
Special Counsel, Civil Division
WILLIAM C. PEACHEY
Director, Office of Immigration Litigation
District Court Section
BRIAN C. WARD
Senior Litigation Counsel
COURTNEY E. MORAN
Trial Attorney
P.O. Box 868, Ben Franklin Station
Washington, D.C. 20044
(202) 514-5487
courtney.e.moran@usdoj.gov
Attorneys for Defendants

                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON
                                  PORTLAND DIVISION
                                              )
JOHN DOE #1, et al.,                          )   CASE NO. 3:19-cv-01743-SI
                                              )
              Plaintiffs,                     )
   v.                                         )
                                              )   DEFENDANTS’ DOCUMENTS
DONALD TRUMP, in his official capacity as     )   LODGED PURSUANT TO ECF NO. 134
President of the United States, et al.,       )
                                              )
              Defendants.                     )
                                              )
                                              )
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                                              Title                                                  Page(s)
17   Certification of the Supplementation of the Administrative Record                           000134 - 000135
     Public Comments in Response to the Notice of Information Collection Under OMB
18   Emergency Review: Immigrant Health Insurance Coverage
a    Declaration of Taylor Beaumont                                                                  000136
b    Spreadsheet of Public Comments                                                              000137 - 000228
c    Supporting PDF Letters and Comments Attached to Public Comments                             000229 - 000489
19   Supplementation to CA/VO Webinar on PP 9945 (October 24, 2019)
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21   CA Press Guidance on PP 9945 (October 4, 2019) [Names Unredacted]                           000497 - 000501
     CA Talking Points for Congressional Call on PP 9945 (October 4, 2019) [Names
22   Unredacted]                                                                                 000502 - 000506
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23   Unredacted]                                                                                 000507 - 000550
     U.S. Department of Health & Human Services, Public Health Service, Agency for
     Healthcare Research and Quality, Research In Action: The High Concentration of U.S.
24   Health Care Expenditures (June 2006)                                                        000551 - 000561
     Centers for Disease and Control Prevention, National Center for Chronic Disease
     Prevention and Health Promotion, Health and Economic Costs of Chronic Diseases
25   (page last reviewed March 23, 2020)                                                         000562 - 000564
     Department of Homeland Security, Notice of Proposed Rulemaking: Inadmissibility
26   on Public Charge Grounds , 83 Fed. Reg. 51,114 (Oct. 10, 2018)                              000565 - 000747
     Department of Homeland Security, Final Rule: Inadmissibility on Public Charge
27   Grounds , 84 Fed. Reg. 41,292 (Aug. 14, 2019)                                               000748 - 000964
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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF OREGON


JOHNDOE#l, eta!.,                              Case No. 3:19-cv-01743-SI


                  Plaintiffs,


V.                                             Judge: Hon. Michael H. Simon


DONALD TRUMP, eta!.,

                  Defendants.



                       DEFENDANTS' CERTIFICATION OF THE
                 SUPPLEMENTATION OF THE ADMINISTRATIVE RECORD



I, Brianne Marwaha, hereby state as follows:



     1. I am the Division Chief of t~e Immigration and Employment Division of the Office of Field
        Operations in the Visa Office in the Bureau of Consular Affairs of the U.S. Department of
        State.



     2. I have reviewed the court's opinion and order of April 13, 2020, ECF No. 134, and these
        documents are produced consistent with that order. I certify, based on my position and
        information provided to me in the course of my official duties, that the attached non-
        classified, non-privileged documents represent the full and complete supplementation of the
        administrative record, as required by the court, to the best of my knowledge.
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                                                                                        000135


Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the foregoi ng is
                                                                                            true and
correct.



Executed in Washington, D.C., this ~    ay of June, 2020.


~ t: U eMarwa ha

Division Chief, Immigration and Employment Division
Office of Field Operations
Visa Office
Bureau of Consular Affairs
U.S. Department of State
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                                                                                              000136




                       DECLARATION OF TAYLOR BEAUMONT

I, Taylor Beaumont, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746:


       1.   I am the Acting Chief of the Legislation and Regulations Division, Office of Legal Affairs,
            Office of Visa Services in the Bureau of Consular Affairs of the U.S. Department of State.

       2. My office is responsible for compiling public comments submitted in response to public
            notices that the Department of State publishes in the Federal Register regarding visa-related
            information collections.

       3. Based on information provided to me in the course of my official duties, I declare that the
            documents attached are the complete record of all public comments received by the
            Department of State, including those received through the Office of Management and
            Budget (0MB), in response to the Notice of Information Collection Under 0MB
            Emergency Review: Immigrant Health Insurance Coverage, published in the Federal
            Register on October 30, 2019. 84 Fed. Reg. 58, 1919 (Oct. 30, 2019). The information
            collection proposed in this public notice lists the standardized questions that consular
            officers would ask immigrant visa applicants covered by Presidential Proclamation 9945,
            Suspension of Entry of Immigrants Who Will Financially Burden the United States
            Healthcare System in Order to Protect the Availability of Healthcare Benefits for
            Americans, 84 Fed. Reg. 53, 991 (Oct. 9, 2019). The public notice instructed individuals
            to submit comments to the Office of Management and Budget by email, fax, or through
            submission of a comment on OMB' s online portal, www.regulations.gov. The public
            notice also instructed that individuals could submit comments directly to the Department
            of State at PRA_BurdenComments@state.gov, with specific instructions for labeling
            emails to facilitate the Department's sorting of comments attributable to this public notice.
            The attached spreadsheet represents a record of all comments received via these methods,
            including those comments received by 0MB, which then transmitted these comments to
            the Department of State. These methods also allowed individuals to attach supporting
            documentation in the form of letters or comments as PDF files. The spreadsheet notes the
            comments that were accompanied by a letter or comment as a PDF file with a notation that
            reads "See Attached."

Pursuant to 28 U.S.C. Section 1746, I declare under penalty of perjury that the foregoing is true and
correct.
            Executed in Washington, D.C. this 5th day of June, 2020.
                                                             ,--)     I
                                                ~iA~:.-,
                                                  Taylor Beaumont, Acting
                                                  Division Chief Visa Office
                                                  Bureau of Consular Affairs
                                                  U.S. Department of State
                        Case 3:19-cv-01743-SI   Document 149   Filed 06/09/20   Page 6 of 833
                                                                                           000137

                    A                       B
1             Name                    Organization




     El Bachir Bouchra




2


     Mouad Mour
3
4    Anonymous



     Moheb Nesseim


5
6    Naceri Almad



     Holly Miller


7




     Ahmed Soussi


8
9    Lhassan Bouja
     islam Ahmed Abdalla
10
11   Basma Hussein
     Mounir Benhachoum
12


     Manaf El Fatimi
13




     Anonymous



14
15   Anonymous
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                                                                                                    000138

                                                              C
1                                                        Comment

     my comment will be just a small words express the pain and the sadness we are in since the gouvermanr
     announce that new law of immigrant helath inssurance coverage i mean for real how we can get inssurance and
     we dont have a social secuirty its not enoupgh for you that we are far away from our spouses and our kids its
     not enoupgh for you that i cant see my wife that if she became pregnant and gonna have the birth for our baby
     im
     not gonna be abble to see him on he is first day of he is life pleaass pleass we are beggin you to cancel this new
     law we are not bad peoples why this racism against us why more and more racist laws against the immigrant
2

     i think that the last decisions of the president trump about the insurance are totally unfair. of course we will do
     our insurance when we will be at the USA but how we can do it from other countries.
     please. we are against this decision. so if you could. juat stop it
3
4    I dont agree with that . Trump takes easy issues
     This act is racist and not fair or even logic!
     How come you ask new legal immigrants to buy health insurance while they are still out of USA and dont even
     know how to apply for the same without a social security number!?
     And why this discrimination to the new immigrants while you allow many Amirican citizens to remain out of the
     health insurance umbrella !
5
6    too much exaggerated, I vote for the cancellation of this decree

     We should welcome all immigrants that are vetted by the appropriate Departments, regardless of their ability to
     immediately access health insurance. As a a health care provider I know how important health insurance is for
     families. However, there are often barriers to insurance coverage/enrollment that are outside of a patient's
     control. Immigrants should not be denied the opportunity to immigrate based on access to insurance coverage
     alone. This is discriminatory and not in keeping with the ideals of the USA.
7

     We should welcome all immigrants that are vetted by the appropriate Departments, regardless of their ability to
     immediately access health insurance. As a a health care provider I know how important health insurance is for
     families. However, there are often barriers to insurance coverage/enrollment that are outside of a patient's
     control. Immigrants should not be denied the opportunity to immigrate based on access to insurance coverage
     alone. This is discriminatory and not in keeping with the ideals of the USA.
8
9  I do not agree
   I reject this decision strongly because it is a decision that will make it impossible to leave and live in America,
10 and we come to America to live by god and ourselves.
11 I do not agree with this decision because it is unfair

     Please do not want to implement this law America will suffer from a shortage of labor with this strict law
12
   This law will be a grandicious in the right of migrant, migrant, which aspires to a good and stable life in America,
   America is a democratic country of a country of human rights, if the decision will be a hit to all dreams of
   migrants who dream of my best life in your country Thrace in the migration of America's mostly the most
13 hopeful in better life

   This is not only harmful to new immigrants but to current immigrants as well! By establishing they are able to
   pay for insurance immigrants will not be willing to come to the USA for having to prove they can afford health
   insurance.
   We will lose out on great talent, people, and innovators for applying this unnecessary requirements.
   If our ancestors were barred from entering the country because of finance, many of the rich today would not be
   able to say they are rich. We have to let everyone, man, women, and child to have the freedom to reach the
14 American dream
15 It's not a good idea , I think that , this rool makes people afread of USA
                     Case 3:19-cv-01743-SI   Document 149   Filed 06/09/20   Page 8 of 833
                                                                                        000139

                 A                       B




     Katherine Moran



16



     Ahmad Moahmed

17
18   Hamad Abdelsamad




     Justin Nguyen




19

     Sami Hani
20

     Soufiane Boussaidi
21




     Anonymous




22


     Haouach Samir
23


     Hazem Habib
24
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                                                                                                    000140

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     The expectation that immigrants be able to acquire insurance within thirty days is an unreasonable burden, one
     that even American citizens would have a difficult time fulfilling if it were required of them. America especially
     needs immigrants who are capable of doing the hard, low-paying work that doesn't come with benefits,
     agricultural and maintenance work that doesn't pay enough for expensive insurance plans. I believe that this
     requirement will damage the American economy if enacted, because if those jobs can't be filled by immigrants,
     there aren't Americans willing to pick fruit all day for three bucks an hour.
16
   This act is racist and not fair or even logic!
   How come you ask new legal immigrants to buy health insurance while they are still out of USA and dont even
   know how to apply for the same without a social security number!?
   And why this discrimination to the new immigrants while you allow many Amirican citizens to remain out of the
17 health insurance umbrella !
18 With full respect for all the American people, but this decision by many racists must be eased
   With this proclamation, the Trump administration claims it is trying to keep healthcare accessible to people who
   are already here. However, the administration has a long track record of supporting policies that make
   healthcare LESS accessible and LESS affordable, especially with its efforts to dismantle and reverse the gains
   made by the Affordable Care Act.
   Moreover, immigrants pay more into the health care system than they get out of it
   (https://www.latimes.com/business/la-fi-immigrant-healthcare-20181002-story.html). This proclamation isn't
   about saving money. It's clearly an attack on poorer immigrants from Asian and Latin countries who simply want
   to reunite with their families.
   The Trump administration should recognize the enormous economic and cultural capital that all immigrants
19 bring to this country and reverse this harmful proclamation.

     A racist law that contradicts the US Constitution and US values and harms the reputation of the United States
20
   This is not fair, this will harm the poor and middle class, who want to go to America to work and improve their
21 levels of living. Pleas do not apply this.

     This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
     New Immigrants, who are aspiring to come to the united states to start a new life and hope for a build a better
     future for themselves and thier families .The proclamation actually threatens to undermine the nations health.
     It restricts immigrants ability to purchase comprehensive health insurance available through the Affordable Care
     Act (ACA) marketplaces. The united States has always been a beacon for democracy promotion of fairness and
     equality . this new propsed law goes against those very principals and values that we take pride in as Americans
     .The proclamation allows short-term plans, which do not comply with the Affordable Care Acts consumer
     protections, to qualify as acceptable coverage. Frequently referred to as junk plans, short-term plans lack
     comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.
     Our nations Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
     rescind this proclamation.
22
   This decision does not serve America This is shattered for the dreams of many young people who want
   opportunities that were not available for several reasons I wish to help the displaced and yes to the American
23 dream
   Thank you for your interest in our opinion, this decision is unacceptable, we love the United States of America
   and we want to go to work and do not want to be effective in addition to that we want to benefit from your
24 scientific progress
                      Case 3:19-cv-01743-SI   Document 149   Filed 06/09/20   Page 10 of 833
                                                                                         000141

                  A                       B




     El Mokhtar Ezzaaboul




25
26   Adam Lofti


     Mohssine Wahiana
27




     Mouatax Billah
     Boudaoud




28
29   Anonymous

     Mohamed Ateya
30

     Anonymous
31
32   Badr Hada




     Katie Noe




33
34   Mohammad Daichou

     Zakriya Cheniguer
35
                               Immigrant & Refugee
     Collinn Cannon            Center of Northern
36                             Colorado
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     comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.
     Our nations Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
     rescind this proclamation.
25
26 we completely refuse this unfair rule.
   This proposed new declaration of health is not practical because most of those who submit to the American
   lottery the goal of changing his financial situation and also to his family.Most of the winners in the lottery are
   able to pay $ 4000 and this will cause him to reject the day of the interview, so I hope the US government not to
27 approve this decision.

     This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
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     comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.
     America Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
     rescind this proclamation.
28
29 The decision to cover health insurance for immigrants is definitely rejected
   This decision is unfair As medical insurance costs the individual and the family a very large amount in America
   and we come from the countries of the dollar exchange rate is very high I hope that this unfair decision of the
30 immigrant to the United States will be canceled
   This new law on health insurance is a barrier for new immigrants, who are looking for a new life and hope for a
31 better future for themselves and their families.
32 am against the health insurance decision of President Trump

     As a citizen concerned with fairness, I think it is unrealistic to require immigrants to know where their health
     insurance will come from prior to entering the United States. Even American citizens struggle to find and pay for
     health insurance in this country. It is incredibly challenging to navigate the process of finding affordable health
     insurance without an employer who is providing it, and many immigrants do not enter with employee benefits.
     The language and cultural barrier for entering immigrants makes this process more daunting. Fortunately, once
     people arrive in country, there are state, federal, and local resources available to help immigrants find health
     insurance, but someone coming from outside the country could not be expected to access those resources
     before entering. This regulation is just another strategy to keep people with modest financial resources from
     entering the country, when the truth is that our country and our employers need and value immigrants who
     want to come here to do humble work and create a good life for their families. That is the essence of the
     American dream. I hope this administration will not rush through this unwise regulation.
33
34 I do not support this decision and I hope it will be reviewed. Thank you
   Hi . First we thank you for giving us a chance to give our opinion. I am one of the first to reject the health
   insurance decision. I really reject the health insurance decision. it's has harm to immigrants. I hope you also
35 reject this decision and thank you very much


     Pleasee see attached comments.
36
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                                                                                       000143

                A                       B




     Mouataz Billah
     Boudaoud




37


     Anonymous
38




     Jane Ross Laguna




39




     Lane Pickett


40
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                                                                                                    000144

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     This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
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     comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.
     America Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
     rescind this proclamation.
37

     The health insurance decision is unjust and unfair, so we ask the US government to prevent the implementation
     of this decision because it harms the public interest. Thank you. With all my respect
38
   Dear Sir/Madam:
   I do not believe the draft form DS-5541 should be approved, especially on an emergency basis with 2 day's
   notice. The only emergency is that a proclamation was made on 10/4/19 which stated the new policy would be
   effective 11/3/19. The draft form was only made available today for review. Comments are due by tomorrow.
   The new policy goes into effect in less than one week. This extremely narrow window did not allow enough time
   for thoughtful comments from stakeholders and for OMB to properly review the form and it's impact. Asking for
   emergency review is a waste of taxpayer resources given the mere 180 days that the approval would be valid.
   Instead of approving this form, the DOS should delay implementing PP 9945 until a proper roll-out may be
   managed.
   If this form were approved and put into use next Monday 11/4/19, the result will be chaos for Embassies,
   Consulates, immigrant visa applicants and their families and legal representatives due to inconsistent immigrant
   visa interview decisions and added costs of delayed decisions. The roll-out to all interviewing officers
   throughout the world would be haphazard at best. The fact that the information would be taken verbally at the
   interview would ensure confusion especially since there's already a lack of transparency at immigrant interviews
   abroad which legal representatives are not allowed to attend. Furthermore, burdening interviewing officers
   with an additional estimated 10 minute verbal process would be a hardship to them as they already are under
   pressure with an overwhelming number of applications at busier posts.
   While the form itself is straightforward, the information requested is not. The form requires applicants to
   answer questions that many U.S. citizens cannot. This is especially true for applicants who plan to obtain health
   insurance through an employer, as do over 50% of the U.S. population per KFF.org. Immigrants sometimes wait
   up to 6 months to receive their Legal Permanent Resident card once they arrive in the U.S. due to backlogs at
   USCIS. They cannot work until they receive it. Once they have proper documentation and obtain a job, most
   employers have a waiting period of a few months before employees are eligible for health insurance coverage.
   These people would be able to answer the questionnaire but not until about a year after they arrive in the U.S.
   Requiring the information at the interview is a wealth test that will discriminate against working families and I
39 believe that is un-American, if not illegal.

   I cannot believe there is only a 2 day comment period for people to oppose this proclamation.
   This proclamation is cruel, and is another attempt for the Trump Administration to harm immigrants and their
   families. Health care can be very confusing - even if immigrants coming into the U.S. who will be covered still
   might not have the documents to prove they will be covered. However, that should not be a prerequisite for
   someone to enter into our country to better their lives.
40
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                                                                                         000145

                  A                       B




     Djawad Delimi




41
   Berrouanee
42 Abderrahmane




     Anonymous




43
44 Yassine Ammouri
45 Marzouq jamila
46 Abdelhakim Ouafi


     Saad Harti
47




     Mary Johnson




48


     Samantha Watier
49
50 Anonymous
51 ABDERRAHIM TOUCH
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                                                                                                    000146

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     comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.

     Our nations Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
     rescind this proclamation.
41

     I'm against this decision.
42



     This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
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     comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.

     Our nations Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
     rescind this proclamation.
43
44 I categorically reject this decision because it is unfair to immigrants to the United States
45 This decision is invalid. I hope that it will be suspended
46 I don't accept this new decision

     I'm not agree with this new law and especially the DS5540, I always think that USA have the best democracy in
     the world but with DS5540 you don't give chance to poor people to go to the USA and hwo knows may be a
     poor person turne to be rich, so please don't prevent poor people to get to the USA
47

     This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
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     Our nations Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
     rescind this proclamation.
48
   Collecting health insurance information from immigrant visa applicants living abroad is an unnecessary and
   unfair burden on applicants. This is a transparent stunt to make it easier to deny applicants visas for no good
49 reason.
50 No.This is a difficult decision that causes problems Refusal to reject a decision
51 I don't like this law, please don't. For me it is difficult for new immigrants.
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                                                                                       000147

                A                       B




     Moustafa Kaddouri




52


     Jessica Voerding
53

     Salim Hamoumi
54



     Anonymous

55



     Moheb Nesseim

56
57   Ahmed Soussi
     islam Ahmed Adballa
58


     Manaf El Fatimi
59




     Anonymous




60




     Katharine Moran


61
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                                                                                                    000148

                                                              C



     This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
     New Immigrants, who are aspiring to come to the united states to start a new life and hope for a build a better
     future for themselves and thier families .The proclamation actually threatens to undermine the nations health.
     It restricts immigrants ability to purchase comprehensive health insurance available through the Affordable Care
     Act (ACA) marketplaces. The united States has always been a beacon for democracy promotion of fairness and
     equality . this new propsed law goes against those very principals and values that we take pride in as Americans
     .The proclamation allows short-term plans, which do not comply with the Affordable Care Acts consumer
     protections, to qualify as acceptable coverage. Frequently referred to as junk plans, short-term plans lack
     comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.

     Our nations Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
     rescind this proclamation.
52
     This is an inhumane and unethical proposal for human beings who are seeking to take care of themselves. It is
     necessary to dismiss this proposal as The United States of America is made richer by a diversity of people and
53   traditions AND we are a nation that cares - about ALL.
     We do not agree with this decision because it will affect the group that will migrate to the USA, which will only
54   go to the rich and they cannot work
     i think dv lottery health insurance is not a solution because there are so many poor people there is no money
     how to pay for 1 year insurance and people who are looking for dv lottrey to travel and make and build new life
     and work to help their families
     and money from a year of health insurance if he has to spend it will not conduct DV does a project in the
55   country originate better than go to use
     This act is racist and not fair or even logic!
     How come you ask new legal immigrants to buy health insurance while they are still out of USA and dont even
     know how to apply for the same without a social security number!?
     And why this discrimination to the new immigrants while you allow many Amirican citizens to remain out of the
56   health insurance umbrella !
57   I do not agree with the law on health insurance
     I reject this decision strongly because it is a decision that will make it impossible to leave and live in America,
58   and we come to America to live by god and ourselves.
     This law will be a grandicious in the right of migrant, migrant, which aspires to a good and stable life in America,
     America is a democratic country of a country of human rights, if the decision will be a hit to all dreams of
     migrants who dream of my best life in your country Thrace in the migration of America's mostly the most
59   hopeful in better life
     This is not only harmful to new immigrants but to current immigrants as well! By establishing they are able to
     pay for insurance immigrants will not be willing to come to the USA for having to prove they can afford health
     insurance.

     We will lose out on great talent, people, and innovators for applying this unnecessary requirements.

     If our ancestors were barred from entering the country because of finance, many of the rich today would not be
     able to say they are rich. We have to let everyone, man, women, and child to have the freedom to reach the
     American dream.
60

     The expectation that immigrants be able to acquire insurance within thirty days is an unreasonable burden, one
     that even American citizens would have a difficult time fulfilling if it were required of them. America especially
     needs immigrants who are capable of doing the hard, low-paying work that doesn't come with benefits,
     agricultural and maintenance work that doesn't pay enough for expensive insurance plans. I believe that this
     requirement will damage the American economy if enacted, because if those jobs can't be filled by immigrants,
     there aren't Americans willing to pick fruit all day for three bucks an hour.
61
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                                                                                         000149

                 A                        B




     Ahmad Moahmed


62




     Anonymous Lubenau




63

     Ibrahim Darwish
64



     Kheir eddine Boutalba

65
   test person test
66 lastname



     anonymous

67
68   abdelfattah lahmiche




     Mohamed Belhachmi




69
70   Wessam Elbouaz
     Anonymous
71


     Ahmed Bader
72


     Cristina Ortiz
73
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                                                                                                   000150

                                                             C
     This act is racist and not fair or even logic!
     How come you ask new legal immigrants to buy health insurance while they are still out of USA and dont even
     know how to apply for the same without a social security number!?
     And why this discrimination to the new immigrants while you allow many Amirican citizens to remain out of the
     health insurance umbrella !
62

     I oppose the Department of State's decision to begin collecting immigrant health insurance coverage
     information. I do not see this as an emergency situation at all. In fact, I don't even see this as necessary.
     Uninsured immigrants are certainly not the main problem with our health care system. In fact, research shows
     that immigrants are healthier than most US citizens when they enter this country. Furthermore, there are many
     barriers to an incoming immigrant to obtain health insurance coverage. Some plans require waiting periods of
     up to 90 days. Moreover, the proclamation does not allow for the subsidized plans which are eligible for lawful
     permanent residents. Instead it allows short-term plans that are often priced very high and do not offer the
     coverage deemed essential by the Affordable Care Act. Please re-consider this new requirement. It doesn't
     seem to be about promoting health, but rather about limiting new immigration. Please remember that our
     nation was founded by immigrants and we can not try to unravel or change the characteristic diversity of our
     country to meet the desires of our current President!
63
   It's not important to convince the people to do med insurance before they travel
64 I hope that you will find other way to insure that people have the coast for this

     This law is of no use except to prevent citizens from immigrating to America or at least makes it difficult for
     them. In this country !! I think that immigration to America is aimed at cultural diversity and the search for
     intellectual brains that help the development of the country, but these decisions prevent this, I hope to reject
     this decision because it affects more negatively than affects affirmatively
65

     this is my test
66

     This decision is unfair and it is necessary to at least hold a global referendum for this decision, because it is
     unfair to deny a citizen or any person who wants to work and earn his power in halal, but the applicant for the
     random lottery is a human being and not anything else. Humanity is a universal principle, and the shadow of the
     lottery is not rich, but more than those who are advancing are desperate.
67
68   I DO NOT ACCEPT THIS DECISION

     to whom it may concern, This new proposed Health proclamation is neither practical, nor fair as it is targeting a
     specific group of people, New Immigrants, who are aspiring to come to the united States to start a new life and
     hope for a build a better future for themselves and thier families. The proclamation actually threatens to
     undermine the nation 's health. It restricts immigrants' ability to purchase comprehensive health insurance
     available through the Affordable Care Act (ACA) marketplaces. The united States has always been a beacon for
     democracy promotion of fairness and equality. this new propsed law goes against those very principals and
     values that We take pride in as Americans. The proclamation allows short - term plans, which do not comply
     with the Affordable Care Act 's consumer protections, to qualify as acceptable "coverage. Frequently referred to
     as" junk plans, "short - term plans lack comprehensive coverage and can be prohibitively expensive for
     individuals with pre - existing conditions.Our nations Healthcare deserves better. So please before the
     proclamation goes into effect.We call on you to rescind this proclamation,
69
70 I reject this decision
   TO Whom it may concern.. I agree to the decision because it is the right decision and achieves social justice for
71 all who live on American Land... Greeting to you

     we hope that the federal judges over the USA they will stop this proclaim forever because it`s not familiar with
     the USA values .
     IMMIGRATION IS A HUMAN`S RIGHTS BUT THE RIGHT PRESIDENT OF USA FIGHT AGAINST US FOR NO REASON .
72
   This is an unnecessary and illogical restriction on immigration that attempts to create a catch-22 situation in
   which no matter what immigrants do, they get classified as ineligible. Its unconscionable and should never be
   enacted as policy. In addition, limiting the public comment period to only 2 days is an affront to transparency
73 and democracy.
                       Case 3:19-cv-01743-SI   Document 149   Filed 06/09/20   Page 20 of 833
                                                                                          000151

                  A                        B

     Benslimane Olthman
74




     Abderrahim Aboul-
     kacim




75

     County Welfare           County Welfare Directors
     Directors Association of Association of California
     California Association   Association
76


     Anonymous
77




     Mohamed Aliouat




78


     Sena Kindy
79

     hafida El Briri
80



     Kathleen Kerr

81
82   Elhassan Bensarag




     Khalid Douane




83
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                                                                                                       000152

                                                                C

     Insurance a 1 month is good but 12 month I'm not agree with it way they put obstacles at green holder
74

     Hello United States as you know and everyone knows is that President Donald Trump has put in place the law
     that everyone considers a border is the law of medical insurance we reassure you that everyone in the world is
     not sick and of course that this law is very logical but not at first because we are not all rich in addition we are in
     charge of the costs of procedures in case of selection, because the rich we do not need lottery to get the visa, I
     reassure you that most immigrants are qualified, they rely on themselves we are asked to give us a chance, with
     taxes and taxes the state builds hospitals, schools institutions. .. And these taxes of course come from the
     inhabitants and we will never benefit if we do not attribute its creation it's logical but we just want to have
     work, after we will pay our tax and of course contribution we promise you to become good citezen please
     please please please give people a chance
75


     Please see attached comments.
76

     This decision on health insurance is gonna harm all people who want to enter the United States of America
     through random immigration This decision is not good and we do not want to implement it
77

     This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
     New Immigrants, who are aspiring to come to the united states to start a new life and hope for a build a better
     future for themselves and thier families .The proclamation actually threatens to undermine the nations health.
     It restricts immigrants ability to purchase comprehensive health insurance available through the Affordable Care
     Act (ACA) marketplaces. The united States has always been a beacon for democracy promotion of fairness and
     equality . this new propsed law goes against those very principals and values that we take pride in as Americans
     .The proclamation allows short-term plans, which do not comply with the Affordable Care Acts consumer
     protections, to qualify as acceptable coverage. Frequently referred to as junk plans, short-term plans lack
     comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.

     Our nations Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
     rescind this proclamation.
78

     the decision
     concerning insurance for foreigners has no sense I hope that will be canceled as soon as possible
79
   I completely reject the health insurance decision because it will cause problems and does not suit us I hope that
80 this decision will be deleted. Thank you
   This is an unduly burdensome regulation that should not be implemented. This will add to paperwork,
   government bureaucracy, the backlog to our immigration system, and is disrespectful of human rights.
   Immigrants are not an economic burden; repeated research proves that they contribute more economically.
   This regulation is motivated by a nationalist anti-immigrant agenda that is racist. A 2 day comment period is an
81 insult to democracy.
82 I am against this law because it shatters all the dreams of new immigrants

     to whom it may concern, This new proposed Health proclamation is neither practical, nor fair as it is targeting a
     specific group of people, New Immigrants, who are aspiring to come to the united States to start a new life and
     hope for a build a better future for themselves and thier families. The proclamation actually threatens to
     undermine the nation 's health. It restricts immigrants' ability to purchase comprehensive health insurance
     available through the Affordable Care Act (ACA) marketplaces. The united States has always been a beacon for
     democracy promotion of fairness and equality. this new propsed law goes against those very principals and
     values that We take pride in as Americans. The proclamation allows short - term plans, which do not comply
     with the Affordable Care Act 's consumer protections, to qualify as acceptable "coverage. Frequently referred to
     as" junk plans, "short - term plans lack comprehensive coverage and can be prohibitively expensive for
     individuals with pre - existing conditions.Our nations Healthcare deserves better. So please before the
     proclamation goes into effect.We call on you to rescind this proclamation,
83
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                                                                                          000153

                   A                       B

     Mohammed Bachir
84




     Richard Bedwell



85




     Nagy Youssef




86

     Ilyas Hadji
87




     Anonymous


88

     Houssam Bechar
89




     Ouassila Ferrah



90

     Mohcine Taqine
91


     Mouhcine Fliki
92


     Azizi Hassan
93
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                                                                                                       000154

                                                                C
   Please don t pass this law it will kill the American dream.America is a country based and founded by the hands
84 of immigrants..even George washington will not pass this law
   The government is moving the goal posts and changing the rules of the game for those who have already spent
   thousands of dollars and waited years for a visa. This new requirement should only apply to those who start a
   petition after November 3 or the affective date.
   The private insurance industry is not prepared for this new requirement. Most, if not all, companies will not
   provide a quote until the immigrant is in the US.
   This is a heavy burden to meet and for many they cannot meet it. Please reconsider the timeline for this new
   requirement.
85 One day for comments is outrageous. What is the emergency?


     as a winner of the 2020 diversity lottery visa i see a this proclamation is a Racist and unfair call, because if this
     proclamation is applied about two-thirds the number of legal immigrants admitted will not be qualified to pass
     the visa interview, Not having health insurance does not necessarily mean that immigrants are a financial
     burden on the U.S. healthcare system. A Tufts University School of Medicine study asserts that when immigrants
     arrive in the U.S., they are healthier than most U.S. citizens and do not need or use as much healthcare as native-
     born Americans. And, if they eventually obtain health insurance, they actually subsidize U.S. citizens because
     they pay premiums but do not draw as much out of the system. While the data is limited, eliminating the
     barriers to coverage actually might be more beneficial to the healthcare system than preventing
     immigration.even those who will be able to gain coverage may not be able to do that within 30 days of entry
     because, under federal law, group health plans and those offering group health insurance coverage can have
     waiting periods of as long as 90 days which lead us to realize that this proclamation is ILLEGAL . all this info
     above is based on Documented studies for several Universities and organization, and finally when i applied for
     this lottery i had a dream , the american dream to be accurate, to live in a country that respect the human and
     his rights , a country believes in equality, a country encourage you to work hard so you can live a respectful life, i
     won this lottery after 6 years of applying, now after i won and read about this proclamation, i see is a big chance
     that my dream will be destroyed . PLEASE STOP THIS PROCLAMATION
86
   Holle .This decision that I did not like and does not suit anyone who wants to immigrate to America, please hope
87 to review this unfair decision

     I'm disagree with decision will take for insurance coverage,
     Then will winner in DV,I don't have capacity to supported 12 months,
     My goal for DV is change my life for better because l live bad life her in Africa ,for that please don't applicable ,if
     I have this money I will stay in my country,don't clause the door of my dream.
     Have nice day .
     Mohammad azoukenni form Morocco
88
   I reject this decision because it has negative effects on immigrants in general due to living conditions that vary
89 from person to person

     cordially
     This new proposed proclamation does not arouse any individual his dream of having an American nationality for
     him and for these children, and to have a better future. The proclamation is a great deterrent to the rich, which
     contradicts with the United States, that it is a country of democracy and equality.
     I have a dream help me realize it
     greetings
90
   I hope that the American government will not ratify this law because it will weaken our chances of success and
91 realizing our dreams in your beautiful country.
   Hi my wife is notify me that i cant get a insurance health while im still outside of the USA because i will need a
   social security number first so its make my case very difficult
   I hope this decision shall not come into force
92 Thank you sincerely
   We do not want this proposal regarding the insurance law that you are requested to cancel as soon as possible.
   New immgrants who aspiring to come to usa to start new life and hope for a build new futur for themselves and
93 for their families.
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                                                                                        000155

                 A                       B

      Walid Houari
94




      Brahim Amennou




95



      Ahmed Abbas

96




      Issam Romih




97


      Adam Cheild
98


      Rachid Lhbouli
99



      Mahmoud Youssef

100
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                                                                                                      000156

                                                                C
      I think this law is unfair and unjust and racist against immigrants, it violates the foundations of the United States
94    in addition to violating a human right of the United Nations.
      Hi,
      It is regrettable that such a decision is issued and I do not agree with this resolution. We respect the law of the
      United States of America and its sponsorship of human rights. We don't want to be a burden on anyone. But
      such a decision would cripple the ability of foreign nationals to emigrate. Of course, health insurance is a duty
      for every immigrant. And decent living our duty to respect the laws and the performance of taxes as well as
      health insurance only ask to reconsider this decision and reverse it.
      Thank you for reading.
95

      America country of dreams and freedom. Always help people who suffering in their counteries. We hope to go
      to america to feel free and work hard to make a good future to our children. This proclamation is destroy this
      dream. We will come to work hard not to take any aids. We dont need any aids. Please please think in people
      and families that looking for better life to their children and that what america always does. God bless america
96

      This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
      New Immigrants, who are aspiring to come to the united states to start a new life and hope for a build a better
      future for themselves and thier families .The proclamation actually threatens to undermine the nations health.
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      protections, to qualify as acceptable coverage. Frequently referred to as junk plans, short-term plans lack
      comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.

      Our nations Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
      rescind this proclamatio
97
   I totally refuse this law young immigrants who in 90% of th cases dont have a stable salary or good amount of
   money Will .be good projects To invest in we can five birth to new entrepreneurs and great directors by giving
98 them the chance to enter the us without charges

      Please, as immigrants, we categorically reject this decision (health insurance) because of its severe damage and
      many disadvantages to many immigrants and those involved in it, which is not in everyone's interest.
99
      Presidential Proclamation about Health Insurance
      Immigrant Health Insurance Coverage
      Bureau of Consular Affairs, Visa Office (CA/VO).
      DS-5541
100
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                A                         B




                             National Assosicaitn of
      Nicole Lamourex
                             Free and Charitable Clinics




101




      Anonymous




102




      Malih Boujemaa




103
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                                                                                                     000158

                                                               C



      To whom it may concern:

      On behalf of the National Association of Free and Charitable Clinics, our member organizations, our volunteers
      and our patients, we appreciate the opportunity to write in response Docket Number: DOS-2019-0039
      Emergency Submission Comment on Immigrant Health Insurance Coverage.

      We support a nation where all are truly equal and where individuals have access to comprehensive, affordable
      health care. Annually, our member organizations provide health care at no required charge to 2 million people
      in this country who do not have health insurance, and we do this with no federal dollars.

      The first concern that we have with the proclamation is that it restricts immigrants ability to purchase
      comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces. Congress
      elected to make lawfully residing immigrants eligible for subsidized marketplace coverage because doing so
      advances the health of our nation. The proclamation puts the nations health at risk by ignoring Congress and
      instead requiring individuals to buy costly and less comprehensive health coverage.

      The second concern we have with the proclamation is that it allows for the purchase of short-term health
      insurance plans that lack comprehensive coverage and can be prohibitively expensive for individuals with pre-
      existing conditions. This may very well lead to higher health care costs for providers, when patients cant afford
      needed health care that is not covered by these bare- bones plans.

      Thank you for reviewing our comments.

101

      to whom it may concern, This new proposed Health proclamation is neither practical, nor fair as it is targeting a
      specific group of people, New Immigrants, who are aspiring to come to the united States to start a new life and
      hope for a build a better future for themselves and thier families. The proclamation actually threatens to
      undermine the nation 's health. It restricts immigrants' ability to purchase comprehensive health insurance
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      values that We take pride in as Americans. The proclamation allows short - term plans, which do not comply
      with the Affordable Care Act 's consumer protections, to qualify as acceptable "coverage. Frequently referred to
      as" junk plans, "short - term plans lack comprehensive coverage and can be prohibitively expensive for
      individuals with pre - existing conditions.Our nations Healthcare deserves better. So please before the
      proclamation goes into effect.We call on you to rescind this proclamation
102

      This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
      New Immigrants, who are aspiring to come to the united states to start a new life and hope for a build a better
      future for themselves and thier families .The proclamation actually threatens to undermine the nations health.
      It restricts immigrants ability to purchase comprehensive health insurance available through the Affordable Care
      Act (ACA) marketplaces. The united States has always been a beacon for democracy promotion of fairness and
      equality . this new propsed law goes against those very principals and values that we take pride in as Americans
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103
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                                                                                       000159

                A                       B




      Mohamed Essam




104

      Anonymous
105


      Mouhamed Yousef
106

      Ahmed Moustafa         EGYPT
107




                             Chamberlain Sanchez
      Diana Chamberlain
                             Immigration Law PLC




108
109   KKllm Hussein
      Anonymous
110



      Fahd Mohamed Hamed

111
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                                                                                                     000160

                                                               C
      Greetings sir,
      Hope you are doing well..
      About the Presidential Proclamation on Health Care for immigrants. How would immigrants from poor countries
      with low income to be able to provide such a thing.
      We try to immigrate to the US to live a better life and also become extraordinary in our fields to achieve for us
      and the US a great success.
      USA will become our country and we will do our best to help in building it in every major.
      But how is that possible if the immigration is only for rich people.
      Kindly it is a major request to end this law.
104   Best Regards.
      Actually i feel ashamed to see this discrimination in the presidential proclamation which is totally against the US
105   constitution
      How can America be the country of liberties and equality?
      It makes an unjust decision to prevent certain people from entering its territoryIs this the justice that America is
      talking about?
106   I reject Trump's decision on health insurance
      I disagree with our health insurance decision that will force many visa applicants not to go to America This
107   decision must be well studied


      This 48-hour comment period and the underlying proclamation itself is not necessitated by any emergency
      under any definition of that word. A regular comment period should be utilized.

      This regulation - and the underlying proclamation itself - is misguided and illegal. In addition, any alleged
      "emergency" is of this Administration's own doing. The Administration has created its own pressure on the
      healthcare system as the number of people in the United States without health insurance increased last year for
      the first time in more than a decade due to elimination of the individual mandate and the market being flooded
      with expensive, substandard plans. Forcing immigrant visa applicants to purchase an expensive, unnecessary,
      substandard plan in order to be granted a visa has no valid basis in law, equity, or common sense.

      This proclamation is not about improving access to health care or making sure hospitals are paid. Instead, it
      serves as yet another constraint on legal immigration, imposing a wealth test that will disproportionately harm
      people of color. Like the Muslim ban or the enjoined public charge regulation, it sends one message: if you're
      not white and wealthy, you're not welcome here.

      The proclamation actually threatens to undermine the nations health. It restricts immigrants ability to purchase
      comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces. Congress
      already allows for subsidized plans for LPRs and others lawfully present. The proclamation forces individuals to
      unnecessarily buy costly and less comprehensive junk health coverage such as short-term plans that do not
      comply with the Affordable Care Acts consumer protections.

      The President is just looking for another way to have immigrants applications for legal status be denied.

108
109 no no no
    I hope that the American government will not ratify this law because it will weaken our chances of success and
110 realizing our dreams in your beautiful country.
    You are killing the dreams of peoples to travel to America .. And to live in them .. These are very difficult
    decisions for most immigration providers .. Most providers are waiting for immigration from year to year ..
    Because if they have enough money for tourist travel or any other country .. How can I take insurance Healthy
    outside of America .. Or get a lot of money before travelingPlease review the decisions .. and allow Lottery
111 winners to travel as before
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                                                                                            000161

                    A                        B




                                 NYU Law School, The Safe
      Lenni Benson
                                 Passage Project




112
113   Rachid Chikhi
      Mbarek filali
114
115 Sarah Leneave
116 Mehdi Badr Eddine
117 Abderrahim Ennaouri
118 Samah Shady


      Sana Ait Hammadi
119

      Jaouad Kari
120

      Anonymous
121


      Mohamed Hussein
122
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                                                                                                     000162

                                                               C
      To the Office of Manage and Budget and the Burea of Immigrant Affairs, Department of State:
      Docket Number: DOS-2019-0039
      I will comment briefly. First, a two day notice period for comment on something as complex as providing
      evidence of health insurance is unconscionable. As you well know, the immigrant visa process is a lengthy
      complicated process where families may spend months gathering documents and satisfying the myriad
      requirements of the Immigration and Nationality Act (INA). To obtain a certificate of insurance or insurance
      coverage before a family member has entered the United States may be very difficult as not all employers or
      insurance contracts automatically allow the addition of dependents. Moreover, some insurers may require
      identification information such as a social security number. An immigrant cannot obtain a social security
      number until he or she has successfully completed the immigration process (unless she or he was already
      authorized to study or work within the United States). Asking an immigrant to orally certify compliance when
      the insurance industry is unlikely to be prepared is not appropriate and will generate lengthy and unnecessary
      stress and delays for both the agencies and the individuals in the process.

      Second, the assessment that this collection will only take ten minutes is patently misleading. While it is possible
      a DOS interviewer might complete a form in ten minutes, it would take me hours to explain all of the options in
      health care coverage to a well educated person and one already conversant with U.S. customs and business
      practice. The alternative of proving wealth as adequate to cover health coverage is too vague and too
      subjective. The process articulated invites arbitrary and inconsistent treatment of immigrants across consulates.
      This is not a fair or orderly process. The rush to satisfy and solve an illusory problem is simply wrong. The
      attorneys and administrators within the Department of State and OMB surely realize this and I urge you to use
      your talent, experience and discretion to withdraw this ill conceived approach.

      Third, I do not mean to waive other meaningful objections about the fundamental legal authority to make this
      requirement of insurance before immigration or other legal objections. There are many but the manner in
112   which you opened this comment period and the 48 hour period necessitates this simple and summary
113   No accepted that forms
      Hir for me i do not accept this decision because it is very expensive and I will not be able to pay insurance dues
114   for twelve months
115   This rule is unfair and will be very difficult to enforce.
116   Im not agree with this law
117   I am really against this law. Thank you for noting that it is against the principle of devircity
118   I don't approve of Trump's law. This is illegal
      Hi in my opinion, this decision is not agreed completly,because it is a major obstacle to entry into America.we
      love America and we have a great desire to work and also our children dream of studying and working in
      USA.we have a great experience and skills to work there.please please do not break our ambitions with this
119   dicision.thank you so much.from morroco
      We, as immigrants from poor countries, do not have enough money for this decision. We do not want to apply
120   this law because it is really unfair to the poor.
      I reject that decision Because it's too much of a decision, since no immigrant can afford health insurance for 12
121   months.
      This act is not fair or even logic!
      How come you ask new legal immigrants to buy health insurance while they are still out of USA and dont even
122   know how to apply for the same without a social security number!?
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                                                                                         000163

                  A                       B




      Walid Omar




123

      John Mina
124

      Anonymous
125

      Franois Mho
126


      Anonymous
127




      Zizo Med




128
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      as a winner of the 2020 diversity lottery visa i see a this proclamation is a Racist and unfair call, because if this
      proclamation is applied about two-thirds the number of legal immigrants admitted will not be qualified to pass
      the visa interview, Not having health insurance does not necessarily mean that immigrants are a financial
      burden on the U.S. healthcare system. A Tufts University School of Medicine study asserts that when immigrants
      arrive in the U.S., they are healthier than most U.S. citizens and do not need or use as much healthcare as native-
      born Americans. And, if they eventually obtain health insurance, they actually subsidize U.S. citizens because
      they pay premiums but do not draw as much out of the system. While the data is limited, eliminating the
      barriers to coverage actually might be more beneficial to the healthcare system than preventing
      immigration.even those who will be able to gain coverage may not be able to do that within 30 days of entry
      because, under federal law, group health plans and those offering group health insurance coverage can have
      waiting periods of as long as 90 days which lead us to realize that this proclamation is ILLEGAL . all this info
      above is based on Documented studies for several Universities and organization, and finally when i applied for
      this lottery i had a dream , the american dream to be accurate, to live in a country that respect the human and
      his rights , a country believes in equality, a country encourage you to work hard so you can live a respectful life, i
      won this lottery after 6 years of applying, now after i won and read about this proclamation, i see is a big chance
      that my dream will be destroyed . PLEASE STOP THIS PROCLAMATION
123
    Actually i feel ashamed to see this discrimination in the presidential proclamation which is totally against the US
124 constitution
    Actually i feel ashamed to see this discrimination in the presidential proclamation which is totally against the US
125 constitution

      I Reject the Decision in Question Presidential Proclamation about Immigrant Health Insurance Coverage
126

      Hello, I am a participant in the American lottery and this decision will affect us all. Please appeal to this decision
      and we are ready to move to America to complete my study and work, God willing.
127

      This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
      New Immigrants, who are aspiring to come to the united states to start a new life and hope for a build a better
      future for themselves and thier families .The proclamation actually threatens to undermine the nations health.
      It restricts immigrants ability to purchase comprehensive health insurance available through the Affordable Care
      Act (ACA) marketplaces. The united States has always been a beacon for democracy promotion of fairness and
      equality . this new propsed law goes against those very principals and values that we take pride in as Americans
      .The proclamation allows short-term plans, which do not comply with the Affordable Care Acts consumer
      protections, to qualify as acceptable coverage. Frequently referred to as junk plans, short-term plans lack
      comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.

      Our nations Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
      rescind this proclamation.
       This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
      New Immigrants, who are aspiring to come to the united states to start a new life and hope for a build a better
      future for themselves and thier families .The proclamation actually threatens to undermine the nations health.
      It restricts immigrants ability to purchase comprehensive health insurance available through the Affordable Care
      Act (ACA) marketplaces. The united States has always been a beacon for democracy promotion of fairness and
      equality . this new propsed law goes against those very principals and values that we take pride in as Americans
      .The proclamation allows short-term plans, which do not comply with the Affordable Care Acts consumer
      protections, to qualify as acceptable coverage. Frequently referred to as junk plans, short-term plans lack
      comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.

      Our nations Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
      rescind this proclamation.
128
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                                                                                        000165

                 A                       B




      Anonymous




129




      Karim Ettoukhsini


130

      Joseph youssef Refaat
131




      Amine Kourbali




132




      Kamal Belhadj




133




      Awad Hussein


134

      Remon Selah
135
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                                                                                                       000166

                                                                C

      This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
      New Immigrants, who are aspiring to come to the united states to start a new life and hope for a build a better
      future for themselves and thier families .The proclamation actually threatens to undermine the nations health.
      It restricts immigrants ability to purchase comprehensive health insurance available through the Affordable Care
      Act (ACA) marketplaces. The united States has always been a beacon for democracy promotion of fairness and
      equality . this new propsed law goes against those very principals and values that we take pride in as Americans
      .The proclamation allows short-term plans, which do not comply with the Affordable Care Acts consumer
      protections, to qualify as acceptable coverage. Frequently referred to as junk plans, short-term plans lack
      comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.

      Our nations Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
      rescind this proclamation.
129
    Lawyers
    We do not agree with such decisions. Because most of the candidates are middle class if not poor. But with the
    great qualifications the American world needs, I hope you will take my opinion into account and cancel this at
    your ban meeting on Friday.
    Think you
130 Karim
    I don't aprrove the health insurance act because its a racist decision and this is not in accordance with the
131 American principles

      This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
      New Immigrants, who are aspiring to come to the united states to start a new life and hope for a build a better
      future for themselves and thier families .The proclamation actually threatens to undermine the nations health.
      It restricts immigrants ability to purchase comprehensive health insurance available through the Affordable Care
      Act (ACA) marketplaces. The united States has always been a beacon for democracy promotion of fairness and
      equality . this new propsed law goes against those very principals and values that we take pride in as Americans
      .The proclamation allows short-term plans, which do not comply with the Affordable Care Acts consumer
      protections, to qualify as acceptable coverage. Frequently referred to as junk plans, short-term plans lack
      comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.

      Our nations Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
      rescind this proclamation.
132

      to whom it may concern, This new proposed Health proclamation is neither practical, nor fair as it is targeting a
      specific group of people, New Immigrants, who are aspiring to come to the united States to start a new life and
      hope for a build a better future for themselves and thier families. The proclamation actually threatens to
      undermine the nation 's health. It restricts immigrants' ability to purchase comprehensive health insurance
      available through the Affordable Care Act (ACA) marketplaces. The united States has always been a beacon for
      democracy promotion of fairness and equality. this new propsed law goes against those very principals and
      values that We take pride in as Americans. The proclamation allows short - term plans, which do not comply
      with the Affordable Care Act 's consumer protections, to qualify as acceptable "coverage. Frequently referred to
      as" junk plans, "short - term plans lack comprehensive coverage and can be prohibitively expensive for
      individuals with pre - existing conditions.Our nations Healthcare deserves better. So please before the
      proclamation goes into effect.We call on you to rescind this proclamation
133

      The decision of healthcare insurance in the case of winning the lottery in which it is difficult for the applicant,
      especially if the winner is the wife ... If the wife can prove that her husband can pay health insurance to all
      family members and he has the money to meet all the demands of healthcare insurance and all related to
      insurance. The subject is not clear regarding this case, please clarify further
      thank you very much
134
    Actually i feel ashamed to see this discrimination in the presidential proclamation which is totally against the US
135 constitution
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                                                                                        000167

                 A                       B



      Ehab Ashmawy

136




      Mohamed Mowafy


137




      karim abdelfattah




138




      George Hepner




139



      Hazem Mohamed

140
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                                                                                                    000168

                                                              C
    This act is racist and not fair or even logic!
    How come you ask new legal immigrants to buy health insurance while they are still out of USA and dont even
    know how to apply for the same without a social security number!?
    And why this discrimination to the new immigrants while you allow many Amirican citizens to remain out of the
136 health insurance umbrella!

      I dont accept for this paper
      Because in the interview the consulate asks me about my financial ability to live in the U.S. after moving there
      and of course this financial ability will afford me to have a medical insurance plan.
      Also i cant have medical insurance plan without having a social security no. In the U.S.
      Which I will not have before moving to the U.S.
137
    we are very disappointed from such a law that is not legal to be effective because america is land of freedom
    and chances
    many of DV lottery winners will not be able to provide medical insurance at the interview
    but also they willing to cove them selves with medical insurance while access states land
    you can make them sign that they will not take a free governmental medical insurance
    but not prevent them from a right to live a better life for them and for their children's
    they immigrate to america to work and to contribute in the life with hard work
    so i hope this law will be declined
    to be as always
138 america for all
    I am writing in response to the Emergency Submission Comment on Immigrant Health Insurance Coverage. This
    48-hour comment periodand the entire underlying proclamationis not an emergency. It is simply another effort
    by the Trump Administration to create This is just the latest brick in your administrations invisible wall that puts
    an extremist racial and political agenda ahead of the nations interests and the law of the land.

      We support a nation where all are truly equal, immigration is recognized as a strength, and individuals have
      access to the essentials of life without regard to where they were born. As part of this vision, we support access
      to comprehensive, affordable health careand efforts to strengthen and protect the hospitals, community health
      centers, and providers who work tirelessly to deliver high quality care to their patients. Unfortunately, due
      largely to the policies of this administration, the number of people in the United States without health insurance
      increased last year for the first time in more than a decade.

      I oppose the collection of information on health insurance status as proposed in this Emergency Submission
      Comment. I also oppose the underlying October 4, 2019 proclamation mandating that visa applicants abroad
      buy health insurance. This proclamation is not about improving access to health care or making sure hospitals
      are paid. Instead, it serves as yet another constraint on legal immigration, imposing a wealth test that will
      disproportionately harm the poor, who tend not to be white and are often NOT Christian. Like the Muslim ban
      or the public charge regulation, it sends one message: if you're not white and wealthy, you're not welcome
      here.

      The proclamation actually threatens to undermine the nations health. It restricts immigrants ability to purchase
      comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces. Congress
      elected to make lawfully residing immigrants eligible for subsidized marketplace coverage because doing so
      advances the health of our nation. The proclamation puts the nations health at risk by ignoring Congress and
      instead requiring individuals to buy costly and less comprehensive health coverage.
139
    This act is racist and not fair or even logic!
    How come you ask new legal immigrants to buy health insurance while they are still out of USA and dont even
    know how to apply for the same without a social security number!?
    And why this discrimination to the new immigrants while you allow many Amirican citizens to remain out of the
140 health insurance umbrella !
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                                                                                         000169

                 A                        B




      Kermit Kubitz




141




      Mahsa Khanbabai




142


      Sayed Bin Fadl
143
144   mohammed ragab ali
                              National Health Law
      Sarah Grusin
145                           program
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                                                                                                  000170

                                                                 C
    This information collection:
    Seems hastily and undesignedly implemented.
    Contains a variety of exceptions (at the designation of the Sec of State) which could be arbitrary and
    unreasonably applied.
    Not productive of the desired result because as other comments have suggested may encourage acquisition of
    ineffective or expensive or inadequate insurance coverage.
    Not clearly mandated by a public purpose or national interest.
    Inconsistent with the objectives of national health insurance policy.
    The information collection should be denied and not implemented until more fully analyzed, justified, and
141 organized so as to not produce arbitrary, unreasonable, and ineffective results.
    Dear Ms. Herndon and State Desk Officer:

      I respectfully submit the following comments in response to the above-referenced notice.I am a practicing
      immigration attorney and I am extremely concerned about this notice for a number of reasons. In the 20 years I
      have been practicing, I have not seen a comment window this narrow, it is underheard of, as is its taking effect
      on a Sunday.

      The proclamation could undermine the health of many individuals and restricts the ability to purchase
      comprehensive health insurance available through the ACA marketplaces. Congress elected to make lawfully
      residing immigrants eligible for subsidized marketplace coverage because it advances the health of our nation.
      The proclamation puts the nations health at risk by ignoring Congress and requiring individuals to buy costly &
      less comprehensive health coverage.

      The proclamation allows short-term plans, which do not comply with the Affordable Care Acts consumer
      protections, to qualify as acceptable coverage. This does not promote health insurance & could increase costs
      for providers.

      The ICR Should Not be Granted because it must undergo a 60-Day and 30-Day Notice for public comment.
      Emergency approvals of ICRs, without appropriate public notice and comment, should only be granted in rare
      instances and only when certain legal criteria have been met, which have not in this case. The agency must
      demonstrate the existence of 1 of 4 circumstances and it has failed to do so.

    (1) Public harm is likely if normal procedures are followed; or
    (2) An unanticipated event has occurred; or
    (3) The use of normal procedures is likely to prevent or disrupt the
142 collection; or

    This decision is extremely racist! If enforced, this decision would end the dreams of some immigrants
    who cannot determine financial competence outside the states. Some immigrants come to the United
    States to work hard. And amend their status in a legal manner
143
144   This act is racist and not fair or even logic! its against americas values
      Please see attached comments.
145
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                              Coalition for Humane
      Isabel Sanchez
                              Immigrant Rights (CHIRLA)




146
                              Center for Elder Law and
      Karen Nicolson
147                           Justice (CELJ)
148   Rebecca Novick          The Legal Aid Society




      Anonymous




149
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                                                                C
      On behalf of the Coalition for Humane Immigrant Rights (CHIRLA), the largest statewide immigrant rights
      organization in California, I write in response to the Department of States notice of request for emergency
      review and approval of, as well public comment regarding, information collection on Immigrant Health
      Insurance Coverage.

      This 48-hour review and comment period as well as the entire underlying Presidential Proclamation 9945 (PP
      9945") are not characterized by any kind of emergency. However, it may well create one for Californian and
      other families across the nation. This is just the latest brick in the Administrations invisible wall that puts an
      extremist anti-immigrant agenda ahead of the nations interests and the law of the land. The justifications found
      in PP 9945 stress the issues raised by uninsured individuals yet the criteria outlined to purportedly address this
      are ill-conceived and would lead to a larger number of underinsured in this country.

      California families will particularly devastated by this proclamation. With the states high cost of living, many
      families turn to Covered California, the states Affordable Care Act (ACA) marketplace, or Medi-Cal, the states
      Medicaid program, for affordable health insurance. These comprehensive plans do not meet the arbitrary, cruel
      and diffuse criteria of the proclamation even though they are the very plans in which many immigrant family
      members would normally enroll upon entering the United States.

      We support a nation where all are truly equal, immigration is recognized as a strength, and individuals have
      access to the essentials of life without regard to where they were born. As part of this vision, we support access
      to comprehensive, affordable health careand efforts to strengthen and protect the hospitals, community health
      centers, and providers who work tirelessly to deliver high quality care to their patients. Unfortunately, due
      largely to the policies of this administration, the number of people in the United States without health insurance
      increased last year for the first time in more than a decade.

146   This proclamation is not about improving access to health care or making sure hospitals are paid. Instead, it
      Please see attached comments.
147
148   Please see attached comments.
      I oppose the collection of information on health insurance status as proposed in this Emergency Submission
      Comment. In addition, I we strongly oppose the underlying October 4, 2019 proclamation mandating that visa
      applicants abroad buy health insurance. This proclamation is not about improving access to health care or
      making sure hospitals are paid. Instead, it serves as yet another constraint on legal immigration, imposing a
      wealth test that will disproportionately harm people of color. Like the Muslim ban or the public charge
      regulation, it sends one message: if you're not white and wealthy, you're not welcome here.

      In addition, the 48-hour comment period is inexcusable. The entire underlying proclamation is not an
      emergency. This is just the latest brick in your administrations invisible wall that puts an extremist racial and
      political agenda ahead of the nations interests and the law of the land.

    The Department states that it is soliciting public comments to permit the Department to:
    Evaluate whether the proposed information collection is necessary for the proper functions of the Department.
    My Response: It is absolutely not necessary for the Department of State to know whether people applying for
    resident status have health insurance. In no way
    Evaluate the accuracy of our estimate of the time and cost burden of this proposed collection, including the
    validity of the methodology and assumptions used.
    My Response: This initiative is a complete waste of time at taxpayers expense. There is no way that accurate
    information will be obtained, and the net effect will be to turn away all but the wealthiest applicants and/or to
    increase the burden of uncompensated care on hospitals and clinics. It will worsen the problem that it purports
    to solve.
    Enhance the quality, utility, and clarity of the information to be collected.
    My Response: The quality of the information is likely to be poor. Few American citizens understand the
    complexities of our health-care insurance system. Health insurance literacy is estimated to be as low as 4% in
    some areas of the country. The federal government has funded navigators and eligibility specialists to help
149 people choose health care plans, even with the much-needed simplifications and requirements that the ACA
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                                                                                          000173

                  A                        B




      Anonymous


150
                               American Occupational
      Laura Hooper             Therapy Association
151                            (AOTA)

      Smail Nacer
152
                               Oregon Primary Care
      Marty Carty
153                            Association




      Madeline Cronin




154

                               Catholic Legal information
      Jill Marie Bussey
                               Network (CLINIC)
155
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                                                                                                    000174

                                                               C
    ok i respect roles but how i have mony and i come to usa looking for life for hope for country
    how i have mony
    and how we reach in my case just i need work only work need life and stay only this
    ok i respect roles but how i have mony and i come to usa looking for life for hope for country
    how i have mony
150 and how we reach in my case just i need work only work need life and stay only this


      Please see attached comments.
151
    IM NOT AGREE WITH PRESIDENT ABOUT THIS NEW LAW BECAUSE IMMIGRANT PEOPLE WHOS WILL BE IN
    UNITED STATES THEY ARE POOR PEOPLE AND THEY WANT TO GO THERE JUST FOR WORK AND FOR THERE
152 FAMILY.

      Please see attached comments.
153

      I am writing in response to the Emergency Submission Comment on Immigrant Health Insurance Coverage. This
      48-hour comment periodand the entire underlying proclamationis not an emergency. What are you really
      doing? It is your administrations creation of a wall that puts an extremist racial and political agenda ahead of
      the law and ultimately the U.S.' interests.

      The U.S. is supposed to be a nation where all are truly equal, immigration is recognized as a strength, and
      individuals have access to the essentials of life without regard to where they were born. As part of this vision,
      we support access to comprehensive, affordable health careand efforts to strengthen and protect the hospitals,
      community health centers, and providers who work tirelessly to deliver high quality care to their patients.
      Unfortunately, due largely to the policies of this administration, the number of people in the United States
      without health insurance increased last year for the first time in more than a decade.

      I oppose the collection of information on health insurance status as proposed in this Emergency Submission
      Comment. I strongly oppose the underlying October 4, 2019 proclamation mandating that visa applicants
      abroad buy health insurance. This proclamation is not about improving access to health care or making sure
      hospitals are paid. Instead, it serves as yet another constraint on legal immigration, imposing a wealth test that
      will disproportionately harm people of color. Like the Muslim ban or the public charge regulation, it sends one
      message: if you're not white and wealthy, you're not welcome here.

      The proclamation actually threatens to undermine the nations health. It restricts immigrants ability to purchase
      comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces. Congress
      elected to make lawfully residing immigrants eligible for subsidized marketplace coverage because doing so
      advances the health of our nation. The proclamation puts the nations health at risk by ignoring Congress and
      instead requiring individuals to buy costly and less comprehensive health coverage.
154


      Please see attached comments.
155
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      Rachel Fabi




156




      New York State             New York State
      Department of Health       Department of Health




157

      Mnsure- Minnesota's        Mnsure- Minnesota's
      State Based                State Based Marketplace
      Marketplace Exchange       Exchange
158
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      I am writing to oppose the proposed regulation change. This policy is unjust, economically wrong-headed, and
      incompatible with American values. Additionally, the "emergency" procedure through which this policy is being
      promulgated does not comply with the Administrative Procedure Act.

      It is unjust to require immigrants to provide proof of insurance in order to obtain a visa. This is especially
      problematic given the current administration's stated opposition to the individual mandate under the
      Affordable Care Act. If American citizens cannot be required to have insurance, there is no valid reason why a
      different standard should apply to immigrants.

      Immigrants are excluded from most public insurance, so this policy is essentially a wealth test, not unlike the
      one implemented by the currently enjoined public charge rule. Given that several courts have held that the
      public charge rule is likely to fail on the merits, it seems likely that this policy will similarly fail. It is a waste of
      taxpayer dollars to pursue this policy. Additionally, immigrants tend to be healthier than American citizens.
      Excluding them from entry because of their lack of insurance, like excluding them from public insurance, simply
      deprives the American public of healthy economic contributors who would help subsidize the risk pool of public
      insurance.

      Finally, the emergency procedure being applied for this rule is a transparent attempt to ram this policy through
      without appropriate public engagement. The public notice and comment period exists to give citizens an
      opportunity to express their views on new regulations, and depriving citizens of this right is inappropriate and
      wrong.

156

      The New York State Department of Health strongly opposes a requirement that immigrants obtain health
      insurance prior to entering the United States, as this obligation would be nearly impossible to meet for many
      immigrants. Although moving to the U.S. from another country would qualify an individual for a Special
      Enrollment Period for a Qualified Health Plan (QHP), pursuant to the Affordable Care Act, U.S. residency is an
      eligibility requirement to apply for such coverage. Further, requiring that coverage be in place within 30 days of
      entry similarly ensures that most immigrants will not be able to comply, as such coverage is often not available
      for 45 days. Although this coverage may ultimately be available retroactively, it is highly unlikely that immigrants
      would have details relating to such insurance as required in the proposed rule. The policy does not afford
      consular officers any discretion in relaxing these requirements. For these reasons, the policy announced in the
      proclamation fails to address the realities of how immigrants actually obtain health insurance.
157


      Please see attached comments.
158
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               A                       B




      Miranda Brown




159




      Anonymous



160
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                                                                                                     000178

                                                               C
      I am writing in response to the Emergency Submission Comment on Immigrant Health Insurance Coverage. I
      help people enroll in health coverage. I support access to comprehensive, affordable health care for all people
      in the United Statesand I support efforts to strengthen and protect the hospitals, community health centers,
      and providers who work tirelessly to deliver high quality care to their patients. Unfortunately, due largely to the
      policies of this administration, the number of people in the United States without health insurance increased
      last year for the first time in more than a decade.

      I oppose the collection of information on health insurance status as proposed in this Emergency Submission
      Comment. I strongly oppose the underlying October 4, 2019 proclamation mandating that visa applicants
      abroad buy health insurance. This proclamation is not about improving access to health care or making sure
      hospitals are paid. Instead, it serves as yet another constraint on legal immigration, imposing a wealth test that
      will disproportionately harm people of color.

      The proclamation actually threatens to undermine the nations health. It restricts immigrants ability to purchase
      comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces. Congress
      elected to make lawfully residing immigrants eligible for subsidized marketplace coverage because doing so
      advances the health of our nation. The proclamation puts the nations health at risk by ignoring Congress and
      instead requiring individuals to buy costly and less comprehensive health coverage.

    Notably, the proclamation allows short-term plans, which do not comply with the Affordable Care Acts
    consumer protections, to qualify as acceptable coverage. Frequently referred to as junk plans, short-term plans
    lack comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.
    This isnt promoting health insurancethis is putting a barrier between individuals and the coverage for which
    they are eligible. In fact, forcing immigrants to avoid comprehensive insurance could increase uncompensated
    care costs for providers, when patients cant afford needed health care that is not covered by these bare- bones
159 plans.

    This burdensome requirement does not increase access to health care or ensure future coverage. Instead, it is
    another hoop for intending immigrants to jump through that is a windfall for insurance companies and does
    nothing to benefit our society. It is a rule that encourages intending immigrants to likely purchase the cheapest
    plans available, plans that will not serve their health care needs but will simply meet the superfluous
    requirements this government mandates to keep legal immigration low. This rule will harm people of color and
    individuals who cannot afford legal representation. This proclamation should be rescinded before its effective
    date.
160
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                                                                                           000179

                 A                          B




      Daniel Goldstein




161
                               Cente ron Budgetand
      Shelby Gonzales
162                            Policy priorities
                               Connect for Health
      Molly McClurg
163                            Colorado
      Salma Haddi
164
                               Silver State Health
      Jamie Sawyer             Insurance Exchange
165                            Nevada
      Omar Abdelhamid
166

                               Covered California (state-
      Jason Burruel
                               based marketplace)
167
168 Anonymous
169 Charlotte Bruce            Children's HealthWatch

      Samantha Nelson
170

      Gehad Darwish
171




      Mohamad Arja


172
173   Victor Garcia
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                                                                                                       000180

                                                                C
      I teach in a school of public health (although my comments are my own) and I am concerned that actions taken
      with respect to this proclamation interferes with the health of the American population. The mission of public
      health is to assure the conditions in which people can be healthy, and while it may seem that this proclamation
      is narrow in scope, it fundamentally changes one of the defining stories of the United States. My research is in
      narrative ethics, and I explore how the stories that circulate in our society impacts the health of the population.
      Our founding narrative, that we are a nation of immigrants and that we stand as a beacon of hope and refuge
      for people fleeing violence and persecution is fundamentally altered with this proclamation. According to two
      important sources (referenced below) it is based on unsubstantiated evidence, will make it more difficult for
      immigrants from lower income countries to flee to safety, misrepresents the reasons why health care costs are
      burdensome (especially to US citizens), and creates a mandate for health insurance which the Republican
      controlled Senate thought was wrong and eliminated. With respect to this last point, the proclamation's claim
      that an insurance mandate is now required for one group of people but not for another is both hypocrisy and an
      injustice. This proclamation is another step in trying to create a story through policy to convince the American
      people that all immigration should be curtailed; most importantly, it takes us away from our founding story that
      immigration makes the United States a strong and powerful nation (sources below)

      https://www.healthaffairs.org/do/10.1377/hblog20191028.484680/full/

      https://www.migrationpolicy.org/news/health-insurance-test-green-card-applicants-could-sharply-cut-future-us-
      legal-immigration

      https://www.forbes.com/sites/steveforbes/2016/10/04/immigration-made-us-strong-and-can-do-so-
      again/#f6e8cd4fd385

      https://www.vox.com/policy-and-politics/2017/4/3/14624918/the-case-for-immigration
161

      Please see attached comments.
162

      Please see attached comments.
163
    This decision is unfair to many youth seeking their dreams to become successful professionals who could
164 contribute positively to your country.


      Please see attached comments.
165
    I refuse and oppose this resolution because it's personal affair, yes you have the right to not let the person
166 become a public charge but not to make them completely unable to migrate.


      Please see attached comments.
167
168 I disagree with proclamation and hope to be suspended soon ..
169 Please see attached comments.
    This would place further hardship on new Americans entering this country, and would again be targeting low-
    income immigrants. We need to help people as they transition into their New American life, and this could have
170 devastating effects to some individuals.
    I am against the health insurance decision and with respect to the US government this decision should be
171 commuted

      I disagree with this decision because it creates inequality between people and is really strict. It is an obstacle to
      applicants for immigration and we decided to emigrate to the United States because it enjoys justice and
      equality between social classes and does not discriminate between societies and does not have racism against
      any person, society or state, so the United States of America remains at the forefront of the countries that the
      individual wishes to emigrate. So we dream of getting American citizenship
172
173   Please see attached comments.
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                                                                                     000181

              A                       B




      Magdy Omran




174
    DC Health Benefit      DC Health Benefit
175 Exchange Authority     Exchange Auhtority




      Anonymous




176
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                                                                                                      000182

                                                                C


      as a winner of the 2020 diversity lottery visa i see a this proclamation is a Racist and unfair call, because if this
      proclamation is applied about two-thirds the number of legal immigrants admitted will not be qualified to pass
      the visa interview, Not having health insurance does not necessarily mean that immigrants are a financial
      burden on the U.S. healthcare system. A Tufts University School of Medicine study asserts that when immigrants
      arrive in the U.S., they are healthier than most U.S. citizens and do not need or use as much healthcare as native-
      born Americans. And, if they eventually obtain health insurance, they actually subsidize U.S. citizens because
      they pay premiums but do not draw as much out of the system. While the data is limited, eliminating the
      barriers to coverage actually might be more beneficial to the healthcare system than preventing
      immigration.even those who will be able to gain coverage may not be able to do that within 30 days of entry
      because, under federal law, group health plans and those offering group health insurance coverage can have
      waiting periods of as long as 90 days which lead us to realize that this proclamation is ILLEGAL . all this info
      above is based on Documented studies for several Universities and organization, and finally when i applied for
      this lottery i had a dream , the american dream to be accurate, to live in a country that respect the human and
      his rights , a country believes in equality, a country encourage you to work hard so you can live a respectful life, i
      won this lottery after 6 years of applying, now after i won and read about this proclamation, i see is a big chance
      that my dream will be destroyed . PLEASE STOP THIS PROCLAMATION
174

      Please see attached comments.
175
      To the tune of Josie and the Pussycats (Curtin, Hanna and Barbera)

      Donnie and the Kleptocrats
      Swamp dwelling sewer rats
      Free stuff for plutocrats
      Dumb, scum, a crooked bunch
      Lobbyists let's power lunch.

      Plunder, Plunder!

      See us lie to Congress
      (It's such a thrill)
      We're open for business
      (In unmarked bills)
      Love to see pollution
      (And oil spills)
      We are Putin's willing fools
      Come and join us right-wing tools.

      C'mon, Losers!

    Donnie and the Kleptocrats
    Spray tans in MAGA hats
    Dictator welcome mats
    Any time there's stuff to steal
176 We're all set to wheel and deal.
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                                                                                           000183

                 A                          B




                              National Disability Rights
      Diane Howard
                              Network (NDRN)




177




      Anonymous




178
    Disability Rights
                              Disability Rights California
179 California


      rachel Wener
180


      Cheryl Roeming
181
                              Virginia Garcia Memorial
      Felicita Monteblanco
182                           Health Center


      Margaret Bradbury

183
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                                                                                                     000184

                                                               C

      Please see attached comments.

      The National Disability Rights Network (NDRN) writes to express our strong opposition to the October 4, 2019
      Presidential Proclamation mandating that visa applicants abroad buy certain approved health insurance and the
      efforts by the State Department and the Office of Management and Budget to implement the proclamation. The
      health insurance requirement is arbitrary and discriminatory against people with disabilities and pre-existing
      conditions.

    NDRN is the non-profit membership organization for the federally mandated Protection and Advocacy (P&A)
    agencies for individuals with disabilities. The P&As were established by Congress to protect the rights of people
    with disabilities and their families. The P&As are in all 50 states, the District of Columbia, Puerto Rico, and the
    U.S. Territories (American Samoa, Guam, Northern Mariana Islands, and the U.S. Virgin Islands), and there is a
    P&A affiliated with the Native American Consortium in the Four Corners region of the Southwest. Collectively,
    the 57 P&As are the largest provider of legally based advocacy services to people with disabilities in the United
177
    States.

      This sort of policy would might make sense if there was a mandate on US citizens and taxpayers to pay for
      health insurance to reduce the cost of the healthcare system and if working immigrants had access to the same
      medical coverage options as citizens. However, this administration worked very hard to make sure that the
      healthcare mandate and related fines were repealed and that American citizens are not required to have
      insurance, pay for insurance, or have a plan to cover forseeable medical expenses - thus increasing overall
      healthcare costs.

      This makes this policy a direct attack attack on immigrants, and about limiting immigration to those who are
      wealthy, have a job lined up, or who have no "preexisting medical conditions". (How does the administration
      intend to define preexisting medical conditions? Is that like "had a previous pregnancy" or "had cancer three
      years ago" or currently diabetic?) America is supposed to be a land of opportunity - not only legally open to
      those who already have financial means.
178

      Please see attached comments.
179

      I strongly oppose this proposed regulation. It is a cruel way to keep families from reuniting in the US, and
      discriminating against all but the very richest immigrants. We should be an open and welcoming country.
180
    I believe it is something that should be considered on a case by case basis. In my profession, the impact that this
    rule will have could be detrimental. While I understand the need for the revisions, more study and discussion
181 should happen before this takes effect.

      Please see attached comments.
182

      I think that immigrants should be provided for their basic human rights and that there should be no increase in
      the burden for them to have health insurance as a condition to their status. Especially nonsensical when this
      administration has happily dismantled the ACA with the intended consequence of ensuring poor black and
      brown people are made sick so that they are no longer a threat to the GOP.
183
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                  A                          B




      PAUL GLICKMAN




184
185   Richard Calderone         Tahirih Justice Center

      Steve Nelson
186

      Anonymous
187




      Ellen Sullivan




188
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                                                                 C
      The undersigned organizations write in response to the Emergency Submission Comment on Immigrant Health
      Insurance Coverage. This 48-hour comment periodand the entire underlying proclamationis not an emergency.
      This is just the latest brick in your administrations invisible wall that puts an extremist racial and political agenda
      ahead of the nations interests and the law of the land.

      We support a nation where all are truly equal, immigration is recognized as a strength, and individuals have
      access to the essentials of life without regard to where they were born. As part of this vision, we support access
      to comprehensive, affordable health careand efforts to strengthen and protect the hospitals, community health
      centers, and providers who work tirelessly to deliver high quality care to their patients. Unfortunately, due
      largely to the policies of this administration, the number of people in the United States without health insurance
      increased last year for the first time in more than a decade.

      We specifically oppose the collection of information on health insurance status as proposed in this Emergency
      Submission Comment. In fact, we strongly oppose the underlying October 4, 2019 proclamation mandating that
      visa applicants abroad buy health insurance. This proclamation is not about improving access to health care or
      making sure hospitals are paid. Instead, it serves as yet another constraint on legal immigration, imposing a
      wealth test that will disproportionately harm people of color. Like the Muslim ban or the public charge
      regulation, it sends one message: if you're not white and wealthy, you're not welcome here.

      The proclamation actually threatens to undermine the nations health. It restricts immigrants ability to purchase
      comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces. Congress
      elected to make lawfully residing immigrants eligible for subsidized marketplace coverage because doing so
      advances the health of our nation. The proclamation puts the nations health at risk by ignoring Congress and
      instead requiring individuals to buy costly and less comprehensive health coverage.

184   Notably, the proclamation allows short-term plans, which do not comply with the Affordable Care Acts
185   Please see attached comments.
      I am disagree with new law of immigrant health insurance coverage , as American citizen thats will effect me if i
      want to apply for my parent who lives outside the united states to move to live with me as permanent resident.
186
    Really i feel ashamed to see this discrimination in the presidential proclamation which is totally against the US
187 constitution
    I write I in response to the Emergency Submission Comment on Immigrant Health Insurance Coverage. This 48-
    hour comment periodand the entire underlying proclamationis not an emergency. This is just the latest brick in
    your administrations invisible wall that puts an extremist racial and political agenda ahead of the nations
    interests and the law of the land.

      I support a nation where all are truly equal, immigration is recognized as a strength, and individuals have access
      to the essentials of life without regard to where they were born. As part of this vision, I support access to
      comprehensive, affordable health careand efforts to strengthen and protect the hospitals, community health
      centers, and providers who work tirelessly to deliver high quality care to their patients. Unfortunately, due
      largely to the policies of this administration, the number of people in the United States without health insurance
      increased last year for the first time in more than a decade.

      I specifically oppose the collection of information on health insurance status as proposed in this Emergency
      Submission Comment. In fact, we strongly oppose the underlying October 4, 2019 proclamation mandating that
      visa applicants abroad buy health insurance. This proclamation is not about improving access to health care or
      making sure hospitals are paid. Instead, it serves as yet another constraint on legal immigration, imposing a
      wealth test that will disproportionately harm people of color. Like the Muslim ban or the public charge
      regulation, it sends one message: if you're not white and wealthy, you're not welcome here.

      The proclamation actually threatens to undermine the nations health. It restricts immigrants ability to purchase
      comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces. Congress
      elected to make lawfully residing immigrants eligible for subsidized marketplace coverage because doing so
      advances the health of our nation. The proclamation puts the nations health at risk by ignoring Congress and
      instead requiring individuals to buy costly and less comprehensive health coverage.

188   Notably, the proclamation allows short-term plans, which do not comply with the Affordable Care Acts
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                                                                                            000187

                   A                         B
189   Dania Palanker            Georgetown university




                                National Association of
                                Pediatric Nurse
                                Practitioners




190
    Alameda County Board Alameda County (CA)
191 of Supervisors       Board of Supervisors
      Hila Ahmed
192




      Fern Jones




193
    Center for Public           Center for Public
194 Representation              Representaton
195 David Super                 Georgetown law




      Rita Espinosa Arguello    Colectiva Legal del Pueblo




196
                                American medical
      James madara
197                             Association
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                                                                                                    000188

                                                              C
189   Please see attached comments.

      On behalf of more than 9,000 pediatric nurse practitioners (PNPs) and pediatric-focused advanced practice
      registered nurses (APRNs) committed to providing optimal health care to children, the National Association of
      Pediatric Nurse Practitioners (NAPNAP) appreciates the opportunity to provide its comments in response to the
      October 30, 2019 notice of information collection (Docket # DOS-2019-0039; Public Notice 10934 Notice of
      Information Collection Under OMB Emergency Review: Immigrant Health Insurance Coverage; 84 Fed. Reg. 210;
      pp. 58199-58200) requesting review and approval of information collection on immigrant health insurance
      coverage in accordance with the emergency review procedures of the Paperwork Reduction Act of 1995.
      NAPNAP strongly objects to the use of these procedures, permitting only a 48-hour comment period, for an
      administrative action that is clearly not an emergency, and for rushing to implement a policy that would cause
      significant harm to immigrant children and their families.

      We believe the only appropriate solution is for the administration to immediately rescind this proclamation
      before it goes into effect and to follow the appropriate administrative and regulatory procedures before it
      considers proposing a policy that would have such seriously harmful effects on the health of immigrant children
      and families. Please see attached comments.
190

      Please see attached comments.
191
    am against the decision to impose health coverage on immigrants because it is against the principles of the
192 United States of America because it is a country of freedom and equality

      The proclamation would be harmful because it increases barriers to healthcare access and could increase
      healthcare costs.

      The information collected is not necessary for the proper functioning of the Department of State.
      Thank you.
      The proclamation would be harmful because it increases barriers to healthcare access and could increase
      healthcare costs.

      The information collected is not necessary for the proper functioning of the Department of State.
      Thank you.
193

      Please see attached comments.
194
195   Please see attached comments.

      This 48-hour comment periodand the entire underlying proclamationis not an emergency. The Administration
      has created its own pressure on the healthcare system as the number of people in the United States without
      health insurance increased last year for the first time in more than a decade due to elimination of the individual
      mandate and the market being flooded with expensive substandard plans.
      This proclamation is not about improving access to health care or making sure hospitals are paid. Instead, it
      serves as yet another constraint on legal immigration, imposing a wealth test that will disproportionately harm
      people of color. Like the Muslim ban or the public charge regulation, it sends one message: if you're not white
      and wealthy, you're not welcome here.
      The proclamation actually threatens to undermine the nations health. It restricts immigrants ability to purchase
      comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces in which
      Congress already allows for subsidized plans for LPRs and others lawfully present. The proclamation forces
      individuals to buy costly and less comprehensive junk health coverage such as short-term plans that do not
      comply with the Affordable Care Acts consumer protections.
      The President is just looking for another way to have immigrants applications for legal status be denied.
      We call on you to rescind this proclamation before it goes into effect.
196

      Please see attached comments.
197
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                                                                                           000189

                    A                       B




      Wael Hassan




198




      T S Boileau




199

      Asmaa Sobhy
200
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                                                                                                      000190

                                                                C


      as a winner of the 2020 diversity lottery visa i see a this proclamation is a Racist and unfair call, because if this
      proclamation is applied about two-thirds the number of legal immigrants admitted will not be qualified to pass
      the visa interview, Not having health insurance does not necessarily mean that immigrants are a financial
      burden on the U.S. healthcare system. A Tufts University School of Medicine study asserts that when immigrants
      arrive in the U.S., they are healthier than most U.S. citizens and do not need or use as much healthcare as native-
      born Americans. And, if they eventually obtain health insurance, they actually subsidize U.S. citizens because
      they pay premiums but do not draw as much out of the system. While the data is limited, eliminating the
      barriers to coverage actually might be more beneficial to the healthcare system than preventing
      immigration.even those who will be able to gain coverage may not be able to do that within 30 days of entry
      because, under federal law, group health plans and those offering group health insurance coverage can have
      waiting periods of as long as 90 days which lead us to realize that this proclamation is ILLEGAL . all this info
      above is based on Documented studies for several Universities and organization, and finally when i applied for
      this lottery i had a dream , the american dream to be accurate, to live in a country that respect the human and
      his rights , a country believes in equality, a country encourage you to work hard so you can live a respectful life, i
      won this lottery after 4 years of applying, now after i won and read about this proclamation, i see is a big chance
      that my dream will be destroyed . PLEASE STOP THIS PROCLAMATION
198

    It is always a good idea for an immigrant to have health coverage. However, within 30 days of entry is such a
    short period of time. More importantly, the proclamation sounds like a condition that is being unfair. If we are
    going to force it 30 days is too short time, 90 days may be sufficient time for a new comer to get settled to
    follow to rule.
    The concerns are raised with this request to have health coverage or a strong financial ability to pay for their
    own sickness. Why we need to do it?
    What is the motivation? What about humanity to treat everyone equally.
    In a realty, we all know the ideal world is for everyone to have health coverage. It showed with the cruel
    penalty, it does make the health care and health care cost creeped closed to stability. When we have more
    uninsured citizens, the risk is not well spread out. Having said forcing and conditioning immigrants to have
199
    coverage within short period of time does make thing being unfair.
    Actually i feel ashamed to see this discrimination in the presidential proclamation which is totally against the US
200 constitution
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                  A                       B




      Molly Coe




201
                               Multnomah County,
      Sheri Campbell
202                            Oregon
      Jason Miller
203




      Margo Rowder


204
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                                                                                                     000192

                                                               C
      I submit this comment to oppose vehemently this process for commenting as well as the underlying change.
      This 48-hour comment period (in actual fact fewer than 48 hours)and the entire underlying proclamationwas
      not prompted by an emergency. This is simply the latest brick in this administrations invisible wall that puts an
      extremist racial and political agenda ahead of the nations interests and the law of the land.

      I am an immigration lawyer at a non-profit organization. (This comment is submitted in my personal capacity
      and does not necessarily reflect the views of my organization.) I am attempting to obtain health insurance
      information for a client scheduled for an uncoming consular interview. Today, we had one health insurance
      company require that the client have a social security number to apply, and another required proof of lawful
      status in the United States. This change creates an impossible Catch-22 for intending immigrants -- no health
      insurance without an SSN or green card, but no SSN or green card without health insurance. The U.S.-based
      health insurance companies have not been provided sufficient information or time to respond to people who
      will now be contacting them from abroad to inquire about available plans.

      This new requirement is in blatant violation of the Americans with Disabilities Act (ADA), in addition to its clear
      violations of the Adminstrative Procedures Act. Consular officers will consider as "reasonably foreseeable
      medical expenses" those which are "expenses related to existing medical conditions, relating to health issues
      existing at the time of visa adjudication," heightening barriers to entry for individuals with chronic illnesses or
      disabilities. Rendering the parents and family members of U.S. citizens and green card holders inadmissible to
      the United States by virtue of their health needs is clear discrimination on the basis of ability.

      I reserve the right to provide further objections about the administration's predicate legal authority to make this
      change, but this comment window has deprived the public of the ability to make thorough analyses and provide
      complete responses.

201   Molly Coe
      Please see attached comments.
202
    I am against this undue burden. Why is there only a two day comment period? We must "welcome the stranger"
203 especially those escaping violence.

      This proclamation is pure political theater, and incredibly harmful.
      This proclamation increases barriers to healthcare access. It could Increase healthcare cost. What's more, the
      information collection proposed is completely unnecessary for the proper function of the Department of State.
      This is yet another abuse of power by our current administration.

      IMMIGRATION STATUS is a protected class, and this move is unconstitutional.
204
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                                                                                        000193

                 A                       B




      Gayle Ghitelman




205




      Karim Belkahla



206




                              American Academy of
      nick Wallace
                              Pediatrics (AAP)




207
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                                                                                                        000194

                                                                 C
      The undersigned organizations write in response to the Emergency Submission Comment on Immigrant Health
      Insurance Coverage. This 48-hour comment periodand the entire underlying proclamationis not an emergency.
      This is just the latest brick in your administrations invisible wall that puts an extremist racial and political agenda
      ahead of the nations interests and the law of the land.

      We support a nation where all are truly equal, immigration is recognized as a strength, and individuals have
      access to the essentials of life without regard to where they were born. As part of this vision, we support access
      to comprehensive, affordable health careand efforts to strengthen and protect the hospitals, community health
      centers, and providers who work tirelessly to deliver high quality care to their patients. Unfortunately, due
      largely to the policies of this administration, the number of people in the United States without health insurance
      increased last year for the first time in more than a decade.

      We specifically oppose the collection of information on health insurance status as proposed in this Emergency
      Submission Comment. In fact, we strongly oppose the underlying October 4, 2019 proclamation mandating that
      visa applicants abroad buy health insurance. This proclamation is not about improving access to health care or
      making sure hospitals are paid. Instead, it serves as yet another constraint on legal immigration, imposing a
      wealth test that will disproportionately harm people of color. Like the Muslim ban or the public charge
      regulation, it sends one message: if you're not white and wealthy, you're not welcome here.

      The proclamation actually threatens to undermine the nations health. It restricts immigrants ability to purchase
      comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces. Congress
      elected to make lawfully residing immigrants eligible for subsidized marketplace coverage because doing so
      advances the health of our nation. The proclamation puts the nations health at risk by ignoring Congress and
      instead requiring individuals to buy costly and less comprehensive health coverage.

205   Notably, the proclamation allows short-term plans, which do not comply with the Affordable Care Acts
      All my life i thought the united states of America is the land of chances by giving immigrant and foreigns the
      oppurtunities to participate at the state's economy and starts a new and a better life that they had before
      But now it seems all that turns to a big lie by making a such a difficult financial obstacles , if the foreigns had
      10.000 $ for health assurance would you think they would travel to the USA ? non i don't think so because
      10.000 $ is a humble price to start a humble project in their countries, So please just say you don't need
      anymore immigrants don't make misleadings to us
      thank you and all my respects
206


      On behalf of the American Academy of Pediatrics (AAP), a non-profit professional organization of 67,000
      primary care pediatricians, pediatric medical subspecialists, and pediatric surgical specialists dedicated to the
      health, safety and well-being of infants, children, adolescents, and young adults, I write to oppose the collection
      of information in this notice as well as the underlying Presidential Proclamation on the Suspension of Entry of
      Immigrants Who Will Financially Burden the United States Healthcare System.

      This Proclamation would not improve immigrant families access to care. Instead, it would force immigrant
      families seeking a visa to lawfully enter the U.S. towards less comprehensive coverage options, higher costs, and
      fewer consumer protections. We fear that the policy changes outlined in the Proclamation, combined with the
      chilling effect of policies like public charge, will deter immigrant families from enrolling in insurance coverage
      and will lead to some children losing coverage altogether. In fact, according to the Migration Policy Institute, the
      Proclamation may render two-thirds of green card applicants ineligible.

      We strongly oppose the Proclamation and call for its immediate rescission. Our specific comments are attached.
207
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                A                         B




      Michael Wilk            TMG Visa LLC




208
209   Jordan Cunnings         Innovation Law Lab




      Emma Morgenstern




210
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                                                                                                      000196

                                                                C



      I write in response to the Emergency Submission Comment on Immigrant Health Insurance Coverage.

      I specifically oppose the collection of information on health insurance status as proposed in this Emergency
      Submission Comment. I strongly oppose the underlying October 4, 2019 proclamation mandating that visa
      applicants abroad buy health insurance. This proclamation is not about improving access to health care or
      making sure hospitals are paid. Instead, it serves as yet another constraint on legal immigration.

      The proclamation actually threatens to undermine the nations health. It restricts immigrants ability to purchase
      comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces. Congress
      elected to make lawfully residing immigrants eligible for subsidized marketplace coverage because doing so
      advances the health of our nation. The proclamation puts the nations health at risk by ignoring Congress and
      instead requiring individuals to buy costly and less comprehensive health coverage.

      Notably, the proclamation allows short-term plans, which do not comply with the Affordable Care Acts
      consumer protections, to qualify as acceptable coverage. Short-term plans lack comprehensive coverage and
      can be prohibitively expensive for individuals with pre-existing conditions. This isnt promoting health
      insurancethis is putting a barrier between individuals and the coverage for which they are eligible. In fact,
      forcing immigrants to avoid comprehensive insurance could increase uncompensated care costs for providers,
      when patients cant afford needed health care that is not covered by these plans.

208
209   Please see attached comments.
      This information collection effort is an abuse of the consular processing system and our administrative
      government structure. To issue a proclamation on October 4, 2019 set to go into effect on November 3 is
      already a capricious and careless way to approach people who have been engaging in the consular process for
      years. To then open a comment period at around ~11:00am on October 30 and set it to close at 11:59pm on
      October 31 is a clear obstruction of a respected process to engage the voices of the people in government
      policies and procedures. This agency has provided less than 24 hours for individuals to submit comments on this
      proposal. In addition to disapproving the content of this proposal, I would also like to register my
      disappointment at this deficient public comment process.

      Substantively, this proposal is yet another arbitrary and capricious "policy of exclusion in search of a
      justification" (Daniels, J.), a gross violation of the Administrative Procedures Act (APA) by an administration fixed
      on a racist immigration policy which aims to keep people of color and people without enormous financial means
      out of the United States. This change is arbitrary and capricious, as there is no rational justification provided for
      a rule that stands to cut migration to the U.S. by up to 65%. See
      https://www.vox.com/2019/10/9/20903541/trump-proclamation-legal-immigration-health-insurance
      (discussing the likely far-reaching outcomes of this change in policy).

      This information collection effort and the underlying rule change are also clearly unconcerned with ensuring
      that hospitals and care providers get paid. While evidence of so-called "junk plans" (high-cost, low coverage
      temporary plans) is being accepted, full coverage free healthcare is not, meaning the main beneficiaries of this
      proclamation will be unscrupulous insurance agencies, not hard-working healthcare professionals.

    Further, the proposal is in violation of the Americans with Disabilities Act (ADA), in addition to its clear violations
    of the APA. This document informs us that consular officers will consider as "reasonably foreseeable medical
    expenses. . .expenses related to existing medical conditions, relating to health issues existing at the time of visa
210 adjudication," heightening barriers to entry for individuals with ongoing health challenges, in addition to those
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                                                                                             000197

                   A                          B




      Payam T




211
212 William McColl              AIDS United
213 Saad mouleriche
                                State of Oregon
                                Department of Consumer
      Chiqui Flowers            and Business Services
                                Health Insurance
214                             Marketplace

      Anonymous
215
                                Consortium for Citizens
      Julie Ward
216                             with Disabilities
217   Elizabeth Oseguera        CPCA
                                Massachusetts Health
      Louis Gutierrez
218                             Connector

      Ahmed Aglan
219

      Lena O'Rourke             400+ Organizations signed
220



      Lara Estes

221
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                                                                                                      000198

                                                                C




      The rule would be extremely discriminating against family reunification and those who would otherwise meet
      the minimum poverty guideline would still become inadmissible as they are required to meet a much higher
      standard compared to US residents and citizens and also those who are seeking non-immigrant visas.
      Keeping families apart would not improve the US health system as it does not solve the problem.

      Additionally, the rule is extremely vague as to what could be acceptable insurance, or in absence of it, what type
      and amount of financial evidence would be acceptable to overcome the inadmissibility.

      The rule also does not consider the fact that it is impossible for aliens to acquire health insurance when they
      have no social security number. Even if it were possible for an alien to acquire insurance, still this would be
      extremely unfair to require an alien to purchase insurance plan before their visa is adjudicated. This puts a great
      financial burden on the alien who is not certain of his/her visa or when the visa would be issued and they would
      not be able to predict a start date for their health care plan as it is required by the new rule.
      Note that NVC advises all immigrants that they should not sell their assets or make any financial changes in their
      life before their visa adjudication is final, therefore the new rule completely contradicts that long-lasting advice
      to aliens as it requires them to make great financial changes in their life. The only advantage of this rule is quick
      money in insurance companies' pockets at the expense of aliens and their US citizen families who are
      defenseless and have no assurance of adjudication of their visa.

211
212 Please see attached comments.
213 I reject this law and it does not help me at all



      Please see attached comments.

214
    There is no need for this policy which punishes poor people. The current system with regards to health
    insurance is fine. If anything, the system should be more open to human beings who just want to live life like the
215 rest of us.

      Please see attached comments.
216
217   Please see attached comments.

      Please see attached comments.
218

      This is unfair and not logical as how to get insurance option as immigrant before arriving to US. What if I have
      got employed and my company is dealing with better insurance company and better covering plan
219

    Please see attached comments.
220
    This proclamation place an undue burden on those who wish to immigrate to this country as those wish to come
    to this country are not aware of the restructions, cost or requirement necessary to obtain health coverage. Nor
    does th proposal clearly define what actually defines healthcare coverage. It also does not clearly define if this
    will apply to those who are seeking asylum. This proclamation is poorly thought out and is deliberately vague
221
    and therefore should be denied.
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                                                                                         000199

                 A                        B




      Shara Svendsen




222
223   Rushad Thomas           The Episcopal Church




      Judith Hospedales




224
                              National Immigration Law
      Gabrielle Lessard
225                           Center
                              The Jewish Federations of
                              North America and the
      Elizabeth Cullen
                              Network of Jewish Human
226                           Service Agencies
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                                                                                                    000200

                                                              C
      1. There is no "emergency" requiring either a mere 48-hour comment period or the entire underlying
      proclamation. This Administration has purposefully created pressure on the healthcare system by eliminating
      the individual mandate and allowing the market to be flooded with expensive yet substandard plans. The
      Administration's actions have led to an increase - for the first time in more than a decade - of the number of
      uninsured people in the United States.

      2. The President's proclamation is not actually designed or intended to improve access to health care or making
      sure that hospitals are paid. Instead, the proclamation appears solely designed to serve as a constraint on legal
      immigration by imposing a wealth test that will disproportionately harm people of color. The message that the
      Administration is sending is that - contrary to the words on the Statute of Liberty - if you're not white and
      wealthy, you're not welcome. The President is just looking for another way that immigrants' applications for
      legal status be denied.

    3. Instead of improving health case, the proclamation actually serves to undermine the nation's health. It
    restricts immigrants' ability to purchase comprehensive health insurance through the Affordable Care Act (ACA)
222
    marketplaces, even though Congress has already allowed for legal permanent residents and others lawfully
223 Please see attached comments.
    I, Judith Hospedales of the J.Hospedales Law Firm write in response to the Emergency Submission Comment on
    Immigrant Health Insurance Coverage. This 48-hour comment periodand the entire underlying proclamationis
    not an emergency. This is just the latest brick in your administrations invisible wall that puts an extremist racial
    and political agenda ahead of the nations interests and the law of the land.

      I support a nation where all are truly equal, immigration is recognized as a strength, and individuals have access
      to the essentials of life without regard to where they were born. As part of this vision, I support access to
      comprehensive, affordable health careand efforts to strengthen and protect the hospitals, community health
      centers, and providers who work tirelessly to deliver high quality care to their patients. Unfortunately, due
      largely to the policies of this administration, the number of people in the United States without health insurance
      increased last year for the first time in more than a decade.

      I specifically oppose the collection of information on health insurance status as proposed in this Emergency
      Submission Comment. In fact, I strongly oppose the underlying October 4, 2019 proclamation mandating that
      visa applicants abroad buy health insurance. This proclamation is not about improving access to health care or
      making sure hospitals are paid. Instead, it serves as yet another constraint on legal immigration, imposing a
      wealth test that will disproportionately harm people of color. Like the Muslim ban or the public charge
      regulation, it sends one message: if you're not white and wealthy, you're not welcome here.

      The proclamation actually threatens to undermine the nations health. It restricts immigrants ability to purchase
      comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces. Congress
      elected to make lawfully residing immigrants eligible for subsidized marketplace coverage because doing so
      advances the health of our nation. The proclamation puts the nations health at risk by ignoring Congress and
      instead requiring individuals to buy costly and less comprehensive health coverage.

224   Notably, the proclamation allows short-term plans, which do not comply with the Affordable Care Acts
      Please see attached comments.
225


      Pleasee see attached comments.
226
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                                                                                        000201

                 A                       B




      Whitney Wootton




227




      Eugene Tozzi


228




      Margaret Seiler




229
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                                                                                                      000202

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      The entire immigration process is extremely costly in both time and money - from hiring an attorney to file a
      visa petition, to paying the exorbitant filing fees, to waiting for months for an interview, to traveling to attend
      the interview, to paying for a medical evaluation. Now, this Administration is asking individuals and families to
      carry an additional and incredibly heavy burden - health insurance.

      This proclamation is not about improving access to health care or making sure hospitals are paid. Instead, it
      serves as yet another constraint on legal immigration, imposing a wealth test that will disproportionately harm
      people of color. Like the Muslim ban or the public charge regulation, it sends one message: if you're not white
      and wealthy, you're not welcome here.

      The proclamation actually threatens to undermine the nations health. It restricts immigrants ability to purchase
      comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces in which
      Congress already allows for subsidized plans for LPRs and others lawfully present. The proclamation forces
      individuals to buy costly and less comprehensive junk health coverage such as short-term plans that do not
      comply with the Affordable Care Acts consumer protections.

      Further, this 48-hour comment periodand the entire underlying proclamationis not an emergency. The
      Administration has created its own pressure on the healthcare system as the number of people in the United
      States without health insurance increased last year for the first time in more than a decade due to elimination
      of the individual mandate and the market being flooded with expensive substandard plans.

      You must rescind this proclamation before it goes into effect.
227

    I think this proposal is a very bad idea. I have known many immigrant families that have made a fine
    contribution to our society but may have needed medicaid assistance during the first few months in the US. In
    our area restaurants, hotels and other service industries are experiencing an extreme lack of sufficient workers
    due to the low unemployment situation. The very workers that they need are likely to be immigrants who would
    need medicaid in their first months in the US. People are needed to wash dishes, prepare rooms, assist the
    elderly. This rule would make it ever more difficult to fill these low level jobs.
228
    I am writing in response to the Emergency Submission Comment on Immigrant Health Insurance Coverage. This
    48-hour comment periodand the entire underlying proclamationis not an emergency. This is just the latest brick
    in your administrations invisible wall that puts an extremist racial and political agenda ahead of the nations
    interests and the law of the land.

      We support a nation where all are truly equal, immigration is recognized as a strength, and individuals have
      access to the essentials of life without regard to where they were born. As part of this vision, we support access
      to comprehensive, affordable health careand efforts to strengthen and protect the hospitals, community health
      centers, and providers who work tirelessly to deliver high quality care to their patients. Unfortunately, due
      largely to the policies of this administration, the number of people in the United States without health insurance
      increased last year for the first time in more than a decade.

      We specifically oppose the collection of information on health insurance status as proposed in this Emergency
      Submission Comment. In fact, we strongly oppose the underlying October 4, 2019 proclamation mandating that
      visa applicants abroad buy health insurance. This proclamation is not about improving access to health care or
      making sure hospitals are paid. Instead, it serves as yet another constraint on legal immigration, imposing a
      wealth test that will disproportionately harm people of color. Like the Muslim ban or the public charge
      regulation, it sends one message: if you're not white and wealthy, you're not welcome here.

      The proclamation actually threatens to undermine the nations health. It restricts immigrants ability to purchase
      comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces. Congress
      elected to make lawfully residing immigrants eligible for subsidized marketplace coverage because doing so
      advances the health of our nation. The proclamation puts the nations health at risk by ignoring Congress and
      instead requiring individuals to buy costly and less comprehensive health coverage.

229   Notably, the proclamation allows short-term plans, which do not comply with the Affordable Care Acts
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                                                                                        000203

                 A                       B




      Anonymous




230

      Anomymous
231
232   CO                      Colorado groups




      Charles Ralic-Moore




233
                   Case 3:19-cv-01743-SI         Document 149       Filed 06/09/20     Page 73 of 833
                                                                                                      000204

                                                                C
      I believe the 48-hour comment period should be extended to allow additional comments to be submitted
      considering the end of the comment period falls on Halloween. More importantly, I oppose the implementation
      of the proposed October 4, 2019 proclamation to collect information on health insurance status from visa
      applicants at consular interviews. I also strongly oppose the proclamations mandate to require said applicants to
      buy health insurance.

      As other comment submissions mentioned, this proclamation is not about improving access to health care or
      making sure hospitals are paid. Instead, it serves as yet another constraint on legal immigration, imposing a
      wealth test that will disproportionately harm people of color. Like the Muslim ban or the public charge
      regulation, it sends one message: if you're not white and wealthy, you're not welcome in the U.S.

      The proclamation actually threatens to undermine the nations health. It restricts immigrants ability to purchase
      comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces. Congress
      elected to make lawfully residing immigrants eligible for subsidized marketplace coverage because doing so
      advances the health of our nation. The proclamation puts the nations health at risk by ignoring Congress and
      instead requiring individuals to buy costly and less comprehensive health coverage.

      Notably, the proclamation allows short-term plans, which do not comply with the Affordable Care Acts
      consumer protections, to qualify as acceptable coverage. Frequently referred to as junk plans, short-term plans
      lack comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.
      This isnt promoting health insurancethis is putting a barrier between individuals and the coverage for which
      they are eligible. In fact, forcing immigrants to avoid comprehensive insurance could increase uncompensated
      care costs for providers, when patients cant afford needed health care that is not covered by these bare- bones
      plans.
230
    this proclamation is not fair as it will hurt the new immigrants. How can they make health insurance although
231 they outside USA.
232 Please see attached comments.

      It is antithetical to the spirit and foresight of our founding fathers to require health insurance of immigrants as a
      condition to come to the United States. This country was founded on the principle that the people could govern
      one another free from tyranny. Every generation since the founding has had the fortune of seeing this country
      as an outpost for the repressed. To place arbitrary barriers to that now, when so many seek to flee terrible
      situations in their home countries, is to abandon out values. My grandfather came to the United States to free
      he and his family from the strictures of communism sprouting in Cuba. When he came here, he sought a better
      life for he and his family, including my mother. Today, he would be proud to have so many defendants thriving
      as United States citizens. But he never would have been admitted under this policy. Dont dash future families
      hopes before they have even had a chance.
233
                       Case 3:19-cv-01743-SI   Document 149   Filed 06/09/20   Page 74 of 833
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                   A                       B




      Ahmed Ali




234
235   othmane arif
      Mohamed Rabie
236
237   Anonymous


      Manaf El Fatimi
238




      Anika Ades




239




      Anonymous




240
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                                                                                                    000206

                                                               C
    God bless usa
    I wish i could to stop this action for puplic rechareg
    I really miss my wife so much
    And wish from american justice to denied this law
    I love usa and i dont need puplic recharge
    I just neef to be with my wife like husband and wife
    I miss my family there my bestwishes for USA
    We are one
    Plz its so hard how i get the puplic recharge and dont have ssn
    Regards
    Ahmed
     God bless usa
    I wish i could to stop this action for puplic rechareg
    I really miss my wife so much
    And wish from american justice to denied this law
    I love usa and i dont need puplic recharge
    I just neef to be with my wife like husband and wife
    I miss my family there my bestwishes for USA
    We are one
    Plz its so hard how i get the puplic recharge and dont have ssn
    Regards
234 Ahmed
235 I hope he rejects this law because it will cause a lot of problems for America

      Please cancel this low we put the United states in our heart to make a better future please help us
236
237   I refuse the policy of the health insurance for the new immegrant.
      This law will be unfair to the immigrant, the immigrant who aspires to a good and stable life in America, America
      is a civilized and democratic country a human rights country, if you implement this decision would be a blow to
      all the dreams of immigrants who dream of a better life in your country In a better life
238

      This is an illegal and inhumane extension of the judicially-blocked Public Charge rule announced earlier this year.
      Without carveouts for applicants seeking humanitarian immigration relief such as SIJS, asylum, or even
      temporary work visas, this creates an insurmountable barrier to seeking safety, meaningful income, and the
      opportunity to meaningfully contribute to the American economy. This would be a burdensome and difficult to
      administer rule, and would facially preference wealthier, whiter immigrants. We should not outsource our weak
      healthcare system by expecting all visitors to be able to afford our criminally expensive medical system. Instead,
      we should expect our government fulfill its statutory duties in processing qualified immigrants arriving at our
      borders, and ensure their safe and expedient arrival, regardless of their financial situation.
239
      This rule is not an emergency. It is has nothing to do with improving access to health and nothing to do with
      what this nation stands for. I completely disagree with this proclamation.

      The language is too broad and gives too much power to the consular officer to interpret the instructions in
      many different ways. It is not clear what constitutes a satisfactory answer. Since the officer can ask anything
      they deem relevant about the health plan, is there a limit to the scope? How will this other information play into
      their decision-making?

      Would Medicaid or state programs qualify as sufficient health insurance coverage? Is there a mechanism in
      place for immigrants to get linked prior to entering the country?

      This rule would continue to inspire fear in the immigrant communities already in the US. It would make current
      immigrants afraid of accessing health care that they do qualify for. This would lead to more emergency room
      visits, since immigrants would be less likely to access preventative care. This would only increase the financial
      burden on the health care system.
240
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                                                                                            000207

                    A                        B


      Anonymous
241


      Ahmed Aboheiba
242




      ridha Rezag




243




      YOUNES BENANI


244

      Otmane Lazrak
245
                                 National Partnership for
      Debra Ness
246                              Women & Families
247   Fadwa El-ouady


      Souhail Abrouk
248




      Brad Porterfield


249

      Reza Abode
250

      Anonymous
251

      Danan Bouchaib
252
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                                                                                                      000208

                                                                C
    The proposed health care requirement for new immigrants is unAmerican and just one more immoral attempt
    to keep people out without having to take the time to review and assess their request to become citizens. Show
241 some real leadership and patriotism, and stop this now.
    Please stop this proclamation when l applied for this lottery I had a dream,the American dream to be accurate,
    to live in a country that respect the human and his right,a country believe in equality a country encourage you
242 to work hard so you can live a respectful life.

      This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
      New Immigrants, who are aspiring to come to the united states to start a new life and hope for a build a better
      future for themselves and thier families .The proclamation actually threatens to undermine the nations health.
      It restricts immigrants ability to purchase comprehensive health insurance available through the Affordable Care
      Act (ACA) marketplaces. The united States has always been a beacon for democracy promotion of fairness and
      equality . this new propsed law goes against those very principals and values that we take pride in as Americans
      .The proclamation allows short-term plans, which do not comply with the Affordable Care Acts consumer
      protections, to qualify as acceptable coverage. Frequently referred to as junk plans, short-term plans lack
      comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.

      Our nations Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
      rescind this proclamation.
243

      It is regrettable that such a decision is issued and I do not agree with this resolution. We respect the law of the
      United States of America and its sponsorship of human rights. We do not want to be a burden on anyone.But
      such a decision would cripple the ability of foreign nationals to emigrate. Of course, health insurance is a duty
      for every immigrant. And decent living our duty to respect the laws and the performance of taxes as well as
      health insurance only ask to reconsider this decision and reverse it.
244
    I am not at all satisfied with this decision Please do not agree to this decision, which will cause us obstacles in
245 reaching America

      Please see attached comments.
246
247   This new proposed health proclamation will harm all candidates. Please don't apply it
      Hello, I hope you are doing well today. I'm here to give my opinion about health proclamation so I think that it
      will harm all candidates and it is a wrong move from a developed country such USA, I just hope to review this
      decision, I'm not a USA citizen but I'd like to comment because I have family and friends there. Thank you.
248

      I would like to share that I believe that only giving two days for public comment on this matter is insufficient. I
      also think the description of the matter is unclear without enough detail regarding which classes of immigrants
      this would apply to. It also does not provide enough information about the type of health insurance that will be
      considered sufficient. We should not burden immigrants unnecessarily by requiring expensive coverage that
      would cause a hardship. It is also imperative that no one or few providers of the insurance benefit via referrals
      vs providing a fairly comprehensive list of options.
249
    We categorically reject this decision, and I hope the federal government cancels this decision because it is unfair
250 for immigrants to insure for 12 months.
    Hello, We have registered in the US random lottery because we reject this decision as health insurance is a
251 material harm to immigrants.

      I am not satisfied with this decision because it will harm us so much and destroy our future aspirations.
252
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                                                                                         000209

                 A                        B




      David Anderson




253

      Ester Mikhail
254




      Noureddine Chaib




255




      Samir Samura




256




      Anonymous




257
258   Souki Aomar
                   Case 3:19-cv-01743-SI        Document 149       Filed 06/09/20     Page 79 of 833
                                                                                                     000210

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      I would like to comment on this rule to require certain classes of immigrants to show insurance coverage.

      First, this is not an emergency. Two days of notice and comment is a farce.

      Secondly, health insurance is an extraordinarily complex field. Consular agents are unlikely to have the
      familiarity with the wide array of products that could provide catastrophic financial protection for both the
      applicant and the public purse. Many types of insurance are capable of providing this protection that may be
      excluded by street level bureaucrats. More training and a standardized reference list would be required.

      Thirdly, there is a pragmatic problem. The allowable forms of insurance under the public proclamation may not
      cover pre-exisiting conditions or be immediately available. This is a bald face attempt to screen lawfully viable
      potential immigrants and visa applicants by income. Recent litigation about the public charge actions have
      shown that the courts are extraordinarily suspicious of the claimed expansion of authority and interpretation.
253
      Actually i feel ashamed to see this discrimination in the presidential proclamation which is totally against the US
254   constitution
    I find this new rules are hurting Citizens who waiting to reunion with their relatives by preventing them to enter
    USA even they have followed the legal process and here is some negative effect:
    - its putting more stress to both sides applicants and petitioners
    - its delaying the reunion with the loved ones
    - its overburdening the both side with more spending while they need to save that money to building the new
    life
    - its compels them to disclose their personal accounts
    - its a legal challenge to cover a non-resident with local health cares
    - it will put more work for consulates officers to process the applications
255
    For these reasons and many more I request to withhold this new rules



      This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
      New Immigrants, who are aspiring to come to the united states to start a new life and hope for a build a better
      future for themselves and thier families .The proclamation actually threatens to undermine the nations health.
      It restricts immigrants ability to purchase comprehensive health insurance available through the Affordable Care
      Act (ACA) marketplaces. The united States has always been a beacon for democracy promotion of fairness and
      equality . this new propsed law goes against those very principals and values that we take pride in as Americans
      .The proclamation allows short-term plans, which do not comply with the Affordable Care Acts consumer
      protections, to qualify as acceptable coverage. Frequently referred to as junk plans, short-term plans lack
      comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.

      Our nations Healthcare deserves better.
      So please before the proclamation goes into effect. We call on you to rescind this proclamation.
256

      The United States of America is - except for the American Indians and Alaska Natives - a nation of immigrants.
      Most of us are colonizers here - some more recently than others. This proclamation is simply another racist act
      by the Trump Administration to discriminate against some of us.

      This proclamation is not about improving access to health care or making sure hospitals are paid. Instead, it
      serves as yet another constraint on legal immigration, imposing a wealth test that will disproportionately harm
      people of color. Like the Muslim ban or the public charge regulation, it sends one message: if you're not white
      and wealthy, you're not welcome here.
257
258   I reject this decision about health insurance altogether because it is aimed at legal immigrants.
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                                                                                         000211

                  A                       B




      lauren Kennedy




259


      Anonymous
260




      Housaam Zaki




261


      Adel Sadi
262




      Anonymous


263

      Zizo Ziz
264
265   Anonymous
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                                                                                                      000212

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      Immigrants are typically healthier than Americans. https://www.ncbi.nlm.nih.gov/pubmed/15191127

      In contrast, the new insurance test does not even assert a national security or foreign policy rationale. Instead,
      it rests entirely on a concern for minimizing health care costs. That concern is legitimate as a policy matter, but
      the administration should have addressed it as Homeland Security did in dealing with the INAs public charge
      provision. While an interagency process led to the administrations new public charge rule, the insurance test did
      not emerge from that interagency process and indeed would short-circuit many of the new public charge rules
      criteria. In effect, the insurance test reduces those elaborate criteria to a single question: Does the immigrant
      have health insurance?

      Allowing the administration to issue a proclamation to undermine its own final rule would make a mockery of
      both the APA and Congresss carefully constructed immigration framework. Upholding the insurance test would
      set the stage for unbridled executive efforts to overhaul the INAs framework in areas far removed from national
      security and foreign relations. Under the general/specific canon, courts should reject the inference that
      Congress intended a general provision like 1182(f) to decimate more specific statutory measures.

      In other, more accurate, more specific words, your racism is showing. The public is documenting all of your
      disgusting steps to strengthen white supremacy and you will be remembered for your ugliness and weakness.

      The New Colossus", Emma Lazarus

    Keep, ancient lands, your storied pomp! cries she
    With silent lips. Give me your tired, your poor,
    Your huddled masses yearning to breathe free,
    The wretched refuse of your teeming shore.
259 Send these, the homeless, tempest-tost to me,
    Hello. I ask you to prevent the health insurance decision because this decision is unfair and we do not accept it
    and reject it completely. I ask the federal government to intervene to prevent the implementation of this
260 decision. Thank you.

      This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
      New Immigrants, who are aspiring to come to the united states to start a new life and hope for a build a better
      future for themselves and thier families .The proclamation actually threatens to undermine the nations health.
      It restricts immigrants ability to purchase comprehensive health insurance available through the Affordable Care
      Act (ACA) marketplaces. The united States has always been a beacon for democracy promotion of fairness and
      equality . this new propsed law goes against those very principals and values that we take pride in as Americans
      .The proclamation allows short-term plans, which do not comply with the Affordable Care Acts consumer
      protections, to qualify as acceptable coverage. Frequently referred to as junk plans, short-term plans lack
      comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.

      Our nations Healthcare deserves better.So please before the proclamation goes into effect. We call on you to
      rescind this proclamation.
261
      I think the decision of applying the health insurance before the immigration is quite difficult for us, i think it is
      hard to afford regrading to the Moroccan salary, and that's enough reason to stop the immigration documents
262   process, i hope your honored decision to cancel this
      This act is illogical and does not contain enough information about it
      How to use it
      also It should not apply to immigrants 2020 because they did not have information about this when applying for
      immigration, and how to apply for health insurance for new immigrants in the United States while abroad and it
      has not been approved because my health insurance requires a social security number that is not available to
      new immigrants.
263   This is racist
      This law is very racist because touch only poor people that can not able to pay the high amount of health
264   insurance
265   We reject the decision once and for all.8
                         Case 3:19-cv-01743-SI   Document 149   Filed 06/09/20   Page 82 of 833
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        aziz sizou




 266




        Fatiha Azoukni



 267



        Anonymous

 268



        Abdellah Ebenyouness



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                     Case 3:19-cv-01743-SI        Document 149       Filed 06/09/20     Page 83 of 833
                                                                                                       000214

                                                                 C
        This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of people ,
        New Immigrants, who are aspiring to come to the united states to start a new life and hope for a build a better
        future for themselves and thier families .The proclamation actually threatens to undermine the nations health.
        It restricts immigrants ability to purchase comprehensive health insurance available through the Affordable Care
        Act (ACA) marketplaces. The united States has always been a beacon for democracy promotion of fairness and
        equality . this new propsed law goes against those very principals and values that we take pride in as Americans
        .The proclamation allows short-term plans, which do not comply with the Affordable Care Acts consumer
        protections, to qualify as acceptable coverage. Frequently referred to as junk plans, short-term plans lack
        comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.
 266
     I think This new proposed Health proclamation is neither practical ,nor fair as it is targeting a specific group of
     people , New Immigrants, who are aspiring to come to the united states to start a new life and hope for a build
     a better future for themselves and thier families .The proclamation actually threatens to undermine the nations
     health. It restricts immigrants ability to purchase comprehensive health insurance available through the
     Affordable Care Act (ACA) marketplaces. The united States has always been a beacon for democracy promotion
     of fairness and equality . this new propsed law goes against those very principals and values that we take pride
     in as Americans .The proclamation allows short-term plans, which do not comply with the Affordable Care Acts
     consumer protections, to qualify as acceptable coverage. Frequently referred to as junk plans, short-term plans
 267 lack comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions.
     This act is racist and not fair or even logic!
     How come you ask new legal immigrants to buy health insurance while they are still out of USA and dont even
     know how to apply for the same without a social security number!?
     And why this discrimination to the new immigrants while you allow many Amirican citizens to remain out of the
 268 health insurance umbrella !

        Hello Sir, this decision is frankly we reject, that many people do not have enough dirty money for health
        insurance, but after reaching America there at work can get insurance from his employer, I hope you can
        eliminate this condition miracle, We always want and aspire to improve the social situation and build America's
        economy by the work and the random immigration that helps, please reject this decision on health insurance.

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          Case 3:19-cv-01743-SI   Document 149     Filed 06/09/20   Page 84 of 833
                                                                               000215

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2   Karen Sullican        Catholic Legal information Network




3   Erin markel           erin markel

4   Melissa Kepler        melissa kepler




5 Megan Uzzell            Democracy Forward
6 Leighton Ku             George Washington University
          Case 3:19-cv-01743-SI        Document 149       Filed 06/09/20     Page 85 of 833
                                                                                           000216

                                                      C
    Good morning,
    Your emergency review 2-day comment period on the Immigrant Health Insurance information
    collection has started, but the “comment now” button on regulations.gov is not active. The Notice
    indicates that you intended applicants to be able to submit comments through regulations.gov.
    Please activate the button as soon as possible so that the public is not dissuaded from
    commenting.
    Regards,
    Karen Sullivan
    Karen Sullivan
    Advocacy Attorney, Federal Advocacy and Liaison
    Catholic Legal Immigration Network, Inc. (CLINIC)
    8757 Georgia Avenue, Suite 850
2   Silver Spring, MD 20910
    I am strongly against this proposed policy. The United States claims to be a bastion of liberty and
    equality but it’s becoming more and more clear that that’s only for the rich. We have a
    responsibility in the world, particularly to the people whose countries our past sins have
    destabilized, to help others.
    This rule will basically make it impossible for low income, unemployed, disabled, and chronically ill
3   people to immigrate here, at least, through the established system. I am fully opposed.
    Melissa Kepler <meldemy@gmail.com> This restriction will basically make it impossible for low
4   income, unemployed, disabled, and chronically ill people to immigrate here (at least, through the
    Meg Uzzell <muzzell@democracyforward.org> Per the Federal Register notice, I am writing to
    request the Immigrant Health Insurance Coverage's proposed collection instrument and reporting
    documents (Docket DOS-2019-0039).
    I can receive the materials at this email address.
    If additional information is necessary please contact me via this email or at 202-701-1784.
5   Thank you,
6 Attachment comments\Leighton Ku comment letter on information collection DS 5541.pdf
           Case 3:19-cv-01743-SI   Document 149      Filed 06/09/20   Page 86 of 833
                                                                                 000217

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7    Guadalupe Fernandez




  Kathleen Campbell
8 Walker




9    Gabrielle Lessard     National Immigration Law Center

10   Ali Merzouk

11 Fahd Rty
12 Renee Butkus            American College of Physicians
            Case 3:19-cv-01743-SI        Document 149       Filed 06/09/20     Page 87 of 833
                                                                                              000218

                                                        C


     Department of State, Office of Information and Regulatory Affairs, Office of Management and
     Budget
     Department of State’s Bureau of Consular Affairs, Office of Visa Services
     Docket Number: DOS-2019-0039

     Re: Emergency Submission Comment on Immigrant Health Insurance Coverage

     October 31, 2019

     To whom it may concern:
     I submit a comment via email as the WEB process is not available--the regulations.gov page to the
     document states that comment period is closed, though it also states that all public comments to
     OBM must be received by 10/31/19.
     I write as a concerned American tax-paying citizen and as an individual who helps victims of
     domestic and sexual violence access care and services.

  I do not agree with the accuracy of the proposed estimate of the time and cost burden of this
  proposed collection. I disagree with the validity of the methodology and assumptions used. With
  that, I have concerns on the quality, utility, and clarity of the information to be collected.
  The abstract of the proposed collection cites PP9945 that "immigrant visa applicants to establish,
  to the satisfaction of a consular officer, that the applicant will be covered by an approved health
  insurance plan within 30 days of entry into the United States, unless the applicant possesses
  sufficient financial resources to cover reasonably foreseeable medical costs."
7 In order for quality, unity and clarity, and even the to evaluate whether the proposed information
  Dear Ms. Herndon - Based on the referenced notice for emergency review, would you please send
  me the DS-5541 proposed form as soon as possible. Thank you. Kind regards, Kathleen

     Kathleen Campbell Walker Practice Group Chair - Immigration
     Board Certified In Immigration And Nationality Law
8    By The Texas Board Of Legal Specialization
     Please send me a copy of the Form DS-5540. My organization intends to submit comments.
     Gabrielle Lessard | Senior Policy Attorney
     (pronouns: she, her, hers)
     National Immigration Law Center
     (213) 639-3900 x 1023
9    www.nilc.org
     I strongly refuse the new rule because it effects us as citizens of United States who have families
10   abroad and we need to exempt who is filing CR1 and IR1 visas thank you Sent from my iPhone
     You are killing the dreams of peoples to travel to America and live in them .. Very difficult decisions
11   for immigrants regarding health insurance and financial security .. If so, why open the door of
12 Attachment comments\ACP emergency comment.pdf
           Case 3:19-cv-01743-SI   Document 149   Filed 06/09/20   Page 88 of 833
                                                                              000219

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13   Cheryl Fish-Parcham
          Case 3:19-cv-01743-SI       Document 149      Filed 06/09/20    Page 89 of 833
                                                                                        000220

                                                    C
   October 31, 2019
   Comment regarding Public Notice 10934
   Form Number: DS-5541
   Emergency Submission Comment on Information Collection Title: Immigrant Health Insurance
   Coverage
   By email to PRA_BurdenComments@state.gov

   I write to comment on the request for emergency review and public comment on the paperwork
   burden of the “Presidential Proclamation on the Suspension of Entry of Immigrants Who Will
   Financially Burden the United States Healthcare System.” As I understand it, the notice opened a
   two-day public comment period only on the information collection, its time and cost burden to the
   agency and the reporting burden on respondents – you have not sought public comments on the
   proclamation itself. I therefore offer the following comments:

   1 I believe the proclamation to be illegal, and you have not estimated the burden of litigation.
   Courts have already issued nationwide preliminary injunctions against the public charge rule
   because it would discriminate against low-income immigrant families and discourage them from
   getting assistance to which they are lawfully entitled, and had no support in the history of U.S.
   immigration law. The proclamation has all of these same flaws. For example, lawfully present
   immigrants are entitled to subsidized coverage under the Affordable Care Act. This proclamation
   would deny entry to someone with “foreseeable health expenses” who does not have an employer
   offering coverage and who intends to enroll in individual coverage with premium tax credits upon
   entry. In addition to litigation to block the proclamation, the Department should anticipate
   litigation concerning individual cases if this goes into effect. The proclamation gives consular
   officials unbounded authority to determine “foreseeable medical expenses” and an applicants’
13 ability to pay those expenses. We anticipate litigation about whether officials have acted properly
           Case 3:19-cv-01743-SI   Document 149      Filed 06/09/20   Page 90 of 833
                                                                                 000221

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14   Jill Hanken           Virginia Poverty Law Center
                           Cause of Action Institute/ Americans
15   Kevin Schmidt         for Prosperity
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                                                                                         000222

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   The Virginia Poverty Law Center represents the interests of low income Virginians, including
   immigrants who reside in the Commonwealth. We are responding to the Emergency Submission
   Comment on Immigrant Health Insurance Coverage which improperly limits comment on this
   extremely important issue to a short 48-hour comment period. We object to this process and to
   the substance of the proposal.

   We support a nation where all are truly equal, immigration is recognized as a strength, and
   individuals have access to the essentials of life without regard to where they were born. As part of
   this vision, we support access to comprehensive, affordable health care—and efforts to strengthen
   and protect the hospitals, community health centers, and providers who work tirelessly to deliver
   high quality care to their patients.

   The proposal requires the collection of information on health insurance status for immigrants
   legally entering the U.S. We strongly oppose this, as well as the underlying October 4, 2019
   proclamation mandating that visa applicants abroad buy health insurance. That proclamation is not
   about improving access to health care. It is simply another constraint on legal immigration, which
   will disproportionately hurt lower income immigrants. Along with other anti-immigrant policies
   sought/implemented by the Administration, this proposal sends one message: If you're not white
   and wealthy, you're not welcome here.

   The proclamation actually threatens to undermine the nation’s health. It restricts immigrants’
   ability to legally purchase comprehensive health insurance available through the Affordable Care
   Act (ACA) marketplaces. It also undermines duly-enacted health programs in Virginia which are
   available to legally-residing immigrants, including children and pregnant women. The
   proclamation puts the nation’s health at risk by limiting access to these affordable, comprehensive
14 health options and instead requiring individuals to buy costly and limited health coverage.


15 Attachment comments\AFP 2019.10.31 AFP Reg Comment re Immigrant Health Insurance Coverage.pdf
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                                                                                000223

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16   Maria Windham
                          Asian & Pacific Islander American
17 Ben D'Avanzo           health Forum
   Governor of MN Tim
   Walz (submitted by     Governor of MN (State of Minesota)
18 Cassandra Moore)
            Case 3:19-cv-01743-SI          Document 149         Filed 06/09/20       Page 93 of 833
                                                                                                     000224

                                                           C
     My firm represents a U.S. Citizen Petitioner and immigrant  visa applicant spouse with an approved I-130
     who is scheduled for an immigrant interview at a U.S. Consulate in November 2019. The interview will be
     held during the proposed 180-day period of the proposed Information Collection regarding “Immigrant
     Health Insurance Coverage”. Therefore, my clients are directly affected by the information collection
     identified in the above-referenced notice. The request for approval of information collection by the
     Department of State should not be granted by the OMB for the following reasons, organized according to
     the points of evaluation described in 84 Federal Register 58199 (Oct. 30, 2019):

     1. Evaluation Whether the Proposed Information Collection Is Necessary for the Proper Functions of the
     Department.

     •Comment 1.A: The Proposed Information Collection is not necessary for the proper functions of the
     Department of State for all of the legal and factual reasons described in the Complaint filed in the lawsuit
     Doe v. Trump, 3:19-cv-01743-SB (D. Oregon. Oct. 30, 2019), which asks a federal court to enjoin
     implementation of Presidential Proclamation PP9945, on which the proposed collection of information is
     based, because PP9945 is unlawful and unlawfully imposes new and unrealistic requirements to prove
     purchase of limited types of health insurance in conflict with existing U.S. law. A copy of the referenced
     Complaint is attached to this comment.

   •Comment 1.B: Even assuming PP9945 was lawful, the Proposed Information Collection is not necessary
   because it unreasonably requires the immigrant visa applicant to give a “yes” or “no” answer to the
   question “whether they will be covered by health insurance in the United States within 30 days of entry to
   the United States,” despite the fact that in many cases paperwork processing required to obtain insurance
   will make obtaining insurance within the strict 30-day period uncertain. My clients have made and continue
   to make efforts to obtain and pay for eligible health insurance for the immigrant visa applicant. However,
   most insurance companies that offer reasonable health insurance for a reasonable cost have been unwilling
   or unable to process an application until the immigrant visa applicant spouse is granted a social security
16 number and resides in the United States. See also the barriers to obtaining qualified insurance within 30
   Attachment comments\APIAHF Comments on Department of State on Health Care Proclamation OMB
17 Emergency Review_2019.10.31.pdf


     Please see attached comments.
18
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                                                                            000225

             B
1     Organization
2 Unknown
  Colorado Division of
3 Insurance
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                                                                              000226

                                              C
1                                         Comment
2   Wants a copy of the 5541
    Wants to Submit commnet even though comment period ended
3
          Case 3:19-cv-01743-SI   Document 149   Filed 06/09/20   Page 96 of 833
                                                                             000227

              B
1      Organization



    Colorado State
    government



2




    Unknown




3
  Colorado- Division of
4 Insurance
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                                                                                        000228

                                                    C
1                                              Comment
    I am writing to find out if there is a way to submit a comment on the Notice of Information
    Collection Under OMB Emergency Review: Immigrant Health Insurance Coverage (document
    number: 2019-23639).

    We were not able to post it through regulations.com portal last night prior to the midnight
    deadline, but are still seeking to have the comments of the Colorado Commission of Insurance
    reviewed and considered.

2   Thank you in advance for your time and assistance.
    THE IMMIGRANT SHOUDL HAVE THIS INSURANCE WHEN HE ENTERS THE USA. HE SHOUDL NOT
    HAVE 30 DAYS TO GET INSURANCE BECUASE THEY WILL COME INTO THE USA AND NEVER GET IT
    AND THEN THE TAXPAYERS WILL BE BANKRUPTED PAYING FOR GUYS TO GO OUT AND MAKE SURE
    THEY HAVE INSURANCE. THE INSURANCE SHOULD BE PRESENTED WHEN THEY APPLY TO COME
    HERE. NOT 30 DAYS LATER TO GIVE THEM TIME TO LIE TO US. CLEARLY THESE PEOPLE HAVE BEEN
    LYING COMPLETELY AND TOTALY ABOUT EVERYGING AND EVERYTHIGN THEY SAY IS A LIE. SO WE
    CANNOT COUNTENANCE GIVING THEM
    30 DAYS TO SECURE INSURANCE. THEY NEVER WILL SECURE IT. THIS IS A STUPID DIRECTIVE. MAKE
    THEM HAVE THE INSURNCE WHEN THEY APPLY TO COME HERE FOR A VISA. AND MAKE THE VISA
    THAT THEY GET FOR 30 DAYS TURN COLOR FROM WHITE TO RED WHEN THE 30 DAYS ARE UP AND
    THEY HAVE TO GO HOME. WE ARE BEING SNOOKERED BY THESE LYING IMMIGRANTS. WE CANT
    TAKE IT ANYMORE.

  CERTAINLY WE HAVE NO DEARTH OF THEM WHEN 450,000 COME HERE. AND THEN CAUSE US
  TROUBLE. WE NEED CHANGES IN THIS DIRECTIVE WHICH WAS NOT THOUGHT THROUGH PROPERLY
  TO PROTECT AMERICAN CITIZENS FROM TEH LYING AND CHEATING OF SO MANY OF THESE
  IMMIGRANTS. THEY LIE LIKE A RUG TO COME HERE. NONE OF THEM ARE TELLING THE TRUTH. AND
  THEN THEY COME HERE AND STAY HERE WHEN THEY TOLD US THEY WERE ONLY COMNING FOR A
  SHORT STAY. WE CANNOT TRUS THESE PEOPLE TO BE HONEST WITH US. REQUIRE THE INSURANCE
3 WHEN THEY APPLY TO COME HERE.

    Please see attached comments.
4
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                                                                                              000229


Department of State, Office of Information and Regulatory Affairs, Office of Management and Budget
Department of State’s Bureau of Consular Affairs, Office of Visa Services
Docket Number: DOS-2019-0039

Re: Emergency Submission Comment on Immigrant Health Insurance Coverage

October 31, 2019

To whom it may concern:

The undersigned organizations write in response to the Emergency Submission Comment on
Immigrant Health Insurance Coverage. This 48-hour comment period—and the entire underlying
proclamation—is not an emergency. This is just the latest brick in your administration’s “invisible
wall” that puts an extremist racial and political agenda ahead of the nation’s interests and the law of
the land.

We support a nation where all are truly equal, immigration is recognized as a strength, and
individuals have access to the essentials of life without regard to where they were born. As part of
this vision, we support access to comprehensive, affordable health care—and efforts to strengthen
and protect the hospitals, community health centers, and providers who work tirelessly to deliver
high quality care to their patients. Unfortunately, due largely to the policies of this administration,
the number of people in the United States without health insurance increased last year for the first
time in more than a decade.

We specifically oppose the collection of information on health insurance status as proposed in this
Emergency Submission Comment. In fact, we strongly oppose the underlying October 4, 2019
proclamation mandating that visa applicants abroad buy health insurance. This proclamation is not
about improving access to health care or making sure hospitals are paid. Instead, it serves as yet
another constraint on legal immigration, imposing a wealth test that will disproportionately harm
people of color. Like the Muslim ban or the public charge regulation, it sends one message: if you're
not white and wealthy, you're not welcome here.

The proclamation actually threatens to undermine the nation’s health. It restricts immigrants’
ability to purchase comprehensive health insurance available through the Affordable Care Act
(ACA) marketplaces. Congress elected to make lawfully residing immigrants eligible for subsidized
marketplace coverage because doing so advances the health of our nation. The proclamation puts
the nation’s health at risk by ignoring Congress and instead requiring individuals to buy costly and
less comprehensive health coverage.

Notably, the proclamation allows short-term plans, which do not comply with the Affordable Care
Act’s consumer protections, to qualify as “acceptable” coverage. Frequently referred to as “junk
plans,” short-term plans lack comprehensive coverage and can be prohibitively expensive for
individuals with pre-existing conditions. This isn’t promoting health insurance—this is putting a
barrier between individuals and the coverage for which they are eligible. In fact, forcing immigrants
to avoid comprehensive insurance could increase uncompensated care costs for providers, when
patients can’t afford needed health care that is not covered by these bare- bones plans.

There is still time to protect the nation’s health before the proclamation goes into effect. We call on
you to rescind this proclamation before it goes into effect.
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                                                                                  000230


Sincerely,

Access Living
Action Together Walpole
ADAPT Montana
Advocates for Basic Legal Equality, Inc.
Advocates for Youth
African Communities Together
African Services Committee
AIDS Foundation of Chicago
Alabama Arise
Alameda Health Consortium
Alliance for African Assistance
American Federation of Teachers
API Chaya
APLA Health
AR Hunger Relief Alliance
Arab American Association of NY
Arizona Coalition to End Sexual and Domestic Violence
Asian & Pacific Islander American Health Forum
Asian American Federation (AAF)
Asian American Legal Defense and Education Fund (AALDEF)
Asian Americans Advancing Justice - LA
Asian Americans Advancing Justice | Chicago
Asian Americans Advancing Justice| AAJC
Asian Health Services
Asian Law Alliance
Asian Pacific American Labor Alliance, AFL-CIO
Asian Pacific Institute on Gender-Based Violence
Asian Pacific Policy and Planning Council
Asian Services In Action, Inc. (ASIA, Inc.)
Association for Community Living in Boulder & Broomfield Counties
Association of Asian Pacific Community Health Organizations (AAPCHO)
Association Of Moroccan Immigrant Network (A.M.I.N)
Association of Nurses in AIDS Care
Austin Region Justice for Our Neighbors
Autistic Self Advocacy Network
Bay Area Regional Health Inequities Initiative
Bellingham Deaf and Disability Justice Collective
Berkeley Journal of Employment and Labor Law
Berkshire Immigrant Center
BIDMC Immigration Advocacy Team
BiNet USA
Black Alliance for Just Immigration (BAJI)
Bread for the World
BronxCare Hospital/Mt. Sinai Hospital
Brooklyn Defender Services
Cabrini Immigrant Services of NYC
California Alliance for Retired Americans
California Association of Food Banks
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California Food Policy Advocates
California Immigrant Policy Center
California Pan-Ethnic Health Network
California Partnership to End Domestic Violence
California Primary Care Association
California Reinvestment Coalition
California Teachers Association
Californians Together
Campaign for New York Health
Cape Cod Coalition for Safe Communities
Caritas of Waco
Catholic Charities
Catholic Charities Diocese of Monterey
Catholic Charities Hawaii
Center Against Sexual & Domestic Abuse, Inc.
Center for Health Policy and Law at Northeastern University School of Law
Center for Health Progress
Center for Independence of the Disabled, NY
Center for Law and Social Policy (CLASP)
Center for Public Policy Priorities
Center for Reproductive Rights
Center for the Study of Social Policy
CenterLink: The Community of LGBT Centers
Central American Resource Center of California (CARECEN LA)
Centro Latino Americano
Changing The Future Outcome
Charlotte Center for Legal Advocacy
Chhaya Community Development Organization
Chicago Alliance Against Sexual Exploitation
Child Care Law Center
Children First for Oregon
Children's Defense Fund - Texas
Children's Defense Fund-New York
Children's HealthWatch
Chinese American Planning Council
Chinese for Affirmative Action
Chinese-American Planning Council
Christian Reformed Church Office of Social Justice
Church World Service
Citizen Action of Wisconsin
City of Tucson, Arizona
Clinicians for Progressive Care
Coalition Ending Gender-Based Violence
Coalition for Asian American Children and Families
Coalition for Disability Health Equity
Colorado Cross-Disability Coalition
Colorado Developmental Disabilities Council
Colorado Fiscal Institute
Colorado Foundation for Universal Health Care
Columbia Legal Services
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Community Action Board of Santa Cruz County, Inc.
Community Action Marin
Community Action Partnership of SLO County
Community Catalyst
Community Clinic Association of Los Angeles County
Community Clinic Consortium of Contra Costa and Solano
Community Growth Center
Community Health Care Association of New York State (CHCANYS)
Community Healthcare Network
Community Legal Aid Society Inc.
Community Resource Center
Compass Family Services
Connecticut Institute for Refugees and Immigrants
Connecticut Oral Health Initiative, Inc.
Council for Global Equality
Council on American-Islamic Relations, San Diego Office
CRLA Foundation
CT Shoreline Indivisible
Daya inc
Dayle McIntosh Center
DC-MD Justice For Our Neighbors
Detroit Disability Power
Disability Community Resource Center, Inc.
Disability Rights Education & Defense Fund
Disability Rights Pennsylvania
Disciples Refugee & Immigration Ministries
Doctors for America
DQIA: disabled queers in ACTION!
Education and Leadership Foundation
El Centro, Inc.
Emerald Isle Immigration Center
Empire Justice Center
Empower Missouri
Empowering Pacific Islander Communities (EPIC)
End Domestic Abuse Wisconsin: The Wisconsin Coalition Against Domestic Violence
Entre Hermanos
Equality California
Equality North Carolina
EverThrive Illinois
Fair Immigration Reform Movement (FIRM)
Faith Action Network
Families Belong Together
Families USA
Family Advocates, Inc.
Family Equality
Family Voices of Tennessee
Feeding Texas
First 5 Marin Children and Families Commission
First Focus Campaign for Children
First Parish Immigration Justice Task Force
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Florida Health Justice Project
Florida Impact to End Hunger
Florida Policy Institute
Food for People, the Food Bank for Humboldt County
Food Research & Action Center
Freedom Network USA
Gay Men’s Health Crisis (GMHC)
Georgia ADAPT
Georgians for a Healthy Future
GirlForward
Greater Philadelphia Coalition Against Hunger
Guadalupe Centers High School
Gulfcoast Legal Services, Inc.
Guttmacher Institute
Hand in Hand: The Domestic Employers Network
Health & Medicine Policy Research Group
Health Care For All
Health Care for All New York
Health Care for America Now (HCAN)
Health Law Advocates
Healthy House Within A MATCH Coalition
Heartland Alliance
Heights Friends of Immigrants
HIAS Pennsylvania
Hispanic Federation
Hispanic Health Council
Homeless and Housing Coalition of Kentucky
Housing Action Illinois
Houston Immigration Legal Services Collaborative
Hunger Free Vermont
Idaho Voices for Children
Illinois Coalition Against Domestic Violence
Illinois Coalition for Immigrant and Refugee Rights
Immigrant and Refugee Community Organization
Immigrant Connection
Immigrant Law Center of Minnesota
Immigrant Legal Advocacy Project
Immigrant Legal Resource Center
Immigrant Rights Action
Immigrants Contribute
Immigration Justice Task Force - First Parish in Concord
In Our Own Voice: National Black Women's Reproductive Justice Agenda
Indiana Coalition for Human Services
Indivisible Eastside -WA
Interfaith Anti Bias Task Force
International Community Health Services
InterReligious Task Force on Central America and Colombia (IRTF Cleveland)
Iowa Coalition Against Domestic Violence (ICADV)
Irish International Immigrant Center
Japanese American Social Services, Inc.
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                                                                                  000234


Jefferson County Immigrant Rights Advocates
Jewish Family & Children's Service
Jewish Family Service of Los Angeles
Jewish Vocational Service, Boston
Jubilee Immigration Advocates
Just Harvest
Justice Center of Southeast MA
Justice for Our Neighbors Michigan
Justice in Aging
Kentucky Equal Justice Center
Kentucky Voices for Health
KIAC Kitsap Immigrant Assistance Center Bremerton, WA
Kids for College
Korean American Family Services (KFAM)
Korean Community Center of the East Bay
Korean Community Services of Metropolitan NY Inc.
La Casa Norte
La Clinica de La Raza
La Union del Pueblo Entero
Lana’i Community Health Center
Latino Coalition for a Healthy California
Law Foundation of Silicon Valley
LeadingAge
Legal Aid Society of San Mateo County
Legal Council for Health Justice
Lenox Hill Neighborhood House
Linda Vista United Methodist Church
Literacy Volunteers Winchester Area
Long Island Activists
Long Island Inclusive Communities Against Hate
Long Island Language Advocates Coalition
Los Angeles Christian Health Centers
Lutheran Social Services of New York
Make the Road New York
Maryland Citizens' Health Initiative Education Fund Inc.
Maryland Hunger Solutions
Massachusetts Immigrant and Refugee Advocacy Coalition
Massachusetts Law Reform Institute
Maternal and Child Health Access
Maxwell Street Legal Clinic
McLennan County Hunger Coalition
Metro New York Health Care for All
MI Disability Rights Coalition
Mi Familia Vota
Michigan Coalition to End Domestic & Sexual Violence
Michigan Immigrant Rights Center
Michigan League for Public Policy
Migrant and Immigrant Community Action Project
MinKwon Center for Community Action
Minnesota Budget Project
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Mississippi Center for Justice
Missouri Kansas AILA Chapter Member
MLPBprimary
Modern Military Association of America
MomsRising
Montana Primary Care Association
Muslim Public Affairs Council (MPAC)
NASTAD
National Asian Pacific American Women's Forum
National Asian Pacific Center on Aging (NAPCA)
National Association for the Education of Young Children (NAEYC)
National Association of Pediatric Nurse Practitioners
National Association of Social Workers
National Center for Law and Economic Justice
National Center for Transgender Equality
National Coalition Against Domestic Violence
National Coalition for the Homeless
National Consumer Law Center
National Council of Jewish Women
National Employment Law Project
National Hispanic Council on Aging
National Immigrant Justice Center
National Immigration Law Center
National Justice for Our Neighbors
National Latina Institute for Reproductive Health
National LGBTQ Task Force
National Low Income Housing Coalition
National Partnership for Women & Families
National WIC Association
National Women's Law Center
NC Child
Nebraska Appleseed
Nebraska Coalition to End Sexual and Domestic Violence
NETWORK Lobby for Catholic Social Justice
New Mexico Center on Law and Poverty
New York Immigration Coalition
New York Justice for Our Neighbors
New York Legal Assistance Group
NM Voices for Children
North Carolina Justice Center
North County Immigrant Task Force
North East Medi-Cal Services (NEMS)
North Suburban Legal Aid Clinic
Northwest Harvest
Northwest Health Health and Human Rights
Northwest Health Law Advocates
NYC Coalition to Dismantle Racism in the Health System
NYCD16 Indivisible
Oasis Legal Services
Ohio Domestic Violence Network
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Oklahoma Policy Institute
OneAmerica
Opening Doors International Services, Inc.
Operation Access
Oregon Food Bank
Pacific Asian Counseling Services
Pan Asian Volunteer Health Clinic
Parent Possible
Partnership for America's Children
Pax Christi Illinois
Pennsylvania Immigration and Citizenship Coalition
PFLAG National
Physicians for a National Health Program - NY Metro
Placer Independent Resource Services
Planned Parenthood Affiliates of California
Planned Parenthood Federation of America
Positive Women's Network-USA
Presentation Sisters at Caminando Juntos
Prevention Institute
Progressive Doctors
Project IRENE
Protect Our Care Illinois Coalition
Public Health Justice Collective
Public Justice Center
Rainbow House Domestic Abuse Services, Inc.
RefugeeOne
RESULTS
Robert F. Kennedy Human Rights
Rosie's Place
Safe Horizon Immigration Law Project
SAGE
San Diego Immigrant Rights Consortium
San Francisco Latino Democratic Club
Sauti Yetu Center for African Women and Families
Seattle/King County Coalition on Homelessness
SEIU
Services, Immigrant Rights & Education Network (SIREN)
Sexuality Information and Education Council of the United States (SIECUS)
Show Up Long Island
Shriver Center on Poverty Law
Silver State Equality-Nevada
Snohomish Immigration Advocacy
Social Justice Task Force, San Mateo County Democracy for America
Solano CountySupervisor District 2
South Asian Fund For Education, Scholarship and Training (SAFEST)
South Asian Network
South Bronx United
South Carolina Appleseed Legal Justice Center
Southeast Asia Resource Action Center (SEARAC)
Southern Poverty Law Center
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Southwest Center for Independence
St. Paul Community Literacy Consortium
Statewide Poverty Action Network
Student National Medical Association (SNMA)
SYL Foundation
TakeAction Minnesota
Tennessee Justice Center
The Achievable Foundation
The Black Women's Health Imperative
The Children's Partnership
The Coelho Center for Disability Law, Policy and Innovation
The Fenway Institute
The Inland Empire Immigrant Youth Collective
The Leadership Conference on Civil and Human Rights
The Legal Aid Society
The Right to Immigration Institute
Tiburcio Vasquez Health Center, Inc.
Together We Will Long Island
Treatment Action Group (TAG)
Ujima Inc.: The National Center on Violence Against Women in the Black Community
UnidosUS
Union for Reform Judaism
Union of North American Vietnamese Student Associations
United African Organization
United Cambodian Community
Unity Health Care
Universal Health Care Action Network
Universal Health Care Foundation of Connecticut
University YMCA New American Welcome Center
UPLAN (United Parent Leaders Action Network)
Utahns Against Hunger
UURISE - Unitarian Universalist Refugee and Immigrant Services and Education
Valley Settlement
Vermont Affordable Housing Coalition
Vermont Legal Aid
Vermont Network Against Domestic and Sexual Violence
Violence Free Colorado
Violence Free Minnesota
Virginia Garcia Memorial Health Center
Wallingford Indivisible
Washington State Coalition Against Domestic Violence (WSCADV)
Wayne Action for Racial Equality
We Are One, Inc. - www.WeAreOne.cc - WAO
WeCount!
Welcome Project Inc
West Valley Neighborhoods Coalition
West Virginians for Affordable Health Care
West Virginians Together for Medicaid
Western Center on Law & Poverty
Whitman-Walker Health
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Wisconsin Faith Voices for Justice
World Relief
WV FREE
YWCA Pierce County
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                                                                                       000239
                   Center for Public
                   Representation


October 31, 2019

Edward J. Ramotowski
Deputy Assistant Secretary
Department of State, Bureau of Consular Affairs
Office of Visa Services
600 19th Street, NW
Washington, DC 20036

Department of State Desk Officer
Office of Management and Budget
Office of Information and Regulatory Affairs
725 17th St NW
Washington, DC 20503

Re: Notice of Information Collection Under OMB Emergency Review: Immigrant Health
Insurance Coverage
DS Form No.: DS-5541
OMB Control No.: None

Dear Assistant Secretary Ramotowski,

The Center for Public Representation (CPR) writes to express our strong opposition the State
Department’s request for emergency review and collection of information regarding its
implementation of the presidential proclamation issued October 4, 2019 mandating that visa
applicants abroad buy certain approved health insurance or have the financial means to cover
foreseeable medical expenses. CPR is a national legal advocacy organization that promotes the
full integration and community participation of people with disabilities. We are deeply
concerned by the discriminatory nature of the underlying proclamation the State Department
seeks to implement and believe it will prove to be enormously harmful to immigrants with
disabilities.

The proclamation -- which not only requires proof of coverage or the financial means to cover
expenses, but limits that coverage to plans that typically do not meet the needs of people with
disabilities -- will bar many people with disabilities from lawful entry into the United States.
Furthermore, emergency review to allow the State Department to implement the proclamation
upon its effective date of November 3, 2019 is inappropriate. Emergency review is limited and




                                   www.centerforpublicrep.org
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“in every case, the agency must show that . . . [t]he collection of information is essential to the
mission of the agency.”1 The implementation of a presidential proclamation that requires the
State Department to track and monitor immigrants’ health care coverage, an area in which the
State Department has not previously been involved, is clearly not central to the mission of the
agency. Beyond that, as described below, the underlying proclamation also conflicts with
existing law, and it is not the job of the State Department to implement illegal policy.

The proclamation illegally restricts immigrants’ ability to purchase comprehensive health
insurance available through the Affordable Care Act (ACA) marketplaces by denying them
access to subsidized insurance offered through the marketplaces, which lawful permanent
residents (including those with incomes at or below 100% of the federal poverty line who are
not otherwise eligible for Medicaid) are entitled to,2 ignoring the law’s language, its intent, and
Congressional will. The proclamation instead permits the purchase of more costly, less
comprehensive coverage, including ACA-compliant catastrophic coverage and short term
limited duration insurance (STLDIs) and association health plans (AHPs) that are not required to
comply with the essential health benefits (EHBs) that are mandatory for all ACA plans. AHPs and
STLDIs thus do not have to provide the ACA’s key protections for people with disabilities and in
fact are allowed to refuse coverage on the basis of pre-existing conditions, meaning immigrants
with disabilities would not be able to purchase those plans even if they wanted to do so.
Denying access to more comprehensive coverage and instead promoting less comprehensive
coverage is likely to increase uncompensated care, not decrease it, the very issue the
proclamation claims to address.

The approved coverage under the proclamation also specifically bars Medicaid coverage for
adults. Medicaid is generally the only provider of home and community based services for
people with disabilities since they are not typically covered by private insurance. These services
are critical to the independence and community integration of many people with disabilities,
who rely on them to work, live in their own homes, and participate in their communities.
Restricting people who do qualify from accessing Medicaid runs counter to Medicaid’s express
purpose of increasing access to health care and conflicts with exceptions to the five year ban on
Medicaid coverage for lawful permanent residents explicitly provided for under the Personal
Responsibility and Work Opportunity Reconciliation Act (PRWORA) and the Children's Health
Insurance Program Reauthorization Act (CHIPRA).3




1
  Paperwork Reduction Act Guide 11 (Office of Personnel Mgmt. 2011), https://www.opm.gov/about-us/open-
government/digital-government-strategy/fitara/paperwork-reduction-act-guide.pdf (citing 5 C.F.R. §
1320.13(a)(1)).
2
  26 U.S.C. § 36B(c)(1).
3
  Complaint at 37-39, Doe v. Trump, No. 3:19-cv-01743-SB (D. Or. Oct. 30, 2019).


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Immigrants with disabilities must have a fair opportunity to enter and reside legally in the
United States, without unnecessary or discriminatory restrictions. The proclamation the State
Department seeks to implement is another unwelcome throwback to the historical exclusion of
people with disabilities. It will deny productive, valuable individuals entry to the United States
based on stereotypes and fears about disability. In the interest of maintaining the integrity of
our immigration system and respect for Congressional authority, we respectfully ask that the
proclamation and policies related to its implementation be rescinded before it goes into effect.

Sincerely,

Alison Barkoff
Director of Advocacy
abarkoff@cpr-us.org

Erin Shea
Policy Associate
eshea@cpr-us.org




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                                                                                                 • ~ •       Oregon Primary
                                                                                                   (J        Care Association



Department of State, Office of Information and Regulatory Affairs, Office of Management and Budget
Department of State's Bureau of Consular Affairs, Office of Visa Services
Docket Number: DOS-2019-0039

Re: Emergency Submission Comment on Immigrant Health Insurance Coverage

October 31, 2019

To whom it may concern:

On behalf of the Oregon Primary Care Association (OPCA), we respectfully request that the proposed rule be
immediately withdrawn. OPCA is a non-profit organization, with a mission to support Oregon's 32 community
health centers, also known as federally qualified health centers, in leading the transformation of primary care to
achieve health equity for all. Community health centers deliver integrated primary care, including dental and
behavioral health services, to over 430,000 Oregonians annually. Community health centers are providers within
the CCO networks, providing care to some of Oregon's most vulnerable populations, including one in four
Oregon Health Plan (Medicaid) members.

We support a nation where all are truly equal, immigration is recognized as a strength, and individuals have
access to the essentials of life without regard to where they were born. As part of this vision, we support access
to comprehensive, affordable health care-and efforts to strengthen and protect community health centers and
providers who work tirelessly to deliver high quality care to their patients.

We specifically oppose the collection of information on health insurance status as proposed in this Emergency
Submission Comment. In fact, we strongly oppose the underlying October 4, 2019 proclamation mandating that
visa applicants abroad buy health insurance. This proclamation is not about improving access to health care or
making sure hospitals are paid. Instead, it serves as yet another constraint on legal immigration, imposing a
wealth test that will disproportionately harm people of color.

The proclamation actually threatens to undermine the nation's health. It restricts immigrants' ability to purchase
comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces. Congress
elected to make lawfully residing immigrants eligible for subsidized marketplace coverage because doing so
advances the health of our nation. The proclamation puts the nation's health at risk by ignoring Congress and
instead requiring individuals to buy costly and less comprehensive health coverage.

Notably, the proclamation allows short-term plans, which do not comply with the Affordable Care Act's consumer
protections, to qualify as "acceptable" coverage. Frequently referred to as "junk plans," short-term plans lack
comprehensive coverage and can be prohibitively expensive for individuals with pre-existing conditions. This isn't
promoting health insurance-this is putting a barrier between individuals and the coverage for which they are
eligible. In fact, forcing immigrants to avoid comprehensive insurance could increase uncompensated care costs
for providers, when patients can't afford needed health care that is not covered by these bare- bones plans.

There is still time to protect the nation's health before the proclamation goes into effect. We call on you to rescind
this proclamation before it goes into effect.


Sincere!:_£ ,
~Z,~
Marty Carty
Policy Manager



           333 SW 5th Ave • Suite 250 • Portland OR 97204 • 503.228.8852 office • 503.228.9887 fax • www.orpca.org
                                               © Oregon Primary Care Association
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                                 American Academy of Pediatrics
                                 DEDI CATE D TO THE HEALTH OF ALL C HILDREN®




AAP Headquarters                 October 31, 2019
345 Park Blvd
Itasca, IL 60143
Phone: 630/626-6000
Fax: 847/434-8000
                                 VIA ELECTRONIC SUBMISSION
E-mail: kidsdocs@aap.org
www.aap.org
                                 Department of State, Office of Information and Regulatory Affairs, Office of Management and
Reply to                         Budget
AAP Washington Office
601 13th St NW, Suite 400N       Department of State’s Bureau of Consular Affairs, Office of Visa Services
Washington, DC 20005             Docket Number: DOS-2019-0039
Phone: 202/347-8600
E-mail: kids1st@aap.org
                                 RE: Notice of Information Collection Under OMB Emergency Review: Immigrant Health
Executive Committee              Insurance Coverage
President
Kyle Yasuda, MD, FAAP            To whom this may concern:
President-Elect
Sara H. Goza, MD, FAAP
                                 On behalf of the American Academy of Pediatrics (AAP), a non-profit professional organization
Immediate Past President
Colleen A. Kraft, MD, FAAP
                                 of 67,000 primary care pediatricians, pediatric medical subspecialists, and pediatric surgical
                                 specialists dedicated to the health, safety and well-being of infants, children, adolescents, and
Secretary/Treasurer
Anthony D. Johnson, MD, FAAP     young adults, I write to oppose the collection of information in this notice as well as the
CEO/Executive Vice               underlying Presidential Proclamation on the Suspension of Entry of Immigrants Who Will
President                        Financially Burden the United States Healthcare System.
Mark Del Monte, JD


Board of Directors               The Proclamation would suspend entry of immigrants unless they can prove they will be
District I                       covered by approved health insurance within 30 days of entry into the U.S. or that they have
Wendy S. Davis, MD, FAAP         financial resources to pay for reasonably foreseeable medical costs. Under the proclamation,
Burlington, VT
                                 approved health insurance would include employer-sponsored and other private coverage,
District II
Warren M. Seigel, MD, FAAP
                                 including unsubsidized coverage through the Affordable Care Act (ACA) Marketplaces, Short-
Brooklyn, NY                     Term Limited Duration Insurance plans, traveler plans, or catastrophic plans. Subsidized
District III                     Marketplace coverage and Medicaid coverage for adults would not be considered approved
Margaret C. Fisher, MD, FAAP     coverage.
Long Branch, NJ
District IV
Jane Meschan Foy, MD, FAAP       This Proclamation would not improve immigrant families’ access to care. Instead, it would
Winston-Salem, NC                force immigrant families seeking a visa to lawfully enter the U.S. towards less comprehensive
District V                       coverage options, higher costs, and fewer consumer protections. We fear that the policy
Richard H. Tuck, MD, FAAP
Zanesville, OH
                                 changes outlined in the Proclamation, combined with the chilling effect of policies like public
District VI
                                 charge, will deter immigrant families from enrolling in insurance coverage and will lead to
Dennis M. Cooley, MD, FAAP       some children losing coverage altogether. In fact, according to the Migration Policy Institute,
Topeka, KS                       the Proclamation may render two-thirds of green card applicants ineligible.
District VII
Anthony D. Johnson, MD, FAAP
Little Rock, AR                  We strongly oppose the Proclamation and call for its immediate rescission. Our specific
District VIII                    comments are below.
Martha C. Middlemist, MD, FAAP
Centennial, CO
District IX
Yasuko Fukuda, MD, FAAP
San Francisco, CA
District X
Lisa A. Cosgrove, MD, FAAP
Merritt Island, FL
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It is the official policy of the Academy that all children, adolescents, and young adults from birth to the age of
26 years who reside within our borders, regardless of income, family composition, or immigration status,
should be covered by an affordable, quality health insurance plan that allows access to comprehensive
essential care. 1 Health insurance for all children should offer a comprehensive, age-appropriate essential
benefit package that includes the full range of essential pediatric services. 2 Moreover, the AAP insists that
documented and undocumented immigrant children should have the same access to insurance coverage or to
essential health care as children who are US citizens. 3

Comprehensive, quality health insurance coverage allows children to receive essential pediatric services,
including care provided through a medical home. When children see providers who know their medical history
and can monitor their physical and socio-emotional development, they are more likely to have better overall
health, be up-to-date on immunizations, perform better in school, and receive care in the most cost-effective
way. 4 Moreover, child health is a strong predictor of adult health. Addressing health and development during
childhood—from birth through adolescence—leads to improved life outcomes in many areas. Conversely, the
inability to access health care services threatens the physical, mental, and social health and well-being of
children and their caregivers. 5

According to the Proclamation, approved health insurance coverage would include plans that do not meet the
standards as outlined in AAP Policy, including Association Health Plans (AHP) and Short-Term Limited-
Duration Insurance (STLDI) plans. As we noted in our prior comment letters opposing the expansion of AHPs 6
and STLDI plans, 7 families who purchase these plans could be subject to pre-existing condition exclusions,
annual or lifetime limits, limited benefits with no guaranteed coverage of essential health benefits (EHBs) such
as prescription drug coverage and pediatric and maternity benefits, rating restrictions based on health status,
and no guaranteed renewability without medical underwriting. Consequently, children enrolled in these plans
may not have access to a full range of in-network pediatric providers to ensure they receive all necessary
pediatric care, given the lack of network adequacy requirements for these plans. Similarly, women enrolled in
these plans may be left without prenatal and maternity coverage if they become pregnant.

Under current law, states have the option of expanding Medicaid coverage to lawfully residing immigrant
pregnant women. This Proclamation does not include Medicaid coverage as acceptable coverage for
immigrant adults, which would supersede state law in the 25 states that have taken up this option, and force
pregnant women to find alternative coverage that is less comprehensive and does not meet their unique
needs. As outlined above, ACA-noncompliant plans provide inadequate coverage for pregnant women and will
have a direct negative impact on the health and well-being of pregnant women in the United States.

1
  Committee on Child Health Financing. Pediatrics Sep 2017, 140 (3) e20172098; DOI: 10.1542/peds.2017-2098 Available at
https://pediatrics.aappublications.org/content/140/3/e20172098#sec-12
2
  This includes prenatal and newborn care; postnatal home visits; preventive and wellness services; urgent and emergency care; acute,
inpatient, and chronic care services; developmentally appropriate habilitative and rehabilitative therapies and devices; dental services;
behavioral and mental health services; transition to adult care services; reproductive health and pregnancy-related services; and
treatment of substance abuse disorders. Insurance should also cover oral health and vision care services; home-based care, including
private duty nursing and personal care services; palliative and hospice care services; durable medical equipment; interpreter services;
specialty formulas; and prescription drugs in formulations appropriate for children.
3
  Council on Community Pediatrics. Providing care for immigrant, migrant, and border children. Pediatrics. 2013;131(6). Available
at: www.pediatrics.org/cgi/content/full/131/6/e2028
4
  Murphey, David. “Health Insurance Coverage Improves Child Well-Being.” Child Trends, May 2017. https://www.childtrends.org/wp-
content/uploads/2017/05/2017-22HealthInsurance_finalupdate.pdf.
5
  AAP Blueprint for Children, 2016 https://www.aap.org/en-us/Documents/BluePrintForChildren.pdf
6
  https://downloads.aap.org/DOFA/SKGAHP.pdf
7
  https://downloads.aap.org/DOFA/SKGSTLDI.pdf
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Additionally, as the health of mothers and children is interrelated and affected by multiple factors, inadequate
coverage for pregnant women can lead to complications that ultimately negatively impact the long-term
health of their newborn children. 8

Furthermore, because the AHPs and STLDIs are not subject to the ACA’s consumer protection requirements,
children, pregnant women, and their families could have their coverage rescinded at any time. This would be
detrimental for a family with a child who develops a health condition during the plan period and requires
services that are not covered under the plan, or a woman who becomes pregnant and needs to access
maternity care. Gaps in needed services can have long-term implications for a growing child’s ability to reach
his or her full potential to become a contributing member of society, especially if the child is experiencing
developmental delays or has ongoing health problems.

While the Proclamation recognizes Medicaid as approved coverage for legal immigrants under 18 years of age,
we are deeply concerned that the chilling effect of the public charge regulations will deter parents from
enrolling their children in coverage. While the courts have prevented changes to the public charge test from
being implemented, the rule has already deterred immigrant families from accessing health and human
service programs, like Medicaid, that they often need and are eligible for in order to lead a healthy and
productive life. 9 Our pediatrician members report increases in no-show or cancellation rates for routine health
care appointments. One pediatrician in Texas commented that her clinic is seeing a huge increase in Hispanic
parents allowing their children’s Medicaid enrollment to lapse, even though their U.S. citizen children are
eligible for Medicaid.

Additionally, we are troubled that the Proclamation’s list of approved coverage does not consider the
Children’s Health Insurance Program (CHIP), which covers more than 9 million children and pregnant women.
For more than two decades, CHIP has been a national success story, giving states the ability to provide
coverage that meets the needs of families who are employed but still make too little to afford private
insurance. CHIP has a history of strong bipartisan support, most recently demonstrated by the ten-year
extension of the program as part of the Bipartisan Budget Act of 2018.

CHIP continues to play an important role in the coverage landscape for children and pregnant women. CHIP
benefits were specifically designed with children in mind and offer pediatric-appropriate networks of primary
care pediatricians, pediatric subspecialists, pediatric surgical specialists, and children’s hospitals so children
may access medically and developmentally appropriate care. Nineteen states also use CHIP to provide
necessary prenatal care to pregnant women to ensure that they have healthy pregnancies and give birth to
healthy infants.

Finally, this Proclamation comes at a time when children’s coverage is heading in the wrong direction. From
2017 to 2018, Medicaid and CHIP saw an enrollment decrease of more than 828,000, or 2.2 percent, of
children. 10 Similarly, recently released data from the U.S. Census Bureau shows that in 2018, 4.3 million


8
  Pregnancy Complications. Centers for Disease Control and Prevention, 23 Oct. 2018,
https://www.cdc.gov/reproductivehealth/maternalinfanthealth/pregnancy-
complications.html?CDC_AA_refVal=https://www.cdc.gov/reproductivehealth/maternalinfanthealth/pregcomplications.htm.
9 Bernstein, H., Gonzalez, D., Karpman,M., Zuckerman, S. One in Seven Adults in Immigrant Families Reported Avoiding Public Benefit

Programs in 2018 (Urban Institute, May 2019) Available at
https://www.urban.org/sites/default/files/publication/100270/one_in_seven_adults_in_immigrant_families_reported_avoiding_publi
_7.pdf
10
   https://data.medicaid.gov/Enrollment/State-Medicaid-and-CHIP-Applications-Eligibility-D/n5ce-jxme/data
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children in the United States were uninsured – an increase of 425,000 uninsured children in a single year.
According to the Census data, this decline is not due to commensurate gains in private coverage and can
instead be largely attributed to the decline in Medicaid enrollment. 11

By not including Medicaid in the list of approved coverage sources for adults, and by omitting CHIP entirely,
the Proclamation undermines the validity of these vital safety net programs. As pediatricians, we know that
parents who are enrolled in coverage are more likely to have children enrolled in coverage, and parents with
coverage are also more likely to maintain their children’s coverage over time. 12 Whereas children whose
parents are insured are almost always insured themselves, 21.6 percent of children whose parents are
uninsured are also uninsured, meaning when parents lose coverage, so do their children. 13 Consequently, we
fear that any coverage losses suffered as a result of the Proclamation to immigrant parents will have
downstream negative effects on their children, including U.S. citizen children.

Children’s coverage is susceptible to changes in federal and state policies and operations. 14 The Presidential
Proclamation will create uncertainty and unnecessary barriers to accessing coverage. As such, the AAP calls on
the Departments to rescind the Proclamation and to instead work to improve children’s access to
comprehensive, affordable coverage. If you have any questions, please do not hesitate to contact Stephanie
Glier in our Washington, D.C. office at 202-347-8600 or sglier@aap.org.


Sincerely,




Kyle E. Yasuda, MD, FAAP
President

KY/nw




11
  https://www.census.gov/library/stories/2019/09/uninsured-rate-for-children-in-2018.html
12
   Venkataramani, M., Pollack, C. E., & Roberts, E. T. (2017). Spillover Effects of Adult Medicaid Expansions on
Children’s Use of Preventive Services. Pediatrics. doi:10.1542/peds.2017-0953, Available at
http://pediatrics.aappublications.org/content/pediatrics/early/2017/11/09/peds.2017-0953.full.pdf
13
   Karpman, M. and G. Kenney. “Health Insurance Coverage for Children and Parents: Changes Between 2013 and
2017” Urban Institute, September 7, 2017. Available at http://hrms.urban.org/quicktakes/health-insurance-coveragechildren-
parents-march-2017.html
14
   https://www.aap.org/en-us/about-the-aap/aap-press-room/Pages/StatementonPublicHealthInsuranceEnrollmentNumbers.aspx
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           ACP.
American College of Physicians
Leading Internal Medicine, Improving Lives


October 31, 2019


The Honorable Edward J. Ramotowski
Deputy Assistant Secretary for Visa Services
Bureau of Consular Affairs
U.S. Department of State
2201 C Street, N.W.
Washington, DC 20520

RE: Notice of Information Collection Under OMB Emergency Review: Immigrant Health Insurance
Coverage

Dear Deputy Assistant Secretary Ramotowski:

The American College of Physicians (ACP) is writing in response to the Notice of Information Collection
under OMB Emergency Review: Immigrant Health Insurance Coverage (Docket No. DOS-2019-0039).
ACP is the largest medical specialty organization and the second-largest physician group in the United
States. ACP members include 159,000 internal medicine physicians (internists), related subspecialists,
and medical students. Internal medicine physicians are specialists who apply scientific knowledge and
clinical expertise to the diagnosis, treatment, and compassionate care of adults across the spectrum
from health to complex illness.

We strongly oppose the collection of information on health insurance status as proposed in this notice
and the underlying October 4, 2019 Presidential Proclamation, Suspension of Entry of Immigrants Who
Will Financially Burden the United States Healthcare System. The proclamation requires immigrants to
demonstrate that they will be covered by approved health insurance within 30 days of entry into the
U.S. or that they have financial resources to pay for “reasonably foreseeable medical costs.”

Under the proclamation, approved health insurance would include employer-sponsored and other
private coverage, including unsubsidized coverage through the Affordable Care Act (ACA) Marketplaces,
short-term, traveler, or catastrophic plans. Medicaid coverage for adults and federally subsidized ACA
Marketplace plans would not be considered approved coverage. The proclamation restricts immigrants’
ability to purchase comprehensive health insurance available through the ACA marketplaces and instead
requires them to obtain costly and potentially less comprehensive health coverage, such as short-term
plans, in order to qualify as “acceptable” coverage.

Short-term plans lack comprehensive coverage and can be prohibitively expensive for individuals with
pre-existing conditions. Because they were meant to be used for a limited time period, the plans are not
required to meet many of the patient protections required by standard insurance regulations and
known to improve health outcomes. Plans that are not required to cover essential health benefits; not
required to cover people with pre-existing health conditions; and that may place annual or lifetime
limits on coverage, are not providing the same access to care that comprehensive health insurance does.



25 Massachusetts Avenue, NW, Suite 700, Washington, DC 20001-7401 202-261-4500, 800-338-2746 www.acponline.org
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The proclamation will also make it more difficult for lower-income immigrants to enter the U.S.
According to the Migration Policy Institute, the proclamation may render two-thirds of applicants for
immigrant visas ineligible. In addition, fear and confusion surrounding this proclamation and other
immigration policy changes may deter immigrants who are lawfully present from enrolling in programs
they are eligible for.

In our 2011 paper, National Immigration Policy and Access to Health Care, ACP called for a national
immigration policy on health care that balances the needs of the country to control its borders, provides
access to health care equitably and appropriately, and protects the public’s health. ACP believes that
national immigration policy should differentiate treatment of persons who fully comply with the law in
establishing legal residency from that of persons who break the law in the determination of access to
subsidized health coverage and treatment. At the same time, national immigration policies should
ensure that all residents of the United States, without regard to their legal residency status, have access
to medical care, especially for primary and preventive care and vaccinations against communicable
diseases. The proclamation would impede access to health related benefits for immigrants and would
not only have negative consequences for the impacted individuals and their families but also their
communities.

We urge you to rescind this proclamation before it goes into effect. If you have any questions, please
contact Renee Butkus, Director Health Policy at rbutkus@acponline.org.

Sincerely,




Robert McLean, MD, FACP
President
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                             AMERICANS FOR
                           PROSPERITY.                             THE LIBRE INITIATIVE
                                                               LIMITED GOVERNMENT· UNLIMITED OPPORTUNITIES




                                                  October 31, 2019

Via Email

Edward J. Ramotowski
Deputy Assistant Secretary
Office of Visa Services
Bureau of Consular Affairs
Department of State
PRA_BurdenComments@state.gov

Department of State Desk Officer
Office of Information and Regulatory Affairs
Office of Management and Budget
The White House
oira_submission@omb.eop.gov


           Re:      Notice of Information Collection Under OMB Emergency Review:
                    Immigrant Health Insurance Coverage

       On behalf of Americans for Prosperity1 and The LIBRE Initiative, 2 I write in response to
the State Department’s proposed information-collection request regarding immigrant health
insurance coverage. 3 As currently written, the proposal creates unanswered questions and relies
on ambiguous standards that will cause confusion in consular offices and potentially disrupt the
immigration system. The State Department’s request for emergency review should be rejected and
the proposal should go through the normal notice-and-comment process.

     I.    OMB Should Reject the State Department’s Request for Emergency Review

        The President published Proclamation No. 9945 (“PP 9945”), on October 4, 2019, but this
cursory notice from the State Department came seventeen business days later with an inexplicable
one-day deadline for public comments. 4 If the State Department had a legitimate justification for
using emergency procedures, this argument is undercut by its decision to take seventeen business
days to publish its notice. The public comment period should not be curtailed due to the lack of
urgency on the part of the government to prepare a routine notice seeking public comment. The
notice provides no justification for the delay or lack of a robust public comment period, and the
1
    See AMERICANS FOR PROSPERITY About, www.americansforprosperity.org/about.
2
    See THE LIBRE INITIATIVE About, https://thelibreinitiative.com/about-us/.
3
 State Department, Notice of Information Collection Under OMB Emergency Review: Immigrant Health Insurance
Coverage, 84 Fed. Reg. 58,199 (Oct. 30, 2019).
4
    Proclamation No. 9945, 84 Fed. Reg. 53,991 (Oct. 4, 2019).
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Document No: 2019-23639
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Office of Management and Budget (“OMB”) should not approve the request for emergency
review. Further, the State Department should publicly disclose the reasons, if any, that it gave to
OMB to justify its request for emergency review.

 II.   The State Department Should Postpone the Implementation of Information
       Collection Until It Clarifies Requirements and Goes Through a Normal PRA
       Clearance Process

        Even if OMB approves the State Department’s request for emergency review, the State
Department should delay implementation until it clarifies the numerous issues with the current
methodology and completes the normal Paperwork Reduction Act (“PRA”) clearance process with
public comments. Implementing this rule as currently written would harm immigrants, American
citizens, and permanent residents. As the State Department estimates, this proposal could affect
more than 450,000 immigrants, many of whom are likely related to U.S. citizens and immediate
family members of lawful permanent residents. Implementation of the proposal should be
postponed until it completes the normal PRA process.

       We stand ready to work with anyone to improve our immigration system and ensure it is
focused on promoting opportunities for individuals to participate fully and contribute to our great
nation. If you have any questions about this comment, please contact me by e-mail at
Kevin.Schmidt@causeofaction.org. Thank you for your attention to this matter.


                                                 _____________________________________
                                                 KEVIN SCHMIDT
                                                 DIRECTOR OF INVESTIGATIONS
                                                 CAUSE OF ACTION INSTITUTE
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Department of State, Office of Information and Regulatory Affairs, Office of Management and Budget
Department of State’s Bureau of Consular Affairs, Office of Visa Services
Docket Number: DOS-2019-0039

Re: Emergency Submission Comment on Immigrant Health Insurance Coverage

October 31, 2019

To whom it may concern:

AIDS United feels it is necessary to respond to the Trump Administration’s Emergency Submission
Comment on Immigrant Health Insurance Coverage. As an organization, AIDS United is devoted to
ending the HIV epidemic and providing every person who is living with or affected by HIV in the United
States with the quality health care and supportive services that they deserve. This devotion to ending
the epidemic and taking care of people impacted by HIV extends to all immigrants currently living in the
United States and those seeking a better life in here. HIV makes no exceptions based on a person’s
nationality, ethnicity, or net worth and neither does AIDS United.

The Presidential Proclamation on the Suspension of Entry of Immigrants Who Will Financially Burden the
United States Healthcare System (PP 9945) demands that immigrants prove they will be able to obtain
unsubsidized health insurance within 30 days of their arrival or that they possess “the financial
resources to pay for reasonably foreseeable medical costs” as a prerequisite for the approval of a visa.
As such, all immigrants will have to obtain their health insurance without the use of Medicaid or
Affordable Care Act health insurance subsidies.

AIDS United strongly condemns this proclamation as a behind the scenes end-run to restrict legal
immigration to the United States. This proclamation is a wealth and health test for any immigrant trying
to come to the United States. And, when combined with the Public Charge rule change that came before
it, the proclamation will serve as an almost insurmountable roadblock for any immigrant living with HIV
seeking to live in the U.S.

AIDS United has been very active in partnering with the Trump administration in their Ending the HIV
Epidemic: A Plan For America and wishes to see it be as successful as possible. Unfortunately, the policy
changes proposed in PP 9945 run counter to public health best practices and will further increase the
sense of distrust between immigrants living with and affected by HIV in the United States—both
documented and undocumented—and the health care systems they need to access to treatment and
prevention services that will allow them to live long, healthy lives.

We also find it very problematic that PP 9945 allows for the use of short term, limited duration
insurance (STLDI) plans to qualify as “acceptable” coverage for immigrants. These plans will harm
patients and their families as well as others in the health care system by undermining access to quality,
affordable coverage. These plans also threaten to bring back abusive practices that harm consumers
specifically prohibited by the Affordable Care Act, effectively sanctioning discrimination by the insurance
industry and denying access to thousands including people living with HIV. AIDS United is currently
challenging recent regulations on STLDI plans in court in Association for Community Affiliated Plans et al
v. U.S. Department of Treasury et al. and urges the administration to move away from using these plans
to short circuit the ACA and specifically for immigrants.
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Finally, we object to the 48 hour comment window which will prevent many organizations and
individuals who wish to comment from doing so. This is not a fair process for many who are most likely
to be impacted by these changes.

AIDS United strongly encourages the Trump administration to rescind this Presidential Proclamation and
to ensure that a person’s HIV status or finances does not determine their ability to seek citizenship.

Sincerely,




William McColl
Vice President for Policy and Advocacy
AIDS United
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                                                                                                 000253
                              BOARD OF               SUPERVISORS


Keith Carson
Supervisor, 5th District

October 30, 2019


Department of State Desk Officer
Office of Information and Regulatory Affairs, Office of Management and Budget
Department of State’s Bureau of Consular Affairs, Office of Visa Services

RE: OPPOSE - EMERGENCY REVIEW COMMENT ON IMMIGRANT HEALTH INSURANCE
COVERAGE:
DOCKET NUMBER: DOS-2019-0039


To Whom It May Concern:

The County of Alameda submits these comments in response to the Request for Office of Management and
Budget (OMB) Emergency Review: Immigrant Health Insurance Coverage. Alameda County strongly objects
to the determination that instituting a two-day comment period and the underlying Presidential Proclamation is
in response to an ‘emergency’. There is no emergent crisis with respect to immigrants requesting to enter the
United States legally. The Presidential Proclamation will likely have the effect of denying thousands of law-
abiding immigrants’ entry into the United States. Alameda County opposes the proposed Presidential
Proclamation and urges it to be rescinded immediately.

Alameda County is one of the most ethnically diverse counties in the nation, home to over 1.6 million people, of
which approximately 500,000 are immigrants. The Alameda County Social Services Agency (SSA) offers an
array of programs and services to assist immigrants, refugees, and asylees entering our communities. These
programs include Refugee Social Services, Protective Services, CalWORKs, Refugee Cash Assistance, General
Assistance (GA), CalFresh, California Food Assistance Program, and Medi-Cal.

Effective November 3, 2019, the Proclamation targets individuals who are complying with U.S. immigration
laws and are seeking a family-based immigrant visa, but who may be unable to demonstrate that they will have
health insurance within 30 days of entering the country. The proclamation would affect people abroad who
wish to join their U.S. citizen or legal permanent resident (LPR) spouse or fiancé; children of LPR’s who are
18-21 years of age; adults who seek to join their U.S. citizen or LPR parents; or parents of U.S citizen children,
among other groups. The sweeping proclamation also would deny entry into the country if U.S. consular
officers determine that the applicant may not be able to pay for “reasonably foreseeable medical expenses.”

Under the proclamation, persons would be denied entry if they would otherwise be eligible for public health
care coverage programs, such as the Affordable Care Act (ACA)/Covered California, including the subsidies
contained in the program, and Medicaid/Medi-Cal. Such a policy undermines the goals of those programs to
cover all who are here legally and meet the income eligibility guidelines.

Data and research demonstrate that immigrants contribute greatly to our local, state, and federal economy and
social fabric. Local and state policies have been implemented recognizing and supporting those contributions.
Furthermore, California made a policy choice to make lawfully residing immigrants eligible for subsidized
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marketplace coverage because doing so advances the health of our nation. The Proclamation ignores those
federal, state and local policies enabling otherwise eligible legal immigrants to purchase comprehensive public
health insurance. It allows, however, the purchase of Administration-supported, non-ACA compliant short-term
health plans which do not provide comprehensive care nor protect the consumer. This is a disservice to our
communities and to the legal immigrants who help to enhance the diversity of our County, and does little to
eliminate uncompensated care costs. The Migration Policy Institute estimates that the practical effect of the
policy could exclude two-thirds of future immigrants. The majority of intending immigrants will be unable to
meet the 30-day window of either identifying a private health insurance plan or finding a job providing such
coverage.

As an County, we welcome all and remain committed to and supportive of access to services of all individuals
and families living in Alameda County, including immigrants contrary to the proclamation which is even more
egregious in that it is denying entry to the U.S. of those immigrants who are abiding by U.S. immigration law
and wish to be with their families.

For these reasons, Alameda County opposes the Proclamation and urges that it be rescinded immediately.

Sincerely,



Keith Carson
Chair, Personnel, Administration and Legislative (PAL) Committee
Board Supervisor, District 5


CC: Alameda County Board of Supervisors




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~M.~~~                                                 JAMES L. MADARA, MD                    ama-assn.org
                                                                                              t (312) 464-5000
     ~
                                                       EXECUTIVE VICE PRESIDENT, CEO
ASSOCIATION




 October 31, 2019



 The Honorable Mike Pompeo
 Secretary of State
 U.S. Department of State
 600 19th Street NW
 Washington, DC 20006

 Re: Visas: Ineligibility Based on Public Charge Grounds [DOS–2019–0035 and/or RIN: 1400–AE87] and
     60-Day Notice of Proposed Information Collection: Public Charge Questionnaire ‘‘Docket Number:
     DOS–2019–0037’’ and Notice of Information Collection Under OMB Emergency Review:
     Immigrant Health Insurance Coverage ‘‘Docket Number: DOS–2019–0039’’

 Dear Secretary Pompeo:

 On behalf of the physician and medical student members of the American Medical Association (AMA), I
 am writing to provide comments to the U.S. Department of State (DoS) in response to the Interim Final
 Rule on “Visas: Ineligibility Based on Public Charge Grounds” (interim final rule), the 60-Day Notice of
 Proposed Information Collection: Public Charge Questionnaire, and the Notice of Information Collection
 regarding immigrant health insurance coverage. We are deeply concerned about the interim rule’s
 negative impact on individuals and families who are seeking visas to enter the U.S to access health care
 services. The AMA strongly opposes any proposed rule, regulation, or policy that would deter
 immigrants/nonimmigrants seeking visas and/or their dependents from utilizing non-cash public benefits
 such as, but not limited to, Medicaid, Supplemental Nutrition Assistance Program (SNAP), and housing
 assistance. Impeding access to non-cash public benefits for these individuals and families could
 undermine population health in general, and thus we strongly urge the DoS to rescind the interim final
 rule. With regards to the public charge questionnaire, we believe that the proposed collection of
 information is not necessary for the proper function of the DoS and will have a negative impact on the
 health and well-being of individuals and families who are seeking visas. The AMA also opposes the
 collection of information on health insurance status as proposed in the emergency submission comment as
 well as the underlying Presidential Proclamation that is the basis for the collection of information.

 VISAS: INELIGIBILITY BASED ON PUBLIC CHARGE GROUNDS

 Public Charge Definition

 The AMA strongly opposes the change in the definition of public charge. In previous guidance issued by
 the DoS and in effect since May 1999, the federal government defined public charge for purposes of
 admission/adjustment as “an alien who is likely to become primarily dependent on the U.S. government
 for subsistence, as demonstrated by either (i) the receipt of public cash assistance for income maintenance
 or (ii) institutionalization for long-term care at government expense.” The interim final rule substantially
 broadens the definition of public charge as an alien who receives one or more public benefits for more
 than 12 months in the aggregate within any 36-month period. It is our understanding that this definition

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would mean, for instance, that receipt of two benefits in one month counts as two months’ worth of
benefits.

The interim final rule is more than a technical change to U.S. immigration/visa policy, it is a dramatic
shift. When coupled with an additional list of heavily weighted positive/negative factors immigration
officials may consider in determining visa ineligibility, we believe the proposed change in the definition
of public charge will further exacerbate the negative impacts on population health resulting from the U.S.
Department of Homeland Security’s (DHS) final rule on Inadmissibility on Public Charge Grounds.1

Public Benefit Definition

The DoS seeks to align its public benefit definition with the definition in the DHS final rule to include for
the first-time non-emergency Medicaid, SNAP, and public housing and rental assistance programs. It is
our understanding that the DoS in its interim final rule proposes to allow consular officers to deny visa
applications to applicants if the officer determines that the applicant “could become at any time a public
charge” under the expanded definition. We believe these proposed changes will negatively impact
population health.

Consideration of Additional Negative Factors and the Totality of the Circumstances Test

It is our understanding that under the DoS interim final rule, consular officers will use a “more likely than
not” standard and take into account the totality of a foreign national’s circumstances at the time of a visa
application when considering the likelihood of the individual’s becoming a public charge. At a minimum,
the factors would include the alien’s: age; health; family status; assets, resources, and financial status; and
education and skills.
        •    Age: A consular officer will consider 18 to 62 years of age as a positive factor; under age 18 and
             over age 62 will be considered a negative factor.
        •    Health: A consular officer will consider whether the individual has been diagnosed with a
             medical condition that is likely to require extensive medical treatment or institutionalization or
             that will interfere with his/her ability to work/attend school as a negative. The new provision adds
             that consular officers will consider the report of a medical examination performed by the panel
             physician where such examination is required, including any medical conditions noted by the
             panel physician.
        •    Assets, Resources, and Financial Status: A consular officer will consider in evaluating whether
             the individual’s assets, resources, and financial status make him/her likely to become a public
             charge. The officer will review whether the individual has applied for, been certified to receive or
             approved to receive, or received, one or more public benefits on or after October 15, 2019, or
             whether the alien has disenrolled or requested to be disenrolled from such benefits; whether the
             alien has received an immigration benefit fee waiver from DHS on or after the interim final rule’s



1
    On Oct. 11, 2019, judges before the U.S. District Courts for the Southern District of New York, Northern District of California, Eastern District
    of Washington, Northern District of Illinois, and District of Maryland ordered that DHS cannot implement and enforce the final rule on the
    public charge ground of inadmissibility under section 212(a)(4) of the Immigration and Nationality Act. The court orders also postpone the
    effective date of the final rule until there is final resolution in the cases. Most of the injunctions are nationwide and prevent USCIS from
    implementing the rule anywhere in the United States. https://www.uscis.gov/greencard/public-charge.
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             effective date; and whether the applicant has private health insurance or other financial resources
             sufficient to pay for reasonably foreseeable medical costs.
        •    Prospective Visa Classification: The interim final rule adds consideration of the individual’s
             prospective visa classification. Specifically, the DoS states in its interim final rule that “the visa
             classification, including the purpose and duration of travel, are relevant to assessing the
             likelihood that an alien would avail himself or herself of public benefits (noting that in many
             cases visa applicants may not be eligible for public benefits in the United States), and therefore
             consular officers must evaluate these factors on a case-by-case basis.” The DoS goes on to
             provide the following example, “An applicant with a serious chronic health condition seeking
             medical treatment in the United States on a tourist visa would be expected to establish that he or
             she has the means and intent to pay for all reasonably foreseeable treatment. By demonstrating
             the ability to cover the medical expenses anticipated on a short-term trip to the United States, the
             applicant can demonstrate that even though health presents as a negative factor, the applicant has
             financial resources that make it unlikely the applicant would avail himself or herself of one or
             more public benefits.”

The AMA strongly opposes the expansion of health-related factors that consular officers, with no
substantial health care training, must consider in determining visa eligibility. The interim final rule places
consular officers in the precarious position of making a visa determination based on a forward-looking,
more expansive public charge test; even if a person is not currently or has not previously used a public
benefit (which may be the case in visa applicants applying overseas), this means that an officer must
subjectively assess the likelihood of future use by the individual on a case-by-case basis. Many families
are considered mixed-status families, meaning the family includes members with different immigration
statuses and/or visas and it is our firm belief that this expanded public charge test will continue to foster
and increase toxic stress, confusion, and fear within families that could be torn apart due to the subjective
determination of consular officials. According to one survey conducted prior to the DHS final rule, one in
seven adults in immigrant families reported avoiding public benefit programs for fear of risking future
green card status, and more than one in five adults in low-income immigrant families reported this fear.2
We believe the DoS interim final rule, like the DHS final rule, will continue to have a chilling effect on
immigrant families and be utilized to deter these individuals and families from applying for visas.

New Requirements for Nonimmigrants and the Impact on J-1 and H-1B Visa Physicians

It is our understanding that nonimmigrants applying for a visa will also be subject to the new public
charge standard under the interim final rule. As part of the application process, nonimmigrants, such as
physicians on J-1 and H-1B visas, will need to demonstrate they are not using or receiving, nor are likely
to use or receive, public benefits such as the medical and nutritional services described in the interim final
rule. Additionally, it is our understanding that physicians on J-1 and H-1B visas would also be subject to
the new expanded “Totality of the Circumstances Test” factors which would include English language
proficiency and negative health factors such as being diagnosed with a medical condition that requires
extensive medical treatment. As a result, the AMA’s International Medical Graduate (IMG) members
would be directly impacted by the interim final rule. In 2016, 897,783 physicians were practicing in the
U.S., 206,030 (23 percent) of whom did not graduate from a U.S. or Canadian medical school. Also, in
2016, 30,000 IMG residents were in U.S.-based residency training programs. Additionally, 36 percent of
all practicing internists (i.e., primary care) were IMGs, (i.e., foreign-trained physicians) in 2016.

2
    https://www.urban.org/research/publication/one-seven-adults-immigrant-families-reported-avoiding-public-benefit-programs-2018.
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Once accepted into a residency program via the match process, physicians who are foreign nationals must
obtain a visa that permits participation in U.S. medical training. Foreign-born medical school graduates
commonly apply for a J-1 visa through the U.S. Exchange Visitor Program, which allows the Educational
Commission for Foreign Medical Graduates (ECFMG) to sponsor visas for physicians participating in
clinical training programs. However, the amount of time clinical trainees can stay in the U.S. through the
ECFMG is limited generally to seven years, which is the time typically required to complete a residency
program and a subsequent fellowship for sub-specialty training. After completing their residency, J-1 visa
holders must generally return to their home countries for two years before they can return to the U.S.,
often on an H-1B (temporary highly skilled nonimmigrant) or L-1 (intracompany transferee) visa.
International residency or fellowship graduates who are willing to work in medically underserved areas or
with underserved patients for three years can apply for a waiver of the two-year residency requirement.
There are several federal agencies that sponsor international physicians for these types of waivers,
including the Department of Veterans Affairs. The interim final rule has the potential to negatively impact
the VA’s ability to obtain physicians to provide timely, quality care to our nation’s veterans.

Whether the physician trains in the U.S. in J-1 status and then obtains a waiver of the two-year home
residency requirement, or performs research, teaches or provides direct patient care to U.S. citizens in
H-1B status, the path to lawful permanent resident status following the completion of training is not
guaranteed due to extreme backlogs in the federal government’s processing of these applications. Thus,
IMGs do not need any additional obstacles put in their path as they seek to become permanent U.S.
citizens and continue to provide care to our most vulnerable residents in rural and underserved parts of
our nation. Nearly 21 million people live in areas of the U.S. where foreign-trained doctors account for at
least half of all doctors. As such, the impact of the interim final rule on this physician cohort could
significantly undermine current efforts to address the worsening physician shortage, and directly impact
patient populations across the U.S. considered medically underserved.3 The U.S. is facing a serious
shortage of physicians, largely due to the growth and aging of the population and the impending
retirements of older physicians. According to recent data, the U.S. could see a shortage of up to 120,000
physicians by 2030, impacting patient care across the nation.4

Impact on Population Health

The U.S. Centers for Disease Control and Prevention (CDC) defines population health as providing “an
opportunity for health care systems, agencies and organizations to work together in order to improve the
health outcomes of the communities they serve.”5 We all have an important role to play in population
health. According to the CDC there are numerous advantages to developing policies that improve
population health such as: a reduction in mortality, a reduction in medical costs, and a reduction in life
expectancy inequity. Linking individuals and families to needed medical and social supports is a core
public health function that can add both health and economic value.6 We believe that neither health costs
nor public health concerns are driving these drastic changes in public charge policy by the Administration
and we strongly urge the rescission of the interim final rule by the DoS.



3
  https://www.americanimmigrationcouncil.org/sites/default/files/research/foreign-
trained_doctors_are_critical_to_serving_many_us_communities.pdf.
4
  https://aamc-black.global.ssl.fastly.net/production/media/filer_public/85/d7/85d7b689-f417-4ef0-97fb-
ecc129836829/aamc_2018_workforce_projections_update_april_11_2018.pdf.
5
  https://www.cdc.gov/pophealthtraining/whatis.html.
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  https://works.bepress.com/glen_mays/307/.
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60-Day Notice of Proposed Information Collection: Public Charge Questionnaire and Notice of
Information Collection Under OMB Emergency Review: Immigrant Health Insurance Coverage

On October 24, 2019, the DoS published a request for public comment on the form DS-5540 or the public
charge questionnaire. The DoS concedes in the notice that the questionnaire is more expansive than in the
past. Almost two decades ago, the federal government clarified that the use of services such as health
coverage or nutrition assistance would not be considered in the public charge determination. Only the
receipt of cash assistance for monthly income maintenance or government-funded long-term care could
be considered. Additionally, any negative factor could be outweighed by positive factors—most
importantly the sponsor’s Affidavit of Support—in determining whether the individual was likely to rely
on cash assistance or long-term care in the future. However, the DoS proposes to use the DS–5540 “to
collect more detailed information on an applicant’s ability to support himself or herself. Consular officers
will use the information to assess whether the applicant is likely to become a public charge, based on the
totality of the circumstances.” The DoS’ proposal seems to emphasize that the Affidavit of Support is a
positive factor in the totality of the circumstances test but is not sufficient on its own to protect an
individual from being determined likely to become a public charge. This is a dramatic shift in the intent
and use of the public charge questionnaire. As a result, the AMA believes that the proposed information
collection is not necessary for the proper function of the DoS and will have a negative impact on the
health and well-being of individuals and families who are seeking visas.

Application to the Presidential Proclamation on the Suspension of Entry of Immigrants Who Will
Financially Burden the United States Healthcare System (Presidential Proclamation)

Under the DoS’ notice for the public charge questionnaire, a consular officer may request any immigrant
visa applicant not subject to the public charge determination to be subject instead to the Presidential
Proclamation to ensure the applicant will be covered by approved health insurance within 30 days of
entry into the U.S. or that they have financial resources to pay for reasonably foreseeable medical costs.
Under the Presidential Proclamation, approved health insurance would include employer-sponsored and
other private coverage, including unsubsidized coverage through the Affordable Care Act (ACA)
marketplaces, short-term plans, traveler plans, or catastrophic plans. Subsidized marketplace coverage
and Medicaid coverage for adults would not be considered approved coverage. The Presidential
Proclamation claims that suspension is necessary to protect the health care system and taxpayers from
uncompensated care costs. We disagree. As outlined in our letter to the President, we believe the
Presidential Proclamation will cause confusion and have a chilling effect by discouraging non-citizens,
especially pregnant women and children, from applying for certain public benefits even if they are
eligible. In addition, we believe the Presidential Proclamation will increase the usage of short-term
limited duration insurance plans resulting in consumers purchasing inadequate, skimpy coverage, exempt
from the consumer protection provisions and benefit standards of the ACA.7

It is our understanding that under the Presidential Proclamation, the Secretary of State is authorized to
establish standards and procedures for governing the determinations of approved health insurance. On
October 30, 2019, the DoS issued a “Notice of Information Collection Under OMB Emergency Review:
Immigrant Health Insurance Coverage.” The DoS gave the public approximately 48-hours to comment on
the collection of information included in the emergency notice regarding the Presidential Proclamation.
The AMA believes the information collection request does not rise to the level of an emergency and

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    https://searchlf.ama-assn.org/undefined/documentDownload?uri=%2Funstructured%2Fbinary%2Fletter%2FLETTERS%2F2019-10-22-Letter-
    to-Trump-re-Presidential-Proclamation.pdf
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therefore does not require an abbreviated comment period. According to the DoS the Presidential
Proclamation does not suspend or limit the entry of applicants if they do not have coverage but possess
financial resources to pay for reasonably foreseeable medical expenses. Reasonably foreseeable medical
expenses are those expenses related to existing medical conditions, relating to health issues existing at the
time of visa adjudication. The emergency submission comment does not appear to fully explain how a
consular officer would effectively evaluate reasonably foreseeable medical expenses related to an
applicant’s existing medical condition. The AMA firmly opposes the collection of information on health
insurance status as proposed in this emergency submission comment. As detailed in our October 22, 2019
letter to the President of the United States, the AMA opposes the underlying Presidential Proclamation
and we also strongly oppose its application in any circumstance by the DoS.

Data and Privacy Concerns

A potentially serious unintended consequence of both the interim final rule and the public charge
questionnaire is its impact on patient data. As a result of the proposed changes to the public charge,
physicians may feel compelled not to include data about any public benefit immigrant families are
receiving—though information about such benefits are part of the social determinants of health
assessment seen as key to care coordination. To complicate the matter further, immigration authorities
may seize electronic health records as part of their investigations, which raises several questions about
both the accuracy and security of patient data and privacy of health information. Of concern, there may be
potential violations to the Health Insurance Portability and Accountability Act of 1996 depending on how
the federal government seeks to track insurance coverage and an individual’s medical condition.
Therefore, we remain deeply concerned about the impact the interim final rule and potentially the
questionnaire will have on patient data and privacy.

Impact on Certain Nonimmigrants

We strongly urge the DoS to consider another unintended impact of this change in policy on the children
of H-1B visa holders. It is our understanding that an applicant for a student visa F and/or an individual
seeking to change their status from an F to a H-1B would fall under the DoS’ sweeping new proposal for
the visa eligibility determination under the public charge grounds and by extension the revised DoS
public charge questionnaire. This means that children of H-1B visa holders, who may have turned age 21
or aged out and no longer fall under the H-4 classification, may now be included in the DoS interim final
rule and required to complete the public charge questionnaire. The DoS should consider the implications
of the interim final rule on the ability of these individuals to study and share their skills/talents in the U.S.
workforce.

Conclusion

The AMA believes every individual, regardless of immigration status, deserves timely, accessible, quality
health care, nutrition, and housing. The policy changes in the interim final rule have the potential to
worsen population health in general. We urge the Administration to rethink these proposed policy
changes, rescind the interim final rule, the public charge questionnaire and the collection of immigrant
health insurance information under the Presidential Proclamation and instead work with the AMA and
other health care professionals to develop policies that ensure the health of children and families is
protected throughout the immigration process.
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The Honorable Mike Pompeo
October 31, 2019
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If you have any questions, please contact Margaret Garikes, Vice President for Federal Affairs, at
margaret.garikes@ama-assn.org, or by calling 202-789-7409.

Sincerely,



James L. Madara, MD
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            ~ A®TheAmerican
An, I , ,
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                        Occupational Therapy
                        Association, Inc.
                                                                                 Occupational Therapy:
                                                                                 Living Life To Its Fullest®
    Submitted via www.Regulations.gov

    October 31, 2019

    Edward J. Ramotowski
    Deputy Assistant Secretary
    Visa Services
    Bureau of Consular Affairs
    Department of State

    Department of State Desk Office
    Office of Information and Regulatory Affairs
    Office of Management and Budget

    Regarding Immigrant Health Insurance Coverage Docket Number DOS-2019-0039 Form
    Number DS-5541

    Dear Deputy Assistant Secretary Ramotowski:

    The American Occupational Therapy Association (AOTA) is the national professional
    association representing the interests of more than 213,000 occupational therapists, occupational
    therapy assistants, and students of occupational therapy. The practice of occupational therapy is
    science-driven, evidence-based, and enables people of all ages to live life to its fullest by
    promoting health and minimizing the functional effects of illness, injury, and disability. We
    appreciate this opportunity to comment on the implementation of the October 4, 2019
    Presidential Proclamation mandating that immigrant visa applicants buy certain approved health
    insurance products or prove that they can pay for reasonably foreseeable medical expenses.

    Occupational therapy helps individuals access and fully participate in society – to engage in
    activities that are meaningful to them, to work, go to school, and achieve self-sufficiency.
    Occupational therapy practitioners have a responsibility to address barriers to participation in
    society and inequities that lead to health disparities.1 AOTA is concerned that this proclamation,
    which does not permit Medicaid or subsidized ACA marketplace plans to fulfill the new health
    insurance requirements, will weigh particularly heavily on people with disabilities, barring them
    from lawful entry to the United States.

    The proclamation’s approved forms of coverage may not be appropriate for people with
    disabilities. Many people with disabilities rely on Medicaid for the services and supports they
    need to work, go to school, and achieve self-sufficiency because Medicaid offers home and
    community-based services that are not available in private plans. The proclamation also blocks
    access to subsidized ACA marketplace coverage, which has important protections for people

    1
     See American Occupational Therapy Association. (2014). Occupational therapy’s commitment to
    nondiscrimination and inclusion. American Journal of Occupational Therapy, 68(Suppl. 3), S23-24.
    https://doi.org/10.5014/ajot.2014.686S05 and American Occupational Therapy Association. (2013). AOTA’s
    societal statement on health disparities. American Journal of Occupational Therapy, 67(Suppl. 6), S7-S8.
    https://doi.org/10.5014/ajot.2013.67S7
        4720 Montgomery Lane                         301-652-2682
        Bethesda, MD 20814-1220                      301-652-7711 fax                       www.aota.org
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with disabilities and chronic conditions. ACA marketplace plans cannot deny coverage or charge
more based on a pre-existing condition, and they are required to cover a comprehensive set of
essential health benefits, including rehabilitative and habilitative services. Instead, immigrant
visa applicants would be pointed to types of coverage like short-term and catastrophic plans that
may lack the protections they need.

Short-term plans can deny coverage or charge more based on a person’s medical history, and
they are not required to cover essential benefits like rehabilitation and habilitation. We are
concerned that immigrant visa applicants are being steered into types of coverage that are not
required to cover occupational therapy services. We are also concerned that requiring our new
neighbors to avoid comprehensive plans will lead to increased uncompensated care costs when
they need health care services that aren’t covered by less-comprehensive forms of coverage.

We ask the Administration not to move forward with implementing this proclamation and urge
the President to rescind it.

Sincerely,




Laura Hooper
Manager, Health Policy
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                                     APIAHF
                                     ASIAN & PACIFIC ISLANDER'
                                     AMERICAN HEALTH FORUM




October 31, 2019 (Submitted Via Email)

Secretary Mike Pompeo
United States Department of State
2201 C St NW, Washington, DC 20520

Director Mick Mulvaney
Office of Management and Budget
725 17th St NW, Washington, DC 20503

Re: Notice of Information Collection Under Office of Management and Budget (OMB) Emergency
Review: Immigrant Health Insurance Coverage

Dear Secretary Pompeo and Director Mulvaney,

Thank you for the opportunity to comment on the Department of State’s Notice of Information
Collection Under Office of Management and Budget (OMB) Emergency Review: Immigrant Health
Insurance Coverage regarding Form DS-5541. We write out of deep concern and opposition to both the
request for emergency review and on the underlying proposal.

Background and Expertise of APIAHF

The Asian & Pacific Islander American Health Forum (APIAHF) is the nation’s leading health policy
organization working to advance the health and well-being of over 20 million Asian Americans, Native
Hawaiians and Pacific Islanders (AA and NHPI) across the U.S. and territories. APIAHF works to improve
access to and the quality of care for communities who are predominately immigrant, many of whom are
limited English proficient, and may be new to the U.S. health care system or unfamiliar with private or
public coverage. We have longstanding relationships with over 150 community based organizations in
32 states, to whom we provide capacity building, advocacy and technical assistance. As such, we have a
strong understanding of the needs and barriers in immigrant communities and the impact changes in
immigration and public assistance policy would have on them.

For over 32 years, APIAHF has worked extensively on both the issues of immigration and health; areas of
policy that this proposed rule would upend. Through research, analysis and community partnerships,
these issues are the core of our expertise. APIAHF and our partners have consistently advocated for the
importance of access to health care and other public assistance for all families, regardless of their
citizenship status. We know from experience that access to quality health care, not burdened by
obstacles like finances, means families can thrive and contribute to their communities. At the same
time, we are reminded that our country has a deep history of racial discrimination that has contributed
to health disparities among communities of color, including AA and NHPIs.
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Two Day Comment Period Is Unacceptable

OMB should not grant emergency review of this information collection. The State Department (State)
justifies the need for review based on the November 3 implementation date. However, State provides
no evidence for why this implementation date is needed nor does it appear to have considered
alternative dates. State does not offer any other justification for why emergency review is justified.

This Notice was published on October 30, 2019, and will close for comments on October 31. This two-
day review period is not sufficient to properly review the proposed information collection implementing
the Presidential proclamation. While this comment attempts, under this short time frame, to outline
some initial concerns, a full 60 day or longer comment period is needed to fully understand the complex
implications of this policy on the 450,500 immigrants that State has assessed it will impact, including the
costs that it will lead to for immigrants, their families, and the U.S. health care system.

The 10 Minute Estimation of Completion Time Is Inaccurate

This Notice proposes that consular offices, in implementing the Presidential Proclamation on the
Suspension of Entry of Immigrants Who Will Financially Burden the United States Healthcare System,
will ask each applicant for an immigration visa a series of questions about her plan for being covered by
health insurance within 30 days of entering the United States including:

       The specific health insurance plan;
       The date coverage will begin;
       “Such other information,” which is not elaborated on in the Notice; and
       Whether, if not planning to purchase health insurance, the applicant has financial resources to
        pay for reasonably foreseeable medical expenses.

State claims that the Average Time Per Response to comply with the Information Collection will be 10
minutes. We believe that time estimate is inaccurate, particularly given the proposed questions. This
Notice requires hundreds of thousands of immigrants who otherwise may have waited until arriving in
the U.S. to purchase health insurance to spend time in their home country researching their health
insurance options, finding a plan that will accept customers who are not yet residing in the country and
signing up. The information requested by the Notice will be impossible to provide otherwise, given that
an applicant will be unable to know the start date, or even whether their chosen insurance carrier will
accept them as a customer, without applying for coverage itself. This process could take hours or even
days. Evaluating only the time it takes for a consular officer to ask a series of questions and not the time
it takes to prepare for the set of questions is not a valid analysis of the impact of this Notice.

This Average Time Per Response not does account for the fact that many visa applicants will be
unfamiliar with the U.S. health care system, which is complex due to the web of private and public
insurance options, and varying eligibility for immigrants within those options.1 Many immigrants may be
coming from countries where private health insurance is not available or looks completely different.



1
 “Snapshot: Immigrant Health in the United States,” Asian & Pacific Islander American Health Forum (August
2019). Available at: https://www.apiahf.org/resource/snapshot-immigrant-health-in-the-united-states/.
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One review of refugees experiences found that a lack of knowledge about their host country’s health
care systems led to confusion and poor quality of care.2

A Majority of Visa Holders May Be Denied Entry

According to the Migration Policy Institute, 375,000 immigrants may be denied entry to the U.S. under
the Presidential proclamation.3 This analysis also reviews potential ways that State could implement the
policy that may vary the number of immigrants impacted. This Notice, by requiring visa applicants to
have pre-selected a plan, likely maximizes the number of denials that could occur.

State does not specify how or whether it will train staff to understand the different types of health
insurance and whether a plan meets the conditions required under the Presidential proclamation. This
means that there is potential for a visa applicant to be incorrectly denied because his officer does not
understand our complex health care system. This concern is born-out by the inconsistent way the Public
Charge update to the Foreign Affairs Manual has been carried out, with some countries seeing
disproportionately high increases in denials.4

This Notice may have a disproportionate impact on immigrants from Asian and Pacific Islander
countries. 31% percent of the 1.1 million immigrants receiving green cards this year are from Asia and
the Pacific Islands, including 40 percent of family based immigrants and 54 percent of employment-
based immigrants.5

The Notice Discriminates Against Limited English Proficient Populations

We are concerned this Notice will discriminate against individuals who are Limited English Proficient
(LEP), meaning they speak English less than “very well.” Over 6 million people of Asian and Pacific
Islander background in the United States are LEP.6 While language access protections exist for those
trying to sign up for health insurance in the U.S. under Section 1557 of the Affordable Care Act, they
only apply to health insurance plans that receive federal funding. However, under the Presidential
proclamation, most of those plans are explicitly deemed not acceptable forms of insurance that would
allow visa applicants to be admitted. The remaining options, such as Short Term Limited Duration and
Travel Insurance plans, may have no or low quality information or assistance available to consumers in


2
  Mangrio, E. and Sjögren Forss, K. (2017). Refugees' experiences of healthcare in the host country: a scoping
review. BMC health services research, 17(1), 814. Available at:
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5721651/.
3
  Galatt, Julia and Mark Greenberg, “Health Insurance Test for Green-Card Applicants Could Sharply Cut Future U.S.
Legal Immigration”, Migration Policy Institute (October 2018). Available at:
https://www.migrationpolicy.org/news/health-insurance-test-green-card-applicants-could-sharply-cut-future-us-
legal-immigration.
4
  Hesson, Ted, “Exclusive: Visa Denials To Poor Mexicans Skyrocket Under Trump’s State Department,” Politico
(August 6, 2019). Available at: https://www.politico.com/story/2019/08/06/visa-denials-poor-mexicans-trump-
1637094.
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  "Public Charge Proposals is an Attack on AAPI Families," Asian & Pacific Islander American Health Forum
(November 2018). Available at: https://www.apiahf.org/wp-content/uploads/2018/09/December2018_Public-
Charge-Factsheet.pdf.
6
  “Protections For Language Access Are At Risk”, Asian & Pacific Islander American Health Forum (August 2019).
Available at: https://www.apiahf.org/resource/protections-for-language-access-are-at-risk/.
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their preferred language. This may mean that either visa applicants who are LEP will be unable to find
insurance, or they will find inaccurate information that leads them to purchasing insurance that is either
not compliant with the Presidential proclamation or will not cover their health care needs.

In addition to our concern that this lack of support for LEP individuals may make it extremely difficult for
them to comply with this Notice, it also makes it likely that they will be vulnerable to fraudulent
companies and bad actors seeking to take advantage of visa applicants with low health literacy. It would
be easy to set up a website in multiple languages claiming to offer health insurance for immigrants to
the U.S., ask for payment up front, and then provide no or extremely low quality coverage. Because
these sites may operate internationally, immigrants may have no recourse when they arrive in the
country and discover their insurance does not cover what they thought it did. In one example of such
fraud, British tourists to Spain paid travel health insurance companies for health insurance that did not
cover services beyond those they were already covered for under the country’s national health care
system.7 State provides no explanation for how or whether consular officers will evaluate whether a
health insurance plan provides real coverage or not.

The Presidential Proclamation Is Incorrectly Justified

The Presidential proclamation that this Information Collection is being proposed under incorrectly
justifies its need by claiming that immigrants contribute to uncompensated care costs in a significant
way. The Presidential proclamation states, “While our healthcare system grapples with the challenges
caused by uncompensated care, the United States Government is making the problem worse by
admitting thousands of aliens who have not demonstrated any ability to pay for their healthcare costs.”8
However, the Kaiser Family Foundation has found that lawfully present immigrants make up just 15
percent of the uninsured and that immigrants may actually improve health care risk pools, lowering
costs, because they tend to be younger and healthier.9

In fact, the Presidential proclamation may worsen uncompensated care costs by shifting immigrants
from subsidized comprehensive plans under the Affordable Care Act to low-cost Short Term Limited
Duration Plans, which cover much less and likely will lead to higher out of pocket costs that the
customers cannot afford.10 One health system executive recently said that, under expansion of these
plans, the “longer coverage period of the policies and lack of essential coverage inherently puts health



7
  Willmore, Simon, “Thousands of British tourists have travel insurance policies that only cover public healthcare,”
Travel Daily Media (July 9, 2019). Available at: https://www.traveldailymedia.com/brits-insurance-only-public-
healthcare/.
8
  “Presidential Proclamation on the Suspension of Entry of Immigrants Who Will Financially Burden the United
States Healthcare System,” The White House (October 4, 2019). Available at:
https://www.whitehouse.gov/presidential-actions/presidential-proclamation-suspension-entry-immigrants-will-
financially-burden-united-states-healthcare-system/.
9
  “President Trump’s Proclamation Suspending Entry for Immigrants without Health Coverage,” Kaiser Family
Foundation (October 10, 2019). Available at: https://www.kff.org/disparities-policy/fact-sheet/president-trumps-
proclamation-suspending-entry-for-immigrants-without-health-coverage/.
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   “ACA Open Enrollment: For Consumers Considering Short-Term Policies,” Kaiser Family Foundation (October 25,
2019). Available at: https://www.kff.org/health-reform/fact-sheet/aca-open-enrollment-for-consumers-
considering-short-term-policies/.
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systems at risk for increases in uncompensated care.”11 Given that these plans are misleadingly
marketed, many immigrants may not even realize that their health insurance does not cover many
medical treatments.12

We also express concern that other forms of health insurance that are acceptable under the Presidential
proclamation, such as unsubsidized plans offered within the individual market, will be unavailable to
those who are not yet residents of the U.S. Purchasing a health insurance plan that not does come with
Premium Tax Credits under the ACA through the marketplaces still requires demonstration of residency
in the state and county that the plan is being offered. Additionally, while employer sponsored insurance
is deemed acceptable, employers are allowed to require new employees to wait 90 days until their
insurance is activated.13 This Notice says that visa applicants, however, will be required to demonstrate
that they will have health insurance within 30 days of entry.

Because of the reasons described above, we believe this proposal should be withdrawn both because of
the insufficient time to review and because of the irreversible flaws in the policy itself.

Thank you for your willingness to consider our comments. If you would like any additional information,
please contact Ben D’Avanzo, Senior Policy Analyst, at bdavanzo@apiahf.org or 202-706-6767.

Sincerely,




Kathy Ko Chin

President & CEO
Asian & Pacific Islander American Health Forum




11
   Kern, Howard, “Commentary: Short-term, limited-duration health plans pose risks for patients, healthcare
providers,” Modern Healthcare (February 23, 2019). Available at:
https://www.modernhealthcare.com/article/20190223/NEWS/190229983/commentary-short-term-limited-
duration-health-plans-pose-risks-for-patients-healthcare-providers.
12
   Corlette, Sabrina, et al, “The Marketing of Short-Term Health Plans,” Robert Wood Johnson Foundation (January
31, 2019). Available at: https://www.rwjf.org/en/library/research/2019/01/the-marketing-of-short-term-health-
plans.html.
13
   Andrews, Michelle, “A Reader Asks: Can New Employees Be Forced To Wait 90 Days For Coverage?,” Kaiser
Health News (June 27, 2014). Available at: https://khn.org/news/michelle-andrews-on-delays-in-employer-
provided-coverage/.
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                                     APIAHF
                                     ASIAN & PACIFIC ISLANDER'
                                     AMERICAN HEALTH FORUM




October 31, 2019 (Submitted Via Email)

Secretary Mike Pompeo
United States Department of State
2201 C St NW, Washington, DC 20520

Director Mick Mulvaney
Office of Management and Budget
725 17th St NW, Washington, DC 20503

Re: Notice of Information Collection Under Office of Management and Budget (OMB) Emergency
Review: Immigrant Health Insurance Coverage

Dear Secretary Pompeo and Director Mulvaney,

Thank you for the opportunity to comment on the Department of State’s Notice of Information
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disproportionately high increases in denials.4

This Notice may have a disproportionate impact on immigrants from Asian and Pacific Islander
countries. 31% percent of the 1.1 million immigrants receiving green cards this year are from Asia and
the Pacific Islands, including 40 percent of family based immigrants and 54 percent of employment-
based immigrants.5

The Notice Discriminates Against Limited English Proficient Populations

We are concerned this Notice will discriminate against individuals who are Limited English Proficient
(LEP), meaning they speak English less than “very well.” Over 6 million people of Asian and Pacific
Islander background in the United States are LEP.6 While language access protections exist for those
trying to sign up for health insurance in the U.S. under Section 1557 of the Affordable Care Act, they
only apply to health insurance plans that receive federal funding. However, under the Presidential
proclamation, most of those plans are explicitly deemed not acceptable forms of insurance that would
allow visa applicants to be admitted. The remaining options, such as Short Term Limited Duration and
Travel Insurance plans, may have no or low quality information or assistance available to consumers in


2
  Mangrio, E. and Sjögren Forss, K. (2017). Refugees' experiences of healthcare in the host country: a scoping
review. BMC health services research, 17(1), 814. Available at:
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5721651/.
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  Galatt, Julia and Mark Greenberg, “Health Insurance Test for Green-Card Applicants Could Sharply Cut Future U.S.
Legal Immigration”, Migration Policy Institute (October 2018). Available at:
https://www.migrationpolicy.org/news/health-insurance-test-green-card-applicants-could-sharply-cut-future-us-
legal-immigration.
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  Hesson, Ted, “Exclusive: Visa Denials To Poor Mexicans Skyrocket Under Trump’s State Department,” Politico
(August 6, 2019). Available at: https://www.politico.com/story/2019/08/06/visa-denials-poor-mexicans-trump-
1637094.
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  "Public Charge Proposals is an Attack on AAPI Families," Asian & Pacific Islander American Health Forum
(November 2018). Available at: https://www.apiahf.org/wp-content/uploads/2018/09/December2018_Public-
Charge-Factsheet.pdf.
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  “Protections For Language Access Are At Risk”, Asian & Pacific Islander American Health Forum (August 2019).
Available at: https://www.apiahf.org/resource/protections-for-language-access-are-at-risk/.
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their preferred language. This may mean that either visa applicants who are LEP will be unable to find
insurance, or they will find inaccurate information that leads them to purchasing insurance that is either
not compliant with the Presidential proclamation or will not cover their health care needs.

In addition to our concern that this lack of support for LEP individuals may make it extremely difficult for
them to comply with this Notice, it also makes it likely that they will be vulnerable to fraudulent
companies and bad actors seeking to take advantage of visa applicants with low health literacy. It would
be easy to set up a website in multiple languages claiming to offer health insurance for immigrants to
the U.S., ask for payment up front, and then provide no or extremely low quality coverage. Because
these sites may operate internationally, immigrants may have no recourse when they arrive in the
country and discover their insurance does not cover what they thought it did. In one example of such
fraud, British tourists to Spain paid travel health insurance companies for health insurance that did not
cover services beyond those they were already covered for under the country’s national health care
system.7 State provides no explanation for how or whether consular officers will evaluate whether a
health insurance plan provides real coverage or not.

The Presidential Proclamation Is Incorrectly Justified

The Presidential proclamation that this Information Collection is being proposed under incorrectly
justifies its need by claiming that immigrants contribute to uncompensated care costs in a significant
way. The Presidential proclamation states, “While our healthcare system grapples with the challenges
caused by uncompensated care, the United States Government is making the problem worse by
admitting thousands of aliens who have not demonstrated any ability to pay for their healthcare costs.”8
However, the Kaiser Family Foundation has found that lawfully present immigrants make up just 15
percent of the uninsured and that immigrants may actually improve health care risk pools, lowering
costs, because they tend to be younger and healthier.9

In fact, the Presidential proclamation may worsen uncompensated care costs by shifting immigrants
from subsidized comprehensive plans under the Affordable Care Act to low-cost Short Term Limited
Duration Plans, which cover much less and likely will lead to higher out of pocket costs that the
customers cannot afford.10 One health system executive recently said that, under expansion of these
plans, the “longer coverage period of the policies and lack of essential coverage inherently puts health



7
  Willmore, Simon, “Thousands of British tourists have travel insurance policies that only cover public healthcare,”
Travel Daily Media (July 9, 2019). Available at: https://www.traveldailymedia.com/brits-insurance-only-public-
healthcare/.
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  “Presidential Proclamation on the Suspension of Entry of Immigrants Who Will Financially Burden the United
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https://www.whitehouse.gov/presidential-actions/presidential-proclamation-suspension-entry-immigrants-will-
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  “President Trump’s Proclamation Suspending Entry for Immigrants without Health Coverage,” Kaiser Family
Foundation (October 10, 2019). Available at: https://www.kff.org/disparities-policy/fact-sheet/president-trumps-
proclamation-suspending-entry-for-immigrants-without-health-coverage/.
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   “ACA Open Enrollment: For Consumers Considering Short-Term Policies,” Kaiser Family Foundation (October 25,
2019). Available at: https://www.kff.org/health-reform/fact-sheet/aca-open-enrollment-for-consumers-
considering-short-term-policies/.
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systems at risk for increases in uncompensated care.”11 Given that these plans are misleadingly
marketed, many immigrants may not even realize that their health insurance does not cover many
medical treatments.12

We also express concern that other forms of health insurance that are acceptable under the Presidential
proclamation, such as unsubsidized plans offered within the individual market, will be unavailable to
those who are not yet residents of the U.S. Purchasing a health insurance plan that not does come with
Premium Tax Credits under the ACA through the marketplaces still requires demonstration of residency
in the state and county that the plan is being offered. Additionally, while employer sponsored insurance
is deemed acceptable, employers are allowed to require new employees to wait 90 days until their
insurance is activated.13 This Notice says that visa applicants, however, will be required to demonstrate
that they will have health insurance within 30 days of entry.

Because of the reasons described above, we believe this proposal should be withdrawn both because of
the insufficient time to review and because of the irreversible flaws in the policy itself.

Thank you for your willingness to consider our comments. If you would like any additional information,
please contact Ben D’Avanzo, Senior Policy Analyst, at bdavanzo@apiahf.org or 202-706-6767.

Sincerely,




Kathy Ko Chin

President & CEO
Asian & Pacific Islander American Health Forum




11
   Kern, Howard, “Commentary: Short-term, limited-duration health plans pose risks for patients, healthcare
providers,” Modern Healthcare (February 23, 2019). Available at:
https://www.modernhealthcare.com/article/20190223/NEWS/190229983/commentary-short-term-limited-
duration-health-plans-pose-risks-for-patients-healthcare-providers.
12
   Corlette, Sabrina, et al, “The Marketing of Short-Term Health Plans,” Robert Wood Johnson Foundation (January
31, 2019). Available at: https://www.rwjf.org/en/library/research/2019/01/the-marketing-of-short-term-health-
plans.html.
13
   Andrews, Michelle, “A Reader Asks: Can New Employees Be Forced To Wait 90 Days For Coverage?,” Kaiser
Health News (June 27, 2014). Available at: https://khn.org/news/michelle-andrews-on-delays-in-employer-
provided-coverage/.
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                                                              CONNECT~ HEALTH
                                                                                    COLORADO.,
                                                               4600 South Ulster Street I Suite 300
                                                               Denver, CO 80237


October 31, 2019


BY ELECTRONIC DELIVERY


Department of State Desk Officer
Office of Information and Regulatory Affairs
Office of Management and Budget (OMB)

and

Office of Visa Services
Bureau of Consular Affairs
Department of State


RE: DS-5541 Information Collection: Immigrant Health Insurance Coverage
(Emergency Submission) DOS-2019-0039


To whom it may concern:


The staff at Connect for Health Colorado (C4HCO), the state-based health insurance
marketplace (SBM) for Colorado, appreciate the opportunity to comment on the
Immigrant Health Insurance Coverage Notice of Information Collection.

While we applaud the Department of State’s support encouraging all non-citizens to
enroll in health coverage, we firmly believe that the directive requiring all qualified
non-citizens to have coverage, along with the recent changes to the Public Charge
rule, create, at best, an environment of confusion, and, at worst, promote a culture of
fear and uncertainty. This new proclamation requires coverage for a public benefit,
while the Public Charge rule penalizes individuals for seeking benefits. The
contradictory directives by the Administration leaves Coloradans in a precarious
situation.

New immigrants are a vulnerable population. While C4HCO and many others are
working to lower the cost of health coverage in Colorado, affordability is still a
significant barrier to accessing coverage for some.
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         We strongly encourage the Administration to consider all the barriers this proposed
         directive puts in the way of immigrants entering the country. If an individual has a
         hardship in enrolling for coverage, we urge you to consider exemptions from this
         requirement.

         C4HCO also opposes the emergency nature of this process. Absent clear information
         that there is an actual emergency, the public would greatly benefit from more
         deliberate policymaking. Moreover, the aim of this directive to encourage greater
         participation in health insurance would be better served by a more open and
         collaborative approach. We suggest the creation and distribution of materials for
         customers, brokers, navigators and immigration advocates to mitigate confusion and
         anxiety. Providing these resources would prove that the intent of this directive is to
         help those in need.

         C4HCO remains committed to increasing health insurance access, affordability and
         choice for all individuals and their families. We will do our part to ensure that
         correct, accurate information and assistance is available to every Coloradan.


         Sincerely,


         Connect for Health Colorado Staff




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                             CONSORTIUM FOR CITIZENS
                                     WITH DISABILITIES

October 31, 2019

Edward J. Ramotowski
Deputy Assistant Secretary
Visa Services
Bureau of Consular Affairs
Department of State

Department of State Desk Office
Office of Information and Regulatory Affairs
Office of Management and Budget

Regarding Immigrant Health Insurance Coverage Docket Number DOS-2019-0039 Form
Number DS-5541

Dear Deputy Assistant Secretary Ramotowski:

The undersigned co-chairs of the Consortium for Citizens with Disabilities’ (CCD) Health,
Rights, and Long Term Supports and Services Task Forces write to express our strong opposition
to the October 4, 2019 Presidential Proclamation mandating that visa applicants abroad buy
certain approved health insurance and the efforts by the State Department and the Office of
Management and Budget to implement the proclamation. The health insurance requirement is
arbitrary and discriminatory against people with disabilities and pre-existing conditions. CCD is
the largest coalition of national organizations working together to advocate for federal public
policy that ensures the self-determination, independence, empowerment, integration and
inclusion of children and adults with disabilities in all aspects of society.

This proclamation, declaring that Medicaid coverage for adults and subsidized State marketplace
plans do not meet the new health insurance requirements, will discourage many people with
disabilities from lawful entry into the United States.

The proclamation restricts immigrants’ ability to purchase comprehensive health insurance
available through the Affordable Care Act (ACA) marketplaces, coverage that includes
protections including requirements that an insurer cannot charge more or deny coverage based on
a pre-existing health condition. Congress elected to make lawfully residing immigrants eligible
for subsidized marketplace coverage because doing so advances the health of our nation. The
proclamation puts the nation’s health at risk by ignoring Congress and instead requiring
individuals to buy costly and less comprehensive health coverage.


       820 First Street, NE Suite 740 • Washington, DC 20002 • PH 202-567-3516 • FAX 202-408-9520 •
                                         Info@c-c-d.org • www.c-c-d.org
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Medicaid coverage for adults also does not count as approved health insurance. Medicaid
remains the largest insurer in this country for the long-term services and supports, and mental
health and substance use disorder treatment. . Most home and community-based services are not
available through private insurance. Many people with disabilities rely on Medicaid to work,
attend school, remain healthy and participate in the community with the necessary supports that
many of the “approved” options will not provide.

Notably, while rejecting the types of coverage that many people with disabilities rely on for
comprehensive care, the proclamation allows catastrophic coverage and short-term plans to
qualify as acceptable coverage. Short-term plans, for example, lack comprehensive coverage, can
be prohibitively expensive for individuals with pre-existing conditions, and can deny people
coverage based on their medical history and set arbitrary service limits. This proclamation is not
about protecting existing taxpayer resources or promoting health insurance. It puts a barrier
between individuals and the coverage they need and for which they may be eligible, and it
establishes yet another administrative hurdle to limit who can obtain a valid visa. It also
encourages new immigrants who may be unfamiliar with our health care system to purchase
inadequate plans that may not fit their health needs and could expose them to high financial risk
after entry. In fact, encouraging immigrants to avoid comprehensive insurance that includes the
benefits they need could increase uncompensated care costs when immigrants can’t afford
needed health care that is not covered by these bare-bones plans.

Immigrants with a disability must have a fair opportunity to enter and reside legally in the United
States, without unnecessary or discriminatory restrictions based on their disability. The approved
health care proclamation is another unwelcome throwback to the historical isolation, segregation
and exclusion of people with disabilities. It will deny immigration to individuals based on
stereotypes and fears about disability and chronic illness. The Administration should not move
forward to implement this proclamation and it should be rescinded by The President.


Sincerely,

The Undersigned Task Force Co-Chairs:

Alison Barkoff, Center for Public Representation
Julia Bascom, Autistic Self Advocacy Network
David Machledt, National Health Law Program
Sarah Meek, ANCOR
Rachel Patterson, Epilepsy Foundation
Julie Ward, The Arc of the United States




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    CENTER FOR ELDER LAW AND JUSTICE PUBLIC COMMENT IN RESPONSE TO
                    PRESIDENTIAL PROCLAMATION 9945 REGARDING
          IMMIGRANT HEALTH INSURANCE AND 2-DAY COMMENT PERIOD



        The Center for Elder Law and Justice strongly opposes both Presidential Proclamation
9945 requiring that immigrants provide proof of acquisition of health insurance, or of funds
sufficient to acquire health insurance after arriving in the US, and the 2 day “emergency”
comment period enacted by the Department of State with regard to the Presidential Proclamation.
The Proclamation itself is overbroad and unduly vague, and also places an unjustified burden on
immigrants to obtain only limited types of health insurance plans. The 2-day “emergency”
comment period is an affront to due process and an unfair limitation on all Americans’ First
Amendment rights to petition the government for redress of grievances.

        The Proclamation, set to go into effect in a matter of days, sets hasty and ill-thought-out
limitations on immigrants with respect to health insurance without proper guidance as to how
these immigrants can abide by the new rule. In this respect it is arbitrary and capricious. The
Proclamation requires, for example, immigrants who do not already have health insurance in the
United States to provide evidence of funds sufficient to purchase insurance. Nowhere in the
Proclamation does it state how much money is needed to be deemed “sufficient.” It also does not
state how long an immigrant needs to prove that he or she can afford to maintain health
insurance. Immigrants will appear for their visa interviews not knowing how much money they
should have saved up in the one-month period of time between the issue of the Proclamation and
the date it is set to take effect. Nor will they know whether they need to prove that they can buy
one month, one year, or a lifetime’s worth of health insurance in order to come to the United
States. For immigrants who are coming to the United States on employment visas, they may not
yet have information from their employers on the specific health insurance plans that will be
available to them from their new employers, if their new employers offer coverage. Since the
Proclamation offers no guidance as to how immigrants can demonstrate compliance, it should be
repealed in its entirety.

        Further, the Proclamation does nothing to achieve its stated “justification” that the
government needs to lessen the number of immigrants who require Medicaid coverage or other
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government-subsidized care. Although the Proclamation seeks to achieve this goal by forbidding
immigrants from using Medicaid eligibility or eligibility for subsidies to purchase coverage on
Affordable Care Act exchanges, in reality the Proclamation does nothing to prevent immigrants
from using those products once they arrive in the United States. Although the Proclamation
states that coverage through Medicaid or the Affordable Care Act subsidized plans is not
adequate to demonstrate compliance with the health insurance rule, it does allow the purchase of
short-term plans that do not meet the ACA’s health insurance plan requirements to qualify.
These “junk plans,” as they are more commonly known, provide almost no realistic coverage.
Once immigrants who have purchased these plans (or demonstrated the financial ability to do so)
have arrived in the United States, they will still need comprehensive health insurance in order to
secure their access to health care. This means they will still need to sign up for either Medicaid
or plans on ACA exchanges, as Congress has not passed any law forbidding immigrants from
accessing these products. Thus, the only real achievement of the Proclamation is to funnel
unnecessary spending into “junk plan” markets by immigrants. The government will still
subsidize their eventual Medicaid or ACA exchange health insurance plans, after a de facto
kickback to the companies that issue “junk plans.” Since the Proclamation does nothing to meet
its stated goal of reducing government spending on immigrant health insurance, it should be
repealed in its entirety.

        Finally, the 2 day comment period set by the Department of State is an affront to the
public’s right to respond. Since this was not a law duly passed by our elected officials, a
comment period is the only way in which the public can petition the government for redress in
response to this Proclamation. Offering a comment period of merely 2 days, with little public
notice of said comment period, is the functional equivalent to offering no comment period at all.
Drafting well-researched and thoughtful commentary to new regulations is a process that takes
time and effort. Allowing only 2 days for public comment on such a flawed regulation
effectively violates the public’s First Amendment rights to adequately respond to the
Proclamation. Putting aside the glaring flaws in the Proclamation itself, the fact that it was issued
with only a 2 day “emergency” comment period is reason enough for it to be repealed until the
American people can have adequate time to properly express their opinions on this issue.
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     1275 First Street NE  Suite 1200  Washington DC 20002
     (202)408-1080 fax (202)408-1056  center@cbpp.org  www.cbpp.org




October 31, 2019


To:             Office of Management and Budget, State Desk Officer in the Office of Information and
                Regulatory Affairs
                The Department of State’s Bureau of Consular Affairs, Office of Visa Services


Re:             Public Notice: 10934. Notice of Information Collection Under OMB Emergency Review:
                Immigrant Health Insurance Coverage (Docket Number: DOS–2019–0039)


To whom it may concern:


         The Center on Budget and Policy Priorities is a nonpartisan research and policy organization
based in Washington, D.C. Founded in 1981, the Center conducts research and analysis to inform
public debates and policymakers about a range of budget, tax and programmatic issues affecting
individuals and families with low or moderate incomes. We are submitting comments in opposition
to the information collection process and underlying policies outlined in the notice of information
collection related to the Presidential Proclamation issued on October 4, 2019, which is under Office
of Management and Budget emergency review.
        This notice of information collection details a process that is flawed and unworkable. If
implemented, it will burden both individuals and families in the United States who are seeking to
have their family members lawfully immigrate to our nation and staff at consular officers who will be
asked to conduct reviews they have neither the expertise nor information to execute.
        In addition to these concerns about the information collection process, explained in detail
below, we have serious concerns about the underlying policy created by the Proclamation and
believe the government should rescind the policy in its entirety. The policy may result in severely
and unnecessary constraining lawful immigration so that only immigration applicants who are
already fairly wealthy will have the opportunity to enter the United States lawfully. And while the
stated purpose of the Proclamation is to reduce uncompensated health care costs, it will likely
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reduce the number of people enrolled in comprehensive health coverage, which
could increase uncompensated care:

        •    First, the Proclamation steers new immigrants away from comprehensive coverage
             through Medicaid or the Affordable Care Act’s marketplace plans with premium tax
             credits to offset the cost of premiums and toward short-term plans or other coverage
             that is likely to leave consumers vulnerable to significant financial risk if they need to use
             medical services. If individuals opt for such a plan and they get sick or injured, they may
             not be able to afford out-of-pocket expenses and medical providers will be left carrying
             the burden of uncompensated care.
        •    Second, the new policy — which is slated to take effect just days after the ACA’s
             marketplace open enrollment period starts—is likely to create additional fear and
             confusion among families that include immigrants and may prevent some from enrolling.
             Some people who aren’t subject to this assessment may fear signing up for coverage with
             ACA premium tax credits or Medicaid will negatively impact their families’ immigration
             goals. For example, a family may not sign their children up for Medicaid because they
             fear it could leave a parent unable to immigrate to the United States. As a result, the
             proclamation will raise uninsured rates among lawfully present immigrants and
             potentially their U.S. citizen family members. That, in turn, will increase uncompensated
             care costs, exacerbating the very problem the proclamation purports to address.1
         We also strongly object to OMB allowing this notice of information collection to have a 48-
hour comment period under an emergency review process. Emergency processing is intended to be
used in cases when events outside of the control of an agency require immediate action that will not
allow for compliance with the normal comment process. Such examples include, responding to a
natural disaster, meeting a deadline required by law or a court ruling, or preventing severe harm to
the public if the completion of the process is delayed.2 In this case, the government had full control
over the date it issued the Proclamation and the implementation date it selected. The agency has
offered no argument for why the Proclamation must take effect immediately or what harm would
result from delaying implementation to allow for a more reasonable comment period. The
extremely short comment period has not allowed for experts in the field who might provide valuable
insight to the government or stakeholders that will be directly and indirectly impacted by this new
information collection process to fully analyze or understand the problems it will create. With
additional time, we anticipate that we would identify additional ways the proposed process is
burdensome and unworkable for both individuals and agency staff.
        We strongly recommend that the Department halt its implementation of the mandate until at
the very least it has had time to create processes that are informed by a suitable public comment
period. We respond below to your specific request for comments to assist the Department
evaluating the information collection process:


1 Brief of Amici Curiae, City and County of San Francisco and County of Santa Clara v. U.S. Citizenship and
Immigration Services, et al., No. 4:19-CV-04717, https://www.aha.org/system/files/media/file/2019/09/amici-curiae-
brief-of-aha-hospital-groups-on-dhs-public-charge-rule-9-11-1019.pdf
2 5 CFR § 1320.13 - Emergency processing.
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Evaluate whether the proposed information collection is necessary for the proper functions
of the Department:
         The information collection is not necessary for the proper function of the Department.
The information collection is implementing a policy that will create a health insurance mandate for
certain individuals seeking lawful immigration to the United States. This in no way advances any
legitimate objective of the State Department, and, as explained above, the policy in fact undermines
some of its stated objectives.
         The Department has no expertise in implementing a health insurance mandate and the
mandate serves no purpose that furthers the objectives of the Department. Design and
implementation of mandates to obtain health insurance is extremely complicated, as evidenced by
the extensive deliberations and rule-making the Department of the Treasury, the Department of
Health and Human Services, and other agencies undertook over several years to implement the
Affordable Care Act. The Department lacks the expertise that those agencies relied upon and thus
is certainly incapable of designing a workable mandate without a meaningful opportunity for public
comment to enlighten it about the various choices involved.


Evaluate the accuracy of our estimate of the time and cost burden of this proposed
collection, including the validity of the methodology and assumptions used.

    We have serious concerns about the validity of the methodology used for data collection and
assumptions used. Consular officers will be required to ask immigrant visa applicant verbally
whether they will be covered by health insurance within 30 days of entry into the United States and
to also provide details of such coverage (identify insurance plan, date coverage will begin and other
information about the insurance the consular deems necessary.) Problems with this method include:

   •   Many consumers will not be able to enroll in health insurance coverage until they enter and
       begin residing in the state in which they will obtain coverage. This means they are unlikely
       to have detailed information about the coverage when they are applying for their status. For
       example, in most cases they won’t be able to provide an accurate effective date since their
       insurance start date will be contingent on the move to the state in which they will enroll in
       coverage.
   •   The method gives consular officers discretion on requesting other information that is related
       to the insurance. These officers are not health insurance experts and are unlikely to know
       what would be a reasonable and not reasonable request for information related to coverage,
       or how to evaluate information they are given. Requiring them to make judgments in areas
       where they have neither expertise nor information will result in arbitrary, inconsistent
       decisions.
   •   The Proclamation allows visa applicants with no health coverage to enter the United States if
       they have the financial resources to pay for reasonably anticipated medical expenses.
       Officers are unlikely to understand what it would cost to treat medical conditions, indeed
       often consumers are unaware of costs associated with treatment and services especially those
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       provided in a hospital setting. Immigration officers are not doctors that would have the
       expertise to evaluate treatment that will likely be needed, nor are they health policy experts
       with information on what the costs would be for services needed for a variety of health
       conditions. Again, requiring them to make judgments in areas where they have neither
       expertise nor information will result in arbitrary, inconsistent decisions.
   •   It’s especially troubling that this information gathering process depends on a verbal
       collection and assessment of information. For those visa applicants that do have
       information about expected coverage, it will be unclear to them what information they
       should be prepared to provide when verbally asked for the information. This verbal
       interaction seems vulnerable to inequitable collection and assessment. Decisions made in
       this verbal data collection will also be difficult to challenge if a visa applicant feels he/she
       was improperly denied or delayed entry. Consular officers, with the best of intentions, may
       make erroneous decisions based on miscommunications with applicants that neither party
       can detect from what they recall of a verbal request. Health insurance policies, and
       important transactions relating to those policies, are almost uniformly conducted in writing
       precisely because of the complexity of these issues and the high potential for error. When
       consular officers, rather than health insurance professionals, are involved the risk of error
       increases.

    Your estimate of the burden of this information collection seems erroneous for several reasons.
First, because of the likelihood of miscommunications and misunderstandings, many applicants will
have to supply information several times. The lack of coherent standards for consular officers to
rely upon in assessing what applicants supply means that many are likely to request additional
information several times before making a decision.

     Second, ten minutes seems a wildly optimistic estimate of the amount of time each applicant will
be required to spend on these requests. As noted above, many will not be able to obtain insurance
in the U.S. until they have established residency here or have started employment. Most insurance
will not be available, therefore, until the applicant arrives some time in the future. Proving the
likelihood of future insurance that is contingent on the immigrant’s arrival likely will require
collecting numerous documents not otherwise within the applicant’s control, such as detailed
conditional offers of employment and the health insurance policies of prospective employers.
Gathering this information will require hours or days, not minutes. In addition, those seeking to
qualify on the basis of having sufficient funds to cover treatment for illnesses they have may need to
obtain detailed information about their diagnoses, about the costs of treatment in the U.S. (which
may be very different than those with which they are familiar in their country of origin), and the
policies of prospective health care providers. Many health care providers have multiple rate
structures: one for Medicare, another for Medicaid, still more for various private health insurance
plans, and even more for persons seeking to pay out-of-pocket. They may have difficulty
determining which rate structure the provider will apply to them, which would require time-
consuming back-and-forth interactions with these prospective providers. Because different
providers have very different rates, they may need to “shop” for providers long-distance to obtain
rate information that will allow them to qualify. Because this is not the manner in which most
health care providers accept new patients, several calls may be necessary to overcome initial
resistance to provide rate quotes to prospective patients they have never met or examined. Thus,
for the great majority of applicants, much more than ten minutes will be required to provide an
adequate response to this information request.
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                                                                                             October 31, 2019

Department of State, Office of Information and Regulatory Affairs, Office of Management and Budget
Department of State’s Bureau of Consular Affairs, Office of Visa Services

RE: DOS-2019-0039 – Emergency Submission Comment on Immigrant Health Insurance Coverage

To Whom It May Concern:
The undersigned organizations write in response to the Emergency Submission Comment on Immigrant
Health Insurance Coverage. We write to express strong opposition to the administration’s proclamation.
We welcome and value the contributions of those who have immigrated to the United States and
settled in Colorado. They are our friends and neighbors, they are the parents and grandparents of
Colorado kids, and they help drive our economies and enrich the culture and future of our state.

The proclamation at issue runs counter to our values of a fair and welcoming Colorado. It will, without
authorization from Congress, drastically limit the number of people who are able to obtain a green card
and unify with their family members in the United States, including in Colorado. It will also undermine
rather than promote access to comprehensive health coverage and will create more complexity in the
already complex and backlogged U.S. immigration system. In addition, we object to the implementation
of this policy through an emergency process, which limits public oversight of this drastic measure.

Impact on legal immigration
The Migration Policy Institute (MPI) estimates that the proclamation could prevent one-third of all green
card applicants from obtaining permanent residence and uniting with their U.S.-based family members.1
In order to arrive at their estimate, MPI looked at recent green-card recipients and found that 65
percent of that population would not meet the coverage requirements outlined in the proclamation.

Importantly, nearly half of the 65 percent who would not meet the proclamation’s requirements do
have comprehensive health insurance coverage.2 In line with eligibility laws set by Congress, 34 percent
of recent-green card recipients have coverage through Medicaid or a subsidized health insurance
program according to MPI. In the Patient Protection and Affordable Care Act (ACA), Congress explicitly
recognized both Medicaid and subsidized coverage as health insurance for the purposes of satisfying the
individual mandate. The proclamation runs counter to the clear intention of Congress in making recent
immigrants eligible for coverage and in recognizing Medicaid and subsidized coverage as comprehensive
insurance.

Impact on the number of people with comprehensive health coverage



1
  https://www.migrationpolicy.org/news/health-insurance-test-green-card-applicants-could-sharply-cut-future-us-
legal-immigration
2
  Id.


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The administration claims that the proclamation is necessary to reduce uncompensated care for
uninsured patients in our health care system. However, the proclamation will likely have the opposite
effect to the extent that it incentivizes more people to purchase short-term “insurance” products that
do not meet the ACA’s coverage requirements. The reason is that people with these short-term plans
are effectively uninsured for the purposes of many common conditions and health care needs. In
addition to being able to exclude coverage for pre-existing conditions, short-term plans can categorically
exclude certain benefits, such as routine maternity and newborn care, prescription drugs, mental health
care, substance use services, and preventive services like birth control and tobacco cessation. High-cost
services that are provided to people with short-term plans are likely to go uncompensated when they
are not covered by the plan.

Adding complexity to the U.S. immigration system
The proclamation was issued without warning and without necessary detail regarding implementation.
Most notably, the proclamation does not outline how future green-card applicants will be asked to
prove that they can find insurance coverage within 30 days of arrival. Satisfying this requirement will be
especially challenging because the proclamation works at cross-purposes with existing law. Under the
ACA, green-card holders are eligible to purchase subsidized health insurance. But those who anticipate
accessing health insurance with the help of a subsidy will not qualify under the new health insurance
test. It is unclear how green-card applicants will be required to prove that they will purchase health
insurance without the help of subsidies they would be eligible for and entitled to, according to Congress.

Some green-card applications may be able to show that they can get a short-term plan. However,
Colorado3 and several other states have restricted or banned these plans because they fail to provide
adequate protections for consumers. In addition, short-term plans may discriminate against certain
people and are thus not uniformly accessible. For example, gender-rating (the practice of charging
women higher premiums than men) is commonplace among insurers selling short-term plans. In
addition, health questionnaires are often used by short-term plans to identify and deny coverage to
people with preexisting conditions. It is unclear whether green-card applicants will be required to show
that they can afford and can qualify for a short-term plan and how they will be expected to do so.

No public oversight
The proclamation comes on top of a new public charge rule that, if implemented, is expected to greatly
restrict future legal immigration.4 The process of changing the public charge rule has required –
    • Publication of a proposed rule in the Federal Register
    • A 60-day public comment period, during which over a quarter million comments were
         submitted, largely in opposition to the change
    • Department of Homeland Security (DHS) review of the comments submitted
    • DHS publication of a final rule in the Federal Register, including publication of comments and
         agency responses; and

3
    3 C.C.R. 702-4, sec. 4-2-59
4
    https://www.migrationpolicy.org/research/impact-dhs-public-charge-rule-immigration


                                                                                                           2
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    •   A 60-day delay in implementation after publication of the final rule, during which several courts
        issued primary injunctions barring implementation of the rule.

The insurance proclamation is stricter than the public charge test proposed by DHS because it looks at
just one factor: the ability to quickly find health insurance coverage. As MPI points out, it is highly
possible that someone could pass the public charge test by showing relatively high educational
attainment, strong English skills, and other factors, only to be denied access to a green card because of
the new proclamation. Yet, despite the huge impact the proclamation is likely to have, there has been
no meaningful opportunity for public oversight of this substantial change in administrative policy. A
presidential proclamation that goes into effect four weeks after it is issued is an inappropriate vehicle
for a policy change of this magnitude.

Conclusion
Without warning, clarity about implementation, or consultation with key stakeholders this proclamation
is a recipe for more confusion and delay in the U.S. immigration system. We urge the administration not
to proceed with implementing the proclamation and we stand together in support of an inclusive society
that truly honors the dignity of all people and the contributions immigrants have made to the economic
strength and cultural vitality of our country.


 Boulder County                                           Colorado Immigrant Rights Coalition
   Board of County Commissioners
                                                          Colorado Organization for Latina
 Caring for Colorado Foundation                             Opportunity and Reproductive Rights

 Center for Health Progress                               Colorado Safety Net Collaborative

 Clinica Colorado                                         Hispanic Affairs Project

 Colorado Center on Law & Policy                          Hunger Free Colorado

 Colorado Children's Campaign                             LiveWell Colorado

 Colorado Community Health Network                        Mile High United Way

 Colorado Consumer Health Initiative                      NARAL Pro-Choice Colorado

 Colorado Cross Disability Coalition                      Planned Parenthood of the Rocky Mountains

 Colorado Health Foundation                               Progress Now Colorado

 Colorado Hospital Association                            Rose Community Foundation




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STRIDE Community Health Center              Tri-County Health Network




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                                                      Immigrant&
                                                     Refugee Center
                                                   OF NORTHERN COLORADO



          Department of State, Office of Information and Regulatory Affairs, Office of Management and
          Budget
          Department of State’s Bureau of Consular Affairs, Office of Visa Services
          Docket Number: DOS-2019-0039

          Re: Emergency Submission Comment on Immigrant Health Insurance Coverage

                                                  October 30, 2019

          To Whom It May Concern:

                  The Immigrant & Refugee Center of Northern Colorado is submitting this public
          comment in response to the “Emergency Submission Comment on Immigrant Health Insurance
          Coverage” now opened by the Department of State. This move by the Department, made in
          response to the Trump Administration’s proclamationi from October 4th, not only creates an
          undue burden on aspiring immigrants coming to the United States, but it also worsens public
          health and undercuts our creedal commitments to justice and equality before the law. Enacting
          this restriction cannot be allowed, and it is the duty of the Department to rescind this motion
          immediately.
                  This directive—specifically the instruction to collect insurance coverage information
          from visa applicants as a means of adjudicating the applicant’s viability for acceptance — is an
          attempt to circumvent the Congress in order to curtail legal immigration. As observed by the
          Migration Policy Instituteii, such a threshold for visa acceptance would prevent nearly two thirds
          of applicants from being accepted to rejoin family in the United States, contribute to our
          economy, or fulfill the promise of American democracy or meritocracy. It is not coincidental that
          this process of moving through the Department of State, rather than through more conventional
          immigration offices, and allowing the public a mere two days for responding to the issue, is
          occurring just after the sweeping injunctions against the proposed rule changes to Public Charge
          have been issued. When one cannot get what one seeks through conventional means, one resorts
          to surreptitious, unconventional means. It is, in other words, an attempt to govern by decree
          instead of by legislation. Such a decree, as well as a precedent for such massive shifts in standing
          US policy overnight without substantive public input, cannot be allowed to go into effect.
                   There is also the issue of this directive being counterproductive to its stated aims:
          removing financial burdens from the healthcare system and improving public health. The time-
          bound restrictions for entry and proof of insurance, based upon the applicant’s time of
          application, does not give room for enrollment into insurance marketplaces provided under the
          Affordable Care Act (ACA). This oversight creates incentives for immigrants eager to enter the
          country to purchase less comprehensive, more expensive insurances through private providers, or
          to enroll through ACA without a chance for subsidies. This worsened coverage for greater cost
          produces the very outcomes the Administration is predicating this directive upon; it is
          counterproductiveiii.



Immigrant & Refugee Center of Northern Colorado • 3001 8th Ave Suite 170, Evans, CO 80620 • (p) 970.352.7323 •
                                              www.ircnoco.org
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                                                             Immigrant&
                                                            Refugee Center
                                                         OF NORTHERN COLORADO



                  At a most foundational level, this move, beyond its curtailing of Congressional authority
          and beyond its false predicate on public health, betrays the creedal aspirations and promises of
          our great nation enshrined within our national motto, E Pluribus Unum. The Trump
          Administration has a history replete with overt statements indicating interest to hurt communities
          of color and policy aims to cut all forms of immigration, as it sees these groups as fundamentally
          not belonging in the United States. The Administration is wrong. In these moves, the
          Administration is smothering the very engine of our economic prosperity, the very source of our
          exceptionalism, and the very fountain of democracy itself. We write this comment to the
          Department of State in the hopes that this great Department—one with a proud history of
          elevating the value of diplomacy, rule of law, and the growth that emerges from pluralism and
          reciprocity—can stand up to its own calling and reject this policy directive. A better, safer
          America is not one where this policy exists. We encourage the Department to remove this policy
          directive from the Register.

          Thank you for your time and consideration,


          Lisa Taylor                                                        Collin Cannon
          Executive Director                                                 Director of Advocacy




          i
             PP 9945 84 FR 53991 (October 4, 2019) “The Presidential Proclamation on the Suspension of Entry of
          Immigrants Who Will Financially Burden the United States Healthcare System
          https://www.whitehouse.gov/presidential-actions/presidential-proclamation-suspension-entry-immigrants-will-
          financially-burden-united-states-healthcare-system/
          ii
              Gelatt, J., & Greenberg, M. (2019, October 10). Health Insurance Test for Green-Card Applicants Could Sharply
          Cut Future U.S. Legal Immigration. Retrieved from https://www.migrationpolicy.org/news/health-insurance-test-
          green-card-applicants-could-sharply-cut-future-us-legal-immigration.
          iii
              Published: Oct 10, 2019. (2019, October 10). President Trump's Proclamation Suspending Entry for Immigrants
          without Health Coverage. Retrieved from https://www.kff.org/disparities-policy/fact-sheet/president-trumps-
          proclamation-suspending-entry-for-immigrants-without-health-coverage/.




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Comments re: Department of State, Public Notice: 10934

Docket Number: DOS-2019-0039

To whom it may concern:



I earnestly provide the comments below from the perspective of someone who also works in a
government agency, albeit at a state level, from a practical problem-solving perspective.

Like many, my initial reaction to the 2-day comment period of the notice was one of cynical skepticism.
Upon reading it, however, I quickly saw it for what I believe it is: a bureau of a federal department
attempting to comply with both a mandate from an executive proclamation, and a standing statutory
requirement regarding the new collection of information, in an unreasonably short amount of time.

I have never responded this type of notice before, but felt compelled to in this instance. The injustice of
Presidential Proclamation 9945 (PP 9945) for immigrants is immediately apparent to any literate person
with a notion of how U.S. laws work, but the ripple effects of the practical inefficiencies passed on to the
agencies tasked with implementing these pointless absurdities is less obvious.

The notice has requested comment to permit the Department of State (Department) to:

(1) Evaluate whether the proposed information collection is necessary for the proper functions of the
Department.

(2) Evaluate the accuracy of our estimate of the time and cost burden of this proposed collection,
including the validity of the methodology and assumptions used.

(3) Enhance the quality, utility, and clarity of the information to be collected.

(4) Minimize the reporting burden on those who are to respond, including the use of automated
collection techniques or other forms of information technology.

While I am no one of consequence whose word carries no weight, I’ve attempted to approach this as
though I were in this position: tasked with practically implementing a political mandate created by
people without the faintest notion of how a process actually works.

1. Necessity: In saying that the information collection is not necessary for the “proper functions of the
Department”, I’m not saying anything the Department doesn’t already know. Viewed objectively
through the lenses of its Vision Statement, Mission Statement, and Professional Ethos, the Department’s
only use for this information is to satisfy a mandate in a proclamation created for an Executive as a
bullhorn to amplify a dog whistle, with no other practical application. The collection of the information
in PP 9945 creates a new standard and, consequently, a new, unnamed category of immigrants.
Immigrants in this new category are in all of the same previous visa types with all of the same
requirements, save one: they are subject to an insurance requirement based on financial resources,
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while simultaneously having removed from them the options available to all other current American
citizens and legal immigrants to make that standard affordable through state insurance marketplaces.

As a metaphor, participation in the marathon is optional for people that are already here, but people in
this new category are forced to run – and they may not wear shoes. Failure to complete the race
shoeless and in adequate time results in denial of entry to the U.S., despite meeting all other
requirements. I see only contradictions to the stated Department vision, mission, and ethos – but I also
see the department being forced into that position by the proclamation.

2. Accuracy, Methodology: To summarize what I see, PP 9945 mandates that the Department
determine to the “satisfaction of a consular official”, who is not required to be an expert in health
insurance, whether an immigrant subject to the requirements will be covered by one of nine different
categories of “approved health insurance coverage” within 30 days of entering the country. Some of
those categories have subcategories, some are not defined, some rely on confirmation from third
parties, and some types of insurance will require visa approval prior to actual purchase.

The notice estimates an average time for response of 10 minutes, with a total estimated burden time of
75,083 hours over 450,500 responses for the Department. Given the variables described above, I would
suggest that a verbal confirmation of how an immigrant subject to the requirements intends to comply
with PP 9945 by supplying the name of the insurance plan and estimated date of coverage should be
sufficient to “satisfy” a consular official within reasonable expectations. Anything more would appear to
fall outside of the scope of knowledge to be reasonably expected of said consular official, and additional
collection of “such other information related to the insurance plan” would likely push the estimated
average response and total burden times well beyond the estimates. Additional information may not be
readily available in the moment the official asks, necessitating follow-up that may not be practicable.

The other side of that coin is the unspecified methodology to evaluate “financial resources” for
“reasonably foreseeable medical expenses… related to existing medical conditions”. Assuming that the
Department’s current Form I-864 is to be used to determine the immigrant and sponsor’s combined net
financial resources, determining a dollar amount to attach to specific “health issues existing at the time
of visa adjudication” in order to determine sufficiency of those resources would be as complex as actual
medical billing. Some hospital financial administration or insurance actuarial expertise would be
required to create a fairly and equally applied methodology for that determination, which in practice
would be unique to each presentation of any given medical condition. Which is all to say: essentially
impossible for the Department to administer correctly and fairly to the letter of that provision within the
scope of its mission and statutorily defined duties.

Lastly, though perhaps out of scope for purposes of the notice, the estimates do not account for the
time and materials necessary to develop and administer the training and job aides that consular officials
will require to apply the criteria defined (or not defined) in PP 9945 properly. To paraphrase what our
President has already said so eloquently, the complexity and variety of these insurance products cannot
be understated. For consular officials, the complexity of answers to PP 9945’s questions will match it.
Giving officials the authority to ask for additional details that they do not possess the expertise to
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evaluate appears on its face to be wasteful, counterintuitive, and essentially impossible to administer
equally for all applicants.

3. Enhancing quality, utility, clarity: Like a digital photograph, the quality and clarity of the information
collected cannot be enhanced beyond its origin. The proposed insurance information to be collected
during the visa application may reside in either the present or the future; the requirement is not that an
immigrant is already covered, only that coverage will be effective within 30 days of entering the country.
The details provided may then be subject to change depending on variables ranging from insurance
price fluctuations to the zip code where the person actually ends up residing before the end of that 30
days. Thus, information collected beyond yes or no, and the presumed details at that time, is merely
additional layers of speculation.

As for utility, there appears to be none for the department, other than compliance with a mandate in a
proclamation. Once an immigrant is approved to enter the country, there is no mechanism to validate
the actual outcome of the answers provided to the Department in either the methodology described in
the notice, or in PP 9945, and this data otherwise has no bearing on the department’s stated mission.

4. Minimizing reporting burden: As a an oral response to an application interview question, the
reporting burden rests entirely within the Department. Capturing the answers within an existing
application framework will not likely pose too great a challenge, if the answers are limited to pre-
defined fields. If the “such other information related to the insurance plan” standard is used, this would
require the use of either an open-ended field or additional documentation to be collected, which would
then require a qualified person to review those fields or documents, etc. – with no added value resulting
from the additional information.

The reason these sorts of process changes usually come through statutes or rules is that there is a
budgetary vetting process associated with them. While the outcomes are often still political in nature,
there is at least been an initial accounting for the probable expenses and mechanisms to practically
implement the proposed legislation. A presidential proclamation has no associated considerations, and
in this case, the change is mandated to occur in less than a month. I would assume that the Department
must still operate within the statutory requirements and budget it has been allotted, and anything
contrary to either of those parameters would require additional authorization.

To conclude, PP 9945 seeks to use the Department as a pawn to realize its intent, which is at odds with
the Department’s vision, mission, and ethos statements. However, like any other piece, the movement
of pawns is restricted by the rules of the game. PP 9945 does not consider the limitations of the
Department’s budget, nor the impact that the additional burden the collection of the information has on
the Department’s efficiency, nor the Department’s lack of the expertise required to evaluate insurance
coverage and medical condition costs required by PP 9945 – which lies well outside of the scope of
knowledge that would reasonably be required of a consular official. To avoid the risk of unfairly applying
undefined criteria, I would humbly suggest that the Department collect only the proposed information
regarding the “specific health insurance plan” and “date coverage will begin” for the satisfaction
requirement. Any further detail, or the criteria regarding the “financial resources to pay for reasonably
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foreseeable medical expenses” should be deferred to the Department of Health and Human Services to
establish that criteria before attempting to penalize immigrants against it, since that lies well outside of
the State Department’s ability to determine properly within the scope of its statutory duties.

Sincerely,

Victor Garcia, Oregon resident
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Stephen Manning (SBN 013373)                    Karen C. Tumlin (pro hac vice forthcoming)
smanning@ilgrp.com                              karen.tumlin@justiceactioncenter.org
Nadia Dahab (SBN 125630)                        Esther H. Sung (pro hac vice forthcoming)
nadia@innovationlawlab.org                      esther.sung@justiceactioncenter.org
INNOVATION LAW LAB                              JUSTICE ACTION CENTER
333 SW Fifth Avenue #200                        P.O. Box 27280
Portland, OR 97204                              Los Angeles, CA 90027
Telephone: +1 503 241-0035                      Telephone: +1 323 316-0944
Facsimile: +1 503 241-7733

Attorneys for Plaintiffs
(additional counsel listed on signature page)

                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                  PORTLAND DIVISION

JOHN DOE #1; JUAN RAMON MORALES;                Case No.:
JANE DOE #2; JANE DOE #3; IRIS
ANGELINA CASTRO; BLAKE DOE;
BRENDA VILLARRUEL; and LATINO
NETWORK,

                             Plaintiffs,

       v.                                       CLASS ACTION COMPLAINT

DONALD TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND
SECURITY; KEVIN MCALEENAN, in his
official capacity as Acting Secretary of the
Department of Homeland Security; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; ALEX M. AZAR II, in
his official capacity as Secretary of the
Department of Health and Human Services;
U.S. DEPARTMENT OF STATE;
MICHAEL POMPEO, in his official capacity
as Secretary of State; and UNITED STATES
OF AMERICA,

                        Defendants.
_____________________________________
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                                        INTRODUCTION

       1.      Late on Friday night, October 4, 2019, President Trump issued a presidential

proclamation that, effective November 3, 2019, will block nearly two thirds of all prospective legal

immigrants, mostly from predominantly nonwhite countries, from receiving visas and coming to

the United States.

       2.      The “Presidential Proclamation on the Suspension of Entry of Immigrants Who

Will Financially Burden the United States Healthcare System” (the “Proclamation”) bars qualified

immigrant visa applicants from receiving visas and entering the United States unless they can

establish, “to the satisfaction of a consular officer,” that they either “will be covered by approved

health insurance” within 30 days after entry or are wealthy enough—and/or healthy enough—“to

pay for reasonably foreseeable medical costs.”

       3.      The Proclamation seeks to unilaterally rewrite this country’s immigration laws,

imposing a new ground of inadmissibility that Congress has expressly rejected, and creating

requirements that will be extremely difficult, or impossible, for most otherwise qualified

immigrant visa applicants to satisfy. In doing so, the Proclamation contravenes well-established

and duly enacted immigration and healthcare laws, exceeds the scope of the President’s statutory

authority, and violates Constitutional separation of powers and equal protection principles.

       4.      In implementing the Proclamation, the U.S. Department of State has publicly

announced on its website that, beginning November 3, 2019, all applicants for immigrant visas

who are subject to the Proclamation “must demonstrate to the consular officer at the time of

interview” that they will be covered by “approved” health insurance under the Proclamation within

30 days of entry or have the financial resources to pay for reasonably foreseeable medical costs”—

and that “[i]nability to meet this requirement will result in the denial of the visa application.”




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       5.      In addition to imposing new requirements for immigrant visa applicants that are

unmoored from the existing statutory and regulatory framework, the Proclamation and agency

implementation actions provide staggeringly few options to satisfy this barrier. While the

Proclamation lists a number of health insurance options that would-be immigrants ostensibly could

obtain in order to satisfy the new requirement, it in fact provides few or even no options that are

available to these individuals in reality. First, most of the “approved health insurance” plans that

are listed as satisfying the Proclamation’s requirement are not actually legally or practically

available to the vast majority of prospective immigrants—like Medicare, which requires a recipient

to have lived in the United States for five years, or any plan available under the Affordable Care

Act, with or without financial assistance, because such plans are only available to individuals

living in the United States. Second, under the Proclamation, any kind of coverage involving

common federal- or state-provided health insurance benefits, such as premium tax credits under

the Affordable Care Act (“ACA”) for plans sold on the individual market or Medicaid coverage

for any individual over age 18, does not allow prospective immigrants to surmount this new barrier

to entry. By imposing these restrictions on “approved” types of health insurance, the Proclamation

excludes benefits and assistance that Congress has specifically and explicitly made available by

statute to certain immigrants in the United States. Third, a number of the “approved” health

insurance options are not available in all states, or, in many cases, allow denials and exclusions

based on pre-existing conditions, such that many would-be immigrants would not qualify for or

have access to such plans. Fourth, the coverage provided under certain “approved” options is

limited and does not provide for “minimum essential coverage” as defined under the ACA.

       6.      The Proclamation is therefore poised to create a new class of otherwise qualified

immigrants who are barred from entry on the sole ground of the health insurance requirement, as




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well as a new class of underinsured individuals with non-comprehensive coverage in the United

States. These effects frustrate both existing immigration laws and established healthcare laws, and

create further concerns for public health and the healthcare system. Under its terms and agency

implementation actions, the Proclamation would ban an immigrant who would receive financial

assistance under the ACA to purchase comprehensive individual health insurance coverage, but

would allow an immigrant who purchased an “approved,” non-comprehensive visitor or short-term

limited duration insurance plan, even though the former would be better insured and far less likely

to incur uncompensated care costs than the latter. In effect, the Proclamation and its

implementation incentivize, if not require, would-be immigrants to purchase non-comprehensive

plans to satisfy the Proclamation’s health insurance requirement because those plans are in many

cases the most realistically accessible to immigrants. In doing so, the Proclamation and its

implementation undermine not only Congress’s intent, as expressed through the ACA, to provide

a certain minimum level of coverage to all legal immigrants and citizens in the United States, but

also the Proclamation’s own stated goal of addressing the burdens of uncompensated care provided

to uninsured individuals.

       7.      The Proclamation and its implementation are similar (yet even more egregious) in

effect to the Administration’s recently promulgated—and currently enjoined by several courts—

“Public Charge” Rule, which attempts to redefine what it means for an immigrant to be a “public

charge” and therefore inadmissible to the United States. Both the Proclamation requirements and

the Public Charge Rule provisions are tools that the Trump Administration is seeking to use in

order to exclude prospective immigrants who have satisfied all statutory requirements under the

Immigration and Nationality Act (“INA”) to enter the United States; both favor so-called

“unsubsidized” ACA health insurance over subsidized; both consider the use of Medicaid to be a




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negative or disqualifying factor for individuals age 18 and over; and both involve some analysis

on the part of a consular officer as to whether an intending immigrant has sufficient financial

resources to cover “reasonably foreseeable medical costs.” The Public Charge rule, while still

problematic and under challenge on various grounds (as reflected in the pending lawsuits

challenging the rule and the preliminary injunction orders recently issued by several courts), was

at least promulgated through a notice and comment rulemaking process, as required by the

Administrative Procedure Act. The Proclamation did not go through any such a process and seeks

to impose the same, or even a heightened, draconian effect on the immigration system through

presidential fiat and corresponding agency action to carry out the new requirement.

       8.      Indeed, the Proclamation is unprecedented in its scope and impact, the largest ever

suspension on the entry of immigrants of its kind. It will affect mostly immigrants from Latin

America, Africa, and Asia, by drastically reducing, if not eliminating, the numbers of immigrants

who enter the United States with family-sponsored visas, humanitarian visas, or diversity visas.

With no termination point or procedure by which a prospective immigrant may seek a waiver of

the Proclamation’s suspension on entry, the Proclamation will separate families—especially

nonwhite families—indefinitely, in contravention of one of the bedrock principles of this country’s

immigration system.

       9.      Such anticipated effects of the Proclamation are striking, but perhaps hardly

surprising. Like the Public Charge Rule (and the failed RAISE Act of 2017), the Proclamation

reflects the President’s often expressed belief that, unlike immigrants who would enter via a

“merit-based” system, immigrants who currently enter the country through family-based and

diversity visas do not contribute to the United States but instead present a threat to the country’s

economy and security. “Why are we having all these people from shithole countries come here?”




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he reportedly asked during a 2018 Oval Office discussion of protections for immigrants from Haiti,

El Salvador, and certain African countries. “Why do we need more Haitians?” he asked. During

that same discussion, he suggested that the United States should instead bring more people from

countries like Norway—which is regularly ranked as one of the wealthiest countries in the world.

       10.      The Proclamation is but the latest effort of the Trump Administration to unilaterally

rewrite Congressionally enacted laws governing who may come to this country as an immigrant.

It is also the one of the most drastic. Based on the latest data, up to an estimated 375,000

immigrants are at risk each year of being banned due to a lack of “approved” health insurance

coverage, or close to two-thirds of all qualified immigrant visa applicants, many of whom are

people of color. This is repugnant not only to our values, but also our nation’s laws and

Constitution.

       11.      Plaintiffs challenge the Proclamation and Defendants’ implementation of its

requirements under this Court’s inherent authority to review executive actions that exceed

statutory grants of authority, the Administrative Procedure Act, 5 U.S.C. § 706(2)(A)–(D), and the

equal protection guarantee of the Due Process Clause of the Fifth Amendment. Plaintiffs

respectfully request that the Court issue appropriate declaratory relief and preliminarily and

permanently enjoin the Proclamation as a whole.




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                                JURISDICTION AND VENUE

       12.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343 over

Plaintiffs’ claims under the U.S. Constitution and federal statutes. The Court has additional

remedial authority under 28 U.S.C. §§ 2201–02.

       13.     Venue is proper under 28 U.S.C. § 1391 and Local Rule 3.2. Defendants are officers

or employees of the United States acting in their official capacities, and agencies of the United

States. Plaintiff John Doe #1 resides in the Portland Division of this District and Plaintiff Latino

Network is a non-profit organization based in Portland. Moreover, on information and belief, the

proposed class includes numerous members residing in this District who will be affected by the

actions of Defendants. No real property is involved in this action.

                                            PARTIES

                                          PLAINTIFFS

       14.     Plaintiff John Doe #1 is a United States citizen of Mexican origin who resides in

Beaverton, Oregon, with his wife, a Mexican citizen, and his fourteen-year-old United States

citizen son. John Doe #1, who is not able to work due to a disability, sponsored an immigrant visa

for his wife so that she can have legal status to live and work in the United States. Her immigrant

visa consular interview is scheduled for November 6, 2019. Under the Proclamation and

Defendants’ implementation of its requirements, John Doe #1 and his wife cannot afford or qualify

for an “approved” health insurance option for her and fears that they lack sufficient financial

resources to pay foreseeable medical costs out of pocket.

       15.     Plaintiff Juan Ramon Morales is a United States citizen originally from Puerto Rico

who now resides in Liberty, New York with his wife, Vianca Morales, a Mexican citizen; their

daughter; and Ramon’s step-daughter. Mr. Morales has sponsored his wife for an immigrant visa




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and she is waiting to schedule her consular interview, but he is not able to add his wife to his

employer-sponsored health insurance or obtain another “approved” health insurance plan under

the Proclamation due to cost.

        16.       Jane Doe #2 is a United States citizen of Nicaraguan origin and a single mother of

two children who resides in Rancho Cucamonga, California. She has an approved I-130 petition

for her parents, who are living in Nicaragua and waiting to schedule their consular interview. She

has been unable to find available and affordable health insurance for her parents that complies with

the Proclamation, and it is unlikely that they will be able to show the ability to pay for reasonably

foreseeable medical costs as required under the Proclamation and Defendants’ implementation of

its provisions.

        17.       Plaintiff Jane Doe #3 is a U.S. citizen who currently resides in Los Angeles,

California. She is unable to work due to a disability and has insurance through Medi-Cal,

California’s Medicaid program. Jane Doe #3 has an approved I-130 petition for her husband, a

German citizen who currently resides in Berlin, Germany and is an architect who teaches

architectural theory and design. Although he is gathering documents for consular processing, Jane

Doe #3 does not believe that her husband will be able to prove at a consular interview that he

would be covered by approved health insurance within 30 days of his entry into the United States

because they do not believe that they have the financial resources to afford “approved” health

insurance as defined in the Proclamation or to pay his foreseeable medical expenses out of pocket

as required by the Proclamation and Defendants’ implementation of it.

        18.       Plaintiff Iris Angelina Castro is a United States citizen who lives in Springfield,

Massachusetts with her son, who is a U.S. citizen. She recently became unemployed and currently

has state health insurance. She has an approved I-130 visa petition for her husband, Hermogenes




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Castro Molina, a Dominican citizen, so that they can reunite in the United States. He is currently

in the process of filing all necessary documents so that they can schedule a consular interview, but

they do not believe that he will be able to prove that he can obtain available and affordable

“approved” health insurance within 30 days of entering the U.S. or pay for foreseeable medical

costs as required under the Proclamation and Defendants’ implementation of its provisions.

       19.     Plaintiff Blake Doe is a U.S. citizen living in Corvallis, Oregon, with his wife. He

has approved I-130 immigrant petitions for his parents, both Mexican citizens, with whom he had

lived his entire life in Oregon until going to college at Oregon State University to study civil

engineering. Blake Doe’s parents are currently waiting to have their consular interview scheduled

in Ciudad Juarez, Mexico. Blake Doe and his parents do not believe that they would be able to

prove that his parents would be able to obtain available and affordable “approved” health insurance

within 30 days of their entry into the U.S. or to pay foreseeable medical expenses out of pocket as

required under the Proclamation and Defendants’ implementation of its provisions.

       20.     Plaintiff Brenda Villarruel is a U.S. citizen who currently resides in Chicago,

Illinois, with her United States citizen son and United States citizen parents. Ms. Villarruel works

part time as a licensed medical assistant. She does not have medical insurance and receives health

care, when necessary, through a clinic that charges based on income. Ms. Villarruel has sponsored

an immigrant visa for her husband, a Mexican citizen who currently resides in Mexico City,

Mexico, and is awaiting consular processing. Ms. Villarruel and her husband do not have the

resources to obtain available and affordable “approved” health insurance coverage for him or to

pay his foreseeable medical expenses out of pocket as required under the Proclamation and

Defendants’ implementation of its provisions.




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          21.   Plaintiff Latino Network is a non-profit organization based in Portland, Oregon.

Latino Network’s organization mission is to educate and empower Multnomah County Latinos to

achieve physical and mental health, safe housing, sustainable financial stability, and social

support. Latino Network does so by offering a variety of programs and services, including early

childhood services, community-based programs, school-based programs, arts and culture

programs for youth, health and wellness programs, and civic leadership programs. The

impending effective date of the Proclamation has forced Latino Network to divert resources from

its core activities to address the Proclamation’s fallout within the community the organization

serves.

                                         DEFENDANTS

          22.   Defendant Donald Trump is the President of the United States. He is sued in his

official capacity. In that capacity, he issued the Proclamation.

          23.   Defendant U.S. Department of Homeland Security (“DHS”) is a cabinet-level

department of the United States federal government. The Proclamation assigns DOS a variety of

responsibilities regarding its implementation and enforcement.

          24.   Defendant Kevin McAleenan is the Acting Secretary of Homeland Security and has

responsibility for overseeing enforcement and implementation of the Proclamation by all

Department of Homeland Security staff. He is sued in his official capacity.

          25.   Defendant U.S. Department of Health and Human Services (“DHHS”) is a cabinet-

level department of the United States federal government. The Proclamation assigns DHHS a

variety of responsibilities regarding its implementation and enforcement.




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       26.     Defendant Alex M. Azar II is the Secretary of Health and Human Services and has

responsibility for overseeing enforcement and implementation of the Proclamation by all

Department of Health and Human Services staff. He is sued in his official capacity.

       27.     Defendant U.S. Department of State (“DOS”) is a cabinet-level department of the

United States federal government. DOS is responsible for the issuance of immigrant visas abroad.

The Proclamation assigns DOS a variety of responsibilities regarding its implementation and

enforcement.

       28.     Michael Pompeo is the Secretary of State and has responsibility for overseeing

enforcement and implementation of the Proclamation by all Department of State staff. He is

charged by statute with the administration and enforcement of the Immigration and Naturalization

laws, including those related to the powers, duties, and functions of consular officers not reserved

to the officers themselves. 8 U.S.C. § 1104. He is sued in his official capacity.

                                  FACTUAL ALLEGATIONS

A.     The Proclamation

       29.     Late on Friday night, October 4, 2019, President Trump signed the “Presidential

Proclamation on the Suspension of Entry of Immigrants Who Will Financially Burden the United

States Healthcare System” (the “Proclamation”). A copy of the Proclamation can be viewed at

https://www.whitehouse.gov/presidential-actions/presidential-proclamation-suspension-entry-

immigrants-will-financially-burden-united-states-healthcare-system/ and is attached as Exhibit 1.

       30.     Beginning at 12:01 a.m. eastern daylight time on November 3, 2019, the

Proclamation will ban would-be immigrants from receiving visas and entering the United States

unless they can demonstrate, “to the satisfaction of a consular officer,” that they will be able to




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obtain “approved” health insurance coverage within 30 days after arriving in the United States, or

are wealthy enough to “pay for reasonably foreseeable medical costs.”

       31.     The Proclamation, by its own terms, was not issued for national security reasons.

Ostensibly, the Proclamation is meant to “address[] the challenges facing our healthcare system,

including protecting both it and the American taxpayer from the burdens of uncompensated care”

given to “people who lack health insurance or the ability to pay for their healthcare.” The

Proclamation notes that hospitals and other health care providers “often administer care to the

uninsured without any hope of receiving reimbursement from them.” Such uncompensated costs

“are passed on to the American people in the form of higher taxes, higher premiums, and higher

fees for medical services.” The Proclamation further states that uninsured individuals “strain

Federal and State government budgets through their reliance on publicly funded programs, which

ultimately are financed by taxpayers,” and rely on emergency care for non-emergency conditions,

“causing overcrowding and delays for those who truly need emergency services.”

       32.     Given these challenges, the Proclamation asserts that “the United States

Government is making the problem worse by admitting thousands of aliens who have not

demonstrated any ability to pay for their healthcare costs,” and claims that “data show that lawful

immigrants are about three times more likely than United States citizens to lack health insurance.”

Accordingly, the Proclamation declares that “[c]ontinuing to allow entry into the United States of

certain immigrants who lack health insurance or the demonstrated ability to pay for their healthcare

would be detrimental to these interests.” If a prospective immigrant will not “be covered by

approved health insurance” “within 30 days of the alien’s entry into the United States,” or if the

immigrant does not have “the financial resources to pay for reasonably foreseeable medical costs,”




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the immigrant is deemed to be someone who will “financially burden the United States healthcare

system” and whose entry into the United States is therefore “suspended.”

       33.     Simply put, under the Proclamation, a lack of “approved” insurance, or the inability

to prove that an intending immigrant can pay for “reasonably foreseeable” medical care, absolutely

bars the entry of that individual to the United States who meets all qualifications mandated by

Congress in the Immigration and Nationality Act.

       34.     The Proclamation sets out a narrow range of health insurance plans that qualify as

“approved health insurance.” No “subsidized” health plan offered in the individual market within

a State under the ACA qualifies. Proclamation § 1(b)(ii). Nor does Medicaid qualify as “approved

health insurance” for any individual over 18, Proclamation § 1(c), even though some states have

chosen to make Medicaid available to certain adults over 18, including certain new and recently

arrived immigrants. “Approved health insurance” under the Proclamation includes only:

   •   employer-sponsored plans (Proclamation § 1(b)(i));

   •   catastrophic plans (Proclamation § 1(b)(iv));

   •   certain health plans available to the U.S. military (Proclamation § 1(b)(vi));

   •   the health plans of family members (Proclamation § 1(b)(v));

   •   Medicare (Proclamation § 1(b)(viii));

   •   short-term, limited duration health policies effective for at least 364 days (Proclamation §

       1(b)(iii)); and

   •   visitor health insurance plans that provide “adequate coverage for medical care,” also for

       at least 364 days (Proclamation § 1(b)(vii)).




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As explained below, the Proclamation’s “approved” health insurance plans are not practically or

legally available to most or all prospective immigrants residing outside the country or within their

first 30 days of arrival.

          35.    A prospective immigrant may also obtain a “health plan that provides adequate

coverage for medical care as determined by the Secretary of Health and Human Services or his

designee,” but the Proclamation provides no guidance as to how “adequate coverage” is defined.

(Proclamation § 1(b)(ix)).

          36.    Subject to limited exceptions, the Proclamation applies to nearly all individuals

seeking to enter the United States with an immigrant visa. Indeed, based on insurance coverage

alone, most adults who were granted green cards over the last three years would have been banned

had the Proclamation been in effect.1 The only exceptions from the Proclamation’s suspension of

entry cover very small populations, including:

      •   certain Special Immigrant Visa applicants specifically from Iraq and Afghanistan

          (Proclamation § 2(b)(ii));

      •   green card holders returning to the U.S. on a “Returning Resident” visa after remaining

          abroad for more than one year (Proclamation § 2(b)(v));

      •   biological and adopted children under 21, but only if those children are not accompanying

          a parent who is also immigrating to the United States and is subject to the Proclamation

          (Proclamation § 2(b)(iii), (vi)); and

      •   parents of U.S. citizen children over the age of 21 arriving with an IR-5 visa, but only if

          the parent or the U.S. citizen-child sponsor “demonstrates to the satisfaction of the consular


1
    Nicole Narea, Trump just quietly cut legal immigration by up to 65%, VOX,
https://www.vox.com/2019/10/9/20903541/trump-proclamation-legal-immigration-health-insurance (last
visited Oct. 27, 2019).


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       officer that the [parent’s] healthcare will not impose a substantial burden on the United

       States healthcare system” (Proclamation § 2(b)(iv)).

With respect to this last exception, the Proclamation provides no guidance as to how the parent or

U.S. citizen-child sponsor must demonstrate, nor how a consular officer should evaluate, whether

the parent’s health care will impose a “substantial burden on the United States healthcare system.”

       37.     Notably, certain types of plans that qualify as “approved” coverage under the

Proclamation provide only very limited benefits and/or allow exclusions based on preexisting

conditions, such that they may be either unavailable to many individuals or may result in

“underinsurance”—which has itself been shown to impose a “substantial burden on the United

States healthcare system.” Yet, the Proclamation would encourage underinsurance among newly

arrived immigrants.

       38.     The Proclamation also contains exceptions for noncitizens “whose entry would

further important United States law enforcement objectives,” or “whose entry would be in the

national interest,” as “determined by the Secretary of State or his designee.” Proclamation §

2(b)(vii), (viii). Again, however, the Proclamation provides no procedure for would-be immigrants

either to learn or to demonstrate how they would qualify for such exceptions.

B.     Agency Implementation of the Proclamation

       39.     In implementing the Proclamation, the Department of State created a page on its

website that informs and instructs visa applicants and consular officers of their new obligations

under the Proclamation (“Posting”), available at https://travel.state.gov/content/travel/en/us-

visas/immigrate/Presidential-Proclamation-on-Health-Care.html (Exhibit 2).

       40.     The Posting states definitively that “if you are applying for an immigrant visa” on

or after November 3, 2019 “you must demonstrate at the time of the interview” that you meet the




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Proclamation’s requirements. It also specifies that an “inability” to meet the Proclamation’s

requirements at the time of the interview “will result in the denial of the visa application.” The

Posting then lists the same exceptions that appear in the Proclamation and the same list of approved

health insurances. Under the heading “Requirement at visa interview,” the Posting specifies that

“[d]uring the visa interview,” applicants will need to demonstrate that they satisfy the requirements

of the Proclamation. It informs that applicants that consular officers “will review the medical and

financial documentation that is already part of the applicant’s case file and may request additional

information or documentation as needed.” The Posting also includes a link to the Proclamation

itself.

          41.   By its terms, the Posting unequivocally makes clear not only that visa applicants

have the obligation to satisfy the Proclamation’s requirements or be denied a visa, but also that

consular officers will enforce the Proclamation, which has significant legal and practical

consequences for visa applicants and their families. It did so without satisfying any of the

requirements for agency action under the Administrative Procedure Act (“APA”) or demonstrating

good cause for diverging from standard agency practice.

          42.   Eleventh-hour action by the State Department purports to offer the opportunity for

notice and comment for “information collection” related to the Proclamation, but this only

highlights the agency’s failure to act according to the requirements of the APA. Just yesterday, on

October 29, 2019, the Department of State issued a “Notice of Information Collection” for

“Emergency Review”2 (the “Emergency Notice”), which was published in the Federal Register



2
 60-Day Notice of Proposed Information Collection: Public Charge Questionnaire, FED.
REGISTER, https://www.federalregister.gov/documents/2019/10/24/2019-23219/60-day-notice-
of-proposed-information-collection-public-charge-questionnaire (last visited on Oct. 27, 2019).
https://s3.amazonaws.com/public-inspection.federalregister.gov/2019-23639.pdf


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today (October 30, 2019) and purports to announce a “methodology” established by the Secretary

of State, as authorized by Section 3 of the Proclamation, “to establish standards and procedures

for governing such determinations.” 84 Fed. Reg. 58199 (Oct. 30, 2019); see also Advance Print

Emergency Notice (issued Oct. 29, 2019), available at https://s3.amazonnews.com/public-

inspection.federalregister.gov/2019-23639. The Emergency Notice states that “to implement [the

Proclamation] when it goes into effect on November 3, 2019,” consular officers “will verbally ask

immigrant visa applicants covered by [the Proclamation] whether they will be covered by health

insurance in the United States within 30 days of entry to the United States and, if so, for details

relating to such insurance.” If the applicant says yes, “consular officers will ask for applicants to

identify the specific health insurance plan, the date coverage will begin, and such other information

related to the insurance plan as the consular officer deems necessary.” The Emergency Notice

further adds that visa applicants will not be suspended “if they do not have coverage, but possess

financial resources to pay for reasonably foreseeable medical expenses.” It defines “reasonably

foreseeable medical expenses” as “those expenses related to existing medical conditions, relating

to health issues existing at the time of visa adjudication.”

       43.     The Emergency Notice provides a comment period of less than 48 hours, an

unusually short period of time, stating that “[a]ll public comments must be received by October

31, 2019.” It notes that the Proclamation “was signed on October 4, 2019, and emergency review

of this information collection is necessary for the Department to prepare consular officers to

implement [the Proclamation] when it goes into effect on November 3, 2019.”3 The Emergency


3
  The late posting of the Emergency Notice and extremely short notice-and-comment period
stand in stark contrast to a “60-Day Notice of Proposed Information Collection” in the Federal
Register six days prior on October 24, 2019 (the “Notice”). That Notice proposed and solicited
public comments on a new written form, DS-5540, that would ostensibly collect information



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Notice was not, however, implemented in direct response to any particular event impacting foreign

relations.

        44.     Taken together, the Emergency Notice and the Posting make clear that, effective

November 3, consular officers are empowered to determine whether prospective immigrants meet

the Proclamation’s requirements, resulting in a direct impact on the rights of immigrants and their

families. These are definitive actions that reflect the consummation of the agency’s decision-

making process and that affect the substantive rights and obligations of regulated individuals.

        45.    The Posting and the last-minute Emergency Notice confirm press reports that

government officials were scrambling earlier this month to implement and enforce the

Proclamation by its effective date. On information and best belief, these efforts necessarily include

DOS officials as well as DHHS and DHS officials. For example, as indicated above, the DHHS

Secretary “or his designee” has authority under the Proclamation to determine whether a “health

plan . . . provides adequate coverage for medical care” (though provides no guidance as to how

“adequate coverage” is defined for such purpose). Proclamation § 1(b)(ix). According to one media

report published a week after the Proclamation was signed, government health officials “are

wrestling with highly technical questions” as they attempt to implement the Proclamation, despite




intended to assist consular officers “in assessing whether an applicant is likely to become a
public charge,” but stated that a consular officer could ask a visa applicant to fill out certain
questions on the same form to assess whether the applicant meets the Proclamation’s
requirements. See 60-Day Notice of Proposed Information Collection: Public Charge
Questionnaire, FED. REGISTER,See https://www.federalregister.gov/documents/2019/10/24/2019-
23219/60-day-notice-of-proposed-information-collection-public-charge-questionnaire (last
visited on Oct. 27, 2019).https://s3.amazonaws.com/public-inspection.federalregister.gov/2019-
23219.pdf



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“concerns” that its mandate “may be unworkable and even illegal.”4 Indeed, officials “are confused

about numerous aspects of the proclamation, such as whether implementing the new health

insurance requirements would fall to [the Center for Consumer Information and Insurance

Oversight, within the Department of Health and Human Services] or the State Department.”5 None

of these deliberations or concerns, which have a direct impact on the legal rights of visa applicants,

have been presented to the public as part of any administrative process.

          46.   It is no surprise that officials were at least initially confused about how to

implement the Proclamation, given that the Proclamation is inconsistent with existing immigration

and healthcare laws, contrary to core constitutional principles, and, moreover, is riddled with

undefined terms and imprecise standards and appears to ignore many of the practical realities of

both this country’s immigration and health care systems.

C.        The Proclamation is Vague, Internally Contradictory, and Inconsistent with
          Existing Law in Ways State Department Action has Not Addressed

          1.    The Proclamation Uses Unclear, Undefined Terms and Standards

          47.   The Proclamation’s list of “approved health insurance” plans includes several

options that are unclear and undefined. “Catastrophic health insurance,” for example, is one

“approved” option, but the term can be used generically, to refer to certain high-deductible plans,

or specifically, as defined by the ACA with certain coverage parameters and eligibility

requirements. The Proclamation does not specify what it means when it allows “catastrophic health

insurance” as “approved health insurance.”


4
  Dan Diamond, Health officials: Trump immigration order could be illegal, POLITICO,
https://www.politico.com/news/2019/10/11/trump-immigrants-health-insurance-illegal-044716 (last visited on
Oct. 27, 2019).
5
    Id.



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       48.     Likewise, a variety of forms of financial assistance under the ACA are broadly

available to individuals seeking health insurance on the ACA Exchanges—indeed, an Exchange

enrollee may qualify for some level of assistance if she has a household income from 100 to 400

percent of the federal poverty level (“FPL”),6 and lawfully present immigrants qualify for

assistance even if their household income is below 100% FPL if they are not otherwise eligible for

Medicaid. Such financial assistance can take the form of “premium tax credits” offered to eligible

enrollees, as well as certain cost-sharing reductions tied to specific “silver” plans, for which

eligibility is based on income. The ACA, however, does not define either of these forms of

financial assistance as a “subsidy.” The Proclamation is silent as to which forms of assistance

would render a plan “subsidized,” and therefore not “approved,” health insurance.

       49.     In addition, the Proclamation states that “an alien will financially burden the United

States healthcare system . . . unless the alien possesses the financial resources to pay for reasonably

foreseeable medical costs”—but provides no guidance on what might constitute a “reasonably

foreseeable medical cost.” Nor does the Proclamation indicate how a consular officer with no

medical training should evaluate what medical costs may be “reasonably foreseeable” for a specific

prospective immigrant, or how the consular offer should assess whether that individual has

sufficient “financial resources” to cover such costs. The State Department’s Emergency Notice,

published today in the Federal Register, defines “reasonably foreseeable medical expenses” as

“those expenses related to existing medical conditions, relating to health issues existing at the time

of visa adjudication” but, again, does not clarify how consular officers are to make that assessment.




6
 In 2019, the income level necessary for a family of four to qualify for financial assistance
ranged from $25,100 at 100% FPL to $100,400 at 400% FPL.


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       50.     Likewise, the Proclamation states that a visitor health insurance plan may qualify

as an “approved” health plan if it provides “adequate coverage for medical care”—but provides no

standards or definitions that would enable either a would-be immigrant or a non-medically trained

consular officer to assess what coverage qualifies as “adequate.” Similarly, the Secretary of Health

and Human Services may approve “any other health plan that provides adequate coverage for

medical care,” but the Proclamation is devoid of guidance as to how the Secretary should determine

that a plan’s coverage is “adequate,” to say nothing of guidance that would enable prospective

immigrants to evaluate whether a potential plan not already enumerated in the Proclamation

provides sufficiently “adequate” coverage to qualify as “approved.”

       51.     The Proclamation does provide exceptions to the entry suspension for immigrants

“whose entry would be in the national interest,” as determined by the Secretary of State, or “whose

entry would further important United States law enforcement objectives,” as determined by the

Secretary of State based on a recommendation of the Attorney General. But the Proclamation does

not explain what such terms as “national interest” or “important United States law enforcement

objectives” mean. There is no indication, in either the text of the Proclamation or the Department

of State website, of how a prospective immigrant may seek such a determination from the Secretary

of State or demonstrate her qualifications for such a determination.

       52.     When making an exception for immigrants whose entry would further “law

enforcement objectives,” moreover, the Proclamation makes no mention of a special visa, the U

visa, which exists specifically for victims of certain crimes who are helpful to law enforcement or

government officials in the investigation or prosecution of criminal activity. Although the INA

specifically allows U visa holders to petition to bring certain family members to the United States

on immigrant visas, the Proclamation is silent as to whether such family members are excepted




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from the Proclamation, either under the “law enforcement” provision or otherwise. At best, such

silence on the topic creates uncertainty for U-derivative immigrant family members; at worst, it

indicates that such family members are subject to the Proclamation’s requirements,

notwithstanding the fact that the INA expressly provides for the reunification of U visa families.

         2.     Very Few, if Any of the Proclamation’s “Approved Health Plans” Are Available to
                Visa Applicants

         53.    Beyond the Proclamation’s vague and ill-defined terminology, most of the

Proclamation’s “approved” health insurance plans are not practically or legally available to most

or all prospective immigrants residing outside the country or within their first 30 days of arrival.

         54.    Medicare plans, for example, are an approved type of health insurance under the

Proclamation, Proclamation § 1(b)(viii), but such coverage is unavailable to immigrants unless

they are over 65 years old and have been living continuously in the United States for five years.

         55.    TRICARE plans and other related coverage, “approved” under § 1(b)(iv) of the

Proclamation, are only available to members of the United States military, their spouses, and

children up to 26 years of age.

         56.    Employer-sponsored plans also constitute “approved plans” under the Proclamation

§ 1(b)(i), but employers are permitted under federal law to impose a waiting period of up to 90

days before new employees can be covered by employer-sponsored coverage.7 Seventy-one

percent of employers impose a waiting period, with waiting periods on average lasting 1.9 months.8

Beyond that, over two-thirds of immigrants are the beneficiaries of family petitions or other non-




7
    42 U.S.C. § 300gg-7.
8
 2018 Employer Health Benefits Survey, KAISER FAMILY FUND, (Oct. 3, 2018),
https://www.kff.org/report-section/2018-employer-health-benefits-survey-section-3-employee-
coverage-eligibility-and-participation/


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employment-based visa applications, and therefore are unlikely to have an employer-sponsored

plan before even arriving in the United States and acquiring valid work authorization.

       57.     Although a “family member’s plan” is “approved” under the Proclamation, §

1(b)(v), it is highly unlikely that most immigrants will be able to obtain coverage through a family

member unless they are a spouse or a child under 27. All other relations are not usually considered

a “dependent” eligible to be included in a family health insurance plan.9

       58.     The Proclamation states that a “catastrophic health plan” may constitute an

approved plan, Proclamation § 1(b)(iv), but under the ACA, “catastrophic” plans are available only

to individuals living in the United States, and eligible enrollees must be either under 30 years of

age or have qualified for a hardship or affordability exemption. 42 U.S.C. § 18022(e).10

       59.     The list of “approved” health insurance includes “an unsubsidized health plan

offered in the individual market within a State,” Proclamation § 1(b)(ii), but an intending

immigrant would not be able to obtain such coverage from abroad. Like an ACA-compliant

catastrophic plan, any other “unsubsidized” health plan offered in an ACA marketplace is only

available to individuals living in the United States, in the marketplace’s service area. 45 C.F.R. §

155.305(a)(3)(i).

       60.     Further logistics could impede the immigrant’s ability to acquire not only an

“unsubsidized health plan” but also a “catastrophic health plan” (whether through the ACA


9
  An employer health plan is only a benefit excludable from income tax if it limits eligibility to
spouses, children who have not yet attained age 27, and tax dependents. 26 U.S.C. § 105(b), 26
C.F.R. § 1.106-1(a). Employers are permitted to limit eligibility further, and indeed, coverage of
family members other than children and spouses or domestic partners is very rare. See
https://www.theabdteam.com/blog/eligibility-parents-group-health-plan/
10
   Are You Eligible to Use the Marketplace?, HEALTHCARE.GOV,
https://www.healthcare.gov/quick-guide/eligibility/



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Exchanges or outside of them) within 30 days of entering the United States. Under rules governing

an insurance policy’s effective date, a newly purchased policy becomes effective on the first day

of the next month after purchase—but only if the policy was purchased before the fifteenth day of

the current month.11 Otherwise, the effective date rolls to the first day of the subsequent month. In

other words, if an immigrant is so fortunate as to enter the United States under the Proclamation,

but unluckily arrives on the 20th of the month, her insurance coverage will not take effect until

well after 30 days of arriving in the country. The Proclamation is silent on whether such a

possibility would prevent a prospective immigrant from satisfying the “approved health insurance”

requirement to gain entry.

          61.    When accounting for the fact that Medicare, TRICARE and other military plans,

employer-sponsored plans, family members’ plans, and unsubsidized and catastrophic plans

available under the ACA are all practically or legally impossible for most prospective immigrants

to acquire, the two remaining options for “approved health insurance” under the Proclamation are

visitor insurance plans or short-term limited duration insurance (“STLDI”) plans, which in either

case must last for a minimum of 364 days. But STLDI plans lasting the minimum required 364

days are not available in almost half the states,12 and many disqualify an individual from coverage

if that person is not a United States citizen or resident.13 Neither visitor plans nor STLDI plans,

moreover, are required to cover individuals with preexisting conditions or pregnant women, and



11
     See 45 C.F.R. § 155.420(b)(1); 45 C.F.R. § 147.104(b)(2).
12
   Is Short-term Health Insurance Right for You?, HEALTHINSURANCE.ORG,
https://www.healthinsurance.org/short-term-health-insurance/
13
  Short Term Health Insurance Eligibility Information for Short Term Health Insurance, or
STM, ELIGIBILITY.COM (Updated Jan. 28, 2019), https://eligibility.com/short-term-health-
insurance



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many do not.14 Such plans can also adjust premiums based on an individual’s health history,

gender, or (outside specified parameters) age and make them prohibitively, and exploitatively,

expensive.15 Indeed, many states are concerned that unscrupulous insurance brokers and STLDI

insurers provide misleading information about the costs, deductibles, and coverage associated with

these plans.16

           62.   Even assuming prospective immigrants can acquire visitor insurance plans or

STLDI plans, it remains unclear that such insurance plans actually further the Proclamation’s goal

of “addressing the challenges facing our healthcare system, including protecting both it and the

American taxpayer from the burdens of uncompensated care.” Visitor and STLDI plans are not

required under the ACA to provide “essential health benefits,” such as hospitalization, prescription

drugs, emergency services, and maternity and newborn care. Indeed, the fine print of such policies

can exclude coverage for prescription drugs, a tonsillectomy, hernia surgery, prenatal care,

treatment of pre-existing conditions an individual does not know about, or even “treatment of

injury resulting from participation in organized sports,” like care for a concussion a child receives

during soccer.17 As a result, the coverage provided by such plans can leave an individual




14
     Id.
15
   Id.; see also Rachel Schwab, Coming Up Short: The Problem with Counting Short-Term,
Limited Duration Insurance as Coverage, CHIRBLOG.ORG (June 7, 2019), Id.; see also
http://chirblog.org/coming-short-problem-counting-short-term-limited-duration-insurance-
coverage/
16
  S. Corlette et al., The Marketing of Short-Term Health Plans, ROBERT WOOD JOHNSON
FOUNDATION (Jan. 31, 2019) https://www.rwjf.org/en/library/research/2019/01/the-marketing-of-
short-term-health-plans.html
17
  https://www.cbpp.org/research/health/key-flaws-of-short-term-health-plans-pose-risks-to-
consumers



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effectively uninsured for relatively mundane needs like prescriptions or a prenatal checkup, as well

as for hospital interventions.

           63.   A Pennsylvania man, for example, was hospitalized for an abnormal heartbeat but

was denied coverage under his STLDI plan because of a previous doctor visit for high blood

pressure, which led the insurer to claim his hospitalization was actually for a preexisting

condition.18 Similarly, a Washington, D.C. man’s STLDI plan had a stated maximum payout of

$750,000, but it paid only $11,780 towards a $211,690 hospitalization bill for heart surgery, in

part due to a denial of coverage based on his father’s medical history.19 In another case, a woman

from Illinois went to the hospital with heavy vaginal bleeding and ended up needing a

hysterectomy and a five-day hospital stay. She was denied coverage under her STLDI plan on the

ground that her menstrual cycle constituted a pre-existing condition.20

           64.   Indeed, a substantial share of uncompensated care costs are due to underinsured

individuals with high deductibles, excluded services, or low annual limits, which are all common

characteristics of visitor and STLDI plans.21 Even the insurers who offer short-term limited


18
   Sarah Lueck, Key Flaws of Short-Term Health Plans Pose Risks to Consumers, CTR. ON
BUDGET AND POLICY PRIORITIES (Sept. 20, 2018) https://www.cbpp.org/research/health/key-
flaws-of-short-term-health-plans-pose-risks-to-consumers
19
  Cheryl Fish-Parcham, Families USA, to Alex Azar et al., “Comments on Short-Term Limited
Duration Insurance Proposed Rule (CMS-9924-P),” Apr. 23, 2018
(https://www.regulations.gov/document?D=CMS-2018-0015-8801).
20
     Id.
21
   Susan Morse, Increase in Uncompensated Hospital Care Could be One Effect of Short-term
Coverage Rule, HEALTHCARE FINANCE NEWS (Aug. 1, 2018)
https://www.healthcarefinancenews.com/news/increase-uncompensated-hospital-care-could-be-
one-effect-short-term-coverage-ruleRick Pollack, AHA Statement on Final Rule on Short-Term,
Limited-Duration Health Insurance Plans, AMERICAN HOSPITAL ASSOCIATION (Aug. 1, 2018);
https://www.aha.org/press-releases/2018-08-01-aha-statement-final-rule-short-term-limited-
duration-health-insurance



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duration insurance or visitor coverage do not consider it to be a replacement for ordinary health

insurance.22

       65.     The table below summarizes the options for “approved health insurance” under the

Proclamation and the reasons why such plans are not attainable at all, or attainable by an

insignificant number of intending immigrants:




 Approved Health Insurance        Limitations on Availability        Additional Barriers to
          Plans                                                           Enrollment

 Employer-sponsored plan         Available only to individuals    Most employers impose a
                                 who have an offer of             waiting period before a new
                                 employment that includes         employee can be covered by
                                 employer-sponsored               employer-sponsored
                                 insurance, as well as work       insurance; waiting periods
                                 authorization.                   last on average for 1.9
                                                                  months, or well over 30 days.

 Unsubsidized health plan        Available only to individuals    Newly arrived immigrants
 offered in the individual       living in the United States.     may not be enrolled within 30
 market within a State                                            days based on their date of
                                                                  arrival and the effective date
                                                                  that their coverage begins.

 Short-term limited duration     Available only in about half     Usually not available to
 health policy effective for a   the States with the 364-day      individuals with pre-existing
 minimum of 364 days             minimum; often not available     conditions.
                                 to individuals living outside
                                 the United States.

 Catastrophic plan               Available only to individuals    Newly arrived immigrants
                                 living in the United States      may not be enrolled within 30
                                 who are either 30 or younger     days based on their date of
                                 or who have a                    arrival and the effective date
                                                                  that their coverage begins.


22
   Comment of American Cancer Society Cancer Action Network et al., Apr. 23, 2018, at 3
(noting that sellers of short-term limited duration insurance plans “acknowledge that such plans
are ‘designed solely to provide temporary insurance during unexpected coverage gaps’”)
(citation omitted).


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                                   hardship/affordability
                                   exemption

 Family member’s plan              Generally available only to
                                   spouses and children 26 or
                                   younger.

 Medical Plan under 10             Available only to members of
 U.S.C. § 55, including            the U.S. military, their
 TRICARE                           spouses, and children 26 or
                                   younger.

 Visitor health insurance plan                                     Usually not available to
 that provides adequate                                            individuals with pre-existing
 coverage for medical care for                                     conditions.
 a minimum of 364 days

 Medicare                          Available only to individuals
                                   at least 65 years old who
                                   have been living continuously
                                   in the United States for 5
                                   years.



       3.        The Proclamation Is Internally Inconsistent with Its Stated Goals

       66.       The Proclamation provides no explanation for how incentivizing—if not effectively

requiring—immigrants to buy non-comprehensive or STLDI plans, many of which will likely

leave an immigrant underinsured after she arrives, is likely to shield taxpayers or hospitals from

such uncovered emergency costs, which the Proclamation decries as “driv[ing] hospitals into

insolvency” and “saddl[ing] our healthcare system, and subsequently American taxpayers, with

higher costs.”

       67.       Indeed, the Proclamation appears to be even more self-defeating considering its

exclusion of “subsidized” ACA health insurance from the list of “approved health insurance” plans

that would enable immigrants to enter the United States. Unlike visitor insurance or short-term

limited duration insurance plans, any ACA-marketplace health insurance plan that also offers



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financial assistance is a comprehensive plan that covers a wide range of essential health benefits,

including prescription drugs, hospitalization, prenatal and maternity care, and mental health care.

Financial assistance to purchase such qualified health plans is available to individuals with

household incomes of 100 to 400 percent FPL. Indeed, when passing the ACA, Congress extended

the same benefits to immigrants on even more permissive terms, explicitly making assistance

available to legally present immigrants even with incomes under 100 percent FPL, including newly

arrived immigrants in their first five years in the country, who are otherwise generally excluded

from most other federal means-tested benefits. But, although Congress expressly made such

benefits available to newly arrived immigrants—and in fact intended for such immigrants to arrive,

through this country’s legislatively enacted immigration system—the Proclamation operates to ban

those immigrants who would benefit from assistance provided under the ACA.

       68.     Although an immigrant who receives financial assistance under the ACA to

purchase comprehensive health insurance would be better insured than an immigrant who

purchases non-comprehensive visitor or STLDI insurance, the Proclamation bars the former and

allows the latter, in the name of protecting this nation’s health care system from uncompensated

costs incurred by uninsured individuals.

       69.     Viewed as a whole, the Proclamation is far less than the sum of its parts. Its

standards and terse language are opaque when they are not vague or ill-defined. The

Proclamation’s array of various “approved health insurance” options are, for a significant majority

of intending immigrants, merely a set of legal or practical impossibilities. When taken to their

logical consequence, the incentives it creates for prospective immigrants lead to results that almost

certainly will not further the Proclamation’s goal of reducing the burden of uncompensated care




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for uninsured individuals. At best, these disparate parts form an internally inconsistent whole; at

worst, they smack of bad faith.

       70.     Given the draconian sweep of the Proclamation—indeed, by some estimates, it has

the potential to reduce legal immigration by nearly two thirds and affect most, if not nearly all,

family-based and diversity immigrants—the structure, text, and import of the Proclamation all

suggest that its ostensible purpose of addressing the burden that uninsured individuals place on

this country’s health care system is merely a pretext to rework this country’s immigration system

in the manner that the President sees fit, in contravention of the laws passed by Congress.

       71.     The Proclamation, moreover, does not operate in a vacuum. It will be enforced in a

legal landscape already shaped by numerous Congressional enactments, including the Immigration

and Nationality Act, the Public Responsibility and Work Opportunity Reconciliation Act, the

Illegal Immigration Reform and Immigrant Responsibility Act, the Children’s Health Insurance

Program Reauthorization Act, and the Affordable Care Act; and the regulations of the

Administration’s recently promulgated “public charge rule,” which establishes new criteria for

determining whether a would-be immigrant may be deemed inadmissible because she is likely to

become a “public charge”. As set out in more detail below, the Proclamation is in tension, if not

direct conflict, with each of these statutory and regulatory schemes, and therefore also with

Congress’s legislative intent.

       72.     The Proclamation, moreover, is but the latest link in a long chain of statements and

actions by this President and his Administration expressing antipathy toward all noncitizens, but

also specifically toward immigrants seeking to come to the United States—particularly immigrants

of color, from Central and Latin America, Africa, and the Middle East. Since the early days of his

Administration, the President has consistently called for eliminating the two main ways that




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immigrants from predominantly nonwhite countries receive visas—the family preference system

and the diversity visa lottery. After a legislative attempt—the RAISE Act—that failed in 2017,

and an administrative attempt—the public charge rule—that received overwhelmingly negative

public comment, and which has since been enjoined, the Proclamation now appears to be an

attempt by presidential fiat. The laws and the Constitution of this country do not countenance such

executive overreach.

    THE PROCLAMATION IMPERMISSIBLY RESHAPES THE NATION’S
CONGRESSIONALLY-ENACTED HEALTH BENEFIT SYSTEM FOR IMMIGRANTS
                    BY PRESIDENTIAL FIAT

A.        The Immigration and Nationality Act (“INA”)

          73.    The Immigration and Nationality Act (“INA”) was originally enacted in 1952 and

has since been amended significantly multiple times. Although it now represents “a long series of

legislative accretions,”23 it nevertheless creates a system by which this country may grant up to

675,000 permanent immigrant visas each year, as well as an unlimited number of permanent

immigrant visas for the admission of U.S. citizens’ spouses, parents, and children under the age of

21. In doing so, the INA, 8 U. S. C. § 1101 et seq., expresses and reflects Congress’s intent that

foreign nationals who meet certain qualifications may immigrate to the United States, in

furtherance of the goals of reunifying families, admitting immigrants with skills that are useful to

the United States economy, and promoting diversity.24

          74.    A series of related and interacting statutes, including the Public Responsibility and

Work Opportunity Reconciliation Act (“PRWORA”), the Children’s Health Insurance Program




 Adam B. Cox & Christina M. Rodriguez, The President and Immigration Law Redux, 125
23

YALE L.J. 104, 158-59 (2015).
24
     See Elkins v. Moreno, 435 U.S. 647, 664 (1978).


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Reauthorization Act (“CHIPRA”), and the Affordable Care Act (“ACA”), likewise express and

reflect Congress’s intent to extend certain health care-related benefits to legal immigrants. Through

PRWORA, Congress made significant changes to health care eligibility for noncitizens and

simultaneously devolved substantial power to the states to allow the states to replace benefits to

legal immigrants through Medicaid, and later through the Children’s Health Insurance Programs

(“CHIP”), and to receive federal matching funds when providing such coverage. Through

CHIPRA, Congress affirmatively provided federal dollars to fund care for newly arrived legal

immigrant children and legal immigrant pregnant women during their first five years in this

country. And through the ACA, Congress made financial assistance in the form of premium tax

credits available to both United States citizens and legal immigrants to purchase comprehensive

health coverage.

        75.     The interaction of these statutes reflects Congress’ intent to keep important health

care benefits available to both newly arrived immigrants and qualified foreign nationals, especially

the spouses, children, and parents of United States citizens, to ensure that such individuals are

allowed to immigrate to the United States in the first instance to reunite with family, contribute

their skills to the United States economy, be afforded humanitarian protections, and/or promote

diversity.

        76.     In rendering inadmissible all immigrants who are unable either to purchase certain

enumerated kinds of health insurance or pass an opaque wealth test through categorizing such

individuals as “detrimental to the United States”—particularly immigrants who would otherwise

be eligible to enter the United States and receive health insurance benefits like Medicaid, CHIP,

or financial assistance under the ACA—the Proclamation expressly contravenes Congress’s

legislative intent.




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       77.     The bedrock pillars of U.S. immigration law allow immigration for family

reunification, for business purposes, for humanitarian considerations, and to promote diversity. To

that end, Congress has set forth a comprehensive system to allow limited “worldwide immigration”

based on an allocation of “family-based visas,” “employment-based visas” and “diversity-based”

visas. 8 U.S.C. § 1151(a). Section 1151 of the INA sets an annual minimum family-sponsored

preference limit of 226,000; the worldwide level for annual employment-based preference

immigrants is at least 140,000. A maximum of fifty-five thousand visas each year are available

through a diversity visa lottery, open to nationals of countries with historically low rates of

immigration to the United States.

       78.     A family member or employer seeking to “sponsor” a noncitizen for an immigrant

visa must first file either a Form I-130, Petition for Alien Relative, or Form I-140, Petition for

Alien Workers, with the United States Citizenship and Immigration Service on behalf of the

“beneficiary.” This form establishes the necessary family or employer-employee relationship that

exists to allow for an immigrant visa. Once the beneficiary of an approved immigrant petition has

an immigrant visa number that is immediately available, there are two ways to apply for lawful

permanent resident status (“Green Card”). If the beneficiary is outside of the United States, he or

she must apply at a U.S. Department of State consulate abroad for an immigrant visa in order to

come to the United States and be admitted as a permanent resident. This pathway is referred to as

consular processing. If the beneficiary is already in the United States, she may attempt to apply for

permanent resident status without having to return to her home country to complete processing.

This process is called adjustment of status.25 See 8 U.S.C. § 1255(a).


25
   If an individual present in the United States does not qualify for adjustment of status, she must
travel abroad for a consular interview to obtain her immigrant visa. Some applicants who have
accrued more than 180 days of unlawful presence while in the United States, but have no other



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        79.     Section 1152 of the INA prescribes that the per-country limit for preference

immigrants is set at 7% of the total annual family-sponsored and employment-based preference

limits, i.e., 25,620. The dependent area limit is set at 2%, or 7,320. This means that no single

nation can receive more than 7 percent of the total green cards issued in a year (unless they would

otherwise go unused).

        80.     Among family-based immigrants, Congress has prioritized the admission of

“immediate relatives,” which is defined as “the children, spouses, and parents of a citizen of the

United States, except that, in the case of parents, such citizens shall be at least 21 years of age.” 8

U.S.C. § 1151(b). These familial relations have been carved out of certain exceptions to the various

numerical limitations on immigrant visas, and thus visas are always and immediately available for

these qualifying family members

        81.     The allocation of immigrant visas subject to the numerical limitations is governed

by 8 U.S.C. § 1153. Subsection (a) sets forth preference allocations for family-sponsored

immigrants; subsection (b) sets forth the preference allocations for employment-based visas. See,

e.g., 8 U.S.C. § 1153(a)(1) (“Qualified Immigrants who are the unmarried sons and daughters of

citizens of the United States shall be allocated visas in a number not to exceed 23,400.”).

        82.     Section 1153(e) provides that family-sponsored and employment-based preference

visas “shall” be issued to eligible immigrants in the order in which a petition on behalf of each has

been filed, that is, according to the “priority date” of the visa petition.


bars to admissibility, may obtain an I-601A waiver of inadmissibility to overcome the unlawful
presence bars under 8 U.S.C. § 1182(a)(9)(B) before they can return. The I-601A waiver process
allows those individuals who are statutorily eligible for an immigrant visa (immediate relatives,
family-sponsored or employment-based immigrants as well as Diversity Visa selectees) who
only need a waiver of inadmissibility for unlawful presence to apply for that waiver in the United
States and remain with their family members before they depart for their immigrant visa
interview abroad. See 8 C.F.R. § 212.7(e).



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       83.     A family member or employee may not apply for lawful permanent residence

abroad until a visa is immediately available. The Department of State issues a monthly Visa

Bulletin organized according to country of origin and visa preference category.26

       84.     If there are sufficient visas available for applicants from a specific country and of

a specific preference category, then the Visa Bulletin lists that combination as “current,” and all

applicants matching that combination may file an application regardless of their priority date, or

the date the visa was received by the agency. If there are insufficient visas available for all known

applicants of a specific combination, however, the Visa Bulletin lists a cut-off date, and only those

applicants who have priority dates earlier than the cut-off date may file an application. Sometimes,

a cut-off date may retrogress, meaning that fewer visas are available than previously projected.

When that happens to an applicant whose application is already filed, the applicant is forced to

wait until the cut-off date again progresses past his priority date for his application to be

adjudicated.

       85.     Before the issuance of an immigrant visa, the noncitizen must establish that she is

eligible for admission to the country. Section 1101(a)(13)(A) of Title 8 defines “admission” to

mean “the lawful entry of a noncitizen into the United States after inspection and authorization by

an immigration officer.” 8 U.S.C. § 1101(a)(13)(A).

       86.     Section 1182 of Title 8, INA § 212, is titled “Inadmissible Aliens” and sets forth

ten classes of noncitizens “ineligible to receive visas and ineligible to be admitted to the United

States.” 8 U.S.C. § 1182(a) (prescribing the inadmissibility of, inter alia, noncitizens who have a




26
   See, e.g., Visa Bulletin for November 2019, TRAVEL.STATE.GOV,
https://travel.state.gov/content/travel/en/legal/visa-law0/visa-bulletin/2020/visa-bulletin-for-
november-2019.html (last visited Oct. 27, 2019).


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communicable disease of public health significance, those convicted of two or more criminal

offenses, those who engaged in terrorist activities).

       87.     Under the system set out in the INA, family-based petitions account for

approximately 65% of the immigrant visas granted every year. The diversity lottery visa system

accounts for approximately 4.5%.

       88.     In addition to the comprehensive system for the allocation of family-based,

employment-based, and diversity visas, Congress has authorized multiple special categories for

immigrants from abroad based on specific humanitarian considerations. For example, a qualifying

battered spouse, child or parent may file an immigrant visa petition under the Immigration and

Nationality Act (INA), as amended by the Violence Against Women Act (VAWA). See generally

8 U.S.C. § 1154(a)(1), 8 U.S.C. § 1186(c)(4). Among other sympathetic considerations to victims

of abuse, VAWA created special provisions in United States immigration law to protect victims

of abuse who are not citizens of the United States. Id. In cases of domestic violence, US

immigration law allows certain victims of abuse who are not citizens to obtain lawful status

without having to rely on their abuser to petition. Id. Qualifying applicants may apply self-petition

for an immigrant visa abroad and subsequently enter the United States as immigrants if the abuser

is an employee of the U.S. government, the abuser is a member of the uniformed services, or the

applicant was subjected to battery or extreme cruelty in the United States. 8 U.S.C. §§

1154(a)(1)(A)(v), (a)(1)(B)(iv).

       89.     In addition, the U nonimmigrant status (U visa) is set aside for victims of certain

crimes who have suffered mental or physical abuse and are helpful to law enforcement or

government officials in the investigation or prosecution of criminal activity; it provides a pathway

to lawful permanent residence and subsequently citizenship after 3 years of residence in the United




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States. See generally 8 U.S.C. § 101(a)(15)(U). Congress created the U nonimmigrant visa with

the passage of the Victims of Trafficking and Violence Protection Act (including the Battered

Immigrant Women Protection Act, Pub. L. 106-386) in October 2000. Under the provisions of this

statute, a U nonimmigrant may also petition for certain family members to receive a “derivative U

visa.” While many such eligible family members will already have entered the United States with

a derivative U visa before the principal U nonimmigrant receives a green card after three years of

residence, those family members who do not may apply for an immigrant visa abroad. See 8

U.S.C. § 245(m)(3) (upon the approval of an adjustment of status application for a principal U

nonimmigrant, “the Secretary of Homeland Security may adjust the status or issue an immigrant

visa to a spouse, a child, or in the case of an alien child, a parent who did not receive a [derivative

U visa] under section 101(a)(15)(U)(ii)” of the INA.); 8 C.F.R. § 245.24(g).

       90.     The Proclamation’s suspension of entry does violence to this legislatively enacted

immigration scheme that synthesizes considerations of national origin, merit, race, humanitarian,

and family-based preferences—principles that have formed the bedrock of this nation’s

immigration system for decades—and replaces it with a single inquiry: does the prospective

immigrant have a specific kind of health insurance or sufficient financial resources to pay for what

a consular officer considers to be reasonably foreseeable medical costs? The United States

immigration system has never countenanced anything approaching such a standard for admission,

which would disproportionately affect immigrants who are from predominantly nonwhite

countries and either seeking to reunite with family already here in the United States, or fear being

separated from family in the United States when they leave for a consular interview. Once

effective, the Proclamation will ban nearly two thirds of all noncitizens legally permitted under the

INA to immigrate to the United States, and will separate thousands of families indefinitely.




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       91.       In effectively barring most legal and otherwise qualified immigrants from entering

the country because they cannot afford health care completely out of pocket, the Proclamation

thwarts the carefully considered Congressional scheme that provides health care-related benefits

to new and recently arrived immigrants via a combination of federal and state-elected programs.

Over the past two decades, Congress—and the States, at Congressional behest—have acted to

provide certain benefits specifically to such immigrants. But the Proclamation would ban most

immigrants from entering the United States precisely because they would be entitled to such

benefits if they came.

B.     The Personal Responsibility Work Opportunity Reconciliation Act of 1996

       92.       Under the Personal Responsibility Work Opportunity Reconciliation Act

(“PRWORA”), passed in 1996, Congress restricted the availability of certain means-tested benefits

for newly arrived immigrants, but gave states the ability to fill in this gap by electing to provide

coverage to such individuals. Before PRWORA’s enactment, legal immigrants living in the United

States were eligible for public benefits on similar terms as citizens. After enactment, however,

PRWORA has generally barred all new legal immigrants, excepting certain humanitarian

categories, including but not limited to asylees and refugees, from receiving federal means-tested

public benefits, such as Medicaid, TANF, SNAP, and SSI, for five years after their arrival in the

United States.

       93.       Despite redrawing immigrant eligibility for federal benefits, PRWORA expressly

devolved broad new powers to the states, in relevant part authorizing, but not requiring, states to

use state-only funds to offer food, cash, and health-related benefit programs as a substitute for lost

federal benefits for legal immigrants. A number of states took advantage of this “gap-filling”

authority to use state funds to provide TANF, SNAP, SSI, and/or Medicaid to legal immigrants




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subject to the five-year bar. States were, for example, given the option under PRWORA to use

state funds to continue coverage to immigrants under Medicaid during their first five years in the

country.

C.     The Children’s Health Insurance Plan (“CHIP”) and CHIP Reauthorization Act

       94.     Congress subsequently reinforced PRWORA’s grant of power to the states to

provide health care-related benefits to legal immigrants under federal health care programs through

the Children’s Health Insurance Plan (“CHIP”). The original State Children’s Health Insurance

Program was enacted in 1997 with bi-partisan support to act as a complement to Medicaid, the

nation’s major health coverage for low-income children, by giving states financial support to

provide coverage to uninsured, low-income children who do not qualify for Medicaid. The

program was reauthorized on February 4, 2009, through the Children’s Health Insurance Program

Reauthorization Act (“CHIPRA”), which passed with bi-partisan support and was one of the first

pieces of legislation signed by President Obama.

       95.     The original CHIP expanded health insurance coverage to low-income children

ineligible for Medicaid by providing block grants to states that must be matched with state dollars.

Under the law, states could use their federal CHIP funds to finance coverage for children whose

family incomes are too high to qualify for Medicaid, either by expanding their already existing

Medicaid programs, creating a separate CHIP program, or a combination of those two approaches.

Indeed, under the matching rates required under the program, the federal government bears a

higher percentage of the overall cost of CHIP than it does under Medicaid. All states, plus the

District of Columbia, currently use CHIP funds to expand publicly funded health insurance

coverage to uninsured children who are ineligible for Medicaid; most states cover children up to




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or above 200% of the federal poverty level.27 In the same vein as PRWORA, the original CHIP

also authorized States to provide coverage to newly arrived legal immigrant children, who were

otherwise ineligible to enroll in either Medicaid or CHIP for their first five years in the country,

but States doing so had to fund such coverage with state-only dollars.

       96.     CHIPRA reauthorized CHIP and provided states with significant new funding, new

programmatic options such as dental coverage, and a range of new incentives to provide Medicaid

and CHIP coverage to uninsured, low-income children, especially those who may be eligible for

Medicaid or CHIP but who are not enrolled. CHIPRA also established new options and federal

funding for states to cover pregnant women, as well as legal immigrant children and legal

immigrant pregnant women during their first five years in the country. Thirty-one states, plus the

District of Columbia, now cover legal immigrant children, legal immigrant pregnant women, or

both under CHIPRA.28 Under the Proclamation, however, Medicaid is expressly excluded from

the “approved” types of health insurance coverage for all individuals over the age of 18, even

though CHIPRA expressly extends CHIP coverage eligibility to children up to age 19, and

Medicaid eligibility to individuals up to age 21 and to pregnant women, including immigrants

lawfully residing in the United States within their first five years of having legal status.



27
   Medicaid/CHIP Coverage of Lawfully-Residing Immigrant Children and Pregnant Women,
KAISER FAMILY FUND, https://www.kff.org/health-reform/state-indicator/medicaid-chip-
coverage-of-lawfully-residing-immigrant-children-and-pregnant-
women/?currentTimeframe=0&sortModel=%7B%22colId%22:%22Location%22,%22sort%22:
%22asc%22%7D. Medicaid currently covers children at 133% of the federal poverty level;
Where Are States Today? Medicaid and CHIP Eligibility Levels for Children, Pregnant Women,
and Adults, KAISER FAMILY FOUND., https://www.kff.org/medicaid/fact-sheet/where-are-states-
today-medicaid-and-chip/. Medicaid currently covers children at 138% of the federal poverty
level. Id.
28
   Medicaid and CHIP Coverage of Lawfully Residing Children and Pregnant Women,
MEDICAID.GOV, https://www.medicaid.gov/medicaid/outreach-and-enrollment/lawfully-
residing/index.html


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D.     The Affordable Care Act

       97.     In 2010, Congress passed comprehensive health reform, the Patient Protection and

Affordable Care Act (“PPACA”), as amended by the Health Care and Education Reconciliation

Act (“HCERA”) (together, the “Affordable Care Act” or “ACA,” or “Obamacare”) into law. 124

Stat. 119. The PPACA contains 10 titles covering over 900 pages, as well as additional provisions

under the HCERA. In at least three relevant ways, the ACA was intended to expand access to

meaningful and affordable health insurance coverage for all U.S. residents, including legal

immigrants, at a guaranteed minimum level of coverage.

       98.     First, to facilitate broad health insurance enrollment nationwide, the ACA required

the creation of a marketplace, or exchange, in each state so that residents can shop for insurance.

These marketplaces took the form of state-run-exchanges, a federally facilitated exchange

available at the healthcare.gov website, or a hybrid of the two.29

       99.     Second, to ensure a certain standard of coverage, the ACA required health insurers,

including those who participated in the state and federal Exchanges and those selling plans outside

of it, to provide plans that cover “essential health benefits,” including hospitalization, prescription

drugs, mental health services, ambulatory patient services, maternity and newborn care, mental

health and substance use disorder services, preventive and wellness services, and pediatric

services, including oral and vision care. 42 U.S.C. § 18022(b)(1). All individual market plans,

including ACA-defined and regulated catastrophic health plans, must provide such essential health



29
   As enacted, the ACA required most United States citizens and legal residents to purchase and
maintain health insurance or pay a penalty. However, President Trump and a Republican-
controlled Congress eliminated the financial penalty that an individual would incur if she failed
to maintain health insurance as part of the Tax Cuts and Jobs Act of 2017 (see
https://www.congress.gov/115/bills/hr1/BILLS-115hr1enr.pdf).



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benefits, must cover preexisting conditions and may not impose annual or lifetime dollar limits on

core coverage.30 Short-term limited duration insurance plans, however, are ACA-exempt and

cannot be offered or purchased on ACA exchanges. As a result, they are non-comprehensive and

do not provide the full range of essential health benefits, can and often do deny coverage based on

preexisting conditions, and can and often do impose annual or lifetime dollar limits on core

coverage.

         100.   Third, the ACA provides financial assistance in the form of income-related,

premium-based tax credits (“PTCs” or “APTCs”) to individuals with household incomes between

100 and 400% of the federal poverty line. 26 U.S.C. § 36B. For newly arrived legal immigrants

who are subject to PRWORA’s five-year bar on means-tested public benefits, the ACA allows

PTCs on more permissive terms, also including individuals below 100% of the federal poverty

line. 26 U.S.C. § 36(b)(c)(1)(B). In 2019, under DHHS Federal Poverty Guidelines, the income

level necessary for a family of four to qualify for financial assistance ranged from $25,100 at 100%

FPL to $100,400 at 400% FPL.

         101.   Taken together, these three components of the ACA promote the overarching goals

of robust nationwide enrollment, protections for consumers through coverage that is

comprehensive and does not bar eligibility based on preexisting conditions, and increased

affordability for health insurance coverage. Robust enrollment in comprehensive coverage plans

promotes insurance market stability and more affordable premiums across the market, as the robust

enrollment of healthy individuals allows distributing costs for less healthy individuals across a

larger pool of enrollees. More affordable premiums, in turn, spurs more robust enrollment.




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     42 U.S.C. § 300gg-3, 300gg-11.


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       102.    The ACA’s structure and operation also evinces Congress’s intent that legal

immigrants, including newly and recently arrived immigrants, be able to participate fully in the

ACA marketplace to enroll in comprehensive health care and to receive financial assistance if

necessary. The benefits available under the ACA, especially when considered in connection with

the benefits that the states and federal government have made available to newly and recently

arrived legal immigrants under PRWORA and CHIPRA, make clear that Congress intended for

legal immigrants to be able to receive specific health care-related benefits to ensure a minimum

level of health care coverage upon their arrival in the United States.

       103.    The Proclamation directly conflicts with this benefits scheme, disqualifying

“subsidized” health insurance offered on ACA Exchanges as “approved health insurance” that

would permit entry to the United States. The effect of the Proclamation is to prevent would-be

immigrants, who would otherwise be fully qualified under the INA to come to the United States,

from entering and receiving the benefits Congress expressly intended for them to have.

       104.    Moreover, as noted above, visitor insurance and STLDI plans are the only two

options for “approved health insurance” that are realistically and feasibly available to most

prospective immigrants outside the United States, especially those who are not entering with an

offer of employment that includes employer-sponsored health insurance. Because such plans are

less regulated under the ACA than individual market plans, carriers of such plans will no doubt

rise to meet the new demand the Proclamation will invariably create. But in driving a majority of

new immigrants towards these non-comprehensive plans—for a minimum of 364 days, no less, or

their first year in the United States—the Proclamation undermines not only the ACA’s goal of

providing a certain minimum level of coverage to all legal immigrants in the United States, but




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also its own stated goal of addressing the burdens of uncompensated care provided to uninsured

individuals.

                              REGULATORY BACKGROUND

       105.    In addition to entering a stage already set by PRWORA, CHIPRA, and the ACA,

the Proclamation follows hot on the heels of the Trump Administration’s recently promulgated

(and recently enjoined) “Public Charge Rule,” which attempts to change what it means to be

deemed a “public charge,” one of the ten enumerated grounds of inadmissibility under the INA.

Ignoring decades of legislation and case law, the new Rule attempts to redefine the term “public

charge” and reshape the “totality of circumstances” framework that immigration officials apply to

determine whether a person seeking admission is likely to become a public charge. The new Rule

was enjoined from taking effect on October 15, 2019 by numerous courts. Each court found the

new definition of “public charge” contrary to Congress’ plain meaning and intent.31

       106.    Both the Proclamation and the new Rule effectively turn the question of

admissibility to the United States into a receipt-of-benefits issue. The Rule was promulgated by

the Department of Homeland Security via formal notice-and-comment rulemaking under the APA;

the Proclamation was not.




31
  New York v. U.S. Dep’t of Homeland Security, No. 19 Civ. 7777 (GBD), 2019 U.S. Dist.
LEXIS 177323 (S.D.N.Y. Oct. 11, 2019); Make the Rd. N.Y. v. Cuccinelli, 19 Civ. 7993 (GBD),
2019 U.S. Dist. LEXIS 177316 (S.D.N.Y. Oct. 11, 2019);)) City & Cty. of San Francisco v.
U.S.US Citizenship & Immigration Servs., No. 4:19-cv-0471704980-PJH, 2019 U.S. Dist.
LEXIS 177379 (N.D. Cal. Oct. 11, 2019); Washington v. Dep’t Homeland Security, No. 4:19-cv-
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THE PROCLAMATION, LIKE THE RECENT PUBLIC CHARGE RULE, ATTEMPTS
 TO RADICALLY REWRITE CONGRESS’ CHOICES ON WHICH IMMIGRANTS
    MAY ENTER THE COUNTRY, BASED ON WEALTH CONSIDERATIONS

          107.   The State Department’s actions to implement the Proclamation without satisfying

the requirements of notice and comment rulemaking layer one form of lawlessness on another.

The Proclamation, like the recent Public Charge Rule, attempts to radically rewrite Congressional

decision about which immigrants may enter the country based on wealth considerations.

          108.    The nation’s immigration laws have long included a prohibition on admitting non-

citizens deemed to be a “public charge” on the country. This definition has evolved over time but

has never erected the kind of broad entry barrier that the Proclamation permits.

          109.   In 1882, Congress enacted the country’s first immigration laws, which refused

foreign nationals permission “to land” in the United States “if on such examination there shall be

found among such passengers any convict, lunatic, idiot, or any person unable to take care of

himself or herself without becoming a public charge.” See An Act to Regulate Immigration, 22

Stat. 214, Chap. 376 § 2 (1882) (“1882 Act”) (emphasis added).

          110.   In 1891, Congress amended the 1882 Act to provide, in part,

                         That the following classes of aliens shall be excluded from
                 admission into the United States . . . : All idiots, insane persons,
                 paupers or persons likely to become a public charge, persons
                 suffering from a loathsome or a dangerous contagious disease,
                 persons who have been convicted of a felony or other infamous
                 crime or misdemeanor involving moral turpitude, polygamists, and
                 ....

An Act in Amendment to the Various Acts Relative to Immigration and the Importation of Aliens

Under Contract or Agreement to Perform Labor, 26 Stat. 1084, Chap. 551 (“1891 Act”) §§ 1, 11

(1891).




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       111.     Congress subsequently amended immigration laws in 1903, 1907, and 1910 without

materially altering the authorization to refuse entry to a noncitizen deemed a “public charge.”32

The 1910 Act provided, for example:

                        That the following classes of aliens shall be excluded from
                admission into the United States: All idiots, imbeciles, feeble-
                minded persons, epileptics, insane persons, and persons who have
                been insane within five years previous; persons who have had two
                or more attacks of insanity at any time previously; paupers; persons
                likely to become a public charge; professional beggars; persons
                afflicted with tuberculosis or with a loathsome or dangerous
                contagious disease; persons not comprehended within any of the
                foregoing excluded classes who are . . . mentally or physically
                defective, such mental or physical defect being of a nature which
                may affect the ability of such alien to earn a living; persons who
                have been convicted of or admit having committed a felony or other
                crime or misdemeanor involving moral turpitude; polygamists, or .
                . . .”

1910 Act § 2.

       112.     In 1915, The Supreme Court considered a “single question, . . . whether an alien

can be declared likely to become a public charge on the ground that the labor market in the city of

his immediate destination is overstocked.” See Gegiow v. Uhl, 239 U.S. 3, 9-10 (1915).

       113.     In answering “no” to the question, the Supreme Court interpreted the term “Persons

likely to become a public charge” in context, that is, as “mentioned between paupers and

professional beggars, and along with idiots, persons dangerously diseased, persons certified by the

examining surgeon to have a mental or physical defect of a nature to affect their ability to earn a

living, convicted felons, prostitutes and so forth.” Id. The Court held that “[t]he persons

enumerated in short are to be excluded on the ground of permanent personal objections


32
  An Act to Regulate the Immigration of Aliens Into the United States, 32 Stat. 1213, Chap. 1012
§ 2 (1903); An Act to Regulate the Immigration of Aliens Into the United States, 34 Stat. 898,
Chap. 1134 § 2 (1907); An Act to Amend an Act entitled An Act to Regulate the Immigration of
Aliens Into the United States, 36 Stat. 263, Chap. 128 § 2 (1910).


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accompanying them irrespective of local conditions,” and thus not according to local or temporary

conditions impacting their self-sufficiency. Id. at 10.

       114.    After Gegiow, federal courts and immigration officials universally understood the

term public charge as referring to persons with “a mental or physical defect of a nature to affect

their ability to make a living,” that is, those substantially, if not entirely, dependent on government

assistance on a long-term basis.33

       115.    In the century since the Gegiow decision, Congress has made numerous changes to

immigration law, most notably the Immigration and Nationality Act of 1952. An Act to Revise the

Laws Relating to Immigration, Naturalization, and Nationality; and for Other Purposes, 66 Stat.

163, 183, Title 2, Chap. 2 (“1952 Act”) § 212 (1952). It has continued to use “public charge” as a

basis for denying entry to noncitizens, but it has never offered its own definition of the term. It

has, however, rejected attempts to adopt a definition contrary to the understanding developed in

legislative history and case law.

       116.    In 1996, for example, Congress enacted the Illegal Immigration Reform and

Immigrant Responsibility Act of 1996, Pub. L. No. 104-208, § 531, 110 Stat. 3009, 3674-75

(1996), which amended the INA by codifying five factors relevant to a public charge

determination. In the course of enacting IIRIRA, members of Congress debated whether to expand

the public charge definition to include use of non-cash public benefits such as Medicaid and CHIP.

See Immigration Control & Financial Responsibility Act of 1996, H.R. 2202, 104th Cong. § 202


33
  See, e.g., United States ex rel. De Sousa v. Day, 22 F.2d 472, 473-74 (2d Cir. 1927); United
States ex rel. La Reddola v. Tod, 299 F. 592, 592-93 (2d Cir. 1924); Howe v. United States ex
rel. Savitsky, 247 F. 292, 294 (2d Cir. 1917); Ng Fung Ho v. White, 266 F. 765, 769 (9th Cir.
1920), rev’d on other grounds, 259 U.S. 276 (1922); Ex parte Horn, 292 F. 455, 457 (W.D.
Wash. 1923); In re Martinez-Lopez, 10 I. & N. Dec. 409, 421–22 (B.I.A. 1962); In re
Harutunian, 14 I. & N. Dec. 583, 589 (B.I.A. 1974); In re Perez, 15 I. & N. Dec. 136, 137
(B.I.A. 1974).


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(1996) (early House bill that would have defined public charge for purposes of removal to include

receipt by a non-citizen of Medicaid, supplemental food assistance, SSI, and other means-tested

public benefits). The Senate, however, rejected the effort to include previously unconsidered, non-

cash public benefits in the public charge test. It also rebuffed the attempt to create a bright-line

framework of considering whether the immigrant has received public benefits for an aggregate of

twelve months as “too quick to label people as public charges for utilizing the same public

assistance that many Americans need to get on their feet.” S. Rep. No. 104-249, at *63−64 (1996)

(Senator Leahy’s remarks). Accordingly, in its final bill, Congress did not include the receipt of

Medicaid, CHIP, supplemental food assistance, SSI, and other means-tested public benefits. as

determinative of a public charge.34 See 8 U.S.C. § 1182(a)(4)(A).

       117.    The public charge ground of inadmissibility, as amended in IIRIRA, provides:

“[a]ny alien who, in the opinion of the consular officer at the time of application for a visa, or in

the opinion of the Attorney General at the time of application for admission or adjustment of status,

is likely at any time to become a public charge is inadmissible.”35 8 U.S.C. § 1182(a)(4)(A). When

determining whether an applicant is inadmissible as a public charge, the statute instructs the officer

to consider “at a minimum” the applicant’s age; health; family status; assets, resources, and

financial status; and education and skills. 8 U.S.C. § 1182(a)(4)(B)(i). The officer “may also

consider any affidavit of support under section 213A [8 U.S.C. § 1183a] for purposes of exclusion”

on the public charge ground. 8 U.S.C. § 1182(a)(4)(B)(ii).


34
  Congress rejected a similar attempt to expand the public charge definition in 1994 when
considering the Immigration Stabilization Act, see S. 1923 (103rd), § 501
(https://www.govtrack.us/congress/bills/103/s1923/text).
35
  Certain groups of noncitizens, such as asylum seekers and refugees, are not subject to
exclusion based on an assessment that they are likely to become a public charge. See 8 U.S.C. §
1157 (refugee); 8 U.S.C. § 1158 (asylum); 8 U.S.C. § 1159(c) (refugee).


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       118.    In 1999, the Immigration and Naturalization Service (“INS”), a precursor to the US

Citizenship and Immigration Services (“USCIS”), issued a notice of proposed rulemaking and

field guidance intended to “summarize longstanding law with respect to public charge and provide

new guidance on public charge determinations” following the passage of IIRIRA. 64 Fed. Reg.

26,689 (May 26, 1999) (the “Field Guidance”). Notice of Proposed Rulemaking, Inadmissibility

and Deportability on Public Charge Grounds, 64 Fed. Reg. 28,676 (May 26, 1999) (to be codified

at 8 C.F.R., pts. 212 & 237) (“1999 Proposed Rule”); Field Guidance on Deportability and

Inadmissibility on Public Charge Grounds, 64 Fed. Reg. 28,689 (Mar. 26, 1999) ("1999 Field

Guidance"). The 1999 Proposed Rule and Field Guidance defined “public charge” to mean “an

alien who is likely to become primarily dependent on the Government for subsistence as

demonstrated by either (i) The receipt of public cash assistance for income maintenance purposes,

or (ii) Institutionalization for long-term care at Government expense (other than imprisonment for

conviction of a crime).” 1999 Proposed Rule, 64 Fed. Reg. at 28,681; 1999 Field Guidance, 64

Fed. Reg. at 28,689. The 1999 Rulemaking clarified in particular that the INS had adopted this

definition “based on the plain meaning of the word ‘charge,’ the historical context of public

dependency when the public immigration provisions were first enacted more than a century ago,

and the expertise of the benefit-granting agencies that deal with subsistence issues.” 64 Fed. Reg.

at 28,677.

       119.    The Field Guidance further directed service officers “to assess the financial

responsibility of the alien by examining the ‘totality of the alien's circumstances’ at the time of his

or her application * * * The existence or absence of a particular factor should never be the sole

criterion for determining if an alien is likely to become a public charge.” 1999 Field Guidance,

64 Fed. Reg. at 28,690 (emphasis in original).




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       120.    The 1999 Field Guidance, which was made consistent with the Department of

State’s understanding, reaffirmed that “[i]t has never been Service policy that any receipt of

services or benefits paid for in whole or in part from public funds renders an alien a public charge,

or indicates that the alien is likely to become a public charge. The nature of the public program

must be considered. For instance, attending public schools, taking advantage of school lunch or

other supplemental nutrition programs, or receiving emergency medical care would not make an

alien inadmissible as a public charge, despite the use of public funds.” 1999 Field Guidance, 64

Fed. Reg. at 28,692 (citing FAM § 40.41 n.9.1 (1999)).

       121.    The 1999 Field Guidance also emphasized that the purpose in issuing the proposed

rule and field guidance was intended to end “confusion about the relationship between the receipt

of public benefits and the concept of ‘public charge’ [that] has deterred eligible aliens and their

families, including U.S. citizen children, from seeking important health and nutrition benefits that

they are legally entitled to receive. This reluctance to access benefits has an adverse impact not

just on the potential recipients, but on public health and the general welfare.” 1999 Field Guidance,

64 Fed. Reg. at 28,692.

       122.    The 1999 Field Guidance specifically exempted “Medicaid and other health

insurance and health services (including public assistance for immunizations and for testing and

treatment of symptoms of communicable diseases; use of health clinics, short-term rehabilitation

services, and emergency medical services) other than support for long-term institutional care” from

public charge determinations. 1999 Field Guidance, 64 Fed. Reg. at 28,693.

       123.    Although the 1999 Proposed Rule was never finalized, the 1999 Field Guidance

has governed public charge admissibility determinations since that time—nearly two decades.




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       124.    On October 10, 2018, DHS published a notice of proposed rulemaking (the “Rule”

or the “Public Charge Rule”), Inadmissibility on Public Charge Grounds, which rescinded the

1999 Rulemaking, redefined “public charge,” and amended the totality-of-the-circumstances

standard prescribed by the 1999 Field Guidance. 83 Fed. Reg. 51,114 (Oct. 10, 2018) (to be

codified at 8 C.F.R. pts. 103, 212, 213, 214, 245 and 248).

       125.    The proposed rule followed President Trump’s failed attempt to garner broad

congressional support for the 2017 the Reforming American Immigration for a Strong Economy

(RAISE) Act, which would have eliminated the INA’s system of allocating immigration visas

according to family, employment, and diversity categories and replacing it with a points-based

“merit” system “to prioritize immigrants based on the skills they bring to our Nation while

safeguarding the jobs of American workers.”36

       126.    After a 60-day notice-and-comment period, in which it received 266,077

comments, DHS finalized and issued the Rule on August 14, 2019, notwithstanding the fact that

the “vast majority of [comments] . . . opposed the rule.” 84 Fed. Reg. at 41,304. The Rule was

scheduled to become effective on October 15, 2019.

       127.    The Rule redefined a “public charge” to include any noncitizen “who receives one

or more public benefits . . . for more than 12 months in the aggregate within any 36 month period

(such that, for instance, receipt of two benefits in one month counts as two months).” 84 Fed. Reg.

41,501 (to be codified at 8 C.F.R. § 212.21(a)). Unlike the previous Field Guidance definition of

“public charge,” which focused specifically on the receipt of cash benefits or long-term

institutionalization, the Rule defines “public benefit” as both cash benefits and noncash benefits,



36
   President Donald J. Trump Backs RAISE Act, WHITEHOUSE.GOV (Aug. 2, 2017)
https://www.whitehouse.gov/briefings-statements/president-donald-j-trump-backs-raise-act/


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including Temporary Assistance for Needy Families (“TANF”), Supplemental Nutrition

Assistance Program (“SNAP,” also known as “food stamps”), Medicaid, and public housing and

Section 8 housing assistance. Id.; see also 8 C.F.R. § 212.21(b).

       128.    The Rule also significantly altered the totality-of-the-circumstances framework,

assigning different weights to certain factors labeled as positive, negative, heavily positive, and

heavily negative, which a DHS officer must weigh “individually and cumulatively.” 84 Fed. Reg.

at 41,397; see also id. at 41,502-04.

       129.    A prospective immigrant is given heavy negative weight if, for example, she has a

medical condition requiring “extensive medical treatment” and is “uninsured and has neither the

prospect of obtaining private health insurance, nor the financial resources to pay for reasonably

foreseeable medical costs related to such medical condition.” 84 Fed. Reg. 41,504; see also 8

C.F.R. § 212.22(c)(1)(i), (iii). A prospective immigrant would receive heavy positive weight for

“an annual income . . . of at least 250 percent of the [Federal Poverty Guidelines] for the alien’s

household size” or for “private health insurance that is not subsidized under the Affordable Care

Act.” See 8 C.F.R. § 212.22(c)(2)(ii), (iii). The consular officer must also consider, among other

things, the immigrant’s age; household income; household size; credit score; education;

occupational skills, certifications, or licenses; and English fluency. See 8 C.F.R. § 212.22(b).

       130.    As Trump Administration officials have acknowledged, the cumulative effect of

these changes would substantially burden immigrants with disabilities and lower incomes—and in

particular, non-white immigrants who are not from Europe—to demonstrate their admissibility.

When Ken Cuccinelli, acting director of USCIS, was asked whether the proposed Rule conflicted

with the New Colossus poem by Emma Lazarus inscribed at the base of the Statue of Liberty, he

amended the poem as follows: “Give me your tired and your poor who can stand on their own two




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feet, and who will not become a public charge.” 37 Shortly thereafter, he clarified his understanding

that New Colossus “was referring to people coming from Europe.”38

           131.   Expert analysis confirmed that the Rule “could shift legal immigration away from

Latin America and towards Europe” due to its emphasis on income.39 The Migration Policy

Institute, for example, examined immigrants who had received legal permanent residence within

the last five years to explore the potential scope of the Rule’s impact. MPI analysts found that 69%

of immigrants who had received legal permanent residence within the last five years had at least

one negative factor under the Rule, and that the Rule would have “a disproportionate effect on

women, children, and the elderly.”40 In particular, among “recently arrived legally present

noncitizens[,] 71 percent of Mexicans and Central Americans, 69 percent of Africans, and 52

percent of Asian immigrants would fail to meet the threshold” of incomes or financial assets above

250% of the federal poverty line, a heavily weighted factor under the Rule.41 In short, “the impact


37
  Jacey Fortin, ‘Huddled Masses’ in Statue of Liberty Poem Are European, Trump Official Says,
NY TIMES (Aug. 14, 2019) https://www.nytimes.com/2019/08/14/us/cuccinelli-statue-liberty-
poem.html
38
     Id.
39
   Randy Capps et al., Gauging the Impact of DHS’ Proposed Public-Charge Rule on U.S.
Immigration, MIGRATION POLICY INST. (Nov. 2018)
https://www.migrationpolicy.org/research/impact-dhs-public-charge-rule-immigration
40
   Id.; see also Abigail Hauslohner et al., Trump Officials Move to Deny Green Cards, Path to
Citizenship for Poor Immigrants, WASH. POST (Aug. 12, 2019) Id.; see also
https://www.washingtonpost.com/immigration/trump-administration-aims-to-make-citizenship-
more-difficult-for-immigrants-who-rely-on-public-assistance/2019/08/12/fe3f8162-b565-11e9-
8949-5f36ff92706e_story.html
41
   Jeanne Batalova et al., Through the Back Door: Remaking the Immigration System via the
Expected “Public Charge” Rule, MIGRATION POLICY INST. (Aug. 2018)
https://www.migrationpolicy.org/news/through-back-door-remaking-immigration-system-
expected-public-charge-rule. Notably, MPI also found that 40 percent of US-born citizens would
fail to meet this threshold and would be at risk of being deemed a public charge under the Rule.



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of the new standard would fall most heavily upon Asian, Latin American, and African immigrants,

making the proposal something of a modern-day version of the National Origins Quota Act of

1924. That since-repudiated law sought to tilt immigration to Western Europe.”42

           132.   Although multiple courts have since enjoined the Rule, it nevertheless constitutes

an attempt to radically reshape what it means to be a public charge, and by doing so, constitutes

an attempt to radically reshape which noncitizens are allowed to immigrate to or adjust status in

the United States. Analysis of the characteristics of recent green-card recipients, compared with

the negative and heavily weighted negative factors in the public charge test, reveals that 69% had

at least one negative factor and 43% had at least two.43 More significantly, the effects of the rule

“are likely to be less for Europe, Canada, and Oceana, where 27 percent had two or more negative

factors.”44 In contrast, “impacts will be far greater for Central America and Mexico, where 60

percent had two or more such factors,”45 and in general for “Latin America and Africa, where

incomes are generally lower than the rest of the world.”46 Researchers have predicted that “people



42
   Jeanne Batalova et al., Through the Back Door: Remaking the Immigration System via the
Expected “Public Charge” Rule, MIGRATION POLICY INST. (Aug. 2018)
https://www.migrationpolicy.org/news/through-back-door-remaking-immigration-system-
expected-public-charge-rule
43
   Jeanne Batalova et al., Millions Will Feel Chilling Effects of U.S. Public-Charge Rule That is
Also Likely to Reshape Legal Immigration, MIGRATION POLICY INST., (Aug. 2019)
https://www.migrationpolicy.org/news/chilling-effects-us-public-charge-rule-commentary
44
     Id.
45
     Id.
46
   Abigail Hauslohner et al., Trump Officials Move to Deny Green Cards, Path to Citizenship for
Poor Immigrants, WASH. POST (Aug. 12, 2019)
https://www.washingtonpost.com/immigration/trump-administration-aims-to-make-citizenship-
more-difficult-for-immigrants-who-rely-on-public-assistance/2019/08/12/fe3f8162-b565-11e9-
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who are granted green cards – the major step towards winning citizenship – will become wealthier

but their numbers will shrink.”47 In other words, “[m]ore green cards will go to immigrants with a

good education and a measure of self-sufficiency; fewer will be granted simply because someone

has a family member in the United States”48—a result President Trump has long championed when

promoting a “merit-based” immigration system to replace the current one.

           133.   The anticipated effects of the Proclamation are similar to those of the now-enjoined

Rule. This can hardly be surprising, given that both share significant similarities: Both favor

“unsubsidized” ACA coverage over subsidized; the use of Medicaid is a negative or disqualifying

factor for adults 18 and over; and both involve some analysis on the part of a consular officer as

to whether an intending immigrant has sufficient financial resources to cover “reasonably

foreseeable medical costs.”

           134.   How the Rule and the Proclamation achieve these effects, however, is where the

two differ. When promulgating the Rule, the Trump Administration made at least some attempt to

comply with the strictures of the Administrative Procedure Act—just as Senators Tom Cotton and

David Perdue, two allies of the President in the Senate, attempted to comply with the legislative

processes of Congress when sponsoring the RAISE Act. The Proclamation, by contrast, is an

improper attempt to legislate by presidential fiat, followed by invalid agency action to implement

those improper orders. Here, with a single sweep of the President’s pen, the Proclamation attempts

to overwrite and overturn more than a century of Congressional intent to admit qualified

noncitizens as immigrants, regardless of wealth, health, race, or national origin.


47
  Michael D. Shear et al., Trump’s Policy Could Alter the Face of the American Immigrant, NY
TIMES (Aug. 14, 2019) https://www.nytimes.com/2019/08/14/us/immigration-public-charge-
welfare.html
48
     Id.


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       THE PROCLAMATION AND ITS IMPLEMENTATION ARE UNLAWFUL

A.     The Proclamation Does Not Pass Muster Under Section 212(f) or Rational Basis
       Review

       135.    The Proclamation purports to be grounded in the President’s authority under 8

U.S.C. § 1182(f), which allows the President to “suspend the entry of all aliens or any class of

aliens” whenever the President “finds that the entry” of such “aliens into the United States would

be detrimental to the interests of the United States.” 8 U.S.C. § 1182(f). But in suspending the

entry of potentially two thirds of all legal immigrants to the United States, the Proclamation

represents an unprecedented abuse of the §1182(f) power. Although the Supreme Court found that

the Muslim Ban represented a permissible exercise of the President’s broad authority to impose

entry restrictions under § 1182(f) based on national security considerations, the Proclamation

strains even the generous analysis of Trump v. Hawaii, 138 S. Ct. 2392 (2018).

       136.    Indeed, the Supreme Court’s decision in Hawaii is bound up in the circumstances

of the proclamation at issue in that case, “Enhancing Vetting Capabilities and Processes for

Detecting Attempted Entry Into the United States by Terrorists or Other Public-Safety Threats.”

The Court took pains to note, for example, that the Muslim Ban “supports Congress’s

individualized approach for determining inadmissibility” because it was intended to “promote[]

the effectiveness of the [consular officer] vetting process by helping to ensure the availability” of

“sufficient (and sufficiently reliable) information” to assess a visa applicant’s admissibility.

Hawaii, 138 S. Ct. at 2411. It also observed that previous suspensions under § 1182(f) often

involved foreign policy judgments: Some such suspensions “broadly suspended entry on the basis

of nationality due to ongoing diplomatic disputes;” others “were directed at subsets of aliens from

the countries at issue;” but as a general rule, the Court found that previous Presidents “repeatedly




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suspended entry” under § 1182(f) “to retaliate for conduct by their governments that conflicted

with foreign policy interests.” Id. at 2413.

        137.   Within this context, the Court found that the President had satisfied the “sole

requisite set forth in § 1182(f)”—i.e., that the President “find that the entry of covered aliens would

be detrimental to the interests of the United States.”8 U.S.C. § 1182(f). As the Court observed,

the President had ordered DHS and other agencies “to conduct a comprehensive evaluation,” then

“set[] forth extensive findings” justifying why “it was in the national interest to restrict entry of

aliens who could not be vetted with adequate information—both to protect national security and

public safety, and to induce improvement by their home countries.” The Court also highlighted

language in the Muslim Ban noting that the Administration had “crafted country-specific

restrictions that would be most likely to encourage cooperation given each country’s distinct

circumstances, while securing the Nation until such time as improvements occur.” Indeed, the

Court found that “[t]he 12-page Muslim Ban—which thoroughly describes the process, agency

evaluations, and recommendations underlying the President’s chosen restrictions—is more

detailed than any prior order a President has issued under § 1182(f).” Hawaii, 138 S. Ct. at 2409.

        138.   Given these findings, especially within a national security setting, the Court found

that the Muslim Ban “is squarely within the scope of Presidential authority under the INA.” Id. at

2415.

        139.   The Court also noted, however, that it “has engaged in a circumscribed inquiry

when the denial of a visa allegedly burdens the constitutional rights of a U.S. citizen.” Id. at 2419.

The limits on such an inquiry, pursued under Kleindienst v. Mandel, have “particular force in

admission and immigration cases that overlap with the area of national security” for two reasons:

First, judicial inquiry into national security concerns potentially “intrud[es] on the President’s




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constitutional responsibilities in the area of foreign affairs,” raising separation of powers concerns.

Id. at 2398. Second, the courts are not well positioned “when it comes to collecting evidence and

drawing inferences on questions of national security.” Id.

       140.    Thus, when evaluating the Plaintiffs’ constitutional challenges to the Ban, the Court

articulated a standard of review that “considers whether the entry policy is plausibly related to the

Government’s stated objective.” Id. at 2420.

       141.    Although the Supreme Court found that the Muslim Ban ultimately met this

standard, it was careful to note that its analysis was grounded in the national security context. It

was this context that allowed the Court to find that “the entry suspension has a legitimate grounding

in national security concerns, quite apart from any religious hostility,” Id. at 2421, despite

acknowledging “a series of statements by the President and his advisers casting doubt on the

official objective of the Proclamation,” Id. at 2417. In so finding, the Court gave express deference

to “the Executive’s evaluation of the underlying facts . . .particularly in the context of litigation

involving ‘sensitive and weighty interests of national security and foreign affairs.’” Id. at 2422.

       142.    In addition, the Court credited three specific features of the Ban and its predecessors

that “support the Government’s claim of a legitimate national security interest.” Id. at 2402.

       143.    First, three Muslim-majority countries had already been removed from the list of

banned countries, and the Proclamation stated that for countries remaining on the list, the tailored

entry suspensions would “remain in force only so long as necessary to address” the security

concerns posed by each country. Id. at 2410.

       144.    Second, the Ban “includes significant exceptions for various categories of foreign

nationals,” permitting “nationals from nearly every covered country to travel to the United States




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on a variety of nonimmigrant visas,” which make up the majority of visas issued to nationals from

the banned countries. Id. at 2422.

       145.    Third, “the Proclamation creates a waiver program open to all covered foreign

nationals seeking entry as immigrants or nonimmigrants,” and “directs DHS and the State

Department to issue guidance elaborating upon the circumstances that would justify a waiver.” Id.

at 2422-23. The Court found this program, which identifies specific eligibility criteria, to be

similar to humanitarian exceptions set forth in a similar country-specific suspension imposed by

President Carter during the Iran hostage crisis.

       146.    Given these considerations, the Court held that the plaintiffs had failed to

demonstrate a likelihood of success on the merits of their constitutional claims because “the

Government has set forth a sufficient national security justification to survive rational basis

review,” and remanded the case to the lower courts for further proceedings. Id. at 2423.

       147.    The Supreme Court found that § 1182(f) “grants the President broad discretion to

suspend the entry of aliens into the United States.” Id. at 2408. But such authority is not limitless.

If the Proclamation is allowed to ban two thirds of immigrants whom Congress has expressly

permitted to seek and receive immigrant visas based on wealth or self-sufficiency, such a reading

of § 1182(f) would provide the President with unfettered discretion to rewrite the INA as he sees

fit. Such a reading cannot muster under even the most generous reading of Hawaii.

       148.    As an initial matter, unlike the Muslim Ban, the Proclamation does nothing to

“support[] Congress’s individualized approach for determining admissibility” under the INA.

There is nothing in the text of the Proclamation indicating that one of its purposes is to “improve

the screening and vetting protocols and procedures associated with” the visa-issuance process. 82

Fed. Reg. 45162 (Sept. 27, 2017). To the contrary, the Proclamation expressly has nothing to do




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with national security, bearing a “HEALTHCARE” label on the White House website.49 By its

terms, the Proclamation’s purpose is to protect the country’s health care system and taxpayers

“from the burdens of uncompensated care” by suspending the “entry into the United States of

certain immigrants who lack health insurance or the demonstrated ability to pay for their

healthcare.” Thus, instead of a relatively targeted, country-specific approach intended to

“encourage foreign governments to improve their . . . practices” in vetting and information sharing,

the Proclamation sweeps far more broadly and indiscriminately, affecting hundreds of thousands

of immigrants solely on the basis of their ability to afford health insurance. 82 Fed. Reg. 45,162.

       149.    Second, the Proclamation does not even attempt to set forth factual findings

justifying its sweeping ban on nearly two thirds of all prospective immigrants seeking to enter the

United States. Unlike the Muslim Ban, the Proclamation is not grounded in any comparable multi-

agency, comprehensive evaluation that led to “extensive findings” set forth in the Proclamation,

justifying why it is in the national interest to restrict the entry of aliens through country-specific

restrictions crafted to “encourage cooperation given each country’s distinct circumstances.”

Hawaii, 138 S. Ct. at 2409 (citation and internal quotations omitted).

       150.    Instead, in a short preamble that ostensibly justifies the details of the suspension

that follows, the Proclamation merely claims that uninsured individuals burden the country’s

health care system for two main reasons: because “[h]ealthcare providers and taxpayers bear

substantial costs in paying for medical expenses incurred by people who lack health insurance;”

and because “uninsured individuals often use emergency rooms to seek remedies for a variety of



49
   Presidential Proclamation on the Suspension of Entry of Immigrants Who Will Financially
Burden the United States Healthcare System, WHITEHOUSE.GOV (Oct. 4, 2019)
https://www.whitehouse.gov/presidential-actions/presidential-proclamation-suspension-entry-
immigrants-will-financially-burden-united-states-healthcare-system/


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non-emergency conditions,” which burdens taxpayers, “who reimburse hospitals for a portion of

their uncompensated emergency care costs.” 84 Fed. Reg. 53,991. According to an unsupported

assertion in the preamble, “[i]n total, uncompensated care costs – the overall measure of

unreimbursed services that hospitals give their patients – have exceeded $35 billion in each of the

last 10 years.” Id. The Proclamation then asserts that “data show that lawful immigrants are about

three times more likely than United States citizens to lack health insurance.” Id. The Proclamation

does not provide or cite to any support for these claims.

       151.    It is these unsupported assertions alone that purport to justify the Proclamation’s

indiscriminate ban on hundreds of thousands of prospective immigrants across the globe.

       152.    The lack of factual support for the Proclamation’s entry suspension is evident.

While claiming that “lawful immigrants are about three times more likely than United States

citizens to lack health insurance,” the Proclamation ignores the fact that United States citizens

actually account for 75% of the total 27.4 million uninsured in this country, or 20.55 million

uninsured individuals.50 In comparison, according to figures provided by the Kaiser Family

Foundation for 2017, uninsured immigrants represent only 11% of uninsured in this country, or 3

million uninsured individuals.

       153.    In attaching a dollar amount to the “uncompensated care costs”—in excess of “$35

billion in each of the last 10 years,” or “$7 million on average for each hospital in the United

States”—the Proclamation provides no evidentiary support for these figures. Nor does it set forth

any factual findings identifying what percentage of this total overall figure is attributable to the

75% of uninsured United States citizens versus the 11% uninsured immigrants in this country,


50
  President Trump’s Proclamation Suspending Entry for Immigrants without Health Coverage,
KAISER FAMILY FUND (Oct. 10, 2019) https://www.kff.org/disparities-policy/fact-
sheet/president-trumps-proclamation-suspending-entry-for-immigrants-without-health-coverage/


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such that the continued entry of such uninsured immigrants to the United States “would be

detrimental” to the interests of “protecting both [our health care system] and the American taxpayer

from the burdens of uncompensated care.” 84 Fed. Reg. 53,991.

       154.    The Proclamation, moreover, sets forth no factual findings explaining how the

conditions of its suspension further the stated goal of reducing the burden of uninsured health care

costs. This is in stark contrast to the Muslim Ban, which articulated country-specific deficiencies

in vetting and information-sharing; justifications for the suspension of specific visas from specific

countries; and express instructions to the Secretary of State to engage in diplomatic efforts with

these countries to improve the identified deficiencies, using the suspension of specific visas from

those countries “to ensure that adequate standards are established to prevent infiltration by foreign

terrorists.” 82. Fed. Reg. 13,213. The Proclamation, by contrast, imposes a far broader suspension,

barring all immigrants worldwide except for the limited few who can arrange for certain types of

United States-based health insurance or demonstrate an unspecified level of wealth at their visa

interview. There are no factual findings explaining how, for example, the entry of an immigrant

who would be fully insured with comprehensive coverage under the ACA after arrival—albeit with

financial assistance—would be detrimental to the Proclamation’s express purpose of reducing the

financial burden imposed by uninsured individuals. There are likewise no factual findings

explaining how the entry of an immigrant who would be underinsured or effectively uninsured

with visitor insurance or a short-term limited duration insurance plan would further this purpose.

       155.    Third, in infringing the Plaintiffs’ constitutional rights, the Proclamation’s policy

of suspending entry for all new immigrants unless they can afford only certain types of health

insurance, or demonstrate an unspecified level of wealth, is not plausibly related to the

Government’s stated objective of “addressing the challenges facing our healthcare system,




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including protecting both it and the American taxpayer from the burdens of uncompensated care.”

84 Fed. Reg. 53,991.

       156.    As noted above, the Proclamation’s broad suspension on entry, combined with its

limited array of “approved health insurance” options, effectively incentivizes—if not requires—

most prospective immigrants to purchase non-comprehensive visitor insurance or short-term

limited duration insurance to satisfy the Proclamation’s requirements. This is because the vast

majority of immigrants entering the United States have historically been family-based visa

applicants, who would not have access to “approved” employer-based insurance before entering

the United States and obtaining work authorization. Many of the other “approved health insurance”

plans under the Proclamation (i.e., Medicare, TRICARE, family members’ plans, and catastrophic

and “unsubsidized” ACA plans) are not practically or legally available to most prospective

immigrants outside of the country. Even for employment-based visa applicants, employer-

sponsored insurance is far from guaranteed, as the vast majority of employers impose a waiting

period before employees can be participate in employer-sponsored coverage, with waiting periods

lasting 1.9 months on average.51 Visitors insurance and STLDI plans are, as a practical matter, the

only options realistically available to most would-be immigrants, and those will generally not be

available to cover preexisting conditions.

       157.    These options, however, provide extremely limited coverage and would likely

leave individuals underinsured or uninsured for common needs such as prescription drugs, to say




51
   2018 Employer Health Benefits Survey, KAISER FAMILY FUND (Oct. 3, 2018)
https://www.kff.org/report-section/2018-employer-health-benefits-survey-section-3-employee-
coverage-eligibility-and-participation/



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nothing of hospitalization or emergency care.52 The Proclamation, moreover, requires prospective

immigrants to purchase such coverage for the maximum time period allowed, 364 days.53 Once

that 364-day period expires, the immigrant would not be able to switch immediately to a regular,

comprehensive plan, regardless of whether she wanted to and had the resources to do so, with or

without financial assistance: instead, the immigrant would be required to wait until the next regular

open enrollment period (November 1 through December 15 each year) to change coverage.

Allowing and in fact encouraging the entry of immigrants covered by visitor and STLDI plans,

and requiring that coverage for their first year in a new country or likely longer, contravenes the

Proclamation’s goal of reducing uncompensated costs associated with uninsured health care.

       158.    In fact, although the Proclamation highlights the $35 billion in uncompensated care

costs incurred by this nation’s hospitals, the American Hospital Association (“AHA”) criticized

STLDI plans earlier this year when the Trump Administration proposed a new rule to make STLDI

plans more available and longer in duration. The AHA warned that STLDI products “could end up

costing a patient far more by covering fewer benefits and ensuring fewer critical protections, like

covering pre-existing conditions,” such that patients “could find themselves responsible for their

entire medical bill without any help from their ‘health plan.’”54 Accordingly, “[f]or providers,




52
   Karen Pollitz et al., Understanding Short-Term Limited Duration Health Insurance, KAISER
FAMILY FUND (Apr. 23, 2018) https://www.kff.org/health-reform/issue-brief/understanding-
short-term-limited-duration-health-insurance/;
https://www.commonwealthfund.org/blog/2018/short-term-health-plan-gaps-and-limits-leave-
people-risk
53
   As noted above, see FN 51, STLDI plans lasting 364 days are only available in about half the
states.
54
  https://www.aha.org/press-releases/2018-08-01-aha-statement-final-rule-short-term-limited-
duration-health-insurance



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[STLDI] products will lead to increased bad debt, with underinsured patients unable to afford the

care they need but that is not covered,” and “[i]ncreased bad debt will further strain hospitals’ and

health systems’ ability to provide a full range of services to their patients and communities,

including the most vulnerable.”55 Other commenters to the final rule warned increasing the

availability of STLDI plans that “are not qualifying health plans mandated to cover the essential

benefits of the Affordable Care Act” could “lead to an increased reliance on emergency

departments as consumers delay or do not seek primary care.”56 If President Trump sincerely

wished to address the problem of uncompensated care costs borne by hospitals, especially

“uncompensated emergency care costs” incurred by emergency rooms, driving new immigrants

towards STLDI and similar non-comprehensive plans like visitor insurance is not a reasonable

solution.

           159.   The Proclamation likewise fails to address why the Trump Administration, after

laboring for a year to repeal the individual mandate of the Affordable Care Act and celebrating

that repeal of the penalty associated with that statutory mandate for almost two years since, has

now identified the “burdens of uncompensated care” for uninsured individuals as a problem that

must be alleviated by imposing the individual mandate (and a stark penalty of inadmissibility into

the country for failure to comply) specifically and solely on newly arriving immigrants—

notwithstanding the fact that only 11% of uninsured individuals in this country are immigrants,

while 75% of uninsured individuals are citizens.


55
     Id.
56
   Rick Pollack, AHA Statement on Final Rule on Short-Term, Limited-Duration Health
Insurance Plans, AMERICAN HOSPITAL ASSOCIATION (Aug. 1, 2018) https://www.aha.org/press-
releases/2018-08-01-aha-statement-final-rule-short-term-limited-duration-health-insurance
https://www.healthcarefinancenews.com/news/increase-uncompensated-hospital-care-could-be-
one-effect-short-term-coverage-rule


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       160.    Although the President’s authority to suspend entry under § 1182(f) may be broad,

it is not absolute—especially not when the exercise of that authority does not comply with either

the text of the statutory provision and is patently unrelated in any rational fashion to its stated

objective.

B.     The Proclamation Does Not Pass Muster Under Equal Protection

       161.    The President’s § 1182(f) powers, moreover, do not give him license to run

roughshod over the Constitution’s guarantee of equal protection. From the time he announced his

candidacy through his entire tenure in the White House, President Trump has openly expressed

antipathy toward not only all noncitizens, but also specifically toward immigrants seeking to come

to the United States—particularly immigrants of color, including those from countries such as

Mexico, Haiti, and Nigeria, and regions such as Central and Latin America, Africa, and the Middle

East. The Proclamation is but the latest in an iterative string of attempts to deny immigrant visas

to foreign nationals on the basis of their national origin or race—a motivation President Trump

has expressed since he was a candidate.

       162.    Indeed, in the same speech in which he announced his presidential bid, then-

candidate Trump declared: “When Mexico sends its people, they’re not sending their best. They’re

not sending you. They’re not sending you.” Rather, he warned his audience, “They’re sending

people that have lots of problems, and they’re bringing those problems with us. They’re bringing

drugs. They’re bringing crime. They’re rapists.” And, he added, “They’re not sending us the right

people. It’s coming from more than Mexico. It’s coming from all over South and Latin America,




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and it’s coming probably—probably—from the Middle East. But we don’t know. Because we have

no protection and we have no competence, we don’t know what’s happening.”57

       163.    Notwithstanding immediate public backlash to his remarks equating all Mexicans

with “rapists,” then-candidate Trump doubled down shortly thereafter in an interview on CNN.

When asked about the North American Free Trade Agreement, then-candidate Trump pivoted to

the topic of immigration and volunteered: “I love the Mexican people. I do business with the

Mexican people, but you have people coming through the border that are from all over. And they’re

bad. They’re really bad.” He further clarified: “But you have people coming in and I’m not just

saying Mexicans, I’m talking about people that are from all over that are killers and rapists and

they’re coming into this country.”58

       164.    The themes that then-candidate Trump presented in these early statements of his

candidacy have recurred in his public remarks about immigrants ever since. He has repeatedly and

consistently associated immigrants with crime and a lack of national security.59 He has repeatedly

and consistently presented immigrants as not only undesirable to this country,60 but also different



57
   Full text: Donald Trump Announces a Presidential Bid, WASH. POST (June 16, 2015)
https://www.washingtonpost.com/news/post-politics/wp/2015/06/16/full-text-donald-trump-
announces-a-presidential-bid/
58
  http://cnnpressroom.blogs.cnn.com/2015/06/28/donald-trump-on-cnns-state-of-the-union-im-
in-it-to-win-it-i-will-make-our-country-great-again/
59
   “They’re rapists;” “It’s coming from all over” and “we have no protection;” see also Donald
Trump on CNN’s State of the Union: “I’m in it to win it…I will make our country great again”
CNN (June 28, 2015) https://www.whitehouse.gov/briefings-statements/president-donald-j-
trumps-state-union-address/ (“In recent weeks, two terrorist attacks in New York were made
possible by the visa lottery and chain migration. In the age of terrorism, these programs present
risks we can no longer afford.”).
60
   “When Mexico sends its people, they’re not sending their best;” “They’re not sending us the
right people.” See also Alana Abramson, ‘I Can Be More Presidential Than Any Other
President.’ Read Donald Trump’s Ohio Rally Speech, TIME (July 26, 2017)See also:



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from the American public.61 And he has repeatedly and consistently advanced the notion that these

undesirable immigrants come from Latin America, the Middle East, or Africa62 and enter this

country in an unregulated fashion because of the problems in the current immigration system.63

       165.   Indeed, in speeches, remarks to the press, and tweets, President Trump has

consistently attacked the two primary ways that noncitizens from predominantly nonwhite

countries receive immigrant visas: the family preference system, which allows United States

citizens and lawful permanent residents to sponsor close family members for immigrant visas; and

the diversity visa lottery, which was originally established in 1990 to diversify the country’s

immigrant population by selecting immigrants from countries with historically low rates of

immigration to the United States. The former accounts for approximately 65% of all immigrant




https://time.com/4874161/donald-trump-transcript-youngstown-ohio/ (criticizing “today’s low-
skill system, just a terrible system where anybody comes in. People that have never worked,
people that are criminals, anybody comes in. . . . We don’t want people that come into our
country and immediately go on welfare and stay there for the rest of their lives.”).
61
   “They’re not sending you.” See also President Trump Remarks at Conservative Political
Action Conference, CSPAN (Feb. 23, 2018)See also https://www.c-span.org/video/?441592-
1/president-trump-pushes-concealed-carry-teachers-cpac-speech (describing the diversity visa
lottery: “You have a country, they put names in. Do you think they are giving us the good
people? Not too many of you people are going to be a lottery.”)
62
   “It’s coming from more than Mexico. It’s coming from all over South and Latin America, and
it’s coming probably—probably—from the Middle East.” See also @realdonaldtrump, Twitter
https://twitter.com/realdonaldtrump/status/980961086546632705 (“Honduras, Mexico and many
other countries that the U.S. is generous to, sends many of their people to our country through
our WEAK IMMIGRATION POLICIES.”)
63
   “It’s coming from all over,” but “[b]ecause we have no protection and we have no
competence, we don’t know what’s happening.” See also
https://twitter.com/realdonaldtrump/status/953406553083777029 (“We need to keep America
safe, including moving away from a random chain migration and lottery system, to one that is
merit-based.”)



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visas granted every year; the latter accounts for about 4.5%.64 President Trump has repeatedly

criticized both family-based preferences and the diversity visa lottery by claiming that they admit

immigrants through “random chance,”65 threatening the country’s economy and security66 and

“put[ting] pressure on our social safety net and generous welfare programs.”67

         166.   For example, President Trump regularly portrays family-based immigration in

derogatory terms, dismissing family preferences as “chain-based migration” that “can continue

without limit,”68 even though the INA strictly limits the types and numbers of family-sponsored

immigrants.69 In continually emphasizing “chain” metaphor, he raises the specter of a “virtually




64
   Table 10. Persons Obtaining Lawful Permanent Resident Status by Broad Class of Admission
and Region and Country of Birth: Fiscal Year 2017, DHS https://www.dhs.gov/immigration-
statistics/yearbook/2017/table10; Table 10. Persons Obtaining Lawful Permanent Resident
Status by Broad Class of Admission and Region and Country of Birth: Fiscal Year 2016, DHS
https://www.dhs.gov/immigration-statistics/yearbook/2016/table10; Table 10. Persons Obtaining
Lawful Permanent Resident Status by Broad Class of Admission and Region and Country of
Birth: Fiscal Year 2016, DHS https://www.dhs.gov/immigration-
statistics/yearbook/2015/table10
65
   Remarks by President Trump on Modernizing Our Immigration System for a Stronger
America, WHITEHOUSE.GOV (May 16, 2019) https://www.whitehouse.gov/briefings-
statements/remarks-president-trump-modernizing-immigration-system-stronger-america/
66
   See, e.g., Remarks by President Trump and Vice President Pence in a Meeting on Immigration
with Republican Members of the Senate, WHITEHOUSE.GOV (Jan. 4, 2018) See, e.g.,
https://www.whitehouse.gov/briefings-statements/remarks-president-trump-vice-president-
pence-meeting-immigration-republican-members-senate/
67
   Remarks by President Trump on Modernizing Our Immigration System for a Stronger
America, WHITEHOUSE.GOV (May 16, 2019) https://www.whitehouse.gov/briefings-
statements/remarks-president-trump-modernizing-immigration-system-stronger-america/
68
     @realdonaldtrump, Twitter, https://twitter.com/realdonaldtrump/status/960907362109452288
69
   David Bier, Five Myths about Chain Migration, CATO INST. (Feb. 14, 2018)
https://www.cato.org/publications/commentary/five-myths-about-chain-migration



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unlimited”70 influx of “low-skilled and unskilled”71 migrants who “come in and just immediately

go and collect welfare.”72 Chain migration,” according to President Trump, is “bringing many,

many people with one, and often it doesn’t work out very well. Those many people are not doing

us right.”73

        167.   Contrary to the President’s suppositions and assertions, the truth remains that nearly

half of adults who receive family-based visas have college degrees (compared with less than a

third of U.S. natives) and family-sponsored immigrants are the most upwardly mobile American

workers.74

        168.   It is also a common set-piece in President Trump’s speeches for him to bring up the

diversity visa lottery, play-act drawing names out of a hat, and characterize the “winners” as

criminals and “the worst of the worst:”75 “The country puts the name in the basket and you pick

people out of the lottery. This one is a murderer. This one robbed four banks. This one I better not



70
   President Donald J. Trump’s State of the Union Address, WHITEHOUSE.GOV (Jan. 30, 2018)
https://www.whitehouse.gov/briefings-statements/president-donald-j-trumps-state-union-address/
71
   President Donald J. Trump Backs RAISE Act, WHITEHOUSE.GOV (Aug. 2, 2017)
https://www.whitehouse.gov/briefings-statements/president-donald-j-trump-backs-raise-act/
72
   Trump Administration Immigration Policy Announcement, CSPAN (Aug. 2, 2017)
https://www.c-span.org/video/?432076-1/president-backs-gop-senators-skilled-based-
immigration-bill
73
   Remarks by President Trump in Meeting with Bipartisan Members of Congress on
Immigration, WHITEHOUSE.GOV (Jan. 9, 2018) https://www.whitehouse.gov/briefings-
statements/remarks-president-trump-meeting-bipartisan-members-congress-immigration/
74
   David Bier, Five Myths about Chain Migration, CATO INST. (Feb. 14, 2018)
https://www.cato.org/publications/commentary/five-myths-about-chain-migration
75
   Remarks by President Trump in Meeting with Bipartisan Members of Congress on
Immigration, WHITEHOUSE.GOV (Jan. 9, 2018) https://www.whitehouse.gov/briefings-
statements/remarks-president-trump-meeting-bipartisan-members-congress-immigration/



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say. This one another murderer. Ladies and gentlemen, another murderer.”76 President Trump

regularly mischaracterizes the program as a way for countries to send their undesirable citizens to

the United States, claiming, “[y]ou have a country, they put names in. Do you think they are giving

us the good people? . . . They are not giving us their best people, folks. Use your heads.”77 He

likewise routinely denigrates the diversity visa lottery as “a program that randomly hands out green

cards without any regard for skill, merit, or the safety of our people”78—

          169.   The truth remains that individuals must apply for the diversity visa lottery and

possess either a high school education or demonstrate two years of work experience in a

sufficiently skilled occupation. Applicants must then pass the exact same criminal, national

security, and medical checks as all other immigrants if they are so fortunate to win a diversity

visa.79

          170.   Notably, most family-based visa immigrants in recent years have originated in Asia,

Africa, and South America; most diversity visa lottery winners have originated in Africa and

Asia.80 In other words, when attacking family-based or diversity visa immigration—both long-




76
  President Trump in Cincinnati, Ohio, CSPAN (Aug. 1, 2019) https://www.c-
span.org/video/?463078-1/president-trump-holds-campaign-rally-cincinnati-ohio&start=1937
77
  See also President Trump Remarks at Conservative Political Action Conference, CSPAN (Feb.
23, 2018) https://www.c-span.org/video/?441592-1/president-trump-pushes-concealed-carry-
teachers-cpac-speech
78
   President Donald J. Trump’s State of the Union Address, WHITEHOUSE.GOV (Jan. 30, 2018)
https://www.whitehouse.gov/briefings-statements/president-donald-j-trumps-state-union-address/
79
  See generally Alex Nowrasteh, The Cheap Assault on the Immigration Visa Lottery, CATO
INST. (Jan. 28, 2018) See generally https://www.cato.org/publications/commentary/cheap-
assault-immigration-visa-lottery
80
  Table 10. Persons Obtaining Lawful Permanent Resident Status by Broad Class of Admission
and Region and Country of Birth: Fiscal Year 2017, DHS https://www.dhs.gov/immigration-



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standing features of the American immigration system—President Trump is attacking nonwhite

immigration.

         171.    While criticizing family-based preferences and the diversity visa lottery as

“outdated programs that hurt our national and economic security,”81 President Trump has also

consistently advocated for a new, “merit-based” system. Such a system “admits people who are

skilled, who want to work, who will contribute to our society, and who will love and respect our

country”82—in contrast with family-based and diversity immigrants, who are “mostly low-wage

and low skilled,” and who “come into our country and immediately go onto welfare and stay there

for the rest of their lives.”83 President Trump has constantly portrayed merit-based immigrants as

people who “have skills, who can support themselves financially, and contribute to our economy,”

and who will come to the country to “work hard.”84

         172.    Most employment-based immigrant visas in the current United States immigration

system, which are awarded predominantly to highly skilled and white-collar workers with

advanced degrees—i.e., the types of individuals President Trump’s proposed merit-based system




statistics/yearbook/2017/table10. In these statistics, figures for Africa include countries from the Middle
East.
81
     @realdonaldtrump, Twitter, https://twitter.com/realdonaldtrump/status/960907362109452288
82
   President Donald J. Trump’s State of the Union Address, WHITEHOUSE.GOV (Jan. 30, 2018)
https://www.whitehouse.gov/briefings-statements/president-donald-j-trumps-state-union-address/
83
   Alana Abramson, ‘I Can Be More Presidential Than Any Other President.’ Read Donald
Trump’s Ohio Rally Speech, TIME (July 26, 2017) https://time.com/4874161/donald-trump-
transcript-youngstown-ohio/
84
  President Trump Remarks at Conservative Political Action Conference, CSPAN (Feb. 23,
2018) https://www.c-span.org/video/?441592-1/president-trump-pushes-concealed-carry-
teachers-cpac-speech



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would favor—go to individuals from Europe and Asia.85 Employment-based immigrant visas

represent approximately 13% of the immigrant visas granted annually by the United States.86

       173.    That President Trump divides immigrants into these two categories—undesirable

family-based and diversity immigrants from predominantly non-white countries on the one hand,

and employment- or “merit-” based immigrants who are either European or at least willing to

“work hard” on the other—is no surprise in the context of other statements he has made evincing

racial and nation-based animus grounded in ugly stereotypes.

       174.    During a White House briefing on how many immigrants had received visas to

enter in 2017, for example, Trump reportedly grumbled that Haitians “all have AIDS” and that

after seeing the United States, Nigerians would never “go back to their huts” in Africa once he

heard how many immigrants from each country had been admitted.87 At a similar briefing on

protections for Haiti, El Salvador, and African countries in 2018, President Trump is said to have

asked, “Why are we having all these people from shithole countries come here?” He then suggested




85
   Table 10. Persons Obtaining Lawful Permanent Resident Status by Broad Class of Admission
and Region and Country of Birth: Fiscal Year 2017, DHS https://www.dhs.gov/immigration-
statistics/yearbook/2017/table10
86
   Table 10. Persons Obtaining Lawful Permanent Resident Status by Broad Class of Admission
and Region and Country of Birth: Fiscal Year 2017, DHS https://www.dhs.gov/immigration-
statistics/yearbook/2017/table10; Table 10. Persons Obtaining Lawful Permanent Resident
Status by Broad Class of Admission and Region and Country of Birth: Fiscal Year 2016, DHS
https://www.dhs.gov/immigration-statistics/yearbook/2016/table10; Table 10. Persons Obtaining
Lawful Permanent Resident Status by Broad Class of Admission and Region and Country of
Birth: Fiscal Year 2016, DHS https://www.dhs.gov/immigration-
statistics/yearbook/2015/table10
87
   Michael D. Shear and Julie Hirschfeld Davis, Stoking Fears, Trump Defied Bureaucracy to
Advance Immigration Agenda, NY TIMES (Dec. 23, 2017)
https://www.nytimes.com/2017/12/23/us/politics/trump-immigration.html



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that the United States should bring in more people from countries such as Norway.88 More recently,

he tweeted that four Congresswomen of color “originally came from countries whose governments

are a complete and total catastrophe, the worst, most corrupt and inept anywhere in the world,”

and “should go back and help fix the totally broken and crime infested places from which they

came”—despite the fact that each Member of Congress is a United States citizen and only one,

Ilhan Omar, had come to the United States as a child, fleeing from Somalia as a refugee.89

       175.    Taken in aggregate, President Trump’s public statements have repeatedly and

consistently evinced an animus towards nonwhite immigrants. And since entering the White

House, President Trump has tried various ways to effectuate his desire to limit nonwhite

immigration by limiting family-based and diversity visa immigration.

       176.    Early in his presidency, for example, President Trump championed the RAISE Act,

a bill that “favors applicants who can speak English, who can support themselves financially, and

who demonstrate valuable skills that will strengthen our economy and strengthen our country.”90

The same bill would cut family-based immigration in half by eliminating many currently existing

categories for family-sponsored immigration, and by permitting only spouses and minor children




88
  Josh Dawsey, Trump Derides Protections for Immigrants from ‘shithole’ Countries, WASH.
POST (Jan. 12, 2018) https://www.washingtonpost.com/politics/trump-attacks-protections-for-
immigrants-from-shithole-countries-in-oval-office-meeting/2018/01/11/bfc0725c-f711-11e7-
91af-31ac729add94_story.html
89
   Felicia Sonmez and Mike DeBonis, Trump Tells Four Liberal Congresswomen to ‘go back’ to
Their Countries, Prompting Pelosi to Defend Them, WASH. POST (July 14, 2019)
https://www.washingtonpost.com/politics/trump-says-four-liberal-congresswomen-should-go-
back-to-the-crime-infested-places-from-which-they-came/2019/07/14/b8bf140e-a638-11e9-
a3a6-ab670962db05_story.html
90
  President Trump Rally in Huntington, West Virginia, CSPAN, https://www.c-
span.org/video/?431931-1/president-trump-holds-rally-west-virginia



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of United States citizens and lawful permanent residents to seek immigrant visas—moves that

would disproportionately affect nationals of the predominantly nonwhite countries of Mexico, the

Dominican Republic, the Philippines, China, India, and Vietnam.91 The RAISE Act also

introduced a point system for awarding visas, granting more points to intending immigrants for

having a high-paying job offer, high English test scores, high educational attainment, or financial

resources to invest over a million dollars in the United States.92 In addition, under the bill, “you

cannot get welfare for five years when you come into our country. You can’t just come in like in

past weeks, years, and decades you come in, immediately start picking up welfare.”93 In mid-2017,

the RAISE Act failed in the Senate without a vote.

           177.   Around the same time that the Senate passed on voting on the RAISE Act, USCIS

introduced the new Public Charge rule, another attempt by the Trump Administration to curtail the

immigration of nonwhite individuals entering the country through family-based preferences or the

diversity visa. Echoing the point system of the RAISE Act, the Public Charge rule places varying

positive or negative weights on certain factors that are then assessed in determining whether an

applicant should be deemed inadmissible on public charge grounds. Under one of the heavily

weighted positive factors—having income or financial assets over 250% of the federal poverty

line—“71% of Mexicans and Central Americans, 69% of Africans, and 52% of Asian immigrants



91
   Julia Gelatt, The RAISE Act: Dramatic Change to Family Immigration, Less So for the
Employment-Based System, MIGRATION POLICY INST. (Aug. 2017)
https://www.migrationpolicy.org/news/raise-act-dramatic-change-family-immigration-less-so-
employment-based-system
92
     Id.
 Factbase Videos, Weekly Address: Donald Trump - Washington, DC - August 25, 2017,
93

YOUTUBE (Oct. 18, 2017)Video: https://www.youtube.com/watch?v=Mx7k8mk5PPo&t=54



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would fail to meet the threshold.” Accordingly, like the RAISE Act, the Public Charge rule “would

have pronounced regional, national-origin and—by extension—racial effects on flows,” having

the most negative impact on “Asian, Latin American, and African immigrants.”94

       178.    The Proclamation follows in the footsteps of the failed RAISE Act and the enjoined

Public Charge rule. Like the RAISE Act and the Public Charge rule, the Proclamation has the

potential to drastically cut family-based immigration. Unlike its predecessors, however, the

Proclamation is promulgated by presidential fiat, and thus untethered to the legislative or

administrative rulemaking processes. But although the RAISE Act, the Public Charge rule, and the

Proclamation each takes a different form and function, the intended result of each is the same: to

reduce immigration from predominantly nonwhite countries.

     THE PROCLAMATION AND ITS IMPLEMENTATION HARM PLAINTIFFS

       179.    The Proclamation will go into effect at 12:01 am, Eastern daylight time, on Sunday,

November 3, 2019, and all publicly available information reflects that the State Department has

been taking, and will take, definitive and concrete action to implement and enforce it. The press,

for example, has reported that “[m]ore than two dozen health officials are wrestling with highly

technical questions, like which health plans would comply with the new requirements,” and that

some are “confused about numerous aspects of the proclamation.”95 Information made publicly

available on the State Department’s website, moreover, expressly instructs would-be immigrants


94
   Jeanne Batalova et al., Through the Back Door: Remaking the Immigration System via the
Expected “Public Charge” Rule, MIGRATION POLICY INST. (Aug. 2018)
https://www.migrationpolicy.org/news/through-back-door-remaking-immigration-system-
expected-public-charge-rule
95
   Dan Diamond, Health Officials: Trump Immigration Order Could be Illegal, POLITICO (Oct
11, 2019) https://www.politico.com/news/2019/10/11/trump-immigrants-health-insurance-
illegal-044716



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that “[i]f [they] are applying for an immigrant visa, including a diversity visa, on or after November

3, 2019,” they must satisfy the Proclamation’s requirements and that “[i]nability to meet this

requirement will result in the denial of the visa application.96 The State Department information

page further states that “[d]uring the visa interview, applicants should be able to demonstrate to

the satisfaction of the consular officer” that they meet the Proclamation’s requirements, and that

“[o]fficers will review the medical and financial documentation that is already part of the

applicant’s case file and may request additional information or documentation as needed.”97 Such

assertions reflect the fact, or at very least support the logical inference, that the State Department

is already implementing and, starting on November 3, 2019, will enforce the Proclamation,

resulting in a direct impact on the rights of qualified prospective immigrants.

           180.   When implemented and enforced, the Proclamation will cause Plaintiffs [and their

members and clients] substantial, concrete, and particularized injury. The entry suspension of the

Proclamation is indefinite; the Proclamation provides no waiver from its suspension; and the

Proclamation provides no way to appeal the denial of a visa due to the Proclamation’s de facto

wealth test. As a result, the Proclamation will permanently separate close family members and

inflict irreparable harm.

           181.   John Doe #1, a U.S. citizen, can no longer work due to a disability. He has applied

for wife, a Mexican citizen with an approved I-601A waiver, to obtain legal status so that she can

live and work here in the United States, supporting both him and his fourteen-year-old United




96
   Presidential Proclamation on Health Care, TRAVEL.STATE.GOV,
https://travel.state.gov/content/travel/en/us-visas/immigrate/Presidential-Proclamation-on-
Health-Care.html
97
     Id.


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States citizen son. But he fears that his wife will not be able to show that she meets the

Proclamation’s health insurance and financial resources requirements at her consular interview.

       182.    John Doe #1 has not worked since May 2018 and had heart surgery in July 2018.

He currently has a pacemaker. Around April 2019, he received his Social Security Disability

determination and since he stopped working, Social Security Disability benefits have been his only

income source. Both he and his son have health insurance through the Oregon Health Plan,

Oregon’s Medicaid program, but, because he can no longer work, he cannot obtain insurance

through an employer or afford private health insurance.

       183.    Money is tight in John Doe #1’s family. After receiving approval for his wife’s

family-based visa petition and her I-601A provisional unlawful presence, completing her

application for an immigrant visa, submitting documents to the National Visa Center, and

scheduling a consulate interview for Wednesday, November 6, 2019 in Ciudad Juarez, Chihuahua,

Mexico, John Doe #1 thought that his wife would finally become a legal resident and would be

able to work. He thought his family would finally be able to breathe a financial sigh of relief after

enduring a significant medical hardship, as well as anxiety about her legal status.

       184.    But then they received news of the Proclamation. John Doe #1 does not believe that

his wife will be eligible to receive a visa now; she does not have health insurance and they do not

have sufficient financial resources, especially after his disability, to afford health insurance for her

or pay her foreseeable health insurance costs.

       185.    The Proclamation will be destructive to John Doe #1’s family in many ways. He

cannot imagine living apart from his wife. He and their son depend on her. Their son suffers from

health complications and is currently in the hospital. Given his own health issues, John Doe #1

cannot care for his son by himself; he needs his wife. If granted a visa, she could work to support




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the family financially since John Doe #1 cannot work himself. Due to the significant medical issues

facing John Doe #1 and his son, he does not know what he would do if his wife goes to her

November 6th interview and her visa is denied.

       186.    Juan Ramon Morales, a U.S. citizen, would be able to enroll his wife, Vianca

Morales, as a dependent in his employer’s health insurance plan, but the Proclamation makes both

this and the prospect of acquiring an immigrant visa for her his impossible.

       187.    Mr. Morales’s employer told him that they could not add his wife as a dependent

on his health insurance plan unless she obtained a Social Security Number; once she does so, she

can be added. But she cannot do so until she receives legal status in the United States, and the

Proclamation requires that she show proof, which she cannot obtain, that she would be enrolled in

health insurance within 30 days of her admission into the United States. Through his research,

Mr. Morales learned that Social Security Numbers and “Green Cards” are typically not mailed

quickly enough to arrive within 30 days after admission to the U.S. is granted. Thus, even though

Mr. Morales would be able to enroll his wife in health insurance were she to receive permanent

residence, the Proclamation’s stringent requirements make it impossible.

       188.    Nor could the Morales family afford to purchase health insurance for Ms. Morales

or her foreseeable medical expenses. Ms. Morales, who has lived in the U.S. since 2006, is

diagnosed with leukemia and has had emergency brain surgery. She also is epileptic and suffers

from seizures. To manage these, she pays for prescription medicine out of pocket. Mr. Morales

likewise currently has significant medical costs; he carries significant debt due to back surgery he

had. Mr. Morales’ daughter, a U.S. citizen, and his step-daughter, a legal permanent resident, both

have subsidized health insurance that costs approximately $30 per month. Mr. Morales has




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researched health insurance options to cover his wife, but has not found any available plans that

he could afford.

       189.    When Mr. Morales first learned about the Proclamation, he felt tremendous anxiety

and despair. Mr. Morales and his family had already gone through a long and laborious journey to

get to where they are today in the immigrant visa process: they had their I-130 petition approved

in July 2017; Ms. Morales filed a provisional unlawful presence waiver application in May 2018

based on the extreme hardship Mr. Morales would suffer if she could not be able to obtain

permanent residence in the U.S, and the application was approved in April 2019; Ms. Morales had

completed all of the other required steps of the Consular Process; and now the family was waiting

for her interview to be scheduled in Ciudad Juarez, Mexico. If his wife is denied permanent

residency, Mr. Morales and his children will suffer extreme psychological, emotional, financial,

and physical hardship. It was while waiting for this interview that the Morales family first heard

about the Proclamation. Given the strict 30 day timeline, Ms. Morales’ health conditions, and Mr.

Morales’ limited financial resources, Mr. Morales does not believe that Ms. Morales will have

health insurance, that she will be able to prove that she will be able to obtain health insurance 30

days after her admittance into the U.S., or that she will be able to afford foreseeable medical costs

at the time of her visa interview.

       190.    As part of Ms. Morales’ waiver application, Vianca demonstrated that Mr. Morales

would suffer extreme hardship if Ms. Morales’ unlawful presence was not forgiven, including

extreme psychological, emotional, financial, and physical hardship. If she is denied an immigrant

visa, Mr. Morales would be separated from the love of his life and would have to raise his daughters

alone. The thought that Ms. Morales may be denied her immigrant visa—and thus indefinitely

separated from him—has caused Mr. Morales significant stress.




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          191.   As a single mother of two children and a victim of domestic abuse, Jane Doe #2, a

U.S. citizen who was naturalized in 2018, has faced many obstacles in the United States. Yet, she

has seen the beauty and opportunities that this country has to offer. The United States has given

her a sense of hope and happiness for the future: even though she is not where she would like to

be, she feels like she is getting there. She now wishes to bring her parents to the United States to

be with her and their grandchildren, but fears she will not be able to do so if the Proclamation is in

effect.

          192.   Her experiences as a victim of domestic abuse, a single mother, and an immigrant

to the United States have often made Jane Doe #2 feel very alone. She particularly misses her

parents. She has been living apart from her 59-year old parents, who live in Nicaragua, for 13

years. This separation has been exceptionally painful. She can only communicate with her parents

twice a week, at most, because they live in a remote location. It has been extremely stressful and

distressing to Jane Doe #2 to have experienced domestic violence without being able to turn to her

parents for help. And the fact that they have not been able to witness the beautiful moments—like

the birth of her children—breaks her heart. Not only has she been separated from her parents, but

her children have never met their grandparents. Jane Doe #2 sponsored two immigrant visas for

her parents to reunite with them in the United States to change that.

          193.   On or around December 19, 2018, Jane Doe #2 applied for her parents to come to

the United States. The visa petitions were approved on or around July 9, 2019. Her parents have

received the requisite letters from the National Visa Centers to proceed with the Consular Process.

Her family is currently collecting information and documents to submit the DS-260 and immigrant

documents. They were waiting for their interview when they heard news of the Proclamation.




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       194.    When she heard about the Proclamation, Jane Doe #2 felt crushed. She cannot

explain the feeling of going through so many awful moments in her life and finally obtaining some

hope of a light at the end of the tunnel by the possibility of reuniting with her family, only to have

that hope ripped away from her by the Proclamation.

       195.    Currently, Jane Doe #2’s parents do not have health insurance. They go to clinics

in Nicaragua for their medical needs. As a single mother of two, Jane Doe #2’s financial resources

are limited. She has searched for an available health insurance option for them that she could

afford, but has not been successful and does not believe an “approved” and available insurance

option is affordable.

       196.    Jane Doe #3, a U.S. citizen, can no longer work due to a disability, which also

makes it difficult for her to keep up with household tasks. After being separated from her husband

for almost two years, she hopes that having her husband, a German citizen, with her in the U.S.

will make things better. Living apart has been miserable for Jane Doe #3. Although they talk often,

she rarely gets to see her husband, and she needs to incur debt whenever she goes to visit him in

Germany. Having her husband in the U.S. would help in almost every way. But she now believes

that her husband will not be able to meet the new requirements that the Proclamation created.

       197.    Jane Doe #3 met her husband in Los Angeles in 2006, and they were married in

February 2018. After getting married, they decided to settle in the U.S. instead of Germany because

of Jane Doe #3’s desire to stay close to her family. She lives nearby her immediate family, and is

especially thankful to be able to leave near her grandmother, who is a Holocaust survivor.

Accordingly, she filed an immigrant visa petition for her husband in July 2018, and he returned to

Germany so that he would not overstay his visitor visa. The I-130 petition was approved in April




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2019, and since then, they have been gathering documents required for consular processing and

looking forward to the time when they can be reunited.

       198.    The Proclamation has forced them to put their plans for a future together on hold.

Jane Doe #3 does not know how her husband will be able to prove at a consular interview that he

will have approved health insurance within 30 days of entering the United States. Jane Doe #3 is

currently enrolled in California’s Medicaid program and she cannot add her husband to this

coverage.

       199.    While her husband likely has good employment prospects in Los Angeles—he is

an architect who currently teaches architectural theory and design and he speaks both English and

German fluently—it is extremely difficult for him to secure employment without knowing when

he will enter the United States. Even if he were to be able to obtain insurance through an employer,

he would almost certainly not be able to secure such employment at the time of his consular

interview. Furthermore, his current German health insurance will not cover him when he moves

to the United States. In the past, when he has visited Jane Doe #3, he purchased traveler’s

insurance, but it is his understanding that he would also not be eligible to receive such insurance

if he moves permanently to the U.S. Doe’s husband has multiple sclerosis, and his treatments are

expensive. She believes that she and her husband do not have the financial resources to afford

health insurance for him or to pay his foreseeable medical expenses out of pocket.

       200.    Iris Angelina Castro, a U.S. citizen, is currently pregnant with her second child

and separated from her husband, Hermogenes Castro Molina, a national and resident of the

Dominican Republic. She wishes to reunite with her husband in the United States because when

her first son became very ill, she was forced to quit her job to take care of him, and she is now

unemployed with no income source.




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       201.    Ms. Castro was previously employed as a teacher, but she has since lost all her

benefits when she stopped working to stay at home with her first son. Having Mr. Molina here in

the United States will help their whole family; he can work while she cares for the children.

       202.    Ms. Castro filed an immigrant petition for her husband on November 14, 2018,

which was approved on May 30, 2019. They have since been filing all the required documents so

that they can schedule a consular interview.

       203.    News of the Proclamation devastated Ms. Castro. Because she is unemployed, she

does not believe that they have sufficient financial resources to prove that Mr. Castro would be

able to obtain health insurance within 30 days of his entry into the U.S. or pay for foreseeable

medical costs. She has already been living apart from her husband for almost a year and that

separation has been exceptionally painful. Furthermore, she is pregnant with their first child

together. It is painful for her to think that her daughter’s father will not be here for her birth and

that she will have to raise her daughter without her father. Without him and his potential financial

support, she believes that she will be forced to use public benefits for survival.

       204.    Blake Doe, a U.S. citizen and senior college student at Oregon State University,

lived with his parents, Mexican citizens, in Oregon from the time he was born until he went to

college. His parents are amazing people, and he aspires to live up to the values of compassion,

hard work, and responsibility that they have always tried to instill in him. Due to their sacrifices,

Blake Doe will be the first person in his family to graduate from college in June 2020. He has

approved I-130 petitions for his parents, but they are afraid that if they leave the country for their

consular interview, they will be banned from coming back under the Proclamation.

       205.    Blake Doe is seeking to permanently unify his family in Oregon because it is where

he has lived his whole life. He sponsored immigrant visas for his parents on or around April 17,




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2017, and on or around January 17, 2018, their I-I30 petitions were approved. On June 11, 2019,

United States Citizenship and Immigration Services (USCIS) determined that members of his

family would suffer an extreme hardship if his parents’ visas were denied, and accordingly,

approved an extreme hardship waiver so that his parents could complete the immigration process.

His parents are currently waiting to have an interview scheduled at the Consulate in Ciudad Juarez,

Mexico.

          206.   Blake Doe’s mother’s health has declined recently. She has two painful

conditions—rheumatoid arthritis and lupus erythematosus. She currently pays for medical care out

of pocket; her treatment is necessary to allow her to live without pain. She has tried to obtain health

insurance, but has been told she is ineligible due to her immigration status. Blake Doe’s father has

tried to obtain health insurance for her, but has not been successful. Through research, Blake Doe

has found that it would be very expensive for him to obtain health insurance for his mother and

father.

          207.   As a full-time college student, Blake Doe has no income and has about $20,000

worth of student loan debt. He cannot afford health insurance for his parents. Therefore, Blake

Doe does not believe that he has sufficient financial resources to prove that his parents would be

able to obtain approved health insurance within 30 days of their admittance into the U.S. or pay

for foreseeable medical costs.

          208.   Given that the Proclamation has no waiver or termination date, Blake Doe is

resigned to the fact that his parents will not be able to complete the immigration process. He

believes that they will continue to live in fear and that he will continue to live in fear every day of

permanent separation from his parents. This fear is causing him feelings of depression and makes

him constantly worried.




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       209.    Brenda Villarruel, a U.S. citizen, and her minor son, who is a United States

citizen, have been separated from her husband and the child’s step-father, for almost two years.

She now fears that the Proclamation will make that separation permanent.

       210.    Ms. Villarruel is employed as a licensed medical assistant, but does not have health

insurance through her work and pays out of pocket for medical services when necessary. Ms.

Villarruel has sponsored her husband, who currently resides in Mexico City, Mexico, for an

immigrant visa and, after receiving an approved waiver, has been scheduled for his final immigrant

interview on November 5, 2019.

       211.    Ms. Villarruel needs her husband, Mr. Gabino Soriano Castellanos, in the United

States so that he can rejoin their thriving tattoo business and continue to be the father and caretaker

of their son, who has battled depression due to the separation from the only father he has ever

known. News of the Proclamation has devastated the entire family. Ms. Villarruel, having

researched the costs of approved insurance, does not believe that the family has sufficient financial

resources to prove that she and Mr. Castellanos would be able to obtain approved health insurance

to comply with the President’s Proclamation within 30 days of Mr. Castellanos admittance into

the U.S. or pay for foreseeable medical costs.

       212.    This is a time when Ms. And Mr. Castellanos should be building their thriving

tattoo business and raising their son. Instead, they live in fear of living apart from each other

indefinitely and being financially wiped-out due to the family separation.

       213.    Latino Network functions as an “immigration services navigator” to educate

clients and connect them with legal-services providers who can assist with obtaining immigrant

visas for family members, and provides information to low- and moderate-income immigrant

families about options for health-care benefits. The Proclamation has and will continue to




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severely restrict and frustrate Latino Network’s ability to fulfill its objectives of counseling and

referring low- and moderate-income immigrants to services that will enable them to obtain

adequate health-care benefits.

        214.    The Proclamation has forced and will continue to force Latino Network to divert

significant resources: to identify viable health-care options for members who need to comply

with the Proclamation; to retrain Latino Network staff members, who had been previously

trained to help members find free, low-cost, or subsidized health-care plans, and who must now

learn to help members navigate the Proclamation’s terms; and to develop and publish

information materials to inform our community. Latino Network’s need to devote resources to

respond to the Proclamation and mitigate its effects on the Portland Latino community

necessarily limit the resources available to carry out its core services and programs, and frustrate

its ability to carry out its organizational purpose.

                                     CLASS ALLEGATIONS

        215.    Individual Plaintiffs bring this action as a class action pursuant to Federal Rule of

 Civil Procedure 23(b)(1) and (b)(2), on behalf of themselves and all other persons for whom

 Defendants’ implementation of the Proclamation interferes with family reunification or the

 processing of their visa petitions in a manner consistent with applicable law. The individual

 plaintiffs seek certification of a class (the “Plaintiff Class”) consisting of:

            a. Individuals in the United States who currently have an approved or pending petition

                to the United States government to sponsor a noncitizen family member for an

                immigrant visa, or who will soon file such a petition; and whose sponsored family

                member is subject to the Proclamation and unable to demonstrate to a consular

                officer’s satisfaction that he or she “will be covered by approved health insurance”




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              within 30 days after entry or will be able “to pay for reasonably foreseeable medical

              costs.” (“U.S. Petitioner Subclass”)

          b. Individuals who are foreign nationals who (i) have applied for or will soon apply

              to the United States government for an immigrant visa; (ii) are otherwise eligible

              to be granted the visa; but (iii) are subject to the Proclamation and unable to

              demonstrate to the satisfaction of a consular officer that they “will be covered by

              approved health insurance” within 30 days after entry or will be able “to pay for

              reasonably foreseeable medical costs.” (“Visa Applicant Subclass”)

      216.    This action meets all of the Rule 23(a) prerequisites for maintaining a class action.

      217.    The Plaintiff Class is so numerous that joinder is impracticable, satisfying Rule

23(a)(1). Analysis by the Migration Policy Institute, based on data from the Census Bureau’s

2014-16 American Community Survey (“ACS”), indicates that roughly 375,000 immigrants,

mainly family-based immigrants, would be affected by the Proclamation each year. In addition,

the class action is the only appropriate procedural avenue for the protections of the class members’

constitutional rights and rights under the APA.

      218.    The claims of the Plaintiff Class members share common issues of law, including

whether the Defendants’ Proclamation and its implementation exceeds the statutory authority

provided Defendants by the Immigration and Nationality Act; violates Plaintiff Class members’

rights under the APA; and violates Plaintiff Class members’ rights under the Equal Protection

Clause of the Fifth Amendment to the U.S. Constitution.

      219.    The claims of the Plaintiff Class members share common issues of fact, including,

but not limited to:




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       a. whether the Proclamation and Defendants’ actions taken to implement it were

          motivated by racial animus, sought to reduce immigration by people of color, or

          were otherwise based on the race, ethnicity, and/or national origin of the individuals

          affected;

       b. whether Defendants fail to address the Proclamation’s discriminatory impact;

       c. whether, in issuing and implementing the Proclamation, Defendants relied on

          factors Congress did not intend for it to consider;

       d. whether, in issuing and implementing the Proclamation, Defendants failed to

          consider important aspects of the problem it is addressing;

       e. whether, in issuing and implementing the Proclamation, Defendants explained its

          decision counter to the evidence before it;

       f. whether Defendants quantified or considered harms that would result from the

          Proclamation and its implementation;

       g. whether Defendants failed to follow required procedures, including notice and

          opportunity for public comment, before issuing and implementing the

          Proclamation;

       h. whether the Proclamation’s requirements are, in practice, irrational, vague and

          unworkable, rendering impossible the uniform application of the laws or review of

          decisions for consistency with facts and evidence;

       i. whether the Proclamation is being or will be enforced so as either to prevent class

          members from reuniting here in the United States, or to force their separation when

          a noncitizen family member must leave the country for a consular interview.




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          j. whether class members have suffered harm as a result of the Proclamation and

              Defendants’ actions taken to implement it.

      220.    Because the claims of the Plaintiff Class members share common issues of law and

fact, they will not require individualized determinations of the circumstances to any plaintiff, and

satisfy Rule 23(a)(2).

      221.    The claims or defenses of the named Plaintiffs are typical of the claims or defenses

of the members of the Plaintiff Class, satisfying Rule 23(a)(3). Like other members of the class,

the Plaintiffs have been harmed, among other things, by Defendants’ failure to lawfully abide by

statutory limitations on their actions. They have further been harmed by Defendants’ failure to

proceed through proper notice-and-comment and other required procedures when issuing and

implementing its Proclamation, thereby leading to arbitrary, capricious, and unlawful action that

fails to account for important aspects of the supposed problems it is addressing. They have further

been harmed by Defendants’ failure adequately to explain its decision to issue the Proclamation

or describe its implementation in a manner that it may reasonably be followed by those it affects.

They have been harmed by Defendants’ premising the Proclamation and its implementation on

racial animus in violation of the equal protection guarantee of the Fifth Amendment. Each of

these actions, independently and collectively, have caused harm to Plaintiffs and the Plaintiff

Class members.

      222.    The named Plaintiffs will fairly and adequately protect the interests of the Plaintiff

Class, satisfying Rule 23(a)(4). The named Plaintiffs will defend the rights of all proposed class

members fairly and adequately, and have no interest that is now or may be potentially antagonistic

to the interests of the Plaintiff Class. The attorneys representing the named Plaintiffs include




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experienced civil rights and immigration attorneys who are considered able practitioners in

federal constitutional litigation. These attorneys should be appointed as class counsel.

      223.    The members of the proposed class are readily ascertainable through Defendants’

records.

      224.    Through implementation and enforcement of the Proclamation at the center of the

Plaintiff Class’s allegations, Defendants have acted, have threatened to act, and will act on

grounds generally applicable to the Plaintiff Class, thereby making final injunctive and

declaratory relief appropriate to the class as a whole. The Plaintiff Class may therefore by

properly certified under Federal Rule of Civil Procedure 23(b)(2).

      225.    Prosecution of separate actions by individual members of the Plaintiff Class would

create the risk of inconsistent or varying adjudications and would establish incompatible

standards of conduct for individual members of the Plaintiff Class. The Plaintiff Class may

therefore by properly certified under Federal Rule of Civil Procedure 23(b)(1).

                                    CAUSES OF ACTION

                               FIRST CLAIM FOR RELIEF
                      (Violation of the Administrative Procedure Act)
                      (On behalf of All Plaintiffs, including the Class)

      226.    The foregoing allegations are repeated and incorporated as though fully set forth

herein.

      227.    The Proclamation will go into effect on November, 3, 2019. Defendants have stated

that they will begin implementing the Proclamation on this date in the manner described on the

State Department’s website.

      228.    Defendants have taken actions to implement the Proclamation, including informing

visa applicants and consular officials of new requirements effective November 3, 2019, that will

result in a direct impact on the rights of qualified prospective immigrants and constitute final


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agency action(s) within the meaning of the Administrative Procedure Act. See Bennett v. Spear,

520 U.S. 154 (1997).

      229.     Defendants’ actions constitute violations of the APA in at least the following

respects:

            a. Defendants failed to reasonably justify their departure from settled practice.

            b. Defendants failed to address conflicts with other laws and legislative intent,

               including but not limited to the specific scheme Congress mandated in the INA

               through provisions such within 8 U.S.C. § 1151; 8 U.S.C. § 1153; 8 U.S.C §

               1182; 8 U.S.C § 1182; 8 U.S.C § 1154; 8 USC § 1186; 8 U.S.C. § 245, and

               numerous health care laws, such as the ACA, PRWORA, CHIP and CHIPRA, and

               numerous regulations duly promulgated under these and other laws.

            c. Defendants implemented the Proclamation in a manner that is not “consistent with

               applicable law” for reasons including that their actions replaced a statutory

               totality of the circumstances test for public charge with a new test that is vague,

               arbitrary, and unsupported by the evidence.

            d. Defendants’ implementation of the Proclamation is pretextual because Defendants

               seek to reduce immigration by people of color.

            e. Defendants fail to address the Proclamation’s discriminatory impact.

            f. Defendants did not quantify or consider harms that will result.

            g. Defendants states requirements that are irrational, vague and unworkable,

               rendering impossible the uniform application of the laws or review of decisions

               for consistency with facts and evidence.

            h. Defendants acted in excess of statutory authority.




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          i. Defendants’ actions exceed the delegation of statutory authority to the President

               in U.S.C. § 1182(f) for reasons including that Congress did not delegate

               unfettered discretion to indefinitely rewrite the immigration or health care laws,

               allow for suspensions that are unconstitutional and/or unsupported by adequate

               findings, create permanent and specific classes of inadmissibility, or eliminate the

               opportunity for visa applicants’ opportunity to show that they are unlikely to

               become a “public charge” by the terms Congressional mandated.

          j. Defendants’ actions implement the Proclamation in a manner that is not consistent

               with 8 U.S.C. § 1182(a)(4) for reasons including that it replaces Congress’

               specific scheme for assessing who may become a “public charge,” and when

               admission may be authorized for those who cannot show they are unlikely to

               become a public charge.

          k. Defendants violate their own rules and regulations and binding norms to the

               prejudice of others. See United States ex rel. Accardi v. Shaughnessy, 347 U.S.

               260 (1954).

          l. Defendants failed to follow required procedures including notice and opportunity

               for public comment, particularly with respect to the Posting and Emergency

               Notice.

      230.     Defendants’ actions implementing the Proclamation are based on legal error; fail to

consider all relevant factors; and lack a rational explanation, and are therefore arbitrary and

capricious and an abuse of discretion, in violation of the Administrative Procedure Act, 5 U.S.C.

§ 706(2)(A).




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      231.    Defendants’ actions implementing the Proclamation are contrary to constitutional

rights, discriminating on the basis of national origin and race, thereby violating the equal

protection component of the Due Process Clause of the Fifth Amendment to the United States

Constitution, in violation of the Administrative Procedure Act, 5 U.S.C. § 706(2)(B).

      232.    Defendants’ actions implementing the Proclamation are ultra vires and in excess of

any authority granted by the Proclamation, regulation, or statute, and not otherwise in accordance

with law in violation of the Administrative Procedure Act, 5 U.S.C. § 706(2)(C).

      233.     Defendants’ actions implementing the Proclamation affect Plaintiffs’ substantive

rights and were made without observance of procedure required by law in violation of the

Administrative Procedure Act, 5 U.S.C. § 706(2)(D).

      234.    Defendants’ action are without good cause.

      235.    Defendants’ violation of the APA causes ongoing harm to Plaintiffs.

      236.    Plaintiffs have no adequate alternative to immediate review under the APA.

                             SECOND CLAIM FOR RELIEF
                                    (Equal Protection)
                 (On behalf of Resident Plaintiffs/U.S. Petitioners Subclass)

      237.    The foregoing allegations are repeated and incorporated as though fully set forth

herein.

      238.    The Due Process Clause of the Fifth Amendment states that no person will “be

deprived of life, liberty, or property, without due process of law.”

      239.    The Fifth Amendment prohibits Defendants from intentionally discriminating

against Plaintiffs and Class Members based on race, ethnicity, and/or national origin.

      240.    The Proclamation and Defendants’ actions taken to implement the Proclamation

are unconstitutional because they burden a fundamental right of Plaintiffs and Class Members




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and were motivated by intentional discrimination and/or animus based on race, ethnicity, and/or

national origin.

      241.    The Proclamation furthers no legitimate purpose, let alone a compelling one.

                              THIRD CLAIM FOR RELIEF
                                         (Ultra Vires)
                       (On behalf of All Plaintiffs, including the Class)

      242.    The foregoing allegations are repeated and incorporated as though fully set forth

herein.

      243.    The Proclamation is illegal and is therefore ultra vires.

      244.    Courts “ordinarily presume that Congress intends the executive to obey its statutory

commands and, accordingly, that it expects the courts to grant relief when an executive agency

violates such a command.” Bowen v. Michigan Academy of Family Physicians, 476 U.S. 667,

681 (1986).

      245.    The President’s attempt to indefinitely ban certain immigrants based on the inability

to obtain specific types of health insurance or pay for medical care, and to create a new ground

of inadmissibility that Congress has previously considered and chosen not to include in the INA,

exceeds Congress’s delegated power to the President's power to suspend the entry of noncitizens

and issue reasonable rules for the entry of noncitizens.

      246.    The President’s attempt to ban certain immigrants based on the inability to obtain

specific types of health insurance or pay for medical care violates constitutional separation of

powers principles because it contravenes Congress’s expressed intent to provide a certain

minimum level of coverage to all legal immigrants and citizens in the United States and to extend

certain health care-related benefits to legal immigrants.




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                              FOURTH CLAIM FOR RELIEF
                                  (Procedural Due Process)
                  (On behalf of Resident Plaintiffs/U.S. Petitioners Subclass)

       247.    Plaintiffs repeat and incorporate by reference each of the foregoing allegations as

if fully set forth herein.

       248.    The Proclamation state that an individual seeking an immigrant visa must

demonstrate, “to a consular officer’s satisfaction,” that she either “will be covered by approved

health insurance” within 30 days of her entry to the United States, or “possesses the financial

resources to pay for reasonably foreseeable medical costs.” The Emergency Notice and Posting

published by the Department of States confirm that consular officers will be questioning visa

applicants and asking for medical and financial documentation. The Emergency Notice,

furthermore, specifies that “reasonably foreseeable medical expenses” are “those expenses related

to existing medical conditions, relating to health issues existing at the time of visa adjudication.”

       249.    A prospective immigrant’s entry to the United States therefore depends on a

determination made by a consular officer with no medical training to accurately assess existing

medical conditions and health issues existing at the time of the visa adjudication.

       250.    The Due Process Clause of the Fifth Amendment to the U.S. Constitution provides

that “[n]o person . . . shall be deprived of life, liberty, or property, without due process of law.”

       251.    Congress has created statutory rights related to the petitioning for and issuance of

visas and other immigration benefits.

       252.    Federal agencies have created regulatory rights related to the petitioning for and

issuance of visas and other immigration benefits.

       253.    Individuals must be given due process prior to the deprivation of these statutory

and regulatory rights.




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      254.    Additionally, United States citizens and lawful permanent residents have

constitutionally protected liberty interests in family reunification. Individuals must be given due

process prior to any deprivation of these liberty interests.

      255.    Defendants’ actions, as set forth above, deprive individuals, including Plaintiffs and

their members or clients, of the aforementioned statutory and regulatory rights, and liberty

interests, without due process.

      256.    Defendants’ actions, as set forth above, thus violate the procedural due process

guarantee of the Due Process Clause of the Fifth Amendment.

                                    PRAYER FOR RELIEF

 WHEREFORE, Plaintiffs pray for the following relief:

 A.     A preliminary and permanent injunction enjoining Defendants, their officials, agents,

        employees, assigns, and all persons acting in concert or participating with them from

        implementing or enforcing any part of the Proclamation;

 B.     A declaration pursuant to 28 U.S.C. § 2201 that the Proclamation is, in its entirety,

        unlawful and invalid;

 C.     An order awarding Plaintiffs costs of suit, and reasonable attorneys’ fees and expenses

        pursuant to any applicable law;

 D.     Such other relief as this Court deems equitable, just and proper.



Dated: October 30, 2019                               Respectfully Submitted,
                                                      /s/ Stephen W Manning
Karen C. Tumlin*                                      Stephen Manning (SBN 013373)
karen.tumlin@justiceactioncenter.org                  smanning@ilgrp.com
Esther Sung*                                          Nadia Dahab (SBN 125630)
esther.sung@justiceactioncenter.org                   nadia@innovationlawlab.org
JUSTICE ACTION CENTER                                 INNOVATION LAW LAB



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 P.O. Box 27280                                  333 SW Fifth Avenue #200
 Los Angeles, CA 90027                           Portland, OR 97204
 Telephone: +1 323 316-0944                      Telephone: +1 971 801-6034
                                                 Facsimile: +1 503 241-7733

                                                 Scott D. Stein*
                                                 sstein@sidley.com
                                                 Kevin M. Fee*
                                                 kfee@sidley.com
                                                 SIDLEY AUSTIN LLP
                                                 One South Dearborn St.
                                                 Chicago, IL 60603
                                                 Telephone: +1 312 853-7520
                                                 Facsimile: +1 312 853-7036

                                                 Jesse Bless*
                                                 jbless@aila.org
                                                 AMERICAN IMMIGRATION LAWYERS
                                                 ASSOCIATION
                                                 1301 G. Street, Ste. 300
                                                 Washington, D.C. 20005
                                                 Telephone: +1 781 704-3897
                                                 Facsimile: +1 202 783-7853



* Application for admission Pro Hac Vice forthcoming




CLASS ACTION COMPLAINT                                                             97
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                                                                                                   000394
 • • • CWDA           Advancing Human Services
                                                                         925 L Street, Suite 350
                                                                         Sacramento, CA 95814
                                                                         p: 916.443.1749 | f: 916.443.3202
                      for the Welfare of All Californians                cwda.org



October 31, 2019

Department of State Desk Officer, Office of Information and Regulatory Affairs, Office of Management
and Budget
Department of State’s Bureau of Consular Affairs, Office of Visa Services


RE: EMERGENCY REVIEW COMMENT ON IMMIGRANT HEALTH INSURANCE
    COVERAGE: DOCKET NUMBER: DOS-2019-

To Whom It May Concern:

The County Welfare Directors Association of California (CWDA) is responding to the Request for Office
of Management and Budget (OMB) Emergency Review: Immigrant health Insurance Coverage. CWDA
represents the human services directors in California’s 58 counties. California has the largest state-
supervised, county-administered health and human services system in the nation.

We object strongly to the determination that instituting a two-day comment period and the underlying
Presidential Proclamation is in response to an ‘emergency’. There is no emergent crisis with respect to
immigrants requesting to enter the United States legally. The Presidential Proclamation will likely have
the effect of denying thousands of law-abiding immigrants’ entry into the United States.

Effective November 3, 2019, the Proclamation targets individuals who are complying with U.S.
immigration law and are seeking a family-based immigrant visa , but who may be unable to
demonstrate that they will have health insurance within 30 days of entering the country. The
proclamation would affect people abroad who wish to join their U.S. citizen or legal permanent resident
(LPR) spouse or fiancé; children of LPR’s who are 18-21 years of age; adults who seek to join their U.S.
citizen or LPR parents; or parents of U.S citizen children, among other groups. The sweeping
proclamation also would deny entry into the country if U.S. consular officers determine that the
applicant may not be able to pay for “reasonably foreseeable medical expenses.”

Under the proclamation, persons would be denied entry if they would otherwise be eligible for public
health care coverage programs, such as the Affordable Care Act (ACA)/Covered California, including the
subsidies contained in the program, and Medicaid/Medi-Cal. Such a policy undermines the goals of
those programs to cover all who are here legally and meet the income eligibility guidelines.

Data and research demonstrate that immigrants contribute greatly to our economy and social fabric.
In California, we have implemented state and local policies recognizing and supporting those
contributions. Furthermore, Congress made a policy choice to make lawfully residing immigrants
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eligible for subsidized marketplace coverage because doing so advances the health of our nation. The
Proclamation ignores those federal, state and local policies enabling otherwise eligible legal immigrants
to purchase comprehensive public health insurance. It allows, however, the purchase of
Administration-supported, non-ACA compliant short-term health plans which do not provide
comprehensive care nor protect the consumer. This is a disservice to our communities and to the legal
immigrants who help to enhance our diverse country.

The Migration Policy Institute estimates that the practical effect of the policy could exclude two-thirds
of future immigrants. The majority of intending immigrants will be unable to meet the 30-day window
of either identifying a private health insurance plan or finding a job providing such coverage.

CWDA opposes the Proclamation and urges that it be rescinded. It is contrary to our nation’s historic
ethos of welcoming immigrants who have contributed to America economically and culturally. The
proclamation is even more egregious in that it is denying entry to the U.S. of those immigrants who
are abiding by U.S. immigration law and wish, appropriately, to be with their families.

Thank you for the opportunity to provide comments. If you have any questions about them, please
contact Cathy Senderling-McDonald, CWDA Deputy Executive Director, at csend@cwda.org or
916.443.1749, or Tom Joseph, Director of CWDA’s Washington Office at tj@paragonlobbying.com or
202.898.1446.

Sincerely




Frank J. Mecca | Executive Director
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                COVERED
                CALIFORNIA



October 31, 2019


Edward J. Ramotowski
Deputy Assistant Secretary
Office of Visa Services
Bureau of Consular Affairs
U.S. Department of State
600 19th Street, NW
Washington, DC 20036

Dear Mr. Ramotowski:

With this letter, Covered California respectfully provides comments regarding the
“Notice of Information Collection Under OMB Emergency Review: Immigrant Health
Insurance Coverage.” Covered California is California’s state-based Marketplace
through which consumers can purchase affordable, high-quality health coverage.
Central to Covered California’s mission are efforts to enroll eligible Californians into
coverage to help reduce the state’s uninsured rate and maintain a healthy risk pool that
makes coverage more affordable for the entire market including consumers who
purchase coverage outside of Covered California. As such, Covered California has
significant concerns with the recent Presidential Proclamation on the Suspension of
Entry of Immigrants who will Financially Burden the United States Healthcare System
(PP 9945 or Proclamation).

Since the launch of the Affordable Care Act, California has made remarkable progress
in reducing the rate uninsured individuals, which has reached historic lows. Over 1.4
million California consumers are enrolled in coverage through Covered California. The
strong, stable enrollment in Covered California has contributed to the state’s standing
as having one of the healthiest risk pools in the nation, and some of the lowest average
premium rate changes in the country. This year, California enacted a landmark
package of health reforms creating a state subsidy program for low- and middle-income
individuals (including lawfully present immigrants) and restoring the individual mandate
and penalty at the state level which is also applicable to lawfully present immigrants.
These investments demonstrate California’s continued commitment to expanding
access to affordable coverage.

We are strongly concerned that the federal policy set forth in the PP 9945 would not
only take California backward, but also the nation as a whole. The PP 9945 will
undermine and introduce significant risks to efforts made to ensure all lawful residents
have access to comprehensive affordable health care in California and states across
the country.

COVERED CALIFORNIA~                  1601 EXPOSITION BOULEVARD, SACRAMENTO, CA 95815                           WWW.COVEREDCA.COM

BOARD MEMBERS    Dr. Mark Ghaly, Chair   Paul Fearer   Jerry Fleming   Dr. Sandra Hernandez   Art Torres   EXEC. DIRECTOR Peter V. Lee
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Below is an outline of significant implications of the PP 9945 that merit serious
consideration:

   1. PP 9945 effectively precludes visa-seeking immigrants from gaining access
      to health insurance coverage through Marketplaces, directly contravening
      the Affordable Care Act and the stated purpose of the Proclamation itself.
      PP9945 does not contemplate its practical details of how such a policy would be
      carried out and does not demonstrate sufficient consideration for the procedural
      norms and requirements that must be carried out in the health coverage arena.
      For example, while the Proclamation contemplates that unsubsidized commercial
      coverage obtained through a Marketplace like Covered California would qualify
      as adequate coverage, it fails to recognize the practical challenges, if not
      impossibility, of establishing proof of such coverage while abroad. Under federal
      law and regulations associated with the Affordable Care Act, an individual
      applying for commercial unsubsidized coverage through a Marketplace must
      show proof of residency in that state, as well as lawful presence. This
      contradicts PP 9945’s supposition that the individual could have already obtained
      such coverage or be able to prove that it is forthcoming in order to obtain a visa
      to enter the country.

       PP 9945 also creates a catch-22. Under existing federal law, immigrants cannot
       access insurance through Marketplaces without verifying residency and lawful
       presence through a strict eligibility process. However, under PP 9945, those
       seeking to establish residency and lawful presence through proper immigration
       channels cannot do so without verifying insurance status. As a result, individuals
       who otherwise could become lawfully present immigrants and qualify for health
       insurance under federal law will be barred from both aims. This paradox is
       contrary to federal law and does not logically follow in its practical result.

   2. PP 9945 does not hold regard for the economic and health benefits of
      ensuring health insurance coverage for all immigrant residents, including
      the working poor who are working toward economic security. California has
      a longstanding array of public coverage programs, including the recently enacted
      Individual Market Assistance Program which reduces premium costs for eligible
      individuals with household incomes at or below 600 percent of the federal
      poverty level (FPL). This affordability support is available to lawfully present
      immigrants, at the direction of the Affordable Care Act and now under the
      direction of California state law. PP 9945 risks undermining those legal rights by
      introducing countervailing requirements potentially blocking access to such
      coverage. To do so undermines the health and economic security of those
      immigrants, their communities, and the state economy at large. Covered
      California’s experience demonstrates that providing affordable coverage
      opportunities along with requiring coverage is an effective way to reduce
      uncompensated care costs. The Proclamation fails to acknowledge the criticality
      of affordable options to increasing insurance coverage rates.
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    3. Because immigrants will not be able to seek health insurance through
       Marketplaces, PP 9945 undermines the health of California’s insurance
       market, potentially affecting coverage for immigrants and non-immigrants
       alike. Beyond the immediate harms to lawfully present immigrants being barred
       from accessing insurance through Marketplaces like Covered California, the
       Proclamation undermines our commercial insurance market by seeking to excise
       lawfully present immigrants from the coverage to which they are legally entitled.
       Lawfully present immigrants in California are more likely to represent “favorable”
       insurance risk, because they are often younger, healthier, or lower-than-average
       utilizers of health care services when compared to the general insured
       population. Several studies have concluded that immigrants are net contributors
       to both private coverage and Medicare, paying more in insurance premiums than
       they receive in benefits.

       Similarly, Covered California’s own data demonstrates that its immigrant
       enrollees, on average, have 10 percent lower medical claims than its citizen
       members, a variance attributable both to the lower age of immigrant enrollees as
       well as lower utilization of medical services. As a result, declines in take-up or
       retention of immigrant coverage related to the proposed rules could have a
       negative impact on the overall risk pool—in turn leading to commercial market
       premium increases for citizens and immigrants alike. Increased premiums will
       lead to higher uninsured rates among all Americans, increasing the
       uncompensated care burden the Proclamation purports to address. By
       attempting to discourage immigrants from enrolling in coverage to which they are
       legally entitled, the action of the federal Administration and result of this
       Proclamation is likely to hurt Californians through increases in commercial
       market premiums.

       Of further concern, the proclamation seeks to permit Short-Term, Limited
       Duration Insurance (STLDI) coverage, which does not comply with the Affordable
       Care Act’s consumer protections.1 California law prohibits carriers from offering
       or selling STLDI in California because such products have been widely
       demonstrated to lack critical comprehensive coverage and can be prohibitively
       expensive for individuals with pre-existing conditions, and often exclude
       coverage of pre-existing conditions altogether. PP 9945 will divert qualified legal
       immigrants from meaningful, comprehensive coverage to which they are legally
       entitled and direct them towards companies that engage in medical underwriting,
       spend the majority of premium revenue on non-medical expenses, and are
       known to exclude core benefits like maternity, mental health, and substance use
       disorder treatment threatens both the individual health and financial well-being of
       this population. STDLI can also lead to increased uncompensated care costs
       when the care consumers need is not covered or exceeds their coverage limits.




1Because visa applicants residing abroad cannot obtain even unsubsidized health insurance through the
Marketplace until they arrive in the United States, STDLI may well be the only option available to
consumers in states that allow such plans.
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   4. A two-day comment period is not sufficient for a Presidential Proclamation
      of this magnitude. PP 9945 would profoundly affect our immigration and health
      care systems. Two days is wholly inadequate to allow for sufficient public
      consideration of a policy with of this significance. The policies set forth in the
      Proclamation are not rooted in an emergency; and, given its sweeping impacts
      and likely detriments to access to coverage and market impact, the public
      deserves to have sufficient time to understand and accordingly comment on PP
      9945.

Given all of these concerns, Covered California urges the withdrawal of PP 9945 for
reconsideration of the policies therein. This policy would significantly and negatively
impact California and the rest of the nation by deterring eligible individuals from getting
the health care coverage they need.


Sincerely,


Peter V. Lee
Executive Director

cc: Covered California Board of Directors
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  Working Together for a Healthy Community

  To:         Office of Management and Budget, State Desk Officer in the Office of Information and Regulatory Affairs
              The Department of State’s Bureau of Consular Affairs, Office of Visa Services

  Re:         Public Notice: 10934. Notice of Information Collection Under OMB Emergency Review: Immigrant Health
              Insurance Coverage (Docket Number: DOS–2019–0039)

  To whom it may concern:

  The undersigned organizations representing health centers in California and Nationwide, write in response to the
  Emergency Submission Comment on Immigrant Health Insurance Coverage. As safety net providers to nearly 7
  million patients in California and 29 million patients nationwide, we are deeply concerned about how this
  proclamation will impact our communities and patients. Already, community health centers (CHCs) have seen an
  increase in mental health concerns in our patient population due to fear and confusion about hurtful immigration
  policies that this Administration has proposed. Given that the form we are asked to use for comment was just
  made public late yesterday, we strongly request that the proclamation be rescinded in its entirety, and ask
  that a proper public comment period be provided.

  CHCs are the backbone of the care delivery system in California and the nation, ensuring access to medical,
  behavioral, oral health, and social services for the most vulnerable populations, including 1 out of every 3 Medi-Cal
  (Medicaid) beneficiaries. CHCs provide healthcare services to California’s most vulnerable populations, including
  over 340,000 homeless patients. By mission CHCs focus on providing culturally and linguistically diverse services to
  low income and non-English speaking communities regardless of their ability to pay and immigration status. Health
  centers are also rooted in their communities and have a history of implementing models of care that are responsive
  to their community’s needs, particularly through integration of primary care and behavioral health services. However,
  this and other policies being promulgated by this Administration have created significant barriers in our patients’
  access to health care services and benefits.

  The undersigned in this letter are representing the needs and concerns of community health centers and their
  patients. CaliforniaHealth+ Advocates, the advocacy affiliate of the California Primary Care Association, advocates
  on behalf of California’s 1,330 community health centers that provide high-quality, comprehensive care to nearly 7
  million people in California each year.

  The undersigned strongly oppose the underlying October 4, 2019 proclamation mandating that those granted a visa
  from abroad show that they will be covered by insurance within 30 days after entering into the country for the
  following reasons:
       1. The proclamation increases barriers to healthcare access
       2. The proclamation will Increase healthcare costs
       3. The information collection is not necessary for the proper function of the Department of State (Department) &
          the Department has no expertise in implementing a health insurance mandate, which does not furthers the
          objectives of the Department.
       4. We have serious concerns about the validity of the methodology used for data collection and the assumptions
          made.
       5. This is an improper use of Emergency Comment Submission
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Proclamation Increases Barriers to Healthcare Access
This proclamation is not about improving access to health care or making sure hospitals, health centers and
healthcare providers are paid since, according to a report by One Nation Coalition, the “immigrants in the United
States are less likely to use public benefits than U.S. born individuals.”1 More specifically, in California where we
have decided to expand access to health benefits for our immigrant populations, we see that 70 percent of Medicaid
/ Medi-Cal enrollees are U.S. born citizens.2 Given this data, we believe this proclamation is responding to a non-
existing issue. Instead, it serves as yet another constraint on legal immigration, imposing a wealth test that will
disproportionately harm people of color.

This new policy—which is slated to take effect just days after the Affordable Care Act’s marketplace open enrollment
period starts—is likely to create additional fear and confusion among families that include immigrants and may
prevent some from enrolling. Some people who are not subject to this assessment may fear that signing up for
coverage with ACA premium tax credits or Medicaid will negatively impact their families’ immigration goals. For
example, a family may not sign their children up for Medicaid because they fear it could leave a parent unable to
immigrate to the United States. As a result, the proclamation will raise uninsured rates among lawfully present
immigrants and potentially their U.S. citizen family members. That, in turn, will increase uncompensated care costs,
exacerbating the very problem the proclamation purports to address.3

Proclamation could Increase Healthcare Costs
The proclamation threatens to undermine the health of U.S. citizens as well as the stability of the healthcare delivery
system. It restricts immigrants’ ability to purchase comprehensive health insurance available through the Affordable
Care Act (ACA) marketplaces. Congress elected to make lawfully residing immigrants eligible for subsidized
marketplace coverage because doing so advances the health of our nation. The proclamation puts the nation’s
health at risk by ignoring Congress and instead requiring individuals to buy costly and less comprehensive health
coverage.

Notably, the proclamation allows short-term plans, which do not comply with the ACA’s consumer protections, to
qualify as “acceptable” coverage. Frequently referred to as “junk plans,” short-term plans lack comprehensive
coverage and can be prohibitively expensive for individuals with pre-existing conditions. This is not promoting health
insurance—this is putting a barrier between individuals and the coverage for which they are eligible. In fact, forcing
immigrants to avoid comprehensive insurance could increase uncompensated care costs for providers, when
patients cannot afford needed health care that is not covered by these bare-bones plans. If individuals opt for such a
plan and they get sick or injured, they may not be able to afford out-of-pocket expenses. With consumers unable to
pay out of pocket expenses, costs will rise for all, as medical providers and the health system will be left to carry the
burden.

Evaluating the Information Collection Process per Department’s Request
Per the Department’s request, below are some thoughts on the information collection process. We strongly believe
that the Department is underestimating the burden of this request to both the applicant and Department itself.

Evaluate whether the proposed information collection is necessary for the proper functions of the Department.

The information collection is not necessary for the proper function of the Department. The information collection is
implementing a policy that will create a health insurance mandate for certain individuals seeking lawful immigration to
the United States. This in no way advances any legitimate objective of the State Department, and the policy in fact
undermines some of its stated objectives.

The Department has no expertise in implementing a health insurance mandate and the mandate serves no purpose
that furthers the objectives of the Department. Design and implementation of mandates to obtain health insurance is
extremely complicated, as evidenced by the extensive deliberations and rule-making the Department of the

1 One Nation Commission. One Nation Built on the Strength of Immigrants. October 2019.
2 Nowrasteh A, Orr R. Immigration and the Welfare State: Immigrant and Native Use Rates and Benefits Levels for Means-
Tested Welfare Entitlement Programs. Ma 10, 2018. Cato Institute. https://www.cato.org/publications/immigration-research-
policy-brief/immigration-welfare-state-immirant-native-use-rates.
3 Brief of Amici Curiae, City and County of San Francisco and County of Santa Clara v. U.S. Citizenship and Immigration

Services, et al., No. 4:19-CV-04717, https://www.aha.org/system/files/media/file/2019/09/amici-curiae-brief-of-aha-hospital-
groups-on-dhs-public-charge-rule-9-11-1019.pdf
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Treasury, the Department of Health and Human Services, and other agencies undertook over several 000402
                                                                                                    years to
implement the Affordable Care Act. The Department lacks the expertise that those agencies relied upon and thus is
certainly incapable of designing a workable mandate without a meaningful opportunity for public comment to
enlighten it about the various choices involved.

Evaluate the accuracy of our estimate of the time and cost burden of this proposed collection, including the validity of
the methodology and assumptions used.

The undersigned have serious concerns about the validity of the methodology used for data collection and
assumptions used. Consular officers will be required to ask immigrant visa applicant verbally whether they will be
covered by health insurance within 30 days of entry into the United States and to also provide details of such
coverage (identify insurance plan, date coverage will begin and other information about the insurance the consular
deems necessary.) Problems with this method include:
    Many consumers will not be able to enroll in health insurance coverage until they enter and begin residing in
      the state in which they will obtain coverage.
           o This means they are unlikely to have detailed information about the coverage when they are applying
              for their status. For example, in most cases they won’t be able to provide an accurate effective date
              since their insurance start date will be contingent on the move to the state in which they will enroll in
              coverage.

      The method gives consular officers discretion on requesting other information that is related to the insurance.
          o These officers are not health insurance experts and are unlikely to know what would be a reasonable
             and not reasonable request for information related to coverage, or how to evaluate information they
             are given. Requiring them to make judgments in areas where they have neither expertise nor
             information will result in arbitrary, inconsistent decisions.

      It’s especially troubling that this information gathering process depends on a verbal collection and
       assessment of information.
            o For those visa applicants that do have information about expected coverage, it will be unclear to them
               what information they should be prepared to provide when verbally asked for the information.
            o Decisions made in this verbal data collection will also be difficult to challenge if a visa applicant feels
               he/she was improperly denied or delayed entry.
            o Consular officers, with the best of intentions, may make erroneous decisions based on
               miscommunications with applicants that neither party can detect from what they recall of a verbal
               request. Health insurance policies, and important transactions relating to those policies, are almost
               uniformly conducted in writing precisely because of the complexity of these issues and the high
               potential for error. When consular officers, rather than health insurance professionals, are involved
               the risk of error increases.

Additionally, your estimate of the burden of this information collection seems erroneous for several reasons.
    First, because of the likelihood of miscommunications and misunderstandings, many applicants will have to
       supply information several times.
       o The lack of coherent standards for consular officers to rely upon in assessing what applicants supply
            means that many are likely to request additional information several times before making a decision.

      Second, ten minutes is an optimistic estimate of the amount of time each applicant will be required to spend
       on these requests.
       o Most insurance will not be available until the applicant arrives sometime in the future. Proving the
           likelihood of future insurance that is contingent on the immigrant’s arrival likely will require collecting
           numerous documents not otherwise within the applicant’s control, such as detailed conditional offers of
           employment and the health insurance policies of prospective employers.
       o Gathering this information will require hours or days, not minutes.

      Third, those seeking to qualify on the basis of having sufficient funds to cover treatment for pre-existing
       illnesses may need to obtain detailed information about their diagnoses, the costs of treatment in the U.S.
       (which may be very different than those with which they are familiar in their country of origin), and the policies
       of prospective health care providers.
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           o   Many health care providers have multiple rate structures: one for Medicare, another for000403
                                                                                                          Medicaid, still
               more for various private health insurance plans, and even more for persons seeking to pay out-of-pocket.
               They will undoubtedly face difficulty determining which rate structure the provider will apply to them, which
               would require time-consuming back-and-forth interactions with these prospective providers.

Improper Use of Emergency Comment Submission
We also strongly object to OMB allowing this notice of information collection to have a 48-hour comment period
under an emergency review process. Emergency processing is intended to be used in cases when events outside of
the control of an agency require immediate action that will not allow for compliance with the normal comment
process. Such examples include: responding to a natural disaster, meeting a deadline required by law or a court
ruling, or preventing severe harm to the public if the completion of the process is delayed.4 In this case, the
government had full control over the date it issued the Proclamation and the implementation date it selected.

The agency has offered no argument for why the Proclamation must take effect immediately or what harm would
result from delaying implementation to allow for a more reasonable comment period. The extremely short comment
period has not allowed for experts in the field who might provide valuable insight to the government or stakeholders
that will be directly and indirectly impacted by this new information collection process to fully analyze or understand
the problems it will create. With additional time, we anticipate that we would identify additional ways the proposed
process is burdensome and unworkable for both individuals and agency staff.

Impact to Communities
To be clear, this rule does not only impact those abroad attempting to enter the country; it also impacts our patients
who may be sponsoring family members, and possibly those forced to leave and reenter the country through their
green card applications. We appreciate the intent of lowering health costs, but this proclamation does the exact
opposite. It benefits health insurance corporations, especially those selling “junk plans,” while leaving the health care
safety net to cover the remaining costs. Already we have had patients express fear and concerns in using services
due to confusion of this proclamation and how it may impact their ability to sponsor a family member or obtain their
green card.

As organizations representing the needs of safety net providers of whom this proclamation claims to be
helping, we ask that the Administration NOT move forward with implementation, and rescind this
proclamation in its totality. The proclamation will help to increase, not decrease, health care costs while also
possibly encouraging more illegal immigration since this would create yet another obstacle to legally immigrating to
this country.


Sincerely,

      -    CaliforniaHealth+ Advocates
      -    Asian Health Services
      -    San Francisco Community Clinic Consortium
      -    Association of Asian Pacific Community Health Operations
      -    Foothill Community Health Center
      -    Washington Association for Community Health
      -    North East Medical Services
      -    Nevada Primary Care Association
      -    Community Health Network of Washington
      -    Maple City Health Care Center
      -    Kheir Clinic
      -    International Community Health Services
      -    Community Clinic Association of Los Angeles County
      -    HealthRIGHT 360
      -    Clinica Romero
      -    Venice Family Clinic
      -    AltaMed
      -    Salud Para La Gente


4   5 CFR § 1320.13 - Emergency processing.
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                                     GEORGETOWN LAW


David A . Super
Professor of Law



                                                    October 31, 2019




   Ms. Megan Herndon                                         State Desk Officer
   Mr. Edward J. Ramotowski, Deputy Ass ' t Sec'y            Office of Information and Reg. Affairs
   Office of Visa Services                                   Office of Management and Budget
   Bureau of Consular Affairs                                725 17th St., NW
   U.S. Department of State                                  Washington, DC 20503
   2201 C St NW
   Washington, DC 20520

                                                    Re:      Information Collection Burden Assessment
                                                             DS-5541 -- Public Notice: 10934
                                                             84 Fed. Reg. 58,199 (Oct. 30, 2019)

   Dear Ms. Herndon, Mr. Ramotowski and Desk Officer:

           I am writing in response to the request for public comments published yesterday con-
   cerning the information collection burden associated with the Department 's planned policy of
   barring entry by immigrants who cannot demonstrate that they will have certain kinds of health
   insurance coverage when they arrive in the United States.

           I note at the outset that a two-day comment period cannot possibly gather the kinds of
   comments that can adequately help OIRA and the Department evaluate either the accuracy or the
   advisability of this information collection activity. Most people who might have expertise that
   could help the agencies will be unaware of this notice until well after the comment deadline has
   passed. Even those that do see it are unlikely to be able to drop all of their other commitments to
   comment so quickly. And even among those that do comment, the depth, breadth, and precision
   of their comments will undoubtedly suffer. That certainly is the case for me: these comments
   are at best a superficial overview of what I would have developed had your agencies provided a
   normal comment period.

           Although the notice suggests that emergency approval is being sought, it gives no basis
   for granting such treatment. Emergency approvals are limited to circumstances beyond the
   agency's control and that the agency could not anticipate. Surely the State Department was
   aware of, and consulted about, the President 's Proclamation. Moreover, if it cannot obtain a




                                 600 New Jersey Avenue, NW Washington, DC 20001-2075
                                     PHONE 202-661-6656 das62@law.georgetown.edu
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lawful estimate of the information collection burden, consistent with the Paperwork Reduction
Act and informed by the results of a standard public comment period, by November 1, it can and
should postpone implementation of this policy. No law requires action by November 1, and
nothing in either the notice or the Proclamation gives any basis for believing that the problems
resulting from uninsured immigrants have suddenly gotten worse. To the contrary, as this
Administration has reduced immigrants' entry into this country through various other means, the
number of newly admitted immigrants needing uncompensated medical care has surely declined.
Thus, taking adequate time to develop, seek comments on, and scrutinize an estimate of the
burdens of the information collection will not cause any significant harm, much less a harm so
great as to necessitate the approval of this information collection estimate. Indeed , the State
Department will have to implement this process after November 1 (unless OIRA does not plan to
read or consider the comments it receives) as the deadline for comments expires only moments
before November 1 begins. OIRA could not possibly consider all comments received by this
accelerated deadline in time to revise these estimates before November 1. If implementation
must be delayed beyond November 1 anyway, it should be further delayed to permit proper
public comment. As the Department's notice points out, the Proclamation only provides that the
Secretary of State "may" establish standards to implement this policy; it imposes no deadline on
the establishment of those standards. The Department should do so in a thoughtful and trans-
parent manner, soliciting public comment in the usual manner for a period sufficient to draw
useful information from the public.

       I turn now to the specific questions on which the agency sought comment.

Whether the proposed information collection is necessary for the proper functions of the
Department.

         This information collection is not necessary for the Department to function properly. The
Department is ill-equipped to ascertain whether someone will have health insurance upon their
arrival in the U.S. because few people living abroad have U.S. health insurance - and fewer still
have it when they are moving to the U.S. for the first time. Therefore, if the Administration is
going to change policy to address uninsured immigrants receiving uncompensated care, that
should be done after the immigrants have entered the U.S. and their actual insurance status may
be addressed - and by agencies with far more expertise in the domestic health insurance system
than the State Department has or can plausibly and efficiently gain.

        Consular officers play a vital role in screening prospective entrants to safeguard the
interests of this country and its people. Adding a new, complex responsibility that, even if
perfectly executed will glean only tentative or speculative conclusions about whether prospective
entrants will receive uncompensated care, risks distracting these officers from functions that only
they can perform.
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        At most, consular officers should seek declarations from potential entrants of their intent
to seek health insurance upon their entry to the U.S. and leave follow-up either to USCIS or to
federal or state officials with experience regulating health insurance or providers. The value of
any additional information consular officers will obtain beyond that intent is suspect at best.

        As Justice Jackson noted in his famous concurrence in Youngstown Sheet & Tube Co. v.
Sawyer, 343 U.S. 579 ( 1952), the President's power is at its nadir when addressing matters on
which Congress has spoken in an inconsistent way. In passing the Patient Protection and
Affordable Care Act in 2010, Congress made a very specific judgment about which immigrants
could, and could not, receive publicly funded health insurance through the health insurance
exchanges. During the debates leading up to the enactment of that statute, as well as debates in
prior years concerning the Personal Responsibility and Work Opportunity Reconciliation Act of
1996 (PRWORA, Public Law No. 104-193) and various amendments to the Medicaid statute
(Title XIX of the Social Security Act), the same considerations that the President cited in his
Proclamation were raised. Congress ended up resolving those concerns in favor of barring some
immigrants from publicly financed health care but finding immigrants' receipt of Medicaid and
other forms of subsidized health care to be in the national interest for a much wider array of
immigrants than the Proclamation does. The President may not unilaterally amend an act of
Congress. Clinton v. City of New York, 524 U.S. 417 (1998).

         At the same time Congress was enacting PRWORA, it also considered Illegal Immig-
ration Reform and Immigrant Responsibility Act of 1996 (IIRIRA, Division C of Public Law No.
104-208). Part of the debate on IIRIRA was how immigrants' potential receipt of public bene-
fits, particularly Medicaid, should affect their admissibility to the United States. Here again,
precisely the concerns the Proclamation articulates were raised, vigorously debated, and rejected
in favor of an approach built around stronger affidavits of support. Here again, the President
lacks the power unilaterally to overrule the choices Congress made in a duly enacted statute.

        Many of those whom consular officers will be interviewing are people whom Congress
determined would be appropriate for Medicaid or insurance premium tax credits. The President
may propose legislation to change that law, but he is not free to ignore it himself and lacks the
power to authorize consular officers to disregard it. Burdensome information requests to pursue
a policy Congress has considered and rejected is not a proper function for a Department com-
posed entirely of officers sworn to uphold and defend the Constitution and laws of the United
States. If the Department will not abandon these inquiries altogether, it should pare them down
to the bare minimum as the less-than-tenuous legal authority underlying them cannot support a
greater burden. Because the vast majority prospective immigrants cannot obtain health insurance
prior to entering the U.S., these inquiries at most seek speculation. They therefore should be
limited to asking whether the immigrant intends to seek health insurance upon arriving in the
United States without any pretense of gathering further information that is inherently unreliable.
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        Moreover, the Proclamation operates effectively as an individual health insurance man-
date. Here again, Congress - this time at the behest of this very Administration - has rejected
the concept of individual insurance mandates as a means of reducing uncompensated care when
it eliminated the penalties for lacking health insurance under the Affordable Care Act. Whether
or not that choice was wise, Congress has made it and the President declined to veto that legis-
lation. The President is not empowered to reverse that approach to uncompensated health care
now in the absence of a further congressional enactment.

        This activity also is an inappropriate function for the Department because, although the
federal government employs numerous experts in health insurance, they are not housed in the
Department. Some of the questions about prospective issuance of policies and estimation of
their cost are exceedingly complex. Countless actuaries, economists, health care experts, and
other experts in several branches of the Department of Health and Human Services, the Depart-
ment of Veterans Affairs, the Department of the Treasury, and other departments have spent
years seeking to understand and regulate these processes. Consular officers, whose primary
responsibilities are to facilitate beneficial immigration while keeping our country safe, lack this
training and expertise. Consular interviews appropriately focus on a prospective immigrant's
past, her or his present situation, and her or his plans and intentions upon arriving in the United
States. The information collection proposed here goes far beyond that to seek proof of concrete
future events that are almost certainly unprovable - the issuance of health insurance - and that
cannot be understood without expertise and training consular officers do not have and cannot
plausibly be given consistent with the State Depaitment's mission. These matters should be
handled by other agencies whose missions include understanding and intervening in the health
insurance market.

Whether the Department's estimate is accurate in terms of the time and cost burden of
this proposed collection, including the validity of the methodology and assumptions used.

        The Department's estimate is highly implausible for several reasons. Its three most
serious flaws are in the likely number of respondents, in the number of times each prospective
immigrant will be subject to the collection request, and in the likely time required to comply with
it. Were the agency to provide a more adequate comment period, other defects (and more detail
on these defects) likely would become apparent on more careful analysis than time permits here.

        The estimate assumes that only immigrants applying for entry to the United States will be
subject to the information request. That is incorrect. Much of the information sought will be
available only from their sponsors in the U.S. or from organizations assisting immigrants through
the resettlement process. Although the request will formally be directed at the prospective im-
migrants, if it is obvious that other persons within the U.S. will, in fact, be the ones having to
comply, they should be included as respondents in the burden assessment. For example, even
though the IRS collects certain information directly from employers, it is understood that em-
ployers would be unable to provide that information if they did not, in turn, demand it from their
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employees. It is inconsistent with the purpose and terms of the Paperwork Reduction Act to
obscure the true burden of an information request in this manner.

        The health insurance system in the United States is extremely complex and idiosyncratic.
It may well be the most complicated in the world, and it certainly is very different from any other
system with which a prospective immigrant may be familiar. Few prospective immigrants will
understand how it works, what steps are necessary to obtain health insurance coverage, the dis-
tinctions between having a policy in their own right and being included on the policy of another,
the difference between various levels of coverage, and so forth. Naturally, they will turn to the
persons assisting their entry and prospective resettlement in the U.S. for guidance on these mat-
ters. Those persons may then have to do research with their own insurance carriers to determine
if the prospective immigrant can be added to their coverage and with the insurance exchange or
other providers and provider networks to determine the availability of coverage for the prospec-
tive immigrant. Non-profit organizations and other entities assisting immigrants' resettlement
will need to make inquiries of health insurance providers with which they may be unfamiliar,
potentially across several markets, to ascertain the availability of coverage. Because the Pro-
clamation specifies non-subsidized coverage, inquiries of the most straightforward and trans-
parent sources of health insurance, such as Medicaid, will be of no avail. Moreover, because it
recognizes many forms of coverage that do not operate through the Affordable Care Act's ex-
change system, a long series of individual inquiries may be necessary to garner the information
that the consular officers will be seeking. These inquiries are likely to take several hours in
many cases and will almost never be brief and simple. These respondents should be included in
the estimate along with a reasonable approximation of the burdens they bear.

        The estimate assumes that each visa applicant will need to provide information only once.
Under the policy as laid out in the Proclamation, that is unlikely. Because few prospective im-
migrants can prove extant coverage before entering the country, they will have to reach a level of
suggestive evidence that suffices to win the consular officer's approval. The Proclamation and
the abstract of the policy published in the Federal Register offer little guidance as to what that
evidence might be. In practice, many immigrants - when faced with the prospect of being barred
from entry to this country, and perhaps the chance to reunify with their family - will need to
make several efforts to produce sufficient evidence to win over the consular officer.

        Finally, the estimate of ten minutes per inquiry is absurd. Because few health insurers
will issue policies to someone who has not yet arrived in the U.S. - and who hence does not have
residence in any of the states those insurers serve - the questions here are inherently complex
and speculative. With the vast majority of prospective immigrants unable to produce proof of
extant coverage, this information collection effectively requires them to gather sufficient pieces
of circumstantial evidence to make the future issuance of health insurance appear likely. If the
coverage contemplated is from a prospective employer of the prospective immigrant, this will
require gathering information indicating the likelihood that a given employer will, indeed, em-
ploy this prospective immigrant as well as information on the coverage that employer provides to
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its employees. If the immigrant expects to pursue opportunities with several possible employers,
this will require gathering information on their labor needs and hiring practices as well as the
insurance coverage that each of them provides when it does hire a worker. Where the contem-
plated coverage is on the policy of a relative, prospective spouse, or other person, the prospective
immigrant will need to obtain information on the rules for adding people to that coverage as well
as the nature of the coverage itself. All of this will almost certainly require numerous contacts
and extensive research to garner sufficient information, entailing many hours of compliance
burden.

        When a prospective immigrant cannot specific likely coverage, she or he will need to
gather other information that persuades the consular officer that she or he is likely to obtain
coverage. This cou!d entail a wide range of pieces of information, many of them quite difficult
to obtain. For example, the immigrant might wish to show that she or he has participated in
health insurance schemes when offered at prior employers . Those employers, however, may be
in a country different from the one where the prospective immigrant is applying for entry to the
U nited States and may be hostile to the prospective immigrant or afraid to be perceived as help-
ing the prospective immigrant if she or he is perceived as being unfriendly to the regime in the
former em ployer's country. Gathering this information is likely to be highly time-consuming.

       The prospective immigrant might, instead, wish to show that she or he is very likely to
become employed quickly in an industry in the U.S. where adequate employer-sponsored health
insurance is common. Understanding the hiring propensities of an industry in this country is a
major undertaking for highly trai ned labor economists operating here; it would be a staggering
burden for a prospective immigrant overseas.

         Finally, if the prospective immigrant fails to persuade the consular officer that she or he
is likely to obtain sufficient health insurance coverage in this country, she or he will need to try
to persuade the consular officer that she or he can afford to pay for any care that she or he may
need. This likely wi ll require obtaining extensive information about the p rospective immigrant' s
medical conditions, the treatments they will require, and the costs of those treatments in the U.S.
Because health care providers routinely have very different price scales for private payors (or
sometimes different kinds of private payors) and various insurance plans, this will be a difficult
and burdensome process . Once that is completed, of course, the immigrant also will have to
establish her or his financial resources, which often will be burdensome in its own right.

        This task will further be complicated by the Department' s need to comply with the
Americans with Disabilities Act (ADA) and the Rehabilitation Act, both of which prohibit the
federal government from discriminating against persons with disabilities. As Administrations
going back to the George H.W. Bush Administration have determined, systems that impose
greater burdens on those with conditions requiring more extensive health care are unlawful.
Requiring a showing of greater financial resources by immigrants with disabilities such as
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chronic medical conditions would be unlawful. Designing these information collection requests
to avoid such discrimination will further complicate these already difficult tasks.

How the Department can enhance the quality, utility, and clarity of the information to be
collected.

         The Department can enhance the quality, utility, and clarity of the information to be
collected by limiting the request to information readily known by the prospective immigrant. In
most cases, all a prospective immigrant knows is whether she or he intends to seek health insur-
ance coverage upon arrival in the U.S. or, if not, whether she or he has a given level of financial
resources. All further questions will obtain speculation of low quality, little if any practical
utility, and almost complete opacity. The Department should limit its information collection
request to those facts alone.

How the Department can minimize the reporting burden on those who are to respond,
including the use of automated collection or other forms of information technology.

        Because, as noted above, what this information collection seeks is essentially speculation,
it cannot be gathered through automated collection or other forms of information technology. To
the extent that it seeks to determine whether individuals who do not plan to obtain health insur-
ance will have the financial resources to pay for care themselves, it may be possible to gather
information electronically on their assets, depending on the rules and available technology in
their country of departure and other countries where those assets may be held. Unfortunately,
any efficiencies available in this manner will be effective in only a minuscule fraction of cases.


        I reiterate that, although several serious problems with this request were apparent on a
superficial reading, as set out above, a proper comment period of the usual duration is necessary
to obtain the guidance of experts in the fields this request touches upon, particularly the health
insurance field, that would guide the agencies in minimizing the burdens of this information
collection and in more accurately estimating its likely effects.

       Thank you very much for your consideration.




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                                              Professor of Law
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                                                HBX
                                               DC Health Benefit
                                               Exchange Authority



October 31, 2019

Department of State Desk Officer
Office of Information and Regulatory Affairs
Office of Management and Budget
725 17th Street NW
Washington, DC 20503

Visa Services
Bureau of Consular Affairs
Department of State
600 19th Street NW
Washington, DC 20006

Re: Information Collection Title: Immigrant Health Insurance Coverage, DS Form Number DS-5541, OMB
Control No. None, Proclamation No. 9945, 84 FR 53991 (Oct. 9, 2019); DOS-2019-0039-0001

To Whom It May Concern:

The District of Columbia Health Benefit Exchange Authority (HBX) appreciates your consideration of our
comments on the above‐cited Presidential Proclamation No. 9945 on the Suspension of Entry of Immigrants
Who Will Financially Burden the United States Healthcare System. 1

By way of background, HBX is a private‐public partnership established by the District of Columbia (District)
to develop and operate the District’s on‐line health insurance marketplace, DC Health Link
(DCHealthLink.com). We cover approximately 100,000 people ‐‐ District residents and people who work for
District small businesses. DC Health Link fosters competition and transparency in the private health
insurance market, enabling individuals and small businesses to compare health insurance prices and
benefits and to purchase affordable, quality health insurance. Since we’ve opened for business, we have cut
the uninsured rate by 50% and now nearly 97% of District residents have health coverage.

We strongly oppose Presidential Proclamation No. 9945 (“Proclamation”) and request it be withdrawn in its
entirety. The Proclamation will undermine the District’s health insurance coverage gains and access to
quality, affordable health care – reversing years of progress. Additionally, the Proclamation contradicts
existing federal law -- the Affordable Care Act (ACA), and its issuance is in violation of the Administrative
Procedure Act (APA).




1
 Presidential Proclamation on the Suspension of Entry of Immigrants Who Will Financially Burden the United States
Healthcare System, No. 9945, Oct. 4, 2019. https://www.whitehouse.gov/presidential-actions/presidential-
proclamation-suspension-entry-immigrants-will-financially-burden-united-states-healthcare-system/.

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The Detrimental Effect on Health Coverage

The Proclamation will adversely impact the District’s private individual health insurance market and hurt
District residents. The District is ranked second among all states for the lowest uninsured rate and in 2019,
the District had the fifth lowest average individual market premiums in the country. 2 These gains are put at
risk because the Proclamation:

    1. Encourages prospective immigrants to purchase junk plans like short-term limited-duration
       insurance (STLDI);
    2. Undermines the purchase of marketplace coverage by requiring health insurance coverage be
       secured before entry into the United States; and
    3. Seems to change, making worse already problematic guidance recently finalized in the Public
       Charge rule issued by the Department of Homeland Security 3 related to the purchase of subsidized
       private health insurance.

First, the Proclamation lists STLDI as approved coverage to meet the healthcare coverage requirements
necessary for certain immigrants to enter the United States. As we noted in our comments to the
Administration’s rule on STLDI, these junk plans are exempt from consumer protections under the ACA
applicable to individual health insurance. 4 They exclude coverage for preexisting conditions, use medical
underwriting to keep people with medical needs out, cap benefits using annual and lifetime dollar limits,
and do not cover all of the benefits considered “essential” like mental health and maternity services. Even
with these severe limitations, STLDI plans are specifically promoted under the Proclamation. Consequently,
rather than protect the health care system and the American taxpayer from the “burdens of
uncompensated care,” as the Proclamation states, allowing prospective immigrants to purchase such junk
plans as opposed to marketplace coverage will likely increase uncompensated care when immigrants need
health care services not covered under these junk plans. For the District of Columbia, actuaries from Oliver
Wyman estimate that individual market claims cost will increase by as much as 21.4% from the proliferation
of junk plans. The Proclamation’s policy puts secure quality health insurance coverage of District residents
(citizens and noncitizens) at risk.

Second, the Proclamation further undermines the purchase of marketplace coverage by requiring coverage
prior to entry. Specifically, while the Proclamation contemplates that unsubsidized private health insurance
coverage obtained through a marketplace (like DC Health Link) would qualify as meeting health coverage
requirements for entry into the U.S., it fails to recognize the practical difficulty, if not impossibility, of
establishing such coverage while abroad. Under the ACA and related regulations, an individual applying for
private health insurance coverage through a Marketplace must show proof of residency in a U.S. state or
territory as well as lawful presence to become eligible for such coverage. 5 A person applying for entry into
the U.S. by definition does not yet have lawful presence.


2
  Centers for Medicare & Medicaid Services. 2019 Marketplace Open Enrollment Period Public Use Files.
https://www.cms.gov/Research-Statistics-Data-and-Systems/Statistics-Trends-and-Reports/Marketplace-
Products/2019_Open_Enrollment.html
3
  U.S. Department of Homeland Security. Final Rule. “Inadmissibility on Public Charge Grounds,” 84 Federal Register
41292, 41299 (Aug. 14, 2019).
4
  Comment on Short‐Term, Limited‐Duration Insurance‐ CMS‐9924‐P from Mila Kofman, Executive Director of D.C.
Health Benefit Exchange Authority to Dept. of Health and Human Services, Centers for Medicaid and Medicare
Services, April 19, 2018.
https://hbx.dc.gov/sites/default/files/dc/sites/hbx/publication/attachments/DC_HBX_Comment_CMS_9924-P.PDF.
5
  U.S.C. § 18032(f); 45 C.F.R. 155.305(a).



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Third, this Proclamation and the recent Department of Homeland Security Public Charge rule seem to be at
odds with respect to the effect of enrolling in subsidized private health insurance coverage (private
insurance with tax credits). 6 While the Proclamation states that the visa applicant must be enrolled in
unsubsidized coverage, the Public Charge rule views all private coverage (including subsidized private
coverage) positively in the asset/resources analysis. 7 Importantly, while we oppose the anti-immigrant
policies reflected in the Proclamation and the Public Charge Rule, we expect consistency in standards used.
The Proclamation adds further confusion and increases the Public Charge Rule’s chilling effect.

Contradictory to the ACA

The Proclamation directly conflicts with provisions of the ACA that provide immigrants access to
marketplace coverage.

Current federal law, as established by the ACA, allows lawfully present individuals, both immigrants and
non-immigrants, to purchase subsidized health insurance coverage through health insurance exchanges. 8 In
the ACA, Congress specifically exempted recent immigrants from the 100 percent federal poverty level floor
on eligibility for premium tax credit subsidies because they are not eligible for Medicaid due to their recent
immigration status. 9 Thus the Proclamation’s requirement that immigrants acquire unsubsidized coverage
is akin to amending the ACA without Congress. In other words, the Proclamation is restricting the ACA
subsidized coverage provision under 26 U.S.C. §36B(c)(1)(B)(“Special rule for certain individuals lawfully
present in the United States”) to only apply to immigrants already here. And over time as this pool of
people becomes smaller, there will be zero enrollment under §36B(c)(1)(B). The Administration does not
have authority to amend the ACA.

Contrary to the APA

The two-day comment period violates the APA. The President is requiring the State Department to use a
new standard for issuing visas. The Proclamation requiring the new standard is therefore a rule under the
APA. The APA provides the public an opportunity for review and input to agencies with respect to rules and
rule changes. The two-day comment period does not meet the comment period and the Proclamation does
not meet rule-making process required by the APA for policy changes.

Conclusion

We ask that the Proclamation be withdrawn in its entirety.

Sincerely,



Mila Kofman
Executive Director
DC Health Benefit Exchange Authority



6
  Supra, note 3.
7
  Id.
8
  26 U.S.C. §18032(f)(3).
9
  26 U.S.C. §36B(c)(1)(B)(“Special rule for certain individuals lawfully present in the United States”).



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                                                   BAY AREA REGIONAL OFFICE
                                                         1330 Broadway, Ste. 500
                                                               Oakland, CA 94612
                                                              Tel: (510) 267-1200
                                                             TTY: (800) 719-5798
                                                        Toll Free: (800) 776-5746
                                                              Fax: (510) 267-1201
California's protection & advocacy system               www.disabilityrightsca.org

    October 31, 2019

    Department of State, Office of Information and Regulatory Affairs, Office of
    Management and Budget
    Department of State’s Bureau of Consular Affairs, Office of Visa Services
    Docket Number: DOS-2019-0039


    RE: Docket Number: DOS-2019-0039
        Notice of Information Collection Under OMB Emergency Review:
        Immigrant Health Insurance Coverage


    October 31, 2019

    To whom it may concern:

    Disability Rights California (DRC) writes to express strong opposition to the
    “The Presidential Proclamation on the Suspension of Entry of Immigrants
    Who Will Financially Burden the United States Healthcare System (“PP
    9945”)”. We also oppose the 48-hour comment period for this proclamation
    which does not provide adequate time for interested parties to comment.

    DRC is the designated protection and advocacy agency for California,
    mandated to advance the civil rights of Californians with disabilities. Since
    1978, DRC has provided critical advocacy services for people with
    disabilities and last year alone responded to advocacy requests from nearly
    26,000 Californians with disabilities. Our legal work includes individual and
    impact litigation, direct advocacy services, outreach and training, and
    investigations of abuse and neglect. DRC protects and advocates for the
    rights of all Californians with disabilities, regardless of their ethnicity,
    cultural background, language or immigration status. DRC advocates on
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behalf of individuals who will be negatively impacted by the proposed
proclamation.

We specifically oppose the collection of information on health insurance
status as proposed in this Emergency Submission Comment as well as the
underlying October 4, 2019 proclamation mandating that visa applicants
abroad buy health insurance. This proclamation will not improve access to
health care or ensure payments to hospitals. Rather it is yet another
constraint on legal immigration, one which will disproportionately harm
people with disabilities and people of color.

The proclamation actually threatens to undermine the nation’s health. It
restricts immigrants’ ability to purchase comprehensive health insurance
available through the Affordable Care Act (ACA) marketplaces. Congress
elected to make lawfully residing immigrants eligible for subsidized
marketplace coverage because doing so advances the health of our nation.
The proclamation puts the nation’s health at risk by requiring individuals to
buy costly and less comprehensive health coverage.

Notably, the proclamation allows short-term plans, which do not comply
with the Affordable Care Act’s consumer protections, to qualify as
“acceptable” coverage. Frequently referred to as “junk plans,” short-term
plans lack comprehensive coverage and can be prohibitively expensive for
individuals with pre-existing conditions. Forcing immigrants, particularly
those with disabilities, to avoid comprehensive insurance will increase
uncompensated care costs for providers, when patients can’t afford needed
health care that is not covered by these inadequate plans.

We strongly urge you to withdraw this proclamation.


Sincerely,



Catherine Blakemore
Executive Director



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         THE           Episcopal                                              CHURCH
Department of State
Office of Information and Regulatory Affairs, Office of Management and Budget
Bureau of Consular Affairs, Office of Visa Services
Docket Number: DOS-2019-0039

Re: Emergency Submission Comment on Immigrant Health Insurance Coverage

October 31, 2019

To whom it may concern:

We write in response to the Emergency Submission Comment on Immigrant Health Insurance
Coverage. We oppose the collection of information on health insurance status as proposed in this
Emergency Submission Comment. In fact, we strongly oppose the underlying October 4, 2019
proclamation mandating that visa applicants abroad buy health insurance. We do not believe this
proclamation will improve access to health care or making sure hospitals are paid. Instead, it serves
as another constraint on legal immigration, imposing a wealth test that may limit the ability of low-
income foreigners to come to the United States for numerous valid reasons.

The 1997 General Convention of The Episcopal Church calls upon the U.S. Government to "ensure
that needy immigrants are not unfairly denied essential services and benefits." This proclamation
contradicts that call by restricting immigrants' ability to purchase comprehensive health insurance
available through the Affordable Care Act (ACA) marketplaces. Congress elected to make lawfully
residing immigrants eligible for subsidized marketplace coverage because doing so advances the
health of our nation.

We call on you to rescind this proclamation before it goes into effect.




Rushad L. Thomas
Policy Advisor
Office of Government Relations
The Episcopal Church




                                          OFFICE of liUVf-RNMl::.NT REI.A I IONS
     110 Maryland Avenue NE, Suite 309 s Washington. D.C. 20002 s 202.547.7300 s advocacy.episcopalchurch.org
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                                                                                                         000418
                                                                      Strategic Health
                                                                      Resource Center




                           SUBMITTED ELECTRONICALLY VIA REGUATIONS.GOV
Mark Wilf
CHAIR, BOARD OF TRUSTEES
                           October 31, 2019
Jodi J. Schwartz
VICE CHAIR. BOARD OF
TRUSTEES                   Department of State
David T. Brown             Office of Information and Regulatory Affairs
NATIONAL CAMPAIGN CHAIR
                           Office of Management and Budget
Shelly Kupfer
CHAIR, NATIONAL WOMEN'S
                           Department of State’s Bureau of Consular Affairs, Office of Visa Services
PHILANTHROPY
                           Docket Number: DOS-2019-0039
Harold Gernsbacher
TREASURER
                           RE: Emergency Submission Comment on Immigrant Health Insurance
Julie Platt
SECRETARY
                           Coverage (DOS-2019-0039)
David J. Butler
CHAIR, ISRAEL AND
                           To Whom It May Concern,
OVERSEAS


David Golder               The Jewish Federations of North America and the Network of Jewish Human
CHAIR, DOMESTIC POLICY &
GOVERNMENT AFFAIRS         Service Agencies oppose the “Presidential Proclamation on the Suspension of
Rachel Hoffer
                           Entry of Immigrants Who Will Financially Burden the United States Health Care
CO-CHAIR, NATIONAL YOUNG   System” (Proclamation) signed on October 4, 2019, by President Trump, and the
                           Department of State’s Information Collection Request (ICR) submitted to the
LEADERSHIP


Adam Miller
CO-CHAIR, NATIONAL YOUNG
                           Office of Management and Budget (OMB) for review and approval on October
LEADERSHIP
                           30, 2019. The Proclamation and associated ICR threaten to deter the entry of
Cynthia D. Shapira         lower income legal immigrants, people served by our many partner provider
                           agencies throughout the country as clients/patients and who comprise a
CHAIR. UNITED ISRAEL
APPEAL


Eric D. Finge rhut
                           substantial segment of their workforces. The Proclamation and associated ICR
PRESIDENT & CEO            also threaten to harm immigrants who are allowed entry to the country but who
Willia m C. Daroff         are effectively forced to secure severely inadequate insurance that puts their
SENIOR VICE PRESIDENT
FOR PUBLIC POLICY &        health and financial well-being at risk. This new restriction on legal immigration
DIRECTOR OF THE
WASHINGTON D.C. OFFICE     not only runs counter to our joint mission of promoting the dignity and quality of
Jonathan S. Westin
                           life of all individuals in our communities, but also undermines the ability of our
SENIOR DIRECTOR, HEALTH
INITIATIVES
                           Jewish communal health, long-term care, behavioral health, and other human
                           service agencies to care for their clients/patients. At a time when the number of
                           uninsured across the country is rising, this restriction actually will add to the
Elizabeth A. Cullen
COUNSEL, HEALTH POLICY

                           demand for uncompensated care from our partner agencies and simultaneously
                           make it far more difficult for our agencies to enlist the most qualified health care
                           workers in furtherance of our mission.

                           We also strongly oppose the issuance of the Proclamation as an emergency and
1720 I Street. NW          the 48-hour comment period. Regardless of our position on the underlying
Washington, DC 20006       proposal, this proposed change in federal policy should be subject to formal
p 202.785.5900             rulemaking in accordance with the Administrative Procedures Act, a process that
f 202.785.4937
JewishFederations.org



~   0   @jfederations
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would allow for close examination of the full implications and consequences of this dramatic
policy change by all stakeholders. We, therefore, urge the Administration to rescind the
Proclamation and halt adoption of the ICR.

About The Jewish Federations of North America

JFNA represents a network of 146 Jewish federations and 300 independent communities, serving
most major population centers across North America. Together, we raise and distribute more
than $3 billion annually for social welfare, social services, and educational needs, making us one
of the largest philanthropies in the nation.

Our federations support the services of hundreds of non-profit communal provider agencies,
including 15 leading academic medical centers/health systems, 100 nursing homes and aging
communities, 125 family & children’s agencies, and 14 group homes. Our extensive network of
agencies provide the full range of health, mental health, long-term care services, nutrition, and
other supports to more than one million Jewish and non-Jewish clients at all socioeconomic
levels who come to our doors seeking help.

Through JFNA’s network of federations and partner agencies, we represent one of the largest,
strongest, and most enduring networks of social services in North America. We are committed to
ensuring that everyone in our communities can live with dignity and achieve a decent quality of
life, and committed to protecting our partner agencies’ ability to continue providing high quality
care to the people living in their communities.

About the Network of Jewish Human Service Agencies

The Network of Jewish Human Service Agencies (NJHSA) represents 140 non-profit human
service organizations in the United States, Canada and Israel. NJHSA’s members provide a full
range of human services for the Jewish community and beyond, regardless of faith, background,
ethnicity, and ability to pay. Services include supplemental food assistance, health care, career,
and employment and mental health services, as well as programs for youth, family and seniors,
Holocaust survivors, immigrants and refugees, people with disabilities, and caregivers.

The Proclamation and associated ICR will negatively affect legal immigrants in our
communities who seek services as clients/patients or jobs as health care or service workers.

After examining the Proclamation and associated ICR, we recognize that many of the
clients/patients and health care or service workers throughout our network of communities and
partner agencies are legal immigrants who would be affected by this proposed Proclamation and
ICR. As a result, we have serious concerns about this policy change.

The ICR proposes to ask individuals applying to enter the United States pursuant to an
immigrant visa whether they will be covered by health insurance in the United States within 30
days of entry, and if so, to provide the details relating to such coverage. Consular officers would
not suspend or limit entry of applicants who they do not have coverage but possess the financial
resources to pay for “reasonably foreseeable” medical expenses. The ICR describes “reasonably


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foreseeable” medical expenses as those expenses “related to existing medical conditions, relating
to health issues existing at the time of visa adjudication.”

Like the Public Charge Regulation, in effect, the Proclamation imposes a wealth test on legal
immigrants, effectively barring entry to those who do not have health insurance or money. As a
community of people whose forebears came to this country as immigrants -- many of them low-
income as well -- we cannot support such a wealth test on immigration. In fact, the Proclamation
goes a step further than the now enjoined Public Charge Rule by seeking to implement an
outright ban on entry of immigrants who rely on Medicaid.

Moreover, this new restriction threatens to undermine health coverage and thereby the affected
immigrant’s health, as well as the nation’s health overall. Specifically, the Proclamation restricts
immigrants’ ability to purchase comprehensive health insurance available through the Affordable
Care Act (ACA) marketplaces. In the ACA, Congress made legal immigrants eligible for
subsidized marketplace coverage because this supports the nation’s overall health. The
Proclamation instead requires individuals to purchase costly and less comprehensive health
coverage by barring consideration of Medicaid and ACA subsidized plans, while allowing
coverage through short-term plans that are not required to comply with the ACA’s consumer
protections. Frequently referred to as “junk insurance,” these short-term plans lack both essential
benefits and comprehensive coverage and can be prohibitively expensive for individuals with
pre-existing conditions. In effect, the Proclamation forces immigrants to choose junk insurance
plans that will fail to cover needed care and puts their health and financial security at risk. This
in turn will lead to increased demand for uncompensated care and increased costs for our
providers who care for their clients/patients regardless of ability to pay.

Further, many of our agencies from our hospitals to our nursing homes rely on substantial
numbers of immigrant workers to provide care to their patients. Many of these health care
workers are employed in lower paid positions and by income level may be eligible for Medicaid
or ACA subsidized plans, both of which are prohibited from consideration as possible sources of
health insurance by the terms of the Proclamation. If failure to have health insurance coverage is
a barrier to entry, far fewer immigrants will be available to serve in our nation’s health care
workforce. The shortage of qualified health care workers has been recognized as a serious
problem. The U.S. Census Bureau reported in May 2014 that by 2050, the number of U.S.
residents age 65 and over is projected to be 83.7 million, almost double its estimated population
of 43.1 million in 2012.1 Meanwhile, according to the Bureau of Labor Statistics, 1.2 million
vacancies will emerge for registered nurses between 2014 and 2022. 2 At a time when demand
for health care services continues to outpace the supply of health care workers, we cannot
support a policy that potentially amplifies this discrepancy and jeopardizes our agencies’ ability
to care for the vulnerable populations they serve and indeed the health care of all Americans.


1
 Jennifer M. Ortman, Victoria A. Velkoff, and Howard Hogan, “An Aging Nation: The Older Population in the
United States,” United States Census Bureau Report Number P25-1140 (May 2014).
2
 Heather Cygan, “Are you up to date on the latest nursing shortage predictions?,” Nurse.com (January 17, 2018),
http://mediakit.nurse.com/blog/are-you-up-to-date-on-nursing-shortage-predictions/.


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The two-day comment period for the proposed ICR is woefully inadequate and, if the
Department of State insists on proceeding with the proposed ICR, the agency should
subject it through the ordinary Paperwork Reduction Act clearance process.

JFNA is disappointed that the Department of State has provided only a 2-day comment period
for such a significant ICR that represents a dramatic shift in policy and may bar an entire class of
immigrant applicants from entry into our country. Although the Department of State states that
the proposed ICR’s expedited review timeframe is requested under the emergency review
provisions of the Paperwork Reduction Act (PRA) of 1995, the agency provides no evidence that
the emergency review requirements are satisfied in this instance. In particular, an agency may
request emergency review of a proposed ICR only when the agency determines that:

         (A) a collection of information—
                 (i) is needed prior to the expiration of time periods established under this
                 subchapter; and
                 (ii) is essential to the mission of the agency; and
         (B) the agency cannot reasonably comply with the provisions of this subchapter
         because—
                 (i) public harm is reasonably likely to result if normal clearance procedures are
                 followed;
                 (ii) an unanticipated event has occurred; or
                 (iii) the use of normal clearance procedures is reasonably likely to prevent or
                 disrupt the collection of information or is reasonably likely to cause a statutory or
                 court ordered deadline to be missed. 3

Here, the agency has failed to demonstrate that it cannot reasonably comply with the ordinary
PRA clearance process. The agency solely cites to the Proclamation’s effective date as support
for emergency review, but the underlying statute authorizing emergency review bears no
indication that a Presidential Proclamation’s deadline is sufficient to bypass the procedural
strictures of the PRA, particularly when a showing of public harm, an unanticipated event, or a
statutory/court deadline is absent from the agency’s request. Accordingly, we view the
Department of State’s request for emergency review of its proposed ICR as
unwarranted. Instead, the agency should submit the proposed ICR through the normal PRA
clearance process and allow sufficient time for stakeholders to review the proposed ICR,
consider its implications and potential consequences, and respond with informed comments.

Conclusion

This Proclamation and ICR impede the ability of JFNA and NJHSA to fulfill our charitable
missions by restricting access to health care of incoming immigrants, putting legal immigrants
who purchase junk insurance in jeopardy, shifting more costs of uncompensated care to non-
profit providers, and interfering with our agencies’ ability to hire qualified legal immigrants.

   3
       44 U.S.C. § 3507(j)(1).



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Accordingly, we ask that the Trump Administration rescind the Proclamation and not adopt the
ICR.

Sincerely,




Jonathan S. Westin,                               Elizabeth A. Cullen,
Senior Director, Health Initiatives               Counsel for Health Policy
The Jewish Federations of North America           The Jewish Federations of North America




Reuben D. Rotman,
President & CEO
Network of Jewish Human Service Agencies




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       II
                                                                                                                                   000423
              CATHOLIC LEGAL
              IMMIGR.ATION
              NETWOR.K, INC.                                                                                           NATIONAL OFFICE

       8757 Georgia Avenue, Suite 850, Silver Spring, MD 20910   I Tel: 301.565.4800 I Fax: 301.565.4824 I Website: www.diniclegal.org



Submitted via regulations.gov


October 31, 2019
Edward J. Ramotowski, Deputy Assistant Secretary
Department of State, Bureau of Consular Affairs
600 19th St NW
Washington, D.C. 20006
Department of State Desk Officer
Office of Management and Budget, Office of Information and Regulatory Affairs
725 17th Street, NW
Washington, D.C. 20503
       RE: Public Comments on Agency Information Collection Activities; Proposals,
       Submissions, and Approvals: Immigrant Health Insurance Coverage,
       Docket No. DOS-2019-0039
Dear Mr. Ramotowski and OIRA DOS Desk Officer:
The Catholic Legal Immigration Network, Inc. (CLINIC) submits these comments in response to
the Department of State’s (DOS’s) proposed Information Collection entitled “Immigrant Health
Insurance Coverage,” posted October 30, 2019. CLINIC opposes the collection of information
regarding immigrant health insurance, and the use of emergency Paperwork Reduction Act
(PRA) review to enact this change, resulting in only a two-day public commenting period.
CLINIC supports a national network of community-based legal immigration services programs
that primarily serve low-income immigrants and regularly advise and assist individuals in filing
family-based immigration applications, naturalization applications, humanitarian forms of relief,
and more. This network includes over 370 programs operating in 49 states and the District of
Columbia. As a faith-based organization, we have consistently stood by the principle that all
immigrants deserve an immigration system that is fair and ensures due process for all. In this
vein, CLINIC submits the following comments in opposition to the proposed information
collection.
  I.   General Comments

CLINIC opposes the information collection for immigrant health insurance, the Presidential
Proclamation that prompted its issuance, and the emergency PRA review used to seek clearance.
The Presidential Proclamation on the Suspension of Entry of Immigrants Who Will Financially
Burden the United States Healthcare System, issued on October 4, 2019, would not reduce the
burden on the healthcare system as it purports. It would only succeed in targeting low-income
families to deny reunification, and reduce access to affordable health care for the immigrants
who are admitted. Furthermore, this information collection is open for only two days of public

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comments due to a purported “emergency” need for expedited clearance, and is not accompanied
by a rulemaking under the Administrative Procedure Act (APA). CLINIC opposes the method
for promulgating this new requirement, as it is not an emergency and the proposed changes are
so profound that they require review not only under the PRA, but also under the APA with a full
public comment process.

 II.    The Proposed Oral Examination Questions Violate the Proclamation

The Presidential Proclamation applies only to “aliens who will financially burden the United
States healthcare system,” and it suspends their admission until they have been screened for
possession or intended possession of health insurance. The proclamation does not apply to all
immigrant visa applicants, but only those who the United States has an objective reason to
believe will incur medical costs that will be borne by the government. The purpose of the
proclamation is to prevent the admission of those who will incur “reasonably foreseeable
medical costs.” If the applicant does not possess any existing medical condition, then it is not
possible to calculate future medical costs. There is nothing on which to base such a calculation.

The proclamation also designates certain groups of immigrant visa applicants who are
specifically exempted from the proclamation; those immigrant visa applicants will not be
screened even if they do pose a health care concern. However, the designation of these groups
does not diminish or affect the premise that the proclamation does not apply to immigrant
applicants who do not possess any health care concerns.

The agency proposes to ask three questions of all immigrant visa applicants not specifically
exempted, rather than limiting its questioning to those applicants who “will financially burden
the United States healthcare system.” The agency should limit its questioning to applicants who
have been identified by a designated panel physician, after an official medical examination, as
suffering from a medical condition. This is now part of the immigrant visa process, and the
results of this medical exam are submitted by the immigrant visa applicant in a sealed envelope
on Form I-693, Report of Medical Exam and Vaccination Record. The consular officers should
be limiting their health insurance screening to applicants identified as having a Class B
certification or an existing medical condition that would warrant future medical care.

III.    The Proposed Oral Examination Questions Are Arbitrary and Vague, and Leave
        Too Much Discretion to Consular Officials

According to the public announcement, consular officers will ask the following three questions
of immigrant visa applicants:

    ● whether they will be covered by health insurance in the United States within 30 days of
      entry to the United States
    ● If yes: identify the specific health insurance plan, the date coverage will begin, and such
      other information related to the insurance plan as the consular officer deems necessary.
    ● If no: do you have financial resources to pay for reasonably foreseeable medical expenses
      (Reasonably foreseeable medical expenses are those expenses related to existing medical
      conditions, relating to health issues existing at the time of visa adjudication.)



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The terms that DOS uses—"financial resources,” “reasonably foreseeable medical expenses,”
and “existing medical conditions”—are too vague and ambiguous, and they will give too much
discretion to consular officers.

Consular officers are provided no standards to determine what value and what type of financial
resources will be considered adequate to pay for medical expenses. Must the applicant have to
show cash in a bank account, or can he or she show other resources, such as stocks and bonds
and funds in a retirement account? Do “financial resources” include assets that can be converted
to cash in the United States within a reasonable amount of time, such as real estate, automobiles,
and other significant property? How much money is it necessary to demonstrate? Would the
amount of money depend on the potential medical expenses?

Consular officers are provided no standards to determine what are “reasonably foreseeable
medical expenses.” These officials have no medical background or expertise and thus are in no
position to determine future medical costs of any specific health condition. That is the precise
reason that determinations regarding health-related grounds of inadmissibility are made by panel
physicians and not consular officials.

Consular officers are provided no standards to determine what is an “existing medical
condition.” Apart from information on the Form I-693, are consular officials now expected to
perform their own physical exam and ask the applicant questions about any and all health
conditions? Are only medical conditions that require treatment to be considered, or do those that
are in remission or are treatable with over-the-counter medication also included?

Finally, what standards will be used to determine the ability and intention of the immigrant visa
applicant to purchase medical insurance within 30 days of admission? If the applicant answers
that question in the affirmative, what follow-up questions will the consular officer ask or what
form of proof will be required?

Consular officials depend on interpretations of key legal terms and rely on the Foreign Affairs
Manual (FAM) or other instructions. These instructions are noticeably lacking here. This will
result in inconsistent decision-making and in officers applying their own definitions to these
important words. The FAM requires the agency to notify visa applicants of what to expect at the
consular interview. 9 FAM 302.8-2(B)(2). This proposed procedure would violate that
fundamental principle.

IV.    The Proposed Oral Examination Questions Improperly Limit Eligibility for
       Applicants with Financial Resources

DOS’ proposed questions limit the ability of immigrant visa applicants to demonstrate adequate
financial resources in lieu of medical insurance; that question is asked only to those who have an
existing medical condition. However, the proclamation makes no such restriction.

Consular officers will ask the third question only to applicants who do not have a health
insurance policy and will need to qualify for admission by demonstrating adequate financial
resources. Yet the question applies only to those who have “financial resources to pay for
reasonably foreseeable medical expenses (Reasonably foreseeable medical expenses are those


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expenses related to existing medical conditions, relating to health issues existing at the time of
visa adjudication.)”

But the proclamation states that: “An alien will financially burden the United States healthcare
system unless the alien will be covered by approved health insurance, as defined in subsection
(b) of this section, within 30 days of the alien’s entry into the United States, or unless the alien
possesses the financial resources to pay for reasonably foreseeable medical costs.” While it is
CLINIC’s position that the proclamation only applies to applicants who have an existing medical
condition, if DOS is requiring all visa applicants except those specifically exempted to be
screened for health insurance, then it should not limit the third category—financial resources in
lieu of health insurance—to those who have an existing medical condition.

    V.   The Information Collection Is Not an Emergency, and Should be Subject to the
         APA

DOS has issued this information collection with only two days’ comment period, invoking the
emergency exception under the PRA. In order to merit a rare emergency exception to the normal
procedures under the PRA, an agency must demonstrate that delay of the information collection
will result in likely public harm (such as the delivery of resources after a natural disaster) or
missing a court-ordered or statutory deadline. 1 Collecting health insurance information is does
not comport with either requirement. There is no public harm that will result from a delay in
collecting information about immigrant health insurance. As described above, the primary result
will be to impede lawful immigration and increase the cost of health insurance for low-income
families. The effective date of the Presidential Proclamation is November 3, 2019, however, it is
not a statutory or court-ordered deadline, and the proclamation states that it “shall be
implemented consistent with applicable law…”
The PRA is applicable law that requires two comment periods of 60 and 30 days respectively,
with exceptions only rarely granted. The proclamation does not state any change in conditions
that makes immigrant health insurance an emergent need this month more than it was last month,
or that it cannot wait until after the full PRA comment period. The foregoing issues
notwithstanding, an emergency clearance with only two days’ public comment period is an
unreasonable amount of time to expect the public to learn about the information collection and
draft a thoughtful response. DOS should not be granted emergency clearance, and should be
required to undergo the full PRA clearance process.
Some of the requirements imposed by the proposed information collection are not appropriate for
PRA review and must be cleared through the APA as a proposed rule. The notice goes beyond
collecting information, and imposes requirements that would change the outcome of immigrant
visa applications, and establishes definitions for terms. As described above, the information
collection would have results inconsistent with the Presidential Proclamation. The information
collection defines “reasonably foreseeable medical expense,” a term not otherwise defined in the
proclamation or in regulation. The aspects of the information collection that would change


1
 Office of Management and Budget, “A Guide to the Paperwork Reduction Act,” available at
https://pra.digital.gov/clearance-types/.

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immigrant visa adjudication and have legal consequences for applicants are not appropriate for
this proposed information collection.

VI.    Conclusion

For the above stated reasons, CLINIC strongly opposes the proposed information collection and
the proclamation on which it is based. The information collection will have the opposite effect
that it purports to intend, and it is an improper use of both the emergency clearance process and
of the PRA itself. We respectfully request that the information collection be withdrawn.
Thank you for the opportunity to submit these comments. We appreciate your consideration.
Please do not hesitate to contact Jill Marie Bussey, Advocacy Director, at
jbussey@cliniclegal.org should you have any questions about our comments or require further
information.
Sincerely,




Jill Marie Bussey, Esq.
Director of Advocacy
Catholic Legal Immigration Network, Inc.




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October 31, 2019

Submitted via www.regulations.gov

Department of State, Office of Information and Regulatory Affairs, Office of Management and
Budget
Department of State’s Bureau of Consular Affairs, Office of Visa Services
Docket Number: DOS-2019-0039

Re: Emergency Submission Comment on Presidential Proclamation No. 9945, Requiring
Immigrant Health Insurance Coverage

To Whom It May Concern,

        On behalf of Latino Network, Casa of Oregon, Catholic Charities Immigration Legal
Services, Causa Oregon, Centro Cultural de Washington County, Centro Latino Americano,
Innovation Law Lab, the Justice and Ministry Team of the United Church of Christ’s Central
Pacific Conference, LatinX Alliance of Lane County, Metropolitan Public Defender’s Immigrant
Defense Oregon, Oregon AFL-CIO, the Rural Organizing Project, Unidos Bridging Community,
VIVA Inclusive Migrant Network, and Voz Workers Rights Education Project, we write to
express our opposition to the Presidential Proclamation on the Suspension of Entry of
Immigrants Who Will Financially Burden the United States Healthcare System, (hereinafter, “the
Proclamation”), which requires immigrant visa applicants to establish, to the satisfaction of a
consular officer, that the applicant will be covered by an approved health insurance plan within
30 days of entry into the United States, unless the applicant possesses sufficient financial
resources to cover reasonably foreseeable medical costs.

         I.   Organizational Signatories

        Latino Network is a non-profit organization based in Portland, Oregon. Latino
Network’s organizational mission is to positively transform the lives of Latino youth, families,
and communities. Latino Network works to educate and empower Multnomah County Latinos
to achieve physical and mental health, safe housing, sustainable financial stability, and social
support by offering a variety of programs and services, including early childhood services,
community-based programs, school-based programs, arts and culture programs for youth, health
and wellness programs, and civic leadership programs.




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       Casa of Oregon began 30 years ago to help local organizations provide housing for
farmworkers and other marginalized populations in primarily rural areas. While focusing on
those who are often unable to advocate for themselves, Casa positions itself as a liaison to the
community with government, industry and community organizations. Casa works alongside
community organizations to provide programs and resources that strengthen families’ financial
well-being.

        Catholic Charities Immigration Legal Services is a nonprofit law program providing low-
cost consultations and legal representation to immigrants and refugees throughout Oregon and
southwest Washington. The organization also educates the public, immigrant communities, and
the organizations who serve them to promote justice for all newcomers and support conditions
for their full participation in American society. Legal Services provides representation to
support family reunification and assistance to the most vulnerable immigrants and refugees,
including survivors of domestic violence, sexual assault, and human trafficking.

        Causa is Oregon’s immigrant rights organization. Causa works to improve the lives of
Latino immigrants and their families in Oregon through advocacy, coalition building, leadership
development, and civic engagement. Latino immigrants and their families are the heart of Causa
and inspire, implement, and champion the organization’s work. Causa envisions a world where
all people have the opportunities and resources needed to thrive; and a community that welcomes
and values the contributions, strengths, and assets of Latino immigrants and their families.

        Centro Cultural is Oregon's oldest Latino non-profit. Founded in 1972, Centro Cultural’s
legacy is built on community leadership and Latino heritage. Today, its mission promotes
personal growth and empowerment for Washington County communities of color and low
income families. Centro serves Washington County and the Portland Metro Area by offering
Arts & Culture, Civic Leadership & Advocacy, Community Wellness, Prosperidad Economic
Empowerment, and Youth Development services. At the heart of Centro Cultural’s programming
is a commitment to engage and activate the potential of our local families to achieve community
resilience.

       Centro Latino Americano is a bilingual, multicultural agency that serves Latino families
in Lane County, Oregon. Centro Latino Americano was formed in 1972 by a group of activist
Chicano students from Lane Community College and the University of Oregon to meet the needs
of Mexican immigrant families in Lane County. The organization has continued to serve as the
main avenue for the social and civic integration of the Latino population in Lane County.
Centro Latino Americano empowers Latino families by providing opportunity and building
bridges for a stronger community. Its vision is a thriving, connected community where all
people are valued.




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         Innovation Law Lab is a nonprofit organization dedicated to upholding the rights of
immigrants and refugees. Founded in 2014, in response to the mass detention and deportation of
asylum-seeking immigrant families, Innovation Law Lab specializes in the creation of scalable,
highly replicable, and connected sites of resistance that create paradigm shifts in immigration
representation, litigation, and advocacy. By bringing technology to the fight for immigrant
justice, Innovation Law Lab empowers advocates to scale their impact and provide effective
representation to immigrants in detention and in hostile immigration courts across the country.

       The Justice and Witness Ministry Team is a part of the Central Pacific Conference of the
United Church of Christ. The team provides the focus and support for the Conference and local
churches to actively participate in ministries of compassion, advocacy and reconciliation,
including with our immigrant community members, and supports the Conference's goals of
experiencing and sharing the varied gifts of God’s love, celebrating and enhancing
congregational vision and vitality, and demonstrating and promoting peace and justice.

        The Latinx Alliance of Lane County is a coalition of community organizations and
members, organized to coordinate efforts and better support Latinos in the Lane County area in
the face of federal attacks against Latino immigrants.

        Metropolitan Public Defender (MPD) has been on the cutting edge of public defense
since its inception in 1971, with the goal of providing quality legal representation for people
living in poverty. MPD is a 501(c)(3) non-profit law firm that provides public defense, including
criminal cases from misdemeanors to capital murder, juvenile cases from delinquency to
dependency, mental health cases from civil commitments to mental health courts, and specialty
projects from drug courts to community court. Its Community Law Division hosts, among other
projects, Immigrant Defense Oregon, which is made up of a team of immigration attorneys who
defend Oregonians who have been targeted for deportation, educate our communities on
deportation proceedings and ongoing changes in immigration enforcement, ensure that our
immigrant neighbors understand their rights and due process protections within the U.S.
immigration system, and provide advice to MPD’s public defenders regarding the potential
immigration consequences of a criminal conviction. MPD is committed to the shared vision of
standing in solidarity and support with our immigrant communities.

         The Oregon American Federation of Labor- Congress of Industrial Organizations (AFL-
CIO) primarily focuses on building power for working people. Oregon AFL-CIO accomplishes
this in every facet of its Federation’s work, especially in its four pillar programs which are
devoted to organizing new workers; electing leaders and advocating for legislation which
supports working people; and engaging with communities in Oregon and with organizations
outside of the labor movement.




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        The Rural Organizing Project (ROP) is a statewide organization of locally-based groups
that work to create communities accountable to a standard of human dignity: the belief in the
equal worth of all people, the need for equal access to justice and the right to self-determination.
Starting in 1992, ROP’s challenges to the anti-democratic right have earned ROP a national
reputation for being an effective grassroots organization that takes on the hard issues. Today,
ROP works with over 65 member groups to organize on issues that impact human dignity and to
advance inclusive democracy. ROP's mission is to strengthen the skills, resources, and vision of
primary leadership in local autonomous human dignity groups with a goal of keeping such
groups a vibrant source for a just democracy.

        UNIDOS Bridging Community is a diverse and welcoming nonprofit organization that
advocates for Latino immigrant families and builds bridges of support and understanding among
Latino and non-Latino communities in rural Yamhill County, Oregon. With many dedicated
volunteers and a small and energetic staff, UNIDOS achieves its goals through education,
leadership development, active collaboration, and relationships built on the respect of each
other’s story.

        VIVA Inclusive Migrant Network is a nonprofit organization that supports Oregon
migrant communities. VIVA defends migrant communities by helping them identify useful tools
about their rights and ending family separation. VIVA believes that the criminalization of
immigration is immoral because migration is a human right. By uniting forces and working
together, VIVA seeks to make a difference for humanity. Voz Workers’ Rights Education
Project is the only organization in the state of Oregon working with the day laborer community.
Day laborers are temporary workers, many of them immigrants, many of them homeless, many
of them facing multiple barriers to long-term employment.

        Voz builds leadership and economic power in this community through economic
empowerment, leadership development, and grassroots organizing. Voz has almost 20 years of
experience organizing day laborers in Portland and is a founding member of the National Day
Laborer Organizing Network. Voz believes that sustainable and transformative social justice
work must be led by the communities most affected. Voz models this philosophy by striving to
be a fully worker-led organization, and by empowering Portland day laborers not just through
economic opportunities, but through opportunities to become leaders in their community.

       Latino Network and the other signatory organizations are all members of Oregon Ready.
Oregon Ready is a coalition of immigrant rights groups from throughout the state who came
together to create a stronger immigrant rights infrastructure; meshing community-based
organizing, immigrant defense work, immigrant rights policy development, and public discourse.
Together, these organizations strongly oppose the Proclamation and the immediate and
devastating effect it will have on immigrant Oregonians.



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         II.    The Proclamation is Unlawful

        Latino Network, along with several individual plaintiffs, has recently filed a lawsuit
against the Proclamation. John Doe #1 v. Donald Trump, No. 3:19-cv-01743-SB (D. Or.) (filed
Oct. 30, 2019). For the reasons outlined in the complaint, and described in this comment, the
Proclamation is unlawful and should not be implemented.

        First, the Proclamation will immediately cause family separation by preventing
reunification of immigrant families in Oregon, and also limit Oregon’s immigrant diversity by
blocking immigrants coming on other types of visas from the United States. In fact, the
Proclamation applies to a significant majority of immigrants seeking to enter the United States
on an immigrant visa, with very limited exceptions. Researchers estimate that close to two-
thirds of future immigrants otherwise entitled to admission would be kept out of the country
under the Proclamation.1 Many Oregonians who have already endured years-long waits, and
expensive and complex legal processes, in order to bring close relatives to the United States will
be forced into prolonged, and perhaps permanent, separation under the Proclamation’s rule. The
Proclamation will have an especially devastating effect on low-income immigrants, who will
struggle to find an affordable and qualifying healthcare plan on such short notice.

         Second, even for those immigrants who can afford a healthcare plan, the requirements for
obtaining a qualifying plan are vague and nearly impossible to decipher. For example, a
“catastrophic” health care plan will supposedly qualify- but this term can be used to refer both to
high-deductible plans generally, and to certain Affordable Care Act (ACA)-defined plans
specifically. The Proclamation provides no further guidance as to which specific plans will
satisfy its requirements. There is also a troubling lack of guidance on how consular officers are
to interpret the Proclamation’s suspension of entry of those who do not have the financial
resources to pay for reasonably foreseeable medical costs.” We especially fear that this standard
could be manipulated to discriminate against older and disabled intending immigrants.

        Moreover, the narrow range of plans available to satisfy the Proclamation’s requirements
are largely unavailable to the vast majority of intending immigrants, especially within the first 30
days of their arrival to the United States. Medicare, for example, is only available to persons
over 65 years of age who have resided in the United States for at least five years, making it
entirely inaccessible to intending immigrants. Other qualifying plans are available only to
specific and narrow groups, like members of the military and their immediate family members,
or the plans of family members, which are only available to spouses or to children under the age

1
  Nicole Narea, Trump just quietly cut legal immigration by up to 65%, VOX,
https://www.vox.com/2019/10/9/20903541/trump-proclamation-legal-immigration-health-insurance (last
visited Oct. 30, 2019).



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of 27. Similarly, employer plans are only available to intending immigrants who have already
secured employment, and even in that case, many employers impose a waiting period of more
than 30 days post-hire before benefits are actually extended.2 That leaves, in large part, only
short-term limited duration insurance plans as an option. But many of these plans require U.S.
citizenship or lawful permanent residence as a coverage requirement; and in almost half of U.S.
states, these plans do not extend to the 364-day duration required by the Proclamation.3 Indeed,
Oregon law limits the duration of such plans to only three months, including renewals.4

         III.    The Office of Management and Budget Should Not Grant Emergency
                 Clearance for this Information Collection Request (ICR)

         Finally, we strenuously object to the extremely short, and unlawful, 48-hour period
provided comments. Under the Paperwork Reduction Act (PRA), Information Collection
Requests (ICRs) such as this one must undergo a 60- and 30-day notice for public comment.5
Emergency approvals are “discouraged” and “granted only rarely,”6 and must meet narrow legal
criteria that are not met here. According to the PRA Guide:

        An agency may request emergency clearance only when it needs to begin collecting the
        information more quickly than the time a full clearance will require. In every case, the
        agency must show that: (1) The collection of information must be needed prior to the
        expiration of the normal time periods; and (2) The collection of information is essential to
        the mission of the agency. In addition to those two criteria, the agency must, in every
        case, demonstrate that one of the following four circumstances is present: (1) Public harm
        is likely if normal procedures are followed; or (2) An unanticipated event has occurred;
        or (3) The use of normal procedures is likely to prevent or disrupt the collection; or (4)
        The use of normal procedures is likely to cause a statutory or court ordered deadline to be
        missed.7

       Neither of the two preliminary requirements, nor any one of the four circumstances, are
present in this case. The Proclamation imposes monumental changes on our nation’s
immigration laws and will cause serious harm to immigrant communities throughout the United

2
  See 2018 Employer Health Benefits Survey, KAISER FAMILY FUND, (Oct. 3, 2018),
https://www.kff.org/report-section/2018-employer-health-benefits-survey-section-3-employeecoverage-
eligibility-and-participation/.
3
  Is Short-term Health Insurance Right for You?, HEALTHINSURANCE.ORG,
https://www.healthinsurance.org/short-term-health-insurance/; Short Term Health Insurance Eligibility Information
for Short Term Health Insurance, or
STM, ELIGIBILITY.COM (Updated Jan. 28, 2019), https://eligibility.com/short-term-healthinsurance.
4 Or. Rev. Stat. § 743B.005(16)(b)(H).
5
  U.S. Office of Personnel Management, Paperwork Reduction Act (PRA) Guide, Version 2.0 (April 2011) at p. 9.
6
  Id.
7
  Id.


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States. There is no reasonable justification for such a shortened comment period, and the time
allotted does not provide a meaningful opportunity for the Office of Management and Budget to
review public input. Moreover, as described above, the Proclamation that the ICR seeks to
implement is unlawful, making the proposed information collection “[un]necessary for the
proper functions of the [State] Department” and therefore inappropriate.8 The emergency
request should be denied.

           IV.     Conclusion

         For the above stated reasons, Latino Network, Casa of Oregon, Catholic Charities
Immigration Legal Services, Causa Oregon, Centro Cultural de Washington County, Centro
Latino Americano, Innovation Law Lab, the Justice and Ministry Team of the United Church of
Christ’s Central Pacific Conference, LatinX Alliance of Lane County, Metropolitan Public
Defender’s Immigrant Defense Oregon, Oregon AFL-CIO, the Rural Organizing Project, Unidos
Bridging Community, VIVA Inclusive Migrant Network, and Voz Workers Rights Education
Project strongly oppose the Proclamation and its changes to our immigration system. All of this
shows the true intent behind the Proclamation: to limit lawful immigration to the United States,
and, in particular, to close the door even more forcefully on intending immigrants of color. Our
nation’s immigrant visa system is governed by statute, and prioritizes immigration for the
purposes of family unity, business, humanitarian reasons, and diversity. These priorities, which
have been enshrined in the Immigration and Nationality Act since 1952, should not be
eviscerated by an ill-considered and facially nonsensical Presidential Proclamation. If allowed to
remain in place, the Proclamation will effectively eviscerate long-standing and Congressionally
established avenues to lawful status in the United States. After waiting years to reunite with
family members in the United States, many vulnerable and low-income immigrants will face
indefinite family separation because of this cruel and illogical policy.

        The Proclamation’s intended effect on the immigrant community is not unanticipated.
Indeed, Latino Network and other signatory Oregon Ready members have spent significant time
over the past year developing educational materials, conducting outreach, and answering
community questions regarding the recently blocked public charge rule, which shares many of
the same problems, and xenophobic goals, as the Proclamation. While we will continue
advocacy in our local communities, we raise our voices to strenuously object to the Proclamation
and its impending implementation. The integrity of our immigration system should not be
undermined in this significant way.

       Thank you for the opportunity to submit these comments. Please do not hesitate to
contact any of the organizational representatives listed below should you have any questions
about our comments or require further information.

8
    84 Fed. Reg. 58199.


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Carmen Rubio
Executive Director
LATINO NETWORK

Peter Hainley
Executive Director
CASA OF OREGON

John Herrera
Director
CATHOLIC CHARITIES IMMIGRATION LEGAL SERVICES

Cristina Marquez
Interim Executive Director
CAUSA OREGON

Maria Caballero Rubio
Executive Director
CENTRO CULTURAL DE WASHINGTON COUNTY

David Saez
Executive Director
CENTRO LATINO AMERICANO
LATINX ALLIANCE OF LANE COUNTY

Stephen Manning
Executive Director
INNOVATION LAW LAB

Karen Kulm
Co-Chair
JUSTICE AND MINISTRY TEAM, UCC CPC

Samantha Ratcliffe
Staff Attorney
METROPOLITAN PUBLIC DEFENDER, IMMIGRANT DEFENSE OREGON

Graham Trainor
President
OREGON AFL-CIO



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Jessica Campbell and Cara Shufelt
Co-Directors
RURAL ORGANIZING PROJECT

Miriam Vargas Corona
Executive Director
UNIDOS BRIDGING COMMUNITY `

Francisco Aguirre
Executive Director
VIVA INCLUSIVE MIGRANT NETWORK

Osmani Alcarez Ochoa
Executive Director
VOZ WORKERS’ RIGHTS EDUCATION PROJECT




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                                         MN sure·
                                         Where you choose health coverage




October 31, 2019

Edward J. Ramtowski
Deputy Assistant Secretary, Visa Services
U.S. State Department
Bureau of Consular Affairs
600 19th Street, NW
Washington, DC 20036

Department of State Desk Officer
Office of Information and Regulatory Affairs
Office of Management and Budget
725 17th Street, NW
Washington, DC 20503

Via www.regulations.gov

Title of Information Collection: Immigrant Health Insurance Coverage
Docket Number: DOS-2019-0039
Form Number: DS-5541

Dear Mr. Ramotowski:

We write to provide comment on the State Department’s “Notice of Information Collection Under OMB
Emergency Review: Immigrant Health Insurance Coverage.”

We understand Presidential Proclamation 9945 allows consular officers to investigate whether an applicant
for an immigrant visa would be considered a “burden” if they are not covered by approved health insurance
within 30 days of their arrival unless they have the financial resources available to pay for reasonably
foreseeable medical costs.

We are concerned about how this new requirement would impact individuals using Minnesota’s marketplace.
Specifically, MNsure is concerned that this Proclamation encourages underinsurance among newly arrived
immigrants, promotes an atmosphere of consumer fear and confusion, and discourages individuals from
seeking the insurance coverage and health care they need.

As a state-based health insurance exchange, MNsure acts as the streamlined, single front door for
Minnesotans to apply for health insurance, including public health programs administered by the state, and
private health insurance managed by private insurance companies.




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                          PO Box 64253    •    St Pau, MN 55164-0253    •   MN sure.org
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                                         Where you choose health coverage




As written, the Proclamation categorizes approved coverage options that only provide very limited benefits,
and in some cases allow exclusions based on preexisting conditions. This means that many individuals may
not have access to insurance coverage or may end up with insufficient coverage and thus “underinsured,”
which could impose a substantial burden on Minnesota’s healthcare system. Simply put, the Proclamation
encourages underinsurance among newly arrived immigrants and potentially dissuades individuals and
families who are eligible to receive tax credits from applying through MNsure.

Further, the Proclamation undermines the legislative intent of the Affordable Care Act. Specifically, Congress
expressly intended to ensure that a minimum level of insurance coverage is available to all legal immigrants
and citizens. However, under the Proclamation, several of the types of plans that qualify as approved coverage
only provide very limited benefits and/or allow exclusions based on preexisting conditions. The Proclamation
will reduce immigrants’ access to the insurance coverage and health care they need, as anticipated by
Congress when enacting the ACA. The Proclamation seems to disregard the fact that lawful permanent
residents who meet the requirements set forth in Federal and State law are allowed to apply for coverage
under the ACA, including those entering on immigrant visas.

In particular, MNsure is concerned that the Proclamation will discourage individuals and families from applying
for comprehensive private program health care coverage altogether, as the proclamation excludes refundable
tax credit benefits and assistance that Congress has specifically and explicitly stated immigrants in the United
States are legally entitled to receive. Treating a tax credit that is intended to reduce the tax burden of
individuals who purchase individual market insurance as a penalizable benefit undermines the intent of the
ACA to improve insurance affordability.

We urge that you not implement a policy that will confuse and discourage consumers (including new
immigrants) from applying for tax credits that enable them to purchase health insurance coverage. This policy
would disempower our market and our consumers and could cause significant economic ripple effects for all
Minnesotans if the uninsured rate increases. This policy will reduce access to comprehensive health care and
put individuals’ future health at risk.

For these reasons, we urge you to withdraw and reconsider this policy, and we request that reasonable time
be provided for public analysis and comment on any subsequent related proposal.

Thank you for your consideration of our comment.

Sincerely,



Nate Clark
CEO



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                          PO Box 64253    •   St Pau, MN 55164-0253     •   MN sure.org
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THE GEORGE
WASHINGTON
UNIVERSITY
WASHINGTON, DC                                                                       De partment of Health Po licy a nd Manage me nt



      October 30, 2019
      To:       Dept. of State Desk Officer
                Office of Information and Regulatory Affairs
                Office of Management and Budget
                (Email: oira_submission@omb.eop.gov)

                Bureau of Consular Affairs
                Office of Visa Services
                Department of State
                (Email: PRA_BurdenComments@state.gov)

      Subject: Emergency Submission Comment on Inflation collection title”
               DS-5541 (oral information collection) regarding Immigrant Health Insurance Coverage
               OMB Control number: none
               Per Public Notice 10934, Federal Register Oct. 30, 2019
               Docket DOS-2019-0039

      Dear Sir or Madam:

      I am responding to comment on the notice of information collection about Immigrant Health Insurance
      Coverage (see relevant numbers above).

      OIRA and the Department of State should reject/withdraw approval and implementation of the information
      collection proposed in the notice, relating to Presidential Proclamation # 9945, dated October 4, 2019. There
      is no sound justification for emergency implementation of this change to immigrant visa processes, nor for
      emergency approval of the information collection.

      Asking for information about insurance coverage and/or funding sufficient to cover medical expenses, in the
      event someone is not covered, will be unduly burdensome and will pose a major burden on immigration visa
      applicants and almost certainly reduce the number of immigrants approved to enter the nation and harm the
      nation.

      The notice estimates the number of applicant asked to complete the form will be 450,500. But I am unaware
      of any analysis of the effect of this policy and information collection. But the implications of this policy are
      mostly unknown. Prior to implementing the policy and the information collection, OMB and the Department
      of State should provide:

               Estimates of the number of immigrants applying for visas previously by health insurance status and the
                number of immigrants expected to be approved by health insurance status after implementation of
                these policies. This would provide a basis to determine how many visa applications may be either
                denied or not completed because of the policy, which is needed to properly understand the impact of
                the policy. To the best of my knowledge, neither the Office of President, Department of State or OMB
                have provided such information to reasonably assess the expected impact of this policy or to assess
                the reason for the determination of the policy.

Milken Institute School of Public Health
950 New Hampshire Avenue, NW      I   6th Floor   I Washingto n, DC 20052
t 202-994-41 00
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       Estimates of changes in the number and cost of short-term insurance policies sold, which are
        encouraged under the Presidential Proclamation. as a way to show that the immigrant has insurance
        coverage. Short-term insurance plans are an extremely expensive and inefficient form of health
        insurance. For example, a recent analysis noted that “short-term plans benefit insurance companies
        more than the patients who purchase them.” (Modern Healthcare magazine, August 6, 2019
        https://www.modernhealthcare.com/insurance/short-term-health-plans-spend-little-medical-care)
        On average, less than 40% of the cost of the insurance premium for a short-term plan is actually spent
        on medical care, the majority is profit and administrative costs for the insurance companies . By
        comparison, regular health insurance plans spend about twice as much of the money collected on
        actual medical care. (And in comparison, the administrative costs for Medicaid are even lower, about
        7%, making it far more efficient than short term or regular health insurance plans.)

       The alternative noted is to show that the visa applicant has sufficient funds to cover the cost of
        “reasonably foreseeable medical expenses” according to the notice, but does not indicate how a
        consular officer will make this evaluation. It is worth noting that the average cost of an emergency
        room visit for an uninsured person was $1,332 in 2016, according to the Health Care Cost Institute
        (https://www.healthcostinstitute.org/blog/entry/er-facility-prices-charges-2009-2016) and is surely
        much higher today.

       Numerous analyses have shown how immigration benefits the United States (e.g., National Academy
        of Sciences, The Economic and Fiscal Consequences of Immigration,
        https://www.nap.edu/catalog/23550/the-economic-and-fiscal-consequences-of-immigration). This
        effort to lower legal immigration to the United States will almost certainly create economic and social
        damage to our nation.

The notice states that there will be a regular non-emergency information collection notice issued. Can I ask
whether the State Department will also issue a proposed notice, subject to comment, on the implementation
of the policy itself? Without such a change, the government would be violating the Administrative Procedures
Act. The government has not provided a reasonable basis for emergency implementation.

There is no reasonable basis for emergency approval of the information collection nor the implementation of
this policy. OMB and the Department of State should withdraw this proposed information collection and
policy.

Yours truly,



Leighton Ku, PhD, MPH
Professor of Health Policy and Management
Director, Center for Health Policy Research
Professor of Public Policy and Management
Email: lku@gwu.edu
Phone: 202-994-4143
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                            The Commonwealth of Massachusetts
                       Commonwealth Health Insurance Connector Authority
                                     100 City Hall Plaza
                                     Boston, MA 02108
CHARLES D. BAKER                                                                                             MARYLOU SUDDERS
  Governor                                                                                                     Board Chair

   KARYN POLITO                                                                                              LOUIS GUTIERREZ
Lieutenant Governor                                                                                          Executive Director




                                                                                                           October 31, 2019


  Edward J. Ramotowski
  Deputy Assistant Secretary
  Office of Visa Services
  Bureau of Consular Affairs
  U.S. Department of State
  600 19th Street, NW
  Washington, DC 20036

  Department of State Desk Officer
  Office of Information and Regulatory Affairs
  Office of Management and Budget
  725 17th Street, NW
  Washington, DC 20503



  Re: Notice of Information Collection Under OMB Emergency Review: Immigrant Health Insurance Coverage
  (Published in Federal Register Volume 84, Number 210, page 58199 on October 30, 2019)

  Dear Mr. Ramotowski:

  The Massachusetts Health Connector respectfully avails itself of the opportunity provided by the U.S.
  Department of State to comment on the “Notice of Information Collection Under OMB Emergency Review:
  Immigrant Health Insurance Coverage.”

  The Massachusetts Health Connector (“Health Connector”) is a state-based Marketplace (“SBM”) authorized
  under state law and the Affordable Care Act (ACA). The Health Connector is designed to connect Massachusetts
  residents with high quality, affordable health coverage and to promote universal health coverage in the
  Commonwealth. Today, the Health Connector serves over a quarter-million Massachusetts residents, including
  approximately 290,000 individuals as well as over 7,000 small business employees. The Health Connector’s
  efforts have contributed to the Commonwealth’s status as one of the healthiest states in the nation,1 with a


  1   See www.mass.gov/news/massachusetts-named-healthiest-state-in-the-nation.
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nation-leading health insurance rate of over 97 percent,2 and the lowest-cost average Marketplace premiums
in the country for the past three consecutive years.3

In 2006, Massachusetts enacted a landmark package of health care reforms, including state subsidy programs
for low- and moderate-income individuals, including for lawfully present immigrants, as well as a state-level
individual mandate to have health insurance, which is also applicable to lawfully present immigrants.

The Presidential Proclamation on the Suspension of Entry of Immigrants Who Will Financially Burden the United
States Healthcare System (“PP 9945”) will introduce significant risks to the Commonwealth’s hard-won progress
over the past 13 years to ensure all lawful residents have access to affordable health care and prevent the
Commonwealth from maintaining its steady and high insurance rate and limits access to health coverage
supports our Commonwealth has worked to make available for immigrants. As such, we strongly object to the
Proclamation in principle and for the infeasibility and lack of care contemplated in its implementation.
Further, we strongly object to the clearly inadequate public comment period being made available,
particularly in light of the significant implications of this proposal. Specifically:

1. As a practical matter, PP 9945 effectively precludes visa-seeking immigrants from gaining access to health
insurance coverage through Marketplaces, in contravention of the Affordable Care Act and the stated
purpose of the Proclamation.

The Proclamation and Notice of Information Collection suggest insufficient thought has gone into
contemplating the practical details of how such a policy would be carried out for affected individuals, and it
shows little understanding of procedural norms or requirements in the health benefits arena. For example,
while the Proclamation contemplates that unsubsidized commercial coverage obtained through a Marketplace
(like the Health Connector) would qualify as adequate coverage, it fails to recognize the practical difficulty, if
not impossibility, of establishing proof of such coverage while abroad. Under federal law and regulation
associated with the Affordable Care Act, an individual applying for commercial unsubsidized coverage through
a Marketplace must show proof of residency in that state as well as lawful presence, which contradicts the
Proclamation’s supposition that the individual could have already obtained such coverage or be able to prove
that it is forthcoming.

PP 9945 creates a Catch-22: Under existing federal law, immigrants cannot access insurance through
Marketplaces without verifying residency and lawful presence through a strict eligibility process this federal
Administration has championed. Yet under PP 9945, those seeking to establish residency and lawful presence
through proper immigration channels cannot do so without verifying insurance status. As a result, individuals
who otherwise could become lawfully present immigrants and qualify for health insurance under federal law
will be barred from both aims. This paradox is contrary to federal law and illogical in its practical result.

2. PP 9945 shows disregard for the economic and health benefits of ensuring health insurance coverage for
all immigrant residents, including the working poor who are still in progress on the path to economic security.

The Commonwealth has maintained a requirement for over a decade that all adults have access to health
insurance if affordable. This approach to promoting widespread coverage was developed with careful
consideration and coordination with subsidy supports and public coverage to ensure that lower-income
residents can access coverage that is affordable and comprehensive. In Massachusetts, we have a longstanding
array of public coverage programs, like the Health Connector’s ConnectorCare program which lowers the
premiums and cost sharing for eligible individuals and families that are at or below 300 percent of the federal
poverty level (FPL). These affordability supports are available to lawfully present immigrants, at the direction
of the United States Congress when it passed the Affordable Care Act, and at the direction of Massachusetts

2
    U.S. Census Bureau, at www2.census.gov/programs-surveys/demo/tables/p60/264/table6.pdf.
3   Analysis of CMS Public Use Files, at www.cms.gov/CCIIO/Resources/Data-Resources/marketplace-puf.html.
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state law. This Proclamation risks undermining those legal rights by introducing countervailing requirements
blocking access to such coverage. To do so undermines the health and economic security of those immigrants,
and their communities and the state economy. Massachusetts’s experience demonstrates that providing
affordable coverage opportunities along with requiring coverage is an effective way to reduce uncompensated
care costs. The Proclamation fails to acknowledge the criticality of affordable options to increasing insurance
coverage rates.

3. Because immigrants will not be able to seek health insurance through Marketplaces, PP 9945 undermines
the health of Massachusetts’s insurance market, potentially affecting coverage for immigrants and non-
immigrants alike.

Beyond the immediate harms to lawfully present immigrants being barred from accessing insurance through
Marketplaces like the Health Connector, the Proclamation undermines our commercial insurance market by
seeking to excise lawfully present immigrants from the coverage to which they are legally entitled. Lawfully
present immigrants in Massachusetts are more likely to represent “favorable” insurance risk, because they are
often younger, healthier, or lower-than-average utilizers of health care services when compared to the general
insured population. Several studies have concluded that immigrants are net contributors to both private
coverage and Medicare, paying more in insurance premiums than they receive in benefits.4 Similarly, the Health
Connector’s own data demonstrates that its immigrant enrollees, on average, have 25% lower medical claims
than its citizen members, a variance attributable both to the lower age of immigrant enrollees as well as lower
utilization of medical services.5 As a result, declines in take-up or retention of immigrant coverage related to
the proposed rules could have an impact on the overall risk pool—in turn leading to commercial market
premium increases for citizens and immigrants alike. Increased premiums will lead to higher rates of
uninsurance among all Americans, increasing the uncompensated care burden the Proclamation purports to
address.

By attempting to discourage immigrants from enrolling in coverage to which they are legally entitled, the
federal Administration is likely to increase commercial market premiums in Massachusetts, hurting individuals
as well as small businesses because of our unique “merged market” structure. In Massachusetts, individuals
and small businesses share a risk pool, insurance products, and premiums. As a result, changes to the Health
Connector’s individual enrollment can extend to a broader pool that includes Massachusetts’s small business
community, potentially increasing premiums across the board.

Of further concern, the proclamation seeks to permit Short-Term Limited Duration Plan (STLDP) coverage,
which do not comply with the Affordable Care Act’s consumer protections, nor those codified in Massachusetts
General Laws, to qualify as “acceptable” coverage. Such plans have been widely demonstrated to lack critical
comprehensive coverage6 and can be prohibitively expensive for individuals with pre-existing conditions.
Further, such plans do not satisfy Massachusetts’s own individual mandate requirements or meet state-based
legal requirements governing the sale of insurance coverage to individuals in the Commonwealth of
Massachusetts. Diverting qualified legal immigrants from meaningful, comprehensive coverage to which they
are legally entitled and instead directing them towards companies that engage in medical underwriting, spend


4 Zallman, L., Woolhandler, S., Touw, S., Himmelstein, D.U., and Finnegan K.E. (2018). Immigrants pay more in private insurance premiums than they
receive in benefits. Health Affairs 2018 37:10, 1663-1668.
5 Health Connector analysis of claims data.
6 A Kaiser Family Foundation analysis of STLDI sold in 2018 shows that 43% did not cover mental health services, 62% did not cover services for

substance abuse treatment, and 71% did not cover outpatient prescription drugs. No plans covered maternity care, and, in seven states, STLDI covered
none of these four benefit categories. These policies had out-of-pocket maximums as high as $30,000 and lifetime limits on care ranging from $250,000
to $2 million. A separate study from Georgetown University found that the best-selling STLDI policies in five states had out-of-pocket maximums from
$7,000 to $20,000 for only three months (compared to the maximum of $7,150 for 12 months for an ACA-compliant plan that year). See: Karen Pollitz
et al., Understanding Short-Term Limited Duration Health Insurance, Kaiser Family Foundation (Apr. 2018). Even when these benefits are covered by
STLDI, they are subject to a number of limitations and exclusions, such as dollar limits on care; and Dania Palanker et al., New Executive Order:
Expanding Access to Short-Term Health Plans is Bad for Consumers and the Individual Market, The Commonwealth Fund (Oct. 2017).
                                                                                                                                                   3
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the majority of premium revenue on non-medical expenses7, and are known to exclude core benefits like
maternity, mental health, and substance use disorder treatment threatens both individuals’ health and financial
well-being. Further, it encourages insurers to profit off of immigrants seeking a new life in the United States,
and sets affected immigrants up for failure to meet Massachusetts’s individual mandate requirements,
interfering with our long-standing stewardship of health coverage options for our residents, including lawfully
present immigrants.

In addition to these specific concerns with the implementation and policy shortcomings of the subject
Proclamation, we wish to voice our fundamental opposition to a policy that is designed to exclude lower-income
immigrants from entering the United States and accessing meaningful health coverage. This policy is counter
to the mission of the Health Connector, which is to ensure that all Massachusetts residents have access to
affordable, comprehensive health coverage to ensure their ability to live safe, productive, and fulfilling lives in
our Commonwealth and in our nation.

Finally, we strongly object to the two-day comment period afforded to the public on this proposal, which will
profoundly affect our immigration and health care systems. Two days is wholly inadequate to allow for the
sufficient public consideration that a policy of this significance merits, and this policy in no way constitutes an
emergency.

We therefore urge you to withdraw and reconsider this policy, and we request that reasonable time be provided
for public analysis and comment on any subsequent related proposal.


We thank you for consideration of our comments.


Sincerely,




Louis Gutierrez
Executive Director




7 Data from the National Association of Insurance Commissioners (NAIC) shows that STLDI insurers had an average loss ratio of 64.6% in 2017
(compared to 80% for ACA-compliant individual market policies). The three largest insurers offering STLDI had even lower loss ratios of 43.7%, 34.0%,
and 52.1%. In other words, the majority of STLDI premium revenue for those insurers went to profit, marketing, and other expenses unrelated to
medical care. See: National Association of Insurance Commissioners, 2017 Accident and Health Policy Experience Report, at 83 (2018).
                                                                                                                                                        4
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t ·... .· .J\ .So~         Office of Governor Tim Walz
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    ',l.,_                 75 Reverend Dr. Martin Luther King Jr. Blvd.  Suite 130  Saint Paul, MN 55155-1611




                                                           October 31, 2019


     Edward J. Ramtowski
     Deputy Assistant Secretary, Visa Services
     U.S. State Department
     Bureau of Consular Affairs
     600 19th Street, NW
     Washington, DC 20036

     Department of State Desk Officer
     Office of Information and Regulatory Affairs
     Office of Management and Budget
     725 17th Street, NW
     Washington, DC 20503

     Via www.regulations.gov

     Title of Information Collection: Immigrant Health Insurance Coverage
     Docket Number: DOS-2019-0039
     Form Number: DS-5541

     Dear Mr. Ramotowski:

       I’m writing to provide comment on the State Department’s “Notice of Information Collection Under
     OMB Emergency Review: Immigrant Health Insurance Coverage”.

             As I understand it, under the Presidential Proclamation 9945, consular officers may consider whether
     an applicant for an immigrant visa would be considered a “burden” if they are not covered by approved health
     insurance within 30 days of their arrival unless they have the financial resources available to pay for reasonably
     foreseeable medical costs.

             I have two concerns to outline for you today. First, the premise that any person, whether they are an
     immigrant or person born in the United States, could be considered a “burden” is inconsistent with the values
     of Minnesotans. Rules, proclamations, and other government regulations that make reference to, imply, or
     categorize any person in this way is inappropriate.

             Second, for state regulators, impacted industries, and the public to meaningfully comment and
     recommend changes to proposed rules and proclamations, adequate time should be provided to review and
     consider the changes and write a meaningful response. Opening the comment period on October 30, 2019 and
     subsequently closing the comment period on October 31, 2019 does not allow for meaningful comment.
     Substantive changes like this proposal have the potential to cause confusion and chaos for impacted people,
     especially when the process is rushed.


     Voice: (651) 201-3400 or (800) 657-3717            Fax: (651) 798-1850                       MN Relay (800) 627-3529
     Website: http://mn.gov/governor/                                                             An Equal Opportunity Employer
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                                                                                                     000446
         For these reasons, I urge you to withdraw and reconsider this policy. If you choose to proceed with
this policy, I request reasonable time be provided for analysis and comment by state regulators, impacted
industries, and members of the public. I also request that the language used to describe people in rules,
proclamations, and regulations recognizes the dignity and respect that each human deserves.


Thank you for your consideration.

                                                                 Sincerely,




                                                                 Tim Walz
                                                                 Governor




Voice: (651) 201-3400 or (800) 657-3717          Fax: (651) 798-1850                      MN Relay (800)
627-3529
Website: http://mn.gov/governor/                                                          An Equal
Opportunity Employer
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                                                                                                           000447
                                                                                                      Headquarters
   Pediatric~                                                                                         5 Hanover Square
                                                                                                      Suite 1401
        Nurse
      NATIONAL
 ASSOCIATION OF                                                                                       New York, NY 10004
                                                                                                      P.917-746-8300
Practitioners"                                                                                        www.napnap.org



October 31, 2019

Department of State Desk Officer                              Office of Visa Services
Office of Information and Regulatory Affairs                  Bureau of Consular Affairs
Office of Management and Budget                               Department of State
725 17th Street, NW                                           2201 C St., NW
Washington, DC 20503                                          Washington, DC 20520

Re:     Docket # DOS-2019-0039; Public Notice 10934 – Notice of Information Collection Under OMB
        Emergency Review: Immigrant Health Insurance Coverage
        (Submitted via www.regulations.gov; oira_submission@omb.eop.gov; PRA_BurdenComments@state.gov)

Dear Officers:

On behalf of more than 9,000 pediatric nurse practitioners (PNPs) and pediatric-focused advanced practice registered
nurses (APRNs) committed to providing optimal health care to children, the National Association of Pediatric Nurse
Practitioners (NAPNAP) appreciates the opportunity to provide its comments in response to the October 30, 2019
notice of information collection (Docket # DOS-2019-0039; Public Notice 10934 – Notice of Information Collection
Under OMB Emergency Review: Immigrant Health Insurance Coverage; 84 Fed. Reg. 210; pp. 58199-58200)
requesting review and approval of information collection on immigrant health insurance coverage in accordance with
the emergency review procedures of the Paperwork Reduction Act of 1995. NAPNAP strongly objects to the use of
these procedures, permitting only a 48-hour comment period, for an administrative action that is clearly not an
emergency, and for rushing to implement a policy that would cause significant harm to immigrant children and their
families.

Pediatric nurse practitioners (PNPs) and fellow pediatric-focused advanced practice registered nurses (APRNs) are
committed to providing optimal health care to children in primary, specialty and acute care settings. APRNs who
concentrate on children’s care, including PNPs, have attained enhanced education in pediatric nursing and health
care using evidence-based practice guidelines. They have provided quality, accessible, affordable healthcare to
children and families for more than 50 years in an extensive range of community practice settings including
pediatric offices, clinics, schools, and hospitals. Practicing in primary care, specialty, and acute care, they diagnose
illnesses, prescribe medications and are fully qualified to provide both primary and acute healthcare services to
children in a trauma-informed, culturally responsive, evidence-based manner. They are often the front-line health
care providers treating immigrant children who, due to the physical and emotional hardships they have endured, are
in need of significant and often prolonged medical and mental health care.

NAPNAP and its members are committed to ensuring that all children have access to comprehensive health care,
without regard to where they were born. We honor that commitment by providing essential services in the hospitals,
community health centers, and pediatric offices that care for those children. Based on that commitment, we strongly
oppose the collection of information on health insurance status as proposed in this emergency submission and in the
underlying Presidential Proclamation (PP 9945) it seeks to implement without adequate analysis of its impact. We
are concerned that the proclamation threatens to undermine the nation’s health, restricting the ability of immigrant
children and their families to purchase comprehensive health insurance available through Affordable Care Act
marketplaces even though Congress acted to make lawfully residing immigrants eligible for subsidized marketplace
coverage because doing so advances the health of our nation. The proclamation also allows short-term plans, which
do not comply with the Affordable Care Act’s consumer protections, to qualify as “acceptable” coverage. These
short-term plans lack comprehensive coverage, particularly when it comes to the services children need, and they
often fail to provide access to qualified pediatric providers such as APRNs focused on children’s care. They can
also be prohibitively expensive for individuals with pre-existing conditions. Forcing immigrant families to choose
less comprehensive coverage could increase uncompensated care costs for providers, when patients can’t afford
needed health care that is not covered by these limited plans.
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Desk Officers, Office of Management and Budget, Department of State                                         Page 2
October 31, 2019

In summary, NAPNAP is extremely disappointed that the administration has chosen to attempt to impose such a
needlessly burdensome requirement on immigrant families and children – and to attempt to do so without allowing
the appropriate time for experts and stakeholders to analyze the proposal and assess its impact on vulnerable
populations and the health care professional who serve them. We believe the only appropriate solution is for the
administration to immediately rescind this proclamation before it goes into effect and to follow the appropriate
administrative and regulatory procedures before it considers proposing a policy that would have such seriously
harmful effects on the health of immigrant children and families.

Sincerely,


Rajashree Koppolu, RN, MSN, CPNP-PC/AC, MSL
President
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                                                                                                           000449
                                                                                                      Headquarters
   Pediatric~                                                                                         5 Hanover Square
                                                                                                      Suite 1401
        Nurse
      NATIONAL
 ASSOCIATION OF                                                                                       New York, NY 10004
                                                                                                      P.917-746-8300
Practitioners"                                                                                        www.napnap.org



October 31, 2019

Department of State Desk Officer                              Office of Visa Services
Office of Information and Regulatory Affairs                  Bureau of Consular Affairs
Office of Management and Budget                               Department of State
725 17th Street, NW                                           2201 C St., NW
Washington, DC 20503                                          Washington, DC 20520

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marketplaces even though Congress acted to make lawfully residing immigrants eligible for subsidized marketplace
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also be prohibitively expensive for individuals with pre-existing conditions. Forcing immigrant families to choose
less comprehensive coverage could increase uncompensated care costs for providers, when patients can’t afford
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Desk Officers, Office of Management and Budget, Department of State                                         Page 2
October 31, 2019

In summary, NAPNAP is extremely disappointed that the administration has chosen to attempt to impose such a
needlessly burdensome requirement on immigrant families and children – and to attempt to do so without allowing
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Rajashree Koppolu, RN, MSN, CPNP-PC/AC, MSL
President
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Elizabeth G. Taylor
Executive Director                     October 31, 2019
Board of Directors                     Via email: oira_submission@omb.eop.gov and
Robert N. Weiner                       PRA_BurdenComments@state.gov
Chair
Arnold & Porter, LLP
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Vice Chair
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Prudential Financial, Inc.             Bureau of Consular Affairs, Office of Visa Services
Miriam Harmatz
                                       Department of State
Secretary
Florida Health Justice Project         Docket Number: DOS-2019-0039
Nick Smirensky, CFA
Treasurer
New York State Health Foundation
                                       RE: Emergency Submission Comment on Immigrant
                                       Health Insurance Coverage (DS05541)
L.D. Britt, MD, MPH
Eastern Virginia Medical School

Ian Heath Gershengorn
Jenner & Block
                                       To whom it may concern,
Robert B. Greifinger, MD
John Jay College of
                                       The National Health Law Program (NHeLP) submits the
Criminal Justice                       following comments in response to the Notice of Request
John R. Hellow
                                       for OMB Emergency Review on Immigrant Health
Hooper, Lundy & Bookman, PC            Insurance Coverage. NHeLP, founded in 1969, protects
Michele Johnson
                                       and advances the health rights of low-income and
Tennessee Justice Center               underserved individuals and families by advocating,
Lourdes A. Rivera
                                       educating, and litigating at the federal and state levels.
Center for Reproductive Rights

William B. Schultz
                                       We vigorously oppose the proposal to collect information as
Zuckerman Spaeder                      set forth in the notice, the truncated process to solicit public
Donald B. Verrilli, Jr.
                                       comments, and the underlying October 4, 2019 Presidential
Munger, Tolles & Olson                 Proclamation (“PP 9945”) mandating visa applicants
Ronald L. Wisor, Jr.
                                       abroad to purchase health insurance coverage. There is no
Hogan Lovells                          evidence of an emergency situation to warrant a 48-hour
Senior Advisor to the Board
                                       comment period, and there is certainly no evidence that
Rep. Henry A. Waxman                   mandating insurance coverage of individuals applying for
Waxman Strategies                      immigrant visas will address the nation’s growing number of
General Counsel                        uninsured individuals.
Marc Fleischaker
Arent Fox, LLP
                                       The Proclamation is not about improving access to health
                                       care or making sure hospitals and health care providers are
                                       paid. Instead, it serves as yet another constraint on legal
                                       immigration, imposing a wealth test that will
                                       disproportionately harm people of color, particularly those


                        1444 I Street NW, Suite 1105 · Washington, DC 20005 · (202) 289-7661
                     3701 Wilshire Boulevard, Suite 750 · Los Angeles, CA 90010 · (310) 204-6010
                     200 N. Greensboro Street, Suite D-13 · Carrboro, NC 27510 · (919) 968-6308
                                                    www.healthlaw.org
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with low incomes.

The Proclamation seeks to revive the arbitrary, unlawful multi-factor public charge test,
by converting it to a single-factor test for immigrants abroad that evaluates one’s ability
to obtain health insurance or pay for foreseeable medical care. Just as the public
charge rule, it seeks to overturn a century of immigration law. However, this time it is
done through presidential fiat.

We believe the Proclamation puts the health of communities, families, and individuals at
risk because it will force people to buy costly health insurance that likely provides less
comprehensive coverage instead of more affordable plans that cover a robust set of
services for which they are eligible. The purported goal of the Proclamation is to
decrease the cost of uncompensated care in the U.S., yet the Proclamation excludes
many of the options that have been shown to reduce uncompensated care costs, such
as Medicaid coverage for adults and subsidized qualified health plans offered through
the marketplace. 1 Instead, the Proclamation recognizes short-term plans, which do not
comply with the Affordable Care Act’s consumer protections, to qualify as “acceptable”
coverage. Frequently referred to as “junk plans,” short-term plans lack comprehensive
coverage and can be prohibitively expensive for individuals with pre-existing conditions
and people with disabilities. Furthermore, short-term plans routinely exclude coverage
of important categories of services, such as maternity care, prescription drugs, and
mental health services, leaving individuals without the ability to pay, and resulting in
uncompensated care for providers and ultimately higher costs for the federal
government. 2 In fact, because of the financial harms associated with expanding access

1 See, e.g., Craig Palosky, Kaiser Family Found., A Comprehensive Review of Research Finds
That the ACA Medicaid Expansion Has Reduced the Uninsured Rate and Uncompensated Care
Costs in Expansion States, While Increasing Affordability and Access to Care and Producing
State Budget Savings (Aug. 15, 2019), https://www.kff.org/medicaid/press-release/a-
comprehensive-review-of-research-finds-that-the-aca-medicaid-expansion-has-reduced-the-
uninsured-rate-and-uncompensated-care-costs-in-expansion-states-while-increasing-
affordability-and-access-to-c/; Larisa Antonisse et al., Kaiser Family Found., The Effects of
Medicaid Expansion under the ACA: Updated Findings from a Literature Review (Aug. 15,
2019), https://www.kff.org/medicaid/issue-brief/the-effects-of-medicaid-expansion-under-the-
aca-updated-findings-from-a-literature-review-august-2019/; Jessica Schubel & Matt Broaddus,
Ctr. on Budget & Policy Priorities, Uncompensated Care Costs Fell in Nearly Every State as
ACA’s Major Coverage Provisions Took Effect (May 23, 2018), https://www.cbpp.org/
research/health/uncompensated-care-costs-fell-in-nearly-every-state-as-acas-major-coverage.
2 See, e.g., Linda J. Blumberg et al. Urban Inst., Updated: The Potential Impact of Short-Term

Limited-Duration Policies on Insurance Coverage, Premiums, and Federal Spending (Mar.
2018),
https://www.urban.org/sites/default/files/publication/96781/2001727_updated_finalized.pdf;
Karen Politz et al., Kaiser Family Found., Understanding Short-Term Limited Duration Health
Insurance (Apr. 23, 2018), https://www.kff.org/health-reform/issue-brief/understanding-short-
term-limited-duration-health-insurance/; Laura Ungar, NPR, A Woman's Grief Led To A Mental
Health Crisis And A $21,634 Hospital Bill (Oct. 31, 2019), https://www.npr.org/sections/health-

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    HEALTH
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to short-term plans, some states have banned all or most short-term plans and twenty-
two states limit the initial duration of a short-term plan to less than 12 months. 3 The
Proclamation is simply creating an unnecessary barrier to comprehensive health
coverage and will increase uncompensated care costs for providers, when patients
cannot afford needed health care services that are not covered by these junk plans.

Moreover, this policy is slated to take effect just days after the ACA’s marketplace open
enrollment period starts in most of the country. As a result, it is likely to create additional
fear and confusion among families that include immigrants and may prevent some from
enrolling out of fear that enrolling in subsidized Marketplace plans will negatively impact
their families’ immigration goals. As a result, the proclamation will raise uninsured rates
among lawfully present immigrants and potentially their U.S. citizen family members.
That, in turn, will increase uncompensated care costs, exacerbating the very problem
the proclamation purports to address.

In the public notice, the Department of State (Department) seeks approval to verbally
ask immigrant visa applicants covered by PP 9945 whether they will have health
insurance coverage within 30 days of entry to the U.S., or the financial resources to pay
for reasonably foreseeable medical expenses. Individuals who cannot fulfill this
requirement will be denied entry into the U.S. While the Department does not seek
documentation or completion of a written form to collect this information, the
requirement will nonetheless create an unnecessary burden on visa applicants who
must navigate an already burdensome and costly filing and application process. Visa
applicants will be required to have an understanding of the U.S. health insurance
system, research and select a specific health insurance plan, enroll in coverage, and
know the specific date coverage will begin—all from outside of the U.S. Moreover, the
Department’s proposed methodology for consular officers to ask for applicants to
identify “such other information related to the insurance plan as the consular officer
deems necessary” means that the type of information asked and collected will likely
vary from consular officer to consular office, and be inconsistently applied across the
consular offices. This inconsistency will increase confusion over the requirements and
will likely create inequities in approval and processing among visa applicants.

This inconsistency will be further exacerbated by the fact that the Department of State
and consular officers lack expertise in evaluating different types of health insurance

shots/2019/10/31/771397503/a-womans-grief-led-to-a-mental-health-crisis-and-a-21-634-
hospital-bill; American Cancer Society Cancer Action Network, Inadequate Coverage: An ACS
CAN Examination of Short-Term Health Plans (May 13, 2019),
https://www.fightcancer.org/sites/default/files/
ACS%20CAN%20Short%20Term%20Paper%20FINAL.pdf.
3 See Dania Palanker et al., Commonwealth Fund., States Step Up to Protect Insurance

Markets and Consumers from Short-Term Health Plans (May 2, 2019),
https://www.commonwealthfund.org/publications/issue-briefs/2019/may/states-step-up-protect-
markets-consumers-short-term-plans.

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coverage. Consular officers will not know what information is reasonable to request from
a health insurance plan or how to evaluate the information that is given. In fact, because
of the lack of regulation on short-term plans, and the way those plans are marketed, it is
often difficult for consumers to distinguish between short term and ACA-compliant
plans. 4 Consular officers, who are not health insurance experts, may likewise mistake
short-term plans for Marketplace plans, resulting in erroneous and arbitrary denials of
visas.

In conclusion, NHeLP opposes the Proclamation in its entirety, and the information
collection request on health insurance status as proposed in this notice.

We have included numerous citations to supporting research, including direct links to
the research. We direct the Department to each of the studies we have cited and made
available through active links, and we request that the full text of each of the studies
cited, along with the full text of our comment, be considered part of the formal
administrative record for purposes of the Administrative Procedure Act.

Please contact Priscilla Huang (huang@healthlaw.org) or Sarah Grusin
(grusin@healthlaw.org) if you need any additional information.


Sincerely,




Elizabeth Taylor,
Executive Director




4 See, e.g., Sabrina Corlette et al., Urban Inst., The Marketing of Short-Term Health Plans: An
Assessment of Industry Practices and State Regulatory Responses (Jan. 2019),
https://www.urban.org/sites/default/files/publication/99708/moni_stldi_final_0.pdf; Nat’l Ass’n of
Insurance Comm’rs, Report on Testing Consumer Understanding of a Short-Term Health Plan
(April 2019), https://healthyfuturega.org/wp-content/uploads/2019/04/Consumer-Testing-
Report_NAIC-Consumer-Reps.pdf.

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    HEALTH
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                   NATIONAL

               DISABILITY RIGHTS
               Protection & Advocacy for Individua ls with Disabil ities



October 31, 2019

Edward J. Ramotowski
Deputy Assistant Secretary
Visa Services
Bureau of Consular Affairs
Department of State

Department of State Desk Office
Office of Information and Regulatory Affairs
Office of Management and Budget

Regarding Immigrant Health Insurance Coverage Docket Number DOS-2019-0039 Form Number
DS-5541

Dear Deputy Assistant Secretary Ramotowski:

The National Disability Rights Network (NDRN) writes to express our strong opposition to the
October 4, 2019 Presidential Proclamation mandating that visa applicants abroad buy certain
approved health insurance and the efforts by the State Department and the Office of
Management and Budget to implement the proclamation. The health insurance requirement is
arbitrary and discriminatory against people with disabilities and pre-existing conditions.
NDRN is the non-profit membership organization for the federally mandated Protection and
Advocacy (P&A) agencies for individuals with disabilities. The P&As were established by
Congress to protect the rights of people with disabilities and their families. The P&As are in all
50 states, the District of Columbia, Puerto Rico, and the U.S. Territories (American Samoa,
Guam, Northern Mariana Islands, and the U.S. Virgin Islands), and there is a P&A affiliated with
the Native American Consortium in the Four Corners region of the Southwest. Collectively, the
57 P&As are the largest provider of legally based advocacy services to people with disabilities in
the United States.

This proclamation, declaring that Medicaid coverage for adults and subsidized State
marketplace plans do not meet the new health insurance requirements, will bar many people
       820 First Street, NE Suite 740 • Washington, DC 20002 • PH 202-567-3516 • FAX 202-408-9520 •
                                         Info@c-c-d.org • www.c-c-d.org
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with disabilities from lawful entry into the United States. This is an issue of great concern to our
network as it will impact people with disabilities, and their families who wish to travel with
them to the U.S.

Medicaid coverage for adults does not count as approved health insurance. Medicaid is the
largest insurer in this country for long-term services and supports, and mental health and
substance abuse treatment, filling the gaps left by insurance plans that are not required to
cover many of these services. Most home and community-based services are not available
through private insurance. Many people with disabilities rely on Medicaid to work, attend
school, remain healthy and participate in the community with the necessary supports that
many of the “approved” options will not provide.

The proclamation also restricts immigrants’ ability to purchase comprehensive health insurance
available through the Affordable Care Act (ACA) marketplaces, coverage that includes
protections including requirements that an insurer cannot charge more or deny coverage based
on a pre-existing health condition. Congress elected to make lawfully residing immigrants
eligible for subsidized marketplace coverage because doing so advances the health of our
nation. The proclamation puts the nation’s health at risk by ignoring Congress and instead
requiring individuals to buy costly and less comprehensive health coverage.

Notably, while rejecting the types of coverage that many people with disabilities rely on, the
proclamation allows catastrophic coverage and short-term plans to qualify as acceptable
coverage. Short-term plans, for example, lack comprehensive coverage, can be prohibitively
expensive for individuals with pre-existing conditions, and can deny people coverage based on
their medical history and set arbitrary service limits. This proclamation is not about protecting
existing taxpayer resources or promoting health insurance. It puts a barrier between individuals
and the coverage they need and for which they may be eligible, and it establishes yet another
administrative hurdle to limit who can obtain a valid visa. In fact, forcing immigrants to avoid
comprehensive insurance that includes the benefits they need could increase uncompensated
care costs for providers, when patients can’t afford needed health care that is not covered by
these bare-bones plans.

Immigrants with a disability must have a fair opportunity to enter and reside legally in the
United States, without unnecessary or discriminatory restrictions based on their disability. The
approved health care proclamation is another unwelcome throwback to the historical isolation,
segregation and exclusion of people with disabilities. It will deny immigration to individuals
based on stereotypes and fears about disability and chronic illness. The Administration should
not move forward to implement this proclamation and it should be rescinded by.

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Sincerely,


Curt Decker
Executive Director




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                                                                                            NATIONAL
                                                                                            IMMIGRATION
                                                                                            LAW CENTER




      October 31, 2019



      To:      Office of Management and Budget, State Desk Officer in the Office of Information and
               Regulatory Affairs
               The Department of State’s Bureau of Consular Affairs, Office of Visa Services

      Re:      Public Notice: 10934. Notice of Information Collection Under OMB Emergency Review:
               Immigrant Health Insurance Coverage (Docket Number: DOS–2019–0039)

      To whom it may concern:

      The National Immigration Law Center (NILC) is responding to the notice of information collection
      referenced above, to express our serious concerns about the “Immigrant Health Insurance
      Questionnaire” (DS-5541) and its underlying policy. NILC opposes the proposed form for collecting
      information on immigrant health insurance, the Presidential Proclamation that prompted its issuance,
      and the emergency PRA review used to seek clearance.

      Founded in 1979, NILC is the leading advocacy organization in the U.S. exclusively dedicated to
      defending and advancing the rights and opportunities of low-income immigrants and their families. We
      focus on issues that promote the well-being and economic security of immigrants and their families:
      health care and safety net programs; education and training; workers’ rights; and federal and state
      policies affecting immigrants. To advance our mission, we use three integrated strategies: litigation,
      state and federal policy advocacy, and strategic communications.

      For nearly four decades, NILC has been at the forefront of many of the country’s greatest challenges in
      addressing immigration issues. NILC is a leading organization in the immigrant justice movement,
      playing a central role in shaping policy—including at the state and local level—and in initiating creative
      litigation strategies that expand opportunities for immigrant families with low incomes.

      Both the process and the underlying requirement contemplated by the DS-5541 are unworkable. If
      implemented, they will require consular staff to conduct reviews that are outside the scope of their
      expertise. They will impose new burdens on U.S residents who seek to remain with or reunite with their
      family members, and on individuals who are otherwise eligible to immigrate to this country.

      Form DS-5541

      The DS-5541 is intended to implement Presidential Proclamation 9945 (the Proclamation), which
      requires that persons immigrating to the U.S. be covered by ‘approved’ health insurance within 30 days
      of their arrival in this country, unless they have the resources to pay for ‘reasonably foreseeable’
      medical costs. Certain categories of persons are exempt from this requirement, including returning
      lawful permanent residents, persons with Special Immigrant Visas, refugees, and children under 18
      unless entering with an immigrating parent. Parents of adult U.S. citizens (persons seeking IR-5 visas)
                                     LOS ANGELES (Headquarters)                 WASHINGTON, DC
                                     3450 Wilshire Blvd. Box #108 - 62          PO Box No. 34573
www.nilc.org                         Los Angeles, CA 90010                      Washington, DC 20043
                                     213 639-3900                               202 216-0261
                                     213 639-3911 fax                           202 216-0266 fax
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must be able to show that their health care would not impose a substantial burden on the U.S. health
care system. The information required on the DS-5541 is intended to be presented in an oral interview
format.

The DS-5541 is wholly insufficient to implement this problematic policy. It provides no information about
how the consular officer is to determine whether the person being interviewed is subject to its scope.
For example, it fails to explain the standards or process for determining that an IR-5 visa applicant’s
health care costs won’t ‘impose a substantial burden’ on the U.S. health care system. The form fails to
communicate what types of health insurance satisfy the Proclamation’s requirements and leaves
unclear whether the oral interview will be the first time an intending immigrant learns about this new
obligation. In addition, it provides no information about the evidence an applicant needs to present.

Moreover, the proposed implementation of the information collection as an oral interview presents the
risk of inconsistent questioning and inequitable outcomes, with no formal collection of information to be
preserved for later review. No standards are provided to determine the applicant’s ability or intention to
purchase medical insurance within 30 days of admission.

The Proclamation

In addition to our concerns about the information collection process, we strongly object to the
underlying policy created by the Proclamation.

The stated reason for the Proclamation is a pretense for adopting another policy that would restrict
immigration. The Proclamation pretends to suspend the entry of persons whom the President finds
detrimental to the interests of the U.S., by denying immigrant visas to individuals whose entry would
“financially burden the U.S. healthcare system.” In support of this claim, the Proclamation asserts,
without reference to research, that care provided to the uninsured results in uncompensated care costs
that are passed on to “the American people” as higher taxes, higher premiums and higher fees for
medical services. The Proclamation further asserts, without providing a source, that the health care
system’s problems with uncompensated care are exacerbated by the admission of persons who have
not demonstrated the ability to pay for their health care costs.

The Proclamation’s stated rationale ignores the fact that a small fraction of the U.S. uninsured
population is comprised of immigrants, as well as the reasons that immigrants are uninsured at higher
rates than U.S. Citizens. Of the 27.4 million nonelderly persons without insurance in the U.S., only
about 15% are lawfully present immigrants.1 The vast majority are U.S. citizens. Immigrants are more
likely to be uninsured because of policy choices, including restrictive eligibility rules in public programs,
and policies, such as public charge, that discourage eligible immigrants from participating in programs
for which they are eligible.2

The Proclamation’s claims about the effects of uninsured immigrants are likewise suspect. When
people without insurance seek health care, they are generally billed for services and are often asked to
pay before receiving treatment for non-emergency conditions. Moreover, public and private programs
often offset the costs of uncompensated care, and there is limited evidence that uncompensated care
causes hospitals to charge higher prices to others. In fact, immigrants benefit the health care system.
They are generally younger and healthier and use less health care than the U.S. population as a whole,

1 President Trump’s Proclamation Suspending Entry for Immigrants without Health Coverage (Kaiser Family
Foundation, October 10, 2019) https://www.kff.org/disparities-policy/fact-sheet/president-trumps-proclamation-
suspending-entry-for-immigrants-without-health-coverage/
2 Id.
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pay more in health insurance premiums than they receive in benefits, and are net contributors to the
Medicare trust fund.3

No explanation or justification is offered for the Proclamation’s 30-day timeline, the designation of the
insurance products that are ‘approved’ or the exclusion of Medicaid for adults and private insurance
plans purchased with the subsidies created by the Affordable Care Act (ACA).

The Proclamation is unworkable by design. The U.S. health insurance market is so uniquely complex
that the Centers for Medicare and Medicaid Services (CMS) spends millions of dollars each year for
outreach, education, and enrollment assistance to help consumers enroll in coverage.4 It is
unreasonable to assume that people residing outside of the U.S. will understand the available options
and choose a health insurance product.

Some applicants may be able to select a plan through the assistance of U.S.-resident relatives.
However, consumers will rarely be able to enroll in health insurance coverage until they begin residing
in the state in which they will obtain coverage. This means they are unlikely to have detailed
information about the coverage at the time of their consular interview.

While the stated purpose of the Proclamation is to reduce uncompensated health care costs, it is more
likely to reduce the number of people enrolled in comprehensive health insurance.

Congress intended that lawfully present immigrants, including recent entrants, with incomes under
400% of the Federal Poverty Line obtain comprehensive coverage through Medicaid or if ineligible,
through ACA marketplace plans with premium tax credits. The Proclamation effectively puts those
sources of coverage out of the reach of new immigrants, driving those without employer, family or
TriCare coverage toward short-term or other substandard plans that may not cover needed medical
services. If individuals opt for such a plan and get sick or injured, they will have trouble affording out-of-
pocket expenses, and medical providers will carry the burden of uncompensated care.

Implementation of the Proclamation, which is slated to occur just days after the beginning of the ACA’s
open enrollment period, will add to the fear and confusion affecting immigrant and mixed-status families
and discourage them from enrolling. U.S. residents may fear that enrolling in coverage with ACA
premium tax credits or Medicaid will interfere with their families’ immigration goals. As a result, the
proclamation will raise uninsured rates among lawfully present immigrants and their U.S. citizen family
members. This, in turn, will increase the need for uncompensated care, exacerbating the very problem
the proclamation purports to address.5

3 Lila Flavin, Leah Zallman, Danny McCormick, and J. Wesley Boyd, Medical Expenditures on and by Immigrant
Populations in the United States: A Systematic Review, (Boston, MA: Tufts University School of Medicine, 2018),
https://doi.org/10.1177%2F0020731418791963; Leah Zallman, Steffie Woolhandler, Sharon Touw, David U.
Himmelstein, and Karen E. Finnegan, Immigrants Pay More In Private Insurance Premiums Than They Receive In
Benefits (Health Affairs, October, 2018) https://www.healthaffairs.org/doi/abs/10.1377/hlthaff.2018.0309, Leah
Zallman, Steffie Woolhandler, David Himmelstein, David Bor, and Danny McCormick, Immigrants Contributed An
Estimated $115.2 Billion More To The Medicare Trust Fund Than They Took Out In 2002–09,
https://www.healthaffairs.org/doi/10.1377/hlthaff.2012.1223
4 Katie Keith, CMS To Maintain Navigator Funding At $10 Million For 2020, 2021 (Health Affairs, May 29, 2019)

https://www.healthaffairs.org/do/10.1377/hblog20190529.659554/full/, New Call for Applications: $ 6 Million
Available to Help Increase Enrollment of American Indian and Alaska Native Children in Medicaid and CHIP,
InsureKidsNow.Gov, https://www.insurekidsnow.gov/campaign/funding-opportunity/index.html
5 Brief of Amici Curiae, City and County of San Francisco and County of Santa Clara v. U.S. Citizenship and Immigration

Services, et al., No. 4:19-CV-04717, https://www.aha.org/system/files/media/file/2019/09/amici-curiae-brief-of-aha-hospital-
groups-on-dhs-public-charge-rule-9-11-1019.pdf
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Emergency Review Process

OMB has not provided a satisfactory explanation for its publication of the information collection notice
with a 48-hour comment period. Emergency approvals are to be used in very limited circumstances
where the standard Paperwork Reduction Act (PRA) period would result in public harm or cause the
agency to miss a court date or statutory deadline. There is no law that requires implementation of the
Proclamation by November 3, and there is no basis for believing that any problems resulting from the
presence of uninsured immigrants will be exacerbated during a standard PRA clearance process.

Taking adequate time to develop, seek comments on, and evaluate an estimate of the burdens of the
information collection will not cause any significant harm, much less a harm so great as to necessitate
the emergency approval of this information collection instrument. As the Department’s notice points
out, the Proclamation only provides that the Secretary of State “may” establish standards to implement
this policy; it imposes no deadline on the establishment of those standards. The Department should do
so in a thoughtful and transparent manner, soliciting public comment in the usual manner for a period
sufficient to draw useful information from the public.

Evaluate whether the proposed information collection is necessary for the proper functions of
the Department:

The information collection implements a policy that creates a new health insurance mandate for certain
individuals seeking to immigrate to the United States. This is not necessary for the proper functioning
of the Department.

The Department has no expertise in implementing a health insurance mandate and the mandate serves
no purpose that furthers the objectives of the Department. Design and implementation of mandates to
obtain health insurance is extremely complicated, as evidenced by the extensive deliberations and rule-
making the Department of the Treasury, the Department of Health and Human Services, and other
agencies undertook over several years to implement the Affordable Care Act. The Department lacks
the expertise that those agencies relied upon and certainly cannot design a workable mandate without
a meaningful opportunity for public comment.

Evaluate the accuracy of our estimate of the time and cost burden of this proposed collection,
including the validity of the methodology and assumptions used.

The estimate of ten minutes per response is highly implausible. First, the fact that the questions will be
asked in an oral interview will inevitably lead to questions from applicants, prolonging the interview
process. Second, if applicants know about the Proclamation’s requirements in advance, the ten-minute
estimate fails to account for the time they will need to spend learning about the complex U.S. insurance
market, researching the availability of health insurance products that can be purchased from outside
the country (if any) and selecting a product.

The ten-minute estimate is particularly problematic in the case of applicants who plan to rely on their
own resources. These individuals and consular officers would need to understand their health status,
the treatment protocols accepted in the U.S. for their health conditions and the costs of those
treatments. Because different providers have very different rates, applicants may need to “shop” for
providers long-distance to obtain rate information that will allow them to qualify. In a country in which
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‘surprise medical bills’ resonates as a political issue, it’s hard to imagine how anyone outside the U.S.
could estimate the cost of receiving treatment here accurately.6

How the Department can enhance the quality, utility, and clarity of the information to be
collected.

The Department can enhance the quality, utility, and clarity of the information to be collected by limiting
the request to information readily known by the prospective immigrant. In most cases, prospective
immigrants know only whether they intend to seek health insurance coverage upon arrival in the U.S.
or, if not, whether they have a given level of financial resources. The Department should limit its
information collection request to those facts alone.

Conclusion

NILC strongly opposes the proposed information collection and the proclamation on which it is based.
We respectfully request that the information collection be withdrawn.

Please contact me if additional information is required. I can be reached by email at lessard@nilc.org.

Respectfully,


Gabrielle Lessard
Senior Policy Attorney




6
 Emmarie Huetteman, Legislation To End Surprise Medical Bills Has High Public Support — In Both Parties (Kaiser Health
News, Sept. 119, 2019) https://khn.org/news/legislation-to-end-surprise-medical-bills-has-high-public-support-in-both-
parties/
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~~
national partnership
for women & families
Because actions speak louder than words.

                     ~ J
        October 31, 2019

        Department of State, Office of Information and Regulatory Affairs, Office of Management and
        Budget
        Department of State’s Bureau of Consular Affairs, Office of Visa Services
        Docket Number: DOS-2019-0039

        Re: Notice of Information Collection Under OMB Emergency Review; Immigrant
        Health Insurance Coverage

        To whom it may concern:

        I write on behalf of the National Partnership for Women & Families in response to the
        Emergency Submission Comment on Immigrant Health Insurance Coverage. The National
        Partnership works to improve the lives of women and families by achieving equality for all
        women, and I write to register our adamant opposition to the presidential proclamation on
        Immigrant Health Insurance Coverage.

        The Administration’s move to deny entry or residency to those without proof of health insurance
        is the latest assault on the health and well-being of women and families in a relentless campaign.

        That includes the callous separation of children from their parents at the border, the deaths of
        migrant children while in U.S. custody, placing pregnant women in detainment, the inhumane
        conditions for in detention, and the threat to deport immigrants who seek Medicaid or any public
        assistance.

         This shameful policy places immigrant women and their families at tremendous risk.
        Proponents of the policy make the dubious claim that it will alleviate high health care costs. But
        the reality is that it is yet one more attempt to sabotage the Affordable Care Act-completely
        failing to address the underlying challenges of our health care system, while further victimizing
        immigrants. If enacted, it will disproportionately harm immigrant women of color and poorer
        immigrants. The message could not be more explicit, only those who are wealthy and white are
        welcome.

        This proclamation violates the core principles of our democracy, as exemplified by the 48-hour
        comment period under the pretense of an emergency. We strongly urge the Administration to
        rescind this proclamation before it goes into effect.

        Sincerely,




        Debra L. Ness
        President


                 1875 connecticut avenue, nw ~ suite 650 ~ washington, dc 20009 ~ phone: 202.986.2600 ~ fax: 202.986.2539
                                  email: info@nationalpartnership.org ~ web: www.nationalpartnership.org
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                   regon
                  Kate Brown, Governor
                                                 Department of Consumer and Business Services
                                                          Oregon Health Insurance Marketplace
                                                                                        350 Winter St. NE
                                                                                           P.O. Box 14480
                                                                                    Salem, OR 97309-0405
                                                                                             855-268-3767
                                                                                        Fax: 503-315-9144
                                                                                    oregonhealthcare.gov




October 31, 2019

Submitted Electronically Only (www.regulations.gov)
Department of State Desk Officer in the Office of Information and Regulatory Affairs at the
Office of Management and Budget (OMB)
Department of State's Bureau of Consular Affairs, Office of Visa Services.

Re: Notice of Information Collection Under OMB Emergency Review: Immigrant Health
Insurance Coverage; Docket Number: DOS-2019-0039; DN: 2019-23639;

To Whom It May Concern:

I write this letter on behalf of the Oregon Health Insurance Marketplace (Marketplace) to
comment on the Notice of Information Collection Under OMB Emergency Review: Immigrant
Health Insurance Coverage published in the Federal Register on Oct. 30, 2019.

The Marketplace helps Oregonians get coverage when they are not eligible for the Oregon
Health Plan and don’t get health insurance through their job or another program. It is a state-
based marketplace using the federal platform (SBM-FP) authorized under state law and the
Affordable Care Act (ACA). The Marketplace is tasked to ensure Oregonians have equitable
access to high-quality, affordable health coverage and to promote universal health coverage in
the state. Today, the Marketplace covers more than 148,000 Oregonians.

You requested comments to permit the Department of State to:

(1) Evaluate whether the proposed information collection is necessary for the proper functions of
the Department.

(2) Evaluate the accuracy of our estimate of the time and cost burden of this proposed collection,
including the validity of the methodology and assumptions used.

(3) Enhance the quality, utility, and clarity of the information to be collected.

(4) Minimize the reporting burden on those who are to respond, including the use of automated
collection techniques or other forms of information technology.
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The Department of State, through its consular officers proposes to “verbally ask immigrant visa
applicants covered by [Presidential Proclamation 9945 (]PP 9945[)] whether they will be covered
by health insurance in the United States within 30 days of entry to the United States and, if so,
for details relating to such insurance.” “If applicants answer affirmatively, consular officers will
ask for applicants to identify the specific health insurance plan, the date coverage will begin, and
such other information related to the insurance plan as the consular officer deems necessary.”

The information requested is not necessary for the “proper functions of the Department.” The
Department could certainly function, as it has for decades, without requesting or receiving the
indicated information.

The State of Oregon opposes the Department of State’s overbroad and vague grant of authority
to consular officers to ask “such other information related to the insurance plan as the consular
officer deems necessary.” The grant fails to create a single standard for all similarly situated
individuals, which will result in similarly situated immigrants treated differently based on the
whims of a consular officer. The grant also presumes a level of expertise in identifying the types
of health insurance coverage named in PP 9945 that would be unreasonable to expect from a
consular official.

The State of Oregon agrees that a verbal ask for the name of the insurance plan and the date
coverage is to begin is reasonable and poses a minimal burden on an immigrant. However, we
cannot say the same for the request of “such other information related to the insurance plan as
the consular officer deems necessary.” Depending on what information the consular officer
believes is necessary, the information requested could be burdensome and could result in the
erroneous denial of a visa. The State of Oregon urges the government to limit the request to the
name of the insurance plan and date of coverage so that all similarly situated people are afforded
the same protection and benefit under the law.

The Marketplace supports the verbal ask and receipt of information as an appropriate and
minimally burdensome method for obtaining the information. While the method of collecting the
information is certainly reasonable, the underlying policy basis for requesting the information is
not. It is unreasonable for PP 9945 to impose an individual mandate to purchase health insurance
coverage on new immigrants when neither Congress nor this administration supports an
individual mandate on citizens and existing immigrants.

PP 9945 creates a catch-22 situation: Under existing federal law, immigrants cannot access
insurance through Marketplaces without verifying residency and lawful presence through a strict
eligibility process this federal administration has championed. Yet, under PP 9945, those seeking
to establish residency and lawful presence through proper immigration channels cannot do so
without verifying insurance status. As a result, people who otherwise could become lawfully
present immigrants and qualify for health insurance under federal law will be barred from both
aims. This paradox is contrary to federal law and illogical in its practical result.
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The United States is a country of immigrants. In recognition of this fact, Congress has created
laws that benefit immigrants. The ACA is, in part, one such law. The ACA allows legally present
immigrants to benefit from premium tax credits. PP 9945 negates this part of the ACA by
denying entrance to the United States to immigrants based on their legal and legitimate right to
premium tax credits.

PP 9945 shows disregard for the economic and health benefits of ensuring access to health
insurance coverage for all immigrant residents, including the working poor who are still in
progress on the path to economic security.

Because immigrants will not be able to seek health insurance through marketplaces, PP 9945
undermines the health of Oregon’s insurance market, potentially affecting coverage for
immigrants and nonimmigrants alike.

Beyond the immediate harms to lawfully present immigrants being barred from accessing
insurance through marketplaces such as HealthCare.gov, the proclamation undermines our
commercial insurance market by seeking to excise lawfully present immigrants from the
coverage to which they are legally entitled. Lawfully present immigrants in Oregon are more
likely to represent “favorable” insurance risk, because they are often younger, healthier, or
lower-than-average users of health care services when compared to the general insured
population. Several studies have concluded that immigrants are net contributors to both private
coverage and Medicare, paying more in insurance premiums than they receive in benefits.

Of further concern, the proclamation seeks to permit Short-Term Limited-Duration Plan
(STLDP) coverage to qualify as “acceptable” coverage. This type of coverage does not comply
with the Affordable Care Act’s consumer protections, nor those codified in Oregon’s insurance
code. Such plans have been widely demonstrated to lack critical comprehensive coverage and
can be prohibitively expensive for people with pre-existing conditions. Qualified legal
immigrants’ health and financial well-being are threatened when they are diverted from
meaningful, comprehensive coverage to which they are legally entitled and instead directed
towards companies that engage in medical underwriting, spend the majority of premium revenue
on nonmedical expenses, and are known to exclude core benefits such as maternity, mental
health, and substance use disorder treatment. This will also lead to people with such coverage,
winding up with unpaid medical bills, placing undue financial burden on the state’s hospital
system.

Finally, we strongly object to the two-day comment period afforded to the public on this
proposal, which will profoundly affect our immigration and health care systems. Two days is
wholly inadequate to allow for the sufficient public consideration that a policy of this
significance merits, and this policy in no way constitutes an emergency.



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Therefore, we urge you to withdraw and reconsider this policy, and we request that reasonable
time be provided for public analysis and comment on any subsequent related proposal.




Chiqui Flowers
Administrator
Oregon Health Insurance Marketplace
Department of Consumer and Business Services
State of Oregon




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October 31, 2019

U.S. Secretary of State Michael R. Pompeo
U.S. Department of State
2201 C Street NW
Washington, DC 20520

RE: Notice of Information Collection Under OMB Emergency Review: Immigrant Health
Insurance Coverage, Public Notice 10934, Form Number DS-5541

Dear Secretary Pompeo:

While the methodology proposed for implementing the Presidential Proclamation on the
Suspension of Entry of Immigrants Who Wil Financially Burden the United States Healthcare
System (“PP 9945”) seems to be relatively simple, the proposal fails to understand the
complexity of obtaining health insurance coverage for the United States. As a result, the
proposed methodology would limit visa applicants to fewer insurance options than are including
in PP 9945 and open visa applicants up to be victims of fraudulent or misleading sale of
insurance. I am writing as an expert in health insurance in the United States that studies some of
the insurance markets discussed in PP 9945.

PP 9945 Fails to Meet Its Own Stated Goal to Ensure Immigrants Can Cover Foreseeable
Medical Expenses

The limitations included in PP 9945 already limit visa applicants to in the type of insurance that
would qualify for entry into the United States. However, included in the list of insurance that
does qualify are some types of insurance that actually fail to meet the stated goal of the
proclamation to cover reasonably foreseeable medical costs. This is because some of the
insurance products that are listed in PP 9945, including short-term limited duration insurance and
travel insurance, have numerous limits in coverage, including limits in how much they will
reimburse for services, a maximum amount the policy will pay in claims, and exclusions for
preexisting conditions. Given that potential immigrants could foresee having medical expenses
related to preexisting conditions, encouraging visa applicants to purchase insurance that excludes
coverage for such conditions seems counter to the goal as it will leave immigrants with
uncovered medical expenses for foreseeable conditions. At the same time, PP 9945 specifically
prohibits enrollment in an individual market health insurance plan using a tax subsidy, even
though such plans are not allowed to exclude coverage for preexisting conditions and have to
meet numerous coverage requirements laid out in the Patient Protection and Affordable Care Act
(ACA), including the coverage of the essential health benefits, a limit on the total amount of out-
of-pocket costs an enrollee will be liable for, and a prohibition on annual or lifetime maximums
on the amount the insurer will reimburse. As a result, PP 9945 is already creating a difficult
framework for the State Department.

Overview of Short-Term Limited Duration Insurance




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Short-term limited duration insurance (short-term plans) are plans that were initially designed for
brief gaps in coverage. These are insurance plans that are not designed to be comprehensive in
nature or to meet all foreseeable medical expenses. Almost all short-term plans require enrollees
answer medical questions to determine eligibility. Applicants can be denied a short-term plan
because they are pregnant, undergoing fertility treatment, or an expectant father. In addition,
applicants can be denied coverage because in the last five years they “showed signs or symptoms
of” things such as chest pain, diabetes, or any neurological disorder. The image below is a health
questionnaire for the short-term insurer National General.

                                                                                                     •Required


  I   Eligibility Questions


    Please answer for you and any of your dependents applying for coverage.


    • 1. Will any applicant have other health insurance in force on the policy
                                                                                        Yes     No
    effective date or be e ligible for Medicaid?




    • 2. Are you or any applicant:
                                                                                        Yes     No
      a. Now pregnant, an expectant father, in process of adoption, or undergoing
        infertility treatment?

      b. Over 300 pounds if male or over 250 pounds if female?




    • 3. Within t he last 5 years has any applicant been diagnosed, treated, or taken
                                                                                        Yes     No
    medication for or experienced signs or symptoms of any of the following:
    cancer or tumor, stroke, heart disease including heart attack, chest pain or had
    heart surgery, COPD (chronic obstructive pulmonary disease) or emphysema,
    Crohn's disease, liver disorder, degenerative disc disease or herniation/bulge,
    rheumatoid arthritis, kidney disorder, diabetes, degenerative joint disease of
    the knee, alcohol abuse or chemical dependency, or any neurological
    disorder?




    • 4. Within the last 5 years has any applicant been diagnosed or treated by a
                                                                                        Yes     No
    physician or medical practitioner for Acquired Immune Deficiency Syndrome
    (AIDS) or tested positive for Human Immunodeficiency Virus (HIV}?




    • 5. Have you been hospit alized for mental illness in the last 5 years or have
                                                                                        Yes     No
    you seen a psychiatrist on more than 5 times during the last 12 months?




                                                                                                                 2
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Some short-term plans may not be available to recent immigrants to the United States. A part of
the application for short-term plans for United Health One ask “Has any applicant lived in the 50
states of the USA or the District of Columbia for less than the past 12 months?”

For immigrants that are able to obtain short-term plans, the coverage is often very limited. Short-
term plans do not provide coverage for maternity except for complications of pregnancy.1 This
means that even immigrants who become pregnant after moving to the United States will not
have insurance coverage for the pregnancy, being forced to pay out of pocket or having
uncompensated care. In addition, since the plans exclude prenatal care there is a great chance
that the pregnancy will not be healthy. In addition, one study found only 57% of short-term plans
covered mental health services, 37% cover substance use treatment, and 29% cover prescription
drugs.2 Short-term plans often have limits on the amount they will reimburse well below the
actual cost of services, leaving enrollees with huge medical bills. For example, some plans will
limit hospital room and board to $1000 a day, adding only $250 more for intensive care.3 And a
plan that does cover substance use treatment only reimburses $100 a day for inpatient services
which would not cover any medication assisted inpatient treatment. In addition, short-term plans
limit the total amount they will pay in claims during a contract period, sometimes as low as
$100,000. It is because of these very limitations that ten states passed new laws or issued new
regulations in 2018 alone to limit or even ban short-term plans.4

Overview of Travel Insurance
Travel insurance is primarily designed for people visiting the United States and not for people
expecting to be long term residents. These plans generally have various limits that may not be
easily understood to people unfamiliar with health costs in the United States. For example, a
brochure for one carrier appears to offer very comprehensive coverage, but the summary of
benefits is not clear if it pays for inpatient hospital services not specifically listed.5 While the
summary of benefits does list a maximum reimbursement for hospital room and board and
information on surgeon fees, it is not clear if all inpatient hospital services that would
traditionally be covered by an insurance plan on the individual market in the United States are
covered. This could potentially leave enrollees with tens of thousands in uncovered costs. This
plan also has a $50,000 lifetime maximum on preexisting conditions which means an individual
that has a very high cost surgery, such as a ten-hour heart surgery, could face tens of thousands
of dollars in uncovered costs if the heart condition is determined to be a preexisting condition.

Other travel insurance is very limited and not even close to what is offered on the individual
health insurance market in the United States. For example, one carrier offers plans that have limit


1
  Karen Pollitz, et. al., Understanding Short-Term Limited Duration Health Insurance, Kaiser
Family Foundation (April 2018).
2
  IBID.
3
  Dania Palanker, JoAnn Volk, and Kevin Lucia, Short-Term Health Plans Gaps and Limits Leave
People at Risk, Commonwealth Fund To The Point Blog (Oct. 2018).
4
  Dania Palanker, Maanasa Kona, and Emily Curran, States Step Up To Protect Insurance
Markets from Short-Term Health Plans, Commonwealth Fund (May 2019).
5
  Global Medical Insurance, Plan Brochure, IMG


                                                                                                       3
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the amount the insurer will pay under the contract to between $50,000 and $150,000.6 The plans
appear to be what is known as fixed indemnity coverage, which is insurance that pays a fixed
dollar amount for every covered service which can be well below the actual cost of service. For
example, this carrier limits surgeon fees to between $4,000 and $7,500 per surgical session,
which could be well below the cost of surgeon fees for a very long, complicated surgery. This
insurer also only covers between $400 and $800 per emergency room visit, even though
emergency room visits can cost thousands of dollars. Finally, the plans only cover $350 towards
prescriptions during the coverage period, which would effectively leave any enrollee on a high
cost medication without prescription drug coverage. These plans also exclude preexisting
conditions, allowing applicants to purchase a rider that covers only three physician visits for the
preexisting condition and limiting reimbursement for medications for preexisting conditions to
$100 and limiting reimbursement or for emergency room or inpatient services to $1000 for
preexisting conditions, therefore effectively not covering hospitalization for preexisting
conditions. Plans such as these do not actually provide protection to immigrants for foreseeable
health needs.


Visa Applicants Cannot Purchase Most Insurance Before Entering the United States
In general, individuals are required to reside within a state before purchasing a health insurance
plan. While there have been political discussions and proposals to allow the sale of health
insurance across state lines, state regulators have resisted such proposals as they undermine the
states’ abilities to protect their residents.7 This is because non-employment based health
insurance is primarily regulated by the states. In order for states to have regulatory authority over
the product, the plan must be sold and issued within the state. As a result, visa applicants are not
actually able to obtain health insurance prior to moving to the United States. While applicants
may be able to choose a plan they will apply for, there is no guarantee of coverage before
becoming a resident of the United States. In fact, the ACA specifically require that plans sold on
the marketplace, even without a subsidy, are only eligible to lawfully present individuals. This
means that an individual applying for a visa cannot be found eligible for such coverage. They
can be eligible after they move to the United States. As a result, the request for specific
information about the health insurance plan, and the date coverage will begin, is unworkable for
most types of insurance coverage that meet the requirements of PP 9945. The two exceptions are
employer based coverage, if an applicant knows that they are eligible for coverage through their
employer or as a dependent of an employee, and travel insurance. There are some potential
concerns with timing of employer based coverage that could push applicants to have to purchase
travel insurance as the only option. Employers are allowed to have a waiting period of up to 90
days before coverage begins. Some visa applicants may choose to move to the United States
weeks or months before a job begins in an effort to settle into a new country.

This leaves visa applicants with travel insurance as the primary option of insurance if they are
required to know the start date and have other information or any guaranty that they have been

6
 Choice America, Plan Brochure, Visitors Coverage.
7
 Sabrina Corlette and Kevin Lucia,
https://www.healthaffairs.org/do/10.1377/hblog20170223.058888/full/
Health Affairs Blog (Feb. 2017).


                                                                                                   4
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approved for coverage. This is contrary to PP 9945 which clearly lists other types of insurance
that can qualify for a obtaining a visa. It also leaves immigrants with only the option to purchase
coverage that is not designed for people residing in the United States, but rather for tourists and
people making short trips. It also leaves visa applicants with only a option that has numerous
coverage limits including many plans that exclude coverage for what could be seen as
foreseeable medical expenses, especially since the Department seems to be defining foreseeable
medical expenses as expenses related to a preexisting condition, as it states “relating to health
issues existing at the time of visa adjudication.” As a result, this proposal will limit visas to
individuals without any medical conditions unless they are wealthy or have an offer of
employment related coverage that will begin within 30 days of moving to the United States. Such
a proposal could exclude visa applicants with a variety of health conditions and could be seen as
inadvertently only allowing healthy visa applicants to be awarded visas.

The Department and Consular Offices Need to Be Prepared for Fraud and Misleading
Sales Practices

The change to visa requirements opens the doors for bad actors to mislead visa applicants into
purchasing coverage that either does not meet the requirements of PP 9945, does not provide the
coverage the immigrant is expecting, or does not provide coverage at all. States are already
expressing concern about misleading or fraudulent sale of health insurance within the United
States.8 For individuals shopping for coverage online, if marketing practices are similar to within
the United States it will make it very difficult for many visa applicants to make an informed
choice. To begin with, health insurance in the United States is very complicated. There are many
terms that even Americans are not always familiar with that would be foreign concepts to many
visa applicants, such as “deductible,” “coinsurance,” “copayments,” “out of pocket maximum,”
and “formularies.” This makes the process for shopping for travel insurance online extremely
difficult for visa applicants.

However, something to add even more complexity is how health insurance s sold online, at least
within the United States. When people shop for health insurance online, they are often directed
by search engines to websites that are not selling the type of insurance they are looking for. In
many instances, websites that show are up are something called lead generating sites. Lead
generating sites do not sell health insurance. They may connect consumers to other websites
selling insurance, but the often just gather personal contact information that is farmed out to
agents, brokers, and call centers. When attempting to search for comprehensive coverage,
consumers may be directed to a lead generating site that results in calls from brokers trying to
sell short-term insurance or other limited benefit products.9 Once a consumer provides

8
 Dania Palanker, JoAnn Volk, Maanasa Kona, Seeing Fraud and Misleading Marketing, States
Warn Consumers About Alternative Health Insurance Products, Commonwealth Fund To The
Point Blog (Oct. 2019).

9
  Sabrina Corlette, et. al., The Marketing of Short-Term Health Plans: An Assessment of Industry
Practices and State Regulatory Responses, Robert Wood Johnson Foundation and Urban
Institute (Jan. 2019).



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information to a lad generating website, they can be inundated with phone calls from brokers and
agents, some of whom are selling limited benefit plans. The phone calls with these broker and
agents are fast moving sales calls. Credit card numbers for first months’ premiums and
association fees are required before any information is provided in writing.10 If similar practices
are used to sell insurance to visa applicants in other countries, then applicants may be sold
products without understanding their limitations. In some instances, the products may not meet
the requirements necessary to receive a visa. However, the United States would likely have no
authority to regulate these types of sales practices as they are occurring mostly in other countries.
Visa applicants could be denied applications after spending hundreds of dollars on what they
believe is qualifying insurance, or may be approved for a visa with a belief that they have good
health insurance that will fail to meet their needs. This is especially true given the high cost of
health care in the United States which may make it harder for visa applicants to comprehend how
low the limits in travel insurance are compared to the actual cost of care.

Sincerely,

Dania Palanker
Assistant Research Professor
Georgetown University, McCourt School of Public Policy




10
     Ibid.


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,.,.jf cHILDREN'S                                        801 Albany Street             Phone: 617.414.6366
                                                                                       Fax: 617.414.7915
~~lJ HealthWatch                                         1st Floor
                                                         Boston, MA 02119              www.childrenshealthwatch.org



  October 31, 2019

  Department of State Desk Officer
  Office of Information and Regulatory Affairs
  Office of Management and Budget

  Office of Visa Services
  Bureau of Consular Affairs
  Office of Visa Services

  Re: “Notice of Information collection Under OMB Emergency Review: Immigrant Health Insurance
  Coverage”
  Docket Number: DOS-2019-0039

  To Whom It May Concern:

  Thank you for the opportunity to comment on the Department of State’s (DOS) interim final rule for
  “Notice of Information collection Under OMB Emergency Review: Immigrant Health Insurance
  Coverage” published on October 30, 2019. On behalf of Children’s HealthWatch, a network of
  pediatricians, public health researchers, and policy and child health experts, please accept these
  comments and our opposition in the strongest possible terms to this rule change that will threaten the
  health and well-being of families of immigrants, including children.

  Access to affordable health care is critical for the health of young children and their parents. Our
  research shows when families with infants and toddlers are unable to afford health care for themselves
  or their children, or have to sacrifice other basic needs to afford medical care, the health of their child is
  placed at risk.1 Public health insurance, however, buffers families from the high costs of medical care
  and prescription medicines, ensuring they are able to seek care when they need it. Research from other
  groups shows children with adequate health insurance coverage are more likely to receive preventive
  care and immunizations than those who lack coverage.2 Conversely, studies indicate that reducing
  health insurance coverage among children has long-term negative effects on children’s health,
  educational attainment, and financial stability as adults.3 The Proclamation threatens to undermine the
  nation’s health and the health of children and families by restricting immigrants’ ability to purchase such
  comprehensive health insurance available through the Affordable Care Act (ACA) marketplaces.
  Congress elected to make lawfully residing immigrants eligible for subsidized marketplace coverage
  because doing so advances the health of our nation. The Proclamation puts the nation’s health at risk by
  ignoring Congress and instead requiring individuals to buy costly and less comprehensive health
  coverage.

  To support the health of all people in the U.S., we support a nation where all are able to thrive.
  Immigrants are vital members of our communities and ensuring they have access to the essentials of life
  without regard to where they were born is critical for our nation’s health. As part of this vision, we
  support access to comprehensive, affordable health care—and efforts to strengthen and protect the
  hospitals, community health centers, and providers who work tirelessly to deliver high quality care to
  their patients. Despite its claim, the President’s Proclamation is not about improving access to health
  care or making sure hospitals are paid. Instead, it serves as yet another constraint on legal immigration
  by imposing a wealth test that will disproportionately harm people of color. Further, this Proclamation
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acts as an extension to the Department of Homeland Security Public Charge rule, which we oppose and
is currently under injunction and is the subject of twenty-one lawsuits. These lawsuits argue that the
new regulations discriminate against low-income people from developing countries and undermine the
well-being of children whose families might avoid using nutritional, health and other assistance
programs.4 This Proclamation and other recent and proposed immigration policies are unacceptable.
Research tells us that immigrants come to the U.S. for many reasons, including fleeing violence,
relocating after natural disasters, seeking economic opportunity, and more. By only allowing those with
existing wealth and resources to immigrate to the United States, we are distancing ourselves from the
American value of opportunity, forgetting the lower income origins of many of our forebears, and
harming the health of children and vital communities within our country.

The President has further justified this Proclamation by saying that legal immigrants are more likely than
American citizens to lack health insurance, making them a burden on hospitals and taxpayers in the
United States. While many immigrant parents work, often holding full-time jobs, they are
disproportionately more likely to work low-wage jobs that do not provide private health insurance.5
Because of this, Medicaid and other health insurance available on the ACA marketplace provide critical
health coverage to families and children with noncitizen parents. Notably, the Proclamation allows
short-term plans, which do not comply with the ACA’s consumer protections, to qualify as “acceptable”
coverage. Frequently referred to as “junk plans,” short-term plans lack comprehensive coverage and can
be prohibitively expensive for individuals with pre-existing conditions. Increasing access to these plans
could siphon off healthy individuals from traditional health insurance, driving up premiums and putting
the market at risk.6 By only allowing immigrants to participate in or purchase these types of plans,
instead of affordable and comprehensive health insurance, the change under the Proclamation would
actually increase health care costs. Furthermore, forcing immigrants to avoid comprehensive insurance
could increase uncompensated care costs for providers, when patients can’t afford needed health care
that is not covered by these bare- bones plans. This does not qualify as promoting health insurance –
this is, rather, putting a barrier between individuals and the coverage for which they are eligible. By
doing so, scientific evidence tells us that the health of children and adults will be harmed.

This Proclamation does harm: It will drive up national healthcare and education costs and impair over
the long-term our national health, educational achievement, and economic status. It builds an invisible
wall to keep out legal immigrants, and is an affront to the American Dream of the opportunity for
prosperity and success through hard work and upward mobility. However, there is still time to protect
the nation’s health and values before the proclamation goes into effect. We strongly oppose any
administrative action that would harm the health of children and their families and urge the
administration to immediately withdraw this Proclamation in its entirety.


Sincerely,




Megan Sandel MD, MPH                                        Diana Becker Cutts, MD
Co-Lead Principal Investigator, Children’s                  Co-Lead Principal Investigator, Children’s
HealthWatch                                                 HealthWatch
Boston, MA                                                  Minneapolis, MN
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                                                         Stephanie Ettinger de Cuba, MPH
                                                         Executive Director, Children’s HealthWatch

Mariana Chilton, PhD, MPH
Director, Center for Hunger-Free Communities
Principal Investigator, Children’s HealthWatch




Deborah A. Frank, MD
Principal Investigator and Founder, Children’s
HealthWatch
Boston, MA




John Cook, PhD, MAEd
Principal Investigator, Children’s HealthWatch
Boston, MA




Eduardo Ochoa Jr., MD
Principal Investigator, Children’s HealthWatch
Little Rock, AR



Patrick H. Casey, MD
Principal Investigator, Children’s HealthWatch
Little Rock, AR




Maureen Black, PhD
Principal Investigator, Children’s HealthWatch
Baltimore, MD
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                                  s
       CHILDREN'S                                       801 Albany Street                      Phone: 617.414.6366
                                                        1st Floor                                 Fax: 617.414.7915
       Health Watch                                     Boston, MA 02119               www.childrenshealthwatch.org




1
  Ettinger de Cuba S, Sheward R, Poindexter D, Bovell-Ammon A, Ochoa E. Affordable health care keeps children
and families healthy. Children’s HealthWatch. 2018.
2
  Artiga A, Ubri P. Key Issues in Children's Health Coverage. Kaiser Family Foundation. 2017; Retrieved from:
https://www.kff.org/medicaid/issue-brief/key-issues-in-childrens-health-coverage/
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  Jordan M. Judges strike several blows to Trump immigration policies. The New York Times. October 11, 2019.
Available at https://www.nytimes.com/2019/10/11/us/immigration-public-charge-injunction.html
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https://www.kff.org/disparities-policy/fact-sheet/health-coverage-of-immigrants/
6
  The Commonwealth Fund. Non-ACA-compliant health plans. Available at
https://www.commonwealthfund.org/trending/non-aca-compliant-health-plans
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                   Steve Sisolak                                                                 Florence Jameson, MD
                   Governor                                                                      000478Chairwoman
                                                                                                      Heather Korbulic
                                                                                                        Executive Director


                   Silver State Health Insurance Exchange
                   2310 South Carson Street, Suite 2   Carson City, NV 89701   T: 775-687-9939      F: 775-687-9932
                                                   -                              www.nevadahealthlink . com / ssh1x




October 31, 2019


Edward J. Ramotowski
Deputy Assistant Secretary
Office of Visa Services
Bureau of Consular Affairs
U.S. Department of State
600 19th Street, NW
Washington, DC 20036


Subject: Notice of Information Collection under OMB Emergency Review: Immigrant Health
Insurance Coverage


Dear Mr. Ramotowski,

The Silver State Health Insurance Exchange (“SSHIX”) is the state-based Marketplace (“SBM”)
authorized under state law and the Affordable Care Act (“ACA”). SSHIX doing business as Nevada
Health Link, is designed to connect qualified Nevadan’s to affordable insurance. Currently it is
estimated that roughly 80% of Nevada’s consumers using the SBM are eligible to receive subsides.
Under the Presidential Proclamation on the suspension of entry of immigrants who will financially
burden the United States healthcare system will pose risks with ensuring lawful residents have access
to affordable health care and prevent SSHIX from providing qualified lawful residents access to
affordable healthcare.

SSHIX objects to the Proclamation as it will create barriers for lawful residents to access affordable
care through the utilization of subsidies which they would otherwise be eligible for. In addition, this
policy creates a concern as to the enforcement and reporting metrics associated with the
Proclamation.


Respectfully,
Jamie Sawyer


Policy and Compliance Manager




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                                                                      TAHIRIH
                                                                      JUSTICE
                                                                      CENTER®
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                                                                                       Protecting Immigrant
                                                                                       Women and Girls
                                                                                       Fleeing Violence




October 31, 2019

U.S. Department of State Desk Officer
Office of Information and Regulatory Affairs
Office of Management and Budget

Office of Visa Services
Bureau of Consular Affairs
U.S. Department of State

Submitted via https://www.regulations.gov/document?D= DOS-2019-0039-0001

Re:    Comments in Response to Notice of Information Collection Under OMB
       Emergency Review: Immigrant Health Insurance Coverage, Docket No.
       DOS-2019-0039, 84 Fed. Reg. 58,199

Dear Desk Officer:

       The Tahirih Justice Center (Tahirih) is pleased to submit the following
comments in response to the Notice of Information Collection Under OMB
Emergency Review: Immigrant Health Insurance Coverage. The Notice, which was
published in the Federal Register on October 30, 2019, relates to the
implementation of Presidential Proclamation 9945, which purports to require
                                                                                      Baltimore
applicants for immigrant visas to establish that they will be covered by an           20 I N. Charles St.
                                                                                      Suite 920
“approved health insurance plan within 30 days of entry into the United States.”      Baltimore, MD 2120 I
84 Fed. Reg. at 58,199.                                                               Tel: 410-999-1900
                                                                                      Fax: 410-630-7539
                                                                                      Baltimore@tahirih.org
        Tahirih is a national, nonpartisan policy and direct services organization
                                                                                      Greater DC I National
that has assisted over 25,000 immigrant survivors of gender-based violence            6402 Arlington Blvd.
                                                                                      Suite 300
throughout the past twenty-one years. Our clients endure unimaginable                 Tel: 571-282-6161
atrocities such as human trafficking, domestic violence, forced marriage, honor       Fax: 571-282-6162
                                                                                      TTY: 711
crimes, and sexual assault.                                                           Falls Church.VA 22042
                                                                                      GreaterDC@tahirih.org
                                                                                      Justice@tahirih.org
        Tahirih urges that the Notice be immediately withdrawn, because the
Proclamation it seeks to implement is illegal and therefore lacks the force of law.   Houston
                                                                                      1717 St. James Place
As an initial matter, the underlying Proclamation exceeds the authority of the        Suite 450
                                                                                      Houston, TX 77056
executive branch. The Proclamation could affect up to two-thirds of applicants        Tel: 713-496-0 I00
for immigrant visas. Far from constituting a rational implementation of the           Fax: 713-481-1793
                                                                                      Houston@tahirih.org
Immigration and Nationality Act, such a sweeping ban directly undermines the
statutory scheme.                                                                     San Francisco Bay Area
                                                                                      881 Sneath Lane
                                                                                      Suite 115
                                                                                      San Bruno, CA 94066
        The Proclamation nevertheless invokes presidential authority under 8          Tel: 650-270-2100
U.S.C. § 1182(f) to find that the entry of certain individuals “would be              Fax: 650-466-0006
                                                                                      SFBayArea@tahirih.org
detrimental to the interests of the United States.” But the Proclamation contains
                                                                                      www.tahirih.org
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no findings of fact to support its claim that immigrants who cannot immediately obtain the listed
types of health insurance are detrimental to the United States. And there is no plausible
justification, on national security grounds or otherwise, for such a finding.

         The Proclamation’s effects on survivors of domestic abuse exemplify its underlying
infirmities. The Proclamation appears on its face to apply to self-petitioners under the Violence
Against Women Act (VAWA) who file their petitions outside the United States. As the Department
of Homeland Security has recognized, Congress enacted the self-petitioning regime to allow
survivors of “domestic violence, battery, and extreme cruelty” to “independently seek legal
immigration status in the” United States. USCIS, Fact Sheet: USCIS Issues Guidance for Approved
Violence Against Women Act (VAWA) Self-Petitioners, https://www.uscis.gov/archive/archive-
news/fact-sheet-uscis-issues-guidance-approved-violence-against-women-act-vawa-self-
petitioners. Congress did so because abusers routinely “threaten to withhold immigration
sponsorship as a tool of abuse.” Id.; see also USCIS, Battered Spouse, Children & Parents,
https://www.uscis.gov/humanitarian/battered-spouse-children-parents (self-petitioning allows
survivors “to seek both safety and independence from their abuser, who is not notified of the
filing”). By requiring self-petitioners outside the United States to seek “approved” health
insurance, however, the Proclamation effectively requires many survivors to remain dependent on
their abusers, who can now threaten to withhold health insurance—and thus immigration status—
as a tool of abuse. That result directly undermines VAWA and therefore unquestionably exceeds
presidential authority under § 1182(f).

        The Proclamation also appears to apply to derivatives of VAWA self-petitioners who are
between 18 and 21 years old and to all children and spouses of former asylees and former T- and
U-visa holders who are now lawful permanent residents. These family members will be barred
from entering the country unless they can afford the expensive types of health insurance that are
considered “approved.” And the types of insurance that are approved make clear that this bar is
not intended to improve health outcomes or the U.S. economy. Rather, it is—like the illegal public-
charge rules previously issued by the Department of State and the Department of Homeland
Security—simply a method of barring entry to poorer immigrants. After all, subsidized,
comprehensive health insurance plans under the Affordable Care Act is not approved under the
Proclamation—but expensive, short-term, non-comprehensive “junk” insurance plans are
approved.

         In addition to exceeding executive authority under § 1182(f), the Proclamation is also
illegal for a host of other reasons. At a minimum, the Proclamation violates the equal-protection
and due process rights of prospective immigrants; violates the substantive provisions of the
Administrative Procedure Act (APA) because it is both arbitrary and contrary to law; and violates
the procedural aspects of the APA because it announces a sweeping change in policy without a
rational explanation and without prior notice and comment.




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       Furthermore, because the Proclamation is illegal, it lacks the force of law. There is
accordingly no basis for attempting to force OMB review to completion on an emergency basis—
and the issuance of the Notice with only a 2-day comment period has prejudiced Tahirih and other
potential commenters by preventing them from fully responding to the issues raised in the Notice
and the underlying Proclamation. The Notice should accordingly be withdrawn. Instead, the
Department of State should issue a request for substantive comments on the implementation of
the Proclamation (as required by the APA) and then seek OMB review in the ordinary course.

Sincerely,

s/Richard Caldarone

Richard Caldarone
Litigation Counsel




                                                                                               3
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                                                                                                 000482
THE                                                                       Law Reform Unit
                                                                          199 Water Street
LEGAL AID                                                                 New York, NY 10038
                                                                          (212) 577-3300
SOCIETY                                                                   www.legal-aid.org
CIVIL
                                                                          Tel (212) 577-3320
                                                                          Fax (646) 616-4018
                                                                          SEWelber@legal-aid.org

                                                                          Blaine (Fin) V. Fogg
                                                                          President
                                                   October 31, 2019
                                                                          Janet E. Sabel
                                                                          Attorney-in-Chief
Submitted via www.regulations.gov                                         Chief Executive Officer

                                                                          Adriene L. Holder
United States Department of State                                         Attorney–in–Charge
Office of Information and Regulatory Affairs                              Civil Practice
Office of Management and Budget
                                                                          Judith Goldiner
Department of State’s Bureau of Consular Affairs, Office of Visa          Attorney-in-Charge
Services                                                                  Law Reform Unit


Re:    Docket ID No. DOS-2019-0039, Notice of Information
       Collection Under OMB Emergency Review: Immigrant Health
       Insurance Coverage; Form DS-5541

To Whom it May Concern:

        The Legal Aid Society hereby responds to the request for comments on the Notice of
Information Collection Under Office of Management and Budget Emergency Review for the
Immigrant Health Insurance Coverage (“Information Collection Request”) published in the Federal
Register on October 30, 2109, 84 Fed Reg. 58,199 (Oct. 30, 2019), concerning The Presidential
Proclamation on the Suspension of Entry of Immigrants Who Will Financially Burden the U.S.
Healthcare System (the “Proclamation”), 84 Fed. Reg. 53,991 (Oct. 4, 2019), due to go into effect on
November 3, 2019. The Proclamation represents yet another illegal attempt by this Administration to
close the door on family reunification, which has long been the cornerstone of our immigration
policy. It forces immigrants into an impossible choice between purchasing unaffordable, possibly
low-quality health coverage, or missing out on an opportunity to come to this country to be with
their families and contribute to our communities. Accordingly, The Legal Aid Society calls on the
Office of Management and Budget (OMB) not to grant emergency clearance for this Information
Collection Request and to further reject the Proclamation and disapprove its implementation. The
Department of State (DOS) does not meet the requirements for an emergency clearance, and the
Proclamation should not go into effect because it would fundamentally change our nation’s
immigration law and is based on a fundamental misunderstanding of our health insurance system.

I.     Background.

       The Legal Aid Society was founded in 1876 to defend the individual rights of German
immigrants who could not afford a lawyer as they pursued a better life in New York City. Today we
stand as the nation's oldest and largest not-for-profit legal services organization. Through three
major practice areas—Civil, Criminal, and Juvenile Rights—the Society's 2,000 attorneys, paralegal
case handlers, support staff and volunteers coordinated by our Pro Bono program handle
approximately 300,000 cases a year in city, state, and federal courts through a network of borough,


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neighborhood, and courthouse-based offices in 27 locations in New York City. We provide
comprehensive legal services to fulfill our mission that no New Yorker should be denied access to
justice because of poverty.

        Immigrants, rich and poor, constitute vast swaths of the U.S. population and make vital
contributions to our country generally and to New York City especially. The positive contributions
of immigrants are felt in every corner of our communities, in myriad ways. Immigrants help fuel the
strength and growth of our economy. Immigrants occupy numerous positions within our
government. They work in the city’s medical facilities. They are teachers and university students and
corporate employees. In addition, they are consumers, and their presence keeps our city’s industries
thriving.

        Though Legal Aid has broadened its practice over time, we have remained committed to our
original mission: helping low-income immigrant communities. Our Immigration Law Unit utilizes
the expertise of more than 60 attorneys, paralegals, and social workers to serve low-income
immigrant New Yorkers seeking legal assistance before the U.S. Citizenship and Immigration
Services (USCIS) and in immigration and federal courts. We represent people threatened with
removal, some of whom are in detention, file habeas petitions seeking the release of people
unlawfully detained, represent unaccompanied minors fleeing violence in Central America, assist
numerous Deferred Action for Childhood Arrivals and Temporary Protected Status recipients with
renewing their status and seek a wide range of immigration relief, including naturalization,
adjustment of status, Violence Against Women Act self-petitions, U visas, T visas, asylum, Special
Immigration Juvenile Status, removal of conditions and family petitions. We also seek relief in court
when there is no other way to protect our clients. See, e.g., Make the Road NY et al. v. Cuccinelli,
19-cv-7993 (S.D.N.Y. filed Aug. 27, 2019).

       Our Health Law Unit provides advice and representation to low-income New Yorkers,
including to immigrant New Yorkers who face barriers accessing health insurance and health care
services to which they are entitled by law. We advocate for access to health care for all New Yorkers
through individual representation as well as policy and legislative advocacy, and have been
instrumental in establishing access to health care for non-citizens in New York. See, e.g., Aliessa v.
Novello, 754 N.E.2d 1085 (2001).

        Immigrants are not only served by our Immigration Law Unit and our Health Law Unit. We
serve low-income immigrants in every area of our practice – whether preventing the loss of an
apartment in housing court, obtaining disability and other government benefits, addressing wage and
hour law violations, providing tax advice or handling divorce and custody matters.




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II.     The Legal Aid Society calls on the Office of Management and Budget not to grant the
        DOS request for emergency clearance for the Information Collection Request and to
        reject the Proclamation and disapprove its implementation.

        A.       OMB Should Not Grant Emergency Clearance for the Information Collection
                 Request

        This Comment focuses on the impact the Proclamation would have on immigration and
health care, but as a threshold matter, we urge OMB to deny emergency clearance for the
Information Collection Request for the following reasons.

       First, the public has been given less than 48 hours to respond to the Information Collection
Request. This is insufficient time for the public, including many key stakeholders, to provide
meaningful feedback, and this is reason alone to deny the request for emergency clearance. Second,
the DOS fails to meet the criteria for emergency clearance under the Paperwork Reduction Act.1 The
November 3, 2019 deadline for implementation of the Proclamation is arbitrary and not justified
where the Proclamation is fundamentally flawed and illegal, for some of the reasons described
below. Nor is there any cognizable emergency that the Proclamation is necessary to address. In
contrast, the Proclamation will create emergencies for many immigrant families, as described below.
Finally, the Information Collection Request fails to offer any meaningful guidance regarding how an
applicant for an immigrant visa would establish that he or she will not impose a burden on the U.S.
healthcare system as required under the Proclamation.

        B.       The Health Proclamation Should Never Be Implemented

        The health Proclamation is fundamentally flawed, and should be withdrawn immediately for
the following reasons as discussed below: (1) the Proclamation would fundamentally change U.S.
immigration law by causing approximately 375,000 immigrants, or close to two-thirds of non-
citizens being denied entry and admission to the U.S.;2 (2) the Proclamation would undermine U.S.
policy to promote access to quality health care; and (3) the Proclamation will result in barring Legal
Aid’s low-income immigrant clients, especially immigrants of color, from the U.S. in a
discriminatory way, and undermine New York State’s successful efforts to promote access to
affordable health care.

             1. The Proclamation Would Fundamentally Change U.S. Immigration Law by
                Causing Approximately 375,000 Non-Citizens to be Denied Entry and Admission

1
  See "A guide to the Paperwork Reduction Act,” Office of Information and Regulatory Affairs (OIRA), OMB at
https://pra.digital.gov.
2
  Nicole Narea and Alex Ward, Trump quietly cut legal immigration by up to 65%, VOX, Oct. 30, 2019,
https://www.vox.com/2019/10/9/20903541/trump-proclamation-legal-immigration-health-insurance.




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                 to the U.S.

        The Proclamation would deny entry into the U.S. to people seeking family-based immigrant
visas and some others if they cannot establish that they will be covered by specific insurance
products within 30 days after entry or if they cannot show they are healthy and/or wealthy enough to
pay out-of-pocket for “reasonably foreseeable medical expenses.”

        The Proclamation would apply to people seeking immigrant visas abroad, including: spouses
of U.S. citizens and lawful permanent residents (LPRs); children of LPRs who are 18-21 years old;
children under 18 if travelling with a parent who is also immigrating; adult sons and daughters of
U.S. citizens and LPRs; people with diversity visas or employment-based immigrant visas; and some
religious workers. The Proclamation would also apply to parents of U.S. citizens who cannot show
that their health care will not impose a substantial burden on the U.S. health care system. If enacted,
the Proclamation is estimated to reduce legal immigration to the U.S. by nearly two-thirds (375,000
people), and affect nearly all diversity and family-based immigrants.3

       These 375,000 people are noncitizens who otherwise would have been legally permitted
under the Immigration and Nationality Act (INA), a law duly passed by Congress, to immigrate to
the United States. In issuing this Proclamation, the President and the Administration contravene
Congress and seek to undermine the U.S. immigration system.

             2. The Proclamation Would Undermine U.S. Policy to Promote Access to Quality
                Health Care.

        The stated purpose of the health Proclamation is to ensure that providers are paid and that
people pay less in taxes and premiums to cover medical expenses for those “who lack health
insurance or the ability to pay for their healthcare,”4 yet the Proclamation would undermine rather
than further its stated purpose. There are three major areas of concern discussed below: (1) by
deeming subsidized, comprehensive Affordable Care Act (ACA) plans unacceptable, the
Proclamation would make access to comprehensive health insurance impossible for all but a narrow
group of intending immigrants; (2) the Proclamation’s approval of non-ACA-compliant short-term
health plans (a/k/a “junk plans”), would increase uncompensated care costs and would limit access
to care, making individuals and communities sicker; and (3) the Proclamation will further add to the
“chilling effect” caused by other Trump Administration policies such as the Public Charge rule,


3
  See Narea and Ward, supra note 2.
4
  Donald J. Trump, Presidential Proclamation on the Suspension of Entry of Immigrants Who Will Financially Burden
the United States Healthcare System (issued Oct. 4, 2019), https://www.whitehouse.gov/presidential-
actions/presidential-proclamation-suspension-entry-immigrants-will-financially-burden-united-states-healthcare-system/
(last visited Oct. 31, 2019).




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creating fear in immigrant communities that prevents immigrants from accessing health insurance
coverage and health services to which they are legally entitled.

                          a. By deeming subsidized, comprehensive ACA plans unacceptable, the
                             Proclamation would make access to comprehensive health insurance
                             impossible for all but a narrow group of intending immigrants.

        By deeming subsidized, comprehensive ACA plans unacceptable, the Proclamation would
make access to comprehensive health insurance impossible for all but a narrow group of intending
immigrants. For those immigrants who do not qualify for Medicare or TRICARE, or for those whose
employers do not provide insurance or who cannot enroll in a family member’s plan, they will have
to choose between a prohibitively costly, unsubsidized comprehensive health insurance plan or a
short-term, “junk” plan.

        Comprehensive health insurance – that is, health insurance that actually protects consumers’
as well as providers’ interests – is, if unsubsidized, prohibitively expensive in New York State. For
instance, in 2019, the average monthly premium for a Silver plan for a 40-year-old nonsmoker
seeking insurance only for herself hovers between $581-627.5 If she seeks coverage for herself, her
husband and her two minor children, the monthly cost of an unsubsidized Silver plan increases to
somewhere between $1656-1789.6 Immigrants seeking to come to this country in search of a better
life may work low-wage and often undesirable jobs that do not offer health insurance. Paying out-of-
pocket for unsubsidized, comprehensive health insurance is entirely out of the question.

        Through the ACA, Congress elected to make health insurance and corresponding subsidies
available to lawfully residing immigrants. Not only does this Proclamation undermine Congress, but
it undermines its own stated goals: when people cannot afford comprehensive health insurance,
uncompensated care goes up and individuals and their communities become less healthy. The
Proclamation also disregards the fact that subsidized insurance is available to those earning up to
400% of the Federal Poverty Limit, or more than $103,000 for a family of four. The fact that the
minimally subsidized insurance available to families with six figures of income is unacceptable
under the Proclamation clearly shows that it is intended to limit admission to this country to only the
wealthiest immigrants.

                          b. The Proclamation Would Result in the Use of Junk Plans in
                             Contravention of the ACA.

        By approving non-ACA-compliant short-term health plans (a/k/a “junk plans”), the

5
  See New York State of Health, Compare Plans and Estimate Cost,
https://nystateofhealth.ny.gov/individual/searchAnonymousPlan/search (last visited Oct. 31, 2019).
6
  See id.https://www.kff.org/interactive/subsidy-calculator/




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Proclamation would increase uncompensated care costs and would limit access to care, making
individuals and communities sicker.

        Immigrants seeking to come to New York, home to approximately 2.02 million noncitizens,7
do not have the option of purchasing a short-term/junk plan. New York prohibits the sale of junk
plans in the state8 precisely to protect New Yorkers’ physical and financial health. Junk plans are
insufficient in the face of a serious medical condition or emergency: for instance, they do not have to
cover preventive services, maternity care, and prescription drugs, and impose dollar limits on
coverage. In other words, these short-term/junk plans do not cover essential health benefits.
Moreover, because these junk plans do not comply with insurance renewability requirements under
New York law, by barring the sale of junk plans, New York has limited uncompensated care costs
for hospitals and providers and protected its residents. At least one rationale claimed for the
Proclamation is the need to prevent use of emergency rooms for non-emergency conditions and to
prevent uncompensated care. Allowing short-term/junk plans but not subsidized, comprehensive,
ACA-compliant coverage only increases the likelihood of emergency room use for non-emergency
conditions and the prospect of uncompensated care, putting further strain on the health providers and
taxpayers the Proclamation purports to protect.

                          c. The Proclamation will exacerbate the “chilling effect” preventing
                             immigrants from accessing health insurance and health care services,
                             harming community health and the economy.

        Trump Administration policies targeting immigrants, including the currently enjoined Public
Charge rule, have already created a significant chilling effect that has prevented immigrants from
accessing health insurance coverage to which they are entitled, and even caused some to forgo
essential health treatments because of fear of negative immigration consequences. The Proclamation
will add to the environment of fear around accessing health coverage and other public benefits.
Immigrants who forgo needed health treatments may suffer from preventable illnesses, adding to the
long-term costs on the health care system.

             3. The Proclamation Will Result in Barring Legal Aid’s Low-income Immigrant
                Clients, Especially Immigrants of Color, from the U.S. in a Discriminatory Way
                and Undermine New York State’s Successful Efforts to Promote Access to
                Affordable Health Care.
7
  Migration Policy Institute (MPI), State Immigration Data Profiles: New York (2016), available at:
https://www.migrationpolicy.org/data/state-profiles/state/demographics/NY (deriving tabulations of data from the U.S.
Census Bureau’s American Community Survey (ACS) and Decennial Census).
8
  Letter from Lisette Johnson, Bureau Chief, Health Bureau, New York State Department of Financial Services to All
Insurers Authorized to Write Accident and Health Insurance in New York State, Article 43 Corporations, and Health
Maintenance Organizations, Re: Prohibition on Short-Term Limited Duration Plans (June 21, 2018), available at:
https://www.dfs.ny.gov/insurance/circltr/2018/cl2018_07.htm.




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        The Administration not only does a poor job disguising its goal to impose a wealth test on
people – who are primarily people of color – seeking to come to this country, but it puts the nation’s
health at risk and in so doing wastes the nation’s dollars in ineffective and hurtful ways.

        The Presidential Proclamation would serve to effectively bar almost all of our family-based
intending immigrant clients, who are all low-income (by definition, being clients of The Legal Aid
Society). Purchasing at least 364 days of approved health insurance would be impossibly expensive
for most of them, if not all. Very few clients would satisfy the alternate prong of having the financial
resources to pay for their reasonably foreseeable medical costs. The Proclamation is one more
attempt by this Administration to radically transform immigration by closing the door on family
reunification, which has long been the cornerstone of our immigration policy.

        For all the foregoing reasons, The Legal Aid Society calls on the Office of Management and
Budget to refrain from granting emergency clearance for the Information Collection Request and to
further reject the Proclamation and disapprove its implementation.

                       Sincerely,


                       Rebecca Antar Novick, Director, Health Law Unit
                       Lillian Ringel, Staff Attorney, Health Law Unit
                       Susan E. Welber, Staff Attorney, Law Reform Unit
                       Civil Practice
                       The Legal Aid Society
                       199 Water Street
                       New York, NY 10038
                       Tel: (212) 577-3300
                       RANovick@legal-aid.org
                       LRingel@legal-aid.org
                       SEWelber@legal-aid.org




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                                                                                                 000489
                                                                                     PO Box 6149
                                                                                     Aloha, OR 97007

                                                                                     3305 NW Aloclek
                                                                                     Drive
                                                                                     Hillsboro, OR 97124

 Virgin ia Garc ia Memorial                                                          P (503) 352.8647
                                                                                     F (503) 359.8532
     HEALTH CENTER
                                                                                     VirginiaGarcia.org

October 31, 2019

Department of State, Office of Information and Regulatory Affairs, Office of Management and Budget
Department of State’s Bureau of Consular Affairs, Office of Visa Services
Docket Number: DOS-2019-0039

Re: Emergency Submission Comment on Immigrant Health Insurance Coverage

On behalf of Virginia Garcia Memorial Health Center, we appreciate the opportunity to comment on
DOS-2019-0039 Notice of Information Collection Under OMB Emergency Review: Immigrant Health
Insurance Coverage.

The proposed changes would deny entry into the US to low-income immigrants without proof of access
to insurance or the ability to pay for insurance. This new rule would cause serious harm to the
thousands of immigrants coming to the US.

The notion that any new resident of the US could be called a “burden” is inaccurate – our new US
residents pay taxes, contribute to civic life and strengthen the very backbone of our country. According
to the National Immigration Forum: “[i]mmigrants pay the same taxes we all do — federal income tax,
social security tax, Medicare tax, property tax, state income tax, sales tax, and so on. The taxes they pay
help to cover federal and state services that benefit communities everywhere. In 2014, immigrants paid
an estimated $328 billion in state, local, and federal taxes. Immigrants paid more than a quarter of all
taxes in California, and they paid nearly a quarter of all taxes in New York and New Jersey.”

This proposal also fails to recognize that the Medicaid program was created to ensure broader access to
health care to those with barriers, as well as to ultimately decrease costs to tax payers by ensuring
people are healthy and not utilizing the emergency room. This proposal also fails to recognize that our
new residents will be paying into this program as part of their paycheck – and therefore are entitled to
access as anyone else.

The proposed rule should be immediately withdrawn. It is misguided and unfairly targets immigrants
and low-income families.

Sincerely,




Gil Muñoz
CEO
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                                                                                          000490



                      DECLARATION OF JAMES MCMILLIAN

I, James McMillian, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746:

   1. I am employed by the U.S. Department of State, as a Visa Policy Analyst in the
      Education and Tourism Division, Office of Field Operations of the Visa Office, Bureau
      of Consular Affairs. The Field Operations Office supports and monitors visa operations at
      Foreign Service posts around the world.

   2. In that capacity, I helped coordinate logistics for two webinars conducted on October 24,
      2019, by the Visa Office with consular sections at Foreign Service posts around the
      world. We delivered the webinar using a platform called Adobe Connect, which allowed
      the presenters from the Visa Office to display a slideshow prepared using the software
      application PowerPoint while they gave their presentation. Officers who participated at
      our consular sections around the world were able to communicate with the presenters
      using a chat feature, which allowed the audience to ask questions or make comments.
      The presenters then responded orally to the questions and comments from participants.
      After the webinars concluded, I downloaded a copy of the chat transcripts from Adobe
      Connect of both webinars. I certify that the transcripts accurately reflect the content of
      the chat transcripts that were generated from the October 24 webinars.


I declare under the penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true
and correct to the best of my knowledge.

                                      /s/ James J. McMillian
       June 5, 2020                   James J. McMillian, Visa Policy Analyst
                                      Education and Tourism Division
                                      Office of Field Operations, Visa Office
                                      Bureau of Consular Affairs
                                      United States Department of State
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Wooten, April J

From:                              McMillian, James J
Sent:                              Thursday, October 24, 2019 6:36 AM
To:                                Lee, Edith H; Fifield, Joel A
Subject:                           FW: Adobe Connect - Chat Transcript from Presidential Proclamation on Protecting
                                   Healthcare Benefits


Here's the text from the chat history just in case you'd like to use it to formulate or ad lib for your next presentation.
-James



SBU - DELIBERATIVE PROCESS

-----Original Message-----
From: McMillianJJ@state.gov <McMillianJJ@state.gov>
Sent: Thursday, October 24, 2019 9:33 AM
To: McMillian, James J <McMillianJJ@state.gov>
Subject: Adobe Connect - Chat Transcript from Presidential Proclamation on Protecting Healthcare Benefits

 Joel Fifield & Edie Lee:Welcome everyone, we will begin at 8:30
 KUWAIT 2:Is anybody else having trouble with the access code?
 Islamabad IV Unit:it worked ok for us
 KUWAIT 2:Thank you
 Bill Gilbert (Beirut):access code?
 Joel Fifield & Edie Lee:
 Nairobi IV:The access code is not working for us.
 Kingston IV:Ref access code - press 0 to speak to an operator, and they'll take care of it
 Abidjan Consular:We were able to call in with the access code but the sound keeps cutting out. Can you repeat - does
this apply to K visa applicants?
 Angola:Abidjan - I believe he said no
 Joel Fifield & Edie Lee:It does not apply to K visas
 Kim 2:yet IR5 applicant are more likely to have greater likely need of health care.
 Islamabad IV Unit:With the IR5 exception, does that mean that if the med exam shows no medical conditions, officers
may assume they will NOT be a burden and are therefore exempt?
 Guayaquil:Are adult children covered unde the exception or just minor children?
 Kathmandu:Questions from Kathmandu: Will other SIVs (outside of Iraq and Afghanistan) be impacted?
 Bill Gilbert (Beirut):sound quality is breaking up
 Amman CONS:How are we mean to determine what is an expected cost of a given medical condition?
 Rio de Janeiro IV:can we assume that the insurance will cover in the absence of information, or 221G for a letter from
the insurance company about what they will do?
 Kim 2:sound is breaking up
 IV Santo Domingo:will post have to CLOKDEL an HC1 refusal that has been overcome?
 Nairobi IV:Are there any court cases pending about the PP? Will we be informed if it is enjoined?
 Dakar:For applicants subject to the PP, is a verbal statement during the interview that he or she has or intends to
obtain insurance within 30 days of entry sufficient to overcome?
 Abidjan Consular:Did anyone else just lose the call?
 Accra FPU:Thinking about FPU resources, to what extent should we be verifying documentation of health care
coverage?

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  Cairo:Since we are not medical providers, how do we know what various conditions costs and also what is considered
substantial?
  Rio de Janeiro IV:how much money is enough to treat diabetes?
  Montreal:you just said IR1 and CR1 are exempt regardless of age. Did you mean IR2 and CR2?
  London IV:how do we consider pregnancy in this review if applicant is class A?
  Amman CONS:Can you please say again when/if the AOS or JS docs may be sufficient to confirm resources?
  RCO Bangkok - Abby Aronson:Is post required to dig into the insurance to make sure pre-existing/the condition the app
has will be covered?
  Paris NIV/IV Team:Paris is also intersted to hear about how/whether to consider pregnancy as part of this assessment.
  Kingston IV:a search on Google of 'how much does it cost to treat diabetes', for example, reveals an answer of about
$85,000 over a lifetime
  Athens:Will there be a list of states where immigrants can participate in ACA marketplaces?
  Lima:Or will post receive a resource list to refer people looking for health insurance?
  Port-au-Prince IV:Could you please repeat the information about HC1 and the automatic revocation of an approved
I601A waiver?
  ankara:I think you skipped the pregnancy one from London - could you address it?
  Paris NIV/IV Team:They covered it- said that it's a foreseeable medical expense and should be assessed accordingly.
  Paris NIV/IV Team:Either with financial means to cover pregnancy/birth costs or health insurance.
  Rio de Janeiro IV:an 8 year old and an 85 year old with diabetes might have different costs of treatment over their
lifetime. it is complicated.
  Guayaquil:Not to mention Type 1 Diabetes costs versus Type 2
  Guayaquil:Will you be sending out the slidedeck?
  Amman CONS:At
  Embassy Kabul:
  Islamabad IV Unit:
  Kathmandu:
  London IV:will CA/P have talking points when this is implemented?
  yerevan:Will
  Gabe:Where can we find these slides?
  Dakar:How long is "reasonably foreseeable"? Is it one year, the validity of the current medical exam, something less?
  Amman CONS:With the NOV 3 impelmentation date of the PP....to clarify, if we have ISSUED prior to NOV 3, the PP
does not apply. But if we interviewed on the 2nd, for example, but didn't print, we must then retroactively apply the PP
to these cases for issuance?
  Athens:Barring HC1 exceptions, how can someone inelgible under HC1 overcome a 4 ineligibility?
  Rio de Janeiro IV:just to be clear, we can use the information in 5540 to satisfy the Presidential Proclamation
requirements, correct?
  Islamabad IV Unit:Could you please reiterate what you said about the relationship between an I-184 that meets 213A
and HC1? Did you said that if an applicant has a sponsor who has an I-184 that is sufficient mean the applicant has
demonstrated that he/she is OK on HC1?
  Islamabad IV Unit:ok. thanks for the clarification
  Rio de Janeiro IV:thanks
  Amman CONS:thank you!
  Joel Fifield & Edie Lee:Thank you everyone!




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                                                                                                         000493

Wooten, April J

From:                              McMillian, James J
Sent:                              Wednesday, November 20, 2019 4:57 AM
To:                                Lee, Edith H
Subject:                           FW: Adobe Connect - Chat Transcript from Presidential Proclamation on Protecting
                                   Healthcare Benefits


Edie,
Here you are.

-----Original Message-----
From: McMillianJJ@state.gov <McMillianJJ@state.gov>
Sent: Wednesday, November 20, 2019 7:56 AM
To: McMillian, James J <McMillianJJ@state.gov>
Subject: Adobe Connect - Chat Transcript from Presidential Proclamation on Protecting Healthcare Benefits

 Joel Fifield & Edie Lee:Welcome everyone, we will get started in a few minutes.
 Joel Fifield & Edie Lee:If you have any questions, you can type them in the chat and we will respond.
 Chris Lyerla:Someone asked in a prior webinar if we had any data on immigrant welfare use in the U.S. Here it is:
https://cis.org/Report/Welfare-Use-Immigrant-and-Native-Households
 CDJ:
 Kingston (Bates, Ryan):Is any information on the PP being provided to applicants that are currently in the filing process?
Second, is a standardized letter prepared when we may refuse under the PP?
 La Paz 2:
 Joel Fifield & Edie Lee:
 Sean Boshard:In your opinion what is the likely date of implementation?
 CDJ:

  CDJ:
  Ellen in MTL:ICan you go over the exception for minors again?
  Ellen in MTL:Yes
  Guest 5:A quick note: there's a link in this chat pointing to data on immigrant welfare us in the U.S. The link provided
was from cis.org, (Center for Immigration Studies) , not to be confused with USCIS. The Center for Immigration Studies
is a think tank: https://en.wikipedia.org/wiki/Center_for_Immigration_Studies




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                                                                                          000494
REC1!APPROVE!10-28-2019!S approved.
REC2!APPROVE!10-28-2019!S approved.
                                                                                      201922031
                                                              United States Department of State

                                                              Washington, D.C 20520


SENSITIVE BUT UNCLASSIFIED                                     October 23, 2019

ACTION MEMO FOR THE SECRETARY

FROM:          CA - Carl C. Risch

SUBJECT:       (SBU) Standards and Procedures for Presidential Proclamation 9945

BLUF:          (SBU) CA proposes the attached standards and procedures for implementing
               Presidential Proclamation 9945 (P .P. 9945), Suspension of Entry of Immigrants
               Who Will Financially Burden the United States Healthcare System, in Order to
               Protect the Availability ofHealthcare Benefits for Americans.

Recommendations
(SBU) That you:
   (1) Approve the attached ALDAC and Foreign Affairs Manual (FAM) guidance with
       standards and procedures for implementing P.P. 9945. CA will then transmit the
       ALDAC and publish the FAM guidance. (Approve/Disapprove by 10/29/19)

    (2) Designate the Assistant Secretary for CA and the Deputy Assistant Secretary for Visa
        Services to determine that an alien's entry would advance important United States law
        enforcement objectives under Section 2(b)(vii) or that an alien's entry would be in the
        national interest under Section 2(b )(viii) of the proclamation. (Approve/Disapprove
        by 10/29/19)


Background
(U) P.P. 9945 suspends the entry of aliens as immigrants to the United States under
Section 212(f) of the Immigration and Nationality Act (8 USC 1 l 82(f)) when the alien's entry
will financially burden the United States healthcare system. Pursuant to P.P. 9945, an alien
seeking admission to the United States as an immigrant will financially burden the United States
healthcare system unless the alien will be covered by approved health insurance as defined in
Section 1, subsection (b) of P .P. 9945 or possesses the financial resources to pay for reasonably
foreseeable medical costs. Section 3(a) of P.P. 9945 states the Secretary of State may establish
the standards and procedures to be used by consular officers to determine an alien's ineligibility
for entry under P.P. 9945. Section 2(b)(vii) authorizes the Secretary of State or his designee to
determine, based on a recommendation of the Attorney General or his designee, that an alien's
entry is not suspended under P.P. 9945 because the alien's entry would further important
United States law enforcement objectives. Section 2(b)(viii) authorizes the Secretary of State or
his designee to determine on a case-by-case basis that an alien's entry is not suspended under
P.P. 9945 because the alien's entry would be in the national interest. P.P. 9945 authorizes the



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Secretary of State to select someone to serve as "his designee" for the authority to determine that
an alien's entry would further important law enforcement objectives or be in the national interest.

(SBU) A/S Risch believes the recommended CA officials would be appropriate designees for the
authority to determine, based on a recommendation of the Attorney General or his designee, that
an alien's entry would further important United States law enforcement objectives and also to
determine that an alien's entry would be in the national interest. Given the potentially large
number of applicants for these exceptions, the complicated process involved, and the
coordination with consular officers that will be required, CA is well-positioned to make these
determinations.

(SBU) CA has drafted standards and procedures to implement P.P. 9945. With your approval
of the guidance, which is required under P.P.9945, CA will publish the guidance at
9 FAM 302.14-11 and announce it by ALDAC. To inform applicants of this new requirement,
CA will update travel.state.gov. The National Visa Center and Kentucky Consular Center will
send a message to all immigrant and diversity visa applicants. CA will also encourage posts to
engage in a concerted effort to inform applicants so that they are adequately prepared to discuss
their plans for health care coverage during the visa interview. In addition, CA/Pis preparing a
handout that posts can distribute to applicants.

Attachments:
       Tab 1 -Proposed ALDAC on P.P. 9945
       Tab 2 - Proposed FAM Guidance
      Tab 3 - P.P. 9945




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Approved:   CA: Carl C. Risch                   (CCR)

Drafted:    CA/VO/L/R - Michael Yohannan,

Cleared:    CA: IGBrownlee                      (OK)
            CA: KStoddard                       (OK)
            CA: JWhiteley                       (OK)
            CANO: ERamotowski                   (OK)
            CA/VO: SCraig                       (OK)
            CA/VO/L: DNewman                    (OK)
            CANO/F: SCraig                      (OK)
            L/CA: NScimeca                      (OK)
            CA/VO/F: BMarwaha                   (OK)
            CA/P: LHenderson                    (OK)
            CA/P: !Hillman                      (OK)
            CA/P: KLandry                       (OK)
            CA/P: DKierski                      (OK)
            CA/EX: DBenning                     (OK)
            CA/EX: JGlazeroff                   (OK)
            CA/EX/PAS: MEvans                   (OK)
            SIP: CWeiland                       (OK)
            P: ERuppel                          (OK)
            D: KDaucher                         (OK)
            GPA:NChulick                        (OK)
            R: JSpellburg                       (INFO)
            M: LOckerman                        (OK)




                                SENSITIVE BUT UNCLASSIFIED
            Case 3:19-cv-01743-SI    Document 149    Filed 06/09/20   Page 366 of 833
                                                                                   000497
CA Press Guidance
October 4, 2019

   VISAS: Presidential Proclamation on Suspension of Entry of Immigrants Who Will
               Financially Burden the United States Healthcare System

    On October 4, 2019, the President issued a Presidential Proclamation (P.P.) titled
     “Suspension of Entry of Immigrants Who Will Financially Burden the United States
     Healthcare System, In Order to Protect the Availability of Healthcare Benefits for
     Americans.”

    Beginning November 3, 2019, in order to demonstrate qualification for entry, immigrant
     visa applicants — other than those covered by certain exceptions — must demonstrate to
     a consular officer that they will be covered by approved health insurance within thirty
     days of entry into the United States, or that they possess the financial resources to pay for
     reasonably foreseeable medical costs. Inability to do so will result in the denial of the
     visa application.

    Visa applicants subject to this proclamation must establish that they meet its
     requirements, to the satisfaction of a consular officer, prior to and in connection with the
     adjudication and issuance of an immigrant visa.

Q&A

Q. What are the exceptions?
A. The P.P. includes a number of exceptions. The limitation on entry does not apply to:
    Individuals with a valid immigrant visa issued before November 3, 2019
    Iraqi and Afghan special immigrant visas (SI and SQ visas)
    Adopted, biological, and step-children of U.S. citizens (IR2, IR3, IR4, IH3, and IH4)
    Returning Resident SB-1 applicants
    Aliens entering the United States without an immigrant visa, including lawful permanent
     residents, refugees, and asylees
    Any alien seeking to enter the United States pursuant to an IR-5 visa, provided that the
     alien or the alien’s sponsor demonstrates to the consular officer that the alien’s healthcare
     will not impose a substantial burden on the United States healthcare system
    Any alien under the age of 18 except for any alien accompanying a parent who is also
     immigrating to the United States and subject to this proclamation
           Case 3:19-cv-01743-SI   Document 149     Filed 06/09/20   Page 367 of 833
                                                                                 000498
    Any alien whose entry would further important United States law enforcement objectives,
     as determined by the Secretary of State or his designee based on a recommendation of the
     Attorney General or his designee
    Any alien whose entry would be in the national interest, as determined by the Secretary
     of State or his designee on a case-by-case basis
Q. What is approved health insurance?
A. Approved health insurance includes:
           Employer-sponsored health plans, including retiree plans
           Unsubsidized health plans offered in the individual market within a state
           Short-term, limited duration health plans effective for a minimum of 364 days or
            until the beginning of planned, extended travel outside the United States
           Catastrophic plans
           Coverage by a family member’s health plan
           U.S. military health plans, including TRICARE
           Visitor health insurance plans with adequate medical coverage for a minimum of
            364 days or until the beginning of planned, extended travel outside the United
            States
           Medical plans under the Medicare program
           Any other health plan with adequate coverage as determined by the Secretary of
            Health and Human Services
For further information and requirements, immigrant visa applicants should review the
information provided on travel.state.gov.
Q. Does Medicaid or the Children’s Health Insurance Program (CHIP) count as
approved health insurance?
A. Approved health insurance does not include coverage under the Medicaid program, except
for health insurance under subchapter XXI of chapter 7 of title 42, United States Code.
Q. What is the effective date of the change?
A. The Proclamation is effective 30 days from its signing on October 4 2019.
Q. What would be considered sufficient “financial resources to pay for reasonably
forseeable medical costs?”
            Case 3:19-cv-01743-SI    Document 149    Filed 06/09/20   Page 368 of 833
                                                                                   000499
A. Affected applicants must demonstrate that they will be covered by approved health
insurance within thirty days of entry into the United States or that they possess the financial
resources to pay for reasonably foreseeable medical costs. All applications are adjudicated on a
case-by-case basis.
Q. Who makes the determination of whether an immigrant is qualified or not, and what
standards do they use?
A. A consular officer will determine whether the applicant is eligible for an immigrant visa
based on U.S. law and available information when the applicant applies for a U.S. visa.
Q. How are applicants expected to demonstrate they meet this requirement?
A. Applicants should be able to demonstrate to the satisfaction of a consular officer that they
possess the financial resources to pay for reasonably foreseeable medical costs or, have a plan
and ability to obtain health insurance within 30 days of arrival. Officers will review the
medical and financial documentation that is already part of the applicant’s case file and may
request additional information or documentation if needed.
Q. How exactly is an applicant expected to secure health insurance prior to traveling to
the U.S.?
A. Applicants are not required to secure health insurance prior to traveling to the United States,
but must demonstrate to the satisfaction of a consular officer that they will be covered by
approved health insurance within thirty days of entry into the United States or that they possess
the financial resources to pay for reasonably foreseeable medical costs.
Q. Why are new immigrants required to purchase health insurance when existing U.S.
citizens are exempt from this mandate?
A. As the Proclamation notes, admitting aliens as immigrants into this country who are unable
to pay for their own healthcare costs puts the burden on American taxpayers and our health
infrastructure. The President has made the determination that immigrants’ entry into this
country should not burden taxpayers and the healthcare system.
Q. Isn’t this just another way to restrict family-based immigration, on top of recent
changes to Public Charge regulations?
A. The Proclamation notes “The United States has a long history of welcoming immigrants
who come lawfully in search of the American Dream. This proclamation continues that
tradition while addressing the challenges facing our healthcare infrastructure. It recognizes that
it is in the interests of the United States to protect our healthcare system from the burdens of
uncompensated care and that the entry into the United States of certain immigrants who lack
health insurance or the ability to pay for their healthcare would be detrimental to these
interests.”
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                                                                                000500
Background
Link to/text of P.P. goes here.
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                                                                               000501
Drafted by: David Kierski, 09-11-2019,

Clearances:
      VO/F: NAli              OK
                                         -
      VO/L: JFifield          OK
      CA/P: JWeinshenker      OK
      P: ERuppel              OK
      D: KDaucher             OK
      S/P: CWeiland           OK
      M: LOckerman            OK
      L: NScimeca             OK
      WH: AKennedy            OK
            Case 3:19-cv-01743-SI    Document 149    Filed 06/09/20   Page 371 of 833
                                                                                   000502
Talking Points for Congressional Call
October 4, 2019

   VISAS: Presidential Proclamation on Suspension of Entry of Immigrants Who Will
               Financially Burden the United States Healthcare System

    Today, the President issued a Presidential Proclamation (P.P.) titled “Suspension of Entry
     of Immigrants Who Will Financially Burden the United States Healthcare System, In
     Order to Protect the Availability of Healthcare Benefits for Americans.”

    When the proclamation goes into effect in 30 days (November 3), U.S. immigrant visa
     applicants will be required to demonstrate to the satisfaction of a consular officer that
     they will be covered by approved health insurance within thirty days of entry into the
     United States, or that they possess the financial resources to pay for reasonably
     foreseeable medical costs. Inability to satisfy the stated requirements will result in the
     denial of the visa application. There will be limited exceptions to the proclamation.
     (FULL LIST OF EXCEPTIONS FOLLOWS BELOW IN QUESTION 1).

    The proclamation will apply to U.S. immigrant visas only. Nonimmigrant visas will not
     be impacted.


Q&A

Q1. What are the exceptions?
A. The P.P. includes a number of exceptions. The limitation on entry does not apply to:
    Individuals with a valid immigrant visa issued before November 3, 2019
    Iraqi and Afghan special immigrant visas (SI and SQ visas)
    Adopted, biological, and step-children of U.S. citizens (IR2, IR3, IR4, IH3, and IH4)
    Returning Resident SB-1 applicants
    Aliens entering the United States without an immigrant visa, including lawful permanent
     residents, refugees, and asylees
    Any alien seeking to enter the United States pursuant to an IR-5 visa, provided that the
     alien or the alien’s sponsor demonstrates to the consular officer that the alien’s healthcare
     will not impose a substantial burden on the United States healthcare system
    Any alien under the age of 18 except for any alien accompanying a parent who is also
     immigrating to the United States and subject to this proclamation
           Case 3:19-cv-01743-SI   Document 149     Filed 06/09/20   Page 372 of 833
                                                                                 000503
    Any alien whose entry would further important United States law enforcement objectives,
     as determined by the Secretary of State or his designee based on a recommendation of the
     Attorney General or his designee
    Any alien whose entry would be in the national interest, as determined by the Secretary
     of State or his designee on a case-by-case basis


Q2. What is approved health insurance?
A. The proclamation defined approved health insurance. Approved health insurance includes:
           Employer-sponsored health plans, including retiree plans
           Unsubsidized health plans offered in the individual market within a state
           Short-term, limited duration health plans effective for a minimum of 364 days or
            until the beginning of planned, extended travel outside the United States
           Catastrophic plans
           Coverage by a family member’s health plan
           U.S. military health plans, including TRICARE
           Visitor health insurance plans with adequate medical coverage for a minimum of
            364 days or until the beginning of planned, extended travel outside the United
            States
           Medical plans under the Medicare program
           Any other health plan with adequate coverage as determined by the Secretary of
            Health and Human Services


Q3. Does Medicaid or the Children’s Health Insurance Program (CHIP) count as
approved health insurance?
A. Approved health insurance does not include coverage under the Medicaid program, except
for health insurance under subchapter XXI of chapter 7 of title 42, United States Code (the
Children’s Health Insurance Program (CHIP)).


Q3. What is the effective date of the change?
A. The Proclamation is effective 30 days from its signing on October 4, 2019.
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                                                                                   000504


Q4. How much money does an immigrant need to have to be allowed into the U.S.?
A. An applicant does not need a set amount of money to qualify for an immigrant visa. Rather,
affected applicants must demonstrate that they will be covered by approved health insurance
within thirty days of entry into the United States or that they possess the financial resources to
pay for reasonably foreseeable medical costs. All applications are adjudicated on a case-by-
case basis.


Q5. Who makes the determination of whether an immigrant is qualified or not, and what
standards do they use?
A. A consular officer will determine whether the applicant is eligible for an immigrant visa
based on U.S. law and available information when the applicant applies for a U.S. visa.


Q6. How are applicants expected to demonstrate they meet this requirement?
A. Applicants should be able to demonstrate to the satisfaction of a consular officer that they
possess the financial resources to pay for reasonably foreseeable medical costs or, have a plan
and ability to obtain health insurance within 30 days of arrival. Officers will review the
medical and financial documentation that is already part of the applicant’s case file and may
request additional information or documentation if needed. Applicants may choose to bring
documentation of their approved health insurance, ability to obtain approved health insurance,
or financial resources to the visa interview, although they are not required to do so. Consular
officers may request additional information or documentation if needed.


Q7. How exactly is an applicant expected to secure health insurance prior to traveling to
the U.S.?
A. Applicants are not required to secure health insurance prior to traveling to the United States,
but must demonstrate to the satisfaction of a consular officer that they will be covered by
approved health insurance within thirty days of entry into the United States or that they possess
the financial resources to pay for reasonably foreseeable medical costs.


Q8. Why are new immigrants required to purchase health insurance when existing U.S.
citizens are exempt from this mandate?
A. As the Proclamation notes, admitting aliens as immigrants into this country who are unable
to pay for their own healthcare costs puts the burden on American taxpayers and our health
            Case 3:19-cv-01743-SI   Document 149    Filed 06/09/20   Page 374 of 833
                                                                                 000505
infrastructure. The President has made the determination that immigrants’ entry into this
country should not burden taxpayers and the healthcare system.


Q9. Isn’t this just another way to restrict family-based immigration, on top of recent
changes to Public Charge regulations?
A. The Proclamation notes “The United States has a long history of welcoming immigrants
who come lawfully in search of brighter futures. We must continue that tradition while also
addressing the challenges facing our healthcare system, including protecting both it and the
American taxpayer from the burdens of uncompensated care. Continuing to allow entry into the
United States of certain immigrants who lack health insurance or the demonstrated ability to
pay for their healthcare would be detrimental to these interests.”
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                                                                                    000506
Drafted by:   Dan Rhodes

Clearances:
       VO/F: ATyson              (ok)
       CA/VO: ERamotowski        (ok)
       CA/VO:MMesquita           (ok)
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                                                                                             000507


      U.S. VISAS
      U S. Department o f State • Bureau of Consular Affairs




                  Presidential Proclamation 9945
                                 and
               INA 212(a)(4 )(A)     - Public Charge

                                                                                CANO
                                                                           October 24 2019




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                                                                000508


     Rules of Engagement

       • Please mute your phone
       • Presentation will be recorded and posted on CAWeb
       • Questions should be asked in the chat box. If we are not
         able to answer your question either during or at the end
         of the presentation, we will respond to Post directly.
       • Be sure to reg ularly check CAWeb for updates as FAQs
         and additiona l resources are forthcoming.
       • If you have questions, reach out to your VO/F and
         VO/LIA post liaisons.



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Presenters
                                                                                    000509




Visa Office/Legal Affairs/Advisory Opinions (VO/L/A)
      Joel Fifield

Visa Office/Field Operations (VO/F)
      Edith Lee
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                                                                              000510


         Agenda


          • Presidential Proclamation 9945

          • New Public Charge Rule




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Today's webi nar will cover two items: first, a recent Presidential Proclamation regarding
health care for immigra nts. And second, a new rule regarding the        public cha rge
ineligibility.




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         Implementation Timeline



           When should posts begin to apply
           Presidential Proclamation 9945 and the
           Public Charge Rule?




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The Presidentia l Proclamation and the Public Cha rge Ru le have both been issued.
However, you should not begin to implement them until you receive additional
guidance from the Visa Office . We are working through an interagency clearance
process to cl ear certain forms and implementing guidance. Until that is done, we
can not implement either the Health Care Presidentia l Procl amation or the public
charge ru le.

Due to certain legal considerations, we cannot say exactly when these will be
implemented. The Presidential Proclamation may be ready for implementation by
the effective date, November 3, so posts should prepare for that possibility. -

                                    In the meantime, you shou ld continue to follow
current guidance in the FAM. We will let you know when these changes are ready to be
implemented w ith as much advance notice as possible. We appreciate your patience.

This webinar will provide a genera l overview of these two changes.




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         P.P. 9945

          • Presidential Proclamation 9945
              Suspends entry for immigrants who cannot demonstrate:
              (1) Coverage by approved health insurance within 30 days of entry
                  into the United States, or
              (2) Financial resources to pay for reasonably foreseeable medical
                  costs


          • Effective November 3, 2019 at 12:01 EDT


          • Only applies to IV and DV applicants


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Whi le the effective date is November 3, 2019, post should not begin implementing the
Proclamation until notified by the Department.




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         How to Adjudicate P.P. 9945


            1. Does an Exception Apply?

           2. Financial Resources?

           3. Approved Health Care?




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The Presidential Proclamation o n Hea lt hca re wi ll essentially follow a th ree-step
process.

First - Does the applicant fall w ithin one of t he except ions t o t he proclamation? If yes,
then you are done. If not,

Second - Does t he applicant have sufficient fi nancia l resources to pay for reasonably
foreseea ble med ica l cost s? If yes, t hen you are done. If not, then

Third - W ill t he applica nt be covered by approved hea lth insurance within 30 days of
ent ry to the Unit ed Stat es? If yes, t hen you are done. If not , t hen you would either
refuse the applica nt 221(g) for additional evidence or under a new refusa l code,         as
subject to the Proclamatio n's suspension and limitation of entry.




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         1 . Exceptions


           • Individuals with a valid immigrant visa
              as of November 3, 2019




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The P.P. is not retroact ive. If someone has a valid IV, they are not subject t o the
Proclamation even if t hey have not yet t ravelled.




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          Exceptions, Cont'd

            • Children of a U.S. citizen (IR-2, CR-2, IR-
              3, IR-4, IH-3, or IH-4 visas)




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The child of a U.S. citizen includes biologica l chi ldren, adopt ed chi ldren, and step-
ch ildren.




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         Exceptions, Cont'd


           • IR-5 applicants, if the applicant's
              healthcare will not impose a
              substantial burden on the United
              States healthcare system



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IR-5 applicants are largely exempted from t he Proclamation, provided that t hey or t hei r
sponsor demo nstrates to the satisfaction of t he consu lar officer t hat t he alien's
healt hca re will not impose a substantial burden o n the United States hea lthca re
system. To determ ine if an alien's hea lthca re w ill not impose a su bst ant ial burden, you
should rely on the medica l exa m to det erm ine if there are current hea lth issues,
includi ng acute or chronic conditions, t hat w ill requi re extensive medica l care and likely
resu lt in pa rticularly high medica l cost s. If the applicant has such a cond ition, officers
must determine if t he applicant has either approved hea lth insura nce or funds t hat w ill
be avai lable to cover foreseeable medical cost s. If the applicant has no such conditions,
 hen you can conclude that the alien's healthcare will not impose a substantial burden
on the U.S. healthcare system.




                                                                                                     10
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         Exceptions, Cont'd


           • Any alien under the age of 18, except
              for those accompanying a parent who
              is al so immigrating to the United States
              and subject to P.P. 9945




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"Accompanyi ng" means derivative applicants who are: (1) in t he physical company of
the principa l applica nt; or (2) issued an immigra nt visa within six months of the date of
issuance of a visa to the principa l applica nt, the date of adjustment of status in t he
United States of t he principal applicant, or the date on w hich the pri ncipal applica nt
personally appears and registers before a consular officer abroad to confer foreign state
chargeability or immigrant status upon t he chi ld. Applicants under t he age of 18 who
are not considered "accompanying," (i.e., the beneficiary of an immediate relative
petition, the principa l beneficiary of a family preference petition, or who are following
to join the pri ncipal applica nt) are exempt from t he Proclamation.

This can be a bit tricky, so here are some examples.




                                                                                                  11
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         Example 1


           • F2AChild of an LPR (age 17)




                                                                                ·c
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                                                                                    " .. 4 •




The Proclamatio n does not apply because the F2A is under t he age of 18 and not
accompa ny ing a parent who is also immigrating t o t he United States and subj ect t o P.P.
9945




                                                                                                   12
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        Example 2

          • Derivative Child (age 17) accompanying
             F2A Spouse of an LPR




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The Proclamation does apply because it is a child under 18 accompanying their parent
who is also subject to the P.P.




                                                                                             13
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         Example 3

           • Derivative child (age 17) following-to-
              join an Fl son or daughter of a U.S.
              Citizen




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The Proclamatio n does not apply because it is a child under 18 w ho is not
accompa ny ing t hei r parent (even though t he parent wou ld have been su bject t o t he
P.P.), as long as it has been more than 6 months since the issuance of the visa to their
parent.




                                                                                                  14
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         Example 4

           • CR2 child accompanying their parent, a
              CRl spouse




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The Proclamatio n does not apply because a chi ld of a U.S. citizen, including a CR-2
stepchild, falls under its own exception. However, t he CRl spouse wi ll be subject t o t he
Proclamation.




                                                                                                  15
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     Exceptions, Cont'd

       • Iraqi and Afghan special immigrant visa
         applicants and their spouses and
         children (SI and SQ visas)
       • Returning Residents (SB-1)
       • K fiance(e) visas, other aliens entering the
         United States without an immigrant visa,
         including LPRs, refugees, and asylees

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                                                                              000523


         Exceptions, Cont'd


           • Law enforcement

           • National interest:
              - Foreign Relations

              - National Security

              - Significant Public Interest

              - Urgent Humanitarian or Medical Reasons
                                                                              ·c
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Law Enforcement: If you are contacted by a representative from a U.S. law enforcement
agency at post about a particu lar applicant o r if the Department informs you that a U.S.
law enforcement agency has expressed interest in a particu lar applicant, you should
refuse the applicant under INA 221(g) and submit an emai l to you r VO/F post liaison
officer to request the Department's approval of an exemption.

National Interest: The Depa rtment (either the A/Sor the DAS for Visa Services) can
approve an exception on a case-by-case basis in limited circumstances, w hich w ill be
detailed in the FAM. If you believe one of those is met, you should refuse the applicant
221(g) and subm it an email to VO/F.




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         2. Financial Resources

           • Review case file
               - Medical examination
               - Financial information, Affidavit of Support, etc.


           • Reasonably foreseeable medical costs
             - Based on current medical state




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If you have determined that an exception does not apply, you shou ld then consider
w hether the app licant has sufficient financia l resources to pay for reasonably
foreseeable medica l costs.

To make th is determination, you should consider the medical report by the panel
physician and financial information available in an Affidavit of Support, if required. You
can consider funds available to an applicant from a sponsor, as reported o n the 1-864
Affidavit of Support.

You should on ly consider the applicant's current medica l state as reported in the
medica l exam and shou ld not specu late on an applicant's potential future hea lth .




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         Example 1

           • IR-1 applicant with "No Class" medical report
             presents an 1-864 from the petitioner that
             meets the Federal Poverty Guidelines




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If you find t hat an applicant has a qualifying 1-864 Affidavit of Support, is hea lthy and
has no reasonably foreseeable medical cost s, you can reasonably conclude that the
applicant meets the requirement of the Presidential Proclamation for visa issuance.




                                                                                                    19
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         Example 2

          • DV applicant with "No Class" medical report,
            limited savings, and no family or friends in the
            United States. Applicant has reasonable
            prospects for employment based on
            education and work experience.




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DV applicants aren't required to submit an Affidavit of Support. Even though the
applicant does not have any current medica l condition, you may find that his or her
limited savings represent insufficient financia l resources to pay for reasonably
foreseeable medica l costs. In that case, you wou ld want to look at w hether the
applicant has or w ill have approved hea lth insurance within 30 days.




                                                                                               20
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         Example 3

           • F4 applicant with "Class B" medical condition
             and 1-864 from a joint sponsor that barely
             meets the FPG.




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In this case, although the applicant has a qua lifying Affidavit of Support, you need to
consider whether the joint sponsor can be expected to provide sufficient financia l
resources to pay for reasonably foreseeable medical costs. You shou ld consider the
expected cost of the medical condition and can look at the applicant's additiona l
financia l resources. However, if the medical condition is expected to resu lt in
significant medical costs, you w ill need to consider whet her t he applicant has or wi ll
have approved health insurance within 30 days.




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         3. Approved Health Insurance

           • Currently covered
           • Will be covered within 30 days
              -Eligible for an approved health plan
              -Financial means to pay for plan
              -Intent to purchase


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If the applicant does not meet one of the exceptions, and does not have sufficient
financia l resources to pay for reasonably foreseeab le medica l costs, you should
consider whether they currently have or will have within 30 days of entry, "approved
health insurance."

Current coverage: Can the applicant show you an insurance card, or their insurance
policy?

Coverage within 30 days: Does the applicant have an idea of what plan they intend to
apply for and the eligibility requirements, do they have the financia l means to pay for
the plan, and do they have the intent to obtain the plan within 30 days?




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         3. Approved Health Insurance
          •   Employer-sponsored health plans, includi ng retiree plans

          •   Unsubsidized health plans offered in the individual mar ket with in a State

          •   Short-term, limited duration health plans effective for a minimum of 364 days or
              until the beginni ng of planned, extended travel outside the United States

          •   Catastrophic plans

          •   Coverage by a family member's health plan

          •   U.S. military health plans, including TRICARE

          •   Visitor health insurance plans w ith adequate medical coverage for a mi nimum of
              364 days or until the beginning of planned, extended t ravel outside the United
              States

          •   Medical plans under the Medica re program

          •   Any other health plan w ith adequate coverage as determ ined by the Secretary of
              Health and Human Services
                                                                                                 ·c··•.
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The Presidentia l Proclamation provides a list of approved hea lth insurance plans. They
are listed in the ALDAC and w ill be published in the FAM .




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        Example 1

          • E3 Skilled Worker whose position includes
            employer-sponsored heath insurance.




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Emp loyer-sponsored health plans are approved hea lth insurance.




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         Example 2

           • F28 unmarried daughter, age 23, can be
             added to her petitioning parent's subsidized
             health insurance plan. The insurance
             company is unwilling to provide a quote
             without a medical exam, which the applicant
             cannot obtain until she immigrates.




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Coverage by a family member's health plan qua lifies as approved hea lth insurance.
This is true even if the coverage is a subsidized hea lth plan on a state's individual
market.




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         Example 3

           • F2A spouse can be added to the petitioner's
             plan, but the insurance company is unwilling
             to provide a quote without a medical exam,
             which the applicant cannot obtain until after
             he or she immigrates.




                                                                              ·c
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Whi le the applicant may not know the exact cost of hea lth insurance, they should be
able to provide some estimate as to w hat they expect to have to pay. You shou ld
evaluate the likelihood that they w ill be able to afford the insurance and intend to do
so, based on the information provided by the applicant, the panel physician's medical
report, and the Affidavit of Support.




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         Example 4

           • CR-1 spouse who will be added to the
             petitioner's plan, but no sooner than 45 days
             after entry to the United States, due to the
             insurance company's enrollment process.




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The Presidentia l Proclamation requires coverage w ithin 30 days, so the applicant wou ld
not be able to satisfy the approved health insurance requirement. However, you should
consider whether the applicant has sufficient financial resources to pay for reasonably
foreseeable medica l costs for the amount of time until he or she is able to obtain
approved hea lth insurance. If they have those resources, you can find that they satisfy
the requirements of the Proclamation.




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         Processing

           • Interview
           • Case note:

               -"P.P. 9945 met- applicant plans to
                 obtain health insurance through
                 spouse's health insurance policy"


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In most cases, you should be able to make a determination regarding -       at the time
of the visa interview. You shou ld enter a clear case note as to whether the applicant
meets or does not meet the requirements of the Presidentia l Proclamation.

If you are satisfied that the applicant either has, or will have, health insurance within 30
days of entry or possesses sufficient financial resources to pay for reasonably
foreseeable medica l costs, you must make a cl ear case note stating why the applicant
overcomes the P.P.'s limitation on entry, e.g. "Applicant plans to obtain hea lth insurance
through spouse's health insurance policy."




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         Processing, Cont'd

           • Documentation not required, but
             may be requested
           • INA 221 (g)
           • New refusal code,
           • Overcoming an                          refusal


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Applicants are not required to provide information demonstrating their eligibility under
the Proclamation to NVC in order to be considered documentarily qualified. Therefore,
if at the interview, you request additiona l evidence to establish that the applicant
meets the requirements of the Proclamation, you shou ld first refuse the case 221(g) in
order to allow the applicant to submit the requested documentation.

If the applicant submits documents that are insufficient to overcome the 221(g) refusa l,
you should refuse the applicant using the refusa l code -      Applicants may sti ll
overcome an         refusal by submitting additional evidence to convince you that they
have or w ill have approved health insurance w ithin 30 days of entry, or that they have
the financia l resources to pay for reasonably foreseeable medica l costs in the absence
of hea lth insurance. An IV applicant may present evidence that he or she overcomes a
ground of refusal up to one yea r from the date of refusal, after w hich they w ill need to
fi le a new visa application and pay the fee again .




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         Processing, Cont'd

           • l-601A Provisional Unlawful
             Presence Waivers




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For applicants with an approved provisional unlawful presence waiver (l-60 1A), an .
refusa l will resu lt in automatic revocation of the waiver, even if the refusa l is
subseq uently overcome.




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          P.P. 9945 and Public Charge

            • ___and      are distinct and separate
              considerations
            • You should adjudicate both      and
              applicable
            • Related issues:
                - Health
                - Financial resources
                - Family status



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The      refusal is distinct from the pub lic charge ground of ineligibi lity and thus,
consular officers will make this determination irrespective of whether o r not an
applicant is found ineligible under public charge. Should you find an applicant is subject

refuse the applicant under both -      and   •
to the Presidentia l Proclamation and also ineligible under public charge, you must



Whi le        and     are distinct, they rely on some of the same evidence and raise
si mi lar issues, such as the applicant's hea lth, financia l resources, and fa mily status.




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     Resources

       • ALDACs

       • FAM

       • CAWeb Public Talking Points

       • Visa Office


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                          Questions?



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                                           RESEARCH
                                           IN ACTION
Issue #19                                                                                                                              June 2006




                     The High Concentration of U.S. Health Care Expenditures

Introduction                                                                   Background
As policymakers consider various ways to contain the rising                    Health care expenses in the United States rose from $1,106
costs of health care, it is useful to examine the patterns of                  per person in 1980 ($255 billion overall) to $6,280 per
spending on health care throughout the United States. In                       person in 2004 ($1.9 trillion overall).1 During this period,
2004, the United States spent $1.9 trillion, or 16 percent of                  health care costs grew faster than the economy as a whole.
its gross domestic product (GDP), on health care. This                         As a consequence, health spending now accounts for 16
averages out to about $6,280 for each man, woman, and                          percent of the GDP, compared to 9 percent in 1980. With
child.                                                                         the aging of the population and the accelerating pace of
                                                                               medical innovation, this trend is likely to continue.
However, actual spending is distributed unevenly across
individuals, different segments of the population, specific                    Those struggling to develop strategies to reduce or contain
diseases, and payers. For example, analysis of health care                     costs consider whether efforts should be targeted broadly
spending shows that:                                                           across the entire health care system or more narrowly at
                                                                               specific areas or aspects of care. For example, is the
•   Five percent of the population accounts for almost half
                                                                               continuing rise in health care expenses due to the increased
    (49 percent) of total health care expenses.
• The 15 most expensive health conditions account for 44
    percent of total health care expenses.
                                                                                Making a Difference
• Patients with multiple chronic conditions cost up to
                                                                                •    In 2002, the 5 percent of people with the greatest
    seven times as much as patients with only one chronic
                                                                                     health care expenses in the U.S. population spent 49
    condition.                                                                       percent of the overall health care dollar…Page 2
Further detailed analyses of these spending patterns, how
                                                                                •    The lower 50 percent of spenders accounted for 3
they change over time, and how they affect different payers                          percent of the total national health care dollar…Page 2
such as Medicare, Medicaid, private insurers, employers,
                                                                                •    The proportion of spenders who remained among the
and consumers shed important light on how to best target
                                                                                     top 1% of spenders for two years in a row doubled
efforts to contain rapidly rising health care costs.                                 between 1996-97 and 2002-03 …Page 5
Much of the information included in this report comes from                      •    The five most expensive health conditions are heart
the Medical Expenditure Panel Survey. (See Box 1.)                                   disease, cancer, trauma, mental disorders, and
                                                                                     pulmonary disorders…Page 6




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    Managing Editor: Margaret Rutherford
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    U.S. health care expenditures. Rockville (MD): Agency for Healthcare                       Agency for Healthcare Research and Quality
    Research and Quality; 2005. Research in Action Issue 19. AHRQ Pub. No.
                                                                                               Advancing Excellence in Health Care • www.ahrq.gov
    06-0060.
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                                                                cost of treatment per case? To the growth and aging of the
    Box 1. The Medical Expenditure Panel Survey (MEPS)          population? To the rise in the number of people treated for
                                                                the most expensive conditions?
    The Medical Expenditure Panel Survey (MEPS) is a
    large, ongoing nationally representative survey of          Examining the distribution of health care expenses among
    households, medical providers, and employers                the U.S. population helps to determine the expenses for
    conducted by the Agency for Healthcare Research and         different segments of the population, what diseases cost the
    Quality (AHRQ). Data derived from MEPS and                  most, and how public and private payers are affected. This
    analyzed by AHRQ-funded and other researchers show          information sheds light on areas where changes in policy
    where health care expenses are concentrated and how         might bring about the greatest savings.
    this distribution has changed over time. The
    distribution of medical expenses is determined by           How are U.S. health care expenses
    ranking individuals in descending order according to
                                                                distributed?
    their total medical expenses and then determining
    aggregate spending at specific percentiles of the           A small proportion of the total population accounts for
    population.                                                 half of all U.S. medical spending
    MEPS is unique in its ability to link data on               Half of the population spends little or nothing on health
    individuals and households (including demographics,         care, while 5 percent of the population spends almost half
    health status, health conditions, health insurance,         of the total amount.2 In 2002, the 5 percent of the U.S.
    employment, and income) to detailed information on          community (civilian noninstitutionalized) population that
    their use of and expenses for health care. MEPS             spent the most on health care accounted for 49 percent of
    interviewers ask households for detailed information        overall U.S. health care spending (Chart 1). Among this
    about each health care visit, hospital stay, prescription   group, annual medical expenses (exclusive of health
    drug fill, and other medical services, including out-of-    insurance premiums) equaled or exceeded $11,487 per
    pocket expenses and sources of payment. Followback          person. In contrast, the 50 percent of the population with
    surveys of the hospitals, physicians, and home health       the lowest expenses accounted for only 3 percent of overall
    agencies used by MEPS households provide further            U.S. medical spending, with annual medical spending
    information about payments made by Medicaid,                below $664 per person. Thus, those in the top 5 percent
    Medicare, private health plans, and other sources.          spent, on average, more than 17 times as much per person
    MEPS has been continuously conducted since 1996,            as those in the bottom 50 percent of spenders.2
    and its design makes it possible to examine how health
    care use, expenses, sources of payment, and insurance       From 1977 to 1996, the overall distribution of health care
    coverage change over time. No other survey contains         expenses among the U.S. population remained remarkably
    such a wide range of data essential for relating health     stable (Table 1), according to data from MEPS and its
    spending and insurance coverage to individual and           predecessor surveys.3,4 In 1977, the 1 percent of the
    family characteristics such as age, race and ethnicity,     population with the highest expenses accounted for 27
    health conditions and health status, and family             percent of all expenses, the top 5 percent accounted for 55
    income.                                                     percent, and the bottom 50 percent accounted for 3 percent.
                                                                However, the concentration of expenses at the top has
    MEPS estimates of health care expenses differ from          decreased in recent years. The total expenses accounted for
    the aggregate spending estimates contained in the           by the top 1 percent of spenders declined from 28 percent
    National Health Accounts (NHA), primarily because           in 1996 to 22 percent in 2002, and the amount for the top 5
    MEPS covers the civilian noninstitutionalized               percent dropped from 55 to 49 percent in the same time
    population and excludes some populations with high          period.4 The lower 50 percent of spenders remained at 3 to
    expenses such as people residing in nursing homes.          4 percent of total expenditures during this period.




2                                                                                                         www.ahrq.gov
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     Chart 1. Percent of total health care expenses incurred by different percentiles of U.S. population: 2002


                                              100                                                                                          97%

                                                                                                                    80%
              Percent of total expenditures




                                               80

                                                                                            64%
                                               60
                                                                            49%

                                               40

                                                      22%
                                               20

                                                                                                                                                                     3%
                                                0
                                                      Top 1%             Top 5%            Top 10%                 Top 20%              Top 50%                 Bottom 50%
                                                    (≥$35,543)         (≥$11,487)         (≥$6,444)               (≥$3,219)             (≥$664)                   (<$664)
                                                                                         Percent of population


  Source: Conwell LJ, Cohen JW. Characteristics of people with high medical expenses in the U.S. civilian noninstitutionalized population, 2002. Statistical Brief #73. March 2005. Agency for
  Healthcare Research and Quality, Rockville, MD. Web site: http://www.meps.ahrq.gov/PrintProducts/PrintProdLookup.asp?ProductType=StatisticalBrief. Accessed April 7, 2006.

  Note: Figures in parentheses are expenses per person.




                                                                                                         groups are reflected in the data on the top 5 percent of
  Table 1. Distribution of health care expenses for the
                                                                                                         health care spenders. People 65-79 (9 percent of the total
  U.S. population, by percent of total: Selected years,
                                                                                                         population) represented 29 percent of the top 5 percent of
  1977-2002
                                                                                                         spenders. Similarly, people 80 years and older (about 3
  Percent of U.S. population                                                                             percent of the population) accounted for 14 percent of the
  ranked by expenses                                         1977 1980 1987 1996         2002
                                                                                                         top 5 percent of spenders (Chart 2).2 However, within age
  Top 1 percent                                              27%      29%    28% 28%     22%             groups, spending is less concentrated among those age 65
  Top 5 percent                                              55%      55%    56% 56%     49%             and over than for the under-65 population. The top 5
  Bottom 50 percent                                              3%   4%      3%    3%    3%             percent of elderly spenders accounted for 34 percent of all
                                                                                                         expenses by the elderly in 2002, while the top 5 percent of
  Sources: Berk ML, Monheit AC. The concentration of health expenditures: an update.
  Health Aff (Millwood) 1992 Winter; 145-9. Yu WW, Ezzati-Rice TM. Concentration of
                                                                                                         non-elderly spenders accounted for 49 percent of expenses
  health care expenses in the U.S. civilian noninstitutionalized population. Statistical Brief           by the non-elderly.4 A principal reason why health care
  #81. May 2005. Agency for Healthcare Research and Quality, Rockville, MD Web site:                     spending is spread out more evenly among the elderly is
  http://www.meps.ahrq.gov/PrintProducts/PrintProdLookup.asp?ProductType=
                                                                                                         that a much higher proportion of the elderly than the non-
  StatisticalBrief. Accessed April 7, 2006.
                                                                                                         elderly have expensive chronic conditions.

                                                                                                         Studies show initial persistence of expenses
Older people are much more likely to be among the                                                        The data just cited show that health care expenses are
top-spending percentiles                                                                                 heavily concentrated in a single year. Over a 2-year period,
The elderly (age 65 and over) made up around 13 percent                                                  there is a fairly high degree of persistence of expenditures.6
of the U.S. population in 2002, but they consumed 36                                                     Of those individuals ranked at the top 1 percent of the
percent of total U.S. personal health care expenses. The                                                 health care expenditure distribution in 2002, 25 percent
average health care expense in 2002 was $11,089 per year                                                 maintained this ranking with respect to their 2003 health
for elderly people but only $3,352 per year for working-age                                              care expenditures (Chart 3). The proportion of the
people (ages 19-64).5 Similar differences among age                                                      population that remained in the top 1 percent from 1996 to




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       Chart 2. Percent of health care expenses incurred by the top 5 percent of health care spenders within different age
       groups: United States, 2002

                                                                       30                                                                                                  29%




                                                                       20                                                                                  18%
                                                                                                                                       15%
                                                                                                                                                                                           14%

                                                                                                    9%            10%
                                                                       10
                                                                                      5%


                                                                        0
                                                                                  18 and under     19-34          35-44               45-54               55-64            65-79        80 and over

                                                                                                                            Age in years


    Source: Conwell LJ, Cohen JW. Characteristics of people with high medical expenses in the U.S. civilian noninstitutionalized population, 2002. Statistical Brief #73. March 2005. Agency for
    Healthcare Research and Quality, Rockville, MD. Web site: http://www.meps.ahrq.gov/PrintProducts/PrintProdLookup.asp?ProductType=StatisticalBrief. Accessed April 7, 2006.




       Chart 3. Persistence in the level of health care expenses: United States, 2002-03
               Percent of population with same percentile rank, 2003




                                                                            100


                                                                             80                                                                                                73.8%           72.8%
                                                                                                                                                                 62.8%
                                                                             60                                                             54.4%

                                                                                                                       41.8%
                                                                             40                          34.0%
                                                                                           25.3%
                                                                             20


                                                                              0
                                                                                         Top 1%       Top 5%          Top 10%              Top 20%               Top 30%      Top 50%        Lower 50%

                                                                                                                 Percentile rank by health care expenses, 2002



    Source: Cohen SC, Yu W. The persistence in the level of health care expenditures over time: estimates for the U.S. population, 2002-2003. Statistical Brief #124. May 2006. Agency for
    Healthcare Research and Quality, Rockville, MD. Web site: http://www.meps.ahrq.gov/PrintProducts/PrintProdLookup.asp?ProductType=StatisticalBrief. Accessed May 15, 2006.




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1997 was only 14 percent. This means that the proportion               20), 13 percent during young adulthood (20-39 years), 31
of the population in the highest percentile of the health care         percent during middle age (40-64 years), and nearly half
expenditure distribution that retained this ranking from               (49 percent) occurred after 65 years of age. Among people
2002 to 2003 was nearly double the proportion in the                   age 65 and older, three-quarters of expenses (or 37 percent
1996-97 period.7                                                       of the lifetime total) occurred among individuals 65-84 and
                                                                       the rest (12 percent of the lifetime total) among people 85
In 2002, the top 5 percent of the population accounted for
                                                                       and over. The total per capita lifetime expense was
49 percent of health care expenditures. Of people ranked in
                                                                       calculated to be $316,600.
the top 5 percent of the health care expenditure distribution,
34 percent retained this ranking with respect to their 2003            People with high overall health expenses also have
health care expenditures. Similarly, the top 10 percent of             high out-of-pocket expenses relative to income
the population accounted for 64 percent of overall health
care expenditures in 2002, and 42 percent of this subgroup             Out-of-pocket costs can impose a significant financial
retained the top decile ranking with respect to their 2003             burden on individuals and families. These expenses include
health care expenditures.                                              deductibles, copayments, and payments for services that are
                                                                       not covered by health insurance. Over half the people in
Over longer periods of time, a considerable leveling of                the top 5 percent of all health care spenders had out-of-
expenses takes place. In a study of Medicare enrollees,                pocket expenses (not including out-of-pocket health
researchers found that although the top 1 percent of                   insurance premiums) over 10 percent of family income.
spenders accounted for 20 percent of expenses in a                     More specifically:
particular year, the top 1 percent of spenders over a 16-year
period accounted for only 7 percent of expenses.8 The                  •   Thirty-four percent had out-of-pocket medical expenses
researchers concluded that there is a substantial leveling of              that exceeded 10 percent of family income.
expenses across a population when looking over several                 • Eighteen percent had out-of-pocket expenses in excess
years or more compared to just a single year. An acute                     of 20 percent of family income.
episode of pneumonia or a motor vehicle accident might                 People in the bottom 50 percent of the distribution were
lead to an expensive hospitalization for an otherwise                  much less likely to have financial burdens from medical
healthy person, who might be in the top 1 percent for just             care. For example:
that year but have few expenses in subsequent years.
                                                                       •    Five percent of people in the bottom 50 percent had
Similarly, many people have chronic conditions, such as
                                                                            out-of-pocket expenses that exceeded 10 percent of
diabetes and asthma, which are fairly expensive to treat on
                                                                            family income.
an ongoing basis for the rest of their lives, but in most years
will not put them at the very top of health care spenders.             •    Three percent had out-of-pocket expenses greater than
However, each year some of those with chronic conditions                    20 percent of family income.2
will have acute episodes or complications requiring a                  People with high health care expenses have lower
hospitalization or other more expensive treatment.                     health status
The Medicare study just discussed8 did not control for                 How people view their own health is strongly correlated
factors such as the overall increase in the quantity and               with their level of health care expenses. Using a
intensity of services over time. Another study controlled              respondent-reported overall health status measure (ranging
for these factors in examining how the distribution of                 from poor to excellent), a study based on MEPS 2002 data
expenses changes over the major phases of an average                   found that people in the highest 5 percent of the
person’s lifetime.9 The study used insurance company data              distribution of medical expenses were 11 times as likely to
on 3.75 million enrollees and data from the Medicare                   be in fair or poor physical health as people in the bottom
Current Beneficiary Survey.a It found that 8 percent of                half of that distribution (45 percent vs. 4 percent).b
health care expenses occurred during childhood (under age              Similarly, 21 percent of people in the top 5 percent were in

a
 This study used cross-sectional data from 1997 and held constant      b
                                                                        MEPS respondents were asked to rate the health of each person in the
factors such as health care technology and price, and the incidence,   family by the following categories: excellent, very good, good, fair, and
severity, and outcomes of disease.                                     poor.




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fair or poor mental health, compared with 3 percent of                                                  Despite relatively similar distributions, the privately
people in the bottom 50 percent.2                                                                       insured spend much more than the uninsured
Managed care has a neutral effect on the                                                                In relative terms, health care expenses are distributed
concentration of health care expenses                                                                   comparably among the uninsured and those with private
                                                                                                        insurance. For example, in 1996, the top 5 percent of
The rapid growth of health maintenance organizations                                                    spenders accounted for 51 percent of all expenses among
(HMOs) and other forms of managed care from the 1970s                                                   those with private insurance and 60 percent of spending by
onward as a means to control costs led to major changes in                                              the uninsured. However, the top 5 percent with private
the delivery of health care in the United States. But did                                               insurance spent an average of $17,800, compared to $6,700
managed care change the concentration of health care                                                    for the top 5 percent of the uninsured.10
expenses? According to a study using 1996 MEPS data, the
answer is no.10 Looking at the under-65 population with
employer-provided health insurance, researchers found no                                                What are the most expensive conditions?
statistically significant differences in concentration between
those enrolled in HMOs and other types of gatekeeper plans                                              Some diseases are very costly to treat
and those enrolled in indemnity or preferred provider                                                   In 2002, the five most expensive health conditions were
organizations (PPOs). For example, the top 5 percent of                                                 heart disease, cancer, trauma, mental disorders, and
spenders accounted for 51 percent of expenses for those                                                 pulmonary conditions (Chart 4). Heart disease and trauma
enrolled in HMOs, compared with 50 percent of expenses                                                  ranked first and second as the two most expensive
for those in HMOs and other “gatekeeper” managed care                                                   conditions in terms of total health care spending; however,
combined and 53 percent of expenses for those in indemnity                                              with respect to per-person costs, cancer was the most
plans and some PPOs.c                                                                                   expensive and heart disease the second most expensive.11
                                                                                                        Taken together, these five conditions accounted for a
                                                                                                        substantial proportion of total health expenditures in 2002.
c
    The PPOs included were those that billed on a fee-for-service basis.




        Chart 4. The five most costly conditions as a percentage of total health expenditures: United States, 2002

                    10
                                     8.3%
                      8
                                                                                                    6.9%
                                                                    6.0%                                                          5.9%                            5.6%
                      6


                      4


                      2


                      0
                                Heart conditions                    Cancer                         Trauma                    Mental disorders            Pulmonary conditions


     Source: Olin GL, Rhoades JA. The five most costly medical conditions, 1997 and 2002: estimates for the U.S. civilian noninstitutionalized population. Statistical Brief #80. Agency for
     Healthcare Research and Quality, Rockville, MD. Web site: http://www.meps.ahrq.gov/PrintProducts/PrintProdLookup.asp?ProductType=StatisticalBrief. Accessed April 7, 2006.




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The 15 most costly medical conditions in the United States                    How much does the rise in number of people being
accounted for 44 percent of total U.S. health care spending                   treated explain the overall growth in private
in 1996.12                                                                    insurance spending?
Chronic conditions contribute to higher health care                           The rise in the number of people being treated for
costs                                                                         expensive conditions has had an impact on the growth in
                                                                              private insurance spending similar to that on overall health
Twenty-five percent of the U.S. community population were                     care spending. The rise in the number of people being
reported to have one or more of five major chronic                            treated, rather than the rise in spending per treated case,
conditions: mood disorders, diabetes, heart disease, asthma,                  was the most important determinant of the growth in
and hypertension. Spending to treat these five conditions                     private insurance spending between 1987 and 2002,
alone amounted to $62.3 billion in 1996.13 Moreover,                          according to a recent study.17 For 16 of the 20 most
people with chronic conditions tend to have other                             expensive conditions, the rise in the number of people
conditions and illnesses.                                                     being treated accounted for more than half the growth in
When the other illnesses are added in, total expenses for                     private insurance health care spending. Researchers
people with these five major chronic conditions rise to                       attribute the additional numbers of people being treated to
$270 billion, or 49 percent of total health care costs,                       three factors: (1) the continued rise in the share of privately
according to 1996 MEPS data. On an individual level,                          insured adults classified as obese, (2) changes in clinical
treatment for the average patient with asthma was $663 per                    treatment guidelines and standards for treating patients
year in 1996, but when the full cost of care for asthma and                   without symptoms or with mild symptoms only, and (3) the
other coexistent illnesses is taken into account, the average                 availability of new medical technologies to diagnose and
cost was $2,779. Expenses for people with one chronic                         treat patients.
condition were twice as great as for those without any                        Especially important is the increase in the number of
chronic conditions. Spending for those with five or more                      people treated for conditions clinically linked to obesity.
chronic conditions was about 14 times greater than                            From 1987 to 2002, the proportion of the population treated
spending for those without any chronic conditions.14                          increased 64 percent for diabetes (accounting for 80 percent
Persons with five or more conditions also have high                           of the increase in costs) and increased 500 percent for
hospital expenditures. In New York State during 2002, of                      hyperlipidemia (accounting for almost 90 percent of the
the 1.3 million different persons admitted to the hospital,                   increase in costs). A number of factors might explain the
the 27 percent with five or more chronic conditions                           substantial increase in treatment rates for conditions linked
accounted for 47 percent of all inpatient costs.15                            to obesity. These factors include a rise in the number of
                                                                              people with obesity-related conditions, a rise in the number
Expensive conditions contribute to the growth in
                                                                              of more seriously ill patients, a greater emphasis on
health care costs
                                                                              preventive care, and the introduction of broader treatment
One study found that a small number of conditions                             options.
accounted for most of the growth in total health care
spending between 1987 and 2000—with the top five
medical conditions (heart disease, pulmonary disorders,                       The cost of public programs is affected by
mental disorders, cancer, and trauma) accounting for 31                       highly expensive conditions
percent.16 For 7 of the top 15 conditions, a rise in the
proportion of the U.S. population being treated, rather than                  Medicare
rising treatment costs per case or population growth,                         In 2001, 5 percent of Medicare fee-for-service beneficiaries
accounted for the greatest part of the spending growth.d                      accounted for 43 percent of total spending, with 25 percent
                                                                              accounting for 85 percent of all spending. Chronic

d
 This is also referred to as “treated prevalence,” or the proportion of the
population currently receiving care for that condition.




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conditions were closely linked to high expenditure levels:      leading to disease management programs and other efforts
more than 75 percent of high-cost beneficiaries (the 25         to both improve quality and reduce the costs of conditions
percent of Medicare beneficiaries with the highest costs)       such as diabetes, asthma, hypertension, heart disease, and
had one or more of seven major chronic conditions.18 The        obesity.
top-spending 25 percent of Medicare beneficiaries incurred
average per-person costs of $24,800. In this group, 42
percent had coronary artery disease, 30 percent had
                                                                References
congestive heart failure, and 30 percent had diabetes.          1.  Centers for Medicare & Medicaid Services, Office of
                                                                    the Actuary: Table 1. National Health Expenses
Medicaid                                                            Aggregate and Per Capita Amounts, Percent
The elderly and disabled, who constituted around 25                 Distribution, and Average Annual Percent Growth, by
percent of the Medicaid population, accounted for about 70          Source of Funds: Selected Calendar Years 1980-2003.
percent of Medicaid spending on services in 2003. People            Web site: http://www.cms.hhs.gov/
with disabilities accounted for 43 percent of Medicaid              NationalHealthExpendData/02_NationalHealth
spending and the elderly for 26 percent.19 The remaining 75         AccountsHistorical.asp#TopOfPage Accessed April 7,
percent of the Medicaid population, who were not elderly            2006.
or disabled, accounted for only 30 percent of spending.         *2. Conwell LJ, Cohen JW. Characteristics of people
                                                                    with high medical expenses in the U.S. civilian
                                                                    noninstitutionalized population, 2002. Statistical
Geographic variation in health care expenses                        Brief #73. March 2005. Agency for Healthcare
Studies point to major differences in health care expenses          Research and Quality, Rockville, MD. Web site:
by geographic area. One study, which divided the country            http://www.meps.ahrq.gov/PrintProducts/PrintProd
into 306 hospital referral regions, or regional markets for         Lookup.asp?ProductType=StatisticalBrief. Accessed
health care, found that patients in the higher spending areas       April 7, 2006.
receive 60 percent more care.20 For example, in 1996,           *3. Berk ML, Monheit AC. The concentration of health
Medicare fee-for-service patients had average expenses of           expenditures: an update. Health Aff (Millwood) 1992
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Minneapolis, Minnesota, region. The authors found that          *4. Yu WW, Ezzati-Rice TM. Concentration of health care
these differences were due not to differences in prices,            expenses in the U.S. civilian noninstitutionalized
average levels of illness, or socioeconomic status but rather       population. Statistical Brief #81. May 2005. Agency
to the overall quantity of medical services provided and to         for Healthcare Research and Quality, Rockville, MD.
the relatively higher proportions of internists and medical         Web site: http://www.meps.ahrq.gov/
subspecialists in high-cost regions.                                PrintProducts/PrintProdLookup.asp?ProductType=
                                                                    StatisticalBrief. Accessed April 7, 2006.
Conclusions                                                     5. Keehan SP, Lazenby HC, Zezza MA, et al. Age
                                                                    Estimates in the National Health Accounts. Health
Analyses of health care spending patterns shed important            Care Financing Review 2004 Dec. 2; 1(1); Web
light on how best to focus efforts to help restrain rising          Exclusive.
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                                                                *6. Cohen S, Yu W. The persistence in the level of health
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                                                                    care expenditures over time: estimates for the U.S.
Medicare, Medicaid, private plans, and the population as a
                                                                    population, 2002-2003. Statistical Brief #124. May
whole serves to inform more focused cost-containment
                                                                    2006. Agency for Healthcare Research and Quality,
strategies. The concentration of health care expenses also
                                                                    Rockville, MD. Web site: http://www.meps.ahrq.gov
has implications for the effective design of consumer
                                                                    /PrintProducts/PrintProdLookup.asp?ProductType=
directed health plans. Research also continues to raise
                                                                    StatisticalBrief. Accessed May 15, 2006.
awareness of the importance of chronic conditions in
overall spending and as a major driver of cost increases,       *AHRQ-funded/supported research




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   4                       Managing Osteoarthritis: Helping the Elderly Maintain Function      AHRQ 02-0023
                           and Mobility

   3                       Preventing Disability in the Elderly With Chronic Disease           AHRQ 02-0018

   2                       Improving Care for Diabetes Patients Through Intensive              AHRQ 02-0005
                           Therapy and a Team Approach

   1                       Reducing and Preventing Adverse Drug Events To Decrease             AHRQ 01-0020
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Rockville, Maryland 20850




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       National Center for Chronic Disease Prevention and Health
       Promotion (NCCDPHP)

      Health and Economic Costs of Chronic Diseases




      Chronic diseases have signi cant health and economic costs in the United States. Preventing chronic diseases, or managing
      symptoms when prevention is not possible, can reduce these costs.


      Diseases
            Heart Disease and Stroke

                                                                                   Nothing kills more Americans than heart disease and stroke. More than
                                                                                   859,000 Americans die of heart disease or stroke every year—that’s
                                                                                   one-third of all deaths. These diseases take an economic toll, as well,
                                                                                   costing our health care system $199 billion per year and causing $131
                                                                                   billion in lost productivity on the job.3




            Cancer

                                                                                   Each year in the United States, more than 1.6 million people are
                                                                                   diagnosed with cancer, and almost 600,000 die from it, making it the
                                                                                   second leading cause of death. The cost of cancer care continues to rise
                                                                                   and is expected to reach almost $174 billion by 2020.”4




            Diabetes

                                                                                   More than 34.2 million Americans have diabetes, and another 88 million
                                                                                   adults in the United States have a condition called prediabetes, which
                                                                                   puts them at risk for type 2 diabetes. Diabetes can cause serious
                                                                                   complications, including heart disease, kidney failure, and blindness. In
                                                                                   2017, the total estimated cost of diagnosed diabetes was $327 billion in
                                                                                   medical costs and lost productivity.5




https://www.cdc.gov/chronicdisease/about/costs/index.htm                                                                                                        1/3
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            Obesity

                                                                                   Obesity a ects almost 1 in 5 children and 1 in 3 adults, putting people
                                                                                   at risk for chronic diseases such as diabetes, heart disease, and some
                                                                                   cancers. Over a quarter of all Americans 17 to 24 years are too heavy to
                                                                                   join the military. Obesity costs the US health care system $147 billion a
                                                                                   year.6




            Arthritis

                                                                                   Arthritis a ects 54.4 million adults in the United States, which is about 1
                                                                                   in 4 adults. It is a leading cause of work disability in the United States,
                                                                                   one of the most common chronic conditions, and a common cause of
                                                                                   chronic pain. The total cost attributable to arthritis and related
                                                                                   conditions was about $304 billion in 2013. Of this amount, nearly $140
                                                                                   billion was for medical costs and $164 billion was for indirect costs
                                                                                   associated with lost earnings.7




            Alzheimer's Disease

                                                                                   Alzheimer’s disease, a type of dementia, is an irreversible, progressive
                                                                                   brain disease that a ects about 5.7 million Americans. It is the sixth
                                                                                   leading cause of death among all adults and the fth leading cause for
                                                                                   those aged 65 or older. In 2010 , the costs of treating Alzheimer’s
                                                                                   disease were estimated to fall between $159 billion and $215 billion.8 By
                                                                                   2040, these costs are projected to jump to between $379 billion and
                                                                                   $500 billion annually.




            Epilepsy

                                                                                   In the United States, about 3 million adults and 470,000 children and
                                                                                   teens younger than 18 have active epilepsy—meaning that they have
                                                                                   been diagnosed by a doctor, had a recent seizure, or both. Adults with
                                                                                   epilepsy report worse mental health, more cognitive impairment, and
                                                                                   barriers in social participation compared to adults without epilepsy.
                                                                                   Average direct health care costs for a person with epilepsy range from
                                                                                   $10,200 to $47,900 per year (in 2013 dollars).9




            Tooth Decay

                                                                                   Cavities (also called tooth decay) are one of the most common chronic
                                                                                   diseases in the United States. One in ve children aged 6 to 11 years
                                                                                   and one in four adults have untreated cavities. Untreated cavities can
                                                                                   cause pain and infections that may lead to problems eating, speaking
                                                                                   and learning. On average, 34 million school hours are lost each year
                                                                                   because of unplanned (emergency) dental care, and over $45 billion is
                                                                                   lost in productivity due to dental disease.10,11




https://www.cdc.gov/chronicdisease/about/costs/index.htm                                                                                                         2/3
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4/16/2020                                                                            Health and Economic Costs of Chronic Disease | CDC
                                                                                                                                                                         000564

      Risk Factors
            Cigarette Smoking

                                                                                   Cigarette smoking is the leading cause of preventable death and
                                                                                   disease in the United States. More than 16 million Americans have at
                                                                                   least one disease caused by smoking. This amounts to $170 billion in
                                                                                   direct medical costs that could be saved every year if we could prevent
                                                                                   youth from starting to smoke and help every person who smokes quit.12




            Lack of Physical Activity

                                                                                   Not getting enough physical activity comes with high health and
                                                                                    nancial costs. It can lead to heart disease, type 2 diabetes, some
                                                                                   cancers, and obesity. In addition, lack of physical activity costs the
                                                                                   nation $117 billion annually for related health care.13




            Excessive Alcohol Use

                                                                                   Excessive alcohol use is responsible for 88,000 deaths in the United
                                                                                   States each year, including 1 in 10 deaths among working-age adults.
                                                                                   14,15
                                                                                         In 2010, excessive alcohol use cost the US economy $249 billion, or
                                                                                   $2.05 a drink, and $2 of every $5 of these costs were paid by the public.
                                                                                   Binge drinking is responsible for over half the deaths and three-
                                                                                   quarters of the costs due to excessive alcohol use.16




            References

                                                                                                                                            Page last reviewed: March 23, 2020, 12:00 AM




https://www.cdc.gov/chronicdisease/about/costs/index.htm                                                                                                                                   3/3
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                                                  DEPARTMENT OF HOMELAND                                  that the former Immigration and                         4. Exemptions
                                                  SECURITY                                                Naturalization Service (INS) published                  5. Waivers
                                                                                                          on May 26, 1999.                                        B. Definition of Public Charge and Related
                                                  8 CFR Parts 103, 212, 213, 214, 245 and                                                                            Terms
                                                                                                          DATES: Written comments and related                     1. Public Charge
                                                  248                                                     material to this proposed rule, including               2. Public Benefit
                                                  [CIS No. 2499–10; DHS Docket No. USCIS–                 the proposed information collections,                   (a) Types of Public Benefits
                                                  2010–0012]                                              must be received to the online docket                   (b) Consideration of Monetizable and Non-
                                                                                                          via www.regulations.gov, or to the mail                    Monetizable Public Benefits
                                                  RIN 1615–AA22                                           address listed in the ADDRESSES section                 i. ‘‘Primarily Dependent’’ Standard and Its
                                                                                                          below, on or before December 10, 2018.                     Limitations
                                                  Inadmissibility on Public Charge                                                                                ii. Fifteen Percent of Federal Poverty
                                                                                                          ADDRESSES: You may submit comments                    Guidelines (FPG) Standard for Monetizable
                                                  Grounds
                                                                                                          on this proposed rule, including the                  Benefits
                                                  AGENCY: U.S. Citizenship and                            proposed information collection                         iii. Twelve Month Standard for Non-
                                                  Immigration Services, DHS.                              requirements, identified by DHS Docket                     Monetizable Benefits
                                                  ACTION: Notice of proposed rulemaking.                  No. USCIS–2010–0012, by any one of                      iv. Combination of Monetizable Benefits
                                                                                                          the following methods:                                     Under 15 Percent of FPG and One or
                                                  SUMMARY:    The U.S. Department of                         • Federal eRulemaking Portal                            More Non-Monetizable Benefits
                                                                                                          (preferred): www.regulations.gov.                       (c) Monetizable Public Benefits
                                                  Homeland Security (DHS) proposes to
                                                                                                                                                                  i. Supplemental Security Income (SSI)
                                                  prescribe how it determines whether an                  Follow the website instructions for                     ii. Temporary Assistance for Needy
                                                  alien is inadmissible to the United                     submitting comments.                                       Families (TANF)
                                                  States under section 212(a)(4) of the                      • Mail: Samantha Deshommes, Chief,                   iii. General Assistance Cash Benefits
                                                  Immigration and Nationality Act (INA)                   Regulatory Coordination Division,                       iv. Supplemental Nutrition Assistance
                                                  because he or she is likely at any time                 Office of Policy and Strategy, U.S.                        Program (SNAP) v. Housing Programs
                                                  to become a public charge. Aliens who                   Citizenship and Immigration Services,                   a. Section 8 Housing Choice Voucher
                                                  seek adjustment of status or a visa, or                 Department of Homeland Security, 20                        Program
                                                  who are applicants for admission, must                  Massachusetts Avenue NW,                                b. Section 8 Project-Based Rental
                                                                                                          Washington, DC 20529–2140. To ensure                       Assistance
                                                  establish that they are not likely at any
                                                                                                          proper handling, please reference DHS                   (d) Non-Monetizable Public Benefits
                                                  time to become a public charge, unless                                                                          i. Medicaid
                                                  Congress has expressly exempted them                    Docket No. USCIS–2010–0012 in your                      a. Description of Program
                                                  from this ground of inadmissibility or                  correspondence. Mail must be                            b. Exceptions for Certain Medicaid
                                                  has otherwise permitted them to seek a                  postmarked by the comment submission                       Services
                                                  waiver of inadmissibility. Moreover,                    deadline.                                               c. Exception for Receipt of Medicaid by
                                                  DHS proposes to require all aliens                      FOR FURTHER INFORMATION CONTACT:                           Foreign-Born Children of U.S. Citizens
                                                  seeking an extension of stay or change                  Mark Phillips, Residence and                            ii. Institutionalization for Long-Term Care
                                                  of status to demonstrate that they have                 Naturalization Division Chief, Office of                iii. Premium and Cost Sharing Subsidies
                                                                                                                                                                     Under Medicare Part D
                                                  not received, are not currently receiving,              Policy and Strategy, U.S. Citizenship
                                                                                                                                                                  iv. Subsidized Public Housing
                                                  nor are likely to receive, public benefits              and Immigration Services, Department                    (e) Receipt of Public Benefits by Active
                                                  as defined in the proposed rule.                        of Homeland Security, 20 Massachusetts                     Duty and Reserve Servicemembers and
                                                     DHS proposes to define ‘‘public                      NW, Washington, DC 20529–2140;                             Their Families
                                                  charge’’ as the term is used in sections                telephone 202–272–8377.                                 (f) Unenumerated Benefits
                                                  212(a)(4) of the Act. DHS also proposes                 SUPPLEMENTARY INFORMATION:                              (g) Request for Comment Regarding the
                                                  to define the types of public benefits                                                                             Children’s Health Insurance Program
                                                  that are considered in public charge                    Table of Contents                                          (CHIP)
                                                  inadmissibility determinations. DHS                     I. Public Participation                                 (h) Request for Comment Regarding Public
                                                                                                          II. Executive Summary                                      Benefit Receipt by Certain Alien
                                                  would consider an alien’s receipt of
                                                                                                             A. Major Provisions of the Regulatory                   Children
                                                  public benefits when such receipt is                                                                            (i) Request for Comment Regarding
                                                  above the applicable threshold(s)                             Action
                                                                                                             B. Costs and Benefits                                   Potential Modifications by Public Benefit
                                                  proposed by DHS, either in terms of                     III. Purpose of the Proposed Rule                          Granting Agencies
                                                  dollar value or duration of receipt. DHS                   A. Self-Sufficiency                                  3. Likely at Any Time To Become a Public
                                                  proposes to clarify that it will make                      B. Public Charge Inadmissibility                        Charge
                                                  public charge inadmissibility                                 Determinations                                    4. Household
                                                  determinations based on consideration                   IV. Background                                          (a) Definition of Household in Public
                                                  of the factors set forth in section                        A. Legal Authority                                      Charge Context
                                                                                                             B. Immigration to the United States                  (b) Definitions of ‘‘Household’’ and Similar
                                                  212(a)(4) and in the totality of an alien’s
                                                                                                             C. Extension of Stay and Change of Status               Concepts in Other Public Benefits
                                                  circumstances. DHS also proposes to                                                                                Contexts
                                                                                                             D. Public Charge Inadmissibility
                                                  clarify when an alien seeking                              1. Public Laws and Case Law                          (c) Definitions of Household and Similar
                                                  adjustment of status, who is                               2. Public Benefits Under PRWORA                         Concepts in Other Immigration Contexts
                                                  inadmissible under section 212(a)(4) of                    (a) Qualified Aliens                                 C. Public Charge Inadmissibility
                                                  the Act, may be granted adjustment of                      (b) Public Benefits Exempt Under                        Determination
                                                  status in the discretion of DHS upon the                      PRWORA                                            1. Absence of a Required Affidavit of
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                                                  giving of a public charge bond. DHS is                     3. Changes Under IIRIRA                                 Support
                                                  also proposing revisions to existing                       4. INS 1999 Interim Field Guidance                   2. Prospective Determination Based on
                                                                                                             E. Public Charge Bond                                   Totality of Circumstances
                                                  USCIS information collections and new
                                                                                                          V. Discussion of Proposed Rule                          D. Age
                                                  information collection instruments to                      A. Applicability, Exemptions, and Waivers            E. Health
                                                  accompany the proposed regulatory                          1. Applicants for Admission                          1. USCIS Evidentiary Requirements
                                                  changes. With the publication of this                      2. Extension of Stay and Change of Status            2. Potential Effects for Aliens With a
                                                  proposed rule, DHS withdraws the                              Applicants                                           Disability, Depending on Individual
                                                  proposed regulation on public charge                       3. Adjustment of Status Applicants                   F. Family Status



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                                                    G. Assets, Resources, and Financial Status              A. Executive Order 12866 (Regulatory                Table of Abbreviations
                                                    1. Evidence of Assets and Resources                        Planning and Review), Executive Order
                                                    2. Evidence of Financial Status                            13563 (Improving Regulation and                  AFM—Adjudicator’s Field Manual
                                                    (a) Public Benefits                                        Regulatory Review), and Executive Order          ASEC—Annual Social and Economic
                                                    (b) Fee Waivers for Immigration Benefits                   13771 (Reducing Regulation and                     Supplement of the Current Population
                                                    (c) Credit Report and Score                                Controlling Regulatory Costs)                      Survey
                                                    (d) Financial Means To Pay for Medical                  1. Summary                                          BIA—Board of Immigration Appeals
                                                       Costs                                                2. Background and Purpose of the Rule               BLS—U.S. Bureau of Labor Statistics
                                                    I. Education and Skills                                 3. Population                                       CDC—Centers for Disease Control and
                                                    1. USCIS Evidentiary Requirements                       (a) Population Seeking Adjustment of                  Prevention
                                                    J. Prospective Immigration Status and                      Status                                           CBP—U.S. Customs and Border Protection
                                                       Expected Period of Admission                         i. Exemptions From Determination of                 CFR—Code of Federal Regulations
                                                    K. Affidavit of Support                                    Inadmissibility Based on Public Charge           CHIP—Children’s Health Insurance Program
                                                    1. General Consideration of Sponsorship                    Grounds                                          CNMI—Commonwealth of the Northern
                                                       and Affidavits of Support                            ii. Exemptions From the Requirement To                Mariana Islands
                                                    2. Proposal To Consider Required                           Submit an Affidavit of Support                   DHS—U.S. Department of Homeland
                                                       Affidavits of Support                                (b) Population Seeking Extension of Stay of           Security
                                                    L. Heavily Weighed Factors                                 Change of Status                                 DOS—U.S. Department of State
                                                    1. Heavily Weighed Negative Factors                     4. Cost-Benefit Analysis                            FAM—Foreign Affairs Manual
                                                    (a) Lack of Employability                               (a) Baseline Estimates of Current Costs             FCRA—Fair Credit Reporting Act
                                                    (b) Current Receipt of One of More Public               i. Determination of Inadmissibility Based           FPG—Federal Poverty Guidelines
                                                       Benefit                                                                                                  FPL—Federal Poverty Level
                                                                                                               on Public Charge Grounds
                                                    (c) Receipt of Public Benefits Within Last                                                                  Form DS–2054—Medical Examination For
                                                                                                            a. Form I–485, Application to Register
                                                       36 Months of Filing Application                                                                            Immigrant or Refugee Applicant
                                                                                                               Permanent Residence or Adjust Status
                                                    (d) Financial Means To Pay for Medical                                                                      Form I–129—Petition for a Nonimmigrant
                                                                                                            b. Form I–693, Report of Medical
                                                       Costs                                                                                                      Worker
                                                                                                               Examination and Vaccination Record
                                                    (e) Alien Previously Found Inadmissible or                                                                  Form I–129CW—Petition for a CNMI-Only
                                                                                                            c. Form I–912, Request for Fee Waiver
                                                       Deportable Based on Public Charge                                                                          Nonimmigrant Transitional Worker
                                                                                                            d. Affidavit of Support Forms
                                                    2. Heavily Weighed Positive Factors                                                                         Form I–130—Petition for Alien Relative
                                                                                                            ii. Consideration of Receipt, or Likelihood
                                                    (f) Previously Excluded Benefits                                                                            Form I–140—Immigrant Petition for Alien
                                                                                                               of Receipt of Public Benefits Defined in
                                                    M. Summary of Review of Factors in the                                                                        Worker
                                                                                                               Proposed 212.21(b) for Applicants
                                                       Totality of the Circumstances                                                                            Form I–290B—Notice of Appeal or Motion
                                                                                                               Requesting Extension of Stay or Change
                                                    1. Favorable Determination of                                                                               Form I–356—Request for Cancellation of
                                                       Admissibility                                           of Status                                          Public Charge Bond
                                                    2. Unfavorable Determination of                         a. Form I–129, Petition for a Nonimmigrant          Form I–407—Record of Abandonment of
                                                       Admissibility                                           Worker                                             Lawful Permanent Resident Status
                                                    N. Valuation of Monetizable Benefits                    b. Form I–129CW, Petition for a CNMI-               Form I–485—Application to Register
                                                    O. Public Charge Bonds for Adjustment of                   Only Nonimmigrant Transitional Worker              Permanent Residence or Adjust Status
                                                       Status Applicants                                    c. Form I–539, Application To Extend/               Form I–539—Application to Extend/Change
                                                    1. Overview of Immigration Bonds                           Change Nonimmigrant Status                         Nonimmigrant Status
                                                       Generally                                            (b) Costs of Proposed Regulatory Changes            Form I–600—Petition to Classify Orphan as
                                                    2. Overview of Public Charge Bonds                      i. Form I–944, Declaration of Self-                   an Immediate Relative
                                                    (a) Public Charge Bonds                                    Sufficiency                                      Form I–693—Report of Medical Examination
                                                    (b) Current and Past Public Charge Bond                 ii. Extension of Stay/Change of Status                and Vaccination Record
                                                       Procedures                                              Using Form I–129, Petition for a                 Form I–800—Petition to Classify Convention
                                                    (c) Relationship of the Public Charge Bond                 Nonimmigrant Worker; Form I–129CW,                 Adoptee as an Immediate Relative
                                                       to the Affidavit of Support                             Petition for a CNMI-Only Nonimmigrant            Form I–864—Affidavit of Support Under
                                                    (d) Summary of Proposed Changes                            Transitional Worker; or Form I–539,                Section 213A of the INA
                                                    3. Permission To Post a Public Charge                      Application To Extend/Change                     Form I–864A—Contract Between Sponsor
                                                       Bond                                                    Nonimmigrant Status                                and Household Member
                                                    4. Bond Amount and Submission of a                      iii. Public Charge Bond                             Form I–864EZ—Affidavit of Support Under
                                                       Public Charge Bond                                   (c) Transfer of Payments and Indirect                 Section 213A of the Act
                                                    5. Public Charge Bond Substitution                         Impacts of Proposed Regulatory Changes           Form I–864P—HHS Poverty Guidelines for
                                                    6. Public Charge Bond Cancellation                      (d) Discounted Direct Costs and Reduced               Affidavit of Support
                                                    (a) Conditions                                             Transfer Payments                                Form I–864W—Request for Exemption for
                                                    (b) Definition of Permanent Departure                   i. Discounted Direct Costs                            Intending Immigrant’s Affidavit of Support
                                                    (c) Bond Cancellation for Lawful                        ii. Discounted Reduction in Transfer                Form I–912—Request for Fee Waiver
                                                       Permanent Residents After 5 Years and                   Payments                                         Form I–94—Arrival/Departure Record
                                                       Cancellation if the Alien Obtains an                 (e) Costs to the Federal Government                 Form I–944—Declaration of Self-Sufficiency
                                                       Immigration Status Exempt From Public                (f) Benefits of Proposed Regulatory                 Form I–945—Public Charge Bond
                                                       Charge Grounds of Inadmissibility                       Changes                                          Form N–600—Application for Certificate of
                                                       Following the Initial Grant of Lawful                B. Regulatory Flexibility Act                         Citizenship
                                                       Permanent Resident Status                            C. Congressional Review Act                         Form N–600K—Application for Citizenship
                                                    (d) Request To Cancel the Bond, and                     D. Unfunded Mandates Reform Act                       and Issuance of Certificate Under Section
                                                       Adjudication of the Cancelation Request              E. Executive Order 13132 (Federalism)                 322
                                                    (e) Decision and Appeal                                 F. Executive Order 12988 (Civil Justice             GA– General Assistance
                                                    7. Breach of a Public Charge Bond and                      Reform)                                          GAO—U.S. Government Accountability
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                                                       Appeal                                               G. Executive Order 13175 Consultation and             Office
                                                    (a) Breach Conditions and Adjudication                     Coordination With Indian Tribal                  HHS—U.S. Department of Health and Human
                                                    (b) Decision and Appeal                                    Governments                                        Services
                                                    (c) Consequences of Breach                              H. Family Assessment                                ICE—U.S. Immigration and Customs
                                                    8. Exhaustion of Administrative Remedies                I. National Environmental Policy Act                  Enforcement IIRIRA—Illegal Immigration
                                                    9. Public Charge Processing Fees                           (NEPA)                                             Reform and Immigrant Responsibility Act
                                                    10. Other Technical Changes                             J. Paperwork Reduction Act                            of 1996
                                                    11. Concurrent Surety Bond Rulemaking                 VII. List of Subjects and Regulatory                  INA—Immigration and Nationality Act
                                                  VI. Statutory and Regulatory Requirements                    Amendments                                       INS—Immigration and Naturalization Service



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                                                  IRCA—Immigration Reform and Control Act                   Docket: For access to the docket and                (Secretary) to accept a public charge
                                                    of 1986                                               to read background documents or                       bond under section 213 of the Act, 8
                                                  NHE—National Health Expenditure                         comments received, go to http://                      U.S.C. 1183, for those seeking
                                                  PRA—Paperwork Reduction Act                             www.regulations.gov, referencing DHS                  adjustment of status.
                                                  PRWORA—Personal Responsibility and
                                                    Work Opportunity Reconciliation Act of
                                                                                                          Docket No. USCIS–2010–0012. You may
                                                                                                          also sign up for email alerts on the                  A. Major Provisions of the Regulatory
                                                    1996                                                                                                        Action
                                                  RFE—Request for Evidence                                online docket to be notified when
                                                  SAVE—Systematic Alien Verification for                  comments are posted or a final rule is                   DHS proposes to include the
                                                    Entitlements                                          published.                                            following major changes:
                                                  Secretary—Secretary of Homeland Security                  The docket for this rulemaking does                    • Amending 8 CFR 103.6, Surety
                                                  SIPP—Survey of Income and Program                       not include any comments submitted on                 bonds. The amendments to this section
                                                    Participation                                         the related notice of proposed                        set forth DHS’s discretion to approve
                                                  SNAP—Supplemental Nutrition Assistance                  rulemaking published by INS in 1999.1                 public charge bonds, cancellation, bond
                                                    Program                                               Commenters to the 1999 notice of                      schedules, and breach of bond, and
                                                  SSA—Social Security Administration                                                                            move principles governing public
                                                  SSI—Supplemental Security Income
                                                                                                          proposed rulemaking that wish to have
                                                  TANF—Temporary Assistance for Needy                     their views considered should submit                  charge bonds to 8 CFR 213.1, as
                                                    Families                                              new comments in response to this                      proposed to be revised in this NPRM.
                                                  USDA—U.S. Department of Agriculture                     notice of proposed rulemaking.                           • Amending 8 CFR 103.7, adding fees
                                                  U.S.C.—United States Code                                                                                     for new Form I–945, Public Charge
                                                  USCIS—U.S. Citizenship and Immigration
                                                                                                          II. Executive Summary                                 Bond, and Form I–356, Request for
                                                    Services                                                 DHS seeks to better ensure that aliens             Cancellation of Public Charge Bond.
                                                  WIC—Special Supplemental Nutrition                      subject to the public charge                             • Adding 8 CFR 212.20, Applicability
                                                    Program for Women, Infants, and Children              inadmissibility ground are self-                      of public charge inadmissibility. This
                                                  I. Public Participation                                 sufficient, i.e., do not depend on public             section identifies the categories of aliens
                                                                                                          resources to meet their needs, but rather             that are subject to the public charge
                                                     All interested parties are invited to                rely on their own capabilities, as well as            inadmissibility determination.
                                                  participate in this rulemaking by                       the resources of family members,                         • Adding 212.21, Definitions. This
                                                  submitting written data, views,                         sponsors, and private organizations.2                 section establishes key regulatory
                                                  comments and arguments on all aspects                   DHS proposes to define the term                       definitions, including public charge,
                                                  of this proposed rule. DHS also invites                 ‘‘public charge’’ in regulation and to                public benefit, likely at any time to
                                                  comments that relate to the economic,                   identify the types, amount, and duration              become a public charge, and household.
                                                  legal, environmental, or federalism                     of receipt of public benefits that would                 • Adding 212.22, Public charge
                                                  effects that might result from this                     be considered in public charge                        determination. This section clarifies that
                                                  proposed rule. Comments must be                         inadmissibility determinations. DHS                   evaluating the likelihood of becoming a
                                                  submitted in English, or an English                     proposes to amend its regulations to                  public charge is a prospective
                                                  translation must be provided.                           interpret the minimum statutory factors               determination based on the totality of
                                                  Comments that will provide the most                     for determining whether an alien is                   the circumstances. This section
                                                  assistance to U.S. Citizenship and                      inadmissible because he or she is likely              provides details on how the statute’s
                                                  Immigration Services (USCIS) in                         to become a public charge. This                       mandatory factors would be considered
                                                  implementing these changes will                         proposed rule would provide a standard                when making a public charge
                                                  reference a specific portion of the                     for determining whether an alien who                  inadmissibility determination.
                                                  proposed rule, explain the reason for                   seeks admission into the United States                   • Adding 212.23, Exemptions and
                                                  any recommended change, and include                     as a nonimmigrant or as an immigrant,                 waivers for the public charge ground of
                                                  data, information, or authority that                    or seeks adjustment of status, is likely              inadmissibility. This section provides a
                                                  supports such recommended change.                       at any time to become a public charge                 list of statutory and regulatory
                                                     Instructions: If you submit a                        under section 212(a)(4) of the Act, 8                 exemptions from and waivers of
                                                  comment, you must include the agency                    U.S.C. 1182(a)(4). DHS also provides a                inadmissibility based on public charge.
                                                  name and the DHS Docket No. USCIS–                      more comprehensive framework under                       • Adding 212.24 Valuation of
                                                  2010–0012 for this rulemaking.                          which USCIS will consider public                      monetizable benefits. This section
                                                  Regardless of the method used for                       charge inadmissibility. DHS proposes                  provides the methodology for
                                                  submitting comments or material, all                    that certain paper-based applications to              calculating the annual aggregate amount
                                                  submissions will be posted, without                     USCIS would require additional                        of the portion attributable to the alien
                                                  change, to the Federal eRulemaking                      evidence related to public charge                     for the monetizable benefits and
                                                  Portal at http://www.regulations.gov,                   considerations. Due to operational                    considered in the public charge
                                                  and will include any personal                           limitations, this additional evidence                 inadmissibility determination.
                                                  information you provide. Therefore,                     would not generally be required at ports                 • Amending 8 CFR 213.1, Adjustment
                                                  submitting this information makes it                    of entry.                                             of status of aliens on submission of a
                                                  public. You may wish to consider                           DHS also proposes amending the                     public charge bond. The updates to this
                                                  limiting the amount of personal                         nonimmigrant extension of stay and                    section change the title of this section
                                                  information that you provide in any                     change of status regulations by                       and add specifics to the public charge
                                                  voluntary public comment submission                                                                           bond provision for aliens who are
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                                                                                                          exercising its authority to set additional
                                                  you make to DHS. DHS may withhold                       conditions on granting such benefits.                 seeking adjustment of status, including
                                                  information provided in comments from                   Finally, DHS proposes to revise its                   the discretionary availability and the
                                                  public viewing that it determines may                   regulations governing the discretion of               minimum amount for a public charge
                                                  impact the privacy of an individual or                  the Secretary of Homeland Security                    bond.
                                                  is offensive. For additional information,                                                                        • Amending 8 CFR 214.1,
                                                  please read the Privacy Act notice that                   1 See Inadmissibility and Deportability on Public   Requirements for admission, extension,
                                                  is available via the link in the footer of              Charge Grounds, 64 FR 28676 (May 26, 1999).           and maintenance of status. These
                                                  http://www.regulations.gov.                               2 See 8 U.S.C. 1601(1), (2)(A).                     amendments provide that, with limited


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                                                  exceptions, an application for extension                applicants may also incur additional                  from $3,164,375 to $31,643,752
                                                  of nonimmigrant stay will be denied                     costs if DHS determines that they are                 annually.
                                                  unless the applicant demonstrates that                  required to submit Form I–944 in                         Simultaneously, DHS is proposing to
                                                  he or she has not received since                        support of their applications for                     eliminate the use and consideration of
                                                  obtaining the nonimmigrant status he or                 extension of stay or change of status.                the Request for Exemption for Intending
                                                  she seeks to extend, is not receiving,                  Moreover, the proposed rule would                     Immigrant’s Affidavit of Support (Form
                                                  and is not likely to receive, public                    impose new costs associated with the                  I–864W), currently applicable to certain
                                                  benefits as described in 8 CFR 212.21(b).               proposed public charge bond process,                  classes of aliens. In lieu of Form I–
                                                  Where section 212(a)(4) of the Act does                 including new costs for completing and                864W, the alien would indicate
                                                  not apply to the nonimmigrant category                  filing Form I–945 (Public Charge Bond),               eligibility for the exemption of the
                                                  that the alien seeks to extend, this                    and Form I–356 (Request for                           affidavit of support requirement on
                                                  provision does not apply.                               Cancellation of Public Charge Bond).                  Form I–485, Application to Register
                                                    • Amending 8 CFR 245.4                                   DHS estimates that the additional                  Permanent Residence or Adjust Status.
                                                  Documentary requirements. These                         total cost of the proposed rule would
                                                  amendments require applicants for                                                                                The proposed rule would potentially
                                                                                                          range from approximately $45,313,422                  impose new costs on individuals or
                                                  adjustment of status to file the new                    to $129,596,845 annually for the
                                                  USCIS Form I–944, Declaration of Self-                                                                        companies (obligors) if an alien has
                                                                                                          population applying to adjust status                  been found to be inadmissible on public
                                                  Sufficiency, to facilitate USCIS’ public                who also would be required to file Form
                                                  charge inadmissibility determination.                                                                         charge grounds, but has been given the
                                                                                                          I–944, the population applying for                    opportunity to submit a public charge
                                                    • Amending 8 CFR 248.1, Change of                     extension of stay or change of status that
                                                  nonimmigrant classification eligibility.                                                                      bond, for which USCIS intends to use
                                                                                                          would experience opportunity costs in                 the new Form I–945. DHS estimates the
                                                  This section provides that with limited                 time associated with the increased time
                                                  exceptions, an application to change                                                                          total cost to file Form I–945 would be
                                                                                                          burden estimates for completing Form                  at minimum about $34,234 annually.3
                                                  nonimmigrant status will be denied                      I–485, Form I–129, FormI–129CW, and
                                                  unless the applicant demonstrates that                                                                        The proposed rule would also impose
                                                                                                          FormI–539, and the population                         new costs on aliens or obligors who
                                                  he or she has not received since                        requesting or cancelling a public charge
                                                  obtaining the nonimmigrant status from                                                                        would submit a Form I–356; DHS
                                                                                                          bond using Form I–945 and Form I–356,                 estimates the total cost to file Form I–
                                                  which the alien seeks to change, is not
                                                                                                          respectively.                                         356 would be approximately $825
                                                  currently receiving, nor is likely to
                                                                                                             Over the first 10 years of                         annually.4
                                                  receive public benefits in the future, as
                                                                                                          implementation, DHS estimates the total
                                                  described in proposed 8 CFR 212.21(b).                                                                           Moreover, the proposed rule would
                                                  Where section 212(a)(4) of the Act does                 quantified new direct costs of the
                                                                                                                                                                also result in a reduction in transfer
                                                  not apply to the nonimmigrant category                  proposed rule would range from about
                                                                                                                                                                payments from the federal government
                                                  to which the alien requests a change of                 $453,134,220 to $1,295,968,450
                                                                                                                                                                to individuals who may choose to
                                                  status this provision does not apply.                   (undiscounted). DHS estimates that the
                                                                                                                                                                disenroll from or forego enrollment in a
                                                                                                          10-year discounted total direct costs of
                                                  B. Costs and Benefits                                                                                         public benefits program. Individuals
                                                                                                          this proposed rule would range from
                                                                                                                                                                may make such a choice due to concern
                                                    This proposed rule would impose                       about $386,532,679 to $1,105,487,375 at
                                                                                                                                                                about the consequences to that person
                                                  new costs on the population applying to                 a 3 percent discount rate and about
                                                                                                                                                                receiving public benefits and being
                                                  adjust status using Application to                      $318,262,513 to $910,234,008 at a 7
                                                                                                                                                                found to be likely to become a public
                                                  Register Permanent Residence or Adjust                  percent discount rate.
                                                                                                                                                                charge for purposes outlined under
                                                  Status (Form I–485) that are subject to                    The proposed rule would impose new                 section 212(a)(4) of the Act, even if such
                                                  the public charge grounds on                            costs on the population seeking                       individuals are otherwise eligible to
                                                  inadmissibility. DHS would now require                  extension of stay or change of status                 receive benefits. For the proposed rule,
                                                  any adjustment applicants subject to the                using Form I–129, Form I–129CW, or                    DHS estimates that the total reduction
                                                  public charge inadmissibility ground to                 Form I–539. For any of these forms,                   in transfer payments from the federal
                                                  submit Form I–944 with their Form I–                    USCIS officers would then be able to                  and state governments would be
                                                  485 to demonstrate they are not likely                  exercise discretion in determining                    approximately $2.27 billion annually
                                                  to become a public charge.                              whether it would be necessary to issue                due to disenrollment or foregone
                                                    The proposed rule would also impose                   a request for evidence (RFE) requesting               enrollment in public benefits programs
                                                  additional costs for seeking extension of               the applicant to submit Form I–944.                   by aliens who may be receiving public
                                                  stay or change of status by filing Form                 DHS conducted a sensitivity analysis                  benefits. DHS estimates that the 10-year
                                                  I–129 (Petition for a Nonimmigrant                      estimating the potential cost of filing               discounted transfer payments of this
                                                  Worker); Form I–129CW (Petition for a                   Form I–129, Form I–129CW, or Form I–                  proposed rule would be approximately
                                                  CNMI-Only Nonimmigrant Transitional                     539 for a range of 10 to 100 percent of               $19.3 billion at a 3 percent discount rate
                                                  Worker); or Form I–539 (Application to                  filers receiving an RFE requesting they               and about $15.9 billion at a 7 percent
                                                  Extend/Change Nonimmigrant Status) as                   submit Form I–944. The costs to Form                  discount rate. Because state
                                                  applicable. The associated time burden                  I–129 beneficiaries who may receive an
                                                  estimate for completing these forms                     RFE to file Form I–944 range from                       3 Calculation: $35.66 (cost per obligor to file Form
                                                  would increase because these applicants                 $6,086,318 to $60,863,181 annually and                I–945) * 960 (estimated annual population who
                                                  would be required to demonstrate that                   the costs to Form I–129CW beneficiaries               would file Form I–945) = $34,233.60 = $34,234
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                                                  they have not received, are not currently               who may receive such an RFE from                      (rounded) annual total cost to file Form I–945.
                                                  receiving, nor are likely in the future to              $114,132 to $1,141,315 annually. The                    4 Calculation: $33.00 (cost per obligor to file Form

                                                  receive, public benefits as described in                costs to Form I–539 applicants who may                I–356) * 25 (estimated annual population who
                                                  proposed 8 CFR 212.21(b). These                         receive an RFE to file Form I–944 range               would file Form I–356) = $825.00 annual total cost
                                                                                                                                                                to file Form I–356.




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                                                  participation in these programs may                     healthcare providers participating in                   The primary benefit of the proposed
                                                  vary depending on the type of benefit                   Medicaid, pharmacies that provide                     rule would be to help ensure that aliens
                                                  provided, DHS was only able to estimate                 prescriptions to participants in the                  who apply for admission to the United
                                                  the impact of state transfers. For                      Medicare Part D Low Income Subsidy                    States, seek extension of stay or change
                                                  example, the federal government funds                   (LIS) program, companies that                         of status, or apply for adjustment of
                                                  all SNAP food expenses, but only 50                     manufacture medical supplies or                       status are self-sufficient, i.e., do not
                                                  percent of allowable administrative                     pharmaceuticals, grocery retailers                    depend on public resources to meet
                                                  costs for regular operating expenses.5                  participating in SNAP, agricultural                   their needs, but rather rely on their own
                                                  Similarly, Federal Medical Assistance                   producers who grow foods that are                     capabilities and the resources of their
                                                  Percentages (FMAP) in some HHS                          eligible for purchase using SNAP                      family, sponsor, and private
                                                  programs like Medicaid can vary from                    benefits, or landlords participating in               organizations.7 DHS also anticipates
                                                  between 50 percent to an enhanced rate                  federally funded housing programs.                    that the proposed rule would produce
                                                  of 100 percent in some cases.6 However,                                                                       some benefits from the elimination of
                                                  assuming that the state share of federal                   Additionally, the proposed rule
                                                                                                          would add new direct and indirect costs               Form I–864W. The elimination of this
                                                  financial participation (FFP) is 50                                                                           form would potentially reduce the
                                                  percent, the 10-year discounted amount                  on various entities and individuals
                                                                                                                                                                number of forms USCIS would have to
                                                  of state transfer payments of this                      associated with regulatory
                                                                                                                                                                process, although it likely would not
                                                  proposed policy would be                                familiarization with the provisions of
                                                                                                                                                                reduce overall processing burden. DHS
                                                  approximately $9.65 billion at a 3                      this rule. Familiarization costs involve
                                                                                                                                                                estimates the amount of cost savings
                                                  percent discount rate and about $7.95                   the time spent reading the details of a
                                                                                                                                                                that would accrue from eliminating
                                                  billion at a 7 percent discount rate. DHS               rule to understand its changes. To the
                                                                                                                                                                Form I–864W would be $35.78 per
                                                  recognizes that reductions in federal                   extent that an individual or entity
                                                                                                                                                                petitioner.8 However, DHS is unable to
                                                  and state transfers under federal benefit               directly regulated by the rule incurs
                                                                                                                                                                determine the annual number of filings
                                                  programs may have downstream and                        familiarization costs, those
                                                                                                                                                                of Form I–864W and, therefore, is
                                                  upstream impacts on state and local                     familiarization costs are a direct cost of
                                                                                                                                                                currently unable to estimate the total
                                                  economies, large and small businesses,                  the rule. For example, immigration
                                                                                                                                                                annual cost savings of this change. A
                                                  and individuals. For example, the rule                  lawyers, immigration advocacy groups,
                                                                                                                                                                public charge bond process would
                                                  might result in reduced revenues for                    health care providers of all types, non-
                                                                                                                                                                provide benefits to applicants as they
                                                                                                          profit organizations, non-governmental
                                                                                                                                                                potentially would be given the
                                                     5 Per section 16(a) of the Food and Nutrition Act    organizations, and religious
                                                                                                                                                                opportunity to adjust their status if
                                                  of 2008. See also Per section 16(a) of the Food and     organizations, among others, may need
                                                  Nutrition Act of 2008. See also USDA, FNS                                                                     otherwise admissible, at the discretion
                                                                                                          or want to become familiar with the
                                                  Handbook 901, p. 41 available at: https://fns-                                                                of DHS, after a determination that they
                                                  prod.azureedge.net/sites/default/files/apd/FNS_         provisions of this proposed rule. An
                                                                                                                                                                are likely to become public charges.
                                                  HB901_v2.2_internet_Ready_Format.pdf                    entity, such as a non-profit or advocacy
                                                                                                                                                                  Table 1 provides a more detailed
                                                     6 See Dept. of Health and Human Services,            group, may have more than one person
                                                  ‘‘Federal Financial Participation in State Assistance                                                         summary of the proposed provisions
                                                                                                          that reads the rule. Familiarization costs
                                                  Expenditures; Federal Matching Shares for                                                                     and their impacts.
                                                  Medicaid, the Children’s Health Insurance Program,      incurred by those not directly regulated
                                                                                                                                                                BILLING CODE 4410–10–P
                                                  and Aid to Needy Aged, Blind, or Disabled Persons       are indirect costs. DHS estimates the
                                                  for October 1, 2016 through September 30, 2017.’’       time that would be necessary to read                    78
                                                  ASPE FMAP 2017 Report. Dec. 29, 2015. Available                                                                    U.S.C. 1601(2).
                                                  at https://aspe.hhs.gov/basic-report/fy2017-federal-
                                                                                                          this proposed rule would be                             8 Calculation for the opportunity cost of time for
                                                  medical-assistance-percentages. Accessed Sept. 13,      approximately 8 to 10 hours per person,               completing and submitting Form I–864W: ($34.84
                                                  2018.                                                   resulting in opportunity costs of time.               per hour * 1.0 hours) = $34.84.
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                                                  BILLING CODE 4410–10–C
                                                                                                            adjustment of status, he or she is likely             ability to be self-supporting.’’ 10 These
                                                  III. Purpose of the Proposed Rule                         at any time to become a public charge.                decisions, in general, conclude that an
                                                                                                            The statute requires DHS to consider the              alien who is incapable of earning a
                                                  A. Self-Sufficiency                                       following minimum factors that reflect                livelihood, who does not have sufficient
                                                     DHS seeks to better ensure that                        the likelihood that an alien will become              funds in the United States for support,
                                                  applicants for admission to the United                    a public charge: The alien’s age; health;             and who has no person in the United
                                                  States and applicants for adjustment of                   family status; assets, resources, and                 States willing and able to assure the
                                                  status to lawful permanent resident who                   financial status; and education and                   alien will not need public support
                                                  are subject to the public charge ground                   skills. DHS may also consider any                     generally is inadmissible as likely to
                                                  of inadmissibility are self-sufficient, i.e.,             affidavit of support submitted by the                 become a public charge.11 Furthermore,
                                                  do not depend on public resources to                      alien’s sponsor and any other factor                  the following congressional policy
                                                  meet their needs, but rather rely on their                relevant to the likelihood of the alien               statements relating to self-sufficiency,
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                                                  own capabilities and the resources of                     becoming a public charge.                             immigration, and public benefits inform
                                                  their family, sponsor, and private                           As noted in precedent administrative               DHS’s proposed administration of
                                                  organizations.9 Under section 212(a)(4)                   decisions, determining the likelihood of
                                                  of the Act, 8 U.S.C. 1182(a)(4), an alien                 an alien becoming a public charge                       10 Matter of Vindman, 16 I&N Dec. 131, 132 (Reg’l
                                                  is inadmissible if, at the time of an                     involves ‘‘consideration of all the factors           Comm’r 1977).
                                                  application for a visa, admission, or
                                                                                                            bearing on the alien’s ability or potential             11 See, e.g., Matter of Vindman, 16 I&N Dec. 131

                                                                                                                                                                  (Reg’l Comm’r 1977); Matter of Harutunian, 14 I&N
                                                                                                                                                                                                                        EP10OC18.003</GPH>




                                                    9 See   8 U.S.C. 1601(2).                                                                                     Dec. 583 (Reg’l Comm’r 1974).



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                                                  section 212(a)(4) of the Act, 8 U.S.C.                  which they are eligible, even though the                emphasis on primary dependence on
                                                  1182(a)(4).                                             public charge inadmissibility                           cash public benefits. This proposed rule
                                                     (1) Self-sufficiency has been a basic                determination does not directly apply to                would improve upon the 1999 Interim
                                                  principle of United States immigration                  them. Such aliens should have adequate                  Field Guidance by removing the
                                                  law since this country’s earliest                       financial resources to maintain the                     artificial distinction between cash and
                                                  immigration statutes.                                   status they seek to extend or to which                  non-cash benefits, and aligning public
                                                     (2) It continues to be the immigration               they seek to change for the duration of                 charge policy with the self-sufficiency
                                                  policy of the United States that—                       their temporary stay, and must be able                  principles set forth in the Personal
                                                     (A) Aliens within the Nation’s borders               to support themselves.                                  Responsibility and Work Opportunity
                                                  not depend on public resources to meet                                                                          Reconciliation Act of 1996
                                                  their needs, but rather rely on their own               B. Public Charge Inadmissibility
                                                                                                                                                                  (PRWORA).19 The proposed rule would
                                                  capabilities and the resources of their                 Determinations
                                                                                                                                                                  provide clarification and guidance on
                                                  families, their sponsors, and private                      DHS seeks to interpret the term                      the mandatory factors, including how
                                                  organizations; and                                      ‘‘public charge’’ for purposes of making                these factors would be evaluated in
                                                     (B) The availability of public benefits              public charge inadmissibility                           relation to the new proposed definition
                                                  not constitute an incentive for                         determinations. As noted above,                         of public charge and in making a public
                                                  immigration to the United States.12                     Congress codified the minimum                           charge inadmissibility determination.20
                                                     Within this administrative and                       mandatory factors that must be
                                                  legislative context, DHS’s view of self-                considered as part of the public charge                 IV. Background
                                                  sufficiency is that aliens subject to the               inadmissibility determination under                        Three principal issues 21 have framed
                                                  public charge ground of inadmissibility                 section 212(a)(4) of the Act, 8 U.S.C.                  the development of public charge
                                                  must rely on their own capabilities and                 1182(a)(4): Age, health, family status,                 inadmissibility: (1) The factors involved
                                                  secure financial support, including from                assets, resources, financial status,                    in determining whether or not an alien
                                                  family members and sponsors, rather                     education, and skills.14 In addition to                 is likely to become a public charge, (2)
                                                  than seek and receive public benefits to                these minimum factors, the statute                      the relationship between public charge
                                                  meet their needs. Aliens subject to the                 states that any affidavit of support under              and receipt of public benefits, and (3)
                                                  public charge ground of inadmissibility                 section 213A of the Act may also be                     the consideration of a sponsor’s affidavit
                                                  include: Immediate relatives of U.S.                    considered.15 In fact, since an affidavit               of support within public charge
                                                  citizens, fiancé(e)s, family-preference                of support is required for family-                      inadmissibility determinations.
                                                  immigrants, most employment-based                       sponsored immigrant applicants and
                                                  immigrants, diversity visa immigrants,                  certain employment-sponsored                              19 Public   Law 104–193, 110 Stat. 2105.
                                                  and certain nonimmigrants. Most                         immigrant applicants, these aliens are                    20 Moreover,    this proposed policy change is
                                                  employment-based immigrants are                         inadmissible as likely to become a                      consistent with the March 6, 2017 Presidential
                                                  coming to work for their petitioning                    public charge if they do not submit such                Memorandum directing DHS to issue new rules,
                                                  employers; DHS believes that by virtue                                                                          regulations, and/or guidance to enforce laws
                                                                                                          a sufficient affidavit of support.16                    relating to such grounds of inadmissibility and
                                                  of their employment, such immigrants                       Although INS 17 issued a proposed                    subsequent compliance. See Implementing
                                                  should have adequate income and                         rule and Interim Field Guidance in                      Immediate Heightened Screening and Vetting of
                                                  resources to support themselves without                 1999, neither the proposed rule nor                     Applications for Visas and Other Immigration
                                                  resorting to seeking public benefits.                                                                           Benefits, Ensuring Enforcement of All Laws for
                                                                                                          Interim Field Guidance sufficiently                     Entry Into the United States, and Increasing
                                                  Similarly, DHS believes that, consistent                described the mandatory factors or                      Transparency Among Departments and Agencies of
                                                  with section 212(a)(4), nonimmigrants                   explained how to weigh these factors in                 the Federal Government and for the American
                                                  should have sufficient financial means                  the public charge inadmissibility                       People, 82 FR 16279 (Apr. 3, 2017), available at
                                                  or employment, if authorized to work, to                                                                        https://www.whitehouse.gov/the-press-office/2017/
                                                                                                          determination.18 The 1999 Interim Field                 03/06/memorandum-secretary-state-attorney-
                                                  support themselves for the duration of                  Guidance allows consideration of the                    general-secretary-homeland-security.
                                                  their authorized admission and                          receipt of cash public benefits when                       21 See, e.g., Report of the Committee of the

                                                  temporary stay. In addition, immediate                  determining whether an applicant meets                  Judiciary Pursuant to S. Res. 137, S. Rep. No. 81–
                                                  relatives of U.S. citizens, fiancé(e)s,                the definition of ‘‘public charge,’’ but                1515, at 346–50 (1950). Prior to passage of the INA
                                                                                                                                                                  of 1952, the Senate Judiciary Committee issued a
                                                  most family-preference immigrants, and                  excluded consideration of non-cash                      report assessing issues within the immigration
                                                  some employment-based immigrants                        public benefits. In addition, the 1999                  system, including public charge. The committee
                                                  require a sponsor and a legally binding                 Interim Field Guidance placed its                       recommended retention of public charge exclusion
                                                  affidavit of support under section 213A                                                                         in the statute but highlighted two main problems
                                                                                                                                                                  related to its implementation: (1) How to determine
                                                  of the Act showing that the sponsor                        14 See INA section 212(a)(4)(B)(ii), 8 U.S.C.
                                                                                                                                                                  who is likely to become a public charge and (2) how
                                                  agrees to provide support to maintain                   1182(a)(4)(B)(ii).
                                                                                                             15 See INA section 212(a)(4)(B)(iii), 8 U.S.C.
                                                                                                                                                                  to find a better way of meeting the purpose for
                                                  the alien at an annual income that is not                                                                       which affidavits of support were executed on the
                                                                                                          1182(a)(4)(B)(iii).                                     alien’s behalf. The committee noted that there was
                                                  less than 125 percent of the FPG.13                        16 See INA section 212(a)(4)(C), 8 U.S.C.
                                                                                                                                                                  no definition of the term ‘‘likely to become a public
                                                     DHS’s view of self-sufficiency also                  1182(a)(4)(C).                                          charge’’ and that the meaning of the term had been
                                                  informs other aspects of this proposal.                    17 On March 1, 2003, INS functions were
                                                                                                                                                                  left to the interpretation of administrative officials
                                                  DHS proposes that aliens who seek to                    transferred from the Department of Justice to DHS.      and the courts. Factors such as financial status,
                                                  change their nonimmigrant status or                     See Homeland Security Act of 2002, Public Law           business ownership, health, and employability were
                                                                                                          107–296, sections 402(3), 441, 116 Stat. 2135, 2178,    considerations, as were decisions rendered by the
                                                  extend their nonimmigrant stay                          2192.                                                   courts and in public charge determinations made by
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                                                  generally should also be required to                       18 See Inadmissibility and Deportability on Public   consular and immigration officers. The committee
                                                  continue to be self-sufficient and not                  Charge Grounds, 64 FR 28676 (May 26, 1999); Field       advised against defining public charge in the INA.
                                                  remain in the United States to avail                    Guidance on Deportability and Inadmissibility on        Instead, it recommended that the determination of
                                                                                                          Public Charge Grounds, 64 FR 28689 (May 26,             whether an alien falls into the public charge
                                                  themselves of any public benefits for                   1999). Due to a printing error, the Federal Register    category should rest within the discretion of
                                                                                                          version of the field guidance appears to be dated       consular and immigration officials because the
                                                    12 Personal Responsibility and Work Opportunity
                                                                                                          ‘‘March 26, 1999’’ even though the guidance was         elements constituting public charge are varied. It
                                                  Reconciliation Act of 1996, Public Law 104–193,         actually signed May 20, 1999, became effective May      also recommended the use of a bond or suitable
                                                  110 Stat. 2105, codified in part at.8 U.S.C. 1601.      21, 1999 and was published in the Federal Register      undertaking over the practice of using affidavits of
                                                    13 See INA section 213A(a), 8 U.S.C. 1183a(a).        on May 26, 1999, along with the NPRM.                   support.



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                                                  A. Legal Authority                                      adjustment of status to lawful                           C. Extension of Stay and Change of
                                                     DHS’s authority for making public                    permanent residence. Section 248 of the                  Status
                                                  charge inadmissibility determinations                   Act, 8 U.S.C. 1258, authorizes the                          Pursuant to section 214(a)(1) of the
                                                  and related decisions is found in several               Secretary to prescribe conditions under                  Act, 8 U.S.C. 1184(a)(1), DHS permits
                                                  statutory provisions. Section 102 of the                which an alien may change his or her                     certain nonimmigrants to remain in the
                                                  Homeland Security Act of 2002 (Pub. L.                  status from one nonimmigrant                             United States beyond their current
                                                  107–296, 116 Stat. 2135), 6 U.S.C. 112,                 classification to another. The Secretary                 period of authorized stay to continue
                                                  and section 103 of the Immigration and                  proposes the changes in this rule under                  engaging in activities permitted under
                                                  Nationality Act (INA, or the Act), 8                    these authorities.                                       their current nonimmigrant status. The
                                                  U.S.C. 1103, charge the Secretary with                  B. Immigration to the United States                      extension of stay regulations require a
                                                  the administration and enforcement of                                                                            nonimmigrant applying for an extension
                                                                                                             The INA governs whether an alien
                                                  the immigration and naturalization laws                                                                          of stay to demonstrate that he or she is
                                                                                                          may obtain a visa, be admitted to or
                                                  of the United States. In addition to                                                                             admissible to the United States.24 For
                                                                                                          remain in the United States, or obtain an
                                                  establishing the Secretary’s general                                                                             some extension of stay applications, the
                                                                                                          extension of stay, change of status, or
                                                  authority for the administration and                                                                             applicant’s financial status is an
                                                                                                          adjustment of status.22 The INA
                                                  enforcement of immigration laws,                                                                                 element of the eligibility
                                                                                                          establishes separate processes for aliens
                                                  section 103 of the Act enumerates                                                                                determination.25 DHS has the authority
                                                                                                          seeking a visa, admission, change of
                                                  various related authorities including the                                                                        to set conditions in determining
                                                                                                          status, and adjustment of status. For
                                                  Secretary’s authority to establish                                                                               whether to grant the extension of stay
                                                                                                          example, where an immigrant visa
                                                  regulations and prescribe such forms of                                                                          request.26 The decision to grant an
                                                                                                          petition is required, USCIS will
                                                  bond as are necessary for carrying out                                                                           extension of stay application, with
                                                                                                          adjudicate the petition. If USCIS
                                                  her authority. Section 212 of the Act, 8                                                                         certain limited exceptions, is
                                                                                                          approves the petition, the alien may
                                                  U.S.C. 1182, establishes classes of aliens                                                                       discretionary.27
                                                                                                          apply for a visa with the U.S.                              Under section 248 of the Act, 8 U.S.C.
                                                  that are ineligible for visas, admission,               Department of State (DOS) and
                                                  or adjustment of status and paragraph                                                                            1258, DHS may permit an alien to
                                                                                                          thereafter seek admission in the                         change his or her status from one
                                                  (a)(4) of that section establishes the                  appropriate immigrant classification. If
                                                  public charge ground of inadmissibility,                                                                         nonimmigrant status to another
                                                                                                          the alien is present in the United States,               nonimmigrant status, with certain
                                                  including the minimum factors the                       he or she may be eligible to apply to
                                                  Secretary must consider in making a                                                                              exceptions, as long as the nonimmigrant
                                                                                                          USCIS for adjustment of status to that of                is continuing to maintain his or her
                                                  determination that an alien is likely to                a lawful permanent resident. In the
                                                  become a public charge. Section                                                                                  current nonimmigrant status and is not
                                                                                                          nonimmigrant context, the                                inadmissible under section
                                                  212(a)(4) of the Act also establishes the               nonimmigrant typically applies directly
                                                  affidavit of support requirement as                                                                              212(a)(9)(B)(i) of the Act, 8 U.S.C.
                                                                                                          to the U.S. consulate or embassy abroad                  1182(a)(9)(B)(i).28 An applicant’s
                                                  applicable to certain family-based and                  for a visa to enter for a limited purpose,
                                                  employment-based immigrants, and                                                                                 financial status is currently part of the
                                                                                                          such as to visit for business or                         determination for changes to certain
                                                  exempts certain aliens from both the                    tourism.23 Applicants for admission are
                                                  public charge ground of inadmissibility                                                                          nonimmigrant classifications.29 Like
                                                                                                          inspected at or, when encountered,                       extensions of stay, change of status
                                                  and the affidavit of support                            between the port of entry. The
                                                  requirement. Section 213 of the Act, 8                                                                           adjudications are discretionary
                                                                                                          inspection is conducted by immigration                   determinations, and DHS has the
                                                  U.S.C. 1183, provides the Secretary with                officers in a timeframe and setting
                                                  discretion to admit into United States an                                                                        authority to set conditions that apply for
                                                                                                          distinct from the visa adjudication                      a nonimmigrant to change his or her
                                                  alien who is determined to be                           process. If a nonimmigrant alien is
                                                  inadmissible as a public charge under                                                                            status.30
                                                                                                          present in the United States, he or she
                                                  section 212(a)(4) of the Act, but is                    may be eligible to apply to USCIS for an                 D. Public Charge Inadmissibility
                                                  otherwise admissible, upon the giving of                extension of nonimmigrant stay or                          Section 212(a)(4) of the Act, 8 U.S.C.
                                                  a proper and suitable bond. That section                change of nonimmigrant status.                           1182(a)(4), provides that an alien
                                                  authorizes the Secretary to establish the                  DHS has the discretion to waive                       applicant for a visa, admission, or
                                                  amount and conditions of such bond.                     certain grounds of inadmissibility as                    adjustment of status is inadmissible if
                                                  Section 213A of the Act, 8 U.S.C. 1183a,                designated by Congress. Where an alien                   he or she is likely at any time to become
                                                  sets out requirements for the sponsor’s                 is seeking an immigration benefit that is                a public charge. The public charge
                                                  affidavit of support, including                         subject to a ground of inadmissibility,                  ground of inadmissibility, therefore,
                                                  reimbursement of government expenses                    DHS cannot approve the immigration                       applies to any alien applying for a visa
                                                  where the sponsored alien received                      benefit being sought if a waiver of that                 to come to the United States temporarily
                                                  means-tested public benefits. Section                   ground is unavailable under the INA,                     or permanently, for admission, or for
                                                  214 of the Act, 8 U.S.C. 1184, addresses                the alien does not meet the statutory
                                                  requirements for the admission of                       and regulatory requirements for the                        24 See 8 CFR 214.1(a)(3)(i).
                                                  nonimmigrants, including authorizing                    waiver, or the alien does not warrant the                  25 See, e.g., 8 CFR 214.2(f)(1)(i)(B).
                                                  the Secretary to prescribe the conditions               waiver in any authorized exercise of                       26 See INA section 214(a)(1), 8 U.S.C. 1184(a)(1);

                                                  of such admission through regulations                   discretion.                                              8 CFR 214.1(a)(3)(i).
                                                                                                                                                                     27 See 8 CFR 214.1(c)(5).
                                                  and when necessary establish a bond to
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                                                                                                                                                                     28 See INA section 248(a), 8 U.S.C. 1258(a); 8 CFR
                                                  ensure that those admitted as                              22 See, e.g., INA section 212(a), 8 U.S.C. 1182(a)
                                                                                                                                                                   248.1(a).
                                                  nonimmigrants or who change their                       (listing grounds of inadmissibility).
                                                                                                             23 Certain nonimmigrant classifications are             29 See, e.g., Adjudicator’s Field Manual Ch.
                                                  nonimmigrant status under section 248                   subject to petition requirements and require that a      30.3(c)(2)(C) (applicants to change status to a
                                                  of the Act, 8 U.S.C. 1258, depart if they               petition be filed and approved by USCIS prior to         nonimmigrant student must demonstrate that they
                                                  violate their nonimmigrant status or                    application for a visa. See, e.g., INA section 214(c),   have the financial resources to pay for coursework
                                                                                                          8 U.S.C. 1184(c). In addition, certain aliens are not    and living expenses in the United States)
                                                  after such status expires. Section 245 of               subject to a visa requirement in order to seek           [hereinafter AFM].
                                                  the Act, 8 U.S.C. 1255, generally                       admission as a nonimmigrant. See, e.g., INA section        30 See INA section 248(a), 8 U.S.C. 1258(a); 8 CFR

                                                  establishes eligibility criteria for                    217, 8 U.S.C. 1187.                                      248.1(a).



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                                                  adjustment of status to that of a lawful                charge bond process.38 This rule would                   Matter of Perez, the Board of
                                                  permanent resident.31 Section 212(a)(4)                 outline a process under which USCIS                      Immigration Appeals (BIA) held that
                                                  of the Act, does not, however, directly                 could, in its discretion, offer public                   ‘‘[t]he determination of whether an alien
                                                  apply to applications for extension of                  charge bonds to applicants for                           is likely to become a public charge . . .
                                                  stay or change of status because                        adjustment of status who are                             is a prediction based upon the totality
                                                  extension of stay and change of status                  inadmissible only on public charge                       of the alien’s circumstances at the time
                                                  applications are not applications for a                 grounds.                                                 he or she applies for an immigrant visa
                                                  visa, admission, or adjustment of status.                                                                        or admission to the United States. The
                                                     The INA does not define public                       1. Public Laws and Case Law
                                                                                                                                                                   fact that an alien has been on welfare
                                                  charge. It does, however, specify that                     Since at least 1882, the United States                does not, by itself, establish that he or
                                                  when determining if an alien is likely at               has denied admission to aliens on                        she is likely to become a public
                                                  any time to become a public charge,                     public charge grounds.39 The INA of                      charge.’’ 43 As stated in Matter of
                                                  consular officers and immigration                       1952 excluded aliens who, in the                         Harutunian,44 public charge
                                                  officers must, at a minimum, consider                   opinion of the consular officer at the                   determinations should take into
                                                  the alien’s age; health; family status;                 time of application for a visa, or in the                consideration factors such as an alien’s
                                                  assets, resources, and financial status;                opinion of the Government at the time                    age, incapability of earning a livelihood,
                                                  and education and skills.32                             of application for admission, are likely                 a lack of sufficient funds for self-
                                                     Some immigrant and nonimmigrant                      at any time to become public charges.40                  support, and a lack of persons in this
                                                  categories are exempt from the public                   The Government has long interpreted                      country willing and able to assure that
                                                  charge inadmissibility ground. DHS                      the words ‘‘in the opinion of’’ as                       the alien will not need public support.
                                                  proposes to list these categories in the                evincing the subjective nature of the                       The totality of circumstances
                                                  regulation. DHS also proposes to list in                determination.41                                         approach to public charge
                                                  the regulation the applicants that the                     A series of administrative decisions                  inadmissibility determinations was
                                                  law permits to apply for a waiver of the                after passage of the Act clarified that a                codified in relation to one specific class
                                                  public charge inadmissibility ground.33                 totality of the circumstances review was                 of aliens in the 1980s. In 1986, Congress
                                                     Additionally, section 212(a)(4) of the               the proper framework for making public                   passed the Immigration Reform and
                                                  Act, 8 U.S.C. 1182(a)(4), permits the                   charge determinations and that receipt                   Control Act (IRCA), providing eligibility
                                                  consular officer or the immigration                     of welfare would not, alone, lead to a                   for lawful status to certain aliens who
                                                  officer to consider any affidavit of                    finding of likelihood of becoming a                      had resided in the United States
                                                  support submitted under section 213A                    public charge. In Matter of Martinez-                    continuously prior to January 1, 1982.45
                                                  of the Act, 8 U.S.C. 1183a, on the                      Lopez, the Attorney General opined that                  No changes were made to the language
                                                  applicant’s behalf when determining                     the statute ‘‘require[d] more than a                     of the public charge exclusion ground
                                                  whether the applicant may become a                      showing of a possibility that the alien                  under former section 212(a)(15) of the
                                                  public charge.34 In fact, with very                     will require public support. Some                        Act, but IRCA contained special public
                                                  limited exceptions, aliens seeking                      specific circumstance, such as mental or                 charge rules for aliens seeking
                                                  family-based immigrant visas and                        physical disability, advanced age, or                    legalization under 245A of the Act.
                                                  adjustment of status, and a limited                     other fact showing that the burden of                    Although IRCA provided otherwise
                                                  number of employment-based                              supporting the alien is likely to be cast                eligible aliens an exemption or waiver
                                                  immigrant visas or adjustment of status,                on the public, must be present. A                        for some grounds of excludability, the
                                                  must have a sufficient affidavit of                     healthy person in the prime of life                      aliens generally remained excludable on
                                                  support or will be found inadmissible as                cannot ordinarily be considered likely                   public charge grounds.46 Under IRCA,
                                                  likely to become a public charge.35                     to become a public charge, especially                    however, if an applicant demonstrated a
                                                     In general, an alien whom DHS has                    where he has friends or relatives in the                 history of self-support through
                                                  determined to be inadmissible based on                  United States who have indicated their                   employment and without receiving
                                                  the public charge ground may, if                        ability and willingness to come to his                   public cash assistance, he or she would
                                                  otherwise admissible, be admitted at the                assistance in case of emergency.’’ 42 In                 not be ineligible for adjustment of status
                                                  discretion of the Secretary upon giving                                                                          on public charge grounds.47 In addition,
                                                  a suitable and proper bond or                             38 See  AFM Ch. 61.1(b).                               aliens who were ‘‘aged, blind or
                                                  undertaking approved by the                               39 See  Immigration Act of 1882, ch. 376, sections     disabled’’ as defined in section
                                                  Secretary.36 The purpose of issuing a                   1–2, 22 Stat. 214, 214. Section 11 of the Act also
                                                                                                          provided that an alien who became a public charge        1614(a)(1) of the Social Security Act,
                                                  public charge bond is to ensure that the                within 1 year of arrival in the United States from       could obtain a waiver from the public
                                                  alien will not become a public charge in                causes that existed prior to his or her landing, was     charge provision.48
                                                  the future.37 Since the introduction of                 deemed to be in violation of law, and was to be
                                                  enforceable affidavits of support in                    returned at the expense of the person or persons,          43 15
                                                                                                          vessel, transportation, company or corporation who               I&N Dec. 136, 137 (BIA 1974).
                                                  section 213A of the Act, the use of                     brought the alien into the United States.
                                                                                                                                                                     44 See 14 I&N Dec. 583, 589 (Reg’l Comm’r 1974).
                                                  public charge bonds has decreased and                      40 See INA of 1952, ch. 477, section 212(a)(15), 66     45 See IRCA of 1986, Public Law 99–603, section

                                                  USCIS does not currently have a public                  Stat. 163, 183.                                          201, 100 Stat. 3359, 3394.
                                                                                                             41 See Matter of Harutunian, 14 I&N Dec. 583, 588       46 See INA section 245A(d)(2)(B)(ii)(IV), 8 U.S.C.

                                                    31 See                                                (Reg’l Cmm’r 1974) (‘‘[T]he determination of             1255(d)(2)(B)(ii)(IV).
                                                           INA section 212(a)(4), 8 U.S.C. 1182(a)(4).                                                               47 See INA section 245A(d)(2)(B)(iii), 8 U.S.C.
                                                    32 See                                                whether an alien falls into that category [as likely
                                                           INA section 212(a)(4)(B)(i), 8 U.S.C.                                                                   1255(d)(2)(B)(iii).
                                                                                                          to become a public charge] rests within the
                                                  1182(a)(4)(B)(i).                                                                                                  48 See INA section 245A(d)(2)(B)(ii); see also 42
                                                                                                          discretion of the consular officers or the
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                                                    33 See proposed 8 CFR 212.23.
                                                                                                          Commissioner . . . Congress inserted the words ‘in       U.S.C. 1382c(a)(1). DHS does not propose to apply
                                                    34 See INA section 212(a)(4)(B)(ii), 8 U.S.C.
                                                                                                          the opinion of’ (the consul or the Attorney General)     this proposed rule to legalization applications filed
                                                  1182(a)(4)(B)(ii). When required, the applicant must    with the manifest intention of putting borderline        pursuant to section 245A of the INA or otherwise
                                                  submit an Affidavit of Support Under Section 213A       adverse determinations beyond the reach of judicial      amend the regulations at 8 CFR part 245a. That
                                                  of the INA (Form I–864).                                review.’’ (citation omitted)); Matter of Martinez-       provision is subject to legal standards and
                                                    35 See INA section 212(a)(4)(C), (D), 8 U.S.C.
                                                                                                          Lopez, 10 I&N Dec. 409, 421 (Att’y Gen. 1962)            settlement agreements that impact public charge
                                                  1182(a)(4)(C), (D).                                     (‘‘[U]nder the statutory language the question for       inadmissibility determinations in this specific
                                                    36 See INA section 213, 8 U.S.C. 1183.                visa purposes seems to depend entirely on the            context. See, e.g., Catholic Soc. Servs., Inc. v.
                                                    37 See Matter of Viado, 19 I&N Dec. 252 (BIA          consular officer’s subjective opinion.’’).               Meese, vacated sub nom. Reno v. Catholic Soc.
                                                  1985).                                                     42 10 I&N Dec. 409, 421–23 (BIA 1962).                                                            Continued




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                                                     INS promulgated 8 CFR 245a.3,49                      1990s. The Immigration Act of 1990                    United States or by appropriated funds
                                                  which established that immigration                      reorganized section 212(a) of the Act                 of the United States; and
                                                  officers would make public charge                       and re-designated the public charge                      (B) Any retirement, welfare, health,
                                                  determinations by examining the                         provision as section 212(a)(4) of the Act,            disability, public or assisted housing,
                                                  ‘‘totality of the alien’s circumstances at              8 U.S.C. 1182(a)(4).57 In 1996,                       postsecondary education, food
                                                  the time of his or her application for                  PRWORA 58 and the Illegal Immigration                 assistance, unemployment benefit, or
                                                  legalization.’’ 50 According to the                     Reform and Immigrant Responsibility                   any other similar benefit for which
                                                  regulation, the existence or absence of a               Act of 1996 (IIRIRA) 59 altered the                   payments or assistance are provided to
                                                  particular factor could never be the sole               legislative landscape of public charge                an individual, household, or family
                                                  criterion for determining whether a                     considerably.60 Through PRWORA,                       eligibility unit by an agency of the
                                                  person is likely to become a public                     which is commonly known as the 1996                   United States or by appropriated funds
                                                  charge.51 Further, the regulation                       welfare reform law, Congress declared                 of the United States.65
                                                  established that the determination is a                 that aliens generally should not depend
                                                  ‘‘prospective evaluation based on the                   on public resources and that these                    (a) Qualified Aliens
                                                  alien’s age, health, income, and                        resources should not constitute an
                                                                                                                                                                   Generally, under PRWORA,
                                                  vocation.’’ 52 A special provision in the               incentive for immigration to the United
                                                                                                                                                                ‘‘qualified aliens’’ are eligible for federal
                                                  rule stated that aliens with incomes                    States.61 Congress also created section
                                                                                                                                                                means-tested benefits after 5 years and
                                                  below the poverty level are not                         213A of the Act and made a sponsor’s
                                                                                                                                                                are not eligible for ‘‘specified federal
                                                  excludable if they are consistently                     affidavit of support for an alien
                                                                                                                                                                programs,’’ and states are allowed to
                                                  employed and show the ability to                        beneficiary legally enforceable.62 The
                                                  support themselves.53 Finally, an alien’s               affidavit of support provides a                       determine whether the qualified alien is
                                                  past receipt of public cash assistance                  mechanism for public benefit granting                 eligible for ‘‘designated federal
                                                  would be a significant factor in a                      agencies to seek reimbursement in the                 programs.’’ 66 The following table
                                                  context that also considers the alien’s                 event a sponsored alien received means-               provides a list of immigration categories
                                                  consistent past employment.54 In Matter                 tested public benefits.63                             that are qualified aliens under
                                                  of A-,55 INS again pursued a totality of                                                                      PRWORA.67
                                                                                                          2. Public Benefits Under PRWORA
                                                  circumstances approach in public
                                                  charge determinations. ‘‘Even though                       PRWORA also significantly restricted                  65 See Public Law 104–193, section 401(c), 110

                                                                                                          alien eligibility for many Federal, State,            Stat. 2105, 2262 (1996) (codified as amended at 8
                                                  the test is prospective,’’ INS                                                                                U.S.C. 1611(c)). Congress provided that such term
                                                  ‘‘considered evidence of receipt of prior               and local public benefits.64 With certain             shall not apply—
                                                  public assistance as a factor in making                 exceptions, Congress defined the term                    (A) to any contract, professional license, or
                                                  public charge determinations.’’ INS also                ‘‘Federal public benefit’’ broadly as:                commercial license for a nonimmigrant whose visa
                                                  considered an alien’s work history, age,                   (A) Any grant, contract, loan,                     for entry is related to such employment in the
                                                                                                          professional license, or commercial                   United States, or to a citizen of a freely associated
                                                  capacity to earn a living, health, family                                                                     state, if section 141 of the applicable compact of
                                                  situation, affidavits of support, and                   license provided by an agency of the                  free association approved in Public Law 99–239 or
                                                  other relevant factors in their totality.56                                                                   99–658 (or a successor provision) is in effect;
                                                                                                            57 See Immigration Act of 1990, Public Law 101–
                                                     The administrative practices                                                                                  (B) with respect to benefits for an alien who as
                                                                                                          649, section 601(a), 104 Stat. 4978, 5072.            a work authorized nonimmigrant or as an alien
                                                  surrounding public charge                                 58 Public Law 104–193, 110 Stat. 2105.              lawfully admitted for permanent residence under
                                                  inadmissibility determinations began to                   59 Public Law 104–208, div. C, 110 Stat 3009–546.   the Immigration and Nationality Act [8 U.S.C. 1101
                                                  crystalize into legislative changes in the                60 In 1990, Congress reorganized INA section        et seq.] qualified for such benefits and for whom the
                                                                                                          212(a), redesignated the public charge provision as   United States under reciprocal treaty agreements is
                                                  Servs., Inc., 509 U.S. 43 (1993); League of United      INA section 212(a)(4), and eliminated the exclusion   required to pay benefits, as determined by the
                                                  Latin Am. Citizens v. INS, vacated sub nom. Reno        of paupers, beggars, and vagrants as these grounds    Attorney General, after consultation with the
                                                  v. Catholic Soc. Servs., Inc., 509 U.S. 43 (1993).      were sufficiently covered under the public charge     Secretary of State; or
                                                     49 See Adjustment of Status for Certain Aliens, 54   provision. See Immigration Act of 1990, Public Law       (C) to the issuance of a professional license to, or
                                                                                                          101–649, section 601(a), 104 Stat. 4978, 5072.        the renewal of a professional license by, a foreign
                                                  FR 29442 (Jul. 12, 1989).                                 61 See Public Law 104–193, section 400, 110 Stat.
                                                     50 8 CFR 245a.3(g)(4)(i).                                                                                  national not physically present in the United States.
                                                     51 8 CFR 245a.3(g)(4)(i).
                                                                                                          2105, 2260 (codified at 8 U.S.C. 1601).               8 U.S.C. 1611(c)(2).
                                                                                                            62 See Public Law 104–193, section 423, 110 Stat.      66 See Public Law 104–193, tit. IV, 110 Stat. 2105,
                                                     52 8 CFR 245a.3(g)(4)(i).
                                                                                                          2105, 2271 (codified at INA section 213A, 8 U.S.C.    2260–77.
                                                     53 8 CFR 245a.3(g)(4)(iii).
                                                                                                          1183a). The provision was further amended with           67 See Public Law 104–193, section 431, 110 Stat.
                                                     54 See 8 CFR 245a.3(g)(4)(iii).                      the passage of IIRIRA.                                2105, 2274 (codified at 8 U.S.C. 1641); Trafficking
                                                     55 19 I&N Dec. 867 (Comm’r 1988).                      63 See INA section 213A(b), 8 U.S.C. 1183a(b).
                                                                                                                                                                Victims Protection Act of 2000 section 107(b)(1), 22
                                                     56 See 19 I&N Dec. 867, 869 (Comm’r 1988).             64 See 8 U.S.C. 1601–1646.                          U.S.C. 7105(b)(1).
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                                                     The Trafficking Victims Protection                   generally exempt from the public charge                     • Designated Federal Programs; and
                                                  Act of 2000 further provided that an                    inadmissibility ground.73                                   • Federal Means-Tested Benefits.
                                                  alien who is a victim of a severe form                     With certain exceptions, aliens who
                                                  of trafficking in persons, or an alien                  were not ‘‘qualified aliens,’’ including                    The following tables provide a
                                                  classified as a nonimmigrant under                      nonimmigrants and unauthorized                            summary of the definition of federal
                                                  section 101(a)(15)(T)(ii) of the Act, 8                 aliens, were generally barred from                        public benefit and the three categories
                                                  U.S.C. 1101(a)(15)(T)(ii), is eligible for              obtaining Federal benefits.74 In addition                 of public benefits under PRWORA as
                                                  benefits and services under any Federal                 to the federal public benefits                            applicable to aliens and qualified aliens.
                                                  or State program or activity funded or                  definitions, PRWORA categorizes the                       BILLING CODE 4410–10–P
                                                  administered by any official or                         benefits into the following categories:
                                                  agency.72 These individuals are                            • Specified Federal Programs;




                                                    68 Lawful permanent residents seeking entry into         70 While an alien paroled into the United States         72 See Trafficking Victims Protection Act of 2000

                                                  the United States typically are not applicants for      is not subject to an admission determination at the       section 107(b)(1), 22 U.S.C. 7105(b)(1).
                                                  admission, and therefore, generally are not subject     time the decision to parole the alien is made, if an        73 However, while lawful permanent residents
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                                                  to section 212(a) of the INA, 8 U.S.C. 1182(a),         alien who has been paroled into the United States         seeking entry into the United States typically are
                                                  including INA section 212(a)(4), 8 U.S.C 1182(a)(4),    is applying for an immigration benefit for which          not applicants for admission, and therefore,
                                                  but lawful permanent residents described in INA         admissibility is required, e.g. adjustment of status,     generally are not subject to section 212(a) of the
                                                                                                                                                                    INA (including section 212(a)(4)), a lawful
                                                  section 101(a)(13)(C), 8 U.S.C. 1101(a)(13)(C), are     the parolee will be subject to section 212(a)(4) of the
                                                                                                                                                                    permanent resident described in section
                                                  regarded as seeking admission and generally are         Act in the context of seeking the subsequent
                                                                                                                                                                    101(a)(13)(C) of the INA is regarded as seeking
                                                  subject to inadmissibility grounds.                     immigration benefit.                                      admission and is subject to section 212(a)(4).
                                                    69 Parole is not a category of admission. See INA        71 As in effect immediately before the effective         74 See PRWORA, Public Law 104–193, section
                                                  section 101(a)(13)(B), 8 U.S.C. 1101(a)(13)(B); INA     date of section 307 of division C of Public Law 104–      401(a), 110 Stat. 2105, 2261 (codified at 8 U.S.C.
                                                                                                                                                                                                                          EP10OC18.004</GPH>




                                                  section 212(d)(5), 8 U.S.C. 1182(d)(5).                 208, 110 Stat. 3009–546.                                  1611(a)).



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                                                  BILLING CODE 4410–10–C
                                                                                                                                                                  77 See 42 U.S.C. 401–434.
                                                                                                            76 See Final Specification of Community
                                                     Congress chose not to restrict                                                                               78 See 8 CFR 1.3(a).
                                                                                                          Programs Necessary For Protection Of Life Or Safety
                                                  eligibility for certain benefits, including                                                                     79 42 U.S.C. 433.
                                                                                                          Under Welfare Reform Legislation, 66 FR 3613 (Jan.
                                                                                                                                                                  80 42 U.S.C. 402(t).
                                                                                                          16, 2001); see also Specification of Community
                                                    75 If section 141 of the applicable compact of free                                                           81 Benefits payable under title XVIII of the Social
                                                                                                          Programs Necessary for Protection of Life or Safety
                                                  association approved in Public Law 99–239 or 99–                                                              Security Act. See 42 U.S.C. 1395–1395lll.
                                                                                                          Under Welfare Reform Legislation, 61 FR 45985
                                                                                                                                                                                                                        EP10OC18.007</GPH>




                                                  658 (or a successor provision) is in effect.                                                                    82 See 8 CFR 1.3(a).
                                                                                                          (Aug. 30, 1996).



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                                                  emergency medical assistance; short-                     treatment of the symptoms of a                          benefits available even to non-qualified
                                                  term, in-kind, non-cash emergency                        communicable disease.122                                aliens.130 Congress excluded certain
                                                  disaster relief; and public health                          PRWORA defined the term ‘‘State or                   benefits, such as contracts, professional
                                                  assistance related to immunizations and                  local public benefit’’ in broad terms                   licenses, and commercial licenses from
                                                                                                           except where the term encroached upon                   the ‘‘federal public benefit’’
                                                    83 See 42 U.S.C. 1395c to 1395i–5.                     the definition of Federal public                        definition.131 In addition, Congress
                                                    84 See 45 U.S.C. 231–231v.                             benefit.123 With certain exceptions for                 further provided that the following
                                                    85 See 45 U.S.C. 351–369.                              qualified aliens, nonimmigrants, or                     public benefits are available to all
                                                    86 See 42 U.S.C. 1381–1383f.                           parolees, PRWORA also limited aliens’                   aliens, regardless of whether an
                                                    87 See Food Stamp Act of 1977.                         ability to obtain certain State and local               individual is a qualified alien: 132
                                                    88 In addition, there are certain extensions for SSI   public benefits.124 Under PRWORA,                          • Medical assistance under title XIX
                                                  benefits through fiscal year 2011. See 8 U.S.C.          States may enact their own legislation to               of the Social Security Act [42 U.S.C.
                                                  1612(a)(2)(M).
                                                    89 See 8 U.S.C. 1612(a)(2)(D).
                                                                                                           provide public benefits to certain aliens               1396 et seq.] (or any successor program
                                                    90 See 8 U.S.C. 162(a)(2)(J).
                                                                                                           not lawfully present in the United                      to such title) for care and services that
                                                    91 As defined in 38 U.S.C. 101.
                                                                                                           States.125 PRWORA also provided that a                  are necessary for the treatment of an
                                                    92 See 8 U.S.C. 1612(a)(2)(B).                         State that chooses to follow the Federal                emergency medical condition (as
                                                    93 See 8 U.S.C. 1612(a)(2)(C).                         ‘‘qualified alien’’ definition in                       defined in section 1903(v)(3) of such
                                                    94 See 8 U.S.C. 1612(a)(2)(G); see also INA section    determining aliens’ eligibility for public              Act [42 U.S.C. 1396b(v)(3)]) of the alien
                                                  289, 8 U.S.C. 1359.                                      assistance ‘‘shall be considered to have                involved and are not related to an organ
                                                    95 See 8 U.S.C. 1612(a)(2)(G); see also 25 U.S.C       chosen the least restrictive means                      transplant procedure, if the alien
                                                  5304(e) (defining Indian tribe).                         available for achieving the compelling
                                                    96 See 8 U.S.C. 1612(a)(2)(E).
                                                                                                                                                                   involved otherwise meets the eligibility
                                                                                                           governmental interest of assuring that                  requirements for medical assistance
                                                    97 See 8 U.S.C. 1612(a)(2)(F).

                                                    98 See 8 U.S.C. 1612(a)(2)(A).
                                                                                                           aliens be self-reliant in accordance with               under the State plan approved under
                                                    99 As in effect immediately before the effective
                                                                                                           national immigration policy.’’ 126 Still,               such title (other than the requirement of
                                                  date of section 307 of division C of Public Law 104–     some States and localities have funded                  the receipt of aid or assistance under
                                                  208.                                                     public benefits (particularly medical                   title IV of such Act [42 U.S.C. 601 et
                                                    100 8 U.S.C. 1231(b)(3).                               and nutrition benefits) that aliens may                 seq.], supplemental security income
                                                    101 As defined in section 501(e) of the Refugee        be not eligible for federally.127                       benefits under title XVI of such Act [42
                                                  Education Assistance Act of 1980.                           While PRWORA allows both qualified                   U.S.C. 1381 et seq.], or a State
                                                    102 See section 584 of the Foreign Operations,
                                                                                                           aliens and non-qualified aliens to                      supplementary payment).
                                                  Export Financing, and Related Programs                   receive certain benefits (e.g., emergency
                                                  Appropriations Act, 1988 (as contained in section                                                                   • Short-term, non-cash, in-kind
                                                  101(e) of Public Law 100–202, 101 Stat. 1329, and        benefits (all aliens); SNAP (qualified                  emergency disaster relief.133
                                                  amended by the 9th proviso under migration and           alien children under 18)), Congress did                    • Public health assistance (not
                                                  refugee assistance in title II of the Foreign            not exempt the receipt of such benefits                 including any assistance under title XIX
                                                  Operations, Export Financing, and Related                from consideration for purposes of INA
                                                  Programs Appropriations Act, 1989, Public Law
                                                                                                                                                                   of the Social Security Act [42 U.S.C.
                                                                                                           section 212(a)(4).’’ 128 Therefore, DHS                 1396 et seq.]) for immunizations with
                                                  100–461, 102 Stat. 2268, as amended).
                                                    103 An alien who was lawfully residing in the
                                                                                                           may take into consideration for                         respect to immunizable diseases and for
                                                  United States and receiving benefits on August 2,        purposes of a public charge                             testing and treatment of symptoms of
                                                  1996, would have continued to receive benefits           determination, receipt of public benefits               communicable diseases whether or not
                                                  until January 1, 1997. In addition, an alien who was     even if an alien may receive such                       such symptoms are caused by a
                                                  receiving SSI would still be eligible to receive         benefits under PRWORA.
                                                  Medicaid. See 8 U.S.C. 1612(b)(2)(F).                                                                            communicable disease.
                                                    104 See 42 U.S.C. 601–619.                             (b) Public Benefits Exempt Under                           • Programs, services, or assistance
                                                    105 See 42 U.S.C. 1397–1397h.
                                                                                                           PRWORA                                                  (such as soup kitchens, crisis counseling
                                                    106 See 42 U.S.C. 1396 to 1396w–5.                                                                             and intervention, and short-term
                                                                                                             Although PRWORA provided a broad
                                                    107 See 8 U.S.C. 1612(b)(2)(B).
                                                                                                                                                                   shelter) specified by the Attorney
                                                                                                           definition of public benefits that only
                                                    108 See 8 U.S.C. 1612(b)(2)(C).
                                                                                                                                                                   General, in the Attorney General’s sole
                                                    109 See 8 U.S.C. 1612(b)(2)(E).                        qualified aliens are eligible to
                                                                                                                                                                   and unreviewable discretion after
                                                    110 See 8 U.S.C. 1612(b)(2)(A).                        receive,129 it also made certain public
                                                    111 As in effect immediately before the effective
                                                                                                                                                                   consultation with appropriate Federal
                                                  date of section 307 of division C of Public Law 104–       122 See 8 U.S.C. 1611(b)(1); see also Final
                                                                                                                                                                   agencies and departments, which (i)
                                                  208, 110 Stat. 3009.                                     Specification of Community Programs Necessary for       deliver in-kind services at the
                                                    112 8 U.S.C. 1231(b)(3).                               Protection of Life or Safety Under Welfare Reform       community level, including through
                                                    113 As defined in section 501(e) of the Refugee        Legislation, 66 FR 3613 (Jan. 16, 2001); Interim        public or private nonprofit agencies; (ii)
                                                                                                           Guidance on Verification of Citizenship, Qualified
                                                  Education Assistance Act of 1980.
                                                                                                           Alien Status and Eligibility Under Title IV of the
                                                                                                                                                                   do not condition the provision of
                                                    114 See section 584 of the Foreign Operations,
                                                                                                           Personal Responsibility and Work Opportunity            assistance, the amount of assistance
                                                  Export Financing, and Related Programs                   Reconciliation Act of 1996, 62 FR 61344 (Nov. 17,       provided, or the cost of assistance
                                                  Appropriations Act, 1988 (as contained in section        1997).
                                                  101(e) of Pub. L. 100–202, 101 Stat. 1329, and             123 See 8 U.S.C. 1621(c).
                                                                                                                                                                     130 See 8 U.S.C. 1611(b).
                                                  amended by the 9th proviso under migration and             124 See generally 8 U.S.C. 1621.
                                                                                                                                                                     131 See 8 U.S.C. 1611(c)(2).
                                                  refugee assistance in title II of the Foreign              125 See 8 U.S.C. 1621(d).
                                                  Operations, Export Financing, and Related                                                                          132 See 8 U.S.C. 1611(b).
                                                                                                             126 8 U.S.C. 1601(7).
                                                  Programs Appropriations Act, 1989, Pub. L. 100–                                                                    133 Such relief would include a range of services
                                                                                                             127 See U.S. Dep’t of Health & Human Servs.,
                                                  461, 102 Stat. 2268, as amended).                                                                                and benefits provided by the Federal Emergency
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                                                    115 See Federal Means-Tested Public Benefits, 63       Office of the Assistant Sec’y for Planning &            Management Agency and other agencies. For
                                                  FR 36653 (July 7, 1998).                                 Evaluation, Overview of Immigrants Eligible for         instance, it would include the Disaster
                                                    116 See 8 U.S.C. 1613(c).
                                                                                                           SNAP, TANF, Medicaid and CHIP (Mar. 27, 2012),          Supplemental Nutrition Assistance Program (D–
                                                                                                           available at http://aspe.hhs.gov/hsp/11/                SNAP), which ‘‘gives food assistance to low-income
                                                    117 See 8 U.S.C. 1613(b)(1).
                                                                                                           ImmigrantAccess/Eligibility/ib.shtml.                   households with food loss or damage caused by a
                                                    118 See section 501(e) of the Refugee Education
                                                                                                             128 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4).
                                                                                                                                                                   natural disaster.’’ See DHS, Disaster Assistance.gov,
                                                  Assistance act of 1980.                                    129 See Public Law 104–193, section 401(c), 110       Disaster Supplemental Nutrition Assistance
                                                    119 See 8 U.S.C. 1612(a)(2)(A)(i)(V).
                                                                                                           Stat. 2105, 2262 (codified as amended at 8 U.S.C.       Program (D–SNAP), available at https://
                                                    120 See 8 U.S.C. 1613(b)(2).
                                                                                                           1611(c)). Only qualified aliens may be eligible for     www.disasterassistance.gov/get-assistance/forms-
                                                    121 See 8 U.S.C. 1613(d).                              certain benefits. See 8 U.S.C. 1641.                    of-assistance/5769 (last updated June 25, 2018).



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                                                  provided on the individual recipient’s                  provided; or (c) the cost of the                      significantly. IIRIRA codified the
                                                  income or resources; and (iii) are                      assistance provided on the individual                 following minimum factors that must be
                                                  necessary for the protection of life or                 recipient’s income or resources.                      considered when making public charge
                                                  safety.                                                    3. Included within the specified                   determinations: 138
                                                     • Programs for housing or community                  programs, services, or assistance                        • Age;
                                                  development assistance or financial                     determined to be necessary for the                       • Health;
                                                  assistance administered by the Secretary                protection of life or safety are the                     • Family status;
                                                  of Housing and Urban Development,                       following types of programs:                             • Assets, resources, and financial
                                                  any program under title V of the                           • Crisis counseling and intervention               status; and
                                                  Housing Act of 1949 [42 U.S.C. 1471 et                  programs; services and assistance                        • Education and skills.139
                                                  seq.], or any assistance under section                  relating to child protection, adult                      Congress also generally permitted but
                                                  1926c of title 7, to the extent that the                protective services, violence and abuse               did not require consular and
                                                  alien is receiving such a benefit on                    prevention, victims of domestic                       immigration officers to consider an
                                                  August 22, 1996.                                        violence or other criminal activity; or               enforceable affidavit of support as a
                                                     These benefits, which are described in               treatment of mental illness or substance              factor in the determination of
                                                  8 U.S.C. 1611(b), were further clarified                abuse;                                                inadmissibility,140 except in certain
                                                  by the Department of Justice and some                      • Short-term shelter or housing                    cases where an affidavit of support is
                                                  of the agencies that administer these                   assistance for the homeless, for victims              required and must be considered at least
                                                  public benefits. On January 16, 2001,                   of domestic violence, or for runaway,                 in that regard.141 The law required
                                                  the Department of Justice published a                   abused, or abandoned children;                        affidavits of support for most family-
                                                  notice of final order, ‘‘Final                             • Programs, services, or assistance to             based immigrants and certain
                                                  Specification of Community Programs                     help individuals during periods of heat,              employment-based immigrants and
                                                  Necessary for Protection of Life or                     cold, or other adverse weather                        provided that these aliens are
                                                  Safety Under Welfare Reform                             conditions;                                           inadmissible unless a satisfactory
                                                  Legislation,’’ 134 which indicated that                    • Soup kitchens, community food                    affidavit of support is filed on their
                                                  PRWORA does not preclude aliens from                    banks, senior nutrition programs such as              behalf.142 In the Conference Report, the
                                                  receiving police, fire, ambulance,                      meals on wheels, and other such                       committee indicated that the
                                                  transportation (including paratransit),                 community nutritional services for                    amendments to INA section 212(a)(4), 8
                                                  sanitation, and other regular, widely                   persons requiring special assistance;                 U.S.C. 1182(a)(4), were designed to
                                                  available services programs, services, or                  • Medical and public health services               expand the public charge ground of
                                                  assistance. In addition, the notice                     (including treatment and prevention of                inadmissibility.143 The report indicated
                                                  provided for a three-part test in                       diseases and injuries) and mental                     that self-reliance is one of the
                                                  identifying excluded benefits and                       health, disability, or substance abuse                fundamental principles of immigration
                                                  services for the protection of life and                 assistance necessary to protect life or               law and aliens should have affidavits of
                                                  safety. Specified programs must satisfy                 safety;                                               support executed.144
                                                                                                             • Activities designed to protect the                  DHS believes that the policy goals
                                                  all three prongs of this test:
                                                     1. The government-funded programs,                   life or safety of workers, children and               articulated in PRWORA and IIRIRA
                                                  services, or assistance specified are                   youths, or community residents; and                   should inform its administrative
                                                                                                             • Any other programs, services, or                 implementation of the public charge
                                                  those that: Deliver in-kind (non-cash)
                                                                                                          assistance necessary for the protection               ground of inadmissibility. There is no
                                                  services at the community level,
                                                                                                          of life or safety.                                    tension between the availability of
                                                  including through public or private non-                   In congressional debates leading up to
                                                  profit agencies or organizations; do not                                                                      public benefits to some aliens as set
                                                                                                          the passage of IIRIRA, Senator Kennedy                forth in PRWORA and Congress’s intent
                                                  condition the provision, amount, or cost                stated that ‘‘[t]hese benefit all, because
                                                  of the assistance on the individual                                                                           to deny visa issuance, admission, and
                                                                                                          they relate to the public health and are              adjustment of status to aliens who are
                                                  recipient’s income or resources; and                    in the public interest. Where the public              likely to become a public charge.
                                                  serve purposes of the type described in                 interest is not served, we should not                 Indeed, Congress, in enacting PRWORA
                                                  the list below, for the protection of life              provide the public assistance to illegal              and IIRIRA very close in time, must
                                                  or safety.                                              immigrants.’’ 135 Therefore, these
                                                     2. The community-based programs,                                                                           have recognized that it made certain
                                                                                                          benefits were provided to all aliens                  public benefits available to some aliens
                                                  services, or assistance are limited to                  including illegal aliens. These benefits
                                                  those that provide in-kind (non-cash)                                                                         who are also subject to the public charge
                                                                                                          would not be part of the public charge                grounds of inadmissibility, even though
                                                  benefits and are open to individuals                    determination under the proposed                      receipt of such benefits could render the
                                                  needing or desiring to participate                      rule.136                                              alien inadmissible as likely to become a
                                                  without regard to income or resources.
                                                                                                          3. Changes Under IIRIRA                               public charge.
                                                  Programs, services, or assistance
                                                  delivered at the community level, even                     Under IIRIRA,137 the public charge                   138 Public Law 104–208, div. C, section 531, 110
                                                  if they serve purposes of the type                      inadmissibility statute changed                       Stat. 3009–546, 3009–674 (1996) (amending INA
                                                  described, are not within this                                                                                section 212(a)(4), 8 U.S.C. 1182(a)(4)).
                                                  specification if they condition on the                    135 See 142 Cong. Rec. S3282 (daily ed. Apr. 15,
                                                                                                                                                                  139 See INA section 212(a)(4)(B), 8 U.S.C.

                                                  individual recipient’s income or                        1996) (statement of Sen. Kennedy), available at       1182(a)(4)(B).
                                                                                                                                                                  140 See INA section 212(a)(4)(B)(ii), 8 U.S.C.
                                                  resources: (a) The provision of                         https://www.congress.gov/crec/1996/04/15/CREC-
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                                                                                                          1996-04-15-pt1-PgS3276.pdf.                           1182(a)(4)(B)(ii).
                                                  assistance; (b) the amount of assistance                  136 See 8 U.S.C. 1611(b)(1)(B); see also Final        141 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4);

                                                                                                          Specification of Community Programs Necessary for     INA section 213A, 8 U.S.C. 1183A.
                                                    134 See Final Specification of Community              Protection of Life or Safety Under Welfare Reform       142 See INA section 212(a)(4)(C) and (D), 8 U.S.C.

                                                  Programs Necessary for Protection of Life or Safety     Legislation, 66 FR 3613 (Jan. 16, 2001);              1182(a)(4)(C) and (D).
                                                  Under Welfare Reform Legislation, 66 FR 3613 (Jan.      Specification of Community Programs Necessary for       143 See H.R. Rep. No. 104–828, at 240–41 (1996)

                                                  16, 2001); see also Specification of Community          Protection of Life or Safety Under Welfare Reform     (Conf. Rep.); see also H.R. Rep. No. 104–469(I), at
                                                  Programs Necessary for Protection of Life or Safety     Legislation, 61 FR 45985 (Aug. 30, 1996).             143–45 (1996).
                                                  Under Welfare Reform Legislation, 61 FR 45985             137 Public Law 104–208, div. C, 110 Stat 3009–        144 See H.R. Rep. No. 104–828, at 241 (1996)

                                                  (Aug. 30, 1996).                                        546 (1996).                                           (Conf. Rep.).



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                                                     Under the carefully devised scheme                    continued following the public charge                   receipt of public cash benefits for
                                                  envisioned by Congress, aliens generally                 guidance set forth in the FAM.150                       income maintenance purposes or
                                                  would not be issued visas, admitted to                     In the 1999 proposed rule, INS                        institutionalization for long-term care at
                                                  the United States, or permitted to adjust                proposed to ‘‘alleviate growing public                  government expense.155 The Deputy
                                                  status if they are likely to become public               confusion over the meaning of the                       Commissioner for Disability and Income
                                                  charges. This prohibition may deter                      currently undefined term ‘public charge’                Security Programs at SSA agreed that
                                                  aliens from making their way to the                      in immigration law and its relationship                 the receipt of SSI ‘‘could show primary
                                                  United States or remaining in the                        to the receipt of Federal, State, or local              dependence on the government for
                                                  United States permanently for the                        public benefits.’’ 151 INS sought to                    subsistence fitting the INS definition of
                                                  purpose of availing themselves of public                 reduce negative public health and                       public charge provided that all of the
                                                  benefits.145 Congress must have                          nutrition consequences generated by the                 other factors and prerequisites for
                                                  understood, however, that certain aliens                 confusion and to provide aliens, their                  admission or deportation have been
                                                  who were unlikely to become public                       sponsors, health care and immigrant                     considered or met.’’ 156 And the USDA’s
                                                  charges when seeking a visa, admission,                  assistance organizations, and the public                Under Secretary for Food, Nutrition and
                                                  or adjustment of status might thereafter                 with better guidance as to the types of                 Consumer Services advised that
                                                  reasonably find themselves in need of                    public benefits that INS considered                     ‘‘neither the receipt of food stamps nor
                                                  public benefits that, if obtained, would                 relevant to the public charge                           nutrition assistance provided under the
                                                  render them a public charge.                             determinations.152 INS also sought to                   Special Nutrition Programs
                                                  Consequently, in PRWORA, Congress                        address the public’s concerns about                     administered by [USDA] should be
                                                  made limited allowances for that                         immigrants’ fears of accepting public                   considered in making a public charge
                                                  possibility. But Congress also did not                   benefits for which they remained                        determination.’’ 157 While these letters
                                                  correspondingly limit the applicability                  eligible, specifically in regards to                    supported the approach taken in the
                                                  of the public charge statute; if an alien                medical care, children’s immunizations,                 1999 proposed rule and Interim Field
                                                  subsequent to receiving public benefits                  basic nutrition and treatment of medical                Guidance, the letters specifically
                                                  wished to adjust status in order to                      conditions that may jeopardize public                   focused on the reasonableness of a given
                                                  remain in the United States                              health. With its guidance, INS aimed to                 INS interpretation; i.e. primary
                                                  permanently or left the United States                    stem the fears that were causing                        dependence on the government for
                                                  and later wished to return, the public                   noncitizens to refuse limited public                    subsistence. The letters did not
                                                  charge inadmissibility consideration                     benefits, such as transportation                        foreclose the agency adopting a different
                                                  (naturally including consideration of                    vouchers and child care assistance, so                  definition consistent with statutory
                                                  receipt of public benefits) would again                  that they would be better able to obtain                authority.
                                                  come into play. In other words,                          and retain employment and establish                        The 1999 proposed rule provided that
                                                  although an alien may obtain public                      self-sufficiency.153                                    non-cash, supplemental and certain
                                                  benefits for which he or she is eligible,                   INS defined public charge in its                     limited cash, special purpose benefits
                                                  the receipt of those benefits may be                     proposed rule and 1999 Interim Field                    should not be considered for public
                                                  considered for future public charge                      Guidance to mean ‘‘the likelihood of a                  charge purposes, in light of INS’
                                                  inadmissibility determination purposes.                  foreign national becoming primarily                     decision to define public charge by
                                                                                                           dependent 154 on the government for                     reference to primary dependence on
                                                  4. INS 1999 Interim Field Guidance                       subsistence, as demonstrated by either:                 public benefits. Ultimately, however,
                                                    On May 26, 1999, INS issued interim                       • Receipt of public cash assistance for              INS did not publish a final rule
                                                  Field Guidance on Deportability and                      income maintenance; or                                  conclusively addressing these issues.
                                                  Inadmissibility on Public Charge                            • Institutionalization for long-term
                                                  Grounds.146 This guidance identified                     care at government expense.’’                           E. Public Charge Bond
                                                  how the agency would determine if a                         When developing the proposed rule,
                                                                                                                                                                      If an alien is determined to be
                                                  person is likely to become a public                      INS consulted with Federal benefit-
                                                                                                                                                                   inadmissible on public charge grounds
                                                  charge under section 212(a)(4) of the                    granting agencies such as the
                                                                                                                                                                   under section 212(a)(4) of the Act, 8
                                                  Act, 8 U.S.C. 1182(a), for admission and                 Department of Health and Human
                                                                                                                                                                   U.S.C. 1182(a)(4), he or she may be
                                                  adjustment of status purposes, and                       Services (HHS), the Social Security
                                                                                                                                                                   admitted in the discretion of the
                                                  whether a person is deportable as a                      Administration (SSA), and the
                                                                                                                                                                   Secretary of Homeland Security, if
                                                  public charge under section 237(a)(5) of                 Department of Agriculture (USDA). The
                                                                                                                                                                   otherwise admissible, upon the giving of
                                                  the Act, 8 U.S.C. 1227(a)(5).147 INS                     Deputy Secretary of HHS, which
                                                                                                                                                                   a suitable and proper bond.158
                                                  proposed promulgating these policies as                  administers Temporary Assistance for
                                                  regulations in a proposed rule issued on                 Needy Families (TANF), Medicaid, the
                                                                                                                                                                     155 See 64 FR 28676, 28686–87 (May 26, 1999).
                                                  May 26, 1999.148 DOS also issued a                       Children’s Health Insurance Program                       156 64 FR 28676, 28687 (May 26, 1999).
                                                  cable to its consular officers at that time              (CHIP), and other benefits, advised that                  157 64 FR 28676, 28688 (May 26, 1999). The
                                                  implementing similar guidance for visa                   the best evidence of whether an                         USDA letter did not include supportive reasoning.
                                                  adjudications, and its Foreign Affairs                   individual is relying primarily on the                  As noted in greater detail elsewhere in this
                                                  Manual (FAM) was similarly                               government for subsistence is either the                preamble, DHS no longer believes that primary
                                                                                                                                                                   dependence on the government for subsistence is
                                                  updated.149 USCIS has continued to                                                                               the appropriate standard for public charge
                                                  follow the 1999 Interim Field Guidance                      150 See Children’s Health Insurance Program
                                                                                                                                                                   determination purposes. In light of the proposed
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                                                  in its adjudications, and DOS has                        Reauthorization Act of 2009, Public Law 111–3,          change in the public charge standard and the
                                                                                                           section 214, 123 Stat. 8, 56; 9 FAM 302.8–2(B)(2),      passage of time, DHS does not believe that the
                                                                                                           Determining ‘‘Totality of Circumstances,’’ (g) Public   views expressed in those interagency consultations
                                                    145 H.R. Rep. No. 104–469(I), at 144–45 (1996).        Charge Bonds, available at https://fam.state.gov/       remain fully relevant. DHS has nonetheless
                                                    146 See 64 FR 28689 (May 26, 1999).                    fam/09fam/09fam030208.html.                             considered such views, and has addressed the
                                                    147 See 64 FR 28689 (May 26, 1999).                       151 See 64 FR 28676, 28676 (May 26, 1999).
                                                                                                                                                                   relevant considerations—legal authority,
                                                    148 See Inadmissibility and Deportability on              152 See 64 FR 28676, 28676–77 (May 26, 1999).
                                                                                                                                                                   predictability, administrability, and adverse
                                                  Public Charge Grounds, 64 FR 28676 (May 26,                 153 See 64 FR 28676, 28676–77 (May 26, 1999).        impacts—throughout this proposed rule.
                                                  1999).                                                      154 Former INS defined ‘‘primarily dependent’’ as      158 See INA section 213, 8 U.S.C. 1183; see also
                                                    149 See 64 FR 28676, 28680 (May 26, 1999).             ‘‘the majority’’ or ‘‘more than 50 percent.’’           8 CFR 103.6; 8 CFR 213.1.



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                                                     Historically, bond provisions started                 further explanation or consideration, the               extension of stay and change of status
                                                  with states requiring certain amounts to                 phrase that any sums or other security                  applications.
                                                  assure an alien would not become a                       held to secure performance of the bond                    Finally, this proposed rule interprets
                                                  public charge.159 Bond provisions were                   shall be returned ‘‘except to the extent                the public charge inadmissibility
                                                  codified in federal immigration laws in                  forfeited for violation of the terms                    ground under section 212(a)(4) of the
                                                  1903.160 Notwithstanding codification                    thereof’’ upon termination of the                       Act, 8 U.S.C. 1182(a)(4), not the public
                                                  in 1903, the acceptance of a bond                        bond.165 Subsequently, IIRIRA amended                   charge deportability ground under
                                                  posting in consideration of an alien’s                   the provision yet again when adding a                   section 237(a)(5) of the Act, 8 U.S.C.
                                                  admission and to assure that he or she                   parenthetical which clarified that a
                                                                                                                                                                   1227(a)(5). Department of Justice
                                                  will not become a public charge                          bond is provided in addition to, and not
                                                                                                                                                                   precedent decisions would continue to
                                                  apparently had its origin in federal                     in lieu of, the affidavit of support and
                                                                                                                                                                   govern the standards regarding public
                                                  administrative practice earlier than this                the deeming requirements under section
                                                                                                                                                                   charge deportability determinations.
                                                  date. Beginning in 1893, immigration                     213A of the Act, 8 U.S.C. 1183A.166
                                                  inspectors served on Boards of Special                   Regulations implementing the public                     A. Applicability, Exemptions, and
                                                  Inquiry that reviewed exclusion cases of                 charge bond were promulgated in 1964                    Waivers
                                                  aliens who were likely to become public                  and 1966,167 and are currently found at
                                                  charges because the aliens lacked funds                  8 CFR 103.6 and 8 CFR 213.1.                               This rule would apply to any alien
                                                  or relatives or friends who could                                                                                subject to section 212(a)(4) of the Act, 8
                                                                                                           V. Discussion of Proposed Rule                          U.S.C. 1182(a)(4), who is applying for
                                                  provide support.161 In these cases, the
                                                  Board of Special Inquiry usually                            This proposed rule would establish a                 admission to the United States or is
                                                  admitted the alien if someone could                      proper nexus between public charge and                  applying for adjustment of status to that
                                                  post bond or one of the immigrant aid                    receipt of public benefits by defining the              of lawful permanent resident before
                                                  societies would accept responsibility for                terms public charge and public benefit,                 DHS.169 DOS screens applicants who
                                                  the alien.162                                            among other terms. DHS proposes to                      are subject to public charge
                                                     The present language of section 213 of                interpret the minimum statutory factors                 inadmissibility grounds and who are
                                                  the Act, 8 U.S.C. 1183, has been in the                  involved in public charge                               seeking nonimmigrant or immigrant
                                                  law without essential variation since                    determinations and to establish a clear                 visas at consular posts worldwide.
                                                  1907.163 Under section 21 of the                         framework under which DHS would                         Nearly sixty percent of the 2.7 million
                                                  Immigration Act of 1917, an                              evaluate those factors to determine                     immediate relatives, family-
                                                  immigration officer could admit an alien                 whether or not an alien is likely at any                sponsored,170 employment-based, and
                                                  if a suitable bond was posted. In 1970,                  time in the future to become a public                   diversity visa-based immigrants who
                                                  Congress amended section 213 of the                      charge. DHS also proposes to clarify the                obtained lawful permanent resident
                                                  Act to permit the posting of cash                        role of a sponsor’s affidavit of support                status in the United States between
                                                  received by the U.S. Department of the                   within public charge inadmissibility                    fiscal years 2014 and 2016 consular
                                                  Treasury and to eliminate specific                       determinations.                                         processed immigrant visa applications
                                                  references to communicable diseases of                      In addition, DHS proposes that certain               overseas prior to being admitted to the
                                                  public health significance.164 At that                   factual circumstances would weigh                       United States as lawful permanent
                                                  time, Congress also added, without                       heavily in favor of determining that an                 residents at a port-of-entry. Fifty-one
                                                                                                           alien is not likely to become a public                  percent of immediate relatives, ninety-
                                                     159 See, e.g., Mayor, Aldermen & Commonalty of        charge and other factual circumstances                  two percent of family-sponsored
                                                  City of N.Y. v. Miln, 36 U.S. 102 (1837) (upholding      would weigh heavily in favor of                         immigrants, and ninety-eight percent of
                                                  a New York statute that required vessel captains to      determining that an alien is likely to                  diversity visa immigrants obtained an
                                                  provide certain biographical information about           become a public charge.168 The purpose
                                                  every passenger on the ship and further permitting                                                               immigrant visa at a consular post
                                                  the mayor to require the captain to provide a surety     of assigning greater weight to certain                  overseas before securing admission as a
                                                  of not more than $300 for each noncitizen passenger      factual circumstances is to provide                     lawful permanent resident at a port-of-
                                                  to indemnify and hold harmless the government            clarity for the public and immigration                  entry between fiscal years 2014 and
                                                  from all expenses incurred to financially support        officers with respect to how DHS would
                                                  the person and the person’s children); see also H.D.                                                             2016.171
                                                  Johnson & W.C. Reddall, History of Immigration           fulfill its statutory duty to assess public
                                                  (Washington, 1856).                                      charge admissibility. Ultimately, each                     This rule also addresses eligibility for
                                                     160 See Immigration Act of 1903, ch. 1012, 32 Stat.   determination would be made in the                      extension of stay and change of
                                                  1213 (repealed by Act of Feb. 20, 1907, ch. 1134,        totality of the circumstances based on
                                                  34 Stat. 898, and Immigration Act of 1917, ch. 29,                                                                 169 See  proposed 8 CFR 212.20.
                                                  39 Stat. 874).
                                                                                                           consideration of the relevant factors. In
                                                                                                                                                                     170 Including   first, second, third and fourth
                                                     161 Immigration Act of 1891, ch. 551, 26 Stat.        addition, DHS proposes that for
                                                                                                                                                                   preferences of family sponsored immigrants and
                                                  1084, created the Office of the Superintendent of        applications for adjustment of status,                  immediate relatives. See DHS, Yearbook of
                                                  Immigration within the Treasury Department. The          the alien would be required to submit a                 Immigration Statistics 2016, Table 6, Persons
                                                  Superintendent oversaw a new corps of U.S.               Form I–944.                                             Obtaining Lawful Permanent Resident Status by
                                                  Immigrant Inspectors stationed at the country’s                                                                  Type and Major Class of Admission: Fiscal Years
                                                  principal ports of entry. See USCIS History and             DHS also proposes to establish a
                                                                                                                                                                   2014 to 2016, available at https://www.dhs.gov/
                                                  Genealogy, Origins of Federal Immigration Service,       public charge bond process in the                       immigration-statistics/yearbook/2016/table6 (last
                                                  https://www.uscis.gov/history-and-genealogy/our-         adjustment of status context, and                       updated Dec. 18, 2017).
                                                  history/agency-history/origins-federal-immigration-      proposes to clarify DHS’s authority to                    171 See DHS, Yearbook of Immigration Statistics
                                                  service (last updated Feb. 4, 2016).                                                                             2016, Table 6, Persons Obtaining Lawful Permanent
                                                                                                           set conditions for nonimmigrant
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                                                     162 See USCIS History and Genealogy, Origins of
                                                                                                                                                                   Resident Status by Type and Major Class of
                                                  Federal Immigration Service, https://                                                                            Admission: Fiscal Years 2014 to 2016, available at
                                                                                                             165 See Public Law 91–313, 84 Stat. 413, 413
                                                  www.uscis.gov/history-and-genealogy/our-history/                                                                 https://www.dhs.gov/immigration-statistics/
                                                  agency-history/origins-federal-immigration-service       (1970).                                                 yearbook/2016/table6 (last updated Dec. 18, 2017).
                                                  (last updated Feb. 4, 2016).                               166 See Public Law 104–208, div. C, section 564(f),
                                                                                                                                                                   The 2016 Yearbook of Immigration Statistics is a
                                                     163 See Act of February 20, 1907, ch. 1134, section   110 Stat. 3009–546, 3009–684.                           compendium of tables that provide data on foreign
                                                  26, 34 Stat. 898, 907.                                     167 See Miscellaneous Amendments to Chapter,
                                                                                                                                                                   nationals who are granted lawful permanent
                                                     164 See Public Law 91–313, 84 Stat. 413, 413          29 FR 10579 (July 30, 1964); Miscellaneous Edits to     residence (i.e., immigrants who receive a ‘‘green
                                                  (1970); see also 116 Cong. Rec. S9957 (daily ed.         Chapter, 31 FR 11713 (Sept. 7, 1966).                   card’’), admitted as temporary nonimmigrants,
                                                  June 26, 1970).                                            168 See proposed 8 CFR 212.22.                        granted asylum or refugee status, or are naturalized.



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                                                  status.172 Because the processes,                        determining whether an applicant for                    inadmissibility determination includes
                                                  evidentiary requirements, and nature of                  admission as a B–2 nonimmigrant                         whether the alien is inadmissible as
                                                  the stay in the United States for aliens                 visitor for pleasure who is coming to the               likely to become a public charge, which
                                                  seeking a visa, admission, extension of                  United States for a one-week vacation is                will be determined upon the lawful
                                                  stay, change of status, and adjustment of                inadmissible on public charge grounds,                  permanent resident’s return to the
                                                  status differ, DHS proposes public                       DHS would consider that this temporary                  United States.
                                                  charge processes appropriately tailored                  visit is short in nature and that the
                                                                                                                                                                   2. Extension of Stay and Change of
                                                  to the benefit the alien seeks. For                      individual likely would only need
                                                                                                                                                                   Status Applicants
                                                  instance, aliens seeking adjustment of                   financial resources to cover the
                                                  status undergo a different process than                  expenses associated with the vacation.                     As mentioned above, a nonimmigrant
                                                  a temporary visitor for pleasure from                       Similarly, an alien who is the                       is admitted into the United States to
                                                  Canada seeking admission to the United                   beneficiary of an immigrant visa                        stay for the limited period and purpose
                                                  States. The length and nature of the stay                petition approved by USCIS may apply                    of the classification under which he or
                                                  of these two subsets of aliens differs                   to a DOS consulate abroad for an                        she was admitted and, in most
                                                  significantly, as does frequency of entry.               immigrant visa to allow him or her to                   instances, then is expected to depart the
                                                  Accordingly, the processes and                           seek admission to the United States as                  United States and return to his or her
                                                  evidentiary requirements proposed in                     an immigrant.174 As part of the                         country. However, consistent with the
                                                  this rule vary in certain respects                       immigrant visa process, DOS determines                  INA and controlling regulations, DHS
                                                  depending on the type of benefit and                     whether the applicant is eligible for the               may, in its discretion, extend an alien’s
                                                  status an alien is seeking, as set forth                 visa, which includes a determination of                 nonimmigrant status or change an
                                                  below.                                                   whether the alien has demonstrated that                 alien’s nonimmigrant status from one
                                                                                                           he or she is admissible to the United                   classification to another.177
                                                  1. Applicants for Admission                              States and that no inadmissibility                      Furthermore, DHS is authorized under
                                                     Under section 212(a)(4) of the Act, 8                 grounds in section 212(a) of the Act                    the INA to set conditions on the
                                                  U.S.C. 1182(a)(4), any alien who is                      apply. In determining whether the                       extension of stay or change of status.
                                                  applying for a visa or for admission to                  applicant has demonstrated that he or                   Consistent with this authority, DHS is
                                                  the United States is inadmissible if he                  she is not inadmissible on the public                   proposing to require an applicant for an
                                                  or she is likely at any time to become                   charge ground, DOS reviews all of the                   extension of stay or change of status to
                                                  a public charge. A nonimmigrant is                       mandatory factors, including any                        attest that he or she has neither received
                                                  admitted into the United States to stay                  required affidavits of support submitted                since obtaining the nonimmigrant status
                                                  for the limited period and purpose of                    under section 213A of the Act, 8 U.S.C.                 he or she seeks to extend or to which
                                                  the classification under which he or she                 1183a.                                                  he or she seeks to change, is not
                                                  was admitted and, in most instances,                        This process would not change under                  receiving, nor is likely to receive at any
                                                  then is expected to depart the United                    the proposed rule, but it is likely that                time in the future one or more public
                                                  States and return to his or her country.                 DOS will amend its guidance to prevent                  benefits as defined in this proposed
                                                  A visa applicant applies directly to a                   the issuance of visas to inadmissible                   rule.
                                                  U.S. consulate or embassy abroad for a                   aliens,175 except as otherwise provided                    Although section 212(a)(4) of the Act
                                                  nonimmigrant visa to travel to the                       in the Act. DOS would continue to                       by its terms only applies to applicants
                                                  United States temporarily for a limited                  review affidavits of support and screen                 for visas, admission, and adjustment of
                                                  purpose, such as to visit for business or                aliens for public charge inadmissibility                status, and thus does not, by its terms,
                                                  tourism.173 DOS consular officers assess                 in accordance with applicable                           render aliens who are likely to become
                                                  whether the alien would be                               regulations and instructions prior to the               a public charge ineligible for the
                                                  inadmissible, including under section                    alien undergoing inspection and                         extension of stay or change of status, the
                                                  212(a)(4) of the Act, as applicable.                     applying for admission at a pre-                        government’s interest in a
                                                     Applicants for admission are                          inspection location or port-of-entry                    nonimmigrant alien’s ability to maintain
                                                  inspected at, or when encountered                           Additionally, although lawful                        self-sufficiency for the duration of the
                                                  between, ports of entry. They are                        permanent residents generally are not                   temporary stay does not end with his or
                                                  inspected by immigration officers to                     considered to be applicants for                         her admission as a nonimmigrant. In
                                                  assess, among other things, whether                      admission upon their return from a trip                 particular, the government has an
                                                  they are inadmissible under section                      abroad, in certain limited circumstances                interest in ensuring that aliens present
                                                  212(a) of the Act, including section                     a lawful permanent resident will be                     in the United States do not depend on
                                                  212(a)(4). Under the proposed rule, the                  considered an applicant for admission                   public benefits to meet their needs.178
                                                  type of nonimmigrant status and the                      and, therefore, subject to an                           Aliens therefore should remain self-
                                                  duration of the nonimmigrant’s stay in                   inadmissibility determination.176 This                  sufficient for the entire period of their
                                                  the United States would be considered                                                                            stay, including any extension of stay or
                                                  in assessing whether the applicant has                     174 See INA sections 221 and 222, 8 U.S.C. 1201
                                                                                                                                                                   additional period of stay afforded by a
                                                  met his or her burden of demonstrating                   and 1202; 8 CFR 204; 22 CFR part 42.                    change of status. Accordingly, DHS is
                                                                                                             175 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4).
                                                  that he or she is likely to become a                       176 Lawful permanent residents are regarded as
                                                                                                                                                                   proposing to consider whether the alien
                                                  public charge. For example, in                           applicants for admission in the following
                                                                                                           circumstances: (1) Lawful permanent residents who       in section 212(a)(2) of the INA, 8 U.S.C. 1182(a)(2),
                                                    172 See  proposed 8 CFR 214.1(a)(3)(iv); proposed      have abandoned or relinquished that status; (2)         unless granted a waiver of inadmissibility for such
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                                                  8 CFR 214.1(c)(4)(iv); proposed 8 CFR 248.1(a);          lawful permanent residents who have been outside        offense or cancellation of removal; and (6) lawful
                                                  proposed 8 CFR 248.1(c)(4).                              the United States for a continuous period in excess     permanent residents attempting to enter at a time
                                                     173 Certain nonimmigrant classifications are          of 180 days; (3) lawful permanent residents who         or place other than as designated by immigration
                                                  subject to petition requirements, and a petition         have engaged in illegal activity after departing the    officers or who have not been admitted to the
                                                  generally must be approved on an alien’s behalf by       United States; (4) lawful permanent residents who       United States after inspection and authorization by
                                                  USCIS prior to application for a visa. See, e.g., INA    have departed the United States while under legal       an immigration officer. See INA section
                                                  section 214(c), 8 U.S.C. 1184(c). In addition, certain   process seeking removal of the alien from the           101(a)(13)(C), 8 U.S.C. 1101(a)(13)(C).
                                                                                                                                                                     177 See INA sections 214(a)(1) and 248(a), 8 U.S.C.
                                                  aliens are not subject to a visa requirement in order    United States, including removal proceedings and
                                                  to seek admission as a nonimmigrant. See, e.g., INA      extradition proceedings; (5) lawful permanent           1184(a)(1) and 1258(a); see also 8 CFR 214.1, 248.1.
                                                  section 217, 8 U.S.C. 1187; see also 8 CFR 212.1.        residents who have committed an offense identified        178 See 8 U.S.C. 1601(2)(A).




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                                                  has received since obtaining the                        likely to receive any such public                     means to pay for this additional medical
                                                  nonimmigrant status he or she seeks to                  benefits, DHS will require applicants to              treatment and otherwise support
                                                  extend or to which he or she seeks to                   answer questions on their application                 himself or herself during the extended
                                                  change, is currently receiving, or is                   form,182 under penalty of perjury,                    duration of his or her temporary stay.
                                                  likely to receive public benefits as                    regarding their receipt of these public               An alien seeking to extend his or her
                                                  defined in the proposed rule, when                      benefits. The responses to these                      stay in, or change status to, F–1 or M–
                                                  adjudicating an application to extend a                 questions would be used in determining                1 nonimmigrant status would submit
                                                  nonimmigrant stay or change a                           whether the applicant has met his or her              evidence of his or her financial ability
                                                  nonimmigrant status.                                    burden to establish eligibility for                   to pay for his or her study and to
                                                     Extension of stay and change of status               extension of stay or change of status                 financially support himself or herself.183
                                                  applicants are already required to                      under the proposed regulation.                        An alien seeking to extend stay in or
                                                  provide evidence of maintenance of                         In adjudicating whether the applicant              change to an employment-based
                                                  their current nonimmigrant status.179 As                has demonstrated that he or she is not                nonimmigrant status, such as H–2B
                                                  part of that determination, for some                    likely to receive public benefits as                  temporary non-agricultural worker
                                                  applicants, DHS considers the alien’s                   defined in the proposed rule, at any                  status, would need to submit evidence
                                                  financial status 180 and believes it sound              time in the future, DHS would consider                such as tax return transcripts, W–2, or
                                                  policy to extend that consideration to                  the status to which the alien seeks to                other documentation evidencing income
                                                  extensions of stay and change of status                 extend or to which to change, as well as              from gainful employment appropriate to
                                                  generally, rather than to just subsets of               the anticipated additional period of                  the nonimmigrant status being
                                                  nonimmigrants. Although the INA does                    stay. DHS would also consider whether                 sought.184
                                                  not indicate that aliens seeking an                     the applicant has provided evidence of                   Table 4 below provides a summary of
                                                  extension of stay or change of status                   maintenance of status and that he or she              nonimmigrant categories and the
                                                  must establish self-sufficiency,                        has sufficient financial means to                     applicability of the public charge
                                                  consideration of such alien’s self-                     maintain the status he or she seeks, or               condition to such categories.
                                                  sufficiency aligns with the                             that he or she will be gainfully                      BILLING CODE 4410–10–P
                                                  aforementioned policy statements set                    employed in such status, as applicable.
                                                  forth in PRWORA.181                                     Based on the information the alien                       183 See 8 CFR 214.2(f)(1)(i)(B) (students must

                                                     Except where the nonimmigrant                        provides in support of the application                present ‘‘documentary evidence of financial support
                                                  status that the alien seeks to extend or                for extension of stay or change of status,            in the amount indicated on the SEVIS Form I–20
                                                                                                          USCIS would determine whether the                     (or the Form I–20A–B/I–20ID)’’); AFM Ch.
                                                  to which the alien seeks to change is                                                                         30.2(b)(2)(F) (‘‘(F) Students seeking reinstatement
                                                  exempted by law from section 212(a)(4)                  applicant should also submit Form I–                  must submit evidence of eligibility, including
                                                  of the Act, in order for an alien to                    944 in order to demonstrate that he or                financial information and a current I–20.’’); AFM
                                                  demonstrate that he or she has neither                  she is unlikely to receive public benefits            Ch. 30.3(c)(2)(C) (‘‘Aliens seeking F–1 or M–1 status
                                                                                                          during the temporary stay in the United               must submit the appropriate Form I–20 and
                                                  received since obtaining the                                                                                  evidence of financial ability to maintain the new
                                                  nonimmigrant status he or she seeks to                  States.                                               status. Aliens seeking J–1 status must submit Form
                                                  extend or from which he or she seeks to                    For example, if the alien is a B–2                 IAP–66.’’); AFM Ch. 30.3(b)(3)(D) (‘‘[T]he applicant
                                                  change, nor is currently receiving or                   nonimmigrant who was admitted to the                  [for change of status] must demonstrate he or she
                                                                                                          United States to seek medical treatment               is able to maintain him or herself in the status
                                                                                                                                                                sought, particularly financially. This issue needs
                                                    179 See INA 214(a)(1), 8 U.S.C. 1184; 8 CFR           and is seeking to extend his or her visit             particular examination when the applicant seeks a
                                                  214.1(c)(4); INA 248(a), 8 U.S.C. 1258; 8 CFR           because he or she requires additional                 prolonged stay in any status where employment is
                                                  248.1(a).                                               medical treatment that was                            not a routine part of the status, for example student
                                                    180 See 8 CFR 214.2(f)(1)(i)(B); AFM Ch.                                                                    status.’’).
                                                                                                          unanticipated at the time of admission,
                                                  30.2(c)(2)(F) (‘‘Students seeking reinstatement must                                                             184 See, e.g., AFM Ch. 30.3(b)(3)(E) (‘‘Because the
                                                  submit evidence of eligibility, including financial
                                                                                                          the alien would need to submit
                                                                                                                                                                alien applicant on Form I–129 will be gainfully
                                                  information . . . .’’); AFM Ch. 30.3(c)(2)(C)           evidence that he or she has the financial             employed once the new status is granted, it is
                                                  (applicants applying to change status to a                                                                    generally not necessary to further explore an
                                                  nonimmigrant student must demonstrate that they           182 Aliens in nonimmigrant classifications whose    applicant’s ability to maintain status financially
                                                  have the financial resources to pay for coursework      employers will be filing Form I–129 or Form I–        (unless the rate of remuneration is so low that the
                                                  and living expenses in the United States).              129CW on their behalf will be required to provide     principal would be unable to support him/herself
                                                    181 8 U.S.C. 1601.                                    this information to their employer.                   and all dependents).’’).
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                                                                                                          part of the adjustment process, USCIS is                 inadmissible on the public charge
                                                  3. Adjustment of Status Applicants                      responsible for determining whether the                  ground, DHS proposes to review the
                                                                                                          applicant has met his or her burden of                   mandatory statutory factors together
                                                     In general, an alien who is physically
                                                                                                          proof to establish eligibility for the                   with any required affidavit of support
                                                  present in the United States may be
                                                                                                          benefit,188 which includes a                             and any other relevant information, in
                                                  eligible to apply for adjustment of status
                                                  before USCIS to that of a lawful                        determination of whether the alien has                   the totality of the circumstances.
                                                  permanent resident if the applicant was                 demonstrated that no inadmissibility                       Tables 5 through 9 below provide a
                                                  inspected and admitted or paroled, is                   grounds in section 212(a) of the Act                     summary of immigrant categories for
                                                  eligible to receive an immigrant visa, is               apply (or, if they do apply, the alien is                adjustment of status and the
                                                  admissible to the United States, and has                eligible for a waiver of the                             applicability of the public charge
                                                  an immigrant visa immediately                           inadmissibility ground). In determining                  inadmissibility determination to such
                                                  available at the time of filing the                     whether the adjustment applicant has                     categories.
                                                  adjustment of status application.187 As                 demonstrated that he or she is not                       BILLING CODE 4410–10–P
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                                                    185 This classification can no longer be sought as      186 J nonimmigrant who are admitted for a              may also apply for adjustment of status pursuant to
                                                  of December 20, 2009. See the Nursing Relief for        specific time period are not eligible for an extension   8 CFR 1245.
                                                  Disadvantaged Areas Reauthorization Act of 2005,        of stay.                                                   188 See INA section 291, 8 U.S.C. 1361.
                                                                                                            187 See INA section 245, 8 U.S.C. 1255. Aliens in
                                                  Public Law 109–423.
                                                                                                                                                                                                                         EP10OC18.017</GPH>




                                                                                                          removal proceedings before an immigration judge



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                                                                                                          of the Act upon admission to the United States are    Authorization Act For Fiscal Year 2004, Public Law
                                                                                                          exempt from submitting an affidavit of support. See   108–136, section 1703(e), 117 Stat. 1392, 1695
                                                    189 Applicants who filed a Form I–485 prior to
                                                                                                          8 CFR 213a.2(a)(2)(ii)(E); Child Citizenship Act,     (2003).
                                                  December 19, 1997 are exempt from the Affidavit         Public Law 106–395, section 101, 114 Stat. 1631,        190 Including the following categories: IR–6
                                                  of Support requirement. See Public Law 104–208,                                                               Spouses; IR–7 Children; CR–7 Children,
                                                                                                          1631 (2000) (amending INA section 320). In
                                                  div. C., section 531(b), 110 Stat. 3009–546, 3009–
                                                                                                          addition, the surviving spouses, children, and        conditional; IH–8 Children adopted abroad under
                                                  675; 8 CFR 213a.2(a)(2)(i) (adjustment applicants)
                                                                                                          parents of a deceased member of the military who      the Hague Adoption Convention; IH–9 Children
                                                  and 213a.2(a)(2)(ii)(B) (applicants for admission).
                                                                                                          obtain citizenship posthumously are exempt from a     coming to the United States to be adopted under the
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                                                  Aliens who acquired citizenship under section 320
                                                                                                          public charge determination. See National Defense     Hague Adoption Convention; IR–8 Orphans



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                                                  adopted abroad; IR–9 Orphans coming to the United                                                                 that this program does not have a specific sunset
                                                  States to be adopted; IR–0 Parents of adult U.S.                                                                  date and technically applicants could apply but
                                                  citizens. Note children adopted abroad generally do                                                               should have already applied.
                                                  not apply for adjustment of status.                      Children of alien residents, subject to country             210 For this category, although the applicants are

                                                     191 Including the following categories: A–16          limits, self-petitioning; BX–7 Children of alien         subject to public charge under INA section
                                                                                                           residents, exempt from country limits, self-             212(a)(4), the employers (for example, the U.S.
                                                  Unmarried Amerasian sons/daughters of U.S.
                                                                                                           petitioning; BX–8 Children of BX–6, or BX–7,             armed forces), would generally not be a relative of
                                                  citizens F–16 Unmarried sons/daughters of U.S.
                                                                                                           exempt from country limits; B–29 Unmarried sons/         the alien or a for-profit entity and therefore the
                                                  citizens; A–17 Children of A–11 or A–16; F–17
                                                                                                           daughters of alien residents, subject to country         requirements for an affidavit of support under INA
                                                  Children of F–11 or F–16; B–17 Children of B–11          limits, self-petitioning.
                                                  or B–16.                                                                                                          section 212(a)(4)(D) is inapplicable.
                                                                                                              200 Includes the following categories: B–36              211 Includes the following categories: SF–6
                                                     192 Including the following categories: F–26
                                                                                                           Married sons/daughters of U.S. citizens, self-           Former employees of the Panama Canal Company
                                                  Spouses of alien residents, subject to country limits;   petitioning B–37 Spouses of B–36, adjustments; B–
                                                  C–26 Spouses of alien residents, subject to country                                                               or Canal Zone Government; SF–7 Spouses or
                                                                                                           38 Children of B–36, subject to country limits;          children of SF–6; SG–6 Former U.S. government
                                                  limits, conditional; FX–6 Spouses of alien residents,    Third Preference VAWA; B–36 Married sons/
                                                  exempt from country limits; CX–6 Spouses of alien                                                                 employees in the Panama Canal Zone; SG–7
                                                                                                           daughters of U.S. citizens, self-petitioning; B–37       Spouses or children of SG–6; SH–6 Former
                                                  residents, exempt from country limits, conditional;      Spouses of B–36, adjustments B–38 Children of B–
                                                  F–27 Children of alien residents, subject to country                                                              employees of the Panama Canal Company or Canal
                                                                                                           36, subject to country limits; Third Preference          Zone government, employed on April 1, 1979; SH–
                                                  limits; C–28 Children of -C–26, or C–27, subject to      VAWA; B–37 Spouses of B–36, adjustments; B–38
                                                  country limits, conditional; B–28 Children of, B–26,                                                              7 Spouses or children of SH–6. Note that this
                                                                                                           Children of B–36, subject to country limits.
                                                  or B–27, subject to country limits; F–28 Children of        201 Includes the following categories: E–16 Aliens
                                                                                                                                                                    program does not have a specific sunset date and
                                                  F–26, or F–27, subject to country limits; C–20                                                                    technically applicants could apply but should have
                                                                                                           with extraordinary ability; E–17 Outstanding             already applied.
                                                  Children of C–29, subject to country limits,             professors or researchers; E–18 Certain                     212 For this category, although the applicants are
                                                  conditional; B–20 Children of B–29, subject to           Multinational executives or managers; E–19
                                                  country limits; F–20 Children of F–29, subject to        Spouses of E–11, E–12, E–13, E–16, E–17, or E–18;        subject to public charge under INA section
                                                  country limits; C–27 Children of alien residents,        E–10 Children of E–11, E–12, E–13, E–16, E–17, or        212(a)(4), the employers generally would not be a
                                                  subject to country limits, conditional; FX–7             E–18.                                                    relative of the alien or a for-profit entity and
                                                  Children of alien residents, exempt from country            202 Relative means a husband, wife, father,           therefore the requirements for an affidavit of
                                                  limits; CX–8 Children of CX–7, exempt from                                                                        support under INA section 212(a)(4)(D) is
                                                                                                           mother, child, adult son, adult daughter, brother, or
                                                  country limits, conditional; FX–8 Children of FX–        sister. Significant ownership interest means an          inapplicable.
                                                                                                                                                                       213 Includes the following categories: SJ–6 Foreign
                                                  7, or FX–8, exempt from country limits; CX–7             ownership interest of 5 percent or more in a for-
                                                  Children of alien residents, exempt from country         profit entity that filed an immigrant visa petition to   medical school graduate who was licensed to
                                                  limits, conditional; F–29 Unmarried sons/daughters       accord a prospective employee an immigrant status        practice in the United States on Jan. 9, 1978; SJ–
                                                  of alien residents, subject to country limits; C–29      under section 203(b) of the Act. See 8 CFR.213a.1.       7 Spouses or children of SJ–6; Note that this
                                                  Unmarried children of alien residents, subject to           203 Includes the following categories: E–26           program does not have a specific sunset date and
                                                  country limits, conditional.                             Professionals holding advanced degrees; ES–6             technically applicants could apply but should have
                                                     193 Including the following categories: A–36          Soviet scientists; E–27 Spouses of E–21 or E–26; E–      already applied.
                                                                                                                                                                       214 For this category, although the applicants are
                                                  Married Amerasian sons/daughters of U.S. citizens;       28 Children of E–21 or E–26.
                                                  F–36 Married sons/daughters of U.S. citizens; C–36          204 Includes the following categories: EX–6           subject to public charge under INA section
                                                  Married sons/daughters of U.S. citizens,                 Schedule—A worker; EX–7 Spouses of EX–6; EX–             212(a)(4), the employers would generally not be a
                                                  conditional; A–37 Spouses of A–31 or A–36; F–37          8 Children of EX–6; E–36 Skilled workers; E–37           relative of the alien or a for-profit entity and
                                                  Spouses of married sons/daughters of U.S. citizens;      Professionals with baccalaureate degrees; E–39           therefore the requirements for an affidavit of
                                                  C–37 Spouses of married sons/daughters of U.S.           Spouses of E–36, or E–37; E–30 Children of E–36,         support under INA section 212(a)(4)(D) is
                                                  citizens, conditional; B–37 Spouses of B–31 or B–        or E–37; EW–8 Other workers; EW–0 Children of            inapplicable.
                                                  36; A–38 Children of A–31 or A–36, subject to            EW–8; EW–9 Spouses of EW–8; EC–6 Chinese                    215 Includes the following categories: SK–6

                                                  country limits; F–38 Children of married sons/           Student Protection Act (CSPA) principals; EC–7           Retired employees of international organizations;
                                                  daughters of U.S. citizens; C–38 Children of C–31        Spouses of EC–6; EC–8 Children of EC–6.                  SK–7 Spouses of SK–1 or SK–6; SK–8 Certain
                                                  or C–36, subject to country limits, conditional; B–         205 Includes the following categories: C–56           unmarried children of SK–6; SK–9 Certain
                                                  38 Children of B–31 or B–36, subject to country          Employment creation, not in targeted area,               surviving spouses of deceased international
                                                  limits.                                                  adjustments, conditional E–56 Employment                 organization employees.
                                                     194 Includes the following categories: F–46           creation; I–56 Employment creation, targeted area,          216 Includes SN–6 Retired NATO–6 civilian

                                                  Brothers/sisters of U.S. citizens, adjustments; F–47     pilot program, adjustments, conditional; T–56            employees; SN–7 Spouses of SN–6; SN–9 Certain
                                                  Spouses of brothers/sisters of U.S. citizens,            Employment creation, targeted area, conditional; R–      surviving spouses of deceased NATO–6 civilian
                                                  adjustments; F–48 Children of brothers/sisters of        56 Investor pilot program, not targeted, conditional;    employees; SN–8 Certain unmarried sons/daughters
                                                  U.S. citizens, adjustments.                              C–57 Spouses of C–51 or C–56, conditional; E–57          of SN–6.
                                                     195 Includes the following categories: CF–1           Spouses of E–51 or E–56; I–57 Spouses of I–51 or            217 For this category, although the applicants are
                                                                                                           I–56, conditional; T–57 Spouses of T–51 or T–56,         subject to public charge under INA section
                                                  Spouses, entered as fiance(e), adjustments
                                                                                                           conditional; R–57 Spouses of R–51 or R–56,               212(a)(4), the employers would generally not be a
                                                  conditional; IF–1 Spouses, entered as fiance(e),
                                                                                                           conditional; C–58 Children of C–51 or C–56,              relative of the alien or a for-profit entity and
                                                  adjustments.                                             conditional; E–58 Children of E–51 or E–56; I–58
                                                     196 Includes the following categories: Immediate                                                               therefore the requirements for an affidavit of
                                                                                                           Children of I–51 or I–56, conditional; T–58              support under INA section 212(a)(4)(D) is
                                                  Relative AR–6 Children, Amerasian, First                 Children of T–51 or T–56, conditional; R–58
                                                  Preference: A–16 Unmarried Amerasian sons/                                                                        inapplicable.
                                                                                                           Children of R–51 or R–56, conditional.                      218 Includes the following categories: SM–6 U.S.
                                                  daughters of U.S. citizens; Third Preference A–36           206 EB–5 applicants are Form I–526, Immigrant
                                                  Married Amerasian sons/daughters of U.S. citizens;                                                                Armed Forces personnel, service (12 years) after 10/
                                                                                                           Petition by Alien Entrepreneur, self-petitioners. The    1/91 SM–9 U.S. Armed Forces personnel, service
                                                  See INA 204(f). Note that this program does not          regulation at 8 CFR 213a.1 relates to a person
                                                  have a specific sunset date and technically                                                                       (12 years) by 10/91; SM–7 Spouses of SM–1 or SM–
                                                                                                           having ownership interest in an entity filing for a
                                                  applicants could apply but should have already                                                                    6; SM–0 Spouses or children of SM–4 or SM–9;
                                                                                                           prospective employee and therefore the
                                                  applied.                                                                                                          SM–8 Children of SM–1 or SM–6.
                                                                                                           requirements for an affidavit of support under INA          219 For this category, although the applicants are
                                                     197 Includes the following categories: AM–1           section 212(a)(4)(D) is inapplicable.
                                                  principal (born between 1/1/1962–1/1/1976); AM–             207 Includes the following categories: SD–6           subject to public charge under INA section
                                                  2 Spouse, AM–3 child; AR–1 child of U.S. citizen                                                                  212(a)(4), the employers would generally not be a
                                                                                                           Ministers; SD–7 Spouses of SD–6; SD–8 Children of
                                                  born Cambodia, Korea, Laos, Thailand, Vietnam.                                                                    relative of the alien or a for-profit entity and
                                                                                                           SD–6; SR–6 Religious workers; SR–7 Spouses of
                                                  Note that this program does not have a specific                                                                   therefore the requirements for an affidavit of
                                                                                                           SR–6; SR–8 Children of SR–6.
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                                                  sunset date and technically applicants could apply          208 For this category, although the applicants are
                                                                                                                                                                    support under INA section 212(a)(4)(D) is
                                                  but should have already applied.                                                                                  inapplicable.
                                                                                                           subject to public charge under INA section                  220 Includes the following categories: BC–6
                                                     198 Includes the following categories: IB–6
                                                                                                           212(a)(4), the employers (for example, a religious
                                                  Spouses, self-petitioning; IB–7 Children, self-                                                                   Broadcast (IBCG of BBG) employees; BC–7 Spouses
                                                                                                           institution), would generally not be a relative of the
                                                  petitioning; IB–8 Children of IB–1 or IB–6; IB–0                                                                  of BC–1 or BC–6; BC–8 Children of BC–6.
                                                                                                           alien or a for-profit entity and therefore the              221 For this category, although the applicants are
                                                  Parents battered or abused, of U.S. citizens, self-      requirements for an affidavit of support under INA
                                                  petitioning.                                             section 212(a)(4)(D) is inapplicable.                    subject to public charge under INA section
                                                     199 Includes the following categories: B–26              209 Includes the following categories: SE–6           212(a)(4), the employers would generally not be a
                                                  Spouses of alien residents, subject to country limits,                                                            relative of the alien or a for-profit entity and
                                                                                                           Employees of U.S. government abroad, adjustments;
                                                  self-petitioning; BX–6 Spouses of alien residents,                                                                therefore the requirements for an affidavit of
                                                                                                           SE–7 Spouses of SE–6; SE–8 Children of SE–6. Note
                                                                                                                                                                                                                Continued
                                                  exempt from country limits, self-petitioning; B–27


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                                                                                                           sections 207(c)(3) and 209(c) of the Act,               • A nonimmigrant described in
                                                  BILLING CODE 4410–10–C                                   8 U.S.C. 1157(c)(3), 1159(c);                        section 101(a)(15)(A)(i) and (A)(ii) of the
                                                                                                              • Amerasian immigrants at                         Act, 8 U.S.C. 1101(a)(15)(A)(i) and
                                                  4. Exemptions
                                                                                                           admission, pursuant to in section                    (A)(ii) (Ambassador, Public Minister,
                                                     The public charge inadmissibility                     584(a)(2) of the Foreign Operations,                 Career Diplomat or Consular Officer, or
                                                  ground does not apply to all applicants                  Export Financing, and Related Programs               Immediate Family or Other Foreign
                                                  who are seeking a visa, admission, or                    Appropriations Act of 1988, Public Law               Government Official or Employee, or
                                                  adjustment of status.232 Congress has                    100–202, 101 Stat. 1329–183 (Dec. 22,                Immediate Family), pursuant to section
                                                  specifically exempted certain groups                     1987) (as amended), 8 U.S.C. 1101 note               102 of the Act, 8 U.S.C. 1102, 22 CFR
                                                  from the public charge inadmissibility                   5;                                                   41.21(d);
                                                  ground and DHS regulations permit                           • Afghan and Iraqi Interpreter, or                   • A nonimmigrant classifiable as C–2
                                                  waivers of the ground for certain other                  Afghan or Iraqi national employed by or              (alien in transit to U.N. Headquarters) or
                                                  groups, as follows:                                      on behalf of the U.S. Government,                    C–3 (foreign government official),
                                                     • Refugees and asylees at the time of                 pursuant to section 1059(a)(2) of the                pursuant to 22 CFR 41.21(d);
                                                  admission and adjustment of status to                    National Defense Authorization Act for                  • A nonimmigrant described in
                                                  lawful permanent resident, pursuant to                   Fiscal Year 2006 Public Law 109–163                  section 101(a)(15)(G)(i), (G)(ii), (G)(iii),
                                                                                                           (Jan. 6, 2006), section 602(b) of the                and (G)(iv), of the Act (Principal
                                                  support under INA section 212(a)(4)(D) is                                                                     Resident Representative of Recognized
                                                  inapplicable.
                                                                                                           Afghan Allies Protection Act of 2009, as
                                                     222 Includes the following categories: SI–6 Special   amended Public Law 111–8 (Mar. 11,                   Foreign Government to International
                                                  immigrant interpreters who are nationals of Iraq or      2009), and section 1244(g) of the                    Organization, and related categories),234
                                                  Afghanistan; SI–6, SI–7, SI–8—spouse and child of        National Defense Authorization Act for               8 U.S.C. 1101(a)(15)(G)(i), (G)(ii),
                                                  SI–6; SQ–6 Certain Iraqis and Afghans employed by        Fiscal Year 2008, as amended Public                  (G)(iii), and (G)(iv), pursuant to section
                                                  U.S. Government SQ–6, SQ–7, SQ–8 Spouses and
                                                  children of SQ–6; SI–6 Special immigrant                 Law 110–181 (Jan. 28, 2008);                         102 of the Act, 8 U.S.C. 1102, 22 CFR
                                                  interpreters who are nationals of Iraq or                   • Cuban and Haitian entrants at                   41.21(d);
                                                  Afghanistan; SI–7 Spouses of SI–1 or SI–6; SI–8          adjustment, pursuant to section 202 of                  • A nonimmigrant classifiable as a
                                                  Children of SI–1 or SI–6.                                the Immigration Reform and Control Act               NATO representative and related
                                                     223 Including the following categories: AS–6
                                                                                                           of 1986 (IRCA), Public Law 99–603, 100               categories,235 pursuant to 22 CFR
                                                  Asylees; AS–7 Spouses of AS–6; AS–8 Children of
                                                  AS–6; SY–8 Children of SY–6; GA–6 Iraqi asylees;         Stat. 3359 (Jan. 3, 1986) (as amended),              41.21(d);
                                                  GA–7 Spouses of GA–6; GA–8 Children of GA–6.             8 U.S.C. 1255a, note;
                                                     224 Note that this program does not have a specific      • Aliens applying for adjustment of               section 212(a), 8 U.S.C. 1182(a) ground, except for
                                                  sunset date and technically applicants could apply                                                            those that Congress specifically noted could not be
                                                                                                           status, pursuant to the Cuban                        waived.
                                                  but should have already applied.
                                                     225 Includes the following categories: RE–6 Other
                                                                                                           Adjustment Act, Public Law 89–732                       234 Includes the following categories: G–1—

                                                  refugees (Refugee Act of 1980, Public Law 96–212,        (Nov. 2, 1966) as amended; 8 U.S.C.                  Principal Resident Representative of Recognized
                                                  94 Stat. 102); RE–7 Spouses of RE–6; RE–8 Children       1255, note;                                          Foreign Government to International Organization,
                                                  of RE–6; RE–9 Other relatives.                              • Nicaraguans and other Central                   Staff, or Immediate Family; G–2—Other
                                                     226 Note that this program has a sunset date of two                                                        Representative of Recognized Foreign Member
                                                                                                           Americans who are adjusting status,                  Government to International Organization, or
                                                  years after enactment, however, some cases may
                                                  still be pending.
                                                                                                           pursuant to section 202(a) and section               Immediate Family; G–3—Representative of Non-
                                                     227 Includes the following categories: 1995—HA–       203 of the Nicaraguan Adjustment and                 recognized or Nonmember Foreign Government to
                                                                                                           Central American Relief Act (NACARA),                International Organization, or Immediate Family;
                                                  6 Principal HRIFA Applicant; Spouse of HA–6,
                                                                                                                                                                G–4—International Organization Officer or
                                                  HA–7 and Child of HA–6, HA–8; Unmarried Son or           Public Law 105–100, 111 Stat. 2193                   Employee, or Immediate Family; G–5—Attendant,
                                                  Daughter 21 Years of Age or Older of HA–6, HA–           (Nov. 19, 1997) (as amended), 8 U.S.C.               Servant, or Personal Employee of G–1 through G–
                                                  9 Principal HRIFA Applicant paroled into the
                                                  United States before December 31, 1995- HB–6;            1255 note;                                           4, or Immediate Family.
                                                  Spouse of HB–6, HB–7; Child of HB–6, HB–8;                  • Haitians who are adjusting status,                 235 Includes the following categories: NATO 1—

                                                  Unmarried Son or Daughter 21 Years of Age or             pursuant to section 902 of the Haitian               Principal Permanent Representative of Member
                                                  Older of HB–6 HB–9; Principal HRIFA Applicant                                                                 State to NATO (including any of its Subsidiary
                                                                                                           Refugee Immigration Fairness Act of                  Bodies) Resident in the U.S. and Resident Members
                                                  who arrived as a child without parents in the
                                                  United States HC–6; Spouse of HC–6, HC–7; Child
                                                                                                           1998, Public Law 105–277, 112 Stat.                  of Official Staff; Secretary General, Assistant
                                                  of HC–6, HC–8; Unmarried Son or Daughter 21              2681 (Oct. 21, 1998), 8 U.S.C. 1255 note;            Secretaries General, and Executive Secretary of
                                                  Years of Age or Older of HC–6, HC–9; Principal              • Lautenberg parolees, pursuant to                NATO; Other Permanent NATO Officials of Similar
                                                  HRIFA Applicant child who was orphaned                                                                        Rank, or Immediate Family; NATO 2—Other
                                                                                                           section 599E of the Foreign Operations,              Representative of member state to NATO (including
                                                  subsequent to arrival in the United States HD–6,
                                                  Spouse of HD–6, HD–7; Child of HD–6, HD–8;
                                                                                                           Export Financing, and Related Programs               any of its Subsidiary Bodies) including
                                                  Unmarried Son or Daughter 21 Years of Age or             Appropriations Act of 1990, Public Law               Representatives, Advisers, and Technical Experts of
                                                  Older of HD–6, HD–9 Principal HRIFA Applicant            101–167, 103 Stat. 1195 (Nov. 21, 1989),             Delegations, or Immediate Family; Dependents of
                                                  child who was abandoned subsequent to arrival and                                                             Member of a Force Entering in Accordance with the
                                                                                                           8 U.S.C.A. 1255 note;                                Provisions of the NATO Status-of-Forces Agreement
                                                  prior to April 1, 1998—HE–6; Spouse of HE–6, HE–            • Special immigrant juveniles,                    or in Accordance with the provisions of the
                                                  7; Child of HE–6, HE–8; Unmarried Son or Daughter
                                                  21 Years of Age or Older of HE–6, HE–9. Note that        pursuant to section 245(h) of the Act, 8             ‘‘Protocol on the Status of International Military
                                                  this program has a sunset date of March 31, 2000;        U.S.C. 1255(h);                                      Headquarters’’; Members of Such a Force if Issued
                                                  however, dependents may still file for adjustment           • Aliens who entered the United                   Visas; NATO 3—Official Clerical Staff
                                                                                                                                                                Accompanying Representative of Member State to
                                                  of status.                                               States prior to January 1, 1972, and who
                                                     228 Note that this program has a sunset date of                                                            NATO (including any of its Subsidiary Bodies), or
                                                  April 1, 2000; however, some cases may still be
                                                                                                           meet the other conditions for being                  Immediate Family; NATO–4—Official of NATO
                                                                                                           granted lawful permanent residence                   (Other Than Those Classifiable as NATO–1), or
                                                  pending.
                                                                                                                                                                Immediate Family; NATO–5—Experts, Other Than
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                                                     229 Note that this program sunset date of             under section 249 of the Act, 8 U.S.C.               NATO Officials Classifiable Under NATO–4,
                                                  September 30, 2014, only applies to parole. Eligible     1259, and 8 CFR part 249;                            Employed in Missions on Behalf of NATO, and
                                                  applicants may still apply for adjustment of status.        • Aliens applying for Temporary                   their Dependents; NATO 6—Member of a Civilian
                                                     230 INA section 244(c)(2)(ii), 8 U.S.C.
                                                                                                           Protected Status, pursuant to section                Component Accompanying a Force Entering in
                                                  1254a(c)(2)(ii), authorizes DHS to waive any section                                                          Accordance with the Provisions of the NATO
                                                  212(a) ground, except for those that Congress            244(c)(2)(ii) of the Act, 8 U.S.C.
                                                                                                                                                                Status-of-Forces Agreement; Member of a Civilian
                                                  specifically noted could not be waived.                  1254a(c)(2)(ii) and 8 CFR 244.3(a); 233              Component Attached to or Employed by an Allied
                                                     231 See INA section 244(c)(2)(ii), 8 U.S.C.
                                                                                                                                                                Headquarters Under the ‘‘Protocol on the Status of
                                                  1254a(c)(2)(ii).                                           233 INA section 244(c)(2)(ii), 8 U.S.C.            International Military Headquarters’’ Set Up
                                                     232 See proposed 8 CFR 212.23(a).                     1254a(c)(2)(ii), authorizes DHS to waive any INA     Pursuant to the North Atlantic Treaty; and their



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                                                     • A nonimmigrant described in                          • Nonimmigrants who were admitted                      subcommittee highlighted concerns
                                                  section 101(a)(15)(T) of the Act (Victim                under section 101(a)(15)(T) of the Act, 8                raised by an immigration inspector
                                                  of Severe Form of Trafficking), 8 U.S.C.                U.S.C. 1101(a)(15)(T) (Victims of Severe                 about aliens receiving old age
                                                  1101(a)(15)(T), pursuant to section                     Form of Tracking in Persons) at the time                 assistance. The Senate subcommittee
                                                  212(d)(13)(A) of the Act, 8 U.S.C.                      of their adjustment of status under                      recommended against establishing a
                                                  1182(d)(13)(A), at time of admission;                   section 245(l)(2)(A) of the Act, 8 U.S.C.                strict definition of the term public
                                                     • An applicant for, or who is granted,               1255(l)(2)(A);                                           charge by law. Because the elements
                                                  nonimmigrant status under section                         • S (alien witness or informant)                       that could constitute any given
                                                  101(a)(15)(U) of the Act, 8 U.S.C.                      nonimmigrants described in section                       individual’s likelihood of becoming a
                                                  1101(a)(15)(U) (Victim of Criminal                      101(a)(15)(S), of the Act, 8 U.S.C.                      public charge vary, the subcommittee
                                                  Activity), pursuant to section                          1101(a)(15)(S);
                                                                                                                                                                   instead recommended that the
                                                  212(a)(4)(E)(ii) of the Act, 8 U.S.C.                     • Applicants for admission and
                                                  1182(a)(4)(E)(ii);                                                                                               determination of whether an alien is
                                                                                                          adjustment of status under section 245(j)
                                                     • Nonimmigrants who were admitted                    of the Act, 8 U.S.C. 1255(j) (alien                      likely to become a public charge should
                                                  under section 101(a)(15)(U) (Victim of                  witness or informant); and                               rest within the discretion of consular
                                                  Criminal Activity) of the Act, 8 U.S.C.                   • Other waivers of the public charge                   officers and the Commissioner.241
                                                  1101(a)(15)(U), at the time of their                    inadmissibility provisions in section                       Before Congress passed IIRIRA in
                                                  adjustment of status under section                      212(a)(4) of the Act permissible under                   1996, debates on public charge
                                                  245(m) of the Act, 8 U.S.C. 1155(m), and                the law.                                                 exclusion and deportation grounds
                                                  8 CFR 245.24;                                                                                                    considered the significance of an alien’s
                                                     • An alien who is a VAWA self-                       B. Definitions of Public Charge and
                                                                                                          Related Terms                                            use of public benefits and self-
                                                  petitioner as defined in section
                                                                                                                                                                   sufficiency.242 One Senator opined that
                                                  101(a)(51) of the Act, 8 U.S.C. 1101,                     DHS proposes to add several
                                                  pursuant to section 212(a)(4)(E)(i) of the                                                                       immigrants, upon seeking admission,
                                                                                                          definitions that apply to public charge
                                                  Act, 8 U.S.C. 1182(a)(4)(E)(i);                                                                                  make a ‘‘promise to the American
                                                                                                          inadmissibility determinations.
                                                     • A qualified alien described in                                                                              people that they will not become a
                                                  section 431(c) of the PRWORA of 1996                    1. Public Charge                                         burden on the taxpayers,’’ 243 and
                                                  (8 U.S.C. 1641(c)) (certain battered                       The term ‘‘public charge,’’ as used in                expressed that it is not ‘‘unreasonable
                                                  aliens as qualified aliens), pursuant to                section 212(a)(4) of the Act, is not                     for the taxpayers of this country to
                                                  section 212(a)(4)(E)(iii) of the Act, 8                 defined.236 DHS is proposing to define                   require recently arrived immigrants to
                                                  U.S.C. 1182(a)(4)(E)(iii);                              a public charge as an alien who receives                 depend on their sponsors for the first 5
                                                     • Applicants adjusting status under                  one or more public benefits, as defined                  years under all circumstances if the
                                                  section National Defense Authorization                  in 8 CFR 212.21(b).237 DHS believes that                 sponsor has the assets.’’ 244 Congress
                                                  Act For Fiscal Year 2004, Public Law                    its proposed definition of public charge                 through PRWORA 245 further
                                                  108–136, 117 Stat. 1392 (Nov. 24, 2003)                 is consistent with legislative history,                  emphasized that ‘‘the availability of
                                                  (posthumous benefits to surviving                       case law, and the ordinary meaning of                    public benefits not constitute an
                                                  spouses, children, and parents);                        public charge.                                           incentive for immigration to the United
                                                     • American Indians Born in Canada,                      Consistent with the public charge                     States.’’ 246
                                                  pursuant to section 289 of the Act, 8                   inadmissibility statute 238 and
                                                  U.S.C. 1359; and                                                                                                    Absent a clear statutory definition,
                                                                                                          Congressional objectives announced in
                                                     • Nationals of Vietnam, Cambodia,                    PRWORA, DHS proposes that aliens
                                                                                                                                                                   some courts and administrative
                                                  and Laos adjusting status, pursuant to                                                                           authorities have tied public charge to
                                                                                                          subject to the public charge
                                                  section 586 of Public Law 106–429                                                                                receipt of public benefits without
                                                                                                          inadmissibility ground 239 should ‘‘not
                                                  (Nov. 1, 2000).                                         depend on public resources to meet                       quantifying the level of public support
                                                     In general, the aforementioned classes                                                                        or the type of public support required.
                                                                                                          their needs, but rather rely on their own
                                                  of aliens are vulnerable populations of                                                                          For example, in analyzing the term
                                                                                                          capabilities and the resources of their
                                                  immigrants and nonimmigrants. Some                                                                               public charge in the context of
                                                                                                          families, their sponsors, and private
                                                  have been persecuted or victimized and                                                                           deportability under section 19 of the
                                                                                                          organizations.’’ 240
                                                  others have little to no private support                   There is a scarcity of legislative
                                                  network in the United States. These                     guidance and case law defining public                       241 See The 1950 Omnibus Report of the Senate

                                                  individuals tend to require government                  charge. Legislative history, however,                    Judiciary Committee, S. Rep. No. 81–1515, at 349
                                                  protection and support. Admission of                                                                             (1950); see also Matter of Harutunian, 14 I&N Dec.
                                                                                                          suggests a link between public charge                    583 (Reg’l Comm’r 1974).
                                                  these aliens also serves distinct public                and the receipt of public benefits.                         242 See 142 Cong. Rec. S4609 (May 2, 1996)
                                                  policy goals separate from the general                  According to a 1950 Senate Judiciary                     (statement of Sen. Byrd) (‘‘[S]elf-sufficiency will be
                                                  immigration system. Other legal                         Committee report, which preceded the                     the watchword for those coming to the United
                                                  provisions may permit waivers of public                 passage of the 1952 Act, a Senate
                                                                                                                                                                   States. By making noncitizens ineligible for Federal
                                                  charge provisions under section                                                                                  means-tested programs, and by ‘deeming’ a
                                                                                                                                                                   sponsor’s income attributable to an immigrant, the
                                                  212(a)(4) of the Act, 8 U.S.C. 1182(a)(4).                236 See  INA section 212(a)(4), 8 U.S.C. 1182(a)(4).   American taxpayer will no longer be financially
                                                  5. Waivers                                                237 See  proposed 8 CFR 212.21(a) and (c).             responsible for new arrivals.’’), available at https://
                                                                                                            238 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4)     www.congress.gov/crec/1996/05/02/CREC-1996-05-
                                                     The proposed regulation at 8 CFR                     (emphasis added). The alien is inadmissible if he        02-pt1-PgS4592.pdf.
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                                                                                                                                                                      243 142 Cong. Rec. S4495 (May 1, 1996) (statement
                                                  212.23(b) lists the categories of                       or she ‘‘is likely at any time to become a public
                                                                                                          charge.’’                                                of Sen. Simon), available at https://
                                                  applicants Congress has authorized to                                                                            www.congress.gov/crec/1996/05/01/CREC-1996-05-
                                                                                                            239 Aliens subject to the public charge ground of
                                                  apply for waivers of the public charge                  inadmissibility are aliens outside the United States     01-pt1-PgS4457.pdf.
                                                  inadmissibility ground, as follows:                     seeking admission to the country, seeking a visa to         244 142 Cong. Rec. S4495 (May 1, 1996) (statement

                                                                                                          permit them to apply for admission as a                  of Sen. Simon), available at https://
                                                  Dependents; NATO–7—Attendant, Servant, or               nonimmigrant or immigrant to the United States, or       www.congress.gov/crec/1996/05/01/CREC-1996-05-
                                                  Personal Employee of NATO–1, NATO–2, NATO–              in the United States seeking to adjust status to that    01-pt1-PgS4457.pdf.
                                                  3, NATO–4, NATO–5, and NATO–6 Classes, or               of lawful permanent residents.                              245 8 U.S.C. 1601(2)(A).

                                                  Immediate Family.                                         240 See 8 U.S.C. 1601(2)(A).                              246 8 U.S.C. 1601(2)(B).




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                                                  Immigration Act of 1917,247 the U.S.                    example, in Matter of Perez, the BIA                    in Merriam-Webster Dictionary as ‘‘a
                                                  District Court for the Northern District                acknowledged the respondent’s ability                   person or thing committed into the care
                                                  of California in Ex parte Kichmiriantz                  to remedy her reliance on welfare in                    of another’’ 261 and Black’s Law
                                                  explained that public charge should be                  determining that she may be able to                     Dictionary defines charge as ‘‘a person
                                                  interpreted as ‘‘a money charge upon, or                overcome the public charge ground                       or thing entrusted to another’s care,’’
                                                  an expense to, the public for support                   inadmissibility ground in a prospective                 e.g., ‘‘a charge of the estate.’’ 262 These
                                                  and care.’’ 248 The court made clear that               application for a visa.254 On the other                 definitions generally suggest that an
                                                  the money charge or expense must be                     hand, in Matter of Harutunian and                       impoverished or ill individual who
                                                  upon the public, rather than relatives,                 Matter of Vindman, the respondents                      receives public benefits for a substantial
                                                  but did not specifically identify how                   failed to show a capacity to overcome                   component of their support and care can
                                                  much public support renders a person a                  their dependence on public support.255                  be reasonably viewed as being a public
                                                  public charge. Similarly, the U.S.                      INS expected them to continue                           charge. The proposed definition of
                                                  District Court for the Northern District                receiving public support and                            public charge is also consistent with the
                                                  of New York and the U.S. District Court                 determined that they were inadmissible                  concept of an indigent, which is defined
                                                  for the Southern District of New York,                  as public charges.256                                   as ‘‘one who is needy and poor . . . and
                                                  in Ex parte Mitchell and In re                             Bearing in mind the operative                        ordinarily indicates one who is destitute
                                                  Keshishian respectively, indicated that a               legislative history and case law                        of means of comfortable subsistence so
                                                  public charge is one who is supported                   examined above, DHS is proposing a                      as to be in want.’’ 263 DHS believes its
                                                  at public expense without qualifying or                 new definition of public charge.257 The                 proposed definition reflects Congress’s
                                                  quantifying the level of support at                     definitions cited in the 1999 Interim                   intent in having aliens be self-sufficient
                                                  public expense necessary.249                            Field Guidance and proposed rule                        and not reliant on the government (i.e.,
                                                  Furthermore, when the Fifth Circuit                     indicates that a person becomes a public                public benefits) for assistance to meet
                                                  Court of Appeals considered criminal                    charge when he or she is committed to                   their needs.
                                                  misconduct and imprisonment within                      the care, custody, management, or
                                                  the context of public charge in                         support of the public, but DHS does not                 2. Public Benefit
                                                  Coykendall v. Skrmetta, the court                       believe that these definitions suggest or                 DHS proposes to define public
                                                  opined: ‘‘It cannot well be supposed                    require a primary dependence on the                     benefit 264 to include a specific list of
                                                  that the words in question were                         government in order for someone to be                   cash aid and noncash medical care,
                                                  intended to refer to anything other than                a public charge.258 DHS believes that a                 housing, and food benefit programs
                                                  a condition of dependence on the public                 person should be considered a public                    where either (1) the cumulative value of
                                                  for support.’’ 250 The Second Circuit                   charge based on the receipt of financial                one or more such benefits that can be
                                                  Court of Appeals, in Iorio v. Day,                      support from the general public through                 monetized (i.e., where DHS can
                                                  likewise stated: ‘‘The language (sic)                   government funding (i.e., public                        determine the cash value of such
                                                  itself, ‘public charge,’ suggests rather                benefits).                                              benefit) exceeds 15 percent of the
                                                  dependency than imprisonment.’’ 251                        This is consistent with various                      Federal Poverty Guidelines (FPG) for a
                                                  Neither circuit court elaborated on the                 dictionary definitions of public charge                 household of one within a period of 12
                                                  degree of dependence required to                        and ‘‘charge’’ also support a definition                consecutive months based on the per-
                                                  sustain a public charge finding.                        that involves the receipt of public                     month FPG for the months during
                                                     In Matter of Martinez-Lopez, the                     benefits. The current edition of the                    which the benefits are received
                                                  Attorney General indicated that public                  Merriam-Webster Dictionary defines                      (hereafter referred to as the 15 percent
                                                  support or the burden of supporting the                 public charge simply as ‘‘one that is                   of FPG or the proposed 15 percent
                                                  alien being cast on the public was a                    supported at public expense.’’ 259                      standard or threshold); or (2) for benefits
                                                  fundamental consideration in public                     Black’s Law Dictionary (6th ed.) further
                                                                                                                                                                  that cannot be monetized, the benefits
                                                  charge inadmissibility                                  defines public charge as ‘‘an indigent; a
                                                                                                                                                                  are received for more than 12 months in
                                                  determinations.252 While an alien’s past                person whom it is necessary to support
                                                                                                                                                                  the aggregate within a 36-month period.
                                                  receipt of welfare alone does not                       at public expense by reason of poverty
                                                                                                                                                                  The proposed definition also addresses
                                                  establish that he or she is likely to                   alone or illness and poverty.’’ 260 In
                                                                                                                                                                  circumstances where an alien receives a
                                                  become a public charge, case law                        addition, the term ‘‘charge’’ is defined
                                                                                                                                                                  combination of monetizable benefits
                                                  strongly suggests that an alien’s ability                                                                       equal to or below the 15 percent
                                                                                                            254 See Matter of Perez, 15 I&N Dec. at 137.
                                                  or inability to remedy his or her past or                 255 See                                               threshold together with one or more
                                                                                                                    Matter of Harutunian, 14 I&N Dec. at 590
                                                  current reliance on public welfare for                  and Matter of Vindman, 16 I&N Dec. at 132.              benefits that cannot be monetized. In
                                                  financial support plays a critical role in                256 See id.                                           such cases, DHS proposes that the
                                                  the outcome of a public charge                            257 See, e.g., Taniguchi v. Kan Pac. Saipan, Ltd.,
                                                                                                                                                                  threshold for duration of receipt of the
                                                  inadmissibility determination.253 For                   566 U.S. 560, 566 (2012) (‘‘When a term goes            non-monetizable benefits would be 9
                                                                                                          undefined in statute, we give the term its ordinary
                                                                                                          meaning.’’).                                            months in the aggregate within a 36-
                                                    247 Section 19 of the Immigration Act of 1917
                                                                                                            258 DHS acknowledges the importance of                month period.265
                                                  addresses aliens who are deportable within five
                                                  years of entry.                                         increasing access to health care and helping people       As proposed in this rule, DHS would
                                                    248 283 F. 697, 698 (N.D. Cal. 1922).
                                                                                                          to become self-sufficient in certain contexts (such     consider the following public benefits:
                                                                                                          as with respect to other agencies’ administration of
                                                    249 See Ex parte Mitchell 256 F. 230, 234 (N.D. NY
                                                                                                          government assistance programs). The INA,
                                                  1919) and In re Keshishian 299 F. 804 (S.D. NY          however, does not dictate advancement of those
                                                                                                                                                                     261 Merriam-Webster Online Dictionary,
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                                                  1924).                                                  goals in the context of public charge inadmissibility   Definition of Charge, https://www.merriam-
                                                    250 See Coykendall v. Skrmetta 22 F.2d 121 (5th
                                                                                                          determinations.                                         webster.com/dictionary/charge (last updated Sept.
                                                  Cir. 1927).                                               259 Merriam-Webster Online Dictionary,                5, 2018).
                                                    251 See Iorio v. Day 34 F.2d 921 (2d Cir. 1929).                                                                 262 Black’s Law Dictionary Charge (10th ed. 2014).
                                                                                                          Definition of Public Charge, https://www.merriam-
                                                    252 See Matter of Martinez-Lopez, 10 I&N Dec.                                                                    263 Black’s Law Dictionary 773 (6th ed. 1990),
                                                                                                          webster.com/dictionary/public%20charge (last
                                                  409, 421 (Att’y Gen. 1964)                              visited Sept. 4, 2018).                                 available at http://www.republicsg.info/
                                                    253 See, e.g., Matter of Vindman, 16 I&N Dec. 131       260 Black’s Law Dictionary 233 (6th ed. 1990),        dictionaries/1990_black’s-law-dictionary-edition-
                                                  (Reg’l Comm’r 1977); Matter of Perez, 15 I&N Dec.       available at http://www.republicsg.info/                6.pdf.
                                                                                                                                                                     264 See proposed 8 CFR 212.21(b).
                                                  136 (BIA 1974); Matter of Harutunian, 14 I&N Dec.       dictionaries/1990_black’s-law-dictionary-edition-
                                                  583 (Reg’l Comm’r 1974).                                6.pdf.                                                     265 See proposed 8 CFR 212.21(c).




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                                                     • Monetizable benefits:                              support to the needy’’ and ‘‘essentially              inadmissibility determinations. Food,
                                                     Æ Any Federal, State, local, or tribal               supplementary benefits directed to the                shelter, and necessary medical
                                                  cash assistance 266 for income                          general welfare of the public as a                    treatment are basic necessities of life. A
                                                  maintenance, including: Supplemental                    whole.’’ 272 The BIA similarly observed               person who needs the public’s
                                                  Security Income (SSI),267 Temporary                     a distinction between individualized                  assistance to provide for these basic
                                                  Assistance for Needy Families                           receipt of welfare benefits and ‘‘the                 necessities is not self-sufficient.
                                                  (TANF),268 and Federal, State or local                  countless municipal and State services                   DHS proposes to consider specific
                                                  cash benefit programs for income                        which are provided to all residents,                  public benefit programs as part of the
                                                  maintenance (often called ‘‘General                     alien and citizen alike, without specific             public charge inadmissibility analysis.
                                                  Assistance’’ in the State context, but                  charge of the municipality or the State,              Consistent with the 1999 Interim Field
                                                  which may exist under other names);                     and which are paid out of the general                 Guidance, DHS is proposing to consider
                                                     Æ Benefits that can be monetized in                  tax fund’’ in assessing the relevance of              all federal, state, local, and tribal cash
                                                  accordance with proposed 8 CFR                          receipt of a government benefit or                    assistance for income maintenance as
                                                  212.24:                                                 service to public charge                              part of the public benefits definition.
                                                     • Supplemental Nutrition Assistance                  determinations.273 Specific public                    The receipt of these public benefits
                                                  Program (SNAP, or formerly called                       benefits considered relevant to public                indicates that the recipient, rather than
                                                  ‘‘Food Stamps’’), 7 U.S.C. 2011 to 2036c;               charge determinations have included                   being self-sufficient, needs the
                                                     • Public housing defined as Section 8                old age assistance, Supplemental                      government’s assistance to meet basic
                                                  Housing Choice Voucher Program; 269                     Security Income (SSI), and receipt of                 living requirements such as housing,
                                                     • Section 8 Project-Based Rental                     ‘‘public funds from the New York                      food, and medical care. Therefore, DHS
                                                  Assistance (including Moderate                          Department of Social Services.’’ 274                  believes that continuing to consider
                                                  Rehabilitation); 270 and                                   PRWORA, with certain exceptions,                   these benefits in the public charge
                                                     • Non-cash benefits that cannot be                   defined Federal public benefits as ‘‘any              inadmissibility consideration is
                                                  monetized:                                              grant, contract, loan, professional                   appropriate.277
                                                     Æ Benefits paid for by Medicaid, 42                  license, or commercial license provided                  DHS also proposes consideration of
                                                  U.S.C. 1396 et seq., except for                         by an agency of the United States or by               certain non-cash benefits, because
                                                  emergency medical conditions as                         appropriated funds of the United States;              receipt of such benefits is relevant to
                                                  prescribed in in section 1903(v) of Title               and . . . any retirement, welfare, health,            determining whether an alien is self-
                                                  XIX of the Social Security Act, 42 U.S.C.               disability, public or assisted housing,               sufficient. DHS recognizes that the
                                                  1396b(v), 42 CFR 440.255(c), and for                    postsecondary education, food                         universe of non-cash benefits is quite
                                                  services or benefits funded by Medicaid                 assistance, unemployment benefit, or                  large, and that some benefits are more
                                                  but provided under the Individuals with                 any other similar benefit for which                   commonly used, at greater taxpayer
                                                  Disabilities Education Act (IDEA); and                  payments or assistance are provided to                expense, than others. In addition,
                                                  benefits provided to foreign-born                       an individual, household, or family                   incorporating specific non-cash benefit
                                                  children of U.S. citizen parents;                       eligibility unit by an agency of the                  programs into the public charge
                                                     Æ Premium and Cost Sharing                           United States or by appropriated funds                inadmissibility determination entails
                                                  Subsidies for Medicare Part D; 271                      of the United States.’’ 275 DHS believes              certain indirect costs—for instance, as a
                                                  Benefits provided for                                   the definition of public benefits used in             result of a final rule, the benefits-
                                                  institutionalization for long-term care at              PRWORA is in some respects too broad                  granting agency may make changes to
                                                  government expense;                                     for public charge inadmissibility                     forms or to enrollment or disenrollment
                                                     Æ Subsidized Housing under the                       determinations. The principal reason                  procedures. In light of these
                                                  Housing Act of 1937, 42 U.S.C. 1437 et                  PRWORA’s definition does not work in                  considerations, and to provide
                                                  seq.                                                    the public charge inadmissibility                     consistency in adjudications and
                                                                                                          determination is that it includes grants,             appropriate certainty for aliens and
                                                  (a) Types of Public Benefits                                                                                  benefits-granting agencies, DHS
                                                                                                          contracts, and licensures that are
                                                     In formulating the proposed                          transactional in nature and may involve               proposes to incorporate consideration of
                                                  definition of public benefits, DHS                      the exchange of government resources                  a limited list of non-cash benefits in the
                                                  contemplated pertinent case law, the                    for value provided by the alien.276                   public charge inadmissibility
                                                  definition of public benefits in                        Because they are value-exchanged                      determination context. Specifically, as
                                                  PRWORA, and the treatment of certain                    benefits and do not evidence a lack of                indicated above, DHS would consider
                                                  public benefits under the current public                self-sufficiency, DHS does not believe                the following non-cash benefits:
                                                  charge policy. The cases examined draw                  that grants, contracts, and licensures are            Nonemergency Medicaid, Premium and
                                                  a distinction between the types of                      appropriate for consideration in public               Cost Sharing Subsidies for Medicare
                                                  public benefits that are appropriately                  charge inadmissibility determinations.                Part D; the Supplemental Nutrition
                                                  considered in public charge                                Certain cash aid and non-cash                      Assistance Program (SNAP); benefits
                                                  determinations, and the types that are                  benefits directed toward food, housing,               provided for institutionalization for
                                                  not. In Matter of Harutunian, an INS                    and healthcare, on the other hand, are
                                                  Regional Commissioner noted a                           directly relevant to public charge                       277 Not all cash assistance would qualify as cash

                                                  fundamental difference between                                                                                assistance for income maintenance under the
                                                                                                                                                                proposed rule. For instance, DHS would not
                                                  consideration of ‘‘individualized public                  272 See Matter of Harutunian, 14 I&N Dec. 583,
                                                                                                                                                                consider Stafford Act disaster assistance, including
                                                                                                          589 (Reg’l Comm’r 1974).
                                                                                                                                                                financial assistance provided to individuals and
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                                                                                                            273 See Matter of B —, 3 I&N Dec. 323, 324–25
                                                    266 Cash assistance would include any                                                                       households under Individual Assistance under the
                                                                                                          (BIA 1948).                                           Federal Emergency Management Agency’s
                                                  government assistance in the form of cash, checks         274 See Matter of Harutunian 14 I&N Dec. 583,
                                                  or other forms of money transfers, or instruments.                                                            Individuals and Households Program (42 U.S.C.
                                                    267 See 42 U.S.C. 1381–1383f
                                                                                                          590 (Reg’l Comm’r 1974) (considering old age          5174) as cash assistance for income maintenance.
                                                                                                          assistance for public charge excludability            The same would hold true for comparable disaster
                                                    268 See 42 U.S.C. 601–619.
                                                                                                          purposes); Matter of Vindman, 16 I&N Dec. 131, 132    assistance provided by State, local, or tribal
                                                    269 See 24 CFR part 984; 42 U.S.C. 1437f and
                                                                                                          (Reg’l Comm’r 1977) (receipt of public funds from     governments. Other categories of cash assistance
                                                  1437u.                                                  the New York Department of Social Services).          that are not intended to maintain a person at a
                                                    270 See 24 CFR parts 5, 402, 880–884 and 886.           275 See 8 U.S.C. 1611(c)(1) and (2).
                                                                                                                                                                minimum level of income would similarly not fall
                                                    271 See 42 U.S.C. 1395w–14.                             276 See 8 U.S.C. 1611(c).                           within the definition.



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                                                  long-term care at government expense;                    Rehabilitation), and Subsidized Public                 individuals and bear directly on self-
                                                  and housing programs, including                          Housing.                                               sufficiency. Table 10 illustrates the
                                                  Section 8 Housing Assistance under the                     Cash aid and non-cash benefits                       estimated average annual public
                                                  Housing Choice Voucher Program,                          directed toward food, housing, and                     benefits payments and average annual
                                                  Section 8 Project-Based Rental                           healthcare account for significant                     benefit for each assistance program
                                                  Assistance (including Moderate                           federal expenditure on low-income                      under consideration in this rule.




                                                    In addition to federal expenditure                     and Program Participation (SIPP), DHS                  analyzed by nativity and citizenship
                                                  impact, participation rates in these cash                analyzed data detailing the participation              status, the results also suggest
                                                  and non-cash benefits programs are                       rates for various cash and non-cash                    comparable levels of program
                                                  significant. In fact, participation rates in             federal public benefits programs.286 The               participation by native-born
                                                  some non-cash programs are far higher                    results suggest that receipt of non-cash               individuals, foreign-born individuals,
                                                  than participation rates in some cash                    public benefits is more prevalent than                 and noncitizens.288 DHS recognizes that
                                                  programs, regardless of a person’s                       receipt of cash benefits.287 When                      the SIPP Panel includes respondent-
                                                  immigration status or citizenship. Using                                                                        provided data on nativity, citizenship
                                                  the 2014 Panel of the Survey of Income                     286 The 2014 Panel represents the most recent full
                                                                                                                                                                  status, and initial immigration status,
                                                                                                           year of data, and may not represent current
                                                                                                           participation rates.
                                                                                                                                                                  but does not provide data on current
                                                     278 For a list of federal expenditures by program,
                                                                                                             287 The SIPP is a longitudinal survey providing      immigration classification.
                                                  see fiscal year 2016 data from table 2 of Gene Falk
                                                  et al., Cong. Research Serv., R45097, Federal            detailed information about public benefit receipt      Additionally, the categories represented
                                                  Spending on Benefits and Services for People with        and the economic status of the U.S. civilian non-      in the SIPP immigration status item do
                                                                                                           institutionalized population residing in households
                                                  Low Income: In Brief (2018), available at https://
                                                                                                           or group quarters. See U.S. Census Bureau, Survey
                                                                                                                                                                  not align precisely with the populations
                                                  fas.org/sgp/crs/misc/R45097.pdf.                                                                                covered by this rule—for instance, the
                                                     279 See Table 50: Estimated Average Annual            of Income and Program Participation: 2014 Panel
                                                  Benefit per Person, by Public Benefit Program,           Users’ Guide (2016), available at https://             results include refugees, asylees, and
                                                  unless otherwise noted.                                  www.census.gov/content/dam/Census/programs-            other populations that may access
                                                                                                           surveys/sipp//-SIPP-Panel-Users-Guide.pdf. In this
                                                     280 Ibid.
                                                                                                           proposed rule, estimates of income, poverty, and
                                                                                                                                                                  public benefits but are not subject to the
                                                     281 Note that per enrollee Medicaid costs will vary
                                                                                                           program participation by immigration status are        public charge ground of inadmissibility.
                                                  by eligibility group and State.
                                                     282 Note that ‘‘Federal Rental Assistance’’
                                                                                                           produced from the September 27, 2017 re-release of     The SIPP data and DHS’s analysis of
                                                                                                           Wave 1 of the SIPP. See U.S. Census Bureau,            this data do not examine whether the
                                                  includes HUD Section 8 Project-based Rental              Release Notes: 2014 SIPP Wave 1, available at
                                                  Assistance, HUD Section 8 Housing Choice                 https://www2.census.gov/programs-surveys/sipp/         receipt of public benefits was
                                                  Vouchers, HUD Public Housing, HUD Section 202/           tech-documentation/2014/2014-wave1-                    authorized, and DHS did not examine
                                                  811, and USDA Section 521.
                                                     283 Note that spending on LIS beneficiaries varies
                                                                                                           releasenotes.pdf. The 2014 Panel may be used for       program payment rate error information
                                                                                                           estimates representative of any month in calendar
                                                  by individual.                                           year 2013. In the tables presenting SIPP data
                                                     284 See U.S. Dep’t of Health and Human Servs.
                                                                                                           throughout this preamble, annual averages are          (Apr. 7, 2017), available at https://
                                                  (HHS), Centers for Medicare & Medicaid (CMS),            presented, which are averages across the 12            www2.census.gov/programs-surveys/sipp/tech-
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                                                  Expenditure Reports from MBES/CBES. Available at         monthly estimates for the calendar year. Estimates     documentation/source-accuracy-statements/2014/
                                                  https://www.medicaid.gov/medicaid/finance/state-         represent persons residing in the household at the     sipp-2014-source-and-accuracy-statement.pdf
                                                  expenditure-reporting/expenditure-reports/               time of the interview, and exclude those who lived     [hereinafter Source and Accuracy Statement].
                                                  index.html. (Accessed Aug. 2, 2018).                     in the household during the month but not at the         288 For this study, the foreign-born include those
                                                     285 The estimated CHIP enrollment is 6,464,117,       time of interview (referred to as ‘‘Type 2’’ people    who were not born in the U.S. and were either
                                                  which is shown in the Medicaid & CHIP Enrollment         in SIPP documentation). See id.; see also              noncitizens or became citizens through
                                                  Data Highlights, available at https://                   Memorandum from James B. Treat, Chief,                 naturalization, military service, or adoption.
                                                  www.medicaid.gov/medicaid/program-information/           Demographic Statistical Methods Div., to Jason         Noncitizens are identified by self-responses to the
                                                  medicaid-and-chip-enrollment-data/report-                Fields, Survey Director, Source and Accuracy           question of whether they are citizens of the United
                                                                                                                                                                                                                         EP10OC18.026</GPH>




                                                  highlights/index.html (last visited Aug. 23, 2018).      Statement for Wave 1 Public Use Files (S&A–20)         States.



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                                                  for this purpose. Notwithstanding these                                                                            Table 11 also shows Medicaid
                                                                                                           themselves are estimates, and were calculated using
                                                  limitations, DHS believes the SIPP data                  design effects described in the Source and Accuracy     participation rates were 16.1 percent
                                                  on noncitizen participation is                           Statement. Participation in Supplemental Nutrition      (43,301,000) among native-born
                                                  instructive with respect to the receipt of               Assistance Program (SNAP), Temporary Assistance         individuals and 15.1 percent (6,272,000)
                                                  non-cash benefits by the noncitizen                      for Needy Families (TANF), and General Assistance       among foreign-born persons, while rates
                                                                                                           (GA) for a given month is identified by the monthly
                                                  population on the whole. DHS                             coverage variables for those benefits. These
                                                                                                                                                                   among noncitizens were 15.5 percent
                                                  welcomes comments on its use of this                     variables identify household members who were           (3,130,000). Participation rates in SNAP
                                                  data, and whether alternative reliable                   eligible for the benefit and were reported as being     among native-born, foreign-born, and
                                                  data sources are available.                              covered in the given month. Supplemental Security       noncitizen populations are 11.6 percent
                                                     Table 11 shows public benefit                         Income (SSI) and Medicaid receipt are defined by        (31,308,000), 8.7 percent (3,605,000),
                                                                                                           the coverage spell; if a given month is contained in
                                                  participation, by nativity and                           the range of months of coverage, then the individual
                                                                                                                                                                   and 9.1 percent (1,828,000),
                                                  citizenship status, in 2013. The total                   is identified as a recipient of the benefit for that    respectively. The rate of receipt of cash
                                                  population studied was 310,867,000.                      month. The rent subsidy benefit for a given month       benefits was 3.5 percent among the
                                                  The data shows that the rate of receipt                  indicates the respondent reported that their rent       native-born and foreign-born, and about
                                                                                                           was lower because of a federal, state, or local
                                                  for either cash or non-cash public                       government housing program, and the housing
                                                                                                                                                                   2 percent among noncitizens. Although
                                                  benefits was approximately 20 percent                    voucher benefit furthermore indicates that the          these results do not precisely align with
                                                  among the native-born and foreign-born,                  renter was able to choose where to live. Finally, the   the categories of aliens subject to this
                                                  including noncitizens. The rate of                       2014 Panel of SIPP does not distinguish between         rule, they support the general
                                                  receipt of cash benefits was only 2 to 4                 Medicaid, CHIP, and other types of comprehensive        proposition that non-cash public
                                                                                                           medical assistance for low-income people. For a
                                                  percent for these populations, with                      number of reasons, DHS anticipates that CHIP            benefits play a significant role in the
                                                  receipt of non-cash benefits dominating                  enrollees represent a relatively small portion of the   Nation’s social safety net, including
                                                  the overall rate.289                                     ‘‘Medicaid/CHIP’’ population. Typically, only           with respect to noncitizens generally.
                                                                                                           persons below age 20 are eligible for CHIP, which
                                                     289 In the discussion of SIPP data in this proposed   reduces its impact on the overall estimates of
                                                                                                                                                                   Proctor, U.S. Census Bureau, Current Population
                                                                                                           Medicaid/CHIP. Furthermore, using data from the
                                                  rule, the estimates provided are based on a sample,                                                              Reports: Income and Poverty in the United States:
                                                                                                           2008 Panel of SIPP (Wave 13, reference month 1,
                                                  which may not be identical to the totals and rates                                                               2013 (Sept. 2014), available at https://
                                                  if all households and group quarters in the              representing September through December, 2012), it      www2.census.gov/library/publications/2014/
                                                  population were interviewed. The standard errors         was found that 0.7 percent of noncitizen                demographics/p60-249.pdf; Kayla Fontenot et al.,
                                                  provided in the tables give an indication of the         respondents reported receiving CHIP, and 23% of         U.S. Census Bureau, Monthly and Average Monthly
                                                  accuracy of the estimates. Any estimate for which        noncitizen Medicaid/CHIP recipients below age 20        Poverty Rates by Selected Demographic
                                                  the estimate divided by its standard error (the          overall reported receiving CHIP. For general            Characteristics: 2013 (Mar. 2017), available at
                                                  relative standard error) is greater than 30 percent is   reference, see the following publications, in           https://www.census.gov/content/dam/Census/
                                                  considered unreliable. The standard errors               addition to the cited sources in the preceding          library/publications/2017/demo/p70br-145.pdf.
                                                                                                           footnotes: Carmen DeNavas-Walt & Bernadette D.
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                                                    Table 12 reflects that noncitizens                    residents at admission to the U.S., as                about 1 percent of noncitizens who were
                                                  showed comparable rates of program                      well as noncitizens who were not lawful               lawful permanent residents at
                                                  participation regardless of whether their               permanent residents at admission,                     admission, as well as those who were
                                                  status at admission to the U.S. was as a                received non-cash benefits, and                       not, received SSI while less than 1
                                                  lawful permanent resident or not. For                   approximately 2 percent of these                      percent received either TANF or
                                                  example, approximately 20 percent of                    populations receive cash benefits.                    General Assistance.
                                                  noncitizens who were lawful permanent                   Among the cash benefits considered,
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                                                    In sum, the data from Tables 11 and                   DHS recognizes the challenges of                      threshold is not exclusively prospective
                                                  12 show that for native-born and                        quantifying or qualifying reliance or                 and is instead based on whether an
                                                  foreign-born populations alike, non-cash                dependence on public benefits. Indeed,                alien has received since obtaining the
                                                  public benefits play a significant role in              in the course of evaluating welfare                   nonimmigrant status that the alien seeks
                                                  many peoples’ lives. DHS does not                       dependence or dependence on public                    to end or from which the alien seeks to
                                                  believe it is appropriate to ignore the                 benefits, HHS acknowledges that                       change, is receiving, or is likely at any
                                                  receipt of non-cash benefits in its public              ‘‘welfare dependence, like poverty, is a              time to receive benefits above the
                                                  charge inadmissibility analysis. Further,               continuum, with variations in degree                  proposed threshold(s).
                                                  we note that certain non-cash benefits,                 and in duration.’’ 291 As discussed
                                                  just like cash benefits, provide                        below, DHS believes that its proposed                 i. ‘‘Primarily Dependent’’ Standard and
                                                  assistance to those who are not self-                   monetizable, non-monetizable, and                     Its Limitations
                                                  sufficient. DHS, therefore, proposes to                 combined standards appropriately                         The proposed 15 percent of FPG
                                                  consider cash benefits and non-cash                     capture sufficient levels of dependence               threshold would represent a change
                                                  public benefits. DHS believes that                      on public benefits in degree and                      from the standard set forth in the 1999
                                                  consideration of cash and non-cash                      duration to sustain a finding of public               INS proposed rule and Interim Field
                                                  benefit receipt represents an                           charge or likelihood of becoming a                    Guidance, which generally define a
                                                  appropriately comprehensive and also                    public charge. In arriving at these                   public charge as a person who is
                                                  readily administrable application of the                thresholds, DHS considered the current                ‘‘primarily dependent’’ on public
                                                  public charge ground of inadmissibility.                policy’s ‘‘primarily dependent’’                      benefits, i.e., a person for whom public
                                                                                                          standard, other agencies’ definitions of              benefits represent more than half of
                                                  (b) Consideration of Monetizable and
                                                                                                          dependence, and the Federal Poverty                   their income and support. INS stated
                                                  Non-Monetizable Public Benefits
                                                                                                          Guidelines. DHS notes, as discussed                   that the primary dependence model of
                                                     While an alien’s receipt of one or                   elsewhere in the rule, that for                       public assistance provided context to
                                                  more of these benefits alone would not                  admissibility and adjustment of status                the development of public charge
                                                  establish that he or she is likely at any               purposes, the receipt of such benefits                exclusion in immigration in the late
                                                  time in the future to become a public                   would be determined on a prospective                  19th century, because individuals who
                                                  charge, as explained above, case law                    basis, i.e., likely at any time to receive            became dependent on the Government
                                                  strongly suggests that an alien’s self-                 benefits above the proposed                           were institutionalized in asylums or
                                                  sufficiency, i.e., the alien’s ability to               threshold(s). For extension of stay and               placed in ‘‘almshouses’’ for the poor. At
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                                                  meet his or her needs without                           change of status applicants, the                      the time, the wide array of limited-
                                                  depending on public resources, plays a                  determination regarding the receipt of                purpose public benefits now available
                                                  critical role in the outcome of a public                such benefits above the proposed                      did not yet exist. After consulting with
                                                  charge inadmissibility determination.290                                                                      SSA, HHS, and USDA, INS suggested
                                                                                                            291 See U.S. Dep’t of Health & Human Servs.,
                                                    290 See,
                                                                                                                                                                that the best evidence of primary
                                                            e.g., Matter of Vindman, 16 I&N Dec. 131      Welfare Indicators and Risk Factors, at I–2 (2015),
                                                  (Reg’l Comm’r 1977); Matter of Perez, 15 I&N Dec.       available at https://aspe.hhs.gov/report/welfare-
                                                                                                                                                                dependence on the government was the
                                                  137 (BIA 1974); Matter of Harutunian 14 I&N Dec.        indicators-and-risk-factors-fourteenth-report-        receipt of cash assistance for income
                                                                                                                                                                                                            EP10OC18.028</GPH>




                                                  583 (Reg’l Comm’r 1974).                                congress.                                             maintenance or institutionalization for


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                                                  long-term care at government expense.                   would in many cases be sufficient to                  December). For example, this 15 percent
                                                  INS further argued that non-cash public                 render a person a public charge. This is              of FPG threshold would exclude up to
                                                  benefits generally provide only                         because a person with limited means to                $1,821 worth of monetizable public
                                                  ‘‘supplementary’’ support in the form of                satisfy basic living needs who uses                   benefits for a household of one if the
                                                  vouchers or direct services to support                  government assistance to fulfill such                 monetizable public benefits are received
                                                  nutrition, health, and living condition                 needs frequently will be dependent on                 from January 2018 through December
                                                  needs.                                                  such assistance to such an extent that                2018.295 On the other hand, the
                                                     The current policy’s definition is                   the person is not self-sufficient.                    threshold requires a slightly more
                                                  consistent, in some respects, with how                     In addition, as noted above, DHS                   complex calculation when evaluating 12
                                                  other agencies have defined dependence                  considers the current policy’s focus on               consecutive months spanning two
                                                  in certain contexts. For example, in                    cash benefits to be insufficiently                    calendar years. To illustrate, an alien
                                                  certain congressional reports, HHS has                  protective of the public budget,                      receives monetizable public benefits
                                                  defined welfare dependence as ‘‘the                     particularly in light of significant public           between April 2017 and March 2018.
                                                  proportion of individuals who receive                   expenditures on non-cash benefits.                    DHS would compare the amount
                                                  more than half of their total family                    Therefore, the DHS proposal takes into                received for the 12 consecutive month
                                                  income in one year from the Temporary                   account a finite list of non-cash benefits,           period against 15 percent of FPG
                                                  Assistance for Needy Families (TANF)                    including some that can be monetized                  applicable to each month in question.
                                                  program, the Supplemental Nutrition                     and some that cannot. DHS proposes to                 Fifteen percent of FPG is $150.75 per
                                                  Assistance Program (SNAP) and/or the                    apply the aforementioned 15 percent                   month for April through December 2017
                                                  Supplemental Security Income (SSI)                      threshold for the cumulative value of                 and $151.75 per month for January
                                                  program.’’ 292 The IRS has also defined                 benefits only to the former, and to apply             through March 2018 based on the
                                                  a qualifying dependent child as one                     a standard tied to the duration of receipt            respective poverty guidelines in effect
                                                  who cannot have provided more than                      of public benefits to the latter, as                  for calendar years 2017 and 2018, which
                                                  half of his or her own support for the                  discussed in more detail below.                       would equal $1,812 for this 12 month
                                                  year and a qualifying dependent relative                   In sum, DHS does not believe that the              consecutive period. In evaluating likely
                                                  as generally someone who depends on                     plain text of section 212(a)(4) of the Act,           receipt of future monetizable public
                                                  another for more than half of his or her                8 U.S.C. 1182(a)(4), requires an alien to             benefits, DHS would use the FPG in
                                                  total support during the calendar                       be ‘‘primarily’’ (50 percent or more)                 effect on the date of adjudication.
                                                  year.293 Within the context of preparing                dependent on the government or rely on
                                                                                                          only cash assistance to be considered a                  In formulating this 15 percent of FPG
                                                  reports to Congress on welfare                                                                                threshold, DHS proposes to use FPG as
                                                  dependence or constructing certain tax                  public charge. Nor does DHS believe
                                                                                                          that such limitations are mandated by                 the baseline for the percentage of
                                                  rules, a ‘‘primary dependence’’                                                                               monetizable public benefits receipt
                                                  approach may be appropriate. As HHS                     the principles of PRWORA or the
                                                                                                          century-plus of case law regarding the                being considered in the totality of the
                                                  has noted, ‘‘using a single point—in this                                                                     circumstances because the poverty
                                                  case 50 percent—yields a relatively                     public charge ground of inadmissibility.
                                                                                                          As discussed above, the term public                   guidelines are authoritative and
                                                  straightforward measure that can be                                                                           transparent. The poverty guidelines are
                                                  tracked easily over time, and is likely to              charge is ambiguous as to how much
                                                                                                          government assistance an individual                   a simplified version of the Census
                                                  be associated with any large changes in                                                                       Bureau’s poverty thresholds, which
                                                  total dependence.’’ 294                                 must receive or the type of assistance an
                                                                                                          individual must receive to be                         Census uses to prepare its estimates of
                                                     DHS agrees with HHS that although a                                                                        the number of individuals and families
                                                  50 percent threshold creates a bright                   considered a public charge. The statute
                                                                                                          and case law do not prescribe the degree              in poverty.296 HHS updates and adjusts
                                                  line that may be useful for certain
                                                                                                          to which an alien must be receiving                   the FPG annually based on the
                                                  purposes, it is possible and likely
                                                                                                          public benefits to be considered a public             Consumer Price Index for All Urban
                                                  probable that individuals below such
                                                                                                          charge. Given that neither the statute                Consumers (CPI–U).297 As HHS notes, a
                                                  threshold will lack self-sufficiency and
                                                                                                          nor the case law prescribe the degree to              number of federal programs use the
                                                  be dependent on the public for support.
                                                                                                          which an alien must be dependent on                   poverty guidelines as an eligibility
                                                  Because of the nature of the public
                                                                                                          public benefits to be considered a public             criterion.298 ‘‘Some federal programs
                                                  benefits that would be considered under
                                                                                                          charge, DHS has determined that it is                 use a percentage multiple of the
                                                  this rule—which are generally means-
                                                                                                          permissible and reasonable to propose a               guidelines (for example, 125 percent or
                                                  tested and provide cash for income
                                                                                                          different approach.                                   185 percent of the guidelines)’’ to
                                                  maintenance and for basic living needs
                                                                                                                                                                determine public benefit eligibility.299
                                                  such as food, medical care, and                         ii. Fifteen Percent of Federal Poverty                In the immigration context, DHS uses
                                                  housing—DHS believes that receipt of                    Guidelines (FPG) Standard for                         the FPG as a standard for purposes of
                                                  such benefits even in a relatively small                Monetizable Benefits                                  the affidavit of support requirement
                                                  amount or for a relatively short duration                  DHS proposes to consider receipt of                under section 213A of the Act, 8 U.S.C.
                                                     292 The Welfare Indicators Act of 1994 requires
                                                                                                          monetizable public benefits as listed in
                                                  HHS to submit annual welfare dependence
                                                                                                          8 CFR 212.21(b)(1), where the                           295 The calculation is an FPG of $12,140 for a

                                                  indicators reports to Congress. See U.S. Dep’t of       cumulative value of one or more of the                household of one, multiplied by 0.15. See U.S.
                                                  Health & Human Servs., Welfare Indicators and           listed benefits exceeds 15 percent of the             Dep’t of Health & Human Servs., HHS Poverty
                                                  Risk Factors 1 (2018), available at https://                                                                  Guidelines for 2018, available at https://
                                                                                                          Federal Poverty Guidelines (FPG) for a
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                                                  aspe.hhs.gov/pdf-report/welfare-indicators-and-                                                               aspe.hhs.gov/poverty-guidelines (last visited Feb.
                                                  risk-factors-seventeenth-report-congress.
                                                                                                          household of one within any period of                 11, 2018).
                                                     293 See IRS Publication 501 (Jan. 2, 2018),          12 consecutive months, based on the                     296 See Annual Update of the HHS Poverty

                                                  available at https://www.irs.gov/pub/irs-pdf/           per-month average FPG for the months                  Guidelines, 83 FR 2642 (Jan. 18, 2018).
                                                                                                                                                                  297 See Annual Update of the HHS Poverty
                                                  p501.pdf.                                               during which the benefits are received.
                                                     294 See U.S. Dep’t of Health & Human Servs.,                                                               Guidelines, 83 FR 2642 (Jan. 18, 2018).
                                                                                                          This proposed threshold is most                         298 See Annual Update of the HHS Poverty
                                                  Welfare Indicators and Risk Factors, at I–2 (2015),
                                                  available at https://aspe.hhs.gov/report/welfare-
                                                                                                          straightforward to calculate within the               Guidelines, 83 FR 2642 (Jan. 18, 2018).
                                                  indicators-and-risk-factors-fourteenth-report-          context of a 12-month period that spans                 299 See Annual Update of the HHS Poverty

                                                  congress.                                               a single calendar year (January through               Guidelines, 83 FR 2642 (Jan. 18, 2018).



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                                                  1183a.300 DOS also uses FPG to evaluate                 light of the stated goals of the rule. For            institutionalization at government’s
                                                  immigrant visa applicants who are not                   instance, DHS welcomes the submission                 expense.304 Additionally, in the context
                                                  subject to the requirements of 213A of                  of views and data regarding whether the               of both state welfare reform efforts and
                                                  the Act, 8 U.S.C. 1183a, and who are                    proposed standard is appropriate, too                 the 1990s Federal welfare reform,
                                                  relying solely on personal income to                    low, or too high for assessing reliance               Federal government and state
                                                  establish eligibility under section                     on public benefits (and why), and                     governments imposed various limits on
                                                  212(a)(4) of the Act, 8 U.S.C. 1183a.301                whether there is a more appropriate                   the duration of benefit receipt as an
                                                  The poverty guidelines thus provides a                  basis for a monetizable threshold, other              effort to foster self-sufficiency among
                                                  proven, useful, and easily administrable                than value as a percentage of the FPG or              recipients and prevent long-term or
                                                  measure of the level of income and                      duration of receipt, that indicates                   indefinite dependence. States have
                                                  resources below which a person                          whether an alien is a public charge.                  developed widely varying approaches to
                                                  becomes increasingly likely to need                        DHS also seeks public comments on                  time limits. Currently, 40 states have
                                                  public benefits to satisfy basic living                 whether DHS should consider the                       time limits that can result in the
                                                  (and other) needs.                                      receipt of designated monetizable public              termination of families’ welfare benefits;
                                                     DHS believes that the 15 percent                     benefits at or below the 15 percent                   17 of those states have limits of fewer
                                                  threshold is a reasonable approach. The                 threshold as evidence in the totality of              than 60 months.305 Similarly, on the
                                                  threshold would not lead to unintended                  the circumstances. For instance, DHS                  Federal level, PRWORA established a
                                                  consequences, as could be the case if                   could revise the rule to allow                        60-month time limit on the receipt of
                                                  there was no threshold or the threshold                 adjudicators to assign some weight to                 TANF.306
                                                  was much smaller. Indeed, DHS                           past or current receipt of designated                    As with the proposed 15 percent of
                                                  recognizes that individuals may receive                 monetized public benefits in an amount                FPG standard, DHS believes that an
                                                  public benefits for in relatively small                 equal to 10 percent of FPG, and less                  individual who receives monetizable
                                                  amounts to supplement their ability to                  weight to past or current receipt of such             public benefits for more than 12
                                                  meet their needs and the needs of their                 benefits in an amount equal to 5 percent              cumulative months during a 36-month
                                                  household without seriously calling into                of FPG. The ultimate inquiry would                    period is neither self-sufficient nor on
                                                  question their self-sufficiency.                        remain whether the alien is likely in the             the road to achieving self-sufficiency.
                                                     At the same time, DHS believes that                  totality of the circumstances to become               Receipt of public benefits for such a
                                                  an individual who receives monetizable                  a public charge, i.e., to receive the                 duration exceeds what could reasonably
                                                  public benefits in excess of 15 percent                 designated public benefits above the                  be defined as a nominal level of support
                                                  of FPG is neither self-sufficient nor on                applicable threshold(s), either in terms              that merely supplements an alien’s
                                                  the road to achieving self-sufficiency.                 of dollar value or duration of receipt.               independent ability to meet his or basic
                                                  Receipt of monetizable public benefits                  iii. Twelve Month Standard for Non-                   living needs. In DHS’s view, individuals
                                                  above the 15 percent threshold exceeds                  Monetizable Benefits                                  who receive the non-monetizable public
                                                  what could reasonably be defined as a                                                                         benefits covered by this rule for more
                                                  nominal level of support that merely                       In addition to proposing a 15 percent              than 12 months are unable to meet their
                                                  supplements an alien’s independent                      threshold for assessing the alien’s                   basic needs without government help;
                                                  ability to meet his or her basic living                 likelihood to remain or become self-                  they therefore are not self-sufficient and
                                                  needs; individuals who receive the                      sufficient in the context of receipt of               so would be considered public charges
                                                  designated benefits in such an amount                   monetizable public benefits (e.g., cash               under this rule.
                                                                                                          assistance and SNAP), DHS is proposing                   By way of illustration, under the
                                                  are not self-sufficient and so would be
                                                                                                          to consider the receipt of certain non-               proposed policy, an alien’s receipt of
                                                  considered public charges under this
                                                                                                          monetizable public benefits (e.g.,                    Medicaid for 9 months and receipt of
                                                  rule.
                                                     DHS believes the proposed 15 percent                 Medicaid) if received for more than 12                public housing for 6 months, if both
                                                  threshold is consistent with DHS’s                      cumulative months during a 36-month                   occurred within the same 36-month
                                                  interpretation of the term public charge                period. As indicated above, DHS                       period, would amount to 15 months of
                                                  and would achieve the policy aims of                    believes that it is appropriate to expand             receipt of non-monetizable benefits,
                                                  this proposed rulemaking. The proposed                  the list of previously included public                regardless of whether these periods of
                                                                                                          benefits (under the 1999 INS Interim                  time overlapped, were consecutive, or
                                                  threshold is consistent with the self-
                                                                                                          Field Guidance) to include certain non-               occurred at different points in time
                                                  sufficiency policy objective set forth in
                                                                                                          cash benefits based on the Federal                    during the 36-month period. As such,
                                                  PRWORA that aliens should be able to
                                                                                                          government’s expenditures and non-                    the receipt of those benefits would be
                                                  financially support themselves with
                                                                                                          citizen participation rates in those                  considered for purposes of this rule.
                                                  their own resources or by relying on the
                                                                                                          programs. However, following
                                                  aid of family members, without
                                                                                                          consultation with interagency partners                   304 In assessing the probative value of past receipt
                                                  depending on government’s
                                                                                                          such as HHS and HUD, DHS lacks an                     of public benefits, ‘‘the length of time . . . is a
                                                  assistance.302 Though not defined in
                                                                                                          easily administrable standard for                     significant factor.’’ 64 FR 28689, 28690 (May 26,
                                                  PRWORA, self-sufficiency, as used in                                                                          1999) (internal quotation marks and citation
                                                                                                          assessing the monetary value of an
                                                  PRWORA, is tied to an alien’s ability to                                                                      omitted).
                                                                                                          alien’s receipt of some non-cash
                                                  support him or herself without                                                                                   305 See, e.g., MDRC, formerly Manpower
                                                                                                          benefits. DHS believes that, like the 15              Demonstration Research Corporation, Welfare Time
                                                  depending on public benefits.303 DHS
                                                                                                          percent of FPG threshold described                    Limits State Policies, Implementation, and Effects
                                                  seeks public comments on whether the                                                                          on Families. https://www.mdrc.org/sites/default/
                                                                                                          above, the duration of the alien’s receipt
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                                                  proposed 15 percent threshold                                                                                 files/full_607.pdf (last visited Sep. 12, 2018).
                                                                                                          of these benefits over a period of time
                                                  applicable to monetizable public                                                                                 306 See Temporary Assistance for Needy Families
                                                                                                          is also reasonable proxy for assessing an             Program (TANF), Final Rule; 64 FR 17720, 17723
                                                  benefits is an appropriate threshold in
                                                                                                          alien’s reliance on public benefits.                  (Apr. 12, 1999) (‘‘The [Welfare to Work (WtW)]
                                                    300 See INA section 213A(f)(1)(E), 8 U.S.C.
                                                                                                             The duration of receipt is a relevant              provisions in this rule include the amendments to
                                                                                                          factor under the existing guidance with               the TANF provisions at sections 5001(d) and
                                                  1183a(f)(1)(E).                                                                                               5001(g)(1) of Pub. L. 105–33. Section 5001(d) allows
                                                    301 See 22 CFR 40.41(f).                              respect to covered benefits and is                    a State to provide WtW assistance to a family that
                                                    302 See 8 U.S.C. 1601(a)(2).                          specifically accounted for in the                     has received 60 months of federally funded TANF
                                                    303 See 8 U.S.C. 1601(a)(2).                          guidance’s inclusion of long-term                     assistance . . .’’).



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                                                     DHS seeks public comments on this                    does not reach the 15 percent threshold               Social Security retirement benefits,
                                                  proposed approach, including any                        and his or her receipt of non-                        which are financed through payroll
                                                  alternatives for assessing self-sufficiency             monetizable benefits does not surpass                 taxes, SSI is financed by general
                                                  based on the receipt of non-monetizable                 the 12-month duration threshold. Under                revenues.308 According to one analysis,
                                                  benefits. DHS seeks public comments on                  this proposal, if an alien receives a                 SSI expenditures totaled approximately
                                                  whether the proposed 12-month                           combination of monetizable benefits                   $54.7 billion in fiscal year 2017, and
                                                  threshold applicable to non-monetizable                 equal to or below the 15 percent                      represented one of the largest Federal
                                                  public benefits is an appropriate                       threshold together with one or more                   expenditures for low-income people.309
                                                  threshold in light of the stated goals of               benefits that cannot be monetized, the                ii. Temporary Assistance for Needy
                                                  the rule. For instance, DHS welcomes                    threshold for duration of receipt of the              Families (TANF) 310
                                                  the submission of views and data                        non-monetizable benefits would be 9
                                                  regarding whether the proposed                          months in the aggregate (rather than 12                  TANF, which is a monetizable public
                                                  standard is appropriate, too low, or too                months) within a 36-month period (e.g,                benefit, provides monthly income
                                                  high for assessing reliance on public                   receipt of two different non-monetizable              assistance payments to low-income
                                                  benefits (and why), and whether there is                benefits in one month counts as two                   families and is intended to foster self-
                                                  a more appropriate basis for a non-                     months, as would receipt of one non-                  sufficiency, economic security, and
                                                  monetizable threshold, other than                       monetizable benefit for one month in                  stability for families with children.311
                                                  duration of receipt, that indicates                     January 2018 and another such benefit                 According to one analysis, TANF cash
                                                  whether an alien is a public charge.                    for one month in June 2018).                          assistance expenditures totaled
                                                     DHS also seeks public comments on                       DHS believes that reducing the                     approximately $4.4 billion in fiscal year
                                                  whether DHS should consider the                         12-month timeframe by 3 months to                     2016, and represented one of the largest
                                                  receipt of one or more designated non-                  account for use of monetizable benefits               Federal expenditures out of all Federal
                                                  monetizable public benefits for any                     is a reasonable and easily administrable              programs for low-income people.312
                                                  period less of than 12 months in the                    guideline for determining whether an                  iii. General Assistance Cash Benefits
                                                  aggregate as part of the public charge                  individual who receives both
                                                  inadmissibility determination. For                      monetizable and non-monetizable                          Federal, State, local, and tribal cash
                                                  instance, similar to the potential                      public benefits is self-sufficient or on              benefit programs for income
                                                  alternative described in the call for                   the road to achieving self-sufficiency. In            maintenance (often called ‘‘General
                                                  comment in the preceding section, DHS                   line with the other thresholds described              Assistance’’ in the State context, but
                                                  could revise the rule to allow                          above, receipt of a designated non-                   sometimes given other names), is a term
                                                  adjudicators to assign some weight to                   monetizable public benefits for three-                used to describe ‘‘aid provided by State
                                                  past or current receipt of 2 designated                 quarters of a year, compounded by                     and local governments to needy
                                                  non-monetized benefits for a total of 8                 receipt of a designated monetizable                   individuals or families who do not
                                                  months, and less weight to past or                      public benefit, exceeds what could                    qualify for major assistance programs
                                                  current receipt of such benefits for a                  reasonably be defined as a nominal level              and to those whose benefits from other
                                                  total of 4 months. The ultimate inquiry                 of support that merely supplements an
                                                  would remain whether the alien is                       alien’s independent ability to meet his
                                                                                                                                                                Income (SSI) Overview—2018 Edition, available at
                                                  likely in the totality of the                                                                                 https://www.ssa.gov/ssi/text-over-ussi.htm (last
                                                                                                          or basic living needs. In DHS’s view,                 visited July 27, 2018).
                                                  circumstances to become a public                        individuals who receive public benefits                  308 See U.S. Soc. Sec. Admin., Office of Research,
                                                  charge, i.e., to receive the designated                                                                       Statistics, & Policy Analysis, Annual Report of the
                                                                                                          in these combinations are unable to
                                                  public benefits above the applicable                                                                          Supplemental Security Income Program 46
                                                                                                          meet their basic needs without
                                                  threshold(s), either in terms of dollar                                                                       tbl.IV.B9, 47 tbl.IV.C1 (2017), available at https://
                                                                                                          government help, consequently are not                 www.ssa.gov/oact/ssir/SSI17/ssi2017.pdf (last
                                                  value or duration of receipt.
                                                     DHS is also considering whether there                self-sufficient, and therefore would be               visited July 31, 2018); see also U.S. Soc. Sec.
                                                                                                          considered public charges under this                  Admin., Office of Research, Statistics, & Policy
                                                  are other potential approaches to                                                                             Analysis, SSI Monthly Statistics, January 2018,
                                                  monetizing these benefits, and seeks                    rule.                                                 available at https://www.ssa.gov/policy/docs/
                                                  comments on any such alternatives. In                      DHS seeks public comments on this                  statcomps/ssi_monthly/2018-01/table01.html (last
                                                  addition, DHS seeks comments on the                     approach, including any alternatives for              visited July 31, 2018).

                                                  proposed timeframes, including, if                      addressing receipt of a combination of                   309 See Gene Falk et al., Cong. Research Serv.,

                                                                                                          public benefits, some of which can be                 R45097, Federal Spending on Benefits and Services
                                                  applicable, any studies or data that                                                                          for People with Low Income: In Brief (2018),
                                                  would provide a basis for an alternative                monetized and others which cannot to                  available at https://fas.org/sgp/crs/misc/
                                                  duration.                                               ensure a consistent methodology for                   R45097.pdf.
                                                                                                          treating recipients of these two types of                310 See 42 U.S.C. 601.

                                                  iv. Combination of Monetizable Benefits                 benefits.                                                311 See U.S. Dep’t of Health & Human Servs.,

                                                  Under 15 Percent of FPG and One or                                                                            Admin. for Children & Families, Office of Family
                                                  More Non-Monetizable Benefits                           (c) Monetizable Public Benefits                       Assistance, About TANF, available at https://
                                                                                                                                                                www.acf.hhs.gov/ofa/programs/tanf/about (last
                                                     DHS is proposing a separate approach                 i. Supplemental Security Income (SSI)                 visited February 23, 2018); U.S. Dep’t of Health and
                                                  when an alien receives a combination of                                                                       Human Servs., Admin. for Children and Families,
                                                                                                            SSI, which is monetizable public                    Office of Family Assistance, TANF 12th Report to
                                                  monetizable benefits in an amount that                  benefit, provides monthly income                      Congress.
                                                  is equal to or less than the proposed 15                payments intended to help ensure that                    312 See Gene Falk et al., Cong. Research Serv.,

                                                  percent threshold while also receiving                  a disabled, blind, or aged person with                R45097, Federal Spending on Benefits and Services
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                                                  one or more non-monetizable public                      limited income and resources has a                    for People with Low Income: In Brief (2018),
                                                                                                                                                                available at https://fas.org/sgp/crs/misc/
                                                  benefits. This approach is intended to                  minimum level of income.307 Unlike                    R45097.pdf; U.S. Dep’t of Health & Human Servs.,
                                                  address circumstances where an alien’s                                                                        Office of Family Assistance. TANF Financial
                                                  self-sufficiency is in question by virtue                 307 See U.S. Soc. Sec. Admin., Social Security      Data—FY 2016, available at https://
                                                  of a combination of receipt of both                     Handbook, Ch. 21, section 2102.1, available at        www.acf.hhs.gov/ofa/resource/tanf-financial-data-
                                                                                                          https://www.ssa.gov/OP_Home%2Fhandbook/               fy-2016 (last visited June 11, 2018). Note that the
                                                  monetizable and non-monetizable                         handbook.21/handbook-2102.html (last updated          latter link shows fiscal year 2016 TANF financial
                                                  benefits, even if his or her receipt of                 Feb. 24, 2009); U.S. Soc. Sec. Admin., Social         data, but links to financial data for other fiscal years
                                                  monetizable designated public benefits                  Security, Understanding Supplemental Security         can also be accessed.



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                                                  assistance programs are insufficient to                 significant resources on Section 8                    and fits into one of the clearly
                                                  meet basic needs. General assistance is                 Housing Choice Vouchers, Section 8                    enumerated 7 categories.322
                                                  often the only resource for individuals                 Project-Based Rental Assistance, and                  a. Section 8 Housing Choice Voucher
                                                  who cannot qualify for unemployment                     Public Housing. These programs impose                 Program
                                                  insurance, or whose benefits are                        a significant expense upon multiple
                                                  inadequate or exhausted. Help may                       levels of government, and because these                  The Section 8 Housing Choice
                                                  either be in cash or in kind, including                 benefits relate to a basic living need (i.e.,         Voucher Program,323 which is a non-
                                                  such assistance as groceries and                        shelter), receipt of these benefits                   cash public benefit that can be
                                                  rent.’’ 313 To the extent that such aid is              suggests a lack of self-sufficiency. At the           monetized, provides assistance to very
                                                  in the form of cash, check, or money                    same time, DHS recognizes that these                  low-income families to afford decent,
                                                  instrument (as compared to in-kind                      programs do not involve the same level                safe, and sanitary housing.324 The
                                                  goods or services through vouchers and                  of expenditure as the other programs                  Housing Choice Vouchers are
                                                  similar means) and intended for income                  listed in this proposed rule, and that                administered locally by Public Housing
                                                  maintenance, it would qualify as a cash                 noncitizen participation in these                     Agencies. The participant is responsible
                                                  public benefit under this rule. For                     programs is currently relatively low.318              for finding their own suitable housing
                                                  example, in Minnesota, the ‘‘General                                                                          unit, where the owner agrees to rent
                                                                                                          DHS nonetheless proposes to consider
                                                  Assistance (GA) program helps people                                                                          under the program. Once an owner has
                                                                                                          these programs as part of public charge
                                                  without children pay for basic needs. It                                                                      been identified, the public housing
                                                                                                          determinations, for the above-stated
                                                  provides money to people who can[no]t                                                                         agency enters into a housing assistance
                                                                                                          reasons and because the total Federal
                                                  work enough to support themselves, and                                                                        payment contract with the landlord. The
                                                                                                          expenditure for the programs overall                  PHA pays the landlord housing
                                                  whose income and resources are very                     remains significant.
                                                  low.’’ 314                                                                                                    subsidies based on a payment standard
                                                                                                             There are also numerous programs                   established by HUD and the participant
                                                  iv. Supplemental Nutrition Assistance                   that provide incentives for private-                  is responsible for paying the difference
                                                  Program (SNAP)                                          sector affordable housing preservation                between the actual rent charged and the
                                                     DHS proposes to consider SNAP 315                    and development.319 The Housing Act                   amount subsidized by the program.325
                                                  benefits, because the program is among                  of 1961 320 provides housing to low- and              Under certain circumstances, housing
                                                  the largest Federal expenditures for low-               moderate-income households through                    vouchers may also be used to purchase
                                                  income people, and because receipt of                   the private sector.321 U.S. Department of             homes.326
                                                  SNAP benefits indicates a lack of self-                 Housing and Urban Development (HUD)                   b. Section 8 Project-Based Rental
                                                  sufficiency in satisfying a basic living                oversees and administers the various                  Assistance
                                                  need, i.e., food and nutrition. SNAP,                   programs. There are various programs
                                                  which is a non-cash, monetizable public                 within the public housing program                        The Section 8 Project-Based Rental
                                                  benefit, provides nutrition assistance to               which provide payment for rent or                     Assistance Program (including Moderate
                                                  low-income individuals and                              housing either to the person or the                   Rehabilitation), which is a non-cash but
                                                  households 316 who must meet certain                    housing unit or owner on behalf of the                monetizable public benefit, provides
                                                  income and resource limitations to be                   person (privately owned subsidized                    rental assistance for extremely low- to
                                                  eligible. An eligible person or                         housing).                                             low-income households in obtaining
                                                  household receives SNAP benefits on an                                                                        decent, safe, and sanitary housing in
                                                                                                             These programs provide low-income                  private accommodations.327 This
                                                  Electronic Benefit Transfer (EBT) card
                                                  on which the dollar amount of benefits                  individuals and families with housing at              program refers to a category of federally
                                                  are automatically available each month.                 below-market rent or rent subsidies for               assisted housing produced through a
                                                  The household can then purchase                         market-rate housing. While there are                  public-private partnership to build and
                                                  eligible food at authorized retail food                 important variations between these                    maintain affordable rental housing for
                                                  stores.317                                              programs, they all use the same or                    low-income households. HUD provides
                                                                                                          similar standard when establishing                    subsidies to private owners of
                                                  v. Housing Programs                                     income eligibility and contribution                   multifamily housing to lower rental
                                                     DHS is also proposing to include                     towards rent. Specific to aliens, DHS                 costs for low-income families and help
                                                  certain high-expenditure housing-                       notes that Section 214 of the HCD Act                 offset construction, rehabilitation, and
                                                  related benefits. As noted in Table 10                  of 1980 requires that HUD may not
                                                  above, the Federal government expends                   make financial assistance available for                 322 See section 214 of the Housing and

                                                                                                          the benefit of any alien, notwithstanding             Community Development Act of 1980, 42 U.S.C.
                                                    313 See U.S. Soc. Sec. Admin., Social Security        any other provision of law, unless that               1436a.
                                                                                                                                                                  323 See 24 CFR part 982; 42 U.S.C. 1437f, 1437u.
                                                  Programs in the United States—General Assistance,       alien is a resident of the United States                324 See U.S. Dep’t of Housing & Urban Dev.,
                                                  available at https://www.ssa.gov/policy/docs/
                                                  progdesc/sspus/genasist.pdf (last visited June 24,                                                            Housing Choice Vouchers Fact Sheet, available at
                                                                                                            318 An analysis of Wave 13 of the 2008 Panel of     https://www.hud.gov/topics/housing_choice_
                                                  2018).
                                                    314 See Minn. Dep’t of Human Servs., General          the Survey of Income and Program Participation        voucher_program_section_8 (last visited Feb. 24,
                                                  Assistance (GA), available at https://mn.gov/dhs/       (SIPP) suggests that 0.2% of noncitizens lived in     2018).
                                                  people-we-serve/adults/economic-assistance/             Section 8 housing, while 0.4% lived in housing          325 See U.S. Dep’t of Housing & Urban Dev.,

                                                  income/programs-and-services/ga.jsp (last visited       subsidized through some other government              Housing Choice Vouchers Fact Sheet, available at
                                                  June 24, 2018).                                         program. Similarly, 0.7 percent of noncitizens        https://www.hud.gov/topics/housing_choice_
                                                    315 Formerly called ‘‘Food Stamps.’’ See 7 U.S.C.     reported receiving CHIP benefits.                     voucher_program_section_8 (last visited Feb. 24,
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                                                                                                            319 See Public Law 86–372, 73 Stat. 654. See also   2018).
                                                  2011–2036c.
                                                    316 See USDA, Food and Nutrition Service,             Maggie McCarty et al., Cong. Research Serv.,            326 See U.S. Dep’t of Housing & Urban Dev.,

                                                  Supplemental Nutrition Assistance Program               RL34591, Overview of Federal Housing Assistance       Housing Choice Vouchers Fact Sheet, available at
                                                  (SNAP), available at https://www.fns.usda.gov/          Programs and Policy 3 (2014), available at https://   https://www.hud.gov/topics/housing_choice_
                                                  snap/supplemental-nutrition-assistance-program-         www.hsdl.org/?view&did=752738.                        voucher_program_section_8 (last visited July 11,
                                                  snap (last visited Feb. 24, 2018).                        320 See Public Law 87–70, 75 Stat. 149.             2018).
                                                    317 The listing of SNAP would not include               321 See Maggie McCarty et al., Cong. Research         327 U.S. Dep’t of Housing & Urban Dev., Moderate

                                                  Disaster SNAP, which is provided under a separate       Serv., RL34591, Overview of Federal Housing           Rehabilitation, available at https://www.hud.gov/
                                                  legal authority, under different circumstances. See     Assistance Programs and Policy 4 (2014), available    program_offices/public_indian_housing/programs/
                                                  42 U.S.C. 5179.                                         at https://www.hsdl.org/?view&did=752738.             ph/modrehab (last visited July 3, 2018).



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                                                  preservation costs. The rental assistance                (d) Non-Monetizable Public Benefits                      groups.331 Medicaid provides
                                                  is the difference between what the                       i. Medicaid                                              continuous coverage, services, and
                                                  household can afford and the approved                                                                             funding for medical treatment and can
                                                  rent for the housing unit in the                         a. Description of Program                                impose substantial costs on multiple
                                                  multifamily project. Authority to use                       Medicaid, which is a non-cash, non-                   levels of government, and a person’s
                                                  project-based rental assistance for new                  monetizable public benefit, is a joint                   participation generally indicates a lack
                                                  construction or substantial                              Federal and state program that provides                  of ability to be self-sufficient in
                                                  rehabilitation was repealed in 1983.                     health coverage to individuals in the                    satisfying a basic living need, i.e.,
                                                  Therefore, HUD renews Section 8                          United States.329 Medicaid is generally                  medical care. As indicated in Table 10
                                                  project-based housing assistance                         available to needy persons who meet                      above, the total Federal expenditure for
                                                  payments (‘‘HAP’’) contracts for units                   specific income and resource                             the Medicaid program overall is larger
                                                  already assisted with project-based                      requirements. Certain individuals are                    by far than any other programmatic
                                                  Section 8 renewal assistance. 328 The                    generally covered under Medicaid,                        Federal expenditure for low-income
                                                  contracts are with private owners of                     including low-income families,
                                                                                                                                                                    people.332 Table 13 below highlights
                                                  multifamily rental housing including                     qualified pregnant women and children,
                                                                                                                                                                    average costs per enrollee by eligibility
                                                  both profit-motivated and nonprofit or                   and people already receiving SSI.330 In
                                                                                                                                                                    group as a percentage of FPG.
                                                  cooperative organizations.                               addition, a State may opt to cover other




                                                    On the whole, Medicaid expenditures                    pronounced among persons with                            costs reflect the relatively healthier
                                                  per enrollee by enrollment group are                     disabilities and the aged. In its 2016                   status of children and adults enrolled in
                                                  significant and are particularly                         report, HHS observes that these average                  the program as compared to aged
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                                                    328 U.S. Dep’t of Housing & Urban Dev., Moderate       medicaid/eligibility/index.html (last visited Feb. 23,   Expenditure amounts are net outlays unless
                                                  Rehabilitation, available at https://www.hud.gov/        2018).                                                   otherwise noted. See also Gene Falk et al., Cong.
                                                  program_offices/public_indian_housing/programs/            331 See Ctrs. for Medicare & Medicaid Services,
                                                                                                                                                                    Research Serv., R45097, Federal Spending on
                                                  ph/modrehab (last visited July 3, 2018).                 Eligibility, available at https://www.medicaid.gov/      Benefits and Services for People with Low Income:
                                                    329 See Ctrs. for Medicare & Medicaid Services,        medicaid/eligibility/index.html (last visited Feb. 23,   In Brief (2018), available at https://fas.org/sgp/crs/
                                                  Eligibility, available at https://www.medicaid.gov/      2018).
                                                                                                                                                                    misc/R45097.pdf. Note however that neither HHS
                                                  medicaid/eligibility/index.html (last visited Feb. 23,     332 See Table 26–1 Policy, Net Budget Authority
                                                  2018).                                                                                                            nor DHS are able to disaggregate emergency and
                                                                                                           by Function, Category, and Program, available at
                                                    330 See Ctrs. for Medicare & Medicaid Services,        https://www.whitehouse.gov/wp-content/uploads/           non-emergency Medicaid expenditures. Therefore,
                                                                                                                                                                    this rule considers overall Medicaid expenditures.
                                                                                                                                                                                                                             EP10OC18.029</GPH>




                                                  Eligibility, available at https://www.medicaid.gov/      2018/02/26-1-fy2019.pdf (last visited Aug. 8, 2018).



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                                                  enrollees and persons with disabilities,                   In 8 U.S.C. 1611(b), Congress                        not limit an alien patient to treatment
                                                  who represent the smallest enrollment                   specifically excluded emergency                         rendered in the emergency room, but
                                                  groups in Medicaid but account for the                  medical conditions from the definition                  applied to treatment for leukemia that
                                                  majority of expenditures.333 Despite the                of Federal public benefits, and States are              had ‘‘reached a crisis stage’’ and
                                                  high level of Medicaid expenditure in                   required to provide Medicaid payments                   required ‘‘immediate medical treatment,
                                                  aggregate and per enrollee by                           for ‘‘emergency medical conditions’’                    without which the patient’s physical
                                                  enrollment group, Medicaid is one of                    regardless of the alien’s status.                       well-being would likely be put in
                                                  the most daunting public benefits to                    PRWORA sets apart treatment for                         jeopardy or serious physical impairment
                                                  monetize on an individual basis.                        emergency medical conditions and                        or dysfunction would result.’’ However,
                                                  Medicaid eligibility, enrollment, and                   makes funds available for the                           in Diaz v. Division of Social Services
                                                  receipt vary state-by-state and receipt of              reimbursement of states regardless of an                and Div. of Medical Assistance, North
                                                  goods and services vary enrollee-to-                    alien’s immigration status, and                         Carolina Dept. of Health and Human
                                                  enrollee. Therefore, DHS does not                       regardless of whether or not an alien                   Services,338 the Supreme Court of North
                                                  propose a methodology to monetize                       would be subject to INA section                         Carolina indicated that an alien’s acute
                                                  Medicaid benefits for purposes of the 15                212(a)(4) or other grounds of                           lymphocytic leukemia was not an
                                                  percent of FPG standard. Rather, DHS                    inadmissibility.335 Congress intended                   ‘‘emergency medical condition’’ where
                                                  Medicaid would be categorized as a                      that PRWORA exceptions generally, and                   there was is nothing to indicate that the
                                                  non-monetizable benefit under the                       treatment of emergency medical                          prolonged chemotherapy treatments
                                                  proposed rule.                                          conditions in particular, be narrowly                   must have been ‘‘immediate’’ to prevent
                                                                                                          construed. To qualify for emergency                     placing the alien’s health in serious
                                                  b. Exceptions for Certain Medicaid                      medical condition exclusion, medical                    jeopardy, or causing serious impairment
                                                  Services                                                conditions must be of an emergency                      or dysfunction.339
                                                                                                          nature, such as medical treatment                          In addition, DHS believes that
                                                     Notwithstanding DHS’s proposal to                    administered in an emergency room,                      preservation of life from an immediate
                                                  consider benefits under Medicaid, DHS                   critical care unit, or intensive care unit.             threat is an important policy
                                                  proposes to exclude two main types of                   The same principle applies to pre-natal                 consideration. ‘‘Emergency medical
                                                  Medicaid services from consideration.                   or delivery care assistance; it was                     services’’ are often involuntary and
                                                  First, DHS proposes to except                           intended to be of emergency nature.                     must be provided by doctors and
                                                  consideration of assistance for an                      Similarly, treatment for mental health                  hospitals regardless of the ability to
                                                  ‘‘emergency medical condition’’ as                      disorders was intended to be limited to                 pay,340 such as medical services at a
                                                  provided under section 1903(v) of Title                 circumstances in which the alien’s                      hospital after a car accident. Further,
                                                  XIX of the Social Security Act, 42 U.S.C.               condition is such that he is a danger to                Congress did not authorize any
                                                  1396b(v) and in implementing                            himself or to others and has therefore                  consideration of an alien’s immigration
                                                  regulations at 42 CFR 440.255(c). These                 been judged incompetent by a court of                   status for purposes of eligibility for
                                                  provisions specifically indicate that                   appropriate jurisdiction.336 Over the                   these benefits or to allow for continuous
                                                  payment may be made to a State for                      years since the enactment of PRWORA,                    services/treatment relating to them.
                                                  medical assistance furnished to an alien                courts have refined the definition of                   Therefore, DHS will not consider
                                                  under certain specific emergency                        emergency medical condition.                            treatment for emergency medical
                                                  circumstances.334 Under 42 CFR                          Depending on the state, and the medical
                                                  440.255(c), ‘‘ ‘emergency medical                       condition, categorization as an                           338 See  628 S.E.2d 1, 5 (N.C. 2006).
                                                                                                                                                                    339 See  also Greenery Rehab. Grp., Inc. v.
                                                  condition’ means a medical condition                    ‘‘emergency medical condition’’ for
                                                                                                                                                                  Hammon, 150 F.3d 226, 233 (2d Cir. 1998) (aliens
                                                  (including emergency labor and                          purposes of Medicaid reimbursement                      who suffered serious traumatic head injuries
                                                  delivery) manifesting itself by acute                   may not be limited to hospital                          initially satisfied the plain meaning of Sec.
                                                  symptoms of sufficient severity                         emergency room visits. For example, in                  1902(v)(3), but the continuous and regimented care
                                                  (including severe pain) such that the                   Szewczyk v. Department of Social                        subsequently provided to them did not constitute
                                                                                                                                                                  emergency medical treatment pursuant to the
                                                  absence of immediate medical attention                  Services,337 the Supreme Court of                       statute); Luna ex rel. Johnson v. Div. of Soc. Servs.,
                                                  could reasonably be expected to result                  Connecticut indicated that coverage for                 589 S.E.2d 917, 920 (N.C. 2004) (the absence of the
                                                  in placing the patient’s health in serious              an ‘‘emergency medical condition’’ did                  continued medical services could be expected to
                                                  jeopardy, serious impairment to bodily                                                                          result in one of the three consequences outlined in
                                                                                                                                                                  the Medicaid statute for cancer patient that
                                                  functions, or serious dysfunction of any                   335 H.R. Rep. No. 104–469 (VI), at 263–64 (1996)
                                                                                                                                                                  underwent surgery after presenting at hospital’s
                                                  bodily organ or part.’’ States determine                (‘‘This section provides that sections 601 and 602      emergency room with weakness and numbness in
                                                                                                          shall not apply to the provision of emergency
                                                  whether an illness or injury is an                      medical services, public health immunizations,
                                                                                                                                                                  the lower extremities); Scottsdale Healthcare, Inc.
                                                                                                                                                                  v. Ariz. Health Care Cost Containment Sys. Admin.,
                                                  ‘‘emergency medical condition’’ and                     short-term emergency relief, school lunch programs,     75 P.3d 91, 98 (Ariz. 2003) (medical conditions had
                                                  provide payment to the healthcare                       child nutrition programs, and family violence           not ceased when patients’ conditions had been
                                                  provider as appropriate. Under this                     services. Section 601 restricted unauthorized aliens    stabilized and they had been transferred from an
                                                                                                          from receiving public assistance, contracts, and        acute ward to a rehabilitative type ward after initial
                                                  proposed rule, DHS would exclude                        licenses, and section 602 made unauthorized aliens      injury); Spring Creek Mgmt., L.P. v. Dep’t of Pub.
                                                  receipt of Medicaid if the State                        ineligible for employment benefits.’’)                  Welfare, 45 A.3d 474, 483–84 (Pa. Commw. Ct.
                                                  determines that the relevant treatment                     336 H.R. Rept. 104–469 (VI), at 264–65 (1996).
                                                                                                                                                                  2012) (alien’s condition as result of stroke, which
                                                  falls under 42 U.S.C. 1396b(v) and 42                   This report also discusses treatment of                 had sent her to emergency room, was not
                                                  CFR 440.255(c).                                         communicable diseases and indicates that such           ‘‘emergency medical condition’’ when alien
                                                                                                          treatment is intended ‘‘to only apply where             received medical services from rehabilitation and
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                                                                                                          absolutely necessary to prevent the spread of such      health care center even though alien could
                                                    333 See United States Department of Health &          diseases. This is only a short term measure until the   eventually, suffer another stroke or other medical
                                                  Human Services, Centers for Medicare & Medicaid         deportation of an alien who is unlawfully present       problem; coverage was not being sought for an acute
                                                  Services, Office of the Actuary, 2016 Actuarial         in the U.S. It is not intended to provide authority     condition, but for long term or open-ended nursing
                                                  Reports on the Financial Outlook for Medicaid, pp.      for continued long-term treatment of such diseases      care); Quiceno v. Dep’t of Soc. Servs., 728 A.2d 553,
                                                  7–8, at https://www.cms.gov/Research-Statistics-        as a means for illegal aliens to delay their removal    554 (Conn. Super. Ct. 1999) (permanent dialysis
                                                  Data-and-Systems/Research/ActuarialStudies/             from the country.’’                                     treatment was not for ‘‘emergency medical
                                                  Downloads/MedicaidReport2016.pdf. (Site last               337 See 881 A.2d 259, 273 (Conn. 2005) (quoting      condition’’).
                                                  checked 9–11–2018).                                     Greenery Rehab. Grp., Inc. v. Hammon, 150 F.3d             340 See Emergency Medical Treatment & Labor
                                                    334 See 42 U.S.C. 1396b(v); 42 CFR 440.255(c).        226, 233 (2d Cir.1998)).                                Act (EMTALA), 42 U.S. Code 1395dd.



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                                                  conditions funded by Medicaid in the                      program reimburses for the provision of                    Children of U.S. citizens, including
                                                  context of a public charge                                IDEA services. By excluding services                    those adopted abroad, typically receive
                                                  determination.                                            provided under IDEA that may be                         one of several types of immigrant visas
                                                     The second proposed exclusion is for                   funded in whole or in part by Medicaid,                 as listed below and are admitted to the
                                                  services or benefits under the                            DHS would better ensure that schools                    United States as lawful permanent
                                                  Individuals with Disabilities Education                   continue to receive financial resources                 residents. Such children may become
                                                  Act (IDEA) 341 and school-based benefits                  to cover the cost of special education                  U.S. citizens (1) automatically, (2)
                                                  provided to children who are at or                        and related services, which they would                  following their admission to the United
                                                  below the oldest age of children eligible                 be legally required to provide at no cost               States and upon the finalization of their
                                                  for secondary education as determined                     to the parents regardless of the outcome                adoption, or (3) upon meeting other
                                                  under State law. The IDEA protects                        of this rulemaking.                                     eligibility criteria.344
                                                  educational opportunities for all                                                                                    The following categories of children
                                                  students with disabilities and requires                   c. Exception for Receipt of Medicaid by                 acquire citizenship upon admission as
                                                  schools to provide certain services to all                Foreign-Born Children of U.S. Citizens                  lawful permanent residents and
                                                  children with disabilities. States and                       DHS proposes to exclude                              beginning to reside in the legal and
                                                  school districts may bill and receive                     consideration of the receipt of all                     physical custody of their U.S. citizen
                                                  reimbursement for the cost of providing                   Medicaid benefits by foreign-born                       parent(s):
                                                  special education and health care                         children as defined in section 101(c) of                   • IR–2/IR–7 (Child of a U.S. citizen)—
                                                  related services from a State’s public                    the Act who either have U.S. citizen                    requires an approval of a Form I–130
                                                  insurance program (e.g., Medicaid).                       parents, who have been adopted by U.S.                  (Petition for Alien Relative). These
                                                  Benefits or services under these laws                     citizens, or who are coming to the                      children are generally admitted as
                                                  generally are not based on income                         United States to be adopted by U.S.                     lawful permanent residents or their
                                                  eligibility, and where a reimbursement                    citizens, where such children will                      status is adjusted to that of lawful
                                                  is available, it is provided to the school                automatically acquire U.S. citizenship                  permanent resident. The child must
                                                  or eligible entity. For example, under                    under section 320 of the Act or be                      then file a Form N–600 (Application for
                                                  the statutory framework created by                        eligible to naturalize under section 322                Certificate of Citizenship) to receive the
                                                  Congress for Part B of IDEA, school                       of the Act upon or after being admitted                 Certificate of Citizenship. The certificate
                                                  districts, in meeting their obligation to                 to the United States. In some cases,                    generally would be dated as of the date
                                                  make a free appropriate public                            these children will acquire citizenship                 the child was admitted as a lawful
                                                  education available to all children with                  upon finalization of their adoption in                  permanent resident.
                                                  disabilities, may receive reimbursement                   the United States, under section 320 of                    • IR–3/IR–8 (Orphan adopted abroad
                                                  for the cost of providing special                         the Act, or the children will naturalize                by a U.S. citizen)—requires an approval
                                                  education and related services if parents                 upon taking the Oath of Allegiance (or                  of the Form I–600 (Petition to Classify
                                                  provide consent for the school districts                  having it waived) under section 322 of                  Orphan as an Immediate Relative).
                                                  to release their personally identifiable                  the Act. In other cases, the children will              These children are generally admitted as
                                                  information to a State public insurance                   acquire citizenship upon taking up                      lawful permanent residents, and USCIS
                                                  program (e.g., Medicaid) for billing                      residence in United States in the legal                 will send a Certificate of Citizenship to
                                                  purposes. Subject to parental consent,                    and physical custody of their U.S.                      the child without a Form N–600 being
                                                  schools, and not individual parents or                    citizen parent as a lawful permanent                    filed or adjudicated.
                                                  students, may obtain reimbursement for                                                                               • IH–3 (Hague Convention orphan
                                                                                                            resident.
                                                  the cost of providing certain health-                                                                             adopted abroad by a U.S. citizen)—
                                                                                                               Alien children of U.S. citizens, who
                                                  related services included in a child’s                                                                            requires an approval of the Form I–800
                                                                                                            must first establish eligibility for
                                                  individualized education program (IEP)                                                                            (Petition to Classify Convention
                                                                                                            admission, are subject to section
                                                  that are considered covered services                                                                              Adoptee as an Immediate Relative).
                                                                                                            212(a)(4) even though they may
                                                  under such subsidized health insurance                                                                            These children are generally admitted as
                                                                                                            automatically acquire U.S. citizenship
                                                  programs. The IDEA provides in 20                                                                                 lawful permanent residents and USCIS
                                                                                                            upon taking up residence in the United
                                                  U.S.C. 1412(a)(12)(B) that, when a non-                                                                           will send a Certificate of Citizenship to
                                                                                                            States after admission as lawful
                                                  educational public agency, such as a                      permanent residents.342 Children of U.S.
                                                  State Medicaid agency, is assigned                                                                                213a.2(a)(2)(ii)(E). Stepchildren of U.S. citizens are
                                                                                                            citizens eligible for acquisition of                    not eligible for acquisition of citizenship under
                                                  responsibility under State or Federal                     citizenship under section 320 of the Act,               section 320 of the Act or naturalization under
                                                  law to provide or pay for any services                    however, are exempt from the affidavit                  section 322 of the Act unless the child is adopted
                                                  that are also considered special                          of support requirement.343                              by the U.S. citizen step-parent. See INA section
                                                  education and related services, the                                                                               101(c)(1), 8 U.S.C. 1101(c)(1).
                                                                                                                                                                       344 International adoptions vary depending on the
                                                  financial responsibility of the State                        342 Note that children born abroad to U.S. citizen
                                                                                                                                                                    laws of the country of origin, the laws of the U.S.
                                                  Medicaid agency or other public insurer                   parents may also acquire U.S. citizenship at birth      state of residence, and multiple other factors. In the
                                                  of children with disabilities must                        under certain circumstances, such as where both         majority of cases, adoptions are finalized in the
                                                  precede that of the LEA or State agency                   parents are U.S. citizens and one parent had resided    country of origin before the child enters the United
                                                                                                            in the United States prior to the child’s birth, or     States and the child automatically acquires U.S.
                                                  responsible for developing a child’s IEP.                 where one parent is a U.S. citizen who was              citizenship. A minority of children whose
                                                  Also, 20 U.S.C. 1412(e) reinforces that                   physically present in the United States for at least    adoptions are not finalized until after their
                                                  Part B of the IDEA may not be construed                   five years, two of which were after age 14. Such        admission do not automatically acquire citizenship
                                                  to permit a State to reduce medical or                    children would enter the United States as U.S.          after admission, but may acquire it upon being
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                                                                                                            citizens and would not be subject to an                 readopted, and are eligible to naturalize after they
                                                  other assistance available, or to alter                   admissibility determination. See INA sections 301       have been finally adopted in the United States or
                                                  eligibility, under the Social Security                    and 309, 8 U.S.C. 1401 and 1409. DOS would issue        had the foreign adoption recognized by the state
                                                  Act. There are no restrictions on how                     a Consular Report of Birth Abroad upon request.         where they are permanently residing. See U.S. Dep’t
                                                  school districts and schools are                          See Dep’t of State, Birth of U.S. Citizens Abroad,      of State, 2017 Annual Report on Intercountry
                                                                                                            available at https://travel.state.gov/content/travel/   Adoptions, available at https://travel.state.gov/
                                                  permitted to spend any funds that                         en/international-travel/while-abroad/birth-             content/dam/NEWadoptionassets/pdfs/Annual%20
                                                  Medicaid or other public insurance                        abroad.html (last visited Aug. 28, 2018).               Report%20on%20Intercountry%20Adoptions%20
                                                                                                               343 See Child Citizenship Act, Public Law 106–       FY2017%20(release%20date%20March%2023
                                                    341 See   20 U.S.C. 1400–1482.                          395, 114 Stat. 1631 (Oct. 30, 2000); 8 CFR              %2020.._.pdf.



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                                                  the child without a Form N–600 being                    the Intercountry Adoption Act of 2000                    child’s disability alone rather than
                                                  filed or adjudicated.                                   (IAA) 350 to implement the Hague                         financial means of the parents.
                                                  The following categories of children are                Convention on Protection of Children                     Excluding consideration of the receipt
                                                  admitted as lawful permanent residents                  and Co-operation in Respect of                           of public benefits by such children
                                                  for finalization of adoption:                           Intercountry Adoption,351 which                          would be consistent with Congress’
                                                     • IR–4/IR–9 (Orphan to be adopted by                 established international standards of                   strong interest in supporting U.S.
                                                  a U.S. citizen). Generally, the parent(s)               practices for intercountry adoptions.                    citizens seeking to welcome foreign-
                                                  must complete the adoption in the                       The IAA protects the rights of children,                 born children into their families.
                                                  United States. However, the child will                  birth families, and adoptive parents, and                   Additionally, because the children are
                                                  also be admitted as an IR–4 if the                      improves the Government’s ability to                     being brought to the United States by
                                                  foreign adoption was obtained without                   assist U.S. citizens seeking to adopt                    their U.S. citizen parents (including
                                                  either parent having seen the child, or                 children from abroad.352                                 adoptive parents) and will generally
                                                  when the parent(s) must establish that                     DOS has advised DHS that many U.S.                    become U.S. citizens upon or after
                                                  they have either ‘‘readopted’’ the child                citizens seek to adopt children with                     admission, and because their families
                                                  or obtained recognition of the foreign                  disabilities or serious medical                          have been found to have the resources
                                                  adoption in the State of residence (this                conditions, and that a significant                       to care for them, such a reading is not
                                                  requirement can be waived if there is a                 proportion of children adopted abroad                    at odds with Congress’ concerns in
                                                  statute or precedent decision that                      have special medical needs. U.S.                         enacting PRWORA, or as reflected in its
                                                  clearly shows that the foreign adoption                 citizens seeking to adopt foreign-born                   concurrent enactment of the public
                                                  is recognized in the State of                           children abroad generally must undergo                   charge grounds of inadmissibility, that
                                                  residence).345                                          a rigorous home study that includes a                    aliens should rely on their own
                                                     • IH–4 (Hague Convention Adoptee to                  detailed assessment of finances,                         capabilities and the resources of their
                                                  be adopted by a U.S. citizen). These                    emotional, mental, and physical health,                  families, their sponsors, and private
                                                  children are admitted as lawful                         and other factors to determine their                     organizations; and that the availability
                                                  permanent residents and the parent(s)                   eligibility and suitability as prospective               of public benefits should not constitute
                                                  must complete the adoption in the                       adoptive parents.353 Accordingly, such                   an incentive for immigration to the
                                                  United States.346                                       parents generally will have sufficient                   United States.356
                                                     Furthermore, children of U.S.                        financial resources to provide for the                      Accordingly, DHS proposes to
                                                  citizens, who are residing outside of the               child.354                                                exclude from consideration for purposes
                                                  United States and are eligible to                          Nevertheless, many U.S. citizens who                  of the public charge inadmissibility
                                                  naturalize under section 322 of the                     have foreign-born children with special                  determination receipt of Medicaid
                                                  Act,347 must apply for an immigrant or                  medical needs may seek Medicaid for                      benefits by children of U.S. citizen
                                                  nonimmigrant visa to enter the U.S.                     their children.355 Medicaid programs                     parents:
                                                  before they naturalize. These children                  vary by state, and may be based on the                      • Whose lawful admission for
                                                  are generally issued a B–2                                                                                       permanent residence and subsequent
                                                  nonimmigrant visa in order to complete                  Intercountry-Adoption/adopt_ref/adoption-FAQs/           residence in the legal and physical
                                                                                                          child-citizenship-act-of-2000.html (last visited Aug.    custody of the U.S. citizen parent will
                                                  the process for naturalization through                  16, 2018).
                                                  an interview and taking the Oath of                        350 Public Law 106–279, 114 Stat. 1631 (codified      result automatically in the child’s
                                                  Allegiance under section 322 of the Act.                at 42 U.S.C. 14901–14954); see also Hague                acquisition of citizenship or whose
                                                     Congress has enacted numerous laws                   Convention on Intercountry Adoption; Intercountry        lawful admission for permanent
                                                  over the last two decades to ensure that                Adoption Act of 2000; Accreditation of Agencies;         residence will result automatically in
                                                                                                          Approval of Persons, 71 FR 8064 (Feb. 15, 2006).
                                                  foreign-born children of U.S. citizens                     351 The United States signed the Convention in
                                                                                                                                                                   the child’s acquisition of citizenship
                                                  are not subject to adverse immigration                  1994, and the Convention entered into force for the      upon finalization of the adoption in the
                                                  consequences in the United States on                    United States on April 1, 2008. Deposit of               United States by the U.S. citizen
                                                  account of their foreign birth. Most                    Instrument of Ratification by the United States of       parent(s) or upon meeting other
                                                  notably, the Child Citizenship Act of                   the Hague Convention on Protection of Children           eligibility criteria pursuant to the Child
                                                                                                          and Co-operation in Respect of Intercountry
                                                  2000 348 provides that children,                        Adoption, 72 FR 71730 (Dec. 18, 2007). The full text     Citizenship Act of 2000, Public Law
                                                  including adopted children, of U.S.                     of the Convention is available at https://               106–395 (section 320(a)–(b) of the Act,
                                                  citizen parents automatically acquire                   www.hcch.net/en/instruments/conventions/full-            8 U.S.C. 1431(a)–(b)), in accordance
                                                  U.S. citizenship if certain conditions are              text/?cid=69 (last visited Aug. 16, 2018).               with 8 CFR part 320; or
                                                                                                                                                                      • Who are entering the United States
                                                                                                             352 IAA § 2, 42 U.S.C. 14901(a); see also 146 Cong.
                                                  met.349 The same year, Congress passed                  Rec. S8938–01, S8938 (daily ed. Sept. 21, 2000)
                                                                                                          (statement by Sen. Landrieu) (‘‘I have said it before    for the primary purpose of attending an
                                                    345 See 8 CFR 320.1.                                  and I believe it rings true here, adoption brings        interview under the Child Citizenship
                                                    346 See INA section 101(b)(1), 8 U.S.C. 1101(b).      people, whether they are Republican, Democrat,           Act of 2000, Public Law 106–395
                                                    347 These children would file the N–600K,             conservative, liberal, American, Russian or Chinese,
                                                                                                          together. United by the belief that all children
                                                                                                                                                                   (section 322 of the Act, 8 U.S.C. 1433)),
                                                  Application for Citizenship and Issuance of
                                                  Certificate Under Section 322 and then receive an       deserve to grow in the love of a permanent family.       in accordance with 8 CFR part 322.
                                                  interview notice to in come into the United States.     Adoption breaks down barriers and helps build
                                                    348 Public Law 106–395, section 101(a), 114 Stat.     families.’’). A year earlier, Congress passed Public
                                                                                                                                                                   ii. Institutionalization for Long-Term
                                                  1631, 1631 (codified at INA section 320(a)–(b), 8       Law 106–139, 113 Stat. 1696 (1999), to amend the         Care
                                                  U.S.C. 1431(a)–(b)); see also Children Born Outside     definition of ‘‘child’’ in section 101(b)(1)(E) of the
                                                                                                          INA, 8 U.S.C. 1101(b)(1)(E), a change that allowed
                                                                                                                                                                      Consistent with the 1999 Interim
                                                  the United States; Applications for Certificate of
                                                                                                                                                                   Field Guidance, DHS proposes to
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                                                  Citizenship, 66 FR 32138 (June 13, 2001). The CCA       children adopted abroad to maintain their familial
                                                  applies to children who were under 18 as of             relationship with their natural siblings, making it      consider institutionalization for long-
                                                  February 27, 2001. The law was passed after several     easier for siblings to be adopted together.              term care at government expense—at
                                                                                                             353 See 8 CFR 204.3(e), 204.311(g)(3).
                                                  high-profile cases in which children who were                                                                    any level of government—as a form of
                                                  adopted abroad were subject to deportation despite         354 See 8 CFR 204.311(h) (financial

                                                  having grown up in the United States and having         considerations); see also USCIS, Home Study
                                                                                                                                                                   government assistance included in the
                                                  believed that they were United States citizens.         Information, available at https://www.uscis.gov/         definition of public benefit.
                                                    349 See 8 CFR part 320; see also Dep’t of State,      adoption/home-study-information (last visited Aug.
                                                  FAQ: Child Citizenship Act of 2000, available at        16, 2018).                                                 356 See Public Law 104–193, section 400, 110 Stat.

                                                  https://travel.state.gov/content/travel/en/                355 See Public Law 97–248, 96 Stat. 324.              2105, 2260 (codified at 8 U.S.C. 1601).



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                                                  Institutionalization for long-term care at              health insurance for people 65 or older,              low-income subsidy to an individual
                                                  government expense is a non-cash, non-                  certain people under 65 with                          can impose substantial costs on
                                                  monetizable public benefit. The U.S.                    disabilities, and people of any age with              multiple levels of government and
                                                  government subsidizes health                            End-Stage Renal Disease (permanent                    generally indicates a lack of ability to be
                                                  insurance, which pays for expenses                      kidney failure requiring dialysis or a                self-sufficient in satisfying a basic living
                                                  associated with institutionalization of                 kidney transplant).360 Medicare has four              need, i.e., medical care. As noted above,
                                                  individuals in the United States for both               parts. Medicare Part A is for hospital                by at least one measure, this program
                                                  long-term care; therefore, the receipt of               coverage and is mandatory for eligible                entails one of the most largest Federal
                                                  benefits to provide for the costs of                    participants; Part B provides optional                expenditures for low-income people.367
                                                  institutionalization indicates a lack of                medical coverage; Part C provides a
                                                  self-sufficiency in satisfying a basic                  managed care option through contracts                 iv. Subsidized Public Housing
                                                  living need, i.e., cost of medical care,                with commercial insurers; and Part D is                  The considerations leading to
                                                  housing, and food. There are certain                    the optional Prescription Drug Plan.361
                                                  inpatient, comprehensive services                                                                             inclusion of high-expenditure housing-
                                                                                                          In general, people over age 65 or young               related benefits, generally, including
                                                  provided by institutions which may be                   people with disabilities are eligible for
                                                  covered under Medicaid or the Social                                                                          subsidized public housing, are outlined
                                                                                                          Medicare 362 if the person or his or her
                                                  Security Act, including hospital                                                                              above. Subsidized public housing is
                                                                                                          spouse worked and paid Medicare taxes
                                                  services, Intermediate Care Facilities for                                                                    available to low-income individuals in
                                                                                                          for at least 10 years.363 People who did
                                                  People with Intellectual disability (ICF/                                                                     certain areas. Public housing was
                                                                                                          not pay Medicare taxes, are age 65 or
                                                  ID), Nursing Facility (NF), Preadmission                                                                      ‘‘established to provide decent and safe
                                                                                                          older, and are U.S. citizens or lawful
                                                  Screening & Resident Review (PASRR),                                                                          rental housing for eligible low-income
                                                                                                          permanent residents may also be able to
                                                  Inpatient Psychiatric Services for                                                                            families, the elderly, and persons with
                                                                                                          buy Medicare.364 Generally, DHS does
                                                  Individuals Under Age 21, and Services                                                                        disabilities by entering into Annual
                                                                                                          not propose to consider all of Medicare
                                                  for Individuals Age 65 or Older in an                                                                         Contributions Contracts (ACC) with
                                                                                                          as part of the definition of public
                                                  Institution for Mental Diseases.357                                                                           Public Housing Agencies, which are
                                                                                                          benefits. DHS is only proposing to
                                                     Institutions are residential facilities,                                                                   state-created agencies with jurisdiction
                                                                                                          consider Premium and Cost Sharing
                                                  and assume total care of the basic living               Subsidies (i.e., low-income subsidies)                to operate within a clearly delineated
                                                  requirements of individuals who are                     for Medicare Part D as part of the                    area.’’ 368 Public housing may include
                                                  admitted, including room and board.358                  definition of public benefits, for the                single-family houses or high-rise
                                                  Benefits provided by Medicaid for                       reasons stated below.                                 apartments.369 HUD administers
                                                  institutions may depend on the person’s                                                                       ‘‘[f]ederal aid to local housing agencies
                                                                                                            The Medicare Prescription Drug,
                                                  need and institutional level of care.359                                                                      (HAs) that manage the housing for low-
                                                                                                          Improvement, and Modernization Act of
                                                  In general, DHS would not assume that                                                                         income residents at rents they can
                                                                                                          2003 (MMA), provides subsidies for
                                                  a child or a person who is severely                                                                           afford.’’ 370 HUD uses the median
                                                                                                          prescription drugs for eligible
                                                  disabled or has severe medical                                                                                income of the county or metropolitan
                                                                                                          individuals whose income and
                                                  conditions that may need                                                                                      area of where the person chooses to live
                                                                                                          resources are limited.365 Beneficiaries
                                                  institutionalization would be                                                                                 to determine the income eligibility
                                                                                                          may apply for the Low-Income Subsidy
                                                  inadmissible under the public charge                                                                          standards.371 Specially, HUD sets the
                                                                                                          with the Social Security Administration
                                                  ground. Instead, DHS would, in the                                                                            ‘‘lower income limits at 80% and very
                                                  totality of the circumstances, take into                (SSA) or with their State Medicaid
                                                                                                          agency.366 The provision of a Part D                  low income limits at 50% of the median
                                                  account the assets, resources, and                                                                            income.’’ 372
                                                  financial status of the alien’s parents or                360 See Ctrs. for Medicare and Medicaid Servs., A
                                                  legal guardians to determine whether                    Quick Look at Medicare (October 2017), available      LowIncSubMedicarePresCov/Downloads/
                                                  there is sufficient income and resources                at https://www.medicare.gov/Pubs/pdf/11514-A-         StateLISGuidance021009.pdf.
                                                  to provide for his or her care. Parents                 Quick-Look-at-Medicare.pdf. Medicare may also be        367 See Table 26–1 Policy, Net Budget Authority

                                                  and legal guardians at the time of                      subsidized if he or she qualifies for both Medicare   by Function, Category, and Program, available at
                                                                                                          and Medicaid. Medicare.gov, Are Medicare              https://www.whitehouse.gov/wp-content/uploads/
                                                  adjudication of a petition may have                     Advantage Plans Subsidized?, available at https://    2018/02/26-1-fy2019.pdf (last visited Aug. 8, 2018).
                                                  sufficient sources to provide for the                   medicare.com/medicare-advantage/are-medicare-         Expenditure amounts are net outlays unless
                                                  alien in the future and may also have                   advantage-plans-subsidized (last visited Feb. 27,     otherwise noted. See also Gene Falk et al., Cong.
                                                  the ability to gather assets and resources              2018).                                                Research Serv., R45097, Federal Spending on
                                                                                                            361 See id.                                         Benefits and Services for People with Low Income:
                                                  for the alien’s future care (i.e. long-term               362 See HHS, Who is Eligible for Medicare?,         In Brief (Feb. 6, 2018), available at https://fas.org/
                                                  care insurance).                                        available at https://www.hhs.gov/answers/             sgp/crs/misc/R45097.pdf.
                                                  iii. Premium and Cost Sharing Subsidies                 medicare-and-medicaid/who-is-elibible-for-              368 See U.S. Dep’t of Housing & Urban Dev.,

                                                                                                          medicare/index.html (last visited Feb. 24, 2018).     HUD’s Public Housing Program, available at https://
                                                  Under Medicare Part D                                     363 See HHS, Who is Eligible for Medicare?,         www.hud.gov/topics/rental_assistance/phprog (last
                                                     Like Medicaid, Medicare helps an                     available at https://www.hhs.gov/answers/             visited July 3, 2018).
                                                                                                          medicare-and-medicaid/who-is-elibible-for-              369 See U.S. Dep’t of Housing & Urban Dev.,
                                                  individual satisfy a basic living need,                 medicare/index.html (last visited Feb. 24, 2018).     HUD’s Public Housing Program, available at https://
                                                  i.e., medical care. Medicare provides                     364 See HHS, Who is Eligible for Medicare?,         www.hud.gov/topics/rental_assistance/phprog (last
                                                                                                          available at https://www.hhs.gov/answers/             visited July 3, 2018).
                                                    357 See Ctrs. for Medicare & Medicaid Servs.,         medicare-and-medicaid/who-is-elibible-for-              370 See U.S. Dep’t of Housing & Urban Dev.,

                                                  Institutional Long Term Care, available at https://     medicare/index.html (last visited Feb. 24, 2018).     HUD’s Public Housing Program, available at https://
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                                                  www.medicaid.gov/medicaid/ltss/institutional/             365 See Ctrs. for Medicare & Medicaid Servs.,       www.hud.gov/topics/rental_assistance/phprog (last
                                                  index.html (last visited Feb. 26, 2018).                Guidance to States on the Low Income Subsidy          visited July 3, 2018).
                                                    358 See Ctrs. for Medicare & Medicaid Servs.,         Guidance 5 (Feb. 2009), available at https://           371 See U.S. Dep’t of Housing & Urban Dev.,

                                                  Institutional Long Term Care, available at https://     www.cms.gov/Medicare/Eligibility-and-Enrollment/      HUD’s Public Housing Program, available at https://
                                                  www.medicaid.gov/medicaid/ltss/institutional/           LowIncSubMedicarePresCov/Downloads/                   www.hud.gov/topics/rental_assistance/phprog (last
                                                  index.html (last visited Feb. 26, 2018).                StateLISGuidance021009.pdf.                           visited July 3, 2018).
                                                    359 See Ctrs. for Medicare & Medicaid Servs.,           366 See Ctrs. for Medicare & Medicaid Servs.,         372 See U.S. Dep’t of Housing & Urban Dev.,

                                                  Institutional Long Term Care, available at https://     Guidance to States on the Low Income Subsidy          HUD’s Public Housing Program, available at https://
                                                  www.medicaid.gov/medicaid/ltss/institutional/           Guidance 5 (Feb. 2009), available at https://         www.hud.gov/topics/rental_assistance/phprog (last
                                                  index.html (last visited Feb. 26, 2018).                www.cms.gov/Medicare/Eligibility-and-Enrollment/      visited July 3, 2018).



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                                                  (e) Receipt of Public Benefits by Active                 result in a finding of inadmissibility               welcomes comment regarding whether
                                                  Duty and Reserve Servicemembers and                      under section 212(a)(4) when such                    it should expand the list of designated
                                                  Their Families                                           aliens apply for adjustment of status.               public benefits in a final rule, to include
                                                     DHS proposes to exclude                                  Following consultation with DOD,                  specific public benefits that recipients
                                                  consideration of the receipt of any                      DHS has concluded that such an                       are generally aware they receive and
                                                  public benefits by active duty                           outcome may give rise to concerns about              must opt into receipt and otherwise
                                                  servicemembers, including those in the                   servicemembers’ immigration status or                similar in nature to the benefits
                                                  Ready Reserve of the U.S. Armed                          the immigration status of                            currently designated under the
                                                  Forces, and their families. The United                   servicemembers’ spouses and children                 proposed rule, i.e., other benefits
                                                  States Government is profoundly                          as defined in section 101(b) of the Act,             intended to help low-income people
                                                  grateful for the unparalleled sacrifices of              which would reduce troop readiness                   meet basic living needs. Consistent with
                                                  the members of our armed services and                    and interfere significantly with U.S.                the proposal described in the section of
                                                  their families. Servicemembers who,                      armed forces recruitment efforts. This               this preamble entitled ‘‘Previously
                                                  during their service, receive public                     exclusion is consistent with DHS’s                   Excluded Benefits’’, any such expansion
                                                  benefits, in no way burden the public;                   longstanding policy of ensuring support              would be prospective in nature (i.e., not
                                                  indeed, their sacrifices are vital to the                for our military personnel who serve                 effective until following publication of a
                                                  public’s safety and security. The                        and sacrifice for our nation, and their              final rule).
                                                  Department of Defense (DOD) has                          families, as well as supporting military                In addition, DHS seeks public
                                                  advised DHS that many of the aliens                      readiness and recruitment.                           comments on whether an alien’s receipt
                                                                                                              Accordingly, DHS proposes to                      of benefits other than those proposed to
                                                  who enlist in the military are early in
                                                                                                           exclude the consideration of the receipt             be included in this rule as public
                                                  their careers, and therefore, consistent
                                                                                                           of all benefits listed in 8 CFR 212.21(b)            benefits should nonetheless be
                                                  with statutory pay authorities, earn
                                                                                                           from the public charge inadmissibility               considered in the totality of
                                                  relatively low salaries that are
                                                                                                           determination, when received by active               circumstances, either above the
                                                  supplemented by certain allowances
                                                                                                           duty servicemembers, including those                 thresholds set forth in the proposed rule
                                                  and tax advantages.373 Although data
                                                                                                           in the Ready Reserve and their spouses               for public monetizable and non-
                                                  limitations exist, evidence suggests that
                                                                                                           and children. Applicants that fall under             monetizable public benefits, or at some
                                                  as a consequence of the unique
                                                                                                           this exclusion would be required to                  other threshold. DHS could construct a
                                                  compensation and tax structure afforded
                                                                                                           submit proof that the servicemember is               process under which it provides
                                                  by Congress to aliens enlisting for
                                                                                                           serving in active duty or the Ready                  appropriate notice for consideration of
                                                  military service, some active duty alien
                                                                                                           Reserve.                                             such benefits to the extent that they
                                                  servicemembers, as well as their
                                                  spouses and children, as defined in                      (f) Unenumerated Benefits                            have a bearing on the public charge
                                                  section 101(b) of the Act, may rely on                                                                        inquiry, i.e., whether the alien is likely
                                                                                                              The definition of the term ‘‘public               in the totality of the circumstances to
                                                  SNAP 374 and other listed public                         charge’’ would not include receipt of
                                                  benefits. As a result, the general                                                                            receive the designated public benefits
                                                                                                           any non-cash public benefit not listed               above the applicable threshold(s), either
                                                  standard proposed in this rule could                     under the proposed 8 CFR 212.21(b).                  in terms of dollar value or duration of
                                                     373 See, e.g., 37 U.S.C. 201–212, 401–439 (Basic
                                                                                                           Benefits such as Social Security                     receipt. DHS welcomes comments and
                                                  Pay and Allowances Other than Travel and
                                                                                                           retirement benefits, general Medicare,               data on this potential alternative.
                                                  Transportation Allowances, respectively); Lawrence       and a wide range of Veteran’s benefits
                                                  Kapp, Cong. Research Serv., Defense Primer:              would not be included in the definition.             (g) Request for Comment Regarding the
                                                  Regular Military Compensation 2 tbl.1 (Jan. 2,           Similarly, the proposed definition                   Children’s Health Insurance Program
                                                  2018), available at https://fas.org/sgp/crs/natsec/                                                           (CHIP)
                                                  IF10532.pdf (reporting average regular military
                                                                                                           would not include social insurance
                                                  compensation of $41,384 at the E–1 level in 2017,        programs such as worker’s                               In addition to the public benefits
                                                  comprised of $19,199 in average annual basic pay,        compensation and non-cash benefits                   listed in proposed 8 CFR 212.21(b), DHS
                                                  plus allowances and tax advantage); Lawrence Kapp        that provide education, child
                                                  et al., Cong. Research Serv., RL33446, Military Pay:
                                                                                                                                                                is considering adding to the list of
                                                  Key Questions and Answers 6–9 (2018), available at       development, and employment and job                  included benefits. The Children’s
                                                  https://fas.org/sgp/crs/natsec/RL33446.pdf               training. Furthermore, DHS believes that             Health Insurance Program (CHIP),375
                                                  (describing types of military compensation and           exclusion of education-related benefits              formerly known as the State Children’s
                                                  federal tax advantages).                                 is justifiable in the interest of
                                                     374 See U.S. Gov’t Accountability Office, GAO–
                                                                                                                                                                Health Insurance Program (SCHIP),376
                                                  16–561, Military Personnel: DOD Needs More
                                                                                                           administrability (e.g., many such                    provides low-cost health coverage to
                                                  Complete Data on Active-Duty Servicemembers’             benefits are received indirectly through             children in families that earn too much
                                                  Use of Food Assistance Programs (July 2016),             schools). In sum, under this proposal,               money to qualify for Medicaid but still
                                                  available at https://www.gao.gov/assets/680/             any exclusively state, local or tribal
                                                  678474.pdf (reporting estimates ranging from 2,000
                                                                                                                                                                need assistance to pay for healthcare.377
                                                  active duty servicemembers receiving SNAP to             public benefit that is not cash assistance           CHIP is administered by states in
                                                  22,000 such servicemembers receiving SNAP).              for income maintenance,                              accordance with federal requirements.
                                                  Effective FY16, Congress implemented a                   institutionalization for long-term care at           Eligibility for CHIP is based on income
                                                  recommendation by the Military Compensation and          government expense, or another public
                                                  Retirement Modernization Commission to sunset
                                                  DOD’s Family Subsistence Supplemental                    benefit program not specifically listed in             375 See 42 U.S.C. 1397aa to 1397mm.
                                                  Allowance Program within the United States,              the regulation, would not be included in               376 Beginning  with the Children’s Health
                                                  Puerto Rico, the U.S. Virgin Islands, and Guam;          the definition of the term ‘‘public                  Insurance Program Reauthorization Act of 2009
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                                                  SNAP reliance may have increased somewhat                                                                     (CHIPRA), SCHIP was referred to simply as CHIP.
                                                                                                           charge.’’                                            Older references to SCHIP were not changed, and
                                                  following termination of the program. See Public
                                                  Law 114–92, div. A, § 602, 129 Stat. 726, 836
                                                                                                              As noted above, the definition of                 any statutory or regulatory reference to one applies
                                                  (2015); Military Comp. & Ret. Modernization              public charge is based on DHS’s                      interchangeably to the other. See Public Law
                                                  Comm’n, Final Report 187 (Jan. 2015) (‘‘The              preference to prioritize those programs              111–3, 123 Stat. 8.
                                                  [Family Subsistence Supplemental Allowance                                                                      377 See HealthCare.gov, The Children’s Health
                                                                                                           that impose the greatest cost on the
                                                  Program] should be sunset in the United States,                                                               Insurance Program (CHIP), available at https://
                                                  Puerto Rico, Guam, and other U.S. territories where
                                                                                                           Federal government as well as those                  www.healthcare.gov/medicaid-chip/childrens-
                                                  SNAP or similar programs exist, thereby reducing         programs that assist an individual with              health-insurance-program (last visited Feb. 23,
                                                  the administrative costs of a duplicative program.’’).   satisfying basic living needs. DHS                   2018).



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                                                  levels and the upper income level varies                ‘‘family status,’’ ‘‘assets, resources, and           DHS seeks comments and
                                                  by state. According to the Centers for                  financial status,’’ and ‘‘education and               recommendations from potentially
                                                  Medicare & Medicaid Services, 46 States                 skills.’’ Each of these factors must be               affected state, local and tribal
                                                  and the District of Columbia cover                      taken into account in determining                     governments and from the public
                                                  children up to or above 200 percent the                 whether an alien will be a charge on the              generally.
                                                  Federal Poverty Level (FPL), and 24 of                  federal taxpayer. The United States has
                                                  these states offer coverage to children in              separate immigration programs, such as                3. Likely at Any Time To Become a
                                                  families with income at 250 percent of                  refugee admissions and asylum, where                  Public Charge
                                                  the FPL or higher. States may get the                   aliens regardless of age and financial                   DHS proposes to define ‘‘likely at any
                                                  CHIP enhanced match for coverage up                     circumstance are exempted from public                 time to become a public charge’’ to
                                                  to 300 percent of the FPL.378 While                     charge inadmissibility. Alien children
                                                                                                                                                                mean likely at any time in the future to
                                                  coverage differs from state to state, all               who are not asylees, refugees, or
                                                                                                                                                                receive one or more public benefits, as
                                                  states provide comprehensive coverage,                  otherwise exempt from the public
                                                                                                                                                                defined in 8 CFR 212.21(b), based on the
                                                  like routine check-ups, immunizations,                  charge ground of inadmissibility are
                                                                                                                                                                totality of the alien’s circumstances.
                                                  doctor visits, and prescriptions. The                   subject to it, just as adult aliens are.
                                                  program is funded jointly by states and                 However, because the public charge                    Under this proposed definition, DHS
                                                  the federal government.379                              inadmissibility determination is a                    would find an alien inadmissible as a
                                                     As noted in Table 10, the Federal                    prospective determination in the totality             public charge if DHS finds the alien is
                                                  government expends significant                          of the circumstances, the circumstances               likely at any time in the future to
                                                  resources on CHIP.380 CHIP imposes a                    surrounding an alien’s receipt of public              receive one or more public benefits, as
                                                  significant expense upon multiple levels                benefits as a child, including the age at             defined in 8 CFR 212.21(b), in an
                                                  of government, and because these                        which such benefits were received, are                amount or for a duration exceeding the
                                                  benefits relate to a basic living need (i.e.,           a relevant consideration. For instance,               thresholds described above.
                                                  medical care), receipt of these benefits                as alien children approach or reach                      DHS proposes to distinguish between
                                                  suggests a lack of self-sufficiency. At the             adulthood, they may age out of                        an alien who is a public charge based on
                                                  same time, DHS recognizes that this                     eligibility for certain benefits, choose to           current receipt of public benefits and an
                                                  program does not involve the same level                 disenroll from such benefits (for which               alien who is likely to become a public
                                                  of expenditure as most of the other                     their parents may have enrolled them),                charge at any time in the future. This
                                                  programs listed in this proposed rule,                  or modify their chances of becoming                   distinction is consistent with the
                                                  and that noncitizen participation in                    self-sufficient depending upon whether                prospective nature of the statute. DHS
                                                  these programs is currently relatively                  they acquire education and skills,                    understands that its proposed definition
                                                  low.381                                                 secure employment, and accumulate                     of public charge may suggest that DHS
                                                     DHS is nonetheless considering                       assets and resources. Therefore, DHS                  would automatically find an alien who
                                                  including this program in a final rule,                 seeks public comment on the best                      is currently receiving public benefits, as
                                                  because the total Federal expenditure                   mechanism to administer public charge                 defined in this proposed rule, to be
                                                  for the program remains significant, and                inadmissibility determinations for those              inadmissible as likely to become a
                                                  because it does provide for basic living                aliens who receive benefits while under               public charge. But DHS does not
                                                  needs (i.e., medical care), similar to                  the age of majority (frequently 18) or                propose to establish a per se policy
                                                  Medicaid (elements of which are                         while still children under section 101(b)             whereby an alien is likely at any time
                                                  included on the proposed list of public                 of the INA, 8 U.S.C. 1101(b). DHS is                  to become a public charge if the alien
                                                  benefits). DHS specifically requests                    particularly interested in views and data             is receiving public benefits at the time
                                                  public comments on whether to include                   that would inform whether and to what                 of the application for a visa, admission,
                                                  CHIP in the final rule.                                 extent DHS should weigh past or                       or adjustment of status. Under the
                                                                                                          current receipt of benefits by such an                ‘‘likely at any time to become a public
                                                  (h) Request for Comment Regarding
                                                                                                          alien in the totality of the circumstances            charge’’ definition, an alien who is
                                                  Public Benefit Receipt by Certain Alien
                                                                                                          as a potential indicator of likely future             currently receiving public benefits is not
                                                  Children
                                                                                                          receipt of public benefits.                           necessarily inadmissible, because
                                                    The language of the public charge                                                                           current receipt of public benefits does
                                                  statute under section 212(a)(4)(B)(i) of                (i) Request for Comment Regarding
                                                                                                          Potential Modifications by Public                     not automatically mean that the alien is
                                                  the Act states that an alien’s ‘‘age’’ shall                                                                  likely to receive public benefits at any
                                                  be one of several minimum enumerated                    Benefit Granting Agencies
                                                                                                                                                                time in the future.
                                                  considerations in a public charge                          DHS recognizes that as a result of a
                                                  determination, alongside ‘‘health,’’                    future final rule, some benefit-granting                 As discussed above and explained
                                                                                                          agencies may decide to modify                         further below, receiving public benefits
                                                    378 See Medicaid.gov, Eligibility, available at       enrollment processes and program                      by itself does not establish that an alien
                                                  https://www.medicaid.gov/chip/eligibility-              documentation for designated benefits                 is likely to become a public charge;
                                                  standards/index.html (last visited Feb. 23, 2018).                                                            rather, as set forth in the statute, a
                                                    379 See Benefits.gov, State Children’s Health
                                                                                                          programs. For instance, agencies may
                                                                                                          choose to advise potential beneficiaries              public charge inadmissibility
                                                  Insurance Program, available at https://
                                                  www.benefits.gov/benefits/benefit-details/607 (last     of the potential immigration                          determination requires a determination
                                                  visited July 11, 2018).                                 consequences of receiving certain public              predicated on an opinion as to the
                                                    380 DHS would not consider services or benefits
                                                                                                          benefits. DHS requests public comments                likelihood of future events.382
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                                                  funded by CHIP but provided under the Individuals       regarding such potential modifications,               Accordingly, as set forth in proposed 8
                                                  with Disabilities Education Act (IDEA), 20 U.S.C.
                                                  1400–1482, nor would DHS consider school-based          including information regarding how                   CFR 212.21, DHS proposes that an alien
                                                  services provided to children who are at or below       long it would take to make such                       who is currently receiving public
                                                  the oldest age of children eligible for secondary       modifications, and the resources                      benefits is not necessarily inadmissible,
                                                  education as determined under State law.                required to make such modifications.                  because such current receipt of public
                                                    381 An analysis of Wave 13 of the 2008 Panel of
                                                                                                          DHS may use this information to                       benefits does not necessarily mean that
                                                  the Survey of Income and Program Participation
                                                  (SIPP) suggests that 0.7 percent of noncitizens         determine the appropriate effective date
                                                  reported receiving CHIP benefits.                       for a final rule, among other purposes.                 382 See   INA section 212(a)(4), 8 U.S.C. 1182(a)(4).



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                                                  the alien will continue to receive public                   • The alien’s other children, as                  required to provide at least 50 percent
                                                  benefits at any time in the future.                     defined in section 101(b)(1) of the Act,              of financial support to the alien as
                                                                                                          8 U.S.C. 1101(b)(1), not physically                   evidenced by a child support order or
                                                  4. Household
                                                                                                          residing with the alien for whom the                  agreement, a custody order or
                                                     For purposes of public charge                        alien provides or is required to provide              agreement, or any other order or
                                                  inadmissibility determinations under                    at least 50 percent of financial support,             agreement specifying the amount of
                                                  section 212(a)(4) of the Act, 8 U.S.C.                  as evidenced by a child support order or              financial support to be provided by the
                                                  1182(a)(4), DHS proposes to consider                    agreement, a custody order or                         alien;
                                                  the alien’s household size as part of the               agreement, or any other order or                         • The parents’ or legal guardians’
                                                  family status factor, as well as the                    agreement specifying the amount of                    other children, as defined in section
                                                  assets, resources, and financial status                 financial support to be provided to the               101(b)(1) of the Act, 8 U.S.C. 1101(b)(1),
                                                  factor. The number of people in the                     alien;                                                physically residing with the alien;
                                                  alien’s household has an effect on the                      • Any other individuals (including a                 • The parents’ or legal guardians’
                                                  alien’s assets and resources, and in                    spouse not physically residing with the               other children, as defined in section
                                                  many cases may influence the                            alien) to whom the alien provides, or is              101(b)(1) of the Act, 8 U.S.C. 1101(b)(1),
                                                  likelihood that an alien will become a                  required to provide, at least 50 percent              not physically residing with the alien
                                                  public charge. Household size would be                  of the individual’s financial support, or             for whom the parent or legal guardian
                                                  used to determine whether the alien’s                   who are listed as a dependent on the                  provides or is required to provide at
                                                  household income is at least 125                        alien’s federal income tax return; and                least 50 percent of the other children’s
                                                  percent of the FPG in the public charge                     • Any individual who provides to the              financial support, as evidenced by a
                                                  inadmissibility determination, because                  alien at least 50 percent of the alien’s              child support order or agreement, a
                                                  the alien is either a head of household                 financial support, or who lists the alien             custody order or agreement, or any other
                                                  who has responsibilities to the                         as a dependent on his or her federal                  order or agreement specifying the
                                                  household or is a member of a                           income tax return.                                    amount of financial support to be
                                                  household who is supported by other                         Thus, for example, the applicant’s                provided by the parents or legal
                                                  members of the household beyond the                     household size would include the                      guardians; and
                                                  sponsor. DHS notes that while the                       applicant, her children, and her parents,                • Any other individuals to whom the
                                                  number of children, including U.S.                      if:                                                   alien’s parents or legal guardians
                                                  citizen children, may count towards an                      • The applicant is an unmarried 23                provide or are required to provide at
                                                  alien’s household size for purposes of                  year-old applicant for adjustment of                  least at least 50 percent of the
                                                  determining inadmissibility on the                      status;                                               individuals’ financial support, or who
                                                  public charge ground, the direct receipt                    • The applicant lives with two                    are listed as a dependent on the parents’
                                                  of public benefits by those children                    children and her parents, who provide                 or legal guardians’ federal income tax
                                                  would not factor into the public charge                 53 percent of financial support to the                return.
                                                  inadmissibility determination.                          applicant; and                                           For example, if a five year old is
                                                     As discussed in greater detail below,                    • The applicant has no other                      applying for adjustment of status, the
                                                  in developing the proposed definition of                individuals for whom she provides or is
                                                  an alien’s household, DHS reviewed the                                                                        applicant’s household would include
                                                                                                          required to provide (or from whom she                 the applicant, the applicant’s mother
                                                  individuals that public benefit granting                receives) financial support or who list
                                                  agencies include as part of a household                                                                       and father, the applicant’s two siblings,
                                                                                                          her on their tax return.                              and the applicant’s maternal
                                                  and/or as dependents in determining                     DHS would consider the income, assets,
                                                  eligibility for a public benefit, as well as                                                                  grandparents, if:
                                                                                                          and resources of all of these household                  • The applicant lives with his
                                                  how USCIS determines household size                     members (total of 5) in determining
                                                  and income in the affidavit of support                                                                        mother, father, and two siblings and has
                                                                                                          whether the applicant has income at or                no other siblings;
                                                  context. The individuals identified as                  above 125 percent of the FPG.
                                                  part of the alien’s household are                                                                                • The mother and father provide 52
                                                  intended to include individuals who are                     Second, if the alien is a child as                percent of the financial support to the
                                                  financially interdependent with the                     defined in section 101(b)(1) of the Act,              mother’s parents (i.e., the alien’s
                                                  alien, either legally or otherwise.                     8 U.S.C. 1101(b)(1), the alien’s                      maternal grandparents) and do not and
                                                                                                          household would include:                              are not required to provide financial
                                                  (a) Definition of Household in Public                       • The alien;                                      support to anyone else;
                                                  Charge Inadmissibility Context                              • The alien’s children, as defined in                • Nobody else provides financial
                                                     DHS proposes to define an alien’s                    section 101(b)(1) of the Act, 8 U.S.C.                support to the applicant;
                                                  household for the purposes of making a                  1101(b)(1), physically residing with the                 • Neither the mother or the father
                                                  public charge inadmissibility                           alien;                                                have any other children and have no
                                                  determination as follows. First, if the                     • The alien’s other children, as                  other dependents listed on their tax
                                                  alien is 21 years of age or older, or                   defined in section 101(b)(1) of the Act,              return; and
                                                  under the age of 21 and married, and                    8 U.S.C. 1101(b)(1), not physically                      • The mother and father do not
                                                  therefore not a child as defined in                     residing with the alien, for whom the                 receive financial support from anyone
                                                  section 101(b)(1) of the Act, 8 U.S.C.                  alien provides or is required to provide              else.
                                                  1101(b)(1), the alien’s household would                 at least 50 percent of the children’s
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                                                                                                          financial support, as evidenced by a                  DHS would consider the income of all
                                                  include:
                                                     • The alien;                                         child support order or agreement, a                   of the above individuals in determining
                                                     • The alien’s spouse, if physically                  custody order or agreement, or any other              whether the alien can meet 125 percent
                                                  residing with the alien;                                order or agreement specifying the                     of the FPG.
                                                     • The alien’s children, as defined in                amount of financial support to be                        As another example, if an 18 year old
                                                  section 101(b)(1) of the Act, 8 U.S.C.                  provided by the alien;                                is applying for adjustment of status, the
                                                  1101(b)(1), physically residing with the                    • The alien’s parents, legal guardians,           alien’s household would only include
                                                  alien;                                                  or any other individuals providing or                 the alien and the alien’s daughter, if:


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                                                     • The 18 year old lives in her own                   sufficient assets and resources in the                  addition, the DHS definition focuses on
                                                  apartment with only her 1 year old                      context of a public charge                              both individuals living in the alien’s
                                                  daughter;                                               determination.                                          home, as well as individuals not living
                                                     • The applicant has no other children                   The U.S. Department of Housing and                   in the alien’s home but for whom the
                                                  or siblings;                                            Urban Development (HUD), per the                        alien and/or the alien’s parent(s)/legal
                                                     • The applicant does not receive any                 1937 Act, uses the term ‘‘families’’ 384                guardian(s) is providing or is required to
                                                  financial support from his or her parents               which includes: (i) Single persons in the               provide at least 50 percent of financial
                                                  or any other individual and has no legal                case of an elderly person, a disabled                   support.
                                                  guardian;                                               person, a displaced person, the                            The IRS defines ‘‘dependent’’ to
                                                     • No individuals are required to                     remaining member of a tenant family,                    include a qualifying child (which has a
                                                  provide the applicant with any financial                and any other single persons; or (ii)                   5-part test), or a qualifying relative
                                                  support; and                                            families with children and in the cases                 (which has a 4-part test).389 These tests
                                                     • The applicant’s parents and the                                                                            generally include some type of
                                                                                                          of elderly families, near-elderly families,
                                                  applicant do not provide and are not                                                                            relationship to the person filing
                                                                                                          and disabled families respectively.385
                                                  required to provide any support to                                                                              (including step and foster children and
                                                                                                          The U.S. Housing Act of 1937 (The 1937
                                                  anyone else and list no one else as a                                                                           their children) whether or not the
                                                                                                          Act) 386 requires that dwelling units
                                                  dependent on their federal income tax                                                                           dependent is living with the person
                                                                                                          assisted under it must be rented only to
                                                  returns.
                                                                                                          families who are low-income 387 at the                  filing and the amount of support being
                                                  The proposed household definition                       time of their initial occupancy. Section                provided by the person filing (over 50
                                                  would not include any person employed                   3 of the 1937 Act also defines income                   percent).390 In general, the dependent
                                                  by the household who is living in the                   as income from all sources of each                      must also be a U.S. citizen or lawful
                                                  home, such as a nanny, or an individual                 member of the household, excluding                      permanent resident in order to qualify
                                                  who is renting a part of the home from                  earned income of minors, as determined                  as a dependent for tax purposes.391
                                                  one of the household members, or a                      by the Secretary. Beyond the statutory                     Because the IRS definition of
                                                  landlord, unless such individual                        framework defining families, and as                     ‘‘dependent’’ would generally exclude
                                                  otherwise meets one of the enumerated                   provided by the 1937 Act, HUD allows                    alien dependents and the DHS
                                                  criteria.                                               public housing agencies the discretion                  definition would not, DHS’s proposed
                                                  (b) Definitions of ‘‘Household’’ and                    to determine particularities related to                 definition of household results in a
                                                  Similar Concepts in Other Public                        family composition, as determined                       larger number of people being captured
                                                  Benefits Contexts                                       under each public housing agency’s                      than if DHS simply tracked the IRS’s
                                                     The poverty guidelines do not define                 plan.                                                   definition of ‘‘dependent.’’ DHS also
                                                  who should be considered part of the                       While DHS’s proposed definition does                 proposes to consider those individuals
                                                  household, and different agencies and                   not precisely track HUD’s definition, it                who are supported by the alien and are
                                                  programs have different                                 would encompass many of the                             themselves aliens, or those who may be
                                                  requirements.383 Public benefit granting                individuals identified in the HUD                       contributing to the alien’s income, in
                                                                                                          definition including spouses and                        order to determine whether the alien’s
                                                  agencies generally consider an
                                                                                                          children as defined under the Act.388 In                financial resources are sufficient to
                                                  applicant’s income for purposes of
                                                                                                                                                                  support the alien and other members of
                                                  public benefit eligibility and either use                  384 See U.S. Dep’t of Hous. & Urban Dev.,            the alien’s household. For example, if
                                                  the household size or family size to                    Occupancy Handbook ch. 3 (June 2007), available         an alien is living with a younger sibling
                                                  determine the income threshold needed                   at https://www.hud.gov/sites/documents/DOC_
                                                                                                                                                                  who is attending school and providing
                                                  to qualify for a public benefit. Each                   35645.PDF.
                                                                                                             385 The term includes in cases of elderly, near-     51 percent or more financial support for
                                                  federal program or State determines the
                                                                                                          elderly, and disabled families, 2 or more elderly       the younger sibling, that sibling is a part
                                                  general eligibility requirements needed                 persons, near-elderly persons, or persons with          of the alien’s household, even though
                                                  to qualify for the public benefits and                  disabilities living together, and 2 or more such        the younger sibling may be earning
                                                  how to define whose income is included                  persons living with 1 or more persons determined
                                                                                                          under the public housing agency plan to be              some wages from a part-time job.
                                                  for purposes of determining income
                                                                                                          essential to their care of well-being. See U.S. Dep’t   Similarly, if the alien has an older
                                                  based eligibility thresholds. For                       of Hous. & Urban Dev., Occupancy Handbook ch.           sibling who is providing 51 percent of
                                                  example, SNAP uses the term                             3 (June 2007), available at https://www.hud.gov/        support to the alien, that older sibling
                                                  ‘‘household’’ and includes everyone                     sites/documents/DOC_35645.PDF. HUD also makes
                                                                                                          their income determination based on Median              would also be included in the alien’s
                                                  who lives together and purchases and
                                                                                                          Family Income estimates and Fair Market Rent area       household and his/her income counted
                                                  prepares meals together. DHS is not                     definitions for each metropolitan area, parts of some   toward the requisite income threshold
                                                  proposing to incorporate the SNAP                       metropolitan areas, and each non-metropolitan           along with any income earned by the
                                                  definition because an alien or an                       county. See U.S. Dep’t of Hous. & Urban Dev.,
                                                                                                          Office of Policy Dev. & Research, Income Limits,        alien. DHS’s definition would adopt the
                                                  individual who is financially
                                                                                                          available at https://www.huduser.gov/portal/            IRS consideration of the amount of
                                                  responsible for the alien’s support may                 datasets/il.html (last visited June 14, 2018). The      support being provided to the
                                                  not have the legal responsibility to                    1937 Act also provides that the temporary absence       individuals (50 percent) as the threshold
                                                  support each person living in the home.                 of a child from the home due to placement in foster
                                                                                                          care shall not be considered in determining family      for considering as an individual as part
                                                  Instead, the proposed DHS definition
                                                                                                          composition and family size.
                                                  would take into account individuals for                    386 See ch. 896, 50 Stat. 888 (codified as amended   the age of 18 if natural siblings of another adopted
                                                  whom the alien or the alien’s parent(s)
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                                                                                                          at 42 U.S.C. 1437 to 1437zz–10).                        child.
                                                  or legal guardian(s) or other individual                   387 Section 3 of the 1937 Act defines ‘‘low-income     389 See 26 U.S.C. 152; see also IRS Publication

                                                  is providing at least 50 percent of                     families’’ as those families whose incomes do not       501 (Jan 2, 2018), available at https://www.irs.gov/
                                                  financial support because such                          exceed 80 percent of the median income for the          pub/irs-pdf/p501.pdf.
                                                                                                          area, as determined by the Secretary.                     390 See IRS Publication 501 (Jan 2, 2018),
                                                  expenditure would have significant                         388 The definition of child in INA section 101(b),   available at https://www.irs.gov/pub/irs-pdf/
                                                  bearing on whether the alien has                        8 U.S.C. 1101(b), generally includes unmarried          p501.pdf.
                                                                                                          persons under 21 years of age who are born in or          391 See IRS Publication 501 (Jan 2, 2018),
                                                   383 See Annual Update of the HHS Poverty               out of wedlock, stepchildren, legitimated children,     available at https://www.irs.gov/pub/irs-pdf/
                                                  Guidelines, 83 FR 2642 (Jan. 18, 2018).                 adopted children if adopted under the age of 16 or      p501.pdf.



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                                                  of the household in the public charge                        • The sponsor’s spouse;                            1101(b)(1), is filing for adjustment of
                                                  determination, rather than consider any                      • All of the sponsor’s children as                 status as the child of a U.S. citizen or
                                                  support being provided.392                                defined in 101(b)(1) of the Act, 8 U.S.C.             lawful permanent resident, the affidavit
                                                    DHS believes that the ‘‘at least 50                     1101(b)(1), (including a stepchild who                of support sponsor would also be the
                                                  percent of financial support’’ threshold                  meets the requirements of 101(b)(1)(b) of             parent. Because the parent is part of the
                                                  as used by the IRS is reasonable to apply                 the Act, 8 U.S.C. 1101(b)(1), unless the              household, the parent’s income would
                                                  to the determination of who belongs in                    stepchild does not reside with the                    be included as part of the household
                                                  an alien’s household, without regard to                   sponsor, is not claimed by the sponsor                income.398 The parent’s income would
                                                  whether these individuals physically                      as a dependent for tax purposes, and is               be reviewed as part of the assets,
                                                  reside in the alien’s home. This would                    not seeking to immigrate based on the                 resources, and financial status factor
                                                  include those individuals the alien may                   stepparent/stepchild relationship),                   based on the total household size.
                                                  not have a legal responsibility to                        except those children that have reached               However, for example, if there is a co-
                                                  support but may nonetheless be                            the age of majority or are emancipated                sponsor, who is the alien’s cousin and
                                                  supporting. For example, this may                         under the law of the person’s domicile                who is not physically residing with the
                                                  include a parent, legal guardian, sibling,                and are not claimed as dependents on                  alien, then the cousin would not be
                                                  or a grandparent living with the alien,                   the sponsor’s most recent tax return;                 counted as part of the household and
                                                  or an adult child, sibling, or any other                     • Any other persons (whether related               his or her income would not be
                                                  adult who the alien may be supporting                     to the sponsor or not) whom the sponsor               included as part of the assets, resources
                                                  or required to support or who                             has claimed as dependents on the                      or financial status unless the sponsor is
                                                  contributes to the alien’s financial                      sponsor’s federal income tax return for               already contributing 50 percent or more
                                                  support.                                                  the most recent tax year, even if such                of the alien’s financial support.
                                                                                                            persons do not have the same principal                   In addition, if the sponsor is a
                                                  (c) Definitions of Household and Similar                  residence as the sponsor;                             member of the alien’s household and
                                                  Concepts in Other Immigration Contexts                       • Any aliens the sponsor has                       included in the calculation of the 125
                                                     DHS also considered how household                      sponsored under any other affidavit of                percent of the FPG, DHS would only
                                                  size is determined in the affidavit of                    support for whom the sponsor’s support                count the sponsor’s income once for
                                                  support context. There, USCIS defines                     obligation has not terminated; and                    purposes of determining the alien’s total
                                                  the terms ‘‘household income’’ and                           • If the sponsor elects, any siblings,             household assets and resources. A
                                                  ‘‘household size.’’ 393 ‘‘Household                       parents, and/or adult children who have               sponsor’s income as reported on the
                                                  income’’ is used to determine whether                     the same principal residence as the                   affidavit of support would be added to
                                                  a sponsor meets the minimum income                        sponsor, and have combined their                      the income of the other members of the
                                                  requirements based on the FPG.394 The                     income with the sponsor’s income by                   alien’s household. The sponsor’s
                                                  affidavit of support household income                     submitting Form I–864A.397                            income that is added to the alien’s total
                                                  generally includes the income of:                            The affidavit of support is part of the            household assets and resources would
                                                     • The sponsor;                                         public charge determination in that an                not be increased because the sponsor
                                                     • The sponsor’s spouse;                                alien who is required to submit an                    also submitted an affidavit of support
                                                     • Any other person included in                         affidavit of support pursuant to sections             promising to support the alien at least
                                                  determining the sponsor’s household                       212(a)(4)(C) and (D) of the Actbut does               125 percent of the FPG for the sponsor’s
                                                  size who must also be over the age of                     not submit a sufficient affidavit of                  household size. For example, assuming
                                                  18 and must have signed the additional                    support is de facto deemed to be                      the alien and sponsor’s household sizes
                                                  household member contract through the                     inadmissible as likely to become a                    are the same, if the sponsor’s total
                                                  Form I–864A; and                                          public charge. In addition, because the               income reported on the affidavit of
                                                     • The intending immigrant only if he                   affidavit of support serves as an                     support is 250 percent of the FPG for the
                                                  or she either is the sponsor’s spouse or                  agreement that the sponsor will use his               household size, that income would be
                                                  has the same principal residence as the                   or her resources to support the alien if              added to the alien’s assets and
                                                  sponsor and certain additional                            necessary, DHS is proposing to consider               resources; the alien’s total household
                                                  criteria.395                                              the affidavit of support in the totality of           income would then be at least 250
                                                  Also, in the affidavit of support context,                the circumstances when determining                    percent of the FPG, which constitutes a
                                                                                                            whether the alien is likely at any time               heavily weighed positive factor.
                                                  the ‘‘household size’’ is generally
                                                                                                            to become a public charge. However, the                  As discussed above, in proposing this
                                                  defined as the total number of people
                                                                                                            proposed definition of household in this              definition of household, DHS aims to
                                                  including:
                                                                                                            rule does not specifically include or                 account for both (1) the persons whom
                                                     • The sponsor;                                         exclude the sponsor and the sponsor’s                 the alien is supporting and (2) those
                                                     • The intending immigrant(s) being                     household. Rather, DHS is only                        persons who are contributing to the
                                                  sponsored on the Form I–864; 396                          including those persons who rely upon                 household, and thus the alien’s assets
                                                                                                            or contribute to the alien’s asserts and              and resources. DHS believes that an
                                                     392 See Internal Revenue Serv., Dependency

                                                  Exemptions, available at https://apps.irs.gov/app/
                                                                                                            resources. Therefore, if the sponsor is               alien’s ability to support a household is
                                                  vita/content/globalmedia/4491_dependency_                 already providing 50 percent or more of               relevant to DHS’s consideration of the
                                                  exemptions.pdf (last visited Aug. 10, 2018); see also     financial support to the alien, the                   alien’s assets, resources, financial status,
                                                  Internal Revenue Serv., Table 2: Dependency               sponsor would be included in the
                                                  Exemption for Qualifying Relative, available at                                                                 and family status. DHS recognizes that
                                                                                                            proposed definition of household. For                 household circumstances can vary and
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                                                  https://apps.irs.gov/app/vita/content/globalmedia/
                                                  table_2_dependency_exemption_relative_4012.pdf            example, when a child, as defined in                  expects the proposed definition could in
                                                  (last visited Aug. 10, 2018).                             section 101(b) of the Act, 8 U.S.C.                   certain circumstances be over- or under-
                                                     393 See 8 CFR 213a.1.
                                                     394 See INA section 213A, 8 U.S.C. 1183a.
                                                                                                                                                                  inclusive. DHS welcomes public
                                                                                                            is not seeking to immigrate at the same time as, or
                                                     395 See 8 CFR 213a.1.                                  will not seek to immigrate within six months of the
                                                                                                                                                                  comments on who should be counted as
                                                     396 If a child, as defined in INA section 101(b)(1),   principal intending immigrant’s immigration, the      members of a household, and whose
                                                  8 U.S.C. 1101(b)(1), or spouse of the principal           sponsor may exclude that child or spouse in
                                                  intending immigrant is an alien who does not              calculating the sponsor’s household size.               398 See INA section 213A(3)(f), 8 U.S.C.

                                                  currently reside in the United States and who either         397 See 8 CFR 213a.1, 213a.2(c)(2)(i)(C)(1).       1183a(3)(f).



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                                                  income, assets and resources should be                   DHS would, as required by the statute,                    an alien is likely to become a public
                                                  reviewed in the totality of the                          assess whether the alien is likely to                     charge.409
                                                  circumstances when USCIS makes a                         become a public charge and not whether                       DHS’s proposed totality of the
                                                  public charge inadmissibility                            the alien is currently a public charge.                   circumstances standard would involve
                                                  determination.                                           While past or current receipt of public                   weighing all the positive and negative
                                                                                                           benefits may make an alien, at present,                   considerations related to an alien’s age;
                                                  C. Public Charge Inadmissibility
                                                                                                           a public charge, the past or current                      health; family status; assets, resources,
                                                  Determination
                                                                                                           receipt of public benefits, alone, is                     and financial status; education and
                                                     DHS proposes codifying the public                     insufficient to sustain a finding that an                 skills; required affidavit of support; and
                                                  charge inadmissibility determination as                  alien is likely to become a public charge                 any other factor or circumstance that
                                                  a prospective determination based on                     at any point in the future.405 Other than                 may warrant consideration in the public
                                                  the totality of an alien’s circumstances                 an absent or insufficient required                        charge inadmissibility determination.410
                                                  at the time of adjudication. As provided                 affidavit of support,406 no single factor                 If the negative factors outweigh the
                                                  by statute, if an alien is required to                   or circumstance that Congress mandated                    positive factors, then the alien would be
                                                  provide an affidavit of support and the                  DHS to consider, or which DHS may                         found to be inadmissible as likely to
                                                  affidavit is insufficient, the alien will be                                                                       become a public charge; if the positive
                                                                                                           otherwise determine to consider, would
                                                  found inadmissible based on public                                                                                 factors outweigh the negative factors,
                                                                                                           determine the outcome of a public
                                                  charge regardless of any other evidence                                                                            then the alien would not be found
                                                                                                           charge inadmissibility determination.
                                                  the alien may submit.399                                                                                           inadmissible as likely to become a
                                                                                                              Consistent with the statute, DHS
                                                  1. Absence of a Required Affidavit of                                                                              public charge.
                                                                                                           proposes to codify the totality of the                       The proposed totality of the
                                                  Support                                                  circumstances standard,407 as follows:                    circumstances approach is also
                                                     Section 212(a)(4) of the Act, 8 U.S.C.                An alien’s age; health; family status;                    consistent with the body of
                                                  1182(a)(4), permits DHS to consider any                  assets, resources, and financial status;                  administrative case law that has
                                                  submitted affidavit of support under                     and education and skills. In the                          developed over the past 50 years, which
                                                  213A of the Act, 8 U.S.C. 1183a, in                      Government’s discretion, the                              generally directs the agency to
                                                  public charge inadmissibility                            determination can also account for an                     ‘‘consider[ ] all the factors bearing on
                                                  determinations. The absence of a                         affidavit of support filed under section                  the alien’s ability or potential ability to
                                                  statutorily required affidavit of support                213A of the Act, 8 U.S.C. 1183a. Courts                   be self-supporting . . . .’’ 411 On the
                                                  under section 213A of the Act, 8 U.S.C.                  previously considered similar factors                     whole, this case law strongly supports
                                                  1183a, conclusively establishes an                       when evaluating the likelihood of an                      the forward-looking totality of the
                                                  alien’s inadmissibility on public charge                 alien to become a public charge.408 INS,                  circumstances approach, considering
                                                  grounds.400 Family-sponsored                             the Board, and DHS have consistently                      the following factors, where no one
                                                  immigrants and employment-based                          reviewed the totality of the                              factor is outcome-determinative:
                                                  immigrants petitioned by a relative (or                  circumstances in determining whether                         • The ability of the alien to earn a
                                                  by an entity in which a relative has a
                                                                                                                                                                     living, as evidenced or impacted by the
                                                  significant ownership interest) are                      employment, and friends or relatives in the United        alien’s age, health, work history, current
                                                  subject to such a requirement.401 Other                  States willing and able to provide assistance); see
                                                                                                           also Field Guidance on Deportability and                  employment status, future employment
                                                  than failure to submit an affidavit of                                                                             prospects, and skills;
                                                                                                           Inadmissibility on Public Charge Grounds, 64 FR
                                                  support when required under section                      28689, 28689–93 (May, 26 1999) (in addition to the           • The sufficiency of the alien’s funds
                                                  213A of the Act, 8 U.S.C. 1183a, DHS                     statutory factors, the public charge inadmissibility      for self-support;
                                                  would not make a public charge                           analysis also includes consideration of the alien’s
                                                                                                                                                                        • The obligation and sufficiency of
                                                  determination based on any single                        current and past receipt of cash public assistance
                                                                                                           for income maintenance, repayment of cash public          sponsorship to assure that the alien will
                                                  factor.402                                               assistance, current or past institutionalization for      not need public support; and
                                                  2. Prospective Determination Based on                    long-term care at government expense, specific               • The ability of the alien to remedy
                                                                                                           circumstances ‘‘reasonably tending to show that the       any current dependence on public
                                                  Totality of Circumstances                                burden of supporting the alien is likely to be cast
                                                                                                           on the public,’’ and whether the alien has a sponsor      benefits in the United States, as
                                                     As noted above, section 212(a)(4) of
                                                                                                           who is willing and able to assist).                       evidenced or impacted by the alien’s
                                                  the Act, 8 U.S.C. 1182(a)(4), uses the                     405 See Matter of Perez, 15 I&N Dec. 136, 137 (BIA      age, health, ability to earn a living,
                                                  words ‘‘likely at any time.’’ 403 DHS’s                  1974) (‘‘The fact that an alien has been on welfare       funds, and sponsorship.412
                                                  review is predictive: An assessment of                   does not, by itself, establish that he or she is likely
                                                                                                                                                                        To illustrate, in Matter of Martinez-
                                                  an alien’s likelihood at any time in the                 to become a public charge.’’).
                                                                                                             406 See INA section 213A, 8 U.S.C. 1183a.               Lopez,413 rather than concluding that
                                                  future to become a public charge.404
                                                                                                             407 See proposed 8 CFR 212.22.                          the respondent was likely to become a
                                                    399 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4).
                                                                                                             408 See, e.g., Matter of Perez, 15 I&N Dec. 136, 137    public charge based solely on the fact
                                                    400 See INA section 212(a)(4)(C), 8 U.S.C.
                                                                                                           (BIA 1974); see also Zambrano v. INS, 972 F.2d            that the respondent had no job offer in
                                                                                                           1122 (9th Cir. 1992), vacated on other grounds, 509
                                                  1182(a)(4)(C); 8 CFR 213a.2.
                                                    401 See INA sections 212(a)(4) and 213A, 8 U.S.C.
                                                                                                           U.S. 918 (1993); Matter of Martinez-Lopez, 10 I&N           409 See Matter of A—,19 I&N Dec. 867, 869
                                                                                                           Dec. 409, 421–22 (Att’y Gen. 1964) (in determining
                                                  1182(a)(4), 1183a.                                                                                                 (Comm’r 1988) (citing Matter of Perez, 15 I&N Dec.
                                                                                                           whether a person is likely to become a public
                                                    402 See generally Matter of Martinez-Lopez, 10                                                                   136, 137 (BIA 1974)).
                                                                                                           charge, factors to consider include age, health and         410 See proposed 8 CFR 212.22.
                                                  I&N Dec. 409, 421–22 (Att’y Gen. 1964).                  physical condition, physical or mental defects
                                                    403 The ‘‘likely’’ language in the public charge                                                                   411 See Matter of Vindman 16 I&N Dec. 131, 132
                                                                                                           which might affect earning capacity, vocation, past
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                                                  inadmissibility provision also appeared in the           record of employment, current employment, offer of        (Reg’l Comm’r 1977).
                                                  initial codification in the INA of 1952. See ch. 477,    employment, number of dependents, existing                  412 DHS derived this framework from its analysis

                                                  66 Stat. 163, 183.                                       conditions in the United States, sufficient funds or      of the statements and findings in Matter of
                                                    404 See Matter of Perez, 15 I&N Dec. 136, 137 (BIA     assurances of support by relatives or friends in the      Martinez-Lopez, 10 I&N Dec. 409 (Att’y Gen. 1964),
                                                  1974) (concluding that the determination of              United States, bond or undertaking, or any ‘‘specific     Matter of Harutunian 14 I&N Dec. 583 (Reg’l
                                                  whether an alien is likely to become a public charge     circumstance . . . reasonably tending to show that        Comm’r 1974), Matter of Perez 15 I&N Dec. 136
                                                  requires consideration of the totality of                the burden of supporting the alien is likely to be        (BIA 1974), Matter of Vindman 16 I&N Dec. 131
                                                  circumstances, including specific circumstances          cast on the public’’); Field Guidance on                  (Reg’l Comm’r 1977), and Matter of A—, 19 I&N
                                                  such as mental or physical disability, health, age,      Deportability and Inadmissibility on Public Charge        Dec. 867 (Comm’r 1988).
                                                  current reliance on welfare benefits, capacity to find   Grounds, 64 FR 28689 (May 26, 1999).                        413 See 10 I&N Dec. 409 (Att’y Gen. 1964).




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                                                  the United States, the Attorney General                 they presented no prospect of future                  factors and circumstances outweigh the
                                                  considered the respondent’s future                      employment.423                                        specific positive factors and
                                                  ability to earn a living based on his 10-                  DHS proposes that certain factors and              circumstances in an alien’s case
                                                  year work history in the United States,                 circumstances would generally carry                   indicating that the alien is more likely
                                                  his age, and his health.414 The Attorney                heavy weight, as discussed below. The                 than not to receive public benefits as
                                                  General also considered the fact that the               weight given to an individual factor not              described in 8 CFR 212.21(b), at any
                                                  respondent had a brother and other                      designated as carrying heavy weight                   time in the future, then DHS would
                                                  close family members who could                          would depend on the particular facts                  conclude that the applicant is likely to
                                                  provide financial support.415 In Matter                 and circumstances of each case and the                become a public charge.425
                                                                                                          relationship of the factor to other factors
                                                  of Perez,416 the Board made clear that                                                                        D. Age
                                                                                                          in the analysis. Some facts and
                                                  the respondent’s past and current                                                                                An alien’s age is a mandatory factor
                                                                                                          circumstances may be positive while
                                                  receipt of welfare was not determinative                                                                      that must be considered when
                                                                                                          other facts and circumstances may be
                                                  as to whether she was likely to become                  negative. Any factor or circumstance                  determining whether an alien is likely
                                                  a public charge in the future, instead                  that decreases the likelihood of an                   to become a public charge in the
                                                  looking to the totality of her                          applicant becoming a public charge is                 future.426 As discussed below, a
                                                  circumstances, including her age,                       positive; any factor or circumstance that             person’s age may impact his or her
                                                  health, ability to find employment in                   increases the likelihood of an applicant              ability to legally or physically work and
                                                  the future, and the availability of family              becoming a public charge is negative.                 is therefore relevant to being self-
                                                  support.417 In Matter of A—,418                         Multiple factors operating together may               sufficient, and the likelihood of
                                                  although the respondent and her                         be weighed more heavily since those                   becoming a public charge. Accordingly,
                                                  husband had been unemployed for the                     factors in tandem may show that the                   DHS proposes to consider the alien’s age
                                                  4 years prior to the filing of her                      alien is already a public charge or is or             primarily in relation to employment or
                                                  application for temporary resident                      is not likely to become one.                          employability, and secondarily to other
                                                  status, the INS Commissioner held that                     For example, an alien’s assets,
                                                  the respondent was not likely to become                 resources, and financial status together                425 As explained, the proposed public charge

                                                                                                          would frequently carry considerable                   policy is consistent with the totality of the
                                                  a public charge ‘‘due to her age and                                                                          circumstances approach undertaken by the former
                                                  ability to earn a living,’’ as shown by her             positive weight, because they are the                 INS Commissioner in Matter of A—. We recognize
                                                  recent employment among other                           most tangible factors to consider in                  the Commissioner, in that decision, cited an earlier
                                                  factors.419                                             public charge determinations. An alien’s              decision of the Attorney General for the proposition
                                                                                                          assets, resources, and financial status               that ‘‘[a] healthy person in the prime of life cannot
                                                     An INS Regional Commissioner took                    examined together may show that the
                                                                                                                                                                ordinarily be considered likely to become a public
                                                                                                                                                                charge, especially where he has friends or relatives
                                                  a similar totality of the circumstances                 alien is not likely to be a public charge             in the United States who have indicated their
                                                  approach in Matter of Harutunian 420                    despite concerns about the alien’s age,               ability and willingness to come to his assistance in
                                                  and determined that the respondent in                   education, skills, and health. At the                 case of emergency.’’ 19 I&N Dec. 867, 869 (Comm’r
                                                  that case was inadmissible as likely to                                                                       1988) (quoting Matter of Martinez-Lopez, 10 I&N
                                                                                                          same time, an alien’s assets, resources,              Dec. 409, 421–22 (Att’y Gen. 1964)). In Matter of
                                                  become a public charge because the                      and financial status examined together                A— and Matter of Martinez-Lopez, the INS
                                                  respondent lacked the means to support                  may be so limited that a finding that the             Commissioner and the Attorney General,
                                                  herself, the ability to earn a living, and              alien is not likely to become a public                respectively, implicitly acknowledge that, although
                                                                                                                                                                individuals in the prime of life will not ordinarily
                                                  the presence of a sponsor to assure that                charge would have to be based on                      become public charges, they certainly may;
                                                  she would not need public support.421                   positive attributes associated with the               otherwise, it would have been pointless to assert
                                                  Furthermore, the alien was increasingly                 alien’s education, skills, health, family             that what ordinarily is the case is especially true in
                                                  likely to become dependent, disabled,                   status, age, or sponsorship.                          certain instances. See Matter of A—, 19 I&N Dec.
                                                                                                                                                                867, 869 (Comm’r 1988) (acknowledging that ‘‘all
                                                  and sick because of her older age, and                     Ultimately, DHS recognizes that, as                factors should be considered in their totality’’ in
                                                  accordingly was expected to become                      the Attorney General has noted, ‘‘the                 determining whether an individual is likely to
                                                  dependent on old-age assistance for                     statute requires more than a showing of               become a public charge). Accordingly, adverse
                                                                                                          a possibility that the alien will require             factors particular to a given circumstance may
                                                  support.422 Similarly, an INS Regional                                                                        counterbalance what otherwise is ordinarily true in
                                                  Commissioner, in Matter of Vindman,                     public support. Some specific                         a vacuum, such that aliens may still be found
                                                  held that a husband and wife were                       circumstance, such as mental or                       inadmissible under INA section 212(a)(4), 8 U.S.C.
                                                  inadmissible as likely to become public                 physical disability, advanced age, or                 1182(a)(4) notwithstanding their being ‘‘in the
                                                                                                          other fact reasonably tending to show                 prime of life.’’ Also consistent with those decisions,
                                                  charges, because they had been                                                                                which instruct that additional positive weight
                                                  receiving public benefits for                           that the burden of supporting the alien               should be afforded where friends or relatives in the
                                                  approximately three years, they were                    is likely to be cast on the public, must              United States are willing and able to assist in
                                                  unemployed in the United States, and                    be present.’’ 424 Indeed, if DHS finds                emergencies, DHS would give positive weight to a
                                                                                                          that the specific positive factors and                Form I–864, Affidavit of Support, that satisfies
                                                                                                                                                                statutory and regulatory requirements and to
                                                    414 See 10 I&N Dec. 409, 422–23 (Att’y Gen. 1964).
                                                                                                          circumstances outweigh the specific                   income and resources of certain household
                                                    415 See 10 I&N Dec. 409, 423 (Att’y Gen. 1964).       negative factors and circumstances in an              members, although the filing of the Form I–864 and
                                                    416 15 I&N Dec. 136 (BIA 1974).                       alien’s case, indicating that the alien is            shared resources likewise would not be
                                                    417 15 I&N Dec. 136, 137 (BIA 1974).                  less likely than not to receive one or                determinative. To the extent this proposed rule may
                                                                                                                                                                be viewed as inconsistent with Matter of A—,
                                                    418 19 I&N Dec. 867 (Comm’r 1988). DHS notes,         more public benefits at any time in the               however, including because the scope of the public
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                                                  however, that this case involves the special public     future as described in 8 CFR 212.21(b),               benefits covered by this proposed rule is broader
                                                  charge rule applicable only to applications under
                                                  INA section 245A, 8 U.S.C. 1255a.
                                                                                                          then DHS would conclude that the alien                than under the longstanding administration of the
                                                                                                          is not likely to become a public charge.              public charge ground, and the threshold for being
                                                    419 See 19 I&N Dec. 867, 870 (Comm’r 1988).
                                                                                                                                                                considered a public charge under the definition of
                                                    420 Matter of Harutunian 14 I&N Dec. 583 (Reg’l       If DHS finds that the specific negative               that term in this proposed rule is lower than it has
                                                  Comm’r 1974).                                                                                                 been for at least the past two decades, that decision
                                                    421 See 14 I&N Dec. 583, 589–90 (Reg’l Comm’r           423 See Matter of Vindman, 16 I&N Dec. 131, 132     would be superseded if this rule is finalized as
                                                  1974).                                                  (Reg’l Comm’r 1977).                                  drafted.
                                                    422 See 14 I&N Dec. 583, 589–90 (Reg’l Comm’r           424 Matter of Martinez-Lopez, 10 I&N Dec. 409,        426 See INA section 212(a)(4)(B), 8 U.S.C.

                                                  1974).                                                  421 (Att’y Gen. 1964).                                1182(a)(4)(B).



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                                                  factors as relevant to determining                      may work up to the age of 18.430                        11.1 percent of persons aged 18 and
                                                  whether someone is likely to become a                   Further, most States require children to                over (27,363,000) lived below the
                                                  public charge.                                          attend school until a certain age,                      poverty level in 2016.435 The U.S.
                                                     Specifically, DHS proposes to assess                 generally until the ages of 16 or 18.431                Census Bureau also reported that
                                                  whether the alien is between 18 and the                 DHS notes that the Fair Labor Standards                 persons under the age of 18 were more
                                                  minimum ‘‘early retirement age’’ for                    Act provides for certain exemptions for                 likely to receive means-tested benefits
                                                  social security purposes (see 42 U.S.C.                 children under 16 to work,432 and                       than all other age groups.436
                                                  416(l)(2)) (61 as of 2017), and whether                 children may be otherwise able to work.                    Similarly, studies show a relationship
                                                                                                             At the other end of the age range,                   between advanced age and receipt of
                                                  the alien’s age otherwise makes the
                                                                                                          retirement is the age at which a person                 public benefits. DHS’s analysis of SIPP
                                                  alien more or less likely to become a                   may begin receiving retirement benefits
                                                  public charge, such as by impacting the                                                                         data in Tables 14 and 15 shows
                                                                                                          from Social Security.433 The minimum                    noncitizens age 62 and older were more
                                                  alien’s ability to work. DHS would                      age for retirement for purposes of Social
                                                  consider a person’s age between 18 and                                                                          likely to receive cash and non-cash
                                                                                                          Security is generally 62.434 People who                 benefits than U.S. citizens in the same
                                                  61 as a positive factor in the totality of              are at the minimum retirement age may
                                                  the circumstances, and consider a                                                                               age group. Of noncitizens age 62 and
                                                                                                          stop working and start receiving                        older, 11.8 percent received SSI, TANF,
                                                  person’s age under 18 or over 61 to be                  retirement benefits such as Social                      or GA in 2013 compared to 4.5 percent
                                                  a negative factor in the totality of the                Security. If a person does have access to               of U.S. citizens age 62 and older. The
                                                  circumstances when determining the                      Social Security benefits or a retirement                rate of receipt of either cash or non-cash
                                                  likelihood of becoming a public charge.                 pension, he or she may not need public                  benefits was about 40 percent among
                                                  However, DHS acknowledges that                          benefits for income maintenance or                      U.S. citizens and noncitizens age 0 to
                                                  people under the age of 18 and over the                 other benefits to be self-sufficient as the             17. Among noncitizens, the receipt of
                                                  age of 61 may be working or have                        income from Social Security or the                      non-cash benefits was much lower
                                                  adequate means of support, and would                    pension may suffice.                                    among individuals between age 18 and
                                                  recognize such means as positive                           Other age-related considerations may                 61 (19.3 percent) than individuals under
                                                  factors.                                                also be relevant to public charge                       age 18 (40.2 percent), or individuals
                                                     The 18 through 61 age range is based                 inadmissibility determinations, in                      over age 61 (36.3 percent). Among U.S.
                                                  on the age at which people are generally                individual circumstances. Individuals                   citizens, the receipt of non-cash benefits
                                                  able to work full-time and the age at                   under the age of 18 may be more likely                  was lower among individuals between
                                                  which people are generally able to retire               to qualify for and receive public                       age 18 and 61 (15.3 percent) than
                                                  with some social security retirement                    benefits. The U.S. Census Bureau                        individuals under age 18 (39.7 percent),
                                                  benefits under Federal law.427 At one                   reported that 18 percent of persons                     and higher among individuals over age
                                                  end of the spectrum, children under the                 under the age of 18 (13,253,000) and
                                                                                                                                                                  61 (11.4 percent).
                                                  age of 18 generally face difficulties                     430 See 29 U.S.C. 213(c); 29 CFR part 570; see also
                                                                                                                                                                  BILLING CODE 4410–10–P
                                                  working full-time.428 In general, the Fair              Dep’t of Labor, Table of Employment/Age
                                                  Labor Standards Act sets 14 years of age                Certification Issuance Practice Under State Child         435 See Jessica L. Semega et al., U.S. Census

                                                  as the minimum age for employment,                      Labor Laws, available at https://www.dol.gov/whd/       Bureau, Income and Poverty in the United States:
                                                                                                          state/certification.htm (last updated Jan. 1, 2018).    2016, at 13 tbl.3 (Sept. 2017), available at https://
                                                  and limits the number of hours worked                     431 See Nat’l Ctr. for Educ. Statistics, Table 5.1:   www.census.gov/content/dam/Census/library/
                                                  by children until the age of 16.429 States              Compulsory School Attendance Laws, Minimum              publications/2017/demo/P60-259.pdf. Statistics
                                                  have varying laws addressing at what                    and Maximum Age Limits for Required Free                provided for those aged 18 and over were inferred.
                                                  age and for how many hours children                     Education, by State: 2015, available at https://          436 In an average month during 2012, 39.2 percent

                                                                                                          nces.ed.gov/programs/statereform/tab5_1.asp (last       of children received some type of means-tested
                                                                                                          visited Sept. 10, 2018).                                benefit. See Shelley K. Irving & Tracy A. Loveless,
                                                    427 See 29 U.S.C. 213(c), 42 U.S.C. 416(l)(2).          432 See 29 CFR 570.122.                               U.S. Census Bureau, Household Economic Studies,
                                                    428 See 29 U.S.C. 213(c); 29 CFR part 570; see also     433 See 42 U.S.C. 416(l); see also U.S. Soc. Sec.     Dynamics of Economic Well-Being: Participation in
                                                  Dep’t of Labor, Table of Employment/Age                 Admin., Retirement Planner: Benefits by Year of         Government Programs, 2009–2012: Who Gets
                                                  Certification Issuance Practice Under State Child       Birth, available at https://www.ssa.gov/planners/       Assistance? 6 (May 2015), available at https://
                                                  Labor Laws, available at https://www.dol.gov/whd/       retire/agereduction.html (last visited Sept. 10,        www.census.gov/content/dam/Census/library/
                                                  state/certification.htm (last updated Jan. 1, 2018).    2018).                                                  publications/2015/demo/p70-141.pdf; see also U.S.
                                                    429 See 29 U.S.C. 213(c); 29 CFR part 570; see also     434 See 42 U.S.C. 416(l); see also U.S. Soc. Sec.     Census Bureau, News Release, 21.3 Percent of U.S.
                                                  Dep’t of Labor, Table of Employment/Age                 Admin., Retirement Planner: Benefits by Year of         Population Participates in Government Assistance
                                                  Certification Issuance Practice Under State Child       Birth, available at https://www.ssa.gov/planners/       Programs Each Month (May 28, 2015), available at
                                                  Labor Laws, available at https://www.dol.gov/whd/       retire/agereduction.html (last visited Sept. 10,        https://www.census.gov/newsroom/press-releases/
                                                  state/certification.htm (last updated Jan. 1, 2018).    2018).                                                  2015/cb15-97.html.
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                                                  BILLING CODE 4410–10–C                                  investments, or other resources—                      E. Health
                                                    Regardless of age, DHS recognizes that                including Social Security benefits and
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                                                  an alien may have financial assets,                     Medicare—to support him or herself                      An alien’s health is a factor that must
                                                  resources, benefits through                             and the household. In addition, as                    be considered when determining
                                                  employment, education or skills, family,                people age, they may become eligible for              whether an alien is likely to become
                                                  or other means of support that decrease                 certain earned benefits including Social              public charge in the future.437 Prior to
                                                  his or her likelihood of becoming a                     Security benefits, health insurance from              Congress establishing health as a factor
                                                  public charge. For example, the alien or                Medicare, and benefits from an                        for the public charge determination, the
                                                  the alien’s spouse or parent may have                   employer pension or retirement benefit.
                                                                                                                                                                                                                          EP10OC18.030</GPH>




                                                  sufficient income, or savings,                                                                                  437 See   INA section 212(a)(4), 8 U.S.C. 1182(a)(4).



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                                                  courts, the BIA and INS had also held                    or financially support him or herself.                   change of status to that of a spouse of
                                                  that a person’s physical and mental                      Such medical conditions may also                         a legal permanent resident (V–1) or
                                                  condition was of major significance to                   increase the likelihood that the alien                   child (V–2) status must submit a
                                                  the public charge determination,                         could resort to Medicaid, or Premium                     medical examination.448 In addition, a
                                                  generally in relation to the ability to                  and Cost Sharing Subsidies for Medicare                  consular officer may request a medical
                                                  earn a living.438 Accordingly, DHS                       Part D.443 However, DHS recognizes that                  examination if the officer has concerns
                                                  proposes that when considering an                        regardless of the alien’s health status,                 that the applicant may be inadmissible
                                                  alien’s health, DHS will consider                        the alien may have financial assets,                     on health-related grounds.449 Likewise,
                                                  whether the alien has any physical or                    resources, or support, including private                 a CBP officer at a port of entry may
                                                  mental condition that, although not                      health insurance or the means to                         require a nonimmigrant to submit to a
                                                  considered a condition or disorder that                  purchase it, that allows him or her to be                medical examination to determine
                                                  would render the alien inadmissible                      self-sufficient.444                                      medical inadmissibility.450
                                                  under the health-related ground of                          Nevertheless, an alien’s inability to                    Civil surgeons and panel physicians
                                                  inadmissibility,439 is significant enough                work due to a medical condition, and                     test for Class A 451 and Class B 452
                                                  to interfere with the person’s ability to                failure to maintain health insurance or                  medical conditions, and report the
                                                  care for him- or herself or to attend                    the financial resources to pay for the                   findings on the appropriate medical
                                                  school or work, or that is likely to                     medical costs, could make it likely that                 examination form. An alien is
                                                  require extensive medical treatment or                   such alien would become a public                         inadmissible on a health-related ground
                                                  institutionalization in the future.                      charge. In addition, long-term health                    for being diagnosed with a Class A
                                                     The mere presence of a medical                        care expenses to treat such a medical                    medical condition unless a waiver is
                                                  condition would not render an alien                      condition could decrease an                              available and authorized.453 Class A
                                                  inadmissible. Instead, DHS would                         individual’s available financial                         medical conditions, as defined in HHS
                                                  consider the existence of a medical                      resources.                                               regulations, include the following: 454
                                                  condition in light of the effect that such                                                                           • Communicable disease of public
                                                                                                           1. USCIS Evidentiary Requirements                        health significance, including
                                                  medical condition is likely to have on
                                                  the alien’s ability to attend school or                     DHS proposes that USCIS’ review of                    gonorrhea, Hansen’s Disease
                                                  work, and weigh such evidence in the                     the health factor would include, but not                 (infectious), syphilis (infectious stage),
                                                  totality of the circumstances. As part of                be limited to, the consideration of the                  and active tuberculosis; 455
                                                  the assets, resources and financial status               following types of evidence: (1) Any                        • Failure to meet vaccination
                                                  factor, DHS would consider whether the                   required Report of Medical Examination                   requirements; 456
                                                  alien has private health insurance, or                   and Vaccination Record (Form I–693) or                      • Present or past physical or mental
                                                  the financial resources to pay for                       applicable DOS medical examination                       disorders with associated harmful
                                                  associated medical costs.                                form 445 submitted in support of the                     behavior or harmful behavior that is
                                                     Research and data establish that                      application for the diagnosis of any                     likely to recur; 457 and
                                                  healthcare is costly, particularly for the               medical conditions; 446 or (2) evidence                     • Drug abuse or addiction.458
                                                  government. In 2016, the National                        of a medical condition that is likely to                    In identifying a Class A medical
                                                  Health Expenditure (NHE) grew to $3.3                    require extensive medical treatment or                   condition, the HHS regulations direct
                                                  trillion, or $10,348 per person, which                   institutionalization after arrival, or that              physicians conducting the immigration
                                                  represents an increase of 4.3 percent                    will interfere with the alien’s ability to               medical examinations to explain on the
                                                  from 2015.440 Medicaid spending,                         care for him- or herself, to attend school,              medical report ‘‘the nature and extent of
                                                  which is 17 percent of the total NHE,                    or to work.                                              the abnormality; the degree to which the
                                                  grew by 3.9 percent to $565.5 billion.441                   The specific reference to the Form                    alien is incapable of normal physical
                                                  The Federal Government (28.3 percent)                    I–693 or similar form is intended to help                activity; and the extent to which the
                                                  and households (28.1 percent) paid the                   standardize USCIS’ assessment of health                  condition is remediable . . . [as well as]
                                                  largest shares of total health                           as a factor for public charge                            the likelihood, that because of the
                                                  spending.442                                             consideration and avoid multiple                         condition, the applicant will require
                                                     An alien’s medical conditions may                     medical examinations for the alien.
                                                  impose costs that a person is unable to                  Most immigrant visa applicants                              448 See INA section 101(a)(15)(v), 8 U.S.C.

                                                  afford, and may also reduce that                         applying with the DOS and those aliens                   1101(a)(15)(v); see also 8 CFR 214.15.
                                                                                                                                                                       449 See INA section 221(d), 8 U.S.C. 1201(d).
                                                  person’s ability to attend school, work,                 applying for adjustment of status with                      450 See INA section 232, 8 U.S.C. 1222.
                                                                                                           USCIS are required to submit a medical                      451 The alien would be inadmissible for health-
                                                     438 See, e.g., Matter of Martinez-Lopez, 10 I&N       examination.447 Nonimmigrants                            related grounds under INA section 212(a)(1), 8
                                                  Dec. 409, 421–23 (Att’y Gen. 1964); see also Matter      applying with DOS and nonimmigrants                      U.S.C. 1182(a)(1).
                                                  of A-, 19 I&N Dec. 867, 869 (Comm’r 1988) (citing
                                                  Matter of Harutunian, 14 I&N Dec. 583 (Reg’l
                                                                                                           seeking a change of status or extension                     452 Class B medical conditions do not make an

                                                                                                           of stay with USCIS are generally not                     alien inadmissible on health-related grounds under
                                                  Comm’r 1974); Matter of Vindman, 16 I&N Dec. 131
                                                                                                           required to submit a medical                             INA section 212(a)(1), 8 U.S.C. 1182(a)(1), but are
                                                  (Reg’l Comm’r 1977)).
                                                                                                                                                                    relevant to the public charge determination.
                                                     439 See INA section 212(a)(1), 8 U.S.C. 1182(a)(1).
                                                                                                           examination with their applications.                        453 See INA section 212(a)(1), 8 U.S.C. 1182(a)(1).
                                                     440 See Ctrs. for Medicare & Medicaid Servs., NHE
                                                                                                           However, nonimmigrants seeking a                            454 See 42 CFR 34.2(d). The alien with a Class A
                                                  Fact Sheet, available at https://www.cms.gov/
                                                  research-statistics-data-and-systems/statistics-                                                                  medical condition would be inadmissible based on
                                                  trends-and-reports/nationalhealthexpenddata/nhe-
                                                                                                             443 See  42 U.S.C. 1395w–114.                          health-related grounds under INA section 212(a)(1),
                                                  fact-sheet.html (last visited Feb. 3, 2018).               444 For  example, a person may have savings,           8 U.S.C. 1182(a)(1). However, these medical
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                                                     441 See Ctrs. for Medicare & Medicaid Servs., NHE     investments or trust funds.                              conditions may also be considered as part of the
                                                                                                              445 This is currently the Immigrant or Refugee        public charge inadmissibility determination.
                                                  Fact Sheet, available at https://www.cms.gov/                                                                        455 See 42 CFR 34.2(b) and (d)(1); see also INA
                                                  research-statistics-data-and-systems/statistics-         Applicant (Form DS–2054).
                                                  trends-and-reports/nationalhealthexpenddata/nhe-            446 The medical examination documentation             section 212(a)(1)(i), 8 U.S.C. 1182(a)(1)(i).
                                                                                                                                                                       456 See 42 CFR 34.2(d); see also INA section
                                                  fact-sheet.html (last visited Feb. 3, 2018).             indicates whether the applicant has either a Class
                                                     442 See Ctrs. for Medicare & Medicaid Servs., NHE     A or Class B medical condition. In addition, the         212(a)(1)(ii), 8 U.S.C. 1182(a)(1)(ii).
                                                  Fact Sheet, available at https://www.cms.gov/            alien must provide a vaccination record. Class A            457 See 42 CFR 34.2(d); see also INA section

                                                  research-statistics-data-and-systems/statistics-         and Class B medical conditions are defined in the        212(a)(1)(iii), 8 U.S.C. 1182(a)(1)(iii).
                                                  trends-and-reports/nationalhealthexpenddata/nhe-         HHS regulations. See 42 CFR 34.2.                           458 See 42 CFR 34.2(d), (h), (i); see also INA

                                                  fact-sheet.html (last visited Feb. 3, 2018).                447 See INA section 212(a)(1), 8 U.S.C. 1182(a)(1).   section 212(a)(1)(iv), 8 U.S.C. 1182(a)(1)(iv).



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                                                  extensive medical care or                                   If the physician conducting the                      The presence or absence of a medical
                                                  institutionalization.’’ 459 A waiver of the              immigration medical examination                       condition would only be considered a
                                                  health-related ground of inadmissibility                 identifies a Class B medical condition                positive or negative factor as it pertains
                                                  is available for communicable diseases                   that is ‘‘a substantial departure from                to the alien’s likelihood of becoming a
                                                  of public health significance, physical                  normal well-being,’’ 463 the HHS                      public charge; frequently, this would
                                                  or mental disorder accompanied by                        regulations direct the physician to                   entail consideration of whether, in light
                                                  harmful behavior, and lack of                            explain in the medical notification 464               of the alien’s health, the alien will be
                                                  vaccinations.460                                         ‘‘the degree to which the alien is                    able to adequately care for him- or
                                                     A Class B medical condition is                        incapable of normal physical activity,                herself, to attend school, or to work.466
                                                  defined as a physical or mental                          and the extent to which the condition is
                                                  condition, disease, or disability serious                remediable . . . [and] the likelihood,                2. Potential Effects for Aliens With a
                                                  in degree or permanent in nature.461                     that because of the condition, the                    Disability, Depending on Individual
                                                  Currently, the CDC Technical                             applicant will require extensive medical              Circumstances
                                                  Instructions for Medical Examinations                    care or institutionalization.’’ 465
                                                                                                                                                                    As noted above, DHS would consider
                                                  of Aliens, which direct physicians to                       DHS would consider any of the above-
                                                                                                           described conditions in the totality of               any immigration medical examination
                                                  provide information about Class B
                                                                                                           the circumstances. Any such condition                 submitted with the alien’s application,
                                                  conditions, describe a Class B condition
                                                                                                           would not serve as the sole factor                    as well as any other evidence
                                                  as one that, although it does not
                                                                                                           considered in whether an alien is likely              demonstrating that the individual has a
                                                  ‘‘constitute a specific excludable
                                                                                                           to become a public charge. Absence of                 medical condition that will affect the
                                                  condition, represents a departure from
                                                                                                           a diagnosis of such a condition would                 alien’s ability to work, attend school, or
                                                  normal health or well-being that is
                                                                                                           be a positive factor. DHS recognizes that             otherwise support himself or herself. As
                                                  significant enough to possibly interfere
                                                                                                           some conditions that are Class A and                  part of the immigration medical
                                                  with the person’s ability to care for him-
                                                                                                           Class B are treatable and the person may              examination, when identifying a Class B
                                                  or herself, to attend school or work, or
                                                                                                           in the future be able to work or attend               medical condition, civil surgeons and
                                                  that may require extensive medical
                                                                                                           school. These circumstances, as                       panel physicians are required to report
                                                  treatment or institutionalization in the
                                                                                                           identified by a civil surgeon or panel                on certain disabilities, including the
                                                  future.’’ 462
                                                                                                           physician, would also be taken into                   nature and severity of the disability, its
                                                    459 42  CFR 34.4(b)(2).                                consideration in the totality of the                  impact on the alien’s ability to work,
                                                    460 See  INA section 212(g)(1), 8 U.S.C. 1182(g)(1).   circumstances.                                        attend school, or otherwise support
                                                  Although a waiver is unavailable for inadmissibility        In addition to the types of evidence               himself or herself, and whether the
                                                  due to drug abuse or addiction, an applicant may         described above, DHS would also take                  disability will require hospitalization or
                                                  still overcome this inadmissibility if his or her drug                                                         institutionalization. Under the proposed
                                                  abuse or addiction is found to be in remission. See      into consideration any additional
                                                  Ctrs. for Disease Control & Prevention, Technical        medical records or related information                rule, DHS would only consider
                                                  Instructions for Panel Physicians and Civil              provided by the alien to clarify any                  disability as part of the health factor to
                                                  Surgeons, Remission, available at https://               medical condition included on the                     the extent that such disability, in the
                                                  www.cdc.gov/immigrantrefugeehealth/exams/ti/                                                                   context of the alien’s individual
                                                  civil/mental-civil-technical-instructions.html (last     medical form or other information that
                                                  updated Oct. 23, 2017).                                  may outweigh any negative factors.                    circumstances, impacts the likelihood of
                                                     461 See 42 CFR 34.2(b)(2).                            Such documentation may include, for                   the alien becoming a public charge.
                                                     462 See Ctrs. for Disease Control & Prevention,
                                                                                                           instance, a licensed doctor’s attestation             Frequently, this would entail
                                                  Required Evaluations—Other Physical or Mental            of prognosis and treatment of a medical               consideration of the potential effects on
                                                  Abnormality, Disease, or Disability, Technical                                                                 the alien’s ability to work, attend school
                                                  Instructions For Medical Examination Of Aliens,
                                                                                                           condition.
                                                  available at https://www.cdc.gov/                                                                              or otherwise support him or herself.
                                                  immigrantrefugeehealth/exams/ti/panel/technical-         updated Aug. 3, 2010). The HHS regulations require
                                                  instructions/panel-physicians/other-physical-            physicians conducting medical examinations for an        466 Relatedly, as part of the assets, resources and

                                                  mental.html (last updated Nov. 23, 2016); Ctrs. for      alien to comply with the CDC’s Technical              financial status factor, DHS would consider
                                                  Disease Control & Prevention, Required Evaluation        Instructions for Medical Examinations of Aliens. 42   whether the alien either has sufficient household
                                                  Components Other Physical or Mental Abnormality,         CFR 34.3(i).
                                                                                                              463 See 42 CFR 34.4(c)(1).
                                                                                                                                                                 assets and resources, including private health
                                                  Disease or Disability, Technical Instructions for the                                                          insurance, to cover any reasonably foreseeable
                                                  Medical Examination of Aliens in the United States,         464 See 42 CFR 34.2(l) (defining a medical
                                                                                                                                                                 medical costs related to a medical condition that is
                                                  available at https://www.cdc.gov/                        notification as ‘‘[a] medical examination document
                                                  immigrantrefugeehealth/exams/ti/civil/technical-         issued to a U.S. consular authority or DHS by a       likely to require extensive medical treatment or
                                                  instructions/civil-surgeons/required-evaluation-         medical examiner’’).                                  institutionalization or that will interfere with the
                                                  components/other-disease-disability.html (last              465 42 CFR 34.4(c)(2).                             alien’s ability to provide care for him- or herself, to
                                                                                                                                                                 attend school, or to work.
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                                                     The Rehabilitation Act of 1973 467 and                  CDC.473 The ADA,474 the Rehabilitation                to become a public charge in the
                                                  the Americans with Disabilities Act                        Act of 1973,475 and the IDEA 476 provide              future.478 When considering an alien’s
                                                  (ADA) of 1990 468 prohibit                                 further protections for individuals with              family status, DHS proposes to consider
                                                  discrimination against individuals                         disabilities to better ensure that such               whether the alien has a household to
                                                  based on their disabilities.469 Both laws                  individuals have the opportunity to                   support, or whether the alien is being
                                                  require, among other things, that                          make such contributions.477                           supported by another household and
                                                  employers provide reasonable                                  Ultimately, DHS has determined that                whether the alien’s household size
                                                  accommodations for individuals with                        considering, as part of the health factor,            makes the alien more or less likely to
                                                  disabilities who need them to apply for                    an applicant’s disability diagnosis that,             become a public charge. DHS notes that
                                                  a job, perform a job’s essential                           in the context of the alien’s individual              it would frequently view family status
                                                                                                             circumstances, affects his or her ability             in connection with, among other things,
                                                  functions, or enjoy equal benefits and
                                                                                                             to work, attend school, or otherwise care             the alien’s assets and resources, because
                                                  privileges of employment, absent undue
                                                                                                             for him or herself, is not inconsistent               the amount of assets and resources
                                                  hardship (i.e., significant difficulty or                  with federal statutes and regulations
                                                  expense). The Individuals with                                                                                   necessary to support a larger number of
                                                                                                             with respect to discrimination, as the                people in a household is generally
                                                  Disabilities Education Act (IDEA) 470                      alien’s disability is treated just as any
                                                  ensures equality of educational                                                                                  greater. Thus, as described in the Assets,
                                                                                                             other medical condition that affects an               Resources, and Financial Status section
                                                  opportunity and assists States in                          alien’s likelihood, in the totality of the
                                                  providing special education and related                                                                          below, DHS’s proposed standard for
                                                                                                             circumstances, of becoming a public
                                                  services to children with disabilities.                                                                          evaluating assets, resources and
                                                                                                             charge. Under the totality of the
                                                  Further, DHS is specifically prohibited                                                                          financial status requires DHS to
                                                                                                             circumstances framework, an alien with
                                                  from discriminating against individuals                                                                          consider whether the alien can support
                                                                                                             a disability is not being treated
                                                  with disabilities and otherwise                                                                                  him or herself and the household as
                                                                                                             differently, or singled out, and the
                                                  preventing individuals with disabilities                                                                         defined in 8 CFR 212.21(d), at the level
                                                                                                             disability itself would not be the sole
                                                  from participating in benefits                                                                                   of at least 125 percent of the most recent
                                                                                                             basis for an inadmissibility finding. In
                                                  programs.471 Congress has noted that                       other words, as with any other factor                 FPG based on the alien’s household
                                                  ‘‘[d]isability is a natural part of the                    and consideration in the public charge                size.
                                                  human experience and in no way                             inadmissibility determination, DHS                       As noted in the description above of
                                                  diminishes the right of individuals to                     would look at each of the mandatory                   the proposed definition of the ‘‘alien’s
                                                  . . . contribute to society; pursue                        factors, and the affidavit of support, if             household,’’ an alien who has no
                                                  meaningful careers; and enjoy full                         required, as well as all other factors in             dependents would have a household of
                                                  inclusion and integration in the                           the totality of the circumstances.                    one, and would only have to support
                                                  economic, political, social, cultural, and                    In sum, an applicant’s disability could            him or herself. By contrast, a child alien
                                                  educational mainstream of American                         not be the sole basis for a public charge             who is part of a parent’s household
                                                  society.’’ 472 Individuals with                            inadmissibility finding. In addition, as              would be part of a larger household, and
                                                  disabilities make substantial                              part of its totality of the circumstances             would have to demonstrate that his or
                                                  contributions to the American economy.                     determination, DHS would always                       her own assets, resources and financial
                                                  For example, in 2010, 41.1 percent of                      recognize that the ADA, the                           status and his or her parent’s or legal
                                                  people with disabilities between the                       Rehabilitation Act, IDEA, and other                   guardian’s assets, resources, and
                                                  ages of 21 to 64 were employed (27.5                       laws provide important protections for                financial status are sufficient to support
                                                  percent of adults with severe disability                   individuals with disabilities, including              the alien and the rest of the household.
                                                  and 71.2 percent of adults with non-                       with respect to employment                               The research and data below discuss
                                                  severe disabilities were employed)                         opportunities. Furthermore, as it relates             how the number of household members
                                                  during a study conducted by the                            to a determination of inadmissibility                 may affect the likelihood of receipt of
                                                                                                             under section 212(a)(4) of the Act, DHS               public benefits. Table 16 and Table 17
                                                                                                             does not stand in the position of an
                                                    467 Public Law 93–112, section 504, 87 Stat. 355,                                                              show that among both U.S. citizens and
                                                  394 (codified as amended at 29 U.S.C. 794)                 employer vis-a-vis when the alien is
                                                                                                                                                                   noncitizens, the receipt of non-cash
                                                  (prohibiting discrimination solely on the basis of         applying for the immigration benefit.
                                                  disability in Federal and federally-funded programs
                                                                                                                                                                   benefits generally increased as family
                                                                                                             DHS is also not proposing to include
                                                  and activities).                                                                                                 size increased. Among U.S. citizens,
                                                                                                             employee benefits of any type in the
                                                    468 Public Law 101–336, 104 Stat. 327 (codified as                                                             individuals in families with 3 or 4
                                                  amended at 42 U.S.C. 12101–12213).                         definition of public benefit.
                                                                                                                                                                   persons were more likely to receive non-
                                                    469 See 42 U.S.C. 12112(b)(5); see also 29 CFR
                                                                                                             F. Family Status                                      cash benefits compared to families of 2,
                                                  1630.2(o), 1630.9.
                                                    470 Public Law 108–446, 118 Stat 2647 (2004)               An applicant’s family status is a factor            while individuals in families of 5 or
                                                  (codified as amended at 20 U.S.C. 1400–1482).              that must be considered when                          more were about three times as likely to
                                                    471 See 6 CFR 15.30(b)(1)(i) (‘‘The Department, in
                                                                                                             determining whether the alien is likely               receive non-cash benefits as families of
                                                  providing any aid, benefit, or service, may not                                                                  2. Among noncitizens in families with
                                                  directly or through contractual, licensing, or other         473 See Mathew W. Brault, U.S. Census Bureau,       3 or 4 people, about 20 percent received
                                                  arrangements, on the basis of disability . . . [d]eny
                                                  a qualified individual with a disability the               Americans With Disabilities: 2010, at 10 (2012),      non-cash assistance, while about 30
                                                  opportunity to participate in or benefit from the aid,     available at https://www2.census.gov/library/         percent of noncitizens in families of 5
                                                  benefit, or service . . . .’’); 6 CFR 15.30(b)(4) (‘‘The   publications/2012/demo/p70-131.pdf.
                                                                                                                                                                   or more received non-cash benefits.
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                                                                                                               474 See Public Law 101–336, 104 Stat. 327 (1990)
                                                  Department may not, directly or through
                                                  contractual or other arrangements, utilize criteria or     (codified as amended at 42 U.S.C. 12101–12213).       Across family sizes, the rate of receipt
                                                  methods of administration the purpose or effect of           475 See Public Law 93–112, section 504, 87 Stat.    of cash assistance ranged from about 3
                                                  which would [s]ubject qualified individuals with a         355, 394 (codified as amended at 29 U.S.C. 794).      to 5 percent among U.S. citizens, and
                                                  disability to discrimination on the basis of                 476 See Public Law 108–466, 118 Stat 2647 (2004)
                                                                                                                                                                   about 1 to 3 percent among noncitizens.
                                                  disability; or [d]efeat or substantially impair            (codified as amended at 20 U.S.C. 1400–1482).
                                                  accomplishment of the objectives of a program or             477 See generally Dep’t of Justice, Civil Rights
                                                                                                                                                                   The rate of receipt of either TANF or GA
                                                  activity with respect to individuals with a                Div., Disability Rights Sec., A Guide to Disability
                                                  disability.’’).                                            Rights Laws (July 2009), https://www.ada.gov/           478 See proposed 8 CFR 212.2; see also INA
                                                    472 See 29 U.S.C. 701(3).                                cguide.htm.                                           section 212(a)(4), 8 U.S.C. 1182(a)(4).



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                                                  was about 1 percent or less regardless of
                                                  family size or citizenship status.
                                                  BILLING CODE 4410–10–P
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                                                                                                                                                                                                   EP10OC18.031</GPH>




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                                                  BILLING CODE 4410–10–C                                  status, education, and skills) that weigh             financial status in making a public
                                                    In light of the above data on the                     for or against a finding that the alien is            charge determination.479 The statute
                                                  relationship between family size and                    likely to become a public charge. For                 does not define these terms, but the
                                                  receipt of public benefits, DHS proposes                instance, an alien who is part of a large             agency has historically interpreted these
                                                  that in evaluating family status for                    household may have his or her own                     terms to include information that would
                                                  purposes of the public charge                           income or access to additional assets                 provide an overview of the alien’s
                                                  inadmissibility determination, DHS                      and resources that would assist in                    financial means and overall financial
                                                  would consider the number of people in                  supporting the household and therefore                health. Since Legacy INS issued the
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                                                  a household as defined in the proposed                  would also be considered in the totality              1999 Interim Field Guidance, the
                                                  8 CFR 212.21(d). As with the other                      of the circumstances.                                 practical focus has been primarily on
                                                  factors, household size, on its own,                                                                          the sufficiency of an Affidavit of
                                                                                                          G. Assets, Resources, and Financial
                                                  would never dictate the outcome of a                                                                          Support submitted on the alien’s behalf.
                                                                                                          Status
                                                  public charge inadmissibility                                                                                 However, given that the statute sets out
                                                  determination. Regardless of household                    In addition to age, health, and family              the Affidavit of Support as a separate
                                                  size, that an alien may present other                   status, USCIS must consider an
                                                                                                                                                                                                                          EP10OC18.032</GPH>




                                                  factors (e.g., assets, resources, financial             applicant’s assets, resources, and                      479 See   INA section 212(a)(4), 8 U.S.C. 1182(a)(4).



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                                                  requirement and the statute includes the                of the FPG based on the household                     are other potential alternatives,
                                                  mandatory review of assets, resources                   size.484                                              including any studies or data that would
                                                  and financial status as a factor,480 DHS                   DHS has chosen a household income                  provide a basis for a different measure
                                                  is proposing to consider in the totality                of at least 125 percent of the FPG, which             or threshold.
                                                  of the circumstances whether the alien                  has long served as a touchpoint for
                                                                                                          public charge inadmissibility                         1. Evidence of Assets and Resources
                                                  can, taking into account both the alien’s
                                                  assets and liabilities, establish the                   determinations.485 As of February 2018,                  DHS proposes that USCIS would
                                                  ability to support himself or herself and               within the contiguous United States,                  consider certain types of evidence when
                                                  the household as defined in the                         125 percent of FPG ranges from                        reviewing this factor. USCIS
                                                  proposed 8 CFR 212.21(d).                               approximately $20,300 for a family of                 consideration of an alien’s assets and
                                                     All else being equal, the more assets                two to $51,650 for a family of eight.486              resources would include, but not be
                                                  and resources an alien has, the more                    Additionally, consistent with the                     limited to, a review of such information
                                                  self-sufficient the alien is likely to be,              affidavit of support context, if the                  as:
                                                  and the less likely the alien is to receive             alien’s household income is under 125                    • The alien’s annual gross household
                                                  public benefits. On the other hand, an                  percent of the FPG, the alien may use                 income (i.e., all sources of income
                                                  alien’s lack of assets and resources,                   his or her assets, as well household                  before deductions), excluding any
                                                  including income, makes an alien more                   members’ assets, to meet the minimum                  income from public benefits;
                                                  likely to receive public benefits.                      income threshold to avoid the alien’s                    • Any additional income from
                                                  Whether a person may be qualified for                   household income being considered a                   individuals not included in the alien’s
                                                  public benefits frequently depends on                   negative factor in the totality of the                household as defined in the proposed 8
                                                  where the person’s household income                     circumstances review.487 If using                     CFR 212.21(d) who physically reside
                                                  falls with respect to the FPG.481 Federal,              household assets to demonstrate that the              with the alien and whose income will
                                                  State, and local public benefit granting                alien can meet the 125 percent of FPG                 be relied on by the alien to meet the
                                                  agencies frequently use the FPG to                      threshold, the alien must present                     proposed standard of household income
                                                  determine eligibility for public                        evidence that the assets total value is at            at or above 125 percent of FPG;
                                                  benefits.482 Some major means-tested                    least 5 times the difference between the                 • Any additional income to the alien
                                                  programs, however, rely on different                    household income and 125 percent of                   from another person or source not
                                                  income-related measurements for                         FPG for the household size.                           included in the alien’s household on a
                                                  purposes of determining eligibility.483                    The following example illustrates                  continuing monthly or yearly basis for
                                                     Because assets and resources include                 how an applicant would be able to use                 the most recent calendar year, excluding
                                                  the employment income earned by an                      his or her household assets and                       any income from public benefits;
                                                  alien and the members of an alien’s                     resources to demonstrate that he or she
                                                  household, and are an important factor                                                                           • The household’s cash assets and
                                                                                                          has financial support at 125 percent of               resources, including as reflected in
                                                  in determining whether the alien is                     the FPG. The applicant has filed an
                                                  likely to receive public benefits in the                                                                      checking and savings account
                                                                                                          application for adjustment of status. The             statements in the last 12 months;
                                                  future, DHS proposes that when                          applicant has a household size of 4,
                                                  considering an alien’s assets and                                                                                • The household’s non-cash assets
                                                                                                          where 125 percent of the FPG for that                 and resources that can be converted into
                                                  resources, DHS will consider whether                    household size is $31,375. The
                                                  the alien has gross household income of                                                                       cash within 12 months, such as net cash
                                                                                                          applicant’s household income is                       value of real estate holdings minus the
                                                  at least 125 percent of the FPG based on                $24,000, which is $7,375 below 125
                                                  the household size. If the alien’s                                                                            sum of all loans secured by a mortgage,
                                                                                                          percent of the FPG for a household of                 trust deed, or other lien on the home;
                                                  household income is less than 125                       4. Therefore, in order to avoid DHS
                                                  percent of the FPG, the alien’s other                                                                         annuities; securities; retirement and
                                                                                                          determining that the applicant’s                      educational accounts; and any other
                                                  household assets and resources should                   household income is a negative factor in
                                                  be at least 5 times the difference                                                                            assets that can be converted into cash
                                                                                                          the totality of the circumstances, the                easily.
                                                  between the household income and 125                    alien would need $36,875 in household
                                                                                                                                                                   All of this information is potentially
                                                                                                          assets and resources.
                                                    480 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4).                                                         relevant to a determination of the alien’s
                                                                                                             An alien’s financial status would also
                                                    481 The  poverty guidelines are updated                                                                     assets and resources, and likelihood of
                                                                                                          include the alien’s liabilities as
                                                  periodically in the Federal Register by HHS. The                                                              becoming a public charge.
                                                  U.S. Census Bureau definition of family and family      evidenced by the alien’s credit report
                                                  household can be found in U.S. Census Bureau,           and score, as well as whether the alien               2. Evidence of Financial Status
                                                  Current Population Survey 2017 Annual Social and        has in the past, or is currently, receiving
                                                  Economic Supplement (ASEC) 9–1 to 9–2, available                                                                When reviewing whether the alien
                                                                                                          public benefits, among other
                                                  at https://www2.census.gov/programs-surveys/cps/                                                              has any financial liabilities or past
                                                  techdocs/cpsmar17.pdf (last visited Sept. 13, 2018).    considerations. Below, DHS describes
                                                                                                                                                                reliance on public benefits that make
                                                    482 Different Federal programs use different          the proposed rule’s evidentiary
                                                  percentages of the FPG such as 125 percent, 150                                                               the alien more or less likely to become
                                                                                                          requirements for this factor.
                                                  percent, or 185 percent. See U.S. Dep’t of Health &        DHS welcomes public comments on                    a public charge, DHS proposes to review
                                                  Human Servs., Office of the Assistant Sec’y for
                                                                                                          whether 125 percent of the FPG is an                  the following evidence:
                                                  Planning & Evaluation, Frequently Asked Questions
                                                                                                          appropriate threshold in considering the                • Evidence that the alien has applied
                                                  Related to the Poverty Guidelines and Poverty,
                                                  What Programs Use the Federal Poverty Guidelines,       alien’s assets and resources or if there              for or received any public benefit, as
                                                  available at https://aspe.hhs.gov/frequently-asked-                                                           defined in the proposed 8 CFR
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                                                  questions-related-poverty-guidelines-and-poverty          484 This is consistent with the provisions for      212.21(b), on or after the effective date
                                                  #collapseExample9 (last visited Sept. 8, 2018).
                                                    483 See U.S. Dep’t of Health & Human Servs.,          assets under the affidavit of support in 8 CFR        of the final rule;
                                                  Office of the Assistant Sec’y for Planning &
                                                                                                          213a.2(c)(2)(iii)(B)(3).                                • Been certified or approved to
                                                                                                            485 See INA section 213A(f)(1)(E), 8 U.S.C.
                                                  Evaluation, Frequently Asked Questions Related to                                                             receive public benefits, as defined in 8
                                                                                                          1183a(f)(1)(E).
                                                  the Poverty Guidelines and Poverty, What Programs
                                                                                                            486 Annual Update of the HHS Poverty
                                                                                                                                                                CFR 212.21(b), on or after the effective
                                                  Use the Federal Poverty Guidelines, available at                                                              date of the final rule;
                                                  https://aspe.hhs.gov/frequently-asked-questions-        Guidelines, 83 FR 2642 (Jan. 18, 2018).
                                                  related-poverty-guidelines-and-poverty#collapse           487 See INA section 213A(f)(1)(E), 8 U.S.C.           • Evidence that the alien has applied
                                                  Example9 (last visited Sept. 8, 2018).                  1183a(f)(1)(E).                                       for or received a fee waiver for


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                                                  immigration benefits after the effective                in the review of the totality of the                     (b) Fee Waivers for Immigration Benefits
                                                  date of the final rule;                                 circumstances, the alien would not be                       Under INA section 286(m), 8 U.S.C.
                                                    • Credit histories and credit scores;                 found likely to become a public charge.                  1356(m), USCIS collects fees at a level
                                                  and                                                        Review of past applications for or
                                                                                                                                                                   that will ensure recovery of the full
                                                    • Whether the alien has the private                   receipt of public benefits would include
                                                                                                                                                                   costs of providing adjudication and
                                                  health insurance or the financial                       a review of both cash and non-cash
                                                                                                                                                                   naturalization services, including the
                                                  resources to pay for medical costs                      public benefits as defined in the
                                                                                                                                                                   costs of providing similar services
                                                  associated with a medical condition                     proposed 8 CFR 212.21(b). According to
                                                                                                          the U.S. Census Bureau, in 2012,                         without charge to asylum applicants
                                                  identified in 8 CFR 212.22(b)(2).
                                                                                                          approximately 52.2 million people in                     and other immigrants. USCIS may waive
                                                  (a) Public Benefits                                     the United States (or 21.3 percent of the                fees for specific immigration benefit
                                                     Current or past applications for or                  overall population) participated in                      forms if a person demonstrates
                                                  receipt of public benefits, as defined in               major means-tested government                            ‘‘inability to pay.’’ 494
                                                  the proposed 8 CFR 212.21(b), suggests                  assistance programs each month.489 In                       DHS proposes that USCIS would
                                                  that the alien’s overall financial status is            addition, among those with family                        consider past receipt of a fee waiver as
                                                  so weak that he or she is or was unable                 income below the poverty level 490 an                    part of the financial status factor.495
                                                  to fully support him or herself without                 average of 61.3 percent participated in                  Requesting or receiving a fee waiver for
                                                  government assistance, i.e., that the                   at least one major means tested                          an immigration benefit suggests a weak
                                                  alien will receive such benefits in the                 benefit.491 Participation rates were                     financial status. Since fee waivers are
                                                  future. DHS, therefore, proposes to                     highest for Medicaid (15.3 percent) and                  based on an inability to pay, a fee
                                                  consider any current and past receipt of                SNAP (13.4 percent).492 The largest                      waiver for an immigration benefit
                                                  public benefits as set forth in 8 CFR                   share of participants (43.0 percent) who                 suggests an inability to be self-sufficient.
                                                  212.21(b) as a negative factor in the                   benefited from one or more means-                        In addition, the Senate Appropriations
                                                  totality of the circumstances, because it               tested assistance programs between                       Report, which accompanied the fiscal
                                                  is indicative of a weak financial status                January 2009 and December 2012 stayed                    year 2017 Department of Homeland
                                                  and increases the likelihood that the                   in the programs between 37 and 48                        Security Appropriations Act,496
                                                  alien will become a public charge in the                months.493                                               expressed concern about the increased
                                                  future. The weight given to this factor                                                                          use of fee waivers, as those paying fees
                                                  would depend on how recently the alien                     489 See Shelley K. Irving & Tracy A. Loveless, U.S.   are forced to absorb costs for which they
                                                  has received public benefits, and                       Census Bureau, Dynamics of Economic Well-Being:          receive no benefit.497 The committee
                                                                                                          Participation in Government Programs, 2009–2012:         specifically expressed concern that
                                                  whether the person has received public                  Who Gets Assistance? (May 2015), available at
                                                  benefits for an extended period of time                 https://www.census.gov/content/dam/Census/
                                                                                                                                                                   those unable to pay fees are less likely
                                                  (i.e., receives public benefits for                     library/publications/2015/demo/p70-141.pdf; see          to live in the United States independent
                                                  multiple years) or at multiple different                also U.S. Census Bureau, News Release: 21.3              of government assistance.498
                                                                                                          Percent of U.S. Population Participates in                  DHS would not consider a fee
                                                  time periods (i.e., 3 times in the last two             Government Assistance Programs Each Month (May
                                                  years).488                                              28, 2015), available at https://www.census.gov/
                                                                                                                                                                   exemption as part of the determination
                                                     DHS would also consider whether the                  newsroom/press-releases/2015/cb15-97.html. The           of whether an alien is likely to become
                                                  alien has been certified or approved to                 U.S. Census Bureau included Temporary Assistance         a public charge,499 as such exemption
                                                                                                          for Needy Families (TANF), General Assistance            would have no bearing on whether an
                                                  receive public benefits, as defined in 8                (GA), Supplemental Security Income (SSI),
                                                  CFR 212.21(b), on or after the effective                Supplemental Nutrition Assistance Program
                                                                                                                                                                   alien would be likely to become a public
                                                  date of the final rule. For example, a                  (SNAP), Medicaid, and housing assistance as major        charge in the future. Fee exemptions are
                                                  person may be certified for SNAP                        means-tested benefits as major means-tested              not fee waivers and are not affirmatively
                                                                                                          government benefits.                                     requested by an alien based on an
                                                  benefits for a month or up to 24 months                    490 See U.S. Census Bureau, News Release: 21.3
                                                  at one time and then receive the benefits                                                                        inability to pay. Instead, fee exemptions
                                                                                                          Percent of U.S. Population Participates in
                                                  from the EBT card on a monthly basis.                   Government Assistance Programs Each Month (May           are provided either to specific forms or
                                                  In general, an alien who is certified or                28, 2015), at 5, available at https://www.census.gov/    immigrant categories based on statutory
                                                  preapproved for benefits in the future is               newsroom/press-releases/2015/cb15-97.html. Note          authority, regulations, or agency policy.
                                                                                                          that the Census reports use the term income to
                                                  likely to continue to receive public                    poverty ratio.’’ A ratio of less than 1 indicates a      (c) Credit Report and Score
                                                  benefits in the future. An alien                        person’s income is below the poverty level. The
                                                  nevertheless may otherwise establish                    census report refers to average monthly                     As also noted above, DHS also
                                                  that he or she has terminated the receipt               participation rates.                                     proposes that USCIS would consider an
                                                  of those benefits through documentation
                                                                                                             491 See Shelley K. Irving & Tracy A. Loveless, U.S.
                                                                                                                                                                   alien’s liabilities and information of
                                                                                                          Census Bureau, Household Economic Studies,
                                                  from the benefit-granting agency.                       Dynamics of Economic Well-Being: Participation in
                                                                                                                                                                   Government Programs, 2009–2012: Who Gets
                                                     DHS recognizes that a person who                     Government Programs, 2009–2012: Who Gets
                                                                                                                                                                   Assistance? 6 (May 2015), available at https://
                                                  previously received public benefits may                 Assistance? 6 (May 2015), available at https://
                                                                                                                                                                   www.census.gov/content/dam/Census/library/
                                                                                                          www.census.gov/content/dam/Census/library/
                                                  have changed circumstances and DHS                      publications/2015/demo/p70-141.pdf. This report
                                                                                                                                                                   publications/2015/demo/p70-141.pdf.
                                                                                                                                                                      494 See 8 CFR 103.7(c).
                                                  would review those circumstances as                     includes Temporary Assistance for Needy Families
                                                                                                                                                                      495 This would be inclusive of fee exceptions
                                                  part of the totality of the circumstances.              (TANF), General Assistance (GA), Supplemental
                                                                                                          Security Income (SSI), Supplemental Nutrition            where an applicant actively requests a fee waiver
                                                  For example, where an alien is currently                                                                         under 8 CFR 103.7(d).
                                                                                                          Assistance Program (SNAP), Medicaid, and housing
                                                  unemployed and finishing a college                      assistance as major means-tested benefits.                  496 See Public Law 115–31, div. F, 131 Stat. 135,
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                                                  education and received benefits, the                       492 See Shelley K. Irving & Tracy A. Loveless, U.S.   404.
                                                  alien may provide evidence that he or                   Census Bureau, Household Economic Studies,                  497 See S. Rep. No. 114–264, at 125 (2016).

                                                  she has pending employment with                         Dynamics of Economic Well-Being: Participation in           498 See S. Rep. No. 114–264, at 125 (2016).

                                                                                                          Government Programs, 2009–2012: Who Gets                    499 See 8 CFR 103.7(d); see also 22 CFR 41.107(c)
                                                  benefits upon graduation from college                   Assistance? 6 (May 2015), available at https://          (listing categories of aliens exempt from
                                                  and attaining a degree. It is possible that             www.census.gov/content/dam/Census/library/               nonimmigrant visa fees); 9 FAM 403.4–3 (same).
                                                                                                          publications/2015/demo/p70-141.pdf.                      Diplomats, UN visitors, U.S. Government
                                                    488 This proposed policy is generally consistent         493 See Shelley K. Irving & Tracy A. Loveless, U.S.   employees, and those coming to perform charitable
                                                  with longstanding policy affording less weight to       Census Bureau, Household Economic Studies,               work are typical classes of aliens whose
                                                  benefits that were received longer ago in the past.     Dynamics of Economic Well-Being: Participation in        nonimmigrant visa fees are exempted.



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                                                  such liabilities in a U.S. credit report                consumers,505 and therefore the person                of the circumstances. DHS would not
                                                  and score as part of the financial status               may be self-sufficient and less likely to             consider health insurance provided
                                                  factor. Not everyone has a credit history               become a public charge. A poor credit                 through government employment as a
                                                  in the United States. Nevertheless, a                   report is well below the average of U.S.              public benefit, but instead consider it a
                                                  good credit score in the United States is               consumers.506                                         positive factor in the totality of the
                                                  a positive factor that indicates a person                  DHS recognizes that not everyone has               circumstances. By contrast, lack of
                                                  is likely to be self-sufficient and support             a credit report in the United States. The             health insurance or lack of the financial
                                                  the household. Conversely, a lower                      absence of an established U.S. credit                 resources to pay for the medical costs
                                                  credit score or negative credit history in              history would not necessarily be a                    would be a negative factor in the totality
                                                  the United States may indicate that a                   negative factor when evaluating public                of the circumstances for any person.508
                                                  person’s financial status is weak and                   charge in the totality of the
                                                                                                          circumstances. Absent a U.S. credit                      While having health insurance would
                                                  that he or she may not be self-sufficient.
                                                                                                          report or score, USCIS may give positive              generally be a positive factor in the
                                                  Credit reports contain information about
                                                  a person’s bill payment history, loans,                 weight to an alien who can show little                totality of the circumstances, recent
                                                  current debt, and other financial                       to no debt and a history of paying bills              (within the past 36 months) or current
                                                  information.500 Credit reports may also                 timely. An alien may provide evidence                 receipt of health insurance that
                                                  provide information about work and                      of regular and timely payment of bills,               constitutes a public benefit under
                                                  residences, lawsuits, arrests, and                      and limited balances on credit cards and              proposed 8 CFR 212.21(b), would
                                                  bankruptcies in the United States.501                   loans. In addition, USCIS would not                   generally be weighed heavily as a
                                                     A U.S. credit score is a number that                 consider any error on a credit score that             negative factor. Regardless of health
                                                  rates a person’s credit risk at a point in              has been verified by the credit agency in             status, DHS recognizes that an alien may
                                                  time.502 It can help creditors determine                determining whether an alien is likely                have financial assets, resources, earned
                                                  whether to give the person credit, affect               to become a public charge in the future.              benefits, education or skills, or other
                                                  the terms of credit the person is offered,              DHS welcomes comments on whether                      support that may decrease his or her
                                                  or impact the rate the person will pay                  DHS should also consider credit scores                likelihood of becoming a public charge
                                                  for a loan in the United States.503 U.S.                that are categorized less than ‘‘good,’’              and would consider those factors in the
                                                  banks and other entities use credit                     the types of credit reports to be                     totality of the circumstances.
                                                  scoring to determine whether a person                   considered and the type of information
                                                                                                                                                                I. Education and Skills
                                                  is likely to repay any loan or debt. A                  from the credit history that should be
                                                  credit report takes into account a                      reviewed.                                               An applicant’s education and skills
                                                  person’s bill-paying history, the number                                                                      are mandatory statutory factors that
                                                                                                          (d) Financial Means To Pay for Medical
                                                  and type of accounts with overdue                                                                             must be considered when determining
                                                                                                          Costs
                                                  payments, collection actions,                                                                                 whether an alien is likely to become a
                                                  outstanding debt, and the age of the                      DHS also proposes that USCIS would
                                                                                                                                                                public charge in the future.509 In
                                                  accounts in the United States.504                       consider evidence of whether an alien
                                                                                                                                                                general, an alien with educational
                                                  Because credit reports and scores                       has the financial means for pay for
                                                                                                                                                                credentials and skills is more
                                                  provide information on a person’s                       certain reasonably foreseeable medical
                                                                                                                                                                employable and less likely to become a
                                                  financial status, DHS is proposing that                 costs, including through private health
                                                                                                                                                                public charge. DHS, therefore, proposes
                                                  USCIS would review any available U.S.                   insurance, as part of the financial factor
                                                                                                                                                                that when considering this factor, DHS
                                                  credit reports as part of its public charge             for public charge inadmissibility
                                                                                                                                                                would consider whether the alien has
                                                  inadmissibility determinations. USCIS                   determinations.
                                                                                                            Health insurance helps cover the cost               adequate education and skills to either
                                                  would generally consider a credit score                                                                       obtain or maintain employment
                                                  characterized as ‘‘good’’ or better to be               of health care and being covered by
                                                                                                          health insurance programs, other than                 sufficient to avoid becoming a public
                                                  a positive factor as it demonstrates an                                                                       charge, if authorized for employment.510
                                                  applicant may be able to support him or                 the ones included in the definition of
                                                  herself and any dependents assuming                     public benefits under proposed 8 CFR                    508 In 2016, 6,147,000 (26 percent) noncitizens
                                                  all other financial records are sufficient.             212.21(b). Some aliens currently obtain               and 1,726,000 (8.4 percent) naturalized citizens did
                                                  A ‘‘good’’ credit report is generally near              health insurance with government                      not have health insurance. See U.S. Census Bureau,
                                                  or slightly above the average of U.S.                   funding.507                                           Current Population Survey, available at https://
                                                                                                            Having private health insurance                     www.census.gov/cps/data/cpstablecreator.html (last
                                                    500 See USA.gov, Credit Reports and Scores,           would be a positive factor in the totality            visited Feb. 20, 2018) (Nativity and Health
                                                  available at https://www.usa.gov/credit-reports (last                                                         Insurance Coverage). In 2005, the estimated number
                                                  updated Mar. 8, 2018).                                     505 MyFICO, Understanding FICO Scores 5,
                                                                                                                                                                of uninsured noncitizens was 45 percent (9.6
                                                    501 See USA.gov, Credit Reports and Scores,                                                                 million people); U.S. Dep’t of Health & Human
                                                                                                          available at https://www.myfico.com/Downloads/
                                                  available at https://www.usa.gov/credit-reports (last                                                         Servs., Office of the Assistant Sec’y for Planning &
                                                                                                          Files/myFICO_UYFS_Booklet.pdf (last visited Aug.
                                                  updated Mar. 8, 2018).                                  6, 2018).                                             Evaluation, Estimating The Number Of Individuals
                                                    502 See USA.gov, Credit Reports and Scores,              506 MyFICO, Understanding FICO Scores 5,           in the U.S. Without Health Insurance, Table:
                                                  available at https://www.usa.gov/credit-reports (last   available at https://www.myfico.com/Downloads/        Immigration Status (Apr. 8, 2005), available at
                                                  updated Mar. 8, 2018).                                  Files/myFICO_UYFS_Booklet.pdf (last visited Aug.      https://aspe.hhs.gov/dataset/table-1immigration-
                                                    503 See USA.gov, Credit Reports and Scores,           6, 2018).                                             status.
                                                                                                                                                                  509 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4).
                                                  available at https://www.usa.gov/credit-reports (last      507 See Jessica C. Barnett & Edward R. Berchick,
                                                  updated Mar. 8, 2018).                                  U.S. Census Bureau, Health Insurance Coverage in        510 The level of education may be an indicator for
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                                                    504 See Fed. Trade Comm’n, Consumer                   the United States: 2016 Current Population Reports    continued employment. See U.S. Bureau of Labor
                                                  Information: Credit Scores (Sept. 2013), available at   (Sept. 2017), available at https://www.census.gov/    Statistics, Employment Projections, Unemployment
                                                  https://www.consumer.ftc.gov/articles/0152-credit-      content/dam/Census/library/publications/2017/         Rates and Earnings by Educational Attainment,
                                                  scores#how.                                             demo/p60-260.pdf.                                     2016, available at https://www.bls.gov/emp/ep_
                                                                                                                                                                chart_001.htm (last updated Mar. 27, 2018).




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                                                    Various studies and data support the                      Additionally, the data suggest that                   relationship between education level
                                                  concept that a person’s education and                    people who have lower education levels                   and public benefit participation rates
                                                  skills are positive factors for self-                    are not only more likely to receive                      among both U.S. citizens and
                                                  sufficiency. The U.S. Bureau of Labor                    public benefits but they tend to stay on                 noncitizens in 2013. U.S. citizens with
                                                  Statistics (BLS) observed in 2016 that                   them longer. For example, 49.4 percent                   less than a high school education were
                                                  there was a relationship between the                     of people with less than 4 years of high                 more likely to participate in either cash
                                                  educational level and unemployment                       school who received public benefits                      or non-cash welfare programs compared
                                                  rate.511 The unemployment rate for an                    from a major means-tested program                        to U.S. citizens with any other
                                                  individual with a doctoral degree was                    between January 2009 and December                        education level. In particular, 37.2
                                                  only 1.6 percent compared to 7.4                         2012 stayed on the benefit program for                   percent of U.S. citizens with less than
                                                  percent for an individual with less than                 37 to 48 months. In contrast, only 39.3                  a high school education received either
                                                  a high school diploma.512 According to                   percent of high school graduates and                     cash or non-cash benefits, while 19.2
                                                  the U.S. Census Bureau, lower                            29.0 percent of those with 1 or more                     percent of those with a high school
                                                  educational attainment was associated                    years of college who received public                     degree and about 13.3 percent with
                                                  with higher public benefit program                       benefits during the same time period                     some college received those benefits.
                                                  participation rates for people over the                  stayed on the public benefit program for                 When examining the cohort of U.S.
                                                  age of 18.513 In 2012, 37.3 percent of                   37 to 48 months.515 The National Center                  citizens that have attained a college
                                                  people who did not graduate from high                    for Education Statistics found that ‘‘[i]n               degree, only 5.5 percent with a
                                                  school received means-tested benefits,                   2015, the poverty rate for children                      Bachelor’s degree, and 2.8 percent with
                                                  compared with 21.6 percent of high                       under age 18 was highest for those
                                                                                                                                                                    a graduate degree received those
                                                  school graduates and 9.6 percent of                      whose parents had not completed high
                                                                                                                                                                    benefits. For the noncitizen population,
                                                  individuals with 1 or more years of                      school (52 percent) and lowest for those
                                                                                                                                                                    the rate of receipt of cash or non-cash
                                                  college.514                                              whose parents had attained a bachelor’s
                                                                                                                                                                    benefits among those with less than a
                                                                                                           or higher degree (4 percent).’’ 516 The
                                                     511 See U.S. Bureau of Labor Statistics,              data suggests that a lack of education                   high school education was 28.2 percent,
                                                  Employment Projections, Unemployment Rates and           increases the likelihood of poverty and                  while among those with a diploma had
                                                  Earnings by Educational Attainment, 2016,
                                                                                                           unemployment, which may in turn                          a rate of receipt at 23.6 percent. Among
                                                  available at https://www.bls.gov/emp/ep_chart_                                                                    those with some college the rate of
                                                  001.htm (last updated Mar. 27, 2018).                    increase the likelihood to need public
                                                     512 See U.S. Bureau of Labor Statistics,              assistance.                                              receipt for cash and non-cash benefits
                                                  Employment Projections, Unemployment Rates and             The results of DHS’s analysis of the                   was 18.0 percent, and with a Bachelor’s
                                                  Earnings by Educational Attainment, 2016,                SIPP data also show a relationship                       or graduate degree, the rate was about
                                                  available at https://www.bls.gov/emp/ep_chart_                                                                    10 percent. For U.S. citizens and
                                                  001.htm (last updated Mar. 27, 2018).                    between education level and self-
                                                     513 See Shelley K. Irving & Tracy A. Loveless, U.S.   sufficiency. Tables 18 and 19 indicate a                 noncitizens alike, the rate of receipt of
                                                  Census Bureau, Dynamics of Economic Well-Being:                                                                   cash benefits was much higher among
                                                  Participation in Government Programs, 2009–2012:            515 See Shelley K. Irving & Tracy A. Loveless, U.S.   those without a high school education
                                                  Who Gets Assistance? 10 (May 2015), available at         Census Bureau, Dynamics of Economic Well-Being:          (12.2 percent of U.S. citizens and 3.7
                                                  https://www.census.gov/content/dam/Census/               Participation in Government Programs, 2009–2012:
                                                  library/publications/2015/demo/p70-141.pdf.
                                                                                                                                                                    percent of noncitizens) than among any
                                                                                                           Who Gets Assistance? 10 (May 2015), available at
                                                     514 See Shelley K. Irving &Tracy A. Loveless, U.S.    https://www.census.gov/content/dam/Census/               other education group (ranging from
                                                  Census Bureau, Dynamics of Economic Well-Being:          library/publications/2015/demo/p70-141.pdf.              between 1 and 4 percent of U.S.
                                                  Participation in Government Programs, 2009–2012:            516 See Nat’l Ctr. for Educ. Statistics,
                                                                                                                                                                    citizens, and 1 percent or less of
                                                  Who Gets Assistance? 10 (May 2015), available at         Characteristics of Children’s Families, available at     noncitizens).
                                                  https://www.census.gov/content/dam/Census/               https://nces.ed.gov/programs/coe/indicator_
                                                  library/publications/2015/demo/p70-141.pdf.              cce.asp# (last updated May 2018).                        BILLING CODE 4410–10–P
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                                                    Moreover, according to the National                   school degree, 18 percent required a                  In particular, 8.5 percent of U.S. citizens
                                                  Center for Education Statistics,                        bachelor’s degree, and 16 percent                     and 13.7 percent of noncitizens with
                                                  increased education is associated with                  required more than a bachelor’s                       professional certificates or licenses
                                                  increased employment productivity and                   degree).519                                           received non-cash benefits compared to
                                                  increased earnings.517 Unemployment                       Tables 20 and 21 below show that                    about 20 percent of the overall U.S.
                                                  decreases as skills gained through                      among U.S. citizens and noncitizens,                  citizen and noncitizen populations. The
                                                  education increase.518 In 2013, only 27                 individuals holding professional                      rate of receipt of cash benefits among
                                                  percent of U.S. jobs required less than                 certificates or licenses had lower rates of           those with a professional certificate was
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                                                  a high school degree, while 74 percent                  non-cash means-tested public benefits                 1.4 percent for U.S. citizens and 0.4
                                                  required skills associated with formal                  participation compared to their                       percent for noncitizens, compared to a
                                                  education (39 percent required a high                   respective overall populations in 2013.               rate of 3.6 percent among U.S. citizens
                                                    517 See Nat’l Ctr. for Educ. Statistics, Education      518 See U.S. Bureau of Labor Statistics,              519 See U.S. Bureau of Labor Statistics, Education

                                                  and the Economy: An Indicators Report (Mar.             Employment Projections, Unemployment Rates and        Level and Jobs: Opportunities by State (Sept. 2014),
                                                  1997), available at https://nces.ed.gov/pubs97/web/     Earnings by Educational Attainment, 2016,             available at https://www.bls.gov/careeroutlook/
                                                  97939.asp.                                              available at https://www.bls.gov/emp/ep_chart_        2014/article/education-level-and-jobs.htm.
                                                                                                                                                                                                                       EP10OC18.034</GPH>




                                                                                                          001.htm (last updated Mar. 27, 2018).



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                                                  overall, and 1.8 percent among
                                                  noncitizens overall.
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                                                     Similar to those holding professional                overall populations in 2013, as                       percent overall. Among noncitizens, the
                                                                                                                                                                                                             EP10OC18.035</GPH> EP10OC18.036</GPH>




                                                  certificates or licenses, the rates of non-             highlighted in Tables 22 and 23. For                  participation rate for non-cash benefits
                                                  cash participation among the U.S.                       example, among U.S. citizens, the                     was very similar to that of U.S. citizens,
                                                  citizen and noncitizen populations were                 participation rate for non-cash benefits              with a rate of 13.1 percent among those
                                                  lower for those having an educational                   was 12.7 percent for those having an                  having an educational certificate
                                                  certificate compared to their respective                educational certificate compared to 20.3              compared to 21.3 percent overall. The


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                                                  rate of receipt of cash benefits among                   citizens and 0.8 percent among
                                                  those having an educational certificate                  noncitizens.
                                                  was about 2.4 percent among U.S.
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                                                    520 The SIPP includes questions on professional        Current Population Survey (Nov. 2016), available at   do a specific job. Both certifications and licenses
                                                  certification and licenses developed by the              https://www.bls.gov/opub/mlr/2016/article/pdf/        are time-limited, so must be renewed periodically.
                                                  Interagency Working Group on Expanded Measures           adding-questions-on-certifications-and-licenses-to-   Educational certificates are awarded by an
                                                  of Enrollment and Attainment (GEMEnA). See Nat’l         the-current-population-survey.pdf. GEMEnA             educational institution and need not be renewed.
                                                  Ctr. for Educ. Statistics, Working Definitions of Non-   developed working definitions that categorize         See also See U.S. Bureau of Labor Statistics,
                                                  Degree Credentials, https://nces.ed.gov/surveys/         certification as a credential awarded by a non-       Education Level and Jobs: Opportunities by State
                                                  gemena/definitions.asp (last visited Sept. 12, 2018);    governmental body, and involve successfully           (Sept. 2014), available at https://www.bls.gov/
                                                  see also U.S. Bureau of Labor Statistics, Adding         passing an examination. A license is awarded by a     careeroutlook/2014/article/education-level-and-
                                                                                                                                                                                                                       EP10OC18.037</GPH>




                                                  Questions on Certifications and Licenses to the          government agency and provides legal authority to     jobs.htm.



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                                                     Relatedly, English language                          English at home were less likely to be                Among the noncitizen adults who speak
                                                  proficiency is a skill that also is relevant            employed, and less likely to find full-               a language other than English at home,
                                                  in determining whether an alien is                      time work when employed.524 In a 2005                 the participation rates for both cash and
                                                  likely to become a public charge in the                 study, ‘‘on average, workers who spoke                non-cash benefits are higher among
                                                  future. An inability to speak and                       only English earned $5,600 more than                  those who do not speak English well, or
                                                  understand English may adversely affect                 people who spoke another                              at all, than among those who speak the
                                                  whether an alien can obtain                             language,’’ 525 however, between the                  language well. The SIPP data indicate
                                                  employment.522 Aliens who cannot                        people who spoke English ‘‘very well’’                that the rate of coverage of non-cash
                                                  speak English may be unable to obtain                   and people who spoke only English the                 benefits among those who spoke English
                                                  employment in areas where only                          difference was only $966.526 People                   either well or very well (about 15 to 20
                                                  English is spoken. People with the                      who spoke English ‘‘very well’’ had                   percent) was significantly lower than
                                                  lowest English speaking ability tend to                 higher earnings than people who spoke
                                                                                                                                                                the rate among those who either spoke
                                                  have the lowest employment rate,                        English ‘‘well’’—an earning differential
                                                  lowest rate of full-time employment,                                                                          English poorly or not at all (about 25 to
                                                                                                          of $7,000.527
                                                  and lowest median earnings.523                            Table 24 highlights a relationship                  30 percent). The rate of receipt of cash
                                                  According to U.S. Census Bureau data,                   between English language proficiency                  benefits for each of these groups ranged
                                                  people who spoke a language other than                  and public benefit participation in 2013.             from about 1 to 5 percent.




                                                    521 See Nat’l Ctr. for Educ. Statistics, Working      at https://www.census.gov/hhes/socdemo/language/        526 See Jennifer Cheeseman Day and Hyon B.

                                                  Definitions of Non-Degree Credentials, https://         data/acs/PAA_2005_AbilityandEarnings.pdf.             Shin, U.S. Census Bureau, How Does Ability to
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                                                  nces.ed.gov/surveys/gemena/definitions.asp (last          524 See Jennifer Cheeseman Day and Hyon B.
                                                                                                                                                                Speak English Affect Earnings? 6 (2005), available
                                                  visited Sept. 12, 2018).                                Shin, U.S. Census Bureau, How Does Ability to         at https://www.census.gov/hhes/socdemo/language/
                                                    522 See Jennifer Cheeseman Day and Hyon B.            Speak English Affect Earnings? 6 (2005), available    data/acs/PAA_2005_AbilityandEarnings.pdf.
                                                  Shin, U.S. Census Bureau, How Does Ability to           at https://www.census.gov/hhes/socdemo/language/        527 See Jennifer Cheeseman Day and Hyon B.
                                                  Speak English Affect Earnings? 2 (2005), available      data/acs/PAA_2005_AbilityandEarnings.pdf.
                                                  at https://www.census.gov/hhes/socdemo/language/          525 See Jennifer Cheeseman Day and Hyon B.          Shin, U.S. Census Bureau, How Does Ability to
                                                  data/acs/PAA_2005_AbilityandEarnings.pdf.               Shin, U.S. Census Bureau, How Does Ability to         Speak English Affect Earnings? 6 (2005), available
                                                    523 See Jennifer Cheeseman Day and Hyon B.            Speak English Affect Earnings? 6 (2005), available    at https://www.census.gov/hhes/socdemo/language/
                                                  Shin, U.S. Census Bureau, How Does Ability to           at https://www.census.gov/hhes/socdemo/language/      data/acs/PAA_2005_AbilityandEarnings.pdf.
                                                                                                                                                                                                                     EP10OC18.038</GPH>




                                                  Speak English Affect Earnings? 6 (2005), available      data/acs/PAA_2005_AbilityandEarnings.pdf.



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                                                  BILLING CODE 4410–10–C
                                                                                                            DHS may also consider an applicant’s                  • The alien’s academic degree or
                                                    Additionally, numerous studies have                   proficiency in other languages in                     certifications including a high school
                                                  shown that immigrants’ English                          addition to English, with appropriate                 degree (or equivalent) or higher;
                                                  language proficiency or ability to                      consideration given to market demand,                   • The alien’s occupational skills,
                                                  acquire English proficiency directly                    when reviewing the education and skills               certifications, or licenses; and
                                                  correlate to a newcomer’s economic                      factor.
                                                  assimilation into the United States.528                                                                         • The alien’s proficiency in English
                                                                                                          1. USCIS Evidentiary Requirements                     or proficiencies in additional languages.
                                                    528 Barry R. Chiswick & Paul W. Miller,                  DHS proposes that USCIS would                      J. Prospective Immigration Status and
                                                  Immigrant Earnings: Language Skills, Linguistic         consider certain types of evidence when
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                                                  Concentrations and the Business Cycle, 15 J.
                                                                                                                                                                Expected Period of Admission
                                                  Population Econ., 31, 31–57 (2002); Christian           reviewing this factor. For the reasons
                                                  Dustmann, Fluency, Writing Fluency, and Earnings        expressed above, USCIS’ review would                     DHS would also take into
                                                  of Migrants, 7 J. Population Econ., 133, 133–156        include, but not be limited to:                       consideration the immigration status
                                                  (1994); Ingo E. Isphording, IZA Discussion Paper           • Evidence of the alien’s recent                   and duration of admission sought by an
                                                  No. 7360, Disadvantages of Linguistic Origin:                                                                 alien, and the classification the alien is
                                                  Evidence from Immigrant Literacy Scores (2013),         history of employment;
                                                  available at http://ftp.iza.org/dp7360.pdf; Org. for
                                                                                                                                                                seeking, as part of this determination.
                                                  Econ. Cooperation & Dev./European Union,                (2015), available at http://www.oecd.org/els/mig/     The type of evidence generally required
                                                                                                                                                                                                             EP10OC18.039</GPH>




                                                  Indicators of Immigrant Integration 2015: Settling In   Indicators-of-Immigrant-Integration-2015.pdf.         of an applicant for an immigrant visa,


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                                                  admission as an immigrant, or                           affidavit of support 531 as part of the                   As part of PRWORA, benefit-granting
                                                  adjustment of status would generally                    totality of the circumstances.                         agencies assess the combined income
                                                  differ in scope from the evidence                                                                              and resources of the sponsor (and his or
                                                                                                          1. General Consideration of Sponsorship
                                                  required of a bona fide applicant                                                                              her spouse) and the alien to determine
                                                                                                          and Affidavits of Support
                                                  seeking a nonimmigrant visa or                                                                                 whether the combined income and
                                                  admission as a nonimmigrant. For                           DHS would consider a sponsor’s                      resources meet the eligibility
                                                  example, an alien seeking permanent                     facially sufficient affidavit of support as            requirements.537 This is called
                                                  residence in the United States may be                   a positive factor in the totality of the               ‘‘sponsor-to-alien deeming.’’ Public
                                                  eligible for certain public benefits upon               circumstances, but a sufficient affidavit              benefits agencies, however, have
                                                  his or her entry as a permanent resident                of support alone would not result in a                 encountered challenges obtaining
                                                                                                          finding that an alien is unlikely at any               information about the sponsor’s income
                                                  or after five years. As a result, there is
                                                                                                          time to become a public charge due the                 when determining the alien’s eligibility
                                                  a chance that he or she would avail him
                                                                                                          statute’s requirement to consider the                  for public benefits. A U.S. Government
                                                  or herself of the available public benefit.
                                                                                                          mandatory factors. Moreover, DHS has                   Accountability Office (GAO) 2009 report
                                                  USCIS would consider this possibility                   concerns about relying on sponsors to
                                                  in the totality of the circumstances.                                                                          found that although the number of
                                                                                                          ensure that aliens will not become a                   sponsored noncitizens potentially
                                                     On the other hand, aliens who are                    public charge, as submitting a sufficient              affected by such deeming is unknown,
                                                  coming to the United States temporarily                 affidavit of support does not guarantee                most recent information then available
                                                  as a nonimmigrant may be less likely to                 that the alien will not receive public                 suggested that 11 percent (473,000) of
                                                  avail themselves of public benefits,                    benefits in the future.                                sponsored aliens in 2007 applied for
                                                  particularly if they are coming to the                     PRWORA and IIRIRA amended the                       TANF, Medicaid, or SNAP during the
                                                  United States for a short period of time                INA by setting forth requirements for
                                                                                                                                                                 course of 2007, and less than one
                                                  or if they are coming to the United                     submitting what would be an
                                                                                                                                                                 percent applied for SSI.538 In addition,
                                                  States for employment purposes. For                     enforceable affidavit of support, i.e.,
                                                                                                                                                                 according to a 2002 study of the New
                                                  example, an alien coming to the United                  current Form I–864.532 Approximately 1
                                                                                                                                                                 York and Los Angeles areas by the
                                                  States on a nonimmigrant visitor (B–2)                  month after PRWORA was enacted,
                                                                                                                                                                 Urban Institute for the Office of the
                                                  for a vacation in the United States for                 Congress amended the public charge
                                                                                                                                                                 Assistant Secretary for Planning and
                                                  two weeks must establish he or she has                  inadmissibility ground, through passage
                                                                                                                                                                 Evaluation of HHS, individuals who
                                                  sufficient funds to cover any expenses                  of IIRIRA, to require certain applicants
                                                                                                                                                                 have become lawful permanent
                                                  in the United States. Therefore,                        for lawful permanent resident status to
                                                                                                                                                                 residents since the affidavit of support
                                                  generally, a nonimmigrant visitor would                 submit an affidavit of support in
                                                                                                                                                                 under section 213A of the Act was
                                                  be unlikely to avail him or herself of any              accordance with section 213A of the
                                                                                                          Act, 8 U.S.C. 1183a.533 An Affidavit of                enacted in 1996 were poorer (with
                                                  public benefits for which he or she                                                                            incomes below 100 percent of the FPL)
                                                                                                          Support under Section 213A of the INA
                                                  would be eligible based on being                                                                               than those who arrived earlier.539 ‘‘Legal
                                                                                                          (Form I–864) 534 is a contract between
                                                  lawfully present in the United States.                                                                         immigrants who entered the country
                                                                                                          the sponsor and the U.S. Government
                                                  Therefore, such an alien, if otherwise                                                                         since 1996 are poorer than those who
                                                                                                          that imposes on the sponsor a legally
                                                  entitled to a nonimmigrant visa and                                                                            arrived earlier, despite new policies
                                                                                                          enforceable obligation to support the
                                                  admission as a nonimmigrant, generally                                                                         requiring their sponsors to demonstrate
                                                                                                          alien. The sponsor generally must
                                                  would not be subject to the public                      demonstrate that he or she is able to                  incomes over 125 percent of the
                                                  charge inadmissibility ground under                     maintain the sponsored alien at an                     [FPL].’’ 540 The report also indicates that
                                                  section 212(a)(4) of the Act, 8 U.S.C.                  annual income of not less than 125                     some immigrant families with incomes
                                                  1182(a)(4), although it is possible that                percent of the FPG.535 By creating these               below twice the poverty level 541
                                                  evidence may exist that gives rise to a                 requirements in section 213A of the Act,               received SNAP, TANF or Medicaid from
                                                  public charge concern.                                  8 U.S.C. 1183a, Congress intended to                   1999–2000.542 For example, in Los
                                                                                                          ensure that affidavits of support were                 Angeles 13 percent and in New York
                                                  K. Affidavit of Support                                                                                        City 22 percent of noncitizen families
                                                                                                          enforceable and that public benefit-
                                                    Failure to submit a required affidavit                granting agencies could be reimbursed
                                                                                                                                                                    537 See PRWORA, Public Law 104–193, section
                                                  of support when required under section                  for certain aid provided to the
                                                                                                                                                                 423, 11 Stat. 2105, 2271–74.
                                                  212(a)(4)(C) or section 212(a)(4)(D) of                 sponsored alien.536                                       538 See U.S. Gov’t Accountability Office, GAO–
                                                  the Act, 8 U.S.C. 1182(a)(4)(C) or                                                                             09–375, Sponsored Noncitizens and Public Benefits
                                                  1182(a)(4)(D), necessarily results in a                    531 See INA section 212(a)(4)(C) and (a)(4)(D), 8
                                                                                                                                                                 (May 2009), available at https://www.gao.gov/
                                                  determination of inadmissibility based                  U.S.C. 1182(a)(4)(C) and 1182(a)(4)(D).                products/GAO-09-375.
                                                                                                             532 See INA sections 212(a)(4) and 213A, 8 U.S.C.      539 See Randy Capps et al., How Are Immigrants
                                                  on the public charge ground without                     1182(a)(4) and 1183a.                                  Faring After Welfare Reform? Preliminary Evidence
                                                  review of any other statutory factors.529                  533 See IIRIRA, Public Law 104–208, div. C,         from Los Angeles and New York City ii (Mar. 4,
                                                  For aliens who submit an affidavit of                   section 531(b), 110 Stat. 3009–546, 3009–675.          2002), available at https://aspe.hhs.gov/system/
                                                  support, the statute allows DHS to                         534 The Affidavit of Support Under Section 213A     files/pdf/72691/report.pdf.
                                                  consider the affidavit of support under                 of the INA, Form I–864EZ, may be used instead of          540 Randy Capps et al., How Are Immigrants

                                                                                                          Form I–864 in certain circumstances. References to     Faring After Welfare Reform? Preliminary Evidence
                                                  section 213A of the Act, 8 U.S.C. 1183a,                the affidavit of support in this rule include Form     from Los Angeles and New York City ii (Mar. 4,
                                                  in public charge inadmissibility                        I–864EZ.                                               2002), available at https://aspe.hhs.gov/system/
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                                                  determinations.530 DHS, therefore,                         535 See INA section 213A, 8 U.S.C. 1183a.           files/pdf/72691/report.pdf.
                                                                                                             536 In explaining the provision, Congress              541 The report describes these families as low-
                                                  proposes to consider any required
                                                                                                          continued to emphasize that the affidavits of          income families.
                                                                                                          support (before 1996) were previously                     542 See Randy Capps et al., How Are Immigrants
                                                     529 Certain applicants are exempt from filing the
                                                                                                          unenforceable. Congress highlighted the difference     Faring After Welfare Reform? Preliminary Evidence
                                                  affidavit of support under INA section 213A, 8          between the situation at the time, before 1996, and    from Los Angeles and New York City iv (Mar. 4,
                                                  U.S.C. 1183a.                                           the new law which would make the affidavits            2002), available at https://aspe.hhs.gov/system/
                                                     530 See INA section 212(a)(4)(B)(ii), 8 U.S.C.       enforceable and permit benefit-providing agencies      files/pdf/72691/report.pdf. Note that this report
                                                  1182(a)(4)(B)(ii); see also proposed 8 CFR              to seek reimbursement. See H.R. Rep. No. 104–651,      uses a household centered approach to evaluate
                                                  212.22(b)(7).                                           at 1449 (1996).                                        data.



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                                                  with income below twice the poverty                      willingness or ability to financially                    generally involves people being capable
                                                  level received food stamps (SNAP).543                    support the alien.                                       and willing to work and being able to
                                                                                                              To the extent that the initial evidence               maintain gainful employment. A person
                                                  2. Proposal To Consider Required
                                                                                                           submitted by the sponsor is insufficient                 who is capable and able to work but
                                                  Affidavits of Support
                                                                                                           to make this determination, USCIS                        does not work demonstrates a lack of
                                                     Certain aliens are required to submit                 would request additional information                     self-sufficiency. As previously
                                                  an affidavit of support.544 With certain                 from the sponsor or interview the                        discussed, various studies and data
                                                  exceptions, the requirement to submit                    sponsor to determine whether the                         support the concept that a person’s
                                                  an affidavit of support applies to                       sponsor is willing and able to support                   education and skills may be positive
                                                  immediate relatives (including                           the alien on a long-term basis. The                      factors for purposes of evidencing self-
                                                  orphans), family-preference immigrants,                  inability or unwillingness of the sponsor                sufficiency, including the SIPP data
                                                  and those employment-based                               to financially support the alien may be                  reviewed in the Education and Skills
                                                  immigrants whose petitioners are                         viewed as a negative factor in the                       section, and the U.S. Census Bureau
                                                  relatives or a firm in which a U.S.                      totality of the circumstances. DHS                       report that indicates that lower
                                                  citizen or lawful permanent resident                     expects that a sponsor’s sufficient                      educational attainment is associated
                                                  relative holds a significant ownership                   affidavit of support would not be an                     with higher public benefit program
                                                  interest.545 Immigrants seeking                          outcome-determinative factor in most                     participation rates for people over the
                                                  admission or adjustment of status in                     cases; the presence of a sufficient                      age of 18.550
                                                  these categories are inadmissible under                  affidavit of support does not eliminate                    In addition, the concept that a
                                                  subparagraphs (C) and (D) of section                     the need to consider all of the                          person’s education and skills may be
                                                  212(a)(4) of the Act, 8 U.S.C.                           mandatory factors in the totality of the                 positive factors for purposes of
                                                  1182(a)(4)(C) and (D), unless an                         circumstances.547                                        evidencing self-sufficiency is supported
                                                  appropriate sponsor has completed and                                                                             by two Census Bureau studies covering
                                                  filed a sufficient affidavit of support.546              L. Heavily Weighed Factors
                                                                                                                                                                    2004 to 2007 and 2009 to 2012, showing
                                                     A sufficient affidavit of support does                   DHS proposes a number of factors or                   that in each of the covered years,
                                                  not guarantee that the alien will not                    factual circumstances that it has                        individuals with full-time work were
                                                  receive public benefits in the future and,               determined would generally weigh                         less likely to receive means-tested
                                                  therefore, DHS would only consider the                   heavily in determining whether an alien                  benefits during the year (ranging from
                                                  affidavit of support as one factor in the                is likely to become a public charge in                   4.5 percent to 5.1 percent) than those
                                                  totality of the circumstances. When                      the future.548 The mere presence of any                  with either part-time work (ranging from
                                                  determining the weight to give an                        one enumerated circumstance would                        12.6 percent to 14.2 percent) or those
                                                  affidavit of support in the totality of the              not, alone, be determinative. A heavily                  who were unemployed (ranging from
                                                  circumstances, USCIS would assess the                    weighed factor could be outweighed by                    24.8 percent to 31.2 percent).551
                                                  sponsor’s annual income, assets,                         countervailing evidence in the totality                    DHS recognizes however, that not
                                                  resources, and financial status,                         of the circumstances. Other negative                     everyone authorized to work needs to
                                                  relationship to applicant, the likelihood                and positive factors, including factors                  work. Some aliens may have sufficient
                                                  that the sponsor would actually provide                  not enumerated elsewhere in this rule,                   assets and resources, including a
                                                  financial support to the alien, and any                  may also be weighed heavily in                           household member’s income and assets,
                                                  other related considerations.                            individual determinations, as                            which may overcome any negative
                                                     In order to assess the sponsor’s                      circumstances warrant.                                   factor related to lack of employment.
                                                  likelihood of meeting his or her                                                                                  DHS would review those considerations
                                                  obligation to support the alien, DHS                     1. Heavily Weighed Negative Factors
                                                                                                                                                                    in the totality of the circumstances.
                                                  would look at how close of a                               DHS proposes to consider certain
                                                  relationship the sponsor has to the                      factors listed below as heavily negative                 (b) Current Receipt of One or More
                                                  alien, as close family members would be                  because these factors are particularly                   Public Benefits
                                                  more likely to financially support the                   indicative of a likelihood that the alien                  DHS proposes that current receipt of
                                                  alien if necessary. DHS would also look                  would become a public charge.                            one or more public benefits, as defined
                                                  at whether the sponsor lives with this
                                                  alien, as this could be indicative of the                (a) Lack of Employability
                                                                                                                                                                    weighed negative factor when making public charge
                                                  sponsor’s willingness to support the                       As long as an alien is not a full-time                 determinations regarding full-time students. The
                                                                                                           student and is authorized to work, DHS                   full-time student is working toward a degree, which
                                                  alien if needed. Additionally, DHS                                                                                makes the student more employable in the future,
                                                  would look at whether the sponsor has                    proposes that the absence of current                     and as such, has a reasonable prospect of
                                                  submitted affidavit of support with                      employment, employment history, or                       employment in the future.
                                                  respect to other individuals, as this may                reasonable prospect of future                               550 See Shelley K. Irving & Tracy A. Loveless, U.S.

                                                  be indicative of the sponsor’s                           employment will be a heavily weighed                     Census Bureau, Dynamics of Economic Well-Being:
                                                                                                                                                                    Participation in Government Programs, 2009–2012:
                                                                                                           negative factor.549 Self-sufficiency                     Who Gets Assistance? 10 (May 2015), available at
                                                     543 See Randy Capps et al., How Are Immigrants
                                                                                                                                                                    https://www.census.gov/content/dam/Census/
                                                  Faring After Welfare Reform? Preliminary Evidence           547 However, the statute requires a finding of
                                                                                                                                                                    library/publications/2015/demo/p70-141.pdf.
                                                  from Los Angeles and New York City iv (Mar. 4,           inadmissibility on public charge grounds if the             551 See Jeongsoo Kim, Shelley K. Irving, & Tracy
                                                  2002), available at https://aspe.hhs.gov/system/         alien is required to submit an affidavit of support      A. Loveless, U.S. Census Bureau, Dynamics of
                                                  files/pdf/72691/report.pdf.                              and fails to do so. INA section 212(a)(4)(D), 8 U.S.C.   Economic Well-Being: Participation in Government
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                                                     544 See INA section 212(a)(4).                        1182(a)(4)(D).                                           Programs, 2004 to 2007 and 2009—Who Gets
                                                     545 See INA sections 212(a)(4)(C) and (D), 8 U.S.C.      548 See proposed 8 CFR 212.22.
                                                                                                                                                                    Assistance? 12 (July 2012), available at https://
                                                  1182(a)(4)(C) and (D); see also 8 CFR 213a.2(a)(2).         549 See proposed 8 CFR 212.22(c)(1)(ii). While a      www2.census.gov/library/publications/2012/demo/
                                                     546 Certain immigrant categories are exempt from      full-time student must still demonstrate he or she       p70-130.pdf; Shelley K. Irving & Tracy A. Loveless,
                                                  the affidavit of support requirements including:         is not likely to become a public charge, because the     U.S. Census Bureau, Dynamics of Economic Well-
                                                  Qualified battered spouses and children (and their       public charge determination is based on the totality     Being: Participation in Government Programs,
                                                  eligible family members) and qualified widow(er)s        of the circumstances under the proposed 8 CFR            2009–2012: Who Gets Assistance? 10 (May 2015),
                                                  of citizens, if these aliens have filed visa petitions   212.22(d) that includes consideration of the alien’s     available at https://www.census.gov/content/dam/
                                                  on their own behalf. For more information on who         immigration status, the lack of employment or            Census/library/publications/2015/demo/p70-
                                                  must file an affidavit of support, see AFM Ch. 20.5.     employment history is not counted as a heavily           141.pdf.



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                                                  in proposed 212.21(b), would be a                        welfare.’’ 556 Regarding Medicaid and                    alien may be able to establish
                                                  heavily weighed negative factor in a                     food stamp participation among leavers,                  circumstances indicating that the
                                                  public charge inadmissibility                            the authors found ‘‘the proportion of                    receipt of public benefits will stop in
                                                  determination.552 Current receipt of                     leavers who receive these benefits at                    the near future and he or she will have
                                                  public benefits, alone, would not justify                some point in the year after exit is much                sufficient income to support him or
                                                  a finding of inadmissibility on public                   higher than the proportion who receives                  herself.
                                                  charge grounds. However, an alien’s                      them in any given quarter, suggesting a
                                                                                                                                                                    (c) Receipt of Public Benefits Within 36
                                                  current receipt of one or more public                    fair amount of cycling into and out of
                                                                                                                                                                    Months of Filing Application
                                                  benefits means that the alien is                         these programs.’’ 557
                                                  currently a public charge as defined                        HHS also funds various research                          Similarly, DHS proposes that an
                                                  under proposed 8 CFR 212.21(a), and                      projects on welfare. Across fifteen state                alien’s past receipt of public benefits
                                                  suggests that the alien may continue to                  and county welfare studies funded by                     within the 36 months immediately
                                                  receive public benefits in the future and                HHS, it was found that the number of                     preceding his or her application also
                                                  be more likely to continue to be a public                leavers who received food stamps                         carries significant weight in determining
                                                  charge.                                                  within one year of exit was between 41                   whether the alien is likely to become a
                                                                                                           and 88 percent.558 Furthermore, TANF                     public charge. The weight given to this
                                                     Research indicates that the largest                   leavers returned to the program at a rate                factor will depend on how recently the
                                                  share of participants (43.0 percent) who                 ranging between 17 and 38 percent                        alien has received public benefits, and
                                                  benefited from one or more means-                        within one year of exit.559 Twelve of                    whether the person has received public
                                                  tested assistance programs between                       these studies included household                         benefits for an extended period of time
                                                  January 2009 and December 2012 stayed                    surveys, with some conducting                            (i.e., receives public benefits for
                                                  in the programs between 37 and 48                        interviews less than a year post-exit,                   multiple years) or at multiple different
                                                  months.553 DHS is also aware that a                      and some as much as 34 months after                      time periods (i.e., 3 times in the last two
                                                  separate study showed that receipt of                    exit.560 A review of these surveys found                 years).562
                                                  benefits across a two-year timespan is                   that among those who left Medicaid, the                     As previously discussed, some studies
                                                  likely to occur in all months, suggesting                rate of re-enrollment at the time of                     suggest that although most people who
                                                  relatively long welfare spell lengths.                   interview was between 33 and 81                          leave welfare programs are working after
                                                  Between January 2004 and December                        percent among adults, and between 51                     they leave those programs, people may
                                                  2005, a greater share of the population                  and 85 percent among children.                           come back to receive additional public
                                                  received one or more means-tested                        Employment rates at the time of                          benefits.563 In a research study funded
                                                  benefits for the entire 24-month study                   interview ranged between 57 and 71                       by HHS, A Profile of Families Cycling
                                                  period (10.2 percent) than for either one                percent.561                                              On and Off Welfare, researchers
                                                  to 11 months (8.5 percent) or 12 to 23                      DHS thus would view current receipt                   conclude that people who left welfare
                                                  months (6.5 percent).554 These studies,                  of public benefits as a strong indicator                 (leavers) experienced ‘‘a fair amount of
                                                  though, do not directly address the issue                that an alien will continue to receive                   employment instability—the median
                                                  of individuals who stopped receiving                     public benefits, and is therefore likely to              proportion of people employed in all
                                                  benefits later returning to these                        become a public charge. However, an                      four post-exit quarters was 37 percent.
                                                  programs.                                                                                                         Thus, job loss among welfare leavers
                                                                                                             556 Lashawn Richburg-Hayes & Stephen                   may give rise to cycling back to
                                                     Some studies suggest that although                    Freedman, A Profile of Families Cycling On and Off       welfare.’’ 564 Regarding Medicaid and
                                                  most people who leave welfare                            Welfare 4 (Apr. 2004) (citing Gregory Arcs & Pamela      food stamp participation among leavers,
                                                  programs are working after they leave                    Loprest, U.S. Dep’t of Health & Human Servs.,
                                                                                                           Office of the Assistant Sec’y for Planning &             the authors found ‘‘the proportion of
                                                  those programs, people may come back                     Evaluation, Final Synthesis Report of Findings from      leavers who receive these benefits at
                                                  to receive additional public benefits.555                ASPE ‘‘Leavers’’ Grants (2001)), available at https://   some point in the year after exit is much
                                                  In a research study funded by HHS, A                     aspe.hhs.gov/system/files/pdf/73451/report.pdf.          higher than the proportion who receives
                                                  Profile of Families Cycling On and Off                   This study was based on the first and fourth
                                                                                                           quarter.                                                 them in any given quarter, suggesting a
                                                  Welfare, researchers conclude that                         557 Lashawn Richburg-Hayes & Stephen                   fair amount of cycling into and out of
                                                  people who left welfare (leavers)                        Freedman, A Profile of Families Cycling On and Off       these programs.’’ 565
                                                  experienced ‘‘a fair amount of                           Welfare 4 (Apr. 2004), available at https://                HHS also funds various research
                                                  employment instability—the median                        aspe.hhs.gov/system/files/pdf/73451/report.pdf.
                                                                                                             558 See U.S. Dep’t of Health & Human Servs.,
                                                                                                                                                                    projects on welfare. Across fifteen state
                                                  proportion of people employed in all                                                                              and county welfare studies funded by
                                                                                                           Office of the Assistant Sec’y for Planning &
                                                  four post-exit quarters was 37 percent.                  Evaluation, Status Report on Research on the
                                                  Thus, job loss among welfare leavers                     Outcomes of Welfare Reform app. B (Aug. 2001),             562 This proposed policy is generally consistent

                                                  may give rise to cycling back to                         available at https://aspe.hhs.gov/report/status-         with longstanding policy affording less weight to
                                                                                                           report-research-outcomes-welfare-reform-2001.            benefits that were received longer ago in the past.
                                                                                                             559 See U.S. Dep’t of Health & Human Servs.,             563 See Lashawn Richburg-Hayes & Stephen
                                                    552 See proposed 8 CFR 212.22(c)(1)(ii) and (iii).     Office of the Assistant Sec’y for Planning &             Freedman, A Profile of Families Cycling On and Off
                                                    553 See U.S. Census Bureau, News Release: 21.3         Evaluation, Status Report on Research on the             Welfare 4 (Apr. 2004), available at https://
                                                  Percent of U.S. Population Participates in               Outcomes of Welfare Reform app. B (Aug. 2001),           aspe.hhs.gov/system/files/pdf/73451/report.pdf.
                                                  Government Assistance Programs Each Month (May           available at https://aspe.hhs.gov/report/status-           564 Lashawn Richburg-Hayes & Stephen
                                                  28, 2015), available at https://www.census.gov/          report-research-outcomes-welfare-reform-2001.            Freedman, A Profile of Families Cycling On and Off
                                                  newsroom/press-releases/2015/cb15-97.html.                 560 See U.S. Dep’t of Health & Human Servs.,           Welfare 4 (Apr. 2004) (citing Gregory Arcs & Pamela
                                                    554 See Jeongsoo Kim, Shelley K. Irving, & Tracy
                                                                                                           Office of the Assistant Sec’y for Planning &             Loprest, U.S. Dep’t of Health & Human Servs.,
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                                                  A. Loveless, U.S. Census Bureau, Dynamics of             Evaluation, Status Report on Research on the             Office of the Assistant Sec’y for Planning &
                                                  Economic Well-Being: Participation in Government         Outcomes of Welfare Reform app. B (Aug. 2001),           Evaluation, Final Synthesis Report of Findings from
                                                  Programs, 2004 to 2007 and 2009—Who Gets                 available at https://aspe.hhs.gov/report/status-         ASPE ‘‘Leavers’’ Grants (2001)), available at https://
                                                  Assistance? 4 fig.4 (July 2012), available at https://   report-research-outcomes-welfare-reform-2001.            aspe.hhs.gov/system/files/pdf/73451/report.pdf.
                                                  www2.census.gov/library/publications/2012/demo/            561 See U.S. Dep’t of Health & Human Servs.,           This study was based on the first and fourth
                                                  p70-130.pdf.                                             Office of the Assistant Sec’y for Planning &             quarter.
                                                    555 See Lashawn Richburg-Hayes & Stephen               Evaluation, Status Report on Research on the               565 Lashawn Richburg-Hayes & Stephen

                                                  Freedman, A Profile of Families Cycling On and Off       Outcomes of Welfare Reform app. B (Aug. 2001),           Freedman, A Profile of Families Cycling On and Off
                                                  Welfare 4 (Apr. 2004), available at https://             available at https://aspe.hhs.gov/report/status-         Welfare 4 (Apr. 2004), available at https://
                                                  aspe.hhs.gov/system/files/pdf/73451/report.pdf.          report-research-outcomes-welfare-reform-2001.            aspe.hhs.gov/system/files/pdf/73451/report.pdf.



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                                                  HHS, it was found that the number of                    (d) Financial Means To Pay for Medical                 Disease Control and Prevention (CDC)
                                                  leavers who received food stamps                        Costs                                                  has listed the five most expensive health
                                                  within one year of exit was between 41                    An alien is a high risk of becoming a                conditions as heart disease, cancer,
                                                  and 88 percent.566 Furthermore, TANF                    public charge if he or she does not have               trauma, mental disorders, and
                                                  leavers returned to the program at a rate               private health insurance or the financial              pulmonary conditions.574 These are all
                                                  ranging between 17 and 38 percent                       resources to pay for reasonably                        classified as costly medical
                                                  within one year of exit.567 Twelve of                   foreseeable medical costs related to a                 conditions.575 In the United States,
                                                  these studies included household                        medical condition that is likely to                    chronic diseases and conditions that
                                                  surveys, with some conducting                           require extensive medical treatment or                 cause them account for most of the
                                                  interviews less than a year post-exit,                  institutionalization or that will interfere            health care costs.576
                                                  and some as much as 34 months after                     with the alien’s ability to provide care                  • From 2012 to 2013, the total annual
                                                  exit.568 A review of these surveys found                for him- or herself, to attend school, or              direct medical costs for heart disease
                                                  that among those who left Medicaid, the                 to work. However, the alien may                        and strokes were $190 billion;577
                                                  rate of re-enrollment at the time of                    provide evidence of the prospect of                       • Cancer care cost $157 billion in
                                                  interview was between 33 and 81                         obtaining health insurance, such as                    2010 dollars;578 and
                                                  percent among adults, and between 51                                                                              • In 2017, the total estimated direct
                                                                                                          pending employment that provides
                                                                                                                                                                 medical cost for diagnosed diabetes was
                                                  and 85 percent among children.                          employer-sponsored health insurance.
                                                                                                            DHS proposes this factual                            $237 billion.579
                                                  Employment rates at the time of
                                                  interview ranged between 57 and 71                      circumstance as a heavily weighed
                                                                                                                                                                 Health Promotion, About Chronic Diseases, Health
                                                  percent.569                                             negative factor in 8 CFR 212.22(c)(1)(iv).             and Economic Costs of Chronic Diseases, available
                                                                                                          Certain chronic medical conditions can                 at https://www.cdc.gov/chronicdisease/about/costs/
                                                     DHS would view past receipt of
                                                                                                          be costly to treat.571 Certain conditions              index.htm (last visited Sept. 13, 2018).
                                                  public benefits within 36 months as a
                                                                                                          may adversely affect an applicant’s                       574 See U.S. Dep’t of Health & Human Servs.,
                                                  strong indicator that an alien will                                                                            Research In Action, Issue #19: The High
                                                                                                          ability and capacity to obtain and retain
                                                  continue to receive public benefits, and                                                                       Concentration of U.S. Health Care Expenditures
                                                                                                          gainful employment. Other conditions                   (June 2006), available at https://archive.ahrq.gov/
                                                  therefore is likely to become a public
                                                                                                          could result in long-term                              research/findings/factsheets/costs/expriach/
                                                  charge. However, the weight given to                    institutionalization in a health care                  expendria.pdf; see also Ctrs. for Disease Control &
                                                  public benefits will depend on whether                  facility at government expense.                        Prevention, National Center for Chronic Disease
                                                  the alien received multiple benefits,                   According to the Multiple Chronic
                                                                                                                                                                 Prevention and Health Promotion, About Chronic
                                                  how long ago the benefits were received,                                                                       Diseases, Health and Economic Costs of Chronic
                                                                                                          Conditions Chartbook 2010 Medical                      Diseases, available at https://www.cdc.gov/
                                                  and the amounts received.570 For                        Expenditure Panel Survey Data,572 86                   chronicdisease/about/costs/index.htm (last visited
                                                  example, the receipt of a public benefit                percent of the nation’s $2.7 trillion                  Sept. 13, 2018). See also generally the Ctrs. for
                                                  5 years ago would be a negative factor;                 annual health care expenditures were                   Disease Control & Prevention, Statistics on Chronic
                                                  however, a public benefit received six                                                                         Disease Prevention and Health Promotion, Chronic
                                                                                                          for individuals with chronic and mental                Disease Data available at https://www.cdc.gov/
                                                  months before the adjustment of status                  health conditions.573 The Centers for                  chronicdisease/data/index.htm (last visited Sept.
                                                  application would be considered a                                                                              13, 2018).
                                                  heavily weighed negative factor.                           571 See U.S. Dep’t of Health & Human Servs.,           575 See U.S. Dep’t of Health & Human Servs.,

                                                                                                          Research In Action, Issue #19: The High                Research In Action, Issue #19: The High
                                                     DHS welcomes public comments on                      Concentration of U.S. Health Care Expenditures         Concentration of U.S. Health Care Expenditures
                                                  the appropriate period of time to                       (June 2006), available at https://archive.ahrq.gov/    (June 2006), available at https://archive.ahrq.gov/
                                                  examine. DHS is particularly interested                 research/findings/factsheets/costs/expriach/           research/findings/factsheets/costs/expriach/
                                                  in data regarding how frequently                        expendria.pdf; see also Ctrs. for Medicare &           expendria.pdf; see also Ctrs. for Disease Control &
                                                                                                          Medicaid Servs., NHE Fact Sheet, available at          Prevention, National Center for Chronic Disease
                                                  individuals who previously used public                  https://www.cms.gov/research-statistics-data-and-      Prevention and Health Promotion, About Chronic
                                                  benefits later do so again, and whether                 systems/statistics-trends-and-reports/                 Diseases, Health and Economic Costs of Chronic
                                                  a 24-month or 48-month timeframe                        nationalhealthexpenddata/nhe-fact-sheet.html (last     Diseases, available at https://www.cdc.gov/
                                                  would be more appropriate.                              modified Sept 13, 2018) (in 2016, NHE grew to $3.3     chronicdisease/about/costs/index.htm (last visited
                                                                                                          trillion). For a discussion of expenditures, see       Sept. 13, 2018). See also generally the Ctrs. for
                                                                                                          generally Ctrs. for Medicare & Medicaid Servs.,        Disease Control & Prevention, Statistics on Chronic
                                                    566 See U.S. Dep’t of Health & Human Servs.,          National Health Expenditure Data, available at         Disease Prevention and Health Promotion, Chronic
                                                  Office of the Assistant Sec’y for Planning &            https://www.cms.gov/Research-Statistics-Data-and-      Disease Data available at https://www.cdc.gov/
                                                  Evaluation, Status Report on Research on the            Systems/Statistics-Trends-and-Reports/                 chronicdisease/data/index.htm (last visited Sept.
                                                  Outcomes of Welfare Reform app. B (Aug. 2001),          NationalHealthExpendData (last modified Sept 13,       13, 2018).
                                                  available at https://aspe.hhs.gov/report/status-        2018); see also Ctrs. for Disease Control &               576 See Ctrs. for Disease Control & Prevention,
                                                  report-research-outcomes-welfare-reform-2001.           Prevention, Chronic Disease Prevention and Health      National Center for Chronic Disease Prevention and
                                                    567 See U.S. Dep’t of Health & Human Servs.,          Promotion, Chronic Disease Data available at           Health Promotion, About Chronic Diseases, Health
                                                  Office of the Assistant Sec’y for Planning &            https://www.cdc.gov/chronicdisease/data/               and Economic Costs of Chronic Diseases, available
                                                  Evaluation, Status Report on Research on the            index.htm (last visited Sept. 13, 2018). The CDC       at https://www.cdc.gov/chronicdisease/about/costs/
                                                  Outcomes of Welfare Reform app. B (Aug. 2001),          collects large amounts of data on numerous major       index.htm (last visited Sept. 13, 2018).
                                                                                                          chronic diseases. In addition, the CDC provides an
                                                  available at https://aspe.hhs.gov/report/status-                                                                  577 See Ctrs. for Disease Control & Prevention,
                                                                                                          overview of chronic diseases in the United States,
                                                  report-research-outcomes-welfare-reform-2001.                                                                  National Center for Chronic Disease Prevention and
                                                    568 See U.S. Dep’t of Health & Human Servs.,
                                                                                                          including prevalence and cost. See Ctrs. for Disease
                                                                                                          Control & Prevention, National Center for Chronic      Health Promotion, About Chronic Diseases, Health
                                                  Office of the Assistant Sec’y for Planning &            Disease Prevention and Health Promotion, About         and Economic Costs of Chronic Diseases, available
                                                  Evaluation, Status Report on Research on the            Chronic Diseases, Health and Economic Costs of         at https://www.cdc.gov/chronicdisease/about/costs/
                                                  Outcomes of Welfare Reform app. B (Aug. 2001),          Chronic Diseases, available at https://www.cdc.gov/    index.htm (last visited Sept. 13, 2018).
                                                  available at https://aspe.hhs.gov/report/status-        chronicdisease/about/costs/index.htm (last visited        578 See Nat’l Cancer Inst., Cancer Prevalence and
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                                                  report-research-outcomes-welfare-reform-2001.           Sept. 13, 2018).                                       Cost of Care Projections, http://
                                                    569 See U.S. Dep’t of Health & Human Servs.,             572 As cited by the CDC. See Ctrs. for Disease      costprojections.cancer.gov/ (last visited Sept. 13,
                                                  Office of the Assistant Sec’y for Planning &            Control & Prevention, National Center for Chronic      2018).
                                                  Evaluation, Status Report on Research on the            Disease Prevention and Health Promotion, About            579 See American Diabetes Association, The Cost
                                                  Outcomes of Welfare Reform app. B (Aug. 2001),          Chronic Diseases, Health and Economic Costs of         of Diabetes, available at http://www.diabetes.org/
                                                  available at https://aspe.hhs.gov/report/status-        Chronic Diseases, available at https://www.cdc.gov/    advocacy/news-events/cost-of-diabetes.html (last
                                                  report-research-outcomes-welfare-reform-2001.           chronicdisease/about/costs/index.htm (last visited     visted Sept. 13, 2018). See also Ctrs. for Disease
                                                    570 This proposed policy is generally consistent      Sept. 13, 2018).                                       Control & Prevention, National Center for Chronic
                                                  with longstanding policy affording less weight to          573 See Ctrs. for Disease Control & Prevention,     Disease Prevention and Health Promotion, About
                                                  benefits that were received longer ago in the past.     National Center for Chronic Disease Prevention and     Chronic Diseases, Health and Economic Costs of



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                                                     Individuals in poor to fair health are               benefits because of their compromised                  receipt of these benefits among those
                                                  more likely to access public benefits to                health. About 40 percent of U.S. citizens              who reported their health as excellent,
                                                  treat their medical condition. Tables 25                and 50 percent of noncitizens 580 who                  very good, or good was similarly about
                                                  and 26 show a relationship between                      described their health as poor received                20 percent, while among those who
                                                  health and receipt of public benefits                   some form of cash or non-cash public                   reported their health as fair or poor, the
                                                  irrespective of citizenship status, with                benefit. Moreover, about 20 percent of                 rate was 30 to 50 percent. About 1 to 2
                                                  higher rates of participation in most                   U.S. citizens and noncitizens who                      percent of both U.S. citizens and
                                                  programs among those who reported                       reported their health as excellent                     noncitizens who reported their health as
                                                  their health as fair or poor than those                 participated in at least one type of cash              excellent or good received at least one
                                                  who reported their health as excellent,                 or non-cash benefit program in 2013.                   of SSI, TANF, or GA, which was a rate
                                                  very good, or good.                                     The rate of receipt of cash or non-cash                much lower than those who reported
                                                     DHS also acknowledges that the                       benefits was about 20 percent among                    their health as either good (10.0 percent
                                                  health of certain individuals may have                  U.S. citizens who reported their health                of U.S. citizens and 7.1 percent of
                                                  improved because of their access to                     as excellent, very good, or good; and the              noncitizens) or excellent (17.3 percent
                                                  these subsidized health insurance and                   rate was 30 to 40 percent among U.S.                   of citizens and 12.8 percent of
                                                  other public benefits. In other cases,                  citizens who reported their health as fair             noncitizens).581
                                                  individuals may have needed the public                  or poor. Among noncitizens, the rate of                  581 See Amy Finkelstein et al., Nat’l Bureau of

                                                                                                                                                                 Econ. Research, Working Paper 17190, The Oregon
                                                  Chronic Diseases, available at https://www.cdc.gov/       580 The difference in rates between citizens and     Health Insurance Experiment: Evidence from the
                                                  chronicdisease/about/costs/index.htm (last visited      noncitizens who describe their health as poor is not   First Year (July 2011), available at http://
                                                  Sept. 13, 2018).                                        statistically significant.                             www.nber.org/papers/w17190.pdf.
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                                                    As noted in the discussion of the                     with the alien’s ability to provide for               (e) Alien Previously Found Inadmissible
                                                  health factor above, USCIS would rely                   him- or herself, attend school, or work;              or Deportable Based on Public Charge
                                                  on panel physician and civil surgeon                    and the alien is uninsured or has health
                                                  medical examination for purposes of                     insurance that constitutes a public                     DHS is proposing to consider an alien
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                                                  whether an individual’s circumstances                   benefit under 212.21(b), or the alien has             previously found inadmissible or
                                                  gives rise to this heavily weighted                     no prospect of obtaining private health               deportable based on public charge
                                                  negative factor. USCIS would consider it                insurance, or other non-governmental                  grounds to be a high risk of becoming
                                                  a heavily weighed negative factor if the                means of paying for medical treatment.                a public charge in the future.582 Absent
                                                  panel physician or civil surgeon reports                                                                      countervailing positive factors and
                                                  a medical condition that is likely to                                                                         evidence to show that current
                                                  require extensive medical treatment or
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                                                  institutionalization, or that will interfere                                                                    582 See   proposed 8 CFR 212.22(c)(1)(v).



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                                                  circumstances outweigh the conditions                   participation rates in non-cash benefit               FPG or living between 250 to 400
                                                  that supported the finding of                           programs among those living below 125                 percent of the FPG, and 1.1 percent
                                                  inadmissibility, the previous finding                   percent of the FPG was about 40                       among those living above 400 percent of
                                                  will carry heavy weight in determining                  percent, compared to about 35 percent                 the FPG. Because many public benefit
                                                  that an alien is likely to be a public                  of those either between 125 and 250                   programs determine eligibility based on
                                                  charge again.                                           percent of the FPG or 250 and 400                     the FPG, individuals living above 250
                                                  2. Heavily Weighed Positive Factors                     percent of the FPG.583 Among                          percent of the FPG are less likely to
                                                                                                          noncitizens living above 400 percent of               receive public benefits.
                                                     Significant income, assets, and                      the FPG, the rate of receipt was 17.1                    For these reasons, and based on the
                                                  resources play a major role in whether                  percent. Among U.S. citizens, the rate of             data that follows, DHS proposes to
                                                  an individual is likely to become a                                                                           consider it a heavily weighed positive
                                                                                                          receipt of cash benefits among those
                                                  public charge. In addition, as described                                                                      factor if the alien has financial assets,
                                                                                                          living below 125 percent of the FPG was
                                                  above, Tables 27 and 28 show a                                                                                resources, support, or annual income of
                                                                                                          12.9 percent, compared to a rate of 10.3
                                                  relationship between the FPG and                                                                              at least 250 percent of the FPG in the
                                                                                                          percent among those living between 125
                                                  welfare participation rates among both                                                                        totality of the circumstances.584
                                                  U.S. citizens and noncitizens in receipt                and 250 percent of the FPG, 5.5 percent
                                                                                                          among those living between 250 and                    However, DHS notes that an alien with
                                                  of non-cash benefits in 2013. The                                                                             an annual income of less than 250
                                                  percentage of people receiving these                    400 percent of the FPG, and 1.9 percent
                                                                                                          of those living above 400 percent of the              percent of FPG would not automatically
                                                  public benefits generally goes down as                                                                        be inadmissible based on public charge.
                                                  the income percentage increases.                        FPG. Among noncitizens, the rates of
                                                                                                          receipt were 6.7 percent among those                  Instead, all the factors as discussed
                                                  Specifically, 52.0 percent of U.S.                                                                            above would be considered in the
                                                  citizens living below 125 percent of the                living below 125 percent of the FPG,
                                                                                                          about 2 to 3 percent among those either               totality of the circumstances, which may
                                                  FPG received non-cash benefits                                                                                be favorable to be person regardless of
                                                  compared to 42.4 percent of those living                living between 125 to 250 percent of the
                                                                                                                                                                whether the income is below 250
                                                  between 125 and 250 percent of the                                                                            percent of the FPG.
                                                                                                             583 The difference in rates between noncitizens
                                                  FPG, 36.9 percent of those living
                                                                                                          living below 125 percent of the FPG and those
                                                  between 250 and 400 percent of the                      living either between 125 and 250 percent of the        584 Income between 125 and 250 percent of the
                                                  FPG, and 13.5 percent of those above                    FPG, or 250 and 400 percent of the FPG, was not       FPL is considered a positive factor in the public
                                                  400 percent of the FPL. Noncitizen                      statistically significant.                            charge inadmissibility analysis.
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                                                  (f) Previously Excluded Benefits                        received before the effective date of the                 Public benefits previously considered
                                                                                                          final rule.585                                          under the 1999 Interim Field Guidance
                                                     DHS would not consider public                                                                                and received prior to the effective date
                                                  benefits under the proposed 8 CFR                          585 Under the 1999 Interim Field Guidance, DHS       of this rule would be considered as a
                                                  212.21(b) that were previously excluded                 would consider the current receipt of cash benefits     negative factor in the totality of the
                                                  under the 1999 Interim Field Guidance                   for income maintenance or long-term                     circumstances analysis when
                                                  if received before effective date of the                institutionalization at government expense in the
                                                                                                          totality of the circumstances. See Field Guidance on
                                                                                                                                                                  determining whether an alien is
                                                  final rule. DHS, however, would                         Deportability and Inadmissibility on Public Charge      inadmissible as likely at any time to
                                                  continue to consider cash benefits for                  Grounds, 64 FR 28689, 28690 (May 26, 1999) (‘‘If        become a public charge. However, the
                                                  income maintenance SSI, TANF and                        at the time of application for admission or
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                                                                                                          adjustment an alien is receiving a cash public          totality of the circumstances. See Field Guidance on
                                                  benefits for long-term                                  assistance for income maintenance or is                 Deportability and Inadmissibility on Public Charge
                                                  institutionalization (i.e. those                        institutionalized for long-term care (as discussed in   Grounds, 64 FR 28689, 28690 (May 26, 1999)
                                                  previously considered under the 1999                    section 6, below), that benefit should be taken into    (‘‘[P]ast receipt of cash income-maintenance
                                                                                                          account under the totality of the circumstances test,   benefits does not automatically make an alien
                                                  Interim Field Guidance) that an alien                   along with the other statutory factors under section    inadmissible as likely to become a public charge,
                                                                                                          212(a)(4)(B)(i) and any [adjustment of status].’’).     nor does past institutionalization for long-term care
                                                                                                          DHS would also consider past receipt of cash            at government expense. Rather this history would
                                                                                                          benefits for income maintenance or long-term            be one of many factors to be considered in applying
                                                                                                                                                                                                                          EP10OC18.043</GPH>




                                                                                                          institutionalization at government expense in the       the totality of the circumstances test.’’).



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                                                  receipt of such benefits would not be                      Table 29 provides a summary of how                  would be considered under the
                                                  considered as a heavily weighed                         benefits received prior to and after the               proposed rule.
                                                  negative factor.                                        effective date of this proposed rule




                                                  Examples                                                inadmissibility under section 212(a)(4) of the         January 1, 2019, the effective date of the
                                                                                                          Act, 8 U.S.C. 1182(a)(4), goes into effect on          public charge rule, would not be considered.
                                                     The following examples illustrate                    January 1, 2019. The alien is the only                 However, the SNAP benefits the alien
                                                  how DHS will consider benefits                          member of the household, has been paroled              received on or after January 1, 2019 would
                                                  received prior to the effective date of the             into the United States pursuant to section             be considered if the aggregate annual value
                                                  rule for the purposes of making public                  212(d)(5) of the Act for over five years, and          of SNAP benefits received since the effective
                                                                                                          is seeking to adjust status based on a visa
                                                  charge inadmissibility determinations.                                                                         date of the rule exceeds $1,821 (fifteen
                                                                                                          category subject to public charge
                                                  These examples are for illustrative                     inadmissibility. The alien files the                   percent of the FPG for the household of one
                                                  purposes only and assume a closed                       adjustment of status application on May 1,             within any period of consecutive twelve
                                                  universe of facts for purposes of                       2019, and the application is adjudicated on            consecutive months). For the consecutive
                                                  simplicity. The examples are not                        September 1, 2019. HHS published the new               twelve-month period between January 1,
                                                  intended to represent actual possible                   FPG in early January 2019, which contains              2019 and September 1, 2019, the date of
                                                                                                          the same values as the 2018 FPG for purposes           adjudication, the alien had only received a
                                                  outcomes, as each case is reviewed
                                                                                                          of this example. For a household of 1, the             total of $1,620 in SNAP benefits, which is
                                                  individually on its own merits. Under                   FPG is $12,140. Fifteen percent of the FPG             less than the threshold amount. However,
                                                  the proposed rule, benefits received                    is $1,821 in a 12-month period. The alien is           because the alien is certified to receive
                                                  prior to the effective date of the rule                 certified to receive SNAP benefits for 36              $2,160 in SNAP benefits for a consecutive
                                                  would be excluded from consideration                    months, beginning on January 1, 2018. For              twelve-month period beginning after the
                                                  unless such benefits would have been                    the consecutive 12-month period between                rule’s effective date, and such amount
                                                  considered under the 1999 Interim Field                 January 1, 2018 and December 31, 2018, the             exceeds fifteen percent of the FPG, these
                                                  Guidance.588 However, benefits received                 alien receives $2,160 in SNAP benefits. For            benefits would be considered as a heavily
                                                                                                          the consecutive twelve-month period
                                                  after the effective date of the rule would              between January 1, 2019 and December 31,
                                                                                                                                                                 weighed negative factor in the totality of the
                                                  be considered to the extent that they are               2019, the alien receives $2,160 in SNAP                circumstances, as illustrated in Table 30. In
                                                  a public benefit, as defined in 8 CFR                   benefits. The alien received no other public           this case, absent other evidence tending to
                                                  212.21(b).                                              benefits. SNAP was previously excluded                 show that the alien is unlikely to receive the
                                                    Example 1: Benefits Excluded Under the                under the 1999 Interim Field Guidance, but             benefits covered by the certification, USCIS
                                                  1999 Interim Field Guidance                             is included in proposed 8 CFR 212.21(b).               would probably find that the alien is likely
                                                    Example 1 is based on the following                      Under proposed 8 CFR 212.22(d), the                 to become a public charge and is ineligible
                                                  scenario: The DHS rule on public charge                 SNAP benefits the alien received before                for adjustment of status.589

                                                    586 SNAP benefits received after the effective date   should be taken into account under the totality of     of the alien’s circumstances at the time of the
                                                  of the proposed rule will be valued as set forth in     the circumstances test, along with the other           application for admission or adjustment and make
                                                  proposed 8 CFR 212.24(a).                               statutory factors under section 212(a)(4)(B)(i) and    a forward-looking determination regarding the
                                                    587 The 1999 Interim Field Guidance suggests that     any AOS . . . . Past receipt of cash income-           likelihood that the alien will become a public
                                                                                                          maintenance benefits does not automatically make
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                                                  any past or current receipt of the type of public                                                              charge after admission or adjustment.’’ (emphasis
                                                                                                          an alien inadmissible as likely to become a public     added)).
                                                  benefits included for consideration will be included
                                                                                                          charge, nor does past institutionalization for long-      588 See proposed 8 CFR 212.21(c).
                                                  in the public charge inadmissibility determination.     term care at government expense. Rather this
                                                  See Field Guidance on Deportability and                 history would be one of many factors to be
                                                                                                                                                                    589 Pursuant to proposed 8 CFR 212.24(a), for

                                                  Inadmissibility on Public Charge Grounds, 64 FR         considered in applying the totality of the             SNAP benefits, DHS would calculate the value of
                                                  28689, 28690 (May 26, 1999) (‘‘If at the time of        circumstances test. In the case of an alien who has    the benefit attributable to the alien in proportion to
                                                  application for admission or adjustment an alien is     received cash income-maintenance benefits in the       the total number of people covered by the benefit,
                                                  receiving a cash public assistance for income           past or who has been institutionalized for long-term   based on the amount(s) deposited as defined in
                                                  maintenance or is institutionalized for long-term       care at government expense, a Service officer          212.21(b) which the benefits are received in the
                                                                                                                                                                                                                          EP10OC18.044</GPH>




                                                  care (as discussed in section 6, below), that benefit   determining admissibility should assess the totality   Electronic Benefits Transfer (EBT) card account.



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                                                     Example 2: Benefits Excluded Under the                12-month periods for this example .The alien          of SNAP benefits received since the effective
                                                  1999 Interim Field Guidance                              was certified to receive SNAP for 36 months           date of the rule exceeds $1,821 (fifteen
                                                     Example 2 is based on the following                   beginning in January 2018. The alien                  percent of the FPG for the household of one
                                                  scenario: The DHS rule on public charge                  received no other public benefits. For the            within any period of consecutive twelve
                                                  inadmissibility under section 212(a)(4) of the           consecutive twelve-month period between               consecutive months). For the consecutive
                                                  Act, 8 U.S.C. 1182(a)(4), goes into effect on            January 1, 2018 and December 31, 2018, the
                                                  January 1, 2019. An alien is the only member             alien received $2,160 in SNAP benefits. For           twelve-month period between January 1,
                                                  of the household, has been paroled pursuant              the consecutive twelve-month period                   2019 and December 31, 2019, the SNAP
                                                  to section 212(d)(5) of the Act for over five            between January 1, 2019 and December 31,              benefits the alien received exceeded the
                                                  years, and is seeking to adjust status based             2019, the alien received $2,160 in SNAP               fifteen percent threshold, and therefore
                                                  on a visa category subject to a public charge            benefits. Beginning on January 1, 2020,               would be considered. Because the receipt
                                                  inadmissibility determination. The alien files           however, the alien no longer receives any             was within the 36 months immediately
                                                  the adjustment of status application on May              SNAP benefits. The alien provided a benefits          preceding the application, it is a heavily
                                                  1, 2020, and the application is adjudicated on           termination letter as evidence along with the         weighed factor in the totality of the
                                                  September 1, 2020. HHS publishes the                     alien’s adjustment application.                       circumstances. The termination letter
                                                  calendar year 2019 FPG in early January 2019                Under proposed 8 CFR 212.22(d), the
                                                                                                                                                                 suggests, however, that the alien is unlikely
                                                  and the 2020 FPG in early January 2020. For              SNAP benefits the alien received before
                                                  the purposes of this example, the FPG for                January 1, 2019, the effective date of the            to receive future public benefits. DHS would
                                                  2019 and 2020 contains the same values as                public charge rule, would not be considered.          weigh the termination letter along with the
                                                  the FPG for 2018, which is $12,140. Fifteen              However, the SNAP benefits the alien                  other evidence, in the totality of the
                                                  percent of the FPG for 2018, 2019 and 2020               received on or after January 1, 2019 would            circumstances. The preceding analysis is
                                                  would be $1,821 in the relevant consecutive              be considered if the aggregate annual value           summarized in Table 31.590
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                                                    590 Pursuant to proposed 8 CFR 212.24(a), for          the total number of people covered by the benefit,    212.21(b) which the benefits are received in the
                                                  SNAP benefits, DHS would calculate the value of          based on the amount(s) deposited as defined in        Electronic Benefits Transfer (EBT) card account.
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                                                  the benefit attributable to the alien in proportion to



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                                                     Example 3: Benefits Previously Excluded                 For the consecutive twelve-month period              $1,821. TANF was considered under the
                                                  and Included Under the 1999 Interim Field               between January 1, 2018 and December 31,                1999 Interim Field Guidance and therefore,
                                                  Guidance                                                2018, the alien’s household of 3 receives               the total value of the benefit received prior
                                                     The example is based on the following                $2,400 in SNAP benefits. The proportional               January 1, 2019 would be considered as a
                                                  scenario: The DHS rule on public charge                 value of the $2,4000 SNAP benefit                       negative factor in the totality of the
                                                  inadmissibility under section 212(a)(4) of the          attributable to the alien based on her                  circumstances.591 TANF benefits received
                                                  Act, 8 U.S.C. 1182(a)(4), goes into effect on           household size of 3 for this consecutive                after January 1, 2019 would be considered if
                                                  January 1, 2019. An alien has been paroled              twelve-month period would be $800, or one               the total value of the alien’s receipt of one
                                                  into the United States pursuant to section              third of $2,400. Similarly, for the consecutive         or more public benefits exceeded $1,821
                                                  212(d)(5) of the Act for over five year and is          twelve-month period between January 1,                  during the relevant consecutive twelve-
                                                  seeking to adjust status based on a visa                2019 and December 31, 2019, the alien’s                 month period. At the time the alien’s
                                                  category subject to the public charge                   household is certified to receives $1,800 in            application was adjudicated on September 1,
                                                  inadmissibility determination. The alien’s              SNAP benefits for the a household size of 3.            2019, the alien received $600 in proportional
                                                  household of three includes the alien and the              The alien is also receiving TANF. For the
                                                                                                                                                                  SNAP benefits and $900 in TANF benefits
                                                  alien’s two U.S. citizen children. The alien            consecutive twelve-month period between
                                                                                                                                                                  during the consecutive 12-month period
                                                  files an adjustment of status application on            January 1, 2018 until December 31, 2018, the
                                                                                                                                                                  between January 1, 2019 and September 1,
                                                  May 1, 2019, and the application is                     alien also receives a proportionate share of
                                                  adjudicated on September 1, 2019. HHS                   $100 per month in TANF benefits or $1,200               2019, which, cumulatively, is less than 15
                                                  publishes the calendar year 2019 FPG in                 for the twelve-month period. The alien is               percent of the FPG in the amount of $1,821.
                                                  early January 2019. For the purposes of this            certified to continue to receive TANF at this           Therefore, the alien’s receipt of SNAP and
                                                  example, the FPG for 2019 contains the same             level through December 2019, and there is no            TANF in 2019 would not be considered past
                                                  values as the FPG for 2018. The relevant FPG            evidence that the alien has terminated                  receipt of public benefits within the 36-
                                                  based on a household of one in a consecutive            receipt.                                                month period immediately preceding the
                                                  twelve-month period is $12,140. Fifteen                    Under proposed 8 CFR 212.22(d), the                  application. However, because the alien was
                                                  percent of the average FPG for the                      SNAP benefits the alien received before                 certified to receive both SNAP and TANF for
                                                  consecutive twelve-month period between                 January 1, 2019, the effective date of the              the entire consecutive twelve-month period
                                                  January 1, 2018 and FPG for December 31,                public charge rule, would not be considered.            between January 1, 2019 and December 31,
                                                  2018 is $1,821. Fifteen percent of the average          However, the SNAP benefits the alien                    2019 in a cumulative amount that exceeds
                                                  FPG for the consecutive twelve-month period             received on or after January 1, 2019 would              the fifteen percent threshold, this would be
                                                  between January 1, 2019 and FPG for                     be considered if the cumulative value of all            a heavily weighed factor in the totality of the
                                                  December 31, 2019 is also $1,821.                       monetizable benefits received exceeded                  circumstances, as illustrated in Table 32.
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                                                    591 Note that considering the past receipt of         longer ago an alien received such cash benefits or      is likely to become a public charge. The negative
                                                  previously included benefits as a negative factor in    was institutionalized, the less weight these factors    implication of past receipt of such benefits or past
                                                  the totality of the circumstances is consistent with    will have as a predictor of future receipt. Also, the   institutionalization [sic], however, may be
                                                  how such benefits were treated under the 1999           ‘length of time an applicant has received public        overcome by positive factors in the alien’s case
                                                  Interim Field Guidance, under which an ‘‘officer        cash assistance is a significant factor.’ The longer    demonstrating an ability to be self-supporting.’’
                                                  determining admissibility should assess the totality    an alien has received cash income-maintenance           Field Guidance on Deportability and Inadmissibility
                                                  of the alien’s circumstances at the time of the         benefits in the past and the greater the amount of      on Public Charge Grounds, 64 FR 28689, 28690
                                                                                                                                                                                                                         EP10OC18.046</GPH>




                                                  application for admission or adjustment . . . The       benefits, the stronger the implication that the alien   (May 26, 1999).



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                                                     DHS notes that the proposed                          would give aliens an opportunity to stop               M. Summary of Review of Factors in the
                                                  exclusion of certain benefits received                  receiving public benefits and obtain                   Totality of the Circumstances
                                                  before the effective date may provide an                other means of support before filing for                 An alien’s likelihood of becoming a
                                                  opportunity for public benefit granting                 immigration benefits.                                  public charge, as discussed above, is
                                                  agencies to communicate the                               DHS welcomes comment on whether                      prospective and based on the totality of
                                                  consequences of receiving public                        DHS should consider receipt of public                  the alien’s circumstances. The Form I–
                                                  benefits, to the extent such agencies                   benefits previously considered under                   944, Declaration of Self-Sufficiency,
                                                  deem appropriate. In addition, the                      the 1999 Interim Field Guidance as                     would be used by DHS to assess
                                                  proposed exclusion provides advance                     described in Table 29 at all, or if DHS                whether the alien is likely to become a
                                                  notice to aliens that DHS is considering                should consider the benefit(s) in some                 public charge based on the totality of
                                                  to change which public benefits it will                 other way than as a negative factor in                 the circumstances. Table 33 below,
                                                  consider for purposes of public charge                  the totality of the circumstances.                     provides a brief summary of the totality
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                                                  inadmissibility determinations. If                                                                             of the circumstances framework for
                                                  finalized, this provision, coupled with                                                                        public charge inadmissibility
                                                  the proposed 60-day effective date,                                                                            determinations. 592


                                                    592 The family status factor consideration entails    of another individual’s household. Among               30 percent of noncitizens in families of 5 or more
                                                  determining the alien’s household size and whether      noncitizens in families with 3 or 4 people, about 20   received non-cash benefits.
                                                                                                                                                                                                                      EP10OC18.047</GPH>




                                                  the alien has his or her own household or is a part     percent received non-cash assistance, while about



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                                                     Below, DHS provides examples of                      outcomes, as each case is reviewed                     result in a favorable determination of
                                                  potential public charge inadmissibility                 individually on its own merits.                        admissibility for public charge
                                                  determinations. These examples are for                                                                         purposes. An alien would need to meet
                                                                                                          1. Favorable Determination of
                                                  illustrative purposes only and assume a                                                                        all other admissibility and eligibility
                                                                                                          Admissibility
                                                  closed universe of facts for purposes of                                                                       requirements of the immigration benefit
                                                  simplicity. The examples are not                          The following is an example (Table                   the alien is seeking.
                                                  intended to represent actual possible                   34) of a set of facts that would likely
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                                                    593 A sponsor must be able to demonstrate the         requirements, if a sponsor is not able to have a         594 Except that the absence of a sufficient affidavit

                                                  means to maintain an income of at least 125 percent     sufficient affidavit of support, the alien is          of support, where required, will lead to an
                                                  of the Federal Poverty Guidelines for the sponsor’s     inadmissible based on public charge under INA          inadmissibility finding. See INA 212(a)(4)(C), (D), 8
                                                  household size. See INA section 213A, 8 U.S.C.          sections 212(a)(4) and 213A, 8 U.S.C. 1182(a)(4) and   U.S.C. 1182(a)(4)(C), (D).
                                                                                                                                                                                                                           EP10OC18.052</GPH>




                                                  1183a. For aliens who are subject to the sponsor        1183a.



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                                                  2. Unfavorable Determination of                         result in an unfavorable determination
                                                  Admissibility                                           of admissibility for public charge
                                                    The following is an example (Table                    purposes. The alien may also be subject
                                                  35) of a set of facts that would likely                 to other inadmissibility grounds.
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                                                                                                                                                                                              EP10OC18.053</GPH>




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                                                  N. Valuation of Monetizable Benefits                    the amount received by the number of                      inadmissible based on public charge
                                                     DHS has consulted with the relevant                  eligible household members enrolled in                    grounds may, if otherwise admissible,
                                                  Federal agencies regarding the inclusion                the benefit.                                              be admitted at the discretion of the
                                                                                                             • With respect to the Section 8                        Secretary upon giving a suitable and
                                                  and consideration of certain
                                                                                                          Housing Assistance under the Housing                      proper bond.596 Currently, the
                                                  monetizable public benefits, and is
                                                                                                          Choice Voucher Program, as                                regulatory authority for posting a public
                                                  proposing a benefit-specific
                                                                                                          administered by HUD under 24 CFR                          charge bond can be found in 8 CFR
                                                  methodology to establish a value for
                                                                                                          part 984; 42 U.S.C. 1437f and 1437u,                      103.6 and 8 CFR 213.1.
                                                  certain monetizable benefits in order to                DHS would calculate the proportional
                                                  determine whether the alien has                         value of the voucher attributable to the                  1. Overview of Immigration Bonds
                                                  received in excess of the 15 percent                    eligible alien alone, based on the                        Generally
                                                  threshold. This methodology ensures                     amount of the benefit received. In                           Immigration bonds may generally be
                                                  that for benefits which are provided on                 calculating the proportional value of the                 secured by cash or cash equivalents, or
                                                  the basis of a household and not the                    benefit, DHS would use the same                           may be underwritten by a surety
                                                  individual, USCIS would only take into                  methodology—it would divide the value                     company certified by the Department of
                                                  consideration the portion of the benefit                of the benefit by the number of people                    Treasury under 31 U.S.C. 9304–9308.597
                                                  that is attributable to the alien.                      receiving it. DHS also welcomes                           A bond, including a surety bond, is a
                                                  However, in circumstances where the                     comments on a potential alternative                       contract between the United States (the
                                                  alien is not eligible for a given benefit               methodology, under which DHS would                        obligee) and an individual or a company
                                                  but is part of a household that receives                assign value to the benefit using HUD                     (obligor) who pledges a sum of money
                                                  the benefit (such as by living in a                     rules at 24 CFR 5.520.                                    to guarantee a set of conditions set by
                                                  household that receives a housing                          • With respect to Section 8 Project-                   the government concerning an alien.598
                                                  benefit by virtue of other household                    Based Rental Assistance (including                        Surety bonds are bonds in which the
                                                  members’ eligibility), such benefit based               Moderate Rehabilitation) under 24 CFR                     surety company and its agents serve as
                                                  on the eligibility and receipt of such                  parts 5, 402, 880–884 and 886, DHS                        co-obligors on the bond. Such company
                                                  benefit(s) by his/her household                         would calculate the proportional value                    and its agents are jointly and severally
                                                  members, USCIS would not consider                       of the rental assistance attributable to                  liable for the payment of the face
                                                  such use for purpose of a public charge                 the eligible alien alone, based on the                    amount of the bond if the bond is
                                                  inadmissibility determination.                          amount of the benefit received. In                        breached.599
                                                     In valuing the cash monetizable                      calculating the proportional value of the
                                                  benefits, USCIS would calculate the                     benefit, DHS would use the same                           2. Overview of Public Charge Bonds
                                                  amount of the benefit attributable to the               methodology as above—it would divide                      (a) Public Charge Bonds
                                                  alien in proportion to the other                        the value of the benefit by the number
                                                  household members. Thus, for instance,                                                                               Public charge bonds are intended to
                                                                                                          of people receiving it. DHS also                          hold the United States and all states,
                                                  a household cash benefit of $600, shared                welcomes comment on a potential
                                                  among three eligible individuals, would                                                                           territories, counties, towns,
                                                                                                          alternative methodology, under which                      municipalities and districts harmless
                                                  be attributed to the alien in the amount                DHS would assign value to the benefit
                                                  of $200.                                                                                                          against aliens becoming a public
                                                                                                          using HUD rules at 24 CFR 5.520.                          charge.600 A public charge bond is
                                                     In valuing the non-cash monetizable                     DHS seeks public comments on these
                                                  benefits, DHS would use the same                                                                                  issued on the condition that the alien
                                                                                                          proposed approaches described above,                      does not become a public charge. If the
                                                  methodology, as follows:                                including any studies or data that would
                                                     • With respect to the Supplemental                                                                             government permits the alien to submit
                                                                                                          support an alternative approach.                          a public charge bond, the government
                                                  Nutrition Assistance Program (SNAP, or
                                                  formerly called ‘‘Food Stamps’’), 7                     O. Public Charge Bond for Adjustment
                                                  U.S.C. 2011 to 2036c, DHS would                         of Status Applicants                                        596 See INA section 213, 8 U.S.C. 1183.
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                                                                                                                                                                      597 See generally 8 CFR 103.6.
                                                  calculate the annual aggregate amount                     DHS has the broad authority to                            598 See, e.g., Matter of Allied Fid. Ins. Co., 19 I&N
                                                  of the benefit attributable to the alien                prescribe forms of bonds as is deemed                     Dec. 124, 125–26 (BIA 1984) (discussing the
                                                  alone, based on the amount(s) deposited                 necessary for carrying out the                            contractual nature of delivery bonds submitted
                                                  monthly in the Electronic Benefits                      Secretary’s authority under the                           under 8 CFR 103.6); see Merriam-Webster Online
                                                                                                                                                                    Dictionary, Definition of Bond, https://
                                                  Transfer (EBT) card account. This                       provisions of the Act.595 Additionally,                   www.merriam-webster.com/dictionary/bond (last
                                                  calculation would be performed based                    an alien who DHS has determined to be                     updated Sept. 3, 2018).
                                                  on the alien’s reporting of the monthly                                                                             599 See 8 CFR 103.6(e).
                                                                                                                                                                                                                              EP10OC18.055</GPH>




                                                  amounts deposited. DHS would divide                       595 See   INA section 103(a)(3), 8 U.S.C. 1103(a)(3).     600 See INA section 213, 8 U.S.C. 1183.




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                                                  admits the alien despite having found                    in place to regularly accept public                     accordance with 8 CFR 103.6(c)(1), the
                                                  the alien inadmissible as likely to                      charge bonds.                                           bond could be cancelled if INS
                                                  become a public charge.                                     Prior to 1996, INS had issued public                 determined that there is no likelihood
                                                                                                           charge bond guidance in the Operating                   that the alien would become a public
                                                     If an alien admitted after submitting a
                                                                                                           Instructions (OI) 103.6 and 213.1,603 and               charge.611
                                                  public charge bond becomes a public
                                                                                                           its predecessor, the Examinations
                                                  charge, the bond is breached. The bond                                                                             If the alien became a public charge by
                                                                                                           Handbook, at Part VI, VI–88 through VI–
                                                  is breached regardless of whether a                      98.604 Although these manuals do not                    using public assistance, the bond was
                                                  demand for payment of the public                         appear to comprehensively address                       breached in the necessary amount with
                                                  expense has been made otherwise, as                      public charge bonds, the following                      any remainder continued in effect.612
                                                  reflected below.601                                      summarizes parameters of past public                    According to the Examinations
                                                  (b) Current and Past Public Charge Bond                  charge bond practices:                                  Handbook, if the alien had received any
                                                  Procedures                                                  A consular officer would advise an                   public funds, and the agency from
                                                                                                           immigrant visa applicant required to                    which the alien had obtained the funds
                                                    Regulations governing public charge                    post a bond in writing, specifying the                  requested repayment, the obligor was
                                                  bonds can be found at 8 CFR 103.6 and                    amount to be posted with INS. Without                   required to pay the actual expenses to
                                                  8 CFR 213.1. Agency guidance is                          such a letter, INS would not accept the                 INS within thirty days. If no payment
                                                  provided in the Adjudicator’s Field                      posting of a bond.605 INS informed the                  was made, the obligor was then required
                                                  Manual (AFM), Chapter 61.1. According                    DOS of the posting of the bond as soon                  to pay the total amount due plus $200
                                                  to the AFM, although DHS has the                         as an alien-designated obligor in the                   to the INS. If the payment was not
                                                  authority to require public charge                       United States posted the bond.606                       made, the amount was then extracted
                                                  bonds, the authority has rarely been                     According to 8 CFR 213.1, a public                      from the bond itself.613
                                                  exercised since the passage of IIRIRA in                 charge bond had to be at least $1,000.
                                                                                                           As soon as a bond was posted, INS                         The 1999 public charge guidance did
                                                  1996, which codified the affidavit of
                                                                                                           monitored the bond periodically.607                     not detail any procedures on public
                                                  support requirements.602 Consequently,
                                                                                                           Any interested party could request the                  charge bonds.614 The current USCIS
                                                  USCIS does not currently have a process
                                                                                                           review and cancellation of the bond at                  guidance in the Adjudicator’s Field
                                                     601 See INA section 213, 8 U.S.C. 1183; see also
                                                                                                           any time.608 Upon receiving the request,                Manual addresses the possibility of a
                                                  Matter of Viado, 19 I&N Dec. 252, 253–54 (BIA            INS would notify the alien of his or her                bond in certain circumstances, and
                                                  1985).                                                   opportunity to present evidence to                      outlines that upon termination on
                                                     602 See AFM, Chapter 61.1 (‘‘(b) Policy. Although     establish that the bond was not                         account of the statutory reasons, the
                                                  USCIS has the authority to require a public charge       breached and that the alien was not                     sums or other security held to secure its
                                                  bond, such authority is rarely exercised in light of     likely to become a public charge in the
                                                  the statutory changes contained in the Illegal                                                                   performance, except to the extent it is
                                                  Immigration Reform and Immigrant Responsibility          future; receipt of public assistance was                forfeited for violation of its terms, must
                                                  Act of 1996 (IIRIRA) which created the enforceable       ordinarily sufficient to warrant the                    be returned to the person who posted
                                                  affidavit of support (see Chapter 20.5 of this field     continuation of the bond.609 According                  the bond, or to his legal
                                                  manual).’’ IIRIRA section 564(f) amended INA             to the OIs, if no request to cancel the
                                                  section 213, 8 U.S.C. 1183. In addition to the                                                                   representatives.615
                                                  regular bonding requirements, IIRIRA section 564(a)      bond was made, INS would review the
                                                  through (e) also established 3-year pilot programs       bond every 5 years to determine                           Although the current bond form used
                                                  in 5 district offices of INS to require aliens to post   whether INS should cancel the bond.                     by U.S. Immigration and Customs
                                                  a bond in addition to the affidavit requirements         Ordinarily, and in addition to the                      Enforcement (ICE), Immigration Bond
                                                  under INA section 213, 8 U.S.C. 1183a, and the
                                                  deeming requirements under section 421 of the            statutory reasons for cancellation, a                   (Form I–352), references public charge
                                                  Personal Responsibility and Work Opportunity             bond was cancelled after the initial 5-                 bonds, ICE does not administer public
                                                  Reconciliation Act of 1996, 8 U.S.C. 1631. Congress      year period (or earlier, if warranted) if               charge bonds. However, Form I–352
                                                  provided that any pilot program established              the review showed that the alien had                    does specify that the obligor shall pay
                                                  pursuant to this subsection shall require an alien to
                                                  post a bond in an amount sufficient to cover the
                                                                                                           not and would not likely become a                       to the United States or to any State,
                                                  cost of benefits described in INA section                public charge.610 Additionally, and in                  territory, county, town, municipality or
                                                  213A(d)(2)(B), 8 U.S.C. 1183a, and for the alien and                                                             district that provided public assistance
                                                  the alien’s dependents, and shall remain in effect         603 See INS Operating Instructions (Nov. 1997)
                                                  until the departure, naturalization, or death of the                                                             any and all charges up to the total
                                                                                                           [hereinafter OI]. INS removed Operating
                                                  alien. See IIRIRA, Public Law 104–208, div. C,           Instructions in 1998 and transferred the parts          amount of the bond. In the event that
                                                  section 564(a), 110 Stat 3009–546, 3009–683. Suit        relating to the bond to the Inspector’s Field Manual,   the public authority providing
                                                  on that bond was supposed to be brought under the        Chapter 45. See Transmittal Memo (TM2), M–450
                                                  terms and conditions of INA section 213A, 8 U.S.C.
                                                                                                                                                                   assistance is not authorized to accept
                                                                                                           Inspector’s Field Manual, Dated March 13, 1998,
                                                  1183a. Within 180 days after the date of IIRIRA,         and Transmittal Memo (TM1), M–450 Inspector’s           reimbursement, the obligor agrees that
                                                  which was on September 30, 1996, the Attorney            Field Manual, Dated June 24, 1997. No further           he or she will pay DHS.
                                                  General was directed to issue regulations                guidance on public charge bond processing appears
                                                  establishing the pilot program, including criteria       to have been issued.                                      611 See Examinations Handbook, Part VI, at VI–94;
                                                  and procedures for certification of bonding                604 See INS Examinations Handbook, Part VI, VI–
                                                  companies, debarment of any such company that                                                                    see OI 103.6(c)(1).
                                                                                                           88 through VI–98 (Oct. 1, 1988) [hereinafter
                                                                                                                                                                     612 See Examinations Handbook, Part VI, at VI–95;
                                                  fails to pay a bond, and criteria for setting the        Examinations Handbook].
                                                  amount of the bond to assure that the bond is in           605 See Examinations Handbook, Part VI, at VI–89;     see OIs 103.6(c)(1).
                                                  an amount that is not less than the cost of providing    see OI 213.1.                                             613 See Examinations Handbook, Part VI, at VI–95.
                                                  benefits under INA section 213A(d)(2)(B) for the
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                                                                                                             606 See Examinations Handbook, Part VI, at VI–89;       614 Field Guidance on Deportability and
                                                  alien and the alien’s dependents for 6 months. See                                                               Inadmissibility on Public Charge Grounds, 64 FR
                                                                                                           see OI 213.1.
                                                  IIRIRA, Public Law 104–208, div. C, section 564(b),        607 See Examinations Handbook, Part VI, at VI–91      28689 (May 26, 1999).
                                                  110 Stat 3009–546, 3009–683 to -684. Congress
                                                  furthermore imposed an annual reporting                  and VI–92; see OI 103.6(c)(1).                            615 See AFM Ch. 61.1, Posting, Cancellation and

                                                  requirement, starting 9 months after the date of the
                                                                                                             608 See Examinations Handbook, Part VI, at VI–94;     Breaching of Public Charge Bonds. As already
                                                  implementation of the program. See IIRIRA, Public        see OI 103.6(c)(1).                                     mentioned, USCIS’ bond authority is rarely
                                                  Law 104–208, div. C, section 564(d), 110 Stat 3009–        609 See Examinations Handbook, Part VI, at VI–94;     exercised in light of the statutory changes contained
                                                  546, 3009–684. DHS is unable to locate                   see OI 103.6(c)(1).                                     in the Illegal Immigration Reform and Immigrant
                                                  implementing materials relating to this pilot              610 See Examinations Handbook, Part VI, at VI–94;     Responsibility Act of 1996 (IIRIRA) which created
                                                  program.                                                 see OI 103.6(c)(1).                                     the enforceable affidavit of support.



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                                                  (c) Relationship of the Public Charge                   about the sponsor available to an agency                   that Congress intended that bonds
                                                  Bond to the Affidavit of Support                        seeking reimbursement.620                                  ‘‘should be required in addition to, and
                                                                                                             Under section 213 of the Act, 8 U.S.C.                  not in lieu of, the new sponsorship and
                                                     The Affidavit of Support and the                     1183, an alien may be admitted to the                      deeming requirements of section 213A
                                                  public charge bond are distinct, but                    United States at the discretion of the                     of the Act, 8 U.S.C. 1183a.’’ 625
                                                  complementary, means to recover costs                   Attorney General upon the giving of a                      Correspondingly, Congress also retained
                                                  associated with the alien’s receipt of                  suitable and proper bond. In contrast to                   in section 213 of the Act, 8 U.S.C. 1183,
                                                  public benefits. As discussed above,                    the affidavit of support, which is a                       the longstanding concept that suit on
                                                  certain applicants seeking immigrant                    contract between the government and                        the bond may be made irrespective of
                                                  status must submit an enforceable                       the sponsor, a bond, including a surety                    the reasons for the breach and
                                                  Affidavit of Support under Section                      bond, is a contract between the United                     irrespective of whether a demand for
                                                  213A of the INA (Form I–864).616 The                    States (the obligee) and an individual or                  payment of public expenses have been
                                                  affidavit of support is a contract                      a company (obligor) who pledges a sum                      made.626
                                                  between the alien’s sponsor and the U.S.                of money to guarantee conditions set by
                                                  Government that imposes on the                          the government concerning an alien.621                     (d) Summary of Proposed Changes
                                                  sponsor a legally enforceable obligation                Thus, there are distinct differences                          In this rule, DHS proposes to clarify
                                                  to support the alien. The obligation may                between the affidavit of support and the                   when an alien seeking adjustment of
                                                  be enforced against the sponsor by the                  bond. For example, unlike the affidavit                    status will be permitted to post a public
                                                  sponsored alien, the Federal                            of support, in which the alien as well as                  charge bond under DHS’s authority
                                                  Government, any State or any political                  the government entity may have a cause                     outlined in sections 103 and 213 of the
                                                  subdivision thereof, or by any other                    of action to recover expenses, only the                    Act, 8 U.S.C. 1103 and 1183.
                                                  entity that provides any means-tested                   government entity being part of the                        Additionally, as reflected below, DHS
                                                  public benefit.617 According to section                 bond contract may pursue recovery from                     proposes to establish a new minimum
                                                  213A(b) of the Act, 8 U.S.C. 1183a(b), a                the obligor if the bond is breached and                    bond amount of $10,000 (adjusted
                                                  non-governmental entity that provided                   only the obligor may challenge the                         annually for inflation), explain the
                                                  such benefit(s) or the appropriate entity               breach determination.622                                   circumstances under which a public
                                                  of the Federal Government, a State, or                     In section 213 of the Act, 8 U.S.C.                     charge bond will be cancelled, as well
                                                  any political subdivision of the State                  1183, Congress directly addresses the                      as establish specific conditions under
                                                  must request reimbursement by the                       affidavit of support and the deeming                       which a public charge bond will be
                                                  sponsor in the amount of the                            requirement imposed in section 213 of                      breached.627 Finally, DHS proposes
                                                  unreimbursed costs of the benefits or,                  the Act when it added a parenthetical to                   processing fees for the initial
                                                  after non-payment, bring an action                      the public charge bond provision stating                   submission of the Public Charge Bond
                                                  against the sponsor under section 213A                  that the alien may be admitted ‘‘(subject                  (Form I–945) and for the Request for
                                                  of the Act, 8 U.S.C. 1183A, no later than               to the affidavit of support requirement                    Cancellation of Public Charge Bond
                                                  10 years after the date on which the                    and attribution of sponsor’s income and                    (Form I–356); both fees would be
                                                  sponsored alien last received any                       resources under Section 213A)’’ upon                       initially set at $25. USCIS plans to
                                                  means-tested benefit to which the                       having posted a suitable bond.623 In the                   establish a process to accept and process
                                                  affidavit of support applies.618 Section                provision amending section 213 of the                      public charge bonds, which would be
                                                  213A of the Act, 8 U.S.C. 1183a, does                   Act, section 564(f) of IIRIRA, Congress                    available on the effective date of the
                                                  not require a sponsored immigrant to                    emphasized that the bond was to be                         final rule. DHS welcomes comments on
                                                  request the sponsor or joint sponsor to                 considered in addition to the sponsor                      any aspect of the public charge bond or
                                                  comply with the support obligation                      and deeming requirements under                             public charge bond process, including
                                                  before bringing an action to compel                     section 213A of the Act, 8 U.S.C. 1183A,                   whether the minimum public charge
                                                  compliance.619 Neither USCIS nor DHS                    and not instead of them.624 The Joint                      bond amount should be higher or lower,
                                                  are directly involved in enforcing an                   Explanatory Statement in the House                         and possible ranges for that amount.
                                                  Affidavit of Support sponsor’s                          Conference Report for IIRIRA confirms
                                                                                                                                                                     3. Permission To Post a Public Charge
                                                  obligation to reimburse an agency.                        620 See                                                  Bond
                                                                                                                     8 CFR 213a.4(a)(3). Upon receipt of a duly
                                                  USCIS does, however, make information                   issued subpoena, USCIS will provide the agency               First, the proposed regulation clarifies
                                                                                                          with a certified copy of a sponsor’s Form I–864.
                                                    616 See                                               Additionally, USCIS routinely provides the
                                                                                                                                                                     that permitting an alien who is found
                                                             INA section 213A, 8 U.S.C. 1183a.
                                                     617 See INA section 213A(a)(1)(B), 8 U.S.C.          sponsor’s name, address and Social Security                inadmissible as a public charge but is
                                                  1183a(a)(1)(B).                                         number to Federal, state, and local agencies               otherwise admissible to submit a public
                                                     618 See INA section 213A(b), 8 U.S.C. 1183A(b).      providing means-tested benefits.                           charge bond is within DHS’s
                                                                                                             621 See, e.g., Matter of Allied Fid. Ins. Co., 19 I&N
                                                  Implementing regulations on the request for                                                                        discretion.628 Section 213 of the Act
                                                  reimbursement and actions to compel                     Dec. 124, 125–26 (BIA 1984).
                                                                                                             622 Compare INA section 213A(b)(2), 8 U.S.C.            gives DHS discretion to allow an alien
                                                  reimbursement can be found at 8 CFR 213a.4.
                                                  Remedies available to enforce an affidavit of           1183a, with INA section 213, 8 U.S.C. 1183. See
                                                                                                                                                                       625 See H.R. Conf. Rep. No. 104–828, at 243 (1996)
                                                  support under this section include any or all of the    also Matter of Ins. Co. of N. Am., 17 I&N Dec. 251,
                                                  remedies described in 28 U.S.C. 3201 (Judgement         251 (BIA 1978) (finding that only the obligor and          (Conf. Rep.).
                                                  liens), 28 U.S.C. 3203 (Execution), 28 U.S.C. 3204      the obligee are party to the contract and that only          626 See INA section 213, 8 U.S.C. 1183; see also

                                                  (Installment payment order), or 28 U.S.C. 3205          the obligor, but not the alien, may challenge the          Matter of Viado, 19 I&N Dec. 252, 253 (BIA 1985)
                                                  (Garnishment), as well as an order for specific         government breach determination).                          (distinguishing inadmissibility under section
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                                                  performance and payment of legal fees and other            623 See IIRIRA, Public Law 104–208, div. C,             212(a)(4) of the Act and a public charge bond from
                                                  costs of collection and include corresponding           section 564(f), 110 Stat. 3009–546, 3009–684.              deportability under section 237(a)(5) of the Act);
                                                  remedies available under State law. See INA section        624 See IIRIRA, Public Law 104–208, div. C,             Matter of B, 3 I&N Dec. 323, 326 (BIA 1948)
                                                  213A(c), 8 U.S.C. 1183a(c). A Federal agency may        section 564(f), 110 Stat. 3009–546, 3009–684 (‘‘(f)        (holding that before an alien could be considered
                                                  seek to collect amounts owed under this section in      Bonds in addition to sponsorship and deeming               deportable on public charge ground, the state
                                                  accordance with the provisions of subchapter II of      requirements—Section 213 (8 U.S.C. 1183) is                authorities must have demanded repayment of
                                                  31 U.S.C. Chapter 37 (Claims of the United States       amended by inserting ‘(subject to the affidavit of         charges for services rendered and the charges must
                                                  Government). See INA section 213A(c), 8 U.S.C.          support requirement and attribution of sponsor’s           thereafter have remained unpaid.).
                                                  1183a(c).                                                                                                            627 See proposed 8 CFR 213.1.
                                                                                                          income and resources under section 213A)’ after ‘in
                                                     619 See 8 CFR 213a.4(a)(2).                          the discretion of the Attorney General.’ ’’).                628 See proposed 8 CFR 213.1.




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                                                  to post a ‘‘suitable and proper’’ public                212.21(b)) is good and the grant of                     $10,000.632 Accordingly, DHS proposes
                                                  charge bond if the alien is otherwise                   admission upon public bond would be                     that $10,000 would be an amount that
                                                  admissible. Therefore, DHS proposes                     in the interest of family unity.                        would provide USCIS with an
                                                  that in circumstances under which                                                                               appropriate starting point when
                                                                                                          4. Bond Amount and Submission of a
                                                  USCIS determines, after a finding of                                                                            determining the public charge bond
                                                                                                          Public Charge Bond
                                                  inadmissibility on the public charge                                                                            amount that is minimally necessary to
                                                  ground that a favorable exercise of                        DHS proposes that, in cases in which                 ensure that United States can recoup
                                                  discretion is warranted, USCIS will                     USCIS has determined that offering a                    cost of public benefits received by the
                                                  notify the alien of the possibility to                  public charge bond to an alien is                       alien. Additionally, as with determining
                                                  submit a bond and USCIS will specify                    warranted, the public charge bond be set                whether to offer an alien the option of
                                                  the bond amount and bond conditions.                    at no less than $10,000, annually                       posting a public charge bond, USCIS
                                                  The alien would then be permitted to                    adjusted for inflation based on the                     will consider the alien’s individual
                                                  submit the appropriate form for the                     Consumer Price Index for All Urban                      circumstances when determining the
                                                  public charge bond in accordance with                   Consumers (CPI–U),629 and rounded up                    exact amount of the bond the alien is
                                                  the form instructions and with the                      to the nearest dollar. This would raise                 required to post.
                                                  appropriate fee. DHS proposes that a                    the amount that is currently stated in 8                   If USCIS determines that the alien
                                                  public charge bond could only be                        CFR 213.1 from no less than $1,000 to                   seeking an adjustment of status may
                                                  submitted on the alien’s behalf after                   no less than $10,000.                                   submit a public charge bond, neither the
                                                  USCIS makes this option available to                       Proposing a base amount sufficient for               alien nor an obligor, including a surety
                                                  the alien, and that USCIS would reject                  a public charge bond based on historical                company, would be able to appeal the
                                                  any unsolicited attempt to submit a                     public benefit data is difficult, because               amount of the bond required.633 As
                                                  bond.                                                   the amount of average public benefit                    discussed more fully in this preamble,
                                                     The same factors that weighed                        being considered under the proposed                     DHS has discretion to allow an alien to
                                                  positively when making the public                       rule depends on the public benefit the                  post a public charge bond ‘‘in such
                                                  charge inadmissibility determinations                   person receives and how long the                        amount and containing such
                                                  will generally indicate that offering the               person receives the benefit. The broad                  conditions’’ as DHS may prescribe.
                                                  option of a public charge bond to an                    range of public benefits available to                   Given the discretionary nature of DHS’s
                                                  alien is warranted. Ultimately, the                     individuals on the Federal, State, and                  authority under section 213 of the Act,
                                                  purpose of the public charge bond is to                 local level, but not necessarily to                     8 U.S.C. 1183, DHS has determined that
                                                  allow DHS to admit an alien who is                      immigrants, renders such a                              the bond amount would not be
                                                  inadmissible as likely to become a                      determination even more complex.                        appealable administratively either to the
                                                  public charge, but who warrants a                          As indicated above, DHS proposes to                  AAO or the BIA, because neither
                                                  favorable exercise of discretion. DHS                   set the base amount of the public charge                administrative body has jurisdiction
                                                  believes that offering a public charge                  bond at $10,000. The current 8 CFR                      over this discretionary determination.634
                                                  bond in the adjustment of status context                213.1 refers to a bond amount of at least                  As indicated above, under this
                                                  would generally only be warranted in                    $1,000. 8 CFR 213.1 was promulgated in                  proposed rule, USCIS would notify the
                                                  limited circumstances in which the                      July of 1964.630 This provision has not                 alien of the bond amount and
                                                  alien has no heavily weighed negative                   been updated and inflation has never                    conditions, including the type of bond
                                                  factors, but the presence of such factors               been accounted to represent present                     the alien may submit. Each submission
                                                  would not automatically preclude DHS                    dollar values. Simply adjusting the                     would be on the form designated and in
                                                  from offering a public charge bond. As                  amount for inflation using CPI–U would                  accordance with the applicable
                                                  explained above, DHS would consider                     bring the bond floor in June 2018 to                    instructions and fees prescribed in 8
                                                  the heavily weighed negative factors                    about $8,100.631 DHS notes that bond                    CFR 103.7. While the proposed rule
                                                  particularly indicative of the likelihood               amounts could be $1,000 or more (in
                                                  that an alien would become a public                     1964 dollars) and once adjusted for                        632 See, e.g., Wallis v. U.S. ex rel. Mannara, 273

                                                                                                          inflation, these amounts are equivalent                 F. 509, 511 (2d Cir. 1921) ($1000 public charge
                                                  charge. However, as is the case with any                                                                        bond posted in September 1920, which would
                                                  discretionary determination, DHS may                    to $8,100 or more in present dollar                     amount to about $12,600.30 in July 2018); Matter
                                                  also consider any of a range of positive                values. Additionally, when examining                    of Viado, 19 I&N Dec. 252, 252 (BIA 1985) ($5000
                                                  and negative factors applicable to the                  previous public charge bonds granted by                 bond posted in February 1979, which would
                                                                                                          legacy immigration agencies, DHS has                    amount to about $$18,234.88 in July 2018); In re
                                                  alien’s case when determining whether                                                                           Obligor, 2007 WL 5326596, at *1 (AAO June 6,
                                                  the alien should be offered the option to               found that the minimum amount of                        2007) (adjustment upon $10,000 bond in June 1999,
                                                  post a public charge bond and be                        approved public charge bonds remained                   which would amount to about $15,162.82 in July
                                                  admitted to the United States on bond.                  relatively stable in inflation-adjusted                 2018). For purposes of these calculations, DHS used
                                                                                                          dollars and fluctuated around or above                  the CPI Inflation Calculator from the Bureau of
                                                  For example, an officer could consider                                                                          Labor Statistics at https://www.bls.gov/data/
                                                  whether allowing the alien to become a                                                                          inflation_calculator.htm (last visited Aug. 20th,
                                                                                                             629 U.S. Bureau of Labor Statistics, Consumer
                                                  lawful permanent resident would offer                                                                           2018).
                                                                                                          Price Index for All Urban Consumers, https://              633 See proposed 8 CFR 213.1(b).
                                                  benefits to national security, or would                 data.bls.gov/cgi-bin/surveymost?cu (select ‘‘U.S. All      634 See United States ex rel. Chanin v. Williams,
                                                  be justified for exceptional                            items, 1982–84=100—CUUR0000SA0’’) (last visited         177 F. 689, 690 (2d Cir. 1910) (‘‘The matter of
                                                  humanitarian reasons. Another example                   Sept. 5, 2018).                                         admission under bond of a person once found to be
                                                                                                             630 Miscellaneous Amendments to Chapter, 29 FR
                                                  in which USCIS may offer an alien the                                                                           likely to become a public charge is by the statute
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                                                                                                          10579 (July 30, 1964).                                  confided to the Secretary, and we do not see why
                                                  possibility to post a bond would be if an                  631 DHS uses the semi-annual average for the first
                                                                                                                                                                  his refusal to admit is not an adverse exercise of
                                                  alien had a weak financial status, had                  half of 2018 and the annual average from 1964 from      such discretion in any particular case. His reasons
                                                  received public benefits 40 months prior                the historical CPI–U for U.S. City Average, All         for refusal may or may not seem persuasive to a
                                                  to applying for immigration status, and                 Items. See https://www.bls.gov/cpi/tables/              court; but it is to him, not to the court, that Congress
                                                  had a medical condition, but the alien’s                supplemental-files/historical-cpi-u-201806.pdf.         has confided the discretion.’’); see also In re
                                                                                                             Calculation: Annual average for 1st half of 2018     Obligor, 2007 WL 5326596, at *1 (AAO June 6,
                                                  prospect of obtaining medical insurance                 (250.089)/annual average for 1964 (31) = 8.1; CPI–      2007) (sustained appeal that public charge bond
                                                  (that does not meet the definition of a                 U adjusted present dollar amount = $1,000 * 8.1 =       was not breached). The BIA does not have
                                                  public benefit under proposed 8 CFR                     $8,100.                                                 jurisdiction. 8 CFR 1003.1(b)



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                                                  retains the options for a surety bond or                requirement for purposes of the affidavit             expires. The substitute bond would
                                                  a cash or cash equivalent such as a                     of support under 8 CFR 213a.3, except                 need to meet all of the requirements
                                                  cashier’s check or money order deposit                  that the obligor would also need to                   applicable to the bond on file with
                                                  and agreement to secure a bond, due to                  notify USCIS of the bonded alien’s                    USCIS, as required by 8 CFR 103.6 and
                                                  operational feasibility considerations                  change of address. An alien would still               8 CFR 213.1. To ensure continued bond
                                                  USCIS plans to initially allow for only                 need to comply with the change of                     coverage of the alien as required under
                                                  surety bonds.635 For example, surety                    address requirements under section 265                section 213 of the Act, the substitute
                                                  bonds do not involve the actual                         of the Act, 8 U.S.C. 1305, and 8 CFR                  bond would also need to cover a bond
                                                  exchange of money until the bond is                     265.1 to notify USCIS of his or her                   breach that occurred before USCIS
                                                  breached, while the undertaking of cash                 change of address.                                    accepted the substitute bond, in the
                                                  bonds involves additional accounting                       If the alien does not respond to the               event USCIS does not have knowledge
                                                  mechanisms, including the management                    notice soliciting a public charge bond,               of the breach until after the expiration
                                                  of interest. DHS proposes to use new                    or the bond submitted does not comply                 or cancellation of the bond on file with
                                                  USCIS Form I–945, Public Charge Bond                    with the bond amount and conditions                   USCIS. If USCIS determined that the
                                                  for this purpose. As discussed in greater               set by USCIS, USCIS will deny the                     substitute bond proffered is sufficient, it
                                                  detail below, DHS is proposing a $25                    alien’s application. Given the                        would accept the bond and the bond
                                                  public charge bond processing fee to be                 complexity of a bond process, DHS                     would become effective on the day the
                                                  submitted with the Form I–945.                          plans to issue separate guidance                      bond currently on file expires or when
                                                                                                          addressing the specifics of public charge             the new bond takes effect, if prior to the
                                                     For all public charge surety bonds, an               bond submission.                                      expiration of the bond on file.639
                                                  acceptable surety company is generally                  5. Public Charge Bond Substitution                    Additionally, the bond previously on
                                                  one that appears on the current Treasury                                                                      file would be cancelled, if needed.640 If
                                                  Department Circular 570 as a company                       DHS proposes that if USCIS accepts a               the substitute bond was insufficient,
                                                  holding the requisite certificate of                    bond of limited duration, the bond on                 USCIS would notify the obligor of the
                                                  authority to act as a surety on Federal                 file must be substituted with a new                   substitute bond so that the obligor could
                                                  bonds.636 Treasury-certified sureties                   bond 180 days before the bond on file                 correct the deficiency within the
                                                  have agents throughout the United                       with USCIS expires.638 A bond of                      timeframe stipulated in the notice.
                                                  States from whom aliens could seek                      limited duration is a bond that expires               USCIS may also send a copy of the
                                                  assistance in procuring an appropriate                  on a date certain regardless of whether               notification to the alien, the alien’s
                                                  bond.637 The Department of the                          the statutory terms for cancellation of               representative (if any), and the initial
                                                  Treasury certifies companies only after                 such a bond have been met (i.e.,                      obligor. If the deficiency is not corrected
                                                  having evaluated a surety company’s                     naturalization, permanent departure, or               within the timeframe stipulated in the
                                                                                                          death of the alien). A bond of unlimited              notice, the substitute would be rejected.
                                                  qualifications to underwrite Federal
                                                                                                          duration is a bond that does not have a
                                                  bonds, including whether those sureties                                                                       6. Public Charge Bond Cancellation
                                                                                                          specific end date but ends upon USCIS
                                                  meet the specified corporate and
                                                                                                          canceling the bond. Bonds of limited                  (a) Conditions
                                                  financial standards. Under 31 U.S.C.
                                                                                                          duration are sometimes easier and
                                                  9305(b)(3), a surety (or the obligor) must                                                                       A public charge bond must remain in
                                                                                                          cheaper to obtain and DHS is proposing
                                                  carry out its contracts and comply with                                                                       effect until the alien naturalizes or
                                                                                                          to allow for this option so long as a
                                                  statutory requirements, including                                                                             otherwise obtains U.S. citizenship,
                                                                                                          substitute bond is valid and effective
                                                  prompt payment of demands arising                                                                             permanently departs the United States,
                                                                                                          before the expiration date of the bond
                                                  from an administratively final                                                                                or dies, until the bond is substituted
                                                                                                          on file. Because a bond has to be
                                                  determination that the bond had been                                                                          with another bond, or until the bond is
                                                                                                          maintained until cancelled by USCIS,
                                                  breached.                                                                                                     otherwise cancelled by DHS.641 During
                                                                                                          substitution ensures continuous
                                                     If an alien successfully posts a public                                                                    this period, as a condition of the bond,
                                                                                                          indemnification of the United States
                                                  charge bond in the amount and under                                                                           an alien on whose behalf a public
                                                                                                          against the alien receiving public                    charge bond has been accepted agrees to
                                                  the conditions specified in the form
                                                                                                          benefits until the conditions for the                 not receive public benefits, as defined in
                                                  instructions and USCIS notice, USCIS
                                                                                                          cancellation of the bond have been met.               8 CFR 212.21(b), after the alien’s
                                                  will continue to adjudicate the alien’s
                                                                                                          Additionally, requiring that the                      adjustment of status to that of a legal
                                                  application for adjustment of status and
                                                                                                          substitute bond for a bond of limited                 permanent resident and until the bond
                                                  will grant such application if all
                                                                                                          duration is submitted to DHS at least                 is cancelled according to proposed 8
                                                  eligibility criteria are met. Additionally,
                                                                                                          180 days before the expiration of the                 CFR 212.21(g). The alien also has to
                                                  if the bond has been successfully
                                                                                                          bond previously submitted expires                     comply with any other conditions
                                                  posted, USCIS must ensure that the
                                                                                                          permits USCIS to allow for some time to               imposed as part of the bond. That means
                                                  bond is maintained during the effective
                                                                                                          adjudicate the sufficiency of any                     that a bond is considered breached if the
                                                  period of the bond. To achieve this goal,
                                                                                                          substitute bonds, which further ensures               alien receives public benefits, as defined
                                                  DHS proposes that an obligor would
                                                                                                          continuous indemnification of the                     in proposed 8 CFR 212.21(b), after the
                                                  need to notify DHS within 30 days of
                                                                                                          United States against the alien receiving
                                                  any change in the obligor’s or the alien’s
                                                                                                          public benefits.                                        639 See proposed 8 CFR 213.1.
                                                  physical and mailing address. Given the                    Either the obligor, a substitute obligor,            640 For purposes of this type of cancellation,
                                                  contractual nature of the public charge                 or the alien would be able to submit the              neither the obligor nor the alien must submit Form
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                                                  bond, the change of address requirement                 substitute bond at any time and                       I–356. Form I–356 is submitted to assess whether
                                                  imposed is similar to the one imposed                   regardless of the reasons. The substitute             the alien has received any public benefits, as
                                                  on a sponsor’s change of address                                                                              defined in 8 CFR 212.21(b), or otherwise breached
                                                                                                          bond would need to be valid, properly                 a condition of the bond. At the time for
                                                    635 See
                                                                                                          submitted with the appropriate fee, and               substitution, USCIS does not engage in a breach
                                                            proposed 8 CFR 213.1(b)(1).                                                                         assessment as the bond is substituted with another,
                                                    636 See 8 CFR 103.6(b); see also proposed 8 CFR
                                                                                                          effective on the day the previously
                                                                                                                                                                not actually cancelled according to the terms of
                                                  103.6, as published in 83 FR 25951 (June 5, 2018).      submitted bond on file with USCIS                     proposed 8 CFR 213.1(g).
                                                    637 See Dep’t of Treasury Circular 570, Listing of                                                            641 See INA section 213, 8 U.S.C. 1183; see also

                                                  Approved Sureties (July 1, 2018).                         638 See   proposed 8 CFR 213.1.                     proposed 8 CFR 213.1.



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                                                  alien’s adjustment of status to that of a                 permanent resident status either                         intentionally relinquish lawful
                                                  lawful permanent resident and until the                   voluntarily or involuntary coupled with                  permanent resident status through his or
                                                  bond is cancelled under proposed 8 CFR                    physically leaving the United States is                  her voluntary actions, such as by
                                                  213.1(g). A bond is also considered                       consistent with the INA’s definition for                 submitting a declaration of intent to
                                                  breached if the alien fails to comply                     permanent. The proposed rule will                        abandon LPR status. Neither the INA
                                                  with any other condition of the bond. In                  clarify that an alien has permanently                    nor DHS regulations direct how aliens
                                                  these situations, USCIS cannot cancel                     departed for bond cancellation when he                   may formally inform the U.S.
                                                  the bond. Public benefits, as defined in                  or she has (1) lost or abandoned lawful                  Government of their abandoning their
                                                  proposed 8 CFR 212.21(b), received by                     permanent resident status, whether                       lawful permanent resident status. To
                                                  an alien present in the United States in                  involuntary by operation of law or                       simplify the process, USCIS had
                                                  an immigration status that is exempt                      voluntarily, and (2) physically left the                 developed, in the past, Form I–407,
                                                  from the public charge ground of                          United States.643 An alien must                          Record of Abandonment of Lawful
                                                  inadmissibility under section 212(a)(4)                   establish that both elements, as                         Permanent Resident Status as a means
                                                  of the INA, 8 U.S.C. 1182(a)(4), and                      described above, have been met before                    by which an alien may formally record
                                                  public benefits received after the alien                  USCIS may cancel the bond.                               that they have abandoned LPR status.
                                                  obtained U.S. citizenship are not                            DHS further proposes that an alien is                 The purpose of the form is to create a
                                                  counted towards any breach                                only deemed to have involuntarily lost                   record and to ensure that the alien acts
                                                  determination, and therefore, also for                    lawful permanent resident status in                      voluntarily and willingly, and is
                                                  purposes of the cancellation                              removal proceedings with the entry of a                  informed of the right to a hearing before
                                                  determination.642 Additionally,                           final order of removal 644 or through                    an Immigration Judge and has
                                                  consistent with the public benefits                       rescission of adjustment of status.645 An                knowingly, willingly, and affirmatively
                                                  definition proposed in this rule, DHS                     alien may be found to have abandoned                     waived that right.649
                                                  would not consider as part of a public                    LPR status, even if the assessment is                      Given that it is difficult to assess
                                                  charge bond cancellation determination                    made outside of removal proceedings                      whether an alien voluntarily abandoned
                                                  any public benefits received by an alien                  and if the alien’s actions were                          his or her lawful permanent resident
                                                  enlisted in the U.S. armed forces under                   unintentional.646 If an alien loses his or               status, DHS proposes that an alien may
                                                  the authority of 10 U.S.C. 504(b)(1)(B) or                her LPR status through operation of law,                 demonstrate voluntarily relinquishment
                                                  10 U.S.C. 504(b)(2), serving in active                    the alien would be required to provide                   of the lawful permanent resident status
                                                  duty or in the Ready Reserve component                    evidence of the loss of status by                        for purposes of bond cancellation only
                                                  of the U.S. Armed Forces, or if received                  submitting evidence of the official                      by showing proof that he or she has
                                                  by such an individual’s spouse or child                   determination of loss of LPR status                      submitted Form I–407 to the U.S.
                                                  as defined in section 101(b) of the Act,                  before USCIS will cancel the bond.647                    Government.650 In addition to the
                                                  8 U.S.C. 1101(b), regardless of whether                      Generally, determining whether an                     advantages of the Form I–407
                                                  such receipt occurred prior to the alien                  alien has abandoned his or her status is                 enumerated above, requiring evidence
                                                  enlisting into the U.S. Armed Forces.                     highly fact specific and courts consider                 of a Form I–407 filing would ensure
                                                                                                            factors such as the length of an alien’s                 consistent adjudication of bond
                                                  (b) Definition of Permanent Departure                     absence from the United States, family                   cancellation requests because officers
                                                     According to section 213 of the Act,                   and employment ties, property                            have the necessary information and
                                                  a public charge bond must be cancelled                    holdings, residence, and the alien’s                     would not have to otherwise determine
                                                  when the alien naturalizes or otherwise                   intent or actions.648 An alien may
                                                  obtains U.S. citizenship, permanently                                                                              employment abroad, to find that her absence was
                                                  departs the United States, or dies. When                    643 See  proposed 8 CFR 213.1.                         not temporary in nature and that she had
                                                  codifying section 213 of the Act,                           644 See  8 CFR 1.2; see also Matter of Lok, 18 I&N     abandoned her LPR status); Matter of Kane, 15 I&N
                                                  Congress did not define ‘‘permanent’’                     Dec. 101, 105–06 (BIA 1981).                             Dec. 258, 265 (BIA 1975) (alien who spent 11
                                                                                                               645 See INA section 246, 8 U.S.C. 1256.               months per year living in her native country
                                                  and the concept of permanent departure                       646 Abandonment is not directly addressed in the      operating a lodging house abandoned her LPR
                                                  does not exist in other areas of                          INA. The question typically arises in the context of     status; her desire to retain her status, without more,
                                                  immigration law. However,                                 LPRs returning to the United States. INA section         was not sufficient); Matter of Quijencio, 15 I&N Dec.
                                                  ‘‘permanent’’ is defined in section                       101(a)(20), 8 U.S.C. 1101(a)(20), defines the term       95, 97–98 (BIA 1974) (alien’s lawful permanent
                                                                                                            ‘‘lawfully admitted for permanent residence’’ as         resident status considered abandoned after 12 year
                                                  101(a)(31) of the Act, 8 U.S.C. 1101(31),                                                                          absence); Matter of Castro, 14 I&N Dec. 492, 494
                                                                                                            ‘‘the status of having been lawfully accorded the
                                                  as ‘‘a relationship of continuing or                      privilege of residing permanently in the United          (BIA 1973) (alien who severed his ties to the United
                                                  lasting nature, as distinguished from                     States as an immigrant in accordance with the            States for six years, moved abroad, acquired land,
                                                  temporary, but a relationship may be                      immigration laws, such status not having changed’’       built a house and obtained steady employment, but
                                                  permanent even though it is one that                      (emphasis added). INA section 211(b), 8 U.S.C.           made brief business trips to the United States was
                                                                                                            1181, provides for a waiver of the documentary           not a returning resident and had abandoned his
                                                  may be dissolved eventually at the                        requirements for admission for one who can qualify       status); Matter of Montero, 14 I&N Dec. 399, 400–
                                                  instance either of the United States or of                as a ‘‘returning resident immigrant’’ as defined in      01 (BIA 1973) (alien who returned to her native
                                                  the individual, in accordance with law.’’                 INA section 101(a)(27)(A), 8 U.S.C. 1101(a)(27)(A),      country to join her husband, children, home,
                                                  ‘‘Departing’’ or ‘‘departure’’ is not                     that is as ‘‘an immigrant, lawfully admitted for         employment and financial resources without fixed
                                                                                                            permanent residence, who is returning from a             intent to return within a fixed period had
                                                  defined in the INA, but DHS believes                      temporary visit abroad.’’ Finally, according to INA      abandoned her lawful permanent resident status);
                                                  that it is reasonable to conclude that                    section 101(a)(13)(C)(i), 8 U.S.C. 1101(a)(13)(C)(i),    cf. Khoshfahm v. Holder, 655 F.3d 1147, 1154 (9th
                                                  permanent departure for the purposes of                   an alien lawfully admitted for permanent residence       Cir. 2011) (alien child who was out of the country
                                                  canceling a public charge bond means                      in the United States is not regarded as seeking          for 6 years and prevented from returning due to the
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                                                                                                            admission into the United States, unless the alien       father’s heart condition and the events of September
                                                  that the alien has left the United States                 has abandoned or relinquished that status. See also      11 did not abandon his lawful permanent resident
                                                  on a lasting, non-temporary basis after                   INA section 223, 8 U.S.C. 1203.                          status).
                                                  losing the lawful permanent resident                         647 For example, if the alien has his or her lawful      649 See Purpose of Form I–407 and its instructions

                                                  status either voluntarily or                              permanent resident status in removal proceedings,        at www.uscis.gov/i-407. Even though an alien
                                                                                                            the alien must present a copy of the removal order.      completed and submitted Form I–407, the alien
                                                  involuntarily, and is physically outside                     648 See, e.g., Matter of Huang, 19 I&N Dec. 749,      may still challenge the declaration of abandonment
                                                  the United States. Losing lawful                          755–57 (BIA 1988) (considering the alien’s absence       as part of removal proceedings because a
                                                                                                            from the United States because of her husband’s          declaration is not dispositive.
                                                    642 See   proposed 8 CFR 213.1(h).                      work and study abroad, as well as her own                   650 See proposed 8 CFR 213.1.




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                                                  the alien’s intent in regards to the                    is not just consistent with the current                 under INA section 316, 8 U.S.C. 1427),
                                                  voluntary abandonment of the lawful                     period of time in which an alien may                    DHS believes that retaining a bond for
                                                  permanent resident status and the                       become removable for receiving public                   at least 5 years is a reasonable timeframe
                                                  permanent departure. Requesting the                     benefits after entry for causes that                    that will ensure the ability of U.S.
                                                  filing of a declaration would also be                   existed prior to entry,656 but is also                  government to recoup the costs of
                                                  consistent with evidence required in the                consistent with the 5-year ineligibility                public benefits that may be received by
                                                  BIA precedent Matter of De Los Santos,                  period for certain public benefits under                aliens before most of them are generally
                                                  in which the bond was cancelled after                   PRWORA.657 Finally, as noted                            eligible to naturalize.
                                                  the alien was required, among other                     previously, the public charge bond                         Finally, DHS proposes that USCIS
                                                  things, to submit a formal statement                    statutory provision requires DHS to                     would cancel the public charge bond if
                                                  attesting to the desire to abandon                      cancel the bond upon the alien’s death,                 an alien subject to a public charge bond
                                                  permanent resident status.651 Form I–                   naturalization, or permanent departure                  obtains an immigration status while
                                                  407 would not have a fee.                               from the United States.658 However,                     present in the United States that is
                                                                                                          DHS believes that section 213 of the Act                exempt from public charge grounds of
                                                  (c) Bond Cancellation for Lawful                                                                                inadmissibility, as listed in 8 CFR
                                                                                                          sets forth the situations when DHS must
                                                  Permanent Residents After 5 Years and                                                                           212.23, following the initial grant of
                                                                                                          cancel the public charge bond, but
                                                  Cancellation If the Alien Obtains an                                                                            status as a lawful permanent resident,
                                                                                                          leaves to DHS the discretion of
                                                  Immigration Status Exempt From Public                                                                           provided that the alien or the obligor
                                                                                                          canceling the bond for other reasons.659
                                                  Charge Ground of Inadmissibility                                                                                has filed a request for cancellation of
                                                                                                          Therefore, retaining the cancellation
                                                  Following the Initial Grant of Lawful                                                                           public charge bond, on the form
                                                                                                          provision is consistent with the
                                                  Permanent Resident Status                                                                                       designated by DHS, in accordance with
                                                                                                          statutory text and the purpose of this
                                                     Currently, 8 CFR 103.6(c)(1) requires                rule.                                                   form instructions, and provided that the
                                                  that DHS cancel a public charge bond                       In addition, DHS is proposing to not                 alien has not breached the bond
                                                  submitted for an alien after the fifth                  retain the discretion to cancel a public                conditions as described in paragraphs
                                                  anniversary of admission of the                         charge bond at any time if it                           (h) of proposed 8 CFR 213.1. An
                                                  immigrant, provided that the alien has                  subsequently determines that the alien                  example of when this ground of
                                                  filed a request to cancel the bond and                  is not likely to become a public                        cancellation may apply is if an alien
                                                  provided that the alien did not become                  charge.660 First, for many aliens who                   loses or abandons his or her LPR status
                                                  a public charge prior to the fifth                      adjust status in the United States, DHS                 but nonetheless qualifies for another
                                                  anniversary.652 The provision was                       is unlikely to make a second public                     status not subject to public charge
                                                  added in 1984 based on INS’s belief that                charge determination under section                      inadmissibility, e.g. asylum. DHS
                                                  the public would be adequately                          212(a)(4) of the Act.661 Second, given                  believes that maintaining the bond in
                                                  protected even with such a limitation on                that Congress selected a 5-year                         this situation no longer serves the
                                                  the bond liability.653 INS reasoned that                timeframe in related contexts (in the                   intended purpose of the bond if the
                                                  if an alien is self-sustaining for a five-              parallel deportation statue under section               population is exempt from public
                                                  year period, it would not be probable                   237(a)(5) of the Act, 8 U.S.C. 1227(a)(5),              charge grounds of inadmissibility, as the
                                                  that the alien becomes a public charge                  under PRWORA at 8 U.S.C. 1613, and                      purpose of the public charge bond is to
                                                  after five years because the reason for                 as part of naturalization requirements                  ensure that the alien does not become a
                                                  the becoming a public charge is based                                                                           public charge.662 As discussed in the
                                                  on factors in existence prior to                          656 See INA section 237(a)(5), 8 U.S.C. 1227(a)(5).   section on exemptions, most of these
                                                  admission as an immigrant.654                             657 See 8 U.S.C. 1611–1646.                           aliens are, at that time, members of a
                                                  Additionally, INS explained that                          658 See INA section 213, 8 U.S.C. 1183 (‘‘Such        vulnerable population, and the status
                                                  limiting the bond liability in this                     bond or undertaking shall terminate upon the            provided to these aliens serves distinct
                                                  manner parallels the deportation                        permanent departure from the United States, the
                                                                                                          naturalization, or the death of such alien, and any
                                                                                                                                                                  policy goals separate from the general
                                                  liability.655                                           sums or other security held to secure performance       immigration system.
                                                     DHS proposes to continue to cancel                   thereof, except to the extent forfeited for violation      As with other bases for bond
                                                  the public charge bond after the fifth                  of the terms thereof, shall be returned to the person   cancellation, however, if a request for
                                                  anniversary of the alien’s adjustment of                by whom furnished, or to his legal representatives.’’
                                                                                                          (emphasis added)).
                                                                                                                                                                  cancellation of a public charge bond is
                                                  status to that of a lawful permanent                      659 See 8 CFR 103.6(c)(1) (‘‘The district director    not filed, the bond shall remain in effect
                                                  resident, provided that the alien files a               may cancel a public charge bond at any time if he/      until the form is filed, reviewed, and a
                                                  request to cancel the bond and the alien                she finds that the immigrant is not likely to become    decision is rendered. Additionally, if
                                                  has not received any public benefits as                 a public charge. A bond may also be cancelled in        these aliens adjust status in the future
                                                  defined in 8 CFR 212.21(b) after                        order to allow substitution of another bond. A
                                                                                                          public charge bond shall be cancelled by the district   on a basis that is subject to section
                                                  obtaining lawful permanent resident                     director upon review following the fifth anniversary    212(a)(4) of the Act, 8 U.S.C. 1182(a)(4),
                                                  status or otherwise violated the                        of the admission of the immigrant, provided that        they may again be subject to public
                                                  conditions of the public charge bond.                   the alien has filed Form I–356, Request for             charge grounds of inadmissibility and
                                                  Retaining the possibility for this type of              Cancellation of Public Charge Bond, and the district
                                                                                                          director finds that the immigrant did not become a      DHS may assess whether a bond is
                                                  cancellation of the public charge bond                  public charge prior to the fifth anniversary. If Form   appropriate at that time.
                                                                                                          I–356 is not filed, the bond shall remain in effect
                                                    651 Matter of De Los Santos, 11 I&N Dec. 121, 121
                                                                                                          until the form is filed and the district director       (d) Request To Cancel the Bond, and
                                                  (BIA 1965).                                             reviews the evidence supporting the form and            Adjudication of the Cancelation Request
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                                                    652 See 8 CFR 103.6(c)(1).                            renders a decision to breach or cancel the bond.’’).
                                                    653 See Powers and Duties of Service Officers,          660 See 8 CFR 103.6(c)(1).
                                                                                                                                                                     DHS proposes that USCIS would
                                                  Availability of Service Records; Public Charge            661 See INA section 101(a)(13)(C), 8 U.S.C.           cancel the bond upon request by the
                                                  Bonds, 49 FR 24010, 24011 (June 11, 1984).              1101(a)(13)(C), under which an LPR would be             alien, following a determination that the
                                                    654 See 49 FR 24010, 24011.
                                                                                                          considered an applicant for admission only under        conditions of a bond have been met and
                                                    655 See 49 FR 24010, 24011 (‘‘The Service believes    specifically outlined circumstances (e.g.. if he or     the bond has not been breached, as
                                                  that the public will be adequately protected by         she has abandoned LPR status, was absent from the
                                                  limiting the duration of liability of public charge     United States continuously longer than 180 days,        outlined in proposed 8 CFR 213.1.
                                                  bonds to a five-year period which parallels the         has engaged in illegal activity after departing the
                                                  deportation liability.’’)                               United States, etc.).                                    662 See   INA section 213, 8 U.S.C. 1183.



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                                                  Return of the bond amount is ‘‘to the                   (e) Decision and Appeal                               whether the conditions of the bond have
                                                  extent [the bond] has been forfeited for                   If USCIS determines that the request               been breached. Additionally, consistent
                                                  violation of the terms thereof.’’ 663 DHS               warrants a cancellation of a bond,                    with the public benefits definition
                                                  proposes to interpret this authority to                 USCIS would notify the obligor, and                   proposed in this rule, DHS would not
                                                  allow DHS to impose, as a condition of                  return the full value of any cash or cash             consider as part of a public charge bond
                                                  the bond, forfeiture of the entire amount               equivalent, such as a cashier’s check or              breach determination any public
                                                  in the event of a breach. Once USCIS                                                                          benefits received by an alien enlisted in
                                                                                                          money order deposited by the obligor to
                                                  determines that the alien has violated                                                                        the U.S. armed forces under the
                                                                                                          secure the bond plus interest, similar to
                                                  the bond conditions by receiving public                                                                       authority of 10 U.S.C. 504(b)(1)(B) or 10
                                                                                                          current practice.666 When the bond is
                                                  benefits, USCIS would declare the bond                                                                        U.S.C. 504(b)(2), serving in active duty
                                                                                                          cancelled, the obligor would be released
                                                  breached and collect. The request to                                                                          or in the Ready Reserve component of
                                                                                                          from liability.667
                                                  cancel the bond would be submitted on                                                                         the U.S. Armed Forces, or if received by
                                                                                                             If USCIS denies the request to cancel
                                                  the form designated by DHS, according                                                                         such an individual’s spouse or child as
                                                                                                          the bond, it will notify the obligor of the
                                                  to its instructions, and with any                                                                             defined in section 101(b) of the Act, 8
                                                                                                          reasons why and of the right to appeal
                                                  mandatory fee. USCIS proposes to                                                                              U.S.C. 1101(b), regardless of whether
                                                                                                          in accordance with the requirements of
                                                  designate Form I–356, Request for                                                                             such receipt occurred prior to the alien
                                                                                                          8 CFR part 103, subpart A.668 A bond                  enlisting into the U.S. Armed Forces.
                                                  Cancellation of Public Charge Bond, to                  obligor could appeal the denial to
                                                  be used to request cancellation of a                                                                          Finally, DHS would not consider public
                                                                                                          cancel the bond to the Administrative                 benefits received after the alien who is
                                                  public charge bond. As discussed in                     Appeals Office (AAO) of USCIS by filing
                                                  more detail below, DHS is also                                                                                the subject of the public charge bond
                                                                                                          Notice of Appeal or Motion (Form I–                   obtains U.S. citizenship, as U.S. citizens
                                                  proposing an initial processing fee of                  290B) together with the appropriate fee
                                                  $25 to be submitted with the Form I–                                                                          are no longer subject to public charge
                                                                                                          and required evidence. See 8 CFR 103.1;               grounds of inadmissibility, and
                                                  356. Given the obligor’s and the alien’s                103.3. For operational efficiency, DHS
                                                  interest in having the bond cancelled,                                                                        therefore, the term of the public charge
                                                                                                          proposes that an obligor may only file                bond.
                                                  the alien, or the obligor or co-obligor,                a motion after an unfavorable decision
                                                  would be able to submit a request to                                                                             A bond would be considered
                                                                                                          by the Administrative Appeals Office                  breached if any other condition imposed
                                                  cancel the public charge bond to USCIS.                 (AAO) on appeal. As part of an appeal,                by USCIS as part of the public charge
                                                     A request to cancel the bond is                      the regulations a 8 CFR 103.3(a)(2)                   bond is breached.671
                                                  necessary because typically, after an                   require the officer rendering the initial                Under current 8 CFR 103.6, an
                                                  alien obtains an immigration benefit                    decision to review the initial decision;              immigration bond is considered
                                                  from USCIS or enters as an immigrant,                   if the reviewing officer agrees that the              breached when there has been a
                                                  USCIS has little interaction with the                   decision is incorrect, he or she may treat            substantial violation of the stipulated
                                                  alien until he or she seeks another                     the appeal as a motion and may enter a                conditions. The term ‘‘substantial
                                                  immigration benefit. In addition, USCIS                 favorable decision.669 USCIS would also               violation’’ is generally interpreted
                                                  is typically not notified if an alien has               inform the alien and the alien’s                      according to contractual principles.672
                                                  permanently departed or died.                           representative (if any) of the denial. The            However, public charge bonds have
                                                  Information currently collected by DHS                  alien would not be able to appeal a                   been distinguished from other
                                                  is insufficient for USCIS to determine                  denial because the bond contract is                   immigration bonds in this regard, given
                                                  on its own whether the alien intended                   between the obligor and the U.S.                      that the public charge bond’s condition
                                                  a departure to be permanent. Therefore,                 government; the alien is not party to the             is that the alien will not become a
                                                  as part of the cancellation request, the                contract.670                                          public charge.673 Therefore, DHS
                                                  alien would need to submit evidence of                                                                        proposes to not retain the phrase
                                                  naturalization or otherwise having                      7. Breach of a Public Charge Bond and
                                                                                                                                                                ‘‘substantial violation’’ in the proposed
                                                  obtained U.S. citizenship, permanent                    Appeal
                                                                                                                                                                public charge bond provision at 8 CFR
                                                  departure, or if the person is deceased,                (a) Breach Conditions and Adjudication                213.1. Instead, DHS proposes to
                                                  the alien’s executor would submit a                                                                           incorporate the substantial violation
                                                  death certificate. Additionally, the alien                A bond would be considered
                                                                                                          breached if the alien has received public             standard via incorporating principles
                                                  or the alien’s executor must also submit                                                                      that govern the public charge and public
                                                  the information requested in Form I–356                 benefits, as defined in proposed 8 CFR
                                                                                                          212.21(b), after the alien’s adjustment of            benefits definitions at proposed 8 CFR
                                                  regarding receipt of public benefits as                                                                       212.21(a) and (b) (defining public charge
                                                  defined in 8 CFR 212.21(b).664 Any                      status to that of a lawful permanent
                                                                                                          resident and until the public charge                  and public benefits). Under the
                                                  information collected would be in                                                                             proposed approach, the bond would be
                                                  accordance with relevant privacy laws.                  bond is cancelled under 8 CFR 213.1(g).
                                                                                                          Consistent with other proposed
                                                     The obligor and the alien would have                 regulatory provisions contained in this
                                                                                                                                                                   671 See proposed 8 CFR 213.1(d) and 8 CFR

                                                  the burden to establish, by a                           NPRM, public benefits received during
                                                                                                                                                                213.1(h)
                                                                                                                                                                   672 See, e.g., Aguilar v. United States, 124 Fed. Cl.
                                                  preponderance of the evidence, that the                 periods while an alien is present in the              9, 16 (2015) (substantial violation under 8 CFR
                                                  conditions for cancellation of the public               United States in a status exempt from                 103.6(e) of a delivery immigration bond is a matter
                                                  charge bond have been met.665 If USCIS                  the public charge ground of                           of contract interpretation, in which courts have
                                                  finds that the information included in                  inadmissibility, as listed in 8 CFR                   looked to four factors: (1) The extent of the breach;
                                                  the request is insufficient to determine                                                                      (2) whether the breach was intentional or
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                                                                                                          212.23, following the initial grant of                accidental; (3) whether the breach was in good
                                                  whether cancellation is appropriate,                    lawful permanent resident status, would               faith; and (4) whether the obligor took steps to make
                                                  USCIS may request additional                            not be considered when determining                    amends or place himself in compliance).
                                                  information in accordance with 8 CFR                                                                             673 See Matter of Viado, 19 I&N Dec. 252, 253

                                                  part 103.                                                 666 See 8 CFR 103.6(c) and proposed 8 CFR 213.1.
                                                                                                                                                                (BIA 1985) (each of the other types of immigration
                                                                                                            667 See
                                                                                                                                                                bonds provided in the regulation has its own
                                                                                                                    proposed 8 CFR 213.1.                       specific conditions; the public charge bond’s
                                                    663 See INA section 213, 8 U.S.C. 1183.                 668 See proposed 8 CFR 213.1.
                                                                                                                                                                condition is that the alien will not become a public
                                                    664 See proposed 8 CFR 213.1.                           669 See 8 CFR 103.3(a)(2)(ii)–(v).
                                                                                                                                                                charge, and the lack of knowledge or good faith of
                                                    665 See proposed 8 CFR 213.1.                           670 See proposed 8 CFR 213.1.                       the alien did not render the breach insubstantial).



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                                                  considered breached if the alien                         operationally efficient; additionally, it              the obligor and the U.S. government; the
                                                  receives public benefits after the alien’s               provides clarity as to when a breach                   alien is not party to the contract.681
                                                  adjustment of status to that of a lawful                 determination becomes administratively
                                                                                                                                                                  (c) Consequences of Breach
                                                  permanent resident and until the bond                    final, as defined in 8 CFR 213.1(h). First,
                                                  is cancelled pursuant to 8 CFR 213.1(g),                 as part of an appeal, pursuant to 8 CFR                   If USCIS determines that the bond has
                                                  or if the alien breaches any other                       103.3(a)(2), a USCIS officer who made                  been breached, DHS proposes that
                                                  condition imposed as part of the                         the initial breach determination must                  USCIS would collect on the bond in
                                                  bond.674                                                 review the decision before the appeal                  full, meaning the total monetary amount
                                                     If USCIS learns of the breach, and                    can be forwarded to the AAO.677 If the                 of the bond as liquidated damages. This
                                                  declares a bond breached based on                        USCIS agrees with the appealing party                  practice appears to differ from the
                                                  information that is not otherwise                        that favorable action may be warranted,                practice described in legacy INS’
                                                  protected from the disclosure to the                     he or she may treat the appeal as a                    Operating Instructions, which
                                                  obligor, USCIS would disclose such                       motion and then take favorable action,                 contemplate forfeiture only of the
                                                  information to the obligor to the extent                 which would resolve the appeal.678                     amount of public benefits received.682
                                                  permitted by law. For example, USCIS                     However, the official is also not                      The total damages to the government go
                                                  may learn of an alien’s having received                  precluded from reopening a proceeding                  beyond the simple amount of the
                                                  public benefits, as defined in 8 CFR                     or reconsidering a decision on his or her              benefits received, and are difficult if not
                                                  212.21(b), if the public benefit-granting                own motion under 8 CFR 103.5(a)(5)(i).                 impossible to calculate with precision.
                                                  agency notifies USCIS that it provided                   If the reviewing official is not inclined              Liquidated damages are an appropriate
                                                  a public benefit(s) to the alien who was                 to take a favorable action, the reviewing              remedy in such situations, and were an
                                                  admitted on bond.675 Or, USCIS may                       official will forward the appeal to the                accepted practice in prior immigration
                                                  learn from the alien, as part of a bond                  AAO. Once the AAO issues the                           bond cases.683
                                                  cancellation request that he or she                      decision, however, an obligor may file a               8. Exhaustion of Administrative
                                                  received public benefits, as defined in 8                motion of the AAO’s decision in                        Remedies
                                                  CFR 212.21(b).                                           accordance with 8 CFR 103.5.679 Thus,
                                                     If USCIS found that it has insufficient               limiting when a motion can be filed is                    A final determination that a bond has
                                                  information to determine whether a                       efficient for both the obligor and USCIS.              been breached would create a claim in
                                                  breach occurred, USCIS would request                     Additionally, a breach determination                   favor of the United States. The claim in
                                                  additional information from the benefits                 would be administratively final, among                 favor of the United States may not be
                                                  granting agency, or USCIS would                          other instances, if the appeals period to              released or discharged by an
                                                  request additional information from                      the AAO expires; filing a motion does                  immigration officer.684
                                                  alien or the obligor as outlined in 8 CFR                not toll the appeals period stated in 8                   Under the proposed rule, a party must
                                                  part 103. USCIS would also provide the                   CFR 103.3, and if the obligor fails to                 first exhaust all administrative remedies
                                                  obligor with the opportunity to respond                  appeal, the breach determination would                 and obtain a final decision from USCIS
                                                  and submit rebuttal evidence, including                  become administratively final unless the               in accordance with 8 CFR part 103,
                                                  specifying a deadline for a response.                    motion is granted. The denial of a                     before being able to bring suit
                                                  DHS furthermore proposes that it would                   motion can then be appealed to the                     challenging USCIS cancellation or bond
                                                  send a copy of any notification to the                   AAO, and the AAO decision itself, if                   breach determination in Federal district
                                                  obligor or co-obligor regarding the                      unfavorable, may be motioned in                        court.685
                                                  breach also to the alien and the alien’s                 accordance with 8 CFR 103.5.                              Although enforcement and suits may
                                                  representative (if any).676                              Additionally, USCIS may reopen a                       be based on various causes of action,
                                                                                                           breach determination at any time                       courts have determined that bond
                                                  (b) Decision and Appeal                                                                                         breach determinations are always
                                                                                                           pursuant to 8 CFR 103.5, even if an
                                                    After the obligor’s response or after                  appeal is pending. For these reasons, it               reviewed under the Administrative
                                                  the deadline for a response has passed,                  appears to be more efficient for all                   Procedure Act (APA) framework.686
                                                  USCIS would make a breach                                parties if the obligor simply appeals a                   681 See proposed 8 CFR 213.1. See also, e.g.,
                                                  determination, and inform the obligor of                 breach determination in the first                      Matter of Ins. Co. of N. Am., 17 I&N Dec. 251, 251
                                                  the right to appeal in accordance with                   instance, if review of the initial breach              (BIA 1978) (An immigration bond is a contract
                                                  the requirements of 8 CFR 103, subpart                   determination is desired.                              between the Service and the obligor; the obligor and
                                                  A. See proposed 8 CFR 213.1(h). A bond                      If the appeal is dismissed or rejected,             his or her attorney-in-fact is the proper party to
                                                  obligor would have the possibility to                    or the obligor fails to appeal, the breach             appeal the service’s decision).
                                                                                                                                                                     682 See OI 103.6(c) (If it is found that the alien has
                                                  appeal a breach determination to the                     determination becomes the final agency                 become a public charge, the bond shall be breached
                                                  Administrative Appeals Office (AAO) of                   determination, and USCIS would issue                   in the necessary amount with any remainder
                                                  USCIS by filing a Notice of Appeal or                    a demand for payment, if the bond was                  continued in effect).
                                                  Motion (Form I–290B) together with the                   a surety bond, pursuant to 31 CFR                         683 See United States v. Goldberg, 40 F.2d 406 (2d

                                                  appropriate fee and required evidence.                   901.2.680 The alien may not appeal the                 Cir. 1930); Matta v. Tillinghast, 33 F.2d 64 (1st Cir.
                                                                                                                                                                  1929); Ill. Surety Co. v. United States, 229 F. 527
                                                  See 8 CFR 103.1; 103.3. Under this rule,                 breach determination or file a motion                  (2d Cir. 1916); United States v. Andreano, 36 F.
                                                  DHS proposes that the obligor would                      because the bond contract is between                   Supp. 821 (D.R.I. 1941); United States v. Rubin, 227
                                                  only be able to file a motion under 8                                                                           F. 938 (E.D. Pa. 1915); Matter of B¥, 1 I&N Dec.
                                                  CFR 103.5 as part of the unfavorable                       677 See 8 CFR 103.3(a)(2); see also Adjudicator’s    121 (BIA 1941).
                                                                                                                                                                     684 See proposed 8 CFR 213.1.
                                                  decision on appeal. DHS believes that                    Field Manual, Chapter 10.8.
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                                                                                                             678 See 8 CFR 103.3(a)(2); see also Adjudicator’s       685 See proposed 8 CFR 213.1(j).
                                                  such an approach reasonable and
                                                                                                           Field Manual, Chapter 10.8.                               686 See United States v. Gonzales & Gonzales
                                                                                                             679 See 8 CFR 103.5; see Administrative Appeal’s     Bonds & Ins. Agency, Inc., 728 F. Supp. 2d 1077,
                                                    674 See proposed 8 CFR 213.1(h).                       Office Practice Manual, Chapter 4, Motions to          1089–90 (N.D. Cal. 2010); Bahramizadeh v. INS,
                                                    675 See INA section 213, 8 U.S.C. 1183. Receipt        Reopen and Reconsider.                                 717 F.2d 1170, 1173 (7th Cir. 1983) (reviewing
                                                  of public benefits, however, is sufficient to cause a      680 See 8 CFR 103.6(e); see proposed 8 CFR 213.1;    bond-breach determinations under the APA
                                                  breach of the public charge bond, even in the            see generally United States v. Gonzales & Gonzales     framework); Castaneda v. Dep’t of Justice, 828 F.2d
                                                  absence of a demand for repayment. See Matter of         Bonds & Ins. Agency, Inc. 728 F. Supp. 2d 1077,        501, 502 (8th Cir. 1987) (immigration bond-breach
                                                  Viado, 19 I&N Dec. 252, 253 (BIA 1985).                  1089–91 (N.D. Cal. 2010); Safety Nat’l Cas. Corp. v.   determination reviewed under the APA framework);
                                                    676 See proposed 8 CFR 213.1.                          DHS, 711 F. Supp. 2d 697, 703–04 (S.D. Tex. 2008).     Ruiz-Rivera v. Moyer, 70 F.3d 498, 500–01 (7th Cir.



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                                                  DHS invites public comments on the                      for establishing a public charge bond                 DHS plans to conduct the two
                                                  proposed public charge bond and its                     process, nor the number of public                     rulemakings concurrently.
                                                  procedures, including the public charge                 charge bonds or cancellation requests
                                                                                                                                                                VI. Statutory and Regulatory
                                                  bond type, bond amount, duration,                       that it will receive during any period of
                                                                                                                                                                Requirements
                                                  substitution, cancellation and any other                time because both the form and process
                                                  aspects of a public charge bond.                        are new to USCIS, and USCIS does not                  A. Executive Order 12866 (Regulatory
                                                  9. Public Charge Bond Processing Fees                   have a reasonable proxy on which to                   Planning and Review), Executive Order
                                                                                                          rely for an estimate. In addition, public             13563 (Improving Regulation and
                                                     DHS is proposing to charge for the                   charge bonds are very fact-specific;                  Regulatory Review), and Executive
                                                  processing of public charge bonds and                   USCIS will make a case-by-case                        Order 13771 (Reducing Regulation and
                                                  cancellation requests. In this rule, DHS                determination on whether to offer the                 Controlling Regulatory Costs)
                                                  proposes to charge $25 for the posting                  submission of a bond to an applicant.
                                                  of a public charge bond, $25 for the                                                                             Executive Orders 12866 and 13563
                                                                                                          Similarly, whether a cancellation                     direct agencies to assess the costs and
                                                  posting of a substitute public charge                   request is submitted will be driven by
                                                  bond, and $25 when the alien, obligor                                                                         benefits of available regulatory
                                                                                                          the particular circumstances of each                  alternatives and, if regulation is
                                                  or co-obligor requests to cancel the                    alien by whom or on whose behalf a
                                                  public charge bond (i.e., when the Form                                                                       necessary, to select regulatory
                                                                                                          bond is posted, depending on whether                  approaches that maximize net benefits
                                                  I–356 is filed). INA section 286(m), 8                  conditions for cancellation have been
                                                  U.S.C. 1356(m), authorizes DHS to set                                                                         (including potential economic,
                                                                                                          met. Nevertheless, to recover at least                environmental, public health and safety
                                                  fees for providing adjudication and
                                                                                                          some of the costs of adjudicating Forms               effects, distributive impacts, and
                                                  naturalization services at a level that
                                                                                                          I–945 and I–356, and avoid other fee                  equity). Executive Order 13563
                                                  will ensure recovery of the full costs of
                                                                                                          payers having to fund the public charge               emphasizes the importance of
                                                  providing all such services. USCIS must
                                                                                                          bond process entirely, DHS is proposing               quantifying both costs and benefits,
                                                  expend resources to process public
                                                                                                          a $25 fee for the initial public charge               reducing costs, harmonizing rules, and
                                                  charge bonds and bond cancellation
                                                                                                          bond submission, and a $25 fee for the                promoting flexibility. Executive Order
                                                  requests, including start-up costs to
                                                                                                          bond cancellation request, with no                    13771 (Reducing Regulation and
                                                  operationalize a public charge bond
                                                                                                          option to request a fee waiver. Once                  Controlling Regulatory Costs) directs
                                                  process. USCIS is primarily funded by
                                                                                                          USCIS implements a public charge bond                 agencies to reduce regulation and
                                                  immigration and naturalization benefit
                                                                                                          process, it will be able to obtain data on            control regulatory costs.
                                                  request fees charged to applicants and
                                                                                                          the volume and burden of public charge                   This proposed rule is designated a
                                                  petitioners. Fees collected from
                                                                                                          bonds and cancellation requests and                   ‘‘significant regulatory action’’ that is
                                                  individuals and entities filing
                                                                                                          adjust these fees to amounts necessary                economically significant since it is
                                                  immigration benefit requests are
                                                                                                          to recover the relative costs of these                estimated that the proposed rule would
                                                  deposited into the Immigration
                                                                                                          adjudications next time that USCIS                    have an annual effect on the economy
                                                  Examinations Fee Account (IEFA) and
                                                                                                          reviews the fees deposited into the                   of $100 million or more, under section
                                                  used to fund the cost of processing
                                                                                                          IEFA.                                                 3(f)(1) of Executive Order 12866.
                                                  immigration benefit requests and
                                                  providing related services (i.e.,                       10. Other Technical Changes                           Accordingly, OMB has reviewed this
                                                  biometric collections).687 In addition,                                                                       proposed regulation.
                                                  DHS complies with the requirements                        In addition to amending 8 CFR 103.6                 1. Summary
                                                  and principles of the Chief Financial                   and 213.1 to update and establish
                                                  Officers Act of 1990, 31 U.S.C. 901–03,                 requirements specific to public charge                   As previously discussed, DHS is
                                                  (CFO Act), and Office of Management                     bonds, this proposed rule would make                  proposing to modify its regulations to
                                                  and Budget (OMB) Circular A–25.                         technical changes to 8 CFR 103.6 to                   add new regulatory provisions for
                                                  USCIS reviews the fees deposited into                   update references to offices and form                 inadmissibility determinations based on
                                                  the IEFA biennially and, if necessary,                  names.                                                public charge grounds under the INA.
                                                  proposes adjustments to ensure recovery                                                                       DHS is proposing to prescribe how it
                                                                                                          11. Concurrent Surety Bond Rulemaking                 determines whether an alien is
                                                  of costs necessary to meet national
                                                  security, customer service, and                                                                               inadmissible because he or she is likely
                                                                                                            On June 5, 2018, DHS published a
                                                  adjudicative processing goals. USCIS                                                                          at any time to become a public charge
                                                                                                          proposed rule that would set forth
                                                  typically uses projected volume data                                                                          and identify the types of public benefits
                                                                                                          procedures and standards under which
                                                  and completion rates (the average time                                                                        that are considered in the public charge
                                                                                                          DHS would decline surety immigration
                                                  for adjudication of an immigration                                                                            determinations. An alien applying for a
                                                                                                          bonds from Treasury-certified
                                                  benefit request) to set the fees for                                                                          visa, admission at the port of entry, or
                                                                                                          companies.688 The June 5 proposed rule
                                                  specific immigration benefit requests,                                                                        adjustment of status generally must
                                                                                                          would also create administrative
                                                  and related services.                                                                                         establish that he or she is not likely at
                                                                                                          exhaustion requirements applicable to
                                                     The proposed $25 fees will not result                                                                      any time to become a public charge.
                                                                                                          sureties. This public charge proposed
                                                  in recovery of the full cost of intake and                                                                    DHS proposes that certain factors may
                                                                                                          rule is not intended to displace or
                                                  adjudication the proposed Forms I–945                                                                         be weighed positively or negatively,
                                                                                                          otherwise affect the proposed changes to
                                                  and I–356. However, at this time, DHS                                                                         depending on how the factor impacts
                                                                                                          8 CFR 103.6 in the June 5, 2018
                                                                                                                                                                the immigrant’s likelihood to become a
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                                                  is not able to estimate the start-up costs              proposed rule, although a final public
                                                                                                                                                                public charge. DHS is also proposing to
                                                                                                          charge rule may depart from the June 5
                                                  1995) (determining whether ‘‘INS’ decision that the                                                           revise existing regulations to clarify
                                                                                                          rule with respect to surety bonds breach
                                                  bond conditions were substantially violated was                                                               when and how it considers public
                                                                                                          determinations, as described above.
                                                  plainly erroneous or inconsistent with 8 CFR                                                                  charge when adjudicating change of
                                                  103.6(e)’’); Ahmed v. United States, 480 F.2d 531,                                                            status and extension of stay
                                                  534 (2d Cir. 1973) (analyzing substantial breach, as       688 See Procedures and Standards for Declining
                                                  required by 8 CFR 103.6).                               Surety Immigration Bonds and Administrative
                                                                                                                                                                applications. Finally, DHS is proposing
                                                    687 See U.S. Citizenship and Immigration Services     Appeal Requirement for Breaches, 83 FR 25951          to revise its regulations governing the
                                                  Fee Schedule, 81 FR 26904, 26940 (May 4, 2016).         (June 5, 2018).                                       Secretary’s discretion to accept a public


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                                                  charge bond or similar undertaking                       $910,234,008 at a 7 percent discount                     estimates that the total reduction in
                                                  under section 213 of the Act, 8 U.S.C.                   rate.                                                    transfer payments from the federal and
                                                  1183. Similar to a waiver, a public                         The proposed rule would impose new                    state governments would be
                                                  charge bond permits an alien deemed                      costs on the population seeking                          approximately $2.27 billion annually
                                                  inadmissible on the public charge                        extension of stay or change of status                    due to disenrollment or foregone
                                                  ground to obtain adjustment of status, if                using Form I–129, Form I–129CW, or                       enrollment in public benefits programs
                                                  otherwise admissible.689                                 Form I–539 since, for any of these                       by foreign-born non-citizens who may
                                                    This proposed rule would impose                        forms, USCIS adjudication officers                       be receiving public benefits. DHS
                                                  new costs on the population applying to                  would then be able to exercise                           estimates that the 10-year discounted
                                                  adjust status using Form I–485 that are                  discretion in determining whether it                     federal and state transfer payments
                                                  subject to the public charge grounds on                  would be necessary to issue a RFE                        reduction of this proposed rule would
                                                  inadmissibility who would now be                         whereby a Form I–129 or I–129CW                          be approximately $19.3 billion at a 3
                                                  required to file the new Form I–944 as                   beneficiary or a Form I–539 applicant                    percent discount rate and about $15.9
                                                  part of the public charge inadmissibility                may then have to submit Form I–944.                      billion at a 7 percent discount rate.
                                                  determination. DHS would require any                     DHS conducted a sensitivity analysis                     However, DHS notes there may be
                                                  adjustment applicants subject to the                     estimating the potential cost of filing                  additional reductions in transfer
                                                  public charge inadmissibility ground to                  Form I–129, Form I–129CW, or Form I–                     payments that we are unable to
                                                  submit Forms I–944 with their Form I–                    539 for a range of 10 to 100 percent of                  quantify. There may also be additional
                                                  485 to demonstrate they are not likely                   beneficiaries or filers, respectively,                   reductions in transfer payments from
                                                  to become a public charge. In addition,                  receiving a RFE to submit Form I–944.                    states to individuals who may choose to
                                                  Form I–129 and Form I–129CW                              The costs to Form I–129 beneficiaries                    disenroll from or forego enrollment in a
                                                  beneficiaries, and Form I–539 filers may                 who may receive a RFE to file Form I–                    public benefits program. Because state
                                                  also incur additional costs should they                  944 range from $6,086,318 to                             participation in these programs may
                                                  receive a RFE to file Form I–944 to                      $60,863,181 annually and the costs to                    vary depending on the type of benefit
                                                  determine inadmissibility based on                       Form I–129CW beneficiaries who may                       provided, DHS was only able to estimate
                                                  public charge grounds under the                          receive such a RFE from $114,132 to                      the impact of state transfers. For
                                                  provisions of this proposed rule. The                    $1,141,315 annually. The costs to Form                   example, the federal government funds
                                                  proposed rule would also impose                          I–539 applicants who may receive a RFE                   all SNAP food expenses, but only 50
                                                  additional costs for completing Forms I–                 to file Form I–944 range from                            percent of allowable administrative
                                                  485, I–129, I–129CW, and I–539 as the                    $3,164,375 to $31,643,752 annually.                      costs for regular operating expenses.693
                                                  associated time burden estimate for                         The proposed rule would also                          Similarly, Federal Medical Assistance
                                                  completing each of these forms would                     potentially impose new costs on                          Percentages (FMAP) in some HHS
                                                  increase. Moreover, the proposed rule                    individuals or companies (obligors) if an                programs like Medicaid can vary from
                                                  would impose new costs associated                        alien has been found to be a public                      between 50 percent to an enhanced rate
                                                  with the proposed public charge bond                     charge, but has been given the                           of 100 percent in some cases.694
                                                  process, including new costs for                         opportunity to submit a public charge                    However, assuming that the state share
                                                  completing and filing Form I–945,                        bond, for which USCIS intends to use                     of federal financial participation (FFP)
                                                  Public Charge Bond, and Form I–356,                      the new Form I–945. DHS estimates the                    is 50 percent, the 10-year discounted
                                                  Request for Cancellation of Public                       total cost to file Form I–945 would be                   amount of state transfer payments of
                                                  Charge Bond. DHS estimates that the                      at minimum about $34,234 annually.690                    this proposed policy would be
                                                  additional total cost of the proposed                       Moreover, the proposed rule would                     approximately $9.65 billion at a 3
                                                  rule would range from approximately                      potentially impose new costs on aliens                   percent discount rate and about $7.95
                                                  $45,313,422 to $129,596,845 annually to                  or obligors (individuals or entities) who                billion at a 7 percent discount rate.
                                                  the population applying to adjust status                 would submit Form I–356 as part of a                     Finally, DHS recognizes that reductions
                                                  who also would be required to file Form                  request to cancel the public charge                      in federal and state transfers under
                                                  I–944, for the opportunity cost of time                  bond. DHS estimates the total cost to file               federal benefit programs may have
                                                  associated with the increased time                       Form I–356 would be approximately                        downstream and upstream impacts on
                                                  burden estimates for Forms I–485, I–                                                                              state and local economies, large and
                                                                                                           $825 annually.691
                                                  129, I–129CW, and I–539, and for                                                                                  small businesses, and individuals. For
                                                                                                              The proposed rule would also result
                                                  requesting or cancelling a public charge                                                                          example, the rule might result in
                                                                                                           in a reduction in transfer payments from
                                                  bond using Form I–944 and Form I–356,                                                                             reduced revenues for healthcare
                                                                                                           the federal government to individuals
                                                  respectively.                                                                                                     providers participating in Medicaid,
                                                    Over the first 10 years of                             who may choose to disenroll from or
                                                                                                           forego enrollment in a public benefits                   pharmacies that provide prescriptions to
                                                  implementation, DHS estimates the total
                                                  quantified new direct costs of the                       program. Individuals who might choose
                                                                                                                                                                    for which much of the data in this analysis is based
                                                  proposed rule would range from about                     to disenroll from or forego future                       on. DHS generally interprets this term to mean alien
                                                  $453,134,220 to $1,295,968,450                           enrollment in a public benefits program                  in this analysis.
                                                  (undiscounted). In addition, DHS                         include foreign-born non-citizens as                        693 Per section 16(a) of the Food and Nutrition Act

                                                                                                           well as U.S. citizens who are members                    of 2008. See also USDA, FNS Handbook 901, p. 41
                                                  estimates that the 10-year discounted                                                                             available at: https://fns-prod.azureedge.net/sites/
                                                  total direct costs of this proposed rule                 of mixed-status households.692 DHS                       default/files/apd/FNS_HB901_v2.2_Internet_
                                                  would range from about $386,532,679 to                                                                            Ready_Format.pdf.
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                                                                                                              690 Calculation: $35.66 (cost per obligor to file        694 See Dept. of Health and Human Services,
                                                  $1,105,487,375 at a 3 percent discount                   Form I–945) * 960 (estimated annual population           ‘‘Federal Financial Participation in State Assistance
                                                  rate and about $318,262,513 to                           who would file Form I–945) = $34,233.60 = $34,234        Expenditures; Federal Matching Shares for
                                                                                                           (rounded) annual total cost to file Form I–945.          Medicaid, the Children’s Health Insurance Program,
                                                    689 There is no mention of ‘‘waiver’’ or ‘‘waive’’        691 Calculation: $33.00 (cost per obligor to file
                                                                                                                                                                    and Aid to Needy Aged, Blind, or Disabled Persons
                                                  in INA section 213, 8 U.S.C. 1183. However, the          Form I–356) * 25 (estimated annual population who        for October 1, 2016 through September 30, 2017.’’
                                                  BIA has viewed that provision as functioning as a        would file Form I–356) = $825.00 annual total cost       ASPE FMAP 2017 Report. Dec. 29, 2015. Available
                                                  waiver of the public charge ground of                    to file Form I–356.                                      at https://aspe.hhs.gov/basic-report/fy2017-federal-
                                                  inadmissibility. See Matter of Ulloa, 22 I&N Dec.           692 DHS uses the term ‘‘foreign-born non-citizens’’   medical-assistance-percentages. Accessed Sept. 13,
                                                  725, 726 (BIA 1999).                                     because it is the term used by the Census Bureau         2018.



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                                                  participants in the Medicare Part D low-                costs. For example, immigration                       financial resources of the family,
                                                  income subsidy (LIS) program,                           lawyers, immigration advocacy groups,                 sponsors, and private organizations.695
                                                  companies that manufacture medical                      health care providers of all types, non-              DHS also anticipates that the proposed
                                                  supplies or pharmaceuticals, grocery                    profit organizations, non-governmental                rule would produce some benefits from
                                                  retailers participating in SNAP,                        organizations, and religious                          the elimination of Form I–864W. The
                                                  agricultural producers who grow foods                   organizations, among others, may need                 elimination of this form would
                                                  that are eligible for purchase using                    or want to become familiar with the                   potentially reduce the number of forms
                                                  SNAP benefits, or landlords                             provisions of this proposed rule. DHS                 USCIS would have to process. DHS
                                                  participating in federally funded                       believes such non-profit organizations                estimates the amount of cost savings
                                                  housing programs.                                       and other advocacy groups might                       that would accrue from eliminating
                                                     Additionally, the proposed rule                      choose to read the rule in order to                   Form I–864W would be $35.78 per
                                                  would add new direct and indirect                       provide information to those foreign-                 petitioner.696 However, DHS notes that
                                                  impacts on various entities and                         born non-citizens that might be affected              we are unable to determine the annual
                                                  individuals associated with regulatory                  by a reduction in federal and state                   number of filings of Form I–864W and,
                                                  familiarization with the provisions of                  transfer payments. Familiarization costs              therefore, we are currently unable to
                                                  the rule. Familiarization costs involve                 incurred by those not directly regulated              estimate the total annual cost savings of
                                                  the time spent reading the details of a                 are indirect costs.                                   this change. Additionally, a public
                                                  rule to understand its changes. A                          DHS estimates the time that would be               charge bond process would also provide
                                                  foreign-born non-citizen (such as those                 necessary to read this proposed rule                  benefits to applicants as they potentially
                                                  contemplating disenrollment or                          would be approximately 8 to 10 hours                  would be given the opportunity to be
                                                  foregoing enrollment in a public                        per person, resulting in opportunity                  adjusted if otherwise admissible, at the
                                                  benefits program) might review the rule                 costs of time. An entity, such as a non-              discretion of DHS, after a determination
                                                  to determine whether they are subject to                profit or advocacy group, may have                    that he or she is likely to become a
                                                  the provisions of the proposed rule and                 more than one person that reads the                   public charge.
                                                  may incur familiarization costs. To the                 rule.
                                                  extent that an individual or entity                        The primary benefit of the proposed                   Table 36 provides a more detailed
                                                  directly regulated by the rule incurs                   rule would be to help ensure that aliens              summary of the proposed provisions
                                                  familiarization costs, those                            who are admitted to the United States,                and their impacts.
                                                                                                                                                                BILLING CODE 4410–10–P
                                                  familiarization costs are a direct cost of              seek extension of stay or change of
                                                  the rule. In addition to those individuals              status, or apply for adjustment of status
                                                                                                                                                                  695 8U.S.C. 1601(2).
                                                  or entities the rule directly regulates, a              are not likely to receive public benefits               696 Calculation of savings from opportunity cost
                                                  wide variety of other entities would                    and will be self-sufficient, i.e.,                    of time for no longer having to complete and submit
                                                  likely choose to read the rule and,                     individuals will rely on their own                    Form I–864W: ($35.78 per hour * 1.0 hours) =
                                                  therefore, would incur familiarization                  financial resources, as well as the                   $35.78.
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                                                    In addition to the impacts                            OMB Circular A–4, Table 37 presents                   showing the costs associated with this
                                                  summarized above and as required by                     the prepared accounting statement                     proposed regulation.697
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                                                                                                                                                                                                         EP10OC18.059</GPH>




                                                   697 OMB Circular A–4 is available at https://

                                                  www.whitehouse.gov/sites/whitehouse.gov/files/
                                                  omb/circulars/A4/a-4.pdf.

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                                                  BILLING CODE 4410–10–C                                    including the alien’s age, health, and                will be found inadmissible as likely to
                                                  2. Background and Purpose of the Rule                     family status; assets, resources, and                 become a public charge.701
                                                                                                            financial status; and education and                     However, in general, there is a lack of
                                                     As discussed in the preamble, DHS                      skills.699 Additionally, DHS may                      academic literature and economic
                                                  seeks to ensure appropriate application                   consider any affidavit of support                     research examining the link between
                                                  of the public charge ground of                            submitted under section 213A of the                   immigration and public benefits (i.e.,
                                                  inadmissibility. Under the INA, an alien                  Act, 8 U.S.C. 1183a, on behalf of the                 welfare), and the strength of that
                                                  who, at the time of application for a                     applicant when determining whether                    connection.702 It is also difficult to
                                                  visa, admission, or adjustment of status,                 the applicant may become a public                     determine whether immigrants are net
                                                  is deemed likely at any time to become                    charge.700 For most family-based and                  contributors or net users of government-
                                                  a public charge is inadmissible to the                    some employment-based immigrant                       supported public assistance programs
                                                  United States.698                                         visas or adjustment of status                         since much of the answer depends on
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                                                     While the INA does not define public                   applications, applicants must have a                  the data source, how the data are used,
                                                  charge, Congress has specified that                       sufficient affidavit of support or they               and what assumptions are made for
                                                  when determining if an alien is likely at
                                                  any time to become a public charge,                         699 See INA section 212(a)(4)(B)(i); 8 U.S.C.         701 See INA section 212(a)(4)(C) and (D), 8 U.S.C.

                                                  consular and immigration officers must,                   1182(a)(4)(B)(i).                                     1182(a)(4)(C) and (D).
                                                                                                              700 See INA section 212(a)(4)(B)(ii). When            702 See Borjas, G.J. (2016) We wanted workers:
                                                  at a minimum, consider certain factors
                                                                                                            required, the applicant must submit Form I-864,       Unraveling the immigration narrative. Chapter 9,
                                                                                                            Affidavit of Support Under Section 213A of the        pp. 175–176, 190–191. W.W. Norton & Company,
                                                                                                                                                                                                                         EP10OC18.061</GPH>




                                                    698 See   INA section 212(a)(4); 8 U.S.C. 1182(a)(4).   INA.                                                  New York.



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                                                  analysis.703 Moreover, DHS also was not                 years of age, and parents of U.S. citizens            status may also meet the affidavit of
                                                  able to estimate potential lost                         21 years of age and older); (2) family-               support requirement by obtaining a joint
                                                  productivity, health effects, additional                based preference immigrants (unmarried                sponsor who is willing to accept joint
                                                  medical expenses due to delayed health                  sons and daughters of U.S. citizens,                  and several liability with the petitioning
                                                  care treatment, or increased disability                 spouses and unmarried sons and                        sponsor as to the obligation to provide
                                                  insurance claims as a result of this                    daughters of lawful permanent                         support to the sponsored alien. The
                                                  proposed rule.                                          residents, married sons and daughters of              joint sponsor must demonstrate income
                                                     Currently, the public charge                         U.S. citizens, and brothers and sisters of            or assets that independently meet the
                                                  inadmissibility ground does not apply                   U.S. citizens 21 years of age and older);             requirements to support the sponsored
                                                  to all applicants seeking a visa,                       and (3) employment-based preference                   immigrant(s) as required under section
                                                  admission, or adjustment of status.                     immigrants in cases only when a U.S.                  213A(f)(2) and (f)(5)(A) of the Act, 8
                                                  Several immigrant and nonimmigrant                      citizen, lawful permanent resident, or                U.S.C. 1883a(f)(2) and (f)(5)(A). The
                                                  categories, by law or regulation, are                   U.S. national relative filed the                      joint sponsor’s income and assets may
                                                  exempt from the public charge ground                    immigrant visa petition or such relative              not be combined with the income/assets
                                                  of inadmissibility grounds.704                          has a significant ownership interest (5               of the petitioning sponsor or the
                                                     The costs and benefits for this                      percent or more) in the entity that filed             sponsored immigrant. Both the
                                                  proposed rule focus on individuals                      the petition. However, immigrants                     petitioning sponsor and the joint
                                                  applying for adjustment of status using                 seeking certain visa classifications are              sponsor must each complete a Form I–
                                                  Form I–485. Such individuals would be                   exempt from the requirement to submit                 864.
                                                  applying from within the United States,                 a Form I–864 as are intending                            Certain classes of immigrants
                                                  rather than applying for a visa from                    immigrants who have earned or can                     currently are exempt from the
                                                  outside the United States at a DOS                      receive credit for 40 qualifying quarters             requirement to file Form I–864 or Form
                                                  consulate abroad. In addition, the                      (credits) of work in the United States.               I–864EZ and therefore must file Form I–
                                                  impact of this proposed rule on                            Additionally, some sponsors for                    864W. DHS proposes to eliminate Form
                                                  nonimmigrants who are seeking an                        intending immigrants may be able to file              I–864W and instead individuals would
                                                  extension of stay or a change of status                 an Affidavit of Support Under Section                 now be required to provide the
                                                  are also examined in this analysis.                     213A of the INA (Form I–864EZ). Form                  information previously requested on the
                                                     The new process DHS is proposing for                 I–864EZ is a shorter version of Form I–               Form I–864W using Form I–485. Based
                                                  making a determination of                               864 and is designed for cases that meet               on the information provided in the
                                                  inadmissibility based on public charge                  certain criteria. A sponsor may file Form             Form I–485, an officer can verify
                                                  incorporates a new form—Form I–944—                     I–864EZ only if: (1) The sponsor is the               whether an alien is statutorily required
                                                  in the current process to apply for                     person who filed or is filing a Petition              to file an affidavit of support.
                                                  adjustment of status. Currently, as part                for Alien Relative (Form I–130) for a                    Some applicants seeking adjustment
                                                  of the requirements for filing Form I–                  relative being sponsored; (2) the relative            of status may be eligible for a fee waiver
                                                  485, applicants submit biometrics                       being sponsored is the only person                    when filing Form I–485. An applicant
                                                  collection for fingerprints and signature,              listed on Form I–130; and (3) the                     who is unable to pay the filing fees or
                                                  and also file Form I–693 which is to be                 income the sponsor is using for                       biometric services fees for an
                                                  completed by a designated civil                         qualification is based entirely on salary             application or petition may obtain a fee
                                                  surgeon. Form I–693 is used to report                   or pension and is shown on one or more                waiver by filing a Request for Fee
                                                  results of a medical examination to                     Internal Revenue Service (IRS) Form W–                Waiver (Form I–912). If an applicant’s
                                                  USCIS.                                                  2s provided by employers or former                    Form I–912 is approved, the agency will
                                                     Form I–864 (Affidavit of Support                     employers.                                            waive both the filing fee and biometric
                                                  Under Section 213A of the INA) is also                     Form I–864 includes attachment,                    services fee. Therefore, DHS assumes for
                                                  filed to satisfy the requirements of                    Contract Between Sponsor and                          the purposes of this economic analysis
                                                  section 213A of the Act for most family-                Household Member (Form I–864A),                       that the filing fees and biometric
                                                  based immigrants and some                               which may be filed when a sponsor’s                   services fees required for Form I–485 are
                                                  employment-based immigrants to show                     income and assets do not meet the                     waived if an approved Form I–912
                                                  that they have adequate means of                        income requirements of Form I–864 and                 accompanies the application.
                                                  financial support and are not likely to                 the qualifying household member                          When filing Form I–485, a fee waiver
                                                  become a public charge. When a                          chooses to combine his or her resources               is only available if the applicant is
                                                  sponsor completes and signs Form I–                     with the income and/or assets of a                    applying for adjustment of status based
                                                                                                          sponsor to meet those requirements. A                 on:
                                                  864 in support of an intending
                                                                                                          sponsor must file a separate Form I–                     • Special Immigrant Status based on
                                                  immigrant, the sponsor agrees to use his
                                                                                                          864A for each household member                        an approved Form I–360 as an Afghan
                                                  or her resources, financial or otherwise,
                                                                                                          whose income and/or assets the sponsor                or Iraqi Interpreter, or Afghan or Iraqi
                                                  to support the intending immigrant
                                                                                                          is using to meet the affidavit of support             national employed by or on behalf of the
                                                  named in the affidavit, if it becomes
                                                                                                          income requirements. The Form I–864A                  U.S. Government; or
                                                  necessary.                                                                                                       • An adjustment provision that is
                                                                                                          contract must be submitted with Form
                                                     Immigrants required to submit Form                                                                         exempt from the public charge grounds
                                                                                                          I–864. The Form I–864A serves as a
                                                  I–864 completed by a sponsor to obtain                                                                        of inadmissibility under section
                                                                                                          contractual agreement between the
                                                  an immigrant visa overseas or to adjust                                                                       212(a)(4) of the INA, including but not
                                                                                                          sponsor and household member that,
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                                                  status to that of lawful permanent                                                                            limited to the Cuban Adjustment Act,
                                                                                                          along with the sponsor, the household
                                                  resident in the United States, include (1)                                                                    the Haitian Refugee Immigration
                                                                                                          member is responsible for providing
                                                  immediate relatives of U.S. citizens                                                                          Fairness Act (HRIFA), and the
                                                                                                          financial and material support to the
                                                  (spouses, unmarried children under 21                                                                         Nicaraguan Adjustment and Central
                                                                                                          sponsored immigrant.
                                                    703 See Borjas, G.J. (2016) We wanted workers:
                                                                                                             In cases where the petitioning sponsor             American Relief Act (NACARA), or
                                                  Unraveling the immigration narrative. Chapter 9, p.     cannot meet the income requirements                   similar provisions; continuous
                                                  175. W.W. Norton & Company, New York.                   by him or herself, an individual seeking              residence in the United States since
                                                    704 See proposed 8 CFR 212.23(a).                     an immigrant visa or adjustment of                    before January 1, 1972, ‘‘Registry,’’


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                                                  Asylum Status under section 209(b) of                   process for such aliens. DHS currently                    because these individuals would have to
                                                  the INA, Special Immigrant Juvenile                     does not have a specific process or                       demonstrate that they have not received,
                                                  Status, and Lautenberg parolees.                        procedure in place to accept public                       are not currently receiving, and are not
                                                     Additionally, the following                          charge bonds, though it has the                           likely to receive public benefits in the
                                                  individuals seeking adjustment of status                authority to do so. The proposed public                   future, as defined in the proposed rule.
                                                  may apply for a fee waiver for Form I–                  charge bond process would include                         This analysis estimates the populations
                                                  485:                                                    DHS acceptance of a public charge bond                    from each of these groups that would be
                                                     • Battered spouses of A, G, E–3, or H                posted on an adjustment of status                         subject to review for receipt of public
                                                  nonimmigrants;                                          applicant’s behalf if the adjustment of                   benefits. DHS notes that the population
                                                     • Battered spouses or children of a                  status applicant was deemed                               estimates are based on aliens present in
                                                  lawful permanent resident or U.S.                       inadmissible based on public charge.                      the United States who are applying for
                                                  citizen under INA section 240A(b)(2);                   The process would also include the                        adjustment of status or extension of stay
                                                     • T nonimmigrants;                                   possibility to substitute an existing                     or change of status, rather than
                                                     • U nonimmigrants; or
                                                     • VAWA self–petitioners.                             bond, the requirement to substitute a                     individuals outside the United States
                                                     DHS is proposing to facilitate the                   bond before the bond on file with DHS                     who must apply for an immigrant visa
                                                  current Form I–485 application process                  expires, the DHS determination of                         through consular processing at a DOS
                                                  by creating a new form—Form I–944—                      breach of a public charge bond, the                       consulate abroad.
                                                  which would collect information to the                  possibility to file an appeal upon a
                                                                                                                                                                    (a) Population Seeking Adjustment of
                                                  extent allowed by relevant laws based                   breach determination, cancellation of a
                                                                                                                                                                    Status
                                                  on factors such as age; health; family                  public charge bond, and the possibility
                                                  status; assets, resources, and financial                to submit an appeal upon denial of the                       With this proposed rule, DHS intends
                                                  status; education and skills; and any                   cancellation request.                                     to ensure that aliens who apply for
                                                  additional financial support through an                 3. Population                                             adjustment of status are self-sufficient
                                                  affidavit of support, so that DHS could                                                                           and will rely on their own financial
                                                  determine whether an applicant                             This proposed rule would affect                        resources, as well of those of their
                                                  applying for adjustment of status who is                individuals who are present in the                        families, sponsors, and private
                                                  subject to public charge review would                   United States who are seeking an                          organizations. Therefore, DHS estimates
                                                  be inadmissible to the United States                    adjustment of status to that of a lawful                  the population of individuals who are
                                                  based on public charge grounds. For the                 permanent resident. According to                          applying for adjustment of status using
                                                  analysis of this proposed rule, DHS                     statute, an individual who is seeking                     Form I–485.706 Under the proposed rule,
                                                  assumes that all individuals who apply                  adjustment of status and is at any time                   these individuals would undergo review
                                                  for an adjustment of status using Form                  likely to become a public charge is                       for determination of inadmissibility
                                                  I–485 are required to submit Form I–                    ineligible for such adjustment.705 The                    based on public charge grounds, unless
                                                  944, unless he or she is in a class of                  grounds of inadmissibility set forth in                   an individual is in a class of admission
                                                  applicants that is exempt from review                   section 212 of the Act also apply when                    that is exempt from review for public
                                                  for determination of inadmissibility                    certain aliens seek admission to the                      charge determination.
                                                  based on public charge at the time of                   United States, whether for a temporary
                                                                                                          purpose or permanently. However, the                         Table 38 shows the total population
                                                  adjustment of status according to statute                                                                         in fiscal years 2012 to 2016 that applied
                                                  or regulation.                                          grounds of public charge inadmissibility
                                                                                                          (including ineligibility for adjustment of                for adjustment of status. In general, the
                                                     In addition to those applying for an                                                                           annual population of individuals who
                                                  adjustment of status, any alien applying                status) do not apply to all applicants
                                                                                                          since there are various classes of                        applied to adjust status was consistent.
                                                  for an extension of stay or change of                                                                             Over the 5-year period, the population
                                                  status as a nonimmigrant in the United                  admission that Congress expressly
                                                                                                          exempted from the public charge                           of individuals applying for adjustment
                                                  States would now be required to                                                                                   of status ranged from a low of 530,802
                                                  demonstrate that he or she is neither                   inadmissibility ground. Within USCIS,
                                                                                                          this proposed rule would affect                           in fiscal year 2013 to a high of 565,427
                                                  using nor receiving, nor likely to                                                                                in fiscal year 2016. In addition, the
                                                  receive, public benefits as defined in                  individuals who apply for adjustment of
                                                                                                          status since these individuals would be                   average population of individuals over 5
                                                  this proposed rule unless the applicant                                                                           fiscal years who applied for adjustment
                                                  is in a class of admission or is seeking                required to be reviewed for a
                                                                                                          determination of inadmissibility based                    of status over this period was 544,246.
                                                  to change to a class of admission that is
                                                  exempt from inadmissibility on public                   on public charge grounds as long as the
                                                                                                                                                                       706 Data on the population of individuals who are
                                                  charge grounds.                                         individual is not in a class of admission
                                                                                                                                                                    applying for adjustment of status and the class of
                                                     For applicants seeking adjustment of                 that is exempt from review for public                     admission come from U.S. Department of Homeland
                                                  status or an immigrant visa who are                     charge. In addition, the proposed rule                    Security, Yearbook of Immigration Statistics for
                                                  likely to become a public charge after                  would affect individuals applying for an                  years 2012 to 2016. See U.S. Department of
                                                                                                          extension of stay or change of status                     Homeland Security. Yearbook of Immigration
                                                  the review for determination of                                                                                   Statistics. Office of Immigration Statistics. Available
                                                  inadmissibility based on public charge,                                                                           at https://www.dhs.gov/immigration-statistics/
                                                  DHS is proposing to establish a bond                      705 See   INA section 212(a)(4), 8 U.S.C. 1182(a)(4).   yearbook/ (accessed Jan. 24, 2018).
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                                                    DHS welcomes any public comments                      inadmissibility based on public charge                inadmissibility based on public charge
                                                  on our estimates of the total number of                 grounds.                                              grounds. Table 39 shows the classes of
                                                  individuals applying for adjustment of                  i. Exemptions From Determination of                   applicants for admission, adjustment of
                                                  status in the United States as the                      Inadmissibility Based on Public Charge                status, or registry according to statute or
                                                  primary basis for developing population                 Grounds                                               regulation that are exempt from
                                                  estimates of those who would be subject                                                                       inadmissibility based on public charge
                                                  to review for determination of                             There are exemptions and waivers for               grounds.
                                                                                                          certain classes of admission that are not
                                                                                                                                                                BILLING CODE 4410–10–P
                                                                                                          subject to review for determination of
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                                                                                                                                                                                                              EP10OC18.062</GPH>




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                                                  BILLING CODE 4410–10–C                                  as shown in table 39, leaving the total               review.707 In fiscal year 2016, for
                                                    To estimate the annual total                          population that would be subject to                   example, the total number of persons
                                                  population of individuals seeking to                    such review. Further discussion of these              who applied for an adjustment of status
                                                  adjust status who would be subject to                   exempt classes of admission can be                    across various classes of admission was
                                                  review for inadmissibility based on                     found in the preamble.                                565,427 (see table 38). After removing
                                                  public charge grounds, DHS examined                       Table 40 shows the total estimated                  individuals from this population whose
                                                  the annual total population of                          population of individuals seeking to                  classes of admission are exempt from
                                                  individuals who applied for adjustment                  adjust status under a class of admission              examination for public charge, DHS
                                                  of status for fiscal years 2012 to 2016.                that is exempt from review for                        estimates the total population of
                                                  For each fiscal year, DHS removed                       inadmissibility based on public charge                adjustment applicants in fiscal year
                                                  individuals from the population whose                   grounds for fiscal years 2012 to 2016 as              2016 that would be subject to public
                                                  classes of admission are exempt from                    well as the total estimated population                charge review for inadmissibility is
                                                  public charge review for inadmissibility,               that would be subject to public charge                382,769.708
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                                                    707 Calculation of total estimated population that    Status that is Exempt from Public Charge Review         708 Calculation of total population subject to

                                                  would be subject to public charge review: (Total        for Inadmissibility) = Total Population Subject to    public charge review for inadmissibility for fiscal
                                                  Population Applying for Adjustment of                   Public Charge Review for Inadmissibility.             year 2016: 565,427¥182,658 = 382,769.
                                                                                                                                                                                                                      EP10OC18.064</GPH>




                                                  Status)¥(Total Population Seeking Adjustment of



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                                                     DHS estimates the projected annual                   immigrants outside the United States                  from the requirement to submit an
                                                  average total population of adjustment                  who must apply for an immigrant visa                  affidavit of support from a sponsor over
                                                  applicants that would be subject to                     through consular processing at DOS                    the period fiscal year 2012 to fiscal year
                                                  public charge review for inadmissibility                consulate abroad.                                     2016.709 The table also shows the total
                                                  by DHS is 382,264. This estimate is                                                                           estimated population that was required
                                                                                                          ii. Exemptions From the Requirement
                                                  based on the 5-year average of the                                                                            to submit an affidavit of support
                                                  annual estimated total population                       To Submit an Affidavit of Support
                                                                                                                                                                showing evidence of having adequate
                                                  subject to public charge review for                        In addition to the exemptions from                 means of financial support so that an
                                                  inadmissibility from fiscal year 2012 to                inadmissibility based on public charge,               applicant would not be found
                                                  fiscal year 2016. Over this 5-year period,              certain classes of admission are exempt               inadmissible as likely to become a
                                                  the estimated population of individuals                 from the requirement to submit an
                                                                                                                                                                public charge for failure to submit a
                                                  applying for adjustment of status subject               affidavit of support for applicants for
                                                                                                                                                                sufficient affidavit of support. Further
                                                  to public charge review ranged from a                   admission, adjustment of status, or
                                                                                                                                                                discussion of these exempt classes of
                                                  low of 366,125 in fiscal year 2015 to a                 registry. Certain applicants applying for
                                                                                                          adjustment of status are required to                  admission can be found in the
                                                  high of 397,988 in fiscal year 2013.
                                                     DHS welcomes any public comments                     submit an affidavit of support from a                 preamble. The estimated annual average
                                                  on our estimates of the total population                sponsor or otherwise be found                         population of individuals seeking to
                                                  of individuals seeking to adjust status                 inadmissible as likely to become a                    adjust status who were required to
                                                  under a class of admission that is                      public charge. When an affidavit of                   submit a public charge affidavit of
                                                  exempt from review for inadmissibility                  support is submitted, a contract is                   support from a sponsor over the 5-year
                                                  based on public charge grounds as well                  established between the sponsor and the               period was 257,610. Over this 5-year
                                                  as the total population that would be                   U.S. Government to establish a legally                period, the estimated population of
                                                  subject to public charge review. DHS                    enforceable obligation to support the                 individuals required to submit a public
                                                  notes that the population estimates are                 applicant financially.                                charge affidavit of support from a
                                                  based on immigrants present in the                         Table 41 shows the estimated total                 sponsor ranged from a low of 247,011 in
                                                  United States who are applying for                      population of individuals seeking                     fiscal year 2015 to a high of 272,451 in
                                                  adjustment of status, rather than                       adjustment of status who were exempt                  fiscal year 2016.
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                                                    709 Data on the population of individuals who are     Security, Yearbook of Immigration Statistics for      Statistics. Office of Immigration Statistics. Available
                                                  applying for adjustment of status and the class of      years 2012 to 2016. See U.S. Department of            at https://www.dhs.gov/immigration-statistics/
                                                                                                                                                                                                                          EP10OC18.065</GPH>




                                                  admission come from U.S. Department of Homeland         Homeland Security. Yearbook of Immigration            yearbook/ (accessed Jan. 24, 2018).



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                                                     DHS estimates the projected annual                   (b) Population Seeking Extension of                   of stay or change of status to determine
                                                  average total population that would be                  Stay or Change of Status                              whether the applicant has demonstrated
                                                  subject to the requirement to submit an                                                                       that he or she has not received, is not
                                                                                                             Nonimmigrants in the United States
                                                  affidavit of support from a sponsor is                                                                        receiving, nor is likely to receive, public
                                                                                                          may apply for an extension of stay or
                                                  257,610. This estimate is based on the                                                                        benefits, as defined in the proposed
                                                                                                          change of status by having Form I–129
                                                  5-year average of the annual estimated                                                                        rule.710 However, DHS proposes that
                                                                                                          filed by an employer on his or her
                                                  total population of applicants applying                                                                       such determinations would not require
                                                                                                          behalf. An employer uses Form I–129 to
                                                  for adjustment of status that would be                                                                        applicants seeking extension of stay or
                                                                                                          petition USCIS for a beneficiary to enter
                                                  subject to the requirement to submit an                 the United States temporarily as a                    change of status to file Form I–944.
                                                  affidavit of support from a sponsor from                nonimmigrant to perform services or                   Instead, USCIS officers would be able to
                                                  fiscal year 2012 to fiscal year 2016. Over              labor, or to receive training. The Form               exercise discretion regarding whether it
                                                  this 5-year period, the estimated                       I–129 can also be used to request an                  would be necessary to issue a RFE
                                                  population of such individuals applying                 extension or change in status. In                     whereby an applicant would then have
                                                  for adjustment of status ranged from a                  addition, an employer may use Form I–                 to submit Form I–944.
                                                  low of 247,011 in fiscal year 2015 to a                 129CW to petition USCIS for a foreign                   Table 42 shows the total estimated
                                                  high of 272,451 in fiscal year 2016.                    national who is ineligible for another                population of beneficiaries seeking
                                                     DHS welcomes any public comments                     employment-based nonimmigrant                         extension of stay or change of status
                                                  on our estimates of the total population                classification to work as a nonimmigrant              through an employer petition using
                                                  of individuals seeking adjustment of                    in the Commonwealth of the Northern                   Form I–129 for fiscal years 2012 to 2016.
                                                  status who were exempt from the                         Mariana Islands (CNMI) temporarily as                 DHS estimated this population based on
                                                  requirement to submit an affidavit of                   a CW–1, CNMI-Only Transitional                        receipts of Form I–129 in each fiscal
                                                  support as well as the total population                 Worker. Moreover, an employer may                     year. Over this 5-year period, the
                                                  that was required to submit an affidavit                also use Form I–129CW to request an                   estimated population of individuals
                                                  of support showing evidence of having                   extension of stay or change of status for             who would be subject to a
                                                  adequate means of financial support so                  a CNMI-Only Transitional Worker.                      determination of inadmissibility on
                                                  that an applicant would not be found                       A nonimmigrant may file Form I–539                 public charge grounds ranged from a
                                                  inadmissible as likely become a public                  so long as the nonimmigrant is currently              low of 282,225 in fiscal year 2013 to a
                                                  charge for failure to submit a sufficient               in an eligible nonimmigrant category. A               high of 377,221 in fiscal year 2012. The
                                                  affidavit of support. DHS notes that the                nonimmigrant generally must submit an                 estimated average population of
                                                  population estimates are based on                       application for extension of stay or                  individuals seeking extension of stay or
                                                  immigrants present in the United States                 change of status before his or her                    change of status over the five-year
                                                  who are applying for adjustment of                      current authorized stay expires. In                   period fiscal year 2012 to 2016 was
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                                                  status, rather than immigrants outside                  addition to determining inadmissibility               336,335. DHS estimates that 336,335 is
                                                  the United States who must apply for an                 based on public charge for individuals                the average annual projected population
                                                  immigrant visa through consular                         seeking adjustment of status, DHS is                  of beneficiaries seeking extension of
                                                  processing at a U.S. Department of State                proposing to conduct reviews of                       stay or change of status through an
                                                  consulate abroad.                                       nonimmigrants who apply for extension                 employer petition using Form I–129 and
                                                                                                                                                                                                              EP10OC18.066</GPH>




                                                    710 Past or current receipt of public benefits,

                                                  alone, would not justify a finding of inadmissibility
                                                  on public charge grounds.

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                                                  therefore subject to the discretionary
                                                  RFEs for public charge determination.




                                                    Table 43 shows the total estimated                    who would be subject to a                             2012 to 2016 was 6,307. DHS estimates
                                                  population of beneficiaries seeking                     determination of inadmissibility on                   that 6,307 is the average annual
                                                  extension of stay or change of status                   public charge grounds ranged from a                   projected population of beneficiaries
                                                  through an employer petition using                      low of 5,249 in fiscal year 2013 to a high            seeking extension of stay or change of
                                                  Form I–129CW for fiscal years 2012 to                   of 8,273 in fiscal year 2016. The                     status through an employer petition
                                                  2016. DHS estimated this population                     estimated average population of                       using Form I–129CW and therefore
                                                  based on receipts of Form I–129CW in                    individuals seeking extension of stay or              subject to discretionary RFEs for public
                                                  each fiscal year. Over this 5-year period,              change of status through Form I–129CW                 charge determination.
                                                  the estimated population of individuals                 over the five-year period fiscal year
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                                                                                                                                                                                                           EP10OC18.067</GPH> EP10OC18.068</GPH>




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                                                     Table 44 shows the total estimated                   who would be subject to a                             from fiscal year 2012 to 2016 was
                                                  population of individuals seeking                       determination of inadmissibility on                   174,866. DHS estimates that 174,866 is
                                                  extension of stay or change of status                   public charge grounds ranged from a                   the average annual projected population
                                                  using Form I–539 for fiscal years 2012                  low of 149,583 in fiscal year 2013 to a               of individuals who would seek an
                                                  to 2016. DHS estimated this population                  high of 203,695 in fiscal year 2016. The              extension of stay and change of status
                                                  based on receipts of Form I–539 in each                 estimated average population of                       using Form I–539 and therefore would
                                                  fiscal year. Over this 5-year period, the               individuals seeking extension of stay or              be subject to the discretionary RFEs for
                                                  estimated population of individuals                     change of status over the 5-year period               public charge determination.




                                                    DHS welcomes any public comments                      hour ($7.25 federal minimum wage base                 many of these applicants hold positions
                                                  on our estimates of the total population                plus $3.41 weighted average benefits) as              in occupations that are likely to pay
                                                  of employers filing on behalf of                        a reasonable proxy of time valuation to               around the federal minimum wage.
                                                  individuals seeking extension of stay or                estimate the opportunity costs of time                   The federal minimum wage of $7.25
                                                  change of status using Form I–129 or                    for individuals who are applying for                  is an unweighted hourly wage that does
                                                  Form I–129CW as well as the total of                    adjustment of status and must be                      not account for worker benefits. DHS
                                                  individuals seeking extension of stay or                reviewed for determination of                         accounts for worker benefits when
                                                  change of status using Form I–539,                      inadmissibility based on public charge                estimating the opportunity cost of time
                                                  where DHS proposes that the total                       grounds.711 DHS also uses $10.66 per                  by calculating a benefits-to-wage
                                                  population using each of these forms                    hour to estimate the opportunity cost of              multiplier using the most recent
                                                  would be subject to review on a                         time for individuals who cannot or                    Department of Labor, BLS report
                                                  discretionary basis for determination of                choose not to participate in the labor                detailing the average employer costs for
                                                  inadmissibility based on public charge                  market as these individuals incur                     employee compensation for all civilian
                                                  grounds. DHS notes that the population                  opportunity costs and/or assign                       workers in major occupational groups
                                                  estimates are based on nonimmigrants                    valuation in deciding how to allocate                 and industries. DHS estimates that the
                                                  present in the United States who are                    their time. This analysis uses the federal            benefits-to-wage multiplier is 1.47 and,
                                                  applying for extension of stay or a                     minimum wage rate since                               therefore, is able to estimate the full
                                                  change of status, rather than individuals               approximately 80 percent of the total                 opportunity cost per applicant,
                                                  outside the United States who must                      number of individuals who obtained                    including employee wages and salaries
                                                  apply for a nonimmigrant visa through                   lawful permanent resident status were                 and the full cost of benefits such as paid
                                                  consular processing at a DOS consulate                  in a class of admission under family-                 leave, insurance, and retirement.713
                                                  abroad.                                                 sponsored preferences and other non-
                                                  4. Cost-Benefit Analysis                                employment-based classifications such                 Statistics, 2017. Available at https://www.dhs.gov/
                                                                                                          as diversity, refugees and asylees, and               immigration-statistics/yearbook/2016 (accessed Jan.
                                                    DHS expects this proposed rule to                                                                           24, 2018).
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                                                                                                          parolees.712 Therefore, DHS assumes                     713 The benefits-to-wage multiplier is calculated
                                                  produce costs and benefits associated
                                                                                                                                                                as follows: (Total Employee Compensation per
                                                  with the procedures for examining                          711 See 29 U.S.C. 206—Minimum wage, available
                                                                                                                                                                hour)/(Wages and Salaries per hour) = $36.32/
                                                  individuals seeking entry into the                      at https://www.gpo.gov/fdsys/pkg/USCODE-2011-         $24.77 = 1.466 = 1.47 (rounded). See Economic
                                                  United States for inadmissibility based                 title29/html/USCODE-2011-title29-chap8-               News Release, Employer Cost for Employee
                                                                                                          sec206.htm (accessed Jan. 24, 2018).                  Compensation (March 2018), U.S. Dept. of Labor,
                                                  on public charge.                                          712 See United States Department of Homeland       BLS, Table 1. Employer costs per hour worked for
                                                    For this proposed rule, DHS generally                 Security. Yearbook of Immigration Statistics: 2016,   employee compensation and costs as a percent of
                                                  uses the federal minimum wage plus                      Table 7. Washington, DC, U.S. Department of           total compensation: Civilian workers, by major
                                                                                                                                                                                                                      EP10OC18.069</GPH>




                                                  weighted average benefits of $10.66 per                 Homeland Security, Office of Immigration              occupational and industry group. June 8, 2018,



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                                                  DHS notes that there is no requirement                  hour worked and average benefits are                  appropriate basis for evaluating the
                                                  that an individual be employed in order                 $11.46 per hour.715 716                               provisions of the proposed rule. DHS
                                                  to file Form I–485 and many applicants                     DHS welcomes public comments on                    notes that costs detailed as part of the
                                                  may not be employed. Therefore, in this                 its use of $10.66 per hour as the                     baseline include all current costs
                                                  proposed rule, DHS calculates the total                 opportunity cost of time for most                     associated with completing and filing
                                                  rate of compensation for individuals                    populations of this analysis (individuals             Form I–485, including required
                                                  applying for adjustment of status as                    in a class of admission under family-                 biometrics collection and medical
                                                  $10.66 per hour in this proposed rule                   sponsored preferences and other non-                  examination (Form I–693) as well as any
                                                  using the benefits-to-wage multiplier,                  employment-based preferences) and                     affidavits of support (Forms I–864, I–
                                                  where the mean hourly wage is $7.25                     $35.78 per hour as the opportunity cost               864A, I–864EZ, and I–864W) or
                                                  per hour worked and average benefits                    of time for other populations, such as                requested fee waivers (Form I–912). As
                                                  are $3.41 per hour.714                                  those submitting an affidavit of support              noted previously in the background
                                                    However, DHS uses the unweighted                      for an immigrant seeking to adjust                    section, the source of additional costs
                                                  mean hourly wage of $24.34 per hour                     status.                                               imposed by this proposed rule would
                                                  for all occupations to estimate the                                                                           come from the proposed requirements to
                                                  opportunity cost of time for some                       (a) Baseline Estimate of Current Costs
                                                                                                                                                                submit Form I–944 detailing
                                                  populations in this economic analysis,                     The baseline estimate of current costs             information about an applicant
                                                  such as those submitting an affidavit of                is the best assessment of costs and                   regarding factors such as age, health,
                                                  support for an immigrant seeking to                     benefits absent the proposed action. For              family status, finances, and education
                                                  adjust status and those requesting                      this proposed rule, DHS estimates the                 and skills. These costs are analyzed later
                                                  extension of stay or change of status. For              baseline according to current operations              in this economic analysis.
                                                  populations such as this, DHS assumes                   and requirements and to that compares                    Table 45 shows the estimated
                                                  that individuals are dispersed                          the estimated costs and benefits of the               population and annual costs of filing for
                                                  throughout the various occupational                     provisions set forth in the proposed                  adjustment of status and requesting an
                                                  groups and industry sectors of the U.S.                 rule. Therefore, DHS defines the                      extension of stay or change of status for
                                                  economy. For the population submitting                  baseline by assuming ‘‘no change’’ to                 the proposed rule. These costs primarily
                                                  an affidavit of support, therefore, DHS                 DHS regulations to establish an                       result from the process of applying for
                                                  calculates the average total rate of                                                                          adjustment of status, including filing
                                                  compensation as $35.78 per hour, where                    715 The national mean hourly wage across all
                                                                                                                                                                Form I–485 and Form I–693 as well as,
                                                  the mean hourly wage is $24.34 per                      occupations is reported to be $24.34. See             if necessary, an affidavit of support and/
                                                                                                          Occupational Employment and Wage Estimates
                                                  available at https://www.bls.gov/news.release/          United States. May 2017. Department of Labor, BLS,    or Form I–912. The costs are derived
                                                  archives/ecec_06082018.pdf (viewed June 20,             Occupational Employment Statistics program;           from the process of applying for
                                                  2018).                                                  available at https://www.bls.gov/oes/2017/may/oes_    extension of stay or change of status,
                                                    714 The calculation of the weighted federal           nat.htm.                                              including filing Form I–129, Form I–
                                                  minimum hourly wage for applicants: $7.25 per             716 The calculation of the weighted mean hourly

                                                  hour * 1.47 benefits-to-wage multiplier = $10.658       wage for applicants: $24.34 per hour * 1.47 =
                                                                                                                                                                129CW, or Form I–539.
                                                  = $10.66 (rounded) per hour.                            $35.779 = $35.78 (rounded) per hour.                  BILLING CODE 4410–10–P
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                                                  i. Determination of Inadmissibility                     by attending a biometrics services                       incur travel costs related to biometrics
                                                  Based on Public Charge Grounds                          appointment at a designated USCIS                        collection. The cost of travel related to
                                                  a. Form I–485, Application To Register                  Application Support Center (ASC). The                    biometrics collection would equal
                                                  Permanent Residence or Adjust Status                    biometrics services processing fee is                    $27.25 per trip, based on the 50-mile
                                                                                                          $85.00 per applicant. Therefore, DHS                     roundtrip distance to an ASC and the
                                                     The basis of the quantitative costs                  estimates that the annual cost associated                General Services Administration’s
                                                  estimated for this proposed rule is the                 with biometrics services processing for                  (GSA) travel rate of $0.545 per mile.726
                                                  cost of filing for adjustment of status                 the estimated average annual population                  DHS assumes that each applicant would
                                                  using Form I–485, the opportunity cost                  of 382,264 individuals applying for                      travel independently to an ASC to
                                                  of time for completing this form, any                   adjustment of status is approximately                    submit his or her biometrics, meaning
                                                  other required forms, and any other                     $32,492,440.721                                          that this rule would impose a travel cost
                                                  incidental costs (e.g., travel costs) an                   In addition to the biometrics services                on each of these applicants. Therefore,
                                                  individual must bear that are required                  fee, the applicant would incur the costs                 DHS estimates that the total annual cost
                                                  in the filing process. DHS reiterates that              to comply with the biometrics                            associated with travel related to
                                                  costs examined in this section are not                  submission requirement as well as the                    biometrics collection for the estimated
                                                  additional costs that would be imposed                  opportunity cost of time for traveling to                average annual population of 382,264
                                                  by the proposed rule, but costs that                    an ASC, the mileage cost of traveling to                 individuals applying for adjustment of
                                                  applicants currently incur as part of the               an ASC, and the opportunity cost of                      status is approximately $10,416,694.727
                                                  application process to adjust status. The               time for submitting his or her                              In sum, DHS estimates the total
                                                  current filing fee for Form I–485 is                    biometrics. While travel times and                       current annual cost for filing Form I–
                                                  $1,140. The fee is set at a level to                    distances vary, DHS estimates that an                    485 is $519,114,512. The total current
                                                  recover the processing costs to DHS. As                 applicant’s average roundtrip distance                   annual costs include Form I–485 filing
                                                  previously discussed in the population                  to an ASC is 50 miles and takes 2.5                      fees, biometrics services fees,
                                                  section, the estimated average annual                   hours on average to complete the trip.722                opportunity cost of time for completing
                                                  population of individuals who apply for                 Furthermore, DHS estimates that an                       Form I–485 and submitting biometrics
                                                  adjustment of status using Form I–485 is                applicant waits an average of 1.17 hours                 information, and travel cost associated
                                                  382,264. Therefore, DHS estimates that                  for service and to have his or her                       with biometrics collection.728 DHS
                                                  the annual filing cost associated for                   biometrics collected at an ASC, adding                   notes that a medical examination is
                                                  Form I–485 is approximately                             up to a total biometrics-related time                    generally required as part of the
                                                  $435,780,960.717                                        burden of 3.67 hours.723 Using the total                 application process to adjust status.
                                                     DHS estimates the time burden of                     rate of compensation of minimum wage                     Costs associated with the medical
                                                  completing Form I–485 is 6.25 hours per                 of $10.66 per hour, DHS estimates the                    examination are detailed in the next
                                                  response, including the time for                        opportunity cost of time for completing                  section. Moreover, costs associated with
                                                  reviewing instructions, gathering the                   the biometrics collection requirements                   submitting an affidavit of support and
                                                  required documentation and                              for Form I–485 is $39.12 per                             requesting a fee waiver are also detailed
                                                  information, completing the application,                applicant.724 Therefore, using the total                 in subsequent sections since such costs
                                                  preparing statements, attaching                         population estimate of 382,264 annual                    are not required for every individual
                                                  necessary documentation, and                            filings for Form I–485, DHS estimates                    applying for an adjustment of status.
                                                  submitting the application.718 Using the                the total opportunity cost of time
                                                  total rate of compensation for minimum                  associated with completing the                           b. Form I–693, Report of Medical
                                                  wage of $10.66 per hour, DHS estimates                  biometrics collection requirements for                   Examination and Vaccination Record
                                                  the opportunity cost of time for                        Form I–485 is approximately                                 USCIS requires most applicants who
                                                  completing and submitting Form I–485                    $14,954,168 annually.725                                 file Form I–485 seeking adjustment of
                                                  would be $66.63 per applicant.719                          In addition to the opportunity cost of                status to submit Form I–693 completed
                                                  Therefore, using the total population                   providing biometrics, applicants would                   by a designated civil surgeon. Form I–
                                                  estimate of 382,264 annual filings for                                                                           693 is used to report results of a medical
                                                  Form I–485, DHS estimates the total                        721 Calculation: Biometrics services processing fee
                                                                                                                                                                   examination to USCIS. For this analysis,
                                                  opportunity cost of time associated with                ($85) * Estimated annual population filing Form I–
                                                                                                          485 (382,264) = $32,492,440 annual cost for              DHS assumes that all individuals who
                                                  completing Form I–485 is                                associated with Form I–485 biometrics services           apply for adjustment of status using
                                                  approximately $25,470,250 annually.720                  processing.                                              Form I–485 are required to submit Form
                                                     USCIS requires applicants who file                      722 See ‘‘Employment Authorization for Certain
                                                                                                                                                                   I–693. DHS reiterates that costs
                                                  Form I–485 to submit biometric                          H–4 Dependent Spouses; Final rule,’’ 80 FR 10284
                                                                                                                                                                   examined in this section are not
                                                                                                          (25 Feb. 2015); and ‘‘Provisional and Unlawful
                                                  information (fingerprints and signature)                Presence Waivers of Inadmissibility for Certain
                                                                                                          Immediate Relatives; Final Rule,’’ 78 FR 536, 572           726 See U.S. General Services Administration
                                                    717 Calculation:  Form I–485 filing fee ($1,140) *    (3 Jan. 2013).                                           website for Privately Owned Vehicle (POV) Mileage
                                                  Estimated annual population filing Form I–485              723 Source for biometric time burden estimate:        Reimbursement Rates, https://www.gsa.gov/travel/
                                                  (382,264) = $435,780,960 annual cost for filing         Paperwork Reduction Act (PRA) Supporting                 plan-book/transportation-airfare-rates-pov-rates-
                                                  Form I–485.                                             Statement for Form I–485 (OMB control number             etc/privately-owned-vehicle-pov-mileage-
                                                     718 Source: Paperwork Reduction Act (PRA)            1615–0023). The PRA Supporting Statement can be          reimbursement-rates (accessed January 7, 2018).
                                                  Supporting Statement for Form I–485 (OMB control        found at Question 12 on Reginfo.gov at https://             727 Calculation: (Biometrics collection travel
                                                  number 1615–0023). The PRA Supporting                   www.reginfo.gov/public/do/                               costs) * (Estimated annual population filing Form
                                                  Statement can be found at Question 12 on                PRAViewDocument?ref_nbr=201706-1615-001.                 I–485) = $27.25 * 382,264 = $10,416,694 annual
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                                                  Reginfo.gov at https://www.reginfo.gov/public/do/          724 Calculation for opportunity cost of time to       travel costs related to biometrics collection for Form
                                                  PRAViewDocument?ref_nbr=201706-1615-001.                comply with biometrics submission for Form I–485:        I–485.
                                                     719 Calculation for opportunity cost of time for     ($10.66 per hour * 3.67 hours) = $39.12 (rounded)           728 Calculation: $435,780,960 (Annual filing fees
                                                  filing Form I–485: ($10.66 per hour * 6.25 hours)       per applicant.                                           for Form I–485) + $25,470,250 (Opportunity cost of
                                                  = $66.625 = $66.63 (rounded) per applicant.                725 Calculation: Estimated opportunity cost of        time for filing Form I–485) + $32,492,440
                                                     720 Calculation: Form I–485 estimated                time to comply with biometrics submission for            (Biometrics services fees) + $14,954,168
                                                  opportunity cost of time ($66.63) * Estimated           Form I–485 ($39.12) * Estimated annual population        (Opportunity cost of time for biometrics collection
                                                  annual population filing Form I–485 (382,264) =         filing Form I–485 (382,264) = $14,954,167.68 =           requirements) + $10,416,694 (Travel costs for
                                                  $25,470,250.13 = $25,470,250 (rounded) annual           $14,954,168 (rounded) annual opportunity cost of         biometrics collection) = $519,114,512 total current
                                                  opportunity cost of time for filing Form I–485.         time for filing Form I–485.                              annual cost for filing Form I–485.



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                                                  additional costs that would be imposed                  understanding and completing the form,                 a fee waiver when filing Form I–485. An
                                                  by the proposed rule, but costs that                    setting an appointment with a civil                    applicant who is unable to pay the filing
                                                  applicants currently incur as part of the               surgeon for a medical exam, sitting for                fees or biometric services fees for an
                                                  application process to adjust status. The               the medical exam, learning about and                   application or petition may be eligible
                                                  medical examination is required to                      understanding the results of medical                   for a fee waiver by filing Form I–912. If
                                                  establish that an applicant is not                      tests, allowing the civil surgeon to                   an applicant’s Form I–912 is approved,
                                                  inadmissible to the United States on                    report the results of the medical exam                 USCIS, as a component of DHS, will
                                                  health-related grounds. While there is                  on the form, and submitting the medical                waive both the filing fee and biometric
                                                  no filing fee associated with Form I–                   exam report to USCIS.732 DHS estimates                 services fee. Therefore, DHS assumes for
                                                  693, the applicant is responsible for                   the opportunity cost of time for                       the purposes of this economic analysis
                                                  paying all costs of the medical                         completing and submitting Form I–693                   that the filing fees and biometric
                                                  examination, including the cost of any                  is $26.65 per applicant based on the                   services fees required for Form I–485 are
                                                  follow-up tests or treatment that is                    total rate of compensation of minimum                  waived if an approved Form I–912
                                                  required, and must make payments                        wage of $10.66 per hour.733 Therefore,                 accompanies the application. Filing
                                                  directly to the civil surgeon or other                  using the total population estimate of                 Form I–912 is not required for
                                                  health care provider. In addition,                      382,264 annual filings for Form I–485,                 applications and petitions that do not
                                                  applicants bear the opportunity cost of                 DHS estimates the total opportunity cost               have a filing fee. DHS also notes that
                                                  time for completing the medical exam                    of time associated with completing and                 costs examined in this section are not
                                                  form as well as sitting for the medical                 submitting Form I–693 is approximately                 additional costs that would be imposed
                                                  exam and the time waiting to be                         $10,187,336 annually.734                               by the proposed rule, but costs that
                                                  examined.                                                  In addition to the cost of a medical                applicants currently could incur as part
                                                    USCIS does not regulate the fees                      exam and the opportunity cost of time                  of the application process to adjust
                                                  charged by civil surgeons for the                       associated with completing and                         status.
                                                  completion of a medical examination. In                 submitted Form I–693, applicants must                     Table 46 shows the estimated
                                                  addition, medical examination fees vary                 bear the cost of postage for sending the               population of individuals that requested
                                                  by physician. DHS notes that the cost of                Form I–693 package to USCIS. DHS                       a fee waiver (Form I–912), based on
                                                  the medical examinations may vary                       estimates that each applicant will incur               receipts, when applying for adjustment
                                                  widely, from as little as $20 to as much                an estimated average cost of $3.75 in                  of status in fiscal years 2012 to 2016, as
                                                  as $1,000 per respondent (including                     postage to submit the completed                        well as the number of requests that were
                                                  vaccinations to additional medical                      package to USCIS.735 DHS estimates the                 approved or denied each fiscal year.
                                                  evaluations and testing that may be                     total annual cost in postage based on the              During this period, the number of
                                                  required based on the medical                           total population estimate of 382,264                   individuals who requested a fee waiver
                                                  conditions of the applicant).729 DHS                    annual filings for Form I–693 is                       when applying for adjustment of status
                                                  estimates that the average cost for these               $1,433,490.736                                         ranged from a low of 42,126 in fiscal
                                                  activities is $490 and that all applicants                 In sum, DHS estimates the total                     year 2012 to a high of 76,616 in fiscal
                                                  would incur this cost.730 Since DHS                     current annual cost for filing Form I–                 year 2016. In addition, the estimated
                                                  assumes that all applicants who apply                   693 is $198,930,186. The total current                 average population of individuals
                                                  for adjustment of status using Form I–                  annual costs include medical exam                      applying to adjust status who requested
                                                  485 must also submit Form I–693, DHS                    costs, the opportunity cost of time for                a fee waiver for Form I–485 over the 5-
                                                  estimates that based on the estimated                   completing Form I–693, and cost of                     year period fiscal year 2012 to 2016 was
                                                  average annual population of 382,264                    postage to mail the Form I–693 package                 58,558. DHS estimates that 58,558 is the
                                                  the annual cost associated with filing                  to USCIS.737                                           average annual projected population of
                                                  Form I–693 is $187,309,360.731                                                                                 individuals who would request a fee
                                                    DHS estimates the time burden                         c. Form I–912, Request for Fee Waiver                  waiver using Form I–912 when filing
                                                  associated with filing Form I–693 is 2.5                  Some applicants seeking an                           Form I–485 to apply for an adjustment
                                                  hours per applicant, which includes                     adjustment of status may be eligible for               of status.738




                                                    729 Source for medical exam cost range:               Medical Examination and Vaccination Record             www.reginfo.gov/public/do/
                                                  Paperwork Reduction Act (PRA) Report of Medical         (Form I–693) (OMB control number 1615–0033).           PRAViewDocument?ref_nbr=201609-1615-004.
                                                  Examination and Vaccination Record (Form I–693)         The PRA Supporting Statement can be found at              736 Calculation: (Form I–693 estimated cost of
                                                  (OMB control number 1615–0033). The PRA                 Question 12 on Reginfo.gov at https://
                                                                                                                                                                 postage) * (Estimated annual population filing Form
                                                  Supporting Statement can be found at Question 13        www.reginfo.gov/public/do/PRAViewDocument?
                                                  on Reginfo.gov at https://www.reginfo.gov/public/       ref_nbr=201609-1615-004.                               I–693) = $3.75 * 382,264 = $1,433,490 annual cost
                                                  do/PRAViewDocument?ref_nbr=201609-1615-004.                733 Calculation for medical exam opportunity cost   in postage for filing Form I–693.
                                                    730 Source for medical exam cost estimate:                                                                      737 Calculation: $187,309,360 (Medical exam
                                                                                                          of time: ($10.66 per hour * 2.5 hours) = $26.65 per
                                                  Paperwork Reduction Act (PRA) Report of Medical         applicant.                                             costs) + $10,187,336 (Opportunity cost of time for
                                                  Examination and Vaccination Record (Form I–693)            734 Calculation: (Estimated medical exam            Form I–693) + $1,433,490 (Postage costs for
                                                  (OMB control number 1615–0033). The PRA                 opportunity cost of time for Form I–693) *             biometrics collection) = $198,930,186 total current
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                                                  Supporting Statement can be found at Question 13        (Estimated annual population filing Form I–485) =      annual cost for filing Form I–693.
                                                  on Reginfo.gov at https://www.reginfo.gov/public/       $26.65 * 382,264 = $10,187,335.60 = $10,187,336           738 DHS notes that the estimated population of
                                                  do/PRAViewDocument?ref_nbr=201609-1615-004.             (rounded) annual opportunity cost of time for filing
                                                    731 Calculation: (Estimated medical exam cost for                                                            individuals who would request a fee waiver for
                                                                                                          Form I–485.
                                                  Form I–693) * (Estimated annual population filing          735 Source for medical exam form package postage    filing Form I–485 includes all visa classifications
                                                  Form I–485) = $490 * 382,264 = $187,309,360             cost estimate: Paperwork Reduction Act (PRA)           for those applying for adjustment of status. We are
                                                  annual estimated medical exam costs for Form I–         Report of Medical Examination and Vaccination          unable to determine the number of fee waiver
                                                  693.                                                    Record (Form I–693) (OMB control number 1615–          requests for filing Form I–485 that are associated
                                                    732 Source for medical exam time burden               0033). The PRA Supporting Statement can be found       with specific visa classifications that are subject to
                                                  estimate: Paperwork Reduction Act (PRA) Report of       at Question 13 on Reginfo.gov at https://              public charge review.



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                                                    To provide a reasonable proxy of time                 58,558 requests for a fee waiver for                  d. Affidavit of Support Forms
                                                  valuation for applicants, as described                  Form I–485, DHS estimates the total                      As previously discussed, submitting
                                                  previously, DHS assumes that                            opportunity cost of time associated with              an affidavit of support using Form I–864
                                                  applicants requesting a fee waiver for                  completing and submitting Form I–912                  is required for most family-based
                                                  Form I–485 earn the total rate of                       is approximately $730,218 annually.741                immigrants and some employment-
                                                  compensation for individuals applying
                                                                                                             In addition to the opportunity cost of             based immigrants to show that they
                                                  for adjustment of status as $10.66 per
                                                                                                          time associated with completing and                   have adequate means of financial
                                                  hour, where the value of $10.66 per
                                                                                                          submitting Form I–912, applicants must                support and are not likely to become a
                                                  hour represents the federal minimum
                                                                                                          bear the cost of postage for sending the              public charge. Additionally, Form I–864
                                                  wage with an upward adjustment for
                                                                                                          Form I–912 package to USCIS. DHS                      includes attachment Form I–864A
                                                  benefits. The analysis uses this wage
                                                                                                          estimates that each applicant will incur              which may be filed when a sponsor’s
                                                  rate because DHS expects that
                                                                                                          an estimated average cost of $3.75 in                 income and assets do not meet the
                                                  applicants who request a fee waiver are
                                                                                                          postage to submit the completed                       income requirements of Form I–864 and
                                                  asserting that they are unable to afford
                                                                                                          package to USCIS.742 DHS estimates the                the qualifying household member
                                                  to pay the USCIS filing fee. As a result,
                                                                                                          annual cost in postage based on the total             chooses to combine his or her resources
                                                  DHS expects such applicants to hold
                                                                                                          population estimate of 58,558 annual                  with the income and/or assets of a
                                                  positions in occupations that have a
                                                                                                                                                                sponsor to meet those requirements.
                                                  wage below the mean hourly wage                         approved requests for a fee waiver for
                                                                                                                                                                Some sponsors for intending immigrants
                                                  across all occupations. DHS also notes                  Form I–485 is $219,593.743
                                                                                                                                                                may be able to file an affidavit of
                                                  that this proposed rule may reduce the                     In sum, DHS estimates the total                    support using Form I–864EZ, provided
                                                  number of fee waiver requests received,                 current annual cost for filing a fee                  certain criteria are met. Moreover,
                                                  but, at this time, we cannot determine                  waiver request (Form I–912) for Form I–               certain classes of immigrants currently
                                                  the extent to which this will occur.                    485 is $949,811. The total current                    are exempt from the requirement to file
                                                    DHS estimates the time burden                         annual costs include the opportunity                  Form I–864 or Form I–864EZ and
                                                  associated with filing Form I–912 is 1                  cost of time for completing Form I–912                therefore must file Form I–864W,
                                                  hour and 10 minutes per applicant (1.17                 and cost of postage to mail the Form I–               Request for Exemption for Intending
                                                  hours), including the time for reviewing                912 package to USCIS.744                              Immigrant’s Affidavit of Support.
                                                  instructions, gathering the required                                                                          However, DHS proposes to eliminate
                                                  documentation and information,                             741 Calculation: (Estimated opportunity cost of    Form I–864W, and instead individuals
                                                  completing the request, preparing                       time for Form I–912) * (Estimated annual              would be required to provide the
                                                  statements, attaching necessary                         population of approved Form I–912) = $12.47 *         information previously requested on the
                                                  documentation, and submitting the                       58,558 = $730,218.26 = $730,218 (rounded) annual
                                                                                                                                                                Form I–864W using Form I–485. Based
                                                  request.739 Therefore, using $10.66 per                 opportunity cost of time for filing Form I–944 that
                                                                                                          are approved.                                         on the information provided in the
                                                  hour as the total rate of compensation,                    742 Source for fee waiver postage cost estimate:   Form I–485, an officer can verify
                                                  DHS estimates the opportunity cost of                   Paperwork Reduction Act (PRA) Request for Fee         whether an immigrant is statutorily
                                                  time for completing and submitting                      Waiver (Form I–912) (OMB control number 1615–
                                                                                                                                                                required to file an affidavit of support.
                                                  Form I–912 is $12.47 per applicant.740                  0116). The PRA Supporting Statement can be found
                                                                                                          at Question 13 on Reginfo.gov at https://                There is no filing fee associated with
                                                  Using the total population estimate of                  www.reginfo.gov/public/do/                            filing Form I–864 with USCIS. However,
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                                                                                                          PRAViewDocument?ref_nbr=201506-1615-006.              DHS estimates the time burden
                                                     739 Source for fee waiver time burden estimate:         743 Calculation: (Form I–912 estimated cost of
                                                                                                                                                                associated with a sponsor filing Form I–
                                                  Paperwork Reduction Act (PRA) Request for Fee           postage) * (Estimated annual population of
                                                  Waiver (Form I–912) (OMB control number 1615–           approved Form I–912) = $3.75 * 58,558 =               864 is 6 hours per petitioner, including
                                                  0116). The PRA Supporting Statement can be found        $219,592.50 = $219,593 (rounded) annual cost in       the time for reviewing instructions,
                                                  at Question 12 on Reginfo.gov at https://               postage for filing Form I–912 that is approved.       gathering the required documentation
                                                  www.reginfo.gov/public/do/                                 744 Calculation: $730,218 (Opportunity cost of
                                                                                                                                                                and information, completing the
                                                  PRAViewDocument?ref_nbr=201506-1615-006.                time for Form I–912) + $219,593 (Postage costs for
                                                     740 Calculation for fee waiver opportunity cost of   biometrics collection) = $949,811 total current
                                                                                                                                                                affidavit, preparing statements,
                                                                                                                                                                attaching necessary documentation, and
                                                                                                                                                                                                            EP10OC18.071</GPH>




                                                  time: ($10.66 per hour * 1.17 hours) = $12.47.          annual cost for filing Form I–912.



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                                                  submitting the affidavit.745 Therefore,                 DHS assumes the average total rate of                 cost of time for completing and
                                                  using the average total rate of                         compensation used for calculating the                 submitting Form I–864EZ will be $35.78
                                                  compensation of $35.78 per hour, DHS                    opportunity cost of time for Form I–864               per petitioner.753 However, DHS notes
                                                  estimates the opportunity cost of time                  since both the sponsor and another                    that we are unable to determine the
                                                  for completing and submitting Form I–                   household member agree to provide                     number filings of Form I–864W and,
                                                  864 would be $214.68 per petitioner.746                 financial support to an immigrant                     therefore, rely on the annual cost
                                                  DHS assumes that the average rate of                    seeking to adjust status. However, the                estimate developed for Form I–864.
                                                  total compensation used to calculate the                household member also may be the                      Moreover, the proposed rule would
                                                  opportunity cost of time for Form I–864                 intending immigrant. While Form I–                    eliminate Form I–864W as a form for
                                                  is appropriate since the sponsor of an                  864A must be filed with Form I–864,                   use in filing an affidavit of support.
                                                  immigrant, who is agreeing to provide                   DHS notes that we are unable to                       Filers who would have been required to
                                                  financial and material support, is                      determine the number filings of Form I–               file Form I–864W instead would be
                                                  instructed to complete and submit the                   864A since not all individuals filing I–              instructed to provide the information
                                                  form. Using the estimated annual total                  864 need to file Form I–864A with a                   previously requested on the Form I–
                                                  population of 257,610 individuals                       household member.                                     864W using Form I–485, as amended by
                                                  seeking to adjust status who are                           As with Form I–864, there is no filing             this proposed rule. Based on the
                                                  required to submit an affidavit of                      fee associated with filing Form I–864EZ               information provided in the Form I–485,
                                                  support using Form I–864, DHS                           with USCIS. However, DHS estimates                    an officer could verify whether an
                                                  estimates the opportunity cost of time                  the time burden associated with filing                immigrant is statutorily required to file
                                                  associated with completing and                          Form I–864EZ is 2 hours and 30                        an affidavit of support.
                                                  submitting Form I–864 is $55,303,715                    minutes (2.5 hours) per petitioner,                      DHS is also proposing to amend the
                                                  annually.747 DHS estimates this amount                  including the time for reviewing                      HHS Poverty Guidelines for Affidavit of
                                                  as the total current annual cost for filing             instructions, gathering the required                  Support (Form I–864P), by removing
                                                  Form I–864, as required when applying                   documentation and information,                        certain language describing means-
                                                  to adjust status.                                       completing the affidavit, preparing                   tested public benefits. Form I–864P is
                                                     There is also no filing fee associated               statements, attaching necessary                       used to determine the minimum level of
                                                  with filing Form I–864A with USCIS.                     documentation, and submitting the                     income required to sponsor most family-
                                                  However, DHS estimates the time                         affidavit.750 Therefore, using the average            based immigrants and some
                                                  burden associated with filing Form I–                   total rate of compensation of $35.78 per              employment-based immigrants. These
                                                  864A is 1 hour and 45 minutes (1.75                     hour, DHS estimates the opportunity                   income requirements are to show that a
                                                  hours) per petitioner, including the time               cost of time for completing and                       sponsor has adequate means of financial
                                                  for reviewing instructions, gathering the               submitting Form I–864EZ will be $89.45                support and is not likely to rely on the
                                                  required documentation and                              per petitioner.751 However, DHS notes                 government for financial support. Form
                                                  information, completing the contract,                   that we are unable to determine the                   I–864P is for informational purposes
                                                  preparing statements, attaching                         number filings of Form I–864EZ and,                   and used for completing Form I–864.
                                                  necessary documentation, and                            therefore, rely on the annual cost                    DHS does not anticipate additional costs
                                                  submitting the contract.748 Therefore,                  estimate developed for Form I–864.                    or benefits as a result of any proposed
                                                  using the average total rate of                            There is also no filing fee associated             changes to Form I–864P.
                                                  compensation of $35.78 per hour, DHS                    with filing Form I–864W with USCIS.
                                                                                                                                                                ii. Consideration of Receipt, or
                                                  estimates the opportunity cost of time                  However, DHS estimates the time
                                                                                                                                                                Likelihood of Receipt of Public Benefits
                                                  for completing and submitting Form I–                   burden associated with filing this form
                                                                                                                                                                Defined in Proposed 212.21(b) for
                                                  864A will be $62.62 per petitioner.749                  is 60 minutes (1 hour) per petitioner,
                                                                                                                                                                Applicants Requesting Extension of Stay
                                                                                                          including the time for reviewing
                                                                                                                                                                or Change of Status
                                                     745 Source for I–864 time burden estimate:
                                                                                                          instructions, gathering the required
                                                  Paperwork Reduction Act (PRA) Affidavit of              documentation and information,                           Nonimmigrants in the United States
                                                  Support Under Section 213A of the INA (Forms I–                                                               may apply for extension of stay or
                                                  864, I–864A, I–864EZ, I–864W) (OMB control              completing the request, preparing
                                                  number 1615–0075). The PRA Supporting                   statements, attaching necessary                       change of status by either having an
                                                  Statement can be found at Question 12 on                documentation, and submitting the                     employer file Form I–129 or Form I–
                                                  Reginfo.gov at https://www.reginfo.gov/public/do/       request.752 Therefore, using the average              129CW, as applicable, on his or her
                                                  PRAViewDocument?ref_nbr=201705-1615-004.                                                                      behalf, or by filing Form I–539, so long
                                                     746 Calculation opportunity cost of time for
                                                                                                          total rate of compensation of $35.78 per
                                                  completing and submitting Form I–864, Affidavit of      hour, DHS estimates the opportunity                   as the nonimmigrant is currently in an
                                                  Support Under Section 213A of the INA: ($35.78                                                                eligible nonimmigrant category. This
                                                  per hour * 6.0 hours) = $214.68 per applicant.            750 Source for I–864EZ time burden estimate:        proposed rule seeks to require
                                                     747 Calculation: (Form I–864 estimated               Paperwork Reduction Act (PRA) Affidavit of            nonimmigrants who are seeking
                                                  opportunity cost of time) * (Estimated annual           Support Under Section 213A of the INA (Forms I–       extension of stay or change of status to
                                                  population filing Form I–864) = $214.68 * 257,610       864, I–864A, I–864EZ, I–864W) (OMB control
                                                  = $55,303,714.80 = $55,303,715 (rounded) total          number 1615–0075). The PRA Supporting                 demonstrate that they have not
                                                  annual opportunity cost of time for filing Form I–      Statement can be found at Question 12 on              previously received, are not currently
                                                  864.                                                    Reginfo.gov at https://www.reginfo.gov/public/do/     receiving, nor are likely to receive
                                                     748 Source for I–864A time burden estimate:          PRAViewDocument?ref_nbr=201705-1615-004.              public benefits in the future, as defined
                                                  Paperwork Reduction Act (PRA) Affidavit of                751 Calculation opportunity cost of time for

                                                  Support Under Section 213A of the INA (Forms I–         completing and submitting Form I–864EZ, Affidavit
                                                                                                                                                                in this rule in 8 CFR 212.21(b. DHS also
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                                                  864, I–864A, I–864EZ, I–864W) (OMB control              of Support Under Section 213A of the INA: ($35.78     notes that costs examined in this section
                                                  number 1615–0075). The PRA Supporting                   per hour * 2.5 hours) = $89.45.                       are not additional costs that would be
                                                  Statement can be found at Question 12 on                  752 Source for I–864W time burden estimate:
                                                                                                                                                                imposed by the proposed rule, but costs
                                                  Reginfo.gov at https://www.reginfo.gov/public/do/       Paperwork Reduction Act (PRA) Affidavit of
                                                  PRAViewDocument?ref_nbr=201705-1615-004.
                                                                                                                                                                that petitioners and applicants currently
                                                                                                          Support Under Section 213A of the INA (Forms I–
                                                     749 Calculation opportunity cost of time for         864, I–864A, I–864EZ, I–864W) (OMB control            would incur as part of the application
                                                  completing and submitting Form I–864A, Contract         number 1615–0075). The PRA Supporting
                                                  Between Sponsor and Household Member: ($35.78           Statement can be found at Question 12 on                753 Calculation opportunity cost of time for

                                                  per hour * 1.75 hours) = $62.615 = $62.62               Reginfo.gov at https://www.reginfo.gov/public/do/     completing and submitting Form I–864W: ($35.78
                                                  (rounded) per petitioner.                               PRAViewDocument?ref_nbr=201705-1615-004.              per hour * 1.0 hours) = $35.78.



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                                                  process to request an extension of stay                 annual cost in postage based on the total              average total rate of compensation of
                                                  or change of status.                                    population estimate of 336,335 annual                  $35.78 per hour, DHS estimates the
                                                                                                          filings for Form I–129 is approximately                opportunity cost of time for completing
                                                  a. Form I–129, Petition for a
                                                                                                          $1,261,256.759                                         and submitting Form I–129CW will be
                                                  Nonimmigrant Worker                                        In sum, DHS estimates the total                     $107.34 per petitioner.764 Therefore,
                                                     The current filing fee for Form I–129                current annual cost for filing Form I–                 using the total population estimate of
                                                  is $460.00. The fee is set at a level to                129 is $184,136,686. The total current                 6,307 annual filings for Form I–129CW,
                                                  recover the processing costs to DHS. As                 annual costs include Form I–129 filing                 DHS estimates the total opportunity cost
                                                  previously discussed, the estimated                     fees, opportunity cost of time for                     of time associated with completing and
                                                  average annual population of employers                  completing Form I–129, and cost of                     submitting Form I–129CW is
                                                  filing on behalf of nonimmigrant                        postage to mail the Form I–129 package                 approximately $676,993 annually.765
                                                  workers seeking EOS/COS using Form                      to USCIS.760
                                                                                                                                                                    In sum, DHS estimates the total
                                                  I–129 is 336,335. Therefore, DHS                        b. Form I–129CW, Petition for a CNMI-                  current annual cost for filing Form I–
                                                  estimates that the annual cost associated               Only Nonimmigrant Transitional                         129CW is $5,154,963. The total current
                                                  with filing Form I–129 is approximately                 Worker                                                 annual costs include Form I–129CW
                                                  $154,714,100.754
                                                                                                             The current filing fee for Form I–                  filing fees and opportunity cost of time
                                                     DHS estimates the time burden for
                                                                                                          129CW is $460.00. The fee is set at a                  for completing Form I–129.766
                                                  completing Form I–129 is 2 hours and
                                                  20 minutes (2.34 hours), including the                  level to recover the processing costs to               c. Form I–539, Application To Extend/
                                                  time for reviewing instructions,                        DHS. In addition, an employer filing                   Change Nonimmigrant Status
                                                  gathering the required documentation                    Form I–129CW for a CNMI-Only
                                                  and information, completing the                         Nonimmigrant Transitional Worker                          The current filing fee for Form I–539
                                                  request, preparing statements, attaching                must submit an additional $200 for a                   is $370 per application.767 The fee is set
                                                  necessary documentation, and                            supplemental CNMI education fee per                    at a level to recover the processing costs
                                                  submitting the request.755 Using the                    beneficiary, per year and a $50 fee for                to DHS. As previously discussed, the
                                                  average total rate of compensation of                   fraud prevention and detection with                    estimated average annual population
                                                  $35.78 per hour, DHS estimates the                      each petition. Thus, the total fees                    seeking EOS/COS using Form I–539 is
                                                  opportunity cost of time for completing                 associated with filing Form I–129CW is                 174,866. Therefore, DHS estimates that
                                                  and submitting Form I–129 will be                       $710 per beneficiary.761 As previously                 the annual cost associated with filing
                                                  $83.73 per petitioner.756 Therefore,                    discussed, the estimated average annual                Form I–539 is approximately
                                                  using the total population estimate of                  population of employers filing on behalf               $64,700,420.768
                                                  336,335 annual filings for Form I–129,                  of nonimmigrant workers seeking EOS/
                                                                                                          COS using Form I–129CW is 6,307.                          DHS estimates the time burden for
                                                  DHS estimates the total opportunity cost                                                                       completing Form I–539 is 1 hour and 53
                                                                                                          Therefore, DHS estimates that the
                                                  of time associated with completing and                                                                         minutes (1.88 hours), including the time
                                                                                                          annual cost associated with filing Form
                                                  submitting Form I–129 is approximately                                                                         necessary to read all instructions for the
                                                                                                          I–129 is approximately $4,477,970.762
                                                  $28,161,330 annually.757                                   DHS estimates the time burden for                   form, gather all documents required to
                                                     In addition to the filing fee and the                completing Form I–129CW is 3 hours                     complete the collection of information,
                                                  opportunity cost of time associated with                (3.0 hours), including the time for                    obtain translated documents if
                                                  completing and submitting Form I–129,                   reviewing instructions, gathering the                  necessary, obtain the services of a
                                                  applicants must bear the cost of postage                required documentation and                             preparer if necessary, and complete the
                                                  for sending the Form I–129 package to                   information, completing the petition,
                                                  USCIS. DHS estimates that each                          preparing statements, attaching                        Statement can be found at Question 12 on
                                                  applicant will incur an estimated                       necessary documentation, and                           Reginfo.gov at https://www.reginfo.gov/public/do/
                                                  average cost of $3.75 in postage to                                                                            PRAViewDocument?ref_nbr=201803-1615-006.
                                                                                                          submitting the request.763 Using the                      764 Calculation for estimated opportunity cost of
                                                  submit the completed package to
                                                                                                                                                                 time for completing Form I–129: ($35.78 per hour
                                                  USCIS.758 DHS estimates the total                       0009). The PRA Supporting Statement can be found       * 3.0 hours) = $107.34 per petitioner.
                                                                                                          at Question 12 on Reginfo.gov at https://                 765 Calculation: (Form I–129CW estimated
                                                    754 Calculation: (Form I–129 filing fee) *            www.reginfo.gov/public/do/PRAViewDocument?             opportunity cost of time) * (Estimated annual
                                                  (Estimated annual population filing Form I–129) =       ref_nbr=201610-1615-001.                               population filing Form I–129CW) = $107.34 * 6,307
                                                  $460 * 336,335 = $154,714,100 annual estimated             759 Calculation: (Form I–129 estimated cost of      = $676,993.38 = $676,993 (rounded) annual
                                                  cost for filing Form I–129 seeking an extension of      postage) * (Estimated annual population filing Form    estimated opportunity cost of time for filing Form
                                                  stay or change of status.                               I–129) = $3.75 * 336,335 = $1,261,256.25 =             I–129CW.
                                                    755 Source for petition for nonimmigrant workers      $1,261,256 (rounded) annual cost in postage for           766 Calculation: $4,477,970 (Filing fees for Form
                                                  time burden estimate: Paperwork Reduction Act           filing Form I–129.                                     I–129CW) + $676,993 (Opportunity cost of time for
                                                  (PRA) Petition for Nonimmigrant Worker (Form I–            760 Calculation: $154,714,100 (Filing fees for
                                                                                                                                                                 Form I–129CW) = $5,154,963 total current
                                                  129) (OMB control number 1615–0009). The PRA            Form I–129) + $28,161,330 (Opportunity cost of         estimated annual cost for filing Form I–129CW.
                                                  Supporting Statement can be found at Question 12        time for Form I–129) + $1,261,256 (Postage costs for      767 Source for petition for nonimmigrant workers
                                                  on Reginfo.gov at https://www.reginfo.gov/public/       Form I–129) = $184,136,686 total current estimated     time burden estimate: Paperwork Reduction Act
                                                  do/PRAViewDocument?ref_nbr=201610-1615-001.             annual cost for filing Form I–129.                     (PRA) Application to Extend/Change Nonimmigrant
                                                    756 Calculation for estimated opportunity cost of        761 This economic analysis assumes that each
                                                                                                                                                                 Status (Form I–539) (OMB control number 1615–
                                                  time for completing Form I–129: ($35.78 per hour        Form I–129CW filed will also be required to include    0003). The PRA Supporting Statement can be found
                                                  * 2.34 hours) = $83.725 = $83.73 (rounded) per          the additional $200 supplemental CNMI education        at Question 13 on Reginfo.gov at https://
                                                  applicant.                                              fee and the $50 fraud prevention and detection fee.    www.reginfo.gov/public/do/PRAViewDocument?
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                                                    757 Calculation: (Form I–129 estimated                   762 Calculation: (Form I–129CW filing fee) *        ref_nbr=201610-1615-006. DHS notes that certain A
                                                  opportunity cost of time) * (Estimated annual           (Estimated annual population filing Form I–129CW)      and G nonimmigrants are not required to pay a
                                                  population filing Form I–129) = $83.73 * 336,335        = $710 * 6,307 = $4,477,970 annual estimated cost      filing fee for Form I–539. In addition, a biometrics
                                                  = $28,161,329.55 = $28,161,330 (rounded) annual         for filing Form I–129 seeking an extension of stay     services fee of $85 is required for V nonimmigrants
                                                  estimated opportunity cost of time for filing Form      or change of status.                                   and for certain applicants in the CNMI applying for
                                                  I–129.                                                     763 Source for petition for nonimmigrant workers    an initial grant of nonimmigrant status.
                                                    758 Source for petition for nonimmigrant workers      time burden estimate: Paperwork Reduction Act             768 Calculation: (Form I–539 filing fee) *

                                                  form package postage cost estimate: Paperwork           (PRA) Petition for CNMI-Only Nonimmigrant              (Estimated annual population filing Form I–539) =
                                                  Reduction Act (PRA) Petition for Nonimmigrant           Transition Worker (Form I–129CW) (OMB control          $370 * 176,866 = $64,700,420 annual cost for filing
                                                  Worker (Form I–129) (OMB control number 1615–           number 1615–0111). The PRA Supporting                  Form I–539.



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                                                  form.769 Using the average total rate of                  would be inadmissible to the United                  Administrative Appeals Office (AAO)
                                                  compensation of $35.78 per hour, DHS                      States based on public charge grounds.               using Form I–290B, Notice of Appeal or
                                                  estimates the opportunity cost of time                    The proposed rule would require                      Motion.773 In addition, upon learning of
                                                  for completing and submitting Form I–                     individuals who are applying for                     a breach of public charge bond, DHS
                                                  539 will be $67.27 per applicant.770                      adjustment of status to complete and                 would notify the obligor that the bond
                                                  Therefore, using the total population                     submit the form to establish that they               has been declared breached and inform
                                                  estimate of 174,866 annual filings for                    are not likely to become a public charge.            the obligor of the possibility to appeal
                                                  Form I–539, DHS estimates the total                       At the agency’s discretion, Form I–129               the determination to the USCIS
                                                  opportunity cost of time associate with                   and Form I–129CW beneficiaries, and                  Administrative Appeals Office (AAO)
                                                  completing and submitting Form I–539                      Form I–539 applicants seeking an                     using Form I–290B, Notice of Appeal or
                                                  is approximately $11,763,236                              extension of stay or change of status                Motion.774
                                                  annually.771                                              may be required to submit Form I–944                   The following costs are new costs that
                                                     In sum, DHS estimates the total                        to be reviewed for public charge                     would be imposed on the population
                                                  current annual cost for filing Form I–                    determination.                                       applying to adjust status using Form I–
                                                  539 is $76,463,656. The total current                        The proposed rule would also add                  485 or on the population that would be
                                                  annual costs include Form I–539 filing                    costs from an additional 10-minute                   seeking extension of stay or change of
                                                  fees and the opportunity cost of time for                 increase in the time burden estimate to              status using Forms I–129, I–129CW, or
                                                  completing Form I–539.772                                 complete Form I–485. Additionally, the               I–539. However, individuals seeking
                                                  (b) Costs of Proposed Regulatory                          proposed rule would add costs from an                extension of stay or change of status
                                                  Changes                                                   additional time burden increase of 30                would only be required to submit Form
                                                                                                            minutes for completing and filing Form               I–944 at the discretion of adjudication
                                                     The primary source of quantified new                   I–129, Form I–129CW, and Form I–539.                 officers. Table 47 shows the estimated
                                                  costs for the proposed rule would be                         The proposed rule would also impose               annual costs that the proposed rule
                                                  from the creation of Form I–944. This                     new costs by establishing a public                   would impose on individuals seeking to
                                                  form would be used to collect                             charge bond process. At the agency’s                 adjust status using Form I–485 who also
                                                  information based on factors such as                      discretion, certain aliens who are found             would be required to file Form I–944.
                                                  age; health; family status; assets,                       likely to become a public charge may be              The table also presents the estimated
                                                  resources and financial status; and                       provided the opportunity to post a                   new costs the proposed rule would
                                                  education and skills, so that USCIS                       public charge bond. As part of the                   impose associated with a 10-minute
                                                  could determine whether an applicant                      proposed public charge bond process,                 increase in the time burden estimate for
                                                                                                            an individual would have an obligor                  completing Form I–485, from additional
                                                     769 Source for petition for nonimmigrant workers
                                                                                                            submit a public charge bond using a                  time burden increases of 30 minutes
                                                  time burden estimate: Paperwork Reduction Act
                                                  (PRA) Application to Extend/Change Nonimmigrant           new Form I–945, Public Charge Bond,                  each for completing and filing Form I–
                                                  Status (Form I–539) (OMB control number 1615–             on the alien’s behalf, and the alien or an           129, Form I–129CW, and Form I–539.
                                                  0003). The PRA Supporting Statement can be found          acceptable surety (individual or a                   The table also shows the range of costs
                                                  at Question 12 on Reginfo.gov at https://                 company) would use Form I–356,                       that Form I–129 and Form I–129CW
                                                  www.reginfo.gov/public/do/PRAViewDocument?
                                                  ref_nbr=201610-1615-006.                                  Request for Cancellation of Public                   beneficiaries, and Form I–539 filers
                                                     770 Calculation for the opportunity cost of time for   Charge Bond, as part of a request to                 would incur should they receive a RFE
                                                  completing Form I–539: ($35.78 per hour * 1.88            cancel a public charge bond. DHS notes               to file Form I–944 to determine
                                                  hours) = $67.266 = $67.27 (rounded) per applicant.        that if the alien permanently departed               inadmissibility based on public charge
                                                     771 Calculation: (Form I–539 estimated
                                                                                                            the United States, as defined in                     grounds under the provisions of this
                                                  opportunity cost of time) * (Estimated annual
                                                  population filing Form I–539) = $67.27 * 174,866          proposed 8 CFR 213.1, and the loss of                proposed rule. Finally, the table
                                                  = $11,763,235.82 = $11,763,236 (rounded) annual           LPR status was voluntarily, we would                 includes the estimated new cost
                                                  estimated opportunity cost of time for filing Form        also require a Form I–407 submission. If             associated with the proposed public
                                                  I–539.                                                    the request for cancellation is denied,              charge bond process.
                                                     772 Calculation: $64,700,420 (Filing fees for Form

                                                  I–539) + $11,763,236 (Opportunity cost of time for
                                                                                                            DHS would notify the obligor and
                                                  Form I–539) = $76,463,656 total current annual cost       inform the obligor of the possibility to               773 See   proposed 8 CFR 213.1(g).
                                                  for filing Form I–539.                                    appeal the determination to the USCIS                  774 See   proposed 8 CFR 213.1(h).
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                                                  i. Form I–944, Declaration of Self-                      DHS estimates the total opportunity cost              this is the amount that two of the three
                                                  Sufficiency and Form I–485,                              of time associated with completing and                major credit bureaus charge.780 DHS
                                                  Application To Register Permanent                        submitting Form I–944 is approximately                notes that it would be required that all
                                                  Residence or Adjust Status                               $18,337,204 annually.776                              applicants who apply for adjustment of
                                                     In this proposed rule, DHS is                            In addition to the opportunity cost of             status using Form I–485 must also
                                                  proposing to create a new form for                       time associated with completing and                   submit Form I–944 and comply with its
                                                  collecting information from those                        filing Form I–944, applicants must bear               requirements. Therefore, DHS estimates
                                                  applying for immigration benefits with                   the cost of obtaining a credit report and             that based on the estimated average
                                                  USCIS, such as adjustment of status or                   credit score from any one of the three                annual population of 382,264 the total
                                                  extension of stay or change in status, to                major credit bureaus in the United                    annual cost associated with obtaining a
                                                  demonstrate that the applicant is not                    States to be submitted with the                       credit report and credit score as part of
                                                  likely to become a public charge under                   application.777 Consumers may obtain a                the requirements for filing Form I–944
                                                  section 212(a)(4) of the Act. Form I–944                 free credit report once a year from each              would be $7,626,167.781
                                                  would collect information based on                       of the three major consumer reporting                    In sum, DHS estimates that the total
                                                  factors such as age; health; family status;              agencies (i.e., credit bureaus) under the             cost to complete and file Form I–944
                                                  assets, resources, and financial status;                 Fair Credit Reporting Act (FCRA).778                  would be $25,963,371. The total
                                                  and education and skills, so that USCIS                  However, consumers are not necessarily                estimated annual costs include the
                                                  could determine whether an applicant                     entitled to a free credit score, for which            opportunity cost of time to complete the
                                                  would be inadmissible to the United                      consumer reporting agencies may charge                form and the cost to obtain a credit
                                                  States based on public charge grounds.                   a fair and reasonable fee.779 DHS does                report and credit score as required for
                                                  For the analysis of this proposed rule,                  not assume that all applicants are able               the total population estimate of 382,264
                                                  DHS assumes that all individuals who                     to obtain a free credit report under                  annual filings for Form I–485.782
                                                                                                           FCRA specifically for fulfilling the                     The proposed rule would include
                                                  apply for adjustment of status using
                                                                                                           requirements of filing Form I–944 and                 additional instructions for filing Form I–
                                                  Form I–485 are required to submit Form
                                                  I–944, unless the individual is in a class               acknowledges that obtaining a credit                  485 and, as a result, applicants would
                                                  of applicants that is exempt from review                 score would be an additional cost.                    spend additional time reading the
                                                  for determination of inadmissibility                     Therefore, DHS assumes that each                      instructions increasing the estimated
                                                  based on public charge at the time of                    applicant would bear the cost of                      time to complete the form. The current
                                                  adjustment of status according to statute                obtaining a credit report and credit                  estimated time to complete Form I–485
                                                  or regulation.                                           score from at least one of the three major            is 6 hours and 15 minutes (6.25 hours).
                                                     There is currently no filing fee                      credit bureaus. DHS estimates the cost                For the proposed rule, DHS estimates
                                                  associated with Form I–944. However,                     of obtaining a credit report and credit               that the time burden for completing
                                                  DHS estimates the time burden                            score would be $19.95 per applicant, as
                                                                                                                                                                    780 Each of the three major credit charge the
                                                  associated with filing Form I–944 is 4                                                                         following prices for a credit report, including a
                                                                                                             776 Calculation: (Estimated opportunity cost of
                                                  hours and 30 minutes (4.5 hours) per                     time for Form I–944) * (Estimated annual              credit score:
                                                  applicant, including the time for                        population filing Form I–485) = $47.97 * 382,264         Experian—$19.95, available at https://
                                                  reviewing instructions, gathering the                    = $18,337,204.08 = $18,337,204 (rounded) annual       www.experian.com/consumer-products/compare-
                                                  required documentation and                               opportunity cost of time for filing Form I–944.       credit-report-and-score-products.html (accessed Jan.
                                                                                                              777 The three major credit bureaus are Equifax,    26, 2018);
                                                  information, completing the declaration,                                                                          Equifax—$19.95, available at https://
                                                                                                           Experian, and TransUnion. Each of these bureaus is
                                                  preparing statements, attaching                          a publicly-traded, for-profit company that is not     www.equifax.com/personal/products/credit/report-
                                                  necessary documentation, and                             owned by the Federal Government. DHS notes that       and-score (accessed Jan. 26, 2018); and
                                                  submitting the declaration. Therefore,                   there may be differences in the information              TransUnion—$11.50, available at https://
                                                  using the total rate of compensation of                  contained in the credit reports from each of the      disclosure.transunion.com/dc/disclosure/
                                                                                                           three major credit bureaus since one credit bureau    disclosure.jsp (accessed Jan. 26, 2018).
                                                  minimum wage of $10.66 per hour, DHS                     may have unique information on a consumer that           781 Calculation: (Estimated cost for credit score
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                                                  estimates the opportunity cost of time                   is not captured by the other credit bureaus.          and credit report) * (Estimated annual population
                                                  for completing and submitting Form I–                       778 See FCRA, Section 612, Charges for Certain     filing Form I–485) = $19.95 * 382,264 =
                                                  944 would be $47.97 per applicant.775                    Disclosures. 15 U.S.C. 1681j. Available at https://   $7,626,166.80 = $7,626,167 (rounded) annual
                                                                                                           www.consumer.ftc.gov/articles/pdf-0111-fair-credit-   estimated costs for obtaining a credit report and
                                                  Using the total population estimate of                   reporting-act.pdf (accessed Jan. 26, 2018).           credit score as part of the requirements for filing
                                                  382,264 annual filings for Form I–485,                      779 See FCRA, Section 609(f), Disclosures to       Form I–944.
                                                                                                           Consumers, Disclosure of Credit Scores. 15 U.S.C.        782 Calculation: $18,337,204 (Opportunity cost of
                                                    775 Calculation for declaration of self-sufficiency    1681g. Available at https://www.consumer.ftc.gov/     time to complete Form I–944) + $7,626,167 (Cost of
                                                  opportunity cost of time: ($10.66 per hour * 4.5         articles/pdf-0111-fair-credit-reporting-act.pdf       credit report and credit score) = $25,963,371 total
                                                                                                                                                                                                                        EP10OC18.073</GPH>




                                                  hours) = $47.97 per applicant.                           (accessed Jan. 26, 2018).                             estimated cost to complete Form I–944.



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                                                  Form I–485 would increase by 10                         additional new costs in the amount of                 completing and filing Form I–129 would
                                                  minutes. Therefore, in the proposed                     $691,898 to Form I–485 applicants.788                 be $101.62 per petitioner based on the
                                                  rule, the time burden to complete Form                                                                        30-minute increase in the time burden
                                                                                                          ii. Extension of Stay/Change of Status
                                                  I–485 would be 6 hours and 25 minutes                                                                         estimate.792 Therefore, using the total
                                                                                                          Using Form I–129, Petition for a
                                                  (6.42 hours).                                                                                                 population estimate of 336,335 annual
                                                                                                          Nonimmigrant Worker; Form I–129CW,
                                                     The time burden includes the time for                Petition for a CNMI-Only Nonimmigrant                 filings for Form I–129, DHS estimates
                                                                                                          Transitional Worker; or Form I–539,                   the proposed total opportunity cost of
                                                  reviewing instructions, gathering the
                                                                                                          Application To Extend/Change                          time associated with completing and
                                                  required documentation and
                                                                                                          Nonimmigrant Status                                   filing Form I–129 is approximately
                                                  information, completing the application,
                                                                                                                                                                $34,178,363 annually.793
                                                  preparing statements, attaching                            The proposed rule would require                       The new costs imposed by this
                                                  necessary documentation, and                            petitioners to read additional                        proposed rule would be the difference
                                                  submitting the application.783 Using the                instructions and provide additional                   between the current estimated
                                                  total rate of compensation for minimum                  information on Form I–129, which                      opportunity cost of time to complete
                                                  wage of $10.66 per hour, DHS currently                  would increase the estimated time to                  Form I–129 and the proposed estimated
                                                  estimates the opportunity cost of time                  complete the form. The current                        opportunity cost of time to complete the
                                                  for completing and filing Form I–485                    estimated time to complete Form I–129                 form due to the increased time burden
                                                  would be $66.63 per applicant.784                       is 2 hours and 20 minutes (2.34 hours).               estimate. As a result, DHS estimates that
                                                  Therefore, using the total population                   For the proposed rule, DHS estimates                  the proposed rule would impose
                                                  estimate of 382,264 annual filings for                  that the time burden for completing                   additional new costs of $6,017,033 to
                                                  Form I–485, DHS estimates the current                   Form I–129 would increase by 30                       Form I–129 applicants.794
                                                  total opportunity cost of time associated               minutes to account for the additional                    The proposed rule would require
                                                  with completing Form I–485 is                           time petitioners would spend reading                  petitioners to read additional
                                                  approximately $25,470,250 annually.785                  the form and providing additional                     instructions and provide additional
                                                                                                          information. Therefore, DHS proposes                  information on Form I–129CW, which
                                                     For the proposed rule, DHS estimates                 the time burden to complete Form I–129
                                                  that the time burden for completing                                                                           would increase the estimated time to
                                                                                                          to petitioners would be 2 hours and 50                complete the form. The current
                                                  Form I–485 is 6.42 hours per response.                  minutes (2.84 hours).
                                                  Using the total rate of compensation for                                                                      estimated time to complete Form I–
                                                                                                             The time burden for Form I–129                     129CW is 3 hours (3.0 hours). For the
                                                  minimum wage of $10.66 per hour, DHS                    includes the time for reviewing
                                                  estimates the opportunity cost of time                                                                        proposed rule, DHS estimates that the
                                                                                                          instructions, gathering the required                  time burden for completing Form I–
                                                  for completing and filing Form I–485                    documentation and information,
                                                  would be $68.44 per applicant.786                                                                             129CW would increase by 30 minutes to
                                                                                                          completing the request, preparing                     account for the additional time
                                                  Therefore, using the total population                   statements, attaching necessary                       petitioners would spend reading the
                                                  estimate of 382,264 annual filings for                  documentation, and submitting the                     form and providing additional
                                                  Form I–485, DHS estimates the                           request.789 Using the average total rate              information. Therefore, DHS proposes
                                                  proposed total opportunity cost of time                 of compensation of $35.78 per hour,                   the time burden to complete Form I–
                                                  associated with completing Form I–485                   DHS estimates the current opportunity                 129CW to petitioners would be 3 hours
                                                  is approximately $26,162,148                            cost of time for completing and filing                and 30 minutes (3.5 hours).
                                                  annually.787                                            Form I–129 is currently $83.73 per                       The time burden for Form I–129CW
                                                     The new costs imposed by this                        petitioner.790 Therefore, using the total             includes the time for reviewing
                                                  proposed rule would be the difference                   population estimate of 336,335 annual                 instructions, gathering the required
                                                  between the current estimated                           filings for Form I–129, DHS estimates                 documentation and information,
                                                  opportunity cost of time to complete                    the current total opportunity cost of                 completing the request, preparing
                                                  Form I–485 and the proposed estimated                   time associated with completing and                   statements, attaching necessary
                                                  opportunity cost of time due to the                     filing Form I–129 is approximately                    documentation, and submitting the
                                                  increased Form I–485 time burden                        $28,161,330 annually.791                              request.795 Using the average total rate
                                                                                                             For the proposed rule, DHS estimates
                                                  estimate. As a result, DHS estimates that
                                                                                                          that the opportunity cost of time for                   792 Calculation of proposed opportunity cost of
                                                  the proposed rule would impose
                                                                                                                                                                time for completing Form I–129: ($35.78 per hour
                                                                                                            788 Calculation of estimated new costs for          * 2.84 hours) = $101.615 = $101.62 (rounded) per
                                                    783 Source:  Paperwork Reduction Act (PRA)            completing Form I–485: Proposed estimate of           applicant.
                                                  Supporting Statement for Form I–485 (OMB control        opportunity cost of time to complete Form I–485         793 Calculation: (Proposed Form I–129 estimated
                                                  number 1615–0023). The PRA Supporting                   ($26,162,148)¥Current estimate of opportunity cost    opportunity cost of time) * (Estimated annual
                                                  Statement can be found at Question 12 on                of time to complete Form I–485 ($25,470,250) =        population filing Form I–129) = $101.62 * 336,335
                                                  Reginfo.gov at https://www.reginfo.gov/public/do/       $691,898 estimated new costs of the proposed rule.    = $34,178,362.70 = $34,178,363 (rounded) proposed
                                                  PRAViewDocument?ref_nbr=201706-1615-001.                  789 Source for petition for nonimmigrant workers    annual estimated opportunity cost of time for filing
                                                     784 Calculation for opportunity cost of time for
                                                                                                          time burden estimate: Paperwork Reduction Act         Form I–129.
                                                  filing Form I–485: ($10.66 per hour * 6.25 hours)       (PRA) Petition for Nonimmigrant Worker (Form I–         794 Calculation of estimated new costs for
                                                  = $66.625 = $66.63 (rounded) per applicant.             129) (OMB control number 1615–0009). The PRA          completing Form I–129: Proposed estimate of
                                                     785 Calculation: Form I–485 estimated                Supporting Statement can be found at Question 12      opportunity cost of time to complete Form I–129
                                                  opportunity cost of time ($66.63) * Estimated           on Reginfo.gov at https://www.reginfo.gov/public/     ($34,178,363)¥Current estimate of opportunity cost
                                                  annual population filing Form I–485 (382,264) =         do/PRAViewDocument?ref_nbr=201610-1615-001.           of time to complete Form I–129 ($28,161,330) =
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                                                  $25,470,250.32 = $25,470,250 (rounded) annual             790 Calculation of estimated opportunity cost of    $6,017,033 estimated new costs of the proposed
                                                  opportunity cost of time for filing Form I–485.         time for completing Form I–129: ($35.78 per hour      rule.
                                                     786 Calculation for opportunity cost of time for     * 2.34 hours) = $83.725 = $83.73 (rounded) per          795 Source for petition for nonimmigrant workers
                                                  filing Form I–485: ($10.66 per hour * 6.42 hours)       applicant.                                            time burden estimate: Paperwork Reduction Act
                                                  = $68.437 = $68.44 (rounded) per applicant.               791 Calculation: (Form I–129 estimated              (PRA) Petition for CNMI-Only Nonimmigrant
                                                     787 Calculation: Form I–485 estimated                opportunity cost of time) * (Estimated annual         Transition Worker (Form I–129CW) (OMB control
                                                  opportunity cost of time ($68.44) * Estimated           population filing Form I–129) = $83.73 * 336,335      number 1615–0111). The PRA Supporting
                                                  annual population filing Form I–485 (382,264) =         = $28,161,329.55 = $28,161,330 (rounded) annual       Statement can be found at Question 12 on
                                                  $26,162,148.16 = $26,162,148 (rounded) annual           estimated opportunity cost of time for completing     Reginfo.gov at https://www.reginfo.gov/public/do/
                                                  opportunity cost of time for filing Form I–485.         Form I–129.                                           PRAViewDocument?ref_nbr=201803-1615-006.



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                                                  of compensation of $35.78 per hour,                     proposed rule, DHS estimates that the                  estimate. As a result, DHS estimates that
                                                  DHS estimates the current opportunity                   time burden for completing Form I–539                  the proposed rule would impose
                                                  cost of time for completing and filing                  would increase by 30 minutes.                          additional new costs in the amount of
                                                  Form I–129CW is currently $107.34 per                   Therefore, in the proposed rule, DHS                   $3,128,353 to Form I–539 applicants.807
                                                  petitioner.796 Therefore, using the total               proposes the time burden for                              While individuals seeking adjustment
                                                  population estimate of 6,307 annual                     completing Form I–539 would be 2                       of status would be reviewed to
                                                  filings for Form I–129CW, DHS                           hours and 23 minutes (2.38 hours).                     determine inadmissibility based on
                                                  estimates the current total opportunity                    The time burden for Form I–539                      public charge grounds under the
                                                  cost of time associated with completing                 includes the time necessary to read all                provisions of this proposed rule, DHS
                                                  and filing Form I–129CW is                              instructions for the form, gather all                  proposes to conduct reviews of
                                                  approximately $676,993 annually.797                     documents required to complete the                     nonimmigrants who apply for extension
                                                     For the proposed rule, DHS estimates                 collection of information, obtain                      of stay or change of status to determine
                                                  that the opportunity cost of time for                   translated documents if necessary,                     whether they have demonstrated that
                                                  completing and filing Form I–129CW                      obtain the services of a preparer if                   they have not received, are not
                                                  would be $125.23 per petitioner based                   necessary, and complete the form.802                   receiving, or likely to receive public
                                                  on the 30-minute increase in the time                   Using the average total rate of                        benefits. Not all nonimmigrants who
                                                  burden estimate.798 Therefore, using the                compensation of $35.78 per hour, DHS                   apply for extension of stay or change of
                                                  total population estimate of 6,307                      estimates the opportunity cost of time                 status would be required to file Form I–
                                                  annual filings for Form I–129CW, DHS                    for completing and submitting Form I–                  944 to detail their financial, health, and
                                                  estimates the proposed total opportunity                539 is currently $67.27 per applicant.803              education status. Instead, USCIS officers
                                                  cost of time associated with completing                 Therefore, using the total population                  would be able to exercise discretion
                                                  and filing Form I–129CW is                              estimate of 174,866 annual filings for                 regarding whether it would be necessary
                                                  approximately $789,826 annually.799                     Form I–539, DHS estimates the current                  to issue a RFE for the submission of
                                                     The new costs imposed by this                        total opportunity cost of time associated              Form I–944.
                                                  proposed rule would be the difference                   with completing and filing Form I–539                     As previously noted, there is
                                                  between the current estimated                           is approximately $11,763,236                           currently no fee associated with filing
                                                  opportunity cost of time to complete                    annually.804                                           Form I–944, but DHS estimates the costs
                                                  Form I–129CW and the proposed                              For the proposed rule, DHS estimates                for filing Form I–944 would include the
                                                  estimated opportunity cost of time to                   that the opportunity cost of time for                  opportunity cost of time (4.5 hours) and
                                                  complete the form due to the increased                  completing and filing Form I–539 would                 the cost to obtain credit report and
                                                  time burden estimate. As a result, DHS                  be $85.16 per applicant based on the 30-               credit score ($19.95 per beneficiary). In
                                                  estimates that the proposed rule would                  minute increase in the time burden                     addition, DHS estimated that the
                                                  impose additional new costs of                          estimate.805 Therefore, using the total                average annual population that would
                                                  $112,883 to Form I–129CW                                population estimate of 174,866 annual                  request EOS/COS by filing Form I–129
                                                  applicants.800                                          filings for Form I–539, DHS estimates
                                                     The proposed rule would also include                                                                        is 336,335, Form I–129CW is 6,307, and
                                                                                                          the proposed total opportunity cost of                 Form I–539 is 174,866.
                                                  additional instructions and collection of               time associated with completing and
                                                  information for filing Form I–539,                                                                                For Form I–129 petitioners who
                                                                                                          filing Form I–539 is approximately                     receive a RFE for a beneficiary to
                                                  which would increase the estimated                      $14,891,589.806
                                                  time to complete the form. Applicants,                                                                         complete and submit Form I–944, DHS
                                                                                                             The new costs imposed by this                       estimates the opportunity cost of time
                                                  therefore, would spend additional time                  proposed rule would be the difference
                                                  reading the form instructions and                                                                              for completing Form I–129 would be
                                                                                                          between the current estimated                          $161.01 per beneficiary using the
                                                  providing additional information about                  opportunity cost of time to complete
                                                  the request, use, or receipt of public                                                                         average total rate of compensation of
                                                                                                          Form I–539 and the proposed estimated                  $35.78 per hour.808 In addition, DHS
                                                  benefits. The current estimated time to                 opportunity cost of time to complete the
                                                  completing Form I–539 is 1 hour and 53                                                                         estimates the cost to obtain a credit
                                                                                                          form due to the increased time burden                  report and credit score is $19.95 per
                                                  minutes (1.88 hours).801 For the
                                                                                                                                                                 beneficiary. DHS assumes that while a
                                                    796 Calculation for estimated opportunity cost of
                                                                                                          (PRA) Application to Extend/Change Nonimmigrant        petitioner would receive the RFE to file
                                                                                                          Status (Form I–539) (OMB control number 1615–
                                                  time for completing Form I–129: ($35.78 per hour        0003). The PRA Supporting Statement can be found       Form I–944, the beneficiary would be
                                                  * 3.0 hours) = $107.34 per petitioner.                  at Question 12 on Reginfo.gov at https://              the individual to complete the form and
                                                    797 Calculation: (Form I–129CW estimated

                                                  opportunity cost of time) * (Estimated annual
                                                                                                          www.reginfo.gov/public/do/PRAViewDocument?             provide all required information.
                                                                                                          ref_nbr=201610-1615-006.                               Therefore, based on the total population
                                                  population filing Form I–129CW) = $107.34 * 6,307          802 See id.
                                                  = $676,993.38 = $676,993 (rounded) annual                  803 Calculation of opportunity cost of time for
                                                                                                                                                                 estimate of 336,335 annual filings for
                                                  estimated opportunity cost of time for completing                                                              Form I–129, DHS estimates the total
                                                  Form I–129.                                             completing Form I–539: ($35.78 per hour * 1.88
                                                    798 Calculation of proposed opportunity cost of       hours) = $67.266 = $67.27 (rounded) per applicant.     annual opportunity cost of time
                                                  time for completing Form I–129: ($35.78 per hour
                                                                                                             804 Calculation: (Form I–539 estimated              associated with completing Form I–944
                                                  * 3.5 hours) = $125.23 per applicant.                   opportunity cost of time) * (Estimated annual          would be approximately $54,153,298
                                                    799 Calculation: (Proposed Form I–129 estimated       population filing Form I–539) = $67.27 * 174,866
                                                                                                          = $11,763,235.82 = $11,763,236 (rounded) annual
                                                                                                                                                                 annually and the total cost to obtain a
                                                  opportunity cost of time) * (Estimated annual
                                                  population filing Form I–129) = $125.23 * 6,307 =       estimated opportunity cost of time for filing Form     credit report and credit score would be
                                                  $789,825.61 = $789,826 (rounded) proposed annual        I–539.
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                                                                                                             805 Calculation of proposed opportunity cost of       807 Calculation of estimated new costs for
                                                  estimated opportunity cost of time for filing Form
                                                  I–129.                                                  time for completing Form I–539: ($35.78 per hour       completing Form I–539: Proposed estimate of
                                                    800 Calculation of estimated new costs for            * 2.38 hours) = $85.156 = $85.16 (rounded) per         opportunity cost of time to complete Form I–539
                                                  completing Form I–129CW: Proposed estimate of           applicant.                                             ($14,891,589)¥Current estimate of opportunity cost
                                                  opportunity cost of time to complete Form I–129CW          806 Calculation: (Proposed Form I–539 estimated     of time to complete Form I–539 ($11,763,236) =
                                                  ($789,826)¥Current estimate of opportunity cost of      opportunity cost of time per applicant) * (Estimated   $3,128,353 estimated new costs of the proposed
                                                  time to complete Form I–129CW ($676,993) =              annual population filing Form I–539) = $85.16 *        rule.
                                                  $112,883 estimated new costs of the proposed rule.      174,866 = $14,891,588.56 = $14,891,589 (rounded)         808 Calculation for Form I–129 petition
                                                    801 Source for petition for nonimmigrant workers      proposed annual estimated opportunity cost of time     opportunity cost of time to complete Form I–944:
                                                  time burden estimate: Paperwork Reduction Act           for filing Form I–539.                                 ($35.78 per hour * 4.5 hours) = $161.01.



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                                                  about $6,709,883.809 In sum, DHS                        would be about $125,825.812 In sum,                   that total cost for Form I–539 applicants
                                                  estimates that total cost for Form I–129                DHS estimates that total cost for Form                who receive a RFE to complete and
                                                  beneficiaries who receive a RFE to                      I–129CW beneficiaries who receive a                   submit Form I–944 would be
                                                  complete and submit Form I–944 would                    RFE to complete and submit Form I–944                 approximately $31,643,752 annually.815
                                                  be approximately $60,863,181                            would be approximately $1,141,315
                                                                                                                                                                   DHS is unable to estimate the actual
                                                  annually.810                                            annually.813
                                                    Similarly, for Form I–129CW                             For filers of form I–539 who are                    number of RFEs that adjudication
                                                  petitioners who receive a RFE for a                     required to complete and submit Form                  officers may issue to Form I–129
                                                  beneficiary to complete and submit                      I–944, DHS estimates the opportunity                  beneficiaries, Form I–129CW
                                                  Form I–944, DHS estimates the                           cost of time for completing Form I–539                beneficiaries, and Form I–539 filers to
                                                  opportunity cost of time for completing                 would also be $161.01 per filer using                 submit Form I–944 since such RFEs
                                                  Form I–129CW would be $161.01 per                       the average total rate of compensation of             would be issued on a discretionary
                                                  beneficiary using the average total rate                $35.78 per hour. In addition, DHS                     basis. However, we are able to present
                                                  of compensation of $35.78 per hour.811                  estimates the cost to obtain a credit                 a range of RFEs that could be issued
                                                  In addition, DHS estimates the cost to                  report and credit score is $19.95 per                 based on total population estimates and
                                                  obtain a credit report and credit score is              applicant. DHS estimates the total                    the estimated annual cost associated
                                                  $19.95 per beneficiary. DHS assumes                     opportunity cost of time associated with              with such RFE. Table 48 presents a
                                                  that while a petitioner would receive                   completing Form I–944 would be                        range of potential annual costs related to
                                                  the RFE to file Form I–944, the                         approximately $28,155,175 annually                    submission of Form I–944 based on the
                                                  beneficiary would be the individual to                  based on the total population estimate                percentage of the maximum number of
                                                  complete the form and provide all                       of 174,866 annual filings for Form I–539              Form I–129 beneficiaries, Form I–
                                                  required information. Therefore, based                  and the total cost to obtain a credit                 129CW beneficiaries, and Form I–539
                                                  on the total population estimate of 6,307               report and credit score would be about                applicants who could be issued a RFE.
                                                  annual filings for Form I–129CW, DHS                    $3,488,577.814 In sum, DHS estimates                  DHS estimates the annual cost if all
                                                  estimates the total annual opportunity                                                                        beneficiaries were issued a RFE for 100
                                                                                                            812 Calculation: (Form I–944 estimated
                                                  cost of time associated with completing                                                                       percent of the total population estimate
                                                                                                          opportunity cost of time) * (Estimated annual
                                                  Form I–944 would be approximately                       population filing Form I–129CW) = $161.01 * 6,307     of 336,335 annual filings for Form I–129
                                                  $1,015,490 annually and the total cost to               = $1,015,490.07 = $1,015,490 (rounded) annual         would be about $60.1 million. For the
                                                  obtain a credit report and credit score                 opportunity cost of time for filing Form I–944.
                                                                                                                                                                total population estimate of 6,307
                                                                                                          Calculation: (Cost to obtain a credit report and
                                                    809 Calculation: (Form I–944 estimated
                                                                                                          credit score) * (Estimated annual population filing   annual filings for Form I–129CW, DHS
                                                  opportunity cost of time) * (Estimated annual
                                                                                                          Form I–129CW) = $19.95 * 6,307 = $125,824.65 =        estimates the annual cost would be
                                                                                                          $125,825 (rounded) annual cost to obtain a credit
                                                  population filing Form I–129) = $161.01 * 336,335       report and credit score.
                                                                                                                                                                approximately $1.1 million if all
                                                  = $54,153,298.35 = $54,153,298 (rounded) annual           813 Calculation: (Annual opportunity cost of time   beneficiaries were issued a RFE.
                                                  opportunity cost of time for filing Form I–944.
                                                  Calculation: (Cost to obtain a credit report and
                                                                                                          for filing Form I–944) + (Annual cost to obtain a     Moreover, DHS estimates the annual
                                                                                                          credit report and credit score for Form I–944) =      cost if all applicants were issued a RFE
                                                  credit score) * (Estimated annual population filing     $1,015,490 + $125,825 = $1,141,315 annual total
                                                  Form I–129) = $19.95 * 336,335 = $6,709,883.25 =        cost for Form I–129CW beneficiaries who must file     for 100 percent of the total population
                                                  $6,709,883 (rounded) annual cost to obtain a credit     Form I–944.                                           estimate of 336,335 annual filings for
                                                  report and credit score.
                                                    810 Calculation: (Annual opportunity cost of time
                                                                                                            814 Calculation: (Form I–944 estimated
                                                                                                                                                                Form I–539 would be about $31.6
                                                                                                          opportunity cost of time) * (Estimated annual         million.
                                                  for filing Form I–944) + (Annual cost to obtain a       population filing Form I–539) = $161.01 * 174,866
                                                  credit report and credit score for Form I–944) =        = $28,155,174.66 = $28,155,175 (rounded) annual
                                                  $54,153,298 + $6,709,883 = $60,863,181 annual           opportunity cost of time for filing Form I–944.         815 Calculation: (Annual opportunity cost of time
                                                  total cost for Form I–129 beneficiaries who must file   Calculation: (Cost to obtain a credit report and      for filing Form I–944) + (Annual cost to obtain a
                                                  Form I–944.                                             credit score) * (Estimated annual population filing   credit report and credit score for Form I–944) =
                                                    811 Calculation for Form I–129CW petition             Form I–539) = $19.95 * 174,866 = $3,488,576.70 =      $28,155,175 + $3,488,577 = $31,643,752 annual
                                                  opportunity cost of time to complete Form I–944:        $3,488,577 (rounded) annual cost to obtain a credit   total cost for Form I–539 applicants who must file
                                                  ($35.78 per hour * 4.5 hours) = $161.01.                report and credit score.
                                                                                                                                                                Form I–944.
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                                                  iii. Public Charge Bond                                 been breached would be based on                           public benefits, as defined in proposed
                                                                                                          whether the alien has received public                     8 CFR 212.21(b), after the alien’s
                                                    DHS does not currently have a                         benefits as defined in the proposed rule                  adjustment of status to that of a lawful
                                                  process or procedure in place to accept                 or whether the alien has breached any                     permanent resident, DHS would declare
                                                  public charge bonds, though it has the                  other condition imposed as part of the                    the bond breached. A bond may also be
                                                  authority to do so. DHS is proposing to                 public charge bond.                                       breached if the conditions that are
                                                  amend its regulations and establish a                     As discussed elsewhere in the                           otherwise imposed as part of the public
                                                  bond process for those seeking                          preamble, DHS has the broad authority                     charge bond are breached.819
                                                  adjustment of status to that of a                       to prescribe forms of bonds as is deemed                    DHS is proposing that public charge
                                                  permanent resident who have been                        necessary for carrying out the                            bonds would be issued at the Secretary’s
                                                  deemed likely to become a public                        Secretary’s authority under the                           discretion when an alien seeking
                                                  charge. A public charge bond may                        provisions of the Act.817 Additionally,                   adjustment of status has been found to
                                                  generally be secured by cash or cash                    an alien whom DHS has determined to                       be inadmissible based on public charge
                                                  equivalents such as cashier’s checks or                 be inadmissible based on public charge                    grounds. DHS may require an alien to
                                                  money orders in the full amount of the                  grounds may, if otherwise admissible,                     submit a surety bond or cash or cash
                                                  bond, or may be underwritten by a                       be admitted at the discretion of the                      equivalent, such as a cashier’s check or
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                                                  surety company certified by the                         Secretary upon giving a suitable and                      money order, to secure a bond.820 DHS
                                                  Department of Treasury under 31 U.S.C.                  proper bond.818 The purpose of issuing                    would notify the alien if he or she is
                                                  9304–9308.816 DHS approval of the                       a public charge bond is to better ensure                  permitted to post a public charge bond
                                                  public charge bond and DHS                              that the alien will not become a public                   and of the type of bond that may be
                                                  determination of whether the bond has                   charge in the future. If an alien receives                submitted. If DHS accepts a surety bond
                                                    816 See generally 8 CFR 103.6. However, USCIS           817 See   INA section 103(a)(3), 8 U.S.C. 1103(a)(3).    819 See   8 CFR 213.1(h).
                                                                                                                                                                                                                           EP10OC18.074</GPH>




                                                  plans to initially allow for only surety bonds only.      818 See   INA section 213, 8 U.S.C. 1183.                820 USCIS    plans to initially allow surety bonds.



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                                                  as a public charge bond, DHS would                      has been declared breached and inform                   amount for a surety company to post a
                                                  accept only a bond underwritten by                      the obligor of the possibility to appeal                bond.828 The percentage that an
                                                  surety companies certified by the                       the determination to the USCIS                          individual must pay may be dependent
                                                  Department of the Treasury, as outlined                 Administrative Appeals Office                           on the individual’s credit score where
                                                  in proposed 8 CFR 103.6(b).821 DHS                      (AAO).823 Notice of Appeal or Motion                    those with higher credit scores would be
                                                  proposes that the amount of a public                    (Form I–290B) is used to file an appeal                 required to pay a lower percentage of
                                                  charge bond cannot be less than $10,000                 or motion to reopen or reconsider                       the bond to be posted. DHS notes that
                                                  annually adjusted for inflation and                     certain decisions.                                      an individual as another possible option
                                                  rounded up to the nearest dollar, but the                  Finally, a public charge bond must be                for securing a public charge bond may
                                                  amount of the bond required would                       canceled when an alien with a bond                      be allowed to submit cash or cash
                                                  otherwise be determined at the                          dies, departs the United States                         equivalent, such as a cashier’s check or
                                                  discretion of the adjudication officer.                 permanently, or is naturalized or                       money order and agreement.
                                                  After reviewing an alien’s circumstances                otherwise obtains U.S. citizenship,                        With the creation of Form I–945, DHS
                                                  and finding of inadmissibility based on                 provided the individual has not                         proposes to charge a filing fee of $25.00
                                                  public charge grounds, an adjudication                  received public benefits, as defined in                 to submit a public charge surety bond,
                                                  officer would notify the alien through                  proposed 8 CFR 212.21(c) prior to death,                which would cover administrative costs
                                                  the issuance of a RFE or a Notice of                    departure, or naturalization (or                        of processing the form. DHS estimates
                                                  Intent to Deny (NOID) that a surety bond                otherwise obtaining U.S. citizenship),                  the time burden associated with filing
                                                  may be submitted to USCIS.                              and a request for cancellation has been                 Form I–945 is 60 minutes (1.0 hour) per
                                                     An individual or entity would submit                 filed.824 DHS must also cancel the bond                 obligor, including the time for reviewing
                                                  a public charge bond on behalf of the                   following the fifth anniversary of the                  instructions, gathering the required
                                                  alien by using the new Public Charge                    admission of the lawful permanent                       documentation and information,
                                                  Bond form (Form I–945), and related                     resident provided that he or she files a                completing the form, preparing
                                                  forms. DHS proposes that it would use                   request for cancellation of the public                  statements, attaching necessary
                                                  Form I–356, Request for Cancellation of                 charge bond and provided that the alien                 documentation, and submitting the
                                                  Public Charge Bond, as part of a request                has not received any public benefits, as                form.829 Therefore, using the total rate
                                                  to cancel a public charge bond.                         defined in 8 CFR 212.21, after the                      of compensation of minimum wage of
                                                     The proposed rule would require that                 alien’s adjustment of status to that of a               $10.66 per hour, DHS estimates the
                                                  an alien must complete and submit                       lawful permanent resident.                              opportunity cost of time for completing
                                                  Form I–407 when the alien or obligor/                   Additionally, the public charge bond                    and submitting Form I–945 would be
                                                  co-obligor seeks to cancel the public                   must be cancelled if the alien obtains an               $10.66 per applicant.830
                                                  charge bond on account of the alien’s                   immigration status that is exempt from                     In addition to the opportunity cost of
                                                  permanent departure from the United                     public charge inadmissibility after the                 time associated with completing Form
                                                  States. Form I–407 records an alien’s                   initial grant of lawful permanent                       I–945, aliens who may be permitted to
                                                  abandonment of status as a LPR. When                    resident status, provided that a request                have a public charge bond posted on
                                                  filing Form I–407, an alien abandoning                  for cancellation of the public charge                   their behalf, must secure a surety bond
                                                  their LPR status is informed of the right               bond has been filed and provided that                   through a surety bond company that is
                                                  to a hearing before an immigration judge                the alien did not breach the bond                       certified by the Department of Treasury,
                                                  who would decide whether the alien                      conditions.825 To have the public charge                Bureau of Fiscal Service. DHS notes that
                                                  lost his or her lawful permanent                        bond cancelled, an obligor (individual                  the public charge bond amount required
                                                  resident status due to abandonment and                  or entity) would request the cancellation               would be determined at the discretion
                                                  that the alien has knowingly, willingly,                of the public charge and as part of the                 of an adjudication officer, so long as it
                                                  and affirmatively waived that right.                    request, submit Form I–356. If DHS                      is over the minimum amount. However,
                                                  Form I–407 is used by lawful permanent                  determines that the bond cannot be                      DHS estimates the cost per obligor
                                                  resident aliens who are outside the                     cancelled, the bond remains in place;                   would be $35.66 per obligor at
                                                  United States or at a Port of Entry who                 the obligor may appeal the denial to the                minimum, including $25.00 to file Form
                                                  want to abandon LPR status.                             AAO by filing Form I–290B.826                           I–945 and $10.66 per obligor for the
                                                     A public charge bond would be                        Additionally, a public charge bond may                  opportunity cost of time for completing
                                                  considered breached if the alien                        be cancelled by DHS after a suitable                    the form. In addition, each alien posting
                                                  receives any public benefits, as defined                substitute has been submitted for an                    a public charge bond through a surety
                                                  in proposed 8 CFR 212.21, after DHS                     unlimited bond or a bond of limited                     company would be required to pay any
                                                  accepts a public charge bond submitted                  duration that bears an expiration date.                 fees required by the surety company to
                                                  on that alien’s behalf. The bond would                  For this type of cancellation, no request               secure a public charge bond. While the
                                                  also be breached if the alien does not                  to cancel the bond must be filed to                     proposed public charge bond process
                                                  comply with the conditions that are                     allow substitution of another bond, as                  would be new and historical data are
                                                  otherwise imposed with the public                       outlined in proposed 8 CFR 213.827
                                                  charge bond.822 Upon learning of a                         When posting a surety bond, an                         828 For example, see https://


                                                  breach of public charge bond, DHS                       individual generally pays between 1                     suretybondauthority.com/frequently-asked-
                                                                                                          percent to 15 percent of the bond                       questions/ and https://suretybondauthority.com/
                                                  would notify the obligor that the bond                                                                          learn-more/. DHS notes that the company cited is
                                                                                                                                                                  for informational purposes only.
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                                                                                                            823 See   proposed 8 CFR 213.1(h).
                                                     821 See 31 U.S.C. 9304–9308. See also Bureau of                                                                829 Source for immigration bond time burden
                                                                                                            824 See   INA section 213, 8 U.S.C. 1183; see 8 CFR
                                                  the Fiscal Service, U.S. Department of Treasury,                                                                estimate: Supporting Statement, Immigration Bond,
                                                  available at https://www.fiscal.treasury.gov/           103.6(c).                                               ICE Form I–352, (OMB control number 1653–0022).
                                                                                                            825 See proposed 8 CFR 213.1(d)[Conditions of the
                                                  fsreports/ref/suretyBnd/surety_home.htm. See also                                                               The PRA Supporting Statement can be found at
                                                  proposed 8 CFR 103.6(b)(1) as proposed by ICE,          bond] and proposed 8 CFR 213.1(h)[Breach].              Question 12 on Reginfo.gov at https://
                                                  Procedures and Standards for Declining Surety             826 See proposed 8 CFR 213.1(g).                      www.reginfo.gov/public/do/
                                                  Immigration Bonds and Administrative Appeal               827 See proposed 8 CFR 213.1(f)[Substitution].        PRAViewDocument?ref_nbr=201705-1653-001.
                                                  Requirement for Breaches, 83 FR 25951 (June 5,          Because USCIS does not examine whether the bond           830 Calculation for public charge surety bond
                                                  2018).                                                  could be breached, the substitution does not have       opportunity cost of time: ($10.66 per hour * 1.0
                                                     822 See proposed 8 CFR 213.1(h).                     to be accompanied with a filing of Form I–356.          hour) = $10.66 per applicant.



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                                                  not available, DHS estimates that                       for reviewing instructions, gathering the              changes. These indirect impacts are
                                                  approximately 960 aliens would be                       required documentation and                             borne by entities that are not
                                                  eligible to file for a public charge bond               information, completing the form,                      specifically regulated by this rule, but
                                                  annually. Therefore, in sum, DHS                        preparing statements, attaching                        may incur costs due to changes in
                                                  estimates the total cost to file Form I–                necessary documentation, and                           behavior caused by this rule. The
                                                  945 would be at minimum about                           submitting the form.835 Therefore, using               primary sources of the reduction in
                                                  $34,234 annually.831                                    the total rate of compensation of                      transfer payments from the federal
                                                     As noted previously, an obligor                      minimum wage of $10.66 per hour, DHS                   government of this proposed rule would
                                                  (individual or a company) or the alien                  estimates the opportunity cost of time                 be the disenrollment or foregone
                                                  would file Form I–356 as part of a                      for completing Form I–290B would be                    enrollment of individuals in public
                                                  request to cancel a public charge bond.                 $15.99 per obligor.836                                 benefits programs. The primary sources
                                                  With the creation of Form I–356, DHS                      In addition to the filing fee and the                of the consequences and indirect
                                                  proposes to charge a filing fee of $25.00               opportunity cost of time associated with               impacts of the proposed rule would be
                                                  to request cancellation of a public                     completing Form I–290B, obligors must                  costs to various entities that the rule
                                                  charge bond, which would cover                          bear the cost of postage for sending the               does not directly regulate, such as
                                                  administrative costs of processing the                  Form I–290B package to USCIS. DHS                      hospital systems, state agencies, and
                                                  form. DHS estimates the time burden                     estimates that each obligor will incur an              other organizations that provide public
                                                  associated with filing Form I–356 is 45                 estimated average cost of $3.75 in                     assistance to aliens and their
                                                  minutes (0.75 hours) per obligor or alien               postage to submit the completed                        households. Indirect costs associated
                                                  requesting cancellation of a public                     package to USCIS.837                                   with this rule include familiarization
                                                  charge bond, including the time for                       Additionally, the proposed public                    with the rule for those entities that are
                                                  reviewing instructions, searching                       charge bond process would be new and                   not directly regulated but still want to
                                                  existing data sources, gathering and                    historical data are not available to                   understand the changes in federal and
                                                  maintaining data needed, and                            predict future estimates. Therefore, DHS               state transfer payments due to this rule.
                                                  completing and reviewing the required                   also is not able to estimate the total                    Moreover, this rule, if finalized, could
                                                  information. Using the total rate of                    annual cost of the proposed public                     lead to an additional reduction in
                                                  compensation of minimum wage of                         charge bond process. However, DHS                      transfer payments because some aliens
                                                  $10.66 per hour, DHS estimates the                      estimates the total cost per applicant                 outside the United States who are likely
                                                  opportunity cost of time for completing                 submitting a bond would be $693.74 for                 to become a public charge in the United
                                                  and submitting Form I–356 would be                      completing and filing Form I–290B,                     States would not be admitted and
                                                  $8.00 per filer.832 Therefore, DHS                      excluding the cost of obtaining a                      therefore would not receive public
                                                  estimates the cost per filer would be                   bond.838                                               benefits in the United States. For
                                                  $33.00, including $25.00 to file Form I–                  Finally, the new DHS requirement in                  example, CBP could find that an alien
                                                  356 and $8.00 per obligor or alien for                  this proposed rule that an alien must                  arriving at a port of entry seeking
                                                  the opportunity cost of time for                        complete and submit Form I–407 when                    admission, either pursuant to a
                                                  completing the form. While the                          seeking to cancel the public charge bond               previously issued visa or as a traveler
                                                  proposed public charge bond process                     upon permanent departure from the                      for whom visa requirements have been
                                                  would be new and historical data are                    United States. However, this proposed                  waived, is likely to become a public
                                                  not available, DHS estimates that                       rule would not impose additional new                   charge if he or she is admitted.
                                                  approximately 25 aliens would request                   costs to Form I–407 filers.                            However, DHS is not able to quantify
                                                  to cancel a public charge bond annually.                                                                       the number of aliens who would
                                                  Therefore, in sum, DHS estimates the                    (c) Transfer Payments and Indirect                     possibly be denied admission based on
                                                  total cost to file Form I–356 would be                  Impacts of Proposed Regulatory Changes                 a public charge determination pursuant
                                                  approximately $825 annually.833                           DHS estimates the direct costs of the                to this proposed rule, but is
                                                     The filing fee for Form I–290B is $675               proposed rule, but also estimates the                  qualitatively acknowledging this
                                                  per obligor wishing to file an appeal to                reduction in transfer payments from the                potential impact.
                                                  challenge the denial of a request to                    federal and state government to certain                   Under the proposed rule, DHS would
                                                  cancel the public charge bond or the                    individuals who receive public benefits                consider past or current receipt of
                                                  breach determination. The fee is set at                 and also discusses certain indirect                    public benefits, defined in 212.21(b), as
                                                  a level to recover the processing costs to              impacts that would likely occur as a                   identified a heavily weighed factor for
                                                  DHS. However, the fee for Form I–290B                   result of the proposed regulatory                      purposes of public charge
                                                  may be waived using Form I–912 if the                                                                          determination. Earlier in the preamble,
                                                  party appealing the adverse decision                      835 Source for notice for appeal or motion time      DHS provides a list and description of
                                                  can provide evidence of an inability to                 burden estimate: Supporting Statement for Notice of    public benefits programs the proposed
                                                  pay.834 In addition, DHS estimates the                  Appeal or Motion (Form I–290B) (OMB control            rule identifies for consideration of
                                                  time burden associated with filing Form                 number 1615–0095). The PRA Supporting                  public charge inadmissibility. Should
                                                                                                          Statement can be found at Question 12 on
                                                  I–290B is 1 hour and 30 minutes (1.5                    Reginfo.gov at https://www.reginfo.gov/public/do/
                                                                                                                                                                 an individual be found to have received
                                                  hours) per obligor, including the time                  PRAViewDocument?ref_nbr=201609-1615-002.               or is currently receiving certain public
                                                                                                            836 Calculation for appeal or motion opportunity     benefits identified in the proposed rule,
                                                     831 Calculation: $35.66 (cost per obligor to file    cost of time: ($10.66 per hour * 1.5 hours) = $15.99   he or she may be found likely to become
                                                  Form I–945) * 960 (estimated annual population          per applicant.                                         a public charge. Individuals who might
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                                                  who would file Form I–945) = $34,233.60 = $34,234         837 Source for notice for appeal or motion time
                                                  (rounded) annual total cost to file Form I–945.         burden estimate: Supporting Statement for Notice of
                                                                                                                                                                 choose to disenroll from or forego future
                                                     832 Calculation for opportunity cost of time for     Appeal or Motion (Form I–290B) (OMB control            enrollment in a public benefits program
                                                  completing Form I–356: ($10.66 per hour * 0.75          number 1615–0095). The PRA Supporting                  include foreign-born non-citizens as
                                                  hours) = $7.995 = $8.00 (rounded) per applicant.        Statement can be found at Question 13 on               well as U.S. citizens who are members
                                                     833 Calculation: $33.00 (cost per obligor to file    Reginfo.gov at https://www.reginfo.gov/public/do/
                                                  Form I–356) * 25 (estimated annual population who       PRAViewDocument?ref_nbr=201609-1615-002.
                                                                                                                                                                 of mixed-status households.
                                                  would file Form I–356) = $825.00 annual total cost        838 Calculation: $674 filing fee + $15.99               Table 49 shows the estimated
                                                  to file Form I–356.                                     opportunity cost of time + $3.75 postage cost =        population of public benefits recipients
                                                     834 See 8 CFR 103.7(c).                              $693.74 per applicant.                                 who are members of households that


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                                                  include foreign-born non-citizens. The                  households with foreign-born non-                      household size for foreign-born
                                                  table also shows estimates of the                       citizen family members, DHS estimated                  households.841 842
                                                  number of households with at least 1                    the number of public benefits recipients
                                                                                                                                                                   841 See U.S. Census Bureau American FactFinder
                                                  foreign-born non-citizen family member                  who are members of households that
                                                                                                                                                                 Database. ‘‘S0501: Selected Characteristics of the
                                                  that may have received public                           include foreign-born non-citizens that                 Native and Foreign-born Populations 2012–2016
                                                  benefits.839,840 Based on the number of                 may have received benefits using the                   American Community Survey (ACS) 5-year
                                                                                                          U.S. Census Bureau’s estimated average                 Estimates.’’ Available at https://
                                                     839 See U.S. Census Bureau. American                                                                        factfinder.census.gov/. Accessed June 16, 2018. The
                                                  Community Survey 2016 Subject Definitions.                                                                     average foreign-born household size is reported as
                                                  Available at https://www2.census.gov/programs-                                                                 3.35 persons. DHS multiplied this figure by the
                                                                                                          and unauthorized migrants (i.e. people illegally
                                                  surveys/acs/tech_docs/subject_definitions/2016_                                                                estimated number of households with at least 1
                                                                                                          present in the United States.                          foreign-born non-citizen receiving benefits to
                                                  ACSSubjectDefinitions.pdf. Accessed June 18, 2018.
                                                                                                             840 To estimate the number of households with at
                                                  The foreign-born population includes anyone who                                                                estimate the population of foreign-born non-citizen
                                                  was not a U.S. citizen or a U.S. national at birth,     least 1 foreign-born non-citizen family member that    receiving benefits.
                                                  which includes respondents who indicated they           have received public benefits, DHS calculated the        842 In this analysis, DHS uses the American

                                                  were a U.S. citizen by naturalization or not a U.S.     overall percentage of total U.S. households that are   Community Survey (ACS) to develop population
                                                  citizen. The ACS questionnaires do not ask about        foreign-born non-citizen as 6.97 percent.              estimates along with beneficiary data from each of
                                                  immigration status, but uses responses to determine     Calculation: [22,214,947 (Foreign-born non-            the benefits program. DHS recognizes that in other
                                                  the U.S. citizen and non-U.S. citizen populations as    citizens)/318,558,162 (Total U.S. population)] * 100   places in this preamble, the SIPP data is used rather
                                                  well as to determine the native and foreign-born        = 6.97 percent. See U.S. Census Bureau American        than the ACS data, which may cause differences in
                                                  populations. The population surveyed includes all                                                              estimates. DHS notes that the ACS data was used
                                                                                                          FactFinder Database. ‘‘S0501: Selected
                                                  people who indicated that the United States was                                                                for the purposes of this analysis because it provided
                                                  their usual place of residence on the survey date.      Characteristics of the Native and Foreign-born         a cross-sectional survey based on a random sample
                                                  The foreign-born population includes naturalized        Populations 2012–2016 American Community               of the population each year including current
                                                  U.S. citizens, lawful permanent residents (i.e.         Survey (ACS) 5-year Estimates.’’ Available at          immigration classifications. Both surveys reflect
                                                  immigrants), temporary migrants (e.g., foreign          https://factfinder.census.gov/. Accessed June 16,      substantial reliance by aliens on the public benefits
                                                  students), humanitarian migrants (e.g., refugees),      2018.                                                  included in the proposed rule.
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                                                     Consistent data are not available on                 receiving benefits was estimated based                 estimate because the percentage of
                                                  the number of individuals receiving                     on the average household size of                       households with at least one foreign-
                                                  public benefits who are members of                      households with at least one foreign-                  born non-citizen may be greater or less
                                                  households that include foreign-born                    born individual.                                       than the percentage of foreign-born non-
                                                  non-citizens. In order to estimate the                    For each of the public benefits                      citizens in the population. However, if
                                                  economic impact of the proposed rule,                   programs analyzed, DHS estimated the                   foreign-born non-citizens tend to be
                                                  it is necessary to estimate the size of this            number of households by dividing the                   grouped together in households, then an
                                                  population. To arrive at the population                 number of people that received public                  overestimation of households that
                                                  estimates as shown in table 49, DHS                     benefits by the U.S. Census Bureau’s                   include at least one FBNC is more
                                                  first calculated the average annual                     estimated average household size of                    likely. DHS then estimated the number
                                                  number of people who received benefits                  2.64 for the U.S. total population.844                 of foreign-born non-citizens who
                                                  over a 5-year period whenever possible                  According to the U.S. Census Bureau                    received benefits by multiplying the
                                                  as reported by the benefits granting                    population estimates, the foreign-born                 estimated number of households with at
                                                  agencies.843 However, data for public                   non-citizen population is 6.97 percent                 least one foreign-born non-citizen who
                                                  benefits programs do not identify the                   of the U.S. total population.845 While                 receives public benefits by the U.S.
                                                  nativity status of benefits recipients, i.e.,           there may be some variation in the                     Census Bureau’s estimated average
                                                  foreign-born or U.S. native. Therefore,                 percentage of foreign-born non-citizens                household size of 3.35 for those who are
                                                  DHS estimated the foreign-born non-                     who receive public benefits, including                 foreign-born.846
                                                  citizen population by converting the                    depending on which public benefits                        In this analysis, DHS uses the
                                                  average annual number of benefits                       program one considers, DHS assumes in                  American Community Survey (ACS) to
                                                  recipients using the U.S. Census                        this economic analysis that the                        develop population estimates along
                                                  Bureau’s American Community Survey                      percentage holds across the populations                with beneficiary data from each of the
                                                  (ACS) estimates. First, DHS estimated                   of the various public benefits programs.               benefits program. DHS recognizes that
                                                  the number of households receiving                      Therefore, to estimate the number of                   in other places in this preamble, the
                                                  benefits. Then, DHS estimated the                       households with at least one foreign-                  SIPP data is used rather than the ACS
                                                  number of households with at least one                  born non-citizen who receives public                   data, which may cause differences in
                                                  foreign-born non-citizen receiving                      benefits, DHS multiplied the estimated                 estimates. DHS notes that the ACS data
                                                  benefits based on the percentage of                     number of households for each public                   was used for the purposes of this
                                                  foreign-born non-citizens compared to                   benefits program by 6.97 percent. This                 analysis because it provided a cross-
                                                  the total U.S. population. Finally, the                 step may introduce uncertainty into the                sectional survey based on a random
                                                  number of public benefits recipients                                                                           sample of the population each year
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                                                  who are members of households that                        844 U.S. Census Bureau American FactFinder
                                                                                                                                                                 including current immigration
                                                  include foreign-born non-citizens                       Database. ‘‘S0501: Selected Characteristics of the     classifications. Both surveys reflect
                                                                                                          Native and Foreign-born Populations 2012–2016
                                                    843 DHS estimated the annual average number of        American Community Survey (ACS) 5-year                   846 U.S. Census Bureau American FactFinder

                                                  people who receive public benefits based on 5-year      Estimates.’’ Available at https://                     Database. ‘‘S0501: Selected Characteristics of the
                                                  averages generally over the period fiscal year 2013–    factfinder.census.gov/. Accessed June 16, 2018.        Native and Foreign-born Populations 2012–2016
                                                  2017, including LIS, SNAP, and SSI. DHS                   845 Ibid. Calculation: [22,214,947 (Foreign-born     American Community Survey (ACS) 5-year
                                                  calculated 5-year averages over the period fiscal       non-citizens)/318,558,162 (Total U.S. population)] *   Estimates.’’ Available at https://
                                                                                                                                                                                                                      EP10OC18.076</GPH>




                                                  year 2012–2016 for Medicaid and TANF.                   100 = 6.97 percent.                                    factfinder.census.gov/. Accessed June 16, 2018.



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                                                  substantial reliance by aliens on the                   overestimation. DHS welcomes                          public benefits program included in this
                                                  public benefits included in the                         comment, especially concerning data or                economic analysis. Therefore, DHS
                                                  proposed rule. DHS welcomes                             other evidence, that would allow for                  estimated the average annual benefit
                                                  comments on the use of data from the                    refinement of the estimate of the                     received per person for each public
                                                  American Community Survey (ACS) to                      percentage of household members who                   benefit program in table 50. The average
                                                  develop our estimates, and comments                     would be dissuaded from public                        benefit per person is calculated for each
                                                  on whether other data sources would be                  benefits participation.                               public benefit program by dividing the
                                                  useful in these calculations.                              DHS anticipates that a number of                   average annual program payments for
                                                    In the following analysis, the                        individuals would be likely to disenroll
                                                                                                                                                                on public benefits by the average annual
                                                  population estimate will be adjusted to                 or forego enrollment in a public benefits
                                                                                                                                                                total number of recipients.847 To the
                                                  reflect the percentage of aliens                        program as a result of the proposed rule,
                                                  intending to apply for adjustment of                    which would result in a reduction of                  extent that data are available, these
                                                  status, but not to reflect the possibility              transfer payments from the federal                    estimates are based on 5-year averages.
                                                  that less than 100 percent of their                     government to such individuals.
                                                  household members will be sufficiently                  However, to estimate the economic
                                                  concerned about potential consequences                  impact of disenrollment or foregone                     847 DHS notes that the amounts presented may

                                                  of the policies proposed in this rule to                enrollment from public benefits                       not account for overhead costs associated with
                                                                                                                                                                administering each of these public benefits
                                                  disenroll or forgo enrollment in public                 programs, it is necessary to estimate the             programs. The costs presented are based on
                                                  benefits. The resulting transfer estimates              average annual amount of public                       amounts recipients have received in benefits as
                                                  will therefore have a tendency toward                   benefits a person receives for each                   reported by benefits-granting agencies.
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                                                     Research shows that when eligibility                 study found that welfare enrollment in                as a percentage of the foreign-born non-
                                                  rules change for public benefits                        households headed by foreign-born                     citizen population in the United States,
                                                  programs there is evidence of a ‘‘chilling              individuals fell by about 21 percent.                 under the assumption that the
                                                  effect’’ that discourages immigrants                       To estimate the total transfer                     population likely to disenroll from or
                                                  from using public benefits programs for                 payments, DHS calculated the number                   forego enrollment in public benefits
                                                  which they are still eligible. For                      of individuals who are likely to                      programs would be individuals
                                                  example, the U.S. Department of                         disenroll from or forego enrollment in a              intending to apply for adjustment of
                                                  Agriculture (USDA) published a study                    public benefit program equal to 2.5                   status or individuals who have adjusted
                                                  shortly after the Personal Responsibility               percent of the number of foreign-born                 status within the past five years. DHS
                                                  and Work Opportunity Act of 1996                        non-citizens previously estimated.                    notes that this is likely an overestimate
                                                  (PRWORA) took effect and found that                     While previous studies examining the                  since it is unknown how many foreign-
                                                  the number of people receiving food                     effect of PRWORA in 1996 showed a                     born non-citizens adjusting status are
                                                  stamps fell by over 5.9 million between                 reduction in enrollment from 21 to 54                 actually using public benefits. For the 5-
                                                                                                          percent, it is unclear how many
                                                  summer 1994 and summer 1997.848 The                                                                           fiscal year period 2012–2016, the
                                                                                                          individuals would actually disenroll
                                                  study notes that enrollment in the food                                                                       foreign-born non-citizen population was
                                                                                                          from or forego enrollment in public
                                                  stamps program was falling during this                                                                        estimated to be 22,214,947.850 During
                                                                                                          benefits programs due to the proposed
                                                  period, possibly due to strong economic                 rule. The previous studies had the                    the same 5-fiscal year period, 544,246
                                                  growth, but the decline in enrollment                   benefit of retrospectively analyzing the              immigrants adjusted status annually in
                                                  was steepest among legal immigrants.                    chilling effect of PRWORA using actual                the United States on average.851 852
                                                  Under PRWORA, legal immigrants were                     enrollment data, instead of being                     Therefore, DHS assumes a 2.5 percent
                                                  facing significantly stronger restrictions              limited to prospectively estimating the               rate of disenrollment or foregone
                                                  through which most would become                         number of individuals who may                         enrollment across each of the public
                                                  ineligible to receive food stamps. The                  disenroll or forego enrollment in the                 benefits programs since the individuals
                                                  study also found that enrollment of legal               affected public benefits programs. This               intending to adjust status are most likely
                                                  immigrants in the food stamps program                   economic analysis must rely on the                    to disenroll from or forego enrollment in
                                                  fell by 54 percent. Moreover, another                   latter. Moreover, PRWORA was directly                 public benefits programs in order to
                                                  study found evidence of a ‘‘chilling                    changing eligibility requirements,                    preserve their chances of adjusting
                                                  effect’’ due to enactment of PRWORA                     whereas this proposed rule, if finalized,             status.853 Table 51 shows the estimated
                                                  where non-citizen enrollment in public                  would change enrollment incentives.                   population that would be likely to
                                                  benefits programs declined more steeply                 Therefore, DHS estimates this annual                  disenroll or forego enrollment in a
                                                  than U.S. citizen enrollment over the                   rate based on the number of foreign-                  public benefits program as a result of
                                                  period 1994 to 1997.849 Overall, the                    born immigrants seeking to adjust status              this proposed rule.




                                                     848 See Genser, J. (1999). Who is leaving the Food   noncitizens-and-citizens-use-public-benefits-         immigration-statistics/yearbook/2016 (accessed Jan.
                                                  Stamps Program: An analysis of Caseload Changes         following-welfare-reform. (Accessed June 17, 2018).   24, 2018).
                                                  from 1994 to 1997. Washington, DC: U.S.                   850 U.S. Census Bureau American FactFinder             852 Note that the population seeking extension of
                                                  Department of Agriculture, Food and Nutrition           Database. ‘‘S0501: Selected Characteristics of the    stay or change of status were not included in the
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                                                  Service, Office of Analysis, Nutrition, and             Native and Foreign-born Populations 2012–2016         calculation due to the nature of the populations
                                                  Evaluation. Available at https://www.fns.usda.gov/                                                            involved, namely people employed in jobs and their
                                                                                                          American Community Survey (ACS) 5-year
                                                  snap/who-leaving-food-stamp-program-analysis-                                                                 dependents. DHS assumes that these individuals
                                                  caseload-changes-1994-1997. (Accessed June 17,          Estimates. Available at https://
                                                                                                                                                                generally do not receive public benefits and have
                                                  2018).                                                  factfinder.census.gov/. Accessed June 16, 2018.       means of supporting themselves and their
                                                                                                            851 See United States Department of Homeland
                                                     849 See Fix, M.E., and Passel, J.S. (1999). Trends                                                         dependents.
                                                  in Noncitizens’ and Citizens’ Use of Public Benefits    Security. Yearbook of Immigration Statistics: 2016,      853 Calculation, based on 5-year averages over the

                                                  Following Welfare Reform: 1994–1997. Washington,        Table 7. Washington, DC, U.S. Department of           period fiscal year 2012–2016: (544,246 adjustments
                                                  DC: The Urban Institute. Available at https://          Homeland Security, Office of Immigration              of status/22,214,947 estimated foreign-born non-
                                                                                                                                                                                                                        EP10OC18.078</GPH>




                                                  www.urban.org/research/publication/trends-              Statistics, 2017. Available at https://www.dhs.gov/   citizen population) * 100 = 2.45 = 2.5% (rounded).



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                                                    Table 52 shows the estimated                          programs.854 This proposed rule would                 annual reduction in transfer payments
                                                  population that would be likely to                      result in a reduction of transfer                     paid by the federal government to
                                                  disenroll from or forego enrollment in                  payments from the federal government                  individuals who may choose to
                                                  public benefits programs due to the                     to those foreign-born non-citizens and                disenroll from or forego enrollment in
                                                  provisions of the proposed rule and the                 associated household members who                      public benefits programs is
                                                  total reduction in transfer payments                    choose to disenroll from or forego future             approximately $1.51 billion for an
                                                  paid by the federal government to this                  enrollment in a public benefits program.              estimated 324,438 individuals and
                                                  population. The table also presents the                 Transfer payments are payments from                   14,532 households across the public
                                                  previously estimated average annual                     one group to another that do not directly             benefits programs examined.
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                                                  benefit per person who received benefits                affect total resources available to
                                                  for each of the public benefits                         society.855 DHS estimates the total

                                                    854 As previously noted, the average annual           recipients have received in benefits as reported by      855 See Office of Management and Budget (OMB).

                                                  benefits per person amounts presented may not           benefits-granting agencies. Therefore, the costs      Circular A–4. September 17, 2003. Available at
                                                  account for overhead costs associated with              presented may underestimate the total amount of       https://www.whitehouse.gov/sites/whitehouse.gov/
                                                  administering each of these public benefits             transfer payments to the federal government.          files/omb/circulars/A4/a-4.pdf.
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                                                  programs since they are based on amounts



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                                                     Based on the rate of disenrollment or                there may also be additional reductions                 between 50 percent to an enhanced rate
                                                  foregone enrollment calculated, DHS                     in transfer payments from states to                     of 100 percent in some cases. However,
                                                  estimated the annual reduction in the                   individuals who may choose to                           assuming that the state share of federal
                                                  amount of transfer payments paid by the                 disenroll from or forego enrollment in a                financial participation (FFP) is 50
                                                  federal government to foreign-born non-                 public benefits program. Because state                  percent, then the 10-year discounted
                                                  citizens and members of their                           participation in these programs may                     amount of state transfer payments of
                                                  households by multiplying the average                   vary depending on the type of benefit                   this proposed policy would be
                                                  annual benefits per person by the                       provided, DHS was unable to quantify                    approximately $9.95 billion at a 3
                                                  population of foreign-born non-citizens                 the impact of state transfers. For                      percent discount rate and about $8.2
                                                  who are likely to disenroll from or                     example, the federal government funds                   billion at a 7 percent discount rate.
                                                  forego enrollment in a public benefit                   all SNAP food expenses, but only 50                     Finally, DHS recognizes that reductions
                                                  program.856                                             percent of allowable administrative                     in federal and state transfers under
                                                     However, DHS notes there may be                      costs for regular operating expenses.857                federal benefit programs may have
                                                  additional reductions in transfer
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                                                                                                          Similarly, Federal Medical Assistance                   downstream and upstream impacts on
                                                  payments that we are unable to                          Percentages (FMAP) in some HHS                          state and local economies, large and
                                                  quantify. As these estimates reflect only               programs like Medicaid can vary from
                                                  federal financial participation in                                                                              small businesses, and individuals. For
                                                  programs where states may share costs,                                                                          example, the rule might result in
                                                                                                            857 Per section 16(a) of the Food and Nutrition Act
                                                                                                                                                                  reduced revenues for healthcare
                                                                                                          of 2008. See also USDA, FNS Handbook 901, p. 41         providers participating in Medicaid,
                                                    856 DHS analyzes federal funds only as we are not     available at: https://fns-prod.azureedge.net/sites/
                                                  readily able to track down and identify the state       default/files/apd/FNS_HB901_v2.2_internet_              pharmacies that provide prescriptions to
                                                                                                                                                                                                             EP10OC18.080</GPH>




                                                  funds.                                                  Ready_Format.pdf.                                       participants in the Medicare Part D low-


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                                                  income subsidy (LIS) program,                           for such non-adjustment-related                       sensitivity analysis based on this issue
                                                  companies that manufacture medical                      purposes as well.                                     of the proximity of time to a review of
                                                  supplies or pharmaceuticals, grocery                       On the other hand, the 2.5 percent                 public charge inadmissibility. In such
                                                  retailers participating in SNAP,                        rate of disenrollment or foregone                     cases, DHS would consider past receipt
                                                  agricultural producers who grow foods                   enrollment estimate may result in an                  of public benefits within at least 36
                                                  that are eligible for purchase using                    overestimate, insofar as it does not                  months (3 years) as a heavily weighed
                                                  SNAP benefits, or landlords                             correct for those categories of aliens                negative factor under the proposed rule
                                                  participating in federally funded                       (such as asylees and refugees) that are               and that a prospective adjustment
                                                  housing programs.                                       exempt from the public charge ground                  applicant may choose to disenroll or
                                                                                                          of inadmissibility and assumes 100%                   forego enrollment for at least 36 months
                                                     However, the rate of disenrollment or
                                                                                                          are using public benefits which may not               in advance of such application. Table 53
                                                  foregone enrollment may result in an
                                                                                                          be true. DHS expects that the rule’s                  presents the potential range of the
                                                  underestimate, to the extent that
                                                                                                          effects on public benefit program                     population who may disenroll from or
                                                  covered aliens may choose to disenroll                                                                        forego enrollment in public benefits
                                                                                                          enrollment and disenrollment by such
                                                  from or forego enrollment in public                     categories of aliens and their                        programs as well as the potential total
                                                  benefits programs sooner than in the                    households would be less pronounced.                  reduction in transfer payments paid by
                                                  same year that the alien applies for                    Additionally, some prospective                        the federal government to this
                                                  adjustment of status. For instance,                     adjustment applicants and associated                  population. DHS estimates that the
                                                  because DHS would consider past                         household members may not choose to                   population range of foreign-born non-
                                                  receipt of public benefits within at least              disenroll or forego public benefits                   citizens who may disenroll from or
                                                  36 months as a heavily weighed factor                   because they may have other factors that              forego enrollment in public benefits
                                                  under the proposed rule, prospective                    counterbalance acceptance of public                   programs would range from
                                                  adjustment applicants may choose to                     benefits when looked at in the totality               approximately 333,239 to 999,717. In
                                                  disenroll or forego enrollment at least 36              of circumstances. DHS welcomes                        addition, the estimated reduction in
                                                  months in advance of such application.                  comments on the appropriate                           transfer payments paid by the federal
                                                  Some aliens and members of their                        methodology for estimating the rate of                government to this population ranges
                                                  households may adjust their behavior in                 disenrollment or foregone enrollment,                 from about $1.51 billion to $4.53 billion.
                                                  anticipation of eventually applying for                 including ways to improve upon the                    For this economic analysis, the primary
                                                  adjustment of status, but not know                      DHS methodology. DHS welcomes                         estimate upon which DHS bases its
                                                  exactly when they will submit such                      public comments on the estimation of                  analysis is the 1-year estimate, as shown
                                                  applications. In addition, because the                  the disenrollment or foregone                         below in the table. However, DHS
                                                  proposed rule also affects                              enrollment rate used in this analysis.                welcomes the public to comment on
                                                  inadmissibility determinations in                          However, in order to examine the                   DHS’s use of the 1-year estimate as its
                                                  contexts aside from adjustment of                       impact if prospective adjustment                      primary estimate as well as whether
                                                  status, some percentage of the alien                    applicants chose to disenroll or forego               using the 3-years estimate is a more
                                                  population is likely to disenroll from or               enrollment in public benefits at least 36             appropriate estimate to use as the
                                                  forego enrollment in covered programs,                  months in advance, DHS conducted a                    primary estimate.
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                                                    DHS presents this range since it is                   DHS plans to heavily weigh the receipt                annual reduction in transfer payments
                                                  possible that the number of people who                  of public benefits within the past 36                 could range between the three estimates
                                                  may disenroll from or forego enrollment                 months as a negative factor, individuals              presented in table 53.
                                                  in public benefits programs in one year                 may begin to disenroll or forego                        Another source of impacts of the
                                                  could be as many as the combined                        enrollment in public benefits programs                proposed rule would be costs to various
                                                  three-year total of people who may                      as early as three years prior to applying             individuals and other entities associated
                                                  disenroll or forego enrollment. Because                 for adjustment of status. As a result, the
                                                                                                                                                                                                             EP10OC18.081</GPH>




                                                                                                                                                                with familiarization with the provisions


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                                                  of the rule. Familiarization costs involve              advocacy group, may have more than                    among members of the U.S. citizen
                                                  the time spent reading the details of a                 one person who reads the rule.                        population who are not vaccinated;
                                                  rule to understand its changes. A                          In addition, the proposed rule may                    • Increases in uncompensated care in
                                                  foreign-born non-citizen (such as those                 impose costs that DHS is unable to                    which a treatment or service is not paid
                                                  contemplating disenrollment or                          quantify. Many federal agencies, such as              for by an insurer or patient; and
                                                  foregoing enrollment in a public                        USDA in administering the SNAP
                                                                                                          program, may need to update and re-                      • Increased rates of poverty and
                                                  benefits program) might review the rule
                                                                                                          write guidance documents or would                     housing instability; and
                                                  to determine whether they are subject to
                                                  the provisions of the proposed rule. To                 need to update forms used. Moreover,                     • Reduced productivity and
                                                  the extent an individual or entity that is              there may be additional unquantified                  educational attainment.
                                                  directly regulated by the rule incurs                   costs that state and local government                    DHS notes that the proposed rule is
                                                  familiarization costs, those                            may incur associated with similar                     likely to produce various other
                                                  familiarization costs are a direct cost of              activities. At each level of government,              unanticipated consequences and
                                                  the rule. In addition to those being                    it will also be necessary to prepare                  indirect costs. For example, community
                                                  directly regulated by the rule, a wide                  training materials and retrain staff. Such            based organizations, including small
                                                  variety of other entities would likely                  changes will require staff time and have              organizations, may provide charitable
                                                  choose to read the rule and also incur                  associated costs.                                     assistance, such as food or housing
                                                                                                             There are a number of consequences                 assistance, for individuals who forego
                                                  familiarization costs. For example,
                                                                                                          that could occur because of follow-on                 enrollment in public benefit programs.
                                                  immigration lawyers, immigration
                                                                                                          effects of the reduction in transfer                  DHS requests comments on other
                                                  advocacy groups, health care providers
                                                                                                          payments identified in the proposed
                                                  of all types, non-profit organizations,                                                                       possible consequences of the rule and
                                                                                                          rule. DHS is providing a listing of the
                                                  non-governmental organizations, and                                                                           appropriate methodologies for
                                                                                                          primary non-monetized potential
                                                  religious organizations, among others,                                                                        quantifying these non-monetized
                                                                                                          consequences of the proposed rule
                                                  may want to become familiar with the                                                                          potential impacts.
                                                                                                          below. Disenrollment or foregoing
                                                  provisions of this proposed rule. DHS                   enrollment in public benefits program                 (d) Discounted Direct Costs and
                                                  believes such non-profit organizations                  by aliens otherwise eligible for these                Reduced Transfer Payments
                                                  and other advocacy groups might                         programs could lead to:
                                                  choose to read the rule in order to                        • Worse health outcomes, including                   To compare costs over time, DHS
                                                  provide information to those foreign-                   increased prevalence of obesity and                   applied a 3 percent and a 7 percent
                                                  born non-citizens and associated                        malnutrition, especially for pregnant or              discount rate to the total estimated costs
                                                  households that might be impacted by a                  breastfeeding women, infants, or                      associated with the proposed rule. Table
                                                  reduction in federal transfer payments.                 children, and reduced prescription                    54 presents a summary of the quantified
                                                  Familiarization costs incurred by those                 adherence;                                            direct costs and reduced transfer
                                                  not directly regulated are indirect costs.                 • Increased use of emergency rooms                 payments from the federal government
                                                  DHS estimates the time that would be                    and emergent care as a method of                      included in the proposed rule. The
                                                  necessary to read the rule would be                     primary health care due to delayed                    summary table presents costs in
                                                  approximately 8 to 10 hours per person,                 treatment;                                            undiscounted dollars as well as dollars
                                                  resulting in opportunity costs of time.                    • Increased prevalence of                          discounted at 3 percent and 7 percent
                                                  An entity, such as a non-profit or                      communicable diseases, including                      rates over a 10-year period.
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                                                  i. Discounted Direct Costs                              inadmissibility based on public charge                I–485, I–129, I–129CW, and I–539. See
                                                                                                          when applying for adjustment of status                table 55. The total estimated costs are
                                                    DHS presents the total estimated costs                and the opportunity cost of time                      presented in undiscounted dollars, at a
                                                  for filing Form I–944 as part of the                    associated with the increased time                    3 percent discount rate, and at a 7
                                                  review for determination of                             burden estimate for completing Forms                  percent discount rate.
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                                                    Over the first 10 years of                            applying to adjust status subject to                  However, previously in this economic
                                                  implementation, DHS estimates the                       review for public charge determination                analysis, DHS presented a more detailed
                                                  quantified direct costs of the proposed                 and the opportunity cost of time                      range of RFEs that could be issued based
                                                  rule would range from about                             associated with the increased time                    on total population estimates and the
                                                  $453,134,220 to $1,295,968,450                          burden estimates for completing Forms                 estimated annual cost associated with
                                                  (undiscounted). In addition, DHS                        I–485, I–129, I–129CW, and I–539. The                 such RFEs. DHS welcomes any public
                                                  estimates that the 10-year discounted                   economic analysis also presents the                   comments on the discounted costs
                                                  cost of this proposed rule to individuals               quantified costs associated with the                  presented in this proposed rule.
                                                  applying to adjust status who would be                  proposed public charge bond process,
                                                                                                          including costs associated with                       ii. Discounted Reduction in Transfer
                                                  required to undergo review for
                                                                                                          completing and filing Forms I–945 and                 Payments
                                                  determination of inadmissibility based
                                                  on public charge would range from                       I–356. DHS reiterates we are unable to                  DHS presents the total estimated
                                                  about $386,532,679 to $1,105,487,375 at                 estimate the actual number of Form I–                 quantified reduction in transfer
                                                  a 3 percent discount rate and about                     129 or Form I–129CW petitioners and                   payments from the federal government
                                                  $318,262,513 to $910,234,008 at a 7                     Form I–539 filers that adjudication                   of the proposed rule in table 56. The
                                                  percent discount rate.                                  officers would require through a RFE to               total estimated costs are presented in
                                                    This economic analysis presents the                   submit Form I–944 since such RFE                      undiscounted dollars, at a 3 percent
                                                  quantified costs of this proposed rule                  would be issued on a discretionary basis              discount rate, and at a 7 percent
                                                  based on the estimated population                       as outlined in the proposed rule.                     discount rate.
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                                                    Over the first 10 years of                            the fee for the adjudication of Form I–               Therefore, using the average total rate of
                                                  implementation, DHS estimates the total                 485, Application to Register Permanent                compensation of $35.78 per hour, DHS
                                                  quantified reduction in transfer                        Residence or Adjust Status; Form I–129,               estimates the amount of benefits that
                                                  payments from the federal government                    Petition for a Nonimmigrant Worker;                   would accrue from eliminating Form I–
                                                  to foreign-born non-citizens and their                  Form I–129CW, Petition for a CNMI-                    864W would be $35.78 per petitioner,
                                                  households would be about $22.7                         Only Nonimmigrant Transitional                        which equals the opportunity cost of
                                                  billion (undiscounted). In addition, DHS                Worker; and Form I–539, Application to                time for completing Form I–864W.859
                                                  estimates that the 10-year discounted                   Extend/Change Nonimmigrant Status in                  However, DHS notes that we are unable
                                                  costs of this proposed rule would be                    accordance with this requirement. Other               to determine the annual number filings
                                                  approximately $19.3 billion at a 3                      forms affected by this proposed rule do               of Form I–864W since we do not
                                                  percent discount rate and about $15.9                   not currently charge a filing fee,                    currently have information of how many
                                                  billion at a 7 percent discount rate due                including Form I–693, Medical                         of these filings are based on public
                                                  to disenrollment or foregone enrollment                 Examination and Vaccination Record;                   charge determinations.
                                                  in various federal public benefits                      Affidavit of Support forms (Form I–864,                  In addition, a benefit of establishing
                                                  programs. In addition, DHS assumes                      Form I–864A, Form I–864EZ, and I–                     and modifying the public charge bond
                                                  that the state share of federal financial               864W); Form I–912, Request for Fee                    process, despite the costs associated
                                                  participation (FFP) is 50 percent and                   Waiver, and Form I–407, Record of                     with this process, would potentially
                                                  therefore the 10-year discounted amount                 Abandonment of Lawful Permanent                       allow an immigrant the opportunity to
                                                  of the state-level share of transfer                    Resident Status. DHS notes that the time              be admitted although he or she was
                                                  payments of this proposed rule would                    necessary for USCIS to review the                     deemed likely to become a public
                                                  be approximately $9.65 billion at a 3                   information submitted with each of                    charge. DHS welcomes any public
                                                  percent discount rate and about $7.95                   these forms includes the time to                      comments on the benefits of this
                                                  billion at a 7 percent discount rate.                   adjudicate the underlying benefit                     proposed rule.
                                                  Disenrollment or foregone enrollment in                 request. While each of these forms does
                                                  public benefits programs could occur                    not charge a fee, the cost to USCIS is                B. Regulatory Flexibility Act
                                                  whether or not such immigrants are                      captured in the fee for the underlying                  The Regulatory Flexibility Act of 1980
                                                  directly affected by the provisions of the              benefit request form. DHS welcomes                    (RFA), 5 U.S.C. 601–612, as amended by
                                                  proposed rule, however, USCIS was                       public comments on costs to the                       the Small Business Regulatory
                                                  unable to determine the exact                           government from this proposed rule.                   Enforcement Fairness Act of 1996,
                                                  percentage of individuals who would                                                                           Public Law 104–121 (March 29, 1996),
                                                  disenroll or forego enrollment. DHS                     (f) Benefits of Proposed Regulatory
                                                                                                          Changes                                               requires Federal agencies to consider
                                                  notes that there may be a number of                                                                           the potential impact of regulations on
                                                  additional sources of transfer payments                    The primary benefit of the proposed                small businesses, small governmental
                                                  that could result from the proposed rule                rule would be to better ensure that                   jurisdictions, and small organizations
                                                  that DHS is not able to estimate and                    aliens who are admitted to the United                 during the development of their rules.
                                                  quantify at this time. Therefore, DHS                   States or apply for adjustment of status              The term ‘‘small entities’’ comprises
                                                  welcomes public comments on                             would not receive one or more public                  small businesses, not-for-profit
                                                  additional sources of transfer payments                 benefits as defined in the proposed                   organizations that are independently
                                                  that could result from the proposed rule.               212.21(b) and instead, will rely on their             owned and operated and are not
                                                  (e) Costs to the Federal Government                     financial resource, and those of family               dominant in their fields, or
                                                                                                          members, sponsors, and private                        governmental jurisdictions with
                                                     The INA provides for the collection of               organizations. As a result, DHS is
                                                  fees at a level that will ensure recovery                                                                     populations of less than 50,000.860 This
                                                                                                          establishing a more formal review                     proposed rule would require an
                                                  of the full costs of providing                          process and improving the current
                                                  adjudication and naturalization                                                                               individual applying for a visa, seeking
                                                                                                          review process to standardize the                     admission at the port of entry, or
                                                  services, including administrative costs                determination of inadmissibility based
                                                  and services provided without charge to                                                                       adjusting status to establish that he or
                                                                                                          on public charge grounds. The proposed                she is not likely at any time to become
                                                  certain applicants and petitioners. See                 process would also help clarify to
                                                  INA section 286(m), 8 U.S.C. 1356(m).                                                                         a public charge. Most of this rule’s
                                                                                                          applicants the specific criteria that                 proposed changes do not fall under the
                                                  DHS notes that USCIS establishes its                    would be considered as inadmissible
                                                  fees by assigning costs to an                                                                                 RFA because they directly regulate
                                                                                                          under public charge determinations.                   individuals who are not, for purposes of
                                                  adjudication based on its relative                         DHS anticipates that the proposed
                                                  adjudication burden and use of USCIS                                                                          the RFA, within the definition of small
                                                                                                          rule would produce some benefits from                 entities established by 5 U.S.C. 601(6).
                                                  resources. Fees are established at an                   the elimination of Form I–864W for use
                                                  amount that is necessary to recover                                                                           However, DHS recognizes that there
                                                                                                          in filing an affidavit of support. The                may be some provisions of this
                                                  these assigned costs such as clerical,                  information previously requested on the
                                                  officers, and managerial salaries and                                                                         proposed rule that would directly
                                                                                                          Form I–864W would now be captured                     regulate small entities, and, therefore,
                                                  benefits, plus an amount to recover                     using Form I–485. Applicants, therefore,
                                                  unassigned overhead (e.g., facility rent,               would not be required to file a form
                                                  IT equipment and systems among other                                                                          864, I–864A, I–864EZ, I–864W) (OMB control
                                                                                                          separate from the Form I–485. As noted                number 1615–0075). The PRA Supporting
                                                  expenses) and immigration benefits
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                                                                                                          previously, there is no filing fee                    Statement can be found at Question 12 on
                                                  provided without a fee charge.
                                                                                                          associated with filing Form I–864W, but               Reginfo.gov at https://www.reginfo.gov/public/do/
                                                  Consequently, since USCIS immigration                                                                         PRAViewDocument?ref_nbr=201705-1615-004.
                                                                                                          DHS estimates the time burden
                                                  fees are based on resource expenditures                                                                         859 Calculation opportunity cost of time for
                                                                                                          associated with filing this form is 60
                                                  related to the benefit in question, USCIS                                                                     completing and submitting Form I–864W: ($35.78
                                                                                                          minutes (1 hour) per petitioner.858                   per hour * 1.0 hours) = $35.78.
                                                  uses the fee associated with an                                                                                 860 A small business is defined as any
                                                  information collection as a reasonable                    858 Source for I–864W time burden estimate:         independently owned and operated business not
                                                  measure of the collection’s costs to                    Paperwork Reduction Act (PRA) Affidavit of            dominant in its field that qualifies as a small
                                                  USCIS. Therefore, DHS has established                   Support Under Section 213A of the INA (Forms I–       business per the Small Business Act, 15 U.S.C. 632.



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                                                  DHS has examined the impact of this                       the alien’s sponsor and any other factors              per request and a fee to DHS of $25.00.
                                                  proposed rule on small entities.                          relevant to the likelihood of the alien                It is not known the number of surety
                                                    This proposed rule would increase                       becoming a public charge.                              bond companies that might complete
                                                  the time burden by an additional 30                          2. A succinct statement of the                      and file Forms I–945 and I–356 due to
                                                  minutes on petitioners who file Form I–                   objectives of, and legal basis for, the                a lack of historical data and uncertainty
                                                  129 or Form I–129CW on behalf of a                        proposed rule.                                         in the number individuals that may be
                                                  beneficiary requesting an extension of                       DHS objectives and legal authority for              granted the opportunity to post for
                                                  stay or change of status, which would                     this proposed rule are discussed in the                public charge bond. However, DHS
                                                  impose direct costs on these petitioners.                 preamble of the proposed rule.                         estimates that the filing volume for
                                                  Additionally, the proposed provisions                        3. A description and, where feasible,               Form I–945 might be about 960 and the
                                                  to establish a public charge bond                         an estimate of the number of small                     filing volume for Form I–356 might be
                                                  process included in this proposed rule                    entities to which the proposed changes                 approximately 25. While DHS cannot
                                                  would allow for either an alien or an                     would apply.                                           predict the exact number of surety
                                                  obligor (individual or an entity) to                         This proposed rule would increase                   companies that might be impacted by
                                                  request a cancellation of a public bond.                  the time burden by an additional 30                    this proposed rule, nine out of 273
                                                  As a result, this proposed rule could                     minutes on petitioners who file Form I–                Treasury-certified surety companies in
                                                  have direct impacts on small entities                     129 or Form I–129CW on behalf of a                     fiscal year 2015 posted new immigration
                                                  that are obligors. DHS also recognizes                    beneficiary requesting an extension of                 bonds with DHS ICE.863 DHS found that
                                                  that a Form I–129 or Form I–129CW                         stay or change of status, which would                  of the nine surety companies, four
                                                  beneficiary, for whom a Form I–129 or                     impose direct costs on these petitioners               entities were considered ‘‘small’’ based
                                                  Form I–129CW petitioner (i.e., the                        and entities.862 As previously discussed               on the number of employees or revenue
                                                  employer) sought either an extension of                   in the E.O. 12866 section of this NPRM,                being less than their respective Small
                                                  stay or a change of status, may have to                   DHS estimates an annual population of                  Business Administration size
                                                  leave the U.S. if the employer’s request                  336,335 beneficiaries seeking extension                standard.864 Assuming these nine surety
                                                  was denied. In these cases, the                           of stay or change of status through a                  companies post public charge bonds
                                                  petitioner may lose the beneficiary as an                 petitioning employer using Form I–129.                 with USCIS, we can assume that four
                                                  employee and may incur labor turnover                     In addition, DHS estimates an annual                   surety companies may be considered as
                                                  costs. DHS presents this Initial                          population of 6,307 beneficiaries
                                                                                                                                                                   small entities. However, USCIS cannot
                                                  Regulatory Flexibility Analysis (IRFA)                    seeking extension of stay or change of
                                                                                                                                                                   predict the exact impact to these small
                                                  to examine these impacts.                                 status through a petitioning employer
                                                                                                                                                                   entities at this time. We expect that
                                                                                                            using Form I–129CW. DHS estimates
                                                  Initial Regulatory Flexibility Analysis                                                                          obligors would be able to pass along the
                                                                                                            that the 30-minute increase in the
                                                                                                                                                                   costs of this rulemaking to the aliens.
                                                     The small entities that could be                       estimated time burden for these
                                                                                                                                                                   DHS welcomes any public comments or
                                                  impacted by this proposed rule are                        populations would increase the
                                                                                                                                                                   data on the number of small entities that
                                                  petitioners who file Form I–129 or Form                   opportunity cost of time for completing
                                                                                                                                                                   would be surety companies likely to
                                                  I–129CW on behalf of beneficiaries                        and filing Form I–129 and Form I–
                                                                                                                                                                   post public charge bonds and any direct
                                                  requesting an extension of stay or                        129CW and would result in about $184
                                                                                                            million and about $5 million in costs,                 impacts on those small surety
                                                  change of status as well as obligors that
                                                                                                            respectively. For this population, DHS                 companies.
                                                  would request a cancellation of a public                                                                            4. A description of the projected
                                                  bond.                                                     is unable to estimate the actual number
                                                                                                                                                                   reporting, recordkeeping, and other
                                                     1. A description of the reasons why                    of requests for evidence (RFEs) that
                                                                                                                                                                   compliance requirements of the
                                                  the action by the agency is being                         adjudication officers may issue to Form
                                                                                                                                                                   proposed rule, including an estimate of
                                                  considered.                                               I–129 beneficiaries to complete Form I–
                                                     DHS seeks to better ensure that                                                                               the classes of small entities that will be
                                                                                                            944 to provide evidence that they are
                                                  applicants for admission to the United                                                                           subject to the requirement and the types
                                                                                                            not likely to become a public charge
                                                  States and applicants for adjustment of                                                                          of professional skills necessary for
                                                                                                            when they are extending stay or
                                                  status to lawful permanent resident who                                                                          preparation of the report or record.
                                                                                                            changing status. Therefore, DHS cannot                    In addition to time burden costs
                                                  are subject to the public charge ground                   determine the number of small entities                 discussed in Section C of this IFRA,
                                                  of inadmissibility are self-sufficient, i.e.,             that might be impacted by potential                    DHS recognizes that a Form I–129 or
                                                  they will rely on their own financial                     requests to complete the Form I–944 as                 Form I–129CW beneficiary, for whom a
                                                  resources as well as the financial                        part of an RFE.                                        Form I–129 or Form I–129CW petitioner
                                                  resources of their family, sponsors, and                     The proposed provisions on the bond
                                                                                                                                                                   (i.e., the employer) sought either an
                                                  private organizations as necessary.861                    process included in this rule would
                                                                                                                                                                   extension of stay or a change of status,
                                                  Under section 212(a)(4) of the Act, 8                     allow a surety company to become an
                                                                                                                                                                   may have to leave the U.S. if the
                                                  U.S.C. 1182(a)(4), an alien is                            obligor on a public charge bond
                                                                                                                                                                   employer’s request was denied. In these
                                                  inadmissible if, at the time of an                        (proposed Form I–945) and, later, to
                                                                                                                                                                   cases, the petitioner may lose the
                                                  application for a visa, admission, or                     request a cancellation of such a bond
                                                                                                                                                                   beneficiary as an employee and may
                                                  adjustment of status, he or she is likely                 (proposed Form I–356). Therefore, this
                                                                                                                                                                   incur labor turnover costs. A 2012
                                                  at any time to become a public charge.                    proposed rule could have some impacts
                                                                                                                                                                   report published by the Center for
                                                  The statute requires DHS to consider the                  to surety companies, some of which are
                                                                                                                                                                   American Progress surveyed several
                                                  following minimum factors that reflect                    small entities. A request for cancellation
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                                                  the likelihood that an alien will become                  of a public bond using Form I–356                         863 See DHS, Procedures and Standards for
                                                  a public charge: The alien’s age; health;                 includes a time burden of 15 minutes                   Declining Surety Immigration Bonds and
                                                  family status; assets, resources, and                                                                            Administrative Appeal Requirement for Breaches
                                                  financial status; and education and                         862 In the context of Form I–129, a petitioner is    NPRM, 83 FR 25951, 25962–25965 (June 5, 2018).
                                                  skills. In addition, DHS may consider                     typically an employer or the representative of an         864 U.S. Small Business Administration, Table of

                                                                                                            employer who files on behalf of a nonimmigrant         Small Business Size Standards Matched to North
                                                  any affidavit of support submitted by                     worker (or beneficiary) to come to the United States   American Industry Classification System (NAICS)
                                                                                                            temporarily to perform services or labor, or to        Codes, February 26, 2016. https://www.sba.gov/
                                                    861 See   8 U.S.C. 1601(2).                             receive training. See https://www.uscis.gov/i-129.     sites/default/files/files/Size_Standards_Table.pdf.



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                                                  dozen studies that considered both                      costs are accounted for the in the E.O.               121, 110 Stat. 847, 868 et seq.
                                                  direct and indirect costs and determined                12866 sections.                                       Accordingly, this rule, if enacted as a
                                                  that turnover costs per employee ranged                    5. An identification of all relevant               final rule, would be effective at least 60
                                                  from 10 to 30 percent of the salary for                 Federal rules, to the extent practical,               days after the date on which Congress
                                                  most salaried workers.865 An employer                   that may duplicate, overlap, or conflict              receives a report submitted by DHS
                                                  paid an average of about 20 percent of                  with the proposed rule.                               under the Congressional Review Act, or
                                                  the worker’s salary in total labor                         DHS is unaware of any duplicative,                 60 days after the final rule’s publication,
                                                  turnover costs. Specifically, for workers               overlapping, or conflicting Federal                   whichever is later.
                                                  earning $50,000 or less, and for workers                rules, but invites any public comment
                                                                                                          and information regarding any such                    D. Unfunded Mandates Reform Act
                                                  earning $75,000 or less, the average
                                                  turnover cost was about 20 percent for                  rules. Elsewhere in the preamble to the                 The Unfunded Mandates Reform Act
                                                  both earning levels. According to the                   proposed rule, DHS addresses the                      of 1995 (UMRA) is intended, among
                                                  study, these earning levels                             relationship between this proposed rule               other things, to curb the practice of
                                                  corresponded to the 75th and 90th                       and the standards governing alien                     imposing unfunded Federal mandates
                                                  percentiles of typical earnings,                        eligibility for public benefits, as                   on State, local, and tribal governments.
                                                  respectively. Assuming Form I–129 and                   outlined in PRWORA.                                   Title II of UMRA requires each Federal
                                                  Form I–129CW beneficiaries are                             6. Description of any significant                  agency to prepare a written statement
                                                  employed, DHS believes it is reasonable                 alternatives to the proposed rule that                assessing the effects of any Federal
                                                  to assume an annual mean wage of                        accomplish the stated objectives of                   mandate in a proposed or final agency
                                                  $50,620 across all occupations.866                      applicable statutes and that minimize                 rule that may directly result in a $100
                                                  Assuming an average labor turnover cost                 any significant economic impact of the                million or more expenditure (adjusted
                                                  of 20 percent of $50,620, on average, an                proposed rule on small entities.                      annually for inflation) in any one year
                                                                                                             DHS considered a range of potential                by State, local, and tribal governments,
                                                  employer could incur costs of
                                                                                                          alternatives to the proposed rule. First,             in the aggregate, or by the private sector.
                                                  approximately $10,124 per beneficiary
                                                                                                          under a ‘‘no action’’ alternative, DHS                The inflation-adjusted value of $100
                                                  that would be separated from
                                                                                                          would continue administering the                      million in 1995 is approximately $161
                                                  employment as a result of a denied
                                                                                                          public charge ground of inadmissibility               million in 2017 based on the Consumer
                                                  request for an extension of stay or                     under the 1999 Guidance. For reasons
                                                  change of status. However, DHS does                                                                           Price Index for All Urban Consumers.867
                                                                                                          explained more fully elsewhere in the                   This proposed rule does not contain
                                                  not know the number of small entities                   preamble to the proposed rule, DHS
                                                  within this population of petitioners                                                                         such a mandate. The requirements of
                                                                                                          determined that this alternative would                Title II of UMRA, therefore, do not
                                                  that might incur labor turnover costs.                  not adequately ensure the self-
                                                     Additionally, DHS also recognizes                                                                          apply, and DHS has not prepared a
                                                                                                          sufficiency of aliens subject to the                  statement under UMRA.
                                                  that a Form I–129 or Form I–129CW                       public charge ground of inadmissibility.
                                                  beneficiary, for whom a Form I–129 or                   Second, DHS considered including a                    E. Executive Order 13132 (Federalism)
                                                  Form I–129CW petitioner (i.e., the                      more expansive definition of ‘‘public                   This rule will not have substantial
                                                  employer) sought either an extension of                 benefit,’’ potentially to include a range             direct effects on the States, on the
                                                  stay or a change of status and the                      of non-cash benefit programs falling in               relationship between the National
                                                  request was denied, may still be able to                specific categories (such as programs                 Government and the States, or on the
                                                  get a visa and return to the U.S.,                      that provide assistance for basic food                distribution of power and
                                                  including pursuant to other means. DHS                  and nutrition, housing, and medical                   responsibilities among the various
                                                  welcomes any public comments or data                    care). For reasons explained more fully               levels of government. DHS does not
                                                  on the impact to the petitioners or                     elsewhere in the preamble to the                      expect that this proposed rule would
                                                  employers of Form I–129 or Form I–                      proposed rule, DHS chose the approach                 impose substantial direct compliance
                                                  129CW beneficiaries who are denied an                   contained in this proposed rule—a more                costs on State and local governments, or
                                                  extension of stay or change of status due               limited list of high-expenditure non-                 preempt State law. Therefore, in
                                                  to public charge inadmissibility.                       cash benefits. DHS expects that, as                   accordance with section 6 of Executive
                                                     DHS does not believe that it would be                compared to the broader alternative, the              Order 13132, it is determined that this
                                                  necessary for Form I–129 or Form I–                     proposed approach may reduce the                      rule does not have sufficient federalism
                                                  129CW petitioners, or for surety bond                   overall effect of the rule on transfers, but          implications to warrant the preparation
                                                  companies (obligors) to acquire                         enhance its administrability and                      of a federalism summary impact
                                                  additional types of professional skills as              predictability. Employers filing Form I–              statement.
                                                  a result of this proposed rule. These                   129 and surety companies would have
                                                  petitioners and obligors should already                                                                       F. Executive Order 12988 (Civil Justice
                                                                                                          a better understanding of the types of
                                                  possess the expertise to fill out the                                                                         Reform)
                                                                                                          non-cash benefits that may be covered
                                                  associated forms for this proposed rule.                under this proposed rule than they                      This rule meets the applicable
                                                  Additionally, these petitioners and                     would under the broader alternative,                  standards set forth in sections 3(a) and
                                                  obligors would be familiar with the                     and may realize cost savings as a result.             3(b)(2) of Executive Order 12988.
                                                  proposed rule and such familiarization                  In addition, certain indirect effects of              G. Executive Order 13175 Consultation
                                                                                                          the rule may be different as a result of              and Coordination With Indian Tribal
                                                    865 See ‘‘There Are Significant Business Costs to     the decision to reject this alternative.
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                                                  Replacing Employees,’’ by Heather Boushey and                                                                 Governments
                                                  Sarah Jane Glynn (2012), Center for American            C. Congressional Review Act
                                                  Progress, available: https://
                                                                                                                                                                   This proposed rule does not have
                                                  www.americanprogress.org/issues/economy/                  This proposed rule is a major rule as               tribal implications under Executive
                                                  reports/2012/11/16/44464/there-are-significant-         defined by 5 U.S.C. 804, also known as
                                                  business-costs-to-replacing-employees/.                 the ‘‘Congressional Review Act,’’ as                    867 U.S. Bureau of Labor Statistics, Historical
                                                    866 Bureau of Labor Statistics, May 2017 National                                                           Consumer Price Index for All Urban Consumers
                                                  Occupational Employment and Wage Estimates, All
                                                                                                          enacted in section 251 of the Small                   (CPI–U): U.S. City Average, All Items, available at
                                                  Occupations, https://www.bls.gov/oes/2017/may/          Business Regulatory Enforcement                       https://www.bls.gov/cpi/tables/historical-cpi-u-
                                                  oes_nat.htm.                                            Fairness Act of 1996, Public Law 104–                 201712.pdf (last visited Jan. 31, 2018).



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                                                  Order 13175, Consultation and                           (‘‘categorical exclusions’’) which                    enhanced evidentiary requirements for
                                                  Coordination with Indian Tribal                         experience has shown do not                           public charge inadmissibility
                                                  Governments, because it would not have                  individually or cumulatively have a                   determinations by USCIS. Finally, the
                                                  a substantial direct effect on one or                   significant effect on the human                       rule proposes to revise the public charge
                                                  more Indian tribes, on the relationship                 environment and, therefore, do not                    bond process. Overall, the proposed
                                                  between the Federal Government and                      require an Environmental Assessment                   regulatory changes, if finalized, would
                                                  Indian tribes, or on the distribution of                (EA) or Environmental Impact                          require a more in-depth adjudication of
                                                  power and responsibilities between the                  Statement (EIS). 40 CFR                               public charge issues and have the
                                                  Federal Government and Indian tribes.                   1507.3(b)(1)(iii), 1508.4. DHS                        potential to result in more findings of
                                                  H. Family Assessment                                    Instruction 023–01–001 Rev. 01                        inadmissibility, ineligibility for
                                                                                                          establishes such Categorical Exclusions               adjustment of status, or denials of
                                                     DHS has reviewed this proposed rule                  that DHS has found to have no such                    requests for extension of stay or change
                                                  in line with the requirements of section                effect. Inst. 023–01–001 Rev. 01                      of status, on public charge grounds.
                                                  654 of the Treasury General                             Appendix A Table 1. For an action to be                  Historically, there is a high demand
                                                  Appropriations Act, 1999, Public Law                    categorically excluded, DHS Inst. 023–                for both immigrant and nonimmigrant
                                                  105–277. With respect to the criteria                   01–001 Rev. 01 requires the action to                 visas. Even if larger numbers of aliens
                                                  specified in section 654(c)(1), DHS has                 satisfy each of the following three                   were now found to be inadmissible on
                                                  determined that the proposed rule may                   conditions: (1) The entire action clearly             public charge grounds as a result of this
                                                  decrease disposable income and                          fits within one or more of the                        rule, there may be some replacement
                                                  increase the poverty of certain families                Categorical Exclusions; (2) the action is             effect from others who would, in turn,
                                                  and children, including U.S. citizen                    not a piece of a larger action; and (3) no            be considered for the existing visas.
                                                  children. For the reasons stated                        extraordinary circumstances exist that                Therefore, DHS cannot estimate with
                                                  elsewhere in this preamble, however,                    create the potential for a significant                any degree of certainty to what extent
                                                  DHS has determined that the benefits of                 environmental effect. Inst. 023–01–001                the potential for increased findings of
                                                  the action justify the financial impact on              Rev. 01 section V.B(1)–(3).                           inadmissibility on public charge
                                                  the family. Further, the proposed action
                                                                                                             DHS analyzed this action and has                   grounds would result in fewer
                                                  would expand the list of public benefits
                                                                                                          concluded that NEPA does not apply                    individuals being admitted to the
                                                  that DHS may consider for purposes of
                                                                                                          due to the excessively speculative                    United States. DHS is also unable to
                                                  inadmissibility under section 212(a)(4)
                                                  of the Act. As a result, the proposed                   nature of any effort to conduct an                    estimate with any degree of certainty
                                                  regulatory action, if finalized, may                    impact analysis. Nevertheless, if NEPA                whether the proposed rule would result
                                                  increase the number of aliens found                     did apply to this action, the action                  in increased denial of applications for
                                                  inadmissible under section 212(a)(4) of                 clearly would come within our                         extension of stay or change of status.
                                                  the Act. As described under the                         categorical exclusion A.3(d) as set forth             DHS does not, however, anticipate that
                                                  SUPPLEMENTARY INFORMATION section of
                                                                                                          in DHS Inst. 023–01–001 Rev. 01,                      this proposed rule will cause an
                                                  this rule, DHS has compelling legal and                 Appendix A, Table 1.                                  increase in the number of individuals
                                                  policy reasons for the proposed                            This proposed rule applies to                      found to be admissible, or eligible for an
                                                  regulatory action, including, but not                   applicants for admission or adjustment                extension of stay, or adjustment or
                                                  limited to, better ensuring the self-                   of status, as long as the individual is               change of status. Even if DHS could
                                                  sufficiency of aliens admitted or                       applying for an immigration status that               estimate these numerical effects, any
                                                  immigrating to the United States, and                   is subject to the public charge ground of             assessment of derivative environmental
                                                  minimizing the financial burden of                      inadmissibility. In addition, the                     effect at the national level would remain
                                                  aliens on the U.S. social safety net.                   proposed rule would potentially affect                unduly speculative.
                                                                                                          individuals applying for an extension of                 This rule is not part of a larger action
                                                  I. National Environmental Policy Act                    stay or change of status because these                and presents no extraordinary
                                                     DHS analyzes actions to determine                    individuals would have to demonstrate                 circumstances creating the potential for
                                                  whether NEPA applies to them and if so                  that they are neither receiving, nor                  significant environmental effects.
                                                  what degree of analysis is required. DHS                likely to receive, public benefits as                 Therefore, if NEPA were determined to
                                                  Directive (Dir) 023–01 Rev. 01 and                      defined in the proposed rule. As                      apply, this rule would be categorically
                                                  Instruction (Inst.) 023–01–001 rev. 01                  discussed in detail above, this rule                  excluded from further NEPA review.
                                                  establish the procedures that DHS and                   proposes to establish a definition of
                                                                                                                                                                J. Paperwork Reduction Act
                                                  its components use to comply with                       public charge and expand the types of
                                                  NEPA and the Council on                                 public benefits that DHS would                          Under the Paperwork Reduction Act
                                                  Environmental Quality (CEQ)                             consider as part of its public charge                 of 1995, Public Law 104–13, agencies
                                                  regulations for implementing NEPA, 40                   inadmissibility determinations. The rule              are required to submit to OMB, for
                                                  CFR parts 1500 through 1508. The CEQ                    also proposes to establish a regulatory               review and approval, any reporting
                                                  regulations allow federal agencies to                   framework based on the statutory factors              requirements inherent in a rule. Table
                                                  establish, with CEQ review and                          that must be considered in public                     57 shows the summary of forms that are
                                                  concurrence, categories of actions                      charge determinations, including                      part of this rulemaking.
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                                                  USCIS Form I–944                                        validity of the methodology and                       charge ground of inadmissibility to file
                                                     DHS invites comment on the impact                    assumptions used;                                     Form I–944. On a case by case basis,
                                                                                                            3. Enhance the quality, utility, and                USCIS may request that a nonimmigrant
                                                  to the proposed collection of
                                                                                                          clarity of the information to be                      seeking to extend stay or change status
                                                  information. In accordance with the
                                                                                                          collected; and                                        (Form I–539 or Form I–129) and persons
                                                  PRA, the information collection notice                    4. Minimize the burden of the
                                                  is published in the Federal Register to                                                                       filing USCIS Form I–129CW to file Form
                                                                                                          collection of information on those who                I–944. The data collected on these forms
                                                  obtain comments regarding the                           are to respond, including through the
                                                  proposed edits to the information                                                                             will be used by USCIS to determine the
                                                                                                          use of appropriate automated,                         likelihood of a declarant becoming a
                                                  collection instrument.                                  electronic, mechanical, or other
                                                     Comments are encouraged and will be                                                                        public charge based on the factors
                                                                                                          technological collection techniques or                regarding health; family status; assets,
                                                  accepted for 60 days from the                           other forms of information technology,
                                                  publication date of the proposed rule.                                                                        resource, and financial status; and
                                                                                                          e.g., permitting electronic submission of             education and skills. The forms serve
                                                  All submissions received must include                   responses.
                                                  the OMB Control Number 1615–NEW in                                                                            the purpose of standardizing public
                                                                                                            Overview of information collection:                 charge evaluation metrics and ensure
                                                  the body of the letter and the agency                     1. Type of Information Collection:
                                                  name. To avoid duplicate submissions,                                                                         that declarants provide all essential
                                                                                                          New Collection.                                       information required for USCIS to assess
                                                  please use only one of the methods                        2. Title of the Form/Collection:
                                                  under the ADDRESSES and I. Public                                                                             self-sufficiency and adjudicate the
                                                                                                          Declaration of Self-Sufficiency and
                                                  Participation section of this rule to                                                                         declaration. If USCIS determines that a
                                                                                                          Public Benefits Worksheet.
                                                  submit comments. Comments on this                         3. Agency form number, if any, and                  declarant is likely to become a public
                                                  information collection should address                   the applicable component of the DHS                   charge, the declarant may need to
                                                  one or more of the following four points:               sponsoring the collection: Form I–944;                provide additional resources or
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                                                     1. Evaluate whether the collection of                USCIS.                                                evidence to overcome this
                                                  information is necessary for the proper                   4. Affected public who will be asked                determination.
                                                  performance of the functions of the                     or required to respond, as well as a brief               5. An estimate of the total number of
                                                  agency, including whether the                           abstract: Primary: Individuals or                     respondents and the amount of time
                                                  information will have practical utility;                households. USCIS will require an                     estimated for an average respondent to
                                                     2. Evaluate the accuracy of the                      individual applying to adjust status to               respond: The estimated total number of
                                                  agency’s estimate of the burden of the                  lawful permanent residence (Form I–                   respondents for the information
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                                                  collection of information, including the                485) and who is subject to the public                 collection Form I–944 is 382,264 and


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                                                  the estimated hour burden per response                     2. Title of the Form/Collection:                   the OMB Control Number 1615–0075 in
                                                  is 4 hours.                                             Application to Register Permanent                     the body of the letter and the agency
                                                     6. An estimate of the total public                   Residence or Adjust Status.                           name. To avoid duplicate submissions,
                                                  burden (in hours) associated with the                      3. Agency form number, if any, and                 please use only one of the methods
                                                  collection: The total estimated annual                  the applicable component of the DHS                   under the ADDRESSES and I. Public
                                                  hour burden associated with this                        sponsoring the collection: Form I–485                 Participation section of this rule to
                                                  collection is 1,720,188 hours.                          and Supplements A and J; USCIS.                       submit comments. Comments on this
                                                                                                             4. Affected public who will be asked               information collection should address
                                                     7. An estimate of the total public
                                                                                                          or required to respond, as well as a brief            one or more of the following four points:
                                                  burden (in cost) associated with the
                                                                                                          abstract: Primary: Individuals or                       1. Evaluate whether the collection of
                                                  collection: The estimated total annual
                                                                                                          households. The information collected                 information is necessary for the proper
                                                  cost burden associated with this
                                                                                                          is used to determine eligibility to adjust            performance of the functions of the
                                                  collection of information is $59,931,350.
                                                                                                          status under section 245 of the                       agency, including whether the
                                                  USCIS Form I–485                                        Immigration and Nationality Act.                      information will have practical utility;
                                                                                                             5. An estimate of the total number of                2. Evaluate the accuracy of the
                                                     Under the Paperwork Reduction Act                    respondents and the amount of time                    agency’s estimate of the burden of the
                                                  of 1995, Public Law 104–13, all agencies                estimated for an average respondent to                collection of information, including the
                                                  are required to submit to OMB, for                      respond: The estimated total number of                validity of the methodology and
                                                  review and approval, any reporting                      respondents for the information                       assumptions used;
                                                  requirements inherent in a rule.                        collection Form I–485 is 382,264 and                    3. Enhance the quality, utility, and
                                                     DHS invites comment on the impact                    the estimated hour burden per response                clarity of the information to be
                                                  to the proposed collection of                           is 6.42 hours; the estimated total                    collected; and
                                                  information. In accordance with the                     number of respondents for information                   4. Minimize the burden of the
                                                  PRA, the information collection notice                  collection Supplement A is 36,000                     collection of information on those who
                                                  is published in the Federal Register to                 respondents and the estimated hour                    are to respond, including through the
                                                  obtain comments regarding the                           burden per response is 1.25 hours; the                use of appropriate automated,
                                                  proposed edits to the information                       estimated total number of respondents                 electronic, mechanical, or other
                                                  collection instrument.                                  for information collection Supplement J               technological collection techniques or
                                                     Comments are encouraged and will be                  is 28,309 respondents and the estimated               other forms of information technology,
                                                  accepted for 60 days from the                           hour burden per response is 1 hour; the               e.g., permitting electronic submission of
                                                  publication date of the proposed rule.                  estimated total number of respondents                 responses.
                                                  All submissions received must include                   for information collection biometrics
                                                  the OMB Control Number 1615–0023 in                                                                           Overview of Information Collection
                                                                                                          processing is 305,811 respondents and
                                                  the body of the letter and the agency                   estimated hour burden is 1.17 hours.                    1. Type of Information Collection:
                                                  name. To avoid duplicate submissions,                      6. An estimate of the total public                 Revision of a Currently Approved
                                                  please use only one of the methods                      burden (in hours) associated with the                 Collection.
                                                  under the ADDRESSES and I. Public                       collection: The total estimated annual                  2. Title of the Form/Collection:
                                                  Participation section of this rule to                   hour burden associated with this                      Affidavit of Support Under Section
                                                  submit comments. Comments on this                       collection is 2,885,242 hours.                        213A of the INA; Contract Between
                                                  information collection should address                      7. An estimate of the total public                 Sponsor and Household Member;
                                                  one or more of the following four points:               burden (in cost) associated with the                  Affidavit of Support under Section 213
                                                     1. Evaluate whether the collection of                collection: The estimated total annual                of the Act.
                                                  information is necessary for the proper                 cost burden associated with this                        3. Agency form number, if any, and
                                                  performance of the functions of the                     collection of information is                          the applicable component of the DHS
                                                  agency, including whether the                           $131,116,650.                                         sponsoring the collection: I–864; I–
                                                  information will have practical utility;                                                                      864A; I–864EZ; USCIS.
                                                                                                          USCIS Forms I–864; I–864A; I–864EZ                      4. Affected public who will be asked
                                                     2. Evaluate the accuracy of the                                                                            or required to respond, as well as a brief
                                                                                                             Under the Paperwork Reduction Act
                                                  agency’s estimate of the burden of the                                                                        abstract: Primary: Individuals or
                                                                                                          of 1995, Public Law 104–13, all agencies
                                                  collection of information, including the                                                                      households. Form I–864: USCIS uses the
                                                                                                          are required to submit to OMB, for
                                                  validity of the methodology and                                                                               data collected on Form I–864 to
                                                                                                          review and approval, any reporting
                                                  assumptions used;                                                                                             determine whether the sponsor has the
                                                                                                          requirements inherent in a rule.
                                                     3. Enhance the quality, utility, and                    DHS invites comment on the impact                  ability to support the sponsored alien
                                                  clarity of the information to be                        to the proposed collection of                         under section 213A of the Immigration
                                                  collected; and                                          information. In accordance with the                   and Nationality Act. This form
                                                     4. Minimize the burden of the                        PRA, the information collection notice                standardizes evaluation of a sponsor’s
                                                  collection of information on those who                  is published in the Federal Register to               ability to support the sponsored alien
                                                  are to respond, including through the                   obtain comments regarding the                         and ensures that basic information
                                                  use of appropriate automated,                           proposed discontinuation of the USCIS                 required to assess eligibility is provided
                                                  electronic, mechanical, or other                        Form I–864W information collection                    by petitioners.
                                                  technological collection techniques or                  instrument. The instructions for Form I–                Form I–864A: Form I–864A is a
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                                                  other forms of information technology,                  864 and I–864EZ were modified to                      contract between the sponsor and the
                                                  e.g., permitting electronic submission of               remove references to Form I–864W.                     sponsor’s household members. It is only
                                                  responses.                                              There are no changes to the Form I–                   required if the sponsor used income of
                                                                                                          864A.                                                 his or her household members to reach
                                                  Overview of Information Collection
                                                                                                             Comments are encouraged and will be                the required 125 percent of the FPG.
                                                    1. Type of Information Collection:                    accepted for 60 days from the                         The contract holds these household
                                                  Revision of a Currently Approved                        publication date of the proposed rule.                members jointly and severally liable for
                                                  Collection.                                             All submissions received must include                 the support of the sponsored immigrant.


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                                                  The information collection required on                  USCIS Form I–945                                      charge as defined in proposed 8 CFR
                                                  Form I–864A is necessary for public                       Under the Paperwork Reduction Act                   212.21(a) because he or she will not
                                                  benefit agencies to enforce the Affidavit               of 1995, Public Law 104–13, all agencies              receive public benefits, as defined in 8
                                                  of Support in the event the sponsor used                are required to submit to OMB, for                    CFR 213.21(b) after the alien’s
                                                  income of his or her household                          review and approval, any reporting                    adjustment of status to that of a lawful
                                                  members to reach the required income                    requirements inherent in a rule.                      permanent resident. An acceptable
                                                  level and the public benefit agencies are                 DHS and USCIS invite the general                    surety is generally any company listed
                                                  requesting reimbursement from the                       public and other Federal agencies to                  on the Department of the Treasury’s
                                                  sponsor.                                                comment on the impact to the proposed                 Listing of Approved Sureties
                                                    Form I–864EZ: USCIS uses Form I–                      collection of information. In accordance              (Department Circular 570) in effect on
                                                  864EZ in exactly the same way as Form                   with the PRA, the information                         the date the bond is requested or an
                                                  I–864; however, USCIS collects less                     collection notice is published in the                 individual or an entity that deposits
                                                  information from the sponsors as less                   Federal Register to obtain comments                   cash or a cash equivalent, such as a
                                                  information is needed from those who                    regarding the proposed edits to the                   cashier’s check or money order for the
                                                  qualify in order to make a thorough                     information collection instrument.                    full value of the bond.868
                                                  adjudication.                                             Comments are encouraged and will be                   5. An estimate of the total number of
                                                                                                          accepted for 60 days from the                         respondents and the amount of time
                                                    5. An estimate of the total number of
                                                                                                          publication date of the proposed rule.                estimated for an average respondent to
                                                  respondents and the amount of time
                                                                                                          All submissions received must include                 respond: The estimated total number of
                                                  estimated for an average respondent to
                                                                                                          the OMB Control Number 1615–NEW in                    respondents for the information
                                                  respond: The estimated total number of
                                                                                                          the body of the letter and the agency                 collection (Enter form number) is 960
                                                  respondents for the information
                                                                                                          name. To avoid duplicate submissions,                 and the estimated hour burden per
                                                  collection I–864 is 453,345 and the
                                                                                                          please use only one of the methods                    response is 1 hour.
                                                  estimated hour burden per response is
                                                  6 hours; the estimated total number of                  under the ADDRESSES and I. Public                       6. An estimate of the total public
                                                  respondents for the information                         Participation section of this rule to                 burden (in hours) associated with the
                                                  collection I–864A is 215,800 and the                    submit comments. Comments on this                     collection: The total estimated annual
                                                  estimated hour burden per response is                   information collection should address                 hour burden associated with this
                                                  1.75 hours; the estimated total number                  one or more of the following four points:             collection is 960 hours. (Multiply the
                                                  of respondents for the information                        1. Evaluate whether the collection of               burden for each submission by the
                                                  collection I–864EZ is 100,000 and the                   information is necessary for the proper               number of respondents.)
                                                  estimated hour burden per response is                   performance of the functions of the                     7. An estimate of the total public
                                                  2.5 hours.                                              agency, including whether the                         burden (in cost) associated with the
                                                                                                          information will have practical utility;              collection: The estimated total annual
                                                    6. An estimate of the total public                                                                          cost burden associated with this
                                                  burden (in hours) associated with the                     2. Evaluate the accuracy of the
                                                                                                          agency’s estimate of the burden of the                collection of information is $0 as the
                                                  collection: The total estimated annual                                                                        company performing the bond service
                                                  hour burden associated with this                        collection of information, including the
                                                                                                          validity of the methodology and                       receives a fee.
                                                  collection is 3,347,720 hours.
                                                                                                          assumptions used;                                     USCIS Form I–356
                                                    7. An estimate of the total public                      3. Enhance the quality, utility, and
                                                  burden (in cost) associated with the                    clarity of the information to be                        Under the Paperwork Reduction Act
                                                  collection: The estimated total annual                  collected; and                                        of 1995, Public Law 104–13, all agencies
                                                  cost burden associated with this                          4. Minimize the burden of the                       are required to submit to OMB, for
                                                  collection of information is                            collection of information on those who                review and approval, any reporting
                                                  $135,569,525.                                           are to respond, including through the                 requirements inherent in a rule.
                                                                                                          use of appropriate automated,                           DHS and USCIS invite the general
                                                  USCIS Form I–912
                                                                                                          electronic, mechanical, or other                      public and other Federal agencies to
                                                    Under the Paperwork Reduction Act                     technological collection techniques or                comment on the impact to the proposed
                                                  of 1995, Public Law 104–13, all agencies                other forms of information technology,                collection of information. In accordance
                                                  are required to submit to OMB, for                      e.g., permitting electronic submission of             with the PRA, the information
                                                  review and approval, any reporting                      responses.                                            collection notice is published in the
                                                  requirements inherent in a rule.                                                                              Federal Register to obtain comments
                                                  Although this rule does not impose any                  Overview of Information Collection                    regarding the proposed edits to the
                                                  new reporting or recordkeeping                            1. Type of Information Collection:                  information collection instrument.
                                                  requirements under the PRA, this rule                   New Collection; Revision of a Currently                 Comments are encouraged and will be
                                                  will require non-substantive edits to                   Approved Collection.                                  accepted for 60 days from the
                                                  USCIS Form I–912, Request for Fee                         2. Title of the Form/Collection: Public             publication date of the proposed rule.
                                                  Waiver. These edits make clear to those                 Charge Bond.                                          All submissions received must include
                                                  who request fee waivers that an                           3. Agency form number, if any, and                  the OMB Control Number 1615–NEW in
                                                  approved fee waiver can negatively                      the applicable component of the DHS                   the body of the letter and the agency
                                                  impact eligibility for an immigration                   sponsoring the collection: I–945; USCIS.              name. To avoid duplicate submissions,
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                                                  benefit that is subject to the public                     4. Affected public who will be asked                please use only one of the methods
                                                  charge inadmissibility determination.                   or required to respond, as well as a brief            under the ADDRESSES and I. Public
                                                  Accordingly, USCIS has submitted a                      abstract: Primary: Business or other for-             Participation section of this rule to
                                                  Paperwork Reduction Act Change                          profit. In certain instances, a bond can              submit comments. Comments on this
                                                  Worksheet, Form OMB 83–C, and                           be posted on behalf of the alien to                   information collection should address
                                                  amended information collection                          guarantee a set of conditions set by the              one or more of the following four points:
                                                  instruments to OMB for review and                       government concerning an alien, i.e.
                                                  approval in accordance with the PRA.                    that the alien will not become a public                 868 See   8 CFR 103.6(b).



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                                                    1. Evaluate whether the collection of                 USCIS Form I–129                                      agent, where applicable) uses this form
                                                  information is necessary for the proper                   Under the Paperwork Reduction Act                   to petition USCIS for an alien to
                                                  performance of the functions of the                     of 1995, Public Law 104–13, all agencies              temporarily enter as a nonimmigrant.
                                                  agency, including whether the                           are required to submit to OMB, for                    An employer (or agent, where
                                                  information will have practical utility;                review and approval, any reporting                    applicable) also uses this form to
                                                    2. Evaluate the accuracy of the                       requirements inherent in a rule.                      request an extension of stay or change
                                                  agency’s estimate of the burden of the                    DHS and USCIS invite the general                    of status on behalf of the alien worker.
                                                  collection of information, including the                public and other Federal agencies to                  The form serves the purpose of
                                                  validity of the methodology and                         comment on the impact to the proposed                 standardizing requests for
                                                  assumptions used;                                       collection of information. In accordance              nonimmigrant workers, and ensuring
                                                    3. Enhance the quality, utility, and                  with the PRA, the information                         that basic information required for
                                                  clarity of the information to be                        collection notice is published in the                 assessing eligibility is provided by the
                                                  collected; and                                          Federal Register to obtain comments                   petitioner while requesting that
                                                    4. Minimize the burden of the                         regarding the proposed edits to the                   beneficiaries be classified under certain
                                                  collection of information on those who                  information collection instrument.                    nonimmigrant employment categories. It
                                                  are to respond, including through the                     Comments are encouraged and will be                 also assists USCIS in compiling
                                                  use of appropriate automated,                           accepted for 60 days from the                         information required by Congress
                                                  electronic, mechanical, or other                        publication date of the proposed rule.                annually to assess effectiveness and
                                                  technological collection techniques or                  All submissions received must include                 utilization of certain nonimmigrant
                                                  other forms of information technology,                  the OMB Control Number 1615–0009 in                   classifications.
                                                  e.g., permitting electronic submission of               the body of the letter and the agency                    5. An estimate of the total number of
                                                  responses.                                              name. To avoid duplicate submissions,                 respondents and the amount of time
                                                                                                          please use only one of the methods                    estimated for an average respondent to
                                                  Overview of Information Collection                      under the ADDRESSES and I. Public                     respond: The estimated total number of
                                                     1. Type of Information Collection:                   Participation section of this rule to                 respondents for the information
                                                  New Collection.                                         submit comments. Comments on this                     collection Form I–129 is 552,000 and
                                                                                                          information collection should address                 the estimated hour burden per response
                                                     2. Title of the Form/Collection:                     one or more of the following four points:
                                                  Request for Cancellation of Public                                                                            is 2.84 hours; the estimated total
                                                                                                            1. Evaluate whether the collection of               number of respondents for the
                                                  Charge Bond.                                            information is necessary for the proper
                                                                                                                                                                information collection E–1/E–2
                                                     3. Agency form number, if any, and                   performance of the functions of the
                                                                                                                                                                Classification Supplement to Form I–
                                                  the applicable component of the DHS                     agency, including whether the
                                                  sponsoring the collection: I–356; USCIS.                                                                      129 is 4,760 and the estimated hour
                                                                                                          information will have practical utility;
                                                                                                                                                                burden per response is 0.67; the
                                                     4. Affected public who will be asked                   2. Evaluate the accuracy of the
                                                                                                                                                                estimated total number of respondents
                                                  or required to respond, as well as a brief              agency’s estimate of the burden of the
                                                                                                                                                                for the information collection Trade
                                                  abstract: Primary: Aliens (on whose                     collection of information, including the
                                                                                                                                                                Agreement Supplement to Form I–129 is
                                                  behalf a public charge bond has been                    validity of the methodology and
                                                                                                                                                                3,057 and the estimated hour burden
                                                  posted) or the obligor (surety) (who is                 assumptions used;
                                                                                                            3. Enhance the quality, utility, and                per response is 0.67; the estimated total
                                                  the obligor who posted a bond on the                                                                          number of respondents for the
                                                  alien’s behalf). The form is used to                    clarity of the information to be
                                                                                                          collected; and                                        information collection H Classification
                                                  request cancellation of the public charge                                                                     Supplement to Form I–129 is 255,872
                                                  bond because of the alien’s                               4. Minimize the burden of the
                                                                                                          collection of information on those who                and the estimated hour burden per
                                                  naturalization, permanent departure, or                                                                       response is 2; the estimated total
                                                  death. The form is also used by the alien               are to respond, including through the
                                                                                                          use of appropriate automated,                         number of respondents for the
                                                  or the obligor to request cancellation of
                                                                                                          electronic, mechanical, or other                      information collection H–1B and H–1B1
                                                  the public charge bond upon the fifth
                                                                                                          technological collection techniques or                Data Collection and Filing Fee
                                                  anniversary of the alien’s admission to
                                                                                                          other forms of information technology,                Exemption Supplement is 243,965 and
                                                  the United States as a lawful permanent
                                                                                                          e.g., permitting electronic submission of             the estimated hour burden per response
                                                  resident.
                                                                                                          responses.                                            is 1; the estimated total number of
                                                     5. An estimate of the total number of                                                                      respondents for the information
                                                  respondents and the amount of time                      Overview of Information Collection                    collection L Classification Supplement
                                                  estimated for an average respondent to                                                                        to Form I–129 is 37,831 and the
                                                                                                            1. Type of Information Collection:
                                                  respond: The estimated total number of                                                                        estimated hour burden per response is
                                                                                                          Revision of a Currently Approved
                                                  respondents for the information                                                                               1.34; the estimated total number of
                                                                                                          Collection.
                                                  collection (Enter form number) is 25 and                                                                      respondents for the information
                                                                                                            2. Title of the Form/Collection:
                                                  the estimated hour burden per response                                                                        collection O and P Classifications
                                                                                                          Petition for Nonimmigrant Worker.
                                                  is .75 hours.                                                                                                 Supplement to Form I–129 is 22,710
                                                                                                            3. Agency form number, if any, and
                                                     6. An estimate of the total public                   the applicable component of the DHS                   and the estimated hour burden per
                                                  burden (in hours) associated with the                   sponsoring the collection: I–129; USCIS.              response is 1; the estimated total
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                                                  collection: The total estimated annual                    4. Affected public who will be asked                number of respondents for the
                                                  hour burden associated with this                        or required to respond, as well as a brief            information collection Q–1
                                                  collection is 18.75 hours.                              abstract: Primary: Business or other for-             Classification Supplement to Form I–
                                                     7. An estimate of the total public                   profit. USCIS uses the data collected on              129 is 155 and the estimated hour
                                                  burden (in cost) associated with the                    this form to determine eligibility for the            burden per response is 0.34; the
                                                  collection: The estimated total annual                  requested nonimmigrant petition and/or                estimated total number of respondents
                                                  cost burden associated with this                        requests to extend or change                          for the information collection R–1
                                                  collection of information is $6,250.                    nonimmigrant status. An employer (or                  Classification Supplement to Form I–


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                                                  129 is 6,635 and the estimated hour                        2. Title of the Form/Collection: Form              All submissions received must include
                                                  burden per response is 2.34.                            I–129CW, Petition for a CNMI-Only                     the OMB Control Number 1615–0003 in
                                                    (6) An estimate of the total public                   Nonimmigrant Transitional Worker.                     the body of the letter and the agency
                                                  burden (in hours) associated with the                      3. Agency form number, if any, and                 name. To avoid duplicate submissions,
                                                  collection: The total estimated annual                  the applicable component of the DHS                   please use only one of the methods
                                                  hour burden associated with this                        sponsoring the collection: I–129CW;                   under the ADDRESSES and I. Public
                                                  collection is 2,417,609 hours.                          USCIS.                                                Participation section of this rule to
                                                    (7) An estimate of the total public                      4. Affected public who will be asked               submit comments. Comments on this
                                                  burden (in cost) associated with the                    or required to respond, as well as a brief            information collection should address
                                                  collection: The estimated total annual                  abstract: Primary: Business or other for-             one or more of the following four points:
                                                  cost burden associated with this                        profit. USCIS uses the data collected on                1. Evaluate whether the collection of
                                                  collection of information is                            this form to determine eligibility for the            information is necessary for the proper
                                                  $132,368,220.                                           requested immigration benefits. An                    performance of the functions of the
                                                                                                          employer uses this form to petition                   agency, including whether the
                                                  USCIS Form I–129CW
                                                                                                          USCIS for an alien to temporarily enter               information will have practical utility;
                                                    Under the Paperwork Reduction Act                     as a nonimmigrant into the CNMI to                      2. Evaluate the accuracy of the
                                                  of 1995, Public Law 104–13, all agencies                perform services or labor as a CNMI-                  agency’s estimate of the burden of the
                                                  are required to submit to OMB, for                      Only Transitional Worker (CW–1). An                   collection of information, including the
                                                  review and approval, any reporting                      employer also uses this form to request               validity of the methodology and
                                                  requirements inherent in a rule.                        an extension of stay or change of status              assumptions used;
                                                    DHS and USCIS invite the general                      on behalf of the alien worker. The form                 3. Enhance the quality, utility, and
                                                  public and other Federal agencies to                    serves the purpose of standardizing                   clarity of the information to be
                                                  comment on the impact to the proposed                   requests for these benefits, and ensuring             collected; and
                                                  collection of information. In accordance                that the basic information required to                  4. Minimize the burden of the
                                                  with the PRA, the information                           determine eligibility, is provided by the             collection of information on those who
                                                  collection notice is published in the                   petitioners.                                          are to respond, including through the
                                                  Federal Register to obtain comments                        USCIS collects biometrics from aliens              use of appropriate automated,
                                                  regarding the proposed edits to the                     present in the CNMI at the time of                    electronic, mechanical, or other
                                                  information collection instrument.                      requesting initial grant of CW–1 status.
                                                    Comments are encouraged and will be                                                                         technological collection techniques or
                                                                                                          The information is used to verify the                 other forms of information technology,
                                                  accepted for 60 days from the                           alien’s identity, background information
                                                  publication date of the proposed rule.                                                                        e.g., permitting electronic submission of
                                                                                                          and ultimately adjudicate their request               responses.
                                                  All submissions received must include                   for CW–1 status.
                                                  the OMB Control Number 1615–0009 in                        5. An estimate of the total number of              Overview of Information Collection
                                                  the body of the letter and the agency                   respondents and the amount of time                       1. Type of Information Collection:
                                                  name. To avoid duplicate submissions,                   estimated for an average respondent to                Revision of a Currently Approved
                                                  please use only one of the methods                      respond: The estimated total number of                Collection.
                                                  under the ADDRESSES and I. Public                       respondents for the information                          2. Title of the Form/Collection:
                                                  Participation section of this rule to                   collection Form I–129CW is 3,749 and                  Application to Extend/Change
                                                  submit comments. Comments on this                       the estimated hour burden per response                Nonimmigrant Status.
                                                  information collection should address                   is 3.5 hours.
                                                                                                                                                                   3. Agency form number, if any, and
                                                  one or more of the following four points:                  6. An estimate of the total public
                                                    1. Evaluate whether the collection of                                                                       the applicable component of the DHS
                                                                                                          burden (in hours) associated with the
                                                  information is necessary for the proper                                                                       sponsoring the collection: Form I–539
                                                                                                          collection: The total estimated annual
                                                  performance of the functions of the                                                                           and Supplement A; USCIS.
                                                                                                          hour burden associated with this
                                                  agency, including whether the                           collection is 13,121.5 hours.                            4. Affected public who will be asked
                                                  information will have practical utility;                   7. An estimate of the total public                 or required to respond, as well as a brief
                                                    2. Evaluate the accuracy of the                       burden (in cost) associated with the                  abstract: Primary: Individuals or
                                                  agency’s estimate of the burden of the                  collection: The estimated total annual                households. This form will be used for
                                                  collection of information, including the                cost burden associated with this                      nonimmigrants to apply for an
                                                  validity of the methodology and                         collection of information is $459,253.                extension of stay, for a change to
                                                  assumptions used;                                                                                             another nonimmigrant classification, or
                                                    3. Enhance the quality, utility, and                  USCIS Form I–539                                      for obtaining V nonimmigrant
                                                  clarity of the information to be                           Under the Paperwork Reduction Act                  classification.
                                                  collected; and                                          of 1995, Public Law 104–13, all agencies                 5. An estimate of the total number of
                                                    4. Minimize the burden of the                         are required to submit to OMB, for                    respondents and the amount of time
                                                  collection of information on those who                  review and approval, any reporting                    estimated for an average respondent to
                                                  are to respond, including through the                   requirements inherent in a rule.                      respond: The estimated total number of
                                                  use of appropriate automated,                              DHS invites comment on the impact                  respondents for the information
                                                  electronic, mechanical, or other                        to the proposed collection of                         collection Form I–539 is 248,985 and
                                                  technological collection techniques or                  information. In accordance with the                   the estimated hour burden per response
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                                                  other forms of information technology,                  PRA, the information collection notice                is 2.38 hours; the estimated total
                                                  e.g., permitting electronic submission of               is published in the Federal Register to               number of respondents for the
                                                  responses.                                              obtain comments regarding the                         information collection Supplement A is
                                                                                                          proposed edits to the information                     54,375 respondents and the estimated
                                                  Overview of Information Collection                      collection instrument.                                hour burden per response is .50 hours;
                                                    1. Type of Information Collection:                       Comments are encouraged and will be                the estimated total number of
                                                  Revision of a Currently Approved                        accepted for 60 days from the                         respondents for the information
                                                  Collection.                                             publication date of the proposed rule.                collection biometrics processing is


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                                                  373,477 and the estimated hour burden                   PART 103—IMMIGRATION BENEFITS;                        bond has been breached creates a claim
                                                  is 1.17 hours.                                          BIOMETRIC REQUIREMENTS;                               in favor of the United States which may
                                                     6. An estimate of the total public                   AVAILABILITY OF RECORDS                               not be released by the officer. DHS will
                                                  burden (in hours) associated with the                                                                         determine whether a bond has been
                                                  collection: The total estimated annual                  ■ 1. The authority citation for part 103              breached. If DHS determines that a bond
                                                  hour burden associated with this                        continues to read as follows:                         has been breached, it will notify the
                                                  collection is 1,056,740 hours.                             Authority: 5 U.S.C. 301, 552, 552a; 8 U.S.C.       obligor of the decision, the reasons
                                                     7. An estimate of the total public                   1101, 1103, 1304, 1356, 1365b; 31 U.S.C.              therefor, and inform the obligor of the
                                                  burden (in cost) associated with the
                                                                                                          9701; Public Law 107–296, 116 Stat. 2135 (6           right to appeal the decision in
                                                                                                          U.S.C. 1 et seq.); E.O. 12356, 47 FR 14874,           accordance with the provisions of this
                                                  collection: The estimated total annual                  15557, 3 CFR, 1982 Comp., p.166; 8 CFR part
                                                  cost burden associated with this                                                                              part.
                                                                                                          2; Pub. L. 112–54.
                                                  collection of information is $42,701,050.                                                                     *     *     *     *    *
                                                                                                          ■ 2. Section 103.6 is amended by:                     ■ 3. Section 103.7 is amended by adding
                                                  USCIS Form I–407                                        ■ a. Revising paragraphs (a)(1), (a)(2)(i),           paragraphs (b)(1)(i)(LLL) and (MMM) to
                                                                                                          and (c)(1);                                           read as follows:
                                                    Under the Paperwork Reduction Act
                                                                                                          ■ b. Adding paragraph (d)(3); and
                                                  of 1995, Public Law 104–13, all agencies                                                                      § 103.7    Fees.
                                                                                                          ■ c. Revising paragraph (e)
                                                  are required to submit to OMB, for                                                                            *     *     *   *    *
                                                                                                            The revisions and additions read as
                                                  review and approval, any reporting                                                                              (b) * * *
                                                                                                          follows:
                                                  requirements inherent in a rule. This                                                                           (1) * * *
                                                  rule requires the use of USCIS Form I–                  § 103.6 Surety bonds.                                   (i) * * *
                                                  407 but does not require any changes to                    (a) * * *                                            (LLL) Public Charge Bond, Form I–
                                                  the form or instructions and does not                      (1) Extension agreements; consent of               945. $25.
                                                  impact the number of respondents, time                  surety; collateral security. All surety                 (MMM) Request for Cancellation of
                                                  or cost burden. This form has previously                bonds posted in immigration cases must                Public Charge Bond, Form I–356. $25.
                                                  been approved by OMB under the                          be executed on the forms designated by
                                                  Paperwork Reduction Act. The OMB                        DHS, a copy of which, and any rider                   PART 212—DOCUMENTARY
                                                  control number(s) for this information                  attached thereto, must be furnished to                REQUIREMENTS: NONIMMIGRANTS;
                                                  collection is 1615–0130.                                the obligor. DHS is authorized to                     WAIVERS; ADMISSION OF CERTAIN
                                                  List of Subjects and Regulatory                         approve a bond, a formal agreement for                INADMISSIBLE ALIENS; PAROLE
                                                  Amendments                                              the extension of liability of surety, a
                                                                                                          request for delivery of collateral security           ■ 4. The authority citation for part 212
                                                  8 CFR Part 103                                          to a duly appointed and undischarged                  continues to read as follows:
                                                                                                          administrator or executor of the estate of              Authority: 6 U.S.C. 111, 202(4) and 271; 8
                                                    Administrative practice and                                                                                 U.S.C. 1101 and note, 1102, 1103, 1182 and
                                                  procedure, Authority delegations                        a deceased depositor, and a power of
                                                                                                          attorney executed on the form                         note, 1184, 1185 note (section 7209 of Pub.
                                                  (Government agencies), Freedom of                                                                             L. 108–458), 1187, 1223, 1225, 1226, 1227,
                                                  information, Immigration, Privacy,                      designated by DHS, if any. All other
                                                                                                                                                                1255, 1359; 8 CFR part 2.
                                                  Reporting and recordkeeping                             matters relating to bonds, including a
                                                                                                          power of attorney not executed on the                 ■ 5. Add §§ 212.20 through 212.24 to
                                                  requirements, Surety bonds.
                                                                                                          form designated by DHS and a request                  read as follows:
                                                  8 CFR Part 212                                          for delivery of collateral security to
                                                                                                                                                                § 212.20 Applicability of public charge
                                                                                                          other than the depositor or his or her                inadmissibility.
                                                    Administrative practice and
                                                                                                          approved attorney in fact, will be
                                                  procedure, Aliens, Immigration,                                                                                 8 CFR 212.20 through 212.24 address
                                                                                                          forwarded to the appropriate office for
                                                  Passports and visas, Reporting and                                                                            the public charge ground of
                                                                                                          approval.
                                                  recordkeeping requirements.                                                                                   inadmissibility under section 212(a)(4)
                                                                                                             (2) Bond riders—(i) General. A bond
                                                  8 CFR Part 213                                          rider must be prepared on the form(s)                 of the Act. Unless the alien requesting
                                                                                                          designated by DHS, and submitted with                 the immigration benefit or classification
                                                     Immigration, Surety bonds.                           the bond. If a condition to be included               has been exempted from section
                                                                                                          in a bond is not on the original bond,                212(a)(4) of the Act as listed in 8 CFR
                                                  8 CFR Part 214
                                                                                                          a rider containing the condition must be              212.23(a), the provisions of §§ 212.20
                                                    Administrative practice and                           executed.                                             through 212.24 of this part apply to an
                                                  procedure, Aliens, Cultural exchange                                                                          applicant for admission or adjustment of
                                                                                                          *      *    *     *     *                             status to lawful permanent resident.
                                                  programs, Employment, Foreign
                                                                                                             (c) * * *
                                                  officials, Health professions, Reporting
                                                                                                             (1) Public charge bonds. Special rules             § 212.21    Definitions for public charge.
                                                  and recordkeeping requirements,
                                                                                                          for the cancellation of public charge                   For the purposes of 8 CFR 212.20
                                                  Students.
                                                                                                          bonds are described in 8 CFR 213.1.                   through 212.24, the following
                                                  8 CFR Part 245                                          *      *    *     *     *                             definitions apply:
                                                                                                             (d) * * *                                            (a) Public Charge. Public charge
                                                    Aliens, Immigration, Reporting and
                                                                                                             (3) Public charge bonds. The                       means an alien who receives one or
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                                                  recordkeeping requirements.
                                                                                                          threshold bond amount for public                      more public benefit, as defined in
                                                  8 CFR Part 248                                          charge bonds is set forth in 8 CFR 213.1.             paragraph (b) of this section.
                                                                                                             (e) Breach of bond. Breach of public                 (b) Public benefit. Public benefit
                                                    Aliens, Reporting and recordkeeping                   charge bonds is governed by 8 CFR                     means:
                                                  requirements.                                           213.1. For other immigration bonds, a                   (1) Any of the following monetizable
                                                    Accordingly, DHS proposes to amend                    bond is breached when there has been                  benefits, where the cumulative value of
                                                  chapter I of title 8 of the Code of Federal             a substantial violation of the stipulated             one or more of the listed benefits
                                                  Regulations as follows:                                 conditions. A final determination that a              exceeds 15 percent of the Federal


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                                                  Poverty Guidelines (FPG) for a                          eligibility criteria as required by the                  (ii) The alien’s spouse, if physically
                                                  household of one within any period of                   Child Citizenship Act of 2000, Public                 residing with the alien;
                                                  12 consecutive months, based on the                     Law 106–395 (section 320(a)–(b) of the                   (iii) The alien’s children, as defined in
                                                  per-month FPG for the months during                     Act, 8 U.S.C. 1431(a)–(b)), in accordance             101(b)(1) of the Act, physically residing
                                                  which the benefits are received.                        with 8 CFR part 320;                                  with the alien;
                                                     (i) Any Federal, State, local, or tribal                (E) Medicaid benefits received by the                 (iv) The alien’s other children, as
                                                  cash assistance for income maintenance,                 children of U.S. citizens who are                     defined in section 101(b)(1) of the Act,
                                                  including:                                              entering the United States for the                    not physically residing with the alien
                                                     (A) Supplemental Security Income                     primary purpose of attending an                       for whom the alien provides or is
                                                  (SSI), 42 U.S.C. 1381 et seq.;                          interview under the Child Citizenship                 required to provide at least 50 percent
                                                     (B) Temporary Assistance for Needy                   Act of 2000, Public Law 106–395                       of the children’s financial support, as
                                                  Families (TANF), 42 U.S.C. 601 et seq.;                 (section 322 of the Act, 8 U.S.C. 1433),              evidenced by a child support order or
                                                  or                                                      in accordance with 8 CFR part 322.                    agreement a custody order or agreement,
                                                     (C) Federal, State or local cash benefit                (ii) Any benefit provided for                      or any other order or agreement
                                                  programs for income maintenance (often                  institutionalization for long-term care at            specifying the amount of financial
                                                  called ‘‘General Assistance’’ in the State              government expense;                                   support to be provided by the alien;
                                                  context, but which may exist under                         (iii) Premium and Cost Sharing                        (v) Any other individuals (including a
                                                  other names); and                                       Subsidies for Medicare Part D, 42 U.S.C.              spouse not physically residing with the
                                                     (ii) Non-cash benefits, monetized as                 1395w–114;                                            alien) to whom the alien provides, or is
                                                  set forth in 8 CFR 212.24:                                 (iv) Subsidized Housing under the                  required to provide, at least 50 percent
                                                     (A) Supplemental Nutrition                           Housing Act of 1937, 42 U.S.C. 1437 et                of the individual’s financial support or
                                                  Assistance Program (SNAP, formerly                      seq.                                                  who are listed as dependents on the
                                                  called ‘‘Food Stamps’’), 7 U.S.C. 2011 to                  (3) The receipt of a combination of                alien’s federal income tax return; and
                                                  2036c;                                                  monetizable benefits under paragraph                     (vi) Any individual who provides to
                                                     (B) Section 8 Housing Assistance                     (b)(1) of this section where the                      the alien at least 50 percent of the
                                                  under the Housing Choice Voucher                        cumulative value of such benefits is                  alien’s financial support, or who lists
                                                  Program, as administered by HUD under                   equal to or less than 15 percent of the               the alien as a dependent on his or her
                                                  24 CFR part 984; 42 U.S.C. 1437f and                    Federal Poverty Guidelines for a                      federal income tax return.
                                                  1437u;                                                  household size of one within any period                  (2) If the alien is a child as defined in
                                                     (C) Section 8 Project-Based Rental                   of 12 consecutive based on the per-                   section 101(b)(1) of the Act, the alien’s
                                                  Assistance (including Moderate                          month FPG for the months during                       household includes the following
                                                  Rehabilitation) under 24 CFR parts 5,                   which the benefits are received, together             individuals:
                                                  402, 880 through 884 and 886; and                       with one or more non-monetizable                         (i) The alien;
                                                     (2) Any of one or more of the                        benefits under paragraph (b)(2) of this                  (ii) The alien’s children as defined in
                                                  following non-monetizable benefits if                   section if such non-monetizable benefits              section 101(b)(1) of the Act physically
                                                  received for more than 12 months in the                 are received for more than 9 months in                residing with the alien;
                                                  aggregate within a 36 month period                      the aggregate within a 36 month period                   (iii) The alien’s other children as
                                                  (such that, for instance, receipt of two                (such that, for instance, receipt of two              defined in section 101(b)(1) of the Act
                                                  non-monetizable benefits in one month                   non-monetizable benefits in one month                 not physically residing with the alien
                                                  counts as two months):                                  counts as two months);                                for whom the alien provides or is
                                                     (i) Medicaid, 42 U.S.C. 1396 et seq.,                   (4) DHS will not consider any                      required to provide at least 50 percent
                                                  except for:                                             benefits, as defined in paragraphs (b)(1)             of the children’s financial support, as
                                                     (A) Benefits paid for an emergency                   through (b)(3) of this section, received              evidenced by a child support order or
                                                  medical condition as described in                       by an alien who, at the time of receipt,              agreement, a custody order or
                                                  section 1903(v) of Title XIX of the Social              filing, or adjudication, is enlisted in the           agreement, or any other order or
                                                  Security Act, 42 U.S.C. 1396b(v), 42                    U.S. armed forces under the authority of              agreement specifying the amount of
                                                  CFR 440.255(c);                                         10 U.S.C. 504(b)(1)(B) or 10 U.S.C.                   financial support to be provided by the
                                                     (B) Services or benefits funded by                   504(b)(2), serving in active duty or in               alien;
                                                  Medicaid but provided under the                         the Ready Reserve component of the                       (iv) The alien’s parents, legal
                                                  Individuals with Disabilities Education                 U.S. Armed Forces, or if received by                  guardians, or any other individual
                                                  Act (IDEA) 20 U.S.C. 1400 et seq.;                      such an individual’s spouse or child as               providing or required to provide at least
                                                     (C) School-based benefits provided to                defined in section 101(b) of the Act, in              50 percent of the alien’s financial
                                                  children who are at or below the oldest                 the public charge inadmissibility                     support to the alien as evidenced by a
                                                  age of children eligible for secondary                  determination.                                        child support order or agreement, a
                                                  education as determined under State                        (c) Likely at any time to become a                 custody order or agreement, or any other
                                                  law;                                                    public charge. Likely at any time to                  order or agreement specifying the
                                                     (D) Medicaid benefits received by                    become a public charge means likely at                amount of financial support to be
                                                  children of U.S. citizens whose lawful                  any time in the future to receive one or              provided to the alien;
                                                  admission for permanent residence and                   more public benefit as defined in                        (v) The parents’ or legal guardians’
                                                  subsequent residence in the legal and                   paragraph (b) of this section based on                other children as defined in section
                                                  physical custody of their U.S. citizen                  the totality of the alien’s circumstances.            101(b)(1) of the Act physically residing
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                                                  parent will result automatically in the                    (d) Alien’s household. For purposes of             with the alien;
                                                  child’s acquisition of citizenship or                   public charge inadmissibility                            (vi) The alien’s parents’ or legal
                                                  whose lawful admission for permanent                    determinations under section 212(a)(4)                guardians’ other children as defined in
                                                  residence will result automatically in                  of the Act:                                           section 101(b)(1) of the Act, not
                                                  the child’s acquisition of citizenship                     (1) If the alien is 21 years of age or             physically residing with the alien for
                                                  upon finalization of adoption in the                    older, or under the age of 21 and                     whom the parent or legal guardian
                                                  United States by the U.S. citizen                       married, the alien’s household includes:              provides or is required to provide at
                                                  parent(s) or, once meeting other                           (i) The alien;                                     least 50 percent of the other children’s


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                                                  financial support, as evidenced by a                    medical treatment or institutionalization                (D) The household’s cash assets and
                                                  child support order or agreement, a                     after arrival or that will interfere with             resources, including as reflected in
                                                  custody order or agreement, or any other                the alien’s ability to provide and care for           checking and savings account
                                                  order or agreement specifying the                       him or herself, to attend school, or to               statements covering 12 months prior to
                                                  amount of financial support to be                       work upon admission or adjustment of                  filing the application;
                                                  provided by the parents or legal                        status.                                                  (E) The household’s non-cash assets
                                                  guardians; and                                             (3) The alien’s family status—(i)                  and resources that can be converted into
                                                     (vii) Any other individuals to whom                  Standard. When considering an alien’s                 cash within 12 months, such as net cash
                                                  the alien’s parents or legal guardians                  family status, DHS will consider the                  value of real estate holdings minus the
                                                  provide, or are required to provide at                  alien’s household size, as defined in 8               sum of all loans secured by a mortgage,
                                                  least 50 percent of the individuals’                    CFR 212.21(d), and whether the alien’s                trust deed, or other lien on the home;
                                                  financial support or who are listed as a                household size makes the alien more or                annuities; securities; retirement and
                                                  dependent on the parent’s or legal                      less likely to become a public charge.                educational accounts; and any other
                                                  guardian’s federal income tax return.                      (ii) [Reserved]                                    assets that can easily be converted into
                                                                                                             (4) The alien’s assets, resources and              cash;
                                                  § 212.22 Public Charge inadmissibility                                                                           (F) Whether the alien has:
                                                  determination.                                          financial status—(i) Standard. When
                                                                                                          considering an alien’s assets, resources,                (1) Applied for or received any public
                                                     This section relates to the public                                                                         benefit, as defined in 8 CFR 212.21(b),
                                                                                                          and financial status, DHS will consider
                                                  charge ground of inadmissibility under                                                                        on or after [DATE 60 DAYS FROM
                                                                                                          whether:
                                                  section 212(a)(4) of the Act.                                                                                 DATE OF PUBLICATION OF THE
                                                                                                             (A) The alien’s household’s annual
                                                     (a) Prospective determination based                                                                        FINAL RULE]; or
                                                                                                          gross income is at least 125 percent of
                                                  on the totality of circumstances. The                                                                            (2) Been certified or approved to
                                                                                                          the most recent Federal Poverty
                                                  determination of an alien’s likelihood of                                                                     receive public benefits, as defined in 8
                                                                                                          Guidelines based on the alien’s
                                                  becoming a public charge must be based                                                                        CFR 212.21(b), on or after [DATE 60
                                                                                                          household size as defined by
                                                  on the totality of the alien’s                                                                                DAYS FROM DATE OF PUBLICATION
                                                                                                          § 212.21(d), or if the alien’s household’s
                                                  circumstances by weighing all factors                                                                         OF THE FINAL RULE];
                                                                                                          annual gross income is under 125
                                                  that make the alien more or less likely                                                                          (G) Whether the alien has applied for
                                                                                                          percent of the recent Federal Poverty
                                                  at any time in the future to become a                                                                         or has received a fee waiver for an
                                                                                                          Guidelines, whether the total value of
                                                  public charge, as outlined in this                                                                            immigration benefit request on or after
                                                                                                          the alien’s household assets and
                                                  section.                                                                                                      [DATE 60 DAYS FROM DATE OF
                                                     (b) Minimum factors to consider. A                   resources is at least 5 times the
                                                                                                          difference between the alien’s                        PUBLICATION OF THE FINAL RULE];
                                                  public charge inadmissibility                                                                                    (H) The alien’s credit history and
                                                  determination must entail consideration                 household’s gross annual income and
                                                                                                          the Federal Poverty Guideline for the                 credit score; and
                                                  of the alien’s age; health; family status;                                                                       (I) Whether the alien has private
                                                  education and skills; and assets,                       alien’s household size;
                                                                                                                                                                health insurance or the financial
                                                  resources, and financial status, as                        (B) The alien has sufficient household
                                                                                                                                                                resources to pay for reasonably
                                                  follows:                                                assets and resources to cover any
                                                                                                                                                                foreseeable medical costs related to a
                                                     (1) The alien’s age—(i) Standard.                    reasonably foreseeable medical costs
                                                                                                                                                                medical condition that is likely to
                                                  When considering an alien’s age, DHS                    related to a medical condition that is
                                                                                                                                                                require extensive medical treatment or
                                                  will consider whether the alien is                      likely to require extensive medical
                                                                                                                                                                institutionalization or that will interfere
                                                  between the age of 18 and the minimum                   treatment or institutionalization or that
                                                                                                                                                                with the alien’s ability to provide care
                                                  ‘‘early retirement age’’ for Social                     will interfere with the alien’s ability to
                                                                                                                                                                for him- or herself, to attend school, or
                                                  Security set forth in 42 U.S.C. 416(l)(2),              provide care for him- or herself, to
                                                                                                                                                                to work;
                                                  and whether the alien’s age otherwise                   attend school, or to work; and                           (5) The alien’s education and skills.
                                                  makes the alien more or less likely to                     (C) The alien has any financial                    (i) Standard. When considering an
                                                  become a public charge, such as by                      liabilities or past receipt of public                 alien’s education and skills, DHS will
                                                  impacting the alien’s ability to work.                  benefits as defined in 8 CFR 212.21(b)                consider whether the alien has adequate
                                                     (ii) [Reserved]                                      that make the alien more or less likely               education and skills to either obtain or
                                                     (2) The alien’s health—(i) Standard.                 to become a public charge.                            maintain employment sufficient to
                                                  DHS will consider whether the alien’s                      (ii) Evidence. USCIS’ consideration                avoid becoming a public charge, if
                                                  health makes the alien more or less                     includes but is not limited to the                    authorized for employment.
                                                  likely to become a public charge,                       following:                                               (ii) Evidence. USCIS’ consideration
                                                  including whether the alien has been                       (A) The alien’s annual gross                       includes but is not limited to the
                                                  diagnosed with a medical condition that                 household income excluding any                        following:
                                                  is likely to require extensive medical                  income from public benefits as defined                   (A) The alien’s history of
                                                  treatment or institutionalization or that               in 8 CFR 212.21(b);                                   employment;
                                                  will interfere with the alien’s ability to                 (B) Any additional income from                        (B) Whether the alien has a high
                                                  provide and care for him- or herself, to                individuals not included in the alien’s               school degree (or its equivalent) or
                                                  attend school, or to work upon                          household who physically reside with                  higher education;
                                                  admission or adjustment of status.                      the alien and whose income will be                       (C) Whether the alien has any
                                                     (ii) Evidence. USCIS’ consideration                  relied on by the alien to meet the                    occupational skills, certifications, or
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                                                  includes but is not limited to the                      standard at 8 CFR 212.22(b)(4)(i);                    licenses; and
                                                  following:                                                 (C) Any additional income provided                    (D) Whether the alien is proficient in
                                                     (A) A report of an immigration                       to the alien by another person or source              English or proficient in other languages
                                                  medical examination performed by a                      not included in the alien’s household on              in addition to English.
                                                  civil surgeon or panel physician where                  a continuing monthly or yearly basis for                 (6) The alien’s prospective
                                                  such examination is required; or                        the most recent calendar year excluding               immigration status and expected period
                                                     (B) Evidence of a medical condition                  any income from public benefits as                    of admission. (i) Standard. The
                                                  that is likely to require extensive                     defined in 8 CFR 212.21(b);                           immigration status that the alien seeks


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                                                  and the expected period of admission as                 provide for him- or herself, attend                      (3) Amerasian immigrants at the time
                                                  it relates to the alien’s ability to                    school, or work; and                                  of application for admission as
                                                  financially support for himself or herself                (B) The alien is uninsured and has                  described in sections 584 of the Foreign
                                                  during the duration of their stay,                      neither the prospect of obtaining private             Operations, Export Financing, and
                                                  including:                                              health insurance, or the financial                    Related Programs Appropriations Act of
                                                     (A) Whether the alien is applying for                resources to pay for reasonably                       1988, Public Law 100–202, 101 Stat.
                                                  adjustment of status or admission in a                  foreseeable medical costs related to a                1329–183, section 101(e) (Dec. 22,
                                                  nonimmigrant or immigrant                               the medical condition; or                             1987), as amended, 8 U.S.C. 1101 note;
                                                  classification; and                                       (v) The alien had previously been                      (4) Afghan and Iraqi Interpreter, or
                                                     (B) If the alien is seeking admission as             found inadmissible or deportable on                   Afghan or Iraqi national employed by or
                                                  a nonimmigrant, the nonimmigrant                        public charge grounds.                                on behalf of the U.S. Government as
                                                  classification and the anticipated period                 (2) Heavily weighed positive factors.               described in section 1059(a)(2) of the
                                                  of temporary stay.                                      The following factors will generally                  National Defense Authorization Act for
                                                     (ii) [Reserved];                                     weigh heavily in favor of a finding that              Fiscal Year 2006 Public Law 109–163
                                                     (7) An affidavit of support, when                    an alien is not likely to become a public             (Jan. 6, 2006), as amended, and section
                                                  required under section 212(a)(4) of the                 charge:                                               602(b) of the Afghan Allies Protection
                                                  Act, that meets the requirements of                       (i) The alien’s household has financial             Act of 2009, Public Law 111–8, title VI
                                                  section 213A of the Act and 8 CFR                       assets, resources, and support of at least            (Mar. 11, 2009), as amended, 8 U.S.C.
                                                  213a—(i) Standard. A sufficient                         250 percent of the Federal Poverty                    1101 note, and section 1244(g) of the
                                                  affidavit of support must meet the                      Guidelines for a household of the alien’s             National Defense Authorization Act for
                                                  sponsorship and income requirements                     household size; or                                    Fiscal Year 2008, as amended Public
                                                  of section 213A of the Act and comply                     (ii) The alien is authorized to work                Law 110–181 (Jan. 28, 2008);
                                                  with 8 CFR 213a.                                        and is currently employed with an                        (5) Cuban and Haitian entrants
                                                     (A) Evidence. USCIS’ consideration                   annual income of at least 250 percent of              applying for adjustment of status under
                                                  includes but is not limited to the                      the Federal Poverty Guidelines for a                  in section 202 of the Immigration
                                                  following:                                              household of the alien’s household size.              Reform and Control Act of 1986 (IRCA),
                                                                                                            (d) Benefits received before [DATE 60               Public Law 99–603, 100 Stat. 3359 (Nov.
                                                     (1) The sponsor’s annual income,
                                                                                                          DAYS FROM DATE OF PUBLICATION                         6, 1986), as amended, 8 U.S.C. 1255a
                                                  assets, and resources;
                                                                                                          OF THE FINAL RULE]. For purposes of                   note;
                                                     (2) The sponsor’s relationship to the
                                                                                                          this regulation, DHS will consider as a                  (6) Aliens applying for adjustment of
                                                  applicant; and
                                                                                                          negative factor any amount of cash                    status under the Cuban Adjustment Act,
                                                     (3) The likelihood that the sponsor
                                                                                                          assistance for income maintenance,                    Public Law 89–732 (Nov. 2, 1966), as
                                                  would actually provide the statutorily-
                                                                                                          including Supplemental Security                       amended, 8 U.S.C. 1255 note;
                                                  required amount of financial support to
                                                                                                          Income (SSI), Temporary Assistance for                   (7) Nicaraguans and other Central
                                                  the alien, and any other related
                                                                                                          Needy Families (TANF), State and local                Americans applying for adjustment of
                                                  considerations.
                                                                                                          cash assistance programs that provide                 status under sections 202(a) and section
                                                     (c) Heavily weighed factors. The
                                                                                                          benefits for income maintenance (often                203 of the Nicaraguan Adjustment and
                                                  factors below will generally weigh
                                                                                                          called ‘‘General Assistance’’ programs),              Central American Relief Act (NACARA),
                                                  heavily in a public charge
                                                                                                          and programs (including Medicaid)                     Public Law 105–100, 111 Stat. 2193
                                                  inadmissibility determination. The mere
                                                                                                          supporting aliens who are                             (Nov. 19, 1997), as amended, 8 U.S.C.
                                                  presence of any one enumerated
                                                                                                          institutionalized for long-term care,                 1255 note;
                                                  circumstance is not, alone,
                                                                                                          received, or certified for receipt, before               (8) Haitians applying for adjustment
                                                  determinative.
                                                                                                          [DATE 60 DAYS FROM DATE OF                            of status under section 902 of the
                                                     (1) Heavily weighed negative factors.                                                                      Haitian Refugee Immigration Fairness
                                                                                                          PUBLICATION OF THE FINAL RULE],
                                                  The following factors will generally                                                                          Act of 1998, Public Law 105–277, 112
                                                                                                          as provided under the 1999 Interim
                                                  weigh heavily in favor of a finding that                                                                      Stat. 2681 (Oct. 21, 1998), as amended,
                                                                                                          Field Guidance, also known as the 1999
                                                  an alien is likely to become a public                                                                         8 U.S.C. 1255 note;
                                                                                                          Field Guidance on Deportability and
                                                  charge:                                                                                                          (9) Lautenberg parolees as described
                                                                                                          Inadmissibility on Public Charge
                                                     (i) The alien is not a full-time student                                                                   in section 599E of the Foreign
                                                                                                          Grounds. DHS does not consider any
                                                  and is authorized to work, but is unable                                                                      Operations, Export Financing, and
                                                                                                          other public benefits received, or
                                                  to demonstrate current employment,                                                                            Related Programs Appropriations Act of
                                                                                                          certified for receipt, before such date.
                                                  recent employment history or no                                                                               1990, Public Law 101–167, 103 Stat.
                                                  reasonable prospect of future                           § 212.23 Exemptions and waivers for                   1195, title V (Nov. 21, 1989), as
                                                  employment;                                             public charge ground of inadmissibility.              amended, 8 U.S.C. 1255 note;
                                                     (ii) The alien is currently receiving or               (a) Exemptions. The public charge                      (10) Special immigrant juveniles as
                                                  is currently certified or approved to                   ground of inadmissibility does not                    described in section 245(h) of the Act;
                                                  receive one or more public benefit, as                  apply, based on statutory or regulatory                  (11) Aliens who entered the United
                                                  defined in 212.21(b);                                   authority, to the following categories of             States prior to January 1, 1972 and who
                                                     (iii) The alien has received one or                  aliens:                                               meet the other conditions for being
                                                  more public benefit, as defined in                         (1) Refugees at the time of admission              granted lawful permanent residence
                                                  212.21(b), within the 36 months                         under section 207 of the Act and at the               under section 249 of the Act and 8 CFR
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                                                  immediately preceding the alien’s                       time of adjustment of status to lawful                part 249 (Registry);
                                                  application for a visa, admission, or                   permanent resident under section 209 of                  (12) Aliens applying for or re-
                                                  adjustment of status;                                   the Act;                                              registering for Temporary Protected
                                                     (iv)(A) The alien has been diagnosed                    (2) Asylees at the time of grant under             Status as described in section 244 of the
                                                  with a medical condition that is likely                 section 208 of the Act and at the time                Act under section 244(c)(2)(A)(ii) of the
                                                  to require extensive medical treatment                  of adjustment of status to lawful                     Act and 8 CFR 244.3(a);
                                                  or institutionalization or that will                    permanent resident under section 209 of                  (13) A nonimmigrant described in
                                                  interfere with the alien’s ability to                   the Act;                                              section 101(a)(15)(A)(i) and (A)(ii) of the


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                                                  Act (Ambassador, Public Minister,                       Subtitle D (Sept. 30, 1996), 8 U.S.C.                 amount(s) received within the
                                                  Career Diplomat or Consular Officer, or                 1255 note; and                                        applicable period of 12 consecutive
                                                  Immediate Family or Other Foreign                         (27) Any other categories of aliens                 months in which the benefits are
                                                  Government Official or Employee, or                     exempt under any other law from the                   received; and
                                                  Immediate Family), pursuant to section                  public charge ground of inadmissibility                  (d) With respect to any cash benefit
                                                  102 of the Act, and 22 CFR 41.21(d);                    provisions under section 212(a)(4) of the             received by the alien on a household
                                                     (14) A nonimmigrant classifiable as                  Act.                                                  (rather than individual) basis, DHS will
                                                  C–2 (alien in transit to U.N.                             (b) Waiver. A waiver for the public                 calculate the value of the benefit
                                                  Headquarters) or C–3 (foreign                           charge ground of inadmissibility may be               attributable to the alien in proportion to
                                                  government official), 22 CFR 41.21(d);                  authorized based on statutory or                      the total number of people covered by
                                                     (15) A nonimmigrant described in                     regulatory authority, for the following               the benefit, based on the amount(s)
                                                  section 101(a)(15)(G)(i), (G)(ii), (G)(iii),            categories of aliens:                                 received within the applicable period of
                                                  and (G)(iv), of the Act (Principal                        (1) Nonimmigrants who were                          12 consecutive months in which the
                                                  Resident Representative of Recognized                   admitted under section 101(a)(15)(T) of               benefit is received.
                                                  Foreign Government to International                     the Act applying for adjustment of
                                                  Organization, and related categories),                  status under section 245(l)(2)(A) of the              PART 213—PUBLIC CHARGE BONDS
                                                  pursuant to section 102 of the Act                      Act;
                                                  pursuant to 22 CFR 41.21(d);                              (2) Applicants for admission as                     ■  6. The authority citation for part 213
                                                     (16) A nonimmigrant classifiable as                  nonimmigrants under 101(a)(15)(S) of                  is revised to read as follows:
                                                  NATO–1, NATO–2, NATO–3, NATO–4                          the Act;                                                   Authority: 8 U.S.C. 1103; 1183; 8 CFR part
                                                  (NATO representatives), and NATO–6                        (3) Nonimmigrants admitted under                    2.
                                                  pursuant to 22 CFR 41.21(d);                            section 101(a)(15)(S) of the Act applying
                                                                                                                                                                ■ 7. Revise the part heading to read as
                                                     (17) A nonimmigrant classified under                 for adjustment of status under section
                                                                                                                                                                set forth above.
                                                  section 101(a)(15)(T) of the Act, in                    245(j) of the Act (witnesses or
                                                                                                                                                                ■ 8. Revise § 213.1 to read as follows:
                                                  accordance with section 212(d)(13)(A)                   informants); and
                                                  of the Act;                                               (4) Any waiver of public charge                     § 213.1 Adjustment of status of aliens on
                                                     (18) An applicant for, or individual                 inadmissibility that is authorized under              submission of a public charge bond.
                                                  who is granted, nonimmigrant status                     law or regulation.                                       (a) Inadmissible aliens. In accordance
                                                  under section 101(a)(15)(U) of the Act in                                                                     with section 213 of the Act, after an
                                                                                                          § 212.24    Valuation of monetizable benefits.
                                                  accordance with section 212(a)(4)(E)(ii)                                                                      alien seeking adjustment of status has
                                                  of the Act;                                                In determining the cumulative value
                                                                                                          of one or more monetizable benefits                   been found inadmissible as likely to
                                                     (19) Nonimmigrants classified under                                                                        become a public charge under section
                                                  section 101(a)(15)(U) of the Act                        listed in 8 CFR 212.21(b)(1)(ii) for
                                                                                                          purposes of a public charge                           212(a)(4) of the Act, DHS may allow the
                                                  applying for adjustment of status under                                                                       alien to submit a public charge bond, if
                                                  section 245(m) of the Act and 8 CFR                     inadmissibility determination under 8
                                                                                                          CFR 212.22, DHS will rely on benefit-                 the alien is otherwise admissible, in
                                                  245.24;                                                                                                       accordance with the requirements of 8
                                                     (20) An alien who is a VAWA self-                    specific methodology as follows:
                                                                                                             (a) With respect to the Supplemental               CFR 103.6 and this section. The public
                                                  petitioner under section 212(a)(4)(E)(i)
                                                                                                          Nutrition Assistance Program (SNAP,                   charge bond submitted on the alien’s
                                                  of the Act;
                                                     (21) A qualified alien described in                  formerly called ‘‘Food Stamps’’), 7                   behalf must meet the conditions set
                                                  section 431(c) of the Personal                          U.S.C. 2011 to 2036c, DHS will                        forth in 8 CFR 103.6 and this section.
                                                  Responsibility and Work Opportunity                     calculate the value of the benefit                       (b) Discretion. The decision to allow
                                                  Reconciliation Act of 1996, 8 U.S.C.                    attributable to the alien in proportion to            an alien inadmissible under section
                                                  1641(c), under section 212(a)(4)(E)(iii) of             the total number of people covered by                 212(a)(4) of the Act to submit a public
                                                  the Act;                                                the benefit, based on the amount(s)                   charge bond is in DHS’s discretion. If an
                                                     (22) Applicants adjusting status who                 deposited within the applicable period                alien has one or more heavily weighed
                                                  qualify for a benefit under section 1703                of 12 consecutive months in which the                 negative factors as defined in 8 CFR
                                                  of the National Defense Authorization                   benefits are received in the Electronic               212.22 present in his or her case, DHS
                                                  Act, Public Law 108–136, 117 Stat. 1392                 Benefits Transfer (EBT) card account;                 generally will not favorably exercise
                                                  (Nov. 24, 2003), 8 U.S.C. 1151 note                        (b) With respect to the Section 8                  discretion to allow submission of a
                                                  (posthumous benefits to surviving                       Housing Assistance under the Housing                  public charge bond.
                                                  spouses, children, and parents);                        Choice Voucher Program, as                               (c) Public Charge Bonds. (1) Types.
                                                     (23) American Indians born in Canada                 administered by HUD under 24 CFR                      DHS may require an alien to submit a
                                                  determined to fall under section 289 of                 part 984; 42 U.S.C. 1437f and 1437u,                  surety bond, or cash or any cash
                                                  the Act;                                                DHS will calculate value of the voucher               equivalent, as listed in 8 CFR 103.6, and
                                                     (24) Texas Band of Kickapoo Indians                  attributable to the alien in proportion to            agreement, to secure a bond. DHS will
                                                  of the Kickapoo Tribe of Oklahoma,                      the total number of people covered by                 notify the alien of the type of bond that
                                                  Public Law 97–429 (Jan. 8, 1983);                       the benefit, based on the amount(s)                   may be submitted. All bonds, and
                                                     (25) Nationals of Vietnam, Cambodia,                 within the applicable period of 12                    agreements covering cash or cash
                                                  and Laos applying for adjustment of                     consecutive months in which the                       equivalents, as listed in 8 CFR 103.6, to
                                                  status under section 586 of Public Law                  benefits are received;                                secure a bond, must be executed on a
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                                                  106–429 under 8 CFR 245.21;                                (c) With respect to Section 8 Project-             form designated by DHS and in
                                                     (26) Polish and Hungarian Parolees                   Based Rental Assistance (including                    accordance with form instructions.
                                                  who were paroled into the United States                 Moderate Rehabilitation) under 24 CFR                 When a surety bond is accepted, the
                                                  from November 1, 1989 to December 31,                   parts 5, 402, 880–884 and 886, DHS will               bond must comply with requirements
                                                  1991 under section 646(b) of the Illegal                calculate the value of the rental                     applicable to surety bonds in 8 CFR
                                                  Immigration Reform and Immigrant                        assistance attributable to the alien in               103.6 and this section. If cash or a cash
                                                  Responsibility Act of 1996 (IIRIRA),                    proportion to the total number of people              equivalent, as listed in 8 CFR 103.6, is
                                                  Public Law 104–208, Div. C, Title VI,                   covered by the benefit, based on the                  being provided to secure a bond, DHS


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                                                  must issue a receipt on a form                          behalf. If the bond previously submitted              law or voluntarily, and physically
                                                  designated by DHS.                                      to DHS is a limited duration bond                     departed the United States. An alien is
                                                     (2) Amount. Any public charge bond,                  because it expires on a date certain, the             only deemed to have voluntarily lost
                                                  or agreements to secure a public charge                 substitute bond must be submitted no                  lawful permanent resident status when
                                                  bond on cash or cash equivalents, as                    later than 180 days before the bond                   the alien has submitted a record of
                                                  listed in 8 CFR 103.6, must be in an                    previously submitted to USCIS expires                 abandonment of lawful permanent
                                                  amount decided by DHS, not less than                    and the substitute bond must be valid                 resident status, on the form prescribed
                                                  $10,000, annually adjusted for inflation                and effective on or before the day the                by DHS, in accordance with the form’s
                                                  based on the Consumer Price Index for                   bond previously submitted to DHS                      instructions.
                                                  All Urban Consumers (CPI–U), and                        expires. If the bond previously                          (3) Cancellation Request. An alien
                                                  rounded up to the nearest dollar. The                   submitted to DHS is a bond of unlimited               must request that a public charge bond
                                                  bond amount may not be appealed by                      duration because it does not bear a                   be cancelled by submitting a form
                                                  the alien or the obligor.                               specific end date, the substitute bond                designated by DHS, in accordance with
                                                     (d) Conditions of the bond. A public                 must specify an effective date. The                   that form’s instructions and the fee
                                                  charge bond must remain in effect until                 substitute bond must meet all of the                  prescribed in 8 CFR 103.7(b). If a
                                                  the alien naturalizes or otherwise                      requirements applicable to the initial                request for cancellation of a public
                                                  obtains U.S. citizenship, permanently                   bond as required by this section and 8                charge bond is not filed, the bond shall
                                                  departs the United States, or dies, the                 CFR 103.6, and if the obligor is different            remain in effect until the form is filed,
                                                  alien requests cancellation after 5 years               from the original obligor, the new                    reviewed, and a decision is rendered.
                                                  of being a lawful permanent resident,                   obligor must assume all liabilities of the               (4) Adjudication and Burden of Proof.
                                                  the alien changes immigration status to                 initial obligor. The substitute bond must             The alien and the obligor have the
                                                  one not subject to public charge ground                 also cover any breach of the bond                     burden to establish, by a preponderance
                                                  of inadmissibility, and the bond is                     conditions which occurred before DHS                  of the evidence, that one of the
                                                  cancelled in accordance with paragraph                  accepted the substitute bond, in the                  conditions for cancellation of the public
                                                  (g) of this section. An alien on whose                  event DHS did not learn of the breach                 charge bond listed in paragraph (g)(1) of
                                                  behalf a public charge bond has been                    until after the expiration or cancellation            this section has been met. If DHS
                                                  submitted may not receive any public                    of the bond previously submitted to                   determines that the information
                                                  benefits, as defined in 8 CFR 212.21(b),                DHS.                                                  included in the cancellation request is
                                                  after the alien’s adjustment of status to                  (2) Acceptance. Upon submission of                 insufficient to determine whether
                                                  that of a lawful permanent resident,                    the substitute bond, DHS will review                  cancellation is appropriate, DHS may
                                                  until the bond is cancelled in                          the substitute bond for sufficiency. If the           request additional information as
                                                  accordance with paragraph (g) of this                   bond on file has not yet expired, DHS                 outlined in 8 CFR 103.2(b)(8). DHS must
                                                  section. An alien must also comply with                 will cancel the bond previously                       cancel a public charge bond if DHS
                                                  any other conditions imposed as part of                 submitted to DHS, and replace it with                 determines that the conditions of the
                                                  the bond.                                               the substitute bond, provided the                     bond have been met, and that the bond
                                                     (e) Submission. A public charge bond                 substitute bond is sufficient. If the                 was not breached, in accordance with
                                                  may be submitted on the alien’s behalf                  substitute bond was submitted before                  paragraph (h) of this section. For
                                                  only after DHS notifies the alien and the               the previously submitted bond expired,                cancellations under paragraph (g)(1)(iv)
                                                  alien’s representative, if any, that a bond             but is insufficient, DHS will notify the              of this section, the alien or the obligor
                                                  may be submitted. The bond must be                      obligor of the substitute bond to correct             must establish that the public charge
                                                  submitted to DHS in accordance with                     the deficiency within the timeframe                   bond has not been breached during the
                                                  the instructions of the form designated                 specified in the notice. If the deficiency            5-year period preceding the alien’s fifth
                                                  by DHS for this purpose, with the fee                   is not corrected within the timeframe                 anniversary of becoming a lawful
                                                  prescribed in 8 CFR 103.7(b), and any                   specified, and the previously submitted               permanent resident.
                                                  procedures contained in the DHS                         bond has not yet expired, the previously                 (5) Decision. DHS will notify the
                                                  notification to the alien. DHS will                     submitted bond will remain in effect.                 obligor, the alien, and the alien’s
                                                  specify the bond amount and duration,                      (g) Cancellation of the Public Charge              representative, if any, of its decision
                                                  as well as any other conditions, as                     Bond. (1) An alien or obligor may                     regarding the request to cancel the
                                                  appropriate for the alien and the                       request that DHS cancel a public charge               public charge bond. When the public
                                                  immigration benefit being sought.                       bond if the alien:                                    charge bond is cancelled, the obligor is
                                                  USCIS will notify the alien and the                        (i) Naturalized or otherwise obtained              released from liability. If the public
                                                  alien’s representative, if any, that the                United States citizenship;                            charge bond has been secured by a cash
                                                  bond has been accepted, and will                           (ii) Permanently departed the United               deposit or a cash equivalent, DHS will
                                                  provide a copy to the alien and the                     States;                                               refund the cash deposit to the obligor.
                                                  alien’s representative, if any, of any                     (iii) Died;                                        If DHS denies the request to cancel the
                                                  communication between the obligor and                      (iv) Reached his or her 5-year                     bond, DHS will notify the obligor and
                                                  the U.S. government. An obligor must                    anniversary since becoming a lawful                   the alien, and the alien’s representative,
                                                  notify DHS within 30 days of any                        permanent resident; or                                if any, of the reasons why, and of the
                                                  change in the obligor’s or the alien’s                     (v) Obtained a different immigration               right of the obligor to appeal in
                                                  physical and mailing address.                           status not subject to public charge                   accordance with the requirements of 8
                                                     (f) Substitution. A bond not eligible                inadmissibility, as listed in 8 CFR                   CFR part 103, subpart A. An obligor
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                                                  for cancellation under paragraph (g) of                 212.23, following the grant of lawful                 may file a motion pursuant to 8 CFR
                                                  this section must be substituted prior to               permanent resident status associated                  103.5 after an unfavorable decision on
                                                  the expiration of the validity of the bond              with the public charge bond.                          appeal. Neither the alien nor the alien’s
                                                  previously submitted to DHS.                               (2) Permanent Departure Defined. For               representative may appeal a denial to
                                                     (1) Substitution Process. Either the                 purposes of this section, permanent                   cancel the public charge bond or file a
                                                  obligor of the bond previously                          departure means that the alien lost or                motion.
                                                  submitted to DHS or a new obligor may                   abandoned his or her lawful permanent                    (h) Breach—(1) Breach and Claim in
                                                  submit a substitute bond on the alien’s                 resident status, whether by operation of              Favor of the United States. An


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                                                  administratively final determination                    a copy of this notification to the alien              section has been waived, as a condition
                                                  that a bond has been breached creates a                 and the alien’s representative, if any.               for approval of extension of status, the
                                                  claim in favor of the United States. Such               After the obligor’s response, or after the            alien must demonstrate that he or she
                                                  claim may not be released or discharged                 specified deadline has passed, DHS will               has not received since obtaining the
                                                  by an immigration officer. A breach                     make a breach determination.                          nonimmigrant status he or she seeks to
                                                  determination is administratively final                    (4) Decision. DHS will notify the                  extend, is not receiving, nor is likely to
                                                  when the time to file an appeal with the                obligor and the alien, and the alien’s                receive, a public benefit as defined in 8
                                                  Administrative Appeals Office (AAO)                     representative, if any, of the breach                 CFR 212.21(b). For the purposes of this
                                                  pursuant to 8 CFR part 103, subpart A,                  determination. If DHS determines that a               determination, DHS will consider such
                                                  has expired or when the appeal is                       bond has been breached, DHS will                      public benefits received on or after
                                                  dismissed or rejected.                                  inform the obligor of the right to appeal             [DATE 60 DAYS FROM DATE OF
                                                     (2) Breach of Bond Conditions. (i) The               in accordance with the requirements of                PUBLICATION OF THE FINAL RULE].
                                                  conditions of the bond are breached if                  8 CFR part 103, subpart A. The obligor                In assessing whether the alien has met
                                                  the alien has received public benefits, as              may only file a motion in accordance                  his or her burden, DHS will consider the
                                                  defined in 8 CFR 212.21(b), after the                   with 8 CFR 103.5 of an unfavorable                    nonimmigrant classification the alien is
                                                  alien’s adjustment of status to that of a               decision on appeal. The alien or the                  seeking to extend, the reasons for
                                                  lawful permanent resident and before                    alien’s representative, if any, may not               seeking the extension of stay and the
                                                  the bond is cancelled under paragraph                   appeal the breach determination or file               expected period of stay. For purposes of
                                                  (g) of this section. Public benefits, as                a motion.                                             this determination, DHS may require the
                                                  defined in 8 CFR 212.21(b), received                       (5) Demand for Payment. Demands for                submission of a declaration of self-
                                                  during periods while an alien is present                amounts due under the terms of the                    sufficiency on a form designated by
                                                  in the United States in a category that                 bond will be sent to the obligor or any               DHS, in accordance with form
                                                  is exempt from the public charge ground                 agent/co-obligor after a declaration of               instructions.
                                                  of inadmissibility, as set forth in 8 CFR               breach becomes administratively final.                *      *     *     *     *
                                                  212.23, following the initial grant of                     (6) Amount of Bond Breach and Effect                  (c) * * *
                                                  status as a lawful permanent resident,                  on Bond. The bond must be considered                     (4) * * *
                                                  and public benefits received after the                  breached in the full amount of the bond.                 (iv) As set forth in 8 CFR
                                                  alien obtained U.S. citizenship, may not                   (i) Exhaustion of administrative                   214.1(a)(3)(iv), except where the alien’s
                                                  be considered when determining                          remedies. Unless administrative appeal                nonimmigrant classification is
                                                  whether the conditions of the bond have                 is precluded by regulation, a party has               exempted by law from section 212(a)(4)
                                                  been breached. DHS will not consider                    not exhausted the administrative                      of the Act, the alien has not received
                                                  any benefits, as defined in 8 CFR 212.21                remedies available with respect to a                  since obtaining the nonimmigrant status
                                                  (b)(1) through (b)(3), received by an                   public charge bond under this section                 for which he or she seeks to extend, is
                                                  alien who, at the time of receipt filing,               until the party has obtained a final                  not currently receiving, nor is likely to
                                                  adjudication or bond breach or                          decision in an administrative appeal                  receive, public benefits as described in
                                                  cancellation determination, is enlisted                 under 8 CFR part 103, subpart A.                      in 8 CFR 212.21(b). For the purposes of
                                                  in the U.S. armed forces under the                         (ii) [Reserved]                                    this determination, DHS will consider
                                                  authority of 10 U.S.C. 504(b)(1)(B) or 10
                                                                                                                                                                public benefits received on or after
                                                  U.S.C. 504(b)(2), serving in active duty                PART 214—NONIMMIGRANT CLASSES
                                                                                                                                                                [DATE 60 DAYS FROM DATE OF
                                                  or in the Ready Reserve component of
                                                                                                          ■ 9. The authority citation for part 214              PUBLICATION OF THE FINAL RULE];
                                                  the U.S. Armed Forces, or if received by
                                                                                                          continues to read as follows:                         and
                                                  such an individual’s spouse or child as
                                                  defined in section 101(b) of the Act.; or                  Authority: 6 U.S.C. 202, 236; 8 U.S.C.             *      *     *     *     *
                                                     (ii) The conditions of the bond                      1101, 1102, 1103, 1182, 1184, 1186a, 1187,
                                                  otherwise imposed by DHS as part of                     1221, 1281, 1282, 1301–1305 and 1372; sec.            PART 245—ADJUSTMENT OF STATUS
                                                  the public charge bond are breached.                    643, Pub. L. 104–208, 110 Stat. 3009–708;             TO THAT OF A PERSON ADMITTED
                                                     (3) Adjudication. DHS will determine                 Public Law 106–386, 114 Stat. 1477–1480;              FOR PERMANENT RESIDENCE
                                                  whether the conditions of the bond have                 section 141 of the Compacts of Free
                                                                                                          Association with the Federated States of              ■ 11. The authority citation for part 245
                                                  been breached. If DHS determines that                                                                         continues to read as follows:
                                                                                                          Micronesia and the Republic of the Marshall
                                                  it has insufficient information from the                Islands, and with the Government of Palau,
                                                  benefit granting agency to determine                                                                            Authority: 8 U.S.C. 1101, 1103, 1182, 1255;
                                                                                                          48 U.S.C. 1901 note, and 1931 note,                   Pub. L. 105–100, section 202, 111 Stat. 2160,
                                                  whether a breach occurred, DHS may                      respectively; 48 U.S.C. 1806; 8 CFR part 2.           2193; Pub. L. 105–277, section 902, 112 Stat.
                                                  request additional information from the                                                                       2681; Pub. L. 110–229, tit. VII, 122 Stat. 754;
                                                  benefit granting agency. If DHS                         ■ 10. Section 214.1 is amended by:
                                                                                                          ■ a. Adding paragraph (a)(3)(iv),                     8 CFR part 2.
                                                  determines that it has insufficient                                                                           ■ 12. Section 245.4 is amended by
                                                                                                          ■ b. Removing the term, ‘‘and’’ in
                                                  information from the alien or the                                                                             redesignating the undesignated text as
                                                                                                          paragraph (c)(4)(iii);
                                                  obligor, it may request additional                                                                            paragraph (a) and adding paragraph (b)
                                                                                                          ■ c. Redesignating paragraph (c)(4)(iv)
                                                  information as outlined in 8 CFR part                                                                         to read as follows:
                                                                                                          as paragraph (c)(4)(v); and
                                                  103 before making a breach
                                                                                                          ■ d. Adding a new paragraph (c)(4)(iv).
                                                  determination. If DHS intends to declare                                                                      § 245.4    Documentary requirements.
                                                                                                            The additions read as follows:
                                                  a bond breached based on information                                                                          *     *     *    *      *
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                                                  that is not otherwise protected from                    § 214.1 Requirements for admission,                     (b) For purposes of public charge
                                                  disclosure to the obligor, DHS will                     extension, and maintenance of status.                 determinations under section 212(a)(4)
                                                  disclose such information to the obligor                   (a) * * *                                          of the Act and 8 CFR 212.22, an alien
                                                  to the extent permitted by law, and                       (3) * * *                                           who is seeking adjustment of status
                                                  provide the obligor with an opportunity                   (iv) Except where the nonimmigrant                  under this part must submit a
                                                  to respond and submit rebuttal                          classification for which the alien                    declaration of self-sufficiency on a form
                                                  evidence, including specifying a                        applies, or seeks to extend, is exempt                designated by DHS, in accordance with
                                                  deadline for a response. DHS will send                  from section 212(a)(4) of the Act or that             form instructions.


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                                                  PART 248—CHANGE OF                                      1101(a)(15)(K), or as an alien in transit                (c) * * *
                                                  NONIMMIGRANT CLASSIFICATION                             under section 101(a)(15)(C) of the Act, 8                (4) As a condition for approval, an
                                                                                                          U.S.C. 1101(a)(15)(C). Except where the               alien seeking to change nonimmigrant
                                                  ■ 13. The authority citation for part 248               nonimmigrant classification to which
                                                  continues to read as follows:                                                                                 classification must demonstrate that he
                                                                                                          the alien seeks to change is exempted by              or she has not received since obtaining
                                                    Authority: 8 U.S.C. 1101, 1103, 1184,                 law from section 212(a)(4) of the Act, as             the nonimmigrant status from which he
                                                  1258; 8 CFR part 2.                                     a condition for approval of a change of               or she seeks to change, is not receiving,
                                                  ■ 14. Section 248.1 is amended by:                      nonimmigrant status, the alien must                   nor is likely to receive, a public benefit
                                                  ■ a. Revising paragraph (a);                            demonstrate that he or she has not                    as defined in 8 CFR 212.21(b). For
                                                  ■ b. Redesignating paragraphs (b)                       received since obtaining the                          purposes of this determination, DHS
                                                  through (e) as paragraphs (c) through (f),              nonimmigrant status from which he or                  will consider such benefits received on
                                                  respectively; and                                       she seeks to change, is not currently                 or after [DATE 60 DAYS FROM DATE
                                                  ■ c. Adding a new paragraph (b); and                    receiving, nor is likely to receive, public           OF PUBLICATION OF THE FINAL
                                                  ■ d. Revising newly redesignated                        benefits as described in 8 CFR 212.21(b).             RULE]. In assessing whether the alien
                                                  paragraph (c)(4).                                       DHS will consider public benefits
                                                    The revisions and additions read as                                                                         has met his or her burden, DHS will
                                                                                                          received on or after [DATE 60 DAYS                    consider the prospective nonimmigrant
                                                  follows:                                                FROM DATE OF PUBLICATION OF                           classification, the reasons for seeking
                                                  § 248.1   Eligibility.                                  THE FINAL RULE]. An alien defined by                  the change of status, and the expected
                                                    (a) General. Except for those classes                 section 101(a)(15)(V), or 101(a)(15)(U) of            period of stay. DHS may require the
                                                  enumerated in § 248.2 of this part, any                 the Act, 8 U.S.C. 1101(a)(15)(V) or 8                 submission of a declaration of self-
                                                  alien lawfully admitted to the United                   U.S.C. 1101(a)(15)(U), may be accorded                sufficiency on a form designated by
                                                  States as a nonimmigrant, including an                  nonimmigrant status in the United                     DHS, in accordance with form
                                                  alien who acquired such status in                       States by following the procedures set                instructions. This provision does not
                                                  accordance with section 247 of the Act,                 forth in 8 CFR 214.15(f) and 214.14,                  apply to classes of nonimmigrants who
                                                  8 U.S.C. 1257, who is continuing to                     respectively.                                         are explicitly exempt by law from
                                                  maintain his or her nonimmigrant                           (b) Decision in change of status                   section 212(a)(4) of the Act.
                                                  status, may apply to have his or her                    proceedings. Where an applicant or                    *      *     *     *    *
                                                  nonimmigrant classification changed to                  petitioner demonstrates eligibility for a
                                                  any nonimmigrant classification other                   requested change of status, it may be                 Kirstjen M. Nielsen,
                                                  than that of a spouse or fiance(e), or the              granted at the discretion of DHS. There               Secretary.
                                                  child of such alien, under section                      is no appeal from the denial of an                    [FR Doc. 2018–21106 Filed 10–5–18; 8:45 am]
                                                  101(a)(15)(K) of the Act, 8 U.S.C.                      application for change of status.                     BILLING CODE 4410–10–P
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                                              DEPARTMENT OF HOMELAND                                  in this rule, by certain members of the                  B. Current Public Charge Standards
                                              SECURITY                                                U.S. Armed Forces and their families;                    C. Final Rule
                                                                                                      certain international adoptees; and                   III. Public Comments on the Proposed Rule
                                              8 CFR Parts 103, 212, 213, 214, 245 and                                                                          A. Summary of Public Comments
                                                                                                      receipt of Medicaid in certain contexts,
                                                                                                                                                               B. Requests To Extend Comment Period
                                              248                                                     especially by aliens under the age of 21,                C. Comments Expressing General Support
                                                                                                      pregnant women (and women for up to                         for the NPRM
                                              [CIS No. 2637–19; DHS Docket No. USCIS–
                                              2010–0012]                                              60 days after giving birth), and for                     D. Comments Expressing General
                                                                                                      certain services funded by Medicaid                         Opposition to the NPRM
                                              RIN 1615–AA22                                           under the Individuals with Disabilities                  1. Purpose of the Rule and Self Sufficiency
                                                                                                      Education Act (IDEA) or in a school                      2. Requests for Reconsideration and
                                              Inadmissibility on Public Charge                        setting. Aliens who might qualify for                       Withdrawal of NPRM
                                              Grounds                                                                                                          3. Alternatives to the Public Charge Rule
                                                                                                      these exemptions should study the rule
                                                                                                                                                               4. Discrimination and Disparate Impact
                                              AGENCY:  U.S. Citizenship and                           carefully to understand how the                          5. Potential Disenrollment Impacts
                                              Immigration Services, DHS.                              exemptions work.                                         • Choice Between Public Benefits and
                                                                                                         This final rule also clarifies that DHS                  Immigration Status
                                              ACTION: Final rule.                                     will only consider public benefits                       • General Assertions as to Effects
                                                                                                      received directly by the alien for the                   • Housing Benefit-Related Effects
                                              SUMMARY:    This final rule amends DHS                                                                           • Food and Nutrition Benefit-Related
                                              regulations by prescribing how DHS                      alien’s own benefit, or where the alien
                                                                                                      is a listed beneficiary of the public                       Effects
                                              will determine whether an alien                                                                                  • Health Benefit-Related Effects
                                                                                                      benefit. DHS will not consider public
                                              applying for admission or adjustment of                                                                          • Effects on Vulnerable Populations
                                              status is inadmissible to the United                    benefits received on behalf of another.                  • Effects on U.S. Citizens
                                              States under section 212(a)(4) of the                   DHS also will not attribute receipt of a                 • Increased Costs to Health Care Providers,
                                              Immigration and Nationality Act (INA                    public benefit by one or more members                       States, and Localities
                                              or the Act), because he or she is likely                of the alien’s household to the alien                    6. Inconsistent With American Values and
                                                                                                      unless the alien is also a listed                           Historic Commitment to Immigrants
                                              at any time to become a public charge.                                                                           7. Contributions to American Society and
                                              The final rule includes definitions of                  beneficiary of the public benefit.
                                                                                                         This final rule supersedes the 1999                      Consideration of Self-Sufficiency
                                              certain terms critical to the public                                                                             8. Adjudication and Processing
                                                                                                      Interim Field Guidance on Deportability
                                              charge determination, such as ‘‘public                                                                           9. Privacy Concerns
                                                                                                      and Inadmissibility on Public Charge                     E. General Comments Regarding Legal
                                              charge’’ and ‘‘public benefit,’’ which are
                                                                                                      Grounds.                                                    Authority and Statutory Provisions
                                              not defined in the statute, and explains
                                              the factors DHS will consider in the                    DATES: This final rule is effective at                   1. Lack of Statutory Authority/Inconsistent
                                                                                                      12:00 a.m. Eastern Time on October 15,                      With Congressional Intent
                                              totality of the circumstances when                                                                               2. Additional Legal Arguments
                                              making a public charge inadmissibility                  2019. DHS will apply this rule only to
                                                                                                                                                               a. Allegations That the Rule Is Arbitrary
                                              determination. The final rule also                      applications and petitions postmarked                       and Capricious
                                              addresses USCIS’ authority to issue                     (or, if applicable, submitted                            b. Alternatives
                                              public charge bonds under section 213                   electronically) on or after the effective                c. Retroactivity
                                              of the Act in the context of applications               date. Applications and petitions already                 d. Due Process/Vagueness and Equal
                                              for adjustment of status. Finally, this                 pending with USCIS on the effective                         Protection
                                              rule includes a requirement that aliens                 date of the rule (i.e., were postmarked                  e. Coordination With Other Federal
                                                                                                      before the effective date of the rule and                   Agencies
                                              seeking an extension of stay or change                                                                           f. International Law and Related Issues
                                              of status demonstrate that they have not,               were accepted by USCIS) will not be
                                                                                                                                                               g. Contract Law
                                              since obtaining the nonimmigrant status                 subject to the rule.                                     F. Applicability of the Public Charge
                                              they seek to extend or change, received                 FOR FURTHER INFORMATION CONTACT:                            Ground of Inadmissibility, and the
                                              public benefits over the designated                     Mark Phillips, Residence and                                Public Benefit Condition to Extension of
                                              threshold, as defined in this rule.                     Naturalization Division Chief, Office of                    Stay and Change of Status
                                                 This rule does not create any penalty                Policy and Strategy, U.S. Citizenship                    1. Applicability of the Public Charge
                                              or disincentive for past, current, or                   and Immigration Services, Department                        Ground of Inadmissibility Generally
                                                                                                                                                               2. Applicability and Content of the Public
                                              future receipt of public benefits by U.S.               of Homeland Security, 20 Massachusetts
                                                                                                                                                                  Benefits Condition
                                              citizens or aliens whom Congress has                    NW, Washington, DC 20529–2140;                           a. Nonimmigrant Students and Exchange
                                              exempted from the public charge                         telephone 202–272–8377.                                     Visitors
                                              ground of inadmissibility. This rule                    SUPPLEMENTARY INFORMATION:                               b. Workers
                                              does not apply to U.S. citizens, even if                                                                         d. Compact of Free Association Migrants
                                                                                                      Table of Contents                                        3. Exemptions and Waivers With Respect
                                              the U.S. citizen is related to an alien
                                              subject to the public charge ground of                  I. Executive Summary                                        to the Rule Generally
                                              inadmissibility. The rule also does not                    A. Purpose of the Regulatory Action                   a. General Comments
                                                                                                         B. Legal Authority                                    b. Special Immigrant Juvenile
                                              apply to aliens whom Congress                                                                                    c. Certain Employment Based Preference
                                                                                                         C. Summary of the Proposed Rule
                                              exempted from the public charge                            D. Summary of Changes in the Final Rule                  Categories, or National Interest Waiver
                                              ground of inadmissibility (such as                         1. Definitions                                        d. Violence Against Women Act, T, and U
                                              asylees, refugees, or other vulnerable                     2. Public Benefits                                    4. Summary of Applicability, Exemptions,
                                              populations listed as exempt in this                       3. Applicability to Nonimmigrants                        and Waivers
                                              final rule). Nor does this rule apply to                                                                         G. Definitions
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                                                                                                         4. Totality of the Circumstances
                                              aliens for whom DHS has statutory                             Determination                                      1. Public Charge
                                              discretion to waive this ground of                         5. Public Charge Bond for Adjustment of               a. Threshold Standard
                                                                                                            Status Applicants                                  ‘‘Primarily dependent’’ Based on Cash
                                              inadmissibility, if DHS has exercised                                                                               Public Benefit Receipt or Long-Term
                                                                                                         6. Other Changes
                                              such discretion.                                           E. Summary of Costs and Benefits                         Institutionalization at Government
                                                 In addition, this includes special                   II. Background                                              Expense
                                              provisions for how DHS will consider                       A. Public Charge Inadmissibility and                  b. Standards for Monetizable and Non-
                                              the receipt of public benefits, as defined                    Public Charge Bonds                                   Monetizable Benefits



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                                                 Numerical Percentage Threshold                         2. Current Receipt of One of More Public                 Regulatory Review), and Executive Order
                                                 Valuation                                                 Benefit                                               13771 (Reducing Regulation and
                                                 Alternatives to the Duration Standard                  3. Receipt of Public Benefits Within 36                  Controlling Regulatory Costs)
                                                 Combination Standard                                      Months Before Filing                               1. Summary
                                                 2. Public Benefits                                     4. Financial Means To Pay for Medical                 B. Regulatory Flexibility Act
                                                 a. Specific Groups and Public Benefits                    Costs                                              1. Final Regulatory Flexibility Analysis
                                                 Individuals With Disabilities                          5. Alien Previously Found Inadmissible or             a. A Statement of the Need for, and
                                                 Vulnerable Populations                                    Deportable Based on Public Charge                     Objectives of, the Rule
                                                 Receipt of Public Benefits by Children                 R. Heavily Weighted Positive Factors                  b. A statement of the significant issues
                                                 b. Supplemental Security Income                        1. Proposed Standard                                     raised by the public comments in
                                                 c. Temporary Assistance for Needy                      2. Additional Positive Heavily Weighted                  response to the initial regulatory
                                                    Families                                               Factors                                               flexibility analysis, a statement of the
                                                 d. State, Local and Tribal Cash Assistance             a. Affidavit of Support                                  assessment of the agency of such issues,
                                                 e. Supplemental Nutrition Assistance                   b. Family Relationships                                  and a statement of any changes made in
                                                    Program                                             c. English Ability                                       the proposed rule as a result of such
                                                 CalFresh                                               d. Education                                             comments.
                                                 f. Housing                                             e. Private Health Insurance                           c. The response of the agency to any
                                                 g. Institutionalization                                f. Work History                                          comments filed by the Chief Counsel for
                                                 h. Medicaid                                            g. Receipt of Grants, Contracts, and                     Advocacy of the Small Business
                                                 Individuals With Disabilities Education                   Licensures                                            Administration in response to the
                                                    Act                                                 h. Caregivers                                            proposed rule, and a detailed statement
                                                 Emergency Services Exclusion                           i. Ability To Work in the Future                         of any change made to the proposed rule
                                                 Vaccinations                                           S. Public Charge Bonds for Adjustment of                 in the final rule as a result of the
                                                 Substance Abuse                                           Status Applicants                                     comments.
                                                 i. Medicare, Medicare Part D Low Income                1. Standard                                           d. A description of and an estimate of the
                                                    Subsidy                                             2. Bond Amount                                           number of small entities to which the
                                                 j. Additional Considerations                           3. Public Charge Bond Cancellation                       rule will apply or an explanation of why
                                                 Exhaustive List                                        4. Breach of Public Charge Bond                          no such estimate is available.
                                                 Additional Programs                                    T. Effective Date(s)                                  e. A description of the projected reporting,
                                                 Dependents                                             Benefits Received Before Effective Date and              recordkeeping, and other compliance
                                                 Tax Credits                                               Previously Excluded Benefits                          requirements of the rule, including an
                                                 Special Supplemental Nutrition Program                 U. Other Comments                                        estimate of the classes of small entities
                                                    for Women, Infants, and Children                    V. Public Comments and Responses to the                  that will be subject to the requirement
                                                 School Breakfast/Lunch Programs                           NPRM’s Statutory and Regulatory                       and the type of professional skills
                                                 State and Local Benefits                                  Requirements Section                                  necessary for preparation of the report or
                                                 Head Start                                             1. Comments on Costs and Benefits                        record.
                                                 Healthy Start, The Emergency Food                      a. Population Seeking Extension of Stay or            f. Description of the steps the agency has
                                                    Assistance Program, and Similar                        Change of Status                                      taken to minimize the significant
                                                    Programs                                            b. Other Comments on Affected Population                 economic impact on small entities
                                                 Pell Grants                                            c. Determination of Inadmissibility Based                consistent with the stated objectives of
                                                 Children’s Health Insurance Program                       on Public Charge Grounds                              applicable statutes, including a
                                                 Disaster Supplemental Nutrition                        d. Other Comments on Baseline Estimates                  statement of factual, policy, and legal
                                                    Assistance                                          e. Costs to Applicants To Adjust Status                  reasons for selecting the alternative
                                                 Social Security Disability Insurance                   f. Lack of Clarity                                       adopted in the final rule and why each
                                                 3. Likely at Any Time To Become a Public               g. Other Comments on Costs to Applicants                 one of the other significant alternatives
                                                    Charge                                              h. Costs Related to Public Charge Bond                   to the rule considered by the agency
                                                 4. Household                                           i. Costs Related to Program Changes and                  which affect the impact on small entities
                                                 H. Public Charge Inadmissibility                          Public Inquiries                                      was rejected.
                                                    Determination Based on Totality of                  j. Costs Related to States and Local                  C. Congressional Review Act
                                                    Circumstances                                          Governments, and Public Benefit-                   D. Unfunded Mandates Reform Act
                                                 I. Age                                                    Granting Agencies                                  E. Executive Order 13132 (Federalism)
                                                 1. Standard                                            k. Regulatory Familiarization Costs                   F. Executive Order 12988 (Civil Justice
                                                 2. Age Discrimination                                  l. Costs to the Federal Government                       Reform)
                                                 J. Health                                              m. Costs to Non-Citizens and Their                    G. Executive Order 13175 Consultation and
                                                 1. Standard                                               Communities                                           Coordination With Indian Tribal
                                                 2. Health and Disability Discrimination                n. Healthcare-Related Costs                              Governments
                                                 K. Family Status                                       o. Housing and Homelessness-Related                   H. Family Assessment
                                                 L. Assets, Resources, and Financial Status                Costs                                              I. National Environmental Policy Act
                                                 1. Income Standard                                     p. Economic Costs                                        (NEPA)
                                                 2. Evidence of Assets and Resources                    r. Economic Impact and Job Loss                       J. Paperwork Reduction Act
                                                 3. Public Benefits                                     s. Economic Impact on Healthcare System             V. List of Subjects and Regulatory
                                                 4. Fee Waivers for Immigration Benefits                t. Impact on U.S. Workforce                              Amendments
                                                 5. Credit Report and Score                             u. Economic Impacts Related to Nutrition
                                                                                                                                                            Table of Abbreviations
                                                 6. Financial Means To Pay for Medical                     Programs
                                                    Costs                                               v. Other Economic Impacts                           AAO—Administrative Appeals Office
                                                 M. Education and Skills                                w. DHS Estimates of Discounted Direct               ACA—Affordable Care Act
                                                 1. Education                                              Costs and Reduced Transfer Payments              ACTC—Additional Child Tax Credit
                                                 2. Language Proficiency                                x. Benefits of Proposed Regulatory Changes          AFM—Adjudicator’s Field Manual
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                                                 3. Skills                                              y. Cost Benefit Analysis Issues                     ASEC—Annual Social and Economic
                                                 4. Employment                                          2. Federalism Comments                                Supplement of the Current Population
                                                 N. Affidavit of Support                                3. Family Assessment Comments                         Survey
                                                 O. Additional Factors To Consider                      4. Paperwork Reduction Act Comments                 BIA—Board of Immigration Appeals
                                                 P. Heavily Weighted Factors General                  IV. Statutory and Regulatory Requirements             BLS—U.S. Bureau of Labor Statistics
                                                    Comments                                            A. Executive Order 12866 (Regulatory                CDC—Centers for Disease Control and
                                                 Q. Heavily Weighted Negative Factors                      Planning and Review), Executive Order              Prevention
                                                 1. Lack of Employability                                  13563 (Improving Regulation and                  CBP—U.S. Customs and Border Protection



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                                              CFR—Code of Federal Regulations                         ICE—U.S. Immigration and Customs                         is likely at any time to become a public
                                              CHIP—Children’s Health Insurance Program                   Enforcement                                           charge.4 The statute does not define the
                                              CNMI—Commonwealth of the Northern                       IEFA—Immigration Examinations Fee                        term ‘‘public charge,’’ but in a related
                                                Mariana Islands                                          Account
                                                                                                      IIRIRA—Illegal Immigration Reform and
                                                                                                                                                               statute, Congress has articulated a
                                              DACA—Deferred Action for Childhood
                                                Arrivals                                                 Immigrant Responsibility Act of 1996                  national policy that (1) ‘‘aliens within
                                              DD Act—The Developmental Disabilities                   INA—Immigration and Nationality Act                      the Nation’s borders not depend on
                                                Assistance and Bill of Rights Act of 2000             INS—Immigration and Naturalization Service               public resources to meet their needs, but
                                              DHS—U.S. Department of Homeland                         IRCA—Immigration Reform and Control Act                  rather rely on their own capabilities and
                                                Security                                                 of 1986                                               the resources of their families, their
                                              DOJ—U.S. Department of Justice                          IRS—Internal Revenue Service                             sponsors, and private organizations,’’
                                              DOS—U.S. Department of State                            LIHEAP—Low Income Home Energy                            and (2) ‘‘the availability of public
                                              EITC—Earned Income Tax Credit                              Assistance Program
                                                                                                                                                               benefits not constitute an incentive for
                                              E.O.—Executive Order                                    LIS—Medicare Part D Low Income Subsidy
                                                                                                      LPR—Lawful Permanent Resident                            immigration to the United States.’’ 5 In
                                              EOIR—Executive Office for Immigration
                                                Review                                                NEPA—National Environmental Policy Act                   addition, the public charge statute
                                              FAM—Foreign Affairs Manual FCRA—Fair                       of 1969                                               provides that in making the
                                                Credit Reporting Act                                  NHE—National Health Expenditure                          inadmissibility determination,
                                              FPG—Federal Poverty Guidelines                          NOID—Notice of Intent to Deny                            administering agencies must ‘‘at a
                                              FPL—Federal Poverty Level                               NPRM—Notice of Proposed Rulemaking                       minimum consider the alien’s age;
                                              Form DS–2054—Medical Examination for                    PRA—Paperwork Reduction Act                              health; family status; assets, resources,
                                                Immigrant or Refugee Applicant                        PTC—Premium Tax Credit                                   and financial status; and education and
                                              Form I–129—Petition for a Nonimmigrant                  PRWORA—Personal Responsibility and
                                                                                                         Work Opportunity Reconciliation Act of
                                                                                                                                                               skills.’’ 6 The agencies may also consider
                                                Worker                                                                                                         any affidavit of support under section
                                              Form I–129CW—Petition for a CNMI-Only                      1996
                                                Nonimmigrant Transitional Worker                      RFE—Request for Evidence                                 213A of the Act, 8 U.S.C. 1183a, i.e.,
                                              Form I–130—Petition for Alien Relative                  RFRA—Religious Freedom Restoration Act                   Form I–864, Affidavit of Support Under
                                              Form I–140—Immigrant Petition for Alien                 SAVE—Systematic Alien Verification for                   Section 213A of the INA, submitted on
                                                Workers                                                  Entitlements Secretary—Secretary of                   the alien’s behalf.7
                                              Form I–290B—Notice of Appeal or Motion                     Homeland Security                                        Since 1999, the prevailing approach
                                              Form I–356—Request for Cancellation of                  SIPP—Survey of Income and Program                        to public charge inadmissibility has
                                                Public Charge Bond                                       Participation                                         been dictated primarily by the May 26,
                                              Form I–407—Record of Abandonment of                     SNAP—Supplemental Nutrition Assistance                   1999, Field Guidance on Deportability
                                                Lawful Permanent Resident Status                         Program
                                                                                                      SORN—System of Records Notice
                                                                                                                                                               and Inadmissibility on Public Charge
                                              Form I–485—Application to Register                                                                               Grounds (1999 Interim Field Guidance),
                                                Permanent Residence or Adjust Status                  SSA—Social Security Administration
                                                                                                      SSI—Supplemental Security Income                         issued by the former Immigration and
                                              Form I–539—Application to Extend/Change
                                                Nonimmigrant Status                                   TANF—Temporary Assistance for Needy                      Naturalization Service (INS).8 Under
                                              Form I–539A—Supplemental Information for                   Families
                                                Application to Extend/Change                          TPS—Temporary Protected Status                           inadmissibility, each in a different context or
                                                Nonimmigrant Status                                   USDA—U.S. Department of Agriculture                      contexts. DHS primarily applies the public charge
                                                                                                      U.S.C.—United States Code                                ground of inadmissibility at ports of entry and
                                              Form I–600—Petition to Classify Orphan as                                                                        when adjudicating certain applications for
                                                an Immediate Relative                                 USCIS—U.S. Citizenship and Immigration
                                                                                                         Services                                              adjustment of status. This rule amends the
                                              Form I–601—Application for Waiver of                                                                             standards applicable to those contexts, and also sets
                                                Grounds of Inadmissibility                            VAWA—Violence Against Women Act                          forth evidentiary requirements applicable to the
                                              Form I–693—Report of Medical Examination                VAWA 2013—Violence Against Women                         adjustment of status context.
                                                and Vaccination Record Form                              Reauthorization Act of 2013                             DOS Consular officers are responsible for
                                              I–800—Petition to Classify Convention                   WAP—Weatherization Assistance Program                    applying the public charge ground of
                                                                                                      WIC—Special Supplemental Nutrition                       inadmissibility as part of the visa application
                                                Adoptee as an Immediate Relative
                                                                                                         Program for Women, Infants, and Children              process and for determining whether a visa
                                              Form I–864—Affidavit of Support Under
                                                                                                                                                               applicant is ineligible for a visa on public charge
                                                Section 213A of the INA                               I. Executive Summary                                     grounds. This rule does not directly revise DOS
                                              Form I–864A—Contract Between Sponsor                                                                             standards or processes. DHS is working with DOS
                                                and Household Member                                  A. Purpose of the Regulatory Action                      to ensure that the Foreign Affairs Manual
                                              Form I–864EZ—Affidavit of Support Under                   This rule changes how the                              appropriately reflects the standards in this rule.
                                                Section 213A of the Act                                                                                          DOJ is responsible for applying the public charge
                                                                                                      Department of Homeland Security                          ground of inadmissibility in immigration court,
                                              Form I–864P—HHS Poverty Guidelines for
                                                Affidavit of Support                                  (DHS) interprets and implements the                      where DHS may bring and prosecute the charge
                                              Form I–864W—Request for Exemption for                   public charge ground of                                  against certain inadmissible aliens. Immigration
                                                                                                      inadmissibility.1 The Immigration and                    judges adjudicate matters in removal proceedings,
                                                Intending Immigrant’s Affidavit of Support
                                                                                                                                                               and the Board of Immigration Appeals and in some
                                              Form I–912—Request for Fee Waiver                       Nationality Act (INA or the Act) renders                 cases the Attorney General adjudicate appeals
                                              Form I–94—Arrival/Departure Record                      inadmissible and therefore (1) ineligible                arising from such proceedings. This rule does not
                                              Form I–944—Declaration of Self-Sufficiency              for a visa, (2) ineligible for admission                 directly revise DOJ standards or processes. DHS
                                              Form I–945—Public Charge Bond                           and (3) ineligible for adjustment of                     understands that the DOJ plans to conduct
                                              Form N–600—Application for Certificate of                                                                        rulemaking to ensure that the standards applied in
                                                                                                      status, any alien 2 who, in the opinion                  immigration court are consistent with the standards
                                                Citizenship
                                                                                                      of the DHS (or the Departments of State                  in this rule.
                                              Form N–600K—Application for Citizenship
                                                and Issuance of Certificate Under Section             (DOS) or Justice (DOJ), as applicable),3                   4 See INA section 212(a)(4)(A), 8 U.S.C.

                                                                                                                                                               1182(a)(4)(A).
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                                                                                                        1 See                                                    5 See 8 U.S.C. 1601(2).
                                              GA—General Assistance                                           INA section 212(a)(4), 8 U.S.C. 1182(a)(4).
                                                                                                        2 Congress                                               6 See INA section 212(a)(4)(B)(i), 8 U.S.C.
                                              GAO—U.S. Government Accountability                                    has by statute exempted certain
                                                                                                      categories of aliens, such as asylees and refugees,      1182(a)(4)(B)(i).
                                                Office                                                from the public charge ground of inadmissibility.          7 See INA section 212(a)(4)(B)(ii), 8 U.S.C.
                                              HHS—U.S. Department of Health and Human                 See, e.g., INA sections 207(c)(3) and 209(c), 8 U.S.C.   1182(a)(4)(B)(ii).
                                                Services                                              1157(c)(3), 1159(c). A full list of exemptions is          8 See Field Guidance on Deportability and
                                              HOPWA—Housing Opportunities for Persons                 included in this rule.                                   Inadmissibility on Public Charge Grounds, 64 FR
                                                with AIDS                                               3 Three different agencies are responsible for         28689 (May 26, 1999). Due to a printing error, the
                                              HCV—Housing Choice Voucher                              applying the public charge ground of                     Federal Register version of the field guidance



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                                              that approach, ‘‘public charge’’ has been               with respect to the statutory factor for              accordance with section 212(a)(4)(C) or
                                              interpreted to mean a person who is                     the alien’s age, DHS would generally                  (D), must generally submit Form I–944
                                              ‘‘primarily dependent on the                            consider it to be a negative factor if the            with the Form I–485. Failure to submit
                                              Government for subsistence, as                          alien is younger than 18 or older than                each form, where required, may result
                                              demonstrated by either the receipt of                   61, and a positive factor if the alien is             in a rejection or a denial of the Form I–
                                              public cash assistance for income                       between the ages of 18 and 61. These                  485 without a prior issuance of a
                                              maintenance or institutionalization for                 positive or negative factors operate as               Request for Evidence or Notice of Intent
                                              long-term care at Government                            guidelines to help the officer determine              to Deny.12
                                              expense.’’ 9 As a consequence, an alien’s               whether the alien is likely at any time                 This rule also revises DHS regulations
                                              reliance on or receipt of non-cash                      to become a public charge, i.e., is more              governing the discretion of the Secretary
                                              benefits such as the Supplemental                       likely than not at any time in the future             of Homeland Security (Secretary) to
                                              Nutrition Assistance Program (SNAP),                    to receive one or more designated public              accept a public charge bond under
                                              or food stamps; Medicaid; and housing                   benefits for more than 12 months in the               section 213 of the Act, 8 U.S.C. 1183, for
                                              vouchers and other housing subsidies                    aggregate within any 36-month period.                 those seeking adjustment of status.
                                              are not currently considered by DHS in                  The rule also contains lists of heavily               Additionally, this rule contains
                                              determining whether an alien is deemed                  weighted negative factors and heavily                 additional provisions that will render
                                              likely at any time to become a public                   weighted positive factors. For example,               certain nonimmigrants ineligible for
                                              charge.                                                 the rule includes a heavily weighted                  extension of stay or change of status if
                                                 DHS is revising its interpretation of                negative factor for an alien who is not               she or he received one or more public
                                              ‘‘public charge’’ to incorporate                        a full-time student and is authorized to              benefits for more than 12 months in the
                                              consideration of such benefits, and to                  work, but is unable to demonstrate                    aggregate within any 36-month period
                                              better ensure that aliens subject to the                current employment, recent                            since obtaining the status he or she
                                              public charge inadmissibility ground are                employment history, or a reasonable                   wishes to extend or change.
                                              self-sufficient, i.e., do not depend on                 prospect of future employment. DHS                      Finally, DHS notes that the INA also
                                              public resources to meet their needs, but               believes that these circumstances                     contains a separate public charge
                                              rather rely on their own capabilities, as               should be accorded heavy negative                     ground of deportability.13 This rule does
                                              well as the resources of family members,                weight in a public charge                             not interpret or change DHS’s
                                              sponsors, and private organizations.10                  inadmissibility determination because,                implementation of the public charge
                                              This rule redefines the term ‘‘public                   as discussed in the preamble to the                   ground of deportability.
                                              charge’’ to mean an alien who receives                  NPRM and in the preamble to this final
                                                                                                      rule, the presence of these                           B. Legal Authority
                                              one or more designated public benefits
                                              for more than 12 months in the                          circumstances suggests a greater                         DHS’s authority for making public
                                              aggregate within any 36-month period                    likelihood that the alien will become a               charge inadmissibility determinations
                                              (such that, for instance, receipt of two                public charge than other negative factors             and related decisions is found in several
                                              benefits in one month counts as two                     suggest. The presence of a single                     statutory provisions. Section 102 of the
                                              months). This rule defines the term                     positive or negative factor, or heavily               Homeland Security Act of 2002,14 6
                                              ‘‘public benefit’’ to include cash benefits             weighted negative or positive factor,                 U.S.C. 112, and section 103 of the Act,
                                              for income maintenance, SNAP, most                      will never, on its own, create a                      8 U.S.C. 1103, charge the Secretary with
                                              forms of Medicaid, Section 8 Housing                    presumption that an applicant is                      the administration and enforcement of
                                              Assistance under the Housing Choice                     inadmissible as likely to become a                    the immigration and naturalization laws
                                              Voucher (HCV) Program, Section 8                        public charge or determine the outcome                of the United States. In addition to
                                              Project-Based Rental Assistance, and                    of the public charge inadmissibility                  establishing the Secretary’s general
                                              certain other forms of subsidized                       determination. Rather, a public charge                authority for the administration and
                                              housing. DHS has tailored the rule to                   inadmissibility determination must be                 enforcement of immigration laws,
                                              limit its effects in certain ways, such as              based on the totality of the                          section 103 of the Act, 8 U.S.C. 1103,
                                              for active duty military members and                    circumstances presented in an                         enumerates various related authorities,
                                              their families, and children in certain                 applicant’s case.                                     including the Secretary’s authority to
                                              contexts.                                                  With respect to applications for                   establish regulations and prescribe such
                                                 This rule also explains how DHS will                 adjustment of status in particular, this              forms of bond as are necessary for
                                              interpret the minimum statutory factors                 rule also provides a more                             carrying out such authority. Section 212
                                              for determining whether ‘‘in the opinion                comprehensive evidentiary framework                   of the Act, 8 U.S.C. 1182, establishes
                                              of’’ 11 the officer, the alien is likely at             under which U.S. Citizenship and                      classes of aliens that are ineligible for
                                              any time to become a public charge.                     Immigration Services (USCIS) will                     visas, admission, or adjustment of
                                              Specifically, the rule contains a list of               consider public charge inadmissibility.               status; paragraph (a)(4) of that section
                                              negative and positive factors that DHS                  Under this rule, applicants for                       establishes the public charge ground of
                                              will consider as part of this                           adjustment of status who are subject to               inadmissibility, including the minimum
                                              determination, and directs officers to                  the public charge ground of                           factors the Secretary must consider in
                                              consider these factors in the totality of               inadmissibility must file a Declaration               making a determination that an alien is
                                              the alien’s circumstances. For instance,                of Self-Sufficiency (Form I–944) with                 likely to become a public charge.
                                                                                                      their Application to Register Permanent               Section 212(a)(4) of the Act, 8 U.S.C.
                                              appears to be dated ‘‘March 26, 1999’’ even though
                                                                                                      Residence or Adjust Status (Form I–485)               1182(a)(4), also establishes the
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                                              the guidance was actually signed May 20, 1999,          to demonstrate they are not likely to                 enforceable affidavit of support
                                              became effective May 21, 1999 and was published         become a public charge. The Form I–944                requirement, as applicable, to certain
                                              in the Federal Register on May 26, 1999.                only applies to adjustment applicants
                                                9 See Field Guidance on Deportability and                                                                   family-based and employment-based
                                                                                                      and not applicants for admission at a
                                              Inadmissibility on Public Charge Grounds, 64 FR
                                              28689, 28692 (May 26, 1999).                            port of entry.                                          12 See8 CFR 103.2(a)(7), (b)(8)(ii).
                                                10 See 8 U.S.C. 1601(1), (2)(A).                         In addition, applicants required to                  13 SeeINA section 237(a)(5), 8 U.S.C. 1227(a)(5).
                                                11 See INA section 212(a)(4)(A), 8 U.S.C.             submit Form I–864, Affidavit of Support                 14 Public Law 107–296, 116 Stat. 2135, 2142–44

                                              1182(a)(4)(A).                                          Under Section 213A of the INA, in                     (Nov. 25, 2002).



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                                              immigrants, and exempts certain aliens                  benefits is quite large, and that some                months in the aggregate within a 36-
                                              from both the public charge ground of                   benefits are more commonly used, at                   month period.
                                              inadmissibility and the affidavit of                    greater taxpayer expense, than others. In                • DHS also proposed a threshold to
                                              support requirement. Section 213 of the                 seeking to provide clear notice of the                address circumstances where an alien
                                              Act, 8 U.S.C. 1183, provides the                        effects of the rule, and to limit certain             receives a combination of monetizable
                                              Secretary with discretion to admit into                 indirect costs that may be associated                 benefits equal to or below the 15 percent
                                              the United States an alien who is                       with the rule, DHS elected to limit the               threshold, together with one or more
                                              determined to be inadmissible as a                      number and types of non-cash public                   benefits that cannot be monetized. In
                                              public charge under section 212(a)(4) of                benefits that it would designate. DHS                 such cases, DHS proposed that the
                                              the Act, 8 U.S.C. 1182(a)(4), but is                    therefore proposed to designate just a                threshold for duration of receipt of the
                                              otherwise admissible, upon the giving of                few means-tested non-cash benefits                    non-monetizable benefits would be
                                              a proper and suitable bond. That section                related to food and nutrition, housing,               more than 9 months in the aggregate
                                              authorizes the Secretary to establish the               and healthcare, which bear directly on                within a 36-month period.
                                              amount and conditions of such bond.                     the recipient’s self-sufficiency and                     DHS expressly sought comment on
                                              Section 213A of the Act, 8 U.S.C. 1183a,                together account for significant federal              these proposed thresholds, including
                                              sets out requirements for the sponsor’s                 expenditures on low-income                            whether DHS should consider an alien’s
                                              affidavit of support, including                         individuals. DHS’s proposed list of                   receipt of benefits below any given
                                              reimbursement of government expenses                    public benefits included cash benefits                threshold, as part of DHS’s totality of
                                              where the sponsored alien received                      for income maintenance,                               the circumstances determination. As
                                              means-tested public benefits. Section                   institutionalization for long-term care at            noted below, this final rule adopts a
                                              214 of the Act, 8 U.S.C. 1184, addresses                government expense, SNAP, most forms                  single threshold for all designated
                                              requirements for the admission of                       of Medicaid, Premium and Cost Sharing                 public benefits (including those that
                                              nonimmigrants, including authorizing                    Subsidies for Medicare Part D (Medicare               were considered ‘‘monetizable’’ under
                                              the Secretary to prescribe the conditions               Part D LIS), Section 8 Housing                        the proposed rule): More than 12
                                              of such admission through regulations                   Assistance under the HCV Program,                     months in the aggregate within a 36-
                                              and when necessary, establish a bond to                 Section 8 Project-Based Rental                        month period. And this final rule
                                              ensure that those admitted as                           Assistance, and certain other forms of                authorizes officers to consider receipt of
                                              nonimmigrants or who change their                       subsidized housing. DHS also sought                   benefits below that threshold, to the
                                              nonimmigrant status under section 248                   comment on the potential inclusion of                 extent relevant in the totality of the
                                              of the Act, 8 U.S.C. 1258, depart if they               other public benefits programs. As                    circumstances.
                                              violate their nonimmigrant status or                    noted below, this final rule designates                  Second, DHS proposed to tailor its
                                              after such status expires. Section 245 of               each of the above-referenced public                   rule to limit its effects in certain ways,
                                              the Act, 8 U.S.C. 1255, generally                       benefits, except for institutionalization             for a range of reasons. For instance, DHS
                                              establishes eligibility criteria for                    for long-term care at government                      proposed to not consider the receipt of
                                              adjustment of status to lawful                          expense and Medicare Part D LIS. DHS                  public benefits by certain aliens who, at
                                              permanent residence. Section 248 of the                 is not designating any additional                     the time of receipt, filing, or
                                              Act, 8 U.S.C. 1258, authorizes the                      programs.                                             adjudication, are enlisted in the U.S.
                                              Secretary to prescribe conditions under                    DHS proposed to limit its                          Armed Forces, serving in active duty or
                                              which an alien may change his or her                    consideration of an alien’s receipt of                in the Ready Reserve, or if received by
                                              status from one nonimmigrant                            these designated public benefits in two               such an individual’s spouse or children.
                                              classification to another. The Secretary                main ways, each of which DHS                          DHS also proposed to not consider
                                              promulgates the changes in this rule                    incorporated into the definition of                   emergency Medicaid or Medicaid
                                              under all of these authorities.                         public benefit. First, DHS proposed to                received for services provided under the
                                                                                                      establish ‘‘thresholds’’ for the amount or            Individuals with Disabilities Education
                                              C. Summary of the Proposed Rule                                                                               Act (IDEA), and to not consider any
                                                                                                      duration of public benefits that the alien
                                                 On October 10, 2018, DHS published                                                                         school-based benefits provided to
                                                                                                      must receive, before DHS will consider
                                              a Notice of Proposed Rulemaking                                                                               individuals who are at or below the
                                                                                                      the alien to have received a public
                                              (NPRM) entitled Inadmissibility on                                                                            maximum eligible age for secondary
                                                                                                      benefit. In other words, DHS proposed
                                              Public Charge Grounds.15 The NPRM                                                                             education, as determined under State
                                                                                                      that it would not consider an alien’s
                                              identified the groups of individuals                                                                          law. Lastly, DHS proposed to exempt
                                                                                                      receipt of a given public benefit at all,
                                              generally subject to, or exempt from, the                                                                     from consideration Medicaid benefits
                                                                                                      unless the alien received the benefit in
                                              public charge inadmissibility ground.                                                                         received by children of U.S. citizens
                                                                                                      an amount, or for a duration, that met
                                              Further, DHS proposed definitions for                                                                         whose lawful admission for permanent
                                                                                                      an applicable threshold. Specifically,
                                              the terms ‘‘public charge,’’ ‘‘likely at any                                                                  residence and subsequent residence in
                                                                                                      DHS proposed the following thresholds:
                                              time to become a public charge,’’                                                                             the custody of U.S. citizen parents will
                                              ‘‘public benefit,’’ and ‘‘alien’s                          • For public benefits that are
                                                                                                                                                            result automatically in the child’s
                                              household.’’                                            ‘‘monetizable’’ (such as cash benefits,
                                                                                                                                                            acquisition of citizenship, or upon
                                                 As part of the definition of public                  SNAP, and housing vouchers and rental
                                                                                                                                                            finalization of adoption in the United
                                              benefit, DHS proposed to designate an                   assistance), DHS proposed a threshold
                                                                                                                                                            States by the U.S. citizen parents (or
                                              exhaustive list of public benefits that                 of 15 percent of the Federal Poverty
                                                                                                                                                            upon meeting eligibility criteria) or
                                              would be considered for purposes of a                   Guidelines (FPG) for a household of one
                                                                                                                                                            children entering the United States for
                                                                                                      within a period of 12 consecutive
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                                              public charge inadmissibility                                                                                 the prime purpose of attending a
                                              determination, as well as for purposes of               months.
                                                                                                                                                            citizenship interview under the Child
                                              extension of stay and change of                            • For public benefits that cannot be               Citizenship Act of 2000.16 As noted
                                              nonimmigrant status applications. DHS                   monetized (such as Medicaid, Medicare
                                                                                                                                                            below, this final rule revises these
                                              recognized that the universe of public                  Part D LIS, subsidized housing, and
                                                                                                      institutionalization for long-term care at              16 See Public Law 106–395, 114 Stat. 1631, 1631–
                                                15 Inadmissibility
                                                                on Public Charge Grounds, 83          government expense), DHS proposed a                   33 (Oct. 30, 2000) (codified at INA 320(a)–(b), 8
                                              FR 51114 (proposed Oct. 10, 2018).                      threshold of receipt during more than 12              U.S.C. 1431(a)–(b)).



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                                              provisions in certain ways, and also                    all benefits with a single duration-based               be currently employed or have
                                              includes an additional provision                        standard (i.e., the proposed standard for               employment history but are nonetheless
                                              exempting Medicaid receipt by aliens                    non-monetizable benefits). DHS has also                 contributing to their households by
                                              under the age of 21 and pregnant                        incorporated the single duration                        caring for others. DHS defines primary
                                              women (including women for 60 days                      standard into the definition of ‘‘public                caregiver as an alien who is 18 years of
                                              after the last day of pregnancy).                       charge,’’ rather than the definition of                 age or older and has significant
                                                 In addition to proposing new                         ‘‘public benefit.’’ Consequently, under                 responsibility for actively caring for and
                                              definitions, DHS proposed a regulatory                  this simplified duration standard, a                    managing the well-being of a child or an
                                              framework for analyzing the                             public charge is an alien who receives                  elderly, ill, or disabled person in the
                                              aforementioned statutory factors that                   one or more public benefit for more than                alien’s household.
                                              must be considered for purposes of the                  12 months in the aggregate within any
                                                                                                                                                              2. Public Benefits
                                              public charge inadmissibility                           36-month period (such that, for
                                              determination. DHS also proposed to                     instance, receipt of two public benefits                   • Medicaid Received by Aliens Under
                                              amend its existing regulations                          in one month counts as two months).                     Age 21 and Pregnant Women. Following
                                              addressing public charge bonds. In                         • Consideration of Receipt of Public                 receipt of public comments addressing
                                              addition, DHS proposed to require                       Benefits below the Threshold, in the                    the nature of the Medicaid benefit for
                                              applicants seeking an extension of stay                 Totality of the Circumstances. Under the                children and pregnant women. DHS has
                                              or change of nonimmigrant status to                     proposed rule, DHS would not have                       revised provisions under which DHS
                                              demonstrate that they have not received                 considered the receipt of benefits below                would have considered an alien’s
                                              and are not currently receiving, nor are                the applicable threshold in the totality                receipt of Medicaid, regardless of the
                                              they likely to receive public benefits, as              of the circumstances. As a consequence,                 alien’s age. For purposes of this final
                                              defined in the regulation, for the                      USCIS would have been unable to                         rule, DHS has excluded consideration of
                                              duration of their stay. Again, as noted                 consider an alien’s past receipt of public              the receipt of Medicaid by aliens under
                                              below, this final rule revises these                    benefits below the threshold at all, even               the age of 21 and pregnant women
                                              provisions in certain ways.                             if such receipt was indicative, to some                 during pregnancy and during the 60-day
                                                 DHS received 266,077 comments on                     degree, of the alien’s likelihood of                    period after pregnancy.
                                              the proposed rule, the vast majority of                 becoming a public charge at any time in                    • Medicare Part D Low-Income
                                              which opposed the rule. The preamble                    the future. Under this final rule,                      Subsidy. The NPRM’s definition for
                                              to this final rule includes summaries of                adjudicators will consider and give                     public benefit included Medicare Part D
                                              the significant issues raised by the                    appropriate weight to past receipt of                   LIS. Following receipt of public
                                              comments, and includes responsive                       public benefits below the single                        comment regarding the nature of the
                                              explanations, and policy changes.                       durational threshold described above in                 Medicare Part D LIS, which is part of an
                                                                                                      the totality of the circumstances.18                    overall benefit scheme that contains
                                              D. Summary of Changes in the Final                         • Receipt of Public Benefits. DHS has                extensive work requirements, DHS has
                                              Rule                                                    added a definition of ‘‘receipt’’ of public             decided to exclude an alien’s receipt of
                                                Following careful consideration of                    benefits, consistent with the explanation               such subsidies from the public benefit
                                              public comments received and relevant                   in the proposed rule preamble. The new                  definition for purposes of the public
                                              data provided by stakeholders, DHS has                  definition clarifies that an application or             charge inadmissibility determination.
                                              made several changes to the regulatory                  certification for benefits does not                        • Benefits Received by Military
                                              text proposed in the NPRM.17 As                         constitute receipt, although it may serve               Servicemembers and their Spouses and
                                              discussed in detail elsewhere in this                   as evidence of the alien’s likelihood of                Children. The NPRM’s definition for
                                              preamble, the changes in this final rule                receiving public benefits in the future.                public benefit excluded the
                                              include the following:                                  It also clarifies that when an alien                    consideration of public benefits
                                                                                                      receives, applies for, or obtains a                     received by an alien who at the time of
                                              1. Definitions                                          certification for public benefits solely on             receipt of the public benefit, filing, or
                                                 • Definitions of ‘‘Public Charge’’ and               behalf of another person, DHS does not                  adjudication, is enlisted in the U.S.
                                              ‘‘Public Benefit.’’ DHS has revised the                 consider the alien to have received the                 Armed Forces, serving in the active duty
                                              definition of ‘‘public charge’’ and                     benefit.                                                or in the Ready Reserve component of
                                              ‘‘public benefit’’ to clarify the threshold                • Likely at Any Time to Become a                     the U.S. Armed Forces, or is the spouse
                                              of public benefit receipt that renders an               Public Charge. DHS has amended the                      or child of such servicemember. The
                                              alien a public charge. As noted above,                  definition of ‘‘likely at any time to                   NPRM did not make clear what
                                              the proposed rule defined a public                      become a public charge’’ to clarify that                immigration benefit types this provision
                                              charge as an alien who receives one or                  an alien is likely at any time to become                applies to. DHS has revised the public
                                              more public benefits as defined in the                  a public charge if the alien is more                    benefit definition to clarify that this
                                              proposed rule. The proposed rule                        likely than not at any time in the future               provision applies with respect to
                                              incorporated the threshold concept into                 to become a public charge, as                           applications for admission, adjustment
                                              the definition of public benefit, and                   determined based on the totality of the                 of status, and extension of stay or
                                              proposed different thresholds for                       alien’s circumstances.                                  change of status.
                                              ‘‘monetizable’’ and ‘‘non-monetizable’’                    • Primary Caregiver. DHS has                            • Benefits Received while in a Status
                                              benefits. Following receipt of public                   included a new definition of ‘‘primary                  that is Exempt from the Public Charge
                                              comments regarding a variety of issues,                 caregiver’’ to account for a new                        Ground of Inadmissibility. DHS has
                                                                                                                                                              revised the public benefit definition to
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                                              including the complexity of the                         consideration in the totality of the
                                              proposed standard for monetizing                        circumstances for aliens who may not                    clarify that DHS will not consider any
                                              certain public benefits, DHS has revised                                                                        public benefits received by an alien
                                              the definitions for public charge and                     18 As stated in the Benefits Received Before          during periods in which the alien was
                                                                                                      Effective Date and Previously Excluded Benefits         present in the United States in a
                                              public benefits, and will now evaluate                  section of this rule, DHS will not apply this rule
                                                                                                      to benefits received before the effective date of the
                                                                                                                                                              classification that is exempt from the
                                                17 See Inadmissibility on Public Charge Grounds,      rule, except for those benefits that would have been    public charge ground of inadmissibility
                                              83 FR 51114 (proposed Oct. 10, 2018).                   considered under the 1999 Interim Field Guidance.       or for which the alien received a waiver


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                                              of the public charge inadmissibility                    future-looking requirement. DHS will                     • VAWA 2013 Public Charge
                                              ground.                                                 only consider whether the alien has                   Exemptions and the Affidavit of
                                                 • Public Benefits Received by                        received designated benefits for more                 Support Requirement for Certain
                                              Children Eligible for Acquisition of                    than 12 months in the aggregate within                Employment-Based Petitions. DHS has
                                              Citizenship. DHS has revised the                        a 36-month period since obtaining the                 revised several regulatory provisions
                                              proposed definition of public benefit                   nonimmigrant status they wish to                      relating to T nonimmigrants, U
                                              that excluded from consideration                        extend or change, up until the time of                nonimmigrants, VAWA self-petitioners,
                                              Medicaid received by children of U.S.                   adjudication of the extension of stay or              and qualified aliens as described in 8
                                              citizens whose lawful admission for                     change of status request.                             U.S.C. 1641(c). The proposed rule was
                                              permanent residence and subsequent                        • Victim of Severe Form of                          silent on the applicability of section
                                              residence in the legal and physical                     Trafficking in Persons (T)                            212(a)(4)(D) of the INA, 8 U.S.C.
                                              custody of their U.S. citizen parent will               Nonimmigrants Exemption. DHS has                      1182(a)(4)(D), which requires an
                                              result automatically in the child’s                     revised several regulatory provisions                 affidavit of support as described in
                                              acquisition of citizenship, or whose                    relating to individuals who have a                    section 213A of the INA, 8 U.S.C. 1183a,
                                              lawful admission for permanent                          pending application setting forth a                   for certain employment-based
                                              residence will result automatically in                  prima facie case for eligibility for T                immigrant petitions. DHS has modified
                                              the child’s acquisition of citizenship                  nonimmigrant status, or who are present               the exemption provisions at 8 CFR
                                              upon finalization of adoption in the                    in the United States in valid T                       212.23(a) with respect to T
                                              United States by the U.S. citizen                       nonimmigrant status. In the proposed                  nonimmigrants, U nonimmigrants,
                                              parent(s) or, upon meeting other                        rule, DHS provided that T                             VAWA self-petitions, and certain
                                              eligibility criteria as required.19 DHS                 nonimmigrants applying for adjustment                 qualified aliens to accurately reflect
                                              has changed this provision to clarify                   of status were subject to the public                  changes codified by Congress in VAWA
                                              that public benefits, as defined in the                 charge inadmissibility ground and could               2013.21 An alien who falls under one of
                                              rule, do not include any public benefits                request a waiver of inadmissibility. DHS              the VAWA 2013 exemptions from
                                              that were or will be received by such                   has modified the provisions with                      public charge inadmissibility would not
                                              children.                                               respect to T nonimmigrants to                         need to demonstrate that he or she is not
                                                 • Benefits Provided for                              accurately reflect changes codified by                likely at any time to become a public
                                              Institutionalization. The NPRM’s                        Congress in the Violence Against                      charge, but would need to submit a
                                              definition of public benefit included                   Women Reauthorization Act of 2013                     sufficient affidavit of support described
                                              benefits for long-term                                  (VAWA 2013).20 DHS has revised the                    in 213A of the INA, 8 U.S.C. 1183a, if
                                              institutionalization at government                      public charge inadmissibility exemption               adjusting under an employed-based
                                              expense. Following receipt of public                    provision proposed in the NPRM and                    category that requires one by statute.
                                              comment regarding specific benefits                     created new provisions to align these                 4. Totality of the Circumstances
                                              considered to provide for                               regulations with the changes to the law               Determination
                                              institutionalization, DHS has removed                   made by VAWA 2013. T nonimmigrants                       • The Alien is a Primary Caregiver for
                                              the reference to long-term                              applying for adjustment of status will no             Household Member as a Consideration
                                              institutionalization within the                         longer need to submit a waiver of                     in the Education and Skills Factor: DHS
                                              definition of public benefit, as the long-              inadmissibility for public charge                     has added a provision that would take
                                              term institutionalization benefits that                 purposes.                                             into consideration whether an alien is a
                                              DHS has in the past considered, and                       • Victims of Criminal Activity (U)                  primary caregiver of another in the
                                              intends to consider under this rule, are                Nonimmigrants Exemption. DHS has                      alien’s household, for example a child
                                              already part of the public benefit                      revised the regulatory provisions                     or elderly relative. This factor is
                                              definition, i.e., Temporary Assistance                  relating to the exemption from public                 intended to take into consideration
                                              for Needy Families (TANF),                              charge inadmissibility for individuals                difficult-to-monetize contributions by
                                              Supplemental Security Income (SSI),                     who have a pending application for U                  aliens who may lack current
                                              and Medicaid.                                           nonimmigrant status, or who are granted               employment or an employment history
                                              3. Applicability to Nonimmigrants                       U nonimmigrant status, to align these                 due to their full time, unpaid care of
                                                                                                      regulations with the changes to the law               household members.
                                                 • ‘‘Likely to Receive’’ Public Benefits              made by VAWA 2013. In the proposed                       • Heavily Weighted Negative Factor
                                              and ‘‘Currently Receiving’’ Public                      rule, U nonimmigrant petitioners or                   for Receipt of Public Benefits above the
                                              Benefits Condition. Following receipt of                those granted U nonimmigrant status                   Threshold. Under the proposed rule, in
                                              public comments addressing the public                   were exempted from the public charge                  conducting the public charge
                                              benefit condition for nonimmigrants                     inadmissibility ground for purposes of                inadmissibility determination, there
                                              seeking extension of stay or change of                  U nonimmigrant status or for purposes                 were two separate heavily weighted
                                              status, DHS has revised this provision.                 of adjustment of status under section                 factors related to the receipt of public
                                              Under the proposal, DHS would have                      245(m) of the Act, 8 U.S.C. 1255(m).                  benefits: (1) The alien is currently
                                              considered whether such an alien has                    DHS has clarified that, in general, U visa            receiving or is currently certified or
                                              received, is currently receiving, or is                 petitioners and those granted U                       approved to receive one or more public
                                              likely to receive public benefits in                    nonimmigrant status are exempt from a                 benefits and (2) an alien has received
                                              excess of the designated thresholds                     public charge inadmissibility                         one or more public benefits above the
                                              since obtaining the nonimmigrant status
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                                                                                                      determination in any future immigration               applicable threshold within the 36-
                                              the alien seeks to attend or from which                 benefit request that requires a finding of            months immediately preceding the
                                              the alien seeks to change. DHS has                      admissibility, not only adjustment of                 alien’s application for a visa, admission
                                              modified the provision by removing the                  status under section 245(m) of the Act,               or adjustment of status. DHS has
                                                19 See Child Citizenship Act of 2000, Public Law
                                                                                                      8 U.S.C. 1255(m).                                     consolidated these factors within one
                                              106–395, 114 Stat. 1631, 1631–33 (Oct. 30, 2000)
                                              (codified at section 320(a)–(b) of the Act, 8 U.S.C.      20 See Public Law 113–4, 127 Stat. 54 (Mar. 7,        21 See Public Law 113–4, 127 Stat. 54 (Mar. 7,

                                              1431(a)–(b)), in accordance with 8 CFR part 320.        2013).                                                2013).



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                                              heavily weighted negative factor. The                   of the most recent FPG for the alien’s                ineligibility for a given benefit would
                                              factor will apply in cases where the                    household size, and not 125 percent of                not be outcome-determinative, USCIS
                                              alien has received or has been certified                the FPG for the alien’s household size,               will consider the information in the
                                              or approved to receive one or more                      as proposed in the NPRM, in order to                  totality of the circumstances.
                                              public benefits for more than 12 months                 serve as a positive factor in the public                 • Education and Skills. To clarify
                                              within any 36-month period, beginning                   charge inadmissibility determination.                 additional types of documentation that
                                              no earlier than 36 months prior to the                     • Household Income and Public                      establish a steady employment history,
                                              alien’s application for admission or                    Benefits. DHS has revised the rule to                 DHS has revised the evidentiary
                                              adjustment of status.                                   clarify that the applicant’s gross                    considerations for the education and
                                                 • Heavily Weighted Positive Factor                   household income does not include any                 skills factor, to require that applicants
                                              for Private Health Insurance. In this                   household income from public benefits,                submit, with their adjustment of status
                                              final rule DHS added a new heavily                      as defined in this rule.                              applications, federal tax return
                                              weighted positive factor for when the                      • Household Income from Illegal                    transcripts for the previous three years
                                              alien has private health insurance                      Activities. DHS has revised the rule to               or, if such transcripts are unavailable,
                                              appropriate for the expected period of                  clarify that household income from                    other credible and probative evidence,
                                              admission, and for which the alien does                 illegal activity or sources will not be               including an explanation of the
                                              not receive subsidies in the form of                    considered as part of the income, assets,             unavailability of such transcripts.
                                              premium tax credits (including advance                  or resources factor in the public charge
                                                                                                      inadmissibility determination. DHS has                5. Public Charge Bond for Adjustment of
                                              premium tax credits) under the ACA.
                                                                                                      also consolidated the consideration of                Status Applicants
                                              This heavily weighted positive factor is
                                              in addition to the positive factor that                 income from sources other than                           • Breach of Bonds and Threshold of
                                              would apply in circumstances where an                   household members into a single                       Public Benefit Receipt. In the NPRM,
                                              alien has sufficient household assets                   provision.                                            DHS proposed that a public charge bond
                                              and resources (including health                            • Household Income and Evidentiary                 is considered breached if the bonded
                                              insurance not considered to be a public                 Considerations. DHS amended the rule                  alien had used public benefits in the
                                              benefit under 8 CFR 212.22(b)) to cover                 to clarify that when assessing the alien’s            amount or for the duration established
                                              reasonably foreseeable medical costs,                   annual gross household income, DHS                    as the threshold in the proposed public
                                              including costs related to a medical                    considers the most recent federal tax-                benefits definition. In this final rule,
                                              condition that is likely to require                     year transcripts from the United States               DHS has modified the threshold to a
                                              extensive medical treatment or                          Internal Revenue Service (IRS) for each               single duration-based threshold and has
                                              institutionalization or that will interfere             household member whose income will                    moved that threshold from the proposed
                                              with the alien’s ability to provide care                be considered. Additionally, DHS also                 public benefits definition into the
                                              for himself or herself, to attend school,               clarified that if the most recent tax-year            public charge definition. To ensure that
                                              or to work.                                             transcripts from the IRS are unavailable,             the bond breach conditions remain the
                                                 • Evidence of the Alien’s Health. In                 DHS will consider other credible and                  same in this final rule, DHS has revised
                                              response to concerns regarding the                      probative evidence of the household                   the rule, and incorporated the single
                                              qualifications of USCIS adjudicators to                 member’s income, including an                         duration threshold ‘‘for more than 12
                                              evaluate the alien’s health, DHS has                    explanation why the evidence is not                   months in the aggregate within any 36-
                                              revised the rule to clarify that, if the                available.                                            month period (such that, for instance,
                                              alien is required to undergo an                            • Fee Waivers and Categories                       receipt of two benefits in one month
                                              immigration medical examination from                    Excluded from Public Charge. DHS has                  counts as two months)’’ in the bond
                                              a civil surgeon or panel physician, DHS                 revised the rule to state that a fee waiver           breach determination.
                                              will generally defer to the immigration                 request or receipt would not be                          • Substitution. DHS has revised
                                              medical examination report when                         considered for purposes of determining                proposed 8 CFR 213.1 to indicate that
                                              assessing whether the alien is more                     public charge inadmissibility if the fee              DHS will only offer public charge bonds
                                              likely than not at any time in the future               waiver was applied for, or granted, as                of unlimited duration. Correspondingly,
                                              to become a public charge on account of                 part of an application for which a public             DHS has removed text that references
                                              a diagnosed medical condition unless                    charge inadmissibility determination                  bonds of limited durations or provisions
                                              there is evidence that the report is                    was not required.                                     that addressed the substitution of a
                                              incomplete. DHS, however, continues to                     • Public Benefit Disenrollment and                 bond of limited duration. DHS has
                                              permit the use of other documentation                   Eligibility. DHS has clarified in the rule            retained, however, the general bond
                                              regarding the alien’s medical                           how USCIS will consider past public                   substitution provision.
                                              conditions, as proposed in the NPRM, to                 benefits receipt, in the totality of the                 • Cancellation on the basis of
                                              assess whether the alien’s health makes                 circumstances. USCIS will consider                    Permanent Departure from the United
                                              the alien more likely than not to become                whether an alien has disenrolled or                   States. DHS has clarified that an alien
                                              a public charge at any time in the future.              requested to be disenrolled from the                  is only considered to have voluntarily
                                                 • Household Assets. DHS has revised                  public benefit(s). USCIS will also                    lost lawful permanent resident status for
                                              the rule to clarify that DHS considers an               consider, as part of the totality of the              the purposes of bond cancellation based
                                              alien’s ownership of significant assets                 circumstances, any evidence that the                  on a permanent departure when the
                                              similar to the standards in the affidavit               alien submits from a Federal, State,                  alien has submitted a record of
                                              of support regulations under 8 CFR                      local, or tribal agency administering a               abandonment of lawful permanent
                                                                                                      public benefit, that the alien has
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                                              213a.2(c)(2)(iii)(B).                                                                                         resident status on the form prescribed
                                                 • Household Income and                               specifically identified as showing that               by DHS and in accordance with the
                                              Servicemembers of the Armed Forces.                     the alien does not qualify or would not               form’s instructions, while the alien is
                                              DHS has revised the rule to clarify that                qualify for such public benefit by virtue             outside of the United States.
                                              if the applicant is on active duty, other               of, for instance, the alien’s annual gross               • Discretionary Cancellation. DHS
                                              than training, in the Armed Forces of                   household income or prospective                       has added language to this final rule to
                                              the United States, the applicant’s gross                immigration status, or length of stay.                clarify that DHS retains discretion to
                                              household income may be 100 percent                     While an alien’s prospective                          cancel a public charge bond,


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                                              notwithstanding an absence of a written                 complete a separate Form I–539A, and                     Forms I–485, I–129, I–129CW, and I–
                                              request from the obligor or alien, if DHS               provide information regarding the                        539, and for requesting or cancelling a
                                              determines that an alien otherwise                      derivative beneficiary’s applications for,               public charge bond using Form I–945
                                              meets the applicable eligibility                        or receipt of, public benefits, except                   and Form I–356, respectively.
                                              requirements.                                           where the nonimmigrant classification                       Over the first 10 years of
                                                • Bond Amount. In response to                         that the derivative beneficiary seeks to                 implementation, DHS estimates the total
                                              public comment, DHS has revised                         extend, or to which the alien seeks to                   quantified new direct costs of the final
                                              proposed 8 CFR 213.1 to reduce the                      change, is exempted from the public                      rule will be about $352,026,980
                                              minimum amount in which a public                        charge ground of inadmissibility.                        (undiscounted). In addition, DHS
                                              charge bond may be offered to $8,100,                                                                            estimates that the 10-year discounted
                                              annually adjusted for inflation based on                E. Summary of Costs and Benefits
                                                                                                                                                               total direct costs of this final rule will
                                              the Consumer Price Index for All Urban                     This rule will impose new costs on                    be about $300,286,154 at a 3 percent
                                              Consumers (CPI–U), and rounded up to                    the population applying to adjust status                 discount rate and about $247,249,020 at
                                              the nearest dollar.                                     using Form I–485 that are subject to the                 a 7 percent discount rate.
                                                • Bond Breach and Public Benefits                     public charge ground of inadmissibility.                    Simultaneously, DHS is eliminating
                                              Received while in a Status that is                      DHS will now require any adjustment                      the use and consideration of the Request
                                              Exempt from the Public Charge Ground                    applicants subject to the public charge                  for Exemption for Intending Immigrant’s
                                              of Inadmissibility. DHS has revised this                ground of inadmissibility and who are                    Affidavit of Support (Form I–864W),
                                              rule to clarify that DHS will not                       applying for adjustment of status on or                  currently applicable to certain classes of
                                              consider, as part of a public charge bond               after the effective date of this final rule              aliens. In lieu of Form I–864W, the alien
                                              breach determination, any public                        to submit a Form I–944 with their Form                   will indicate eligibility for the
                                              benefits received by an alien during                    I–485 to demonstrate they are not likely                 exemption of the affidavit of support
                                              periods for which the alien received a                  to become a public charge. Failure to                    requirement on Form I–485.
                                              waiver of the public charge                             submit the form, where required, may                        The final rule will also potentially
                                              inadmissibility ground. In the NPRM,                    result in a rejection or a denial of the                 impose new costs on obligors
                                              DHS had already proposed that public                    Form I–485 without a prior issuance of                   (individuals or companies) if an alien
                                              benefits received while in a public                     a Request for Evidence or Notice of                      has been determined to be likely at any
                                              charge exempt status following the                      Intent to Deny.22 Additionally, the                      time in the future to become a public
                                              initial grant of status as a lawful                     associated time burden estimate for                      charge and will be permitted to submit
                                              permanent resident, and any public                      completing Form I–485 will increase.                     a public charge bond, for which USCIS
                                              benefits received after the alien obtained                The rule will also impose additional                   will use the new Form I–945. DHS
                                              U.S. citizenship, would not be counted                  costs for those seeking extension of stay                estimates the total cost to file Form I–
                                              towards the bond breach determination.                  or change of status by filing a Petition                 945 will be, at minimum, about $34,166
                                              These exemptions remain unchanged in                    for a Nonimmigrant Worker (Form I–                       annually.23
                                              this final rule.                                        129); Petition for a CNMI-Only                              Moreover, the final rule will
                                                                                                      Nonimmigrant Transitional Worker                         potentially impose new costs on aliens
                                              6. Other Changes                                        (Form I–129CW); or Form I–539 and                        or obligors who submit Form I–356 as
                                                 • Prospective Application of the Rule.               Form I–539A, as applicable. The                          part of a request to cancel the public
                                              DHS clarified in 8 CFR 212.20, 214.1,                   associated time burden estimate for                      charge bond. DHS estimates the total
                                              and 248.1 that this final rule applies                  completing these forms will increase                     cost to file Form I–356 would be
                                              prospectively to applications and                       because these applicants will be                         approximately $824 annually.24
                                              petitions postmarked (or, if applicable,                required to demonstrate that they have                      The final rule will also result in a
                                              submitted electronically) on or after the               not received, since obtaining the                        reduction in transfer payments from the
                                              effective date. (DHS retained and further               nonimmigrant status that they seek to                    Federal Government to individuals who
                                              refined provisions addressing how it                    extend or from which they seek to                        may choose to disenroll from or forego
                                              will consider receipt of public benefits                change, and through the adjudication,                    enrollment in a public benefits program.
                                              before the effective date of this rule.)                public benefits as described in final 8                  Individuals who might choose to
                                                 • Technical Changes. DHS has also                    CFR 212.21(b) for more than 12 months                    disenroll from or forego future
                                              made miscellaneous technical edits to                   in the aggregate within any 36-month                     enrollment in a public benefits program
                                              reduce redundancy and improve                           period (such that, for instance, receipt of              include foreign-born non-citizens, as
                                              readability and clarity.                                two benefits in one month counts as two                  well as U.S. citizens who are members
                                                 • Changes to Form I–539A. DHS has                    months). Moreover, the rule will impose                  of mixed-status households,25 who may
                                              made non-substantive changes to                         new costs associated with the new                        otherwise be eligible for public benefits.
                                              Supplemental Information for                            public charge bond process, including                    DHS estimates that the total reduction
                                              Application to Extend/Change                            new costs for completing and filing a                    in transfer payments from the Federal
                                              Nonimmigrant Status (Form I–539A),                      Public Charge Bond (Form I–945), and                     and State governments will be
                                              which collects biographical information                 Request for Cancellation of Public
                                              about derivative beneficiaries named on                 Charge Bond (Form I–356).                                  23 Calculation: $35.59 (cost per obligor to file
                                              an applicant’s Application to Extend/                     DHS estimates that the additional                      Form I–945) * 960 (estimated annual population
                                              Change Nonimmigrant Status (Form I–                     total cost of the rule will be                           who would file Form I–945) = $34,166.40 = $34,166
                                              539). Form I–539A was published as a                    approximately $35,202,698 annually.                      (rounded) annual total cost to file Form I–945.
                                                                                                                                                                 24 Calculation: $33.00 (cost per obligor to file
                                              new form on March 8, 2019, to replace
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                                                                                                      This cost includes the population                        Form I–356) * 25 (estimated annual population who
                                              Supplement A of Form I–539. In light of                 applying to adjust status who are also                   would file Form I–356) = $825.00 annual total cost
                                              the creation of Form I–539A, DHS has                    required to file Form I–944, the                         to file Form I–356.
                                              moved the information collection                        opportunity costs of time associated                       25 DHS uses the term ‘‘foreign-born non-citizen’’

                                              regarding public benefits received by                   with such filings, as well the increased                 since it is the term the Census Bureau uses. DHS
                                                                                                                                                               generally interprets this term to mean alien in this
                                              the derivative beneficiaries from Form                  time burden estimates for completing                     analysis. In addition, DHS notes that the Census
                                              I–539 to Form I–539A. Each derivative                                                                            Bureau publishes much of the data used in this
                                              beneficiary of a Form I–539 will need to                  22 See   8 CFR 103.2(a)(7), (b)(8)(ii).                analysis.



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                                              approximately $2.47 billion annually                    result in reduced revenues for                        $729.40 per individual who must read
                                              due to disenrollment or foregone                        healthcare providers participating in                 and review the final rule.
                                              enrollment in public benefits programs                  Medicaid, companies that manufacture                     The final rule will produce some
                                              by foreign-born non-citizens who may                    medical supplies or pharmaceuticals,                  quantified benefits due to the regulatory
                                              be receiving public benefits. DHS                       grocery retailers participating in SNAP,              changes DHS is making. The final rule
                                              estimates that the 10-year discounted                   agricultural producers who grow foods                 will produce some benefits for T
                                              federal and state transfer payments                     that are eligible for purchase using                  nonimmigrants applying for adjustment
                                              reduction of this final rule will be                    SNAP benefits, or landlords                           of status based on their T nonimmigrant
                                              approximately $21.0 billion at a 3                      participating in federally funded
                                                                                                                                                            status, as this population will no longer
                                              percent discount rate and about $17.3                   housing programs.
                                                                                                         Additionally, the final rule will have             need to submit Application for Waiver
                                              billion at a 7 percent discount rate.
                                                                                                      new direct and indirect impacts on                    of Grounds of Inadmissibility (Form I–
                                              However, DHS notes there may be
                                                                                                      various entities and individuals                      601) seeking a waiver of the public
                                              additional reductions in transfer
                                              payments that we are unable to                          associated with regulatory                            charge ground of inadmissibility. DHS
                                              quantify.                                               familiarization with the provisions of                estimates the total benefit for this
                                                 There also may be additional                         the rule. Familiarization costs involve               population is $15,176 annually.28
                                              reductions in transfer payments from                    the time spent reading the details of a                  The primary benefit of the final rule
                                              states to individuals who may choose to                 rule to understand its changes. A                     would be to better ensure that aliens
                                              disenroll from or forego enrollment in                  foreign-born non-citizen (such as those               who are admitted to the United States,
                                              public benefits program. For example,                   contemplating disenrollment or                        seek extension of stay or change of
                                              the Federal Government funds all SNAP                   foregoing enrollment in a public                      status, or apply for adjustment of status
                                              food expenses, but only 50 percent of                   benefits program) might review the rule               will be self-sufficient, i.e., will rely on
                                              allowable administrative costs for                      to determine whether he or she is                     their own financial resources, as well as
                                              regular operating expenses.26 Similarly,                subject to the provisions of the final rule           the financial resources of the family,
                                              Federal Medical Assistance Percentages                  and may incur familiarization costs. To               sponsors, and private organizations.29
                                              (FMAP) in some U.S. Department of                       the extent that an individual or entity               DHS also anticipates that the final rule
                                              Health and Human Services (HHS)                         directly regulated by the rule incurs                 will produce some benefits from the
                                              programs, like Medicaid, can vary from                  familiarization costs, those                          elimination of Form I–864W. The
                                              between 50 percent to an enhanced rate                  familiarization costs are a direct cost of            elimination of this form will potentially
                                              of 100 percent in some cases.27 Since                   the rule. In addition to those individuals            reduce the number of forms USCIS
                                              the state share of federal financial                    or entities the rule directly regulates, a            would have to process. DHS estimates
                                              participation (FFP) varies from state to                wide variety of other entities would                  the amount of cost savings that will
                                              state, DHS uses the average FMAP                        likely choose to read and understand                  accrue from eliminating Form I–864W
                                              across all states and U.S. territories of 59            the rule and, therefore, would incur                  would be about $36.47 per petitioner.30
                                              percent to estimate the amount of state                 familiarization costs. For example,                   However, DHS is unable to determine
                                              transfer payments. Therefore, the 10-                   immigration lawyers, immigration                      the annual number of filings of Form I–
                                              year undiscounted amount of state                       advocacy groups, health care providers                864W and, therefore, currently is unable
                                              transfer payments of the provisions of                  of all types, non-profit organizations,               to estimate the total annual cost savings
                                              this final rule is about $1.01 billion                  non-governmental organizations, and                   of this change. Additionally, a public
                                              annually. The 10-year discounted                        religious organizations, among others,                charge bond process will also provide
                                              amount of state transfer payments of the                may need or want to become familiar                   benefits to applicants as they potentially
                                              provisions of this final rule would be                  with the provisions of this final rule.               will be given the opportunity for
                                              approximately $8.63 billion at a 3                      DHS believes such non-profit                          adjustment if otherwise admissible, at
                                              percent discount rate, and about $7.12                  organizations and other advocacy                      the discretion of DHS, after a
                                              billion at a 7 percent discount rate.                   groups might choose to read the rule to               determination that he or she is likely to
                                              Finally, DHS recognizes that reductions                 provide information to those foreign-                 become a public charge.
                                              in federal and state transfers under                    born non-citizens that might be affected
                                              federal benefit programs may have                       by a reduction in federal and state                      Table 1 provides a more detailed
                                              impacts on state and local economies,                   transfer payments. Familiarization costs              summary of the final provisions and
                                              large and small businesses, and                         incurred by those not directly regulated              their impacts.
                                              individuals. For example, the rule might                are indirect costs.                                     28 Calculation: $14,880 (Filing fees for Form
                                                                                                         DHS estimates the time that would be               I–601) + $296.48 (Opportunity cost of time for Form
                                                26 Per  section 16(a) of the Food and Nutrition Act   necessary to read this final rule would               I–601) = $15,176.48 = $15,176 (rounded) total
                                              of 2008, Public Law 110–234, tit. IV, 122 Stat. 923,    be approximately 16 to 20 hours per                   current estimated annual cost for filing T
                                              1092 (May 22, 2008) (codified as amended at 7                                                                 nonimmigrants filing Form I–601 seeking a waiver
                                              U.S.C. 2025). See also USDA, FNS Handbook 901,          person depending on an individual’s
                                                                                                                                                            of grounds of inadmissibility. Therefore, the
                                              at p. 41 (2017). Available at: https://fns-             average reading speed and level of                    estimated total benefits of the final rule for T
                                              prod.azureedge.net/sites/default/files/apd/FNS_         review, resulting in opportunity costs of             nonimmigrants applying for adjustment of status
                                              HB901_v2.2_internet_Ready_Format.pdf, (last
                                              visited July 26, 2019).
                                                                                                      time. An entity, such as a non-profit or              using Form I–601 seeking a waiver on grounds of
                                                 27 See Dep’t of Health and Human Servs. Notice,      advocacy group, may have more than                    inadmissibility will equal the current cost to file
                                                                                                      one person that reads the rule. Using the             Form I–601 for this population.
                                              Federal Financial Participation in State Assistance
                                                                                                                                                              29 See 8 U.S.C. 1601(1), (2)(A).
                                              Expenditures; Federal Matching Shares for               average total rate of compensation as                   30 Calculation of savings from opportunity cost of
                                              Medicaid, the Children’s Health Insurance Program,
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                                              and Aid to Needy Aged, Blind, or Disabled Persons
                                                                                                      $36.47 per hour for all occupations,                  time for no longer having to complete and submit
                                              for October 1, 2016 through September 30, 2017, 80      DHS estimates that the opportunity cost               Form I–864W: ($36.47 per hour * 1.0 hours) =
                                              FR 73779 (Nov. 25, 2015).                               of time will range from about $583.52 to              $36.47.




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                                                                   TABLE 1—SUMMARY OF MAJOR PROVISIONS AND ECONOMIC IMPACTS OF THE FINAL RULE
                                                                Provision                                        Purpose                                       Expected impact of final rule

                                              Revising 8 CFR 212.18. Application for             To clarify that T nonimmigrants seeking        Quantitative:
                                                Waivers of Inadmissibility in connection           adjustment of status are not subject         Benefits:
                                                with an application for adjustment of              to public charge ground of inadmis-          • Benefits of $15,176 annually to T nonimmigrants apply-
                                                status by T nonimmigrant status hold-              sibility.                                      ing for adjustment of status who will no longer need to
                                                ers.                                                                                              submit Form I–601 seeking a waiver on public charge
                                              Revising 8 CFR 245.23. Adjustment of                                                                grounds of inadmissibility.
                                                aliens in T nonimmigrant classification.                                                        Costs:
                                                                                                                                                • None.

                                              Adding 8 CFR 212.20. Purpose and ap-               To define the categories of aliens that        Quantitative:
                                                plicability of public charge inadmis-              are subject to the public charge de-         Benefits:
                                                sibility.                                          termination.                                 • Benefits of $36.47 per applicant from no longer having to
                                              Adding 8 CFR 212.21. Definitions ...........       To establish key definitions, including          complete and file Form I–864W.
                                              Adding 8 CFR 212.22. Public charge de-               ‘‘public charge,’’ ‘‘public benefit,’’       Costs:
                                                termination.                                       ‘‘likely to become a public charge,’’        • DHS anticipates a likely increase in the number of deni-
                                                                                                   ‘‘household,’’ and ‘‘receipt of public         als for adjustment of status applicants based on public
                                                                                                   benefits.’’                                    charge inadmissibility determinations due to formalizing
                                                                                                 Clarifies that evaluating public charge          and standardizing the criteria and process for inadmis-
                                                                                                   is a prospective determination based           sibility determinations.
                                                                                                   on the totality of the circumstances.        Quantitative:
                                                                                                 Outlines minimum and additional fac-           Benefits:
                                                                                                   tors considered when evaluating              • Better ensure that aliens who are seeking admission to
                                                                                                   whether an alien immigrant is inad-            the United States or apply for adjustment of status are
                                                                                                   missible based on the public charge            self-sufficient through an improved review process of the
                                                                                                   ground. Positive and negative factors          mandatory statutory factors.
                                                                                                   are weighed to determine an individ-
                                                                                                   ual’s likelihood of becoming a public
                                                                                                   charge at any time in the future.
                                              Adding 8 CFR 212.23. Exemptions and                Outlines exemptions and waivers for in-
                                                waivers for public charge ground of in-            admissibility based on the public
                                                admissibility.                                     charge ground.

                                              Adding 8 CFR 214.1(a)(3)(iv) and                   To provide, with limited exceptions, that      Quantitative:
                                                amending 8 CFR 214.1(c)(4)(iv). Non-               an application for extension of stay         Costs:
                                                immigrant general requirements.                    or change of nonimmigrant status will        • $6.1 million annually for an increased time burden for
                                              Amending 8 CFR 248.1(a) and adding 8                 be denied unless the applicant dem-            completing and filing Form I–129;
                                                CFR 248.1(c)(4). Change of non-                    onstrates that he or she has not re-         • $0.12 million annually for an increased time burden for
                                                immigrant classification eligibility.              ceived public benefits since obtaining         completing and filing Form I–129CW;
                                                                                                   the nonimmigrant status that he or           • $2.4 million annually for an increased time burden for
                                                                                                   she is seeking to extend or change,            completing and filing Form I–539.
                                                                                                   as defined in final 8 CFR 212.21(b),         Quantitative:
                                                                                                   for 12 months, in the aggregate,             Benefits:
                                                                                                   within a 36 month period.                    • Better ensures that aliens who are seeking to extend or
                                                                                                                                                  change to a status that is not exempt from the section
                                                                                                                                                  212(a)(4) inadmissibility ground who apply for extension
                                                                                                                                                  of stay or change of status continue to be self-sufficient
                                                                                                                                                  during the duration of their nonimmigrant stay.

                                              Amending 8 CFR 245. Adjustment of sta-             To outline requirements that aliens            Quantitative:
                                               tus to that of person admitted for lawful           submit a declaration of self-suffi-          Direct Costs:
                                               permanent residence.                                ciency on the form designated by             • Total annual direct costs of the final rule will range from
                                                                                                   DHS and any other evidence re-                 about $45.5 to $131.2 million, including:
                                                                                                   quested by DHS in the public charge              • $25.8 million to applicants who must file Form I–
                                                                                                   inadmissibility determination.                      944;
                                                                                                                                                    • $0.69 million to applicants applying to adjust status
                                                                                                                                                       using Form I–485 with an increased time burden;
                                                                                                                                                    • $0.34 million to public charge bond obligors for filing
                                                                                                                                                       Form I–945; and
                                                                                                                                                    • $823.50 to filers for filing Form I–356.
                                                                                                                                                • Total costs over a 10-year period will range from:
                                                                                                                                                    • $352.0 million for undiscounted costs;
                                                                                                                                                    • $300.1 million at a 3 percent discount rate; and
                                                                                                                                                    • $247.2 million at a 7 percent discount rate.
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                                                                                                                                                Transfer Payments
                                                                                                                                                • Total annual transfer payments of the final rule would be
                                                                                                                                                  about $2.47 billion from foreign-born non-citizens and
                                                                                                                                                  their households who disenroll from or forego enrollment
                                                                                                                                                  in public benefits programs. The federal-level share of
                                                                                                                                                  annual transfer payments will be about $1.46 billion and
                                                                                                                                                  the state-level share of annual transfer payments will be
                                                                                                                                                  about $1.01 billion.



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                                                          TABLE 1—SUMMARY OF MAJOR PROVISIONS AND ECONOMIC IMPACTS OF THE FINAL RULE—Continued
                                                                Provision                                          Purpose                                        Expected impact of final rule

                                                                                                                                                 • Total transfer payments over a 10-year period, including
                                                                                                                                                   the combined federal- and state-level shares, will be:
                                                                                                                                                      • $24.7 billion for undiscounted costs;
                                                                                                                                                      • $21.0 billion at a 3 percent discount rate; and
                                                                                                                                                      • $17.3 billion at a 7 percent discount rate.
                                                                                                                                                 Quantitative:
                                                                                                                                                 Benefits:
                                                                                                                                                 • Potential to make USCIS’ in the review of public charge
                                                                                                                                                   inadmissibility more effective.
                                                                                                                                                 Costs:
                                                                                                                                                 • DHS anticipates a likely increase in the number of deni-
                                                                                                                                                   als for adjustment of status applicants based on public
                                                                                                                                                   charge inadmissibility determinations due to formalizing
                                                                                                                                                   and standardizing the criteria and process for public
                                                                                                                                                   charge determination.
                                                                                                                                                 • Costs to various entities and individuals associated with
                                                                                                                                                   regulatory familiarization with the provisions of the final
                                                                                                                                                   rule. Costs will include the opportunity cost of time to
                                                                                                                                                   read the final rule and subsequently determine applica-
                                                                                                                                                   bility of the final rule’s provisions. DHS estimates that the
                                                                                                                                                   time to read this final rule in its entirety would be 16 to
                                                                                                                                                   20 hours per individual. DHS estimates that the oppor-
                                                                                                                                                   tunity cost of time will range from about $583.52 to
                                                                                                                                                   $729.40 per individual who must read and review the
                                                                                                                                                   final rule. However, DHS cannot determine the number
                                                                                                                                                   of individuals who will read the final rule.

                                                                                                                 Public Charge Bond Provisions

                                              Amending 8 CFR 103.6. Public charge                To set forth the Secretary’s discretion         Quantitative:
                                               bonds.                                              to approve bonds, cancellation, bond          Costs:
                                                                                                   schedules, and breach of bond, and            • $34,166 annually to obligors for submitting Public
                                                                                                   to move principles governing public             Charge Bond (Form I–945); and
                                                                                                   charge bonds to final 8 CFR 213.1.            • $823.50 annually to filers for submitting Request for
                                                                                                                                                   Cancellation of Public Charge Bond (Form I–356).
                                              Amending 8 CFR 103.7. Fees .................       To add fees for new Form I–945, Pub-            • Fees paid to bond companies to secure public charge
                                                                                                   lic Charge Bond, and Form I–356,                bonds. Fees could range from 1–15 percent of the public
                                                                                                   Request for Cancellation of Public              charge bond amount based on an individual’s credit
                                                                                                   Charge Bond.                                    score.
                                              Amending 8 CFR 213.1. Admission or                 In 8 CFR 213.1, to add specifics to the         Quantitative:
                                               adjustment of status of aliens on giving            public charge bond provision for              Benefits:
                                               of a public charge bond.                            aliens who are seeking adjustment of          • Potentially enable an alien who was found inadmissible
                                                                                                   status, including the discretionary             only on the public charge ground to adjust his or her sta-
                                                                                                   availability and the minimum amount             tus by posting a public charge bond with DHS.
                                                                                                   required for a public charge bond.
                                                 Source: USCIS analysis.


                                                DHS has prepared a full analysis of                   adjustment of status to that of a lawful                 skills, at a minimum.33 Some immigrant
                                              this rule according to Executive Orders                 permanent resident.31 Section 212(a)(4)                  and nonimmigrant categories are
                                              (E.O.) 12866 and 13563. This analysis                   of the Act, 8 U.S.C. 1182(a)(4) does not                 exempt from the public charge
                                              can be found in the docket for this                     directly apply to nonimmigrants seeking                  inadmissibility ground and other
                                              rulemaking or by searching for RIN                      extension of stay or change of status,32                 applicants may apply for a waiver of the
                                              1615–AA22 on www.regulations.gov.                       because extension of stay and change of                  public charge inadmissibility ground.34
                                                                                                      status applications are not applications                    Additionally, section 212(a)(4) of the
                                              II. Background                                                                                                   Act, 8 U.S.C. 1182(a)(4), permits the
                                                                                                      for a visa, admission, or adjustment of
                                              A. Public Charge Inadmissibility and                    status.                                                  consular officer, immigration officer, or
                                              Public Charge Bonds                                       The INA does not define ‘‘public                       an immigration judge to consider any
                                                                                                      charge.’’ It does specify that when                      affidavit of support submitted under
                                                Under section 212(a)(4) of the Act, 8                 determining if an alien is likely at any                 section 213A of the Act, 8 U.S.C. 1183a,
                                              U.S.C. 1182(a)(4), an alien who is an                   time to become a public charge,                          on the applicant’s behalf when
                                              applicant for a visa, admission, or                                                                              determining whether the applicant may
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                                                                                                      consular officers and immigration
                                              adjustment of status is inadmissible if                 officers must consider the alien’s age;                  become a public charge.35 In fact, with
                                              he or she is likely at any time to become               health; family status; assets, resources,
                                              a public charge. The public charge                      and financial status; and education and
                                                                                                                                                                 33 See INA section 212(a)(4)(B)(i), 8 U.S.C.

                                              ground of inadmissibility, therefore,                                                                            1182(a)(4)(B)(i).
                                                                                                                                                                 34 See proposed 8 CFR 212.23.
                                              applies to any alien applying for a visa                  31 See   INA section 212(a)(4), 8 U.S.C. 1182(a)(4).     35 See INA section 212(a)(4)(B)(ii), 8 U.S.C.
                                              to come to the United States temporarily                  32 See   INA section 214 and 248, 8 U.S.C. 1184 and    1182(a)(4)(B)(ii). When required, the applicant must
                                              or permanently, for admission, or for                   1258.                                                                                               Continued




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                                              very limited exceptions, aliens seeking                 similarly updated.43 USCIS has                          III. Public Comments on the Proposed
                                              family-based immigrant visas and                        continued to follow the 1999 Interim                    Rule
                                              adjustment of status, and a limited                     Field Guidance in its adjudications, and                A. Summary of Public Comments
                                              number of employment-based                              DOS has continued following the public
                                              immigrant visas and adjustment of                       charge guidance set forth in the FAM.44                    On October 10, 2018, DHS, USCIS
                                              status, must have a sufficient affidavit of                                                                     published a proposed rule in docket
                                                                                                         In the 1999 Interim Field Guidance,                  USCIS–2010–0012. The comment
                                              support or will be found inadmissible as
                                                                                                      public charge is defined to mean an                     period associated with the proposed
                                              likely to become a public charge.36
                                                 In general, if DHS has determined that               alien who is likely to become primarily                 rule closed at the end of December 10,
                                              an alien is inadmissible based on public                dependent 45 on the government for                      2018. DHS received a total of 266,077
                                              charge, but is otherwise admissible,                    subsistence, as demonstrated by either:                 public comment submissions in Docket
                                              DHS may admit the alien at DHS’s                           • Receipt of public cash assistance for              USCIS–2010–0012 in response to the
                                              discretion upon the alien posting a                     income maintenance; or                                  proposed rule. The majority of comment
                                              suitable and proper bond as determined                                                                          submissions were from individual or
                                                                                                         • Institutionalization for long-term                 anonymous commenters. Other
                                              by DHS.37 The purpose of issuing a                      care at government expense.
                                              public charge bond is to ensure that the                                                                        commenters included healthcare
                                              alien will not become a public charge in                   Under the 1999 Interim Field                         providers; research institutes and
                                              the future.38                                           Guidance, DHS did not consider receipt                  universities; law firms and individual
                                                                                                      of non-cash, supplemental and certain                   attorneys; federal, state, local, and tribal
                                              B. Current Public Charge Standards                      limited cash, and special purpose                       elected officials; State and local
                                                 As discussed in the NPRM,39 DHS                      benefits. Similarly, DHS did not                        government agencies; religious and
                                              currently makes public charge                           consider institutionalization for short                 community organizations; advocacy
                                              determinations in accordance with the                   periods of rehabilitation because it does               groups; unions; Federal Government
                                              1999 Interim Field Guidance.40 This                     not constitute primary dependence.46                    officials; and trade and business
                                              guidance explains how the agency                        As discussed in the NPRM, the use of                    organizations. While some commenters
                                              determines if a person is likely at any                                                                         provided support for the rule, the vast
                                                                                                      public charge bonds has decreased since
                                              time to become a public charge under                                                                            majority of commenters opposed the
                                                                                                      the introduction of enforceable
                                              section 212(a)(4) of the Act, 8 U.S.C.                                                                          rule.
                                                                                                      affidavits of support in section 213A of
                                              1182(a), for admission and adjustment                   the Act, 8 U.S.C. 1183a.47                              B. Requests To Extend Comment Period
                                              of status purposes, and whether a
                                              person has become a public charge                       C. Final Rule                                             Comment: Some commenters
                                              within five years of entry from causes                                                                          requested that DHS extend the comment
                                              not affirmatively shown to have arisen                    Following careful consideration of                    period. An individual commenter said
                                              since entry, and therefore deportable                   public comments received, DHS has                       the 60-day comment period is not
                                              under section 237(a)(5) of the Act, 8                   made modifications to the regulatory                    enough time for such a drastic policy
                                              U.S.C. 1227(a)(5).41 On May 26, 1999,                   text proposed in the NPRM, as                           and asserted it would be unfair to
                                              INS issued a proposed rule that would                   described above. The rationale for the                  American people to proceed with the
                                              have codified these policies in                         proposed rule and the reasoning                         proposed changes. Another individual
                                              regulation. Ultimately, however, INS                    provided in the background section of                   commenter asked USCIS to extend the
                                              did not publish a final rule conclusively               that rule remain valid, except as                       notice and comment period for an
                                              addressing these issues.42 DOS also                     described in this regulatory preamble.                  additional 90 days. A commenter wrote
                                              issued a cable to its consular officers at                                                                      that the 60-day comment period
                                                                                                      Section III of this preamble includes a
                                              that time, implementing similar                                                                                 provided inadequate time for its
                                                                                                      detailed summary and analysis of the
                                              guidance for visa adjudications, and its                                                                        members to meaningfully comment on
                                                                                                      public comments. Comments may be                        the proposed rule, and requested a
                                              Foreign Affairs Manual (FAM) was                        reviewed at the Federal Docket                          further 60-day extension. Another
                                                                                                      Management System (FDMS) at http://                     commenter urged that DHS consider
                                              submit an Affidavit of Support Under Section 213A       www.regulations.gov, docket number
                                              of the INA (Form I–864).                                                                                        extending the notice and comment
                                                 36 See INA section 212(a)(4)(C), (D), 8 U.S.C.       USCIS–2010–0012.                                        period for the docket until all interested
                                              1182(a)(4)(C), (D). A sufficient affidavit of support                                                           individuals have the opportunity to
                                              is one in which the sponsor has demonstrated that          43 See Inadmissibility and Deportability on Public
                                                                                                                                                              provide input. The commenter said it is
                                              he or she has enough income and/or assets to            Charge Grounds, 64 FR 28676, 28680 (proposed
                                              maintain the sponsored alien and the rest of the                                                                standard practice for an agency to
                                                                                                      May 26, 1999).
                                              sponsor’s household at 125% of the FPG for that
                                                                                                         44 See Children’s Health Insurance Program
                                                                                                                                                              extend a notice and comment period
                                              household size (or at 100 percent of the FPG if the                                                             when circumstance suggest that
                                              sponsor is active duty in the U.S. Armed Forces or      Reauthorization Act of 2009, Public Law 111–3, sec.
                                                                                                      214, 123 Stat. 8, 56 (Feb. 4, 2009); 9 FAM 302.8–
                                                                                                                                                              additional input may be beneficial.
                                              U.S. Coast Guard).
                                                 37 See INA section 213, 8 U.S.C. 1183; see also 8    2(B)(2), Determining ‘‘Totality of Circumstances,’’       Response: DHS believes that the 60-
                                              CFR 103.6; 8 CFR 213.1.                                 (g) Public Charge Bonds, https://fam.state.gov/fam/     day comment period provided an
                                                 38 Matter of Viado, 19 I&N Dec. 252, 253 (BIA        09fam/09fam030208.html (last visited July 26,           adequate opportunity for public input,
                                              1985).                                                  2019). Note, on July 10, 2018, DOS amended 9 FAM        and declines to extend the comment
                                                 39 See Inadmissibility on Public Charge Grounds,     302.8.                                                  period. The Administrative Procedure
                                              83 FR 51114, 51133 (proposed Oct. 10, 2018).               45 Former INS defined ‘‘primarily dependent’’ as
                                                 40 See 64 FR 28689 (May 26, 1999).
                                                                                                                                                              Act (APA) is silent regarding the
                                                                                                      ‘‘the majority’’ or ‘‘more than 50 percent.’’
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                                                 41 See 64 FR 28689 (May 26, 1999). In addition
                                                                                                                                                              duration of the public comment period,
                                                                                                         46 Similar to DHS, DOS has been making public
                                              to the 1999 Interim Field Guidance, INS proposed                                                                and does not establish a minimum
                                                                                                      charge inadmissibility determinations using the
                                              promulgating these policies through rulemaking,
                                                                                                      same legal framework, as reflected in the FAM. See
                                                                                                                                                              duration.48 However, the 60-day
                                              which was never concluded. See Inadmissibility                                                                  comment period is in line with E.O.
                                              and Deportability on Public Charge Grounds, 64 FR       9 FAM 302.8, Public Charge—INA 212(a)(4),
                                              28676 (proposed May 26, 1999).                          https://fam.state.gov/FAM/09FAM/                        12866, which encourages agencies to
                                                 42 See Inadmissibility and Deportability on Public   09FAM030208.html (last visited July 26, 2019).          provide at least 60 days for the public
                                                                                                         47 See Inadmissibility on Public Charge Grounds,
                                              Charge Grounds, 64 FR 28676 (proposed May 26,
                                              1999).                                                  83 FR 51114, 51219 (proposed Oct. 10, 2018).             48 See   5 U.S.C. 553(c).



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                                              to comment on economically significant                  1182(a)(4), including the changes to this             the United States. Rather, the purpose of
                                              rules. The sufficiency of the 60-day                    ground made in 1996.49 DHS, however,                  this rule is to implement the public
                                              comment period provided in this rule is                 disagrees with comments suggesting                    charge ground of inadmissibility
                                              supported by the over 266,000 public                    that this rule addresses, or should                   consistent with the principles of self-
                                              comments received. The public,                          address, eligibility for government                   sufficiency set forth by Congress, and to
                                              including attorneys; federal, state, local,             benefits programs. DHS also disagrees                 minimize the incentive of aliens to
                                              and tribal elected officials; and                       that the rule addresses eligibility for               attempt to immigrate to, or to adjust
                                              advocacy organizations provided a great                 public benefits by certain specified                  status in, the United States due to the
                                              number of detailed and informative                      groups, such as aliens unlawfully                     availability of public benefits.50 While
                                              comments. In addition, DHS notes that                   present, or DACA recipients. Neither the              the rule may result in reductions in
                                              the proposed rule had been listed in the                public charge ground of inadmissibility               overall alien enrollment in certain
                                              publicly available Unified Agenda of                    nor this final rule govern eligibility for            public benefit programs, improve the
                                              Federal Regulatory and Deregulatory                     public benefits; they govern which                    ability of U.S. citizens to obtain public
                                              Actions since the Fall 2017 publication.                aliens are inadmissible or ineligible for             benefits for which they are eligible, or
                                              Given the quantity and quality of                       admission or adjustment of status. This               otherwise benefit the U.S. economy, this
                                              comments received in response to the                    final rule does not address the                       rule does not directly regulate these
                                              proposed rule, and other publicly                       government’s responsibility to care for               matters.
                                              available information regarding the rule,               foreign nationals and does not address
                                              DHS believes that the 60-day comment                                                                             Comment: Some commenters stated
                                                                                                      which aliens are, or should be, eligible
                                              period has been sufficient.                                                                                   that there should be more stringent
                                                                                                      to receive public benefits.
                                                                                                         DHS also disagrees with suggestions                immigration standards generally and
                                              C. Comments Expressing General                                                                                reductions in the number of immigrants
                                              Support for the NPRM                                    that this rule is aimed at making sure
                                                                                                      poor people are not able to enter the                 in the United States. Some commenters
                                                 Comment: Many commenters stated                      United States. As noted previously, the               stated that immigrants are ‘‘abusing’’ the
                                              that immigrants should be self-                         rule aims to ensure that aliens subject to            U.S. welfare system. Other commenters
                                              sufficient. Many commenters stated that                 the public charge ground of                           offered general support for the NPRM
                                              aliens should not be permitted to accept                inadmissibility are self-sufficient. An               without further explanation.
                                              government benefits or depend on U.S.                   alien’s assets, resources, and financial                 Response: DHS does not intend this
                                              taxpayer money to support themselves if                 status is one factor that is considered in            rule to reduce overall immigration
                                              they want to obtain green cards.                        the totality of the circumstances when                levels to the United States. Instead, this
                                              Commenters stated that immigrants                       making a public charge inadmissibility                rule is an exercise of DHS’s authority to
                                              should be productive members of                         determination and is not outcome                      interpret the public charge ground of
                                              society to gain admission to the United                 determinative.                                        inadmissibility. Fraud or abuse in alien
                                              States and should not be a burden on                       Comment: Some commenters stated                    enrollment in public benefits programs
                                              the state. One commenter said that                      that the rule will have a positive impact             is of course problematic, but the public
                                              migrants should not be able to obtain                   on the U.S. economy and job creation,                 charge ground of inadmissibility applies
                                              welfare unless they have a minimum                      and will protect the social safety net.               to an alien who is likely at any time to
                                              working record in the United States.                    Numerous commenters mentioned that                    become a public charge, regardless of
                                              Another commenter supported the rule                    public assistance should be reserved for              whether such alien is likely to
                                              and said that illegal immigration needs                 U.S. citizens who need help and not
                                              to stop. One commenter said that this                                                                         fraudulently obtain public benefits or
                                                                                                      immigrants who arrive unable to                       abuse the public benefits system. With
                                              country does not need more poor                         contribute to the nation’s well-being.
                                              people. A commenter said that                                                                                 respect to comments about an alien
                                                                                                         Other commenters stated that as more               receiving public benefits for which he or
                                              immigrants who cannot support                           immigrants look to come to the United
                                              themselves should not come to the                                                                             she was not eligible, DHS notes that to
                                                                                                      States, the proposed public charge rule               the extent that an alien obtains such a
                                              United States. Other commenters said                    is needed to preserve the ‘‘American
                                              that the United States should not be                                                                          benefit by falsely claiming to be a U.S.
                                                                                                      Dream’’ for future generations and to                 citizen, the alien may be inadmissible
                                              responsible for taking care of people                   prevent the current generation from
                                              from other countries. One commenter                                                                           for falsely claiming U.S. citizenship
                                                                                                      having to shoulder the financial burden               (section 212(a)(6)(C)(ii) of the Act, 8
                                              noted that this rule will address the                   of paying for foreign nationals who
                                              problem of public assistance use by                                                                           U.S.C. 1182(a)(6)(C)(ii)), depending on
                                                                                                      cannot provide for themselves.                        the circumstances by which he or she
                                              unauthorized aliens seeking to legalize                    Response: This rule does not aim to
                                              their status, DACA recipients, and any                                                                        received the benefits improperly.
                                                                                                      address the U.S. economy, job creation,               Additionally, to the extent that an
                                              other immigrants who want to legalize                   protection of the social safety net or the
                                              their status but who are unable to                                                                            applicant who has obtained public
                                                                                                      ‘‘American dream,’’ curtail spending on               benefits through fraud or
                                              support themselves or their families.                   public assistance, or ensure that public
                                              Another commenter indicated that the                                                                          misrepresentation subsequently applies
                                                                                                      assistance will be reserved for U.S.                  for an immigration benefit for which a
                                              rule will encourage immigrants to work                  citizens. This rule also does not attempt
                                              hard and become self-sufficient.                                                                              favorable exercise of discretion is
                                                                                                      to curtail efforts to address broader                 required, the fraud or misrepresentation
                                                 Response: DHS agrees that applicants                 economic and health problems,
                                              for admission and adjustment of status                                                                        can be considered in deciding whether
                                                                                                      including with respect to people outside              to favorably exercise that discretion.
                                              who are subject to the public charge
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                                              ground of inadmissibility should be self-                 49 See IIRIRA, Public Law 104–208, div. C, sec.
                                                                                                                                                            However, public benefits that an alien
                                              sufficient and should not depend on the                 531, 110 Stat. 3009–546, 3009–674 (Sept. 30, 1996)    obtains unlawfully are outside of the
                                              government to meet their needs, and                     (amending INA section 212(a)(4), 8 U.S.C.             scope of this rulemaking, which only
                                              this rule seeks to better ensure self-                  1182(a)(4)); H.R. Rep. No. 104–828 at 240–41 (1996)   addresses inadmissibility based on the
                                                                                                      (Conf. Rep.) (‘‘This section amends INA section       public charge ground of inadmissibility.
                                              sufficiency. DHS firmly believes that                   212(a)(4) to expand the public charge ground of
                                              this was Congress’ intent in enacting                   inadmissibility. . . . Self-reliance is one of the
                                              section 212(a)(4) of the Act, 8 U.S.C.                  most fundamental principles of immigration law.’’).     50 See   8 U.S.C. 1601.



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                                              D. Comments Expressing General                            212(a)(4) of the Act, 8 U.S.C. 1182(a)(4),             individual alien, who is seeking to be
                                              Opposition to the NPRM                                    including as recently as 1996.52 DHS                   admitted to the United States or who is
                                                                                                        agrees with the commenter that                         applying for adjustment of status, is
                                              1. Purpose of the Rule and Self
                                                                                                        immigration laws and policies serve                    likely to become a public charge at any
                                              Sufficiency
                                                                                                        many purposes, including goals such as                 time in the future. This determination is
                                                 Comment: Commenters stated that the                    family unity, diversity, humanitarian                  made following consideration of the
                                              proposed rule represented an ineffective                  assistance. However, U.S. immigration                  totality of the alien’s individual
                                              solution to a non-existent problem—a                      laws balance competing values. For                     circumstances and is a predictive
                                              lack of self-sufficiency among                            example, the criminal grounds of                       assessment.
                                              immigrants. A commenter indicated that                    inadmissibility53 are designed to protect                 Comment: A commenter stated that
                                              the proposed rule emphasized that the                     the United States and its citizens from                section 212(a)(4) of the Act, 8 U.S.C.
                                              self-sufficiency of immigrants is a long-                 harm and threats to public safety,54                   1182(a)(4) neither mentioned or
                                              standing congressional policy, yet did                    while health-related grounds of                        discussed self-sufficiency nor identified
                                              not provide sufficient data that                          inadmissibility are intended to protect                self-sufficiency as a criteria in the
                                              dependency on the government and/or                       the health of the United States                        determination and therefore disagreed
                                              government benefits is a problem within                   population.55 These grounds of                         with primary purpose of the rule
                                              immigrant communities, especially in                      inadmissibility are valid exercises of                 outlined in the NPRM. Given the close
                                              light of data showing that immigrants                     congressional authority,                               proximity in time when PRWORA and
                                              have been shown generally to make very                    notwithstanding that such grounds of                   Illegal Immigration Reform and
                                              strong economic contributions to the                      inadmissibility may sometimes impede                   Immigrant Responsibility Act of 1996
                                              country. The commenter stated that, for                   family unity, and notwithstanding that                 (IIRIRA) passed, the commenter
                                              example, in 2014 immigrant-led                            in many individual aliens’ cases, such                 considered it significant that Congress
                                              households in Massachusetts paid                          grounds of inadmissibility may not be                  restricted an immigrant’s eligibility for
                                              nearly $10 billion dollars in federal,                    implicated. Similarly, here, Congress,                 public benefits with PRWORA, yet
                                              state, and local taxes, and represented                   though legislation, addressed various                  IIRIRA codified the minimum
                                              nearly $28 billion dollars in spending                    policy considerations when determining                 mandatory factors without PRWORA’s
                                              power.                                                    whether a foreign national should be                   articulated self-sufficiency principles as
                                                 Additionally, commenters expressed                     admitted to the United States, including               relied on by DHS in the NPRM. The
                                              concern that the text of the rule suggests                whether an individual who is likely at                 commenter indicated that both
                                              that it is the main responsibility of our                 any time in the future to become a                     PRWORA and IIRIRA, were considered
                                              nation’s immigration system—and the                       public charge should be admitted to the                in the 1999 Interim Field Guidance
                                              agencies which run it—to cultivate or                     United States. Therefore, while self-                  because PRWORA and IIRIRA had
                                              maintain a national ethos of ‘‘self-                      sufficiency may not be the primary                     created widespread confusion about
                                              sufficiency.’’ A commenter indicated                      purpose of U.S. immigration laws, it is                permissible public benefit receipt in
                                              that immigration policies and systems                     one consideration put into place by                    relation to public charge
                                              are meant to achieve a number of                          Congress.                                              inadmissibility. The commenter stated
                                              different goals, such as family unity,                       DHS is under no obligation to                       that the current rule failed to identify
                                              diversity, humanitarian assistance, and                   demonstrate that all or most aliens in                 post-1999 laws, data, or experience,
                                              ensuring sufficient labor. Commenters                     the United States are not self-sufficient.             such as congressional authorities or
                                              stated that safeguarding our nation from                  To the extent that an alien is self-                   other information not already taken into
                                              individuals that may at some point need                   sufficient, the alien is unlikely to be                account by INS in developing the 1999
                                              government support is not the singular                    affected by this rule. In the NPRM, DHS                Interim Field Guidance that informed
                                              or even primary purpose of our system                     did provide extensive data on the lack                 DHS’s development of the proposed
                                              of immigration.                                           of self-sufficiency among certain aliens,              rule. The commenter therefore
                                                 Response: DHS disagrees with the                       and showed how the minimum                             requested that DHS in its final rule
                                              commenters that ensuring the self-                        statutory factors identified by Congress               identify and describe legal authorities or
                                              sufficiency of immigrants is                              relate to the self-sufficiency of                      information other than the authorities
                                              unnecessary, or that a lack of self-                      individuals and their receipt of public                which predated the 1999 Interim Field
                                              sufficiency is a non-existent problem.                    benefits.56 DHS acknowledges that                      Guidance and that were relied on by
                                              As outlined in the NPRM, Congress                         immigrants provide significant                         INS, which DHS considered in
                                              clearly declared, in its policy statement                 contribution to the United States as a                 developing its proposed definition of
                                              in PRWORA, that self-sufficiency has                      whole and within their communities, as                 public charge. The commenter stated
                                              been a basic principle of United States                   demonstrated by data and information                   that if Congress had wanted to achieve
                                              immigration law since this country’s                      provided by many commenters.                           the self-sufficiency or cost-savings goals
                                              earliest immigration statutes and that it                 However, the focus of the inquiry for                  identified by the NPRM it could alter
                                              should continue to be a governing                         public charge purposes is whether an                   the eligibility rules for the enumerated
                                              principle in the United States.51                                                                                programs, but has not changed the
                                              Congress also has maintained the public                     52 See IIRIRA, Public Law 104–208, div. C, sec.      public benefit eligibility requirements,
                                              charge ground of inadmissibility in law                   531, 110 Stat. 3009–546, 3009–674 (Sept. 30, 1996)     and expanded eligibility for some
                                              since 1882. DHS believes that applicants                  (amending INA section 212(a)(4), 8 U.S.C.              programs following the enactment of
                                                                                                        1182(a)(4)); H.R. Rep. No. 104–828 at 240–41 (1996)
                                              for admission and adjustment of status                    (Conf. Rep.) (‘‘This section amends INA section        PRWORA and IIRIRA in 1996, such as
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                                              who are subject to the public charge                      212(a)(4) to expand the public charge ground of        in 2002, when Congress restored SNAP
                                              ground of inadmissibility should be self-                 inadmissibility. . . . Self-reliance is one of the     eligibility for all qualified immigrant
                                              sufficient and should not depend on the                   most fundamental principles of immigration law.’’).    children.
                                                                                                          53 See INA section 212(a)(2), 8 U.S.C. 1182(a)(2).
                                              government to meet their needs, and                         54 See INA section 212(a)(2), 8 U.S.C. 1182(a)(2).
                                                                                                                                                                  Response: Although DHS agrees with
                                              DHS firmly believes that this was                           55 See INA section 212(a)(1), 8 U.S.C. 1182(a)(1).
                                                                                                                                                               the commenter that self-sufficiency is
                                              Congress’ intent in enacting section                        56 See throughout the NPRM, Inadmissibility on       not mentioned in section 212(a)(4) of
                                                                                                        Public Charge Grounds, 83 FR 51114 (proposed           the Act, 8 U.S.C. 1182(a)(4), DHS
                                                51 See   8 U.S.C. 1601.                                 October 10, 2018).                                     maintains, as outlined in the NPRM,


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                                              that this principle, a congressional’                     2002, Public Law 107–17, (May 13,                           Response: DHS strongly disagrees
                                              policy objective, informs and has                         2002), Section 4401, restored SSI                        with the comment that that DHS’s
                                              informed public charge determinations.                    benefits for any person who was                          regulatory framework was designed to
                                              Based on the administrative and                           lawfully residing in the United States on                achieve the same effects as changing
                                              legislative context discussed in the                      August 22, 1996; restored SNAP for all                   eligibility requirements—decreased and
                                              NPRM,57 including congressional                           children under 18; and provided that                     foregone enrollment in public benefit
                                              records relating to debates addressing                    ‘‘qualified aliens’’ 60 were eligible for                programs by certain populations—and
                                              self-sufficiency prior to Congress’                       SNAP after five years of entry into the                  therefore, usurped Congress’ role.
                                              passing of IIRIRA,58 DHS’s view of self-                  United States. In 2007, Section 525 of                   Although DHS acknowledges that the
                                              sufficiency and its role in the public                    the Consolidated Appropriations Act for                  rule, once effective, may lead
                                              charge determination remains                              Fiscal Year (FY) 2008 61 provided for                    individuals to disenroll or choose to
                                              unchanged. In fact, DHS considers the                     Iraqi and Afghan foreign nationals to                    forego enrollment from public benefits,
                                              proximity of the passage of both                          obtain benefits.                                         the rule does not change eligibility
                                              PRWORA and IIRIRA as an indication                           These provision and others restoring                  requirements for public benefits. The
                                              that Congress associated public charge                    or providing public benefit access to                    rule only provides for whether an alien
                                              closely with the principles governing                     immigrants are incorporated to the                       is admissible into the United States,
                                              PRWORA, and that Congress must have                       statutory provisions governing                           which is a matter of immigration law for
                                              recognized that it made certain public                    PRWORA, 8 U.S.C. 1611. Therefore, this                   the Federal Government and delegated
                                              benefits available to some aliens who                     rule is informed by all the                              to DHS.
                                              are also subject to the public charge                     documentation and data presented                         2. Requests for Reconsideration and
                                              grounds of inadmissibility, even though                   before the 1999 Interim Field Guidance,                  Withdrawal of NPRM
                                              receipt of such benefits could render the                 as well as relevant subsequent
                                              alien inadmissible as likely to become a                                                                              Comment: Several commenters asked
                                                                                                        legislation, and relevant case law. DHS                  that DHS reconsider the rule and
                                              public charge. Additionally, as outlined                  would note that precedential decisions
                                              in the NPRM, DHS does not believe that                                                                             withdraw it, stating that the rule is
                                                                                                        and other materials cited by DHS do not                  unnecessary and would place an undue
                                              the plain text of section 212(a)(4) of the                lose persuasive value for purposes of
                                              Act, 8 U.S.C. 1182(a)(4), INS’s                                                                                    burden on DHS and immigrants. One
                                                                                                        DHS’s interpretation simply because                      commenter stated the proposed rule’s
                                              discussion of PRWORA and IIRIRA, and
                                                                                                        they were also addressed in the 1999                     preamble does not establish a sufficient
                                              the case law cited by INS or DHS
                                                                                                        proposed rule and 1999 Interim                           justification for the proposed revisions.
                                              requires the adoption of the legacy INS
                                                                                                        Guidance.62 Further, although                            Another commenter stated that the
                                              interpretations for purposes of public
                                                                                                        subsequent legislation, such as                          NPRM was too long and discouraged the
                                              charge. As discussed in detail
                                                                                                        Congress’s expansion of SNAP,                            public from commenting on the
                                              throughout the NPRM and below, the
                                                                                                        expanded eligibility of public benefits to               proposed rule. Some commenters
                                              term public charge is ambiguous, and
                                                                                                        certain aliens, Congress has not                         expressed concern that the rule conflicts
                                              neither the statute nor case law
                                                                                                        subsequently changed the section                         with local, state, and federal initiatives,
                                              prescribe the degree to which an alien
                                                                                                        212(a)(4) of the Act, 8 U.S.C. 1182,                     including undermining community-
                                              must be receiving public benefits to be
                                                                                                        which governs the public charge                          based, non-profit efforts, and making the
                                              considered a public charge. DHS
                                                                                                        inadmissibility determination.63                         immigration system inefficient. Several
                                              remains convinced that its
                                              interpretation is permissible and                            Comment: A commenter stated that                      commenters stated that DHS should
                                              reasonable.                                               Congress, not DHS, may change                            focus on promoting a rule that
                                                 DHS disagrees with the commenter                       statutory eligibility requirements for                   strengthens, rather than undermines,
                                              that the NPRM failed to identify post-                    federally-administered public benefits                   immigrants’ ability to support
                                              1999 laws, data, or experience, such as                   programs, including the ones listed in                   themselves. Some commenters
                                              congressional authorities or other                        the NPRM. The commenter stated that                      requested that the rule be withdrawn in
                                              information not already taken into                        DHS’s regulatory framework was                           its entirety, and that the 1999 Interim
                                              account by INS in developing current                      designed to achieve the same effects as                  Field Guidance remain in effect.
                                              public charge policy that informed                        changing eligibility requirements—                          Response: DHS will not retract the
                                              DHS’s development of the proposed                         decreased and foregone enrollment in                     proposed rule and is concluding the
                                              rule. Post-PRWORA, Congress did                           public benefit programs by certain                       public charge inadmissibility
                                              restore some public benefit eligibility                   populations—and therefore, usurped                       rulemaking through the publication of
                                              for aliens. DHS acknowledged these                        Congress’ role.                                          this final rule. DHS is committed to
                                              developments in the NPRM preamble.59                                                                               implementing section 212(a)(4) of the
                                              For example, DHS incorporated the                           60 ‘‘Qualified aliens’’ generally includes lawful      Act, 8 U.S.C. 1182(a)(4), consistent with
                                              discussion that in 2002, the Farm                         permanent resident aliens, refugees/asylees, and         the principles of self-sufficiency set
                                                                                                        other non-temporary legal residents (such as Cuban/      forth by Congress. As required by the
                                              Security and Rural Investment Act of                      Haitian entrants).
                                                                                                          61 Public Law 110–161 (Dec. 26, 2007).
                                                                                                                                                                 statute and reflected in this rule, DHS’s
                                                57 See  83 FR 51114 (Oct. 10, 2018).                      62 For example, precedent decisions issued by the
                                                                                                                                                                 public charge inadmissibility
                                                58 See  142 Cong. Rec. S4609 (May 2, 1996)              Executive Office for Immigration Review (EOIR)           determinations will involve an
                                              (statement of Sen. Byrd) (‘‘[S]elf-sufficiency will be    and the Attorney General are binding on DHS until        assessment of the mandatory factors as
                                              the watchword for those coming to the United              overruled. See 8 CFR 103.3(c), 103.10(b), 1003.1(g);     they relate to the likelihood of an
                                              States. By making noncitizens ineligible for Federal      see, e.g., Matter of E–L–H–, 23 I&N Dec. 814, 817
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                                              means-tested programs, and by ‘deeming’ a                 (BIA 2005) (finding that a published Board decision
                                                                                                                                                                 applicant becoming a public charge at
                                              sponsor’s income attributable to an immigrant, the        has precedential effect unless and until modified or     any time in the future.
                                              American taxpayer will no longer be financially           overruled by the Attorney General, the Board,               Comment: Multiple commenters said
                                              responsible for new arrivals.’’), available at https://   Congress, or a Federal court.).                          the rule should be withdrawn, the 1999
                                              www.congress.gov/crec/1996/05/02/CREC-1996-05-              63 Cf. Cyan, Inc. v. Beaver Cty. Emp. Ret. Fund,
                                                                                                                                                                 Interim Field Guidance should remain
                                              02-pt1-PgS4592.pdf. (last visited July 26. 2019).         138 S. Ct. 1061, 1070 (2018) (explaining that, if
                                                 59 See Inadmissibility on Public Charge Grounds,       Congress had wanted to deprive state courts of
                                                                                                                                                                 in place, and that the proposed rule is
                                              83 FR 51114, 51126–51133 (proposed October 10,            jurisdiction over certain class actions, it could have   a drastic change from the 1999 Interim
                                              2018).                                                    easily done so by inserting a provision).                Field Guidance. Many said that the 1999


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                                              Interim Field Guidance is consistent                      Response: DHS agrees that this rule                  convened to accomplish the
                                              with congressional intent and case law                  takes a different approach to                          Administration’s goals rather than
                                              and should not be abandoned. One                        interpreting the public charge ground of               proceeding with the public charge rule,
                                              commenter noted that the 1999 Interim                   inadmissibility than the 1999 NPRM,                    which the commenter asserted will have
                                              Field Guidance’s exclusion of certain                   and withdrew the 1999 NPRM as part of                  a negative impact on the health and
                                              public health, nutrition, and in-kind                   the 2018 NPRM.67 The 2018 NPRM                         financial security of aliens.
                                              community service programs was                          explained DHS’s proposed change of                        Response: DHS disagrees that a
                                              consistent with the intent of Congress as               position. DHS is not bound by a twenty-                stakeholder working group is an
                                              expressed in its 1996 Conference Report                 year-old proposed rule, and believes                   alternative to this rulemaking. As
                                              regarding PRWORA and that rule was a                    that this rule represents a permissible                indicated elsewhere in this rule, DHS is
                                              departure from this intent.                             implementation of the public charge                    exercising its authority to interpret the
                                                 Response: DHS disagrees that the                     inadmissibility standard that Congress                 INA consistent with its congressional
                                              1999 Interim Field Guidance should                      provided when it enacted section                       mandate. This final rule provides
                                              remain in place. DHS has chosen to                      212(a)(4) of the Act, 8 U.S.C. 1182(a)(4).             necessary guidance for purposes of
                                              define public charge more broadly than                  This public charge inadmissibility rule                implementing section 212(a)(4) of the
                                              in the 1999 NPRM and 1999 Interim                       provides long-absent guidance on how                   Act, 8 U.S.C. 1182(a)(4), including, by
                                              Field Guidance. DHS believes this                       to interpret key statutory terms, which                defining statutory terms that have never
                                              broader definition is consistent with                   have never been fully defined by                       been defined by Congress in the over
                                              Congress’ intention that aliens should                  Congress, and which the agency has the                 100 years since the public charge
                                              be self-sufficient. Self-sufficiency is, and            authority and responsibility to define.                inadmissibility ground first appeared in
                                              has long been, a basic principle of                                                                            the immigration laws.
                                              immigration law in this country.64 DHS                  3. Alternatives to the Public Charge Rule                 The rulemaking process allowed for
                                              believes that this rule aligns DHS                         Comment: An individual commenter                    ample public participation. DHS notes
                                              regulations with that principle.65                      proposed creating a ‘‘self-sufficiency                 that it received over 266,000 public
                                                 Comment: A commenter urged DHS to                    program’’ in place of the proposed rule,               comments. DHS also participated in
                                              either withdraw the proposed rule or if                 modeled after the Office of Refugee                    over 20 OMB E.O. 12866 meetings with
                                              moving to finalize it, to provide a full                Resettlement’s (ORR) Voluntary                         public stakeholders related to the
                                              and complete analysis of all public                     Agencies Matching Grant Program that                   proposed rule. Therefore, DHS does not
                                              comments received on the proposed                       provides intensive case management,                    believe that national stakeholder group
                                              rule, including the total number of                     English language and vocational                        would work as substitute for this
                                              comments, (and the number of those                      training, and a variety employment                     rulemaking.
                                              signing individual comments),                           services, which would serve as an                         In addition, DHS notes that USCIS has
                                              composition of, relative numbers of                     alternative to public benefits receipt by              a robust stakeholder communication
                                              commenters supporting and opposing                      immigrants and nonimmigrants. A                        and engagement program that covers all
                                              the overall proposal, the volume and                    commenter suggested that rather than                   aspects of the agency’s operations. This
                                              nature of comments regarding specific                   creating this rule to disincentivize                   program will engage stakeholders when
                                              provisions, and the rationale for specific              receipt of public assistance by revoking               this rule becomes final to help ensure
                                              choices made by DHS in light of                         or denying citizenship status based on                 that applicants for immigration benefits
                                              comments. The commenter stated that                     receipt of public assistance, DHS should               and their representatives fully
                                              doing so would provide transparency                     instead create classes or provide                      understand the new rule.
                                              regarding the extent to which DHS                       resources to aliens to help them                       4. Discrimination and Disparate Impact
                                              considered public input in accordance                   understand the importance of self-
                                              with the APA.                                                                                                     Comment: Several commenters stated
                                                                                                      sufficiency.
                                                 Response: DHS declines to withdraw                      Response: DHS notes that this rule                  that this rule discriminates against both
                                              the NPRM and will conclude                              does not address eligibility for                       aliens and citizens and unduly affects
                                              rulemaking with the publication of this                 citizenship and neither the statute nor                certain individuals. Commenters stated
                                              final rule. DHS has responded to public                 this final rule permit revocation or                   that the rule discriminates against
                                              comments that raise substantive issues                  denial of citizenship status based on the              immigrants based on age, gender,
                                              or offer significant alternatives.66 In this            public charge inadmissibility ground.                  income, race, health, and social status.
                                              final rule, DHS is providing both an                    This rule establishes guidelines for                   Some commenters expressed concerns
                                              overview of public comments and                         determining whether aliens who are                     that the proposed changes to the
                                              commenters, and a complete analysis of                  applicants for admission or adjustment                 definition of public charge are
                                              public comments including those                         of status, and who are subject to section              inhumane and discriminatory to
                                              addressing specific aspects of the                      212(a)(4) of the Act, are inadmissible as              immigrants, particularly minors, the
                                              proposed rule. DHS has fully considered                 likely to become a public charge at any                elderly, the poor, those will chronic
                                              the public input on this rule in                        time in the future.68 DHS further notes                medical conditions and disabilities,
                                              accordance with the APA.                                that it will not create programs in lieu               immigrants with limited English
                                                 Comment: Commenters stated that                                                                             proficiency, Latinos, Black families, and
                                                                                                      of this rule that will help aliens attain
                                              DHS’s position is inconsistent with the                                                                        other communities of color, and goes
                                                                                                      self-sufficiency, as DHS believes,
                                              1999 NPRM.                                                                                                     against core American values. A number
                                                                                                      consistent with Congress’s intent set
                                                                                                      forth in PRWORA, that aliens should be                 of commenters stated this rule would
                                                64 See 8 U.S.C. 1601(1).                                                                                     discriminate against individuals with
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                                                65 See Southern S.S. Co. v. N.L.R.B., 316 U.S. 31,    self-sufficient before they seek
                                              47 (1942) (‘‘Frequently the entire scope of             admission or adjustment of status.                     chronic health conditions, such as heart
                                              Congressional purpose calls for careful                    Comment: A commenter requested a                    disease. Some commenters stated that
                                              accommodation of one statutory scheme to
                                                                                                      national stakeholder workgroup be                      the new definition of ‘‘likely at any time
                                              another. . . .’’).                                                                                             in the future to become a public charge’’
                                                66 Reytblatt v. U.S. Nuclear Regulatory Comm’n,

                                              105 F.3d 715, 722 (D.C. Cir. 1997); Northside             67 See Inadmissibility on Public Charge Grounds,     in 8 CFR 212.21(c) would be
                                              Sanitary Landfill, Inc. v. Thomas, 849 F.2d 1516        83 FR 51114 (proposed Oct. 10, 2018).                  discriminatory towards blind
                                              (D.C. Cir 1988).                                          68 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4).   individuals who rely on public


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                                              assistance to make ends meet, due to the                  meaning, value, and weight strictly in                 forth in NPRM,73 DHS’s public charge
                                              70 percent unemployment rate for blind                    relationship to determining whether or                 rule is rationally related to the
                                              individuals. The commenters stated that                   not an alien who is otherwise                          government’s interest to minimize the
                                              the proposed definition exhibits a clear                  admissible of eligible for adjustment of               incentive of aliens to immigrate to the
                                              and inherent bias against the blind and                   status in the context of the existing                  United States because of the availability
                                              other individuals with a disability and                   system is likely at any time in the future             of public benefits and to promote the
                                              urged DHS to abandon the rule.                            to become a public charge. DHS                         self-sufficiency of aliens within the
                                                 Commenters generally stated the rule                   acknowledges that one likely outcome                   United States.74
                                              creates an ageist system that favors                      of this change is that some individuals
                                              wealthy, healthy, and highly educated                     who would may have been able to                           Equally important, the public charge
                                              individuals. One commenter said that                      immigrate under the 1999 Interim Field                 inadmissibility rule does not
                                              this rule creates a ‘‘merit-based’’ system                Guidance will now be deemed                            discriminate against or penalize U.S.
                                              that punishes immigrants and                              inadmissible as likely public charges.                 citizens, including children. The public
                                              discriminates against them based on                          Section 212(a)(4) of the INA, 8 U.S.C.              charge inadmissibility rule does not
                                              their race, religion, and ethnicity. A                    1182(a)(4), sets forth the public charge               directly regulate the conduct of U.S.
                                              commenter stated that the rule’s                          ground of inadmissibility that makes                   citizens because the grounds of
                                              consideration of an applicant’s English                   aliens ineligible for visas, admission,                inadmissibility do not apply to U.S.
                                              proficiency amounts to discrimination.                    and adjustment of status. Section                      citizens. Moreover, this rule does not
                                                 Several commenters observed that                       212(a)(4) of the INA, 8 U.S.C. 1182(a)(4),             regulate eligibility for, or access to,
                                              U.S. born children often qualify for and                  also requires DHS to consider minimum                  public benefits. Neither the NPRM nor
                                              receive assistance, because their                         factors in the public charge                           this final rule take into consideration
                                              immigrant parents are struggling. The                     inadmissibility analysis. The Federal                  receipt of public benefits by U.S.
                                              commenters stated that DHS should not                     Government is responsible for                          citizens who are part of the alien’s
                                              penalize the parents or the children for                  ‘‘regulating the relationship between the              household, including benefits received
                                              accepting public benefits that were                       United States and our alien visitors,’’
                                              legally available to them. One                                                                                   by U.S. citizen children. The receipt of
                                                                                                        which includes regulating the manner
                                              commenter questioned the legality of                                                                             public benefits by household members
                                                                                                        and conditions of entry, as well as the
                                              the rule and stated that the Supreme                                                                             is not considered as part of an alien’s
                                                                                                        residence of aliens.70 DHS is the federal
                                              Court in Plyler v. Doe 69 held that states                                                                       application, although such receipt is
                                                                                                        agency with the authority to establish
                                              cannot discriminate against children on                   regulations regarding the public charge                excluded from the alien’s household
                                              the basis of undocumented status. The                     inadmissibility determination.71 As                    income, assets, and resources.
                                              commenter said numerous other cases                       required by statute, DHS must consider                    Furthermore, DHS disagrees that this
                                              have held that children cannot be                         how an alien’s age, health, family status,             rule is inconsistent with Plyler v. Doe
                                              penalized for their parentage (e.g., Levy                 assets and resources, financial status,                and the other cited cases. Plyler does not
                                              v. Louisiana, 391 U.S. 68 (1968) and                      education, and skills impact the alien’s               apply to this rule. As courts have
                                              Clark v. Jeter, 486 U.S. 456 (1988)).                     likelihood at any time of becoming a                   recognized, Plyler relates to distinctions
                                                 Response: To the extent that this rule,                public charge. Under the statute, DHS                  made by states rather than the Federal
                                              as applied, may result in negative                        may also consider an applicant’s
                                              outcomes for certain groups, DHS notes                                                                           Government.75 Similarly, neither Levy v.
                                                                                                        affidavit of support, if applicable. The               Louisiana nor Clark v. Jeter is applicable
                                              that it did not codify this final rule to                 statute does not direct DHS to consider
                                              discriminate against aliens based on age,                                                                        here. These cases did not address the
                                                                                                        an alien’s race, gender, or social status.             immigration status of children or
                                              race, gender, income, health, and social                  Consequently, DHS will not consider an
                                              status, or to create an ‘‘ageist’’ system                                                                        Federal regulations. Instead, both cases
                                                                                                        alien’s race, gender, or social status
                                              that selectively favors wealthy, healthy,                 when making a public charge
                                              and highly educated individuals.                          inadmissibility determination. Other
                                                                                                                                                               difference between state and federal distinctions
                                              Rather, this rule is intended to better                                                                          based on alienage is the difference between the
                                                                                                        than an absent or insufficient affidavit               limits that the Fourteenth Amendment places on
                                              ensure that aliens subject to this rule are               of support, where required, DHS will                   discrimination by states and the power the
                                              self-sufficient. To the extent that this                  not find an alien inadmissible based on                Constitution grants to the federal government over
                                              rule specifically or disproportionately                   any single factor without consideration
                                                                                                                                                               immigration.’’) (citation omitted); Lewis v.
                                              affects those of a particular age or those                                                                       Thompson, 252 F.3d 567, 570 (2d Cir. 2001), citing
                                                                                                        of all of the other factors and the totality           Lake v. Reno, 226 F.3d 141, 148 (2d Cir. 2000) (‘‘We
                                              with lower incomes, less education,                       of their effect on an applicant’s                      have recently recognized that a ‘highly deferential’
                                              limited English proficiency, or poor                      likelihood of becoming a public charge                 standard is appropriate in matters of immigration
                                              health, DHS notes that Congress                           at any time in the future.                             . . . .’’). Generally, laws and regulations that
                                              requires DHS to consider, among other                        In addition, rational basis scrutiny
                                                                                                                                                               neither involve fundamental rights nor include
                                              factors, an applicant’s age, assets,                                                                             suspect classifications are reviewed under rational
                                                                                                        generally applies to immigration                       basis scrutiny, under which the person challenging
                                              resources, financial status, education,                   regulations applicable to aliens.72 As set             the law must show that the government has no
                                              and skills as part of the public charge                                                                          legitimate interest in the law or policy or that there
                                              inadmissibility determination.                              70 Mathews    v. Diaz, 426 U.S. 67, 81–82 (1976).    is no rational link between the interest and the
                                                 Additionally, this rule does not create                  71 See  Homeland Security Act of 2002, Public        challenge law or regulation. See also Heller v. Doe
                                              a merit-based system more broadly or                      Law 107–296, sec. 102, 116 Stat. 2135, 2142–44         by Doe, 509 U.S. 312, 319 (1993).
                                                                                                                                                                  73 See Inadmissibility on Public Charge Grounds,
                                              apply a wealth or poverty litmus test to                  (Nov. 25, 2002) (codified at 6 U.S.C. 112); INA
                                                                                                        section 103, 8 U.S.C. 1103.                            83 FR 51114, 51122–23 (proposed Oct. 10, 2018).
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                                              make public charge inadmissibility                           72 See Korab v. Fink, 797 F.3d 572, 577–79 (9th        74 See 8 U.S.C. 1601.
                                              determinations. Instead, DHS has                          Cir. 2014) (‘‘[F]ederal statutes regulating alien         75 See, e.g., Aleman v. Glickman, 217 F.3d 1191,
                                              established a systematic approach to                      classifications are subject to the easier-to-satisfy   1198 (9th Cir. 2000) (‘‘Plyler [is] inapposite,
                                              implement Congress’ totality of the                       rational-basis review . . . Although aliens are        however, because [it] involve[s] state classifications
                                              circumstances standard and has given                      protected by the Due Process and Equal Protection      of aliens.’’ (emphasis in the original)); Rodriguez ex
                                                                                                        Clauses, this protection does not prevent Congress     rel. Rodriguez v. U.S., 169 F.3d 1342, 1350 (11th
                                              the mandatory statutory factors                           from creating legitimate distinctions either between   Cir. 1999) (‘‘Plyler is inapposite because it deals
                                                                                                        citizens and aliens or among categories of aliens      with a Fourteenth Amendment challenge to a state’s
                                                69 457   U.S. 202 (1982).                               and allocating benefits on that basis . . . The        classification of aliens.’’ (emphasis in the original).



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                                              dealt with impacts of state laws on                      benefit programs, including specific                  Housing Benefit-Related Effects
                                              illegitimate children.76                                 groups of individuals, such as children.                 Many commenters said some
                                              5. Potential Disenrollment Impacts                       Commenters involved in social services                individuals will leave public housing as
                                                                                                       reported that they were already seeing                a result of this rule and become
                                                 Numerous commenters raised                            immigrants refraining from accessing
                                              concerns about the rule’s asserted                                                                             homeless or face housing instability.
                                                                                                       services in clinics, food banks, childcare            Commenter stated that the rule will
                                              ‘‘chilling effect.’’ Commenters indicated                centers, emergency shelters, and local
                                              that the rule would cause aliens and                                                                           cause disenrollment from subsidized
                                                                                                       school districts, including immigrants                housing programs, which will create
                                              citizens to either disenroll from public                 who are exempt from public charge
                                              benefit programs or forego enrollment in                                                                       additional costs for local governments.
                                                                                                       inadmissibility. Several commenters                   Commenters stated that the chilling
                                              public benefit programs, which would
                                                                                                       said that the chilling effect would not be            effect on using HCVs will cause the loss
                                              negatively impact the nation, states,
                                                                                                       limited to immigrants subject to the                  of ‘‘wraparound services’’ for residents,
                                              local communities, families, vulnerable
                                                                                                       proposed rule and would discourage                    including case management, mental
                                              populations, and health care providers.
                                                                                                       many legal residents from utilizing                   healthcare, peer support, and child care.
                                              Because most of these comments reflect
                                                                                                       services to which they are legally                    Commenters raised concerns about the
                                              the same theme, the discussion below
                                              provides a detailed breakdown of public                  entitled, leading to negative health and              effects of housing insecurity in specific
                                              comments separated by topic, followed                    economic outcomes. For example, a                     cities, including health problems and
                                              by a consolidated DHS response.                          commenter said that refugees, who are                 downstream economic impacts. One
                                                                                                       automatically enrolled in Medicaid                    commenter stated that while the
                                              Choice Between Public Benefits and                       upon arrival in its state, may believe                proposed public charge rule does not
                                              Immigration Status                                       they will be deported if they re-enroll in            directly count benefits received by the
                                                Commenters stated that the rule puts                   Medicaid after their initial resettlement             U.S. citizen children of immigrant
                                              the country at risk by forcing choices no                period. Some commenters said the rule                 parents, it would still interfere with the
                                              family should have to make.                              may provide an incentive for U.S.                     ability of U.S. citizens to receive
                                              Commenters noted that alien parents                      citizens and lawful permanent residents               housing assistance, because many
                                              will limit or forego their U.S. citizen                  to terminate their subsidized health care             citizens live in mixed-status households
                                              children’s receipt of public benefits to                 in order to remain eligible to petition for           with individuals who are subject to the
                                              avoid adverse immigration                                their family members living abroad.                   public charge ground of inadmissibility.
                                              consequences. Commenters stated that                                                                           Food and Nutrition Benefit-Related
                                              the rule would force eligible immigrants                 General Assertions as to Effects
                                                                                                                                                             Effects
                                              to withdraw their families from                             Commenters said that the rule’s
                                              assistance programs for fear of adverse                                                                           Commenters noted that disenrollment
                                                                                                       disenrollment effect would have lasting               from programs like SNAP would worsen
                                              immigration consequences, which                          impacts on the health and safety of our
                                              would undermine access to essential                                                                            food insecurity in the United States.
                                                                                                       communities and that immigrant                        Some commenters provided estimates of
                                              health, nutrition, and other critical                    families are experiencing significant
                                              benefits and services. Several                                                                                 the number of children in certain states
                                                                                                       levels of fear and uncertainty that has a             or cities currently accessing SNAP
                                              commenters, expressing the view that                     direct impact on the health and well-
                                              no person in the United States should                                                                          benefits who could be affected by the
                                                                                                       being of children. Citing studies and                 rule. Several commenters stated that the
                                              be denied federal assistance programs or                 research, many commenters asserted
                                              public benefits, said that immigrants                                                                          proposed rule would force millions of
                                                                                                       that the chilling effect will increase                children and families to disenroll from
                                              should not have to make impossible                       hunger, food insecurity, homelessness
                                              choices between their health or                                                                                the SNAP program. For example, one
                                                                                                       and poverty. They added that the                      commenter cited a study that found that
                                              providing for their family’s immediate                   chilling effect will also decrease
                                              needs and risking their immigration                                                                            2.9 million U.S. citizen children would
                                                                                                       educational attainment and undermine                  forego SNAP benefits as a result of the
                                              status or keeping their family together.                 workers’ ability to acquire new skills for
                                              Some commenters said that the                                                                                  proposed public charge rule. Another
                                                                                                       in-demand occupations. Many                           commenter stated that research shows
                                              proposed rule would cause patients
                                                                                                       commenters stated that negative public                that immigrants’ loss of eligibility
                                              diagnosed with cancer or HIV to choose
                                                                                                       health, social, and economic outcomes                 reduced participation in the ‘‘Food
                                              between accessing needed health
                                                                                                       (e.g., hunger, food insecurity, decreased             Stamp Program’’ among U.S.-born
                                              services or suffering adverse
                                                                                                       nutrition, unmet physical and mental                  children of immigrants by 50 percent
                                              consequences with respect to their
                                                                                                       health needs, unimmunized                             and reduced the average benefits they
                                              immigration status. A commenter stated
                                                                                                       individuals, disease, decreased school                received by 36 percent. Some
                                              that their state had the highest rate of
                                                                                                       attendance and performance, lack of                   commenters stated that including SNAP
                                              insurance coverage in the nation, and
                                                                                                       education, poverty, homelessness)                     in the public charge determination
                                              that it is vital that patients and families
                                                                                                       collectively damage the prosperity and                would worsen food insecurity primarily
                                              continue to access care without fear of
                                                                                                       health of our communities, schools, and               among families with older adults,
                                              adverse immigration consequences. A
                                              number of commenters expressed                           country. Several commenters said that                 children, and people with disabilities.
                                              concerns that families must choose                       the rule would drive up uncompensated                 Many commenters opined that the
                                              between public housing or citizenship                    care costs, increase use of medical                   inability of individuals in need to access
                                                                                                       emergency departments, increase                       food assistance programs like SNAP
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                                              as a result of this rule.
                                                Many commenters provided studies                       healthcare costs, endanger maternal and               would impact health outcomes and
                                              or data related to the current or                        infant health and heighten the risk of                those health outcomes would impact
                                              potential number of individuals who                      infectious disease epidemics. One                     healthcare utilization rates and costs. A
                                              will forego and/or disenroll from public                 commenter indicated that the rule                     few commenters emphasized that
                                                                                                       would make child poverty worse and                    disenrollment from programs such as
                                                 76 Levy v. Louisiana, 391 U.S. 68 (1968); Clark v.    harm communities as well as                           SNAP and Special Supplemental
                                              Jeter, 486 U.S. 456 (1988).                              infrastructure that serves all of us.                 Nutrition Program for Women, Infants,


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                                              and Children, (WIC) would specifically                  disenrollment rates ranging from 15                   Several commenters said the proposed
                                              put children at risk for learning                       percent to 35 percent, then between 2.1               rule would adversely affect immigrant
                                              difficulties, increased emergency room                  million and 4.9 million Medicaid/CHIP                 women, because they will be more
                                              visits, chronic asthma, and other                       enrollees living in a family with at least            likely to forego healthcare and suffer
                                              diseases and would cause a steep                        one noncitizen would disenroll. Many                  worsening health outcomes. A comment
                                              decline in the health and well-being of                 commenters said that DHS vastly                       described the detrimental impact of
                                              pregnant women and infants.                             underestimates the numbers of people                  reduced Medicaid enrollment on
                                                 Several commenters noted that the                    who will disenroll from Medicaid and                  maternal and infant health. Multiple
                                              rule would increase the number of                       warned that DHS was underestimating                   commenters said the proposed rule
                                              individuals seeking help from state and                 the ‘‘negative consequences’’ in the                  would lead to negative health outcomes
                                              local non-profit feeding programs,                      proposed rule. Collectively, these                    in general, but especially for pregnant
                                              which would burden local government                     commenters described the positive                     and breastfeeding women, infants, and
                                              facilities, volunteer-lead organizations                health and economic benefits associated               children. Another commenter indicated
                                              and food pantries and compromise the                    with health coverage through programs                 that refugees and victims of trafficking,
                                              amount and quality of nutritious food                   like Medicaid. They also highlighted                  who are exempt from public charge,
                                              provided. Some commenters added that                    research findings about the dangers                   would also disenroll because of fear and
                                              restricting access to nutrition benefits                associated with being uninsured. They                 gave the example that in 1996 the use
                                              could make things harder in                             warned that decreased participation in                of TANF fell 78 percent among the
                                              communities with high volumes of                        Medicaid would lead to decreased                      refugee population despite the fact that
                                              homeless residents.                                     utilization of preventative services,                 refugees were not subject to the public
                                                 Some commenters said decreased                       worse health outcomes and financial                   charge test.
                                              participation in SNAP or Medicaid will                  standing for families and children,                      Several commenters said the health of
                                              likely have a profound impact on WIC’s                  increased health spending on                          children is inextricably linked to the
                                              ability to serve all eligible participants              preventable conditions, and heightened                health of their parents, asserting that
                                              by introducing new barriers to access                   strain on the healthcare system.                      parents who are enrolled in health
                                              and heaping additional costs on WIC                        Other commenters said the inclusion                insurance are more likely to have
                                              agencies. A few commenters stated that                  of Medicare Part D in the rule will cause             children who are insured. Some of these
                                              disenrollment from WIC could be as                      affected individuals to disenroll or                  commenters went on to say that
                                              high as 20 percent. A commenter stated                  otherwise be restricted from Medicare                 disenrollment from health insurance by
                                              that enrollment in WIC dropped from                     access, resulting in negative health                  parents will result in a loss of coverage
                                              7.4 million to 6.8 million from January                 outcomes for individuals and                          and access to preventive healthcare for
                                              to May 2018, and the commenter stated                   communities (e.g., increased uninsured                their children. A couple of commenters
                                              that families feel forced to decide                     rated, decreased access to                            said that they were already seeing these
                                              between their safety as immigrants and                  prescriptions). Another commenter said                consequences due to confusion over the
                                              the food and services that their children               that seniors who use Medicare Part D                  proposed rule, including parents
                                              need.                                                   will be deterred from filling                         choosing to avoid needed health
                                              Health Benefit-Related Effects                          prescriptions, which could increase                   services for their children. A couple of
                                                                                                      acute care and overall healthcare costs.              commenters said every child in America
                                                 A commenter opposed the rule,                        Several commenters stated that the                    should have access to quality, affordable
                                              stating that DHS failed to present                      sanctions associated with the use of                  healthcare.
                                              anything in the proposed rule that                      Medicaid and Medicare Part D benefits                    Many commenters, citing studies and
                                              would discredit, or justify ignoring, the               would result in reduced access to                     research, stressed the chilling effect of
                                              evidence in the 1999 Interim Field                      medical care and medications for                      this rule will negatively affect the health
                                              Guidance that aliens’ reluctance to                     vulnerable populations, including                     and well-being of children. Other
                                              receive benefits for which they are                     pregnant women, children, people with                 commenters cited a study that predicted
                                              eligible will have a negative impact on                 disabilities, and the elderly. A couple of            the numbers of children who would
                                              public health and general welfare.                      commenters said the inclusion of                      disenroll from Medicaid and included
                                              Commenters expressed concern that the                   Medicare Part D would punish                          figures on the numbers of children with
                                              rule would undo historic gains in health                immigrants for accessing healthcare                   various medical conditions in need of
                                              coverage and associated positive health                 services. Another commenter said the                  medical attention. Healthcare providers
                                              outcomes over the past few years. Some                  proposed rule would dissuade                          said uninsured children would be less
                                              commenters stated that the proposed                     thousands of low-income residents in its              likely to receive preventative care and
                                              rule would result in immigrants staying                 state from seeking health coverage.                   necessary treatment, and generally
                                              away from social service agencies and                                                                         would be less healthy compared to
                                              will negatively impact health in many                   Effects on Vulnerable Populations                     children with health insurance. Several
                                              ways. Another commenter noted that                        Many commenters said that reduced                   commenters said that fewer children
                                              the rule will cause people to get sick or               enrollment in federal assistance                      with disabilities would receive home
                                              go hungry and indicated that                            programs would most negatively affect                 and community based services, because
                                              ‘‘penalizing’’ immigrants who utilize                   vulnerable populations, including                     Medicaid covers these services. Another
                                              benefits to support their family only                   people with disabilities, the elderly,                commenter said that many children
                                              worsens racial, gender, and economic                    children, survivors of sexual and                     receive critical dental services through
                                                                                                      domestic abuse, and pregnant women.
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                                              inequality.                                                                                                   Medicaid and that a lack of access to
                                                 A number of commenters cited the                     Some of these commenters suggested                    these services can cause oral diseases
                                              Kaiser Family Foundation study, which                   that the chilling effect associated with              that impact diet, emotional well-being,
                                              provided estimates on Medicaid/                         the proposed rule would cause                         sleep, and the ability to work and study.
                                              Children’s Health Insurance Program                     vulnerable individuals and families to                   Several commenters voiced concern
                                              (CHIP) disenrollment. The Kaiser                        avoid accessing services, even if they                about the adverse impact on Medicaid-
                                              Family Foundation estimated that if the                 are legally residing in the United States             funded health services in schools. A few
                                              proposed rule leads to Medicaid                         and not subject to the proposed rule.                 commenters provided data on the


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                                              funding school districts receive from                   research shows that U.S. citizens in the              that could potentially lead to increased
                                              Medicaid for school-based health                        household are less likely to obtain                   wait list times, rolling enrollment
                                              services and the numbers of students                    needed services such as health                        freezes, and other program cuts that
                                              who benefit from these programs. The                    insurance through Medicaid due to                     would impact the broader health
                                              commenters pointed out that this                        concerns about the immigration status                 system.
                                              funding is tied to the number of                        of other family members. A number of                     Response: With respect to the rule’s
                                              Medicaid-eligible students enrolled.                    commenters said the rule would                        potential ‘‘chilling effects’’ or
                                              Many commenters said the proposed                       discourage U.S. citizens who live in                  disenrollment impacts, DHS notes that
                                              rule’s exemption of school-based health                 mixed-status households from accessing                (1) the rule’s overriding consideration,
                                              services was insufficient given the larger              assistance programs for which they are                i.e., the Government’s interest as set
                                              repercussions of the chilling effect and                eligible, including Medicaid and CHIP,                forth in PRWORA, is a sufficient basis
                                              the likelihood that many children                       or deprive them of the benefits of those              to move forward; (2) it is difficult to
                                              would be disenrolled. Commenters said                   programs entirely.                                    predict the rule’s disenrollment impacts
                                              that schools would need to provide                                                                            with respect to the regulated
                                                                                                      Increased Costs to Health Care                        population, although DHS has
                                              healthcare and special education to
                                                                                                      Providers, States, and Localities                     attempted to do so in the accompanying
                                              children regardless of whether the
                                              school could request payment from                          Many commenters particularly                       Final Regulatory Impact Analysis; and
                                              Medicaid for such services. These                       emphasized that disenrollment or                      (3) it is also difficult to predict the rule’s
                                              commenters further stated that the                      foregoing enrollment would be                         disenrollment impacts with respect to
                                              school would need to use local funds to                 detrimental to the financial stability and            people who are not regulated by this
                                              cover the cost of services that Medicaid                economy of communities, States, local                 rule, although, again, DHS has
                                              would ordinary cover because parents                    organizations, hospitals, safety net                  attempted to do so in the accompanying
                                              would be unwilling to give consent to                   providers, foundations, and healthcare                Final Regulatory Impact Analysis.
                                              the school to enroll the children in                    centers. Commenters offering estimates                   First, as discussed above, this rule is
                                              Medicaid. Some commenters said                          on the number of people who would                     rationally related to the Government’s
                                              special education administrators                        disenroll from Medicaid under the                     interest, as set forth in PRWORA, to: (1)
                                              routinely engaged with families around                  proposed rule warned that the costs                   Minimize the incentive of aliens who
                                              issues related to health, wellness and                  associated with the resultant rise in                 attempt to immigrate to, or adjust status
                                              school attendance, and said the                         uncompensated care would be borne by                  in the United States due to the
                                              proposed rule would diminish many                       health systems, hospitals, and insured                availability of public benefits; and (2)
                                              students’ chances for academic success.                 patients. A commenter said that this                  Promote the self-sufficiency of aliens
                                              A commenter said that it was important                  situation presents an ethical dilemma                 within the United States.77 DHS has
                                              for schools to create safe, supportive                  for physicians counseling patients on                 defined public benefits by focusing on
                                              and inclusive communities, and that the                 treatment options, who are ‘‘already                  cash assistance programs for income
                                              proposed rule could undermine efforts                   beginning to field questions from                     maintenance, and an exhaustive list of
                                              to accomplish this goal. One commenter                  patients and are having to explain the                non-cash food, housing, and healthcare,
                                              said Medicaid covers behavioral                         immigration risks of using healthcare                 designed to meet basic living needs.
                                              treatments for children and that                        services.’’ A commenter citing research               This definition does not include
                                              providers often partner with schools                    that found a high percentage of                       benefits related exclusively to
                                              who are not equipped to provide these                   emergency room visits could be                        emergency response, immunization,
                                              targeted services. Two commenters said                  managed in physicians’ offices warned                 education, or social services, nor does it
                                              that the language of the proposed rule                  that the proposed rule would increase                 include exclusively state and local non-
                                              was concerning for children who                         costly emergency room usage.                          cash aid programs. DHS acknowledges
                                              receive services through the Early and                     A couple of commenters said that                   that individuals subject to this rule may
                                              Periodic Screening, Diagnostic and                      Medicaid was the largest source of                    decline to enroll in, or may choose to
                                              Treatment (EPSDT) program, which is a                   funding for community health centers                  disenroll from, public benefits for which
                                              federally mandated benefit that provides                and provided estimates of financial                   they may be eligible under PRWORA, in
                                              children with the routine and                           losses due to reduced Medicaid                        order to avoid negative consequences as
                                              preventive care services they need to                   reimbursement. A commenter said that                  a result of this final rule. However, DHS
                                              grow into healthy adults.                               Medicaid and CHIP were the                            has authority to take past, current, and
                                                                                                      underpinning for reimbursement for                    likely future receipt of public benefits
                                              Effects on U.S. Citizens                                pediatric subspecialists. Commenters                  into account, even where it may
                                                 Several commenters said that rule                    stated that the proposed rule would                   ultimately result in discouraging aliens
                                              would cause the greatest harm to U.S.                   impact their reimbursements and would                 from receiving public benefits.
                                              citizen children of immigrant parents.                  force them to cut patient services. One                  Although individuals may reconsider
                                              Many commenters said that U.S. citizen                  of these commenters cited a study on                  their receipt of public benefits as
                                              children need SNAP, CHIP, Medicaid,                     the anticipated reductions in services,               defined by this rule in light of future
                                              food stamps, and other public benefits                  which included an estimated $17 billion               immigration consequences, this rule
                                              to survive if their immigrant parents                   reduction in hospital payments. Other                 does not prohibit an alien from
                                              cannot afford such services, and U.S.                   commenters said that Medicaid enables                 obtaining a public benefit for which he
                                              citizen children have a right to these                  many individuals to access needed                     or she is eligible. DHS expects that
                                              benefits. A commenter said research                     behavioral health services and that a
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                                                                                                                                                            aliens seeking lawful permanent
                                              demonstrates that barriers to                           rise in uncompensated care will                       resident status or nonimmigrant status
                                              participation in public programs like                   diminish providers’ ability to render                 in the United States will make
                                              Medicaid that affect immigrants also                    these services. A commenter said                      purposeful and well-informed decisions
                                              have harmful spillover effects on U.S.                  reductions in federal funding for                     commensurate with the immigration
                                              citizens, because many U.S. citizens live               Medicaid and Medicare resulting from                  status they are seeking. But regardless,
                                              in mixed-status households. The                         decreased enrollment would force States
                                              commenter stated that in these cases,                   to increase funding levels, a challenge                 77 See   8 U.S.C. 1601.



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                                              DHS declines to limit the effect of the                 generally ineligible for SNAP benefits                  public charge inadmissibility. In the
                                              rulemaking to avoid the possibility that                and therefore, would not need to                        proposed rule, DHS provided an
                                              individuals subject to this rule may                    disenroll from SNAP to avoid negative                   exhaustive list of immigration
                                              disenroll or choose not to enroll, as self-             consequences.80 Once admitted, lawful                   classifications that are exempt from the
                                              sufficiency is the rule’s ultimate aim.                 permanent residents are generally                       public charge ground of inadmissibility,
                                                 Second, DHS finds it difficult to                    prohibited from receiving SNAP                          and this final rule retains those
                                              predict how this rule will affect aliens                benefits for a period of five years.81                  exemptions. DHS is including in the
                                              subject to the public charge ground of                  Notwithstanding the inclusion of SNAP                   Applicability section of this final rule
                                              inadmissibility, because data limitations               as a designated public benefit, DHS will                Tables 3 and 4 that are similar to those
                                              provide neither a precise count nor                     not consider for purposes of a public                   included in the NPRM, which also
                                              reasonable estimate of the number of                    charge inadmissibility determination                    reflect additional clarifications made in
                                              aliens who are both subject to the public               whether applicants for admission or                     this final rule with respect to T, U, and
                                              charge ground of inadmissibility and are                adjustment of status are receiving food                 VAWA aliens. This rule does not
                                              eligible for public benefits in the United              assistance through other programs, such                 prohibit or otherwise discourage
                                              States. This difficulty is compounded by                as exclusively state-funded programs,                   individuals who are not subject to the
                                              the fact that most applicants subject to                food banks, and emergency services, nor                 public charge inadmissibility from
                                              the public charge ground of                             will DHS discourage individuals from                    receiving any public benefits for which
                                              inadmissibility and therefore this rule                 seeking such assistance.                                they are eligible.
                                              are generally unlikely to suffer negative                  DHS recognizes a plausible                              Because DHS will not consider the
                                              consequences resulting from past                        connection between the NPRM and                         receipt of public benefits by U.S.
                                              receipt of public benefits because they                 reduction in alien enrollment in WIC to                 citizens and aliens not subject to public
                                              will have been residing outside of the                  the extent that aliens who are subject to               charge inadmissibility, the receipt of
                                              United States and therefore, ineligible to              public charge inadmissibility are also                  public benefits by these individuals will
                                              have ever received public benefits. For                 eligible to receive WIC benefits. While                 not be counted against or made
                                              example, most nonimmigrants and most                    DHS did not list WIC as a designated                    attributable to immigrant family
                                              immediate relative, family-sponsored,                   public benefit under proposed 8 CFR                     members who are subject to this rule.
                                              and diversity visa immigrants seek                      212.21(b), DHS also did not expressly                   Accordingly, DHS believes that it would
                                              admission to the United States after                    exclude WIC from consideration as a                     be unwarranted for U.S. citizens and
                                              issuance of a nonimmigrant or                           public benefit. Indeed, DHS sought                      aliens exempt from public charge
                                              immigrant visa, as appropriate.78 The                   public comments on whether an alien’s                   inadmissibility to disenroll from a
                                              majority of these individuals are likely                receipt of benefits other than those                    public benefit program or forego
                                              to have been ineligible for public                      proposed to be included in this rule as                 enrollment in response to this rule
                                              assistance in the United States, because                public benefits should nonetheless be                   when such individuals are not subject to
                                              they generally have resided abroad and                  considered in the totality of                           this rule. DHS will not alter this rule to
                                              are not physically present in the United                circumstances, which understandably                     account for such unwarranted choices.
                                              States.                                                 could have given the impression that                       DHS appreciates the potential effects
                                                 Aliens who are unlawfully present                    DHS was contemplating the inclusion of                  of confusion regarding the rule’s scope
                                              and nonimmigrants physically present                    WIC among other public benefits. This                   and effect, as well as the potential nexus
                                              in the United States also are generally                 final rule makes clear that WIC will not                between public benefit enrollment
                                              barred from receiving federal public                    be an enumerated public benefit under                   reduction and food insecurity, housing
                                              benefits other than emergency                           8 CFR 212.21(b).                                        scarcity, public health and vaccinations,
                                              assistance.79 For example, applicants for                  DHS also acknowledges that under                     education health-based services,
                                              admission and adjustment of status—are                  the NPRM, certain lawfully present                      reimbursement to health providers, and
                                                                                                      children and pregnant women 82 in                       increased costs to states and localities.
                                                 78 The United States admitted over 541 million
                                                                                                      certain states and the District of                      In response to comments, DHS will also
                                              nonimmigrants between Fiscal Years 2015 and                                                                     issue clear guidance that identifies the
                                              2017. See DHS, Yearbook of Immigration Statistics       Columbia might have chosen to
                                              2017, Table 25. Nonimmigrant Admissions by Class        disenroll from or forego enrollment in                  groups of individuals who are not
                                              of Admission: Fiscal Years 2015 to 2017, available      Medicaid if they are otherwise eligible                 subject to this rule, including, but not
                                              at https://www.dhs.gov/immigration-statistics/
                                                                                                      to maintain or pursue an immigration                    limited to, U.S. citizens, lawful
                                              yearbook/2017/table25. Among immediate relative,                                                                permanent residents returning from a
                                              family sponsored, and diversity visa immigrants         benefit and are subject to public charge
                                              who acquired lawful permanent resident status           inadmissibility. As noted above,                        trip abroad who are not considered
                                              between Fiscal Years 2015 and 2017, sixty-seven         however, this final rule exempts receipt                applicants for admission, and refugees.
                                              percent were admitted to the United States and                                                                     In addition, as explained in greater
                                              thirty-three percent adjusted their status in the       of Medicaid by such persons.
                                                                                                         Third, DHS finds it difficult to predict             detail elsewhere in this rule, DHS has
                                              United States. See DHS, Yearbook of Immigration
                                              Statistics 2017, Table 6, Persons Obtaining Lawful      the rule’s disenrollment impacts with                   made a number of changes in the final
                                              Permanent Resident Status by Type and Major Class       respect to people who are not regulated                 rule that may mitigate some of the
                                              of Admission: Fiscal Years 2015 to 2017, available
                                                                                                      by this rule, such as people who                        concerns raised by the public regarding
                                              at https://www.dhs.gov/immigration-statistics/                                                                  disenrollment impacts. For example,
                                              yearbook/2017/table6. The 2017 Yearbook of              erroneously believe themselves to be
                                              Immigration Statistics is a compendium of tables        affected. This rule does not apply to                   DHS has excluded the Medicare Part D
                                              that provide data on foreign nationals who are                                                                  LIS from the definition of public benefit
                                                                                                      U.S. citizens and aliens exempt from
                                              granted lawful permanent residence (i.e.,                                                                       because DHS has determined that
                                              immigrants who receive a ‘‘green card’’), admitted                                                              Medicare Part D benefits, including LIS,
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                                                                                                        80 See 8 U.S.C. 1611(a); 8 U.S.C 1612(a)(2)(D)(ii).
                                              as temporary nonimmigrants, granted asylum or
                                              refugee status, or are naturalized.                       81 See 8 U.S.C. 1613(a).                              are earned by working or being credited
                                                 79 DHS understands that certain aliens may be          82 U.S. Department of Health and Human                with 40 qualifying quarters of work and
                                              eligible for state-funded cash benefits. As there are   Services, Centers for Medicaid and Medicare             establishing eligibility for Medicare.
                                              multiple state, local, and tribal programs that may     Services, Medicaid and CHIP Coverage of ‘‘Lawfully      While children are not exempt from
                                              provide cash benefits, DHS does not have a specific     Residing’’ Children and Pregnant Women (July 1,
                                              list of programs or data on the number of aliens that   2010), https://www.medicaid.gov/Federal-Policy-
                                                                                                                                                              public charge inadmissibility, DHS has
                                              may be affected by the rule by virtue of their          Guidance/downloads/SHO10006.pdf (last visited           decided against the inclusion of CHIP in
                                              enrollment in such programs.                            May 7, 2019).                                           the definition of public benefit. DHS has


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                                              excluded from the public benefits                       compromise on immigration policy, and                 negatively affect immigrants who
                                              definition, public benefits received by                 is not a solution to immigration reform.              contribute to the American economy,
                                              children eligible for acquisition of                    Two other commenters said that the rule               including satisfying this country’s need
                                              citizenship, and Medicaid benefits                      is motivated by fear and greed.                       for younger workers. Several
                                              received by aliens under the age of 21                     Response: While immigration and                    commenters stated that immigrants take
                                              and pregnant women during pregnancy                     diversity have strengthened the United                jobs that Americans are not willing to
                                              and 60 days following the last day of                   States, DHS strongly disagrees that this              perform (e.g., landscaping, construction,
                                              pregnancy.                                              rule is motivated by fear or greed, or is             caregivers, manufacturing) and that
                                                 In sum, DHS does not believe that it                 un-American or immoral. DHS does not                  immigrants are hardworking and
                                              is sound policy to ignore the                           seek to frustrate the United States’ long-            contributing members that increase the
                                              longstanding self-sufficiency goals set                 standing commitment to family unity,                  diversity of our culture and
                                              forth by Congress or to admit or grant                  humanitarian relief, and religious                    communities.
                                              adjustment of status applications of                    liberty through this rule. DHS also                      Several commenters stated that use of
                                              aliens who are likely to receive public                 disagrees that this rule re-shapes,                   public benefits in a manner
                                              benefits designated in this rule to meet                penalizes, or impedes the overall flow of             commensurate with their purpose
                                              their basic living needs in an the hope                 legal immigration, and disagrees that the             should not be ‘‘punishable.’’ They
                                              that doing so might alleviate food and                  rule puts lawful permanent resident                   emphasized that immigrants want to
                                              housing insecurity, improve public                      status beyond the reach of working-class              work and be self-sufficient, but that
                                              health, decrease costs to states and                    and poor immigrant families. DHS                      immigrants access public assistance
                                              localities, or better guarantee health care             reiterates that this rule does not and                programs to help them through periods
                                              provider reimbursements. DHS does not                   cannot alter the process of obtaining                 of temporary hardship on the path to
                                              believe that Congress intended for DHS                  immediate relative, family-sponsored,                 self-sufficiency and successfully
                                              to administer section 212(a)(4) of the                  employment-based, diversity, or                       contributes to society just as U.S.
                                              Act, 8 U.S.C. 1182(a)(4), in a manner                   nonimmigrant visas, as required and                   citizens do, if not less so. They added
                                              that fails to account for aliens’ receipt of            permitted by law. Rather, this rule                   that immigrants often need public
                                              food, medical, and housing benefits so                  clarifies the standard by which DHS                   assistance due to insecure jobs,
                                              as to help aliens become self-sufficient.               will assess whether an alien subject to               inadequate wages, lack of employer-
                                              DHS believes that it will ultimately                    section 212(a)(4) of the Act, 8 U.S.C.                sponsored health insurance, the high
                                              strengthen public safety, health, and                   1182(a)(4), is inadmissible as likely to              cost of medical care and housing,
                                              nutrition through this rule by denying                  become a public charge at any time in                 inaccessibility of health insurance, and
                                              admission or adjustment of status to                    the future. Through this final rule, DHS              other societal barriers. Multiple
                                              aliens who are not likely to be self-                   seeks to better ensure that applicants are            commenters provided anecdotes about
                                              sufficient.                                             self-sufficient. Even if an applicant has             how they or their family member’s
                                                                                                      a low income, or belongs to a low-                    receipt of federal assistance helped
                                              6. Inconsistent With American Values
                                                                                                      income family, that is only one                       them or their children go on to thrive
                                              and Historic Commitment to Immigrants
                                                                                                      consideration in the totality of the                  and become productive members of
                                                 Comment: Several commenters said                     circumstances. Even if an applicant has               American society. Similarly, some
                                              the rule puts immigration and/or                        household income that falls below 125                 commenters told personal anecdotes
                                              obtaining ‘‘green cards’’ out of reach for              percent of FPG, DHS must consider the                 about their interactions with
                                              working class or poor immigrant                         applicant’s age, health, family status,               hardworking immigrants who rely on
                                              families and re-shapes, penalizes, or                   education, and skills in determining                  temporary public assistance to survive
                                              impedes legal immigration. Many                         whether the applicant is more likely                  and contribute to society. A few
                                              commenters said the rule goes against                   than not to become a public charge at                 commenters added that a large portion
                                              fundamental American values and                         any time in the future. DHS also notes                of U.S. born citizens would not meet the
                                              morality, including religious values and                that the public charge inadmissibility                public charge standards proposed by
                                              principles of faith, upon which this                    ground does not apply to all applicants               DHS.83
                                              nation was built. Many commenters                       who are seeking a visa, admission, or                    Response: DHS believes that
                                              stated the importance of diversity and                  adjustment of status. Congress                        immigrants, in general, make significant
                                              immigration to United States’ history                   specifically exempted certain groups,                 contributions to American society and
                                              and strength, and expressed that the                    e.g., refugees and asylees at the time of             enhance the culture of American life
                                              rule would fundamentally change our                     admission and adjustment of status,                   and communities. DHS also recognizes
                                              nation’s historic commitment to                         pursuant to sections 207(c)(3) and                    that public assistance programs provide
                                              welcoming immigrants where the                          209(c) of the Act, 8 U.S.C. 1157(c)(3),               food and nutrition, housing, and
                                              United States would no longer be the                    1159(c).                                              healthcare, and other benefits that meet
                                              country that serves as a beacon for the                                                                       individual needs, serve the public
                                              world’s dreamers and strivers. Many                     7. Contributions to American Society
                                                                                                      and Consideration of Self-Sufficiency                 interest, and help people to become
                                              commenters pointed out that many                                                                              productive members of society. The
                                              immigrants here today would not have                       Comment: Commenters stated that
                                                                                                                                                            relevant inquiry that this rule aims to
                                              been able to enter the country under the                immigrants already significantly
                                                                                                                                                            address, however, is whether an
                                              proposed rule. Several commenters said                  contribute to the economy, citing IRS
                                                                                                                                                            applicant who is subject to the public
                                              that the United States should be                        data showing how much income tax the
                                                                                                                                                            charge ground of inadmissibility is
                                              receptive to those seeking a better life in             IRS received from immigrants and
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                                                                                                                                                            likely to become a public charge at any
                                              the United States and should not seek                   undocumented workers. Many
                                                                                                                                                            time in the future. DHS believes that an
                                              to penalize them, especially to those                   commenters said that DHS should
                                                                                                                                                            alien who uses certain types of public
                                              fleeing violence. One commenter stated                  evaluate immigrants based on their
                                                                                                                                                            benefits for the more than 12 months
                                              that the rule will force more people to                 contributions to communities in the
                                              live in the shadows. Two commenters                     United States and not based on their                    83 USCIS–2010–0012–0151; USCIS–2010–0012–
                                              expressed that the rule is scapegoating,                income level or financial status. Many                0264; USCIS–2010–0012–1689; USCIS–2010–0012–
                                              is the result of Congress’ failure to                   commenters stated that the rule would                 13212 (Form Letter Master).



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                                              within a 36 month period of time can                    during the time they could not legally                 Because each case will be determined
                                              reasonably be said to lack self-                        work.                                                  on its own merits, and applicants’
                                              sufficiency because her or she cannot                     A commenter wrote that the backlog                   individual circumstances will vary, it is
                                              meet his or her basic living needs. DHS                 for adjustment of status reviews was                   reasonable to expect that public charge
                                              has limited the type of public benefits                 already significant, and new                           inadmissibility determinations will
                                              to generally means-tested benefits that                 requirements in the proposed rules                     vary.
                                              provide cash for income maintenance or                  would simply exacerbate those                             Additionally, while the rule may
                                              meet the basic living needs of food and                 conditions. A commenter stated that                    increase USCIS processing times, such
                                              nutrition, housing, and healthcare. DHS                 immigration officers and consular                      is the burden of robust enforcement of
                                              believes that receipt of these public                   officers will have a limited amount of                 the law. USCIS is committed to timely,
                                              benefits alone for more than 12 months                  time to properly review documents and                  accurate, and lawful adjudications, and
                                              in the aggregate within any 36-month                    employment letters, and will not                       plans to increase resources for affected
                                              period suggests a lack of self-                         undertake an effective, case-by-case                   applications as appropriate. USCIS, as a
                                              sufficiency, as such receipt exceeds                    appraisal of applications. Similarly,                  fee funded agency, may set fees to
                                              what could reasonably be defined as a                   supervising officers will not have                     support the additional workload
                                              nominal or temporary need.                              enough time to review each denial                      associated with adjudication of cases
                                                                                                      thoroughly.                                            subject to section 212(a)(4) of the Act, 8
                                              8. Adjudication and Processing                            Response: As noted by commenters,                    U.S.C. 1182(a)(4). USCIS officers will
                                                 Comment: Multiple commenters                         this rule is not binding on the                        receive training on the new standards
                                              stated that the rule would exacerbate                   immigration courts or the Board of                     set forth in this final rule, which will
                                              USCIS and immigration court                             Immigration Appeals (BIA). It is DHS’s                 include training on how to treat public
                                              processing backlogs. Other commenters                   understanding that DOJ is developing a                 benefits received before the effective
                                              stated that the proposed rule outlined a                public charge proposed rule, which                     date of this rule. Any increases to
                                              process that was confusing at best, and                 would address DOJ’s standard for                       adjudication time will not affect an
                                              would increase the number of appeals                    assessing public charge inadmissibility                applicant’s ability to apply for an
                                              and deepen nationwide immigration                       and deportability. DHS will work with                  employment authorization document if
                                              processing delays. Similarly, several                   DOJ to ensure consistent application of                otherwise eligible.85
                                                                                                      the public charge ground of                               Finally, with respect to comments
                                              commenters said the rule, while not
                                                                                                      inadmissibility. DHS reiterates,                       regarding visa processing time for
                                              binding on the immigration courts,
                                                                                                      however, that this final rule pertains                 consular officers, DHS believes that
                                              would further exacerbate an already
                                                                                                      only to public charge inadmissibility                  such matters are more appropriately
                                              record high case volume in the
                                                                                                      determinations made by DHS for                         addressed by DOS. This rule only
                                              immigration courts. They further
                                                                                                      applicants seeking admission or                        addresses DHS’s public charge
                                              expressed concerns that increased
                                                                                                      adjustment of status, public charge                    inadmissibility determinations in
                                              evidentiary requirements, heightened
                                                                                                      bonds, as well the conditions DHS has                  applications for admission or
                                              scrutiny, and uncertainty as to what
                                                                                                      set for nonimmigrants applying for an                  adjustment of status. However, it is
                                              standard to apply, will delay
                                                                                                      extension of stay or change of status                  DHS’s understanding that DOS will
                                              adjudications, add to the backlog and                                                                          update its FAM to ensure consistency
                                              result in inconsistent outcomes. One                    with USCIS. DHS believes that concerns
                                                                                                      about DOJ’s adjudication of cases                      with the DHS rule.
                                              commenter said that this rule will                                                                                Comment: Many commenters
                                              further delay visa processing. Some                     pending before immigration courts,
                                                                                                                                                             addressed concerns about the
                                              commenters asserted that the proposed                   including immigration court backlogs,
                                                                                                                                                             adjudication of extension of stay and
                                              changes would greatly complicate the                    are more appropriately addressed by                    change of status applications,
                                              adjudication process by placing a                       DOJ in the context of their public charge              adjudication delays, and the uncertainty
                                              greater burden on individuals who will                  rulemaking.                                            of being able to obtain a future status
                                              be required to provide more evidence                      With respect to commenters’ concerns                 when seeking an extension of stay or
                                              and paperwork to establish that they are                that the DHS final rule would result in                change of status. Some commenters
                                              not likely at any time to become a                      inconsistent outcomes, DHS disagrees                   stated that the proposed rule failed to
                                              public charge and will require                          with the assertion that the rule will lead             identify the potential Request for
                                              adjudicators to spend more time sifting                 to inconsistent determinations, or that it             Evidence (RFE) and denial rate for
                                              through and verifying information.                      creates confusion, in a way that is at all             applicants. Similarly, commenters
                                              Several commenters stated that the                      inconsistent with congressional intent.                stated that the proposed rule’s RFE
                                              rule’s heightened evidentiary                           Given the wording of section 212(a)(4)                 provision would cause significant
                                              requirements and totality of the                        of the Act, 8 U.S.C. 1182(a)(4), which                 uncertainty for employers, create
                                              circumstances standard would                            states that the public charge                          obstacles to effective business planning,
                                              exacerbate backlogs and cause                           inadmissibility determination is ‘‘in the              and increase costs for employers
                                              uncertainty in adjudications.                           opinion of’’ the Attorney General and                  because of potential processing delays
                                                 Several commenters provided data on                  based on consideration of a range of                   and backlogs. Many commenters raised
                                              current processing times and estimated                  circumstances particular to the alien,                 concerns about adjudication delays for
                                              processing times under the proposed                     DHS believes that the determination is                 workers and other nonimmigrant
                                              rule. Commenters stated that families                   inherently subjective in nature.84                     categories, such as H–2A nonimmigrant
                                              would suffer the consequences of case                                                                          workers and their employers, and other
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                                                                                                        84 See Matter of Harutunian, 14 I&N Dec. 583, 588
                                              processing delays such as job loss and                  (Reg’l Cmm’r 1974) (‘‘[T]he determination of
                                                                                                                                                             categories.
                                              food insecurity. Several commenters                     whether an alien falls into that category [as likely
                                              cited studies and stated that the                       to become a public charge] rests within the            review.’’ (citation omitted)); Matter of Martinez-
                                              increased processing times would                        discretion of the consular officers or the             Lopez, 10 I&N Dec. 409, 421 (Att’y Gen. 1962)
                                                                                                      Commissioner . . . Congress inserted the words ‘in     (‘‘[U]nder the statutory language the question for
                                              hinder immigrants’ ability to become or                 the opinion of’ (the consul or the Attorney General)   visa purposes seems to depend entirely on the
                                              remain self-sufficient because the delays               with the manifest intention of putting borderline      consular officer’s subjective opinion.’’).
                                              could financially impair immigrants                     adverse determinations beyond the reach of judicial       85 8 CFR 274a.12(c)(9).




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                                                 Response: DHS does not anticipate                      resources to pay for reasonably                         E. General Comments Regarding Legal
                                              any significant processing delays in the                  foreseeable medical costs.                              Authority and Statutory Provisions
                                              adjudication of extension of stay and                        In other words, DHS will be relying                  1. Lack of Statutory Authority/
                                              change of status requests filed by or on                  on existing medical reports and                         Inconsistent With Congressional Intent
                                              behalf of nonimmigrants based on the                      information submitted with the alien’s
                                              new conditions imposed in the rule                                                                                   Comment: Several commenters said
                                                                                                        applications; such information, once                    DHS lacks statutory authority to
                                              relating to the past and current receipt
                                                                                                        submitted by the alien, will become a                   promulgate the NPRM. Multiple
                                              of public benefits. This is especially so
                                              in light of that fact that DHS is removing                part of the alien’s administrative record.              commenters stated the rule is an over-
                                              the requirement that an officer assess                    Such data is collected and maintained                   reach, requires congressional
                                              the alien’s likelihood of receiving public                consistent with the Privacy Act of                      consideration, involvement, or
                                              benefits in the future and that USCIS                     1974 87 (Privacy Act) and the System of                 approval, and that only Congress can
                                              will no longer seek to request that the                   Records Notice (SORN), which                            enact such specific policy changes. One
                                              alien submit Form I–944. Overall, DHS                     identifies the purpose for which                        commenter stated that the rule’s attempt
                                              is committed to ensuring that USCIS has                   Personally Identifiable Information (PII)               to change public charge policy in a
                                              the necessary resources to provide for                    is collected, from whom and what type                   regulation rather than in legislation is
                                              the timely adjudication of immigration                    of PII is collected, how the PII is shared              inconsistent with the Administration’s
                                              benefits. Additionally, USCIS believes                    externally (routine uses), and how to                   stated goal to reduce the power of
                                              that the number of RFEs actually issued                   access and correct any PII maintained                   administrative agencies.
                                              relating to these rule changes will be                    by DHS.88                                                  Response: The public charge
                                              relatively small as long as the employers                                                                         inadmissibility rule is within DHS’s
                                                                                                           Additionally, while USCIS is                         authority and does not require
                                              and petitioners/beneficiaries submit                      generally not a covered entity bound by
                                              properly documented petition.                                                                                     congressional action. The Secretary has
                                                                                                        HIPAA,89 USCIS complies with the                        the authority to enforce and administer
                                              9. Privacy Concerns                                       Privacy Act in safeguarding information                 the immigration laws of the United
                                                                                                        in the applicable systems of records.                   States.92 The Secretary is also
                                                Comment: A commenter expressed
                                                                                                        Such information is generally                           authorized to prescribe regulations,
                                              concern about the lack of clarity on how
                                              DHS plans to use, store, access and                       confidential and is used primarily for                  forms, and instructions necessary to
                                              protect the health data it receives. The                  immigration purposes.90 The data is                     carry out the authority provided in
                                              commenter stated that copies of medical                   collected and kept in an alien’s                        section 103(a)(1) of the Act, 8 U.S.C.
                                              records provided by applicants may                        administrative record consistent with                   1103(a)(1).93 Additionally, the Secretary
                                              contain highly sensitive information                      the Privacy Act,91 which applies to                     is charged with administering the public
                                              unrelated to the immigration                              information that is maintained in a                     charge ground of inadmissibility.
                                              application or the likelihood of the                      ‘‘system of records’’ from which                        Therefore, this rule does not exceed or
                                              person becoming a public charge. A few                    information is retrieved by the name of                 overreach the Secretary’s authority, and
                                              commenters expressed concern that the                     an individual or by some identifying                    further, does not require congressional
                                              proposed rule’s use of health insurance                   number, symbol, or other identifying                    involvement, consideration, or
                                              information and data raises data and                      particular assigned to the individual.                  approval.
                                              privacy concerns, stating USCIS would                                                                                This public charge inadmissibility
                                              accumulate an overbroad body of data,                                                                             rule is a permissible implementation of
                                                                                                          87 See  5 U.S.C. 552.
                                              and this could violate the Health                                                                                 the public charge inadmissibility statute
                                                                                                          88 See  generally Notice of Modified Privacy Act
                                              Insurance Portability and                                                                                         enacted by Congress.94 The public
                                                                                                        System of Records, 82 FR 43556, 43564 (Sept. 18,        charge inadmissibility rule provides
                                              Accountability Act (HIPAA).                               2017) (‘‘DHS/USCIS safeguards records in this
                                                Response: DHS rejects the comment                       system according to applicable rules and policies,
                                                                                                                                                                important guidance for purposes of
                                              that the rule raises data and privacy                     including all applicable DHS automated systems          implementing the statute, including by
                                              concerns that could violate HIPAA.                        security and access policies. USCIS has imposed         defining statutory terms that have never
                                              Congress mandated that DHS consider                       strict controls to minimize the risk of compromising    been defined by Congress in the over
                                              an applicant’s health as part of every                    the information that is being stored.’’).               100 years since the public charge
                                              public charge inadmissibility
                                                                                                           89 See 45 CFR 160.103.
                                                                                                                                                                inadmissibility ground first appeared in
                                              determination.86 In order to assess an
                                                                                                           90 See also E.O. No. 13768, Enhancing Public
                                                                                                                                                                the immigration laws.
                                                                                                        Safety in the Interior of the United States 82 FR          DHS believes the terms set forth in the
                                              alien’s health in the totality of the                     8799, 8802 (Jan. 30, 2017). Section 14 of E.O. 13768    public charge inadmissibility ground
                                              circumstances, DHS will generally rely                    limits the rights and protections of the Privacy Act,
                                                                                                                                                                need clarification so that DHS can
                                              on medical information provided by                        subject to applicable law, to U.S. citizens and
                                                                                                                                                                consistently adjudicate applications
                                              civil surgeons on the Report of Medical                   lawful permanent residents. See also DHS Privacy
                                                                                                        Policy Regarding Collection, Use, Retention, and        subject to public charge inadmissibility
                                              Examination and Vaccination Record
                                                                                                        Dissemination of Personally Identifiable                determinations in a manner that better
                                              (Form I–693), or report of a panel
                                                                                                        Information (Apr. 25, 2017), https://www.dhs.gov/       ensures aliens are self-sufficient and not
                                              physician, to assess whether the alien                    sites/default/files/publications/PPGM%202017-           reliant on the government (i.e., public
                                              has been diagnosed with a medical                         01%20Signed_0.pdf (last visited May 8, 2019). The       benefits) for assistance to meet their
                                              condition that is likely to require                       latter memorandum sets out DHS policy requiring         basic needs.95
                                              extensive medical treatment or                            that decisions regarding the collection,
                                                                                                                                                                   Finally, DHS disagrees that the public
                                              institutionalization, or that will interfere              maintenance, use, disclosure, retention, and
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                                                                                                        disposal of information being held by DHS must be
                                                                                                                                                                charge rule is inconsistent with the
                                              with the alien’s ability to provide and
                                                                                                        consistent with and take into consideration the Fair    Administration’s goals to reduce the
                                              care for himself or herself, to attend
                                                                                                        Information Practice Principles: Transparency,          role of executive agencies. The rule’s
                                              school, or to work, upon admission or
                                                                                                        Individual Participation, Purpose Specification,
                                              adjustment of status. DHS will also                       Data Minimization, Use Limitation, Data Quality          92 INA  section 103(a)(1), 8 U.S.C. 1103(a)(1).
                                              consider whether the alien has                            and Integrity, Security, and Accountability and          93 INA  section 103(a)(3), 8 U.S.C. 1103(a)(3).
                                                                                                        Auditing.                                                94 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4).
                                                86 See   INA 212(a)(4), 8 U.S.C. 1182(a)(4).               91 See 5 U.S.C. 552.                                  95 See 8 U.S.C. 1601.




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                                              aims are consistent with the                            receipt of such benefits could render the             discussed in greater detail in the section
                                              Administration’s goal of rigorously                     alien inadmissible as likely to become a              addressing the regulatory definition of
                                              enforcing all grounds of                                public charge’ . . . strains credulity and            public charge, DHS believes that its
                                              inadmissibility.96                                      is simply not a reasonable interpretation             definition is consistent with what it
                                                 Comment: A number of commenters                      of the statutes, as required by Chevron,              means to be a public charge—a lack of
                                              stated that the rule is generally                       U.S.A., Inc. v. Nat. Res. Def. Council,               self-sufficiency and a need to rely on the
                                              inconsistent with Congress’ intent and                  Inc., 467 U.S. 837 (1984).’’                          government for support. DHS believes
                                              past policies. Commenters said the                         Response: This rule is not                         that its rigorous and fair regulatory
                                              proposed rule is a significant,                         inconsistent with Congress’ intent in                 framework will ensure that aliens
                                              unjustified change from the current                     enacting the public charge ground of                  coming to or opting to stay in the United
                                              public charge policy. One commenter                     inadmissibility in IIRIRA, or in enacting             States permanently are self-sufficient.
                                              said that DHS should not re-interpret a                 PRWORA. DHS believes that the policy                  DHS explains the basis for its
                                              term that Congress had left undefined,                  goals articulated in PRWORA and                       interpretation of the term ‘‘public
                                              and said that if future administrations                 underlying the creation of the                        charge’’ more fully below.
                                              similarly revised policy based on their                 mandatory factors for public charge                      DHS also disagrees with commenters
                                              understanding of congressional intent,                  inadmissibility determinations in                     that this rule changes federal and state
                                              such policy would ‘‘change wildly with                  IIRIRA inform DHS’s administrative                    decision-making regarding aliens’ access
                                              every administration,’’ and would result                implementation of the public charge                   to public benefits. The rule itself does
                                              in ‘‘vast inconsistencies in the law.’’ A               ground of inadmissibility. When passing               not prohibit any eligible alien or citizen
                                              commenter specifically stated that the                  IIRIRA, Congress added factors to                     from accessing public benefits for which
                                              rule is an ‘‘unlawful attempt to rewrite                consider in public charge                             they qualify. As explained above, DHS
                                              Congress’s rules’’ and that DHS cannot                  inadmissibility determinations in                     has the legal authority to promulgate the
                                              ‘‘exercise its authority in a manner that               section 212(a)(4) of the Act, 8 U.S.C.                rule and believes the rule provides
                                              is inconsistent with the administrative                 1182(a)(4)), but left it to DHS and DOJ               needed guidance to determine whether
                                              structure that Congress enacted into                    to specify how and which public                       an alien is inadmissible as likely to
                                              law’’ and needs to comply with                          benefits should be considered in a                    become a public charge.
                                              Congress’s intent in creating the public                public charge inadmissibility                            Comment: One commenter stated that
                                              charge inadmissibility ground. One                      determination.97 In the same year,                    ‘‘[c]ontrary to DHS’s interpretation, the
                                              commenter said the proposed rule                        Congress passed PRWORA with the                       enactment of PRWORA and section
                                              would effectively overturn decades of                   clear intent to promote self-sufficiency              212(a)(4) of the Act, 8 U.S.C. 1182(a)(4),
                                              congressional and State decision-                       of those entering the United States and               close in time suggests that Congress
                                              making regarding alien access to public                 to ensure that public benefits do not                 assumed that receipt of these public
                                              benefits with one unilateral executive                  provide an incentive for immigration to               benefits would not be counted against a
                                              action. Multiple commenters said the                    the United States.98 This public charge               person in determining whether the
                                              rule is contrary to, or inconsistent with,              inadmissibility rule, in accordance with              individual is likely to become a public
                                              current law, congressional intent, and                  PRWORA, disincentivizes immigrants                    charge.’’ A commenter stated that the
                                              the traditional interpretation of public                from coming to the United States in                   rule is ‘‘an intentional attempt at using
                                              charge, as well as inconsistent with the                reliance on public benefits.99 As                     the specific language within PRWORA
                                              history of how public charge has been                   explained in the NPRM and this final                  as justification for a new, more
                                              understood. One commenter noted that                    rule, DHS agrees that this rule takes a
                                                                                                                                                            restrictive rule which would override
                                              DHS’s contention that ‘‘Congress ‘must                  different approach to interpreting the
                                                                                                                                                            portions of PRWORA.’’ Other
                                              have recognized that it made certain                    public charge ground of inadmissibility
                                                                                                                                                            commenters stated that the proposed
                                              public benefits available to some aliens                than the 1999 Interim Field Guidance.
                                                                                                                                                            rule is unnecessary in light of
                                              who are also subject to the public charge               In the NPRM, DHS acknowledged that it
                                                                                                                                                            PRWORA’s restrictions on access to
                                              ground of inadmissibility, even though                  was making a change and provided a
                                                                                                                                                            benefits to certain immigrants and their
                                                                                                      detailed explanation and justification
                                                                                                                                                            families. One commenter noted that in
                                                 96 See, e.g., Memorandum from the President to       for that change. Therefore, DHS
                                                                                                                                                            advancing the Administration’s goals,
                                              the Secretary of State, the Attorney General, and the   disagrees that these changes are
                                              Secretary of Homeland Security, Implementing                                                                  the rule undercuts Congress’ original
                                                                                                      unjustified.
                                              Immediate Heightened Screening and Vetting of                                                                 intent in creating nutrition, health, and
                                              Applications for Visas and Other Immigration               With respect to commenter statements
                                                                                                                                                            human services programs.
                                              Benefits, Ensuring Enforcement of All Laws for          that the rule departs from the historical
                                                                                                                                                               Response: The public charge
                                              Entry Into the United States, and Increasing            and traditional understanding of what it
                                              Transparency Among Departments and Agencies of                                                                inadmissibility rule is not inconsistent
                                                                                                      means to be a public charge, DHS
                                              the Federal Government and for the American                                                                   with PRWORA, nor does it contravene
                                              People, 82 FR 16279, 16280 (Apr. 3, 2017) (‘‘I direct   disagrees. As an initial matter, this is
                                                                                                                                                            PRWORA’s requirements. When passing
                                              the Secretary of State, the Attorney General, the       the first time that DHS is defining in
                                                                                                                                                            IIRIRA in 1996, Congress added the
                                              Secretary of Homeland Security, and the heads of        regulation an ambiguous terms that
                                              all other relevant executive departments and                                                                  mandatory factors to be considered in
                                                                                                      Congress itself left undefined. As
                                              agencies (as identified by the Secretary of                                                                   public charge inadmissibility
                                              Homeland Security) to rigorously enforce all                                                                  determinations to section 212(a)(4) of
                                                                                                        97 See Public Law 104–208, div. C, sec. 531, 110
                                              existing grounds of inadmissibility and to ensure
                                              subsequent compliance with related laws after           Stat. 3009–546, 3009–674 (Sept. 30, 1996)             the Act, 8 U.S.C. 1182(a)(4), but left
                                              admission. The heads of all relevant executive          (amending INA section 212(a)(4), 8 U.S.C.             discretion to the relevant agencies,
                                              departments and agencies shall issue new rules,         1182(a)(4)).                                          including DHS, to interpret those
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                                                                                                        98 See Public Law 104–193, section 400, 110 Stat.
                                              regulations, or guidance (collectively, rules), as                                                            factors, including how to incorporate a
                                              appropriate, to enforce laws relating to such           2105, 2260 (Aug. 22, 1996) (codified at 8 U.S.C.
                                              grounds of inadmissibility and subsequent               1601).                                                consideration of public benefit receipt
                                              compliance. To the extent that the Secretary of           99 See Lewis v. Thompson, 252 F.3d 567, 583–84      into the public charge inadmissibility
                                              Homeland Security issues such new rules, the            (2d Cir. 2001) (‘‘it is reasonable for Congress to    determination. As discussed in the
                                              heads of all other relevant executive departments       believe that some aliens would be less likely to      NPRM, consideration of receipt of
                                              and agencies shall, as necessary and appropriate,       hazard the trip to this country if they understood
                                              issue new rules that conform to them.’’ (emphasis       that they would not receive government benefits
                                                                                                                                                            public benefits was part of the public
                                              added)).                                                upon arrival . . . .’’)                               charge determination before Congress


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                                              passed IIRIRA and PRWORA.100 At the                     deportability in the version that passed                previously excluded benefits for
                                              same time that Congress added                           the U.S. Senate that included Medicaid                  decades, is contrary to congressional
                                              mandatory factors to be considered in                   and food stamps (now SNAP), among                       intent. One commenter stated that the
                                              the public charge inadmissibility                       other programs, in the list of public                   rule is inconsistent with congressional
                                              analysis, Congress passed PRWORA,                       benefits that were considered one of the                intent, which ‘‘recognizes the
                                              establishing eligibility restrictions for               grounds of deportability for public                     importance of access to preventive care
                                              aliens receiving public benefits with the               charge.104 DHS notes that the Senate-                   and nutrition benefits for all people,
                                              clear intent to promote the self-                       passed bill would not have amended the                  including immigrants.’’
                                              sufficiency of those entering the United                public charge ground of                                    Response: DHS acknowledges that
                                              States and to ensure that public benefits               inadmissibility.105 Additionally, the                   this rule is a departure from the 1999
                                              do not provide an incentive for                         administration of the public charge                     Interim Field Guidance. DHS also
                                              immigrants to come to the United                        inadmissibility ground under this rule is               acknowledges that some aliens subject
                                              States.101 Congress did nothing,                        significantly different from the public                 to this rule will need to make decisions
                                              however, to constrain DHS (then INS)                    charge deportability provisions                         with respect to the receipt of public
                                              from considering the receipt of public                  considered by the Senate. The proposed                  benefits for which they are eligible.
                                              benefits in a public charge                             ground of deportability, for instance,                  Ultimately, however, DHS does not
                                              inadmissibility determination as INS                    made aliens automatically deportable                    believe that its inclusion of previously-
                                              had done previously. In light of this                   (with certain exceptions) if they                       excluded benefits is contrary to
                                              history, DHS’s proposed public charge                   received certain public benefits,                       congressional intent, particularly with
                                              rule is consistent with the principles of               including Medicaid and food stamps,                     respect to access to preventive care and
                                              PRWORA and aligns this regulation to                    for 12 months within five years of                      nutrition benefits. In fact, DHS believes
                                              those principles. As such, this public                  admission. This rule, by contrast,                      it would be contrary to congressional
                                              charge rule is rationally related to                    focuses on future receipt of public                     intent to promulgate regulations that
                                              Congress’ intent to create a disincentive               benefits for more than 12 months in the                 encourage individuals subject to this
                                              for immigrants to rely on public benefits               aggregate in a 36-month period. The                     rule to rely on any of the designated
                                              if they are seeking admission to the                    prospective nature of the determination                 public benefits, or to ignore their receipt
                                              United States,102 and a permissible                     under this rule renders the definition                  of such benefits, as this would be
                                              interpretation of section 212(a)(4) of the              significantly different. With respect to                contrary to Congress’s intent in ensuring
                                              Act, 8 U.S.C. 1182(a)(4).                               past receipt, this rule requires DHS to                 that aliens within the United States are
                                                 Comment: One commenter stated that                   evaluate such receipt as one of several                 self-sufficient and rely on their own
                                              the rule is inconsistent with                           factors to be considered in the totality                resources and capabilities, and those of
                                              congressional intent set forth in the                   of circumstances. This rule therefore                   their family, sponsors, and private
                                              IIRIRA Conference Report, because that                  does not impose the provision included                  organizations.108
                                              report noted that certain benefits, such                in the Senate-passed bill that Congress                    To the extent that commenters are
                                              as public health, nutrition, and in-kind                had rejected.106                                        concerned with the consequences of
                                              community service programs, should                         DHS notes that the quotation from                    receipt of previously-excluded public
                                              not be included in the prohibition on                   IIRIRA Conference Report 107 does not                   benefits, DHS notes that it is not
                                              aliens receiving public benefits.103                    relate to public charge inadmissibility,                considering an alien’s receipt of
                                              Other commenters stated that when                       but to PRWORA and exceptions to the                     previously excluded public benefits in
                                              Congress expanded the definition of                     prohibition on aliens accepting certain                 the public charge inadmissibility
                                              ‘‘public charge’’ in 1996, it rejected a                public benefits. While language in a                    determination, if such receipt occurred
                                              definition of ‘‘public charge’’ that would              Conference Report, especially when                      before the effective date of this final rule
                                              have included food and healthcare                       discussing a separate piece of                          and receipt of such benefits was not
                                              assistance; thus, expanding the                         legislation, is not binding, the rule is not            considered under the 1999 Interim Field
                                              definition of ‘‘public charge’’ to include              inconsistent with the language in the                   Guidance.109 However, DHS is
                                              such assistance would ignore Congress’                  report because the public benefits                      considering an alien’s receipt of public
                                              legislative intent.                                     covered by the rule do not include those                benefits that were included in the 1999
                                                 Response: It is not clear what the                   excepted under PRWORA.                                  Interim Field Guidance and received
                                              commenters are referencing when                            Comment: Commenters stated that                      prior to the effective date of the rule as
                                              referring to Congress’ rejection of a                   reversing the policies set forth in the                 a negative factor in the totality of the
                                              definition of public charge that included               1999 Interim Field Guidance, which                      circumstances analysis. DHS also is not
                                              food and healthcare assistance. It may                  have allowed immigrants to rely on the                  considering past receipt of public
                                              be a reference to the proposed ground of                                                                        benefits by an alien if such receipt
                                                                                                         104 H.R. 2202, 104th Cong. sec. 202 (as amended      occurred while the alien was in a
                                                100 See  Inadmissibility on Public Charge Grounds,    and passed by Senate, May 2, 1996).                     classification or status that was exempt
                                              83 FR 51114, 51158 (proposed Oct. 10, 2018) (‘‘In          105 See H.R. 2202, 104th Cong. sec. 202 (as
                                                                                                                                                              from public charge inadmissibility or for
                                              Matter of Martinez-Lopez, the Attorney General          amended and passed by Senate, May 2, 1996).
                                              indicated that public support or the burden of             106 See Hamdan v. Rumsfeld, 548 U.S. 557, 579–
                                                                                                                                                              which a waiver of public charge
                                              supporting the alien being cast on the public was       80 (2006) (‘‘Congress’ rejection of the very language   inadmissibility was received.
                                              a fundamental consideration in public charge            that would have achieved the result the                    Comment: Some commenters stated
                                              inadmissibility determinations’’); Matter of            Government urges here weighs heavily against the        that DHS only has the authority to
                                              Martinez-Lopez, 10 I&N Dec. 409, 421 (Att’y Gen.        Government’s interpretation.’’); see also
                                              1964).                                                                                                          administer individual reviews of an
                                                                                                      Competitive Enterprise Inst. v. U.S. Dep’t of
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                                                 101 See 8 U.S.C. 1601.
                                                                                                      Transp., 863 F.3d 911, 917 (DC Cir. 2017)               applicant’s likelihood of becoming
                                                 102 See Lewis v. Thompson, 252 F.3d 567, 583–        (‘‘Congressional inaction lacks persuasive              dependent on the government in the
                                              84 (2d Cir. 2001) (‘‘it is reasonable for Congress to   significance because several equally tenable            future, and cannot consider government
                                              believe that some aliens would be less likely to        inferences may be drawn from such inaction,             expenditures on means-tested programs.
                                              hazard the trip to this country if they understood      including the inference that the existing legislation
                                              that they would not receive government benefits         already incorporated the offered change.’’ (citations   One of these commenters suggested that
                                              upon arrival . . . .’’).                                and internal quotations omitted)).
                                                 103 See H.R. Rep. No. 104–828, at 238 (1996)            107 See H.R. Rep. No. 104–828, at 238 (1996)          108 See   8 U.S.C. 1601(2)(A).
                                              (Conf. Rep.).                                           (Conf. Rep.).                                            109 See   8 CFR 212.22(d).



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                                              to the extent DHS is considering                        rejecting the 1999 Interim Field                      DHS followed accepted practices for
                                              aggregate costs of public benefits, it also             Guidance and making a massive change                  making inferences at a 95 percent
                                              should consider aggregate benefits. This                in the agency’s interpretation of federal             confidence level.
                                              commenter suggested that DHS abandon                    law.’’ The commenter stated that DHS                     DHS also explained that the 1999
                                              its effort to use public charge reform as               failed to provide an explanation as to                Interim Field Guidance failed to offer
                                              a back door means of realizing the                      why the interpretation used for the last              meaningful guidance for purposes of
                                              political goals of reducing government                  20 years is inappropriate, or to justify              considering the mandatory factors and
                                              expenditures on means-tested programs                   the particular articulation of resource               was therefore ineffective in guiding
                                              authorized by Congress. Another                         and health factors contained in the rule.             adjudicators in making a totality of the
                                              commenter stated that whether or not                    Many commenters stated that the rule                  circumstances public charge
                                              there is a large government expenditure                 failed to provide a reasonable or rational            inadmissibility determinations. In
                                              on a particular program is irrelevant to                nexus between the data cited and the                  response to this deficiency, DHS
                                              the assessment of whether a particular                  policy decisions made. One commenter                  proposed to establish definitive legal
                                              individual may become a public charge.                  claimed that the proposed rule did not                standards and evidentiary criteria for
                                                 Response: DHS believes that these                    offer adequate justification that access to           each of the mandatory factors as
                                              commenters misunderstood DHS’s                          public benefits create an incentive to                relevant to the determination of whether
                                              proposal. DHS is not taking                             migrate to the United States. The                     an alien will be more likely than not to
                                              expenditures on public benefit programs                 commenter also asserted that the                      become a public charge at any time in
                                              into account for purposes of any single                 proposal is based on inaccurate and                   the future.
                                              public charge inadmissibility                           misleading data concerning low-wage                      DHS agrees with commenters that the
                                              determination. Rather, DHS has taken                    work, and thus fails to account for the               public charge inadmissibility rule
                                              into consideration expenditures on                      societal benefit of low-wage workers                  constitutes a change in interpretation
                                              public benefit programs in order to                     who depend on benefits to supplement                  from the 1999 Interim Field Guidance.
                                              appropriately circumscribe, for the                     their income.                                         Courts have long established that
                                              purpose of administrative efficiency, the                                                                     agencies are not bound forever to
                                                                                                         Response: DHS believes that it has                 maintain the same statutory
                                              list of public benefits that will be                    provided adequate justification for the
                                              considered in public charge                                                                                   interpretation.110 To change its prior
                                                                                                      rule. DHS has interpreted its authorizing             interpretation, an agency need not prove
                                              inadmissibility determinations.                         statute to clarify the criteria for when an
                                              Therefore, under this rule, DHS will                                                                          that the new interpretation is the best
                                                                                                      alien would be found inadmissible as                  interpretation, but should acknowledge
                                              take into consideration all of the                      likely at any time to become a public
                                              mandatory factors in the totality of the                                                                      that it is making a change, provide a
                                                                                                      charge, based on the consideration of                 reasoned explanation for the change,
                                              alien’s circumstances, including                        statutory factors. DHS provided an
                                              whether the alien received public                                                                             and indicate that it believes the new
                                                                                                      explanation for why and how the                       interpretation to be better.111 DHS has
                                              benefits as defined in 212.21(b).                       proposed rule furthers congressional                  laid out the proposed changes from the
                                              2. Additional Legal Arguments                           intent behind both the public charge                  1999 Interim Field Guidance in great
                                                                                                      inadmissibility statute and PRWORA in                 detail and provided a justification for
                                              a. Allegations That the Rule Is Arbitrary               ensuring that aliens being admitted into
                                              and Capricious                                                                                                each. DHS also explained why it
                                                                                                      and intending to settle permanently in                believes the new rule to be a superior
                                                 Comment: Many commenters stated                      the United States be self-sufficient and              interpretation of the statute to the 1999
                                              that the proposed rule is arbitrary and                 not reliant on public resources. DHS                  Interim Field Guidance and explained
                                              capricious. Commenters said that the                    also explained the deficiencies of the                why such interpretation is desirable
                                              rule would be struck down under the                     current standard established by the 1999              from a public policy perspective.
                                              APA. Commenters stated that DHS                         Interim Field Guidance, including that                Moreover, as explained above, DHS is
                                              failed to provide a reasoned or adequate                the guidance assumed an overly                        clearly authorized to promulgate
                                              explanation for the rule, including one                 permissible definition of dependence on               regulations interpreting the public
                                              based on facts and data. Other                          public benefits by only including                     charge inadmissibility ground. DHS
                                              commenters asserted that the public                     consideration of certain cash benefits,               carefully considered the public
                                              charge rule, as proposed, is                            rather than a broader set of benefits,                comments on this rule and made
                                              unnecessary, has no legal justification,                whether cash or non-cash, that similarly
                                              and is overbroad. Other commenters                      denote reliance on the government                        110 See, e.g., Rust v. Sullivan, 500 U.S. 173, 186–

                                              stated that the rule ‘‘address[es] a                    rather than the alien’s own resources                 87 (1991) (acknowledging that changed
                                              problem that doesn’t even exist.’’ One                  and capabilities, or the resources and                circumstances and policy revision may serve as a
                                              commenter stated that ‘‘DHS has not                     capabilities of the alien’s family,                   valid basis for changes in agency interpretations of
                                                                                                                                                            statutes); Chevron, U.S.A., Inc. v. Nat. Res. Def.
                                              cited any evidence that the current                     sponsors, and private organizations. In               Council, Inc., 467 U.S. 837, 863–64 (1984) (‘‘The
                                              statute is ineffective in promoting self-               expanding the list of benefits to be                  fact that the agency has from time to time changed
                                              sufficiency or that there is some need                  considered, DHS explained why a                       its interpretation of the term ‘source’ does not, as
                                              for increasing the pool of                              broader list should be considered, and                respondents argue, lead us to conclude that no
                                                                                                                                                            deference should be accorded the agency’s
                                              inadmissibility. Without substantiating                 provided data to support the specific list            interpretation of the statute. An initial agency
                                              the need for this change, DHS is simply                 proposed in the proposed rule. For                    interpretation is not instantly carved in stone. On
                                              proposing unnecessary and harsh                         instance, DHS referenced Federal                      the contrary, the agency, to engage in informed
                                              restrictions against immigrants.’’ One                  Government data for the rates of                      rulemaking, must consider varying interpretations
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                                                                                                                                                            and the wisdom of its policy on a continuing
                                              commenter stated that current                           participation in such benefit programs                basis.’’); Motor Vehicle Mfrs. Ass’n v. State Farm
                                              immigration policy provides sufficient                  by non-citizens across factors related to             Mut. Auto. Ins. Co., 463 U.S. 29, 42 (1983) (agencies
                                              protection for the nation’s interests,                  the public charge inadmissibility                     ‘‘must be given ample latitude to ‘adapt their rules
                                              including through existing eligibility                  determination, such as income. DHS                    and policies to the demands of changing
                                                                                                                                                            circumstances’ ’’ (quoting Permian Basin Area Rate
                                              limits for public benefits.                             disagrees that the data provided to                   Cases, 390 U.S. 747, 784 (1968))).
                                                 A few commenters stated that ‘‘DHS                   support these conclusions was either                     111 See generally FCC v. Fox Television Stations,

                                              offered inadequate reasoning for                        inaccurate or misleading, and notes that              Inc., 556 U.S. 502 (2009).



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                                              adjustments based on the input it                        a more expansive definition of ‘‘public               actions (e.g., any past receipt of public
                                              received. Accordingly, DHS believes                      benefit,’’ that would have potentially                benefits, employment history, etc.), even
                                              this rule has been issued in compliance                  included a range of non-cash benefit                  if a sufficient Form I–864 is submitted
                                              with the APA.                                            programs falling in specific categories               on behalf of an alien.117
                                                 DHS acknowledges that its broader                     (such as programs that provide                           In addition, if the sponsor does not
                                              definitions for public benefits and                      assistance for basic needs such food and              provide financial support to the
                                              public charge may result in additional                   nutrition, housing, and healthcare). DHS              sponsored alien, the sponsored alien
                                              applicants being determined to                           rejected these alternatives for the                   may bring a suit in the court of law.118
                                              inadmissible and therefore ineligible for                reasons discussed in the proposed                     In the event a sponsored alien receives
                                              admission or adjustment of status                        rule.114                                              public benefits, seeking reimbursement
                                              because they are likely at any time to                      With respect to enforcing Form I–864               pursuant to the agreement made in
                                              become a public charge. However, as                      as an alternative to this rule, DHS notes             Form I–864 requires deployment of
                                              noted elsewhere in this rule, DHS                        that this proposal is neither an adequate             relevant resources by the agency that
                                              believes that expanding the definitions                  nor available alternative to this rule. As            granted the benefit and/or use of
                                              of public benefits and public charge and                 explained in the proposed rule, DHS’s                 judicial resources.
                                              any resulting denials of applications                    objective in promulgating this rule is to                Simply put, the affidavit of support is
                                              based on section 212(a)(4) of the Act, 8                 better ensure that aliens seeking                     not a substitute for the assessment of the
                                              U.S.C. 1182(a)(4) are reasonable and are                 admission or adjustment of status do not              mandatory factors. For these reasons,
                                              consistent with Congress’ intent and                     rely on public resources to meet their                DHS determined that simply enforcing
                                              will better ensure that aliens seeking to                needs, but rather rely on their own                   the affidavit of support under section
                                              come to the United States temporarily or                 capabilities and the resources of their               213A of the Act was not an adequate
                                              permanently are self-sufficient.112                      families, their sponsors, and private                 legal or practical alternative to ensuring
                                                 DHS also notes that as stated                         organizations. While Form I–864 serves                that DHS appropriately applies
                                              previously, available data neither                       a crucial function where required to be               mandatory factors established by
                                              provides a precise count nor reasonable                  submitted by section 212(a)(4) of the                 Congress to assess whether the alien is
                                              estimates of the number of aliens who                    Act, 8 U.S.C. 1182(a)(4), it is not an                likely at any time in the future to
                                              are both subject to the public charge                    alternative to consideration of the                   become a public charge. Furthermore,
                                              ground of inadmissibility and are                        mandatory factors established by                      considering a sufficient affidavit of
                                              eligible for public benefits in the United               Congress in determining whether an                    support under section 213A of the Act
                                              States.                                                  alien is likely at any time to become a               does not, alone, achieve Congress’ goal
                                                                                                       public charge. As discussed elsewhere                 to limit the incentive to immigrate to the
                                              b. Alternatives
                                                                                                       in this rule, Form I–864 ensures that the             United States for the purpose of
                                                 Comment: Commenters stated that,                                                                            obtaining public benefits.
                                              under E.O. 13563 and other applicable                    sponsor is available to support the
                                              authority, DHS should have considered                    sponsored alien in the event the                      c. Retroactivity
                                              other feasible regulatory alternatives to                sponsored alien is unable or unwilling                   Comment: A commenter stated that,
                                              its proposed rule. One commenter                         to support himself or herself and is also             despite the apparent attempt to draft the
                                              asserted that the proposed rule failed to                intended to provide a reimbursement                   proposed rule appropriately, its plain
                                              consider a less restrictive alternative,                 mechanism for the government to                       language would allow it to be applied
                                              specifically, enforcing affidavits of                    recover from the sponsor the amount of                retroactively. The commenter stated that
                                              support. This commenter stated that this                 public benefits distributed to the                    because not all sections specifically
                                              failure makes the rule arbitrary and                     sponsored alien. In fact, the plain                   exempt benefits received prior to the
                                              capricious.                                              language of the statute permits                       rule’s effective date, DHS could apply
                                                 Response: DHS disagrees with                          sponsored aliens to sue to enforce the                the rule retroactively. For example,
                                              commenters who argued that the                           support obligation, if necessary.115 In               under 8 CFR 212.22(c), an alien’s receipt
                                              proposed rule failed to consider other                   addition, Form I–864 may also be taken                of SNAP within 36 months preceding
                                              alternatives to this rule, or that the                   into consideration in the totality of the             application for adjustment of status
                                              proposed rule was unnecessary because                    circumstances public charge                           would weigh heavily in favor of a
                                              DHS can simply increase enforcement of                   inadmissibility determination.116 Had                 finding of public charge inadmissibility,
                                              Form I–864. Under E.O. 13563, the                        Congress intended enforcement of Form                 but that paragraph does not specifically
                                              agency must identify available                           I–864 to be the sole mechanism by                     limit DHS’s consideration of SNAP
                                              alternatives. In this case, DHS did just                 which DHS could ensure that an alien                  receipt to benefits received on or after
                                              that and explained the alternatives                      does not become a public charge after                 the effective date of the rule. This
                                              considered in the proposed rule,                         admission or adjustment of status,                    commenter also stated that the proposed
                                              including a ‘‘no-action’’ alternative—                   Congress would have included it as the                rule violated reasonable reliance law
                                              continuing to administer this ground of                  sole mandatory factor to be considered                and violates the APA.
                                              inadmissibility under the 1999 Interim                   when making public charge                                Response: DHS disagrees that the rule
                                              Field Guidance.113 DHS also considered                   inadmissibility determinations. Instead,              will be applied retroactively to aliens
                                                                                                       Congress required DHS to consider the                 subject to the public charge ground of
                                                 112 See Nat’l Cable & Telecommunications Ass’n        mandatory factors to assess whether the               inadmissibility. As stated in the DATES
                                              v. Brand X internet Servs., 545 U.S. 967, 1001           alien is likely at any time to become a               section of this final rule, this rule will
                                              (2005) (‘‘the Commission is free within the limits       public charge based on his or her
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                                              of reasoned interpretation to change course if it                                                              become effective 60 days after it is
                                                                                                       present circumstances and relevant past
                                              adequately justifies the change.’’); Competitive
                                              Enter. Inst. v. United States Dep’t of Transportation,                                                           117 See  INA section 212(a)(4), 8 U.S.C. 1182(a)(4).
                                                                                                         114 See Inadmissibility on Public Charge Grounds,
                                              863 F.3d 911, 918 (D.C. Cir. 2017) (‘‘The benefits                                                               118 See,  e.g., Wenfang Lieu v. Mund, 686 F.3d 418
                                              of the regulation are also modest, but the               83 FR 51114, 51276 (proposed Oct. 10, 2018).          (7th Cir. 2012) (the sponsored immigrant is a third
                                              Department reasonably concluded that they justify          115 See INA section 213A(a)(1)(B), 8 U.S.C.
                                                                                                                                                             party beneficiary whose rights exist apart from
                                              the costs.’’)                                            1183a(a)(1)(B); 71 FR 35732, 35743 (Jun. 21, 2006).   whatever rights she might or might not have under
                                                 113 See Inadmissibility on Public Charge Grounds,       116 See INA section 212(a)(4)(B)(ii), 8 U.S.C.      Wisconsin divorce law, and she has no legal
                                              83 FR 51114, 51276 (proposed Oct. 10, 2018).             1182(a)(4)(B)(ii).                                    obligation to mitigate damages).



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                                              published in the Federal Register, and                  treat the receipt of these benefits as a                    vague did not provide specific details to
                                              the rule will be applied to applications                heavily weighted negative factor.                           identify which provisions of the rule
                                              and petitions postmarked (or if                            Comment: One commenter noted that                        they were referring and DHS is therefore
                                              applicable, electronically submitted) on                the rule punishes noncitizens for past                      unable to specifically address those
                                              or after that date. Thus, for instance, the             conduct and therefore violates the ex                       claims other than stating general
                                              public charge inadmissibility                           post facto clause and is                                    disagreement. In the NPRM, DHS
                                              determination factors and criteria will                 unconstitutionally retroactive.’’                           provided specific examples of various
                                              apply only to applications that are                        Response: DHS rejects the comment                        concepts and laid out in great detail the
                                              postmarked (or if applicable,                           that the public charge inadmissibility                      applicability of the rule to different
                                              electronically submitted) on or after that              rule violates that ex post facto clause of                  classes of aliens, and clearly identified
                                              date; applications that were postmarked                 the U.S. Constitution. The ex post facto                    the classes of aliens that would be
                                              before the effective date and accepted by               clause prohibits changes to the legal                       exempt from the rule. DHS also
                                              USCIS pursuant to 8 CFR 103.2(a)(1)                     consequences (or status) of actions that                    provided an exhaustive list of the
                                              and (a)(2), and are pending on the                      were committed before the enactment of                      additional non-cash public benefits that
                                              effective date will be adjudicated under                the law.119 The ex post facto clause                        would be considered, including receipt
                                              the criteria set forth in the 1999 Interim              would generally only apply to laws that                     thresholds for all designated benefits.
                                              Field Guidance. For the purposes of                     impose criminal penalties.120 Although                      DHS explained that it would make
                                              determining whether a case was                          inadmissibility determinations are not                      public charge inadmissibility
                                              postmarked before the effective date of                 criminal penalties, and so are generally                    determinations in the totality of the
                                              the rule, DHS will consider the                         not subject to the ex post facto                            circumstances, and following
                                              postmark date for the application or                    clause,121 this rule, in any event, is not                  consideration of the minimum statutory
                                              petition currently before USCS, not the                 impermissibly retroactive in                                factors. The ‘‘vagueness’’ associated
                                              postmark date for any previously-filed                  application, as noted in the immediately                    with a totality of the circumstances
                                              application or petition that USCIS                      preceding response.                                         determination is to a significant extent
                                              rejected pursuant to 8 CFR                                                                                          a byproduct of the statute’s requirement
                                                                                                      d. Due Process/Vagueness and Equal                          that DHS consider a range of minimum
                                              103.2(a)(7)(ii).
                                                                                                      Protection                                                  factors as part of the public charge
                                                 Similarly, the condition related to
                                              public benefit receipt in the context of                   Comment: Commenters stated that the                      inadmissibility determination. DHS
                                              extensions of stay and change of status                 public charge inadmissibility                               recognizes that the statutory multi-factor
                                              will only apply to petitions and                        determination called for by the                             framework will likely result in more
                                              applications postmarked (or if                          proposed rule is too open-ended and                         inadmissibility determinations when
                                              applicable, submitted electronically) on                unpredictable. Some commenters                              combined with the standard in this rule
                                              or after the effective date of this rule.               pointed to likely confusion about which                     (as compared to the 1999 Interim Field
                                                                                                      benefits will be included or excluded                       Guidance), but fundamentally, as it
                                                 In addition, and as stated in this final
                                                                                                      for purposes of a public charge                             relates to vagueness, the commenters’
                                              rule, DHS will not apply the new
                                                                                                      determination. These commenters                             quarrel is with Congress, not with DHS.
                                              expanded definition of public benefit to                                                                               In any case, in response to public
                                              benefits received before the effective                  further stated that failing to define the
                                                                                                      term ‘‘likely,’’ as that term is used in the                comments, the list of public benefits has
                                              date of this final rule. Therefore, any                                                                             been revised in this final rule, and the
                                              benefits received before that date will                 phrase ‘‘likely to become a public
                                                                                                      charge,’’ would grant too much                              threshold has been simplified such that
                                              only be considered to the extent they                                                                               there is only a single, objective
                                              would have been covered by the 1999                     discretion to adjudicators in an complex
                                                                                                      weighing system that would lead to                          duration-based threshold applicable to
                                              Interim Field Guidance. In the                                                                                      the receipt of all included public
                                              commenter’s example, SNAP benefits                      arbitrary outcomes. Another commenter
                                                                                                      recommended that the determination                          benefits. And DHS has determined,
                                              received by an alien prior to the                                                                                   consistent with public commenter
                                              effective date of the final rule would not              system be scored. Another commenter
                                                                                                      stated that that the vagueness of the                       suggestions, that it will not consider the
                                              be considered as part of the alien’s                                                                                receipt of any benefits not listed in the
                                              public charge inadmissibility                           proposed framework would lead to
                                                                                                      inconsistent and unfair determinations.                     rule, therefore removing potential
                                              determination, because SNAP was not                                                                                 uncertainty. In addition, DHS remains
                                              considered in public charge                                Response: DHS disagrees that the rule
                                                                                                                                                                  committed to providing clear guidance
                                              inadmissibility determinations under                    is vague or unpredictable. Some
                                                                                                                                                                  to ensure that there is adequate
                                              the 1999 Interim Field Guidance. By                     commenters who alleged that the rule is
                                                                                                                                                                  knowledge and understanding among
                                              contrast, as explained in more detail                      119 U .S. Const. art. I, sec. 9, cl. 3; see Calder v.    the regulated public regarding which
                                              later in this preamble, for applications                Bull, 3 Dall. 386, 390–391, 1 L.Ed. 648 (1798)              benefits will be considered and when,
                                              postmarked (or if applicable,                           (opinion of Chase, J.).                                     as well as to ensure that aliens
                                              electronically submitted) on or after the                  120 See, e.g., Rhines v. Young, 899 F.3d 482, 495
                                                                                                                                                                  understand whether they are or are not
                                              effective date of this final rule, an                   (8th Cir. 2018) (‘‘A criminal or penal law has a            subject to the public charge ground of
                                              applicant’s receipt of cash assistance for              prohibited ex post facto effect if it is ‘‘retrospective,
                                                                                                      that is, it must apply to events occurring before its       inadmissibility.
                                              income maintenance prior to the                         enactment, and it must disadvantage the offender               DHS has also further defined ‘‘likely’’
                                              effective date of this rule will be treated             affected by it.’’) (citations omitted), cert. denied, No.   as more likely than not. While DHS
                                              as a negative factor in the totality of the             18–8030, 2019 WL 826426 (U.S. Apr. 15, 2019);               agrees with commenters that the
                                              circumstances. However, regardless of                   Bremer v. Johnson, 834 F.3d 925, 932 (8th Cir.
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                                                                                                      2016);
                                                                                                                                                                  regulation must be sufficiently clear so
                                              the length of time such benefits were                      121 Galvan v. Press, 347 U.S. 522, 531 (1954)            that the regulated public can comply
                                              received before the effective date of this              (Frankfurter, J.) (‘‘[W]hatever might have been said        with it, DHS notes that some adjudicator
                                              rule, for the purposes of public charge                 at an earlier date for applying the ex post facto           discretion must exist where
                                              inadmissibility determinations made for                 Clause, it has been the unbroken rule of this Court         determinations are based on a totality of
                                                                                                      that it has no application to deportation.’’);
                                              applications postmarked (or if                          Alvarado–Fonseca v. Holder, 631 F.3d 385, 391–92
                                                                                                                                                                  the circumstances examination that is
                                              applicable, submitted electronically) on                (7th Cir. 2011); Montenegro v. Ashcroft, 355 F.3d           highly fact-specific. Congress
                                              or after the effective date, DHS will not               1035, 1037 (7th Cir. 2004).                                 specifically called for a fact-specific,


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                                              discretionary determination in the                      immigrants and immigrants of color and                   here permanently, are self-sufficient and
                                              public charge context.122 As is the case                is not rationally related to a legitimate                not reliant on the government for
                                              with most regulations, over the course                  public interest. The commenter                           support. While this rule may influence
                                              of adjudications, new fact patterns arise               indicated that the ‘‘legitimate public                   an alien’s decision to apply for, or
                                              that may require additional guidance to                 interest (which in and of itself is                      disenroll from, public benefits, it does
                                              adjudicators; however this does not                     contestable) is already served by the                    not constitute a restriction on accessing
                                              make the regulation impermissibly                       current provision.’’ Another commenter                   such benefits. However, even if the rule
                                              vague.123                                               similarly stated that the rule would have                did place additional restrictions on
                                                 DHS does not believe that a scoring                  a disparate impact on immigrants of                      aliens, the Supreme Court, even prior to
                                              system would be appropriate for this                    color and women. The commenter cited                     PRWORA, determined that the equal
                                              analysis, namely because of the wide                    to a Manatt, Phelps & Phillips                           protection analysis of Federal action
                                              variations between individual                           independent analysis of the U.S. Census                  that differentiates between citizens and
                                              circumstances of aliens. Both the                       Bureau’s (Census Bureau) American                        aliens in the immigration context is
                                              proposed rule and this final rule                       Community Survey Data 5-year 2012–                       different from the equal protection
                                              adequately explain how the criteria are                 2016 data. The commenter stated that                     analysis of State actions that
                                              to be applied and what evidence should                  the application of the public charge rule                differentiate between citizens of another
                                              be considered. USCIS will provide                       would be unequally distributed along                     state and citizens of another country. In
                                              training to its adjudicators and will                   racial lines. According to the                           Mathews v. Diaz, the Court specifically
                                              engage with the regulated public to the                 commenter, the effects of the proposed                   distinguished between state statutes that
                                              extent necessary to foster a better                     rule are expected to have a disparate                    deny welfare benefits to resident aliens,
                                              understanding and compliance with the                   impact on communities of color,                          or aliens not meeting duration residence
                                              regulation.                                             affecting as many as 18.3 million                        requirements, from similar actions taken
                                                 Comment: One commenter stated that                   members (or one-third) of the Hispanic                   by the political branches of the Federal
                                              although the Federal Government has                     and Latino community in the United                       Government that are specifically
                                              great leeway to enact immigration laws,                 States. The commenter stated that the                    empowered to regulate the conditions of
                                              its actions are still subject to review for             DHS’s proposed ‘‘250-percent-FPG                         entry and residence of aliens. 426 U.S.
                                              constitutionality. The commenter stated                 threshold’’ would have disproportionate                  67, 85–86 (1976). In that case, the court
                                              that proposed rule restricts the rights of              effects based on national origin and                     found that the enforcement of a 5-year
                                              non-citizens to access crucial healthcare               ethnicity, blocking 71 percent of                        residency requirement against aliens
                                              benefits, housing vouchers, and other                   applicants from Mexico and Central                       applying for a supplemental medical
                                              government benefits by using ‘‘heavily                  America, 69 percent from Africa, and 52                  insurance program did not deprive the
                                              weighted factors,’’ such as English                     percent from Asia—but only 36 percent                    aliens of life, liberty or property without
                                              proficiency, and ‘‘exorbitant’’ bond                    from Europe, Canada and Oceania. The                     due process of law under the Due
                                              measures, and that the proposed rule                    commenter stated that ‘‘because the                      Process Clause of the Fifth
                                              would disproportionately impact                         proposed rule facially implicates                        Amendment.125
                                              women and people of color. The                          national origin, strict scrutiny applies.’’                 DHS agrees that if this rule were
                                              commenter stated that the Supreme                          Response: DHS disagrees that this rule                regulating eligibility for public benefits
                                              Court has struck down state laws that                   would fail any level of scrutiny (i.e.,                  outside of the immigration context,
                                              restricted public benefits based on                     strict, intermediate, or rational basis                  heightened scrutiny might apply.126 As
                                              alienage and noted that in one such                     scrutiny).124 As discussed previously,                   explained above, however, the rule
                                              case, the Court reviewed the law under                  DHS is not changing rules governing                      places no obstacles to aliens’ eligibility
                                              intermediate scrutiny. The commenter                    which aliens may apply for or receive                    for public benefits. Furthermore, the
                                              suggested that this rule could similarly                public benefits, nor is this rule altering               rule is not facially discriminatory and
                                              be subject to intermediate scrutiny. The                any eligibility criteria for such benefits.              DHS does not intend a discriminatory
                                              commenter stated that even if a                         Instead, DHS is exercising its authority                 effect based on race, gender, or any
                                              heightened scrutiny argument loses, the                 to administer the public charge ground                   other protected ground.
                                              rule would fail rational basis scrutiny                 of inadmissibility in a way that better                     Finally, the commenter misstated the
                                              because is not rationally related to a                  ensures that aliens being admitted into                  proposed rule’s income threshold as 250
                                              legitimate public interest since ‘‘there is             the United States, or seeking to remain                  percent of the FPG. While USCIS will
                                              no legitimate government interest                                                                                generally consider 250 percent of the
                                              furthered by the proposed rule, as                         124 See Korab v. Fink, 797 F.3d 572, 577–79 (9th
                                                                                                                                                               FPG to be a heavily weighted positive
                                              212(a)(4) [of the Act, 8 U.S.C. 1182(a)(4)]             Cir. 2014) (‘‘[F]ederal statutes regulating alien
                                                                                                                                                               factor in the totality of the
                                              is already in place and effective.’’ The                classifications are subject to the easier-to-satisfy
                                              commenter stated that the proposed                      rational-basis review . . . Although aliens are
                                                                                                                                                                  125 ‘‘The fact that all persons, aliens and citizens
                                                                                                      protected by the Due Process and Equal Protection
                                              measures will disparately impact female                 Clauses, this protection does not prevent Congress       alike, are protected by the Due Process Clause does
                                                                                                      from creating legitimate distinctions either between     not lead to the further conclusion that all aliens are
                                                 122 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4)   citizens and aliens or among categories of aliens        entitled to enjoy all the advantages of citizenship
                                              (‘‘Any alien, who in the opinion of the consular        and allocating benefits on that basis.’’) (citation      . . .’’ 426 U.S. at 79–80.
                                              officer at the time of application for a visa, or in    omitted); Lewis v. Thompson, 252 F.3d 567, 570 (2d          126 See, e.g., Personal Administrator of Mass v.

                                              the opinion of the Attorney General at the time of      Cir. 2001) (describing the level of scrutiny owed        Feeney, 442 U.S. 256, 272 (1996) (Classifying
                                              the application for admission or adjustment of          under the constitution to federal regulation of          persons according to their race is more likely to
                                              status, is likely at any time to become a public        immigration and naturalization as ‘‘highly               reflect racial prejudice than legitimate public
                                              charge is inadmissible.’’) (emphasis added).            deferential’’) (citing Lake v. Reno, 226 F.3d 141, 148   concerns.), McLaughlin v. Florida, 379 U.S. 184,
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                                                 123 Cf., e.g., Freeman United Coal Mining Co. v.     (2d Cir. 2000).) Generally, laws and regulations that    196 (1964) (‘‘Such classifications are subject to the
                                              Fed. Mine Safety & Health Review Comm’n, 108            neither involve fundamental rights nor include           most exacting scrutiny; to pass constitutional
                                              F.3d 358, 362 (D.C. Cir. 1997) (‘‘Regulations           suspect classifications are reviewed under rational      muster, they must be justified by a compelling
                                              generally satisfy due process so long as they are       basis scrutiny, under which the person challenging       governmental interest and must be ‘necessary . . .
                                              sufficiently specific that a reasonably prudent         the law must show that the government has no             to the accomplishment’ of their legitimate
                                              person, familiar with the conditions the regulations    legitimate interest in the law or policy or that there   purpose.’ ’’); United States v. Virginia, 518 U.S. 515
                                              are meant to address and the objectives the             is no rational link between the interest and the         (1996) (ruling that the Virginia Military Institute’s
                                              regulations are meant to achieve, would have fair       challenge law or regulation. Heller v. Doe by Doe,       gender-based admission policy violated the Equal
                                              warning of what the regulations require.’’).            509 U.S. 312, 319 (1993).                                Protection Clause).



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                                              circumstances, the minimum income                       protections clauses, federal immigration                Clause of the Fifth Amendment ‘‘has
                                              threshold to be considered a positive                   laws and their implementing regulations                 never been supposed to have any
                                              factor in the totality of the                           generally enjoy a highly deferential                    bearing upon, or to inhibit laws that
                                              circumstances is generally 125 percent                  standard of review, even where the                      indirectly work harm and loss to
                                              of the FPG. More specifically, if the                   federal laws and regulations treat aliens               individuals.’’ 134 Similarly, and as
                                              alien has income below that level, it                   differently from citizens and create                    discussed in greater detail above, any
                                              will generally be a heavily weighed                     distinctions between different classes of               potential chilling impacts of the rule
                                              negative factor in the totality of the                  aliens (i.e., lawful permanent residents                would not violate the equal protection
                                              circumstances.                                          vs. nonpermanent residents).129 DHS’s                   guarantee of the Fifth Amendment’s Due
                                                 As set forth in NPRM,127 DHS’s public                public charge inadmissibility rule falls                Process Clause 135 because this rule is
                                              charge rule is rationally related to the                within the agency’s broad authority,                    not facially discriminatory nor does
                                              government’s interest in ensuring that                  granted by Congress, to regulate                        DHS intend a discriminatory effect.136
                                              aliens entering the United States or                    immigration matters, and therefore, if                     The standards of judicial review are
                                              seeking to settle here permanently are                  challenged on equal protection grounds                  established by statute and judicial
                                              not likely to become public charges,                    as discriminating based on alienage,                    interpretation 137 and are therefore
                                              consistent with the requirements of                     would be subject to rational basis                      beyond the scope of this rulemaking.
                                              section 212(a)(4) of the Act, 8 U.S.C.                  scrutiny.130 The public charge                          The proposal to institute a review by
                                              1182(a)(4). The regulation minimizes                    inadmissibility rule is indeed rationally               Congress is also beyond the scope of
                                              the incentive of aliens to immigrate to                 related to the government’s interest, as                this rulemaking because only the
                                              the United States because of the                        set forth in IIRIRA and PRWORA, to                      legislative branch can create a role for
                                              availability of public benefits and                     determine which aliens are inadmissible                 itself.138 DHS rejects the proposal to
                                              promotes the self-sufficiency of aliens                 on public charge grounds in accordance                  create an appellate process to allow
                                              within the United States.128 Finally,                   with section 212(a)(4) of the INA, 8                    applicants to present evidence of their
                                              DHS does not understand commenters’                     U.S.C. 1182(a)(4), minimize the                         admissibility since there is an existing
                                              statements about the ‘‘unequal                          incentive of aliens to immigrate to the                 process to present such evidence.
                                              application’’ of the public charge                      United States due to the availability of                Although not specific to this rule,
                                              inadmissibility rule and disagrees that                 public benefits, and promote the self-                  USCIS will notify applicants of
                                              the public charge inadmissibility rule                  sufficiency of aliens within the United                 deficiencies in their applications with
                                              would be unequally applied to different                 States.131 This is true even if this rule               respect to any ineligibility including
                                              groups of aliens along the lines of race                results in a disincentive for aliens to                 public charge in accordance with the
                                              or gender.                                              avail themselves of public benefits for                 principles outlined in 8 CFR 103.2 and
                                                 Comment: Several commenters                          which they are eligible under                           USCIS policy in regard to notices, RFEs,
                                              objected that the rule violates due                     PRWORA.132 Moreover, although the                       or notices of intent to deny (NOIDs), and
                                              process and equal protection rights. One                rule could impact an alien’s decision to                denials.139 Likewise, DHS will not
                                              commenter said that aliens seeking                      access public benefits for which he or                  accept the proposal to decline to revoke
                                              adjustment of status should be granted                  she is eligible under PRWORA and state                  a lawful permanent resident’s status
                                              due process rights closer to those of                   and local laws, it does not directly                    pending any appeals of a public charge
                                              United States citizens, and this rule                   regulate the right to apply for or receive
                                              should be subject to stricter standards                 public benefits, and the Due Process                    not apply to the indirect adverse effects of
                                              for judicial review to ‘‘ensure that more                                                                       governmental action.’’
                                                                                                      Clause would not be implicated by                          134 O’Bannon v. Town Court Nursing Ctr., 447
                                              immigrants are protected from the                       whether, due to the rule, an alien                      U.S. 773, 789 (1980) (quoting The Legal Tender
                                              detrimental effects of this proposal.’’                 chooses not to access benefits for which                Cases, 79 U.S. 457, 551 (1870)).
                                              The commenter stated that such a                        he or she qualifies.133 The Due Process                    135 Although the Equal Protection Clause of the

                                              review ‘‘would require that Congress                                                                            Fourteenth Amendment does not apply to the
                                                                                                                                                              Federal government, the Supreme Court in Bolling
                                              ha[ve] a dual review process.’’ Another                   129 See Korab v. Fink, 797 F.3d 572, 579 (9th Cir.
                                                                                                                                                              v. Sharpe, 347 U.S.497, 500 (1954), held that while
                                              commenter stated that the DHS rule                      2014); Lewis v. Thompson, 252 F.3d 567, 570 (2d         ‘‘‘equal protection of the laws’ is a more explicit
                                                                                                      Cir. 2001) (citing Lake v. Reno, 226 F.3d 141, 148
                                              could be challenged on the grounds that                 (2d Cir. 2000)); Brooks v. Ashcroft, 283 F.3d 1268,
                                                                                                                                                              safeguard of prohibited unfairness than ‘due
                                              it affords nonimmigrants inside the                                                                             process of law,’ . . . discrimination may be so
                                                                                                      1274 (11th Cir. 2002) (‘‘Classifications that           unjustifiable as to be violative of due process.’’ In
                                              United States less due process rights                   distinguish among groups of aliens are subject to       the case of racial discrimination in DC public
                                              than they should be afforded. The                       rational basis review, and will be found valid if not   schools, the Court found that no lesser
                                                                                                      arbitrary or unreasonable’’).                           Constitutional protections apply to the Federal
                                              commenter stated that USCIS should                        130 See Mathews v. Diaz, 426 U.S. 67, 81 n.17
                                                                                                                                                              government through the application of the Due
                                              construct an appeals process that                       (1976).                                                 Process Clause in the Fifth Amendment than by
                                              satisfies due process and gives                           131 See 8 U.S.C. 1601.                                application of the Equal Protection Clause of the
                                              applicants the opportunity to present                     132 See Lewis v. Thompson, 252 F.3d 567, 583–         Fourteenth Amendment.
                                                                                                                                                                 136 See Pers. Adm’r v. Feeney, 442 U.S. 256, 272
                                              evidence of admissibility. The                          84 (2d Cir. 2001) (‘‘[I]t is reasonable for Congress
                                                                                                      to believe that some aliens would be less likely to     (1979).
                                              commenter also stated that a person
                                                                                                      hazard the trip to this country if they understood         137 See, e.g., INA section 242(b)(4), 8 U.S.C.
                                              should not have ‘‘their status as a                     that they would not receive government benefits         1252(b)(4) (providing the scope and standard of
                                              resident revoked’’ prior to a full review               upon arrival . . . Although it seems likely that        judicial review of removal orders); McNary v.
                                              of the case.                                            many alien women will illegally immigrate to            Haitian Refugee Center, Inc., 498 U.S. 479, 493
                                                 Response: DHS disagrees with                         obtain the benefit of citizenship for their children,   (1991) (discussing the appropriate standard of
                                                                                                      undeterred by ineligibility for prenatal care in the    review for challenges to the Special Agricultural
                                              comments asserting that this rule                       event of pregnancy, Congress is entitled to suppose     Worker program).
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                                              violates aliens’ due process or equal                   that the denial of care will deter some of them. In        138 See generally Trans Ohio Sav. Bank v.

                                              protection rights. Although aliens                      the realm of immigration, where congressional           Director, Office of Thrift Supervision, 967 F.2d 598,
                                              present in the United States are                        discretion is extremely broad, this supposition,        620 (DC Cir. 1992) (agency promise to bind
                                                                                                      even if dubious, satisfies rational basis review.’’)    Congress would be ultra vires and unenforceable).
                                              protected by the due process and equal                  (citations omitted).                                       139 DHS notes that the failure to submit a
                                                                                                        133 In O’Bannon v. Town Court Nursing Ctr., 447       completed Form I–944 and Form I–864 with the
                                                127 See Inadmissibility on Public Charge Grounds,
                                                                                                      U.S. 773, 789 (1980), the Supreme Court concluded,      Form I–485, when required, may result in a
                                              83 FR 51114, 51122–23 (proposed Oct. 10, 2018).         consistent with long-standing precedent that ‘‘the      rejection or a denial of the Form I–485 without a
                                                128 See 8 U.S.C. 1601.                                due process provision of the Fifth Amendment does       prior RFE or NOID. See 8 CFR 103.2(a)(7), (b)(8)(ii).



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                                              finding. Revocation of existing status is                  argue in removal proceedings that                      have jurisdiction over the adjustment
                                              generally distinct from the process of                     DHS’s public charge inadmissibility                    application.146
                                              adjudicating applications for                              standard should be applied. And                           Additionally, when encountering an
                                              immigration benefits. For example, a                       because there would not be binding                     alien, who is an arriving alien or an
                                              person maintaining a valid                                 precedent on DHS’s interpretation of                   alien present in the United State
                                              nonimmigrant status whose adjustment                       public charge inadmissibility, some                    without admission or parole, ICE will
                                              of status application is denied because                    immigration judges would adopt DHS’s                   use the criteria set forth in this rule with
                                              he or she is inadmissible on public                        rule while others would not. This would                respect to determining whether to
                                              charge grounds would not lose his or                       result in inconsistent determinations                  charge such an alien under section
                                              her nonimmigrant status based on the                       and burden the immigration court                       212(a)(4), 8 U.S.C. 1182(a)(4).
                                              denial of adjustment.140 To the degree                     system.                                                   DHS notes that it has no general
                                              the commenter’s concerns relate to the                        Response: DOJ has acknowledged                      authority over the EOIR inadmissibility
                                              loss of lawful permanent resident status,                                                                         determinations in removal proceedings
                                                                                                         ongoing work on a proposed public
                                              such status generally terminates upon                                                                             and believes such matters are more
                                                                                                         charge rule, which would propose to
                                              the entry of a final order of removal 141                                                                         appropriately addressed by DOJ in the
                                                                                                         change how adjudicators within the
                                              unless the alien voluntarily abandons                                                                             context of its public charge rulemaking.
                                                                                                         Executive Office for Immigration
                                              lawful permanent resident status.                          Review (EOIR) determine whether an                     f. International Law and Related Issues
                                              e. Coordination With Other Federal                         alien is inadmissible to the United                       Comment: One commenter suggested,
                                              Agencies                                                   States as a public charge consistent with              but did not explicitly state, that the rule
                                                 Comment: Several commenters said                        section 212(a)(4) of the INA.144                       would violate international refugee law.
                                              the proposed definition of public charge                   According to DOJ, the rule is intended                 Another commenter suggested that the
                                              conflicts with the definition of public                    to make certain revisions to more                      rule would discriminate against
                                              charge used by DOS, which focuses on                       closely conform EOIR’s regulations with                individuals waiting for their asylum
                                              an alien’s primary dependence on                           the DHS public charge inadmissibility                  applications to be adjudicated. Other
                                              public benefits. Other commenters                          rule. DHS will work with DOJ to ensure                 commenters noted that the rule would
                                              noted that the inconsistency with DOS’s                    consistent application of the public                   be a violation of, or is inconsistent with,
                                              definition of public charge would lead                     charge ground of inadmissibility. DHS                  various international agreements such
                                              to delays and denials of Application for                   reiterates, however, that this final rule              as the Universal Declaration of Human
                                              Provisional Unlawful Presence Waiver                       pertains only to public charge                         Rights (UDHR), the 1959 Declaration of
                                              (Form I–601A).                                             inadmissibility determinations made by                 the Rights of the Child, the International
                                                 Response: DHS is working and will                       DHS for applicants seeking admission or                Convention on the Elimination of All
                                              continue to work with DOS to ensure                        adjustment of status, public charge                    Forms of Racial Discrimination (CERD),
                                              consistent application of the public                       bonds, as well the conditions DHS has                  and the International Covenant on Civil
                                              charge ground of inadmissibility. As                       set for applicants applying for an                     and Political Rights (ICCPR). A
                                              noted in the NPRM, DHS expects that                        extension of stay or change of status                  commenter stated that treaties that have
                                              DOS will make any necessary                                before DHS.                                            been ratified ‘‘should be considered as
                                              amendments to the FAM in order to                             If USCIS denies an adjustment of                    being Constitutional Amendments
                                              harmonize its approach to public charge                    status application after determining that              under the Supremacy Clause.’’
                                              inadmissibility determinations with the                    the applicant is likely at any time to                    Response: DHS rejects the comment
                                              approach taken in this final rule.142 As                   become a public charge at any time, and                that this rule would violate the United
                                              previously, indicated, DHS does not                        the alien is not lawfully present in the               States’ international treaty obligations
                                              believe that the rule would unduly                         United States, USCIS will generally                    relating to refugees or that the rule
                                              increase the delays or denials of                          issue a Notice to Appear (NTA),145                     discriminates against individuals in the
                                              provisional unlawful presence waivers                      which may charge the alien as                          United States who have asylum
                                              filed on Form I–601A, as such waivers                      inadmissible under section 212(a)(4) of                applications pending on the effective
                                              are unrelated to the public charge                         the Act, 8 U.S.C. 1182(a)(4), if the alien             date of this rule. As noted in the NPRM,
                                              ground of inadmissibility.143                              is an alien is an arriving alien or an                 this rule does not apply to asylum
                                                 Comment: Several commenters stated                      alien present in the United States                     applicants, those granted asylum
                                              that in the absence of DOJ regulations                     without having been admitted or                        (asylees), and those seeking to adjust
                                              on public charge inadmissibility, U.S.                     paroled. Under section 240(c)(2)(A) of                 their status to that of a lawful
                                              Immigration and Customs Enforcement                        the Act, 8 U.S.C. 1229a(c)(2)(A), an                   permanent resident based on their
                                              (ICE) attorneys will be compelled to                       applicant for admission in removal                     asylee or refugee status. Applicants for
                                                                                                         proceedings has the burden of                          asylum are not required to demonstrate
                                                140 It is possible that the basis for the denial could
                                                                                                         establishing that he or she is clearly and             admissibility as part of demonstrating
                                              also make the alien deportable under the different         beyond doubt entitled to be admitted
                                              requirements for deportability at section 237(a)(5) of
                                                                                                                                                                their eligibility for asylum.147
                                              the Act, 8 U.S.C. 1227(a)(5). Aliens placed in             and is not inadmissible under section                  Additionally, while asylees who travel
                                              removal will be afforded al due process rights             212 of the Act, 8 U.S.C. 1182. The alien               outside of the United States are
                                              accorded to aliens in removal proceedings. See INA         may renew the adjustment of status                     examined for admissibility upon
                                              section 240(b)(4), 8 U.S.C. 1229a(b)(4).                   application before an immigration judge
                                                141 See 8 CFR 1.2, definition of ‘‘lawfully
                                                                                                                                                                returning to the United States with a
                                              admitted for permanent residence.’’
                                                                                                         unless the immigration judge does not                  refugee travel document and are
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                                                142 See Inadmissibility on Public Charge Grounds,                                                               admitted as such if admissible, asylees
                                              83 FR 51114, 51135 (proposed Oct. 10, 2018).                  144 See Unified Agenda of Regulatory and            are not subject to the public charge
                                                143 Form I–601A is filed by aliens inside the            Deregulatory Actions, DOJ, Inadmissibility on          inadmissibility ground when seeking
                                              United States to request a provisional waiver of the       Public Charge Grounds, RIN 1125 AA74 (Spring
                                                                                                         2019), https://www.reginfo.gov/public/do/
                                                                                                                                                                readmission as an asylee.148 Similarly,
                                              unlawful presence grounds of inadmissibility
                                              section 212 (a)(9)(B) of the Act, 8 U.S.C.                 eAgendaViewRule?pubId=201904&RIN=1125-AA84
                                                                                                                                                                 146 8CFR 245.2(a)(5)(ii) and 1245.2(a)(1).
                                              1182(a)(9)(B), before departing the United States to       (last visited June 11, 2019).
                                                                                                                                                                 147 See INA section 208, 8 U.S.C. 1158.
                                              appear at a U.S. Embassy or Consulate for an                  145 INA sections 103(a) and 239, 8 U.S.C. 1103(a)

                                              immigrant visa interview.                                  and 1229; 8 CFR 2.1 and 239.1.                          148 See 8 CFR 223.3(d)(2).




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                                              asylees and refugees who are applying                   judicially enforceable obligations.156                    very nature, the public charge ground of
                                              for adjustment of status are not subject                DHS disagrees with the comment that                       inadmissibility frequently affects people
                                              to the public charge inadmissibility                    ratified treaties should be considered as                 who lack the capacity or competence to
                                              ground under section 209(c) of the Act,                 constitutional amendments as this is                      enter into contracts. Contract law does
                                              8 U.S.C. 1159(c).149 Because the rule                   legally inaccurate.157                                    not limit DHS’s ability to enforce the
                                              does not apply to or otherwise impact                   g. Contract Law                                           public charge ground of inadmissibility.
                                              asylum applicants, asylees, and                                                                                      However, as noted elsewhere in this
                                              applicants for asylee or refugee                           Comment: A commenter said that it                      rule, DHS has decided, as a matter of
                                              adjustment, the rule does not violate                   would contradict principles of contract                   policy, to exclude consideration of the
                                              international treaty obligations relating               law to hold a child responsible for the                   receipt of Medicaid by aliens under the
                                              to refugees, to the extent those                        public benefits they receive before the                   age of 21, as well as services or benefits
                                              obligations are applicable.150                          age of majority.                                          funded by Medicaid but provided under
                                                                                                         Response: DHS rejects the suggestion                   the IDEA or school-based benefits
                                                 DHS also disagrees that the rule                     that DHS would be precluded, under                        provided to children who are at or
                                              would violate international treaties such               contract law principles, from                             below the oldest age of children eligible
                                              as the CERD 151 and the ICCPR 152 or                    considering the receipt of public                         for secondary education as determined
                                              that it would be inconsistent with non-                 benefits in a public charge                               under State law. DHS also has excluded
                                              binding instruments such as the                         inadmissibility determination by an                       consideration of the receipt of all public
                                              UDHR 153 and the 1959 Declaration of                    alien under the age of 18. With the                       benefits received by children of U.S.
                                              the Rights of the Child.154 First, the rule             exception of the affidavit of support                     citizens whose lawful admission for
                                              is not inconsistent with those treaties                 statute, section 213A of the Act, 8 U.S.C.                permanent residence and subsequent
                                              and instruments. As discussed above,                    1183a, which requires a sponsor to be at                  residence in the legal and physical
                                              the rule does not prevent anyone subject                least 18 years of age, decisions as to the                custody of their U.S. citizen parent(s)
                                              to the public charge ground of                          admissibility of aliens subject to section                will result automatically in the child’s
                                              inadmissibility from applying for and                   212(a))(4) of the Act, 8 U.S.C. 1182(a)(4),               acquisition of citizenship; or whose
                                              receiving any benefits for which they                   are questions regarding the burden the                    lawful admission for permanent
                                              are eligible, including benefits related to             alien will place on the government in                     residence will result automatically in
                                              food and nutrition, housing, and                        the future, and does not implicate                        the child’s acquisition of citizenship as
                                              healthcare, and basic social services.                  contract law. While individuals under                     described in the rule.
                                              Additionally, to the extent that this rule              the age of 18 generally lack the capacity
                                              does have a negative effect on those                    under most States’ laws to enter into a                   F. Applicability of the Public Charge
                                              from particular groups, it is not DHS’s                 contract, such considerations are                         Ground of Inadmissibility, and the
                                              intent, in issuing this final rule, to target           inapposite to this rulemaking. Aliens                     Public Benefit Condition to Extension of
                                              aliens from certain countries or of a                   under the age of 18 are subject to the                    Stay and Change of Status
                                              particular race. Instead, DHS’s intent in               provisions of section 212(a))(4) of the                   1. Applicability of the Public Charge
                                              codifying the public charge                             Act, 8 U.S.C. 1182(a)(4), except where                    Ground of Inadmissibility Generally
                                              inadmissibility rule is to better ensure                Congress has specifically provided an
                                              the self-sufficiency of aliens who seek to              exemption of public charge                                   Comment: A commenter opposed the
                                              come to or remain in the United States.                 inadmissibility, or otherwise provided                    application of the rule to applicants for
                                                                                                      the possibility of a waiver of the public                 admission because, according to the
                                                 Second, the two referenced                                                                                     commenter, it is impossible for DHS to
                                              declarations do not bind DHS as a                       charge inadmissibility ground. By its
                                                                                                                                                                make a prediction about future
                                              matter of U.S. domestic law. As the                        156 U.S. Reservations, Declarations, and               circumstances based upon the totality of
                                              Supreme Court has held, the UDHR                        Understandings, International Convention on the           the alien’s circumstances at the time of
                                              ‘‘does not of its own force impose                      Elimination of All Forms of Racial Discrimination,        the application for admission; the
                                              obligations as a matter of international                140 Cong. Rec. S7634–02 (1994) (‘‘[T]he United            commenter said that life circumstances
                                              law.’’ 155 The Declaration of the Rights                States declares that the provisions of the
                                                                                                      Convention are not self-executing.’’); U.S.               cannot be predicted. Many commenters
                                              of the Child, like the UDHR is a U.N.                   Reservations, Declarations and Understandings,            said the proposed rule would directly
                                              Declaration rather than a binding treaty.               International Covenant on Civil and Political             affect a large number of individuals
                                              Moreover, the CERD and the ICCPR,                       Rights, 138 Cong. Rec. 8071 (1992) (‘‘[T]he United        (some commenters cited 1.1 million
                                              were both ratified on the express                       States declares that the provisions of Articles 1
                                                                                                      through 27 of the Covenant are not self-                  individuals seeking to obtain lawful
                                              understanding that they are not self-                   executing.’’); see also Alvarez-Machain, 542 U.S. at      permanent resident status), half of
                                              executing and therefore do not create                   735 (‘‘[T]he United States ratified the Covenant [on      whom already reside in the United
                                                                                                      Civil and Political Rights] on the express                States and would be subject to a public
                                                149 ‘‘The provisions of paragraphs (4), (5), and      understanding that it was not self-executing and so
                                                                                                      did not itself create obligations enforceable in the      charge inadmissibility determination.
                                              (7)(A) of section 212(a) shall not be applicable to
                                              any alien seeking adjustment of status under this       federal courts.’’); Johnson v. Quander, 370 F. Supp.      Another commenter stated that the
                                              section . . . .’’                                       2d 79, 101 (D.D.C. 2005) (same—CERD), aff’d, 440          proposed rule would dramatically alter
                                                150 Asylum is a discretionary benefit                 F.3d 489 (D.C. Cir. 2006).                                which immigrants are permitted to enter
                                                                                                         157 See Reid v. Covert, 354 U.S. 1, 18 (1957)
                                              implementing Article 34 of the 1951 Convention
                                                                                                      (‘‘This Court has also repeatedly taken the position
                                                                                                                                                                and stay in the United States. This
                                              Relating to the Status of Refugees (as incorporated                                                               commenter stated that quantitative and
                                              in the 1967 Protocol Relating to the Status of          that an Act of Congress, which must comply with
                                              Refugees), which is ‘‘precatory,’’ INS v. Cardoza-      the Constitution, is on a full parity with a treaty,      qualitative data, including the DHS
                                                                                                      and that when a statute which is subsequent in time       Yearbook of Immigration Statistics,
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                                              Fonseca, 480 U.S. 421, 441 (1987), and the 1967
                                                                                                      is inconsistent with a treaty, the statute to the
                                              Protocol is not self-executing, e.g., Cazun v. U.S.
                                                                                                      extent of conflict renders the treaty null.’’); La Abra
                                                                                                                                                                show that increases in restrictions to the
                                              Att’y Gen., 856 F.3d 249, 257 n.16 (3d Cir. 2017).                                                                legal means to immigration over the last
                                                151 660 U.N.T.S. 195, U.N. Doc. A/6014 (1965).        Silver Min. Co. v. United States, 175 U.S. 423, 460
                                                152 Dec. 16, 1966, 999 U.N.T.S. 171.
                                                                                                      (1899) (‘‘Congress by legislation, and so far as the      hundred years are responsible for
                                                                                                      people and authorities of the United States are           increases in unauthorized border
                                                153 G.A. Res. 217A (III), U.N. Doc. A/810 (1948).
                                                                                                      concerned, could abrogate a treaty made between
                                                154 G.A. Res. 1386 (XIV), U.N. Doc. A/4354 (1959).
                                                                                                      this country and another country which had been
                                                                                                                                                                crossings, visa overstays, and increases
                                                155 Sosa v. Alvarez-Machain, 542 U.S. 692, 734–       negotiated by the President and approved by the           in an international network of private
                                              35 (2004).                                              Senate.’’ (citation omitted)).                            and public profiteers. Another


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                                              commenter indicated that the new                          charge inadmissibility determination,                 the public charge inadmissibility
                                              regulation would adversely affect                         unless she or he was exempt from such                 determination with respect to the
                                              immigrants and nonimmigrants alike                        a determination at the time of                        population identified by the commenter.
                                              and discourage people from lawfully                       application for such status. Such a                   Congress identified which aliens are
                                              entering the United States through visas                  person would not undergo another                      subject to the public charge ground of
                                              offered by the DOS.                                       public charge inadmissibility                         inadmissibility and specified which
                                                 Response: DHS disagrees that the rule                  determination unless U.S. Customs and                 aliens are exempt from, or can obtain a
                                              cannot apply to applicants for                            Border Protection (CBP) determines,                   waiver of, public charge inadmissibility.
                                              admission because it is impossible to                     upon the alien’s return from a trip                   DHS does not have the authority to add
                                              make a prediction about future                            abroad, that the returning lawful                     additional categories of aliens that must
                                              circumstances based upon the totality of                  permanent resident is an applicant for                establish admissibility based on public
                                              the alien’s circumstances at the time of                  admission based on one of the criteria                charge. This rule only applies to those
                                              the application for admission. As                         set forth in section 101(a)(13)(C) of the             categories of aliens that Congress has
                                              mandated by Congress under section                        Act, 8 U.S.C. 1101(a)(13)(C), such as the             designated as subject to the public
                                              212(a)(4) of the Act, 8 U.S.C. 1182(a)(4),                alien has been absent from the United                 charge ground of inadmissibility.160
                                              any alien applying for admission to the                   States for more than 180 days. Aliens                    In addition, although the commenter
                                              United States is inadmissible if he or                    who are lawfully present in the United                indicated that DHS fails to specify how
                                              she is likely at any time to become a                     States as nonimmigrants have also                     to determine that aliens illegally present
                                              public charge. DHS must make a public                     undergone a public charge                             in the United States are inadmissible on
                                              charge inadmissibility determination                      inadmissibility determination, where                  the public charge ground, this
                                              unless the applicant for admission is                     applicable, and this rule does not                    determination is only made when aliens
                                              within one of the exempted categories.                    impact their status unless they are                   subject to this ground of inadmissibility
                                              Only those categories of aliens                           seeking an immigration benefit for                    apply for an immigration benefit for
                                              designated by Congress are exempt from                    which admissibility is required or if                 which admissibility is required, such as
                                              the public charge ground of                               they are seeking an extension of stay or              adjustment of status, or when
                                              inadmissibility.158 Additionally,                         change of status.                                     determining what charges to lodge on an
                                              although it will impact all aliens subject                   With respect to DACA recipients,                   NTA when initiating removal
                                              to the public charge ground of                            DHS notes that an alien is not required               proceedings under section 240 of the
                                              inadmissibility under section 212(a)(4)                   to demonstrate that he or she is not                  Act, 8 U.S.C. 1229a.161 DHS notes that
                                              of the Act, 8 U.S.C. 1182(a)(4), the goal                 inadmissible on the public charge                     the SIPP data on receipt of public
                                              of this rule is to implement the public                   ground when requesting DACA. A                        benefits by noncitizens includes asylees
                                              charge inadmissibility ground as                          DACA recipient would only be subject                  and refugees and lawful permanent
                                              established by Congress. DHS rejects the                  to this rule when applying for a benefit              residents who are lawfully present in
                                              notion that there is a relationship                       for which admissibility is required.                  the United States.
                                              between the implementation of the                            Comment: A commenter indicated                        Comment: Some commenters stated
                                              congressionally-mandated ground of                        that the NPRM excludes too many                       that the regulation would be arbitrary
                                              inadmissibility through this rulemaking                   applicants for admission from public                  and capricious because DHS would
                                              and any increase in the number of                         charge review. The commenter stated                   apply it to lawful permanent residents
                                              illegal border crossings or other illegal                 that the category of ‘‘applicants for                 who were abroad for a trip exceeding
                                              behavior.                                                 admission’’ is clearly defined in section             180 days, but DHS did not estimate the
                                                 Comment: Multiple commenters                           235(a) of the Act, 8 U.S.C. 1225(a) as                size of this population in the proposed
                                              stated that the proposed rule would                       ‘‘aliens present in the United States who             rule. These commenters further stated
                                              negatively affect those seeking a ‘‘green                 have not been admitted’’ 159 and ‘‘all                that if the returning lawful permanent
                                              card’’ (lawful permanent residence) and                   aliens’’ who have not been ‘‘inspected                resident is placed in removal
                                              would notably affect family-based                         by immigration officers.’’ The                        proceedings, the burden of proof of
                                              immigration.                                              commenter indicated that although most                inadmissibility should remain on the
                                                 Response: Although this rule will                      of these categories of aliens are barred              government to establish by ‘‘clear and
                                              impact those seeking lawful permanent                     from most of the public benefits                      convincing evidence’’ 162 that he or she
                                              resident status based on an approved                      designated under the proposed rule, the               is lawfully present in the United States
                                              family-based petition, only aliens who                    commenter’s research indicates that the               pursuant to a prior admission. This
                                              are subject to the public charge ground                   very high use of welfare programs by                  burden, per the commenters, should not
                                              of inadmissibility will be required to                    noncitizens cannot be explained unless                be transferred to the lawful permanent
                                              demonstrate that they are not likely to                   at least half of the non-citizens surveyed
                                              become a public charge at any time in                     in the Survey of Income and Program                      160 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4)

                                              the future, as prescribed in the rule.                    Participation (SIPP) data are in the                  (Any alien who, . . . in the opinion of the Attorney
                                                 Comment: Another commenter                             country illegally. The commenter                      general at the time of application for admission . . .
                                              indicated that current green card                                                                               is likely to become a public charge, is inadmissible).
                                                                                                        further stated that the NPRM fails to                 See 8 CFR 212.20.
                                              holders and other aliens lawfully                         provide any guidance on how this                         161 For example, to be eligible for adjustment of
                                              present in the United States, like                        population will be assessed for public                status under INA section 245(a) and (c), 8 U.S.C.
                                              recipients of Deferred Action for                         charge inadmissibility.                               1255(a) and (c), an applicant must generally have
                                              Childhood Arrivals (DACA), could see                                                                            been, among other requirements, inspected and
                                                                                                           Response: DHS disagrees that the rule              admitted or paroled, and in legal immigration
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                                              their status jeopardized, as they may not                 excludes too many aliens from the                     status. Therefore, in most cases, the applicant must
                                              meet the income standard in the                           public charge inadmissibility                         have been legally entered the United States and be
                                              proposed rule.                                            determination and disagrees that DHS                  legally present in the United States. In contrast,
                                                 Response: DHS notes that a person                                                                            under INA section 244(a), 8 U.S.C. 1154a, an alien
                                                                                                        failed to provide adequate guidance                   cannot be denied Temporary Protected Status on
                                              who is already a lawful permanent                         with respect to how DHS would apply                   account of his or her immigration status or lack
                                              resident has already undergone a public                                                                         thereof.
                                                                                                          159 See INA section 235(a) and (b), 8 U.S.C.           162 See INA section 240(a)(3), 8 U.S.C.
                                                158 See   8 CFR 212.23.                                 1225(a) and (b).                                      1229a(a)(3).



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                                              resident through completion of the                       determines that the returning lawful                   to be admitted and is not inadmissible;
                                              Form I–944 or similar forms that CBP                     permanent resident is an applicant for                 however, Congress remained silent with
                                              may request. The commenter stated that                   admission based on one of the criteria                 respect to the burden and standard of
                                              doing so, would violate the lawful                       set forth in section 101(a)(13)(C) of the              proof required to determine whether an
                                              permanent resident’s due process rights                  Act, 8 U.S.C. 1101(a)(13)(C), including                alien is an applicant for admission.170
                                              as a permanent resident by shifting the                  that the alien has been absent for more                The BIA in Matter of Rivens,171 did not
                                              burden of proof to returning lawful                      than 180 days, and that the alien is                   deviate from longstanding case law on
                                              permanent residents, contrary to                         inadmissible under one of the grounds                  this question 172 and affirmed that DHS
                                              Woodby v. INS, 385 U.S. 276 (1966),                      set forth in section 212(a) of the Act, 8              continues to bear the burden of proving
                                              Landon v. Plasencia, 459 U.S. 21 (1982),                 U.S.C. 1182(a), the law requires that the              by clear and convincing evidence that a
                                              and Matter of Rivens, 25 I&N Dec. 623                    alien be placed into removal                           returning lawful permanent resident
                                              (BIA 2011).                                              proceedings.165 In such removal                        should be treated as an applicant for
                                                 Response: DHS does not believe such                   proceedings, DHS bears the burden of                   admission.173 This rule does not alter
                                              a quantitative estimate is necessary.                    proof to demonstrate by clear and                      DHS’s burden of proof with respect to
                                              DHS further disagrees that the rule                      convincing evidence that the lawful                    the treatment of returning lawful
                                              impermissibly shifts the government’s                    permanent resident is properly                         permanent residents as applicants for
                                              burden of proof onto the returning                       considered an applicant for admission                  admission in any way, i.e., the only
                                              lawful permanent residents, that the                     based on being outside of the United                   burden DHS bears is establishing that
                                              applicability of inadmissibility grounds                 States for more than 180 days, or any of               the retuning lawful permanent resident
                                              to returning lawful permanent residents                  the grounds set forth in 101(a)(13)(C) of              should be treated as an applicant for
                                              is unlawful, or that it would violate an                 the Act, 8 U.S.C. 1101(a)(13)(C).166 And,              admission.174 The BIA, in Matter of
                                              alien’s due process rights. Congress                     if the lawful permanent resident is not                Rivens, did not reach the issue of who
                                              specified when lawful permanent                          an applicant for admission, but is                     then bears the burden of showing
                                              residents returning from a trip abroad                   removable from the United States for                   admissibility, or a lack of
                                              will be treated as applicants for                        any reason, DHS may charge the alien                   inadmissibility, once it has been
                                              admission, and also specified who bears                  under section 237 of the INA, 8 U.S.C.                 determined that an alien is an applicant
                                              the burden of proof in removal                           1227.                                                  for admission.175
                                              proceedings when such an alien is                           For these reasons, DHS disagrees that
                                                                                                       the rule impermissibly places the                         DHS notes, as was pointed out by the
                                              placed in proceedings. In general, the                                                                          commenters, that under section 291 of
                                              grounds of inadmissibility set forth in                  burden on returning lawful permanent
                                                                                                       residents in violation of their rights                 the Act, 8 U.S.C. 1361, an applicant for
                                              section 212(a) of the Act, 8 U.S.C.                                                                             admission always bears the burden of
                                              1182(a), including public charge                         under Woodby v. INS,167 Landon v.
                                                                                                                                                              proof to establish that he or she is not
                                              inadmissibility, do not apply to lawful                  Plasencia,168 and Matter of Rivens as
                                                                                                                                                              inadmissible to the United States under
                                              permanent residents returning from a                     alleged by the commenters.169
                                                                                                                                                              any provision of the Act; similarly,
                                              trip abroad.163 Congress set forth the                   Specifically, in Woodby and Landon,
                                                                                                                                                              under section 240(c)(2)(A) of the Act, 8
                                              circumstances under which lawful                         which predate IIRIRA, the Court
                                                                                                                                                              U.S.C. 1229a(c)(2)(A), an applicant for
                                              permanent residents returning from a                     addressed the government’s burden in
                                                                                                                                                              admission in removal proceedings has
                                              trip abroad are considered applicants for                deportation proceedings against a lawful
                                                                                                                                                              the burden of establishing that he or she
                                              admission, and therefore, are subject to                 permanent resident and indicated that
                                                                                                                                                              is clearly and beyond doubt entitled to
                                              admissibility determinations, including                  the government would bear the burden
                                                                                                                                                              be admitted and is not inadmissible
                                              an assessment of whether the alien is                    to demonstrate that the alien is a
                                                                                                                                                              under section 212(a) of the Act, 8 U.S.C.
                                              inadmissible as likely at any time to                    returning resident seeking admission.
                                                                                                                                                              1182(a). Therefore, the burden still lies
                                              become a public charge.164 If CBP                        Subsequently, with IIRIRA, Congress
                                                                                                                                                              with the returning resident to establish
                                                                                                       specified the circumstances under
                                                                                                                                                              that he or she is not inadmissible based
                                                 163 Although Congress did not subject those           which a lawful permanent resident will
                                                                                                                                                              on public charge.
                                              admitted as lawful permanent residents to grounds        be treated as an applicant for admission,
                                              of inadmissibility under INA section 212(a), 8           and provided that when an alien is an                     Comment: One commenter asks
                                              U.S.C. 1182(a), it did codify that an alien’s certain                                                           whether the public charge regulation
                                              conduct or conditions will lead to the alien’s           applicant for admission that the alien
                                              removal from the United States, including                has the burden to establish that he or                 would apply to applicants seeking
                                              inadmissibility on public charge. See INA section        she is clearly and beyond doubt entitled               naturalization.
                                              237, 8 U.S.C. 1227, generally, and INA section
                                              237(a)(5), 8 U.S.C. 1227(a)(5). One basis of removal
                                                                                                       proceedings; (5) have committed an offense                170 See INA sections 235 and 240, 8 U.S.C. 1225
                                              is an alien’s inadmissibility at the time of admission
                                                                                                       identified in INA section 212(a)(2), 8 U.S.C.          and 1229a; see Matter of Rivens, 25 I&N Dec. 623,
                                              or adjustment of status, including being
                                                                                                       1182(a)(2), unless granted a waiver of                 625 (BIA 2011). See INA sections 101(a)(13)(C),
                                              inadmissible for public charge under INA section
                                                                                                       inadmissibility for such offense or cancellation of    240(c)(2), and 291, 8 U.S.C. 1101(a)(13)(C),
                                              212(a)(4), 8 U.S.C. 1182(a)(4). See INA section
                                                                                                       removal; and (6) are attempting to enter at a time     1229a(c)(2), and 1361.
                                              237(a)(1)(A), 8 U.S.C. 1227(a)(1)(A). If the alien is
                                                                                                       or place other than as designated by immigration          171 25 I&N Dec. 623, 626 (BIA 2011).
                                              charged as a deportable alien, the burden of proof
                                                                                                       officers or who have not been admitted to the             172 See Matter of Rivens, 25 I&N Dec. 623, 625
                                              is on the government to show by clear and
                                                                                                       United States after inspection and authorization by    (BIA 2011) (citing Matter of Huang, 19 I&N Dec. 749
                                              convincing evidence that the alien, who has been
                                                                                                       an immigration officer.                                (BIA 1988); Woodby v. INS, 385 U.S. 276 (1966);
                                              admitted, is not deportable. See INA section               165 As explained above, lawful permanent
                                              240(c)(3), 8 U.S.C. 1229a(c)(3).                                                                                and Landon v. Plasencia, 459 U.S. 21 (1982)).
                                                 164 See INA section 101(a)(13)(C), 8 U.S.C.           resident s are not subject to grounds of                  173 See Matter of Rivens, 25 I&N Dec. 623, 625
                                                                                                       inadmissibility after being properly admitted to the   (BIA 2011).
                                              1101(a)(13)(C). According to this provision, lawful
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                                                                                                       United States as an lawful permanent resident             174 See Matter of Rivens, 25 I&N Dec. 623, 626
                                              permanent residents are regarded as an applicant
                                                                                                       within the meaning of INA section 101(a)(20), 8        (BIA 2011).
                                              for admission when they: (1) Have abandoned or
                                                                                                       U.S.C. 1101(a)(20). See INA sections 235(b)(2)(A)
                                              relinquished that status; (2) have been outside the                                                                175 See Matter of Rivens, 25 I&N Dec. 623, 626
                                                                                                       and 240, 8 U.S.C. 1225(b)(2)(A) and 1229a.
                                              United States for a continuous period in excess of         166 See Matter of Rivens, 25 I&N Dec. 623 (BIA
                                                                                                                                                              (BIA 2011) (not reaching the issue because it was
                                              180 days; (3) have engaged in illegal activity after                                                            unnecessary to address the ‘‘open question of who
                                              departing the United States; (4) have departed the       2011).                                                 then bears the burden of showing admissibility, or
                                                                                                         167 See Woodby v. INS, 385 U.S. 276 (1966).
                                              United States while under legal process seeking                                                                 a lack of inadmissibility, once it has been
                                                                                                         168 See Landon v. Plascencia, 459 U.S. 21 (1982).
                                              removal of the alien from the United States,                                                                    determined that an alien is an applicant for
                                              including removal proceedings and extradition              169 Matter of Rivens, 25 I&N Dec. 623 (BIA 2011).    admission.’’).



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                                                 Response: The laws governing                             A commenter requested that asylum                 commenters’ concerns, and that such
                                              naturalization can be found in Title III                 seekers and entrepreneurs, crime                     changes are more in line with the
                                              of the INA. The public charge ground of                  victims, victims and survivors of                    statute.
                                              inadmissibility does not apply in                        domestic violence, and T                                With respect to the commenter’s
                                              naturalization proceedings. DHS notes,                   nonimmigrants seeking adjustment of                  suggestions that asylees, crime victims,
                                              however, that USCIS assesses as part of                  status should be excluded from the rule              victims of domestic violence, and T
                                              the naturalization whether the applicant                 and public charge ground of                          nonimmigrants be exempt from this
                                              was properly admitted as a lawful                        inadmissibility. Similarly, commenters               rule, DHS notes that such individuals
                                              permanent resident and therefore was                     stated that victims of domestic violence,            are generally exempted by statute from
                                              eligible for adjustment based upon the                   human trafficking, and sexual assault                public charge inadmissibility
                                              public charge ground of inadmissibility                  would be harmed as a consequence                     determinations, and that such
                                              at the time of the adjustment of                         since family members sponsored by                    exemptions are also set forth in 8 CFR
                                              status.176                                               victims would be impacted by the                     212.23.177 As explained in the
                                                 Comment: Multiple commenters                          proposed rule.                                       NPRM,178 and addressed further below,
                                              indicated that the proposed rule makes                      Response: Generally, the public                   DHS codified in the regulation those
                                              the path to citizenship more difficult                   charge ground of inadmissibility applies             classifications of nonimmigrants and
                                              and would give the Government the                        to all aliens who are applicants for a               immigrants that Congress exempted
                                              ability to deny a ‘‘broad swath’’ of                     visa, admission, or adjustment of status.            from public charge grounds of
                                              applicants for green cards, especially                   However, as noted previously,                        inadmissibility. DHS will not, and
                                              children who are likely to be self-                      Congress—not DHS—has the authority                   cannot, exempt other classes of aliens
                                              sufficient as adults, teenagers and                      to specify which aliens are exempt from              unless these exemptions are created by
                                              students completing their education,                     public charge inadmissibility                        Congress.179
                                              infant caregivers, the elderly,                          determinations, as well as those who
                                                                                                                                                            2. Applicability and Content of the
                                              immigrants from certain countries, and                   may obtain a waiver of public charge
                                                                                                                                                            Public Benefits Condition
                                              an immigrant previously deemed                           inadmissibility. Therefore, the public
                                              admissible who becomes disabled.                         charge inadmissibility provisions set                   Comment: Citing to the statutory
                                                 Many commenters stated that the rule                  forth in this final rule will apply to all           policy statement set forth in PRWORA,
                                              should not apply to children, and that                   aliens seeking admission or adjustment               a commenter indicated that
                                              doing so would destabilize families,                     of status, or any other immigration                  nonimmigrant applications or petitions
                                              make children unhealthy or more likely                   benefit for which admissibility is                   for extension of stay or change in status
                                              than not to become a public charge as                    required, unless otherwise exempted by               should be subject to inadmissibility on
                                              adults, and may cause some children to                   Congress, irrespective of the alien’s age,           public charge grounds in order to ensure
                                              be excluded while the parent is                          medical condition, economic status,                  their self-sufficiency. By contrast, some
                                              admitted. Some commenters provided                       place of origin, or nationality. With                commenters stated that DHS lacked the
                                              data on the number of children who                       respect to comments suggesting that                  authority to condition of eligibility for
                                              would be impacted by the rule. A                         DHS specifically exclude children,                   extension of stay or change of status on
                                              commenter proposed an exemption                          teenagers, caregivers of infants, the                past, current, or future receipt of public
                                              from public charge for all children up to                elderly, and entrepreneurs, and other                benefits because the public charge
                                              age 18, because such children are                        categories of individuals from the public            inadmissibility ground does not apply
                                              subject to child labor laws and in most                  charge inadmissibility provisions,                   to extension of stay or change of status;
                                              cases still engaged in mandatory                         section 212(a)(4) of the Act, 8 U.S.C.               commenters stated that this provision
                                              education. The commenter also                            1182(a)(4), applies to such aliens                   was therefore not supported by the plain
                                              proposed a three-year grace period                       applying for a visa, admission, or                   language of the statute and is unlawful.
                                              beyond age 18, until age 21. Finally, the                adjustment of status, unless otherwise               A commenter stated in regards to
                                              commenter recommended further                            specified by Congress. DHS has tailored              extension of stay and change of status
                                              extending the commenter’s proposed                       the effects of this rule somewhat for                that DHS’s bald assertion that it
                                              exemption for those aliens who are                       certain populations. On the whole,                   generally has discretion to apply the test
                                              currently engaged in full-time college or                however, DHS lacks the authority to                  to new categories cannot overcome clear
                                              vocational education, and for a three-                   create wholesale exemptions or provide               and unambiguous language from
                                              year grace period after graduation or                    a grace period for broad categories of               Congress to the contrary.
                                              certification. The commenter stated that                 aliens, as suggested by the commenters.                 Some of these commenters also
                                                                                                          DHS notes that does have the                      indicated that nobody would be eligible
                                              this will be a strong incentive for young
                                                                                                       authority to define public charge as it              for extension of stay or change of status
                                              immigrants toward self-sufficiency and
                                                                                                       has in this rule and in doing so, decide             because the proposed regulation asks
                                              positive GDP contribution. A few
                                                                                                       which public benefits are considered for             applicants to prove a negative. Another
                                              commenters added that children born in
                                                                                                       the purposes of this rule. As discussed              commenter disagreed with the proposed
                                              the United States to immigrant parents                   in greater detail below, DHS has made
                                              are United States citizens and therefore                                                                      rule because no one can determine
                                                                                                       some changes to the public benefits that             whether an applicant seeking an
                                              are eligible for public benefits under the               DHS will consider, particularly as it
                                              same eligibility standards as all other                                                                       extension of stay or change of status will
                                                                                                       relates to receipt of Medicaid benefits by           receive public benefits at any time in
                                              United States citizens.                                  aliens under the age of 21 and pregnant              the future.
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                                                176 See INA section 318, 8 U.S.C. 1429.
                                                                                                       women, including women for the 60
                                              Additionally, an individual may become removable
                                                                                                       days following pregnancy, and for                      177 However, DHS notes that T nonimmigrants are

                                              on account of public charge while in lawful              receipt of Medicare Part D LIS. DHS has              not excluded from public charge inadmissibility
                                              permanent resident status, which is a consideration      also clarified the role that age and other           when applying for employment-based adjustment of
                                              which may be assessed at the time of naturalization.                                                          status. See INA section 212(a)(4)(E), 8 U.S.C.
                                                                                                       factors play in the public charge                    1182(a)(4)(E).
                                              See INA section 237(a)(5), 8 U.S.C. 1227(a)(5).
                                              However, the assessment of removability for public
                                                                                                       inadmissibility determination. DHS                     178 See Inadmissibility on Public Charge Grounds,

                                              charge is different from the assessment of public        believes that these changes may at least             83 FR 51114, 51156–57 (proposed Oct. 10, 2018).
                                              charge inadmissibility and is not a part of this rule.   partially address some of the                          179 See 8 CFR 212.23.




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                                                 One commenter stated that because                    after determining that the alien had not                 Under this final rule, nonimmigrants
                                              employment-based nonimmigrant                           received public benefits, and a                       who are seeking an extension of stay or
                                              categories require the employer to                      nonimmigrant subsequently wishes to                   a change of status must only
                                              demonstrate the ability to financially                  apply for another, the condition would                demonstrate that they have not received,
                                              support the nonimmigrant, and further,                  apply again. The same would apply to                  since obtaining the nonimmigrant status
                                              because other nonimmigrants                             a change of status. If, however, an alien             they seek to extend or from which they
                                              classifications such as F and M                         leaves the United States after holding                seek to change, up to the time of the
                                              nonimmigrant students must                              nonimmigrant status, and seeks a new                  adjudication of the application,184 one
                                              demonstrate sufficient financial support                nonimmigrant or immigrant visa based                  or more public benefits for more than 12
                                              during the duration of the                              on a classification that is subject to INA            months in the aggregate within any 36-
                                              nonimmigrant stay, that there are                       212(a)(4), 8 U.S.C. 1182(a)(4), then the              month period.185 This condition will
                                              sufficient financial safeguards in place                public charge ground of inadmissibility               apply to any extension of stay or change
                                              for these nonimmigrants such that this                  will apply. Similar to aliens who are not             of status application or petition
                                              rule poses an unnecessary                               required to obtain a visa but are subject             postmarked (or if applicable,
                                              administrative burden. A commenter                      to INA 212(a)(4), 8 U.S.C. 1182(a)(4)—                electronically submitted) on or after the
                                              indicated that the expansion of the                     DHS would apply the public charge                     effective date of the rule. DHS will not
                                              public charge rule to include additional                ground of inadmissibility at the port of              consider any receipt of public benefits
                                              classifications of nonimmigrants will                   entry.182 Finally, with respect to an                 prior to the rule’s effective date, for
                                              reduce immigration or admission rates.                  alien in the United States who is eligible            purposes of the public benefits
                                                 Response: Neither the NPRM nor this                  to adjust status from a nonimmigrant                  condition for extension of stay or
                                              final rule is intended to apply the public              classification to that of a lawful                    change of status.
                                              charge ground of inadmissibility to                     permanent resident, and the alien is                     Imposing conditions on extension of
                                              extension of stay or change of status                   subject to INA 212(a)(4), 8 U.S.C.                    stay and change of status applications is
                                              applicants. Instead, DHS is exercising                  1182(a)(4), DHS will at the time of                   within DHS’s authority, as Congress
                                              its statutory authority to set a new                    adjudication of an adjustment of status               granted DHS the authority, in sections
                                              condition for approval of extension of                  application make a public charge                      214 and 248 of the Act, 8 U.S.C. 1184
                                              stay and change of status applications—                 inadmissibility determination consistent              and 1258, to regulate conditions and
                                              that the applicant establish that the                   with the requirements of INA 212(a)(4),               periods of admission of nonimmigrants
                                              alien has not received since obtaining                  8 U.S.C. 1182(a)(4), and regulations                  and conditions for change of status,
                                              the nonimmigrant status he or she seeks                 promulgated through this rulemaking.                  respectively. As explained in the NPRM,
                                              to extend or from which he or she seeks                 Therefore, DHS removed the future-                    however, the government’s interest in a
                                              to change, and through adjudication,                    looking aspect of this condition and will             nonimmigrant’s ability to maintain self-
                                              one or more public benefits for more                    not request applicants for an extension               sufficiency does not end with his or her
                                              than 12 months in the aggregate within                  of stay or change of status to submit a               initial admission as a nonimmigrant.186
                                              any 36-month period.180 This condition                  Form I–944. Additionally, DHS made a                  Therefore, given DHS’s authority to set
                                              will apply to any extension of stay or                  technical edit to remove ‘‘currently                  conditions 187 and Congress’ policy
                                              change of status application or petition                receiving public benefits,’’ as the                   statement ‘‘that aliens within the
                                              postmarked (or if applicable, submitted                 reference to the alien having ‘‘received’’            Nation’s borders not depend on public
                                              electronically) on or after the effective               public benefits is sufficiently inclusive             resources to meet their needs,’’ 188 it is
                                              date of the rule.                                                                                             reasonable for DHS to require, as a
                                                                                                      of receipt up to the date of adjudication.
                                                 If the nonimmigrant status the                                                                             condition of obtaining an extension of
                                                                                                      According to preexisting DHS
                                              individual seeks to extend or to which                                                                        stay or change of status, evidence that
                                                                                                      regulations, an applicant must meet an
                                              the applicant seeks to change is                                                                              nonimmigrants inside the United States
                                                                                                      eligibility requirement or a condition
                                              statutorily exempt from the public                                                                            have remained self-sufficient during
                                                                                                      not only at the time of filing but also at
                                              charge ground of inadmissibility,181                                                                          their nonimmigrant stay.
                                                                                                      the time of adjudication,183 which
                                              then the public benefits condition will                                                                          DHS will continue to require that the
                                                                                                      renders superfluous the proposed text                 alien meets his or her burden of proof
                                              not apply.                                              regarding ‘‘currently receiving public
                                                 After considering the comments, DHS                                                                        that he or she is eligible for the status
                                                                                                      benefits.’’ Finally, because DHS has                  requested, including whether the alien
                                              agrees with the commenters that an                      moved the public benefits receipt
                                              assessment of whether the                                                                                     has the financial means, if required by
                                                                                                      threshold from the public benefits                    the laws governing the particular
                                              nonimmigrant is ‘‘likely to receive                     definition to the public charge
                                              public benefits’’ for the expected period                                                                     nonimmigrant classification. The two
                                                                                                      definition, DHS added the ‘‘for more                  aspects of the adjudication (eligibility
                                              of stay, which included the option for                  than 12 months in the aggregate within
                                              USCIS to request submission of a Form                                                                         for the status requested and the public
                                                                                                      any 36-month period (such that, for                   benefit condition) are not duplicative.
                                              I–944 as part of an RFE, might have                     instance, receipt of two benefits in one
                                              been similar to a public charge                                                                               DHS notes that although eligibility for a
                                                                                                      month counts as two months)’’
                                              inadmissibility assessment. In addition,                threshold to the public benefits                        184 See 8 CFR 103.2(b) (Demonstrating eligibility.
                                              applying a prospective element to the                   condition in the extension of stay and                An applicant or petitioner must establish that he or
                                              public benefits condition would likely                  change of status provisions as well                   she is eligible for the requested benefit at the time
                                              be redundant and unnecessary given the                  because the threshold applies to the                  of filing the benefit request and must continue to
                                              finite nature of nonimmigrant status and                                                                      be eligible through adjudication.).
                                                                                                      receipt of public benefits in these
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                                                                                                                                                              185 See 8 CFR 214.1(a)(3)(iv) and (c)(4)(iv); see 8
                                              stay. To the extent DHS grants an                       provisions, as well.                                  CFR 248.1(a) and (c)(4).
                                              extension of stay to a nonimmigrant                                                                             186 See PRWORA’s policy statement at 8 U.S.C.
                                              subject to the public benefit condition                   182 See, e.g., 8 CFR 217.4(a)(1) (Visa Waiver       1601, reiterating that self-sufficiency of all aliens
                                                                                                      Program participants must not be ‘‘inadmissible to    coming to the United States continues to be
                                                180 See, e.g., INA sections 103(a)(3), 214(a)(1),     the United States under one or more of the grounds    national policy.
                                              248(a).                                                 of inadmissibility listed in section 212 of the Act     187 See INA sections 214 and 248, 8 U.S.C. 1184,
                                                181 See Inadmissibility on Public Charge Grounds,     (other than for lack of a visa).’’).                  1258.
                                              83 FR 51114, 51135–36 (proposed Oct. 10, 2018).           183 See 8 CFR 103.2(b).                               188 See 8 U.S.C. 1601(2)(A).




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                                              nonimmigrant status might require some                  judge’s decision, if desired.192 These                  nonimmigrant status, and the alien’s
                                              indication of future self-support, it                   proceedings provide due process to the                  request for an extension of stay or
                                              would generally not require an                          extent required by law.193                              change of nonimmigrant status.197 The
                                              assessment of public benefits received                     Comment: Many commenters noted                       alien’s financial situation may have
                                              since the alien obtained the                            that consular officers already conduct                  changed since the visa was issued or the
                                              nonimmigrant status he or she seeks to                  public charge inadmissibility                           alien was admitted to the United States.
                                              extend or from which he or she seeks to                 assessments and CBP would conduct an
                                                                                                      admissibility determination at the port                 a. Nonimmigrant Students and
                                              change.
                                                 Comment: One commenter said that,                    of entry. Others indicated that the                     Exchange Visitors
                                              according to Mathews v. Eldridge, 424                   proposed changes extension of stay and                     Comment: A commenter pointed out
                                              U.S. 319 (1976), it would be improper                   change of status applications create                    that the new public charge rule would
                                              to implement the public benefits                        duplicative work for applicants and                     apply to students and exchange visitors
                                              condition for change of status applicants               USCIS.                                                  who would seek to change or extend
                                              with no available appeal process. To                       Response: As explained in the                        their status. The commenter indicated
                                              comply with due process rights as                       proposed rule,194 DHS believes that the                 that the new rule, therefore, would
                                              prescribed by Goldberg v. Kelly, 397                    Government interest in ensuring an                      impose new standards and barriers for
                                              U.S. 254 (1970), the commenter                          alien’s self-sufficiency does not end                   students. The commenter added that
                                              suggested that DHS give applicants a                    once a nonimmigrant is admitted to the                  drops in international enrollment would
                                              chance to respond with evidence that                    United States. The Government has an                    have broader ripple effects for United
                                              supports their admissibility, and that                  interest in ensuring that aliens present                States higher education institutions.
                                              DHS should not revoke the status until                  in the United States are self-sufficient.                  Response: To the extent that the rule
                                              the decision had been fully appealed                    This interest does not end once the alien               may impose barriers to those seeking to
                                              through all stages of review.                           is admitted; aliens should remain self-                 extend their stay or change their status,
                                                 Response: DHS disagrees that                         sufficient for the entire period of their               as explained previously, given DHS’s
                                              imposing the public benefits condition                  stay, including any extension of stay or                authority 198 and Congress’ policy
                                              on extension of stay and change of                      additional period of stay due to a                      statement with respect to self-
                                              status applications is improper because                 change of status. Indeed, as set forth by               sufficiency,199 it is reasonable for DHS
                                              it violates due process. DHS notes that                 Congress in PRWORA, ‘‘aliens within                     to impose, as a condition of obtaining an
                                              to the extent that USCIS obtains                        the Nation’s borders [should] not                       extension of stay or change of status, the
                                              derogatory information unknown to the                   depend on public resources to meet                      requirement that the alien demonstrate
                                              applicant relevant to the extension of                  their needs, but rather rely on their own               that he or she has not received public
                                              stay or change of status application,                   capabilities and the resources of their                 benefits as defined in 8 CFR
                                              consistent with 8 CFR 103.2(b)(16)(i),                  families, their sponsors, and private                   212.21(b).200 As discussed previously,
                                              USCIS will provide notice of the                        organizations.’’ 195 The fact that DHS                  DHS has removed the forward-looking
                                              derogatory information and give the                     already considers the applicant’s                       aspect of the public benefits condition.
                                              applicant an opportunity to respond.                    financial status in adjudicating some                   This may ameliorate the consequences
                                              Moreover, applicants for extension of                   extension of stay and change of status                  of the public benefits condition for
                                              stay and change of status will receive                  applications further supports this                      certain nonimmigrants.
                                              notice of deficiencies as appropriate and               policy. Moreover, although the                             Comment: Another commenter stated
                                              consistent with 8 CFR 103.2(b)(8) and                   extension of stay or change of status                   that subjecting extension of stay and
                                              consistent with USCIS’ policy on the                    provisions in the INA and the                           change of status applications and
                                              issuance of certain requests for evidence               regulations do not specifically reference               petitions to the public charge test
                                              and notices of intent to deny,189 before                                                                        produces multiple legal contradictions:
                                                                                                      an alien’s self-sufficiency, consideration
                                              denying an application for an extension                                                                         The commenter provided the example
                                                                                                      of an alien’s self-sufficiency in these
                                              of stay or change of status. In general,                                                                        of international students in F–1 status
                                                                                                      applications is consistent with the self-
                                              under DHS regulations, a denial of an                                                                           who are not eligible to work more than
                                                                                                      sufficiency principles of PRWORA and
                                              extension of stay or change of status                                                                           20 hours off campus or in federally-
                                                                                                      aligns the INA to those principles.196
                                              application cannot be appealed.190                         DHS therefore does not believe that                  subsidized work study positions,
                                              Upon denial of an extension of stay or                  considering an extension of stay or                     asserting that these restrictions greatly
                                              a change of status application, if the                  change of status applicant’s past and                   reduced the amount of income students
                                              alien is removable, DHS can issue an                                                                            can earn and thus, reduces their self-
                                                                                                      current receipt of public benefits over
                                              NTA and place the alien in removal                                                                              sufficiency. The commenter stated that
                                                                                                      the designated threshold in the United
                                              proceedings.191 In removal proceedings,                                                                         the determinations on self-sufficiency in
                                                                                                      States is duplicative of the consular
                                              the alien can challenge the basis for                                                                           one status bear no significance on an
                                                                                                      officer’s public charge inadmissibility
                                              removal, and appeal the immigration                                                                             individual’s ability to be self-sufficient
                                                                                                      assessment at the nonimmigrant visa
                                                                                                                                                              within the legal confines of a different
                                                                                                      stage, given that a certain amount of
                                                189 See USCIS Policy Memorandum Issuance of                                                                   classification.
                                              Certain RFEs and NOIDs; Revisions to Adjudicator’s
                                                                                                      time has passed between an alien’s                         Response: As noted above, DHS
                                              Field Manual (AFM) Chapter 10.5(a), Chapter             consular interview or the alien’s                       disagrees that the rule would require
                                              10.5(b) PM–602–0163 (Jul. 13, 2018) (https://           admission to the United States in
                                              www.uscis.gov/sites/default/files/USCIS/Laws/
                                                                                                                                                                 197 DHS’s authority to specify the conditions, as
                                              Memoranda/AFM_10_Standards_for_RFEs_and_                  192 See
                                              NOIDs_FINAL2.pdf (last visited June 21, 2019).                     INA sections 240 and 242, 8 U.S.C. 1229a     a matter of discretion, under which an alien is
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                                                190 See 8 CFR 214.1(c)(5) and 8 CFR 248.3(g).
                                                                                                      and 1252.                                               eligible for either a change of status or extension of
                                                                                                        193 E.g., Zadvydas v. Davis, 533 U.S. 678, 693
                                                191 See USCIS Policy Memorandum, Updated                                                                      stay can be found in INA section 214(a)(1) and INA
                                                                                                      (2001).                                                 section 248(a); 8 U.S.C. 1184(a)(1) and 1258(a); and
                                              Guidance for the Referral of Cases and Issuance of
                                              Notices to Appear (NTAs) in Cases Involving
                                                                                                        194 See Inadmissibility on Public Charge Grounds,     8 CFR 214.1 and 8 CFR 248.1.
                                              Inadmissible and Deportable Aliens (June 28, 2018),     83 FR 51114, 51135–36 (proposed Oct. 10, 2018).            198 See INA section 214 and 248, 8 U.S.C. 1184

                                              https://www.uscis.gov/sites/default/files/USCIS/          195 See 8 U.S.C. 1601(2)(A).                          and 1258.
                                                                                                        196 See Southern S.S. Co. v. N.L.R.B., 316 U.S. 31,      199 See 8 U.S.C. 1601.
                                              Laws/Memoranda/2018/2018-06-28-PM-602-0050.1-
                                              Guidance-for-Referral-of-Cases-and-Issuance-of-         47 (1942) (requiring ‘‘careful accommodation of one        200 See 8 CFR 214.1(a)(3)(iv) and (c)(4)(iv), and 8

                                              NTA.pdf (last visited May 8, 2019).                     statutory scheme to another. . . .’’).                  CFR 248.1(c)(4).



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                                              individuals seeking extension of stay or                sufficiency. As explained above, a                    to that of an H–2A nonimmigrant,
                                              change of status to show they are not                   student is required, as part of the                   absent any indication of an alien’s
                                              inadmissible under section 212(a)(4), 8                 eligibility for the nonimmigrant                      receipt of the designated public benefits
                                              U.S.C. 1182(a)(4). At the time of the                   classification, to establish that he or she           for more than 12 months in the
                                              application for a nonimmigrant visa, the                has sufficient funds to study in the                  aggregate in a 36-month period since
                                              alien must demonstrate to DOS that he                   United States; students are thus                      obtaining the nonimmigrant status from
                                              or she is not likely at any time in the                 admitted with the expectation of self-                which they seek to change, USCIS will
                                              future to become a public charge.                       sufficiency. The public benefits                      approve the application if the alien
                                              Similarly, at the time a nonimmigrant                   condition created by this rule would not              meets the eligibility requirement for the
                                              applies for admission, he or she must                   be inconsistent with such expectation.                nonimmigrant classification.
                                              demonstrate to CBP that he or she is not                                                                      Additionally, as commenters pointed
                                                                                                      b. Workers
                                              likely at any time in the future to                                                                           out, nonimmigrants are generally
                                              become a public charge.                                    Comment: A commenter pointed out                   ineligible for public benefits that would
                                                 However, when seeking an extension                   that the new public charge rule applies               be considered in connection with this
                                              of stay or change of status as a                        to specialty workers and their                        rule. DHS understands the concerns
                                              nonimmigrant student 201 or                             dependents who would seek admission                   addressed by the commenter regarding
                                              nonimmigrant exchange visitor,202 the                   or those who seek to change or extend                 the practices of nonimmigrant workers
                                              alien will not need to establish that he                their status. A commenter indicated that              and potential abuses of the programs,
                                              or she is not likely at any time in the                 the new rule would impose new                         and therefore encourages the reporting
                                              future to become a public charge                        standards and barriers not only on                    of any such abuse through the channels
                                              because those seeking extension of stay                 foreign workers, but also on employers                provided by DHS or the Department of
                                              or change of status are not subject to the              because of the unpredictability of the                Labor (DOL).203
                                              public charge ground of inadmissibility.                public charge determination and                         As previously indicated, given
                                              However, the alien will need to                         because wages alone would not be the                  Congress’ policy statement with respect
                                              demonstrate that he or she has sufficient               determining factor. Citing to research                to self-sufficiency, and DHS’s authority
                                              funds to pay tuition and related costs as               and data on the population size and                   to promulgate a rule addressing public
                                              part of the application for extension of                impact that the rule would have on H–                 charge inadmissibility, it is reasonable
                                              stay or change of status to a                           2A nonimmigrant workers, several other                for DHS to impose, as a condition of
                                              nonimmigrant. Further, the alien must                   commenters stated that H–2A                           obtaining an extension of stay or change
                                              demonstrate that he or she has not                      nonimmigrant workers would be
                                                                                                                                                            of status, the requirement that the alien
                                              received, since obtaining the                           affected and that the rule would isolate
                                                                                                                                                            demonstrate that he or she has not
                                              nonimmigrant status he or she seeks to                  H–2A nonimmigrant workers. One
                                                                                                                                                            received public benefits as defined in
                                              extend or change and through the time                   commenter, for example, also stated that
                                                                                                                                                            the rule. DHS notes that it has removed
                                              of filing and adjudication, one or more                 the rule’s criteria for factors to be
                                                                                                                                                            the forward-looking aspect of the public
                                              public benefits as defined in the rule,                 considered in the totality of the
                                                                                                                                                            benefits condition. This may ameliorate
                                              for more than 12 months in the                          circumstances test disadvantages
                                                                                                                                                            the consequences of the public benefits
                                              aggregate within any 36-month period                    farmworkers who seek to either apply to
                                                                                                                                                            condition for certain nonimmigrants.
                                              (such that, for instance, receipt of two                adjust to lawful permanent resident
                                                                                                                                                              Comment: One commenter stated that
                                              benefits in one month counts as two                     status or apply for or extend their
                                                                                                      nonimmigrant status. The commenter                    the proposed rule would be detrimental
                                              months).
                                                                                                      indicated that many farmworkers,                      to South Asian organizations that
                                                 DHS disagrees that subjecting
                                                                                                      domestic, and H–2A workers would                      sponsor nonimmigrant religious workers
                                              extension of stay and change of status
                                              applicants to this new condition is                     find themselves determined to be a                    and the rule would deem most of them
                                              legally contradictory because a student’s               public charge due to factors beyond                   inadmissible to the United States as
                                              restriction on employment in the United                 their control, such as low wages,                     public charges. The commenter stated
                                              States reduces an alien’s self-                         poverty-level income, and lack of health              that as part of a petition from, a
                                                                                                      insurance. Commenters stated that H–                  sponsoring institution, usually a non-
                                                 201 See 8 CFR 214.1(f)(1)(B) (requiring that the     2A nonimmigrant workers undergo a                     profit entity supported through
                                              student presents documentary evidence of financial      public charge assessment at the consular              volunteer contributions, it would
                                              support in the amount indicated on the SEVIS Form
                                                                                                      office, and once in the United States,                provide free housing, all meals, and
                                              I–20 (or the Form I–20A–B/I–20ID)); 8 CFR                                                                     health insurance to the religious worker
                                              214.1(m)(1)(B) (requiring that student documents        they are not eligible for the vast majority
                                              financial support in the amount indicated on the        of public benefits but are provided                   as part of the employment package and
                                              SEVIS Form I–20 (or the Form I–20M–N/I–20ID);           housing by their employer. A                          may offer a small stipend to cover
                                              see AFM Chapter 30.3(c)(2)(C) (applicants to change
                                                                                                      commenter also stated that H–2A                       incidental expenses in lieu of a salary.
                                              status to a nonimmigrant student must demonstrate                                                             The commenter indicated that such an
                                              that they have the financial resources to pay for       nonimmigrant workers are already
                                              coursework and living expenses in the United            reluctant to seek services due to fear of             employment offer, with its mix of
                                              States); see also 22 CFR 41.61(b)(1)(ii) (requiring     employer retaliation, and that this rule’s            monetary and non-monetary
                                              that F and M nonimmigrants possess sufficient
                                                                                                      chilling effect could further isolate them            compensation, might be insufficient to
                                              funds to cover expenses while in the United States                                                            overcome the public charge grounds
                                              or can satisfy the consular officer that other          from the communities where they work
                                              arrangements have been made to meet those               and live. Thus, H–2A nonimmigrant                     based on the totality of the
                                              expenses).                                              workers would face delays and
                                                 202 See 8 CFR 214.2(j)(1) (admission upon                                                                     203 USCIS has web pages and email addresses
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                                                                                                      uncertainty in the extension of their visa
                                              presentation of SEVIS Form DS–2019, issued by                                                                 dedicated to combating suspected H–1B and H–2B
                                              DOS); 22 CFR 41.62(b)(2) (requiring that J              status, and may become more                           fraud or abuse. Anyone, including both U.S. and
                                              nonimmigrants possess sufficient funds to cover         vulnerable to recruitment fees and agent              foreign workers who suspect they or others may be
                                              expenses or have made other arrangements to             costs which, while prohibited, are a                  the victim of fraud or abuse, can email USCIS to
                                              provide for expenses before DOS can approve DS–         common abuse. The commenters urged                    submit tips, alleged violations, and other relevant
                                              2019 and the visa). See also AFM Chapter                                                                      information. See USCIS, Report Labor Abuses,
                                              30.3(c)(2)(C) (applicant to change status to exchange   DHS to withdraw the rule in its entirety.             https://www.uscis.gov/working-united-states/
                                              visitor must show approved DS–2019 (formerly               Response: For aliens seeking to                    information-employers-employees/report-labor-
                                              known as IAP–66).                                       extend their stay or change their status              abuses (last visited May 8, 2019).



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                                              circumstances test proposed in the                         create a wholesale ‘‘exemption’’ to a                   migrant children and pregnant women
                                              NPRM.                                                      generally applicable regulation; rather,                are eligible for Medicaid. Commenters
                                                 Response: For aliens seeking to                         it permits an applicant to seek specific                stated that workers may either disenroll
                                              extend their stay or change their status                   relief which may or may not be                          from these types of programs because of
                                              to that of religious workers, absent any                   complied with. Whether the RFRA                         the applicability to nonimmigrants
                                              indication of an alien’s receipt of the                    applies to a given applicant is a case-by-              seeking admission or be blocked from
                                              designated public benefits for more than                   case determination.208 Therefore, for                   entering the United States. One
                                              12 months in the aggregate in a 36-                        extension of stay and change of status                  commenter stated that ‘‘[t]his rule could
                                              month period, USCIS will approve the                       purposes, DHS would still apply the                     be used to deny COFA entry and ability
                                              application if the alien meets the                         public benefit condition to religious                   to live in the [United States] thereby
                                              eligibility requirement for the                            workers and review each case and each                   abandoning our Nation’s commitment to
                                              nonimmigrant classification.                               request individually.                                   our Pacific allies, including the more
                                              Additionally, as commenters pointed                           With respect to admission and                        than 61,000 COFA persons currently
                                              out, nonimmigrants are generally                           adjustment of status, the fact that the                 residing in the United States.’’
                                              ineligible for public benefits that would                  alien has an employment offer to work                      Response: DHS appreciates the
                                              be considered in connection with this                      in the United States as well as monetary                comments on the impact of the rule on
                                              rule.                                                      and non-monetary compensation are                       COFA migrants and appreciates the
                                                 As previously indicated, given                          positive factors that generally indicate                continued relationship between COFA
                                              Congress’ policy statement with respect                    that the alien has sufficient assets and                nations and the United States. Under
                                              to self-sufficiency, and DHS’s authority                   resources to be self-sufficient while                   the agreements and resulting
                                              to promulgate a rule addressing public                     present in the United States.209 As                     regulations, citizens of the Republic of
                                              charge inadmissibility, it is reasonable                   previously noted, the public charge                     the Marshall Islands, the Federated
                                              for DHS to impose, as a condition of                       determination is an assessment                          States of Micronesia, and the Republic
                                              obtaining an extension of stay or change                   considering all statutory mandated                      of Palau may enter into the United
                                              of status, the requirement that the alien                  factors in the totality of the                          States as nonimmigrants, lawfully
                                              demonstrate that he or she has not                         circumstances and that one factor alone                 engage in employment, and establish
                                              received public benefits as defined in                     is not outcome determinative.                           residence in the United States without
                                              the rule. DHS notes that it has removed                    Separately, if an individual is required                regard to certain grounds of
                                              the forward-looking aspect of the public                   to obtain a visa from the DOS to                        inadmissibility.210 Certain COFA
                                              benefits condition. This may ameliorate                    facilitate entry into the United States,                citizens are subject to a modified
                                              the consequences of the public benefits                    the inadmissibility determination with                  version of the public charge ground of
                                              condition for certain nonimmigrants.                       respect to whether to issue a visa is in                deportability, which is not directly
                                                 DHS acknowledges that, once the rule                    the jurisdiction of DOS.                                affected by this rule.211 But Congress
                                              is effective, certain religious workers                                                                            did not exempt foreign nationals
                                              seeking admission to the United States                     d. Compact of Free Association Migrants
                                                                                                                                                                 entering the United States under COFA
                                              as nonimmigrants could be impacted by                        Comment: Several commenters                           from the public charge ground of
                                              this rule. As part of the determination                    addressed Compact of Free Association                   inadmissibility, or otherwise modify the
                                              of whether any alien is likely at any                      (COFA) migrants from the Republic of                    applicability of such ground of
                                              time in the future to become a public                      the Marshall Islands, Federated States of               inadmissibility with respect to COFA
                                              charge, DHS will consider whether the                      Micronesia and the Republic of Palau,                   migrants. And Congress expressly
                                              alien has sufficient assets and resources                  who are able to reside in the United                    reiterated DHS’s authority under section
                                              for the purpose of his or her stay in the                  States as nonimmigrants under treaty                    214(a)(1) of the INA, 8 U.S.C. 1184(a)(1),
                                              United States upon admission.204 DHS                       obligations. Commenters stated that                     ‘‘to provide that admission as a
                                              believes that this regulation, and other                   while COFA migrants are not eligible for                nonimmigrant shall be for such time
                                              provisions of the INA and implementing                     many federal public benefits, some do                   and under such conditions as the
                                              regulations, can be administered                           participate in state and local programs,                Government of the United States may by
                                              consistently with the Religious Freedom                    especially health insurance, and COFA                   regulations prescribe.’’ 212 DHS
                                              Restoration Act of 1993 (RFRA).205 As                                                                              acknowledges that COFA migrants may
                                              DHS has noted previously, ‘‘[a]n                           alleged RFRA claim arose’’ are not ‘‘person[s]’’        be affected by this rulemaking when
                                                                                                         within the meaning of RFRA. Rasul v. Myers, 512
                                              organization or individual who believes                    F.3d 644, 672 (D.C. Cir.), cert. granted, judgment
                                                                                                                                                                 applying for admission at a port of entry
                                              that the RFRA may require specific                         vacated on other grounds, 555 U.S. 1083 (2008).
                                              relief from any provision of this                             208 See generally Federal Law Protections for           210 Under these compacts, foreign nationals

                                              regulation may assert such a claim at the                  Religious Liberty, 82 FR 49668, 49669 (Oct. 26,         falling under COFA are able to enter without regard
                                                                                                         2017) from DOJ.                                         to inadmissibility under INA section 212(a)(5) and
                                              time they petition for benefits.’’ 206                        209 Regulations that permit certain religious        (7)(B)(i)(II), 8 U.S.C. 1182(a)(5) and (7)(B)(i)(II). See
                                              Similarly, DHS acknowledges that any                       workers to self-support, 8 CFR 214.2(r)(11)(ii),        Compact of Free Association Amendment Act of
                                              individual or organization who                             require submission of ‘‘verifiable evidence             2003, Public Law 108–188, 117 Stat. 2720 (Dec. 17,
                                              identifies a substantial burden on his,                    acceptable to USCIS’’ that document ‘‘the sources       2003); see also Compact Free Association Approval
                                                                                                         of self-support.’’ These sources of self-support are    Act, Public Law 99–658, 100 Stat. 3672 (Nov. 14,
                                              her, or an organization’s exercise of                                                                              1986) (regarding the Republic of Palau); see also 8
                                                                                                         a positive factor in the public charge determination.
                                              religion such that the RFRA may require                    Additionally, as noted above, any individual or         CFR 212.1(d).
                                              specific relief may assert such a                          organization who identifies a substantial burden on        211 See Public Law 108–188, 117 Stat. 2720, 2762,

                                              claim.207 Note, the RFRA does not                          his, her, or an organization’s exercise of religion     2800 (Dec. 17, 2003) (providing that with respect to
                                                                                                                                                                 citizens of the Federated States of Micronesia and
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                                                                                                         such that the RFRA may require specific relief from
                                                                                                         any provision of this rule may assert such a claim.     the Republic of the Marshall Islands, ‘‘section
                                                204 See 8 CFR 214.2(r)(11).
                                                                                                         Separately, as noted in the preamble of a different     237(a)(5) of [the INA] shall be construed and
                                                205 Public Law 103–141, sec. 3, 107 Stat. 1488,          rule, ‘‘self-supporting religious workers who are not   applied as if it reads as follows: ‘any alien who has
                                              1488 (Nov. 16, 1993).                                      eligible for admission to the United States as R–1      been admitted under the Compact, or the Compact,
                                                206 Special Immigrant and Nonimmigrant                                                                           as amended, who cannot show that he or she has
                                                                                                         nonimmigrant religious workers may pursue
                                              Religious Workers, 73 FR 72276, 72283 (2008)               admission in the B–1 classification.’’ Special          sufficient means of support in the United States, is
                                              codified at 8 CFR pts. 204, 214, 299.                      Immigrant and Nonimmigrant Religious Workers,           deportable’’’); 8 CFR 214.7(e)(1).
                                                207 Note that individuals ‘‘located outside              73 FR 72282 (2008) codified at 8 CFR pts. 204, 214,        212 See Public Law 108–188, 117 Stat. 2720, 2762,

                                              sovereign United States territory at the time their        299.                                                    2800 (Dec. 17, 2003).



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                                              or when applying for adjustment of                      proposed rule’s intention to streamline               asylum application and obtaining asylee
                                              status before USCIS, but respectfully                   all abused-spouse applications under                  status. Refugees who are seeking
                                              submits that Congress never exempted                    the VAWA umbrella, the commenter                      admission to the United States are not
                                              COFA nonimmigrants from the public                      said USCIS and DHS must ensure there                  subject to public charge grounds of
                                              charge ground of inadmissibility.                       is no negative impact to survivors who                inadmissibility and DHS will not
                                                 DHS notes, however, that because                     choose to seek adjustment of status. A                determine whether they may be likely to
                                              COFA migrants are not required to                       few commenters specifically stated that               become a public charge in the United
                                              obtain an extension of their                            human trafficking survivors would be                  States as part of the refugee admission.
                                              nonimmigrant stay to remain in the                      negatively impacted by the significant                Similarly, refugees or asylees seeking
                                              United States pursuant to COFA, such                    delays and increased adjudication                     adjustment based on their refugee or
                                              nonimmigrants are unlikely to be                        expenses. Other commenters expressed                  asylee status, are not subject to the
                                              affected by public benefits condition                   concerns about permitting refugees and                public charge inadmissibility ground,
                                              applicable to extension of stay                         asylees to continue to receive healthcare             and therefore, the use of public benefits
                                              applications. In addition, as noted                     while excluding foreign nationals who                 is not considered. Therefore, DHS
                                              elsewhere in this rule, to the extent that              have immigrated here with the proper                  believes that the commenters’ concerns
                                              COFA migrant children under 21 and                      documentation (i.e., legally) and are                 regarding the rule’s impact on asylees
                                              pregnant women receive Medicaid, such                   going through the process to obtain                   and refugees are sufficiently addressed.
                                              receipt would not be considered under                   permanent residency here in the United                   Similarly, applicants for T
                                              this rule.                                              States. These commenters said that this               nonimmigrant visas are also generally
                                                                                                      is logical fallacy, at best, and at worst,            exempt from the public charge
                                              3. Exemptions and Waivers With                          it is unjustified discrimination.                     inadmissibility ground,215 and, as
                                              Respect to the Rule Generally                              Response: DHS believes that the                    established below, DHS also agrees with
                                              a. General Comments                                     current organization of the regulations               the commenters that T nonimmigrants
                                                                                                      and exemptions clearly communicates                   applying for adjustment of status should
                                                 Comment: Many commenters
                                                                                                      who is exempt from the public charge                  generally be exempt from public
                                              supported the exemptions proposed in                                                                          charge.216 Additionally, Congress
                                                                                                      ground of inadmissibility and who may
                                              the NPRM, but a few of the commenters                                                                         generally exempted VAWA self-
                                                                                                      be eligible for a waiver of the
                                              suggested that exemptions be clearly                                                                          petitioners from the public charge
                                                                                                      inadmissibility ground. DHS has also
                                              communicated. Some commenters                                                                                 ground of inadmissibility.217 Also, in
                                                                                                      added the summary table in subsection
                                              requested that the discussion of                                                                              response to comments and for reasons
                                                                                                      III.F.4 below. DHS declines to
                                              exemptions should be moved earlier in                                                                         explained in the section addressing
                                                                                                      implement the suggestions for
                                              the regulation or included in the                                                                             public benefits, DHS has amended 8
                                                                                                      reorganizing the final rule because the
                                              executive summary of the preamble, to                                                                         CFR 212.21(b) by providing that public
                                                                                                      current organization sufficiently
                                              avoid any confusion. Other commenters                                                                         benefits received by those who are in a
                                                                                                      addresses visibility.
                                              expressed their support for the                            DHS does not agree that the rule                   status exempted from public charge will
                                              exemptions and waivers but indicated                    should be more limited in scope and not               not be considered in a subsequent
                                              that DHS should ensure that immigrant                   consider public benefits as part of the               adjudication of a benefit that does
                                              communities and service providers be                    public charge inadmissibility                         subject the alien to the public charge
                                              made aware of these exemptions.                         determination. The purpose of this rule               ground of inadmissibility. This step
                                                 Many commenters expressed concern                    is to implement the public charge                     should further alleviate concerns that a
                                              about the rule’s impact on the                          ground of inadmissibility consistent                  person in one of the listed categories
                                              vulnerable populations specifically                     with the principles of self-sufficiency               would be subject to the public charge
                                              excluded from public charge                             set forth by Congress, and to minimize                ground.
                                              requirements, such as refugees, asylum                  the incentive of aliens to attempt to                    DHS also disagrees that this rule
                                              seekers, victims of trafficking, and                    immigrate to, or to adjust status in, the             discriminates against aliens who are not
                                              VAWA petitioners, who may avoid                         United States due to the availability of              asylees or refugees. Congress, in
                                              applying for or accepting any public                    public benefits.213                                   PRWORA, made the decision as to
                                              benefits for which they qualify, to avoid                  DHS disagrees with the commenters                  which noncitizens are eligible to apply
                                              any negative impact on the adjudication                 who indicated that this rule would                    for and receive certain public benefits.
                                              of their benefit requests and for fear of               negatively impact refugees, asylum                    Congress decided that asylees and
                                              future repercussions. One commenter                     seekers, victims of trafficking, and                  refugees should be eligible to apply for
                                              indicated that the exemptions for                       VAWA self-petitioners and that the                    public benefits, and DHS does not have
                                              asylees and refugees appear to be based                 exemptions should be broader. As noted                the authority to include or exclude any
                                              on their status at the time of admission                in the NPRM and previous sections in                  groups from the receipt of public
                                              or grant of status but do not apply to                  this final rule, the public charge ground             benefits.
                                              those whose application for asylum or                   of inadmissibility does not generally                    Comment: A commenter stated the
                                              refugee status is pending and who may                   apply to these populations. Congress                  rule should exempt people with
                                              be eligible for public benefits during                  expressly exempted refugees, asylees,                 disabilities and their families, stating
                                              that period.                                            and applicants for adjustment based on                many of these families come to the
                                                 Multiple commenters stated that                      refugee or asylee status from the public              United States in order to receive
                                              while the proposed rule exempts VAWA                    charge inadmissibility ground.214                     adequate medical care. Commenters
                                              petitioners and U nonimmigrant status,
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                                                                                                      Therefore, if an individual has a                     opposed including immigrants with
                                              the exemptions will not protect a large                 pending application for asylum, the
                                              number of victims from the detrimental                  individual will not be assessed for
                                                                                                                                                              215 See INA sections 101(a)(15)(T) and

                                              effects of the public charge rule since                                                                       212(d)(13)(A), 8 U.S.C. 1101(a)(15)(T) and
                                                                                                      public charge for purposes of the                     1182(d)(13)(A).
                                              there are many victims of domestic                                                                              216 See INA sections 101(a)(15)(T) and 245(l)(2), 8
                                              violence and sexual assaults that seek                    213 See8 U.S.C. 1601.                               U.S.C. 1101(a)(15)(T) and 1255(l)(2).
                                              status in other immigration categories.                   214 SeeINA sections 207, 208, and 209; 8 U.S.C.       217 See INA section 212(a)(4)(E)(i), 8 U.S.C.

                                              While a commenter agreed with the                       1157, 1158, and 1159.                                 1182(a)(4)(E)(i).



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                                              disabilities in the proposed rule because                  be subject to public charge ground of                adjustment of status based on an SIJ
                                              disability is one of the strongest known                   inadmissibility and which are exempt.                determination are exempt from the
                                              factors that affect a household’s food                     Congress did not provide an exemption                public charge inadmissibility ground. If
                                              security and housing instability. Some                     from the public charge ground of                     aliens who are not subject to the public
                                              commenters said DHS should make an                         inadmissibility for aliens seeking a visa,           charge ground of inadmissibility choose
                                              exception for pregnant women. Another                      admission, or adjustment of status and               to disenroll from or forego public
                                              commenter asked that DHS provide                           who may have been certified for benefits             benefit receipt based on this rule, then
                                              more exemptions and waivers,                               under the authorization of another, such             the decision to disenroll from or forego
                                              suggesting that the rule should be                         as the head of household or the                      enrollment is unwarranted. The NPRM
                                              narrowed to only apply to those seeking                    guardian who applied on the alien’s                  provided an exhaustive list of
                                              entry into the United States initially or                  behalf. DHS acknowledges that those                  individuals who are exempt from the
                                              to provide extra protection to those in                    dependents who are certified for or                  public charge ground of inadmissibility,
                                              the United States to lessen the fears of                   receiving public benefits under the                  and this final rule retains that list of
                                              the proposed rule’s negative effects.                      authorization of another, such as the                exemptions. DHS will not consider
                                                 Response: Congress generally                            head of the household or the guardian,               receipt of public benefits by aliens
                                              specifies, in legislation, to whom                         may be unaware of the receipt of public              exempt from the public charge ground
                                              grounds of inadmissibility apply and                       benefits but will, once the rulemaking is            inadmissibility, even if the exempted
                                              which classes of aliens are exempt from                    effective, may be impacted by such                   alien has an alien family member who
                                              public charge. DHS understands that                        receipt of public benefits, if they are              is not exempt. DHS notes that this rule
                                              individuals with disabilities and                          subject to the public charge ground of               also categorically exempts receipt of
                                              pregnant women may be affected by this                     inadmissibility.                                     Medicaid by children under the age of
                                              rule. However, Congress did not provide                       After having reviewed the comments,               21, which should reduce the potential
                                              an exemption for individuals with                          however, DHS has decided to provide                  for confusion.
                                              disabilities or pregnant women in the                      additional clarification regarding such
                                              statute.218                                                matters. As explained in detail in the               c. Certain Employment Based Preference
                                                 Additionally, DHS cannot limit the                      public benefits section in this preamble,            Categories, or National Interest Waiver
                                              application of the ground of                               DHS has added a new definition of                       Comment: One commenter requested
                                              inadmissibility in a matter so that it                     ‘‘receipt of public benefits’’ to section            that individuals applying for lawful
                                              only applies to those seeking entry into                   212.21(e) to clarify that DHS will only              permanent resident status via approved
                                              the United States or so that DHS                           consider the alien to have received a                EB–1A (extraordinary ability alien), EB–
                                              provides extra protections because                         public benefit if the alien is a named               1B (outstanding researcher or scientist),
                                              Congress, in section 212(a)(4) of the Act,                 beneficiary of the benefit. An alien does            or National Interest Waiver (NIW)
                                              8 U.S.C. 1182(a)(4) specified that the                     not receive a benefit merely by virtue of            petitions be added to the list of those
                                              ground of inadmissibility applies to                       having applied or been certified for such            exempted from the rule. The commenter
                                              those seeking a visa, admission to the                     benefit, and has not received a public               stated that the vast majority of these
                                              United States, or adjustment of status in                  benefit if the alien acted not on his or             individuals may need to resort to using
                                              the United States. Classes of aliens                       her own behalf but on behalf of another              the designated benefits, and it would be
                                              exempt from the public charge ground                       person. Therefore, if an alien is the                completely contrary to the intent of
                                              of inadmissibility are listed in 8 CFR                     person receiving benefits on behalf of               Congress in passing the EB–1A, EB–1B
                                              212.23. Certain aspects of this rule limit                 another (for instance as a parent, legal             and NIW statutes to deny scientific
                                              some of the rule’s effects, such as by                     guardian) the alien will not be                      researchers green cards who would
                                              relying on an exhaustive list of non-cash                  considered to have received, been                    otherwise be benefiting the lives of
                                              benefits, and excluding consideration of                   certified for, or applied for such public            literally millions of U.S. citizens.
                                              certain benefits for certain populations                   benefit.                                                Response: DHS disagrees that this rule
                                              or circumstances. DHS believes that this                                                                        is contrary to congressional intent in
                                              is sufficient.                                             b. Special Immigrant Juvenile                        passing the EB–1A, EB–1B and NIW
                                                 Comment: A commenter                                       Comment: A commenter stated that                  statutes. Congress did not exempt
                                              recommended adding exemptions from                         the proposed rule would conflict with                employment based EB–1A or EB–1B
                                              the public charge ground of                                the purpose of Special Immigrant                     categories, or those seeking an NIW,
                                              inadmissibility for those who have been                    Juvenile (SIJ) status, asserting that the            from the public charge ground of
                                              certified for benefits under the                           purpose of the status is to allow                    inadmissibility.219 DHS neither has the
                                              authorization of another person, such as                   children to thrive in the United States
                                              the head of household or guardian. The                     and that children are not responsible for               219 See INA section 203(b)(1)(A), 8 U.S.C.

                                              commenter reasoned that the                                their circumstances. Although SIJ                    1153(b)(1)(A) (aliens with extraordinary ability) or
                                                                                                                                                              INA section 203(b)(1)(B), 8 U.S.C. 1153(b)(1)(B)
                                              dependents may not have been aware                         recipients are statutorily exempt from               (outstanding professors and researchers). See INA
                                              that this occurred or even that they                       inadmissibility on public charge                     section 203(b)(2), 8 U.S.C. 1153(b)(2) (aliens who
                                              receive a benefit.                                         grounds, this rule would still affect SIJ            are members of the professions holding advance
                                                 Response: DHS disagrees that it                         youth indirectly because of its scope,               degrees or aliens of exceptional ability who are
                                                                                                                                                              seeking a waiver of the job over in the national
                                              should exempt from the public charge                       secondary effects on families, and                   interest); see also comment USCIS 2010–0012–
                                              ground of inadmissibility those who                        potential for confusion. Many of these               31111. The commenter explained that the work
                                              have been certified for benefits under                     youth live in homes with U.S. citizen or             these individuals perform is of great importance to
                                                                                                                                                              the United States and have a profound impact on
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                                              the authorization of another, such as the                  permanent resident adults or siblings
                                                                                                                                                              the U.S. economies. However, the commenter
                                              head of household or guardian, if the                      who would be entitled to benefits but                indicated, a vast majority of these individuals who
                                              beneficiary is an alien subject to the                     may be deterred from accessing them                  are conducting scientific research earn low salaries
                                              public charge ground of inadmissibility.                   because of a fear of how it will affect the          below the 250% threshold and may need to resort
                                              In general, Congress has the authority to                  SIJ youth or other family members.                   to using these types of benefits the proposed
                                                                                                                                                              regulation is seeking to prohibit, especially for their
                                              legislate which classes of aliens should                      Response: DHS disagrees that this rule            U.S. citizen children. The commenter indicated that
                                                                                                         conflicts with the SIJ program. As stated            it would be contrary to congressional intent to
                                                218 See   INA sections 212(a)(4), 8 U.S.C. 1182(a)(4).   in the proposed rule, aliens applying for            apply public charge to these workers.



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                                              authority to exempt an applicant or a                    inadmissibility to all foreign national                  8 U.S.C. 1183a. Such individuals,
                                              group of applicants for admission or                     victims who are ‘‘qualified aliens’’                     however, would not need to
                                              adjustment of status from the public                     under section 431(c) of PRWORA, 8                        demonstrate, as set forth in paragraphs
                                              charge ground of inadmissibility where                   U.S.C. 1641(c), including T                              212(a)(4)(A) and (B), 8 U.S.C. 1182(A)
                                              Congress has not already done so,220 nor                 nonimmigrant status holders.223                          and (B), that he or she is not likely at
                                              has the authority to ignore the                             Response: DHS agrees that qualified                   any time to become a public charge.
                                              congressionally-mandated exemptions                      aliens under 8 U.S.C. 1641(c) (certain                   Those applicants would not need to
                                              to the public charge ground of                           battered aliens as qualified aliens) are                 submit Form I–944. As such, such
                                              inadmissibility. Because Congress has                    generally not subject to the public                      applicants would only have to submit a
                                              expressly exempted asylees and                           charge inadmissibility ground. Section                   sufficient affidavit of support described
                                              refugees from the public charge                          212(a)(4)(E)(iii) of the INA, 8 U.S.C.                   in section 213A of the INA, 8 U.S.C.
                                              inadmissibility ground, DHS cannot                       1182(a)(4)(E)(iii), specifically excludes                1183a.
                                              remove this exemption. Further,                          such individuals from the public charge                     For the reasons stated above, DHS is
                                              because Congress did not specifically                    ground.224 VAWA 2013, which added                        amending proposed 8 CFR
                                              exempt EB–1A or EB–1B workers, or                        section 212(a)(4)(E)(iii) of the INA, 8                  212.23(a)(18), (19), (20), (21), and 8 CFR
                                              those with NIWs, from the public charge                  U.S.C. 1182(a)(4)(E)(iii), specifically                  212.23(b) in this final rule to clarify that
                                              ground of inadmissibility, DHS may not                   excludes individuals such as qualified                   aliens exempt under section 212(a)(4)(E)
                                              create an exemption for them in this                     aliens described in 8 U.S.C. 1641(c)                     of the INA, 8 U.S.C. 1182(a)(4)(E), that
                                              rule.221                                                 (including T nonimmigrants and certain                   are adjusting status based on an
                                                                                                       battered spouses and children of U.S.                    employment-based petition subject to
                                              d. Violence Against Women Act, T, and                    citizens), VAWA self-petitioners, and U                  section 212(a)(4)(D) of the INA, 8 U.S.C.
                                              U                                                        nonimmigrants from sections                              1182(a)(4)(D), that requires the
                                                 Comment: A commenter provided the                     212(a)(4)(A), (B), and (C) of the INA, 8                 execution of an affidavit of support as
                                              statutory amendment history of 8 U.S.C.                  U.S.C. 1182(a)(4)(A), (B), and (C).                      described in section 213A of the Act, 8
                                              Section 1641, and stated that VAWA, T,                      Congress, however, did not include                    U.S.C. 1183a, are not exempt from the
                                              and U visa victims and all other                         paragraph (D) among the exemptions in                    entirety of section 212(a)(4) of the INA,
                                              immigrants covered by 8 U.S.C. 1641(c)                   section 212(a)(4)(E) of the INA, 8 U.S.C.                1182(a)(4), as they are still subject to
                                              cannot be subject to public charge under                 1182(a)(4)(E). We must presume that                      section 212(a)(4)(D) of the INA, 8 U.S.C.
                                              federal statutes. Another commenter                      Congress acted intentionally in                          1182(a)(4)(D).
                                              indicated that the NPRM incorrectly                      requiring all aliens described in                           Applicants seeking T nonimmigrant
                                              applies the public charge ground of                      paragraph (D) to file the requisite                      status, T nonimmigrants applying for
                                              inadmissibility to applications for                      affidavit of support, even if they are                   adjustment of status, and T
                                              adjustment of status and extension of                    described in paragraph (E). The law                      nonimmigrants seeking another
                                              stay filed by T nonimmigrants. The                       does not permit DHS to add language to                   immigration benefit that requires
                                              commenter noted that both T                              the statute. See, e.g., Lamie v. U.S. Tr.,               admissibility, are generally exempt from
                                              nonimmigrant status seekers and T                        540 U.S. 526, 538 (2004) (counseling                     the public charge ground of
                                              nonimmigrant status holders are exempt                   against interpretative methodologies                     inadmissibility under section
                                              from the public charge ground of                         that yield ‘‘not . . . a construction of [a]             212(a)(4)(E) of the Act, 8 U.S.C.
                                              inadmissibility. The commenter also                      statute, but, in effect, an enlargement of               1182(a)(4)(E). In accordance with
                                              indicated that proposed 8 CFR                            it by the court, so that what was                        section 804 of the VAWA 2013,225
                                              212.23(a)(17) should be amended to                       omitted, presumably by inadvertence,                     which added new section 212(a)(4)(E) of
                                              conform to section 804 of VAWA                           may be included within its scope’’);                     the Act, 8 U.S.C. 1182(a)(4)(E),
                                              2013,222 exempting T nonimmigrants                       Yith v. Nielsen, 881 F.3d 1155, 1164                     individuals who have been granted T
                                              seeking to adjust status to lawful                       (9th Cir. 2018) (‘‘It is never our job to                nonimmigrant status or have a pending
                                              permanent residence or to extend status                  rewrite a constitutionally valid statutory               application that sets forth a prima facie
                                              from the public charge ground of                         text. Indeed it is quite mistaken to                     case for eligibility for T nonimmigrant
                                              inadmissibility. The commenter                           assume that whatever might appear to                     status are generally exempt from the
                                              indicated that section 804 of VAWA                       further the statute’s primary objective                  public charge inadmissibility
                                              2013, granted the same exemptions from                   must be the law.’’ (citations, quotation                 determination.
                                              the public charge ground of                              marks, and alterations omitted)).                          Notwithstanding these changes,
                                                                                                       Accordingly, in the unlikely event that                  VAWA 2013 did not amend section
                                                220 As explained in the NPRM, DHS derives its
                                                                                                       an alien described in paragraph (E) is                   245(l)(2) of the Act, 8 U.S.C.
                                              statutory authority for this rule and its authority to   seeking admission or adjustment of                       1255(l)(2),226 which provides that DHS
                                              promulgate regulation based on section 102 of the
                                              Homeland Security Act of 2002, Public Law 107–           status based on an immigrant visa                        may waive the application of the public
                                              296, 116 Stat. 2135, 2142–44 (Nov. 25, 2002)             issued under section 203(b) of the INA,                  charge ground of inadmissibility if it is
                                              (codified at 6 U.S.C. 112) and INA section 103, 8        8 U.S.C. 1153(b), that individual must                   in the national interest to do so for a T
                                              U.S.C. 1103, as well as INA section 212(a)(4), 8         comply with the affidavit of support                     nonimmigrant seeking to adjust status to
                                              U.S.C. 1182 and the relevant statutory provisions
                                              governing immigration benefits. See Inadmissibility      requirement in section 213A of the INA,                  lawful permanent residence under
                                              on Public Charge Grounds, 83 FR 51114, 51124                                                                      section 245(l) of the Act, 8 U.S.C.
                                              (proposed Oct. 10, 2018).                                   223 The commenter indicated that DHS correctly        1255(l). DHS concludes, however, that
                                                221 Providing for an exemption where Congress          recognized the full extent of exceptions that the        the VAWA 2013 amendments, which
                                              does not expressly authorize one, as it does for         same provisions made for VAWA-self petitioners, U        postdated the enactment of section
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                                              other immigration benefits applicants under the          visa applicants, and U visa holders for purposes of
                                              INA, would be beyond the scope of DHS’s                  lawful permanent residency.                              245(l)(2) of the Act, 8 U.S.C. 1255(l)(2),
                                              authority. See Andrus v. Glover Const. Co., 446 U.S.        224 While INA section 212(a)(4)(E)(iii), 8 U.S.C.
                                              608, 616–17 (1980) (‘‘Where Congress explicitly          1182(a)(4)(E)(iii), excludes qualified aliens under 8      225 See Public Law 113–4, 127 Stat 54 (Mar. 7,

                                              enumerates certain exceptions to a general               U.S.C. 1641(c) from public charge, that exclusion        2013).
                                              prohibition, additional exceptions are not to be         does not apply to the separate category of ‘‘qualified     226 See INA section 245(l), 8 U.S.C. 1255(l), which
                                              implied, in the absence of a contrary legislative        aliens’’ described in 8 U.S.C. 1641(b) who are           was created by the Victims of Trafficking and
                                              intent.’’).                                              subject to public charge unless otherwise subject to     Violence Protection Act of 2000, Public Law 106–
                                                222 See Public Law 113–4 (March 7, 2013).              an exception.                                            386, 114 Stat. 1464 (Oct. 8, 2000).



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                                              are controlling. That is, DHS has                         exemption to refer to sections                         in valid U nonimmigrant status at the
                                              determined that T nonimmigrants                           212(a)(4)(E) and 212(d)(13)(A) of the                  time the Form I–485 is properly filed in
                                              seeking to adjust status under section                    Act, 8 U.S.C. 1182(a)(4)(E), (d)(13)(A).229            compliance with 8 CFR 103.2(a)(7) and
                                              245(a) of the Act, 8 U.S.C. 1255(a) (with                 Additionally, based on the same                        throughout the pendency of an
                                              a limited exception) and section 245(l)                   rationale provided above, DHS is also                  application.233 Therefore, DHS clarified
                                              of the Act, 8 U.S.C. 1255(l) are not                      modifying current 8 CFR 212.18(b)(2)                   in this final rule that these individuals
                                              subject to the public charge ground of                    and 8 CFR 245.23(c)(3) to accurately                   are not subject to the public charge
                                              inadmissibility for purposes of                           reflect changes codified by Congress in                ground of inadmissibility when seeking
                                              establishing eligibility for adjustment of                2013 in relation to those having a                     an immigration benefit,234 to accurately
                                              status. However, for this exemption                       pending prima facie case for status                    reflect changes enacted by Congress in
                                              from public charge to apply, the T                        under section 101(a)(15)(T) of the Act, 8              VAWA 2013. Additionally, VAWA self-
                                              nonimmigrant must hold and be in valid                    U.S.C. 1101(a)(15)(T), or is in valid T                petitioners are generally exempt from
                                              T nonimmigrant status at the time the                     nonimmigrant status at the time of filing              the public charge ground of
                                              Form I–485 is properly filed in                           for an immigration benefit, and to                     inadmissibility.235 Similar to T
                                              compliance with 8 CFR 103.2(a)(7) and                     clarify that these individuals—with the                nonimmigrants (and as described
                                              throughout the pendency of an                             limited exception described in INA                     above), U nonimmigrants and VAWA
                                              application.227 For the reasons stated                    212(a)(4)(D), 8 U.S.C. 1182(a)(4)(D)—are               self-petitioners who are adjusting status
                                              above, DHS is amending proposed 8                         not subject to the public charge ground                under an employment-based category
                                              CFR 212.23(a)(17) in this final rule to                   of inadmissibility. As discussed further               that is required to execute an affidavit
                                              clarify that T nonimmigrants seeking                      under the PRA section of this final rule,              of support described in section 213A, 8
                                              any immigration benefit subject to                        DHS is also making conforming changes                  U.S.C. 1183a, under 212(a)(4)(D) of the
                                              section 212(a)(4) of the Act, 8 U.S.C.                    to the Form I–601 instructions.                        INA, 8 U.S.C. 1182(a)(4)(D), must still
                                              1182(a)(4)—except those described in                         Individuals seeking U nonimmigrant                  execute that affidavit of support to
                                              section 212(a)(4)(D) of the Act, 8 U.S.C.                 status and U nonimmigrants seeking                     overcome the public charge ground of
                                              1182(a)(4)(D), who must file an affidavit                 adjustment of status on account of their               inadmissibility.
                                              of support—are exempt from the public                     U nonimmigrant status are generally
                                                                                                                                                               4. Summary of Applicability,
                                              charge ground of inadmissibility,                         exempt from the public charge
                                                                                                                                                               Exemptions, and Waivers
                                              provided that the T nonimmigrant                          ground.230 In accordance with section
                                              seeking the immigration benefit is in                     804 of the VAWA 2013,231 which added                     The following tables provide a
                                              valid T nonimmigrant status at the                        new section 212(a)(4)(E) of the Act, 8                 summary of all nonimmigrant and
                                              benefit request is properly filed with                    U.S.C. 1182(a)(4)(E), an individual who                immigrant classification and whether
                                              USCIS and at the time the benefit                         is an applicant for, or is granted U                   they are subject to the public charge
                                              request is adjudicated.228 As section                     nonimmigrant status is exempt from the                 inadmissibility determination and
                                              212(a)(4)(E) of the Act, 8 U.S.C.                         public charge ground of                                submit an I–944 or are subject to the
                                              1182(a)(4)(E), is an additional authority                 inadmissibility.232 However, for this                  public benefit condition for extension of
                                              for exempting T nonimmigrants, DHS                        exemption from public charge to apply,                 stay and change of status
                                              has revised the authority for the                         the U nonimmigrant must hold and be                    nonimmigrants.

                                                               TABLE 2—SUMMARY OF NONIMMIGRANT CATEGORIES SUBJECT TO PUBLIC BENEFITS CONDITION
                                                                                                                                                                                    Subject to public benefit
                                                                                                     Eligible to apply for extension       Eligible to apply for change of         condition under proposed
                                                                 Category                                 of stay (i.e., may file                status (i.e., may file              8 CFR 214.1(a)(3)(iv),
                                                                                                     Form I–129 or Form I–539) *           Form I–129 or I–Form 539) *             214.1(a)(4)(iv); 248.1(c)(4)

                                              A–1—Ambassador, Public Minister, Ca-                No. Not applicable as admitted          Yes. Files I–539, 8 CFR               No. INA 102; 22 CFR 41.21(d).
                                                reer Diplomat or Consular Officer, or Im-           for Duration of Status, 8 CFR           248.1(a).
                                                mediate Family; A–2—Other Foreign                   214.1(c)(3)(v).
                                                Government Official or Employee, or Im-
                                                mediate Family; INA 101(a)(15)(A), 22
                                                CFR 41.21.
                                              A–3—Attendant, Servant, or Personal Em-             Yes. Files Form I–539, 8 CFR            Yes. Files Form I–539, 8 CFR          Yes. INA 102; 22 CFR
                                                ployee of A–1 or A–2, or Immediate                  214.1(c)(2).                            248.1(a).                             41.21(d)(3).
                                                Family; INA 101(a)(15)(A), 22 CFR
                                                41.21.
                                              B–1—Temporary Visitor for Business; B–              Yes. Files Form I–539, 8 CFR            Yes. Files Form I–539, 8 CFR          Yes.
                                                2—Temporary Visitor for Pleasure; * not             214.1(c)(2), 8 CFR                      248.1(a).
                                                admitted under Visa Waiver Program;                 214.2(b)(1).
                                                INA 101(a)(15)(B).

                                                227 See 8 CFR 103.2(b)(1) (an applicant or                229 See also INA section 212(s), 8 U.S.C. 1182(s)      233 See 8 CFR 103.2(b)(1) (An applicant or

                                              petitioner must establish that he or she is eligible      (excluding from the public charge determination        petitioner must establish that he or she is eligible
                                              for the requested benefits at the time of filing and      consideration of benefits received by those eligible   for the requested benefits at the time of filing and
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                                              the benefit request and must continue to be eligible      to receive benefits under 8 U.S.C. 1641(c)).           the benefit request and must continue to be eligible
                                              through adjudication); see also Matter of Alarcon,
                                                                                                          230 See 8 CFR 212.23(a)(18).                         through adjudication). See also Matter of Alarcon,
                                                                                                          231 See Public Law 113–4, 127 Stat 54 (Mar. 7,       20 I&N Dec. 557, 562 (BIA 1992) (‘‘an application
                                              20 I&N Dec. 557, 562 (BIA 1992) (‘‘an application
                                                                                                        2013).                                                 for admission to the United States is a continuing
                                              for admission to the United States is a continuing
                                                                                                          232 See INA sections 212(a)(4)(E)(ii), 8 U.S.C.      application, and admissibility is determined on the
                                              application, and admissibility is determined on the                                                              basis of the facts and the law at the time the
                                                                                                        1182(a)(4)(E)(ii), which exclude from public charge
                                              basis of the facts and the law at the time the                                                                   application is finally considered.’’).
                                                                                                        determinations an applicants for, or individuals
                                              application is finally considered’’).                     granted, nonimmigrant status under section               234 See 8 CFR 212.23(a)(19).
                                                228 See 8 CFR 212.23(a)(17) and (18).
                                                                                                        1101(a)(15)(U).                                          235 See 8 CFR 212.23(a)(21).




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                                                      TABLE 2—SUMMARY OF NONIMMIGRANT CATEGORIES SUBJECT TO PUBLIC BENEFITS CONDITION—Continued
                                                                                                                                                                                 Subject to public benefit
                                                                                                   Eligible to apply for extension       Eligible to apply for change of        condition under proposed
                                                                Category                                of stay (i.e., may file                status (i.e., may file             8 CFR 214.1(a)(3)(iv),
                                                                                                   Form I–129 or Form I–539) *           Form I–129 or I–Form 539) *            214.1(a)(4)(iv); 248.1(c)(4)

                                              C–1—Alien in Transit; C–1/D—Combined                No. 8 CFR 214.1(c)(3)(ii) ..........   No. 8 CFR 248.2(a)(2), except        Not Applicable as not eligible
                                                Transit and Crewmember Visa; INA                                                           for change to T and U, 8             for extension of stay or
                                               101(a)(15)(C) and (D), INA 212(d)(8).                                                       CFR 248.2(b) using Form I–           change of status.
                                                                                                                                           914 or I–918.
                                              C–2—Alien in Transit to United Nations              No. Not applicable as admitted         No, 8 CFR 248.2(a)(2), except        No. 22 CFR 41.21(d).
                                                Headquarters District Under Section                 for Duration of Status. 8 CFR          for change to T and U, 8
                                                11.(3), (4), or (5) of the Headquarters             214.1(c)(3)(ii).                       CFR 248.2(b) using Form I–
                                               Agreement; INA 101(a)(15)(C) and (D),                                                       914 or I–918.
                                               INA 212(d)(8).
                                              C–3—Foreign Government Official, Imme-              No. 8 CFR 214.1(c)(3)(ii) ..........   No, 8 CFR 248.2(a)(2), except        No. 22 CFR 41.21(d).
                                                diate Family, Attendant, Servant or Per-                                                   for change to T and U, 8
                                               sonal Employee, in Transit; INA                                                             CFR 248.2(b) using Form I–
                                               101(a)(15)(C) and (D), INA 212(d)(8).                                                       914 or I–918.
                                              CW–1—Commonwealth of Northern Mar-                  Yes. Files Form I–129CW, 8             Yes. Files Form I–129CW, 8           Yes.
                                                iana Islands Transitional Worker Section            CFR 214.1(c)(2) and 8 CFR              CFR 248.1(a); 8 CFR
                                                6(d) of Public Law 94–241, as added by              214.2(w)(17).                          214.2(w)(18).
                                               Section 702(a) of Public Law 110–229.
                                               8 CFR 214.2(w).
                                              CW–2—Spouse or Child of CW–1 ............           Yes. Files Form I–539, 8 CFR           Yes. Files Form I–539, 8 CFR
                                                                                                    214.1(c)(2) and 8 CFR                  248.1(a); 8 CFR 214.2(w)(18).
                                                                                                    214.2(w)(17)(v).
                                              D—Crewmember (Sea or Air); D–2—                     No. 8 CFR 214.1(c)(3)(iii) .........   No, 8 CFR 248.2(a)(2), except        Yes.
                                                Crewmember departing from a different                                                      for change to T and U,
                                                vessel than one of arrival; INA                                                            248.2(b) using Form I–914 or
                                                101(a)(15)(D).                                                                             Form I–918.
                                              E–1, E–2—Treaty Trader (Principal); INA             Yes. Files Form I–129, 8 CFR           Yes, Files Form I–129, 8 CFR         Yes.
                                                101(a)(15)(E).                                      214.1(c)(1); 8 CFR                     248.1(a), 8 CFR
                                                                                                    214.2(e)(20).                          214.2(e)(21)(i).
                                              E–1, E–2—Treaty Trader, Spouse or                   Yes. Files Form I–539, 8 CFR           Yes. Files Form I–539, 8 CFR         Yes.
                                                Child; INA 101(a)(15)(E).                           214.1(c)(2).                           214.2(e)(21)(ii),.
                                              E–2–CNMI—Commonwealth of Northern                   Yes. Files Form I–129, 8 CFR           Yes. Files Form I–129, 8 CFR         Yes.
                                                Mariana Islands Investor (Principal)                214.2(e)(23)(xii).                     248.1(a), 8 CFR
                                                Section 6(c) of Public Law 94–241, as                                                      214.2(e)(23)(xiii).
                                                added by Section 702(a) of Public Law
                                                110–229.8 CFR 214.2(e)(23).
                                              E–2–CNMI—Commonwealth of Northern                   Yes. Files Form I–539, 8 CFR           Yes. Files Form I–539, 8 CFR         Yes.
                                                Mariana Islands Investor, Spouse or                 214.1(c)(2).                           248.1(a).
                                                Child Section 6(c) of Public Law 94–
                                                241, as added by Section 702(a) of
                                                Public Law 110–229. 8 CFR
                                                214.2(e)(23)(x).
                                              E–3—Australian Treaty Alien coming to               Yes. Files Form I–129, 8 CFR           Yes. Files Form I–129, 8 CFR         Yes.
                                                the United States Solely to Perform                 214.1(c)(1) and (2).                   248.1(a).
                                                Services in a Specialty Occupation.
                                              E–3D—Spouse or Child of E–3; E–3R—                  Yes. Files I–539, 8 CFR                Yes. Files I–539, 8 CFR              Yes.
                                                Returning E–3; INA 101(a)(15)(E)(iii).              214.1(c)(1) and (2).                   248.1(a).
                                              F–1—Student in an academic or language              Yes, only if the F–1 requesting        Yes. Files Form I–539, 8 CFR         Yes.
                                                training program (principal); INA                   reinstatement to F–1 status            248.1(a),.
                                                101(a)(15)(F).                                      or if the F–1 received a date-
                                                                                                    specific admission to attend
                                                                                                    high school and is now seek-
                                                                                                    ing an extension to D/S to at-
                                                                                                    tend college. 8 CFR
                                                                                                    214.1(c)(3)(v); 8 CFR
                                                                                                    214.2(f)(7); 8 CFR
                                                                                                    214.2(f)(16).
                                              F–2—Spouse or Child of F–1; INA                     No, not applicable as admitted         Yes. Files Form I–539, 8 CFR         Yes.
                                                101(a)(15)(F).                                      for Duration of Status. 8 CFR          214.2(f)(3).
                                                                                                    214.1(c)(3)(v); 8 CFR
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                                                                                                    214.2(f)(3).




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                                                      TABLE 2—SUMMARY OF NONIMMIGRANT CATEGORIES SUBJECT TO PUBLIC BENEFITS CONDITION—Continued
                                                                                                                                                                                  Subject to public benefit
                                                                                                   Eligible to apply for extension       Eligible to apply for change of         condition under proposed
                                                                Category                                of stay (i.e., may file                status (i.e., may file              8 CFR 214.1(a)(3)(iv),
                                                                                                   Form I–129 or Form I–539) *           Form I–129 or I–Form 539) *             214.1(a)(4)(iv); 248.1(c)(4)

                                              G–1—Principal Resident Representative               No, not applicable as admitted        Yes. Files Form I–539, 8 CFR           No. 22 CFR 41.21(d).
                                                of Recognized Foreign Government to                 for Duration of Status 8 CFR          248.1(a).
                                               International Organization, Staff, or Im-            214.1(c)(3)(v).
                                               mediate Family; G–2—Other Represent-
                                               ative of Recognized Foreign Member
                                               Government to International Organiza-
                                               tion, or Immediate Family; G–3—Rep-
                                               resentative of Nonrecognized or Non-
                                               member Foreign Government to Inter-
                                               national Organization, or Immediate
                                               Family; G–4—International Organization
                                               Officer or Employee, or Immediate Fam-
                                               ily; INA 101(a)(15)(G).
                                              G–5—Attendant, Servant, or Personal Em-             Yes. Files Form I–539, 8 CFR          Yes. Files Form I–539, 8 CFR           Yes.
                                                ployee of G–1 through G–4, or Imme-                 214.1(c)(2).                          248.1(a).
                                               diate Family.
                                              H–1B—Alien in a Specialty Occupation,               Yes. Files Form I–129, 8 CFR          Yes. Files Form I–129.8 CFR            Yes.
                                                Fashion Models of Distinguished Merit               214.1(c)(1).                          248.1(a).
                                                and Ability, and workers performing
                                               services of exceptional merit and ability
                                               relating to a Department of Defense
                                               (DOD) cooperative research and devel-
                                               opment project; INA 101(a)(15)(H)(i)(b);
                                               Section 222 of Pub. L. 101–649.
                                              H–1B1—Chilean or Singaporean National               Yes. Files Form I–129, 8 CFR          Yes. Files Form I–129. 8 CFR           Yes.
                                                to Work in a Specialty Occupation; INA              214.1(c)(1).                          248.1(a).
                                               101(a)(15)(H)(i)(b1).
                                              H–1C 236—Nurse in health professional               Yes. Filed Form I–129, 8 CFR          Yes. Filed Form I–129, 8 CFR           Yes.
                                               shortage area; INA 101(a)(15)(H)(i)(c).              212.2(h)(4)(v)(E).                    212.2(h)(4)(v)(E).
                                              H–2A—Temporary Worker Performing Ag-                Yes. Files Form I–129, 8 CFR          Yes. Files Form I–129 ..............   Yes.
                                                ricultural Services Unavailable in the              214.1(c)(1).
                                               United States; INA 101(a)(15)(H)(ii)(a).
                                              H–2B—Temporary Worker Performing                    Yes. Files Form I–129, 8 CFR          Yes. Files Form I–129 ..............   Yes.
                                                Other Services Unavailable in the                   214.1(c)(1).
                                                United States; INA 101(a)(15)(H)(ii)(b).
                                              H–3—Trainee; INA 101(a)(15)(H)(iii) .........       Yes. Files Form I–129, 8 CFR          Yes. Files Form I–539 ..............   Yes.
                                                                                                    214.1(c)(1).
                                              H–4—Spouse or Child of Alien Classified             Yes. Files Form I–539, 8 CFR          Yes. Files Form I–539. 8 CFR           Yes.
                                                H1B/B1/C, H2A/B, or H–3; INA                        214.1(c)(2).                          248.1(a).
                                                101(a)(15)(H)(iv).
                                              I—Representative of Foreign Information             No, not applicable as admitted        Yes. Files Form I–539 ..............   Yes.
                                                Media, Spouse and Child; INA                       for Duration of Status 8 CFR
                                                101(a)(15)(I).                                     214.1(c)(3)(v).
                                              J–1—Exchange Visitor; J–2—Spouse or                 No, not applicable, as generally      Yes, subject to receiving a            Yes.
                                                Child of J1; INA 101(a)(15)(J).                    admitted for Duration of Sta-          waiver of the foreign resi-
                                                                                                   tus 237 8 CFR 214.1(c)(3)(v).          dence requirement, if nec-
                                                                                                                                          essary, Files I–539. 8 CFR
                                                                                                                                          248.2(a)(4); may apply for
                                                                                                                                          change to T and U, using for
                                                                                                                                          Form I–914 or I–918, 8 CFR
                                                                                                                                          248.2(b).
                                              K–1—Fiance(e) of United States Citizen;             No. 8 CFR 214.1(c)(3)(iv) .........   No. 8 CFR 248.2(a)(2) except           Not Applicable.
                                                K–2—Child of Fiance(e) of U.S. Citizen;                                                   for change to T and U,
                                                INA 101(a)(15)(K).                                                                        248.2(b) using Form I–914 or
                                                                                                                                          I–918.
                                              K–3—Spouse of U.S. Citizen awaiting                 Yes. Files Form I–539, 8 CFR          No. 8 CFR 248.2(2) except for          Yes.
                                                availability of immigrant visa; K–4—                214.1(c)(2) and 8 CFR                 change to T and U, 248.2(b)
                                                Child of K–3; INA 101(a)(15)(K).                    214.2(k)(10).                         using Form I–914 or I–918.
                                              L–1—Intracompany Transferee (Execu-                 Yes. Files Form I–129, 8 CFR          Yes. Files Form I–129, 8 CFR           Yes.
                                                tive, Managerial, and Specialized                   214.1(c)(1).                          248.1(a).
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                                                Knowledge Personnel Continuing Em-
                                                ployment with International Firm or Cor-
                                                poration); INA 101(a)(15)(L).
                                              L–2—Spouse or Child of Intracompany                 Yes. Files I–539 8 CFR                Yes. Files Form I–539, 8 CFR           Yes.
                                                Transferee.                                         214.1(c)(1) and (2).                  248.1(a).
                                              M–1—Vocational Student or Other Non-                Yes. Files Form I–539, 8 CFR          Yes. Files Form I–539. Not eli-        Yes.
                                                academic Student; INA 101(a)(15)(M).                214.1(c)(2).                          gible if requesting F–1, 8
                                                                                                                                          CFR 248.1(c)(1).



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                                                      TABLE 2—SUMMARY OF NONIMMIGRANT CATEGORIES SUBJECT TO PUBLIC BENEFITS CONDITION—Continued
                                                                                                                                                                                  Subject to public benefit
                                                                                                   Eligible to apply for extension       Eligible to apply for change of         condition under proposed
                                                                Category                                of stay (i.e., may file                status (i.e., may file              8 CFR 214.1(a)(3)(iv),
                                                                                                   Form I–129 or Form I–539) *           Form I–129 or I–Form 539) *             214.1(a)(4)(iv); 248.1(c)(4)

                                              M–2—Spouse or Child of M–1; INA                     Yes. Files Form I–539, 8 CFR          Yes. Files Form I–539 ..............   Yes.
                                                101(a)(15)(M).                                      214.1(c)(2).
                                              N–8—Parent of an Alien Classified SK3               Yes. Files Form I–539, 8 CFR          Yes. Files Form I–539, 8 CFR           Yes.
                                                (Unmarried Child Employee of Inter-                 214.1(c)(2).                          248.1(e).
                                                national Organization) or SN–3; N–9—
                                               Child of N–8 or of SK–1 (Retired Em-
                                               ployee International Organization), SK–
                                               2 (Spouse), SK–4 (surviving spouse),
                                               SN–1 (certain retired NATO 6 civilian
                                               employee), SN–2 (spouse) or SN–4
                                               (surviving spouse); INA 101(a)(15)(N).
                                              NATO–1—Principal Permanent Rep-                     No, not applicable as admitted        Yes. Files Form I–539, 8 CFR           No. INA 102; 22 CFR 41.21(d).
                                                resentative of Member State to NATO                 for Duration of Status 8 CFR          248.1(a).
                                                (including any of its Subsidiary Bodies)            214.1(c)(3)(v).
                                               Resident in the U.S. and Resident
                                               Members of Official Staff; Secretary
                                               General, Assistant Secretaries General,
                                               and Executive Secretary of NATO;
                                               Other Permanent NATO Officials of
                                               Similar Rank, or Immediate Family Art.
                                               12, 5 UST 1094; Art. 20, 5 UST 1098.
                                              NATO–2—Other Representative of mem-                 No, not applicable as admitted        Yes. Files Form I–539, 8 CFR           No. INA 102; 22 CFR 41.21(d).
                                                ber state to NATO (including any of its             for Duration of Status 8 CFR          248.1(a).
                                               Subsidiary Bodies) including Represent-              214.1(c)(3)(v).
                                               atives, Advisers, and Technical Experts
                                               of Delegations, or Immediate Family;
                                               Dependents of Member of a Force En-
                                               tering in Accordance with the Provisions
                                               of the NATO Status-of-Forces Agree-
                                               ment or in Accordance with the provi-
                                               sions of the ‘‘Protocol on the Status of
                                               International Military Headquarters’’;
                                               Members of Such a Force if Issued
                                               Visas Art. 13, 5 UST 1094; Art. 1, 4
                                               UST 1794; Art. 3, 4 UST 1796.
                                              NATO–3—Official Clerical Staff Accom-               No, not applicable as admitted        Yes. Files Form I–539, 8 CFR           No. INA 102; 22 CFR 41.21(d).
                                                panying Representative of Member                    for Duration of Status 8 CFR          248.1(a).
                                                State to NATO (including any of its Sub-            214.1(c)(3)(v).
                                               sidiary Bodies), or Immediate Family
                                               Art. 14, 5 UST 1096.
                                              NATO–4—Official of NATO (Other Than                 No, not applicable as admitted        Yes. Files Form I–539, 8 CFR           No. INA 102; 22 CFR 41.21(d).
                                                Those Classifiable as NATO1), or Im-                for Duration of Status 8 CFR          248.1(a).
                                               mediate Family Art. 18, 5 UST 1098.                  214.1(c)(3)(v).
                                              NATO–5—Experts, Other Than NATO Of-                 No, not applicable as admitted        Yes. Files Form I–539, 8 CFR           No. INA 102; 22 CFR 41.21(d).
                                                ficials Classifiable Under NATO 4, Em-              for Duration of Status 8 CFR          248.1(a).
                                                ployed in Missions on Behalf of NATO,               214.1(c)(3)(v).
                                               and their Dependents Art. 21, 5 UST
                                               1100.
                                              NATO–6—Member of a Civilian Compo-                  No, not applicable as admitted        Yes. Files Form I–539, 8 CFR           No. INA 102; 22 CFR 41.21(d).
                                                nent Accompanying a Force Entering in               for Duration of Status 8 CFR          248.1(a).
                                               Accordance with the Provisions of the                214.1(c)(3)(v).
                                               NATO Status-of-Forces Agreement;
                                               Member of a Civilian Component At-
                                               tached to or Employed by an Allied
                                               Headquarters Under the ‘‘Protocol on
                                               the Status of International Military Head-
                                               quarters’’ Set Up Pursuant to the North
                                               Atlantic Treaty; and their Dependents
                                               Art. 1, 4 UST 1794; Art. 3, 5 UST 877.
                                              NATO 7—Attendant, Servant, or Personal              Yes. Files Form I–539, 8 CFR          Yes. Files Form I–539, 8 CFR           No. INA 102; 22 CFR 41.21(d).
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                                                Employee of NATO 1, NATO 2, NATO                    214.2(s)(1)(ii)..                     248.1(a).
                                               3, NATO 4, NATO 5, and NATO 6
                                               Classes, or Immediate Family Arts. 12–
                                               20, 5 UST 1094–1098.




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                                                      TABLE 2—SUMMARY OF NONIMMIGRANT CATEGORIES SUBJECT TO PUBLIC BENEFITS CONDITION—Continued
                                                                                                                                                                                 Subject to public benefit
                                                                                                   Eligible to apply for extension       Eligible to apply for change of        condition under proposed
                                                                Category                                of stay (i.e., may file                status (i.e., may file             8 CFR 214.1(a)(3)(iv),
                                                                                                   Form I–129 or Form I–539) *           Form I–129 or I–Form 539) *            214.1(a)(4)(iv); 248.1(c)(4)

                                              O–1—Alien with Extraordinary Ability in             Yes. Files Form I–129, 8 CFR          Yes. Files Form I–129, 8 CFR          Yes.
                                                Sciences, Arts, Education, Business or              214.1(c)(1).                          248.1(a).
                                                Athletics or Extraordinary Achievement
                                                in the Motion Picture or Television In-
                                                dustry; O–2—Essential Support Workers
                                                Accompanying and Assisting in the Ar-
                                                tistic or Athletic Performance by O–1
                                                INA 101(a)(15)(O).
                                              O–3—Spouse or Child of O–1 or O–2 INA               Yes. Files Form I–539, 8 CFR          Yes. Files Form I–539, 8 CFR          Yes.
                                                101(a)(15)(O).                                      214.1(c)(1) and (2).                  248.1(a).
                                              P–1—Internationally Recognized Athlete              Yes. Files Form I–129, 8 CFR          Yes. Files Form I–129, 8 CFR          Yes.
                                                or Member of Internationally Recog-                 213.1(c)(3)(i).                       248.1(a).
                                                nized Entertainment Group; P–2—Artist
                                                or Entertainer in a Reciprocal Exchange
                                                Program; P–3—Artist or Entertainer in a
                                                Culturally Unique Program INA
                                                101(a)(15)(P); P–1S/P–2S/P–3S—Es-
                                                sential Support Workers 8 CFR 214.2(p).
                                              P–4—Spouse or Child of P–1, P–2, or P–              Yes. Files Form I–539, 8 CFR          Yes. Files Form I–539, 8 CFR          Yes.
                                                3; INA 101(a)(15)(P).                               214.1(c) (1) and (2).                 248.1(a).
                                              Q–1—Participant in an International Cul-            Yes. Files Form I–129, 8 CFR          Yes. Files Form I–129, 8 CFR          Yes.
                                                tural Exchange Program; INA                         213.1(c)(3)(i).                       248.1(a).
                                                101(a)(15)(Q)(i).
                                              R–1—Alien in a Religious Occupation; INA            Yes. Files Form I–129, 8 CFR          Yes. Files Form I–129, 8 CFR          Yes.
                                                101(a)(15)(R).                                      213.1(c)(3)(i).                       248.1(a).
                                              R–2—Spouse or Child of R–1; INA                     Yes. Files Form I–539, 8 CFR          Yes. Files Form I–539, 8 CFR          Yes.
                                                101(a)(15)(R).                                      214.1(c)(1) and (2).                  248.1(a).
                                              S–5—Certain Aliens Supplying Critical In-           No. 8 CFR 213.1(c)(3)(vi) .........   No. 8 CFR 248.2(2) except for         Yes.
                                                formation Relating to a Criminal Organi-                                                  change to T and U, 248.2(b)
                                                zation or Enterprise; S–6—Certain                                                         using Form I–914 or I–918.
                                                Aliens Supplying Critical Information Re-
                                                lating to Terrorism; S–7—Qualified Fam-
                                                ily Member of S–5 or S–6 INA
                                                101(a)(15)(S).
                                              T–1—Victim of a severe form of trafficking          Yes. Files Form I–539. INA            Yes. Files Form I–539, 8 CFR          No.
                                                in persons; INA 101(a)(15)(T).                      § 214(o)(7)(B); 8 CFR                 248.1(a).
                                                                                                    214.11(l)(1) and (2); 8 CFR
                                                                                                    214.1(c)(2).
                                              T–2—Spouse of T–1; T–3—Child of T–1;                Yes. Files Form I–539. INA            Yes. Files Form Files I–539, 8        No.
                                                T–4—Parent of T–1 under 21 years of                 214(o)(7)(B); 8 CFR                   CFR 248.1(a).
                                                age; T–5—Unmarried Sibling under age                214.1(c)(2).
                                                18 of T–1; T–6—Adult or Minor Child of
                                                a Derivative Beneficiary of a T–1; INA
                                                101(a)(15)(T).
                                              TN—NAFTA Professional; INA 214(e)(2) ..             Yes. Files Form I–129, 8 CFR          Yes. Files Form Files I–129, 8        Yes.
                                                                                                    214.1(c)(1).                          CFR 248.1(a).
                                              TD—Spouse or Child of NAFTA Profes-                 Yes. Files Form I–539, 8 CFR          Yes. Files Form I–539, 8 CFR          Yes.
                                                sional; INA 214(e)(2).                              214.1(c)(2).                          248.1(a).
                                              U–1—Victim of criminal activity; U–2—               Yes. Files Form I–539, 8 CFR          Yes. Files Form I–539, 8 CFR          No.
                                                Spouse of U–1; U–3—Child of U–1; U–                 214.1(c)(2); 8 CFR                    248.1(a).
                                                4—Parent of U–1 under 21 years of                   214.14(g)(2).
                                                age; U–5—Unmarried Sibling under age
                                                18 of U–1 under 21 years of age; INA
                                                101(a)(15)(U).
                                              V–1—Spouse of a Lawful Permanent                    Yes. Files Form I–539, 8 CFR          Yes. Files Form I–539, 8 CFR          Yes.
                                                Resident Alien Awaiting Availability of             214.1(c)(2); 8 CFR                    248.1(a); 214.15(g)(3).
                                                Immigrant Visa; V–2—Child of a Lawful               214.15(g)(3).
                                                Permanent Resident Alien Awaiting
                                                Availability of Immigrant Visa; V–3—
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                                                Child of a V–1 or V–2 INA
                                                101(a)(15)(V)(i) or INA 101(a)(15)(V)(ii);
                                                INA 203(d).




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                                                       TABLE 2—SUMMARY OF NONIMMIGRANT CATEGORIES SUBJECT TO PUBLIC BENEFITS CONDITION—Continued
                                                                                                                                                                                         Subject to public benefit
                                                                                                    Eligible to apply for extension          Eligible to apply for change of            condition under proposed
                                                                 Category                                of stay (i.e., may file                   status (i.e., may file                 8 CFR 214.1(a)(3)(iv),
                                                                                                    Form I–129 or Form I–539) *              Form I–129 or I–Form 539) *                214.1(a)(4)(iv); 248.1(c)(4)

                                              W–B—Visa Waiver for visitor for business;            No. 8 CFR 214.1(c)(3)(i) and             No, except for change to T and            Not Applicable.
                                               W–T—visitor for pleasure, Visa Waiver                 214.1(c)(3)(viii).                       U, using Form I–914 or I–
                                               Program; INA 217.                                                                              918; INA 248.2(b).
                                                 * Includes questions on Form I–129 and Form I–539 about receipt of public benefits since the nonimmigrant status was approved. Whether the
                                              alien must file and I–129 or an I–539 depends on the status the alien is applying to change to or extend. If more than one person is applying
                                              using the I–539 application, the Form I–539A, Supplemental Information for Application to extend/Change Nonimmigrant Status, is submitted to
                                              provide all of the requested information for each additional applicant listed.




                                                         TABLE 3—APPLICABILITY OF INA 212(a)(4) TO FAMILY-BASED ADJUSTMENT OF STATUS APPLICATIONS 238
                                                                                                                                                                                      INA 213A and Form I–864,
                                                                                                                                     Subject to INA 212(a)(4) and must                 affidavit of support under
                                                                                  Category                                            file Form I–944, Declaration of                  section 213A of the INA,
                                                                                                                                             Self-Sufficiency? *                          required or exempt?

                                              Immediate Relatives of U.S. citizens including spouses, children and                   Yes. INA 212(a)(4) ........................   Required. INA 212(a)(4)(C).
                                                parents 239.
                                              Family-Based First Preference: Unmarried sons/daughters of U.S. citi-                  Yes. INA 212(a)(4) ........................   Required. INA 212(a)(4)(C).
                                                zens and their children 240.
                                              Family-Preference Second: Spouses, children, and unmarried sons/                       Yes. INA 212(a)(4) ........................   Required. INA 212(a)(4)(C).
                                                daughters of alien residents 241.
                                              Family Preference Third: Married sons/daughters of U.S. citizens and                   Yes. INA 212(a)(4) ........................   Required. INA 212(a)(4)(C).
                                                their spouses and children 242.
                                              Family Preference Fourth: Brothers/sisters of U.S. citizens (at least 21               Yes. INA 212(a)(4) ........................   Required. INA 212(a)(4)(C).
                                                years of age) and their spouses and children 243.
                                              Fiancé, * admitted as nonimmigrant K–1/K2 244 .....................................   Yes. INA 212(a)(4) ........................   Required. INA 212(a)(4)(C).
                                              Amerasians based on preference category-born between December                          Yes. INA 212(a)(4) ........................   Exempt. Amerasian Act, Public
                                                31, 1950 and before October 22, 1982 245.                                                                                            Law 97–359 (Oct. 22, 1982).




                                                 236 This classification can no longer be sought as     conditional; IH–8 Children adopted abroad under             of alien residents, subject to country limits; C–29
                                              of December 20, 2009. See the Nursing Relief for          the Hague Adoption Convention; IH–9 Children                Unmarried children of alien residents, subject to
                                              Disadvantaged Areas Reauthorization Act of 2005,          coming to the United States to be adopted under the         country limits, conditional.
                                              Public Law 109–423.                                       Hague Adoption Convention; IR–8 Orphans                        242 Including the following categories: A–36
                                                 237 J nonimmigrant who are admitted for a              adopted abroad; IR–9 Orphans coming to the United           Married Amerasian sons/daughters of U.S. citizens;
                                              specific time period are not eligible for an extension    States to be adopted; IR–0 Parents of adult U.S.            F–36 Married sons/daughters of U.S. citizens; C–36
                                              of stay.                                                  citizens. Note children adopted abroad generally do         Married sons/daughters of U.S. citizens,
                                                 238 Applicants who filed a Form I–485 prior to         not apply for adjustment of status.                         conditional; A–37 Spouses of A–31 or A–36; F–37
                                              December 19, 1997 are exempt from the Affidavit              240 Including the following categories: A–16             Spouses of married sons/daughters of U.S. citizens;
                                              of Support requirement. See Public Law 104–208,           Unmarried Amerasian sons/daughters of U.S.                  C–37 Spouses of married sons/daughters of U.S.
                                              div. C., section 531(b), 110 Stat. 3009–546, 3009–        citizens; F–16 Unmarried sons/daughters of U.S.             citizens, conditional; B–37 Spouses of B–31 or B–
                                              675 (Sept. 30, 1996); 8 CFR 213a.2(a)(2)(i)               citizens; A–17 Children of A–11 or A–16; F–17               36; A–38 Children of A–31 or A–36, subject to
                                              (adjustment applicants) and 213a.2(a)(2)(ii)(B)           Children of F–11 or F–16; B–17 Children of B–11             country limits; F–38 Children of married sons/
                                              (applicants for admission). Aliens who acquired           or B–16.                                                    daughters of U.S. citizens; C–38 Children of C–31
                                              citizenship under section 320 of the Act upon                241 Including the following categories: F–26             or C–36, subject to country limits, conditional; B–
                                              admission to the United States are exempt from            Spouses of alien residents, subject to country limits;      38 Children of B–31 or B–36, subject to country
                                              submitting an affidavit of support. See 8 CFR             C–26 Spouses of alien residents, subject to country         limits.
                                                                                                                                                                       243 Includes the following categories: F–46
                                              213a.2(a)(2)(ii)(E); Child Citizenship Act, Public        limits, conditional; FX–6 Spouses of alien residents,
                                              Law 106–395, section 101, 114 Stat. 1631, 1631            exempt from country limits; CX–6 Spouses of alien           Brothers/sisters of U.S. citizens, adjustments; F–47
                                              (Oct. 30, 2000) (amending INA section 320). In            residents, exempt from country limits, conditional;         Spouses of brothers/sisters of U.S. citizens,
                                              addition, the surviving spouses, children, and            F–27 Children of alien residents, subject to country        adjustments; F–48 Children of brothers/sisters of
                                              parents of a deceased member of the military who          limits; C–28 Children of C–26, or C–27, subject to          U.S. citizens, adjustments.
                                                                                                                                                                       244 Includes the following categories: CF–1
                                              obtain citizenship posthumously are exempt from a         country limits, conditional; B–28 Children of B–26,
                                              public charge determination. See National Defense         or B–27, subject to country limits; F–28 Children of        Spouses, entered as fiance(e), adjustments
                                              Authorization Act For Fiscal Year 2004, Public Law        F–26, or F–27, subject to country limits; C–20              conditional; IF–1 Spouses, entered as fiance(e),
                                              108–136, section 1703(e), 117 Stat. 1392, 1695 (Nov.      Children of C–29, subject to country limits,                adjustments.
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                                              24, 2003). An alien who meets the conditions of           conditional; B–20 Children of B–29, subject to                 245 Includes the following categories: Immediate

                                              new 8 CFR 212.23(a)(18), (19), (20), or (21) (e.g.,       country limits; F–20 Children of F–29, subject to           Relative AR–6 Children, Amerasian, First
                                              certain T nonimmigrants, U nonimmigrants, and             country limits; C–27 Children of alien residents,           Preference: A–16 Unmarried Amerasian sons/
                                              VAWA self-petitioners) are exempt from the public         subject to country limits, conditional; FX–7                daughters of U.S. citizens; Third Preference A–36
                                              charge inadmissibility ground and the affidavit of        Children of alien residents, exempt from country            Married Amerasian sons/daughters of U.S. citizens;
                                              support requirement, and therefore do not need to         limits; CX–8 Children of CX–7, exempt from                  See INA 204(f). Note that this program does not
                                              File Form I–944 or Form I–864 regardless of what          country limits, conditional; FX–8 Children of FX–           have a specific sunset date and technically
                                              category the alien adjusts under.                         7, or FX–8, exempt from country limits; CX–7                applicants could apply but should have already
                                                 239 Including the following categories: IR–6           Children of alien residents, exempt from country            applied.
                                              Spouses; IR–7 Children; CR–7 Children,                    limits, conditional; F–29 Unmarried sons/daughters


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                                                 TABLE 3—APPLICABILITY OF INA 212(a)(4) TO FAMILY-BASED ADJUSTMENT OF STATUS APPLICATIONS 238—Continued
                                                                                                                                                                                                                  INA 213A and Form I–864,
                                                                                                                                                               Subject to INA 212(a)(4) and must                   affidavit of support under
                                                                                             Category                                                           file Form I–944, Declaration of                    section 213A of the INA,
                                                                                                                                                                       Self-Sufficiency? *                            required or exempt?

                                              Amerasians, born in Vietnam between 1/1/62–1/1/76. Immediate Rel-                                                No. (I–360 and adjustment) Sec-                Exempt. Section 584 of the For-
                                               ative: AM–6, AR–6 Children; Amerasians under Amerasian Home-                                                      tion 584 of the Foreign Oper-                  eign Operations, Export Financ-
                                               coming Act, Public Law 100–202 (Dec. 22, 1987) 246—born between                                                   ations, Export Financing, and                  ing, and Related Programs Ap-
                                               1/1/1962–1/1/1976.                                                                                                Related Programs Appropria-                    propriations Act of 1988, Public
                                                                                                                                                                 tions Act of 1988, Public Law                  Law 100–202.
                                                                                                                                                                 100–202.
                                              IW–6 Spouses, widows or widowers ......................................................                          Yes. INA 212(a)(4) ........................    Exempt. 8 CFR 204.2 and 71 FR
                                                                                                                                                                                                                35732.
                                              Immediate Relative VAWA applicant, including spouses and chil-                                                   No. INA 212(a)(4)(E) .....................     Exempt. INA 212(a)(4)(E).
                                                 dren 247.
                                              First Preference VAWA, B–16 Unmarried sons/daughters of U.S. citi-                                               No. INA 212(a)(4)(C)(i) ..................     Exempt. INA 212(a)(4)(C)(i).
                                                 zens, self-petitioning; B–17 Children of B–16.
                                              Second Preference VAWA applicant, including spouses and chil-                                                    No. INA 212(a)(4)(C)(i) ..................     Exempt. INA 212(a)(4)(C)(i).
                                                 dren 248.
                                              Third Preference VAWA. Married son/daughters of U.S. citizen, includ-                                            No. INA 212(a)(4)(C)(i) ..................     Exempt. INA 212(a)(4)(C)(i).
                                                 ing spouses and children 249.
                                                * If found inadmissible based on the public charge ground, USCIS, at its discretion, may permit the alien to post a public charge bond (Form I–
                                              945). A public charge bond may be cancelled (Form I–356) upon the death, naturalization (or otherwise obtaining U.S. citizenship), permanent
                                              departure of the alien, or otherwise as outlined in proposed 8 CFR 213.1(g), if the alien did not receive any public benefits as defined in the pro-
                                              posed rule.




                                                       TABLE 4—APPLICABILITY OF INA 212(a)(4) TO EMPLOYMENT-BASED ADJUSTMENT OF STATUS APPLICATIONS 250
                                                                                                                                                                                                                    INA 213A, and Form I–864,
                                                                                                                                                                Subject to INA 212(a)(4) and must file               Affidavit of Support under
                                                                                              Category                                                          Form I–944, Declaration of Self-Suffi-                section 213A of the INA,
                                                                                                                                                                              ciency? *                                 required or exempt?

                                              First Preference: Priority workers 251 .......................................................................   Yes, in general.252 INA 212(a)(4) ..........   Exempt, unless qualifying relative or en-
                                                                                                                                                                                                                tity in which such relative has a sig-
                                                                                                                                                                                                                nificant ownership interest (5% or
                                                                                                                                                                                                                more) 253 in filed Form I–140. INA
                                                                                                                                                                                                                212(a)(4)(D), 8 CFR 213a.
                                              Second Preference: Professionals with advanced degrees or aliens of excep-                                       Yes in general.255 INA 212(a)(4) ...........   Exempt, unless qualifying relative or en-
                                                tional ability 254.                                                                                                                                             tity in which such relative has a sig-
                                                                                                                                                                                                                nificant ownership interest (5% or
                                                                                                                                                                                                                more) in filed Form I–140. INA
                                                                                                                                                                                                                212(a)(4)(D), 8 CFR 213a.




                                                246 Includes the following categories: AM–1                               daughters of U.S. citizens, self-petitioning; B–37                   nonimmigrants, U nonimmigrants, and VAWA self-
                                              principal (born between 1/1/1962–1/1/1976); AM–                             Spouses of B–36, adjustments B–38 Children of B–                     petitioners) the alien does not need to file Form I–
                                              2 Spouse, AM–3 child; AR–1 child of U.S. citizen                            36, subject to country limits; Third Preference                      944 (but is still required to file Form I–864).
                                              born Cambodia, Korea, Laos, Thailand, Vietnam.                              VAWA; B–37 Spouses of B–36, adjustments; B–38                           253 Relative means a husband, wife, father,
                                              Note that this program does not have a specific                             Children of B–36, subject to country limits.                         mother, child, adult son, adult daughter, brother, or
                                              sunset date and technically applicants could apply                             250 An alien who meets the conditions of new 8
                                                                                                                                                                                               sister. Significant ownership interest means an
                                              but should have already applied.                                            CFR 212.23(a)(18), (19), (20), or (21) (e.g., certain T              ownership interest of five percent or more in a for-
                                                247 Includes the following categories: IB–6                               nonimmigrants, U nonimmigrants, and VAWA self-                       profit entity that filed an immigrant visa petition to
                                              Spouses, self-petitioning; IB–7 Children, self-                             petitioners) are exempt from the public charge                       accord a prospective employee an immigrant status
                                              petitioning; IB–8 Children of IB–1 or IB–6; IB–0                            inadmissibility ground and the affidavit of support                  under section 203(b) of the Act. See 8 CFR.213a.1.
                                              Parents battered or abused, of U.S. citizens, self-                         requirement, and therefore do not need to File Form                     254 Includes the following categories: E–26
                                              petitioning.                                                                I–944 or Form I–864 regardless of what category the
                                                                                                                                                                                               Professionals holding advanced degrees; ES–6
                                                248 Includes the following categories: B–26                               alien adjusts under.
                                                                                                                                                                                               Soviet scientists E–27 Spouses of E–21 or E–26; E–
                                              Spouses of alien residents, subject to country limits,                         251 Includes the following categories: E–16 Aliens
                                                                                                                                                                                               28 Children of E–21 or E–26.
                                              self-petitioning; BX–6 Spouses of alien residents,                          with extraordinary ability; E–17 Outstanding                            255 If the alien is adjusting based on an
                                              exempt from country limits, self-petitioning; B–27                          professors or researchers; E–18 Certain
                                              Children of alien residents, subject to country                             Multinational executives or managers; E–19                           employment-based petition where the petition is
                                              limits, self-petitioning; BX–7 Children of alien                            Spouses of E–11, E–12, E–13, E–16, E–17, or E–18;                    filed by either a qualifying relative, or an entity in
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                                              residents, exempt from country limits, self-                                E–10 Children of E–11, E–12, E–13, E–16, E–17, or                    which such relative has a significant ownership
                                              petitioning; BX–8 Children of BX–6, or BX–7,                                E–18.                                                                interest (five percent or more), and the alien, at both
                                              exempt from country limits; B–29 Unmarried sons/                               252 If the alien is adjusting based on an                         the time of filing and adjudication of the Form I–
                                              daughters of alien residents, subject to country                            employment-based petition where the petition is                      485, also falls under a category exempted under
                                              limits, self-petitioning.                                                   filed by either a qualifying relative, or an entity in               INA section 212(a)(4)(E), 8 U.S.C. 1182(a)(4)(E),
                                                249 Includes the following categories: B–36                               which such relative has a significant ownership                      (e.g., T nonimmigrants, U nonimmigrants, and
                                              Married sons/daughters of U.S. citizens, self-                              interest (5% or more), and the alien, at both the                    VAWA self-petitioners) the alien does not need to
                                              petitioning B–37 Spouses of B–36, adjustments; B–                           time of filing and adjudication of the Form I–485,                   file Form I–944 (but is still required to file Form
                                              38 Children of B–36, subject to country limits;                             also falls under a category exempted under INA                       I–864).
                                              Third Preference VAWA; B–36 Married sons/                                   section 212(a)(4)(E), 8 U.S.C. 1182(a)(4)(E), (e.g., T


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                                                    TABLE 4—APPLICABILITY OF INA 212(a)(4) TO EMPLOYMENT-BASED ADJUSTMENT OF STATUS APPLICATIONS 250—
                                                                                                 Continued
                                                                                                                                                                                                             INA 213A, and Form I–864,
                                                                                                                                                 Subject to INA 212(a)(4) and must file                       Affidavit of Support under
                                                                                        Category                                                 Form I–944, Declaration of Self-Suffi-                        section 213A of the INA,
                                                                                                                                                               ciency? *                                         required or exempt?

                                              Third: Skilled workers, professionals, and other workers 256 ..................................   Yes in general.257 INA 212(a)(4) ...........           Exempt, unless qualifying relative or en-
                                                                                                                                                                                                         tity in which such relative has a sig-
                                                                                                                                                                                                         nificant ownership interest (5% or
                                                                                                                                                                                                         more) in filed Form I–140. INA
                                                                                                                                                                                                         212(a)(4)(D), 8 CFR 213a.
                                              Fifth: I–526 Immigrant Petition by Alien Entrepreneur (EB–5) INA 203(b)(5), 8                     Yes. INA 212(a)(4) .................................   Not Applicable.259
                                                 CFR 204.6 258.
                                                * If found inadmissible based on the public charge ground, USCIS, at its discretion, may permit the alien to post a public charge bond (Form I–945). A public charge
                                              bond may be cancelled (Form I–356) upon the death, naturalization (or otherwise obtaining U.S. citizenship), permanent departure of the alien, or upon the fifth year
                                              of the alien’s anniversary of the adjustment of status, or, if the alien, following the initial grant of lawful permanent resident status, obtains a status that is exempt from
                                              the public charge ground of inadmissibility, and provided that the alien did not receive any public benefits as defined in the proposed rule.




                                                          TABLE 5—APPLICABILITY OF INA 212(a)(4) TO SPECIAL IMMIGRANT ADJUSTMENT OF STATUS APPLICATION
                                                                                                                                                                                                           INA 213A, and Form I–864,
                                                                                                                                                Subject to INA 212(a)(4) and must                           Affidavit of Support under
                                                                                       Category                                                  file Form I–944, Declaration of                             section 213A of the INA,
                                                                                                                                                        Self-Sufficiency? *                                    required or exempt?

                                              Special Immigrant (EB–4)—Religious Workers. 8 CFR 204.5(m); INA                                   Yes. INA 212(a)(4) ........................            Not Applicable.261
                                                101(a)(27)(C) 260.
                                              Special Immigrant (EB–4)—International employees of U.S. govern-                                  Yes. INA 212(a)(4) ........................            Not Applicable.263
                                                ment abroad. INA 101(a)(27)(D), 22 CFR 42.32(d)(2) 262.
                                              Special Immigrant (EB–4)—Employees of Panama Canal. 22 CFR                                        Yes. INA 212(a)(4) ........................            Not Applicable.265
                                                42.32(d)(3); INA 101(a)(27)(E), INA 101(a)(27)(F), and INA
                                                101(a)(27)(G) 264.
                                              Special Immigrant (EB–4)—Foreign Medical School Graduates. INA                                    Yes. INA 212(a)(4) ........................            Not Applicable.267
                                                101(a)(27)(H), INA 203(b)(4) 266.




                                                 256 Includes the following categories: EX–6                    Children of T–51 or T–56, conditional; R–58                          or Canal Zone Government; SF–7 Spouses or
                                              Schedule—A worker; EX–7 Spouses of EX–6; EX–                      Children of R–51 or R–56, conditional.                               children of SF–6; SG–6 Former U.S. government
                                              8 Children of EX–6; E–36 Skilled workers; E–37                       259 EB–5 applicants are Form I–526, Immigrant
                                                                                                                                                                                     employees in the Panama Canal Zone; SG–7
                                              Professionals with baccalaureate degrees; E–39                    Petition by Alien Entrepreneur, self-petitioners. The                Spouses or children of SG–6; SH–6 Former
                                              Spouses of E–36, or E–37; E–30 Children of E–36,                  regulation at 8 CFR 213a.1 relates to a person                       employees of the Panama Canal Company or Canal
                                              or E–37; EW–8 Other workers; EW–0 Children of                     having ownership interest in an entity filing for a
                                                                                                                                                                                     Zone government, employed on April 1, 1979; SH–
                                              EW–8; EW–9 Spouses of EW–8; EC–6 Chinese                          prospective employee and therefore the
                                                                                                                requirements for an affidavit of support under INA                   7 Spouses or children of SH–6. Note that this
                                              Student Protection Act (CSPA) principals; EC–7
                                                                                                                section 212(a)(4)(D) is inapplicable.                                program does not have a specific sunset date and
                                              Spouses of EC–6; EC–8 Children of EC–6.
                                                 257 If the alien is adjusting based on an
                                                                                                                   260 Includes the following categories: SD–6                       technically applicants could apply but should have
                                                                                                                Ministers; SD–7 Spouses of SD–6; SD–8 Children of                    already applied.
                                              employment-based petition where the petition is
                                              filed by either a qualifying relative, or an entity in            SD–6; SR–6 Religious workers; SR–7 Spouses of                          265 For this category, although the applicants are

                                                                                                                SR–6; SR–8 Children of SR–6.                                         subject to public charge under INA section
                                              which such relative has a significant ownership                      261 For this category, although the applicants are
                                              interest (5% or more), and the alien, at both the                                                                                      212(a)(4), the employers generally would not be a
                                                                                                                subject to public charge under INA section                           relative of the alien or a for-profit entity and
                                              time of filing and adjudication of the Form I–485,
                                                                                                                212(a)(4), the employers (for example, a religious                   therefore the requirements for an affidavit of
                                              also falls under a category exempted under INA
                                                                                                                institution), would generally not be a relative of the
                                              section 212(a)(4)(E), 8 U.S.C. 1182(a)(4)(E), (e.g., T                                                                                 support under INA section 212(a)(4)(D) is
                                                                                                                alien or a for-profit entity and therefore the
                                              nonimmigrants, U nonimmigrants, and VAWA self-                    requirements for an affidavit of support under INA                   inapplicable.
                                              petitioners) the alien does not need to file Form I–              section 212(a)(4)(D) is inapplicable.
                                                                                                                                                                                       266 Includes the following categories: SJ–6 Foreign
                                              944 (but is still required to file Form I–864).                      262 Includes the following categories: SE–6                       medical school graduate who was licensed to
                                                 258 Includes the following categories: C–56
                                                                                                                Employees of U.S. government abroad, adjustments;                    practice in the United States on Jan. 9, 1978; SJ–
                                              Employment creation, not in targeted area,                        SE–7 Spouses of SE–6; SE–8 Children of SE–6. Note                    7 Spouses or children of SJ–6; Note that this
                                              adjustments, conditional E–56 Employment                          that this program does not have a specific sunset                    program does not have a specific sunset date and
                                              creation; I–56 Employment creation, targeted area,
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                                                                                                                date and technically applicants could apply but                      technically applicants could apply but should have
                                              pilot program, adjustments, conditional; T–56                     should have already applied.                                         already applied.
                                              Employment creation, targeted area, conditional; R–                  263 For this category, although the applicants are
                                                                                                                                                                                       267 For this category, although the applicants are
                                              56 Investor pilot program, not targeted, conditional;             subject to public charge under INA section                           subject to public charge under INA section
                                              C–57 Spouses of C–51 or C–56, conditional; E–57                   212(a)(4), the employers (for example, the U.S.
                                                                                                                                                                                     212(a)(4), the employers would generally not be a
                                              Spouses of E–51 or E–56; I–57 Spouses of I–51 or                  armed forces), would generally not be a relative of
                                              I–56, conditional; T–57 Spouses of T–51 or T–56,                  the alien or a for-profit entity and therefore the                   relative of the alien or a for-profit entity and
                                              conditional; R–57 Spouses of R–51 or R–56,                        requirements for an affidavit of support under INA                   therefore the requirements for an affidavit of
                                              conditional; C–58 Children of C–51 or C–56,                       section 212(a)(4)(D) is inapplicable.                                support under INA section 212(a)(4)(D) is
                                              conditional; E–58 Children of E–51 or E–56; I–58                     264 Includes the following categories: SF–6                       inapplicable.
                                              Children of I–51 or I–56, conditional; T–58                       Former employees of the Panama Canal Company


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                                                TABLE 5—APPLICABILITY OF INA 212(a)(4) TO SPECIAL IMMIGRANT ADJUSTMENT OF STATUS APPLICATION—Continued
                                                                                                                                                                                    INA 213A, and Form I–864,
                                                                                                                                   Subject to INA 212(a)(4) and must                 Affidavit of Support under
                                                                                Category                                            file Form I–944, Declaration of                   section 213A of the INA,
                                                                                                                                           Self-Sufficiency? *                          required or exempt?

                                              Special Immigrant (EB–4)—Retired employees of International Organi-                  Yes. INA 212(a)(4) ........................   Not Applicable.270
                                                zations including G–4 International Organization Officer. Inter-
                                                national Organizations (G–4s international organization officer/Re-
                                                tired G–4 Employee) INA 101(a)(27)(I) and INA 101(a)(27)(L); 8
                                                CFR 101.5; 22 CFR 42.32(d)(5); 22 CFR 41.24; 22 CFR
                                                41.25 268 269.
                                              Special Immigrant (EB–4)—SL–6 Juvenile court dependents, adjust-                     No. SIJ are exempt under 245(h)               Not Applicable. INA 245(h).
                                                ments.
                                              Special Immigrant (EB–4)—U.S. Armed Forces Personnel. INA                            Yes. INA 212(a)(4) ........................   Not Applicable.272
                                                101(a)(27)(K) 271.
                                              Special Immigrant—International Broadcasters. INA 101(a)(27)(M); 8                   Yes. INA 212(a)(4) ........................   Not Applicable.274
                                                CFR 204.13 273.
                                              Special Immigrant (EB–4)—Special immigrant interpreters who are na-                  No. Section 1059(a)(2) of the Na-             Exempt. Section 602(b)(9) of the
                                                tionals of Iraq or Afghanistan 275.                                                  tional Defense Authorization Act              Afghan Allies Protection Act of
                                                                                                                                     for Fiscal Year 2006, as amend-               2009, Title VI of Public Law
                                                                                                                                     ed; Public Law 109–163—Jan.                   111–8, 123 Stat. 807, 809
                                                                                                                                     6, 2006, Section 1244(a)(3) of                (March 11, 2009) which states
                                                                                                                                     the National Defense Authoriza-               that    INA     245(c)(2),   INA
                                                                                                                                     tion Act for Fiscal Year 2008, as             245(c)(7), and INA 245(c)(8) do
                                                                                                                                     amended; Public Law 110–181                   not apply to special immigrant
                                                                                                                                     (Jan. 28, 2008) Section 602(b)                Iraq and Afghan nationals who
                                                                                                                                     of the Afghan Allies Protection               were employed by or on behalf
                                                                                                                                     Act of 2009, as amended sec-                  of the U.S. government (for Sec-
                                                                                                                                     tion (a)(2)(C), Public Law 111–8              tion 602(b) and 1244 adjustment
                                                                                                                                     (Mar. 11, 2009).                              applicants who were either pa-
                                                                                                                                                                                   roled into the United States or
                                                                                                                                                                                   admitted as nonimmigrants).
                                                                                                                                                                                   See Section 1(c) of Public Law
                                                                                                                                                                                   110–36, 121 Stat. 227, 227
                                                                                                                                                                                   (June 15, 2007), which amend-
                                                                                                                                                                                   ed Section 1059(d) of the Na-
                                                                                                                                                                                   tional Defense Authorization Act
                                                                                                                                                                                   for Fiscal Year 2006, Public Law
                                                                                                                                                                                   109–163, 119 Stat. 3136, 3444
                                                                                                                                                                                   (January 6, 2006) to state that
                                                                                                                                                                                   INA 245(c)(2), INA 245(c)(7),
                                                                                                                                                                                   and INA 245(c)(8) do not apply
                                                                                                                                                                                   to Iraq or Afghan translator ad-
                                                                                                                                                                                   justment applicants.
                                                * If found inadmissible based on the public charge ground, USCIS, at its discretion, may permit the alien to post a public charge bond (Form I–
                                              945). A public charge bond may be cancelled (Form I–356) upon the death, naturalization (or otherwise obtaining U.S. citizenship), or permanent
                                              departure of the alien, if the alien did not receive any public benefits as defined in the proposed rule.




                                                268 Includes the following categories: SK–6              271 Includes the following categories: SM–6 U.S.         212(a)(4), the employers would generally not be a
                                              Retired employees of international organizations;       Armed Forces personnel, service (12 years) after 10/        relative of the alien or a for-profit entity and
                                              SK–7 Spouses of SK–1 or SK–6; SK–8; Certain             1/91 SM–9 U.S. Armed Forces personnel, service              therefore the requirements for an affidavit of
                                              unmarried children of SK–6; SK–9 Certain                (12 years) by 10/91; SM–7 Spouses of SM–1 or SM–            support under INA section 212(a)(4)(D) is
                                              surviving spouses of deceased international             6; SM–0 Spouses or children of SM–4 or SM–9;
                                                                                                                                                                  inapplicable.
                                              organization employees.                                 SM–8 Children of SM–1 or SM–6.
                                                                                                                                                                    275 Includes the following categories: SI–6 Special
                                                269 Includes SN–6 Retired NATO–6 civilian                272 For this category, although the applicants are
                                                                                                                                                                  immigrant interpreters who are nationals of Iraq or
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                                              employees; SN–7 Spouses of SN–6; SN–9; Certain          subject to public charge under INA section
                                              surviving spouses of deceased NATO–6 civilian           212(a)(4), the employers would generally not be a           Afghanistan; SI–6, SI–7, SI–8—spouse and child of
                                              employees; SN–8 Certain unmarried sons/daughters        relative of the alien or a for-profit entity and            SI–6; SQ–6 Certain Iraqis and Afghans employed by
                                              of SN–6.                                                therefore the requirements for an affidavit of              U.S. Government SQ–6, SQ–7, SQ–8 Spouses and
                                                270 For this category, although the applicants are    support under INA section 212(a)(4)(D) is                   children of SQ–6; SI–6 Special immigrant
                                              subject to public charge under INA section              inapplicable.                                               interpreters who are nationals of Iraq or
                                                                                                         273 Includes the following categories: BC–6
                                              212(a)(4), the employers would generally not be a                                                                   Afghanistan; SI–7 Spouses of SI–1 or SI–6; SI–8
                                              relative of the alien or a for-profit entity and        Broadcast (IBCG of BBG) employees; BC–7 Spouses             Children of SI–1 or SI–6.
                                              therefore the requirements for an affidavit of          of BC–1 or BC–6; BC–8 Children of BC–6.
                                              support under INA section 212(a)(4)(D) is                  274 For this category, although the applicants are

                                              inapplicable.                                           subject to public charge under INA section


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                                               TABLE 6—APPLICABILITY OF INA 212(a)(4) TO REFUGEE, ASYLEE, AND PAROLEE ADJUSTMENT OF STATUS APPLICATIONS
                                                                                                                                                                                                                INA 213A, and Form I–864,
                                                                                                                                                            Subject to INA 212(a)(4) and must                    Affidavit of Support under
                                                                                            Category                                                         file Form I–944, Declaration of                      section 213A of the INA,
                                                                                                                                                                    Self-Sufficiency? *                             required or exempt?

                                              Asylees 276 ...............................................................................................   No. INA 209(c) ...............................   Exempt. INA 209(c).
                                              Indochinese Parolees from Vietnam, Cambodia, and Laos. IC–6 Indo-                                             No. Section 586, Public Law 106–                 Exempt. Section 586, Public Law
                                                chinese refugees (Public Law 95–145 of 1977). IC–7 Spouses or                                                 429 (Nov. 6, 2000).                              106–429 (Nov. 6, 2000).
                                                children of Indochinese refugees not qualified as refugees on their
                                                own.
                                              Polish and Hungarian Parolees (Poland or Hungary who were paroled                                             No. Title VI, Subtitle D, Section                Exempt. Title VI, Subtitle D, Sec-
                                                into the United States from November 1, 1989 to December 31,                                                  646(b), Public Law 104–208; 8                    tion 646(b), Public Law 104–
                                                1991) 277.                                                                                                    CFR 245.12.                                      208; 8 CFR 245.12.
                                              Refugees 278 ............................................................................................     No. INA 207(c)(3); INA 209(c) .......            Exempt. INA 207; INA 209(c).
                                              Cuban-Haitian Entrant under IRCA—CH–6, CH–7 279 ...........................                                   No. Section 202, Public Law 99–                  Exempt. Section 202, Public Law
                                                                                                                                                              603, 100 Stat. 3359 (1986) (as                   99–603, 100 Stat. 3359 (1986)
                                                                                                                                                              amended), 8 U.S.C. 1255a.                        (as amended), 8 U.S.C. 1255a.
                                              HRIFA—Principal HRIFA Applicant who applied for asylum before De-                                             No. Section 902 Public Law 105–                  Exempt. Section 902 Public Law
                                               cember 31, 1995 280.                                                                                           277, 112 Stat. 2681 (Oct. 21,                    105–277, 112 Stat. 2681 (Oct.
                                                                                                                                                              1998), 8 U.S.C. 1255.                            21, 1998), 8 U.S.C. 1255.
                                                * If found inadmissible based on the public charge ground, USCIS, at its discretion, may permit the alien to post a public charge bond (Form I–
                                              945). A public charge bond may be cancelled (Form I–356) upon the death, naturalization (or otherwise obtaining U.S. citizenship), or permanent
                                              departure of the alien, if the alien did not receive any public benefits as defined in the proposed rule.




                                                                      TABLE 7—APPLICABILITY OF INA 212(a)(4) TO OTHER APPLICANTS WHO MUST BE ADMISSIBLE
                                                                                                                                                                                                                INA 213A, and Form I–864,
                                                                                                                                                            Subject to INA 212(a)(4) and must                    Affidavit of Support under
                                                                                            Category                                                         file Form I–944, Declaration of                      section 213A of the INA,
                                                                                                                                                                    Self-Sufficiency? *                             required or exempt?

                                              Diplomats Section 13 ..............................................................................           Yes. Section 13 of Public Law 85–                Exempt, by statute, as they are
                                                                                                                                                              316 (September 11, 1957), as                     not listed in INA 212(a)(4) as a
                                                                                                                                                              amended by Public Law 97–116                     category that requires Form I–
                                                                                                                                                              (December 29, 1981); 8 CFR                       864.
                                                                                                                                                              245.3.
                                              Individuals Born in the U.S. under Diplomatic Status (NA–3) 8 CFR                                             Yes. INA 212(a)(4) ........................      Exempt. 8 CFR 101.3.
                                                101.3.
                                              Diversity, DV–1 diversity immigrant, spouse and child ...........................                             Yes. INA 212(a)(4) ........................      Exempt, by statute, as they are
                                                                                                                                                                                                               not listed in INA 212(a)(4) as a
                                                                                                                                                                                                               category that requires Form I–
                                                                                                                                                                                                               864. Diversity visas are issued
                                                                                                                                                                                                               under INA 203(c) which do not
                                                                                                                                                                                                               fall under INA 212(a)(4)(C) or
                                                                                                                                                                                                               (D).
                                              W–16 Entered without inspection before 1/1/82; W–26 Entered as                                                Yes. INA 212(a)(4) (except for cer-              Exempt, by statute as they are not
                                               nonimmigrant and overstayed visa before 1/1/82. Certain Entrants                                               tain aged, blind or disabled indi-               listed in INA 212(a)(4) as a cat-
                                               before January 1, 1982.                                                                                        viduals as defined in 1614(a)(1)                 egory that requires an Form I–
                                                                                                                                                              of the Social Security Act). INA                 864.
                                                                                                                                                              245A(b)(1)(C)(i) and (a)(4)(a))—
                                                                                                                                                              application for adjustment 42
                                                                                                                                                              U.S.C.    1382c(a)(1).    Special
                                                                                                                                                              Rule for determination of public
                                                                                                                                                              charge—See INA 245A(d)(2)
                                                                                                                                                              (B)(iii).


                                                 276 Including the following categories: AS–6                             280 Includes the following categories: 1995—HA–                    subsequent to arrival in the United States HD–6,
                                              Asylees; AS–7 Spouses of AS–6; AS–8 Children of                           6 Principal HRIFA Applicant; Spouse of HA–6,                         Spouse of HD–6, HD–7; Child of HD–6, HD–8;
                                              AS–6; SY–8 Children of SY–6; GA–6 Iraqi asylees;                          HA–7 and Child of HA–6, HA–8; Unmarried Son or                       Unmarried Son or Daughter 21 Years of Age or
                                              GA–7 Spouses of GA–6; GA–8 Children of GA–6.                              Daughter 21 Years of Age or Older of HA–6, HA–                       Older of HD–6, HD–9 Principal HRIFA Applicant
                                                 277 Note that this program does not have a specific                    9 Principal HRIFA Applicant paroled into the
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                                                                                                                                                                                             child who was abandoned subsequent to arrival and
                                              sunset date and technically applicants could apply                        United States before December 31, 1995- HB–6;
                                                                                                                                                                                             prior to April 1, 1998—HE–6; Spouse of HE–6, HE–
                                              but should have already applied.                                          Spouse of HB–6, HB–7; Child of HB–6, HB–8;
                                                                                                                                                                                             7; Child of HE–6, HE–8; Unmarried Son or Daughter
                                                 278 Includes the following categories: RE–6 Other                      Unmarried Son or Daughter 21 Years of Age or
                                              refugees (Refugee Act of 1980, Public Law 96–212,                         Older of HB–6 HB–9; Principal HRIFA Applicant                        21 Years of Age or Older of HE–6, HE–9. Note that
                                              94 Stat. 102 (Mar. 17, 1980)); RE–7 Spouses of RE–                        who arrived as a child without parents in the                        this program has a sunset date of March 31, 2000;
                                              6; RE–8 Children of RE–6; RE–9 Other relatives.                           United States HC–6; Spouse of HC–6, HC–7; Child                      however, dependents may still file for adjustment
                                                 279 Note that this program has a sunset date of two                    of HC–6, HC–8; Unmarried Son or Daughter 21                          of status.
                                              years after enactment, however, some cases may                            Years of Age or Older of HC–6, HC–9; Principal
                                              still be pending.                                                         HRIFA Applicant child who was orphaned



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                                                         TABLE 7—APPLICABILITY OF INA 212(a)(4) TO OTHER APPLICANTS WHO MUST BE ADMISSIBLE—Continued
                                                                                                                                                                                                         INA 213A, and Form I–864,
                                                                                                                                                    Subject to INA 212(a)(4) and must                     Affidavit of Support under
                                                                                         Category                                                    file Form I–944, Declaration of                       section 213A of the INA,
                                                                                                                                                            Self-Sufficiency? *                              required or exempt?

                                              T, T–1 victim, spouse, child, parent, sibling; INA 101(a)(15)(T), INA                                 No. INA 212(a)(4)(E). ....................        Exempt, by statute as they are not
                                                212(d)(13)(A).                                                                                                                                          listed in INA 212(a)(4) as a cat-
                                                                                                                                                                                                        egory that requires Form I–864.
                                                                                                                                                                                                        Adjustment of status based on T
                                                                                                                                                                                                        nonimmigrant status is under
                                                                                                                                                                                                        INA 245(l) which does not fall
                                                                                                                                                                                                        under INA 212(a)(4)(C) or (D).
                                              American Indians—INA 289 ....................................................................         No. INA 289 ...................................   Exempt. INA 289.
                                              Texas Band of Kickapoo Indians of the Kickapoo Tribe of Oklahoma,                                     No. Public Law 97–429 (Jan. 8,                    Exempt. Public Law 97–429 (Jan.
                                                Public Law 97–429 (Jan. 8, 1983); KIC—Kickapoo Indian Citizen;                                        1983).                                            8, 1983).
                                                KIP—Kickapoo Indian Pass.
                                              S (Alien witness or informant) .................................................................      Yes, but there is a waiver avail-                 Exempt.      INA    245(j);  INA
                                                                                                                                                      able—INA        245(j);    INA                    101(a)(15)(S);      8     CFR
                                                                                                                                                      101(a)(15)(S);     8      CFR                     214.2(t)(2); 8 CFR 1245.11
                                                                                                                                                      214.2(t)(2); 8 CFR 1245.11                        (Waiver filed on Form I–854,
                                                                                                                                                      (Waiver filed on Form I–854,                      Inter-Agency Alien Witness and
                                                                                                                                                      Inter-Agency Alien Witness and                    Informant Record).
                                                                                                                                                      Informant Record).
                                              Private Immigration Bill providing for alien’s adjustment of status .........                         Dependent on the text of the Pri-                 Dependent on the text of the Pri-
                                                                                                                                                      vate Bill.                                        vate Bill.
                                              NACARA (202); Principal NC–6, (NC 7–9) spouse and children 281 ......                                 No. Section 202(a), Public Law                    Exempt. Section 202(a), Public
                                                                                                                                                      105–100, 111 Stat. 2193 (1997)                    Law 105–100, 111 Stat. 2193
                                                                                                                                                      (as amended), 8 U.S.C. 1255..                     (1997) (as amended), 8 U.S.C.
                                                                                                                                                                                                        1255.
                                              NACARA 203; Cancellation of removal (Z–13) Battered spouses or                                        No. Section 203, Public Law 105–                  Exempt. Section 203, Public Law
                                                children (Z–14) Salvadoran, Guatemalan and former Soviet bloc                                         100, 111 Stat. 2193 (1997) (as                    105–100, 111 Stat. 2193 (1997)
                                                country nationals (Form I–881, Application for Suspension of Depor-                                   amended), 8 U.S.C. 1255.                          (as amended), 8 U.S.C. 1255.
                                                tation or Special Rule Cancellation of Removal (Pursuant to Section
                                                203 of Public Law 105–100 (NACARA)).
                                              Lautenberg, LA–6 282 ..............................................................................   No. Section 599E, Public Law                      Exempt. Section 599E, Public Law
                                                                                                                                                     101–167, 103 Stat. 1195 (Nov.                      101–167, 103 Stat. 1195 (Nov.
                                                                                                                                                     21, 1989), 8 U.S.C.A. 1255.                        21, 1989), 8 U.S.C.A. 1255.
                                              Registry, Z–66—Aliens who entered the United States prior to January                                  No. INA 249 of the Act and 8 CFR                  Exempt. INA 249 of the Act and 8
                                                1, 1972 and who meet the other conditions.                                                            part 249.                                         CFR part 249.
                                              U, U–1 Crime Victim, spouse, children and parents, and siblings under                                 No. INA 212(a)(4)(E).                             Exempt. INA 212(a)(4)(E).
                                                INA 245(m).
                                              Temporary Protected Status (TPS) .........................................................            No. 8 CFR 244.3(a).283                            Exempt. 8 CFR 244.3(a).284
                                                * If found inadmissible based on the public charge ground, USCIS, at its discretion, may permit the alien to post a public charge bond (Form I–
                                              945). A public charge bond may be cancelled (Form I–356) upon the death, naturalization (or otherwise obtaining U.S. citizenship), or permanent
                                              departure of the alien, if the alien did not receive any public benefits as defined in the proposed rule.


                                              G. Definitions                                                      that has appeared in U.S. Federal                                   services that would make the alien more
                                                                                                                  immigration law since at least 1882, but                            self-sufficient. Second, the commenter
                                              1. Public Charge
                                                                                                                  has never been defined by Congress or                               argued that the proposed rule could
                                                 Comment: A commenter stated that                                 in regulation. The rule provides a                                  have adverse effects on aliens whose
                                              the lack of a public charge definition is                           definition for public charge and DHS                                presence in the United States is a net
                                              an issue that must be resolved because                              believes that prior to this rule there has                          benefit to the U.S. Government as a
                                              immigration is an important feature of                              been insufficient guidance on how to                                consequence of their productivity,
                                              America’s culture and public policy,                                determine if an alien who is applying                               associated tax revenues, etc. And third,
                                              heightening the importance of having a                              for admission or adjustment of status is                            the commenter argued that the proposed
                                              consistent definition.                                              likely to become a public charge at any
                                                 Response: DHS agrees that it is                                                                                                      rule would bind adjudicators to a bright-
                                                                                                                  time in the future.
                                              important to define public charge in the                                                                                                line definition of ‘‘public charge’’ that
                                                                                                                     Comment: Commenters stated that the
                                              rulemaking—public charge is a term                                  proposed definition of public charge is                             could result in harsh consequences in
                                                                                                                  ‘‘without precedent and contrary to the                             some cases. By contrast, in the
                                                281 Note that this program has a sunset date of
                                                                                                                  discretion provided to DHS under                                    commenter’s view, the ‘‘primarily
                                              April 1, 2000; however, some cases may still be                     statute.’’ A commenter stated that the                              dependent’’ standard under the 1999
                                              pending.                                                                                                                                Interim Field Guidance provided
                                                                                                                  proposed public charge definition relies
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                                                282 Note that this program sunset date of

                                              September 30, 2014, only applies to parole. Eligible                on outdated case law, and that the 1999                             adjudicators with more discretion.
                                              applicants may still apply for adjustment of status.                Interim Field Guidance is preferable to                             Another commenter stated that the
                                                283 INA section 244(c)(2)(ii), 8 U.S.C.
                                                                                                                  the proposed rule, for three reasons.                               proposed rule does not comport with
                                              1254a(c)(2)(ii), authorizes USCIS to waive any                      First, the commenter argued that the                                the law because it is contrary to the
                                              section 212(a) ground, except for those that
                                              Congress specifically noted could not be waived.                    proposed rule undermined DHS’s stated                               long-established common-law definition
                                                284 See INA section 244(c)(2)(ii), 8 U.S.C.                       objectives, because it could stop an                                of public charge. A commenter stated
                                              1254a(c)(2)(ii).                                                    alien from accessing government                                     that the use of non-monetizable benefits


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                                              for one third of the time period does not               nor the case law requires DHS to weigh                quantifying the level of public support
                                              reflect ‘‘primary dependence.’’                         an alien’s net impacts on government                  or the type of public support required to
                                                 Response: DHS disagrees that the                     resources, such as by evaluating the                  determine that the alien is likely to
                                              public charge definition is contrary to                 potential tax receipts generated by the               become a public charge at any time in
                                              the discretion provided to DHS under                    alien, as compared to the alien’s receipt             the future.
                                              the INA, relies on outdated case law or                 of public benefits. In addition, a                       DHS notes that even if there were a
                                              is without precedent, or undermines the                 definition that requires consideration of             clear definition for public charge
                                              agency’s objectives. As noted in the                    the alien’s overall contributions to tax              grounded in case law, which there does
                                              NPRM, DHS’s authority to make public                    revenues, economic productivity, or                   not appear to be, agencies responsible
                                              charge inadmissibility determinations                   society at large would be unjustifiably               for administering federal law generally
                                              and related decisions is found in several               challenging to administer. For instance,              have the authority to interpret an
                                              statutory provisions, including section                 as explained in the proposed rule, fully              ambiguous statute in a different manner
                                              102 of the Homeland Security Act of                     monetized thresholds (which would be                  than the manner in which a court
                                              2002 (Pub. L. 107–296, 116 Stat 2135),                  required to make a dollars-to-dollars                 interpreted the statute.287 Therefore,
                                              6 U.S.C. 112, section 103 of the Act, 8                 comparison) would not be administrable                DHS would be within its authority to
                                              U.S.C. 1103, as well as section 212(a)(4)               because some benefits, such as                        create a different definition of ‘‘public
                                              of the Act, 8 U.S.C. 1182(a)(4). DHS may                Medicaid, lack clearly monetizable                    charge.’’ 288
                                              issue regulations implementing its                      value. In addition, DHS notes that taxes                 Comment: Commenters provided a
                                              authority under these statutes without                  serve a variety of functions, and benefit             historical overview of public charge,
                                              further congressional authorization.                    the taxpayer regardless of whether she                and asserted that expanding the
                                              Additionally, as noted in the NPRM,                     or he receives an individual, means-                  definition would represent a ‘‘radical
                                              there is a scarcity of case law                         tested public benefit. A comparison of                departure’’ from over 100 years of U.S.
                                              specifically defining public charge.285                 the alien’s ‘‘contributions’’ (in the form            immigration policy. The commenters
                                              The cases cited in the NPRM and in this                 of taxes) to the alien’s ‘‘withdrawals’’ (in          discussed the laws governing public
                                              final rule include the most recent and                  the form of public benefits) would                    charge inadmissibility and
                                              relevant case law discussing the term                   therefore be incomplete, because it                   deportability, and observed that, in the
                                              public charge and the public charge                     would not consider the other                          past, public charge inadmissibility and
                                              ground of inadmissibility.286                           government programs and services,                     associated guidance have sometimes
                                                 With respect to the argument that the                including national defense,                           operated to the detriment of certain
                                              public charge rule may make it more                     infrastructure, law enforcement and                   vulnerable populations, including Jews,
                                              difficult for some aliens to become self-               emergency services, from which the                    women, and people from India. The
                                              sufficient, DHS has addressed this                      alien benefits. Further, under this rule,             commenters stated that the change in
                                              argument at length elsewhere in this                    DHS will not consider receipt of any                  policy—from a focus on dependence on
                                              preamble. In short, and as relevant here,               public benefits for which the alien has               the government by cash support for
                                              the fact that an alien might rely on                    paid into directly. Each of the                       subsistence or long-term
                                              public benefits to become self-sufficient               designated benefits involves significant              institutionalization, to a focus on a
                                              in the future has no bearing on whether                 government subsidization. In this                     broader range of benefits—would lead to
                                              such alien currently is self-sufficient or              context, DHS does not believe that value              a ‘‘general erosion’’ of benefits that legal
                                              currently is or is not a public charge.                 of an alien’s current or future tax                   immigrants may access.
                                              DHS rejects the notion that it must                     contributions should ultimately have a                   Response: While this rule expands the
                                              interpret the term ‘‘public charge’’ in                 bearing on whether the alien is a public              list of public benefits covered in the INS
                                              such a way as to allow aliens to rely on                charge.                                               1999 Interim Field Guidance and the
                                              public benefits until such time as they                    With respect to the firmness of the                1999 proposed rule, DHS does not
                                              are self-sufficient. DHS notes that its                 definition, part of the rule’s purpose is             believe that the rule is inconsistent with
                                              position on this aspect of the definition               to provide a clearer definition; DHS will             historical practice. DHS notes that this
                                              of public charge should not be taken as                 not institute a vague standard in order               rule is not facially discriminatory, and
                                              a rejection of the commenters’ general                  to avoid harsh consequences for some                  that DHS does not intend the rule to
                                              point that an alien’s past receipt of                   people.                                               have a discriminatory effect based on
                                                                                                         Finally, as to the comment stating that
                                              public benefits can result in greater self-
                                                                                                      the rule does not comport with the law
                                              sufficiency. If an alien received public                                                                         287 Nat’l Cable & Telecomms. Ass’n v. Brand X
                                                                                                      because it is contrary to the long-                   internet Servs., 545 U.S. 967, 983–84 (2005) (Brand
                                              benefits in the past and such benefits
                                                                                                      standing common law definition of                     X) (‘‘Since Chevron teaches that a court’s opinion
                                              helped the alien become self-sufficient,                                                                      as to the best reading of an ambiguous statute an
                                                                                                      public charge, the commenter failed to
                                              DHS agrees that the alien’s current self-                                                                     agency is charged with administering is not
                                                                                                      identify any common law definition of
                                              sufficiency is relevant to the prospective                                                                    authoritative, the agency’s decision to construe that
                                                                                                      public charge that DHS should have                    statute differently from a court does not say that the
                                              public charge inadmissibility
                                                                                                      considered, or as the commenter stated,               court’s holding was legally wrong. Instead, the
                                              determination, but the alien’s past                                                                           agency may, consistent with the court’s holding,
                                                                                                      that DHS violated. As noted in the
                                              receipt of public benefits is relevant to                                                                     choose a different construction, since the agency
                                                                                                      NPRM, DHS’s definition for public
                                              assessing the likelihood of future receipt              charge is derived from a review of the
                                                                                                                                                            remains the authoritative interpreter (within the
                                              of public benefits.                                                                                           limits of reason) of such statutes. In all other
                                                                                                      minimal legislative history of the public             respects, the court’s prior ruling remains binding
                                                 With respect to the argument                                                                               law (for example, as to agency interpretations to
                                                                                                      charge ground of inadmissibility and the
                                              regarding aliens who receive the                                                                              which Chevron is inapplicable). The precedent has
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                                                                                                      ordinary meaning of public charge.
                                              designated public benefits, but may                                                                           not been ‘reversed’ by the agency, any more than
                                                                                                      DHS’s definition also relies on the                   a federal court’s interpretation of a State’s law can
                                              nonetheless be a net benefit to the U.S.
                                                                                                      limited case law addressing the                       be said to have been ‘reversed’ by a state court that
                                              Government or society, neither the Act
                                                                                                      definition of public charge, in which                 adopts a conflicting (yet authoritative)
                                                                                                      courts, in the absence of statutory                   interpretation of state law.’’).
                                                285 See Inadmissibility on Public Charge Grounds,                                                              288 Brand X, 545 U.S. at 1001 (‘‘the Commission
                                              83 FR 51114, 51157–58 (proposed Oct. 10, 2018).         definition for public charge, generally               is free within the limits of reasoned interpretation
                                                286 See Inadmissibility on Public Charge Grounds,     tied the definition of public charge to               to change course if it adequately justifies the
                                              83 FR 51114, 51157–58 (proposed Oct. 10, 2018).         receipt of public benefits, without                   change’’).



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                                              race, gender, religion, or any other                    a family member or corporate sponsor                   as are in distress,’’ 293 Congress must
                                              protected ground. Rather, the rule is                   providing support).                                    have anticipated that some immigrants
                                              consistent with existing precedents that                   Response: DHS agrees that the                       would be in need of short-term support,
                                              have developed in the years since the                   definition of public charge in this rule               without becoming a public charge.
                                              earliest public charge laws, as well as                 is broader than the existing definition                   The commenter also cited a floor
                                              Congress’ codified policy statement that                and policy. However, as noted                          statement by a member of Congress in
                                              ‘‘[s]elf-sufficiency has been a basic                   previously, DHS believes that this                     the months preceding enactment of the
                                              principle of United States immigration                  expanded definition for public charge is               1882 Act. According to the commenter,
                                              law since this country’s earliest                       reasonable and consistent with                         the floor statement supported the
                                              immigration laws.’’ 289 As noted in the                 Congress’ intent and will better ensure                conclusion that Congress intended for
                                              NPRM,290 courts have consistently tied                  that aliens seeking to come to the                     the term ‘‘public charge’’ to mean a
                                              the concept of public charge to an                      United States temporarily or                           person ‘‘primarily if not wholly
                                              alien’s receipt of public benefits,                     permanently are self-sufficient.292 DHS                dependent on the government.’’
                                              without quantifying the level of public                 acknowledges that the implementation                   Specifically, the member of Congress
                                              support or requiring a certain type of                  of the public charge ground of                         incorporated into his floor statement an
                                              public support, and the alien’s ability to              inadmissibility will be a complex                      1879 resolution passed by the New York
                                              be self-sufficient. DHS acknowledges                    adjudication, but USCIS is committed to                Board of Charities, which concluded
                                              that individuals may disenroll from                     taking necessary steps to ensure                       that many cities and towns in Europe
                                              public benefits to avoid the                            consistent implementation and fair                     sent ‘‘to this country blind, crippled,
                                              consequences of this rule. As previously                adjudication, including through the                    lunatic, and other infirm paupers, who
                                              noted, the rule aims to align the                       issuance of adjudicative guidance and                  ultimately become life-long dependents
                                              principles of self-sufficiency set forth in             training. As noted elsewhere in this                   on our public charities’’; and that many
                                              PRWORA291 with the public charge                        rule, DHS believes consideration of                    such persons ‘‘become permanent
                                              inadmissibility ground.                                 receipt of public benefits is appropriate              inmates of the charitable institutions
                                                 DHS does not believe that the history                in determining whether an alien is                     supported by the State of New York.’’ 294
                                              of the public charge ground of                          likely to become a public charge in the                The resolution called on Congress to
                                              inadmissibility—which Congress has                      future.                                                exclude such individuals from the
                                              consistently chosen to retain as part of                                                                       United States and to appropriate funds
                                                                                                         Comment: Some commenters stated
                                              our immigration laws—precludes DHS                                                                             for returning such individuals to their
                                                                                                      that the proposed rule would exceed
                                              from implementing a rigorous and fair                                                                          home countries. The commenter
                                                                                                      DHS’s authority because the proposed
                                              regulatory framework for public charge                                                                         suggested that because the resolution
                                                                                                      definition is over-inclusive,
                                              inadmissibility determinations. DHS                                                                            referred to ‘‘life-long dependents’’ and
                                                                                                      encompassing a wide range of people
                                              notes that our immigration laws have                                                                           ‘‘permanent inmates,’’ it is clear that
                                                                                                      who are substantially self-supporting
                                              evolved to provide greater protections to                                                                      Congress intended for the term ‘‘public
                                                                                                      and not primarily dependent upon the
                                              vulnerable populations. For instance,                                                                          charge’’ to refer to primary dependence
                                                                                                      government to meet their basic needs.
                                              refugees and asylees are exempt from                                                                           on the Government for support.
                                                                                                      Commenters also indicated the proposal
                                              the public charge ground of                                                                                       Response: DHS rejects the notion that
                                                                                                      did not provide a reasoned analysis for
                                              inadmissibility.                                                                                               the public charge definition violates the
                                                                                                      changing the long-standing definition of
                                                                                                                                                             law or is over-inclusive. DHS
                                                 Comment: One commenter stated that                   public charge from being primarily
                                                                                                                                                             acknowledges that this is a change that
                                              the proposed rule greatly expands the                   dependent on the government to a
                                                                                                                                                             likely will increase the number of
                                              definition of public charge, is a                       determination in which a person could
                                                                                                                                                             individuals who will be deemed
                                              departure from existing policy and                      become a public charge based on receipt
                                                                                                                                                             inadmissible or ineligible for adjustment
                                              creates an unworkable, overly broad                     of a smaller amount of public benefits,
                                                                                                                                                             of status based on the public charge
                                              definition that will be impossible to                   including non-cash benefits.
                                                                                                                                                             ground. DHS disagrees, however, with
                                              implement fairly. The commenter also                    Commenters also stated that the NPRM
                                                                                                                                                             the assertion that it did not provide a
                                              asserted that experts estimated that,                   would foreclose the opportunity for a
                                                                                                                                                             reasoned explanation why the prior
                                              under the new definition, 94% of all                    hard-working, self-sufficient individual
                                                                                                                                                             standard is insufficient, why the change
                                              noncitizens who entered the United                      who experiences a fleeting financial
                                                                                                                                                             is necessary, and why non-cash benefits
                                              States without lawful permanent                         hardship to become a long-term resident
                                                                                                                                                             are included in the new public charge
                                              resident status have at least one                       of the United States.
                                                                                                                                                             determinations. Longstanding agency
                                              characteristic that DHS could                              Similarly, another commenter stated                 practice and policy,295 while generally
                                              potentially weigh negatively in a public                that ‘‘[t]he broader scheme of the                     accorded some weight, is not controlling
                                              charge determination under the                          [Immigration Act of] 1882 . . . confirms               or unalterable.296 DHS provided
                                              proposed rule. Another commenter                        that Congress intended the term ‘public
                                              stated that taking advantage of any                     charge’ to refer to primary dependence                    293 Immigration Act of 1882, 22 Stat. 214 (Aug. 3,
                                              federal, state, or local government                     on the government, not mere receipt of                 1882).
                                              program should have no impact on a                      some public aid.’’ The commenter                          294 See 13 Cong. Rec. 5109–10 (June 19, 1882)

                                              pathway to residency or citizenship.                    suggested that because the Immigration                 (Statement of Rep. John Van Voorhis).
                                                                                                                                                                295 As of the date of the effective rule, the agency
                                              The commenter suggested that instead,                   Act of 1882 (1882 Act) authorized a                    practice had not been codified in agency regulations
                                              DHS evaluate each applicant based on                    fund ‘‘to defray the expense of                        as the NPRM published in May 1999 was never
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                                              whether the alien is employed or is                     regulating immigration . . . , for the                 finalized. As explained in the NPRM, the agency
                                              caring for a family, has a violent felony               care of immigrants arriving in the                     also issued interim Field Guidance on Deportability
                                              conviction, and has a sponsor (such as                                                                         and Inadmissibility on Public Charge Grounds, in
                                                                                                      United States, [and] for the relief of such            which it detailed its policy. See 64 FR 28689 (May
                                                                                                                                                             26, 1999). See Inadmissibility on Public Charge
                                                289 8U.S.C. 1601(1).                                     292 Brand X, 545 U.S. at 1001 (‘‘the Commission     Grounds, 83 FR 51114, 51133 (proposed Oct. 10,
                                                290 See Inadmissibility on Public Charge Grounds,                                                            2018).
                                                                                                      is free within the limits of reasoned interpretation
                                              83 FR 51114, 51158 (proposed Oct. 10, 2018).            to change course if it adequately justifies the           296 See, e.g., Judulang v. Holder, 565 U.S. 42, 62
                                                291 See 8 U.S.C. 1601.                                change’’).                                             (2011) (indicating that longevity is ‘‘a slender reed



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                                              detailed reasoning why the changes are                   commenter draws from the funding                         to the population affected by this rule
                                              necessary in the NPRM. As explained in                   mechanism in that Act appear to be                       because the facts of Vindman and
                                              the NPRM, although the primarily                         largely unsupported. The commenter                       Harutunian were limited to cash
                                              dependence (more-than-50-percent                         assumes, without articulating any basis                  assistance and elderly, unemployed, or
                                              dependence) on public assistance                         for the assumption, that under the                       unsponsored applicants. DHS cited
                                              standard creates a bright line rule, it is               Immigration Act of 1882 aliens who                       these decisions to establish that its
                                              possible and likely probable that many                   received assistance through the fund                     proposed regulation is consistent with
                                              individuals whose receipt of public                      could not also be public charges. DHS                    case law. Absent a clear statutory or
                                              benefits falls below that standard lack                  has no reason to believe that assumption                 regulatory definition, some courts and
                                              self-sufficiency.297 Because of the nature               is correct. But even if the Immigration                  administrative authorities have tied
                                              of the benefits that would be considered                 Act of 1882 could be read as suggesting                  public charge to the receipt of public
                                              under this rule—i.e., cash benefits for                  that an alien can rely on public funds                   benefits.305 DHS does not believe that
                                              income maintenance and non-cash                          for support without becoming a public                    Vindman or Harutunian specifically
                                              benefits for basic living needs such as                  charge, DHS is unaware of any binding                    limited the general understanding of
                                              food and nutrition, housing, and                         case law requiring DHS to interpret the                  public charge to only those who are
                                              healthcare, that account for significant                 term ‘‘public charge’’ in this manner.                   ‘‘elderly, unemployed or unsponsored’’
                                              public expenditures on non-cash                          And regardless, Congress has since                       aliens. Both decisions were based on the
                                              benefits 298—DHS believes that receipt                   amended the public charge ground of                      understanding that Congress intended to
                                              of such benefits for more than 12                        inadmissibility multiple times over the                  exclude those who were unable to
                                              months within any 36-month period is                     course of more than a century.                           support themselves and who received
                                              sufficient to render a person a public                      With respect to the New York State                    public benefits.306 Additionally,
                                              charge.299 This is because an individual                 Board of Charities resolution referenced                 Congress later amended the law to
                                              with limited means to satisfy basic                      by the commenter, DHS notes that the                     specifically require sponsorship (by
                                              living needs who uses government                         resolution does not use the term ‘‘public                requiring an affidavit of support for
                                              assistance to fulfill such needs for that                charge’’ or implicitly define such term.                 some immigrants or considering an
                                              duration of time relies on such                          DHS does not find the resolution or the                  affidavit of support for others) as part of
                                              assistance to such an extent that the                    surrounding floor statement particularly                 the public charge determination, and
                                              person is not self-sufficient.300 Given                  instructive for purposes of this                         also codified statutory minimum factors
                                              that neither the wording of section                      rulemaking; they originate in a different                to consider (including age, financial
                                              212(a)(4) of the Act, 8 U.S.C. 1182(a)(4),               historical context that preceded                         status, and education and skills).
                                              nor case law examining public charge                     multiple modifications to and re-                        Therefore, DHS finds the commenters’
                                              inadmissibility, mandates the                            enactments of the public charge ground                   assertion that DHS’s reasoning does not
                                              ‘‘primarily dependent’’ standard, and in                 of inadmissibility in the 140 years since                withstand scrutiny for those non-
                                              light of Congress’ unequivocal policy                    the passage of the 1879 resolution.302                   elderly, employed, and sponsored aliens
                                              goal articulated in PRWORA, DHS has                         Comment: A commenter stated that                      unpersuasive.
                                              concluded that the ‘‘primarily                           DHS’s rationale for why the public                          Comment: One commenter stated that
                                              dependent’’ standard is not the only                     charge definition is consistent with                     the proposed public charge definition is
                                              permissible interpretation of what it                    more than 40 years of case law—and                       nonsensical because DHS has asserted
                                              means to be a public charge, and is in                   specifically, DHS’s citation of Matter of                that legislative history and case law
                                              fact suboptimal when considered in                       Vindman and Matter of                                    support the definition but has also
                                              relation to the goals of the INA and                     Harutunian 303—did not withstand                         noted that legislative history and case
                                              PRWORA.301                                               scrutiny because these cases involved                    law on the subject are scarce.
                                                                                                       the receipt of cash benefits by the                         Response: DHS does not believe that
                                                 With respect to the commenter’s
                                                                                                       elderly, unemployed and unsponsored                      the public charge definition is
                                              arguments about the Immigration Act of
                                                                                                       applicants, and therefore bears no                       nonsensical. While the case law and
                                              1882, the conclusions that the
                                                                                                       relevance to the broad population                        legislative history regarding the
                                              to support a significant government policy’’); see       affected by this rule. One commenter                     meaning of public charge is minimal, it
                                              Chevron, USA, Inc v. Nat. Res. Def. Council, Inc.,       asserted that the cases cited do not                     is not non-existent. As outlined in the
                                              467 U.S. 837, 863 (1984) (indicating that to engage
                                                                                                       support the proposed definition, and                     NPRM, DHS carefully analyzed the
                                              in informed rulemaking, the agency must consider                                                                  available legislative history and case
                                              varying interpretations and the wisdom of its policy     stated that the citation to these cases
                                              on a continuing basis and establish a reasonable         indicates that this rule is haphazardly                  law as part of this rulemaking.
                                              choice); United States v. Nat’l Ass’n of Sec. Dealers,                                                               Comment: A commenter indicated
                                                                                                       put together and poorly researched.
                                              Inc., 422 U.S. 694, 719 (1975) (longstanding                                                                      that DHS ignored Second Circuit case
                                              interpretations by an agency are entitled to
                                                                                                          Response: DHS rejects the notion that
                                              considerable weight but are not controlling).            the case law cited does not support
                                                                                                                                                                of the decision. Indeed, the Supreme Court has
                                                297 See Inadmissibility on Public Charge Grounds,      DHS’s public charge definition. In                       cited the age of a precedent as a reason to maintain
                                              53 FR 51114, 51164 (proposed Oct. 10, 2018).             particular, DHS disagrees that the case                  it. See Montejo v. Louisiana, 556 U.S. 778, 792–93
                                                298 See Inadmissibility on Public Charge Grounds,
                                                                                                       law cited in support of the public charge                (2009) (citing ‘‘the antiquity of the precedent’’ as a
                                              53 FR 51114, 51164 (proposed Oct. 10, 2018).                                                                      factor against overturning a decision).
                                                299 See Inadmissibility on Public Charge Grounds,
                                                                                                       definition, and particularly Vindman                        305 See Inadmissibility on Public Charge Grounds,
                                              53 FR 51114, 51164 (proposed Oct. 10, 2018).             and Harutunian,304 bears no relevance                    83 FR 51114, 51157(proposed Oct. 10, 2018).
                                                300 See Inadmissibility on Public Charge Grounds,                                                                  306 See Matter of Harutunian, 14 I&N Dec. 583,
                                                                                                         302 NLRB v. SW General, Inc., 137 S. Ct. 929, 943
                                              53 FR 51114, 51164 (proposed Oct. 10, 2018).                                                                      586 (Reg’l Comm’r 1974) (‘‘The words ‘public
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                                                301 See United States v. Mead Corp., 533 U.S. 218,     (2017) (‘‘[F]loor statements by individual legislators   charge’ had their ordinary meaning, that is to say,
                                              227 (2001) (well-reasoned views of the agency            rank among the least illuminating forms of               a money charge upon or an expense to the public
                                              implementing a statute enjoys considerable weight);      legislative history.’’).                                 for support and care, the alien being destitute’’);
                                                                                                         303 See Matter of Vindman, 16 I&N Dec. 131 (Reg’l
                                              see also Chevron, U.S.A., Inc. v. Nat. Res. Def.                                                                  Matter of Vindmam, 16 I&N Dec. at 132 (Congress
                                              Council, Inc., 467 U.S. 837, 866 (1984) (judges have     Comm’r 1977); Matter of Harutunian, 14 I&N Dec.          intends that an applicant be excluded who is
                                              a duty to respect legitimate policy justices and         583 (Reg’l Comm’r 1974).                                 without sufficient funds to support himself, who
                                              resolving the struggle between competing views of          304 The commenter also suggested the age of the        has no one under any obligation to support him,
                                              the public interest are not judicial responsibilities—   decisions. DHS notes that the age of a precedent         and whose changes of becoming self-supporting
                                              they are vested in the political branches).              decision does not invalidate the precedential effect     decreases as time passes).



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                                              law such as Howe v. United States ex                    unnecessary.309 Instead, the court                       ‘‘[i]f the words covered jails, hospitals,
                                              rel. Savitsky, 247 F. 292, 294 (2d Cir.                 emphasized that, in the context of                       and insane asylums, several of the other
                                              1917), and Ex Parte Hosaye Sakaguchi,                   public charge provision and its position                 categories of exclusion would seem to
                                              277 F. 913, 916 (9th Cir. 1922), which                  within the statute, as it appeared at that               be unnecessary.’’ 312 But other courts
                                              rejected a broad definition of the term                 time, Congress meant to exclude                          have ruled differently,313 the
                                              public charge, tying it instead to a                    individuals who are likely to become                     surrounding grounds of inadmissibility
                                              person’s likelihood of becoming an                      occupants of government-run                              have been amended many times since,
                                              occupant of almshouses for want of                      almshouses from the United States 310                    and the fact that two INA provisions
                                              means of support. This commenter                        for want of means to support themselves                  that may cover the same conduct does
                                              indicated that DHS’s historical                         in the future.311 The court did note that                not make either unnecessary.314
                                              argument—that the late 19th century                                                                              Likewise, DHS does not believe that the
                                              history and meaning are irrelevant                         309 Howe, 247 F. at 294 (‘‘Indeed, with such          current public charge inadmissibility
                                              because the wide array of limited-                      latitudinarian construction of the provision ‘likely     provision is limited to almshouses and
                                                                                                      to become a public charge,’ most of the other
                                              purpose public benefits now available                   specific grounds of exclusion could have been
                                                                                                                                                               its modern equivalents. Later decisions
                                              did not exist at the time—was                           dispensed with . . . We are convinced that               have considered other benefits such as
                                              historically inaccurate. The commenter                  Congress meant the act to exclude persons who            old age assistance.315
                                              noted that contemporaneous sources                      were likely to become occupants of almshouses for           Skaguchi,316 a case in which the court
                                                                                                      want of means with which to support themselves
                                              and historical studies reveal that                      in the future. If the words covered jails, hospitals,
                                                                                                                                                               based its holding in part on Howe,317 is
                                              throughout the 19th century’s                           and insane asylums, several of the other categories
                                              governments, including the Federal                      of exclusion would seem to be unnecessary.’’)            at public expense, by reason of poverty, insanity
                                              Government, provided limited public                        310 DHS reviewed a variety of sources to identify     and poverty, disease and poverty, idiocy and
                                                                                                      a clear definition of the term ‘‘almshouse,’’ as it      poverty, or, it might be, by reason of having
                                              assistance short of institutionalization.               might relate to an interpretation of the term public     committed a crime which, on conviction, would be
                                              Additionally, the commenter indicated                   charge. The Second Circuit, in Howe, did not             followed by imprisonment. It would seem there
                                              that even if limited-purpose public                     further elaborate on the meaning of the term             should be something indicating the person is liable
                                              benefits had not been available, the                    almshouse or the threshold level of support for          to become, or shows probability of her becoming,
                                                                                                      purposes of determining whether an alien was             a public charge.’’
                                              argument is immaterial because such an                  likely to become a public charge. Almshouses have           312 See Howe, 247 F. at 294.
                                              expansion would not change the                          also been discussed in contexts other than public           313 See generally Leo M. Alpert, The Alien and
                                              meaning of the term set out in the 1882                 charge. For example, for purposes of claiming tax        the Public Charge Clauses, 49 Yale L.J. 18, 20–22
                                              Act. In fact, according to the                          exemption, New York State courts emphasized that         (1939) (discussing disagreements with part of the of
                                                                                                      an almshouse only qualified for tax exemptions if        the Howe decision). To be clear, DHS is not taking
                                              commenter, Congress has declined to                     it offered services free of charge; almshouses which     the position that some of the cases cited in the
                                              change its original meaning of the                      offered services at a reduced charge, for example,       Alpert article did that someone who is incarcerated
                                              term.307                                                did not qualify as almshouses for tax purposes. See,     is likely to become a public charge based on penal
                                                Response: DHS is aware of the                         e.g., In re Vanderbilt’s Estate, 10 N.Y.S. 239, 242      incarnation.
                                              decisions in Howe and Sakaguchi, but                    (Sur. 1890) (‘‘The New York Protestant Episcopal            314 See Kawashima v. Holder, 565 U.S. 478,
                                                                                                      City Mission Society claims exemption as an              (2012) (holding that the aggravated felony provision
                                              DHS does not believe that these cases                   almshouse. It maintains a home and reading-rooms,        for fraud or deceit includes tax offenses even
                                              are inconsistent with the public charge                 etc., and provides lodgings and meals free. It also      though there is a separate aggravated felony
                                              definition set forth in this rule or with               maintains a day nursery, for which it makes a small      provision concerns tax crimes).
                                              the suggested link between public                       charge. This takes it out of the domain of pure             315 See, e.g., Matter of Harutunian, 14 I&N Dec.
                                                                                                      charity,—a house wholly appropriated to the poor.
                                              charge and the receipt of public                                                                                 583 (Reg’l Comm’r 1974).
                                                                                                      I have already decided in several cases that a              316 See Ex parte Hosaye Skaguchi, 277 F. 913 (9th
                                              benefits. In fact, the cases support DHS’s              society, to be exempt from this tax as an almshouse,
                                                                                                                                                               Cir. 1922).
                                              belief that courts generally have neither               must be absolutely free,—all benefits given
                                                                                                                                                                  317 The court in Howe cited to Gegiow v. Uhl, 239
                                              quantified the level of public support                  gratuitously.’’) In City of Taunton v. Talbot, an
                                                                                                      almshouse attempted to recover the cost from one         U.S. 3 (1915), and Ex Parte Mitchell, 256 F. 229
                                              nor the type of public support required                 of its inmates. 186 Mass 341 (1904). The court           (N.D. NY 1919), both cases that confirmed that a
                                              for purposes of a public charge                         denied relief because there were no records to tie       finding of public charge must be based on a defect
                                              inadmissibility finding. In Howe, the                   the expenses specifically to the inmate, in              of a nature that affects an individual’s ability to
                                                                                                      particular because the agreement between the             earn a living and cannot be predicated on some
                                              court reviewed whether the immigration                  inmate and the almshouse included support in             external reason such as an overstocked labor
                                              inspector rightly attempted to classify                 exchange for the inmate’s work. See id. at 343. DHS      market, see Gegiow, 239 U.S. at 10, and other
                                              the alien as a public charge because the                is aware that INS used references to the term            speculative and remote conjectures that are
                                              immigration inspector believed the                      ‘‘almshouse’’ in its 1999 proposed regulation and in     unrelated to an alien’s defect or other fact that
                                                                                                      the 1999 Interim Field Guidance to explain, among        shows or tends to show that the alien is unlikely
                                              applicant to have engaged in a criminal                 other things, its primarily dependent model for          to earn a living and therefore likely to become a
                                              matter but lacked the requisite evidence                purposes of public charge. See Inadmissibility on        public charge. In Gegiow, the Secretary of Labor
                                              to charge the alien.308 The court rejected              Public Charge Grounds, 83 FR 51114, 51163                deemed a group of illiterate aliens who lacked
                                              such a broad use of the public charge                   (proposed Oct. 10, 2018); see also Inadmissibility       English language proficiency inadmissible as likely
                                                                                                      and Deportability on Public Charge Grounds, 64 FR        to become a public charge, because they had little
                                              provision, which would have rendered                    28676 (proposed May 26, 1999) and Field Guidance         money on hand, had no sponsor, and intended to
                                              several other inadmissibility grounds                   on Deportability and Inadmissibility on Public           travel to a city with a weak labor market. The Court
                                                                                                      Charge Grounds, 64 FR 28689 (May 26, 1999). As           wrote that on the record before it, ‘‘the only ground
                                                307 In support of the commenter’s arguments, the      explained in the NPRM, however, neither INS’s            for the order was the state of the labor market at
                                              commenter cited Forest Grove Sch. Dist. v. T.A., 557    reasoning nor any evidence provided, forecloses the      Portland at that time; the amount of money
                                              U.S. 230, 239–40 (2009); Feltner v. Columbia            agency adopting a different definition consistent        possessed and ignorance of our language being
                                              Pictures Television, Inc., 523 U.S. 340, 358 (1998)     with statutory authority. See Inadmissibility on         thrown in only as makeweights.’’ Gegiow, 239 U.S.
                                              (Scalia, J., concurring).                               Public Charge Grounds, 83 FR 51114, 51133                at 9. The Court then interpreted the term public
                                                308 See Howe v. United States ex rel. Savitsky, 247   (proposed Oct. 10, 2018).                                charge as similar in kind to the surrounding terms
                                                                                                         311 Howe, 247 F. at 294 (interpreting the public      in the governing statute (which included terms such
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                                              F. 292, 294 (2d Cir. 1917). In Howe, the alien had
                                              been engaged in a contractual dispute in his home       charge provision under Act of 1907); see also Ex         as pauper and beggar). The Court reasoned that
                                              country on account of writing a bad check, which        parte Mitchell, 256 F. 229, 230 (N.D.N.Y. 1919)          because such surrounded terms related to
                                              the immigration inspector regarded as a dishonest       (explaining, in addressing the public charge             permanent personal characteristics of the alien
                                              practice. Because the immigration inspector lacked      provision of 1917, that ‘‘I am unable to see that this   rather than the alien’s destination, the Secretary of
                                              the requisite proof to exclude the applicant on         change of location of these words in the act changes     Labor could not consider conditions in the aliens’
                                              criminal grounds, however, the inspector attempted      the meaning that is to be given them. A ‘person          destination city as part of the public charge
                                              to deny entry on public charge grounds of               likely to become a public charge’ is one who for         determination. The Court’s characterization of the
                                              inadmissibility under section 2 of the Immigration      some cause or reason appears to be about to become       role of the aliens’ assets and resources, as well as
                                              Act of 1907 (36 Stat 264).                              a charge on the public, one who is to be supported       language proficiency, is dicta and has in any case



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                                              not inconsistent with DHS’s proposed                      ‘d[oes] not foreclose [the Department]                 public charge inadmissibility ground.
                                              definition of public charge. As was the                   adopting a different definition                        DHS also believes it is consistent with
                                              case in Howe, the court in Skaguchi                       consistent with statutory authority.’ ’’               the premise underlying much of the
                                              rejected the use of the public charge                     The commenter believed that this                       public charge case law analyzing the
                                              ground of inadmissibility as a ‘‘catch-                   response was legally insufficient                      public charge inadmissibility ground 324
                                              all’’ form of inadmissibility.318 The                     because it confused DHS’s ability to take              that aliens who enter this country
                                              court reiterated that to sustain a public                 action under a statute with its                        should be self-sufficient and not reliant
                                              charge inadmissibility finding, there                     independent obligation to adopt an                     on the government. As explained in the
                                              must be evidence of a fact that tends to                  approach based on sound reasoning.                     NPRM and detailed above, despite the
                                              show that the burden of supporting the                    The commenter stated that merely                       lack of a definition in the statute and
                                              alien is likely to be cast upon the                       asserting that DHS has the ability to                  minimal case law defining public
                                              public.319 Therefore, DHS rejects the                     reject other agencies’ reasoned analyses               charge, there has always been a link
                                              commenter’s suggestion that these cases                   (whether or not correct) does nothing to               between the receipt of public benefits
                                              mandate a result other than the DHS’s                     justify its choice to do so. The                       and the public charge determination.325
                                              public charge definition and the level of                 commenter concluded, therefore that                    Absent a clear statutory definition,
                                              dependency assigned to it in the NPRM.                    DHS’s response—like DHS’s overall                      courts and administrative authorities
                                                 DHS agrees that it is immaterial to                    decision—failed to satisfy the APA’s                   have generally tied the concept of
                                              this rulemaking whether limited-                          requirements.                                          public charge to the receipt of public
                                              purpose means-tested benefit programs                        Response: As explained in the                       benefits without quantifying the level,
                                              expanded over the course of the last                      NPRM,321 DHS is aware that former INS                  type or duration of the public benefits
                                              century-plus. DHS simply recited,                         consulted with various agencies that                   received.326 To create an administrable
                                              without endorsing, INS reasoning for                      administer the federal programs. The                   way to implement the statute, DHS’s
                                              the primarily dependent standard in the                   letters were issued in the context of the              NPRM provided a list of specific
                                              NPRM, in an effort to explain the                         approach taken in the 1999 proposed                    benefits and a threshold amount that
                                              primarily dependent standard’s                            rule and 1999 Interim Field Guidance,                  DHS believed reasonably balances an
                                              limitations and why DHS proposed a                        and specifically opined on the                         alien’s lack of self-sufficiency against
                                              different standard in this rule.320 DHS’s                 reasonableness of that INS                             temporary welfare assistance that does
                                              reasoning for changing the public charge                  interpretation, that is, the primarily                 not amount to a lack of self-
                                              definition is not based on this                           dependent on the government for                        sufficiency.327 Additionally, by
                                              statement.                                                subsistence definition. As noted in the                proposing to codify the totality of the
                                                 Comment: Some commenters                               NPRM, DHS does not believe that these                  circumstances approach to the
                                              indicated that the proposed rule was at                   letters supporting the interpretation set              prospective inadmissibility
                                              odds with the recommendations of the                      forth in the 1999 Interim Field Guidance               determination, DHS clarified that an
                                              very agencies that administer the federal                 foreclose this different interpretation,               alien’s past receipt of public benefits
                                              programs included in the rule. The                        particularly where DHS’s reasoning for
                                              commenters also pointed out that, as                      the approach in this final rule is                     in 1996 also highlighted that an immigrant should
                                                                                                        grounded in a different basis.                         be relying on his or her own resources, rather than
                                              indicated by DHS in the NPRM, INS had                                                                            becoming a burden on the taxpayers. See
                                              consulted with HHS, the Social Security                      Comment: Some commenters objected                   Inadmissibility on Public Charge Grounds, 83 FR
                                              Administration (SSA), and the                             to what they describe as the ‘‘per se’’                51114, 51157 (proposed Oct. 10, 2018). With the
                                              Department of Agriculture (USDA)                          nature of the rule. Specifically,                      passage of PRWORA, Congress explicitly
                                                                                                        commenters expressed concerns that                     emphasized that self-sufficiency is a fundamental
                                              when developing the 1999 Interim                                                                                 principle of the United States immigration law and
                                              Guidance and that these agencies had                      immigrants receiving any amount of                     connected receipt of public benefits with a lack of
                                              told INS unequivocally ‘‘that the best                    public benefits would be deemed a                      self-sufficiency, further stating that aliens within
                                              evidence of whether an individual is                      public charge. An individual                           the Nation’s borders should not depend on public
                                                                                                                                                               resources to meet their needs. See 8 U.S.C. 1601(1)
                                              relying primarily on the government for                   commenter said the rule would                          and (2). Courts likewise have connected public
                                              subsistence is either the receipt of                      implicitly classify more than a fifth of               charge determinations to the receipt or the need for
                                              public cash benefits for income                           Americans as a public charge.                          public resources See Inadmissibility on Public
                                                                                                           Response: DHS disagrees with the                    Charge Grounds, 83 FR 51114, 51157–58 (Oct. 10,
                                              maintenance purposes or                                                                                          2018).
                                              institutionalization for long-term care at                commenters’ characterization that the                    324 See, for example, Matter of Vindman, 16 I&N

                                              government expense’’ and that ‘‘neither                   definition of public charge creates an                 Dec. 131 (Reg’l Comm’r, 1977) (concluding that
                                              the receipt of food stamps nor nutrition                  inappropriate per se rule. DHS believes                Congress intends that an applicant for a visa be
                                                                                                        that the nexus between likelihood of                   excluded who is without sufficient funds to support
                                              assistance provided under [SNAP]                                                                                 himself or herself, or who has no one under any
                                              should be considered in making a                          becoming public charge at any time in                  obligation to support him, and whose chances of
                                              public charge determination.’’                            the future, the receipt of public benefits,            becoming self-supporting decreases as time passes,
                                              Commenters indicated that in the                          and self-sufficiency, as described and                 and that the respondents’ receipt of assistance for
                                                                                                        explained in the NPRM,322 is consistent                approximately three years clearly put them into the
                                              NPRM, DHS ‘‘dismissed all of this                                                                                confines of the public charge inadmissibility
                                              expertise, stating ipse dixit that such                   with Congress’ intent 323 in enacting the              ground); see also Matter of Harutunian, 14 I&N Dec.
                                              input from the federal agencies that                                                                             583 (Reg’l Comm’r 1974) (The words ‘‘public
                                                                                                           321 See Inadmissibility on Public Charge Grounds,   charge’’ had their ordinary meaning, that is to say,
                                              actually administer these programs                        83 FR 51114, 51133 (proposed Oct. 10, 2018).           a money charge upon or an expense to the public
                                                                                                           322 See Inadmissibility on Public Charge Grounds,   for support and care, the alien being destitute); see
                                              been superseded by multiple revisions to the public       83 FR 51114, 51157–58 (proposed Oct. 10, 2018).        generally cases cited in Inadmissibility on Public
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                                              charge statute, including a revision in 1996 that            323 As outlined in the NPRM, legislative history    Charge Grounds, 83 FR 51114, 51157–58 (proposed
                                              specifically called for analysis of the alien’s assets,   suggests the link between public charge and the        Oct. 10, 2018).
                                              resources, and skills.                                    receipt of public benefits. For example, in the 1950     325 See Inadmissibility on Public Charge Grounds,
                                                318 See Ex parte Hosaye Skaguchi, 277 F. 913 (9th
                                                                                                        Senate Judiciary Committee report, preceding the       83 FR 51114, 51157–51158 (proposed Oct. 10,
                                              Cir. 1922).                                               passage of the 1952 Act, concerns were raised about    2018).
                                                319 See Ex parte Hosaye Skaguchi, 277 F. 913, 916                                                                326 See Inadmissibility on Public Charge Grounds,
                                                                                                        aliens receiving old age assistance. See
                                              (9th Cir. 1922).                                          Inadmissibility on Public Charge Grounds, 83 FR        83 FR 51114, 51157–51158 (proposed Oct. 10,
                                                320 See Inadmissibility on Public Charge Grounds,       51114, 51157 (proposed Oct. 10, 2018). Debates on      2018).
                                              83 FR 51114, 51163 (proposed Oct. 10, 2018).              public charge prior to Congress’ passage of IIRIRA       327 See 8 CFR 212.21(b).




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                                              alone, without consideration of the                     as an assessment whether, at some                     approach to ‘‘likely at any time to
                                              other factors, would not establish future               separate point in the future, an alien                become a public charge’’ departs from
                                              likelihood of becoming a public charge.                 who is likely to become a public charge               the plain meaning of the phrase, ‘‘likely
                                              DHS further agrees with the commenters                  will later become self-sufficient. With               to become a public charge’’ in the INA,
                                              that under this new framework, the                      this rulemaking, DHS is implementing                  unnecessarily discarding long-standing
                                              number of aliens being found                            the public charge ground of                           and well-developed fairness; relies on
                                              inadmissible based on the public charge                 inadmissibility and seeking to better                 an inaccurate measure to predict
                                              ground will likely increase.                            ensure that those who are seeking                     whether an individual is likely to
                                                 Comment: Commenters objected to                      admission to the United States and                    become a public charge; will eviscerate
                                              the proposed rule because it equates                    adjustment of status, as well as those                the totality of circumstances standard; is
                                              receipt of benefits with the lack of self-              seeking extension of stay or change of                inefficient; not cost effective; and
                                              sufficiency. Others stated that the                     status, are self-sufficient, so that they do          negatively impacts applicants, the
                                              receipt of public benefits is not an                    not need public benefits to become self-              agency, and the economy.328 The
                                              indicator of a person’s incapacity for                  sufficient.                                           commenter also questioned the focus on
                                              self-sufficiency, but helps individuals to                 Comment: Some commenters                           public benefits, indicating the case law
                                              become self-sufficient. Many                            provided input on the temporary nature                was based on being ‘‘dependent on
                                              commenters expressed concern with the                   of public benefits as they relate to future           support’’ rather than focused on the
                                              expansion of the public charge                          self-sufficiency. Commenters expressed                likelihood of receiving a benefit that
                                              definition to include not just those                    a belief the rule’s core assumption was               costs the government some amount of
                                              primarily depending on cash benefits,                   that people dependent on the                          money. The commenter said changing
                                              but also individuals who use basic                      Government for subsistence will remain                the standard will deter immigrants from
                                              needs programs to supplement their                      that way indefinitely.                                pursuing expensive adjustment of status
                                              earnings or need short-term help. Some                     Response: DHS disagrees that the rule              applications if they fear they will be
                                              commenters stated that immigrant                        inherently assumes that people who rely               denied, thus forfeiting the
                                              women already face a heightened risk of                 in the government for assistance rather
                                                                                                                                                            corresponding employment
                                              economic insecurity, discrimination,                    than relying on their own capabilities
                                                                                                                                                            authorization that permits access to
                                              and disproportionate responsibility for                 and the resources of their families,
                                                                                                                                                            better-paying jobs unavailable to
                                              caregiving, and that participating in                   sponsors, and private organizations will
                                                                                                                                                            unauthorized workers. The commenter
                                              benefit programs is important to their                  remain that way indefinitely. As noted
                                                                                                                                                            concluded that such a result thwarts the
                                              ability to support themselves and their                 above, neither section 212(a)(4) of the
                                                                                                                                                            purported self-sufficiency goals of the
                                              children. A commenter stated that many                  Act, 8 U.S.C. 1182(a)(4), nor this final
                                                                                                                                                            proposed rule.
                                              open jobs require specific training that                rule, assess whether an alien subject to
                                              can be provided through community                       the public charge ground of                              Response: DHS disagrees with the
                                              colleges, and in order to obtain the                    inadmissibility will remain a public                  commenters’ assessment. As outlined in
                                              education to become a contributing                      charge indefinitely. Rather, the statute              the NPRM, the approach suggested by
                                              member of society, some immigrants                      and the rule assess whether an alien is               INS in the 1999 NPRM and the 1999
                                              draw on public benefits for a short                     likely at any time in the future to                   Interim Field Guidance does not
                                              period of time to enable them to                        become a public charge. An alien may                  preclude DHS from suggesting a
                                              complete their studies.                                 be likely in the future to become a                   different approach. As DHS laid out in
                                                 Response: DHS understands that                       public charge in the future without                   the NPRM, DHS’s interpretation is
                                              individuals, including immigrant                        remaining a public charge indefinitely.               consistent with the statutory wording
                                              women and their families, as well as                    For example, a person could receive                   which requires a public charge
                                              students, may supplement their income                   Medicaid for a number of years and then               assessment that is prospective in nature,
                                              with public benefits, such as basic                     obtain employment that provides health                and made at the time of the application
                                              needs programs, because they may                        insurance, avoiding the further need for              for a visa, admission, or adjustment of
                                              require short-term help, and that the                   Medicaid.                                             status.’’ 329 DHS understands that
                                              goal of these benefits assists them to                     Comment: A commenter stated that                   certain individuals present in the
                                              become self-sufficient in the short- and,               changing the standard from ‘‘primarily                United States may be impacted by this
                                              eventually long-term. DHS also                          dependent’’ upon cash assistance to                   rule, and therefore hesitant to apply for
                                              acknowledges that certain individuals                   ‘‘likely at any time in the future to                 adjustment of status. However, given the
                                              who are depending on public benefits                    receive one or more public benefits’’                 limited number of aliens present in the
                                              may choose to disenroll because of this                 will cause an individual to risk his or               United States eligible for public benefits
                                              rulemaking. However, the goals of                       her immigration status when enrolling                 under PRWORA, DHS does not believe
                                              public benefits programs and the public                 in specific programs. The commenter                   that the impact is as extensive as alleged
                                              charge ground of inadmissibility are not                stated that this is problematic in part               by the commenters. Finally, as
                                              the same. The public charge                             because aliens enroll in such programs                explained in the NPRM, the receipt of
                                              inadmissibility provision is not                        consistent with government policy, and                public benefits does not automatically
                                              intended to ensure that aliens can                      sometimes with the Government’s                       render an alien inadmissible based on
                                              become self-sufficient; in fact, Congress               encouragement. Another commenter                      public charge; the determination is
                                              specifically articulated policy goals in                stated that the INA includes the phrase               always based on the totality of the
                                              PRWORA that provided that                               ‘‘likely to become a public charge’’ but              alien’s circumstances.
                                                                                                      the proposed rule ‘‘defines ‘public’ and
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                                              government welfare programs should
                                              not be an incentive for aliens to                       ‘charge’ as separate words, disconnected                328 The commenter also indicates that the

                                              immigrate to the United States and that                 from each other or from the fact that the             approach is inefficient, not cost effective, and
                                              aliens inside the United States are                     phrase also requires a likelihood that                negatively impact applicants, the agency and the
                                              expected to be self-sufficient.                         the person ‘become’ a public charge, as               economy.
                                                                                                                                                              329 DHS notes the statutory wording includes the
                                              Correspondingly, DHS’s assessment of                    opposed to a likelihood that he or she                wording ‘‘at any time’’—the commenter omitted the
                                              whether an alien is likely at any time to               will engage in a specific act.’’ The                  language when asserting that the interpretation is
                                              become a public charge is not the same                  commenter indicated that the proposed                 not consistent with the plain wording of the statute.



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                                                 Comment: Several commenters                          admission, or adjustment of status, not               whole. DHS does not dispute these
                                              provided feedback on the comparison                     U.S. citizens. The purpose of this rule               positive impacts of public benefits on an
                                              between public benefits used by non-                    is to better ensure that aliens who enter             individual’s long-term self-sufficiency,
                                              citizens and native-born residents. A                   the United States or remain in the                    or the importance of these programs and
                                              commenter stated that a study                           United States are self-sufficient.                    their goals, including the integration of
                                              concluded that non-citizen households                      Statistics on the use of public benefits           immigrants. DHS also does not dispute
                                              have much higher use of food programs,                  by non-citizens compared to the use of                that benefits programs may produce
                                              Medicaid and cash programs compared                     citizens are not indicative of an                     more equal opportunities and provide
                                              to households headed by native-born                     individual alien’s self-sufficiency. Even             humanitarian support, and does not
                                              citizens and therefore, a reform of the                 though the use of public benefits by                  intend to in any way diminish these
                                              public charge doctrine is needed. Other                 noncitizens may be lower than the                     opportunities. DHS, however, is
                                              commenters stated, providing statistics                 native-born population for a given                    implementing the congressional
                                              in support, that immigrants access                      benefit, an alien may still qualify and               mandate to assess a prospective
                                              benefits for which they are eligible at a               receive public benefits in the future                 immigrant’s likelihood of becoming a
                                              far lower rate than native-born                         based on his or her particular                        public charge in the future based on the
                                              residents, suggesting that access to                    circumstances and therefore may be                    criteria that Congress put into place. As
                                              public benefits does not make                           likely to become a public charge.                     previously indicated, the INA does not
                                              immigrants more of a public charge than                 Similarly, it is immaterial whether the               aim to achieve the same goals as public
                                              native-born residents.                                  definition of ‘‘public charge’’ in the rule           assistance programs; in fact, Congress
                                                 A commenter stated that if the public                would affect one in twenty U.S. citizens              specifically articulated policy goals in
                                              charge rule were applied to native born                 or one in three. The relevant question is             PRWORA that provided that
                                              citizens, it would exclude one in three                 whether the rule’s definition of public               government welfare programs should
                                              U.S. born citizens, whereas the current                 charge is consistent with the statute.                not be an incentive for immigrants and
                                              rule would exclude one in twenty.                       DHS believes that it is consistent with               that immigrants are expected to be self-
                                              Similarly, another commenter indicated                  the statute.                                          sufficient. Correspondingly, DHS’s
                                              that the definition would mean that                        Comment: Commenters stated that                    assessment of whether an alien is likely
                                              most native-born, working-class U.S.                    immigrants use public benefits to escape              to become a public charge is not the
                                              citizens are or have been public charges                the poverty cycle, using benefits as a                same as an assessment of whether an
                                              and that substantial numbers of middle-                 ladder to prevent them from becoming                  alien is currently a public charge or
                                              class Americans are or have been public                 public charges. Other commenters                      whether, at some separate point in the
                                              charges. A commenter stated that                        stated that the rule is self-defeating,               future, an alien who is likely to become
                                              according to the MPI’s recent analysis,                 because although DHS prefers self-                    a public charge will later become self-
                                              about 69 percent of recent lawful                       sufficient families and individuals, the              sufficient.
                                              permanent residents have at least one                   proposed rule dissuades individuals                      Comment: Some commenters
                                              factor that would count against them                    from using public benefits in order to                emphasized not just the self-sufficiency
                                              under the new rule, as opposed to just                  become self-sufficient and thus                       of the immigrants that use public
                                              three percent of noncitizens who make                   enhances financial barriers. Many                     benefits or programs, but their
                                              use of cash benefits under the existing                 commenters said that those eligible for               contributions to society as a whole. A
                                              standard.                                               benefits are entitled to avail themselves             few commenters stated that providing
                                                 Response: The proposed rule’s                        of government benefits and should be                  support to families is a necessary facet
                                              analysis of public benefits receipt                     able to do so without shame or guilt.                 of our economic system and recipients
                                              among citizens and noncitizens was                      Commenters stated that when eligible                  provide more to communities than the
                                              meant to inform public understanding                    individuals receive such benefits, the                aid they receive. A commenter stated
                                              of the proposal. DHS need not resolve                   outcomes are frequently better for the                that a study in Arizona found that
                                              competing claims regarding the rates of                 United States and the economy. Several                immigrants generate $2.4 billion in tax
                                              public benefits use by various                          commenters stated that the United                     revenue, which is more than the $1.4
                                              populations, because the primary basis                  States has always been open to those                  billion in benefits they used. A few
                                              for the NPRM is a revised interpretation                who needed assistance, and given that                 commenters stated that broadening the
                                              of the term public charge, as informed                  that this country was founded on a                    definition of public charge ignores the
                                              by the statement of congressional policy                nation of immigrants, a commenter                     work, taxes, and other contributions
                                              in PRWORA. The proposal did not rest                    indicated that it was the Government’s                immigrants are making to their
                                              on a specific level of public benefits use              responsibility to create policies that                communities, and makes a ‘‘false,
                                              by particular categories of individuals or              reflect the values of equal opportunity               negative comparison between
                                              households.                                             and humanitarian support. Another                     immigrants’ drain on public resources
                                                 DHS notes, however, that the analysis                commenter indicated that even under                   compared to other Americans’ use.’’ A
                                              in the NPRM included only a limited                     existing policy, the United States has                few commenters said a ‘‘public charge’’
                                              number of programs, and did not                         always integrated immigrants                          is not a person who uses government
                                              assume that eligibility for public                      sufficiently, such that they become self-             services that are funded via taxes which
                                              benefits necessarily meant enrollment.                  sufficient and contributing members of                immigrants are expected to pay
                                              Furthermore, the analysis concerned use                 U.S. society.                                         throughout their lifetime. Commenters
                                              by individuals and not households.                         Response: With this public charge                  also indicated that tying public benefits
                                                 Additionally, this rulemaking does                   inadmissibility rule, DHS neither seeks
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                                                                                                                                                            to the public charge definition is not
                                              not apply to U.S. citizens. Even though                 to stigmatize receipt of public benefits              appropriate as the foreign national is
                                              some U.S. citizens would fall under the                 nor seeks to preclude an individual                   working, paying taxes, and contributing
                                              receipt threshold in the public charge                  from seeking public benefits. DHS                     to the welfare of the United States and
                                              definition, this fact is not relevant for               appreciates the input on the effect of                is entitled to public benefits.
                                              the purposes of this rule, as the public                public benefits payments and the role                    Response: DHS appreciates the
                                              charge ground of inadmissibility applies                these benefits play in becoming self-                 commenters’ input. DHS did not,
                                              to aliens who are seeking a visa,                       sufficient, and on the economy as a                   however, make any changes to the


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                                              public charge definition based on these                 rule, DHS has a separate definition for               benefits for a substantial component of
                                              comments. DHS recognizes the                            public charge and public benefits. In                 their support and care can be reasonably
                                              contributions foreign nationals have                    this final rule, DHS has also provided a              viewed as being a public charge.’’ 334
                                              made to American society as a whole                     more detailed definition for ‘‘likely at              But in justifying the thresholds, DHS
                                              and to their communities. However,                      any time to become a public charge.’’ 330             wrote that it ‘‘believes that receipt of
                                              with this rulemaking, DHS seeks to                      DHS believes that the framework and                   such benefits, even in a relatively small
                                              better enforce the grounds of                           separate definitions provided with this               amount or for a relatively short duration
                                              inadmissibility to ensure that those                    final rule sufficiently permit its officers           would in many cases be sufficient to
                                              seeking admission to the United States                  to make sound and reasonable public                   render a person a public charge.’’ 335
                                              are self-sufficient, i.e., rely on their own            charge inadmissibility determinations,                Another commenter stated that some
                                              capabilities and the resources of their                 as intended by Congress.                              households may be self-sufficient and
                                              family, sponsors, and private                              Comment: A commenter stated that                   capable of meeting their basic needs
                                              organizations.                                          DHS’s statutory interpretation of                     without public benefits, but nonetheless
                                                 Finally, DHS disagrees with the                      ‘‘public charge’’ is flawed. The                      enroll in such benefits to supplement
                                              commenters who stated that tying                        commenter noted that in the proposed                  available resources.
                                              public benefits to the public charge                    rule DHS stated that its proposed                        Response: DHS disagrees with the
                                              definition is not appropriate for aliens                definition of public charge was                       commenter that Merriam-Webster’s
                                              who are working, paying taxes, and                      consistent with various dictionary                    definition of ‘‘support’’ compels DHS to
                                              contributing to the welfare of the United               definitions of public charge, including               abandon the policy proposed in the
                                              States and entitled to public benefits.                 the current edition of the Merriam-                   NPRM.336 The commenter is correct that
                                              Simply because an alien is working,                     Webster Dictionary, which defines                     some of Merriam-Webster’s definitions
                                              paying taxes and contributing to the                    public charge simply as ‘‘one that is                 of ‘‘support’’ reference paying the costs
                                              welfare of the United States does not                   supported at public expense.’’ 331 The                of another, or providing a basis for the
                                              guarantee an alien’s self-sufficiency now               commenter stated that DHS’s                           existence or subsistence of another.
                                              or in the future.                                       interpretation is flawed, because DHS                 Other definitions of ‘‘support’’ in the
                                                 Again, an individual may provide                     failed to define the term ‘‘support.’’ The            same dictionary do not specify a degree
                                              significant benefits to their                           commenter stated that ‘‘looking to the                of assistance (for instance, Merriam-
                                              communities, including to the tax base,                 Merriam-Webster Dictionary, which is                  Webster’s also defines support as
                                              but nonetheless be a public charge. With                the dictionary favored by the Supreme                 ‘‘assist, help’’).337
                                              this rulemaking, DHS seeks to ensure                    Court, ‘support’ is defined as ‘pay[ing]                 But, the public benefits designated
                                              that those coming to the United States                  the cost of’ or ‘provid[ing] a basis for the          under this rule are specifically designed
                                              are self-sufficient and not dependent on                existence or subsistence of.’’’ 332 The               for the Government to pay the costs of
                                              the government for subsistence now or                   commenter further stated that, in turn,               the beneficiary with respect to basic
                                              in the future, even if they are currently               ‘‘one who is ‘supported at the public                 necessities, i.e., to provide a basis for
                                              contributing to the tax base.                           expense’ must be having needs met                     the beneficiary’s subsistence. This is the
                                              Furthermore, the public charge                          entirely or at least nearly entirely by the           case with respect to cash benefits for
                                              assessment is an assessment based on                    government.’’ Therefore, the commenter                income maintenance, Medicaid, SNAP,
                                              the individual’s facts and                              concluded, DHS failed to provide a                    and all other designated benefits. DHS
                                              circumstances; the greater the taxable                  justification for how DHS’s proposal                  believes that its rule is consistent with
                                              income and other resources, the more                    with its low thresholds for benefit use               all of the aforementioned definitions of
                                              likely an individual is self-sufficient,                comports with that definition. Another                ‘‘support’’ and especially with the
                                              and the less likely he or she is to                     commenter cited to various dictionary                 definition of ‘‘public charge’’ as ‘‘one
                                              become a public charge. DHS                             definitions of ‘‘charge’’ to support the              that is supported at public expense.’’ 338
                                              encourages all applicants to bring                      proposition that the term ‘‘public                    And for substantially the same reasons,
                                              forward any factors and circumstances                   charge’’ means a person with a very                   DHS believes that its rule is broadly
                                              they believe are relevant to their                      high level of dependence on the                       consistent with the 1828 Webster’s
                                              adjudication of public charge.                          government. For instance, the                         Dictionary definition of the term
                                                 Comment: A commenter suggested                                                                             ‘‘charge,’’ as well. For instance, the
                                                                                                      commenter cited the 1828 edition of
                                              that DHS more clearly separate the                                                                            definition cited by the commenter
                                                                                                      Webster’s Dictionary, which defined
                                              definition of public charge from the                                                                          provides an example of appropriate
                                                                                                      ‘‘charge’’ as ‘‘The person or thing
                                              predictive process by moving any                                                                              usage: ‘‘Thus the people of a parish are
                                                                                                      committed to another’s [sic] custody,
                                              predictive language, along with any
                                                                                                      care or management; a trust.’’ 333
                                              thresholds based on predictive value,                                                                            334 Inadmissibility on Public Charge Grounds, 83
                                                                                                         A commenter also stated that DHS’s
                                              from the definitions in 8 CFR 212 and                                                                         FR 51114, 51158 (proposed Oct. 10, 2018).
                                                                                                      proposed statutory interpretation is at
                                              214 to a separate section listing factors                                                                        335 Inadmissibility on Public Charge Grounds, 83
                                                                                                      odds with how DHS justified the                       FR 51114, 51164 (proposed Oct. 10, 2018).
                                              to be considered as part of the public
                                                                                                      proposed thresholds for public benefits                  336 In particular, DHS also disagrees with the
                                              charge inadmissibility determination.
                                                                                                      use. The commenter explained in                       commenter who indicated that DHS’s citing to the
                                              The commenter stated that this would                                                                          1990 edition of Black’s Law Dictionary
                                                                                                      defining ‘‘public charge,’’ DHS wrote
                                              provide a clear separation between the                                                                        inappropriate because PRWORA redefined the term
                                                                                                      that an individual ‘‘who receives public
                                              question of what is a public charge, and                                                                      public charge. As explained throughout the NPRM
                                              whether a person is likely to become a                                                                        and this final rule, PRWORA restricted access for
                                                                                                        330 See generally 8 CFR 212.21.                     aliens to certain benefits but did not define public
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                                              public charge.                                            331 Inadmissibility on Public Charge Grounds, 83    benefits.
                                                 Response: With respect to the                        FR 51114, 51158 (proposed Oct. 10, 2018).                337 See Merriam-Webster Online Dictionary,
                                              commenter’s suggestion to more clearly                    332 Merriam-Webster, definition of ‘‘support,’’     Definition of Support, https://www.merriam-
                                              distinguish between the definition of                   available at https://www.merriam-webster.com/         webster.com/dictionary/support (last visited July
                                              ‘‘public charge’’ and the prospective                   dictionary/supported (last visited July 26, 2019).    26, 2019).
                                                                                                        333 Webster’s Dictionary 1828 Online Edition,          338 Merriam-Webster Online Dictionary,
                                              public charge inadmissibility                           definition of ‘‘charge,’’ available at http://        Definition of Public Charge, https://
                                              determination, DHS notes that as                        webstersdictionary1828.com/Dictionary/charge (last    www.merriamwebster.com/dictionary/
                                              proposed, and as codified in this final                 visited July 26, 2019).                               public%20charge (last visited July 8, 2019).



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                                              called the ministers [sic] charge.’’ Just as            confirms that the DHS has set the                     rejection of the proposed definitions of
                                              a parishioner can be a ‘‘charge’’ of                    threshold for ‘‘self-sufficiency’’—or                 public charge and means-tested public
                                              minister without being entrusted                        ‘‘public charge’’—in an unreasonable                  benefit meant that Congress retained the
                                              entirely to their care, a person can be a               way and too high. The commenter                       longstanding meaning of public charge
                                              ‘‘charge’’ of the public if he or she relies            stated that in setting the salary levels for          as being primarily dependent on the
                                              on public benefits to meet basic needs.                 members of the U.S. military, Congress                government for subsistence.343
                                                 Regardless, DHS does not believe that                has determined that the salary levels are                A commenter questioned DHS’s
                                              isolated definitions of ‘‘support’’ or the              sufficient to render our servicemembers               assertion that the proposed definition of
                                              word ‘‘charge’’ standing alone                          ‘‘self-sufficient,’’ and therefore the rule           public charge reflects Congress’s intent
                                              conclusively determine the possible                     conflicts with this determination. The                to have aliens be self-sufficient and not
                                              range of definitions for the term, public               commenter further stated that                         reliant on the government for assistance.
                                              charge; neither term standing alone is                  employment as an active-duty member                   The commenter indicated that the INA
                                              used in section 212(a)(4) of the Act, 8                 of the U.S. military has long been                    does not mention self-sufficiency and
                                              U.S.C. 1182(a)(4), and neither term,                    viewed as an honorable, stable job that               does not list it as a criterion for avoiding
                                              standing alone, is used in the definition               provides a gateway for all individuals in             a finding of inadmissibility under
                                              of ‘‘public charge’’ or ‘‘public benefit’’              this country—regardless of race,                      public charge. Several commenters
                                              in this rule. DHS disagrees with the                    economic background, social class, or                 stated that the rule would drastically
                                              comment that the reference to                           other forms of difference—to succeed in               increase the scope of who would be
                                              ‘‘substantial component’’ 339 makes the                 life. The commenter stated that the                   considered a public charge to include
                                              statutory interpretation in the NPRM                    answer is not to exempt active-duty                   people who use a much wider range of
                                              inconsistent with the justification which               servicemembers from the ‘‘public                      benefits and not just those who are
                                              references a ‘‘relatively small                         charge’’ regulation, but to embrace a                 primarily dependent on the government
                                              amount.’’ 340 The reference to                          reasonable definition of ‘‘public charge’’            for subsistence. A few commenters
                                              ‘‘substantial component’’ was part of a                 so that active-duty servicemembers are                stated that the proposed rule’s
                                              summary of dictionary definitions and                   not rendered ‘‘public charges.’’                      definition of public charge would
                                              not the basis for the definition of public                 Response: Contrary to the                          equate occasional or temporary use of
                                              charge.341 Nonetheless, as discussed                    commenter’s arguments, to the best of                 benefits and services with primary
                                              elsewhere in this rule, DHS has revised                 DHS’s knowledge there is no indication                reliance on benefits. A commenter
                                              8 CFR 212.22 to limit public charge                     that Congress considered the public                   agreed with the current standard, in that
                                              determinations to benefits received for                 charge ground of inadmissibility when                 it does not penalize individuals from
                                              12 months in a 36-month period and is                   it created the military compensation                  accepting all of the forms of support
                                              not considering the value of the amount                 structure, or that the levels of pay                  encompassed within this rule. A
                                              of benefits received. Finally, DHS rejects              afforded to active duty servicemembers                commenter, in considering only primary
                                              the contention that an alien is not a                   are always adequate to ensure that                    dependence on public benefits as the
                                              public charge if the alien does not                     servicemembers and their families will                degree of dependency required to
                                              ‘‘need’’ the designated benefits that he                be self-sufficient for purposes of our                sustain a public charge finding, stated
                                              or she or receives. DHS’s view is that an               immigration laws. In the NPRM, DHS                    that the standard provides clear and
                                              alien, who receives designated benefits                 recognized that as a consequence of the               effective guidelines for adjudicators and
                                              under this rule for the specific duration,              unique compensation and tax structure                 applicants without endangering the
                                              is a public charge, whether he or she                                                                         lives of immigrant families and children
                                                                                                      afforded by Congress to aliens enlisting
                                              needs those benefits or not.                                                                                  in this country.
                                                                                                      for military service, some active duty
                                                 Comment: A commenter stated that                                                                              Response: As noted above, although
                                              DHS should not have cited to the 1990                   alien servicemembers, as well as their                the INA does not mention self-
                                              Black’s Law Dictionary’s definition of                  spouses and children, as defined in                   sufficiency in the context of section
                                              ‘‘public charge,’’ because the edition is               section 101(b) of the Act, 8 U.S.C.
                                              out of date and was written pre-                        1101(b), may rely on SNAP and other                      343 The commenter indicated that during the

                                              PRWORA.                                                 listed public benefits.342 DHS included               debates leading up to IIRIRA, Congress stripped the
                                                 Response: In its NPRM, DHS was                       a provision for these individuals, as                 bill of a provision defining public charge as a
                                                                                                      reflected in the proposed rule and as                 noncitizen who uses ‘‘means-tested, public
                                              attempting to provide a historical                                                                            benefits,’’ meaning ‘‘any public benefit (including
                                              review of the term public charge as                     discussed later in this preamble.                     cash, medical, housing, food, and social services)
                                              defined in various reference materials.                                                                       . . . in which eligibility of an individual,
                                                                                                      a. Threshold Standard                                 household, or family eligibility unit for such benefit
                                              The 1990 edition would have preceded                                                                          or the amount of such benefit, or both are
                                              the IIRIRA amendments by only six                       ‘‘Primarily dependent’’ Based on Cash                 determined on the basis of income, resources, or
                                              years.                                                  Public Benefit Receipt or Long-Term                   financial need of the individual household, or
                                                 Comment: A commenter stated that                     Institutionalization at Government                    unit.’’ See H.R. Rep. No. 104–208, at 144 (Sept. 24,
                                                                                                      Expense’’                                             1996) (sec. 551 of H.R. 2202, proposing 8 U.S.C.
                                              DHS’s recognition that active-duty U.S.                                                                       1183a(e)(defining ‘‘means-tested public benefit’’);
                                              servicemembers would qualify as                           Comment: Commenters indicated that                  see id. at 138 (sec. 532 of H.R. 2202, proposing 8
                                              ‘‘public charges’’ under the plain terms                DHS, through regulation, cannot                       U.S.C. 1251(a)(5)(C)(99), (D) (defining term ‘‘public
                                              of the proposed rule is proof positive                                                                        charge’’ [to] include[] any alien who receives . . .
                                                                                                      institute a definition that Congress had              means-tested public benefits’); H.R. Rep. No. 104–
                                              that the proposal is bad policy. The                    already squarely rejected. The                        863, at 564, 690–91 (Sept. 28, 1996) (absence of sec.
                                              commenter stated that the exclusion of                  commenters noted that Congress, as part               532 from prior H.R. 2202); see 142 Cong. Rec. 25868
                                              public benefits received by
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                                                                                                      of IIRIRA debates, had rejected a                     (Sept. 28, 1996) (noting that sec 532 was stricken
                                              servicemembers and their families                                                                             and that proposed subsection (e) to INA section
                                                                                                      proposal that would have defined a                    213A definition ‘‘Federal means-tested public
                                                                                                      public charge as a person who receives                benefit’’ was also stricken). Instead, the commenter
                                                339 Inadmissibility on Public Charge Grounds, 83
                                                                                                      means-tested public benefits. The                     stated, IIRIRA retained the term’s longstanding
                                              FR 51114, 51158 (proposed Oct. 10, 2018).                                                                     meaning of primary dependence on the government
                                                340 Inadmissibility on Public Charge Grounds, 83      commenters indicated that Congress’                   for subsistence. The commenter further stated that
                                              FR 51114, 51164 (proposed Oct. 10, 2018).                                                                     Congress’ rejection of the proposed provision was
                                                341 Inadmissibility on Public Charge Grounds, 83        342 Inadmissibility on Public Charge Grounds, 83    an express political choice to ensure that IIRIRA’s
                                              FR 51114, 51158 (proposed Oct. 10, 2018).               FR 51114, 51173 (proposed Oct. 10, 2018).             passage, and not a clerical change.



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                                              212(a)(4) of the Act, 8 U.S.C. 1182(a)(4),              from adopting a similar definition                       primarily dependent on the government,
                                              DHS believes that there is a strong                     now.349 Rather, DHS views Congress’                      as a policy matter, does not go far
                                              connection between the self-sufficiency                 failure to define ‘‘public charge’’ by                   enough in enforcing this ground of
                                              policy statements elsewhere in Title 8 of               statute as an affirmation of what the                    inadmissibility.
                                              the United States Code (even if not                     Senate Judiciary Committee                                  Given that the statute and case law do
                                              codified in the INA itself) at 8 U.S.C.                 acknowledged over 50 years ago, i.e.,                    not prescribe the type or extent of
                                              1601 and the public charge                              that the meaning of public charge has                    public benefit receipt that makes an
                                              inadmissibility language in section                     been left to the judgment and                            alien a public charge, DHS believes that
                                              212(a)(4) of the Act, 8 U.S.C. 1182(a)(4),              interpretation of administrative officials               benefits designated in this rule are
                                              which were enacted within a month of                    and the courts. More specifically, that                  directly relevant to public charge
                                              each other.344 Of particular significance               committee found that the determination                   inadmissibility determinations. These
                                              and just prior to the passage of the                    whether the alien is a public charge or                  enumerated public benefits are directed
                                              revised public charge inadmissibility                   is likely to become a public charge                      toward meeting the basic necessities of
                                              ground in IIRIRA, conference managers                   should rest within the discretion of                     life through the provision of food and
                                              noted that the implementing section                     immigration officers, because the                        nutrition, housing, and healthcare.354
                                              ‘‘amends INA section 212(a)(4) to                       elements constituting public charge are                  This basic fact is underscored by the
                                              expand the public charge ground of                      so varied.350 If Congress had wanted to                  many comments identifying significant
                                              inadmissibility. Aliens have been                       conclusively define the term public                      consequences for individuals who
                                              excludable if likely to become public                   charge as ‘‘primarily dependent,’’ it                    decide to disenroll from these benefits.
                                              charges since 1882. Self-reliance is one                could have done so.351 DHS also notes                    Ultimately, the public charge ground of
                                              of the most fundamental principles of                   that courts that have examined public                    inadmissibility is targeted to individuals
                                              immigration law.’’ 345 Previous House                   charge have generally explained public                   who, in the absence of government
                                              and Senate Judiciary Committee reports                  charge in the context of dependence or                   assistance, would lack the basic
                                              included similar statements addressing                  reliance on the public for support                       necessities of life. DHS acknowledges
                                              self-sufficiency and receipt of public                  without elaborating on the degree of                     that this rule constitutes a change that
                                              benefits in the context of public                       dependence or reliance required to be a                  will have a practical impact on aliens
                                              charge.346                                              public charge.352                                        covered by this rule; however, it views
                                                 Furthermore, DHS disagrees that                         As discussed in the NPRM,353 DHS                      the current policy as unduly restrictive
                                              either congressional actions leading up                 believes that the primary dependence                     in terms of which benefits are
                                              to IIRIRA or years of precedent mandate                 definition constitutes one permissible,                  considered for public charge
                                              the adoption of the primarily dependent                 but non-exclusive way of establishing a                  inadmissibility. Therefore, expanding
                                              standard. As explained in the NPRM,                     bright line for considering public benefit               the list of public benefits to include a
                                              the statute does not expressly prescribe                receipt relative to a public charge                      broader list of public benefits that
                                              a single method to define the level, type,              determination. Because Congress                          satisfy basic living needs as a policy
                                              or duration of public benefit receipt                   already identified certain classes of                    matter better enforces this ground of
                                              necessary to determine whether an alien                 aliens, including those who are                          inadmissibility.
                                              is a public charge or is likely at any time             particularly vulnerable, and has                            Equally important, given that the
                                              to become a public charge.347 DHS does                  exempted or authorized DHS to exempt                     statute and case law do not prescribe the
                                              not interpret the fact that Congress did                them from the public charge ground of                    degree or duration of public benefit
                                              not define public charge as ‘‘any alien                                                                          receipt that make an alien a public
                                                                                                      inadmissibility, DHS believes that with
                                              who receives [means-tested public]                                                                               charge, DHS has determined that it is
                                                                                                      respect to other aliens not similarly
                                              benefits for an aggregate period of at                                                                           permissible to adopt a threshold other
                                                                                                      protected, the current approach of
                                              least 12 months’’ prior to enactment of                                                                          than the primarily dependent standard.
                                                                                                      excluding receipt of non-cash benefits
                                              IIRIRA 348 as meaning DHS is precluded                                                                           In its annual reports to Congress on
                                                                                                      and only finding to be inadmissible
                                                                                                      individuals who are likely to become                     welfare indicators and risk factors, HHS
                                                 344 See Public Law 104–193, section 400, 110 Stat.
                                                                                                                                                               explains that defining welfare
                                              2105, 2260 (Aug. 22, 1996) (enacting 8 U.S.C. 1601)                                                              dependence and developing consensus
                                              and Public Law 104–208, div. C, sec. 531, 110 Stat.     www.congress.gov/104/crpt/hrpt828/CRPT-
                                              3009–546, 3009–674 (Sept. 30, 1996) (amending           104hrpt828.pdf (last visited 5/9/2019).                  around a single measure of welfare
                                              INA section 212(a)(4), 8 U.S.C. 1182(a)(4)).               349 See Competitive Enterprise Inst. v. U.S. Dep’t    dependence are difficult and adopting
                                                 345 See United States. Cong. House. Committee on     of Transp., 863 F.3d 917 (D.C. Cir. 2017) (‘‘But         any definition of welfare dependence
                                              the Conference. Illegal Immigration Reform and          ‘Congressional inaction lacks persuasive
                                                                                                      significance because several equally tenable
                                                                                                                                                               has its limitations and represents a
                                              Immigrant Responsibility Act of 1996. 104th Cong.
                                              2nd Sess. H. Rpt. 828, at 240–241 (1996). https://      inferences may be drawn from such inaction,              choice of demarcation beyond which
                                              www.congress.gov/104/crpt/hrpt828/CRPT-                 including the inference that the existing legislation    someone is or will be considered
                                              104hrpt828.pdf (last visited 5/9/2019).                 already incorporated the offered change.’ ’’ (citing     dependent.355 In HHS’s efforts to
                                                 346 See United States. Cong. House. Committee on     Consumer Elecs. Ass’n v. FCC, 347 F.3d 291, 299
                                                                                                      n.4 (DC Cir. 2003) (quoting Pension Benefit Guar.
                                                                                                                                                               examine the range of dependence from
                                              the Judiciary. Immigration in the National Interest
                                              Act of 1995. 104th Cong. 2nd Sess. H. Rpt. 469, pt      Corp. v. LTV Corp., 4966 U.S. 633, 650 (1990))).         complete long-term dependence to total
                                              1, at 109 (1996). https://www.congress.gov/104/crpt/       350 See Inadmissibility on Public Charge Grounds,     self-sufficiency, HHS acknowledges that
                                              hrpt469/CRPT-104hrpt469-pt1.pdf (last visited           83 FR 51114, 51123 n.21 (proposed Oct. 10, 2018).
                                              5/9/2019). See also United States. Cong. Senate.        See also The 1950 Omnibus Report of the Senate              354 See Inadmissibility on Public Charge Grounds,
                                              Committee on the Judiciary. Immigration Control         Judiciary Committee, S. Rep. No. 81–1515, at 349         83 FR 51114, 51159 (proposed Oct. 10, 2018).
                                              and Financial Responsibility Act of 1996. 104th         (1950).                                                     355 See U.S. Dep’t of Health & Human Servs.,
                                              Cong. 2nd Sess. S. Rpt. 249, at 5–7 (1996). https://       351 See, e.g., Cyan, Inc. v. Beaver Cty. Emp. Ret.
                                                                                                                                                               Indicators of Welfare Dependence: Annual Report
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                                              www.congress.gov/104/crpt/srpt249/CRPT-                 Fund, 138 S. Ct. 1061, 1070 (2018) (explaining that,     to Congress, at Foreword and Chapter II (1997),
                                              104srpt249.pdf (last visited 5/9/2019.).                if Congress had wanted to deprive state courts of        available at https://aspe.hhs.gov/report/indicators-
                                                 347 See Inadmissibility on Public Charge Grounds,    jurisdiction over certain class actions, it could have   welfare-dependence-annual-report-congress-1997
                                              83 FR 51114, 51163–51164 (proposed Oct. 10,             easily done so by inserting a provision.).               (last visited July 26. 2019). See also U.S. Dep’t of
                                              2018).                                                     352 See Inadmissibility on Public Charge Grounds,
                                                                                                                                                               Health & Human Servs., Welfare Indicators and Risk
                                                 348 United States. Cong. House. Committee on the     83 FR 51158 (proposed Oct. 10, 2018).                    Factors, at I–2 (2015), available at https://
                                              Conference. Illegal Immigration Reform and                 353 See Inadmissibility on Public Charge Grounds,     aspe.hhs.gov/report/welfare-indicators-and-risk-
                                              Immigrant Responsibility Act of 1996. 104th Cong.       83 FR 51114, 51163–51164 (proposed Oct. 10,              factors-fourteenth-report-congress (last visited July
                                              2nd Sess. H. Rpt. 828, at 138 (1996). https://          2018).                                                   26. 2019).



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                                              mere public benefit receipt is not a good               inability to achieve self-sufficiency; or             restrictive, and arbitrary. A commenter
                                              measure of dependence 356 but that:                     that the 15 percent threshold was unfair              also equated the threshold with having
                                              ‘‘Welfare dependence, like poverty, is a                and unnecessary in scope because the                  no threshold at all and stated that
                                              continuum, with variations in degree                    minimal financial support provided by                 noncitizens will be too afraid to apply
                                              and in duration.’’ 357 As HHS explains,                 federally funded benefits did not                     for benefits. Similarly, commenters
                                              an individual may be more or less                       promote dependency, but were a safety                 stated that the 15 percent threshold is
                                              dependent based the share of total                      net for vulnerable families and therefore             particularly low for immigrants living in
                                              resources derived from public benefits                  should not be linked to threats of                    areas with a high cost of living, for those
                                              or the amount of time over which the                    deportation.                                          receiving cash assistance, or for those
                                              individual depends on the public                           Commenters stated that DHS had                     receiving housing assistance, especially
                                              benefit. As HHS further elaborates, ‘‘A                 offered no basis for its use of 15 percent            in cities or states where the cost of
                                              summary measure of dependence . . .                     as the relevant benchmark for who is a                housing exceeds those detailed in the
                                              as an indicator for policy purposes must                public charge. Commenters also                        rule. Some commenters asserted that the
                                              have some fixed parameters that allow                   indicated that DHS’s own conclusory                   standard should be 50 percent of the
                                              one to determine [who] should be                        assumption that receipt of this level of              FPG, while other stated that DHS should
                                              counted as dependent, just as the                       funding represents a lack of self-                    conduct a sensitivity analysis
                                              poverty line defines who is poor under                  sufficiency was rebutted by the ample                 comparing the economic impacts of
                                              the official standard.’’ 358 In this context,           research showing that immigrants pay                  using a 15 percent of the FPG cutoff
                                              DHS has determined that it is                           more into the United States healthcare                versus a 50 percent of the FPG cutoff for
                                              permissible to adopt a uniform duration                 system than they take out and that most               benefits before determining the
                                              threshold so long as the threshold has                  immigrants pay taxes. This commenter                  threshold. A commenter stated that the
                                              fixed parameters to allow DHS to                        also indicated that DHS provided little               FPG have long been criticized for being
                                              determine who is considered a public                    to no guidance as to how DHS officials                inadequate and low—failing to take into
                                              charge. Accordingly, as explained                       would go about predicting a person’s                  account, for example, of geographical
                                              further below, DHS has defined ‘‘public                 future likelihood of receiving the                    variances in cost of living, as well as
                                              charge’’ in this final rule to mean a                   requisite amount of benefits and that the             expenses that are necessary to hold a job
                                              person who receives the designated                      use of a specific dollar benchmark belies             and to earn income (e.g., child care and
                                              benefits for more than 12 months in the                 the Department’s assurances that it will              transportation costs). The commenter
                                              aggregate in any 36-month period. This                  not consider prior receipt of benefits to             wrote that given these well-documented
                                              fixed standard will assist DHS to                       be the dispositive factor in public                   and critical flaws with the FPG, DHS’s
                                              determine which aliens are inadmissible                 charge determinations. Another                        proposed thresholds are particularly
                                              as likely to become a public charge at                  commenter indicated that DHS does not                 egregious.
                                              any time in the future based on the                     provide an explanation as to why the
                                                                                                      quantifiable amount of dependency was                    Many commenters provided examples
                                              totality of the alien’s circumstances.                                                                        of individuals who would be found to
                                                                                                      set at 15 percent rather than 50 percent,
                                              b. Standards for Monetizable and Non-                   which would reflect primary                           be public charges under the proposed
                                              Monetizable Benefits                                    dependency, or even 30 or 40 percent.                 benefit thresholds, despite being largely
                                                                                                      Citing to United States v. Dierckman,                 self-sufficient. Several commenters also
                                              Numerical Percentage Threshold                                                                                stated that a noncitizen receiving
                                                                                                      201 F.3d 915, 926 (7th Cir. 2000) and
                                                Comment: One commenter supported                      Allied-Signal, Inc. v. Nuclear Reg.                   slightly less than $5 per day, or roughly
                                              the explanation in the NPRM that the 15                 Comm’n, 988 F.2d 146, 152 (D.C. Cir.                  $1,800 per year, in benefits would be
                                              percent threshold is an acceptable proxy                1993), the commenters indicated that                  enough to trigger a public charge
                                              for benefits use, and indicated that the                DHS failed to provide the essential facts             finding. Other commenters stated that a
                                              15 percent threshold is ‘‘widely used                   upon which the administrative decision                noncitizen family of four making 250
                                              and thus arguably more transparent than                 is based. The commenter also stated that              percent of the federal poverty line could
                                              other alternatives.’’                                   DHS’s attempt to justify its public                   be deemed public charges if they
                                                In contrast, many commenters voiced                   charge definition with existing case law              received $2.50 per person per day,
                                              general opposition to the 15 percent                    that, according to DHS, failed to                     although such a family would be about
                                              threshold, believing that the standards                 stipulate quantifying levels of public                95 percent self-sufficient. A commenter
                                              will likely reverse public health strides               support required, may have explained                  stated that therefore, DHS’s standard to
                                              communities have made relating to                       DHS’s proposal to quantify the amount,                measure self-sufficiency had no rational
                                              vaccinations, communicable diseases                     but failed to explain why that                        connection with actual self-sufficiency.
                                              and nutrition; that benefits amount                     quantifiable amount should be 15                      Many commenters cited studies finding
                                              received at that threshold level or any                 percent of FPG, and not a higher                      that those who are widely self-
                                              level, did not represent an individual’s                percentage like 30 or 40 percent, or                  sufficient, upwards of 90 percent, but
                                                                                                      another amount that is less than 51                   who receive or previously received ten
                                                356 See U.S. Dep’t of Health & Human Servs.,
                                                                                                      percent.                                              percent of their income in benefits
                                              Indicators of Welfare Dependence: Annual Report
                                              to Congress, at Chapter II (1997), available at            Other commenters stated DHS did not                could be found inadmissible under the
                                              https://aspe.hhs.gov/report/indicators-welfare-         provide adequate data to support using                proposed threshold, especially in light
                                              dependence-annual-report-congress-1997 (last            the 15 percent threshold in public                    of the fact that past receipt counts as a
                                              visited July 26. 2019).                                 charge determinations, that the                       heavily-weighted factor. Another
                                                357 See U.S. Dep’t of Health & Human Servs.,
                                                                                                                                                            commenter cited a study indicating that
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                                              Welfare Indicators and Risk Factors, at I–2 (2015),
                                                                                                      threshold was contrary to the spirit of
                                              available at https://aspe.hhs.gov/report/welfare-       public charge and did not prove an                    the rule could effectively ban a family
                                              indicators-and-risk-factors-fourteenth-report-          immigrant is ‘‘primarily dependent’’ on               of four making 175 percent of FPG, but
                                              congress (last visited July 26. 2019).                  government assistance; and that the                   which received $2.50 per day per
                                                358 See U.S. Dep’t of Health & Human Servs.,
                                                                                                      standard ignored the economic realities               person in government aid, even though
                                              Welfare Indicators and Risk Factors, at I–2 (2015),
                                              available at https://aspe.hhs.gov/report/welfare-       of low-wage work.                                     this family is only receiving 8.6 percent
                                              indicators-and-risk-factors-fourteenth-report-             Multiple commenters stated that the                of their income from the government
                                              congress (last visited July 26. 2019).                  15 percent threshold is too low or                    and is 91.4 percent self-sufficient. A


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                                              commenter also stated that the proposed                   a public charge at any time in the future             attribution of monetizable benefits (such
                                              threshold could have the perverse effect                  if the alien is more likely than not to               that benefits granted to a multi-person
                                              of discouraging immigrants from                           receive public benefits for longer than               household would not all be attributed to
                                              accessing benefits they need to                           12 months in the aggregate in any 36-                 a single person), but stated that the
                                              eventually become self-sufficient. One                    month period. As with the proposed                    proposed rule was confusing, and that
                                              commenter stated that it would be                         rule, current receipt or past receipt of              families are highly likely to avoid
                                              unreasonable to use the receipt of public                 more than 12 months of public benefits,               seeking social services entirely, rather
                                              benefits in excess of 15 percent against                  in the aggregate, in any 36-month period              than rely on the valuation formulas.
                                              an individual if the individual received                  will not necessarily be dispositive in the               Some commenters suggested that it
                                              the aid after an accident or emergency,                   inadmissibility determination; i.e., in               would be unreasonable to refer to FPG
                                              as such use would not be evidence                         determining whether the alien is likely               for a household of one, when evaluating
                                              indicating that it will happen again. A                   to become a public charge at any time                 an alien who is part of a large
                                              commenter stated that the proposed                        in the future, but will be considered a               household. One commenter wrote that
                                              threshold was so low that it would be                     heavily weighted negative factor in the               the correlation between household
                                              more of an indicator that the alien is                    totality of the alien’s circumstances.                receipts of public benefits in absolute
                                              subject to the inherent uncertainties and                    By moving the threshold standard                   dollar terms and the likelihood that one
                                              exigencies of life, e.g., if a sponsoring                 into the ‘‘public charge’’ definition, DHS            member of that household will become
                                              company goes out of business or with                      intends to alleviate confusion about the              a public charge can be assumed to be
                                              the occurrence of a heart attack or a                     threshold for being a public charge. As               stronger, the smaller the size of the
                                              child developing a disability, that it                    part of the inadmissibility                           household. For a given level of receipt,
                                              would be an indicator of the alien’s                      determination, an officer will review the             a larger household is more likely to be
                                              ongoing dependence on public benefits.                    likelihood of whether an alien will                   self-sufficient. The commenter
                                              Another commenter stated that a higher                    receive public benefits over the                      suggested that DHS set the threshold for
                                              threshold would better keep with the                      durational threshold. The ‘‘public                    monetary receipt based on actual
                                              prudence dictated by the precautionary                    benefit’’ definition will only list the               household size. The commenter did not
                                              principle. The commenter wrote that                       specific programs considered and the                  address the fact that the proposed
                                              significantly tightening the public                       list of exclusions. Separating concepts               valuation methodology called for
                                              benefits threshold from the old primary                   of ‘‘public charge’’ and ‘‘public                     prorating the benefit valuation based on
                                              dependence paradigm will entail                           benefits’’ also clarifies that DHS will               household size.
                                              unanticipated consequences and ought                      consider in the totality whether an alien                Response: DHS appreciates these
                                              to be conducted slowly.                                   has applied for, received, or been                    comments. Because DHS is eliminating
                                                 Many commenters stated that the 15                     certified or approved to receive any                  the percentage-based threshold for
                                              percent threshold is overly complicated                   public benefits, as defined in 8 CFR                  monetizable benefits, as well as the
                                              and would lead to widespread                              212.21(b), in assessing whether he or                 combination threshold, DHS is not
                                              confusion. A commenter said that                          she is likely to become a public charge               making any adjustments to the
                                              because of the low threshold, it would                    as part of the totality of the                        application of the FPG to the valuation
                                              be difficult or impossible for families to                circumstances.                                        of monetizable benefits because the
                                              understand how to utilize public safety                      DHS believes that this approach is                 entire valuation concept is being
                                              nets without becoming a public charge,                    particularly responsive to public                     eliminated from the rule. Similarly,
                                              or to know at the time of an application                  comments that communicated concerns                   because DHS will not be monetizing
                                              if a specific benefit program would meet                  about the complexity of the bifurcated                public benefits, the household size
                                              the 15 percent threshold. A commenter                     standard and lack of certainty. As                    applicable to the FPG (i.e., the
                                              stated that the proposed cutoff of 15                     revised, this determination includes the              household size of one) is no longer
                                              percent would not serve to improve                        consideration of public benefit                       relevant. That said, DHS does not
                                              clarity when making public charge                         application, certification, or receipt over           believe that public benefits received by
                                              determinations, but would instead                         any period of time. However, as                       a member of the alien’s household
                                              reduce the number of immigrants whose                     indicated above, the alien’s application              would serve as a reliable measure of the
                                              applications will be approved.                            for, certification, or receipt of public              likelihood of an alien becoming a public
                                                 Response: After considering all of the                 benefits will only be weighted heavily                charge at any time in the future because
                                              public comments on the proposed                           in certain circumstances, namely where                the receipt of benefits by a household
                                              thresholds for the receipt of public                      such application, certification, or                   member does not indicate that the
                                              benefits, DHS decided against finalizing                  receipt of public benefits exceeded 12                applicant is likely to receive public
                                              separate thresholds for monetizable and                   months in the aggregate within any 36-                benefits as well. Therefore, if someone
                                              non-monetizable benefits, including the                   month period, beginning no earlier than               in the household other than the
                                              combination threshold. Instead, DHS                       36 months prior to the alien’s                        applicant is receiving the public benefit,
                                              has determined that a better approach                     application for admission or adjustment               DHS will not consider receipt of the
                                              from a policy and operational                             of status on or after the effective date.             public benefit. Similarly if the recipient
                                              perspective, and one indicative of a lack                 Similarly, DHS has revised the public                 is a member of the alien’s household,
                                              of self-sufficiency is a single duration-                 benefit condition that applies in the                 any income derived from such public
                                              based threshold, which this rule                          context of an extension of stay or change             benefit will be excluded from the
                                              incorporates directly into the definition                 of status application or petition, to                 calculation of household income.
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                                              of public charge,359 and the                              include this new standard as well.                    However, because DHS is eliminating
                                              determination of likely to become a                                                                             the percentage-based threshold for
                                                                                                        Valuation                                             monetizable benefits and instead
                                              public charge.360
                                                 Therefore, under this final rule, DHS                    Comment: DHS also received                          establishing a single, duration-based
                                              will consider an alien likely to become                   comments on the valuation of                          threshold, the length of time an alien
                                                                                                        monetizable benefits. A commenter                     receives any public benefit, as defined
                                                359 See   8 CFR 212.21(a).                              acknowledged that the proposed rule                   in 8 CFR 212.21(b), will be considered
                                                360 See   8 CFR 212.22(a).                              including provisions for pro rata                     in the totality of the circumstances,


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                                              regardless of whether the alien is the                  where the threshold does not allow DHS                nominally supplements an alien’s
                                              only person in the household receiving                  to determine the extent to which the                  independent ability to meet his or basic
                                              the benefit, or is one of the people                    benefit was used. A commenter                         living needs. Although an alien who
                                              receiving the same benefit. This differs                suggested this threshold would be                     receives the designated public benefits
                                              from the approach in the proposed rule                  prohibitive for all households                        for more than 12 months in the
                                              where valuation of certain benefits that                participating in federal housing                      aggregate may soon disenroll, the fact
                                              are based on the household size (e.g.,                  programs, regardless of immigration                   that she or he received such support for
                                              SNAP) would have been proportionally                    status. The commenter also stated that                such a substantial period of time
                                              attributed to the alien.361                             durational receipt measures are                       establishes that they are a public charge
                                                 Comment: DHS also received                           meaningless in the context of health                  until such disenrollment occurs. DHS
                                              comments on the non-monetizable                         coverage since duration does not                      would consider the alien’s request to
                                              benefits standards. One commenter                       represent the extent of benefits actually             disenroll in the totality of the
                                              stated that the 12- and 9-month                         used. Commenters stated that DHS’s                    circumstances review.
                                              minimum use thresholds are acceptable                   public charge assumption rests on                        Ample basis exists for using a
                                              proxies for being a public charge, but                  arbitrary time periods for receiving                  duration-based standard even if, as
                                              the NPRM provides almost no                             benefits. Without citing to the source of             commenters noted, neither the 1999
                                              explanation of how or why DHS                           information, one commenter stated that                Interim Field Guidance nor any other
                                              determined that the 12- and 9-month                     the average length a person is on SNAP                source provides an authoritative basis
                                              threshold for non-monetizable benefits                  is 8–10 months, Medicaid assistance for               for a specific duration-based standard.
                                              was indicative that an alien is a public                children is provided on average for 28                As indicated in the NPRM, under the
                                              charge. The commenter said a more                       months, and the average length of                     1999 Interim Field Guidance, the
                                              detailed analysis of the non-monetizable                receipt for public housing for families is            duration of receipt is a relevant factor
                                              benefits threshold in a final rule would                no more than 4 years. Similarly without               with respect to covered benefits and is
                                              go a long way to legitimizing this                      attributing the source of information, a              specifically accounted for in the
                                              rulemaking. Many commenters either                      commenter said a 20-year analysis                     guidance’s inclusion of long-term
                                              voiced general opposition to the 12-                    makes clear that seemingly dependent                  institutionalization at government’s
                                              month standard for non-monetizable                      immigrants will become self-sufficient                expense.362 But the 1999 Interim Field
                                              benefits or indicated that the standard                 and productive in the long-term. One                  Guidance did not create a standard by
                                              was unreasonable in the context of                      commenter stated strong opposition to                 which an alien’s long-term reliance on
                                              specific non-monetizable benefits, such                 the double counting of months where                   public benefits would indicate a lack of
                                              as Medicaid (which according to the                     more than one benefit is received.                    self-sufficiency. In addition, HHS has
                                              commenters is designed for continuous                      Response: DHS has decided to adopt                 repeatedly cited and measured the
                                              enrollment) and public housing (which                   a uniform duration standard for the                   duration of time individuals receive
                                              frequently requires a year-long lease                   following reasons. First, the new                     means-tested assistance as an indicator
                                              agreement. A commenter stated that the                  standard is simpler and more
                                              threshold would not be well understood                  administrable than the proposed                          362 See Inadmissibility on Public Charge Grounds,

                                              by the public, or provide sufficient                    approach for monetizable and non-                     83 FR 51114, 51165 (proposed Oct. 10, 2018). In
                                                                                                                                                            assessing the probative value of past receipt of
                                              assurance that a brief period of                        monetizable benefits. It eliminates the               public benefits, ‘‘the length of time . . . is a
                                              enrollment would be worthwhile. For                     need for complicated calculations and                 significant factor.’’ 64 FR 28689, 28690 (May 26,
                                              instance, with respect to Medicaid, if                  projections related to the 15 percent of              1999) (internal quotation marks and citation
                                              the alien learned about the thresholds at               FPG threshold. By eliminating the 15                  omitted). The NPRM also noted that in the context
                                                                                                                                                            of both state welfare reform efforts and the 1990s
                                              all, she or he might still be concerned                 percent of FPG threshold for                          Federal welfare reform, Federal Government and
                                              about signing up for a brief period of                  monetizable benefits, DHS is also able to             state governments imposed various limits on the
                                              coverage, fearing that they might                       eliminate the complicated assessment                  duration of benefit receipt as an effort to foster self-
                                              experience more acute healthcare needs                  for the combination of monetizable and                sufficiency among recipients and prevent long-term
                                                                                                                                                            or indefinite dependence. States have developed
                                              later and should refrain from using                     non-monetizable benefits and the                      widely varying approaches to time limits.
                                              Medicaid until or unless that occurred.                 provision for the valuation of                        Currently, 40 states have time limits that can result
                                              The alien might also know that                          monetizable benefits, including the                   in the termination of families’ welfare benefits; 17
                                              Medicaid eligibility periods typically                  need to prorate such benefits.                        of those states have limits of fewer than 60 months.
                                                                                                                                                            See, e.g., MDRC, formerly Manpower
                                              last a year and may be unclear about                       Second, the standard is consistent                 Demonstration Research Corporation, Welfare Time
                                              how that period can be shortened.                       with DHS’s interpretation of the term                 Limits State Policies, Implementation, and Effects
                                              Another commenter stated that the 12-                   ‘‘public charge.’’ DHS believes that                  on Families. https://www.mdrc.org/sites/default/
                                              month standard is arbitrary and would                   public benefit receipt for more than 12               files/full_607.pdf (last visited July 26, 2017).
                                                                                                      cumulative months over a 36-month                     Similarly, on the Federal level, PRWORA
                                              produce ‘‘absurd results’’ when applied                                                                       established a 60-month time limit on the receipt of
                                              in a real-world context. For example,                   period is indicative of a lack of self-               TANF. See Temporary Assistance for Needy
                                              someone with cancer might use                           sufficiency. The threshold is intended to             Families Program (TANF), Final Rule; 64 FR 17720,
                                              Medicaid to help cover their expenses,                  address DHS’s concerns about an alien’s               17723 (Apr. 12, 1999) (‘‘The [Welfare to Work
                                                                                                      lack of self-sufficiency and inability to             (WtW)] provisions in this rule include the
                                              and the 12-month standard could cause                                                                         amendments to the TANF provisions at sections
                                              them to discontinue care too early,                     rely on his or her own capabilities as                5001(d) and 5001(g)(1) of Public Law 105–33.
                                              leading to devastating consequences.                    well as the resources of family,                      Section 5001(d) allows a State to provide WtW
                                              Commenters stated that using duration                   sponsors, and private organizations to                assistance to a family that has received 60 months
                                                                                                                                                            of federally funded TANF assistance . . .’’). These
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                                              to determine dependency is particularly                 meet basic living needs. DHS believes
                                                                                                                                                            time limits establish the outer limits of how long
                                              problematic in the context of Medicaid,                 that an alien who receives the                        benefits are even available to a beneficiary as a
                                                                                                      designated public benefits for more than              matter of eligibility for the public benefit, and
                                                361 In the NPRM, DHS had proposed calculating         12 months in the aggregate during a 36-               therefore how long an individual can receive those
                                              the value of the benefit attributable to the alien in   month period is not self-sufficient.                  benefits. But DHS cannot use these time limits to
                                              proportion to the total number of people covered by                                                           establish a specific standard to determine how long
                                              the benefit in determining the cumulative value of
                                                                                                      Receipt of public benefits for such a                 an individual can receive such benefits while
                                              one or more monetizable benefits. See proposed 8        duration exceeds what DHS believes is                 remaining self-sufficient for purposes of the public
                                              CFR 212.24, Valuation of Monetizable Benefits.          a level of support that temporarily or                charge inadmissibility determination.



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                                              of welfare dependence in its annual                      months.368 The study thus showed that                    researchers found that on average,
                                              reports on welfare dependence,                           a significant portion of the benefits-                   ‘‘cyclers’’ received 27 months of cash
                                              indicators, and risk factors.363 HHS                     receiving population ended their                         assistance within the study’s four-year
                                              states, ‘‘The amount of time over which                  participation within a year. In fact, the                observation period, compared with an
                                              [an individual] depends on welfare                       study compared participants’ months of                   average of 12 months for short-term
                                              might also be considered in assessing                    program participation across various                     recipients and 40 months for long-term
                                              [the individual’s] degree of                             income and age ranges, racial groups,                    recipients.372
                                              dependence.’’ 364                                        family types, levels of educational                         DHS acknowledges that the duration
                                                 This rule aims to create such a                       attainment, and types of employment                      standard is imperfect, because it is an
                                              standard, in order to provide aliens and                 status, and found that nearly across the                 exercise in line-drawing, it does not
                                              adjudicators with a bright-line rule                     board, there was a relatively large group                monetize public benefit receipt, and it is
                                              upon which they can rely. The proposed                   of people who participated for between                   applied prospectively based on the
                                              rule cited longitudinal studies of                       one and 12 months, followed by                           totality of the alien’s circumstances
                                              welfare receipt, such as the Census                      relatively smaller groups who                            instead of an algorithm or formula. In
                                              Bureau’s Dynamics of Economic Well-                      participated for between 13 and 24                       some cases, DHS may find an alien
                                              Being study,365 and the welfare leaver                   months and between 25 and 36 months,                     admissible, even though the alien may
                                              study.366 Both studies offer insight into                respectively, followed by a relatively                   receive thousands of dollars, if not tens
                                              the length of time that recipients of                    large group of people who participated                   of thousands of dollars, in public
                                              public benefits tend to remain on those                  for between 37 and 48 months.                            benefits without exceeding the duration
                                              benefits, and lend support to the notion                 Similarly, an earlier study showed that                  threshold at any time in the future. DHS
                                              that this rule’s standard provides                       across a 24-month period of study, those                 recognizes this scenario is plausible
                                              meaningful flexibility to aliens who may                 who were enrolled in one or more major                   based on estimates of Medicaid costs
                                              require one or more of the public                        assistance programs (approximately 25.2                  and receipt of Medicaid only. For
                                              benefits for relatively short periods of                 percent of the overall population                        example, the Office of the Actuary in
                                                                                                       studied) were most likely to be enrolled                 the Centers for Medicare and Medicaid
                                              time, without allowing an alien who is
                                                                                                       for the entire 24-month period (10.2                     Services estimated that annual Medicaid
                                              not self-sufficient to avoid facing public
                                                                                                       percent).369 But a substantial portion of                spending per enrollee ranged from
                                              charge consequences.367
                                                                                                       the population enrolled in such                          approximately $3,000-$5,000 for
                                                 For example, according to the Census                  programs only participated between one                   children and adults to approximately
                                              Bureau, the largest share of participants                and 11 months (8.5 percent) or 12 to 23                  $15,000-$20,000 for the aged and
                                              (43.0 percent) who benefited from one                    months (6.5 percent).370 All of this                     persons with disabilities in Fiscal Year
                                              or more means-tested assistance                          suggests that a 12-month standard is not                 2014.373 DHS’s analysis of SIPP data
                                              programs in the 48 months from January                   absurd, as indicated by commenters, but                  shows that among individuals receiving
                                              2009 to December 2012, stayed in the                     in fact accommodates a significant                       SSI, TANF, GA, SNAP, Section 8
                                              program(s) between 37 and 48 months.                     proportion of short-term benefits use,                   Housing Vouchers, Section 8 Rent
                                              By contrast, 31.2 percent of participants                while also providing a simple and                        Subsidy, or Medicaid in 2013, over 32
                                              in such benefits stayed in the program(s)                accessible touchstone (more than a year)                 percent were receiving Medicaid only
                                              for between one and 12 months, and the                   and an easily administrable cutoff that                  on average each month.374
                                              remaining 25.8% of participants stayed                   is a midpoint between the cutoffs                           In other cases, DHS may find an alien
                                              in the program for between 13 and 36-                    established in the studies (36 months).                  inadmissible under the standard, even
                                                                                                          The ‘‘welfare leaver’’ study referenced               though the alien who exceeds the
                                                 363 See, e.g., U.S. Dep’t of Health & Human Servs.,
                                                                                                       above also provides support for a 12-                    duration threshold may receive only
                                              Welfare Indicators and Risk Factors (2014–2015)          month standard. Although most people                     hundreds of dollars, or less, in public
                                              and U.S. Dep’t of Health & Human Servs., Indicators
                                              of Welfare Dependence (1997–1998, 2000–2013),            who leave welfare programs work after
                                              available at https://aspe.hhs.gov/indicators-welfare-    they leave those programs, people may                       372 For most analyses in the report, the report

                                              dependence-annual-report-congress (last visited          come back to receive additional public                   divides the samples into three key outcome groups,
                                              July 26. 2019).                                                                                                   based on each sample member’s pattern of welfare
                                                 364 See U.S. Dep’t of Health & Human Servs.,
                                                                                                       benefits.371 In the welfare leaver study,                receipt: Cyclers, short-term recipients, and long-
                                                                                                                                                                term recipients. The report states that this grouping
                                              Welfare Indicators and Risk Factors, at I–2 (2015),         368 See Shelley K. Irving & Tracy A. Loveless, U.S.   reflects definitions used in the literature, combined
                                              available at https://aspe.hhs.gov/system/files/pdf/
                                                                                                       Census Bureau, Household Economic Studies,               with an examination of the full sample. The report
                                              76851/rpt_indicators.pdf (last visited July 26. 2019).                                                            defines a cycler as someone who had 3 or more
                                                 365 See Shelley K. Irving & Tracy A. Loveless, U.S.
                                                                                                       Dynamics of Economic Well-Being: Participation in
                                                                                                       Government Programs, 2009–2012: Who Gets                 spells of welfare receipt during the 4-year
                                              Census Bureau, Dynamics of Economic Well-Being:          Assistance? 4 (May 2015), available at https://          observation period. The report defines a short-term
                                              Participation in Government Programs, 2009–2012:         www.census.gov/content/dam/Census/library/               recipient as someone who had 1 or 2 spells and a
                                              Who Gets Assistance? 10 (May 2015), available at         publications/2015/demo/p70-141.pdf (last visited         total of up to 24 months of welfare receipt during
                                              https://www.census.gov/content/dam/Census/               July 26, 2019). This report includes TANF, General       the observation period. The report defines long-
                                              library/publications/2015/demo/p70–141.pdf (last         Assistance (GA), SSI, SNAP, Medicaid, and housing        term recipients as sample members with 1 or 2
                                              visited July 26, 2019).                                  assistance as major means-tested benefits.               spells and a total of 25 to 48 months of welfare
                                                 366 See Lashawn Richburg-Hayes & Stephen                 369 The programs included in the study were           receipt during the observation period. See Lashawn
                                              Freedman, A Profile of Families Cycling On and Off       TANF, GA, SNAP, SSI, and Housing Assistance, all         Richburg-Hayes & Stephen Freedman, A Profile of
                                              Welfare 4 (Apr. 2004), available at https://             of which are covered to at least some degree by this     Families Cycling On and Off Welfare 22 (Apr.
                                              aspe.hhs.gov/system/files/pdf/73451/report.pdf           rule.                                                    2004), available at https://aspe.hhs.gov/system/
                                              (last visited July 26, 2019).                               370 See Jeongsoo Kim, Shelley K. Irving, & Tracy      files/pdf/73451/report.pdf (last visited July 26,
                                                 367 See Shelley K. Irving & Tracy A. Loveless, U.S.
                                                                                                       A. Loveless, U.S. Census Bureau, Dynamics of             2019).
                                              Census Bureau, Dynamics of Economic Well-Being:                                                                      373 See United States Department of Health and
                                                                                                       Economic Well-Being: Participation in Government
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                                              Participation in Government Programs, 2009–2012:         Programs, 2004 to 2007 and 2009—Who Gets                 Human Services, Centers for Medicare and
                                              Who Gets Assistance? 10 (May 2015), available at         Assistance? 4 (July 2012), available at https://         Medicaid Services, the Office of the Actuary, 2017
                                              https://www.census.gov/content/dam/Census/               www2.census.gov/library/publications/2012/demo/          Actuarial Report of Financial Outlook for Medicaid,
                                              library/publications/2015/demo/p70-141.pdf (last         p70–130.pdf (last visited July 26, 2019).                Table 21, page 61, at https://www.cms.gov/
                                              visited July 26, 2019). See also Lashawn Richburg-          371 See Lashawn Richburg-Hayes & Stephen              Research-Statistics-Data-and-Systems/Research/
                                              Hayes & Stephen Freedman, A Profile of Families          Freedman, A Profile of Families Cycling On and Off       ActuarialStudies/Downloads/
                                              Cycling On and Off Welfare 4 (Apr. 2004), available      Welfare ES–1 (Apr. 2004), available at https://          MedicaidReport2017.pdf (last visited July 26, 2019).
                                              at https://aspe.hhs.gov/system/files/pdf/73451/          aspe.hhs.gov/system/files/pdf/73451/report.pdf              374 DHS analysis of Wave 1 of the 2014 Panel of

                                              report.pdf (last visited July 26, 2019).                 (last visited July 26, 2019).                            the Survey of Income and Program Participation.



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                                              benefits annually. A DHS analysis of                                    period.376 At bottom, DHS believes that                    inadmissible or ineligible for adjustment
                                              SIPP data related to public benefit                                     this standard appropriately balances the                   of status by virtue of such past receipt.
                                              receipt and amounts indicates that                                      relevant considerations, and that even                     This is because, as noted throughout
                                              among the 25 percent of SNAP                                            an alien who receives a small dollar                       this preamble, the public charge
                                              recipients in 2013 who only received                                    value in benefits over an extended                         inadmissibility determination is
                                              SNAP (rather than SNAP and some                                         period of time can reasonably be                           prospective in nature, and depends on
                                              other benefit), eight percent lived in                                  deemed a public charge, because of the                     DHS’s evaluation of the totality of the
                                              households receiving between $11 and                                    nature of the benefits designated by this                  circumstances. Moreover, the amount of
                                              $50 per month, compared to 80 percent                                   rule.                                                      past benefit receipt may be considered
                                              of recipients who lived in households                                      DHS also notes the operational                          in the totality of the circumstances. For
                                              receiving over $150 per month. Among                                    difficulties associated with a monetary                    instance, all else being equal, an alien
                                              the 3 percent of TANF recipients who                                    threshold particularly given that several                  who previously received $15 in monthly
                                              only received TANF in 2013, nearly                                      of the benefits under consideration are                    SNAP benefits for a lengthy period of
                                              eight percent of recipients lived in                                    benefits received by a family unit and                     time, but has since disenrolled, is less
                                              households receiving between $11 and                                    the public charge determination is, by                     likely to require such benefits in the
                                              $50 per month compared to 60 percent                                    statute, an individual determination.                      future, as compared to an alien who
                                              of recipients who lived in households                                   For example, in the case of SNAP or a                      only recently disenrolled from a $100
                                              receiving over $150 per month. And                                      housing voucher it would be difficult to                   SNAP benefit monthly, or who recently
                                              among the 26 percent of TANF, SNAP,                                     meaningfully assign proportions of the                     left public housing after a lengthy stay.
                                              GA, and SSI recipients who only                                         group benefit to individuals in the
                                                                                                                      family, who may benefit in different                          Finally, DHS believes that it is
                                              received one of those public benefits,                                                                                             appropriate to aggregate the 12 months,
                                              six percent of recipients lived in                                      amounts or account for less or more
                                                                                                                      than a pro rata share of the benefit, from                 inasmuch as the aggregation ensures
                                              households receiving between $11 and                                                                                               that aliens who receive more than one
                                              $50 per month compared to 80 percent                                    the benefits-granting’s agency’s
                                                                                                                      perspective. At its core, the prospective                  public benefit (which may be more
                                              of recipients who lived in households                                                                                              indicative of a lack of self-sufficiency,
                                              receiving over $150 per month. Among                                    determination seeks to determine, based
                                                                                                                      on the totality of the circumstances, the                  with respect to the fulfillment of
                                              TANF, SNAP, GA, and SSI recipients                                                                                                 multiple types of basic needs) reach the
                                              receiving any of those public benefits,                                 likelihood of an individual to use the
                                                                                                                      public benefits enumerated in this rule                    12-month limit faster. Namely, DHS
                                              four percent lived in households                                                                                                   believes that receipt of multiple public
                                                                                                                      to support themselves at any point in
                                              receiving between $11 and $50 per                                                                                                  benefits in a single month is more
                                                                                                                      the future. This is a determination more
                                              month cumulatively across all such                                                                                                 indicative of a lack of self-sufficiency
                                                                                                                      aptly made by examining a pattern of
                                              benefits received, compared to 87                                                                                                  than receipt of a single public benefit in
                                                                                                                      behavior than by a monetary threshold
                                              percent of recipients who lived in                                                                                                 a single month because receipt of
                                                                                                                      which could represent a lump sum
                                              households receiving over $150 per                                                                                                 multiple public benefits indicates the
                                                                                                                      payment due to a one-time need. DHS
                                              month.375                                                                                                                          alien is unable to meet two or more
                                                                                                                      believes that short-term benefits use
                                                These potential incongruities are to                                  may not be as reliable an indicator of an                  basic necessities of life. This is not an
                                              some extent a consequence of having a                                   alien’s lack of self-sufficiency, and                      uncommon occurrence. For example,
                                              bright-line rule that (1) provides                                      believes that longer-term benefits use                     DHS’s analysis of SIPP data reveals that
                                              meaningful guidance to aliens and                                       serves as a better indicator.                              among individuals who received the
                                              adjudicators, (2) accommodates                                             Of course, if an alien who receives a                   enumerated public benefits in 2013, at
                                              meaningful short-term and intermittent                                  small dollar value in public benefits                      least nearly 35 percent of individuals
                                              access to public benefits, and (3) does                                 over an extended period of time                            received two or more public benefits on
                                              not excuse continuous or consistent                                     disenrolls from a benefit and later                        average per month. Table 7 provides
                                              public benefit receipt that denotes a lack                              applies for admission or adjustment of                     additional context with respect to the
                                              of self-sufficiency during a 36-month                                   status, she or he will not necessarily be                  concurrent receipt of multiple benefits.

                                               TABLE 7—PUBLIC BENEFIT RECEIPT COMBINATIONS AMONG INDIVIDUALS RECEIVING ONE OR MORE ENUMERATED PUBLIC
                                                                                BENEFITS (AVERAGE PER MONTH), 2013
                                                                                                                                                Percent of
                                                                                                                                                individuals
                                                                                     Program                                                                                                 DHS view
                                                                                                                                                    with
                                                                                                                                               combination

                                              Individuals Receiving Public Benefits .........................................                           100.0
                                              Medicaid only ..............................................................................               32.5   Meeting healthcare needs.
                                              Medicaid and Supplemental Nutrition Assistance Program                                                     22.8   Meeting healthcare and food/nutrition needs.
                                                (SNAP).
                                              SNAP Only .................................................................................                13.1   Meeting   food/nutrition needs.
                                              Section 8 Rental Assistance Only ..............................................                             3.6   Meeting   housing needs.
                                              Medicaid, SNAP, and Supplemental Security Income (SSI) .....                                                3.2   Meeting   healthcare, food/nutrition, and cash assistance needs.
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                                              Medicaid, SNAP, and Section 8 Rental Assistance ...................                                         3.0   Meeting   healthcare, food/nutrition, and housing needs.
                                              Medicaid and SSI .......................................................................                    2.9   Meeting   healthcare and cash assistance needs.


                                                375 DHS analysis of Wave 1 of the 2014 Panel of                       discretion by applying a bright-line rule                  Cir. 1988) (‘‘Strict adherence to a general rule may
                                              the Survey of Income and Program Participation.                         consistently in order both to preserve incentives for      be justified by the gain in certainty and
                                                376 Cf., e.g., Harris v. FCC, 776 F.3d 21, 28–29                      compliance and to realize the benefits of easy             administrative ease, even if it appears to result in
                                                                                                                      administration that the rule was designed to               some hardship in individual cases.’’).
                                              (D.C. Cir. 2015) (‘‘An agency does not abuse its
                                                                                                                      achieve.’’); Turro v. FCC, 859 F.2d 1498, 1500 (D.C.



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                                               TABLE 7—PUBLIC BENEFIT RECEIPT COMBINATIONS AMONG INDIVIDUALS RECEIVING ONE OR MORE ENUMERATED PUBLIC
                                                                           BENEFITS (AVERAGE PER MONTH), 2013—Continued
                                                                                                                                                  Percent of
                                                                                                                                                  individuals
                                                                                      Program                                                                                                 DHS view
                                                                                                                                                      with
                                                                                                                                                 combination

                                              Medicaid, SNAP, Section 8 Housing Vouchers, and Section 8                                                      2.8   Meeting healthcare, food/nutrition, and housing needs.
                                                 Rental Assistance.
                                              SSI Only .....................................................................................                2.1    Meeting cash assistance needs.
                                              All other combinations ................................................................                      13.3
                                                 Note: Because of rounding, percentages may not sum to 100.0.
                                                 Source: This table was derived from DHS analysis of Wave 1 of the 2014 Panel of the Survey of Income and Program Participation.


                                                 DHS does not believe that the                                         services they need. Medicaid coverage                       supplements an alien’s independent
                                              threshold should operate in a way that                                   constitutes a significant benefit received                  ability to meet his or her basic living
                                              effectively ignores receipt of multiple                                  by enrollees regardless of direct                           needs.381
                                              benefits in a single month and results in                                expenditures, even if states require                           DHS also disagrees that the standard
                                              differential treatment for an alien who                                  enrollees to pay subsidized premiums                        is arbitrary. As discussed in the NPRM
                                              receives one designated benefit in one                                   and pay for cost-sharing services.378                       and this final rule, researchers have
                                              month and another in the next month,                                     According to the Centers for Medicare                       shown that welfare recipients
                                              as compared to an alien who receives                                     and Medicaid Services, Office of the                        experienced future employment
                                              each of those designated benefits in the                                 Actuary, ‘‘beneficiary cost sharing, such                   instability, and continued to move in
                                              same month. DHS appreciates the                                          as deductibles or copayments, and                           and out of welfare benefit programs
                                              references one commenter makes to                                        beneficiary premiums are very limited                       such as Medicaid and SNAP.382 Based
                                              average durations of receipt for certain                                 in Medicaid and do not represent a                          on this research, DHS considers any
                                              benefits but notes that the commenter’s                                  significant share of the total cost of                      past receipt of public benefits a negative
                                              statements could not be evaluated                                        healthcare goods and services for                           factor in the public charge
                                              without a reference to a study or sources                                Medicaid enrollees.’’ 379 Ninety-five                       determination, although the weight
                                              data.                                                                    percent of total outlays in 2016 were for                   accorded to such receipt would vary
                                                 DHS strongly disagrees with                                           medical assistance payments, such as                        according to the circumstances.
                                              commenters’ assertion that the duration                                  acute care benefits, long-term care                         Similarly, application for or certification
                                              standard is problematic in the context of                                benefits, capitation payments and                           to receive a public benefit, or current
                                              Medicaid because the standard does not                                   premiums, and disproportionate share                        receipt of public benefits for longer
                                              take into account the extent to which                                    hospital (DSH) payments. Capitation                         periods of time or moving in and out of
                                              Medicaid is used. As DHS explained in                                    payments and other premiums, which                          benefit programs for an aggregate period
                                              the NPRM, Medicaid serves as a last-                                     include premiums paid to Medicaid                           of more than 12 of the most recent 36
                                              resort form of health insurance for                                      managed care plans, pre-paid health                         months preceding the filing of the
                                              people of limited means. Medicaid                                        plans, other health plan premiums, and                      application for admission or application
                                              expenditures are significant across                                      premiums for Medicare Part A and Part                       for adjustment of status is considered a
                                              multiple enrollee groups, and are                                        B, represented 49 percent of Medicaid                       heavily-weighted negative factor.
                                              particularly pronounced among persons                                    benefit expenditures in 2016.380                               The duration standard should provide
                                              with disabilities and the aged. The                                      Accordingly, the duration of an alien’s                     a more predictable threshold that will
                                              Office of the Actuary in the Centers for                                 receipt of non-monetizable benefits like                    better permit applicants to adjust their
                                              Medicare and Medicaid Services, HHS,                                     Medicaid is a reasonable proxy for                          behavior as they deem necessary and
                                              most recently reported that Medicaid                                     assessing an alien’s reliance on public                     appropriate. An applicant should be
                                              spending per enrollee in FY 2016 was                                     benefits. DHS also believes that benefits                   readily aware whether he or she has
                                              $3,555 for children, $5,159 for adults,                                  received, including Medicaid, over that                     received public benefits for more than
                                              $19,754 for persons with disabilities,                                   timeframe likely exceeds a nominal                          12 cumulative months within a 36-
                                              and $14,700 for the aged.377 Even if a                                   level of support that merely                                month period. Note that this rule
                                              Medicaid enrollee claims that he or she                                                                                              clarifies that DHS will take into
                                              did not or will not use Medicaid                                           378 Premium means any enrollment fee, premium,            consideration evidence that an alien
                                              benefits (i.e., by going to the doctor or                                or other similar charge. Cost sharing means any             made requested to be disenrolled from
                                                                                                                       copayment, coinsurance, deductible, or other
                                              hospital) within a given time period, the                                similar charge. See 42 CFR 447.51 for definitions.
                                                                                                                                                                                   public benefits and has made clarifying
                                              value of Medicaid is not merely the                                        379 See U.S. Department of Health and Human               edits in 8 CFR 212.22(b)(4)(ii)(E) to
                                              value of claims paid out. Like any                                       Services, Centers for Medicare and Medicaid                 make such consideration explicit.
                                              insurance plan, Medicaid protects                                        Services, the Office of the Actuary, 2017 Actuarial            Finally, DHS notes that the change to
                                                                                                                       Report of Financial Outlook for Medicaid, page 3,           a duration-only standard is responsive
                                              against future potential expenses and                                    available at https://www.cms.gov/Research-
                                              ensures that enrollees can receive the                                   Statistics-Data-and-Systems/Research/                       to comments indicating that the 15
                                                                                                                       ActuarialStudies/Downloads/                                 percent of FPG threshold would be too
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                                                377 See United States Department of Health and                         MedicaidReport2017.pdf (last visited June 6, 2019).         low or unreasonable for those living in
                                              Human Services, Centers for Medicare and                                   380 See United States Department of Health and
                                                                                                                                                                                   cities and areas with high costs of
                                              Medicaid Services, the Office of the Actuary, 2017                       Human Services, Centers for Medicare and
                                              Actuarial Report of Financial Outlook for Medicaid,                      Medicaid Services, the Office of the Actuary, 2017
                                                                                                                                                                                   living. For example, under the NPRM,
                                              Table 21, page 61, at https://www.cms.gov/                               Actuarial Report of Financial Outlook for Medicaid,
                                                                                                                                                                                     381 See Inadmissibility on Public Charge Grounds,
                                              Research-Statistics-Data-and-Systems/Research/                           pages 5–6, available at https://www.cms.gov/
                                              ActuarialStudies/Downloads/                                              Research-Statistics-Data-and-Systems/Research/              83 FR 51114, 51165 (proposed Oct. 10, 2018).
                                              MedicaidReport2017.pdf (last visited April 25,                           ActuarialStudies/Downloads/                                   382 See Inadmissibility on Public Charge Grounds,

                                              2019).                                                                   MedicaidReport2017.pdf (last visited June 6, 2019).         83 FR 51114, 51165 (proposed Oct. 10, 2018).



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                                              DHS would have considered an alien                        time of filing and adjudication, any                   to add a grace period for the receipt of
                                              receiving a Section 8 Housing Voucher                     public benefit, as defined in 8 CFR                    public benefits. For purposes of this
                                              in an area where the eligibility                          212.21(b), for 12 months, in the                       rule, there will be a period between the
                                              requirement amounted to income more                       aggregate, within a 36-month period.385                publication of this rule, and the rule’s
                                              than 250 percent of the FPG in the same                      Finally, DHS understands that certain               effective date, which would serve as a
                                              manner as another alien living area                       individuals may become self-sufficient                 ‘‘grace period’’ of sorts. DHS has also
                                              where the income eligibility was 50                       in the long-term after a certain duration              specified how it will consider receipt of
                                              percent of the FPG. Under the new                         of benefits use and that individuals may               public benefits prior to the rule’s
                                              standard, the effect of cost living is                    use benefits for shorter or longer periods             effective date. Ultimately, however, all
                                              minimized.                                                of time. But similar to the explanation                aliens who apply for admission or
                                                DHS understands that certain                            above, the fact that a person may                      adjustment of status on or after the
                                              applicants may be hesitant to receive                     ultimately become self-sufficient is not               rule’s effective date will be subject to a
                                              certain benefits in light of the public                   the material question. The material                    prospective public charge
                                              charge assessment. DHS reiterates that                    questions is whether the person is likely              inadmissibility determination.
                                              this rule does not prevent individuals                    to become a public charge at some point                   DHS notes that as part of the totality
                                              who are eligible for public benefits from                 in the future. Therefore, DHS will not                 of the circumstances determination,
                                              receiving these benefits. And as                          limit its definition of ‘‘public charge’’              DHS will consider evidence that is
                                              explained below, in its public charge                     based on the potential that an alien who               relevant to its determination whether an
                                              inadmissibility determination DHS will                    is currently public charge may not                     alien is likely to become a public charge
                                              not consider receipt of Emergency                         remain so indefinitely. The appropriate                at any time in the future. For example,
                                              Medicaid, the Medicare Part D LIS,                        way to address that nuance is through                  if an alien received public benefits in
                                              Medicaid received by alien under age 21                   the totality of the circumstances                      excess of the threshold duration but has
                                              or pregnant women, and a wide range of                    prospective determination, rather than                 evidence that his or her circumstances
                                              other benefits, such as emergency or                      the definition of public charge.                       have changes or that the alien has
                                              disaster relief. This rule also explains                  Accordingly, DHS properly considers                    requested to be disenrolled from such
                                              the criteria under which DHS will                         the receipt of public benefits for more                benefits, DHS will take such evidence
                                              determine whether an alien subject to                     than 12 months in the aggregate within                 into consideration in the totality of the
                                              section 212(a)(4), 8 U.S.C. 1182(a)(4),                   a 36-month period a heavily weighted                   circumstances.
                                              has established that he or she is not                     negative factor in public charge                          Comment: A commenter stated that
                                              inadmissible on that ground. As                           inadmissibility determinations.                        the 12-month period ought to be
                                              explained, DHS will assess all factors                                                                           lengthened to approximately 36 months,
                                                                                                        Alternatives to the Duration Standard                  because according to a report, 45
                                              and circumstances applicable to the
                                              public charge determination, including                       Comment: Some commenters                            percent of people who received
                                              the past receipt of public benefits listed                recommended a ‘‘grace period’’ for                     government assistance for less than 36
                                              in 8 CFR 212.21(b). No one factor alone                   foreign nationals coming to the United                 months stop receiving assistance
                                              will render an applicant inadmissible                     States to use public benefits and reach                sometime after the first 12 months.
                                              on account of public charge; DHS will                     self-sufficiency, including an 18-month                According to the commenter, the 45
                                              assess whether the alien is likely to                     period to become a fully acclimated and                percent are people who are on their way
                                              become a public charge, i.e., to receive                  productive person or to recover from                   out of poverty due to public benefit
                                              the designated benefits above the                         emergencies or severe medical issues.                  programs. By contrast, approximately 43
                                              threshold, in the totality of the                            Response: As previously discussed,                  percent of welfare recipients stay
                                              circumstances.                                            the purpose of this rule is to implement               dependent for at least 3 years.
                                                DHS also acknowledges that the                          the public charge ground of                            According to the commenter, these are
                                              regulation may result in fewer numbers                    inadmissibility consistent with the                    the people who truly lack self-
                                              of nonimmigrants and immigrants being                     principles of self-sufficiency set forth by            sufficiency, as they have failed to exit
                                              admitted to the United States or granted                  Congress, and to minimize the incentive                the welfare system.
                                              adjustment of status to that of a lawful                  of aliens to attempt to immigrate to, or                  Response: DHS disagrees with this
                                              permanent resident. DHS notes that the                    to adjust status in, the United States due             recommendation. As discussed in the
                                              ground of inadmissibility under section                   to the availability of public benefits.386             NPRM and above, while some recipients
                                              212(a)(4) of the Act, 8 U.S.C. 1182(a)(4)                 In particular, Congress indicated that                 may disenroll from public benefits after
                                              applies to aliens seeking admission to                    the immigration policy continues to be                 12 months, this only addresses short-
                                              the United States, or adjustment of                       that ‘‘aliens within the Nation’s borders              term welfare recipients.388 For example,
                                              status to that of a lawful permanent                      not depend on public resources to meet                 as indicated in the NPRM, ‘‘the
                                              resident. The public charge ground of                     their needs, but rather rely on their own              proportion of [Medicaid and food stamp
                                              inadmissibility does not apply to                         capabilities and the resources of their                participation] leavers who receive these
                                              nonimmigrants present in the United                       families, their sponsors, and private                  benefits at some point in the year after
                                              States seeking an extension of stay 383 or                organizations.’’ 387 When Congress                     exit is much higher than the proportion
                                              change of nonimmigrant status.384 As                      enacted section 212(a)(4) of the Act, 8                who receives them in any given quarter,
                                              indicated in the NPRM, however, when                      U.S.C. 1182(a)(4), it did not provide a                suggesting a fair amount of cycling into
                                              adjudicating an alien’s application for                   grace period or a time period in which                 and out of these programs.’’ 389 HHS
                                                                                                        aliens could use public benefits after                 also funds various research projects on
                                              extension of stay or change of status,
                                                                                                        entering the United States. Therefore,
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                                              DHS will assess whether the alien has                                                                            welfare. Across fifteen state and county
                                                                                                        DHS does not believe it is appropriate
                                              demonstrated that he or she has not
                                                                                                                                                                  388 See Inadmissibility on Public Charge Grounds,
                                              received, since obtaining the                               385 See 8 CFR 214.1(a)(3)(iv) and 8 CFR 248.1.       83 FR 51114, 51199 (proposed Oct. 10, 2018).
                                              nonimmigrant status and through the                         386 See 8 U.S.C. 1601.                                  389 See Lashawn Richburg-Hayes & Stephen
                                                                                                          387 See Personal Responsibility and Work             Freedman, A Profile of Families Cycling On and Off
                                                383 See   8 CFR 214.1.                                  Opportunity Reconciliation Act of 1996, Public Law     Welfare 4 (Apr. 2004), available at https://
                                                384 See   INA section 248, 8 U.S.C. 1258; see 8 CFR     104–193, section 400, 110 Stat. 2105, 2260 (Aug. 22,   aspe.hhs.gov/system/files/pdf/73451/report.pdf
                                              248.                                                      1996) (codified at 8 U.S.C. 1601(2)).                  (last visited July 26, 2019).



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                                              welfare studies funded by HHS, it was                   cash assistance that are not intended to              However, as indicated above, DHS has
                                              found that the number of leavers who                    maintain a person at a minimum level                  eliminated the threshold standard and is
                                              received food stamps within one year of                 of income would similarly not fall                    applying a single duration-based
                                              exit was between 41 and 88 percent.                     within the definition. In addition, DHS               threshold standard to all covered public
                                              Furthermore, TANF leavers returned to                   will not consider medical assistance for              benefits. DHS believes that this
                                              the program at a rate ranging between 17                emergency medical condition (42 U.S.                  approach is responsive to public
                                              and 38 percent within one year of exit.                 C. 1396(v)(3)) or short-term, non-cash,               comments that raised concerns about
                                              Twelve of these studies included                        in-kind emergency disaster relief.392                 the complexity of the proposed
                                              household surveys, with some                            Finally as discussed above, DHS will                  standards as well as the need for
                                              conducting interviews less than a year                  also take into consideration evidence                 certainty and predictability in public
                                              post-exit, and some as much as 34                       that an alien has disenrolled or                      charge determinations.
                                              months after exit. A review of these                    requested to disenroll from public                    2. Public Benefits
                                              surveys found that among those who left                 benefits in the totality of the
                                              Medicaid, the rate of re-enrollment at                  circumstances when determining                           Comment: A majority of commenters
                                              the time of interview was between 33                    whether an alien is likely at any time in             recommended that public benefits
                                              and 81 percent among adults, and                        the future to become a public charge.                 encompassed by the definition of that
                                              between 51 and 85 percent among                                                                               term in the proposed rule (both
                                              children. Employment rates at the time                  Combination Standard                                  monetizable and non-monetizable), such
                                              of interview ranged between 57 and 71                      Comment: DHS received comments                     as SSI, SNAP, Medicaid, TANF, and
                                              percent.’’ 390 For these reasons, DHS                   on the proposed rule’s provision for                  housing not be included in the public
                                              does not believe that it should lengthen                combining monetizable and non-                        charge determination and described the
                                              the 12-month period to 36 months.                       monetizable benefits. Commenters                      negative outcomes that would arise if
                                                 Comment: Commenters also stated                      generally opposed the proposed                        immigrants’ access to the benefits were
                                              that receipt of benefits after an event                 standard for combination of monetizable               reduced due to this rule. A commenter
                                              such as a natural disaster ought not                    benefits under 15 percent of FPG and                  stated that public charge determinations
                                              render an alien a public charge, but that               one or more non-monetizable benefits.                 never considered non-cash benefits in
                                              sometimes the effects of a natural                      Under this proposal, if an alien received             the past, and including them now is
                                              disaster can last longer than 12 months.                a combination of monetizable benefits                 inhumane, and will cost the local, State,
                                              The commenter disagreed with DHS’s                      equal to or below the 15 percent                      and Federal governments in the long-
                                              statement in the proposed rule that ‘‘an                threshold together with one or more                   run. One commenter requested that the
                                              individual who receives monetizable                     benefits that cannot be monetized, the                listed programs be removed, and that no
                                              public benefits for more than 12                        threshold for duration of receipt of the              additional programs be added to the
                                              cumulative months during a 36-month                     non-monetizable benefits would be 9                   determination. One commenter said that
                                              period is neither self-sufficient nor on                months in the aggregate (rather than 12               expanding the public benefits definition
                                              the road to achieving self-                             months) within a 36-month period (e.g.,               would result in sweeping negative
                                              sufficiency.’’ 391 The commenter stated                 receipt of two different non-monetizable              consequences and cause detrimental
                                              that it can take much longer than 12                    benefits in one month counts as two                   effects to public access to benefits by
                                              months to recover from a natural                        months, as would receipt of one non-                  discouraging vulnerable populations
                                              disaster, and noted that following a                    monetizable benefit for one month in                  from seeking the services they need. A
                                              tornado in the commenter’s community                    January 2018, and another such benefit                commenter asserted that this rule affects
                                              in 2013, some families were still                       for one month in June 2018).393                       more than just immigration status
                                              recovering in 2018, and required the                       Some commenters stated that the                    determinations, as it would impede
                                              designated benefits.                                    proposed combination standard lacked                  access to supplemental services that
                                                 Response: As indicated in the NPRM,                  clarity in its explanation and some                   raise the standard of living for the
                                              DHS will not consider public benefits                   explained that they opposed this                      individual and their family.
                                              beyond those covered under 8 CFR                                                                                 Another commenter indicated that
                                                                                                      combination standard as it would have
                                              212.21(b), but even within that category,                                                                     lawfully present noncitizens who have
                                                                                                      a similar effect to having no threshold
                                              DHS will not consider all cash                                                                                jobs within needed sectors simply might
                                                                                                      at all, resulting in immigrants being too
                                              assistance as cash assistance for income                                                                      not earn enough to provide quality
                                                                                                      afraid to apply for and receive benefits.
                                              maintenance under the rule. For                                                                               healthcare, nutritious food, and safe,
                                                                                                      Commenters stated that DHS did not
                                              instance, DHS would not consider                                                                              stable housing to their families. The
                                                                                                      provide a rationale for the combination               commenter further indicated that
                                              Stafford Act disaster assistance,                       of monetizable benefits under 15
                                              including financial assistance provided                                                                       programs like SNAP, CHIP, and
                                                                                                      percent of the FPG and one or more                    Medicaid are designed to help
                                              to individuals and households under                     non-monetizable benefits. One
                                              Individual Assistance under the Federal                                                                       individuals meet their families’ basic
                                                                                                      commenter suggested deleting this                     needs to keep them healthy and safe,
                                              Emergency Management Agency’s                           provision, because it would render a
                                              Individuals and Households Program                                                                            and to penalize hardworking families
                                                                                                      person a public charge based on any                   for using the program designed for them
                                              (42 U.S.C. 5174) as cash assistance for                 amount of SNAP or housing benefits,
                                              income maintenance. The same would                                                                            is morally bankrupt. A couple of
                                                                                                      combined with 9 months of Medicaid                    commenters said the policy penalizes
                                              hold true for comparable disaster                       coverage. The commenter indicated that
                                              assistance provided by State, local, or                                                                       the use of public benefits, and indicated
                                                                                                      this outcome was too severe.                          that safety-net programs are correlated
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                                              tribal governments. Other categories of                    Response: DHS disagrees with                       with the positive health and education
                                                390 Inadmissibility on Public Charge Grounds, 83
                                                                                                      commenters that the combination                       outcomes that help low-income families
                                              FR 51114, 51199 (proposed Oct. 10, 2018) (quoting       standard lacked clarity or justification.             escape poverty. Commenters stated that
                                              Lashawn Richburg-Hayes & Stephen Freedman, A                                                                  access to non-cash programs and other
                                              Profile of Families Cycling On and Off Welfare 4          392 Inadmissibility on Public Charge Grounds, 83

                                              (Apr. 2004) (citation omitted)).                        FR 51114, 51128, 51159 (proposed Oct. 10, 2018).      public benefits offers dignity and
                                                391 See Inadmissibility on Public Charge Grounds,       393 See Inadmissibility on Public Charge Grounds,   comfort as individuals work to build a
                                              83 FR 51114, 51165 (proposed Oct. 10, 2018).            83 FR 51114, 51166 (proposed Oct. 10, 2018).          new and better life, acquiring the skills


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                                              and training to qualify for better-paying               commenter stated that SNAP supports                   and the economy overall, and that
                                              jobs. Several commenters that opposed                   employment by increasing access to                    access to such housing frees up income
                                              the proposed rule stated that the                       nutritious foods that enable workers to               for other living necessities. Others cited
                                              inclusion of the public benefits                        stay healthy and productive, and by                   to research showing that public benefits,
                                              included in the NPRM, including SNAP,                   enabling families to spend more of their              such as subsidized housing, positively
                                              in the public charge determination                      income on work-related expenses like                  impacts the health of children, people
                                              would reverse longstanding national                     transportation, childcare, and laundry.               with disabilities, families, domestic
                                              policy.                                                 Many commenters stated the benefits of                violence victims, pregnant women and
                                                 Many commenters provided                             Medicaid for different people and                     people of color; reduces poverty and
                                              information and data on the general                     groups, including better health                       homelessness, and promotes economic
                                              benefits of these public benefits                       outcomes for pregnant women and                       stability; helps low-earning immigrants
                                              programs; the number of people,                         children throughout adulthood. Some                   increase their economic opportunities;
                                              children, and businesses affected; and                  commenters described how access to                    facilitates upwards economic mobility;
                                              the assistance that these public benefits               affordable health insurance like                      builds safe and affordable housing
                                              provide to needy individuals and                        Medicaid enables workers to find and                  communities and decreases
                                              families. Comments referenced, for                      retain jobs, and how a lack of affordable             foreclosures; and benefits of immigrants
                                              instance, the importance of TANF                        insurance contributes to worse health                 to the housing market during economic
                                              assistance for child care, Medicaid’s role              outcomes, unmet physical, behavioral                  downturns. Other commenters cited
                                              in helping families and communities                     and mental health needs, and eventual                 research showing that housing
                                              manage healthcare costs, and SNAP’s                     joblessness. Commenters stated that                   instability is associated with a broad
                                              role in fighting food insecurity for                    access to affordable insurance leads to               range of health impacts, including
                                              children and families. Commenters                       better performance on the job, an easier              worsening HIV side effects, heart
                                              stated that the proposed rule would                     time staying employed or seeking                      disease, asthma, and cancer.
                                              exacerbate problems that the designated                 employment, and less unpaid bills and                    Several commenters stated that
                                              benefit programs are designed to                        other debt; and important economic                    immigrants in high rent areas need
                                              address. Other commenters provided                      benefits, such as increased tax                       public housing, specifically where
                                              data suggesting that the designated                     contributions, decreased reliance on                  income has not kept pace with rent
                                              public benefits help reduce                             other public assistance programs, and                 prices. Some of these commenters cited
                                              homelessness and improve health                         more disposable income to spend in the                research and figures on the rent prices
                                              outcomes. Commenters stated that these                  local economy. Commenters stated that                 in areas across the United States. Other
                                              benefits are crucial for the health and                 states that expanded Medicaid                         commenters stated that only one in four
                                              development of children and                             experienced savings in costs associated               families who need affordable housing
                                              individuals. Commenters also cited                      with uncompensated care and state-                    receive it, arguing that even fewer
                                              research that emphasized the important                  funded health programs, as well as                    families who need affordable housing
                                              role public benefits and access to those                growth in jobs and general fund                       receive it factoring in immigration status
                                              benefits, including SNAP, plays for                     revenue. A commenter stated that                      and family size. Multiple commenters
                                              pregnant women and the elderly,                         reimbursement for services rendered to                stated that housing instability and
                                              including that the benefits make elderly                Medicaid patients was especially                      unaffordability are strongly correlated
                                              individuals less likely to be admitted to               important for hospitals, and cited                    with involuntary job loss and other
                                              nursing homes and hospitals; patients                   research documenting positive effects                 economic barriers that undermine self-
                                              with medical problems, because public                   on hospitals’ financial performance in                sufficiency, citing statistics. Several
                                              benefits reduce financial stress; and                   States which decided to expand                        commenters stated that the rule
                                              college and university students who are                 Medicaid.                                             undermines the mission of public
                                              struggling with food insecurity.                           Other commenters discussed a study                 housing. A commenter cited research
                                                 Many commenters described adverse                    in which the use of certain housing                   indicating that including affordable
                                              impacts of homelessness, including                      vouchers and access to public housing                 housing in the rule may increase the
                                              childhood depression and the positive                   reduced the chance of families living in              poverty rate and disability rates.
                                              impacts of affordable housing, including                crowded conditions, shelters, or on the                  In contrast, a few commenters
                                              increased health benefits and chronic                   street, help ease the burden of rent in               supported the inclusion of the public
                                              disease management and lowering the                     high-cost cities, prevent or alleviate                benefits as part of the public charge
                                              cost of healthcare. Another commenter                   homelessness, allow the flexibility for               determination. Some stated that only
                                              cited studies where more students may                   families to pay for other necessities, and            citizens should be eligible for the
                                              experience homelessness under this                      promote self-sufficiency. Commenters                  benefits. A commenter stated that the
                                              rule, and described the negative impacts                also said this rule will deter landlords              public charge rule should cover benefits
                                              on rural subsidized housing and the                     from participating in the housing                     that are provided for long periods of
                                              agriculture economic market.                            voucher program, affecting the private                time, such as TANF.
                                                 A commenter stated that receipt of                   housing market. Some commenters                          Response: DHS appreciates the
                                              public benefits, including SNAP,                        discussed the difficulty of immigrants                comments and recognizes that the
                                              support work and improve a family’s                     obtaining affordable housing.                         public benefits listed in the rule provide
                                              immediate and long-term prospects,                         Other commenters cited research on                 assistance to needy individuals, and
                                              decreasing the odds that the individuals                children’s health outcomes, asserting                 that rigorous application of the public
                                              will become primarily dependent on                                                                            charge ground of inadmissibility will
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                                                                                                      that access to public housing creates
                                              government benefits to support                          long-term improvements in educational                 inevitably have negative consequence
                                              themselves. Similarly, another                          attainment, income, self-sufficiency,                 for some individuals. DHS is aware that
                                              commenter stated that nutritional,                      and children’s health outcomes; child                 individuals may reconsider their receipt
                                              healthcare, and housing assistance are                  development; greater attendance and                   of public benefits in light of future
                                              all critical programs that support work,                prospects at school. Commenters also                  immigration consequences. However,
                                              which the commenter identified as the                   noted that access to affordable housing               the rule does not prevent individuals
                                              ultimate path to self-sufficiency. A                    has positive effects on family stability              from receiving any public benefits for


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                                              which they are eligible. Additionally, as               percent of people using public benefits               benefit on enrollment in the first. That
                                              noted in the NPRM, the rule,                            are noncitizens and this rule will reach              said, DHS disagrees that the rule would
                                              particularly the inclusion of the                       beyond that population. One commenter                 materially undermine decades of work
                                              designated benefits into the public                     stated that immigrants use public                     to address poverty. The population
                                              benefits definition, is consistent with                 benefits at a lower rate than U.S. born               affected by this rule is limited to those
                                              congressional statements in 8 U.S.C.                    citizens, while other commenters stated               applicants seeking admission to the
                                              1601 concerning self-sufficiency of                     that DHS did not consider whether the                 United States and adjustment of status,
                                              foreign nationals. In particular, Congress              temporary benefits immigrants might                   who are subject to public charge. The
                                              indicated that the immigration policy                   receive would result in a net positive                data and information provided by the
                                              continues to be that ‘‘aliens within the                impact to the budget or society.                      commenter involves a much broader
                                              Nation’s borders not depend on public                      Response: DHS appreciates the                      population that may not be affected by
                                              resources to meet their needs, but rather               comments and references to data. DHS                  the rule.
                                              rely on their own capabilities and the                  does not assume, and has not based the                   Comment: A commenter stated that
                                              resources of their families, their                      rule on the assumption, that immigrant                Congress had already made clear its
                                              sponsors, and private organizations.’’ 394              families rely disproportionately on                   intent on immigrants’ eligibility for
                                              DHS will therefore continue to consider                 public benefits. The statistical analysis             SNAP and Medicaid. The commenter
                                              the public benefits proposed in the                     provided in the preamble of the NPRM                  went on to state that IIRIRA established
                                              NPRM in public charge inadmissibility                   did not reach that conclusion. The                    criteria to be weighted by immigration
                                              determinations with certain exceptions                  NPRM provided data regarding both                     authorities using a ‘‘totality of
                                              described below.                                        citizens and noncitizens in the                       circumstances’’ test, and stated that the
                                                As discussed in the NPRM, the                         discussion of the factors that may lead               criteria specifically did not include
                                              benefits that will be considered in this                a person to receive public benefits.                  receipt of public benefits. The
                                              rule account for some of the largest                    However, only aliens seeking admission                commenter also stated that PRWORA
                                              federal expenditures on low-income                      to the United States or adjustment of                 established a set of eligibility rules for
                                              individuals and bear directly on self-                  status are subject to the public charge               certain lawful immigrants to receive
                                              sufficiency.395 The benefits listed are                 ground of inadmissibility. Therefore,                 Medicaid, SNAP, and other means-
                                              directed toward food and nutrition,                     whether citizens’ receipt of public                   tested programs, and Congress later
                                              housing, and healthcare, and are                        benefits is higher than that of aliens is             modified these rules to allow Medicaid
                                              directly relevant to the public charge                  immaterial. DHS notes that with respect               coverage for pregnant women without
                                              inadmissibility determination, because a                to the comment that the temporary                     the typical five-year waiting period.
                                              person who needs the public’s                           receipt of public benefits would result                  Response: Through PRWORA,
                                              assistance to provide for these basic                   in a positive impact on the economy,                  Congress declared that aliens generally
                                              necessities of life and receives such                   such considerations are not the aim of                should not depend on public resources
                                              benefits for longer periods of time is                  this rule. This rule is intended to better            and that these resources should not
                                              more likely to receive such benefits in                 ensure that aliens seeking to come to                 constitute an incentive for immigration
                                              the future.396 DHS also notes, as                       and remain in the United States are self-             to the United States.397 With IIRIRA,
                                              updated in the regulatory text, that                    sufficient, and rely on their resources               Congress codified minimum factors that
                                              receipt of a public benefit occurs when                 and those of their families, sponsors,                must be considered when making public
                                              a public benefit-granting agency                        and private organizations.                            charge determinations: 398 Age; health;
                                              provides such benefit, whether in the                      Comment: One commenter stated that                 family status; assets, resources, and
                                              form of cash, voucher, services, or                     including Medicaid, SNAP and housing                  financial status; education and skills.399
                                              insurance coverage. Certification for                   assistance programs as public benefits                   As explained in the NPRM,400 policy
                                              future receipt of a public benefit does                 ‘‘would undermine decades of the                      goals articulated in PRWORA and
                                              not constitute receipt, although it may                 federal government’s work to address                  IIRIRA inform DHS’s implementation of
                                              suggest a likelihood of future receipt.                 poverty and build a clearer path to the               the public charge ground of
                                              With respect to Medicaid in particular,                 middle class for millions of families,’’              inadmissibility. DHS does not believe
                                              DHS would consider receipt to have                      because individuals may decide to                     there is tension between the availability
                                              occurred when coverage commences,                       forego WIC, which is connected to                     of public benefits to some aliens as set
                                              regardless of whether the alien accesses                SNAP or other similar benefits. A                     forth in PRWORA and Congress’ intent
                                              services using such coverage.                           commenter stated that the inclusion of                to deny admission, and adjustment of
                                                Comment: A commenter said data                        Medicaid/CHIP, SNAP and housing                       status to aliens who are likely to become
                                              refutes the notion that immigrant                       assistance in public charge review                    a public charge. Indeed, DHS believes
                                              families rely disproportionately on all                 would undermine decades of the federal                that Congress, in enacting PRWORA and
                                              forms of public assistance, citing to a                 government’s work to address poverty                  IIRIRA very close in time, must have
                                              study from the National Academies of                    and build a clearer path to the middle                recognized that it made certain public
                                              Sciences, Engineering, and Medicine                     class for millions of families.                       benefits available to some aliens who
                                              indicating that just 4.2 percent of                        Response: DHS understands that
                                                                                                                                                            are also subject to the public charge
                                              immigrant households with children                      many public benefits may be
                                                                                                                                                            ground of inadmissibility, even though
                                              utilize housing assistance as compared                  interconnected, such that when a person
                                                                                                      enrolls in one benefit, the benefit-                  receipt of such benefits could render the
                                              to 5.3 percent of U.S.-born households.
                                              A commenter stated that only 6.5                        granting agency will automatically                      397 See Public Law 104–193, sec. 400, 110 Stat.
                                                                                                      qualify that person in another benefit. In
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                                                                                                                                                            2105, 2260 (Aug. 22, 1996) (codified at 8 U.S.C.
                                                394 See Personal Responsibility and Work              those circumstances, an alien’s decision              1601).
                                              Opportunity Reconciliation Act of 1996, Public Law      to forego enrollment in a designated                    398 Public Law 104–208, div. C, sec. 531, 110 Stat.

                                              104–193, section 400, 110 Stat. 2105, 2260 (Aug. 22,    public benefit could result in the alien              3009–546, 3009–674 (Sept. 30, 1996) (amending
                                              1996) (codified at 8 U.S.C. 1601(2)).                                                                         INA section 212(a)(4), 8 U.S.C. 1182(a)(4)).
                                                395 See Inadmissibility on Public Charge Grounds,
                                                                                                      not being automatically qualified in a                  399 See INA section 212(a)(4)(B), 8 U.S.C.

                                              83 FR 51114, 51166 (proposed Oct. 10, 2018).            non-designated benefit. Similar                       1182(a)(4)(B).
                                                396 See Inadmissibility on Public Charge Grounds,     outcomes could occur if a state                         400 See Inadmissibility on Public Charge Grounds,

                                              83 FR 51114, 51159 (proposed Oct. 10, 2018).            conditions eligibility for the second                 83 FR 51114, 51132 (proposed Oct. 10, 2018).



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                                              alien inadmissible as likely to become a                   eligible for the public benefits. In                    a. Specific Groups and Public Benefits
                                              public charge. Under the scheme                            addition, some aliens are eligible for                  Individuals With Disabilities
                                              envisioned by Congress, aliens generally                   public benefits, as noted in Table 3 of
                                              would not be issued visas, admitted to                     the NPRM.402                                              Comment: Commenters stated that the
                                              the United States, or permitted to adjust                     Comment: A commenter indicated                       inclusion of non-monetizable benefits in
                                              status if they are likely to become public                                                                         the proposed rule would
                                                                                                         that immigrants contribute far more to
                                              charges. This prohibition may deter                                                                                disproportionately harm people with
                                                                                                         America (i.e., taxes, premiums,
                                              aliens from making their way to the                                                                                disabilities.405 One commenter stated
                                                                                                         economic and military contributions)
                                              United States or remaining in the                                                                                  that ‘‘[p]eople with disabilities would be
                                                                                                         than they use in assistance. Other
                                              United States permanently for the                                                                                  uniquely affected by the inclusion of
                                              purpose of availing themselves of public                   commenters indicated that immigrants
                                                                                                                                                                 Medicaid-funded services in the public
                                              benefits.401 DHS believes that Congress                    contribute by paying taxes and the rule
                                                                                                                                                                 charge calculus, including Medicaid-
                                              must have understood, however, that                        penalizes immigrants who file taxes and
                                                                                                                                                                 funded community-based services that
                                              certain aliens who were unlikely to                        utilize programs to which they are
                                                                                                                                                                 are efficiently delivered in homes and
                                              become public charges when seeking                         legally entitled. Several commenters                    communities (the current public charge
                                              admission or adjustment of status might                    stated that immigrants make significant                 rule only requires consideration of
                                              thereafter reasonably find themselves in                   contributions to the economy, and the                   Medicaid-funded institutional long-term
                                              need of public benefits. Consequently,                     proposed rule would prevent                             care).’’ Commenters said that because
                                              in PRWORA, Congress made limited                           immigrants from partaking in programs                   non-emergency benefits were included,
                                              allowances for that possibility.                           that their tax dollars support. Other                   the proposal would make it nearly
                                              Nevertheless, if an alien subsequent to                    commenters said that individuals                        impossible for immigrants with
                                              receiving public benefits wishes to                        covered by Medicaid or CHIP paid more                   disabilities to become citizens unless
                                              adjust status in order to remain in the                    in taxes and collected less in Earned                   they are independently wealthy. Many
                                              United States permanently or leaves the                    Income Tax Credit (EITC) payments.                      commenters indicated that the federal
                                              United States and later wishes to return,                  According to a commenter, one study                     resources individuals with disabilities
                                              the public charge inadmissibility                          reviewing Medicaid expansion during                     and their families depend on, such as
                                              consideration (including consideration                     the 1980s and 1990s estimated that,                     Medicaid, SNAP, and housing vouchers,
                                              of receipt of public benefits) would                       based on children’s future earnings and                 would be included in the determination
                                              again come into play. In other words,                      tax contributions alone, the government                 of public charge under the rule. A
                                              although an alien may obtain public                        would recoup 56 cents of each dollar                    commenter also noted that ‘‘[p]eople
                                              benefits for which he or she is eligible,                  spent on childhood Medicaid by the                      with disabilities would be
                                              the receipt of those benefits may be                       time the children turned 60.                            disproportionally impacted by the
                                              considered, consistent with IIRIRA and                                                                             inclusion of housing and food assistance
                                                                                                            Response: Paying taxes owed and
                                              PRWORA, for future public charge                                                                                   in the public charge test.’’ One
                                                                                                         filing tax returns is legally required for
                                              inadmissibility determination purposes.                                                                            commenter stated that ‘‘[b]y deeming
                                              DHS recognizes that Congress through                       all individuals making a sufficient
                                                                                                         income in the United States.403 The rule                immigrants who use such programs a
                                              CHIPRA expanded the Medicaid                                                                                       ‘public charge,’ the regulations will
                                              coverage for children and pregnant                         does not penalize those people who
                                                                                                         fulfill their legal responsibilities to do              disparately harm individuals with
                                              women who are lawfully residing in the                                                                             disabilities and impede their ability to
                                              United States, including those within                      so. In addition, people are entitled to
                                                                                                         use benefits for which they qualify, and                maintain the very self-sufficiency the
                                              their first five years of having certain                                                                           Department purports to promote and
                                              legal status. In this final rule, DHS has                  this rule does not prohibit anyone from
                                                                                                         using a benefit for which they qualify.                 which the Rehabilitation Act sought to
                                              exempted from consideration receipt of                                                                             ensure.’’
                                              Medicaid by children under 21 and                          However, DHS believes the use of
                                              pregnant women during pregnancy and                        certain benefits is appropriate to                        Several commenters stated that
                                              60 days following pregnancy by                             consider in determining public charge                   individuals with disabilities rely on
                                              amending the definition of public                          inadmissibility. Congress mandated the                  non-cash benefits disproportionately,
                                              benefit in 8 CFR 212.21(b).                                public charge assessment.404 But                        often due to their disability, in order to
                                                 Comment: Some commenters stated                         Congress did not stipulate in legislation               continue working, stay healthy, and
                                              that immigrants’ eligibility for some of                   that public benefits received by eligible               remain independent and productive
                                              the public benefits is already restricted,                 individuals should not be considered                    members of the community. Some
                                              including SSI, TANF, and housing                           for public charge purposes; instead,                    commenters stated that Medicaid is
                                              programs. Another commenter said the                       Congress clearly stated the policy that                 often the only program available to and
                                              inclusion of Medicaid in the proposed                      those coming to the United States must                  appropriate for people with disabilities
                                              rule was unnecessary, since existing law                   be self-sufficient and not rely on public               as many of the services covered by
                                              already requires that lawful permanent                     resources. Therefore, to implement                      Medicaid, including housing services
                                              residents wait five years before                           Congress’ requirement to consider                       and community-based services, are
                                              becoming eligible for Medicaid or                          public charge inadmissibility, DHS must                 often not covered by private insurance.
                                              Medicare.                                                  consider the receipt of benefits by                     Many commenters cited the statistic that
                                                 Response: DHS recognizes that most                      eligible individuals, as indeed the 1999                about one-third of adults under age 65
                                              aliens are ineligible for the public                       Interim Field Guidance did. DHS                         enrolled in Medicaid have a disability,
                                                                                                                                                                 compared with about 12 percent of
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                                              benefits listed in the rule. However, the                  believes that the public charge rule
                                              public charge inadmissibility                              strikes an appropriate balance with the                 adults in the general population. Other
                                              determination reviews the likelihood of                    benefits that are considered.                           commenters cited the statistic that more
                                              a person receiving a public benefit at                                                                             than one-quarter of individuals who use
                                              any time in the future, including points                     402 Inadmissibility on Public Charge Grounds, 83      SNAP are also disabled. Several
                                              in time when an alien may become                           FR 51114, 51128–30 (proposed Oct. 10, 2018).            commenters stated that individuals with
                                                                                                           403 See 26 U.S.C. 1 and 6012(a)(1).                   disabilities disproportionately
                                                401 H.R.   Rep. No. 104–469(I), at 144–45 (1996).          404 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4).   experience poverty.


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                                                 A commenter stated that the rule                      determinations include consideration of              to begin the journey of stabilizing their
                                              would require immigrants with                            whether, in the context of the alien’s               lives and achieving self-sufficiency. The
                                              disabilities to meet economic standards                  individual circumstances, the alien has              commenter provided a data from a
                                              that do not take into account the barriers               been diagnosed with a medical                        survey in 2017, where 85 percent of
                                              to employment and wealth                                 condition that is likely to require                  respondents said that TANF was a
                                              accumulation issues that individuals                     extensive medical treatment or                       critical resource for domestic violence
                                              with disabilities face. Another                          institutionalization or that will interfere          and sexual assault survivors, and that
                                              commenter added that food insecurity                     with the alien’s ability to provide and              two-thirds of respondents said that most
                                              rates in households that include at least                care for himself or herself, such as by              domestic violence survivors rely on
                                              one disabled working-age adult are                       working or attending school. As noted                TANF to help address their basic needs
                                              substantially higher, even where the                     in the proposed rule, as an evidentiary              and to establish safety and stability, and
                                              disabled person is working, and that                     matter, USCIS would rely on medical                  45 percent of respondents said the same
                                              such food insecurity leads to chronic                    determinations made by a medical                     is true of most sexual assault survivors.
                                              illnesses. Many commenters stated that                   professional. This would entail                      The commenter indicated that financial
                                              the rule would cause many individuals                    consideration of the potential effects of            instability poses limited options for
                                              with disabilities or families with                       the disability on the alien’s ability to             escaping or recovering from abuse and
                                              individuals with disabilities to disenroll               work, attend school, or otherwise                    that access to cash assistance is an
                                              from public benefit programs. A                          support himself or herself.                          important factor in survivors’ decision-
                                              commenter cited research indicating                         However, it is not the intent, nor is it          making about whether and how they
                                              that the rate of disability drastically                  the effect of this rule to find a person             can afford to leave a dangerous
                                              increases as poverty increases, and that                 a public charge solely based on his or               situation, and in planning how to keep
                                              by creating fear around participating in                 her disability. The public charge                    themselves and their children healthy,
                                              public anti-poverty programs, the                        inadmissibility determination evaluates              fed, and housed. The commenter
                                              proposed public charge rule will lead to                 the alien’s particular circumstances.                indicated that the rule risk significant
                                              an increase in disability and negative                   Under the totality of the circumstances              physical, emotional, and mental harm to
                                              health impacts for an already vulnerable                 framework, the disability itself would               these populations. Commenters
                                              community of people.                                     not be the sole basis for an                         described a survey that found that
                                                 Response: DHS understands that                        inadmissibility finding. DHS would                   nearly 80 percent of service providers
                                              individuals with disabilities receive                    look at each of the mandatory factors,               included in the survey reported that
                                              public benefits that are listed in the                   and the affidavit of support, if required,           most domestic violence survivors rely
                                              rule. However, Congress did not                          as well as all other factors in the totality         on SNAP to establish their safety and
                                              specifically provide for a public charge                 of the circumstances. For example, if an             stability. Another commenter stated that
                                              exemption for individuals with                           individual has a disability but there is             being able to meet basic food and
                                              disabilities and in fact included health                 no indication that such disability makes             nutritional needs provides a means for
                                              as a mandatory factor in the public                      the alien more likely to become a public             survivors of domestic violence and
                                              charge inadmissibility consideration.406                 charge, the alien’s disability will not be           sexual assault to take care of themselves
                                              Therefore, DHS will retain the                           considered an adverse factor in the                  and their children while working to
                                              designation of Medicaid and SNAP as                      inadmissibility determination. This                  address their trauma and take steps
                                              public benefits, notwithstanding the                     could occur if the individual is not                 toward independence.
                                              potentially outsized impact of such                      currently enrolled in the designated                    Other commenters stated that nearly
                                              designation on individuals with                          benefits, has not previously been                    half a million Asian American and
                                              disabilities. With respect to DHS’s                      enrolled in any designated public                    Pacific Islander (AAPI) noncitizens rely
                                              consideration of the alien’s disability as               benefit, and is employed or otherwise                on the SNAP program to feed their
                                              such, DHS would consider disability as                   has sufficient income, assets and                    families, and the rule will lead to less
                                              part of the health factor, to the extent                 resources to provide for himself or                  food assistance within family units. A
                                              such disability makes the alien more                     herself, or has family willing and able              commenter stated that almost 48 percent
                                              likely than not to become a public                       to provide for reasonable medical costs,             of noncitizen recipients of SNAP
                                              charge. This consideration is not new                    or the person has private health                     benefits were women in 2017, compared
                                              and has been part of public charge                       insurance or would soon be able to                   to 40 percent who were men, and 12
                                              determinations historically.407 Those                    obtain private health insurance upon                 percent who were children. Another
                                                                                                       adjustment of status.                                commenter stated that 80 percent of
                                                406 See  INA section 212(a)(4), 8 U.S.C. 1182(a)(4).                                                        most domestic violence victims and 55
                                                                                                       Vulnerable Populations
                                                407 See,  e.g., Ex parte Mitchell, 256 F. 229                                                               percent of most sexual assault victims
                                              (N.D.N.Y. 1919) (referencing disease and disability        Comment: Some commenters                           use the program to restore safety and
                                              as relevant to the public charge determination); Ex
                                              parte Sakaguchi, 277 F. 913, 916 (9th Cir. 1922)
                                                                                                       identified specific groups of individuals            stability in their lives would be heavily
                                              (taking into consideration that the alien was an         who would be impacted by the                         affected by limiting access to SNAP.
                                              able-bodied woman, among other factors, and              inclusion of public benefits in the                     One commenter stated that the
                                              finding that there wasn’t evidence that she was          public charge determination. Several                 proposed rule would disproportionately
                                              likely to become a public charge); Barlin v. Rodgers,
                                              191 F. 970, 974–977 (3d Cir. 1911) (sustaining the
                                                                                                       commenters stated that cash assistance               affect communities of color who use
                                              exclusion of three impoverished immigrants, the          provides crucial support for survivors of            public benefits and social services to
                                              first because he had a ‘‘rudimentary’’ right hand        domestic violence and sexual assault,                make ends meet and work towards self-
                                              affecting his ability to earn a living, the second       and would undermine Federal and State
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                                                                                                                                                            sufficiency. A commenter stated that the
                                              because of poor appearance and ‘‘stammering’’ such
                                              that made the alien scarcely able to make himself
                                                                                                       policies to support victims of domestic              proposed rule would likely
                                              understood, and the third because he was very            violence and assault by discouraging                 disproportionality cause Latinos to lose
                                              small for his age); United States ex rel. Canfora v.     them to access critical services. A                  access to SNAP and Medicaid benefits,
                                              Williams, 186 F. 354 (S.D.N.Y. 1911) (ruling that an     commenter stated that for many                       exacerbating existing health inequities,
                                              amputated leg was sufficient to justify the exclusion
                                              of a sixty year old man even though the man had
                                                                                                       survivors, cash assistance, such as                  increasing instances of hunger and
                                              adult children who were able and willing to              TANF or state-funded cash benefits,                  poverty among this population.
                                              support him).                                            provides the crucial support they need               Similarly, another commenter described


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                                              the benefits of access to SNAP for the                  public benefits for a limited period time                  DHS’s view of self-sufficiency is that
                                              Latino community and commented that                     to escape a dangerous situation, but no                 aliens subject to the public charge
                                              a loss of SNAP benefits would cause                     longer relies on such benefits, the alien               ground of inadmissibility must rely on
                                              more Latinos, including children, to                    should make that clear to DHS, so that                  their own capabilities and secure
                                              experience poverty and suffer from                      DHS can incorporate into its totality of                financial support, including from family
                                              hunger and malnutrition. Another                        the circumstances assessment the fact of                members and sponsors, rather than seek
                                              commenter stated that including SNAP                    the alien’s changed circumstances.                      and receive public benefits to meet their
                                              will harm college students, as SNAP is                     DHS recognizes that it is possible that              basic needs. Cash aid and non-cash
                                              a critical resource for the many college                the inclusion of benefits such as SNAP                  benefits directed toward food and
                                              students who struggle with food                         and Medicaid may impact in greater                      nutrition, housing, and healthcare
                                              insecurity.                                             numbers communities of color,                           account for significant Federal
                                                 Other commenters provided                            including Latinos and AAPI, as well as                  expenditure on low-income individuals
                                              information on individuals with specific                those with particular medical                           and bear directly on self-sufficiency.
                                              medical conditions that need Medicaid,                  conditions that require public benefits                 Because of the nature of the public
                                              including treating thalassemia (a group                 for treatment, and therefore may impact                 benefits that would be considered under
                                              of blood disorders) and cardiovascular                  the overall composition of immigration                  this rule—which are generally means-
                                              disease. A commenter cited studies                      with respect to these groups. DHS also                  tested and provide cash for income
                                              showing that people with opioid                         recognizes that consideration of the                    maintenance and for basic living needs
                                              addiction who lacked Medicaid were                      receipt of public benefits while the alien              such as food and nutrition, housing, and
                                              half as likely to receive treatment as                  was a child may also deter some parents                 healthcare—DHS believes that receipt of
                                              those covered by some form of                           from applying for these benefits on                     such benefits may render a person a
                                              insurance. A commenter said that                        behalf of their children. But this is not               person with limited means to provide
                                              parental mental health and substance                    DHS’s intention in promulgating this                    for his or her own basic living needs
                                              abuse was a strong indicator of child                   rule. Instead, with this rule, DHS seeks                and who receives public benefits is not
                                              mistreatment, and the services Medicaid                 to better ensure that applicants for                    self-sufficient because his or her
                                              provides to combat these issues help                    admission to the United States and                      reliance.
                                              keep children safe.                                     applicants for adjustment of status who                    DHS notes that this rule would not
                                                 Many commenters noted the negative                   are subject to the public charge ground                 adversely impact certain victims of
                                              impact of including the receipt of
                                                                                                      of inadmissibility are self-sufficient.408              domestic and sexual abuse, as VAWA,
                                              housing assistance in the public charge
                                                                                                         As provided by Congress, health is a                 T, and U applicants are generally not
                                              determination on a variety of groups,
                                                                                                      mandatory factor in the public charge                   subject to the public charge
                                              including infants and toddlers, women
                                                                                                      inadmissibility determination.409                       inadmissibility determination, as set
                                              and single mothers, large and low-
                                                                                                      However, DHS will not find an alien                     forth in 8 CFR 212.23.
                                              income families, Latinos, domestic
                                              violence survivors, agricultural workers,               inadmissible on public charge grounds                      Comment: Several commenters said
                                              low-income communities, people of                       based solely on an alien’s medical                      that over 1.1 million noncitizens age 62
                                              color, the Lesbian, Gay, Bisexual,                      condition or disability.                                and older live in low- or moderate-
                                              Transgender Immigrants (LGBTQ)                             DHS’s public charge inadmissibility                  income households. Other commenters
                                              community, AAPI, elderly, minority                      determination evaluates the totality of                 stated that nearly seven million seniors
                                              groups, and disabled persons. Multiple                  an alien’s individual circumstances.                    age 65 and older are enrolled in both
                                              commenters cited studies and addressed                  This totality of the circumstances                      Medicare and Medicaid, and one in five
                                              the specific costs of the rule for                      approach weighs all the positive and                    Medicare beneficiaries relies on
                                              domestic violence survivors, arguing                    negative evidence related to an alien’s                 Medicaid to help them pay for Medicare
                                              that a survivor’s greatest unmet need is                age; health; family status; assets,                     premiums and cost-sharing. Several
                                              housing when recovering from abuse.                     resources, and financial status;                        commenters said having health
                                              Other commenters commented that the                     education and skills; required affidavit                insurance is especially important for
                                              rule would make it more difficult for                   of support; and any other factor or                     older adults because they have greater
                                              families with multiple children to                      circumstance that may warrant                           healthcare needs. This makes Medicare
                                              obtain housing due to the prorated                      consideration in the public charge                      a lifeline for most seniors, providing
                                              system.                                                 inadmissibility determination.410 If the                coverage for hospital, doctors’ visits,
                                                 Response: DHS appreciates the                        factors establish, in the balance, that an              and prescription drugs, but many
                                              comments. DHS recognizes that some                      alien is likely at any time in the future               immigrant seniors are not eligible for
                                              people currently in the United States do                to become a public charge, he or she                    Medicare.
                                              in fact depend on the government to                     will be deemed inadmissible. As noted                      A commenter stated this age standard
                                              meet their needs, and that this rule is                 in precedent administrative decisions,                  would result in mistreatment of elders
                                              likely to result in negative consequences               determining the likelihood of an alien                  when trying to enter or stay in the
                                              for some of those people, and people                    becoming a public charge involves                       United States and would undermine
                                              like them. Such negative consequences                   ‘‘consideration of all the factors bearing              immigrants’ access to essential
                                              are, to some extent, an inevitable                      on the alien’s ability or potential ability             healthcare, nutrition, and housing
                                              consequence of more rigorous                            to be self-supporting’’ 411 in the totality             programs. A commenter stated low-
                                              application of a statutory ground of                    of the circumstances.412                                income seniors also greatly benefit from
                                              inadmissibility that is targeted towards                                                                        programs such as HCV Program (Section
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                                              people who receive public benefits to                     408 See 8 U.S.C. 1601(2).                             8) rental assistance and SNAP to meet
                                              meet their basic needs. DHS declines to                   409 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4).   their basic needs and if immigrant
                                                                                                        410 See 8 CFR 212.22.
                                              modify the scope of the rule to                                                                                 families are afraid to access nutrition
                                                                                                        411 Matter of Vindman, 16 I&N Dec. 131, 132
                                              accommodate all possible Federal and                                                                            assistance programs, older adults will be
                                                                                                      (Reg’l Comm’r 1977).
                                              State policies supporting public benefits                 412 See, e.g., Matter of Vindman, 16 I&N Dec. 131     food insecure and at risk of unhealthy
                                              use by specific vulnerable populations.                 (Reg’l Comm’r 1977); Matter of Harutunian, 14 I&N       eating, which can cause or exacerbate
                                              DHS notes that if an alien relied on                    Dec. 583 (Reg’l Comm’r 1974).                           other health conditions and


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                                              unnecessarily burden the healthcare                     and having no need for public benefits,                 received by U.S. citizens in the public
                                              system.                                                 that family member or the primary                       charge inadmissibility determination.
                                                 Response: DHS recognizes that                        caregiver for the family member may                     The valuation of the public benefits is
                                              eligibility for certain public benefits                 facilitate the application for and receipt              an individual determination and receipt
                                              depends not only on a person’s financial                of public benefits for that child or in                 of public benefits by other members of
                                              need but also on a person’s age.                        relation to the care for that child.                    a household including U.S. citizens will
                                              However, Congress did not specifically                     Response: The public charge                          not be considered in an applicant’s
                                              exclude aliens of certain ages from the                 inadmissibility determination evaluates                 public charge inadmissibility
                                              public charge inadmissibility                           an alien’s particular circumstances. DHS                determination. In addition, DHS notes
                                              determination and in fact included age                  is not considering public benefits                      that this rule does not restrict an alien’s
                                              as a mandatory factor in section                        received by other household members                     access to public benefits for which the
                                              212(a)(4) of the Act, 8 U.S.C.                          as part of an alien’s public charge                     alien is eligible. Rather, this rule
                                              1184(a)(4).413 Accordingly, DHS                         inadmissibility determination. DHS has                  explains the criteria that DHS will use
                                              proposes to consider the alien’s age                    further clarified this inclusions of a                  to determine whether an alien subject to
                                              primarily in relation to employment or                  definition for receipt of public benefits               section 212(a)(4) of the Act, 8 U.S.C.
                                              employability and secondarily to other                  which indicates that an alien’s receipt,                1182(a)(4), has met his or her burden of
                                              factors as relevant to determining                      application for or certification for public             demonstrating eligibility for the
                                              whether someone is likely to become a                   benefits solely on behalf of another                    immigration benefit sought.
                                              public charge. DHS notes that the public                individual does not constitute receipt
                                              charge inadmissibility determination                                                                            Receipt of Public Benefits by Children
                                                                                                      of, application for or certification for
                                              evaluates the alien’s particular                        such alien. But if the alien is a listed                   Comment: Several commenters said a
                                              circumstances. DHS’s totality of the                    beneficiary, the alien is considered to                 child’s use of benefits should not impact
                                              circumstances standard involves                         have received the public benefit.                       their public charge inadmissibility
                                              weighing all the positive and negative                     DHS’s totality of the circumstances                  determination, as public benefits are
                                              considerations related to an alien’s age;               standard weighs all the positive and                    often vital to the development of
                                              health; family status; assets, resources,               negative considerations related to an                   children and for them to become
                                              and financial status; education and                     alien’s age; health; family status; assets,             productive members of society.
                                              skills; required affidavit of support; and              resources, and financial status;                        Commenters also indicated that a
                                              any other factor or circumstance that                   education and skills; required affidavit                child’s use of benefits should not impact
                                              may warrant consideration in the public                 of support; and any other factor or                     their immigration application once they
                                              charge inadmissibility determination.414                circumstance that may warrant                           come of age. These commenters cited
                                              If the negative factors outweigh the                    consideration in the public charge                      research demonstrating that the use of
                                              positive factors, then the alien would be               inadmissibility determination.415                       these programs in childhood helps
                                              found to be inadmissible as likely to                      In the definition of household,416                   children complete their education and
                                              become a public charge; if the positive                 DHS accounts for both (1) the persons                   have higher incomes as adults, be
                                              factors outweigh the negative factors,                  whom the alien is supporting and (2)                    healthy, have better educational
                                              then the alien would not be found                       those persons who are contributing to                   opportunities, and become more likely
                                              inadmissible as likely to become a                      the household, and thus the alien’s                     to be economically secure and
                                              public charge.                                          assets and resources. DHS believes that                 contribute to their communities as
                                                 DHS also notes that receipt of                       an alien’s ability to support a household               adults. Another commenter indicated
                                              Medicaid, even if received in                           is relevant to DHS’s consideration of the               that public benefits serve as crucial
                                              conjunction with receipt of Medicare,                   alien’s assets, resources, financial status,            levers that reduce the intergenerational
                                              would still be considered a public                      and family status. DHS believes this is                 transmission of poverty. Commenters
                                              benefit in the totality of the                          an appropriate definition in the limited                also noted that ‘‘[b]ecause children do
                                              circumstances for public charge                         immigration context of public charge                    not decide whether or not to apply for
                                              inadmissibility.                                        inadmissibility determinations. Public                  benefits and because their financial
                                                 Comment: One commenter indicated                     benefits received by household                          situation as children is not necessarily
                                              that the rule could allow a young adult                 members do not count towards the                        indicative of their financial situation for
                                              to be deemed inadmissible as a public                   alien’s financial assets and income for                 life, children’s receipt of benefits should
                                              charge if at any point within the last                  purposes of the public charge                           not be counted in any public charge
                                              year the person or a member of the                      inadmissibility determination.417                       determination.’’ Some commenters
                                              household or certain members of the                        Comment: A commenter stated that                     stated that considering an immigrant’s
                                              family received a few of these benefits                 the rule would deprive U.S. citizens                    past use of public benefits as a child in
                                              for only a period of time. The                          who live in mixed-status households of                  the public charge inadmissibility
                                              commenter indicated that household                      their access to assistance programs for                 determination would deter immigrant
                                              definition leaves a very wide array of                  which they are eligible.                                parents from obtaining food and
                                              potential individuals who may receive a                    Response: DHS disagrees that the rule                healthcare assistance for their children,
                                              public benefit through no volition or                   would deprive U.S. citizens of access to                and argued that this would result in
                                              interaction of the immigrant applicant                  assistance programs for which they are                  adverse outcomes for the children
                                              but would, as a result, have an impact                  eligible. This rule does not include                    themselves and impose significant costs
                                              on the determination of admissibility for               consideration of public benefits                        on society. A commenter stated that
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                                              the immigrant’s application including a                                                                         low-income children with immigrant
                                              child or a young family member. The                       415 See  8 CFR 212.22.                                parents, including U.S. citizen children,
                                              commenter indicated that despite the                      416 See  8 CFR 212.21(d).                             are already less likely to receive
                                              applicant providing sufficient support
                                                                                                        417 See 8 CFR 212.22(b)(4)(ii), which provides that
                                                                                                                                                              Medicaid than those with U.S. born
                                                                                                      USCIS’ considerations when assessing the alien’s        parents.
                                                                                                      assets, resources, and financial status excludes any
                                                413 See INA section 212(a)(4)(B), 8 U.S.C.
                                                                                                      public benefits received by the alien as well as any
                                                                                                                                                                 Many commenters cited to research
                                              1182(a)(4)(B).                                          public benefits received by another person of the       indicating that the use of programs,
                                                414 See 8 CFR 212.22.                                 household.                                              such as SNAP, Medicaid, and CHIP, and


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                                              housing assistance in childhood, helps                  Military/First Responders                             or CHIP, indicated that Medicaid
                                              children complete their education and                      Comment: Some commenters                           enrollment leads to positive health
                                              have higher incomes as adults, live in                  supported the NPRM’s proposal to                      outcomes.
                                              stable housing, receive needed health                   exclude from the public charge                          Response: DHS acknowledges that
                                              services and consume adequate and                       determination any public benefits                     military service members and their
                                              nutritious food, and fosters their future                                                                     families who are applying for an
                                                                                                      received by active duty service members
                                              success in education and the workforce.                                                                       immigration benefit for which
                                                                                                      and their families. Some commenters
                                              A commenter noted the impact of this                                                                          admissibility is required and that is
                                                                                                      also discussed the impact of the rule on
                                              rule on their work to facilitate healthy                                                                      subject to section 212(a)(4) of the Act, 8
                                                                                                      military families, including increasing
                                              brain development among children. A                                                                           U.S.C. 1182(a)(4), will be required to
                                                                                                      food security for active military families
                                              few commenters stated that multiple                                                                           demonstrate that they are not likely at
                                                                                                      and allowing them to focus on
                                              studies confirm early childhood or                                                                            any time in the future to become a
                                                                                                      protecting the United States rather than
                                              prenatal access to Medicaid and SNAP                                                                          public charge. However, consistent with
                                                                                                      on whether they will be able to feed
                                              improves health and reduces reliance on                                                                       the NPRM, DHS’s public charge analysis
                                                                                                      their family. Commenters stated that too
                                              cash assistance. The commenters stated                                                                        will exclude consideration of the receipt
                                                                                                      many military families and veterans
                                              that children with access to Medicaid                                                                         of any public benefits by active duty
                                                                                                      depend on SNAP to make ends meet
                                              have fewer absences from school, are                                                                          servicemembers, including those in the
                                                                                                      because their military pay is not enough
                                              more likely to graduate from high school                                                                      Ready Reserve of the U.S. Armed
                                                                                                      to meet their basic needs. One
                                              and college, and are more likely to have                                                                      Forces, and their spouses and children.
                                                                                                      commenter, citing to data from FY 2013,
                                              higher paying jobs as adults. Another                                                                         As noted in the NPRM, the U.S.
                                                                                                      stated that current and former military
                                              commenter stated that children with                                                                           Government is profoundly grateful for
                                                                                                      members and their families redeemed
                                              health insurance are more likely to have                                                                      the unparalleled sacrifices of the
                                                                                                      approximately $104 million in SNAP
                                              routine healthcare, improved health                                                                           members of our armed services and
                                                                                                      benefits at commissaries—a 300 percent
                                              outcomes, and improved success in                                                                             their families. Servicemembers who,
                                                                                                      increase since 2007. The commenter
                                              education. One commenter said that                                                                            during their service, receive public
                                                                                                      further stated that for military families
                                              lack of access to affordable housing                                                                          benefits, in no way burden the public;
                                                                                                      who do not have base-housing and live
                                              remains one of the main barriers to                                                                           indeed, their sacrifices are vital to the
                                                                                                      in high-cost areas, like those in
                                              economic stability for many families                                                                          public’s safety and security. The DOD
                                                                                                      California, accessing SNAP can be
                                              and the proposed rule would further                                                                           has advised DHS that many of the aliens
                                                                                                      complicated and this has led military
                                              limit access to housing assistance for                                                                        who enlist in the military are early in
                                                                                                      families across the country to turn out
                                              families with children. The commenter                                                                         their careers, and therefore, consistent
                                                                                                      of desperation to food pantries and food
                                              cited research that shows rental                                                                              with statutory pay authorities, earn
                                                                                                      banks—many operating on base or
                                              assistance for households with children                                                                       relatively low salaries that are
                                                                                                      nearby military installations—for
                                              results in significant positive effects for                                                                   supplemented by certain allowances
                                                                                                      emergency food assistance. The
                                              future child outcomes and family                                                                              and tax advantages.418 Although data
                                                                                                      commenter further stated that in recent
                                              economic security. A few commenters                                                                           limitations exist, evidence suggests that
                                                                                                      years the Department of Defense (DOD)
                                              stated this proposal could undermine                                                                          as a consequence of the unique
                                                                                                      and the Department of Veterans Affairs
                                              the access to healthcare for children of                                                                      compensation and tax structure afforded
                                                                                                      (VA) have issued policies to address
                                              immigrants or their aging family                                                                              by Congress to aliens enlisting for
                                                                                                      high rates of hunger among low-income
                                              members.                                                                                                      military service, some active duty alien
                                                                                                      military and veteran families, because
                                                 Response: DHS recognizes that many                                                                         servicemembers, as well as their
                                                                                                      military leaders understand that soldiers
                                              of the public benefits programs aim to                                                                        spouses and children, as defined in
                                                                                                      are less prepared to serve their country
                                              better future economic and health                                                                             section 101(b) of the Act, may rely on
                                                                                                      if they are hungry or worried about their
                                              outcomes for minor recipients, and that                                                                       SNAP 419 and other listed public
                                                                                                      families going hungry. They also know
                                              parents may decide to disenroll their                   that when veterans are largely living in                 418 See, e.g., 37 U.S.C. 201–212, 401–439 (Basic
                                              children from public benefits programs                  poverty with unmet basic needs, it is                 Pay and Allowances Other than Travel and
                                              to avoid negative immigration                           more difficult to convince young people               Transportation Allowances, respectively); Lawrence
                                              consequences. However, this rule is                     who live in their communities to sign                 Kapp, Cong. Research Serv., Defense Primer:
                                              aimed at better ensuring that aliens who                                                                      Regular Military Compensation 2 tbl.1 (Dec. 17,
                                                                                                      up.                                                   2018), available at https://fas.org/sgp/crs/natsec/
                                              are subject to the public charge ground                    A commenter also cited to 2013                     IF10532.pdf (reporting average regular military
                                              of inadmissibility are self-sufficient.                 USDA data, and reported that in that                  compensation of $41,384 at the E–1 level in 2018,
                                                 DHS also recognizes that children                    year, $103.6 million of groceries were                comprised of $19,660 in average annual basic pay,
                                              who receive public benefits are not                                                                           plus allowances and tax advantage) (last visited July
                                                                                                      purchased with SNAP benefits at                       26, 2019); Lawrence Kapp et al., Cong. Research
                                              making the decisions to apply for such                  military commissaries, and that between               Serv., RL33446, Military Pay: Key Questions and
                                              benefits. However, DHS notes that that                  2,000 and 22,000 military households                  Answers 6–9 (2019), available at https://fas.org/sgp/
                                              Congress did not exclude children from                  received SNAP benefits. The commenter                 crs/natsec/RL33446.pdf (describing types of
                                              the public charge ground of                                                                                   military compensation and federal tax advantages)
                                                                                                      stated that a Department of Defense                   (last visited July 26, 2019).
                                              inadmissibility unless the child is                     Education Activity (DoDEA) showed                        419 See U.S. Gov’t Accountability Office, GAO–
                                              seeking a status that Congress expressly                that in September 2015, 24 percent of                 16–561, Military Personnel: DOD Needs More
                                              exempted from public charge                             23,000 children in DoDEA schools were                 Complete Data on Active-Duty Servicemembers’
                                              inadmissibility and, moreover,                                                                                Use of Food Assistance Programs (July 2016),
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                                                                                                      eligible for free meals, while 21 percent
                                                                                                                                                            available at https://www.gao.gov/assets/680/
                                              specifically required that DHS consider                 were eligible for reduced-price meals.                678474.pdf (reporting estimates ranging from 2,000
                                              an applicant’s age in the public charge                    Commenters, citing the 2.4 million                 active duty servicemembers receiving SNAP to
                                              inadmissibility determination.                          children from military families who                   22,000 such servicemembers receiving SNAP) (last
                                              Nonetheless, as explained more fully in                 were enrolled in Medicaid or CHIP,                    visited July 26, 2019). Effective FY16, Congress
                                                                                                                                                            implemented a recommendation by the Military
                                              the discussion of Medicaid, DHS will                    noted that many families with family                  Compensation and Retirement Modernization
                                              not consider the receipt of Medicaid by                 members enlisted in the military                      Commission to sunset DOD’s Family Subsistence
                                              children under the age of 21.                           benefitted from enrollment in Medicaid                                                           Continued




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                                              benefits. As a result, the general                      the very same salary, the public benefit                Comment: Some commenters
                                              standard included in the proposed rule                  exemption would no longer apply and                   suggested that the exemption that
                                              could result in a finding of                            thus be ineligible for admissibility and              applies to individuals serving in the
                                              inadmissibility under section 212(a)(4)                 adjustment of status. The commenter                   Armed Forces should apply to other
                                              when such aliens apply for adjustment                   stated military service members should                individuals, such as members of the
                                              of status.                                              be not be subject to public charge the                public who have jobs of comparable
                                                 As noted in the NPRM, following                      moment they depart the military. A                    importance to national security. The
                                              consultation with DOD, DHS has                          commenter said the rule would have an                 commenter stated as an example that
                                              concluded that such an outcome may                      unintended negative impact on veterans                there is no exemption for non-uniform
                                              give rise to concerns about                             of the U.S. military who do not have                  support members working for or on
                                              servicemembers’ immigration status or                   permanent status because they have                    behalf of the U.S. military, those
                                              the immigration status of                               access to the public benefits outlined in             working for State or local law
                                              servicemembers’ spouses and children                    the rule. The commenter stated that                   enforcement, those working for prisons,
                                              as defined in section 101(b) of the Act,                their need for access to benefits may be              or working as firefighters or as
                                              8 U.S.C. 1101(b), which would reduce                    directly tied to injuries resulting from              emergency medical technicians. The
                                              troop readiness and interfere                           their service.                                        commenter stated that there is no doubt
                                              significantly with U.S. Armed Forces                       A commenter stated that while                      the U.S. ‘‘Government is profoundly
                                              recruitment efforts. This exclusion is                  applying the proposed rule to                         grateful for the unparalleled sacrifices’’
                                              consistent with DHS’s longstanding                      servicemembers would have negative                    of police officers, firefighters, and
                                              policy of ensuring support for our                      policy consequences, the DHS lacks                    emergency medical technicians, but the
                                              military personnel who serve and                        legal authority to exempt the ‘‘public                rule does not exclude the public
                                              sacrifice for our nation, and their                     charge’’ analysis from a whole segment                benefits received from these
                                              families, as well as supporting military                of the population. The commenter                      individuals. Other commenters
                                              readiness and recruitment.                              stated that the relevant statute regarding            indicated that the failure to exempt first
                                                 Accordingly, DHS has excluded the                    ‘‘public charge’’ applies to ‘‘[a]ny alien,’’         responders and veterans or other groups
                                              consideration of the receipt of all                     and DHS stated no basis on which it can               was irrational, because military service
                                              benefits listed in 8 CFR 212.21(b) from                 exclude certain individuals from the                  members are not the only ones serving
                                              the public charge inadmissibility                       generally applicable proposed definition              in roles important to national security.
                                              determination, when received by active                  of ‘‘public charge.’’ The commenter                     Response: DHS refers the commenters
                                              duty servicemembers, including those                    stated that the rule would almost                     to the explanations above regarding this
                                              in the Ready Reserve, and their spouses                 certainly apply to servicemembers like                rule’s treatment of active duty
                                              and children. If a service member has                   the rest of the population and therefore              servicemembers, including those in the
                                              since retired or otherwise been                         DHS should abandon the rule.                          Ready Reserve, and their spouses and
                                              discharged from military service, receipt                  Response: DHS appreciates the                      children. DHS recognizes that many
                                              of public benefits while in the service                 comments and certainly appreciates the                professionals, including first
                                              will not be counted in the public charge                sacrifices that veterans have made for                responders, also provide important
                                              consideration. Only public benefits                     the United States. Among other factors,               services for the public, and make
                                              receipted after discharge from the                      current servicemembers have a unique                  sacrifices that are critical and worthy of
                                              military would be considered.                           pay structure implemented by Congress                 our gratitude. However, DHS believes
                                              Applicants that fall under this exclusion               that may involve the use of public                    that Armed Forces members and their
                                              must submit proof that the                              benefits, and DHS has accordingly                     spouses and children are uniquely
                                              servicemember is serving in active duty                 excluded the public benefits as listed in             positioned in this context, and that DHS
                                              or the Ready Reserve. DHS believes this                 the rule for active duty service members              should not extend similar treatment to
                                              should minimize any impact to military                  in order to limit a possible impact on                other categories of applicants based on
                                              readiness.                                              military readiness. DHS does not believe              their employment or public service.
                                                 Comment: Some commenters                             the same considerations are presented
                                                                                                      for veterans, as they do not currently                b. Supplemental Security Income
                                              suggested that the exemption that
                                              applies to individuals serving in the                   serve, are not directly affected by the                  Comment: Multiple commenters
                                              Armed Forces should apply to other                      military compensation structure, and                  opposed the inclusion of SSI and stated
                                              individuals, such as veterans and stated                have access to a specific benefits                    that SSI supports children with
                                              that failure to include military veterans               scheme that Congress has designed for                 disabilities, and that a child who begins
                                              within this carve-out is arbitrary and                  them (and that is not designated in this              receiving SSI is less likely to fall below
                                              capricious. The commenter stated that                   rule). Further, in light of that unique               the poverty line. The commenters stated
                                              once an individual leaves active or                     salary and benefit scheme created by                  that the inclusion of SSI in the public
                                              reserve duty, upon the completion of his                Congress for active service members and               charge rule threatens the health, safety,
                                              or her enlistment, is honorably                         their families, DHS disagrees with the                and well-being of the children and
                                                                                                      commenter that it lacks authority to                  families that receive it. One commenter
                                              discharged, and takes up a private job at
                                                                                                      exempt use of the designated public                   stated that SSI benefits represented 1.4
                                              Supplemental Allowance Program within the               benefits for such individuals and                     percent of the Federal Budget in FY
                                              United States, Puerto Rico, the U.S. Virgin Islands,    families from the definition of public                2012, and there is no reason to believe
                                              and Guam; SNAP reliance may have increased              charge. Rather, DHS has determined that               that the complete data recited in the
                                              somewhat following termination of the program.                                                                ‘‘one analysis’’ relied on by the DHS for
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                                                                                                      it would be unreasonable, and contrary
                                              See Public Law 114–92, div. A, section 602, 129
                                              Stat. 726, 836 (Nov. 25, 2015); Military Comp. &
                                                                                                      to congressional intent, to include use of            2017 would be any different. The
                                              Ret. Modernization Comm’n, Final Report 187 (Jan.       public benefits by such individuals                   commenter stated that SSI was 0.33
                                              2015) (‘‘The [Family Subsistence Supplemental           within the definition, where doing so                 percent of GDP in the years 2011 to
                                              Allowance Program] should be sunset in the United       could undermine the careful salary and                2012, and expected to decline to 0.23
                                              States, Puerto Rico, Guam, and other U.S. territories
                                              where SNAP or similar programs exist, thereby
                                                                                                      benefits structure established by                     percent in 2037. Further, the commenter
                                              reducing the administrative costs of a duplicative      Congress and negatively affect                        said 86 percent of SSI benefits are paid
                                              program.’’).                                            recruitment and readiness.                            to the disabled, concluding that it is


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                                              irrational to exclude individuals with                  (under 25 percent of all poor families                   definition of public benefit for purposes
                                              disabilities by claiming that they are                  with children) and the rule would                        of this rule.
                                              likely to become a public charge. In                    further restrict access. The commenter                     Comment: One commenter stated that
                                              contrast, other commenters asserted that                also indicated that the rule fails to                    TANF ‘‘child-only’’ grants should be
                                              only U.S. citizens should receive SSI.                  recognize that States are increasingly                   exempted from the proposed rule as
                                                 Response: DHS appreciates the                        choosing to provide TANF to working                      they support the needs of children
                                              comments, however, DHS has                              families who earn too much to qualify                    raised by extended relatives without
                                              determined that it will consider SSI as                 for the basic cash assistance programs                   parents. The commenter indicated that
                                              described in the rule. DHS notes that                   and that research has shown that such                    unlike TANF family grants, ‘‘child-
                                              this decision is consistent with the 1999               policies, which ‘‘make work pay,’’                       only’’ grants are based solely on the
                                              Interim Field Guidance, and that, as                    improve employment outcomes because                      income of the child and are only to meet
                                              discussed in the NPRM, SSI represents                   they serve as an effective incentive for                 their needs whether outside or inside
                                              one of the largest Federal expenditures                 families to find and keep jobs.                          the foster care system. The commenter
                                              for low-income people.420 As provided                                                                            stated that many children living with
                                                                                                         Response: DHS appreciates the
                                              in the NPRM, SSI was included as                                                                                 relatives in foster care are only offered
                                                                                                      comments; however, DHS has
                                              public benefit because it provides                                                                               TANF child-only support, since many
                                                                                                      determined that considering TANF in
                                              monthly income payments for people                                                                               states do not routinely license relatives
                                                                                                      the rule, consistent with the 1999
                                              with limited resources, is financed                                                                              and the children are consequently
                                                                                                      Interim Field Guidance, is important in
                                              through general revenues, and has high                                                                           ineligible for foster care maintenance
                                                                                                      ensuring that aliens are self-sufficient
                                              expenditures.421 DHS has determined                                                                              payments.
                                                                                                      and rely on their own capabilities and                     Response: DHS appreciates the
                                              that considering SSI in the rule,
                                                                                                      the resources of their families, their                   comments, but notes the ‘‘child-only
                                              consistent with the 1999 Interim Field
                                              Guidance, is important in ensuring that                 sponsors, and private organizations. As                  grants’’ are based solely on the needs of
                                              aliens are self-sufficient and rely on                  provided in the NPRM, TANF was                           the child (i.e., does not take the adults’
                                              their own capabilities and the resources                included as public benefit because it                    needs into account when calculating the
                                              of their families, their sponsors, and                  provides monthly income payments for                     assistance benefit)’ as opposed to the
                                              private organizations.                                  low-income families and is intended to                   income of the child.424 TANF cash
                                                                                                      foster self-sufficiency, economic                        assistance provided to a child is
                                              c. Temporary Assistance for Needy                       stability for families with children and                 considered a public benefit under this
                                              Families                                                has high expenditures.422                                rule. States may fund a variety of child
                                                 Comment: Several commenters                             Comment: Some commenters added                        welfare activities using TANF funds,
                                              opposed the inclusion of TANF in the                    that TANF helps families enroll their                    including services for family
                                              rule. One commenter stated that TANF                    children in childcare, which is a lifeline               reunification, parenting education, in-
                                              helps families achieve self-sufficiency                 for working families. A commenter                        home family services, and crisis
                                              through support that allows parents to                  explained that, while the Child Care and                 intervention.425 TANF is only
                                              send their children to high-quality child               Development Fund (CCDF) is the                           considered in the public charge
                                              care programs, and that including                       primary source of public funding for                     inadmissibility determination if it is in
                                              consideration of TANF could therefore                   child care, a state may transfer up to 30                the form of cash assistance for income
                                              harm families. Some commenters stated                   percent of its TANF funds to CCDF, or                    maintenance. Again, non-cash TANF
                                              that TANF is the only source of Federal                 directly allocate its TANF funds, to                     funded services are not included in the
                                              cash assistance for families with                       provide child care subsidies to families                 rule. States may transfer TANF funding
                                              children, and that research shows that                  in need. The commenter went on to                        to other benefits including childcare,
                                              children make up about 77 percent of                    provide statistics on the number of                      which is not being considered in the
                                              recipients. The commenters went on to                   children in child-care and discussed the                 rule. However, as previously discussed,
                                              state that families use cash assistance to              child-care support that TANF provides                    there is no public charge exemption for
                                              aid in achieving economic security and                  for working families. The commenter                      children, therefore, any cash benefit
                                              working towards upward mobility, and                    also provided data on the number of                      receipt, including TANF, by a child
                                              that the inclusion of TANF in the                       children in childcare and that one in six                generally would still be considered as a
                                              proposed rule will be detrimental to                    children eligible for CCDF services gain                 public benefit in public charge
                                              children during their developmental                     access to quality care.                                  inadmissibility determination.
                                              years. The commenters stated that                          Response: States may transfer TANF
                                              families who disenroll from TANF                                                                                 d. State, Local and Tribal Cash
                                                                                                      funding to other benefits including                      Assistance
                                              would lose their eligibility to receive                 childcare, but this not considered cash
                                              free school meals, which would result                   TANF.423 As only the ‘‘cash assistance                     Comment: A commenter provided
                                              in hungry children, homeless and                                                                                 information on various Washington
                                                                                                      for income maintenance’’ portion of
                                              precariously housed families, sicker                                                                             State programs designed to provide
                                                                                                      TANF is considered in the public charge
                                              adults and children, and reduced access                                                                          individuals and families with the
                                                                                                      inadmissibility determination, direct
                                              to behavioral health services. Another                                                                           resources and support. The commenter
                                                                                                      TANF spending on child care and
                                              commenter indicated that while the
                                                                                                      transfers to CCDF are excluded from the
                                              majority of TANF recipients are                                                                                     424 See U.S. Department of Health and Human

                                              children, there is a current decrease in                                                                         Services, Temporary Assistance For Needy
                                                                                                        422 See Inadmissibility on Public Charge Grounds,      Families, 12th Report to Congress Fiscal Years 2014
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                                              children receiving cash assistance                      83 FR 51114, 51166 (proposed Oct. 10, 2018).             and 2015, available at https://www.acf.hhs.gov/
                                                                                                        423 See PRWORA, Public Law 104–193 (Aug. 22,           sites/default/files/ofa/12th_annual_tanf_report_to_
                                                 420 See Gene Falk et al., Cong. Research Serv.,                                                               congress_final.pdf (last visited July 23, 2019).
                                                                                                      1996). See HHS, Office of Family Assistance, 2014
                                              R45097, Federal Spending on Benefits and Services       Child Care Reauthorization and Opportunities for            425 HHS, Child Welfare Information Gateway,
                                              for People with Low Income: In Brief (2018),            TANF and CCDF (Feb. 19, 2016), available at              Temporary assistance for Needy Families (TANF),
                                              available at https://fas.org/sgp/crs/misc/R45097.pdf    https://www.acf.hhs.gov/ofa/resource/tanf-acf-im-        available at https://www.childwelfare.gov/topics/
                                              (last visited July 26, 2019).                           2016-02-2014-child-care-reauthorization-and-             management/funding/program-areas/prevention/
                                                 421 See Inadmissibility on Public Charge Grounds,    opportunities-for-tanf-and-ccdf (last visited July 26,   federal/nondedicated/tanf (last visited July 26,
                                              83 FR 51114, 51166 (proposed Oct. 10, 2018).            2019).                                                   2019).



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                                              stated that in the FY 2017,                             particularly at school. The commenters                school nutrition programs, and would
                                              approximately one in four Washington                    explained that some benefits received at              not stop the child and school from
                                              residents needed cash, food, child                      school (e.g., free school meals) are                  accessing these programs through
                                              support, child care, and other services                 linked to enrollment in SNAP benefits                 existing enrollment processes other than
                                              and that each day, more than two                        and could be impacted. A commenter                    direct certification. This rule would not
                                              million individuals receive the support                 stated that the proposed rule is                      prevent a child from applying for or
                                              and resources they need from the state                  inhumane, affecting families’ ability to              receiving any school related nutrition
                                              to transform their lives. The commenter                 access SNAP to get the adequate food                  program.
                                              stated that Washington invests general                  and nutrition they need. The commenter                   Comment: A couple of commenters
                                              state funds to assist individuals and                   stated that hunger and malnutrition                   said the rule would violate the
                                              families who are ineligible for Federal                 affects a person’s ability to focus,                  prohibition in Section 8(b) of the Food
                                              programs to include lawfully present                    function, and fight off disease and that              and Nutrition Act from considering
                                              non-citizens who fail to meet federal                   hunger is already a serious problem in                SNAP benefits as income or resources.
                                              eligibility qualifications established in               the United States. The commenter stated               For example, commenters stated that the
                                              the PRWORA. The commenter                               that aiding the hunger epidemic through               inclusion of SNAP is inconsistent with
                                              described the following programs: State                 the consideration of SNAP is against the              the SNAP statute that states that ‘‘the
                                              Family Assistance; Food Assistance                      public interest and the progression of                value of benefits that may be provided
                                              Program for Legal Immigrants; Aged,                     our society. A commenter said the                     under this chapter shall not be
                                              Blind, or Disabled Cash Assistance;                     onerous restrictions initially placed on              considered income or resources for any
                                              Pregnant Women Assistance;                              immigrant participation in SNAP during                purpose under any Federal, State, or
                                              Consolidated Emergency Assistance                       the 1996 reforms were reversed at the                 local laws.’’ Commenters also stated that
                                              Program; Refugee Cash Assistance;                       next available opportunity—the 2002                   the inclusion of SNAP is inconsistent
                                              Housing and Essential Needs Referral;                   Farm Bill—which illuminates the sound                 with congressional intent to expand
                                              Diversion Cash Assistance; and State                    public policy of ensuring that every                  SNAP eligibility to immigrant children.
                                              Supplemental Payment. The commenter                     family living in the United States has                Similarly, a commenter stated that
                                              indicated that the rule would                           access to the resources necessary to feed             SNAP should be excluded from the
                                              undermine the success of these                          their children.426 A commenter stated                 public charge definition because the
                                              programs that involve cash or non-                      that only 40 percent of eligible citizen              legislative history of SNAP indicates
                                              monetized benefits and eligible                         children living in households with                    that SNAP was intended to be
                                              applicants may refuse to receive these                  immigrants received SNAP benefits after               supplemental in nature. The commenter
                                              benefits.                                               changes to immigration and welfare law                suggested that it would be unreasonable
                                                 Response: DHS appreciates the                        in the 1990s.                                         to consider receipt of a supplemental
                                              comments; however, DHS has                                 Response: DHS appreciates the                      benefit to be sufficient to render a
                                              determined that considering state cash                  comments and recognizes the                           person a public charge. Discussing the
                                              assistance in the rule, consistent with                 importance of SNAP. DHS also                          legislative history surrounding the past
                                              the 1999 Interim Field Guidance, is                     acknowledges that some people may                     four Farm Bills, a commenter stated that
                                              important in ensuring that aliens are                   choose to disenroll from SNAP.                        SNAP enjoys bipartisan support and
                                              self-sufficient and rely on their own                   However, this rule does not change the                Congress has rejected efforts to reduce
                                              capabilities and the resources of their                 eligibility requirements of SNAP and                  its reach. The commenter stated that the
                                              families, their sponsors, and private                   does not prohibit individuals from                    proposed rule would reduce benefits for
                                              organizations. The programs listed by                   receiving SNAP. In addition, this rule                low-income children of immigrant
                                              the commenter that provide cash                         does not include school lunch or                      parents and that this was inconsistent
                                              assistance would be considered public                   breakfast programs in the definition of               with congressional intent. A commenter
                                              benefits in the public charge                           public benefit. Further, the expansion of             said the onerous restrictions initially
                                              inadmissibility determination even if                   SNAP provisions for children under 18                 placed on immigrant participation in
                                              the funding is provided by the state                    established by the 2002 Farm Bill,427 is              SNAP during the 1996 reforms were
                                              unless they are provided to individuals                 only applicable to the five-year waiting              reversed at the next available
                                              not subject to public charge such as                    period; therefore children who become                 opportunity—the Farm Security and
                                              Refugee Cash Assistance or are not for                  lawful permeant residents do not need                 Rural Investment Act of 2002 (the 2002
                                              general income maintenance (e.g., if                    to wait five years before being eligible              Farm Bill)—which illuminates the
                                              they are not means-tested or if they are                for SNAP.428 However, DHS will                        sound public policy of ensuring that
                                              provided for some specific purpose that                 consider SNAP as part of the public                   every family living in the United States
                                              is not for food and nutrition, housing, or              charge inadmissibility determination.                 has access to the resources necessary to
                                              healthcare). For example, LIHEAP (Low                   DHS has determined that considering                   feed their children.
                                              Income Home Energy Assistance                           SNAP is important in ensuring that                       Response: DHS disagrees that the rule
                                              Program) and emergency disaster relief                  aliens are self-sufficient and rely on                is contrary to congressional intent. The
                                              would not be considered as a public                     their own capabilities and the resources              fact that Congress has expanded which
                                              benefit in the public charge                            of their families, their sponsors, and                aliens can receive certain public
                                              inadmissibility determination even                      private organizations. DHS believes that              benefits does not indicate a
                                              though they may be considered as a                      even though children and schools may                  congressional intent that those benefits
                                              cash or cash equivalent benefits.                       no longer benefit from direct                         should not be considered in
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                                                                                                      certification for school nutrition                    determining public charge. The rule
                                              e. Supplemental Nutrition Assistance                                                                          abides by the statutory requirement as
                                              Program                                                 programs, a child’s disenrollment from
                                                                                                      SNAP due to this rule would likely have               provided in section 212(a)(4) of the Act,
                                                 Comment: Many commenters stated                      no effect on the child’s eligibility for              8 U.S.C. 1182(a)(4), and is consistent
                                              that the rule’s inclusion of public                                                                           with congressional policy statements
                                              benefits such as SNAP affects other                       427 See Public Law 107–171, section 4401, 116       relating to self-sufficiency in 8 U.S.C.
                                              public benefits including children’s                    Stat. 134, 333 (May 13, 2002).                        1601. In these policy statements,
                                              ability to access other needed benefits,                  428 See 8 U.S.C. 1612(a)(2)(J).                     Congress confirmed that the


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                                              immigration policy continues to be that,                     Comment: Several commenters said                  longstanding Federal commitment to
                                              ‘‘aliens within the Nation’s borders not                  that this rule conflicts with USDA’s                 helping those who struggle to have
                                              depend on public resources to meet                        1999 input as part of the 1999 proposed              enough healthy food. Commenters
                                              their needs, but rather rely on their own                 rule,435 which advised that special                  stated that the proposed rule is
                                              capabilities and the resources of their                   nutrition programs should not be                     inconsistent with clear congressional
                                              families, their sponsors, and private                     considered in public charge analysis. A              intent regarding eligibility for means-
                                              organizations.’’ 429                                      commenter cited to the 1999 Interim                  tested programs because it undermines
                                                 Further, DHS disagrees that the                        Field Guidance, and stated that                      those very rules set by Congress in law.
                                              inclusion of SNAP as one of the                           historically, the receipt of SNAP                    One commenter stated that ‘‘Congress
                                              designated public benefits violates the                   benefits (or the typical use of Medicaid)            has made explicit choices to expand
                                              Food and Nutrition Act of 2008. While                     does not indicate that an immigrant is               eligibility (or permit states to do so),’’
                                              Federal law allows certain qualified                      or is likely to become primarily                     and increase immigrant access to
                                              alien children under 18 to receive SNAP                   dependent on the Government for                      programs like SNAP, CHIP and
                                              benefits,430 this rule does not prohibit                  subsistence. The commenter stated that               Medicaid, and therefore, ‘‘[t]he
                                              anyone from receiving a benefit for                       to qualify for benefits, a SNAP                      administration must defer to
                                              which they qualify. However, Congress                     household’s income generally must be                 [c]ongressional intent on this issue.’’
                                              did not prohibit the consideration of                     at or below 130 percent of FPG, the                     Response: DHS does not agree that the
                                              public benefits as part of any of the                     household’s net monthly income (after                inclusion of SNAP as a public benefit
                                              factors to be considered in the public                    deductions for expenses like housing                 considered in the public charge
                                              charge inadmissibility determination.                     and childcare) must be less than or                  inadmissibility determination is
                                              DHS believes the use of certain benefits                  equal to 100 percent of the FPG, and its             inconsistent with congressional intent.
                                              is appropriate to consider in                             assets must fall below limits identified             The rule intends to abide by the
                                              determining public charge                                 in Federal regulations. The commenter                statutory requirement as provided in
                                              inadmissibility. To implement Congress’                   further stated that the average monthly              section 212(a)(4) of the Act, 8 U.S.C.
                                              requirement to administer the public                      benefit per household is $253, and the               1182(a)(4), and consistent with
                                              charge ground of inadmissibility, DHS                     average monthly benefit per person is                congressional statements relating to self-
                                              inevitably must consider benefits which                   $125 per month, or $1.40 per meal.                   sufficiency in 8 U.S.C. 1601:
                                              individuals are eligible to receive, as did                  Response: As indicated in the                     Specifically, that, ‘‘aliens within the
                                              the 1999 Interim Field Guidance. DHS                      proposed rule, DHS determined that                   Nation’s borders not depend on public
                                              believes the rule strikes an appropriate                  receipt of SNAP is relevant to the                   resources to meet their needs, but rather
                                              balance as to which benefits are                          determination of whether or not the                  rely on their own capabilities and the
                                              considered.                                               alien is self-sufficient, and therefore not          resources of their families, their
                                                 Further, DHS disagrees that the rule                   likely to become a public charge. The                sponsors, and private organizations.’’ 437
                                              violates the restrictions in section 8(b)                 1999 proposed rule, and the associated               As discussed in the NPRM, benefits
                                              of the Food and Nutrition Act, 7 U.S.C.                   letters, related to a proposed definition            directed toward food and nutrition,
                                              2017(b). That section provides that the                   of public charge that this rule would                housing, and healthcare are directly
                                              value of SNAP benefits ‘‘shall not be                     change. Furthermore, while INS                       relevant to public charge inadmissibility
                                              considered income or resources for any                    consulted with the relevant public                   determinations, because a person who
                                              purpose under any Federal, State, or                      benefit granting agencies in 1999, DHS               needs the public’s assistance to provide
                                                                                                        was not bound by those agencies’                     for these basic necessities is not self-
                                              local laws.’’ 431 The rule does not
                                                                                                        recommendations, but adopted them                    sufficient.438 In addition, these benefits
                                              consider SNAP as income or resources.
                                                                                                        based on its interpretation of the term              account for significant Federal
                                              The rule explicitly excludes the value of
                                                                                                        public charge, as well as certain public             expenditure on low-income individuals
                                              public benefits including SNAP from
                                                                                                        policy objectives articulated in that rule.          and bear directly on self-sufficiency, as
                                              the evidence of income to be
                                                                                                        DHS believes including the program is                discussed in the NPRM.439
                                              considered.432 Likewise, the                                                                                     Comment: A commenter stated that
                                              consideration of the assets is limited to                 consistent with Congress’ intention that
                                                                                                        aliens should be self-sufficient.436 DHS             the proposed rule’s characterization of
                                              cash assets and resources and other                                                                            individuals receiving SNAP benefits
                                              assets and resources that can be                          recognizes that some public benefits
                                                                                                                                                             even for modest periods of time as a
                                              converted into cash within 12                             have higher income thresholds than the
                                                                                                                                                             public charge is inconsistent with
                                              months.433 Assets and resources do not                    income thresholds that this rule
                                                                                                                                                             extensive research showing that SNAP
                                              include SNAP benefits, which are not                      identifies as most relevant to the totality
                                                                                                                                                             provides supplemental assistance to a
                                              cash, and selling SNAP benefits is                        of the circumstances determination.
                                                                                                                                                             large number of workers, both while
                                              illegal.434                                               However, the general income threshold
                                                                                                                                                             they are employed in low-paying jobs
                                                                                                        of 125 percent of the FPG in the public
                                                                                                                                                             and during brief periods of
                                                 429 See Personal Responsibility and Work               charge totality of the circumstances
                                                                                                                                                             unemployment. The commenter stated
                                              Opportunity Reconciliation Act of 1996, Public Law        determination is just one factor; DHS
                                              104–193, section 400, 110 Stat. 2105, 2260 (Aug. 22,                                                           that most non-disabled adults who
                                                                                                        will not exclude consideration of any
                                              1996) (codified at 8 U.S.C. 1601(2)).                                                                          participate in SNAP, including eligible
                                                                                                        benefit that does not match that
                                                 430 See 8 U.S.C. 1612(a)(2)(J).
                                                                                                                                                             immigrants, work in a typical month or
                                                 431 Congress has also exempted children under 18       threshold.                                           within a year of that month.
                                              from sponsor deeming requirements for purposes of            Comment: One commenter noted that
                                                                                                                                                             Specifically, the commenter asserted
                                              SNAP receipt, 7 U.S.C. 2014(i)(2)(E), but this            the rule is inconsistent with SNAP
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                                              provision does not affect the core reimbursement                                                               that over half of the individuals who
                                                                                                        eligibility. Commenters stated that the
                                              obligation. In the latter respect, this provision is
                                              materially different than the CHIPRA provision            proposed rule undermines                               437 See Public Law 104–193, section 400, 110 Stat.
                                              regarding Medicaid for children under 21 and              congressional intent and the                         2105, 2260 (Aug. 22, 1996) (codified at 8 U.S.C.
                                              pregnant women, discussed above.                                                                               1601(2)).
                                                 432 See 8 CFR 212.22(b)(4)(ii)(A) & (C) (‘‘excluding     435 See Inadmissibility and Deportability on         438 See Inadmissibility on Public Charge Grounds,
                                              any income from public benefits’’).                       Public Charge Grounds, 64 FR 28,676, 28,688          83 FR 51114, 51159 (proposed Oct. 10, 2018).
                                                 433 See 8 CFR 212.22(b)(4)(ii)(D) & (E).               (proposed May 26, 1999).                               439 See Inadmissibility on Public Charge Grounds,
                                                 434 See 7 U.S.C. 2024(b).                                436 See 8 U.S.C. 1601(1).                          83 FR 51114, 51166 (proposed Oct. 10, 2018).



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                                              were participating in SNAP in a typical                 necessities, and promote self-                         considered in the public charge
                                              month in mid-2012 were working in                       sufficiency. Commenters also provided                  inadmissibility determination.
                                              that month, and 74 percent worked in                    information and data on the benefit of                    Comment: A commenter stated that
                                              the year before or after that month.                    the programs. Many of these                            receipt of a housing subsidy does not on
                                              Similarly, many other commenters                        commenters stated that housing is a                    its own accurately measure self-
                                              stated that the large majority of SNAP                  basic necessity and is or should be a                  sufficiency, citing that 34 percent of
                                              recipients who can work do work.                        human right. Several commenters                        assisted households are working and
                                                Response: DHS recognizes that people                  discussed the administrative burden                    contributing to their housing costs. The
                                              who are working may also lack self-                     and costs the potential rule will have on              commenter also stated that housing
                                              sufficiency. The person’s employment                    housing providers, including local rule                programs do not constitute an incentive
                                              does not negate that the person is                      makers, housing agencies, and private                  for immigration. The average number of
                                              receiving the public benefit and the                    landlords who administer public                        months a household spends on an
                                              employment is not reimbursing the                       vouchers, such as the dissemination of                 agency waiting list before being
                                              public benefit-granting agency for the                  information to tenants and providing                   admitted to the public housing or
                                              cost of the public benefit. Under this                  them with evidentiary information.                     housing choice voucher program is 18
                                              rule, DHS would not treat past receipt                  Other commenters raised concerns that                  and 32, respectively. A commenter also
                                              of SNAP—or any other benefit—as                         DHS did not sufficiently address the                   stated that rental assistance is best
                                              outcome-dispositive. Instead, will assess               potential costs to the housing market,                 understood as a supplemental benefit
                                              such past receipt in the totality of the                including the inundation of homeless                   that reduces housing costs for low-
                                              circumstances, to determine whether                     shelters, and the loss of Government                   income households but does not
                                              the alien is likely to become a public                  funds going to the private market. A                   provide support for all of an
                                              charge in the future.                                   commenter raised concerns that the rule                individual’s basic needs, instead
                                                                                                      will divert funds from direct housing                  recipients are generally required to
                                              CalFresh
                                                                                                      and resident services to help U.S.                     provide housing costs up to 30 percent
                                                 Comment: A commenter stated that                                                                            of their income. A commenter stated
                                                                                                      Department of Housing and Urban
                                              one in ten Californians receive nutrition                                                                      that a small share of individuals and
                                                                                                      Development (HUD) residents
                                              assistance through CalFresh, which is                                                                          households eligible for housing
                                                                                                      understand the new rule.
                                              California’s SNAP program. The                                                                                 assistance actually receive it because of
                                                                                                         Response: DHS appreciates the
                                              commenter stated that CalFresh is                                                                              local housing conditions, wait list sizes,
                                                                                                      comments and recognizes the
                                              California’s food stamp program and                                                                            and preferences, DHS will not be able to
                                                                                                      importance of housing programs. DHS
                                              increases the food buying power in low                                                                         predict that someone seeking status
                                                                                                      has determined that considering
                                              income households. The commenter                                                                               adjustment or lawful entry is likely to
                                                                                                      housing programs, such as Section 8
                                              stated that if this proposed rule is                                                                           receive housing benefits.
                                                                                                      Vouchers, Section 8 Rental Assistance
                                              enacted, school districts will see more                                                                           Response: DHS understands that there
                                                                                                      and public housing, in the rule is
                                              children coming to school hungry                                                                               are many conditions that may affect
                                                                                                      important in ensuring that aliens are
                                              because noncitizen families, regardless                                                                        whether a person ultimately receives
                                                                                                      self-sufficient and rely on their own
                                              of whether the rule would affect their                                                                         public housing. As previously
                                                                                                      capabilities and the resources of their
                                              situation, will be afraid to apply for food                                                                    indicated, DHS has determined that
                                                                                                      families, their sponsors, and private
                                              stamps, either by deciding not to enroll,                                                                      considering housing programs, such as
                                                                                                      organizations. These programs have
                                              or by disenrolling current recipients.                                                                         Section 8 Vouchers, Section 8 Rental
                                                 Response: As CalFresh is the                         high expenditure and relate to the basic
                                                                                                                                                             Assistance, and public housing, in the
                                              Federally-funded SNAP program under                     living need of housing, and therefore the
                                                                                                                                                             rule is important in ensuring that aliens
                                              the State of California, it would be                    receipt of such housing related public                 are self-sufficient and rely on their own
                                              considered as a public benefit under                    benefit suggests a lack of self-                       capabilities and the resources of their
                                              this rule. As discussed with respect to                 sufficiency.440 DHS will therefore                     families, their sponsors, and private
                                              SNAP generally, CalFresh is relevant to                 consider the housing programs listed in                organizations. As previously indicated,
                                              the determination of whether or not the                 the rule in the public charge                          the past receipt of one public benefit
                                              alien is self-sufficient, and therefore not             inadmissibility determination. The rule                will not on its own make a person
                                              likely to become a public charge. DHS                   intends to abide by the statutory                      inadmissible based on public charge
                                              understands that some people may                        requirement as provided in section                     grounds. Instead, DHS would review all
                                              disenroll from SNAP/CalFresh and                        212(a)(4) of the Act, 8 U.S.C. 1182(a)(4),             the factors in the totality of the
                                              other SNAP funded State benefits.                       and be consistent with congressional                   circumstances.
                                              However, this rule does not change the                  statements relating to self-sufficiency in                Comment: Some commenters stated
                                              eligibility requirements for these                      8 U.S.C. 1601. As Congress indicated,                  that, by including housing programs, the
                                              benefits and DHS believes that the                      the immigration policies continue to be                rule directly contradicts the mission of
                                              inclusion of State SNAP benefits is                     that, ‘‘aliens within the Nation’s borders             public housing as public housing
                                              consistent with congressional                           not depend on public resources to meet                 programs are meant to serve families
                                              statements relating to self-sufficiency in              their needs, but rather rely on their own              and provide for housing.
                                              8 U.S.C. 1601.                                          capabilities and the resources of their                   Response: DHS appreciates that the
                                                                                                      families, their sponsors, and private                  mission of public housing is to provide
                                              f. Housing                                              organizations.’’ 441 However, housing                  low-income affordable housing to
                                                 Comment: Commenters opposed                          programs that provide mortgage
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                                                                                                                                                             families. DHS also has a mission to
                                              including project-based Section 8                       assistance or credits will not be                      abide by congressional mandates to
                                              housing in the definition of public                                                                            review the inadmissibility of all aliens
                                              charge, because the vouchers can help                     440 See Inadmissibility on Public Charge Grounds,
                                                                                                                                                             including based on public charge and
                                              ease the burden of rent in high-cost                    83 FR 51114, 51167 (proposed Oct. 10, 2018).
                                                                                                        441 See Personal Responsibility and Work
                                                                                                                                                             congressional statements relating to self-
                                              cities, help alleviate homelessness,                    Opportunity Reconciliation Act of 1996, Public Law     sufficiency in 8 U.S.C. 1601.
                                              promote economic stability, allow the                   104–193, section 400, 110 Stat. 2105, 2260 (Aug. 22,      Comment: A commenter stated that
                                              flexibility for families to pay for other               1996) (codified at 8 U.S.C. 1601(2)).                  the rule would waste affordable housing


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                                              resources, including subsidized rental                  receiving rental assistance are                         Comment: A few commenters asked
                                              housing programs such as Low-Income                     employed, arguing that they are                       whether homeownership programs are
                                              Housing Tax Credit (LIHTC) housing,                     therefore self-sufficient.                            included under the rule.
                                              Section 515 rural housing, and Section                     Response: DHS appreciates the                        Response: The rule does not consider
                                              514/516 farm labor housing, leading to                  comment and recognizes that the                       homeownership programs, such as the
                                              especially severe, negative impacts in                  availability of public benefits for aliens            Housing Choice Voucher
                                              rural California, and the commenter                     is limited. The purpose of the public                 Homeownership program,444 in the
                                              stated that the rule would further                      charge rule is, however, to ensure that               public charge inadmissibility
                                              destabilize the farmworker population                   those seeking admission to or                         determination. DHS will only consider
                                              in our agricultural regions. The                        adjustment of status in the United States             public housing benefits as listed in the
                                              commenter indicated that from 1964 to                   do not become public charges by using                 rule.
                                              2004, Section 514 and 516 housing                       the public benefits in the future. The                  Comment: A commenter requested
                                              programs managed by USDA financed                       public charge inadmissibility                         that DHS add benefits received pursuant
                                              nearly 35,000 homes for farmworkers                     determination is correspondingly one of               to Project Rental Assistance Contracts
                                              and rehabilitated thousands more and                    an alien’s likelihood of becoming a                   (PRAC), USDA rental assistance
                                              that that in the period that followed,                  public charge through receipt of benefits             projects, or all HUD benefits to the
                                              farmworker housing development                          in the future even if the person is                   public benefits definition.
                                              continued to be backed by annual                        employed. Further, as previously                        Response: DHS appreciates the
                                              Federal appropriations in the tens of                   indicated, DHS recognizes that people                 comment, however, DHS will not
                                              millions of dollars. The commenter                      receiving public benefit may                          include additional housing programs.
                                              stated that housing programs have had                   nonetheless be working, but as they are               The programs listed by the commenters
                                              varying eligibility requirements that                   receiving public benefits, such aliens                have low expenditures.445
                                              have allowed individuals with a variety                                                                         In addition, DHS has removed
                                                                                                      are not self-sufficient. Therefore, DHS
                                              of immigration statuses and mixed-                                                                            references to 42 U.S.C. 1437u, the
                                                                                                      will continue to consider the public
                                              status families to secure stable,                                                                             Family Self-sufficiency program, and 24
                                                                                                      benefits as listed in the rule.
                                              affordable housing; and the rule would                                                                        CFR part 402 Section 8 Project-Based
                                                                                                         Comment: A commenter stated that
                                              therefore lead to significant dislocation                                                                     Contract Renewal, which is a program
                                                                                                      DHS should specify in its rule that
                                              of immigrant families, away from                                                                              associated with housing but is not itself
                                                                                                      individuals in mixed-status families                  a housing program.
                                              housing that was built precisely for their              who are not recipients of Federal
                                              use.                                                                                                            Comment: A commenter associated
                                                                                                      financial housing assistance do not                   with the City of Los Angeles reported
                                                 Response: This rule does not include                 receive a public benefit for public
                                              LIHTC housing, Section 515 rural                                                                              that the beneficiaries of many city
                                                                                                      charge determination purposes.                        housing programs and policies will be
                                              housing, and Section 514/516 farm labor                    Response: DHS will not consider a
                                              housing as public benefits. Further,                                                                          directly negatively impacted by the
                                                                                                      person who lives in any one of the listed             proposed public charge rule. The
                                              although the rule may affect whether                    housing programs as receiving public
                                              individuals apply for housing, the rules                benefits unless the public benefit-                      444 See 24 CFR part 982, subpart M, 24 CFR
                                              does not change the eligibility                         granting agency actually designated the               982.625–982.643. See also HUD.gov,
                                              requirements for any public benefit.                    benefit for the applicant as a                        Homeownership Vouchers, available at https://
                                              DHS also notes that under 20 CFR                        beneficiary, such as in a contract, lease,            www.hud.gov/program_offices/public_indian_
                                              655.122(d)(1), the employer must                                                                              housing/programs/hcv/homeownership (last visited
                                                                                                      or other documentation.                               April 19, 2019).
                                              provide housing at no cost to the H–2A
                                                                                                         Comment: A commenter stated that                      445 For example, Supportive Housing for the
                                              workers (temporary workers performing
                                                                                                      including housing to the public charge                Elderly, the 2019 Request for Outlays is
                                              agricultural services), and those workers                                                                     $659,000,000, see HUD, Housing, Housing For The
                                                                                                      determination will cause recipients of
                                              in corresponding employment who are                                                                           Elderly (Section 202), 2019 Summary Statement
                                                                                                      public housing to be treated differently              and Initiatives, available at https://www.hud.gov/
                                              not reasonably able to return to their
                                                                                                      due to their immigration status, in                   sites/dfiles/CFO/documents/25%20-
                                              residence within the same day. Further,                                                                       %20FY19CJ%20-%20HSNG%20-%20Housing%
                                                                                                      contradiction to the Fair Housing Act 442
                                              under 20 CFR 655.122(d)(4), if public                                                                         20for%20the%20Elderly%20%28Section%
                                                                                                      of 1968’s prohibition against
                                              housing provided for migrant                                                                                  20202%29%20-%20Updated.pdf (last visited May
                                                                                                      discrimination.                                       31, 2019); for Supportive Housing for Persons with
                                              agricultural workers under the auspices
                                              of a local, county, or State government                    Response: DHS does not believe that                Disabilities, the 2019 Request for Outlays is
                                                                                                      the rule is contrary to the                           $188,000,000, Housing, Housing For Persons With
                                              is secured by the employer, the                                                                               Disabilities (Section 811), 2019 Summary Statement
                                              employer must pay any charges                           antidiscrimination provisions of the Fair             and Initiatives, available at https://www.hud.gov/
                                              normally required for use of the public                 Housing Act.443 The antidiscrimination                sites/dfiles/CFO/documents/26%20-%
                                              housing units directly to the housing’s                 provisions prohibit discrimination on                 20FY19CJ%20-%20HSNG%20-%20Housing%
                                                                                                      grounds covered by the Fair Housing                   20for%20Persons%20with%
                                              management. DHS would not consider                                                                            20Disabilities%20%28Section%20811%29%20-
                                              such housing under the definition of                    Act by lenders, property sellers, and                 %20Updated.pdf (last visited May 31, 2019); for
                                              public benefit as the employer is                       others covered by that law. In contrast,              Housing for Persons With AIDS (HOPWA), the 2019
                                              required by regulation to pay for any                   this rule is applicable in the                        Request for Outlays is $353,448,000, see
                                                                                                      immigration context where an alien                    Community Planning And Development Housing
                                              associated costs.                                                                                             Opportunities For Persons With Aids 2019
                                                 Comment: A commenter said data                       must establish that he or she is                      Summary Statement And Initiatives, available at
                                              refuted the notion that immigrant                       admissible and is not inadmissible as                 https://www.hud.gov/sites/dfiles/CFO/documents/
                                                                                                      likely at any time in the future to                   17%20-%20FY19CJ%20-%20CPD%20-%
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                                              families rely disproportionately on all
                                                                                                      become a public charge under section                  20Housing%20Opportunities%20for
                                              forms of public assistance, citing a study                                                                    %20Persons%20with%
                                              indicating that just 4.2 percent of                     212(a)(4) of the Act, 8 U.S.C. 1182(a)(4).            20AIDS%20%28HOPWA%29.pdf (last visited May
                                              immigrant households with children                                                                            31, 2019); and for USDA Multi-Family Housing
                                                                                                        442 See 42 U.S.C. 3604.
                                              utilize housing assistance as compared                                                                        Rental Assistance, the 2019 appropriated funds is
                                                                                                        443 See Title VIII (Fair Housing Act, as amended)   $1,331,400,000, see FY 2019 Appropriated Funds,
                                              to 5.3 percent of U.S.-born households.                 of the Civil Rights Act of 1968, Public Law 90–284,   available at https://www.rd.usda.gov/newsroom/
                                              A couple of commenters cited research                   82 Stat. 73 (April 11, 1968) (codified in 42 U.S.C.   fy2019-appropriated-funding (last visited May 31,
                                              showing that most able-bodied adults                    3601–19).                                             2019).



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                                              commenter cited programs such as                          commenter indicated that many of the                  grounds. As explained in the NPRM,448
                                              permanent support housing, including                      funds used for lead abatement programs                the U.S. Government subsidizes health
                                              Section 8 Vouchers; Housing                               are HUD grant dollars, and to the extent              insurance, which pays for expenses
                                              Opportunities for Persons With HIV/                       that these payments are made available                associated with the institutionalization.
                                              AIDS; Domestic Violence Shelter                           based upon the income of the renter,                  The receipt of these benefits to provide
                                              Operations; and Family Source Center                      they could have an impact on the renter               for the cost of institutionalization
                                              services. The commenter indicated that                    from a public charge standpoint.                      indicates a lack of self-sufficiency in
                                              the rule will either dissuade immigrants                                                                        satisfying basic living needs of food and
                                                                                                           Response: DHS will not consider any
                                              who legally qualify for public assistance                                                                       nutrition, housing, and healthcare.
                                                                                                        subsidies or grants provided to test for
                                              from seeking the necessary services or                                                                          Additionally, institutions are residential
                                              lead to high level of disenrollment. The                  lead paint or to ameliorate homes with                facilities that assume the total care of
                                              commenter indicated that some program                     lead paint issues in the public charge                the basic living requirements of
                                              officials could not confidently offer                     determination. DHS will only consider                 individuals who are admitted, including
                                              aliens clear guidance on the                              those public housing programs                         room and board. However, DHS
                                              immigration consequences of accessing                     enumerated in 8 CFR 212.21(b). HUD’s                  understands that the language in the
                                              certain services. The commenter stated                    Lead-Based Paint and Lead Hazard                      NPRM could be interpreted as inclusive
                                              that the rulemaking would exacerbate                      Reduction Demonstration Grant                         of other public benefits not listed in the
                                              homelessness and has already led to a                     Programs are regulated under 24 CFR                   rule, such as Social Security retirement
                                              ‘‘chilling effect.’’ The commenter also                   part 35, and do not fall under the list of            benefits or Medicare. Therefore, DHS
                                              stated that the proposed rule was                         enumerated benefits. Therefore,                       has removed the reference to long-term
                                              inconsistent with the commenter’s                         subsidies or grants for lead abatement                institutionalization within the
                                              commitment to ensure fair housing for                     programs are not considered a public                  definition of public benefit, as the long-
                                              its residents, and threatens its ability to               benefit for purpose of the public charge              term institutionalization benefits that
                                              enforce housing rights for local                          inadmissibility determination.                        DHS has in the past considered, and
                                              residents. The commenter stated that                                                                            intends to consider under this rule, are
                                              such commitment includes a                                g. Institutionalization                               already part of the public benefit
                                              requirement by HUD to certify that it                        Comment: A commenter asked that                    definition, i.e., TANF, SSI, and
                                              would affirmatively further fair housing.                 institutionalization for long-term care be            Medicaid.
                                                 Response: The public charge rule does                  removed as a consideration in the                        Further, DHS disagrees that
                                              not prevent aliens from obtaining                                                                               continuing to consider
                                                                                                        public charge determination because the
                                              benefits they are legally entitled to                                                                           institutionalization for long-term care at
                                                                                                        country has made progress with
                                              under PRWORA. Given Congress’ strong                                                                            government expense indicates that the
                                                                                                        deinstitutionalization over the past
                                              interest in an immigrant’s self-                                                                                United States does not welcome people
                                              sufficiency 446 and based on the fact that                several administrations. The commenter                with disabilities. DHS reiterates that a
                                              Congress did not exempt the receipt of                    also stated that there is no evidence that            child or a person who is severely
                                              such benefits from consideration for                      people with significant disabilities are              disabled or who has a severe medical
                                              purposes of section 212(a)(4) of the Act,                 taking advantage of the Medicaid                      condition and who lives in a long-term
                                              8 U.S.C. 1182(a)(4),447 DHS will                          system. The commenter stated that the                 care facility at government expense
                                              consider public benefits as listed in the                 rule’s potential effects on individuals               would not be found inadmissible on the
                                              rule. DHS notes that other housing                        with disabilities created an implication              public charge ground solely on account
                                              programs not listed in the rule, such as                  that individuals with disabilities were               of the past institutionalization. Instead,
                                              Section 202 Supportive Housing for the                    not welcomed citizens of the United                   DHS will, in the totality of the
                                              Elderly, Section 811 Supporting                           States, and stated that this was an                   circumstances, take into account
                                              Housing for Person with Disabilities,                     ‘‘appalling message.’’ A commenter                    whether there are sufficient assets and
                                              Housing Opportunities for Persons With                    stated that despite deinstitutionalized               resources to provide for his or her future
                                              AIDS (HOPWA), USDA Multi-Family                           supports and services becoming more                   care in a privately-financed setting,
                                              Housing Rentals, and home loan and                        and more prevalent, most people with                  including resources provided by
                                              grant programs, will not be considered                    disabilities receiving any Medicaid                   guardians or relatives who may have the
                                              in the public charge inadmissibility                      supports must first prove that they are               ability to support the alien and provide
                                              determination.                                            at risk of institutionalization. The                  for the alien’s future care.
                                                 Comment: A commenter asked                             commenter stated that the requirement                    Comment: One commenter stated that
                                              whether the following benefits received                   to prove risk of institutionalization                 most of the population would
                                              as part of a lead paint abatement                         applies to virtually every individual                 eventually require long-term care in
                                              program would be considered public                        with an intellectual and/or                           nursing homes. A commenter stated that
                                              benefits for purposes of public charge;                   developmental disability in the United                including benefits provided for
                                              any stipend received as part of the                       States regardless of immigration status.              institutionalization is a virtually blanket
                                              program, including stipends or gift                       The commenter stated that inclusion of                conclusion that all immigrants are
                                              cards that are offered to encourage                       institutionalization in the public charge             ‘‘likely’’ to become public charges,
                                              families to get their children tested for                 rule would thus automatically cast a                  because a huge percentage of aging
                                              lead; the use of a city-operated lead safe                mark against a person with a disability               individuals in the United States will
                                              house to which families may move                          under the proposed rule.                              ultimately require some form of
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                                              during renovation of their home to                                                                              institutional care. The commenter cited
                                              remove lead; or receipt of HUD grant                         Response: DHS appreciates the
                                                                                                                                                              to data that, according to the
                                              funds used to pay a landlord of a rental                  comments. DHS does not believe that all
                                                                                                                                                              commenter, indicated nursing homes
                                              unit to rehabilitate a unit that has been                 individuals with an intellectual or
                                                                                                                                                              alone will ultimately care for 35 percent
                                              found to have poisoned a child. The                       developmental disability will
                                                                                                                                                              of the population. The commenter said
                                                                                                        necessarily be institutionalized, be
                                                446 As   expressed in 8 U.S.C. 1601.                    likely to be institutionalized, or be                   448 See Inadmissibility on Public Charge Grounds,
                                                447 See   INA section 212(a)(4), 8 U.S.C. 1182(a)(4).   inadmissible based on public charge                   83 FR 51114, 51171–72 (proposed Oct. 10, 2018).



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                                              considering these services as public                    benefits. Social Security retirement                  resident status, who are subject to the
                                              benefits would render all immigrants                    benefits, SSDI, Medicare and veteran’s                public charge ground of inadmissibility
                                              inadmissible. A commenter stated that                   benefits are considered earned benefits               or are nonimmigrants applying for an
                                              institutionalization cannot be predicted                in that individuals pay into the                      extension of stay or change of status, are
                                              and asked what would happen if an                       programs as part of their employment                  self-sufficient and do not rely on public
                                              alien previously deemed admissible                      and must work for a certain period of                 resources to meet their needs, but rather
                                              later became disabled, but documented                   time before being eligible. Therefore,                rely on their own capabilities and the
                                              that they will not need benefits at any                 DHS is removing the provision for                     resources of their families, sponsors,
                                              time in the future.                                     public benefits for long-term care at                 and private organizations.450 Further as
                                                 Response: DHS understands that                       government expense as a separate                      previously discussed, the public charge
                                              people may need long-term care with                     provision in the definition of public                 inadmissibility rule is not inconsistent
                                              age; however, DHS does not believe that                 benefits. Because the benefits                        with PRWORA, nor does it contravene
                                              everyone will need to be supported by                   considered for institutionalization                   or overrule PRWORA.451
                                              the Government. For example, an alien                   under the rule are already within the
                                              or his or her family may have sufficient                rest of the list in the public benefit                   As indicated in Table 10 of the
                                              assets or resources to ensure that the                  definition, DHS does not believe the                  NPRM,452 the total Federal expenditure
                                              alien has the necessary care, even in a                 additional provision is necessary and its             for the Medicaid program overall is by
                                              circumstance where the alien cannot                     deletion avoids confusion with other                  far larger than any other program for
                                              work or must be institutionalized. Or                   benefits that are not considered in the               low-income people.453 In addition, the
                                              the alien could have adequate insurance                 rule. Further, when a person is                       focus of this public charge rule is to
                                              to support institutionalization for long-               institutionalized and the person or a                 ensure self-sufficiency that covers the
                                              term care, whether through a private                    relative is paying for any cost associated            basic necessities of life, such as food
                                              insurer or through Medicare.                            with the institutionalization without the             and nutrition, housing, and
                                                 The public charge inadmissibility                    use of public benefits, DHS would not                 healthcare.454 Medicaid is a federal
                                              determination calls for a determination                 consider the institutionalization as a                benefits program that provides for a
                                              that it is more likely than not, in the                 public benefit being received. DHS                    person’s health insurance to cover the
                                              totality of the circumstances, that the                 notes that institutionalization would                 costs of healthcare, which, is a basic
                                              alien will become a public charge. For                  otherwise be generally be considered as               necessity of life that is directly relevant
                                              this reason, DHS would consider it                      part of the health factor as described in             to public charge.
                                              unreasonable to assume, for purposes of                 the rule.                                                However, DHS credits the many
                                              the public charge determination, that all                                                                     comments that DHS received regarding
                                                                                                      h. Medicaid
                                              individuals will eventually live in                                                                           the receipt of Medicaid and CHIP by
                                              nursing homes subsidized by the                           Comment: Many commenters stated                     children and pregnant women, as well
                                              government. USCIS will not deny a                       that Medicaid should not be considered                as the states that have expanded their
                                              person based on public charge solely                    in public charge determinations.                      Medicaid programs to allow access to
                                              because of a remote possibility that a                  Commenters stated that the rule                       such groups without a waiting period.
                                              person will need such care in advanced                  contradicts one of PRWORA’s main                      DHS has decided to exclude
                                              age. DHS also clarifies that the public                 policies, which extends Medicaid                      consideration of Medicaid received by
                                              charge inadmissibility determination                    benefits to immigrants, as well as other              all aliens under the age of 21. The age
                                              does not necessarily involve a review of                laws that allow certain children and
                                                                                                                                                            limit of 21 for exempting Medicaid
                                              whether the person has actually                         pregnant women to access Medicaid
                                                                                                                                                            receipt from consideration reflects
                                              received a public benefit after DHS has                 without a waiting period. One
                                                                                                                                                            Congressional intent to allow states to
                                              made its determination. DHS further                     commenter stated that DHS should
                                                                                                                                                            extend coverage to this population
                                              understands that the language in the                    exempt up to two years of Medicaid
                                                                                                                                                            (along with pregnant women as
                                              regulation may indicate that other                      when the individual has shown past
                                                                                                                                                            discussed below) without requiring
                                              public benefits not otherwise listed that               ability and earning potential. The
                                                                                                                                                            them to wait five years as required by
                                              may be used to fund                                     commenter did not provide a reason for
                                                                                                                                                            PRWORA, and without triggering a
                                              institutionalization, including State                   the proposed two-year period, but stated
                                                                                                                                                            reimbursement requirement for the
                                              benefits, Social Security retirement                    that when a person applies for health
                                                                                                      insurance on the Affordable Care Act                  alien’s sponsor under an affidavit of
                                              benefits, SSDI, or Medicare. When
                                              referring to public benefits used for                   (ACA) marketplace, and is eligible for
                                                                                                                                                              450 See  8 U.S.C. 1601(2).
                                              long-term care at government expense,                   Medicaid, ‘‘the marketplace                             451 See  Part III, Section D, Comments Regarding
                                              the 1999 Interim Guidance listed SSI,                   automatically forwards an application                 Legal Authority/Inconsistency with Congressional
                                              TANF, and Medicaid as examples of                       on their behalf to Medicaid, even if they             Intent.
                                              public benefits for long-term                           never intended to apply for Medicaid,                   452 See Inadmissibility on Public Charge Grounds,


                                              institutionalization at government                      leaving them with no choice in the                    83 FR 51114, 51160 (Oct. 10, 2018).
                                                                                                                                                              453 See Table 26–1 Policy, Net Budget Authority
                                              expense that would be considered in the                 matter at all!’’ The commenter did not
                                                                                                                                                            by Function, Category, and Program, available at
                                              public charge inadmissibility                           provide evidence to support his                       https://www.whitehouse.gov/wp-content/uploads/
                                              determination.449 Likewise, under this                  statement regarding how the ACA                       2018/02/26-1-fy2019.pdf (last visited July 26, 2019).
                                              rule, DHS would consider such benefits                  marketplace works. Some commenters                    Expenditure amounts are net outlays unless
                                                                                                      supported the inclusion of Medicaid in                otherwise noted. See also Gene Falk et al., Cong.
                                              as part of long-term institutionalization                                                                     Research Serv., R45097, Federal Spending on
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                                              at Government expense and did not                       the rule.                                             Benefits and Services for People with Low Income:
                                                                                                        Response: DHS will continue to                      In Brief (2018), available at https://fas.org/sgp/crs/
                                              intend to consider other benefits may be
                                                                                                      consider Medicaid. DHS agrees that                    misc/R45097.pdf (last visited July 26, 2019). Note
                                              used such as Social Security retirement
                                                                                                      Medicaid is beneficial to those who                   however that neither HHS nor DHS are able to
                                              benefits, SSDI, Medicare or veteran’s                                                                         disaggregate emergency and non-emergency
                                                                                                      receive it. DHS, however, seeks to better
                                                                                                                                                            Medicaid expenditures. Therefore, this rule
                                                449 See Inadmissibility and Deportability on          ensure that applicants for admission to               considers overall Medicaid expenditures.
                                              Public Charge Grounds, 64 FR 28689 (May 26,             the United States and applicants for                    454 See Inadmissibility on Public Charge Grounds,

                                              1999).                                                  adjustment to lawful permanent                        83 FR 51114, 51159 (proposed Oct. 10, 2018).



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                                              support.455 The age limit also aligns                    support. Finally, Medicaid also funds                  benefits) above the threshold in order
                                              with the limit most states offer free                    the delivery of certain services through               for the alien to be likely to become a
                                              public education to children, and                        the educational system, which DHS                      public charge, DHS does not believe that
                                              provides appropriate certainty to                        intends to exempt. Therefore, DHS                      a two-year ‘‘exemption period’’ is
                                              educators, parents, and children with                    believes that it is appropriate to exclude             necessary.
                                              respect to use of health care programs                   Medicaid for individuals under the age                    Comment: Some commenters said the
                                              by children.456                                          of 21 from the public benefit definition.              durational limits on the use of Medicaid
                                                 DHS recognizes Congress did not                          In addition, and consistent with the                did not align with how Medicaid
                                              exclude children from the public charge                  foregoing, DHS has decided to exempt                   recipients use the program, and said
                                              determination. But as noted in the                       Medicaid received by pregnant aliens                   that health insurance should be treated
                                              proposed rule, the fact that an alien                    during pregnancy and during the 60-day                 differently than other welfare programs.
                                              received public benefits as a child is a                 period beginning on the last day of the                A commenter stated that the proposed
                                              relevant consideration when                              pregnancy. This exemption aligns the                   12-month threshold for Medicaid would
                                              determining the likelihood that the alien                rule with the exclusion of CHIP from                   produce absurd results when applied to
                                              will receive public benefits in the                      consideration, as CHIP also provides                   a real-world context. The commenter
                                              future. As alien children approach or                    coverage to pregnant women and                         stated that some treatments and services
                                              reach adulthood, they may age out of                     children, and ensures parity under this                are intensive and span months, if not
                                              eligibility for certain benefits, choose to              rule for this population across two                    years. For example, a Medicaid enrollee
                                              disenroll from such benefits (for which                  Federal benefits (Medicaid and CHIP). It               with cancer could have a debilitating
                                              their parents may have enrolled them),                   also aligns the rule with the special                  year-long treatment regimen. The
                                              or increase their chances of becoming                    treatment that Congress afforded                       proposed rule would force such an
                                              self-sufficient depending upon whether                   children under 21 and pregnant women                   individual into an impossible situation
                                              they acquire education and skills,                       in under 42 U.S.C. 1396b(v)(4). Again,                 where continued treatment would count
                                              secure employment, and accumulate                        that authority allows states to extend                 against them for immigration purposes.
                                              assets and resources. As a consequence,                  coverage to pregnant women, and                        Some commenters said insurance
                                              past receipt of public benefits as a child               children under the age of 21, without                  through programs like Medicaid reduces
                                              may be less indicative of future receipt,                regard to the 5-year limit under                       the likelihood that an individual will
                                              as compared to past receipt as an adult.                 PRWORA, and without imposing                           become bankrupt, and that the proposed
                                                 DHS recognizes that Medicaid and                      reimbursement obligations on an alien’s                rule may cause previously self-sufficient
                                              CHIP benefits for children also provide                  sponsor through an affidavit of support                individuals to become reliant on
                                              for other services or funding for in-                    (as discussed above). DHS believes that                government assistance. One commenter
                                              school health services and serve as an                   Medicaid received by pregnant aliens,                  stated that individuals may be enrolled
                                              important way to ensure that children                    while providing a short-term benefit for               in Medicaid by hospitals without their
                                              receive the vaccines needed to protect                   the alien herself, in many cases                       knowledge if they are in an accident or
                                              public health and welfare. In addition,                  ultimately benefits the U.S. citizen                   presented to the ER with a serious
                                              children may be enrolled in Medicaid                     child(ren) who is born to such alien.                  health condition. The commenter said
                                              through the school system or other                          DHS appreciates the suggestion to                   that at times, the patients do not even
                                              programs which are required by law to                    incorporate a two-year ‘‘exemption                     know that they are being enrolled in
                                              provide services which may affect                        period’’ for Medicaid. However, DHS                    Medicaid and just think they are being
                                              school budgets.                                          will not include a two-year period in the              enrolled into a sliding scale program.
                                                 In sum, while children are not exempt                 rule. Although DHS agrees that through                 The commenter stated that looking at
                                              from public charge inadmissibility,                      the health insurance marketplace, an                   past receipt of Medicaid is too
                                              there are strong legal and policy reasons                eligible person may be referred for                    complicated and unhelpful in
                                              to assume that Congress did not intend                   Medicaid eligibility, DHS understands                  determining if a person may become a
                                              DHS to treat receipt of Medicaid by                      that generally the referral must still be              public charge, and recommended that if
                                              alien children under the age of 21 in the                approved by the State and accepted by                  DHS insists in including Medicaid then
                                              same way as receipt of Medicaid by                       the potential beneficiary.457 The person               the period of time should be reduced to
                                              adult aliens. Congress expressly                         has a choice in accepting Medicaid                     a look back of maximum 12 months.
                                              authorized states to expand Medicaid                     through the health insurance                              Response: DHS disagrees that
                                              eligibility for aliens under the age of 21               marketplace. In addition, all individuals              Medicaid as health insurance should be
                                              without a waiting period, and expressly                  may voluntarily disenroll from                         treated differently. Medicaid has a large
                                              provided that receipt of such Medicaid                   Medicaid at any time.458 As DHS will                   federal expenditure impact, similar to
                                              would not trigger a reimbursement                        only consider Medicaid received after                  other public benefit programs included
                                              application under an affidavit of                        the effective date of the rule, and                    in the rule.459 DHS believes the benefit
                                                                                                       requires the alien to be likely to receive             programs considered in the public
                                                 455 Children’s Health Insurance Program
                                                                                                       Medicaid (or other designated public                   charge determination are appropriate as
                                              Reauthorization Act of 2009, Pub. L. 111–3, section
                                              214, 123 Stat. 8, 56 (Feb. 4, 2009) (Permitting States
                                                                                                                                                              they directly relate to self-sufficiency,
                                              to Ensure Coverage Without a 5-Year Delay of                457 See Kalman Rupp and Gerald F. Riley, State      since they are providing basic
                                              Certain Children and Pregnant Women Under the            Medicaid Eligibility and Enrollment Policies and       necessities of life such as food and
                                              Medicaid Program and CHIP) (codified as amended          Rates of Medicaid Participation among Disabled         nutrition, housing, and healthcare.
                                              at 42 U.S.C. 1396B(v)(4)).                               Supplemental Security Income Recipients, Social
                                                 456 State laws generally provide a maximum age        Security Bulletin, Vol. 76 No. 3, 2016, available at
                                                                                                                                                              Because of the nature of the public
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                                              limit for free public education. The limit ranges        https://www.ssa.gov/policy/docs/ssb/v76n3/             benefits that would be considered under
                                              between 17 (Alabama) and 26 (Texas). As of 2017,         v76n3p17.html (last visited June 14, 2019).            this rule—which are generally means-
                                              25 states allow for free public education until age         458 See CMS, Medicare-Medicaid Plan Enrollment
                                                                                                                                                              tested and provide cash for income
                                              21. Department of Education, National Center for         and Disenrollment Guidance (June 14, 2013),            maintenance and for basic living needs
                                              Education Statistics, Table 5.1 Compulsory school        available at https://www.cms.gov/Medicare-
                                              attendance laws, minimum and maximum age                 Medicaid-Coordination/Medicare-and-Medicaid-           such as food and nutrition, housing, and
                                              limits for required free education, by state: 2017       Coordination/Medicare-Medicaid-Coordination-
                                              https://nces.ed.gov/programs/statereform/tab5_           Office/Downloads/MMPFinalEnrollGuidance.pdf              459 See Inadmissibility on Public Charge Grounds,

                                              1.asp (last visited July 17, 2019)                       (last visited July 26, 2019).                          83 FR 51114, 51160 (proposed Oct. 10, 2018).



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                                              healthcare—DHS believes that receipt of                 of proving the disability. The                        created a Medicaid Buy-In Program for
                                              such benefits is an important factor to                 commenter stated that costs and delays                Working People with Disabilities
                                              consider, in the totality of the                        associated with obtaining such proof                  specifically to allow working people
                                              circumstances, when making a public                     ‘‘would lead to fewer tenants being                   with disabilities to earn more income
                                              charge determination. This is because a                 allowed to bring forward the defenses to              without risk of losing their health
                                              person with limited means to satisfy                    which they are legally entitled, and                  insurance. The commenter stated that
                                              basic living needs who uses government                  would lead to further evictions in the                many people qualify for Medicaid
                                              assistance to fulfill these needs                       greater Boston area.’’                                because an injury or disability has made
                                              frequently will be dependent on such                       Response: DHS recognizes that an                   them unable to work. Medicaid often
                                              assistance to such an extent that the                   individual who disenrolls from                        covers services that are unavailable
                                              person is not self-sufficient. Medicaid,                Medicaid (or foregoes initial enrollment)             through private insurance, such as
                                              as a government subsidized health-                      as a consequence of this rule may face                medical equipment, long-term care, and
                                              insurance program, provides means to                    additional challenges in providing proof              certain specialist care services. The
                                              ensure sufficient healthcare. Regarding                 of disability for purposes of reasonable              commenter stated that the NPRM
                                              the concern that individuals may be                     accommodation. As noted by the                        undermines the goals of these programs
                                              enrolled in Medicaid without their                      commenter, however, Medicaid is not a                 by broadly including ‘‘health’’ as a
                                              knowledge when receiving emergency                      precondition to obtaining such proof of               factor in the public charge
                                              room services, DHS notes that the rule                  disability. An alien who relies on                    determination and by heavily weighting
                                              excludes consideration of emergency                     Medicaid for healthcare (including                    receipt of health-related benefits as a
                                              Medicaid. Additionally, individuals                     potential documentation of disabilities)              negative factor in public charge
                                              who are enrolled in Medicaid receive                    for the period of time that meets the                 determinations without distinguishing
                                              documentation informing them of their                   requisite threshold (more than 12                     Medicaid recipients with disabilities.
                                              enrollment and may at any time                          months in the aggregate during any 36-                   Response: DHS appreciates that some
                                              disenroll from the public benefit.                      month period) may be found to be a                    people may be eligible for Medicaid
                                                 DHS acknowledges the positive                        public charge, notwithstanding that                   based on other eligibility criteria or a
                                              outcomes associated with public                         such outcome may have negative                        higher income threshold, however, such
                                              benefits programs, but the goals of                     downstream effects for such alien or                  Medicaid programs would also be
                                              programs such as Medicaid are different                 others.                                               included within the definition of public
                                              from the objectives of immigration in                      Comment: A couple of commenters                    benefit for the purposes of the public
                                              admission of aliens into the United                     said there was no reason to distinguish               charge inadmissibility determination.
                                              States. The rule, therefore, abides by the              between private and public health                     DHS does not intend to undermine the
                                              statutory requirement as provided in                    insurance in making a determination                   goals of Medicaid or Medicaid Buy-In
                                              section 212(a)(4) of the Act, 8 U.S.C.                  about self-sufficiency, and that private              programs in this rule. However,
                                              1182(a)(4), and is consistent with                      insurance for working-class people is                 Congress provided for the mandatory
                                              congressional statements relating to self-              often subsidized by the government                    factors, including health.461 The
                                              sufficiency in 8 U.S.C. 1601. As                        through such mechanisms as special tax                interpretation of the public charge
                                              Congress indicated, the immigration                     treatment for employer-provided                       provision has long included
                                              policy continues to be that, ‘‘aliens                   insurance and refundable tax credits for              consideration of the alien’s receipt of
                                              within the Nation’s borders not depend                  private health insurance plans under the              government-funded healthcare
                                              on public resources to meet their needs,                ACA.                                                  programs.462 Medicaid Buy-In programs
                                                                                                         Response: DHS appreciates the                      are optional state Medicaid programs for
                                              but rather rely on their own capabilities
                                                                                                      comments but disagrees. Medicaid can                  workers with disabilities who have
                                              and the resources of their families, their
                                                                                                      impose substantial costs on multiple                  earnings in excess of traditional
                                              sponsors, and private organizations.’’ 460              levels of government and generally
                                              Therefore, the public charge                                                                                  Medicaid rules.463 These programs are
                                                                                                      indicates a lack of ability to be self-               still using the same source of
                                              inadmissibility ground and this rule                    sufficient in satisfying a basic living
                                              serve to ensure that those coming to the                                                                      government funding; the main
                                                                                                      need, i.e., healthcare. As noted in the               difference is that they contain different
                                              United States will be self-sufficient.                  NPRM, by at least one measure, this
                                                 Comment: One commenter opposed                                                                             eligibility requirements, such as a
                                                                                                      program entails some of the largest                   higher income threshold. Further, DHS,
                                              including Medicaid in the definition of                 overall Federal expenditure for low-
                                              public benefit and stated that such                                                                           as previously discussed, understands
                                                                                                      income people, by far. Although DHS                   that people may be employed and still
                                              inclusion will harm the ability of                      agrees that government subsidies for
                                              disabled individuals to access                                                                                receive public benefits and are therefore
                                                                                                      private health insurance plans may also               not self-sufficient. Aliens should be
                                              reasonable accommodations. The                          be amenable to consideration for public
                                              commenter stated that such inclusion                    charge purposes, DHS believes it is a                   461 See INA section 212(a)(4)(B), 8 U.S.C.
                                              will result in individuals disenrolling                 reasonable approach to only designate                 1182(a)(4)(B).
                                              from Medicaid and may adversely affect                  Medicaid at this time.                                  462 See, e.g., Ex parte Nunez, 93 F.2d 41 (9th Cir.

                                              individuals’ ability to obtain proof of                    Comment: Several commenters                        1937).
                                              disability from a doctor that is necessary              remarked that states have implemented
                                                                                                                                                              463 See Medicaid.gov, Medicaid Employment

                                              to secure reasonable accommodations in                                                                        Initiatives, available at https://www.medicaid.gov/
                                                                                                      programs, such as Medicaid Buy-In                     medicaid/ltss/employment/index.html (last visited
                                              housing. The commenter noted that                       programs, to allow individuals with                   June 24, 2019). See also for example, New York
                                              such an individual, potentially with the                disabilities to retain the necessary                  State, Medicaid Buy-in Program for Working People
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                                              assistance of social service or other                   Medicaid coverage while participating                 with Disabilities, available at https://
                                              organizations serving the individual,                                                                         www.health.ny.gov/health_care/medicaid/program/
                                                                                                      in the labor force. A commenter stated                buy_in/index.htm (last visited June 24, 2019). In
                                              would have to find an alternative means                 that Medicaid is one of many                          order to qualify under the New York State program,
                                                                                                      government programs that provide                      a person must have a disability as defined by SSA,
                                                460 See Personal Responsibility and Work                                                                    be engaged in paid work, and have a gross income
                                              Opportunity Reconciliation Act of 1996, Public Law
                                                                                                      targeted assistance to individuals with               that may be as high as about $63,492 for an
                                              104–193, section 400, 110 Stat. 2105, 2260 (Aug. 22,    disabilities. The commenter provided                  individuals and $86,575 for a couple, among other
                                              1996) (codified at 8 U.S.C. 1601(2)).                   the example of New York, which                        requirements.



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                                              obtaining private health insurance other                Medicaid administered by other states                 governed by laws relating to the specific
                                              than Medicaid in order to establish self-               will also be considered in the public                 public benefits program and are not
                                              sufficiency.                                            charge inadmissibility determination to               within the scope of this regulation.
                                                 Comment: A commenter indicated                       the same extent as described above,                   Further, as part of the public charge
                                              that the rule is unclear on the meaning                 regardless of the name used for                       inadmissibility determination, DHS
                                              of Medicaid and unclear whether                         Medicaid in such state. A state medical               does not intend to request information
                                              programs that are funded only by the                    insurance program, funded exclusively                 from schools that was collected by such
                                              state and provided under the auspices of                by the state, is not included in the                  school for program eligibility,
                                              Medi-Cal would be considered                            definition of public benefit under 8 CFR              allocation, or qualification purposes.
                                              Medicaid for the purposes of a public                   212.21(b), and will not be considered as              Instead the students, or students’
                                              charge analysis.                                        a public benefit in the public charge                 parents or guardians would provide
                                                 Another commenter stated that                        inadmissibility determination. To the                 documentation related to any Medicaid
                                              Medicaid is a Federal-State program; it                 extent that States give the same name to              or SNAP, or other public benefit,
                                              is funded jointly by the Federal                        their Federal Medicaid program and the                application, documentation, or
                                              Government and the States, and each                     state-only funded health insurance                    verification information collected by a
                                              state operates its own program within                   program, aliens will not be required to               public school for program eligibility,
                                              broad Federal guidelines. The                           report the receipt of the state-only                  allocation, or qualification purposes.
                                              commenter indicated that States have                    funded health insurance. USCIS would
                                              numerous options as to the people and                                                                         Individuals With Disabilities Education
                                                                                                      assume that any Medicaid identified on                Act
                                              benefits they cover and a great deal of                 the Form I–944 is Federal Medicaid.
                                              flexibility in designing and                               Comment: A commenter agreed with                      Comment: Multiple commenters
                                              administering their programs. The                       the exception for school-based services,              stated that children with special
                                              commenter stated that consequently,                     but said it underscores the need for                  healthcare needs (disabilities) depend
                                              Medicaid eligibility and benefits vary                  clarification stating that public benefit             on Medicaid, and that while the
                                              widely from state to state. For example,                programs and services provided to                     proposed rule includes exceptions for
                                              the commenter stated that Wisconsin is                  school children by public school                      services funded by Medicaid but
                                              the only non-expansion state to cover                   systems will not be considered in                     provided through IDEA, no plan has
                                              childless adults at any income level.                   immigration status determinations for a               been put forward that would enable this
                                              The commenter further stated that                       family member or member of the                        carve-out to work in practice.
                                              immigration authorities would have no                   household. Moreover, the commenter                       Many commenters discussed the
                                              way of predicting which states                                                                                positive effects of children being
                                                                                                      said further clarification is needed that
                                              individuals would likely live in                                                                              enrolled in Medicaid and the ‘‘chilling
                                                                                                      any application, documentation, or
                                              throughout their lives and therefore                                                                          effect’’ or disenrollment associated with
                                                                                                      verification information collected by a
                                              would not know which income                                                                                   the proposed rule, and warned that
                                                                                                      public school for program eligibility,
                                              thresholds would be relevant to                                                                               decreased participation in Medicaid
                                                                                                      allocation, or qualification purposes
                                              consider when making a public charge                                                                          would lead to decreased utilization of
                                                                                                      would not be requested or subject to
                                              determination, potentially leading them                                                                       preventative services, worse health
                                                                                                      disclosure by the local education
                                              to assume that most people could end                                                                          outcomes for families and children, and
                                                                                                      agencies or the student and their parents
                                              up using Medicaid at some point.                                                                              significant economic costs. Many
                                                                                                      or guardians for DHS public charge
                                                 Response: Medicaid is a Federal-State                                                                      commenters said the proposed rule’s
                                                                                                      consideration.                                        exemption of school-based health
                                              partnership under which the Federal                        Response: DHS reiterates that only the
                                              Government provides matching funds to                                                                         services was insufficient given the larger
                                                                                                      public benefits listed in 8 CFR 212.21(b)
                                              states for certain expenditures at varying                                                                    repercussions of the ‘‘chilling effect’’
                                                                                                      are considered public benefits for
                                              percentages (depending on the state).                                                                         and the likelihood that many children
                                                                                                      purposes of the public charge
                                              The form of Medicaid covered by this                                                                          would be disenrolled. Some
                                                                                                      inadmissibility determination. DHS also
                                              rule is any Medicaid program operated                                                                         commenters indicated that under IDEA,
                                                                                                      reiterates that under this rule, Medicaid-
                                              under the authority of Title XIX of the                                                                       schools serve as a health care provider
                                                                                                      funded school-based benefits provided                 reimbursed by Medicaid but are not
                                              Social Security Act Amendments of                       to children who are at or below the
                                              1965 (Pub. L. 89–97), for which the state                                                                     eligible for reimbursement if a family
                                                                                                      oldest age of children eligible for                   chooses not to enroll their child. A
                                              seeks reimbursement from the Federal                    secondary education as determined
                                              Government. In other words, any                                                                               commenter provided data on the
                                                                                                      under State law are not considered                    funding school districts receive from
                                              Medicaid benefit for which a state seeks                public benefits for purposes of the
                                              reimbursement from the Federal                                                                                Medicaid for school-based health
                                                                                                      public charge determination, as are                   services, and the numbers of students
                                              Government will be considered in the                    Medicaid-funded IDEA programs and
                                              public charge determination regardless                                                                        who benefit from these programs. The
                                                                                                      Medicaid for children under the age of                commenters pointed out that this
                                              of which state administers the program.                 21 are not included the are definition of
                                              Medi-Cal is how the State of California                                                                       funding is tied to the number of
                                                                                                      public benefit. Additionally, public                  Medicaid-eligible students enrolled.
                                              delivers Medicaid to its residents.464                  benefits received by household                        Schools said they already struggle to
                                              Any Medi-Cal receipt will therefore be                  members are not considered in an                      receive consent for school-based,
                                              considered in the totality of the                       alien’s public charge inadmissibility                 Medicaid-reimbursable services, and
                                              circumstances in the public charge                      determination.465 Confidentiality or                  warned that the proposed rule would
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                                              inadmissibility determination, unless                   non-disclosure provisions relating to                 exacerbate this problem. A commenter
                                              the Medi-Cal is provided to the alien                   applications for or receipt of certain                expressed concern that, even though
                                              under a state-only authority at no                      public benefits programs are generally                medically necessary special education
                                              expense to the Federal Government.
                                                                                                        465 If a household member is obtaining public
                                                                                                                                                            services provided to eligible children at
                                                464 Ca.gov,Medi-Cal, available at https://            benefits, however, that amount will not be counted
                                                                                                                                                            school would be excluded under the
                                              www.dhcs.ca.gov/services/Medi-cal/pages/                toward the household’s annual gross income            rule, the fear of being labelled a public
                                              default.aspx (last visited Mar. 29, 2019).              determinations. See 8 CFR 212.22(b)(4)(ii)(A).        charge would cause some immigrant


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                                              parents to refrain from securing these                    covered benefits and that school-based                charge inadmissibility statute.469 DHS
                                              services for children. A few commenters                   programs also include services such as                considers any disability or other
                                              were concerned that the proposed rule                     dental and vision services, (for example              medical condition in the public charge
                                              would worsen health outcomes,                             under the Early Periodic Screening                    inadmissibility determination to the
                                              increase food insecurity, and reduce                      Diagnostic and Treatment (EPSDT))                     extent the alien’s health makes the alien
                                              educational attainment.                                   benefit or other preventative services.467            more likely than not to become a public
                                                 A commenter supported the exclusion                    DHS believes that by excluding any                    charge at any time in the future. USCIS’
                                              of benefits under IDEA, but stated that                   Medicaid received by an alien under the               consideration of health-related issues
                                              it remained concerned about these                         age of 21 (as well as any and all CHIP                will be largely limited to those
                                              services being used against parents who                   benefits), and retaining the exemptions               conditions that are identified on the
                                              refuse to sign a specific consent form.                   for (1) services or benefits funded by                Form I–693 and affect an applicant’s
                                              Multiple commenters stated that                           Medicaid but provided under the IDEA                  ability to work, attend school, or
                                              children with special healthcare needs,                   and for (2) school-based benefits                     otherwise care for himself or herself. As
                                              including children with disabilities,                     provided to children who are at or                    noted in the proposed rule, after
                                              depend on Medicaid. These commenters                      below the oldest age of children eligible             assessing Federal statutes and
                                              indicated that children with special                      for secondary education, DHS has                      regulations protecting individuals with
                                              needs cannot and do not receive                           effectively addressed many of the                     disabilities from discrimination, DHS
                                              Medicaid for educational services alone                   objections that commenters raised                     believes that this rule’s treatment of
                                              and the exclusion of Medicaid-funded                      related to the potential indirect effects             disability in the public charge context is
                                              IDEA services will likely do little to                    of this rule on school funding. With                  not inconsistent with such statutes and
                                              encourage families who are fearful of                     these changes, DHS believes that it has               regulations.470
                                              participating in Medicaid to maintain                     created a workable framework for                        Comment: A commenter stated that
                                              their enrollment. A commenter stated                      purposes of the public charge                         many of its members are childcare
                                              that IDEA funding is often insufficient                   assessment and the benefits these                     providers and child-care center teachers
                                              and requires states to rely on Medicaid                   programs provide for school-age                       who raised questions about whether or
                                              to fill funding gaps. The commenter                       children.                                             not certain child-specific services
                                              added that if schools lost Medicaid                          Comment: A commenter stated that                   through Medicaid and CHIP would be
                                              funding, it could result in special                       DHS’s reasoning for excluding a                       excluded. The commenter stated that
                                              education and even general education                      program like IDEA should apply to the                 children received essential services
                                              services being withheld and the loss of                   other benefits DHS proposes adding to                 through these programs, including the
                                              school nurses, whose salaries are                         the public charge determination. For                  EPSDT benefit, which is a federally
                                              subsidized by Medicaid. (Special                          example, according to the commenter,                  mandated benefit, and ensures coverage
                                              education assistance programs, such as                    the proposed rule stated or implied that              for developmental assessments for
                                              the New Jersey Special Education                          DHS proposed to exclude IDEA to avoid                 infants and young children with the
                                              Medicaid Initiative addressed by one of                   discriminating against people with                    routine and preventive care services
                                              the commenters, are school-based                          disabilities. The commenter stated that               they need to grow into healthy adults.
                                              Medicaid reimbursement programs that                      DHS should consider other ways the                      Response: The EPSDT benefit is not a
                                              allow school districts to obtain federal                  proposed rule discriminates against                   separately funded Medicaid program,
                                              reimbursement of actual costs of                          vulnerable populations. Some                          but an integral part of the Medicaid
                                              Medicaid covered services under the                       commenters specifically requested that                benefit for children, as described in
                                              IDEA).466 One commenter who                               public benefits received by individuals               section 1905(r) of the Social Security
                                              generally supported the rule stated                       with disabilities be excluded or that                 Act. As EPSDT is a Medicaid program,
                                              opposition to the Medicaid exclusion                      DHS exclude Medicaid and SNAP.                        and DHS determined that any services
                                              under IDEA and recommended that all                       Several commenters reasoned that                      provided to aliens under the age of 21
                                              disabilities should be individually                       individuals with disabilities rely on                 based on Medicaid and CHIP will not be
                                              assessed.                                                 non-cash benefits disproportionately,                 considered as part of the public charge
                                                 Response: DHS recognizes the public                    often due to their disability, in order to            determination, any benefits under
                                              benefits listed in the rule may be                        continue working, stay healthy, and                   EPSDT would also not be considered in
                                              associated with other programs and that                   remain independent and productive                     the public charge inadmissibility
                                              eligibility for other programs or                         members of the community.                             determination.
                                              reimbursements to organizations may be                       Response: As indicated in the NPRM,
                                              dependent or automatically provided                       DHS excluded services provided under                  Emergency Services Exclusion
                                              based on the receipt of one of the                        IDEA that are generally funded in whole                  Comment: A commenter opposed the
                                              enumerated public benefits. DHS also                      or in part by Medicaid to ensure that                 exclusion of emergency services, stating
                                              understands that it is possible that a                    schools continue to receive financial                 that the failure to provide financially for
                                              parent would not be aware of which                        resources to cover the cost of special                the receipt of emergency services was a
                                              services in an Individualized Education                   education and related services which                  strong indicator of a lack of self-
                                              Plan or any other education plan set up                   they would be legally required to                     reliance. Another commenter stated that
                                              by a school for a child with disabilities                 provide at no cost regardless of the                  emergency Medicaid’s applicability to
                                              are reimbursed by Medicaid or a                           outcomes of the rulemaking.468 But DHS                births creates an immigration incentive
                                              different funding source. Parents may                     also recognizes that Congress did not                 by advertising a service, which will
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                                              not receive notification that Medicaid                    exclude applicants with disabilities or               ultimately assist aliens’ immigration
                                              was billed for services provided at                       other medical conditions in the public                process (by providing them with a new
                                              school. In addition, DHS recognizes that                                                                        U.S. citizen as a family member). The
                                              Medicaid’s assistance programs go                           467 Medicaid payments for necessary health
                                                                                                                                                              commenter further stated that DHS
                                              beyond mere special education                             services are covered under section 1905R of the
                                                                                                        Social Security Act, 42 U.S.C. part 441, Subpart B.
                                              assistance under IDEA for Medicaid                          468 See Inadmissibility on Public Charge Grounds,     469 SeeINA section 212(a)(4), 8 U.S.C. 1182(a)(4).
                                                                                                        83 FR 51114, 51170 (proposed Oct. 10, 2018). These      470 SeeInadmissibility on Public Charge Grounds,
                                                466 See   20 U.S.C. 1400 et seq.                        services are typically not income-based.              83 FR 51114, 51184 (proposed Oct. 10, 2018).



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                                              misconstrued 8 U.S.C. 1611(b), and did                  emergency for purposes of Medicaid                    department anticipated that
                                              not consistently recognize the                          and that determination may be                         promulgation of the rule, as written in
                                              distinction in legislative intent to                    inconsistent throughout states.                       the NPRM, will result in decreased
                                              provide benefits to aliens that may                     However, DHS does not have the                        utilization of children’s healthcare,
                                              nevertheless be considered as negative                  authority to determine whether a                      including vaccinations, which will
                                              factors in a public charge determination.               medical condition is an emergency or                  increase the risk for vaccine preventable
                                              In contrast, some commenters supported                  whether a state must provide Medicaid                 diseases. According to the commenter,
                                              the exclusion of emergency Medicaid.                    for a particular medical condition.                   these effects will pose an immediate risk
                                              Some commenters indicated that                          Congress enacted the EMTALA to                        to the health of individual immigrants
                                              immigrants would still be reluctant to                  ensure public access to emergency                     and is also likely result in increased
                                              access emergency services because                       services regardless of ability to pay.472             transmission of tuberculosis or other
                                              many will not be aware that emergency                   Medicare-participating hospitals that                 infectious diseases, increasing the
                                              services are excluded, or may not know                  offer emergency services must provide a               likelihood of an outbreak.
                                              if someone in their household was                       medical screening examination and                        Some commenters stated that since
                                              experiencing a true medical emergency.                  provide stabilizing treatment regardless              many immigrants live in communities
                                                 Response: DHS appreciates and                        of an individual’s ability to pay.473 DHS             alongside people of the same national
                                              understands the commenters’ concerns.                   acknowledges that increased use of                    origin, reduced vaccinations could
                                              However, DHS will exclude emergency                     emergency rooms and emergent care as                  result in unvaccinated or under-
                                              Medicaid benefits in the rule, consistent               a method of primary healthcare due to                 vaccinated clusters of individuals.
                                              with the policy underlying the                          delayed treatment is possible and there               Commenters warned that research
                                              PRWORA exclusion for care and                           is a potential for increases in                       shows that uninsured individuals are
                                              services that are necessary for the                     uncompensated care in which a                         much less likely to be vaccinated. One
                                              treatment of an emergency medical                       treatment or service is not paid for by               commenter stated that a recent study
                                              condition. In 8 U.S.C. 1611(b), Congress                an insurer or patient. However, DHS                   found that even a five percent reduction
                                              specifically excluded this category of                  does not have specific estimates on the               in vaccine coverage could trigger a
                                              benefit from the definition of public                   increase cost for such services.                      significant measles outbreak. A
                                              benefits and as a result from allows non-                                                                     commenter stated that many immigrant
                                              qualified aliens to receive such                        Vaccinations                                          families were already cancelling
                                              emergency public benefits. DHS did not                     Comment: Commenters indicated that                 appointments for flu vaccinations, and
                                              propose to designate any public benefits                the public charge rule would make                     referred to a Centers for Disease Control
                                              that are not defined as public benefits in              immigrant families afraid to seek health-             and Prevention (CDC) estimate of the
                                              PRWORA, because those exclusions                        care, including vaccinations against                  number of flu-related deaths in 2018 to
                                              may reflect a congressional judgment                    communicable diseases, and therefore,                 underscore the severity of this issue. A
                                              regarding the importance of ensuring                    endanger the U.S. population. The                     commenter indicated that the proposal
                                              that those benefits remain available to                 commenters stated that mass                           will cause worse health outcomes,
                                              otherwise eligible aliens. DHS prefers to               disenrollment from Medicaid would                     increased use of emergency
                                              avoid any appearance of interfering with                greatly restrict access to vaccines, which            departments, and increases in
                                              aliens’ willingness or ability to access                would result in adverse effects for the               communicable diseases due to less
                                              such public benefits. Accordingly, DHS                  immigrant and general population, and                 vaccination. Another commenter stated
                                              excludes receipt of Medicaid under                      would harm the public and the national                that the rule would increase the
                                              these provisions if the State determines                security of the United States. For                    incidence of childhood diseases like
                                              that the relevant treatment falls under                 example, a commenter stated that in the               chickenpox, measles, mumps and
                                              ‘‘emergency medical conditions.’’ 471                   event of a novel influenza outbreak, a                rubella and deter parents from
                                                 Comment: A commenter stated that                     critical first step would be to get                   vaccinating their children.
                                              hospitals are compelled to provide                                                                               Response: With this rulemaking, DHS
                                                                                                      individuals access to healthcare, which
                                              emergency services due to their mission                                                                       does not intend to restrict the access of
                                                                                                      requires trust in governmental public
                                              and laws like the Emergency Medical                                                                           vaccines for children or adults or intend
                                                                                                      health authorities. The commenter
                                              Treatment and Active Labor Act                                                                                to discourage individuals from
                                                                                                      indicated that engaging with the public
                                              (EMTALA), but those services will go                                                                          obtaining the necessary vaccines to
                                                                                                      health system was critical to ensuring
                                              uncompensated if patients are                                                                                 prevent vaccine-preventable diseases.
                                                                                                      robust immunization to protect the
                                              disenrolled from Medicaid due to the                                                                          The purpose of this rulemaking is to
                                                                                                      population overall; if a subset of the                ensure that those seeking admission to
                                              chilling effect. A commenter stated that                community were fearful to access
                                              the emergency services exemption                                                                              the United States are self-sufficient and
                                                                                                      government healthcare services,                       rely on themselves or family and friends
                                              would not be uniformly applied across                   regardless of whether a specific type of
                                              states, resulting in hospitals bearing the                                                                    for support instead of relying on the
                                                                                                      service qualified for a narrow exception,             government for subsistence. As noted
                                              unpaid costs of medical care. One                       it would have a significant impact on
                                              commenter said different states will                                                                          above, this final rule does not consider
                                                                                                      the country’s ability to protect and                  receipt of Medicaid by a child under age
                                              make different determinations about                     promote the public health. Another
                                              what constitutes an emergency, and this                                                                       21, or during a person’s pregnancy, to
                                                                                                      commenter indicated that its health                   constitute receipt of public benefits.
                                              uncertainty will cause individuals with
                                              chronic, involuntary medical conditions                   472 See CMS.gov, Emergency Medical Treatment &
                                                                                                                                                            This should address a substantial
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                                              to be denied admission or avoid                         Labor Act (EMTALA), available at https://
                                                                                                                                                            portion, though not all, of the
                                              treatment out of fear.                                  www.cms.gov/Regulations-and-Guidance/                 vaccinations issue.
                                                 Response: DHS understands that the                   Legislation/EMTALA/index.html (last visited May          Vaccinations obtained through public
                                              states determine whether a medical                      31, 2019).                                            benefits programs are not considered
                                                                                                        473 See CMS.gov, Emergency Medical Treatment &
                                              condition would be determined to be an                                                                        public benefits under 8 CFR 212.21(b),
                                                                                                      Labor Act (EMTALA), available at https://
                                                                                                      www.cms.gov/Regulations-and-Guidance/
                                                                                                                                                            although if an alien enrolls in Medicaid
                                                471 See Inadmissibility on Public Charge Grounds,     Legislation/EMTALA/index.html (last visited May       for the purpose of obtaining vaccines,
                                              83 FR 51114, 51169 (proposed Oct. 10, 2018).            31, 2019).                                            the Medicaid itself qualifies as a public


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                                              benefit. DHS also notes that free or low                 benefit. Commenters stated that                        elderly residents who have worked and
                                              cost vaccines are available to children                  inclusion of the Medicare Part D LIS                   paid taxes for 10 or more years for using
                                              who are not insured or underinsured                      may result in greater poverty and                      a benefit as modest as the Medicare Part
                                              through the Vaccines for Children (VFC)                  sickness, lack of access for seniors to                D LIS.
                                              Program.474 In addition, local health                    prescription drugs, health services,                      A commenter stated that the effect of
                                              centers and state health departments                     worse health outcomes for Medicare                     the proposed rule may to increase the
                                              provide preventive services that include                 enrollees and higher costs for Medicare                costs, which according to the
                                              vaccines that may be offered on a                        non-drug spending. Commenters stated                   commenter was not considered in the
                                              sliding scale fee based on income.475                    that Medicare Part D LIS helps seniors                 NPRM, paid for under Medicare Part A
                                              Therefore, DHS believes that vaccines                    with chronic conditions, including                     and B or C because the increased
                                              would still be available for children and                breast cancer. Commenters also stated                  medication use and adherence achieved
                                              adults even if they disenroll from                       the rule, by including Medicare Part D                 through expanded drug coverage for
                                              Medicaid.                                                LIS, targets disabled people, who use                  seniors have been associated with
                                                                                                       the program at higher rates than the                   decreased spending for nondrug
                                              Substance Abuse                                                                                                 medical care and reduced
                                                                                                       general population. Commenters stated
                                                 Comment: Several commenters stated                    that the rule would force ‘‘millions’’ of              hospitalization rates among Medicare
                                              that the proposed rule would also                        seniors to disenroll from Medicare Part                enrollees. The commenter stated that
                                              discourage people from utilizing                         D, making it harder to afford necessary                the rule would adversely affect
                                              substance abuse disorder treatment                       prescriptions. A commenter indicated                   Massachusetts where 74 percent of
                                              services for which Medicaid is the                       that low- and moderate-income seniors                  Medicare enrollees in Massachusetts
                                              largest insurer.                                         who have been paying into Social                       were enrolled in Part D plans, and 35
                                                 Response: DHS does not intend to                      Security like all other taxpayers would                percent of Medicare Part D recipients
                                              discourage people from utilizing                         not be able access Medicare Part D                     also receive the LIS.
                                              substance abuse disorder treatment                       subsidies. Commenters stated that                         Several commenters stated that
                                              services. DHS acknowledges however                       prescription medication is very                        immigrants contribute more into the
                                              that, once this rule is effective,                       expensive and seniors who cannot                       Medicare system than they take out of
                                              individuals may choose to disenroll                      afford having their prescriptions filled               it, and pay more out of pocket for care
                                              from public benefits or not seek to                      will end up in emergency rooms which                   than citizens, thus subsidizing the
                                              receive such public benefits. DHS                        will only cost their communities even                  system. Commenters stated that the
                                              would like to note that local health                     more.                                                  Medicare Part D LIS may be more
                                              centers and state health departments                        A commenter indicated that the                      heavily supported by general revenues,
                                              may provide certain health services                      Medicare Part D LIS program has higher                 but funding for the entire Medicare Part
                                              addressing substance abuse and mental                    financial eligibility thresholds than cash             D program comes mostly from general
                                              disorders.476 Additionally, state-funded                 welfare programs and is available to                   revenues, with premiums covering
                                              rehabilitation centers may offer                         more than the indigent, making it a bad                about one-quarter of all costs. The
                                              affordable options, even if an individual                indicator of dependence on the                         commenter provided data intended to
                                              disenrolls from Medicaid.477 Benefits                    government. Citing a Kaiser Family                     show that for 2019, Medicare’s actuaries
                                              from local and state health departments                  Foundation report,478 the commenter                    estimate that Medicare Part D plans will
                                              or state-funded rehabilitation centers are               stated that individuals with income up                 receive direct subsidy payments
                                              generally not considered public benefits                 to 150 percent of the FPL, and countable               averaging $296 per enrollee overall and
                                              under this rule, unless they are obtained                assets of $14,100 for an individual or                 $2,337 for enrollees receiving the LIS;
                                              through Medicaid. Therefore, DHS                         $28,150 for a couple, qualify for                      employers are expected to receive, on
                                              believes that substance abuse disorder                   Medicare Part D LIS in 2018. The                       average, $553 for retirees in employer-
                                              treatment will continue to be available                  commenter further stated that the scope                subsidy plans. The commenter stated
                                              to individuals even if they disenroll                    of Medicare Part D LIS is limited to                   that the average Medicare Part D LIS
                                              from Medicaid.                                           assistance in the cost of drugs which                  beneficiary is receiving added
                                                                                                       does not indicate dependence on                        government assisted benefits of only
                                              i. Medicare, Medicare Part D Low                         government subsistence.                                $1,784 per year compared to retirees in
                                              Income Subsidy                                              Commenters indicated that most non-                 employer plans, which would be less
                                                 Comment: Commenters opposed                           citizen Medicare enrollees are lawful                  than the 15 percent of FPG threshold
                                              DHS’s proposal to include the Medicare                   permanent residents, but that                          that would have applied under the
                                              Part D Low Income Subsidy (Medicare                      individuals who are ‘‘lawfully present’’               proposed rule had the Medicare Part D
                                              Part D LIS) in the definition of public                  (e.g., immigrants with TPS) and have a                 LIS been considered a ‘‘monetized’’
                                                                                                       ten-year work history or have end-stage                benefit. Commenters stated that almost
                                                 474 See CDC, Vaccines For Children (VFC),             renal disease (ESRD) may also be                       one in three Medicare beneficiaries
                                              available at https://www.cdc.gov/vaccines/               eligible. A commenter indicated that                   enrolled in Medicare Part D prescription
                                              programs/vfc/index.html (last visited May 15,
                                              2019). See also CDC, VFC Detailed Questions and
                                                                                                       individuals over the age of 65 and                     drug coverage get ‘‘extra help’’ with
                                              Answers for Parents, available at https://               young individuals with disabilities who                their premiums, out-of-pocket
                                              www.cdc.gov/vaccines/programs/vfc/parents/qa-            meet the income and employment                         prescription costs, copays or percentage
                                              detailed.html#eligibility (last visited May 15, 2019).   guidelines are eligible for Medicare Part              of the drug’s costs through LIS. The
                                                 475 See HHS, vaccines.gov, How to Pay, available
                                                                                                       D LIS. A commenter stated that it is                   commenter further stated that one in
                                              at https://www.vaccines.gov/getting/pay (last visited
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                                              May 15, 2019).                                           difficult to see any purpose to a rule that            five people with Medicare (11.7 million)
                                                 476 See Substance Abuse and Mental Health             would deny admission to long term                      rely on Medicaid to afford their monthly
                                              Services Administration (SAMHSA) https://                                                                       Medicare Part B premiums or cost-
                                              www.samhsa.gov/find-treatment (last visited July           478 See Kaiser Family Foundation, Medicare Part      sharing. Nearly 12 million older adults
                                              22, 2019).                                               D: An Overview of the Medicare Part D Prescription     and people with disabilities are enrolled
                                                 477 See SAMHSA, Directory of Single State             Drug Benefit (Oct. 12, 2018), https://www.kff.org/
                                              Agencies for Substance Abuse Services (Dec. 16,          medicare/fact-sheet/an-overview-of-the-medicare-
                                                                                                                                                              in both Medicare and Medicaid. A
                                              2016), https://www.samhsa.gov/sites/default/files/       part-d-prescription-drug-benefit/ (last visited July   commenter stated that ‘‘Extra Help’’ is
                                              ssadirectory.pdf (last visited June 4, 2019).            26, 2019).                                             estimated to be worth approximately


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                                              $4,000 per year per individual which is                 Medicare recipients regardless of                     receipt. If an alien reports past Medicaid
                                              a substantial support for medications                   income, health status, or prescription                receipt as part of an adjustment of status
                                              that are often necessary to prevent                     drug usage.483 DHS agrees with the                    application, the alien can also show that
                                              disease or manage a chronic illness. The                commenters and removed Medicare Part                  the alien is no longer receiving
                                              commenter stated that to forego needed                  D subsidies from consideration in the                 Medicaid and explain why the alien’s
                                              medications due to cost will not only be                public charge inadmissibility                         past receipt of Medicaid does not make
                                              a harm to an elderly person or someone                  determination. DHS also notes that it                 it more likely than not that the alien
                                              living with a permanent disability, but                 has not designated any other aspect of                will receive any public benefit in the
                                              to our overall healthcare system that                   Medicare for consideration in the public              future.
                                              will be burdened with more costly                       charge inadmissibility determination.
                                              hospital-based and emergency care.                                                                            j. Additional Considerations
                                                                                                      However, any receive of Medicaid as a
                                                 However, another commenter agreed                    subsidy for Medicare would be                         Exhaustive List
                                              with DHS’s assertion that utilization of                considered receipt of a public benefit in               Comment: An individual commenter
                                              Medicare Part D LIS was an indicator of                 the public charge inadmissibility                     stated that the agency should
                                              a lack of ability to remain self-sufficient             determination.                                        emphasize, in light of future
                                              in covering medical costs.                                 Comment: A commenter stated that in                congressional action, that the list
                                                 Response: DHS appreciates the                        order to mitigate the negative public
                                              comments and recognizes the                                                                                   outlined in the proposed rule is not
                                                                                                      health consequences associated with                   exhaustive and any definition of public
                                              importance of Medicare and the                          deterring use of public health insurance
                                              Medicare Part D LIS, as well as the                                                                           benefit would be best left to agency
                                                                                                      benefits, Medicaid and Medicare Part D                discretion, or be defined in a separate
                                              heightened eligibility threshold for                    LIS should comprise a separate set of
                                              those programs. Someone who is not                                                                            rule. A commenter stated that the list in
                                                                                                      programs that may only be given                       the rule is hardly exhaustive when it
                                              entitled to Medicare Part A and/or Part                 ‘‘minimal negative weight’’ in the
                                              B is not eligible for Medicare Part D or                                                                      comes to potential programs. The
                                                                                                      totality of the circumstances, whether                commenter stated that by one count,
                                              the LIS.479 In general, to be eligible for              they are currently received at the time
                                              premium-free Medicare Part A, a person                                                                        there are a total of 89 separate means-
                                                                                                      of application or were received at some               tested welfare programs spread across
                                              must be age 65 or older and worked (or                  point in the 36 months prior to
                                              the spouse worked) and paid Medicare                                                                          14 departments and agencies, paid for
                                                                                                      application and for whatever factor in                by the Federal Government. The
                                              taxes for at least 10 years.480 A person                the totality of circumstances their
                                              must be a U.S. resident and either a                                                                          commenter provided examples
                                                                                                      receipt is being considered. The                      including that more than $30 billion is
                                              citizen or an alien lawfully admitted for               commenter stated that this would mean
                                              lawful permanent residence who has                                                                            spent annually by the Federal
                                                                                                      that a person could not be determined                 Government on Refundable Premium
                                              resided in the United States                            to be a public charge when receiving or
                                              continuously for the five-year period                                                                         Assistance and cost-sharing tax credits
                                                                                                      having received those benefits in the 36              to assist low-income people with buying
                                              immediately preceding the month the                     months prior to applying without also
                                              application is filed in order to qualify                                                                      health insurance and named other
                                                                                                      having a heavily weighted negative                    public benefits. The commenter stated
                                              for Medicare Part B and, therefore, the                 factor present in his or her case. The
                                              associated Medicare Part D. An                                                                                that States also spend some $6 billion
                                                                                                      commenter stated that with this                       annually on their own as part of their
                                              individual who is not a United States                   modification in place, noncitizens
                                              citizen or is not lawfully present in the                                                                     Medicaid General Assistance programs
                                                                                                      applying for visas, lawful permanent                  and another $34 billion on other
                                              United States is not eligible for                       resident status, or other status could
                                              Medicare Part D and may not enroll in                                                                         programs to help low-income people
                                                                                                      expect to financially ‘‘rehabilitate’’                receive care, particularly at hospitals.
                                              a Medicare Part D plan.481                              themselves without fear that receipt of
                                                 In addition, the Medicare Part D LIS                                                                       The commenter stated that the vast
                                                                                                      public benefits in the remote past might              number of overlapping and linked
                                              lowers the premium and cost-sharing                     weigh negatively against them.
                                              amounts owed by Medicare Part D plan                                                                          welfare programs means that recipients
                                                                                                      Additionally, the commenter indicated                 seldom use just one program.
                                              enrollees; as such, individuals not                     that with this change, the rule would
                                              enrolled in a Medicare Part D plan are                                                                          In contrast, a commenter stated that
                                                                                                      effectively make receiving public health              the inclusion of a ‘‘catch-all’’ provision
                                              not able to access the benefits of the                  insurance benefits the ‘‘lightest’’
                                              subsidy. While included in the NPRM                                                                           could leave the rule open to
                                                                                                      negative factor to be considered and                  constitutional challenges. Additionally,
                                              because of the large Federal                            provide noncitizens with assurance that
                                              expenditure,482 Medicare Part D                                                                               other commenters stated that DHS
                                                                                                      seeking coverage will have only a small               should not allow public benefits that are
                                              prescription drug coverage only                         impact on their admissibility which
                                              provides medical prescription coverage,                                                                       not explicitly enumerated in the rule to
                                                                                                      would mitigate the deterrent effect of                be weighted negatively in the totality of
                                              and not health insurance as a whole.                    considering receipt of these benefits.
                                              Since 2006, it has been available to all                                                                      the circumstances review. Commenters
                                                                                                         Response: As provided in the                       opposed to a ‘‘catch-all’’ provision
                                                                                                      previous response, DHS is not including               suggested that its inclusion would
                                                479 The Centers For Medicare And Medicaid

                                              Services, Guidance To States On The Low-Income
                                                                                                      Medicare Part D LIS in the definition of              remove the certainty an exhaustive list
                                              Subsidy (February 2009), available at https://          public benefit and therefore, there is no             provides and would introduce a great
                                              www.cms.gov/Medicare/Eligibility-and-Enrollment/        need to address the weight given to                   potential for confusion as well as call
                                              LowIncSubMedicarePresCov/Downloads/StateLIS             Medicare Part D LIS. With respect to                  into question whether the members of
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                                              Guidance021009.pdf (last visited July 26, 2019).
                                                480 See HHS, Who is eligible for Medicare?,
                                                                                                      Medicaid, DHS refers the commenter to                 the regulated public have had sufficient
                                              available at https://www.hhs.gov/answers/               the specific discussion above regarding               notice that a certain benefit may be
                                              medicare-and-medicaid/who-is-elibible-for-              the basis for considering Medicaid                    considered negatively in a public charge
                                              medicare/index.html#main-content (last visited
                                              June 25, 2019).                                           483 See Medicare.gov, How to get drug coverage,
                                                                                                                                                            determination analysis, thus triggering
                                                481 See 42 CFR 423.30.
                                                                                                      available at https://www.medicare.gov/drug-
                                                                                                                                                            due process concerns. Several
                                                482 See Inadmissibility on Public Charge Grounds,     coverage-part-d/how-to-get-drug-coverage (last        commenters said they opposed the
                                              83 FR 51114, 51172 (proposed Oct. 10, 2018).            visited June 14, 2019).                               future inclusion of any ‘‘unenumerated


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                                              benefits’’ into the scope of the proposed               determination. DHS understands that                   declines to expand the rule in this
                                              rule since the proposed rule already                    the Washington State Alien Emergency                  manner. DHS notes that although an
                                              improperly considers non-cash benefits                  Medical Program 484 is separate from                  inadmissibility determination is made
                                              and because the addition of any more                    Medicaid and is funded by Washington                  for each person individually, the alien’s
                                              programs would increase harm to                         State, and is not a program listed in the             income is reviewed in terms of the
                                              individuals, families, and communities.                 public benefit definition in the rule.                household, and the alien’s family status
                                              A commenter stated that DHS’s request                   Further, emergency Medicaid is also not               is considered as well, as the statute
                                              for public comment to expand the list of                considered a public benefit for purposes              requires. The ultimate question under
                                              other benefits in the totality of                       of the public charge inadmissibility                  this rule, however, is whether the alien
                                              circumstances was a ‘‘catch-all                         determination. Therefore, the                         (rather than his or her dependents) is
                                              provision’’ that would allow the agency                 Washington State Alien Emergency                      likely to receive public benefits in the
                                              to consider all benefits an alien receives,             Medical Program would not be                          future above the applicable threshold.
                                              regardless of whether they are listed in                considered a public benefit for purposes
                                                                                                                                                            Tax Credits
                                              the regulation or not. Other commenters                 of the public charge inadmissibility
                                              wrote that it is highly likely that                     determination.                                           Comment: Some commenters stated
                                              individuals using the benefits outlined                                                                       that non-citizens should be unable to
                                                                                                      Dependents                                            benefit from the EITC or the Additional
                                              in the proposed rule are also using
                                              additional benefits not included in the                    Comment: A commenter indicated the                 Child Tax Credit (ACTC). Similarly, a
                                              rule.                                                   new regulations should include welfare                few commenters said the exclusion of
                                                 Response: For clarity and consistency,               use by dependents. The commenter                      the refundable tax credits is problematic
                                              DHS has specifically listed the public                  indicated that the very idea of self-                 since the refundable portion of EITC
                                              benefits that will be considered. The list              sufficiency means that people can                     and ACTC cost over $80 billion
                                              of designated benefits is exhaustive,                   provide for themselves and their                      combined in 2016. The commenters
                                              avoiding the Constitutional concerns                    children and spouses without assistance               asserted that these tax credits meet the
                                              raised by the commenters that may                       from taxpayers. The commenter                         definition of a means-tested anti-poverty
                                              arguably come with a non-exhaustive                     indicated that excluding the children’s               benefit.
                                              list. Indicating that the list is non-                  benefits including Medicaid, WIC, and                    In contrast, another commenter stated
                                              exhaustive would add vagueness and                      free school lunch, from not being                     that the receipt of EITC and Child Tax
                                              confusion as to what public benefits                    considered for public charge is like                  Credit (CTC) credits, which are funded
                                              would be considered. This does not                      having an income tax that excludes all                through TANF and are actually
                                              preclude DHS from updating the list of                  income from second jobs, investments,                 employment incentives, should be
                                              benefits through future regulatory                      and rental properties. The commenter                  explicitly exempted from the rule in
                                              action. DHS believes that the rule is                   analyzed the 2014 public-use SIPP data                order to eliminate possible
                                              adequately protective as drafted.                       and indicated that in 39 percent of                   misconceptions and prevent immigrants
                                                                                                      immigrant-headed households (legal                    from failing to file their income tax
                                              Additional Programs                                     and illegal) receiving TANF, only the                 returns out of fear of being disqualified
                                                 Comment: Many commenters opposed                     children receive the payments. The                    from future citizenship. Another
                                              the inclusion of any additional                         commenter indicated that much of the                  commenter said inclusion of EITC
                                              programs in the rule. Commenters stated                 immigrant welfare use of this program                 would punish hardworking immigrants.
                                              that the inclusion of additional                        would be missed if dependents are not                    Response: DHS appreciates the
                                              programs would lead to further negative                 considered. Another commenter stated                  comments regarding the EITC, ACTC,
                                              health impacts on families and children.                that any receipt of means-tested anti-                and CTC. Only public benefits as
                                                 Response: DHS appreciates the                        poverty benefits by immigrants or their               defined in 8 CFR 212.21(b) will be
                                              comments. DHS has not designated                        dependents should count toward the                    considered in the public charge
                                              additional public benefits for                          public charge determination. Other                    inadmissibility determination. Although
                                              consideration under this final rule.                    commenters stated that DHS should                     EITC and ACTC benefits provide what
                                                 Comment: A commenter asked that                      never attribute to an alien applicant the             may be considered cash assistance, DHS
                                              public benefits provided by State and                   receipt of benefits by the alien’s                    did not propose to include EITC or
                                              local governments to non-qualified                      dependents, including U.S. citizen                    ACTC as public benefits in the public
                                              aliens under authority of PRWORA be                     children. The commenters stated that                  charge inadmissibility determination.
                                              specifically included in the codified list.             considering receipt of benefits by an                 DHS is not including tax credits because
                                              The commenter said these benefits are                   alien’s U.S. citizen children could give              many people with moderate incomes
                                              provided from ‘‘appropriated funds’’                    rise to constitutional issues.                        and high incomes are eligible for these
                                              and with few exceptions are accessed on                    Response: DHS appreciates the                      tax credits, and the tax system is
                                              an individualized basis using means-                    comments. DHS believes that the rule                  structured in such a way as to encourage
                                              tested criteria. A commenter said its                   addresses self-sufficiency adequately                 taxpayers to claim and maximize all tax
                                              state had created a program called Alien                without introducing consideration of a                credits for which they are eligible. In
                                              Emergency Medical Program, which was                    third party’s receipt of public benefits,             addition, DHS is unable to determine
                                              designed to offer coverage to newly                     potentially to include U.S. citizen third             how much of the taxpayer’s refund is
                                              arrived immigrants, or those who had                    parties such as non-custodial children.               attributable to any one tax credit, as
                                              resided in-state for less than five years.              In consideration of these issues, as well             compared to other aspects of the tax
                                                                                                      as the many comments regarding the                    return (such as non-designated credits
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                                              The commenter said the proposed rule
                                              would target those who qualify for the                  potential effects of the rule on U.S.                 or deductions) or to any one person, as
                                              program.                                                citizen children, DHS respectfully                    opposed to a spouse filing jointly.
                                                 Response: A state medical insurance                                                                        Finally, these tax credits may be
                                              program that is not included in the                       484 See Washington State Department of Social
                                                                                                                                                            combined with other tax credits
                                              rule’s definition of public benefit will                and Health Services, Alien Emergency Medical          between spouses. One spouse may be a
                                                                                                      Program, available at https://www.dshs.wa.gov/esa/
                                              not be considered as a public benefit in                community-services-offices/alien-emergency-           U.S. citizen and the tax return may be
                                              the public charge inadmissibility                       medical-programs (last visited July 22, 2019).        filed jointly. Therefore, DHS would not


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                                              be able to determine whether the alien                  benefits. As discussed in section III.R of            Additionally, the commenters provided
                                              or the U.S. citizen received the tax                    this preamble, DHS has added a heavily                further examples of Medicaid cost-
                                              credit. DHS has revised the regulatory                  weighted positive factor for private                  savings associated with WIC.
                                              text to make clear that ‘‘cash assistance               health insurance appropriate to the                      Another commenter cited to data and
                                              for income maintenance’’ does not                       expected period of admission. This                    stated that 74.9 percent of WIC
                                              include any tax credit programs.                        heavily weighted positive factor would                participants are adjunctively eligible for
                                                 Comment: One commenter stated that                   not apply in the case of a plan for which             SNAP and Medicaid, thereby reducing
                                              DHS should exempt up to two years of                    the alien receives subsidies in the form              initial certification requirements and
                                              the ACA premium subsidy, also known                     of premium tax credits.                               paperwork. Commenters added that the
                                              as the Premium Tax Credit (PTC), usage                                                                        decreased participation in Medicaid or
                                              when the individual has shown past                      Special Supplemental Nutrition                        SNAP among WIC families would have
                                              ability and earning potential. In                       Program for Women, Infants, and                       a significant impact on WIC’s
                                              addition, the commenter indicated that                  Children                                              certification process because income
                                              the ACA premium subsidies are applied                      Comment: Many comments opposed                     certification through adjunctive
                                              based on income levels without the                      the potential inclusion of WIC, stating               eligibility was more efficient than
                                              individual choosing to apply for the                    that consideration of benefits such as                income screening involving pay stubs
                                              subsidies. Another commenter                            WIC would have a negative impact on                   and other financial documents. The
                                              suggested that DHS should not consider                  the health and nutrition of families and              commenters, citing data and multiple
                                              PTC for purchasing individual market                    individuals. Some commenters                          studies, provided a state’s estimate that
                                              coverage in a public charge                             indicated that families and individuals               income screening with financial
                                              determination at all. One commenter                     should not have to choose between                     documents costs $12.50 per participant,
                                              stated that, in addition to continuing to               benefits such as WIC and an                           whereas the income screening with
                                              exclude exchange programs such as                       immigration status. Other commenters                  adjunctive eligibility is $3.75 per
                                              ACTC under the ACA 485 from public                      stated that programs like WIC help                    participant. The commenters stated that
                                              charge consideration, DHS should                        provide essential nutrition to children,              the increased costs would place a strain
                                              clarify the interaction between                         pregnant women, and mothers, and                      on WIC’s state budgets, which would
                                              applications for exchange programs and                  result in improved health outcomes.                   undercut WIC’s efforts to improve
                                              other potentially impacted benefits. The                Commenters provided anecdotes about                   efficiency, streamline certification
                                              commenter explained that marketplaces                   how they or their family members’                     processes, and focus WIC services on its
                                              are required by law to feature a uniform                access to WIC helped them or their                    core public health mission.
                                              application process for Medicaid and                    children thrive and become productive                    Other commenters said Congress has
                                              non-Medicaid health programs and                        members of American society. Several                  never sought to inhibit WIC’s ability to
                                              stated that this could cause confusion                  commenters provided rationale,                        serve immigrant populations due to the
                                              because an individual attempting to                     research, or data relating to important               overriding public interest in promoting
                                              apply for exchange insurance and                        public health goals and the benefits of               access to health services and nutrition
                                              programs could inadvertently be seen as                 WIC enrollment, including the                         assistance. A commenter noted that
                                              a ‘‘Medicaid applicant.’’                               reduction or prevention of preterm birth              participating clients can only spend a
                                                 In contrast, some commenters                         and infant mortality, iron deficiency                 maximum of five years on this program
                                              suggested that DHS should reconsider                    anemia, malnourishment, as well as                    and receive limited benefits (only
                                              whether immigrants wishing to reside in                 increases in breastfeeding rates and                  supplemental foods) not qualifying
                                              the United States will have the ability                 hemoglobin levels of enrolled children.               them a public charge. Some commenters
                                              to support themselves, and any                          Other commenters provided that the                    said the rule would impact their ability
                                              subsequently born children, without                     WIC food package with its nutritional                 to serve eligible WIC participants.
                                              using benefits like subsidies under the                 value increased public health,                           In contrast, some commenters
                                              ACA. Another commenter indicated that                   specifically for Hispanics who have                   suggested that USCIS reconsider
                                              serious consideration should be given to                lived in the United States for less than              whether immigrants wishing to reside in
                                              adding subsidies that underwrite more                   five years. Sourcing research articles                the United States will have the ability
                                              than 50 percent of premium costs to the                 and studies, some commenters                          to support themselves, and any
                                              list in 8 CFR 212.21(b). The commenter                  described that WIC’s 2009 food package                subsequently born children, without
                                              stated that these benefits are provided                 changes lead to a modest decline in                   using benefits like WIC. The commenter
                                              from appropriated funds and, with few                   severe childhood obesity among young                  said these benefits are provided from
                                                                                                      children, and that children who                       ‘‘appropriated funds’’ and with few
                                              exceptions, are accessed on an
                                                                                                      received SNAP or Medicaid were more                   exceptions are accessed on an
                                              individualized basis using means-tested
                                                                                                      likely to finish high school and grow up              individualized basis using means-tested
                                              criteria.
                                                 Response: DHS has decided not to                     to be successful adults.                              criteria.
                                                                                                         A commenter stated that the                           Response: WIC was not included in
                                              consider ACA subsidies or health
                                                                                                      reduction in programs like WIC will end               the public benefits designated for
                                              insurance received through the health
                                                                                                      up costing taxpayers much more than                   consideration in public charge
                                              insurance marketplace outside of
                                                                                                      they might save in the short term, as                 inadmissibility determinations. Only
                                              Medicaid as public benefits in the
                                                                                                      healthcare costs will increase.                       public benefits as defined in 8 CFR
                                              public charge inadmissibility
                                                                                                      Commenters stated that a decrease in                  212.21(b) will be considered in a public
                                              determination, due to the complexity of
                                                                                                      WIC participation will have short and                 charge inadmissibility determination.
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                                              assessing the value of the benefit and
                                                                                                      long-term economic implications. The                  DHS understands that aliens subject to
                                              the higher income eligibility thresholds
                                                                                                      commenters stated that for every dollar               the public charge inadmissibility
                                              associated with the benefit, as compared
                                                                                                      spent on WIC there is an associated                   ground may choose to disenroll from
                                              to the eligibility thresholds for other
                                                                                                      savings in Medicaid costs during the                  public benefits, even if the benefit is not
                                                485 Patient Protection and Affordable Care Act,       first 60 days after birth from $1.77 to               listed in 8 CFR 212.21(b). However, this
                                              Public Law 111–148, Section 1401(a), 124 Stat. 119,     $3.13 for newborns and mothers, and                   rule does not, and cannot, preclude
                                              213 (2010) (codified at 26 U.S.C. 36B).                 $2.84 to $3.90 for newborns alone.                    individuals from requesting or receiving


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                                              any public benefits for which they                      of a family in which a pregnant woman                 participating in any health and nutrition
                                              qualify. As discussed in the NPRM,                      or infant is certified as eligible to                 program will jeopardize their
                                              benefits directed toward food and                       receive Medicaid may be deemed                        immigration status. A commenter stated
                                              nutrition, housing, and healthcare are                  adjunctively eligible for WIC. DHS notes              that children who qualify for SNAP, or
                                              directly relevant to public charge                      that households receiving WIC would be                live with a child who receives SNAP,
                                              inadmissibility determinations, because                 adjunctively eligible only through                    are automatically qualified for free
                                              a person who needs the public’s                         noncitizen participation in SNAP or                   meals under the NSLP ‘‘direct
                                              assistance to provide for these basic                   Medicaid for those age 21 and over (or                certification’’ under 42 U.S.C.
                                              necessities is not self-sufficient.486                  receiving Medicaid while pregnant)                    1758(b)(12) and that when a family
                                              WIC 487 provides federal grants to States               which would only apply to a very small                disenrolls a child from the SNAP
                                              for supplemental foods, healthcare                      percentage of households receiving                    benefits, the school district may be
                                              referrals, and nutrition education for                  WIC. Any costs associated with changes                unable to ‘‘directly certify’’ that child or
                                              low-income pregnant, breastfeeding,                     in adjunctive eligibility would be a                  his/her siblings for free meal status.
                                              and non-breastfeeding postpartum                        consequence of DHS’s decision to                         Response: Although school lunch
                                              women, and to infants and children up                   designate SNAP, which DHS has                         programs provide for nutrition similar
                                              to age five who are found to be at                      explained earlier in this preamble.                   to SNAP, these benefits account for a
                                              nutritional risk.488 But overall                                                                              relatively low overall expenditure, are
                                                                                                      School Breakfast/Lunch Programs                       specific to children in a school setting,
                                              expenditures for WIC are low, and WIC
                                              is authorized under the Child Nutrition                    Comment: A few commenters                          and are administered by schools. In
                                              Act of 1966,489 which is excluded under                 recommended that DHS include the                      addition, assistance or benefits under
                                              the limitations for qualified aliens from               National School Lunch Program (NSLP)                  the National School Lunch Act, (NSLP
                                              federal means-tested public benefits.                   and School Breakfast Program (SBP) for                and the SBP) 490 and the Child Nutrition
                                              Therefore, DHS believes WIC is                          purposes of a public charge                           Act of 1966 are excluded under the
                                              appropriately excluded.                                 determination. The commenters stated                  limitations for qualified aliens from
                                                 Additionally, as discussed later in                  that receiving public benefits indicates              federal means-tested public benefits.491
                                              DHS’s responses to comments related to                  a person is not self-sufficient. Some                 Under 8 U.S.C. 1613, qualified aliens
                                              the economic analysis and in the                        commenters suggested that USCIS                       are generally not eligible for ‘‘means-
                                              economic analysis itself, DHS agrees                    reconsider whether immigrants wishing                 tested public benefits’’ until after five
                                              that some entities, such as State and                   to reside in the United States will have              years of entry. However, the child
                                              local governments or other businesses                   the ability to support themselves, and                nutrition programs, including the NSLP,
                                              and organizations would incur costs                     any subsequently born children,                       are excluded from this ineligibility. In
                                              related to the changes commenters                       without using benefits from the NSLP.                 addition, the law prescribes that a
                                              identify. However, these costs are                      The commenter said these benefits are                 person who receives free public
                                              considered to be indirect costs of the                  provided from ‘‘appropriated funds’’                  education benefits under State or local
                                              rule since this rule does not directly                  and with few exceptions are accessed on               law shall not be ineligible to receive
                                              regulate these entities and does not                    an individualized basis using means-                  benefits provided under the school
                                              require them to make changes to their                   tested criteria. A commenter stated that              lunch program under the Richard B.
                                              business processes or programs.                         in their local school district, hundreds              Russell National School Lunch Act 492
                                              Therefore, DHS considers these indirect                 of families had not reapplied for free/               or the SBP under section 4 of the Child
                                              costs as qualitative, unquantified effects              reduced meal program, which resulted                  Nutrition Act of 1966 493 on the basis of
                                              of the final rule since it is unclear how               in tens of thousands of dollars in lost               citizenship, alienage, or immigration
                                              many entities will choose to make                       revenue to its food service program, a                status.494 Therefore, DHS believes the
                                              administrative changes to their business                negative impact to the farming                        NSLP is appropriately excluded. In
                                              processes and the cost of making such                   community, and children who are                       addition, the other school related
                                              changes. DHS agrees that there could be                 hungry at school who cannot perform                   nutrition programs mentioned by the
                                              WIC applicants who are not                              well. The commenter indicated that                    commenter, including Seamless
                                              adjunctively eligible due to                            families were fearful of government                   Summer Option, Afterschool Meal
                                              disenrollment from Medicaid or SNAP                     assistance and the risk of being                      Supplement, Special Milk Program,
                                              although an individual who is a member                  separated from their families or                      Child and Adult Care Food Program,
                                                                                                      deported. A commenter stated that                     Summer Food Service Program, and the
                                                 486 See Inadmissibility on Public Charge Grounds,    Federal nutrition assistance programs                 Fresh Fruit and Vegetable Program,
                                              83 FR 51114, 51159 (proposed Oct. 10, 2018).            play a vital role in improving the                    would not be considered public benefits
                                                 487 See Lewis v. Thompson, 252 F.3d 567, 583 (2d
                                                                                                      nutritional well-being and food security              under the public charge inadmissibility
                                              Cir 2001). Although WIC may provide benefits to
                                              a pregnant woman’s whose unborn child would
                                                                                                      of targeted segments of the United States             determination.
                                              otherwise be eligible for public benefits after birth   population. The commenter stated that                    Further, DHS understands that a child
                                              based on U.S. citizenship, at least one circuit has     the California Department of Education                may no longer automatically enroll in
                                              determined that the denial of prenatal care to an       Nutrition Services Division administers
                                              unqualified alien pregnant woman had a rational                                                               the school lunch programs or be
                                              basis and therefore did not violate equal protection.   the NSLP, SBP, Seamless Summer                        automatically certified for the school
                                              The court indicated that there were ‘‘three             Option, Afterschool Meal Supplement,                  programs. However, the child would
                                              rationales for the denial of prenatal care to           Special Milk Program, Child and Adult
                                              unqualified alien pregnant mothers: deterrence of       Care Food Program, Summer Food                          490 See USDA, The School Breakfast Program,
                                              illegal immigration, self-sufficiency, and cost
                                                                                                      Service Program, and the Fresh Fruit
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                                              savings. The first alone suffices for rational basis                                                          available at https://fns-prod.azureedge.net/sites/
                                              review.’’                                               and Vegetable Program, which provide                  default/files/sbp/SBPfactsheet.pdf (last visited July
                                                 488 See USDA, Food and Nutrition Service,            nutrition for low-income children. The                26, 2019).
                                                                                                                                                              491 See Public Law 104–193, Section 403, 110
                                              Special Supplemental Nutrition Program for              commenter provided the number of
                                              Women, Infants, and Children, available at https://                                                           Stat. 2105, 2266 (Aug. 22, 1996) (codified at 8
                                                                                                      children receiving benefits under the                 U.S.C. 1613(c)(2)(D)).
                                              www.fns.usda.gov/wic/women-infants-and-
                                              children-wic (last visited June 14, 2019).              programs and indicated that the rule                    492 See 42 U.S.C. 1751 et seq.

                                                 489 See Public Law 104–193, section 423, 110 Stat.   could create confusion and a chilling                   493 See 42 U.S.C. 1773.

                                              2105, 2271–2247 (Aug. 22, 1996).                        effect on families’ perception that                     494 See 8 U.S.C. 1615.




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                                              still qualify for the programs based on                  a person’s self-sufficiency. In contrast, a              Food Assistance Program (TEFAP), as
                                              the eligibility criteria and this rule does              commenter objected to the proposed                       this program also qualifies as a means-
                                              not change the programs’ eligibility                     rule based on the commenter’s                            tested federal program and illustrates a
                                              criteria or restrict who may apply for the               assessment that programs such as Head                    person’s lack of self-sufficiency.
                                              programs.                                                Start and WIC will be impacted by the                    Commenters made similar points with
                                                                                                       proposed changes and their ‘‘chilling                    respect to additional programs, such as
                                              State and Local Benefits
                                                                                                       effect.’’ Commenters indicated that                      programs that provide grants to
                                                Comment: Referring to the PRWORA                       participation in Head Start programs has                 localities or organizations to alleviate
                                              definition of public benefits,495 a                      been shown to result in better                           homelessness, programs that provide
                                              commenter asked that public benefits                     educational and health outcomes as                       supplemental nutrition assistance to
                                              include State and local governments’                     well as lower rates of incarceration,                    specific populations, and programs that
                                              public benefits provided to non-                         ultimately saving local, state, and                      provide low-income energy assistance
                                              qualified aliens under the authority of                  federal tax dollars. A commenter stated                  or weatherization assistance.498 Some
                                              PRWORA. This commenter also                              that in Michigan farmworker families                     commenters recommended that DHS
                                              referenced federal and state retirement,                 one or both parents work and receive                     exclude these and similar programs to
                                              health, disability, postsecondary                        low wages enough to for their children                   avoid a range of costs that might be
                                              education, and unemployment benefits,                    to qualify for Head Start.                               incurred by individuals, communities,
                                              indicating that the eligibility for these                   Response: DHS appreciates the                         and government agencies, if DHS
                                              benefits is generally determined using                   comments and understands other                           included some or all of these programs.
                                              individualized adjudications of need,                    programs also provide for nutrition and                    Response: As stated earlier in this
                                              typically means-based. The commenter                     healthcare. DHS believes that the focus                  section, DHS believes that the focus of
                                              advised that in order to avoid APA                       of the rule is best served in considering                the rule is best served in considering
                                              challenges to the codification or                        certain general benefits directed toward                 certain general benefits directed toward
                                              arbitrary exclusions, DHS should                         food and nutrition, housing, and                         food and nutrition, housing, and
                                              include all of the statutory benefits that               healthcare that have high expenditures.                  healthcare, which have high
                                              can be accessed individually by needy                    DHS has decided to continue to exclude                   expenditures, and generally excluding
                                              persons. In contrast, other commenters                   Head Start. DHS notes that when                          emergency services or support. None of
                                              stated that benefits funded by states                    Congress reauthorized the Improving                      these programs have overall
                                              should not be included in public charge                  Head Start for School Readiness Act,496                  expenditures approaching the levels of
                                              determinations.                                          in 2007, it focused, in part, on ways to                 the other listed benefits, and some
                                                Response: While the proposed rule                                                                               provide emergency services or support,
                                                                                                       make Head Start services more
                                              included state and local and tribal cash                                                                          or involve providing funding to
                                                                                                       accessible to migrant and seasonal
                                              benefits for income maintenance, DHS                                                                              organizations, without an individual
                                                                                                       farmworker families. Because both
                                              excluded state, local, and tribal non-                                                                            enrollment mechanism. In the interest
                                                                                                       parents typically work in the fields,
                                              cash benefits from consideration in the                                                                           of administrability, DHS will not
                                                                                                       Migrant and Seasonal Head Start
                                              public charge inadmissibility                                                                                     consider these benefits at this time.
                                                                                                       (MSHS) programs offer 12 weeks to
                                              determination because of the number of
                                                                                                       year-round, full-day services to                         Pell Grants
                                              public benefits that exist and the
                                                                                                       accommodate local agricultural
                                              administrative burden such a rule                                                                                    Comment: Although several
                                                                                                       industries and harvest season workers.
                                              would have imposed on DHS and the                                                                                 commenters were generally pleased that
                                              state and local public benefit granting                  To be eligible for MSHS services, a
                                                                                                                                                                the proposed rule did not include
                                              agencies. In addition, including all state               family’s income must come primarily
                                                                                                                                                                public education benefits such as Pell
                                              and local benefits would add vagueness                   from agricultural work and the family
                                                                                                                                                                Grants or other financial aid, one
                                              and confusion as to what public benefits                 must be eligible otherwise for Head
                                                                                                                                                                commenter stated that fear and
                                              would be considered. Consistent with                     Start services (i.e., poverty,
                                                                                                                                                                confusion generated by the rule could
                                              the proposed rule, DHS will continue to                  homelessness, or foster care).497 Head
                                                                                                                                                                deter greater numbers of immigrant
                                              exclude state, local, and tribal benefits                Start also has a low expenditure in
                                                                                                                                                                youth or children of immigrants eligible
                                              that are not cash-benefits for these                     comparison to other benefits. Therefore,
                                                                                                                                                                for federal and state-funded aid
                                              reasons. Further, DHS would not                          DHS believes Head Start is
                                                                                                                                                                programs from applying to college. A
                                              consider federal and state retirement,                   appropriately excluded.
                                                                                                                                                                commenter indicated that the proposed
                                              Social Security retirement benefits,                     Healthy Start, The Emergency Food                        rule could effect changes in the U.S.
                                              Social Security Disability,                              Assistance Program, and Similar                          talent pipeline that would ultimately
                                              postsecondary education, or                              Programs                                                 undermine our nation’s global
                                              unemployment benefits as public                                                                                   competitiveness and regional growth,
                                                                                                         Comment: A few commenters asked
                                              benefits under the public charge                                                                                  and indicated that a highly educated
                                                                                                       that DHS include Healthy Start. The
                                              inadmissibility determination as these                                                                            workforce spurs economic growth and
                                                                                                       commenters stated that this program
                                              are considered to be earned benefits                                                                              strengthens state and local economies.
                                              through the person’s employment and                      also qualify as a means-tested federal
                                                                                                       program and illustrates a person’s lack                  The commenter stated that the rule
                                              specific tax deductions.                                                                                          would discourage and may decrease the
                                                                                                       of self-sufficiency. Some commenters
                                              Head Start                                               asked that DHS include The Emergency                     number of U.S.-citizen youth with non-
                                                                                                                                                                U.S. citizen parents, lawful permanent
                                                Comment: A few commenters asked
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                                                                                                          496 See Public Law 110–134, 121 Stat. 1363 (Dec.      residents, and undocumented
                                              that DHS include Head Start, because
                                                                                                       12, 2007).                                               immigrant youth who are long-term
                                              this program also qualifies as a means-                     497 See Office of Head Start Administration for
                                                                                                                                                                residents of the United States from
                                              tested federal program and goes toward                   Children and Families U.S. Department of Health          completing college degrees and
                                                                                                       and Human Services, Migrant And Seasonal Head
                                                495 Includes public benefits ‘‘provided by             Start Report To Congress (no date), available at         pursuing areas of national need
                                              appropriated funds of the United States’’ or ‘‘a state   https://eclkc.ohs.acf.hhs.gov/sites/default/files/pdf/
                                              or local government.’’ 8 U.S.C. 1611(c)(1),              migrant-seasonal-congress-report-2009-2011.pdf             498 Such as LIHEAP and Weatherization

                                              1621(c)(1).                                              (last visited July 26, 2019).                            Assistance Program (WAP).



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                                              particularly true in the fields of science,             overcome trauma and address physical                  commenters cited data on the number of
                                              technology, engineering, and                            injuries inflicted by their abusers.                  people who would disenroll from CHIP.
                                              mathematics (STEM). Another                                Many commenters generally warned                   Many commenters suggested that those
                                              commenter requested that DHS                            that CHIP should not be included in                   foregoing CHIP coverage due to the rule,
                                              explicitly exclude Title IV federal                     public charge assessments because                     may visit emergency departments for
                                              student aid programs from the list of                   doing so would cause significant harm,                care that could have otherwise been
                                              those considered for a public charge                    including serious health consequences,                obtained in a primary care setting and
                                              determination.                                          costly long-term expenses for health                  would cause a rise in the number of
                                                Response: Pell grants and student aid                 care providers and patients, and food                 uninsured people and charity care,
                                              programs will not be considered in the                  insecurity in children, which is                      thereby transferring the financial burden
                                              public charge inadmissibility                           especially detrimental to the health,                 to hospitals, and forcing hospitals to
                                              determination. As previously discussed,                 educational performance, development,                 reduce the healthcare services that they
                                              DHS’s list of public benefits included in               and well-being of children. A                         are able to provide to communities.
                                              the regulation is an exhaustive list and                commenter stated that including CHIP                     Several commenters stated that by
                                              only those benefits listed will be                      would lead to parents having to choose                including CHIP, USCIS would be able to
                                              considered in a public charge                           between their child’s health, and the                 specifically target families with children
                                              inadmissibility determination. The                      public charge determination and                       who may be eligible for CHIP even if the
                                              focus of the rule is public benefits                    immigration status. Numerous                          family surpasses the 125 percent of the
                                              programs that provide cash assistance                   commenters said including CHIP in                     FPL standard laid out in the proposal.
                                              for income maintenance or support food                  public charge assessments would be                    Numerous commenters stated that CHIP
                                              nutrition, housing and healthcare with a                contrary to Congress’ explicit intent in              addresses a critical coverage gap,
                                              relatively high overall expenditure. Pell               expanding coverage to lawfully present                targeting working families that earn too
                                              grants and student aid programs are                     children and pregnant women for public                much to be eligible for Medicaid but
                                              education-based and DHS is not                          health, economic, and social benefits. A              cannot afford traditional private
                                              considering them in the public charge                   commenter stated that the higher                      insurance. Commenters stated that
                                              inadmissibility determination. DHS                      income thresholds for Medicaid and the                making the receipt of CHIP coverage a
                                              decided to not include a list of those                  Children’s Health Insurance Program                   negative factor in the public charge test,
                                              benefits that are not considered for                    Reauthorization Act of 2009 (CHIPRA)                  or including it in the definition of
                                              public charge purposes because they are                 state option represents a clear intent by             ‘‘public charge,’’ would place coverage
                                              too numerous and benefits programs                      Congress to ensure that pregnant                      for children out of reach. Other
                                              may change over time.                                   immigrant women have access to the                    commenters stated that including CHIP
                                                                                                      medical services necessary to ensure a                in the final rule will create additional
                                              Children’s Health Insurance Program
                                                                                                      healthy pregnancy and positive birth                  financial pressures on working families,
                                                Comment: A commenter asked that                       outcomes. Other commenters stated that                and would penalize those who are
                                              USCIS consider the inclusion of                         including CHIP, a benefit explicitly                  moving toward self-sufficiency, as they
                                              additional welfare programs such as                     created for working families, in public               do not qualify for Medicaid due to their
                                              CHIP. Some commenters noted that                        charge assessments would be contrary to               increased income. A few commenters
                                              CHIP ought to be part of a public benefit               the historical meaning of public charge               stated that past use of CHIP is not a
                                              determination because it is still part of               as a person who depends on the                        predictor of future dependence on the
                                              determining an applicant’s overall self-                government rather than working. Many                  Government for subsistence as an adult.
                                              sufficiency. Another commenter stated                   commenters stated that Congress and                      Many commenters stated that DHS’s
                                              that CHIP should be included in the                     states have historically demonstrated a               reasons for not including CHIP in the
                                              public charge determination for                         high level of commitment to promoting                 proposed rule have nothing to do with
                                              consistency purposes, because CHIP is a                 health for lower-income children                      a public charge determination because
                                              form of government support and                          through CHIP, with 49 states now                      CHIP does not involve the same level of
                                              applying consistent standards ensures                   electing to cover children though                     expenditures as other programs;
                                              the Government’s goal of promoting                      CHIPRA and the Legal Immigrant                        commenters stated that government
                                              self-sufficiency.                                       Children’s Health Improvement Act                     expenditures are irrelevant to the
                                                In contrast, numerous commenters                      (ICHIA).                                              assessment of whether an individual
                                              requested that CHIP be explicitly                          Commenters stated that penalizing the              may become a public charge. Some
                                              exempt from public charge; these                        use of CHIP undercuts the sound public                stated that DHS’s reasons for not
                                              commenters cited to studies and                         policies many states have put in place                including CHIP indicates that DHS
                                              indicated that millions of children and                 to ensure basic healthcare services are               recognizes that immigrants do not over-
                                              thousands of pregnant women rely on                     available to immigrants to protect their              utilize the CHIP program and, thus,
                                              the program for health coverage. Others                 health and to promote healthy                         including CHIP in the final rule would
                                              also discussed the importance and                       communities. Another commenter cited                  only serve the purpose of denying
                                              benefits of CHIP for children, such as                  a study indicating that the inclusion of              immigrant children a benefit that
                                              providing vaccinations; keeping                         CHIP in the final rule would have                     supports their basic health needs. Other
                                              children healthy; reducing the rate of                  significant public health and economic                commenters stated that Federal CHIP
                                              uninsured children across the United                    ramifications, including lower rates of               funding is capped and, thus, reduced
                                              States; and improving children’s health,                healthcare utilization and poorer health              spending in states with larger immigrant
                                              education, and outcomes later in life; as
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                                                                                                      among immigrants and their dependents                 populations will not reduce overall
                                              well as long-term economic benefits into                as well as higher uncompensated care                  Federal spending, but will disadvantage
                                              adulthood such as job attainment and                    costs to federally qualified health                   those states relative to states with a
                                              paying more in taxes. Several                           centers and public hospitals. Many                    smaller immigrant population. Another
                                              commenters stated that CHIP provided a                  commenters stated that including CHIP                 commenter stated that while the
                                              critical link for children who have                     in a public charge determination would                proposal exempts CHIP, it was unclear
                                              experienced abuse or who are in homes                   lead to many parents of eligible children             what would happen to beneficiaries in
                                              where domestic violence is present to                   foregoing CHIP benefits and some                      states that have opted to implement


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                                              CHIP as part of a Medicaid expansion                     SNAP) should be excluded from the                    NPRM,504 the language of section
                                              rather than a separate program.                          public charge determination to allow                 212(a)(4) of the Act, 8 U.S.C. 1182(a)(4),
                                                 Response: DHS appreciates the                         families or persons who have                         requires a predictive assessment. Terms
                                              comments and recognizes the                              experienced a catastrophic disaster,                 such as ‘‘become’’ and ‘‘likely at any
                                              importance of CHIP. DHS determined                       such as a fire or a hurricane, to receive            time’’ indicate that the assessment
                                              that it will not include CHIP in the                     D–SNAP benefits without fear of being                should be based on factors that tend to
                                              public charge inadmissibility                            subject to a public charge                           reasonably show that the burden of
                                              determination. States can use CHIP                       inadmissibility determination.                       supporting the alien is likely to be cast
                                              funding to cover children at higher                        Response: D–SNAP and other                         on the public.505 As established in the
                                              incomes under CHIP.499 CHIP enrollees                    emergency disaster relief assistance                 NPRM, case law supports this view and
                                              have a higher income and states have                     programs are not included in the rule.               is therefore consistent with the pre-1999
                                              greater flexibility in the benefit package               DHS also notes that, as provided in the              approach to public charge and the
                                              provided.500 An individual must be                       NPRM, not all cash assistance would                  definition of ‘‘likely at any time in the
                                              ineligible for Medicaid to quality for                   qualify as cash assistance for income                future to become a public charge’’ as
                                              CHIP. CHIP primarily covers children,                    maintenance under the proposed rule.                 added to 8 CFR 212.21(c).506 While
                                              including lawfully residing children,                    For instance, DHS would not consider                 Congress could have added ‘‘in the
                                              and in a handful of states and covers                    Stafford Act disaster assistance,                    future,’’ Congress’ wording of the public
                                              pregnant women.501 Eligible families                     including financial assistance provided              charge provision clearly indicates
                                              have higher incomes (between 133–400                     to individuals and households under                  prospective determination; DHS added
                                              percent FPL).502 In addition, states (and                the Federal Emergency Management                     the words to clarify that any time is
                                              in turn the Federal Government) tend to                  Agency’s Individuals and Households                  prospective and forward looking.507
                                              spend less per person on CHIP than on                    Program, 42 U.S.C. 5174, as cash                        Comment: Commenters stated that the
                                              Medicaid because the families have a                     assistance for income maintenance. The               proposed rule is impermissibly vague by
                                              higher income and thus fewer                             same would hold true for comparable                  failing to define ‘‘likely’’ as the term is
                                              healthcare needs, and because children                   disaster assistance provided by State,               used in ‘‘likely to become a public
                                              are less expensive to cover. Overall                     local, or tribal governments.                        charge.’’ One commenter indicated that
                                              expenditures are also lower than                                                                              DHS failed to define ‘‘likely’’ although
                                                                                                       Social Security Disability Insurance                 it used the term throughout the entire
                                              Medicaid.503 Finally, exclusion of CHIP
                                              is consistent with this rule’s changes                      Comment: A commenter stated that                  rule. The commenter indicated that DHS
                                              with respect to Medicaid received by a                   the rule should not consider Social                  used a specific dollar amount for
                                              child under the age of 21 and receipt                    Security Disability Insurance (SSDI) as              purposes of the public charge
                                              during an alien’s pregnancy. Therefore,                  part of the public charge inadmissibility            determination, yet, DHS failed to
                                              DHS believes it is appropriate to                        determination because SSDI is an                     provide a threshold amount for
                                              exclude CHIP from the public benefit                     earned benefit which may be a parent of              adjudicators to use to assess the
                                              definition in the public charge                          a child.                                             likeliness of becoming a public charge
                                              inadmissibility determination.                              Response: DHS will only consider                  in the future. Additionally, the
                                                                                                       those public benefits as listed in the               commenter also indicated that although
                                              Disaster Supplemental Nutrition                                                                               DHS provided numerous statistics on
                                                                                                       rule. SSDI is not one of the benefits
                                              Assistance                                                                                                    benefits use rates, DHS never clarified
                                                                                                       listed under the definition of public
                                                Comment: A commenter                                                                                        what likelihood is high enough to justify
                                                                                                       benefits for purposes of public charge
                                              recommended that Disaster                                                                                     a denial.508 Therefore, the commenter
                                                                                                       inadmissibility and therefore will not be
                                              Supplemental Nutrition Assistance (D–                                                                         suggested defining the term ‘‘likely’’ as
                                                                                                       considered as part of the rule.
                                                                                                                                                            a ‘‘probability of becoming a public
                                                 499 CHIP-funded Medicaid coverage generally can       3. Likely at Any Time To Become a                    charge equal to or greater than 75
                                              be used for children whose income is above the           Public Charge                                        percent.’’
                                              Medicaid income standard in effect in the state in                                                               Response: DHS appreciates the
                                              1997, when the CHIP program was first established.          Comment: A commenter stated that                  comment and agrees that the meaning of
                                                 500 Medicaid.gov, CHIP Eligibility, available at      DHS interprets ‘‘likely at any time to               likely at any time in the future to
                                              https://www.medicaid.gov/chip/eligibility-               become a public charge’’ to mean                     become a public charge needs
                                              standards/index.html (last visited June 13, 2019).       ‘‘likely at any time in the future to
                                                 501 See Medicaid.gov, Medicaid and CHIP                                                                    clarification. However, DHS will not
                                              Coverage of Lawfully Residing Children and
                                                                                                       receive one or more public benefits. . .
                                              Pregnant Women, available at https://                    based on the totality of the                           504 See Inadmissibility on Public Charge Grounds,
                                              www.medicaid.gov/medicaid/outreach-and-                  circumstances,’’ and DHS does not                    83 FR 51114, 51174–75, 51178–79 (proposed Oct.
                                              enrollment/lawfully-residing/index.html (last            propose to establish a per se policy                 10, 2018).
                                              visited June 13, 2019).                                                                                         505 See, e.g., Matter of Martinez-Lopez, 10 I&N
                                                 502 See Medicaid.gov, Medicaid, Children’s
                                                                                                       whereby an alien is likely to become a
                                                                                                                                                            Dec. 421 (Att’y Gen. 1964).
                                              Health Insurance Program, & Basic Health Program         public charge if the alien is receiving                506 See Inadmissibility on Public Charge Grounds,
                                              Eligibility Levels, available at https://                benefits at the time of the application.             83 FR 51114, 51174–75, 51178–79 (proposed Oct.
                                              www.medicaid.gov/medicaid/program-information/           The commenters stated that DHS’s                     10, 2018).
                                              medicaid-and-chip-eligibility-levels/index.html (last    reasoning is ‘‘less than transparent’’ and             507 See Inadmissibility on Public Charge Grounds,
                                              visited July 27, 2019).                                                                                       83 FR 51114, 51174–75, 51178–79 (proposed Oct.
                                                 503 See U.S. Dep’t of Health and Human Servs.
                                                                                                       conflicts with both pre-1999 practice
                                                                                                                                                            10, 2018).
                                              (HHS), Centers for Medicare & Medicaid (CMS),            and statutory interpretation. A                        508 The commenter referred to a 1999 Central
                                              Expenditure Reports from MBES/CBES. Available at         commenter stated that Congress could
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                                                                                                                                                            Intelligence Agency study in which was concluded
                                              https://www.medicaid.gov/medicaid/finance/state-         have added the phrase ‘‘in the future’’              that NATO military officers did not interpret the
                                              expenditure-reporting/expenditure-reports/                                                                    words ‘‘likely’’ or ‘‘unlikely’’ in a consistent manner
                                              index.html (last visited July 27, 2019). For a list of
                                                                                                       but has repeatedly declined to do so.
                                                                                                                                                            showing a wide variation. See Richard J. Heuer, Jr.,
                                              federal expenditures by program, see FY 2016 data           Response: DHS disagrees with the                  Psychology of Intelligence Analysis, Central
                                              from table 2 of Gene Falk et al., Cong. Research         commenter that the interpretation of                 Intelligence Agency (1999), p. 155, https://
                                              Serv., R45097, Federal Spending on Benefits and          ‘‘likely at any time in the future’’                 www.cia.gov/library/center-for-the-study-of-
                                              Services for People with Low Income: In Brief                                                                 intelligence/csi-publications/books-and-
                                              (2018), available at https://fas.org/sgp/crs/misc/
                                                                                                       conflicts with the statutory wording and             monographs/psychology-of-intelligence-analysis/
                                              R45097.pdf (last visited July 27, 2019).                 pre-1999 practice. As explained in the               PsychofIntelNew.pdf (last visited July 26, 2019).



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                                              accept the suggestion that likely at any                  charge at 212.21(c) to clarify that a                      their own definition of household as
                                              time to become a public charge means                      person is likely to become a public                        discussed in the NPRM.
                                              a 75 percent likelihood that the alien                    charge if it is ‘‘more likely than not’’                      Furthermore, as discussed in the
                                              would become a public charge at any                       that the individual at any time in the                     NPRM, DHS is not fully adopting the
                                              time in the future. As with other key                     future will receive one or more public                     IRS definition of ‘‘dependent.’’ 516 That
                                              terms in the statute, Congress did not                    benefits, as defined in 8 CFR 212.21(b),                   definition would generally require some
                                              define or otherwise describe what it                      based on the totality of the alien’s                       type of relationship to the person filing
                                              meant by likely at any time to become                     circumstances.512                                          (including step and foster children and
                                              a public charge. DHS believes likely in                                                                              their children) whether or not the
                                                                                                        4. Household                                               dependent is living with the person
                                              the context of likely at any time to
                                              become a public charge is best                               Comment: Several commenters                             filing and the amount of support being
                                              considered as probable, i.e., more likely                 expressed concern with the new                             provided by the person filing (over 50
                                              than not. Although, as the commenter                      definition of ‘‘household.’’ A                             percent).517 For tax purposes,
                                              noted, the term ‘‘likely’’ has been                       commenter stated that this new                             dependents may include U.S. citizens,
                                              inconsistently defined in some                            definition is designed to apply to as                      U.S. resident aliens, U.S. nationals, and
                                              contexts,509 equating likely at any time                  many people as possible and would be                       residents of Canada or Mexico.518 DHS’s
                                              to more likely than not is nonetheless                    the most expansive definition of                           definition would adopt the IRS
                                              consistent with the approach many                         ‘‘household’’ within the Executive                         consideration of the amount of support
                                              courts have taken in the determining the                  Branch. A few commenters asserted that                     being provided to the individuals (50
                                              meaning of likely.510 DHS believes that                   the proposed rule rejects both the HHS                     percent) as the threshold for considering
                                              defining likely at any time to mean                       and the IRS definitions of ‘‘dependent’’                   an individual as part of the household
                                              ‘‘more likely than not’’ is consistent                    and ‘‘household’’ in favor of arbitrary                    in the public charge determination,
                                              with how the DHS regulations                              standards set by DHS. Another                              rather than consider any support being
                                              implementing withholding of removal                       commenter indicated that different                         provided.519 As discussed in the NPRM,
                                              and deferral of removal under the                         agencies have their own definition of a                    DHS believes that the ‘‘at least 50
                                              Convention Against Torture have used                      ‘‘household,’’ which leads to variance                     percent of financial support’’ threshold
                                              ‘‘more likely than not’’ interchangeably                  and an uneven application of the law.                      as used by the IRS is reasonable to apply
                                              with ‘‘likely to.’’ 511                                      Response: DHS disagrees that the                        to the determination of who belongs in
                                                Therefore, DHS has amended the                          definition of household would be the                       an alien’s household, without regard to
                                              definition of likely to become a public                   most expansive in the Executive Branch                     whether these individuals physically
                                                                                                        or that it acts as a penalty. As discussed                 reside in the alien’s home. This would
                                                 509 For example, a review of state laws on             in the NPRM,513 the poverty guidelines                     include those individuals the alien may
                                              determining when sex offenders are ‘‘likely’’ to          do not define who should be considered                     not have a legal responsibility to
                                              reoffend found that ‘‘states vary greatly on how they     part of the household, and different
                                              define likely’’ with some states define it as greater                                                                support but may nonetheless be
                                              than 50 percent or substantially probable while           agencies and programs have different                       supporting. DHS believes that an alien’s
                                              others have expressly rejected standard based on          standards for determining household                        ability to support a household is
                                              percentages. Jefferson C. Knighton, Daniel C.             size.514 For example, and as explained                     relevant to DHS’s consideration of the
                                              Murrie, Marcus T. Boccaccini, & Darrel B. Turner,         in the NPRM,515 SNAP uses the term
                                              How Likely is ‘Likely to Reoffend’ in Civil Sex                                                                      alien’s assets, resources, financial status,
                                              Offender Commitment Trials, 38 Law & Hum,                 ‘‘household’’ and includes everyone                        and family status.
                                              Behav. 293, 294–96 (2014). N.B. DHS is referencing        who lives together and purchases and                          Comment: Several commenters
                                              sex offender statutes to show the lack of clarity in      prepares meals together, which is more                     expressed concern with the definition
                                              defining the word likely; DHS is not implying, in         expansive than the definition that DHS
                                              any way, any similarity between those who commit                                                                     classifying people as household
                                              sexual crimes to those who are subject to public          is adopting. DHS further disagrees that                    members if the alien contributes 50
                                              charge.                                                   the standard is arbitrary. However, DHS                    percent or more to their financial
                                                 510 See, e.g., Southwest Sunsites, Inc. v. F.T.C.,     does agree that different agencies have                    support. A commenter said that this
                                              785 F.2d 1431 (9th Cir.) (‘‘First, the FTC must show
                                              probable, not possible, deception (‘likely to                512 This change clarifies the definition of likely to
                                                                                                                                                                   requirement is vague and too expansive,
                                              mislead,’ not ‘tendency and capacity to mislead’).’’
                                                                                                        become a public charge, but it does not alter the          asserting that many families live in
                                              (emphasis in the original)), cert. denied, 479 U.S.
                                                                                                        burden that adjustment applicants bear in
                                              828 (1986); Fermin v. Pfizer Inc., 215 F. Supp. 3d
                                                                                                        demonstrating that they are admissible. As with any           516 See 26 U.S.C. 152; see also Inadmissibility on
                                              209, 211 (E.D.N.Y. 2016) (‘‘The term ‘likely’
                                                                                                        other ground of inadmissibility, an applicant for          Public Charge Grounds, 83 FR 51114, 51176
                                              indicates that deception must be probable, not just
                                                                                                        adjustment of status still has the burden of               (proposed Oct. 10, 2018), discussing IRS
                                              possible.’’); Siderca, S.A.I.C. v. United States, 28
                                              C.I.T. 1782, 350 F. Supp.2d 1223, 1226 (Ct. Int’l         demonstrating that he or she is clearly and beyond         Publication 501 (Jan 2, 2018), available at https://
                                              Trade 2004) (‘‘The common meaning of ‘likely’ is          doubt entitled to be admitted to the United States         www.irs.gov/pub/irs-pdf/p501.pdf (last visited May
                                              ‘probable,’ or, to put it another way, ‘more likely       and is not inadmissible. See Matter of Bett, 26 I&N        8, 2019).
                                              than not.’’’); In re G.H., 781 NW2d 438, 445 (Neb.        Dec. 437, 440 (BIA 2014). Adjustment applicants               517 See Inadmissibility on Public Charge Grounds,

                                              2010) (holding that ‘‘ ‘probable,’ in other words,        have the burden to show that they clearly and              83 FR 51114, 51176 (proposed Oct. 10, 2018),
                                              more likely than not’’ satisfies the ‘‘likely to engage   beyond doubt satisfy the standard of not being more        discussing IRS Publication 501 (Jan 2, 2018),
                                              in repeat acts of sexual violence’’ standard under        likely than not to become a public charge in the           available at https://www.irs.gov/pub/irs-pdf/
                                              Nebraska law.).                                           future. See generally House v. Bell, 547 U.S. 518,         p501.pdf.
                                                 511 Compare 8 CFR 208.16(c)(4) (‘‘If the               538 (2006) (discussing habeas petitioner’s burden of          518 See Inadmissibility on Public Charge Grounds,

                                              immigration judge determines that the alien is more       showing ‘‘more likely than not’’ with the standard         83 FR 51114, 51176 (proposed Oct. 10, 2018),
                                              likely than not to be tortured in the country of          of ‘‘no reasonable juror would find him guilty             discussing IRS Publication 501 (Jan 2, 2018),
                                              removal, the alien is entitled to protection under        beyond a reasonable doubt.’’)                              available at https://www.irs.gov/pub/irs-pdf/
                                                                                                           513 See Inadmissibility on Public Charge Grounds,
                                              the Convention Against Torture.’’) with 8 CFR                                                                        p501.pdf.
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                                              208.17(b)(2) (‘‘The immigration judge shall also          83 FR 51114, 51176 (proposed Oct. 10, 2018).                  519 See Internal Revenue Serv., Dependency
                                                                                                           514 See Inadmissibility on Public Charge Grounds,
                                              inform the alien that removal has been deferred                                                                      Exemptions, available at https://apps.irs.gov/app/
                                              only to the country in which it has been determined       83 FR 51114, 51176 (proposed Oct. 10, 2018),               vita/content/globalmedia/4491_dependency_
                                              that the alien is likely to be tortured, and that the     discussing Annual Update of the HHS Poverty                exemptions.pdf (last visited July 26, 2017); see also
                                              alien may be removed at any time to another               Guidelines, 83 FR 2642 (Jan. 18, 2018). See also           Internal Revenue Serv., Table 2: Dependency
                                              country where he or she is not likely to be               HHS Annual Update of the HHS Poverty                       Exemption for Qualifying Relative, available at
                                              tortured.’’) (emphasis added). See generally Matter       Guidelines, 84 FR 1167 (Feb. 1, 2019).                     https://apps.irs.gov/app/vita/content/globalmedia/
                                              of Chawathe, 25 I&N Dec. 369, 376 (2010)                     515 See Inadmissibility on Public Charge Grounds,       table_2_dependency_exemption_relative_4012.pdf
                                              (discussing the more likely than not standard).           83 FR 51114, 51176 (proposed Oct. 10, 2018).               (last visited July 26, 2018).



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                                              extended family and close friend                        household may be working to support                   with the commenters that children
                                              housing that share the cost of utilities,               the household.                                        would be considered a downward factor
                                              transportation, food, etc., which can                      With the definition of household,                  for determining overall household
                                              lead to difficult miscalculations of this               DHS aims to account for both the                      income. DHS’s definition of household
                                              50 percent threshold. Similarly, one                    persons whom the alien is supporting                  member adopts the IRS consideration of
                                              commenter stated that household size is                 and those who are contributing to the                 the amount of support being provided to
                                              not predictive of a person’s propensity                 household to support the alien, and thus              individuals (50 percent) as the threshold
                                              to become a public charge, but is instead               to the alien’s assets and resources.522               for considering an individual as part of
                                              the natural consequence of working                      DHS will consider any of the family                   the household. Therefore, DHS will
                                              people pooling together their resources                 members supported, including those                    retain the standard as proposed.
                                              to support each other. Other                            who are supported outside the United                     Comment: Several commenters
                                              commenters provided the example that                    States and listed on Form I–944. DHS                  remarked that this assessment would
                                              many immigrants provide financial                       clearly outlined in the regulatory                    have a disproportionally negative
                                              support to family members who remain                    provision who is included in the                      impact on immigrant women, asserting
                                              in their countries of origin and in some                definition of household and therefore                 that immigrant women are more likely
                                              countries, as little as $100 a month can                DHS does not agree that the definition                than immigrant men to have one of
                                              constitute more than 50 percent of an                   is vague or too expansive, but agrees                 more children living in the same
                                              individual’s financial support, which                   that it may be, depending on the                      household, and therefore, more likely to
                                              would mean that the person should be                    specific circumstances of the household,              have a large household. Some
                                              counted as part of the immigrant’s                      either over-or under-inclusive.                       commenters stated this requirement
                                              household size, which would drive up                       Comment: Commenters stated that,                   directly imposes on an immigrant
                                              the earnings they would need to meet                    although the receipt of benefits by U.S.              woman’s bodily autonomy and agency,
                                              the threshold by much higher amounts.                   citizen children would not be a negative              particularly if or when to have children,
                                              Multiple commenters asserted that                       factor to their noncitizen parent’s                   by counting having a large family
                                              immigrants could be penalized for                       application, the mere fact that the                   against them as part of the public charge
                                              providing family support to a sibling                   children are in the household would be                determination. A commenter discussed
                                              with disability or parents to whom they                 a downward factor for determining                     the definition’s impact on domestic and
                                              have no legal obligation. A commenter                   overall household income. Another                     sexual violence survivors, asserting that
                                              said the definition could cause harm to                 commenter stated that children should                 this population could be penalized for
                                              larger households who must show larger                  not be included in the household                      providing continuing support to former
                                              incomes or resources to support the                     calculation because most support                      partners or family members if they were
                                                                                                      agreements or orders do not contain                   involuntarily coerced into providing
                                              larger numbers being counted,
                                                                                                      information to determine whether a                    such support or have ceased living with
                                              regardless of the reality of the financial
                                                                                                      potential amount is 50 percent of the                 them due to abuse. The commenter
                                              benefits that households may be
                                                                                                      financial support of a child. A                       added that the rule could penalize
                                              providing to society. This commenter
                                                                                                      commenter stated that verifying which                 victims who often seek the help of
                                              also stated that it could be especially
                                                                                                      individuals provide to the applicant at               family members to alleviate housing and
                                              harmful to immigrant families who
                                                                                                      least 50 percent of their financial                   childcare expenses and strengthen their
                                              often care for extended family members
                                                                                                      support requires a fact-intensive review              ties to the United States.
                                              in cases of emergencies without being                                                                            Response: DHS is implementing a
                                              legally required to do so.                              of not only cash support, but non-cash
                                                                                                                                                            statutory ground of inadmissibility
                                                 Response: As explained in the                        support such as room and board or
                                                                                                                                                            provided by Congress; the goal of the
                                              NPRM,520 DHS considers an alien’s                       payment of utilities that may only be                 rule is not to penalize but to ensure that
                                              household size not only as part of the                  partly attributable to the noncitizen. The            those coming to the United States are
                                              alien’s asset, resources, and financial                 commenters said this overly                           self-sufficient and not likely depend on
                                              status but also for purposes of the family              complicates the household size                        public resources. DHS also incorporated
                                              status. As is the case with all of the                  assessment, particularly as compared to               exceptions provided by Congress,
                                              factors and consideration, DHS will                     the relatively straightforward                        including those applicable to battered
                                              consider the impact of the household                    determination used for the current Form               spouses and children.524 Therefore,
                                              size as part of the totality of the                     I–864.                                                DHS disagrees that the rule penalizes
                                              circumstances.521 Therefore, having                        Response: As indicated in the NPRM,                domestic and sexual violence survivors.
                                              support from other household members                    as part of the description of the                     As it is the case for all, the public charge
                                              may be a positive consideration while                   definition of household and family                    assessment will be made in the totality
                                              having assets below the 125 percent                     status 523 research and data have shown               of the circumstance to determine
                                              threshold for the household size may be                 that the number of household members                  whether an applicant is likely, at any
                                              a negative consideration because it                     may affect the likelihood of receipt of               time in the future, to become a public
                                              indicates that an alien may be likely to                public benefits. However, the number of               charge.
                                              become a public charge. For these                       household members may also positively                    Comment: A commenter said the
                                              reasons, DHS considers the household                    affect the financial status and                       definition does not allow for the
                                              size a relevant consideration in the                    household, depending on the alien’s                   exclusion of the alien’s household
                                              public charge assessment and predictive                 and household’s circumstances, include                members who are not intending to
                                                                                                      other member’s employment and
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                                              of the likelihood, within the totality of                                                                     immigrate within six months of the
                                              the circumstances, that an alien will                   financial contributions to the                        immigrant’s application, which holds
                                              become a public charge. DHS recognizes                  household. Therefore, DHS disagrees                   the applicant fiscally responsible for an
                                              that multiple individuals in the                                                                              individual that they will not be living
                                                                                                        522 See Inadmissibility on Public Charge Grounds,

                                                                                                      83 FR 51114, 51177 (proposed Oct. 10, 2018).
                                                                                                                                                            with for at least 6 months after
                                                520 See Inadmissibility on Public Charge Grounds,       523 See Inadmissibility on Public Charge Grounds,   immigrating to the United States.
                                              83 FR 51114, 51175 (proposed Oct. 10, 2018).            83 FR 51114, 51176–51178, 51184 (proposed Oct.
                                                521 See 8 CFR 212.22(a).                              10, 2018).                                              524 See   8 CFR 212.23.



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                                                 Response: As explained in the NPRM,                  cash benefit use among noncitizens in                 inadmissibility determination—these
                                              for purposes of the household                           Table 17 in the NPRM had high                         factors include the alien’s assets,
                                              definition, DHS will take into                          variance, indicating only that the rates              resources, and financial status. While
                                              consideration both individuals living in                were about one to three percent across                the affidavit of support is required for
                                              the alien’s home and individuals not                    family size groups. Therefore, DHS                    most family-based applications and
                                              living in the alien’s home, including                   believes that the data properly reflects              some employment-based applications, it
                                              aliens living outside the United States,                that receipt of noncash benefits                      is set apart from those factors, and may
                                              for whom the alien, and or the alien’s                  generally increases with an increase in               be considered in a public charge
                                              parents or legal guardians are providing,               family size.                                          inadmissibility determination as a
                                              or are required to provide, at least 50                    Comment: A commenter stated that                   separate consideration.526 This indicates
                                              percent of financial support.525 DHS                    the rule ‘‘contravenes PRWORA and                     that Congress intended for the affidavit
                                              therefore does not focus on the location                IIRIRA by drastically limiting how a                  of support and the public charge
                                              of the financially supported person, but                sponsor’s income is considered as part                determination to serve similar, but not
                                              on the fact that the person is receiving                of the public charge analysis—even                    identical functions.
                                              more than 50 percent of financial                       though the sponsor’s commitment is                       As discussed in the NPRM, DHS
                                              support from the applicant, rendering                   legally enforceable.’’ The commenter                  chose a definition of household that
                                              those funds unavailable to the applicant                stated that only considering the                      takes into account the definitions used
                                              for his or her own support and self-                    sponsor’s income if (i) the sponsor                   by benefit-granting agencies and that
                                              sufficiency.                                            physically lives with the noncitizen, or              captures individuals who are financially
                                                 Comment: A commenter expressed                       (ii) ‘‘the sponsor is already contributing            interdependent with the alien. In
                                              their opposition to the NPRM assertion                  50 percent or more of the alien’s                     considering gross household income,
                                              that ‘‘the receipt of non-cash benefits                 financial support,’’ has no basis in                  USCIS will also consider any monthly
                                              generally increased as family size                      either PRWORA or IIRIRA and ‘‘would                   or annual income from individuals who
                                              increased.’’ This commenter referenced                  run contrary to the basic logic                       are not included in the alien’s
                                              Table 17 in the NPRM, which the                         undergirding the sponsor affidavit                    household, where the support to the
                                              commenter stated indicated that non-                    provisions of both laws’’ because under               household has been provided to the
                                              cash benefit usage is higher among                      PRWORA and IIRIRA, a sponsor must                     household on a continuing monthly or
                                              families of three (22.3 percent) than                   have an income of at least 125 percent                yearly basis during the most recent
                                              families of four (20.7 percent). The same               of the FPL, and both the sponsored                    calendar year.527 Accordingly, if the
                                              commenter cited information claiming                    noncitizen and benefit-granting agencies              sponsor is already providing 50 percent
                                              that among noncitizens in ‘‘nonfamily                   may legally enforce the affidavit of                  or more of financial support or is
                                              households’’ (i.e., individuals), 2.7                   support as the sponsor’s promise to                   otherwise providing income on a
                                              percent received cash assistance and                    maintain a noncitizen above 125 percent               monthly or annual basis to the alien that
                                              that number steadily decreased in larger                of the FPL. In addition, the commenter                the alien will rely on to meet the income
                                              households with only 1.8 percent of                     noted that PRWORA requires benefit-                   threshold, the sponsor’s income or
                                              noncitizens in families of five or more                 granting agencies to include a sponsor’s              payments would be included in the
                                              receiving any cash benefit.                             income when determining whether a                     consideration of the alien’s assets,
                                                 Response: DHS appreciates the                        sponsored noncitizen is income-eligible               resources, and financial status.528 DHS
                                              comment. DHS acknowledges that                          for means-tested benefits. The
                                              certain data were not statistically                     commenter asserted that discounting the                  526 See INA section 212(a)(4)(B)(i) & (ii), 8 U.S.C.

                                              significant, which in some cases was a                  value of an affidavit of support in the               1182(a)(4)(B)(i) & (ii).
                                                                                                                                                               527 See 8 CFR 212.22(b)(4)(i)(B).
                                              consequence of small sample sizes. The                  public charge determination unless the                   528 See Inadmissibility on Public Charge Grounds,
                                              statistics cited regarding non-cash                     sponsor is closely related to or lives                83 FR 51114, 51177 (proposed Oct. 10, 2018). (‘‘For
                                              benefit use among families of sizes three               with the noncitizen, would ignore the                 example, when a child, as defined in INA section
                                              and four were not statistically                         legally enforceable nature of the                     101(b), 8 U.S.C. 1101(b)(1), is filing for adjustment
                                              significantly different from each other,                sponsor’s promise and that the                        of status as the child of a U.S. citizen or lawful
                                                                                                                                                            permanent resident, the affidavit of support sponsor
                                              so DHS would not conclude that one is                   sponsor’s income is deemed that of the                would also be the parent. Because the parent is part
                                              higher or lower. Among noncitizens, the                 noncitizen.                                           of the household, the parent’s income would be
                                              results that were statistically significant                Response: DHS disagrees that the rule              included as part of the household income. The
                                              showed a lower rate of non-cash benefit                 contravenes PRWORA and IIRIRA with                    parent’s income would be reviewed as part of the
                                                                                                                                                            assets, resources, and financial status factor based
                                              use among nonfamily households, and a                   respect to the manner in which DHS                    on the total household size. However, for example,
                                              higher rate of non-cash benefit use                     will consider a sponsor’s income. DHS                 if there is a cosponsor, who is the alien’s cousin and
                                              among those with a family size bigger                   neither proposed any changes to how                   who is not physically residing with the alien, then
                                              than five, compared with those having                   the sponsor’s income is considered with               the cousin would not be counted as part of the
                                                                                                                                                            household and his or her income would not be
                                              family sizes of two, three, and four.                   respect to the enforceable affidavit of               included as part of the assets, resources or financial
                                              Among citizens, those having family                     support, nor changed any applicable                   status unless the sponsor is already contributing 50
                                              sizes of two were shown to have a lower                 deeming rules. In addition, the INA                   percent or more of the alien’s financial support. In
                                                                                                      requires a distinct public charge                     addition, if the sponsor is a member of the alien’s
                                              rate of non-cash benefit use than those                                                                       household and included in the calculation of the
                                              with larger families. These findings                    assessment for admission and                          125 percent of the FPG, DHS would only count the
                                              suggest a generally higher rate of non-                 adjustment of status even where an                    sponsor’s income once for purposes of determining
                                              cash benefit use as family size increases.              alien has an affidavit of support. Under              the alien’s total household assets and resources. A
                                                                                                                                                            sponsor’s income as reported on the affidavit of
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                                              Regarding the rates of cash benefit use,                this rule, the affidavit of support, where
                                                                                                                                                            support would be added to the income of the other
                                              the estimates cited for nonfamily                       required, will still have to comply with              members of the alien’s household. The sponsor’s
                                              households and those with families of                   the requirements of section 213A of the               income that is added to the alien’s total household
                                              size five or more were not statistically                Act, 8 U.S.C. 1183a, and 8 CFR part                   assets and resources would not be increased
                                                                                                      213a.                                                 because the sponsor also submitted an affidavit of
                                              significantly different. The estimates of                                                                     support promising to support the alien at least 125
                                                                                                         As noted previously, Congress set                  percent of the FPG for the sponsor’s household size.
                                                525 See Inadmissibility on Public Charge Grounds,     forth the mandatory factors that DHS                  For example, assuming the alien and sponsor’s
                                              83 FR 51114, 51176 (proposed Oct. 10, 2018).            must consider in the public charge                                                                 Continued




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                                              declines to otherwise deem the                          rule will operate as intended and will                acknowledges the complexity of this
                                              sponsor’s income to the alien in the                    not lead to inconsistent results.                     rule. This final rule is intended to
                                              public charge context, as this kind of                     An individual commenter stated that                provide greater clarification in response
                                              automatic deeming would essentially                     the existing statutory framework directs              to comments. As with any new
                                              render meaningless the public charge                    an adjudicator to consider an                         regulation, the regulated public may
                                              determination for any alien with an                     immigrant’s personal and financial                    need to read and become familiar with
                                              affidavit of support. DHS does not                      circumstances to determine the                        the regulation to understand how it
                                              believe Congress would have retained                    likelihood that they will become                      applies. DHS will also issue guidance,
                                              the public charge ground of                             dependent on the government in the                    and may further revise such guidance as
                                              inadmissibility, had it intended such a                 future, which is easily demonstrated by               necessary after it has gained experience
                                              result.                                                 their employment prospects and the                    with the new regulatory regime.
                                                                                                      existence of support systems. However,                   As explained in the NPRM, section
                                              H. Public Charge Inadmissibility                        the commenter stated that the proposed                212(a)(4) of the Act, 8 U.S.C. 1182(a)(4),
                                              Determination Based on Totality of                      positive and negative weighted factor                 provides that an alien who, ‘‘in the
                                              Circumstances                                           system was unworkable and provided                    opinion of’’ the Secretary is likely to
                                                 Comment: Many commenters                             no guidance on how these factors would                become a public charge is
                                              expressed general concern about the                     be weighted. The commenter also stated                inadmissible.529 The Government has
                                              discretion that government workers                      that DHS should allow immigrants to                   long interpreted the phrase ‘‘in the
                                              would be given when making public                       prove themselves sufficient after                     opinion of’’ as describing an assessment
                                              charge determinations, which would                      immigrating. A commenter suggested                    that is subjective and discretionary in
                                              result in inconsistent and unfair public                DHS provide written documentation of                  nature.530 While authorizing this
                                              charge inadmissibility determinations.                  the public charge determination and                   subjective, discretionary assessment,
                                              One commenter noted that the rule                       reasoning to the applicant and his/her                however, Congress also mandated that
                                              change gives too much discretion to                     legal representative. A few commenters                the public charge determination
                                              officers in making inadmissibility                      described the proposed rule as                        consider, at a minimum, the alien’s age,
                                              determinations. Another commenter                       extremely vague and open-ended                        health, family status, assets, resources,
                                              noted that because the rule relies on                   regarding the issues that will be                     financial status, education, and skills.
                                              officer discretion, there will be                       considered. The commenters also stated                Consideration of these mandatory
                                                                                                      that DHS fails to state how it will                   factors requires a case-by-case
                                              inconsistent adjudications and the rule
                                                                                                      measure the weighted factors. A                       determination based on the totality of
                                              is thus arbitrary and capricious. The
                                                                                                      commenter stated the alien must show                  the alien’s circumstances. This final rule
                                              commenter further stated that this
                                                                                                      by a preponderance of the evidence that               will result in officers conducting a full
                                              proposed standard is also arbitrary and
                                                                                                      he or she is eligible for the benefit                 analysis of the factors set forth in the
                                              capricious because the required officer
                                                                                                      sought but that the rule requires too                 statute and in this rule, and weighing all
                                              evaluation would be burdensome and
                                                                                                      high a standard of proof with respect to              evidence submitted in the totality of the
                                              inefficient. A commenter provided an
                                                                                                      the applicant demonstrating he or she                 circumstances. Both the proposed rule
                                              estimate on the number of people
                                                                                                      will not become a public charge.                      and this final rule adequately explain
                                              adversely affected by the rule based on                    Some commenters stated that the
                                              the factors.                                                                                                  how the criteria are to be applied and
                                                                                                      proposed rule contained vague
                                                 Several commenters stated that the                                                                         what evidence should be considered.
                                                                                                      standards, required adjudicators to
                                              ‘‘totality of circumstances’’ test would                                                                         Unlike the 1999 Interim Field
                                                                                                      consider a broad range of factors, and
                                              require adjudicators to weigh a                         afforded such adjudicators significant                Guidance, which failed to interpret the
                                              potentially unlimited number of                         discretion. The commenters stated that                statutory factors and provided no
                                              ‘‘factors,’’ and expressed confusion                    as a consequence, outcomes will be                    direction to adjudicators on how to
                                              regarding the difference between                        dependent on the particular adjudicator               consider them, this final rule is clear
                                              ‘‘factors’’ and ‘‘considerations’’ under                making the decision. Commenters                       about the legal standard and evidentiary
                                              the proposed rule. A commenter noted                    indicated that they were especially                   burden aliens must meet to demonstrate
                                              that ‘‘[a]s a result, there could be an                 concerned that this lack of predictability            that they are not likely at any time in
                                              infinite number of factors that                         will make it nearly impossible for                    the future to become a public charge. In
                                              adjudicators could possibly assess,                     attorneys to adequately advise their                  addition, USCIS will be conducting
                                              resulting in public charge                              clients. Commenters stated that such                  training for adjudicators and, as
                                              determinations [that] will inevitably                   unpredictability would lead to a chilling             necessary, issuing sub-regulatory
                                              vary from adjudicator to adjudicator                    effect with respect to aliens’ use of                 guidance to ensure consistency in
                                              even when faced with very similarly                     public benefits.                                      adjudications. However, to the extent
                                              situated cases.’’ Two commenters stated                    Commenters stated that granting                    that each alien’s individual
                                              that the proposed rule is not                           USCIS officers the discretion to evaluate             circumstances constitute a unique fact
                                              quantitative and the ‘‘totality of                      the totality of circumstances would be                  529 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4).
                                              circumstances’’ test to determine public                inefficient, as they would require new                  530 See Matter of Harutunian, 14 I&N Dec. 583,
                                              charge admissibility is vague and                       training to evaluate criteria, such as                588 (Reg’l Cmm’r 1974) (‘‘[T]he determination of
                                              ambiguous. An individual commenter                      credit reports, and that other agencies,              whether an alien falls into that category [as likely
                                              suggested that DHS remove the totality                  such as DOL, already have education                   to become a public charge] rests within the
                                                                                                                                                            discretion of the consular officers or the
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                                              of circumstances language to ensure the                 and skills criteria for work visas.
                                                                                                                                                            Commissioner . . . Congress inserted the words ‘in
                                                                                                         Response: DHS disagrees with the                   the opinion of’ (the consul or the Attorney General)
                                              household sizes are the same, if the sponsor’s total    assertion that the rule provides too                  with the manifest intention of putting borderline
                                              income reported on the affidavit of support is 250      much discretion to adjudicators as a                  adverse determinations beyond the reach of judicial
                                              percent of the FPG for the household size, that         result of the totality of the                         review.’’ (citation omitted)); Matter of Martinez-
                                              income would be added to the alien’s assets and                                                               Lopez, 10 I&N Dec. 409, 421 (Att’y Gen. 1962)
                                              resources; the alien’s total household income would
                                                                                                      circumstances approach and that the                   (‘‘[U]nder the statutory language the question for
                                              then be at least 250 percent of the FPG, which          framework will lead to unfair and                     visa purposes seems to depend entirely on the
                                              constitutes a heavily weighted positive factor.’’).     inconsistent determinations. DHS                      consular officer’s subjective opinion.’’).



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                                              pattern, outcomes in public charge                         however, that the adjudication of public                  that increases the alien’s future
                                              determinations will appropriately vary.                    charge inadmissibility is complex and                     likelihood of an alien receiving one or
                                              In addition, DHS disagrees that public                     that the determination of the likelihood                  more public benefits above the 12
                                              charge determinations will be                              at any time in the future to become a                     aggregate months in a 36-month period
                                              burdensome and inefficient. USCIS will                     public charge is not governed by clear                    threshold is negative.
                                              take care to effectively examine the                       data regarding whether any given alien                       USCIS will then weigh all factors
                                              evidence presented to determine                            subject to this determination is more                     individually and cumulatively. USCIS
                                              whether the alien is likely to become a                    likely than not to receive public benefits                will assess the weighted degree to which
                                              public charge at any time in the future,                   for more than 12 months in the                            each factor is negative or positive—the
                                              consistent with the statute.                               aggregate in a 36-month period at any                     extent to which the factor affects the
                                                 DHS also disagrees that the standard                    time in the future, and therefore would                   likelihood that the alien will or will not
                                              used to determine public charge                            be inadmissible when weighing all                         receive one or more public benefits
                                              inadmissibility is too high. While the                     factors in the totality of the alien’s                    above the threshold. Certain enumerated
                                              commenter is correct that, in general, an                  circumstances.                                            factors will weigh heavily in favor of
                                              applicant applying for an immigration                         To address these concerns, USCIS                       finding that an alien is not likely to
                                              benefit must demonstrate eligibility by a                  plans to take several steps. For one, to                  become a public charge or finding that
                                              preponderance of the evidence,531 DHS                      provide its officers with a solid                         an alien is likely to become a public
                                              has not changed that standard of proof                     foundation and knowledge on public                        charge. But, for example, depending on
                                              with respect to applications subject to a                  charge inadmissibility determinations,                    the alien’s specific circumstances, a
                                              public charge inadmissibility                              USCIS plans to issue policy guidance in                   heavily weighted negative factor can be
                                              determination. Those applicants will                       its USCIS Policy Manual (https://                         outweighed by a heavily weighted
                                              still, unless otherwise specified, be                      www.uscis.gov/policy-manual), which                       positive factor or some combination of
                                              required to show by a preponderance of                     will include information from the                         positive factors in the totality of the
                                              the evidence that they are not likely at                   NPRM and this final rule and can be                       circumstances. Otherwise, the weight
                                              any time to become a public charge.                        accessed by potential applicants. In its                  given to an individual factor not
                                              DHS has defined likely at any time to                      policy guidance, USCIS will direct                        designated a heavily weighted factor
                                              become a public charge in this final rule                  officers to determine:                                    depends on the particular facts and
                                              as more likely than not at any time in                        • Whether the alien is more likely                     circumstances of each case and the
                                              the future to become a public charge.                      than not to receive one or more public                    relationship of the individual factor to
                                              Therefore, applicants subject to a public                  benefits, as defined in 8 CFR 212.21(b),                  other factors in the analysis. Multiple
                                              charge inadmissibility determination                       at any time in the future; and                            factors operating together will carry
                                              will need to demonstrate by a                                 • Whether the alien’s likely receipt of                more weight to the extent those factors
                                              preponderance of the evidence that that                    one or more of the enumerated public                      in tandem show that the alien is more
                                              they are not more likely than not at any                   benefits is more likely than not to                       or less likely than not to become a
                                              time in the future to become a public                      exceed 12 months in the aggregate                         public charge.
                                              charge.                                                    within any 36 month period (such that,                       USCIS’ totality of circumstances
                                                 Additionally, the public charge                         for instance, receipt of two benefits in                  assessment will focus on, for instance,
                                              inadmissibility analysis is a prospective                  one month counts as two months) at any                    the following considerations:
                                              determination, as evidenced by the                                                                                      • Ability to Earn a Living—The ability
                                                                                                         time in the future.
                                              words ‘‘likely at any time to become’’ a                      In making this determination, there is                 of the alien to earn sufficient income to
                                              public charge. Moreover, aliens subject                    no bright-line test that USCIS officers                   pay for basic living needs (i.e., food and
                                              to the public charge ground of                             will administer. For instance, past or                    nutrition, housing, and healthcare), as
                                              inadmissibility must demonstrate that                      current receipt of public benefits may                    evidenced or impacted by, for example,
                                              they are not likely at any time to become                  make an alien a public charge at                          the alien’s age, health, work history,
                                              a public charge at the time of their                                                                                 current employment status, future
                                                                                                         present, but past or current receipt of
                                              application or a visa, admission, or                                                                                 employment prospects, education, and
                                                                                                         public benefits, alone, is insufficient to
                                              adjustment of status. Therefore, DHS                                                                                 skills;
                                                                                                         sustain a finding that an alien is likely
                                              will not adopt the commenter’s                                                                                          • Sufficiency of Income, Assets, and
                                                                                                         to become a public charge at any point
                                              suggestion that an alien subject to the                                                                              Resources—The sufficiency of the
                                                                                                         in the future.
                                              public charge ground of inadmissibility                                                                              alien’s household’s income, assets, and
                                                                                                            Instead, there must be a nexus
                                              should be allowed to wait until after                                                                                resources to meet basic living needs
                                                                                                         between the alien’s circumstances and
                                              immigrating to the United States to                                                                                  (i.e., food and nutrition, housing and
                                                                                                         the alien’s future likelihood of becoming
                                              demonstrate that he or she is likely at                                                                              healthcare);
                                                                                                         a public charge. The mere presence of                        • Sufficiency and Obligation of
                                              any time to become a public charge and
                                                                                                         any one enumerated circumstance,                          Sponsorship—The legal sufficiency of
                                              thereby avoid becoming inadmissible on
                                                                                                         alone, is not outcome determinative.532                   the affidavit of support, if required, and
                                              public charge grounds at the time of
                                                                                                         USCIS, therefore, will evaluate all of the                the likelihood that a sponsor would
                                              admission as an immigrant.
                                                 DHS also believes that the rule                         alien’s facts, circumstances, and                         actually provide the statutorily-required
                                              provides a clear framework for                             evidence to determine whether factors                     amount of financial support to the alien,
                                              considering the mandatory factors in a                     in the analysis are positive or negative.                 and other related considerations;
                                              public charge inadmissibility                              Any factor that decreases the alien’s                        • Ability to Overcome Receipt of
                                                                                                         future likelihood of receiving one or                     Public Benefits or Certification or
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                                              determination in the totality of the
                                              circumstances. DHS acknowledges,                           more public benefits above the 12                         Approval to Receive Public Benefits
                                                                                                         months in the aggregate in a 36-month                     Above the Designated Threshold—The
                                                 531 See Matter of Chawathe, 25 I&N Dec. 369, 375        period threshold is positive. Any factor                  ability of the alien to overcome receipt
                                              (2010) (‘‘Except where a different standard is                                                                       of, or certification or approval to
                                              specified by law, a petitioner or applicant in               532 Except that the absence of a sufficient affidavit

                                              administrative immigration proceedings must prove          of support, where required, will lead to an
                                                                                                                                                                   receive, one or more public benefits for
                                              by a preponderance of evidence that he or she is           inadmissibility finding. See INA section                  more than 12 months in the aggregate in
                                              eligible for the benefit sought.’’) (citations omitted).   212(a)(4)(C), (D), 8 U.S.C. 1182(a)(4)(C), (D).           any 36-month period beginning no


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                                              earlier than 36 months before the                       If USCIS denies an alien’s application                   generality at which it may articulate
                                              application for admission or adjustment                 for adjustment of status on public                       regulations but a regulation is not
                                              of status.                                              charge grounds under section 212(a)(4)                   deemed vague simply because it may
                                                 Assessing an alien’s ability to                      of the Act, 8 U.S.C. 1182(a)(4), USCIS                   contain a factor that is difficult to prove;
                                              overcome the heavily weighted negative                  will explain why the negative factors                    it may be deemed vague or lacking in
                                              factor for recent receipt of, or                        outweigh the positive factors based on                   specificity if it is unclear as to what fact
                                              certification or approval to receive, one               the alien’s individual circumstances in                  must be proven.535 The NPRM and this
                                              or more public benefits above the                       making the alien more likely than not to                 rule both make abundantly clear what
                                              designated threshold, in particular, will               receive one or more public benefits                      an alien must prove. DHS not only
                                              depend on the totality of the alien’s                   above the designated threshold at any                    ensured that the public had a
                                              circumstances and the existence of                      time in the future.                                      meaningful opportunity to comment by
                                              positive factors that alone or in                          Furthermore, to ensure consistency                    clearly articulating which factors USCIS
                                              combination could outweigh this                         and quality control, USCIS will provide                  will consider as part of the totality of
                                              heavily weighted negative factor such                   training to officers and continue to                     the circumstances standard, but also by
                                              that the alien would not be likely to                   monitor adjudications. As is the case for                illustrating the application of the public
                                              become a public charge at any time in                   any adjudication at USCIS, USCIS will                    charge determination framework and its
                                              the future. For example, the alien’s                    apply its general quality control                        factors in the preamble and in Table 33
                                              assets and resources being at or above                  processes for adjudications involving                    of the NPRM.536
                                              250 percent of the FPG, the alien being                 public charge assessments. USCIS                            DHS also disagrees that the rule
                                              healthy and between the ages of 18 and                  continues its ongoing data collection                    requires a high standard of proof.
                                              61, the alien being currently employed,                 efforts on its adjudications as well as                  Congress established the mandatory
                                              and evidence that the alien has                         other information relevant to the                        factors that must be considered as part
                                              disenrolled or requested to disenroll                   adjudication, to continually assess and                  of the public charge determination and
                                              from public benefits could play a                       improve the adjudication processes,                      DHS is providing guidance on how to
                                              significant role in outweighing recent                  procedures and training.                                 assess these factors.537 Additionally,
                                              receipt of, or certification or approval to                However, DHS notes that officer                       Congress established clear burdens and
                                              receive, public benefits above the                      discretion is not a new concept in                       standards of proof relating to grounds of
                                              designated threshold. Where a factor                    USCIS immigration benefits                               inadmissibility in immigration
                                              includes more than one consideration,                   adjudications. Several benefits provided                 proceedings. The alien always has the
                                              including evidence related to such                      under the Act are discretionary in                       burden to show that he or she is eligible
                                              considerations, DHS will consider all                   nature, and involve an assessment and                    for an immigration benefit and that he
                                              evidence presented by the alien in the                  weighting of positive and negative                       or she is not inadmissible.538 In general,
                                              totality of the circumstances. For                      factors. For example, an alien’s                         an alien must show by a preponderance
                                              example, DHS will consider income                       adjustment of status application to that                 of the evidence that he or she is eligible
                                              above 125 percent and a good credit                     of lawful permanent resident under                       for the benefit sought.539
                                              score and report as positive                            section 245 of the Act, 8 U.S.C. 1255,                      Finally, DHS understands that
                                              considerations in the totality of the                   requires the officer to weigh all positive               commenters believe that the submission
                                              circumstances.                                          and negative factors in the alien’s case                 of Form I–864 provides a method for
                                                 If USCIS finds that the alien’s positive             to ultimately determine whether lawful                   objective public charge inadmissibility
                                              factors outweigh the alien’s negative                   permanent resident status should be                      analysis and that the totality of the
                                              factors, such that the alien is not likely              granted as a matter of discretion.534 DHS                circumstances approach is inefficient
                                              to receive one or more public benefits                  disagrees with commenters’                               because of training needs and because
                                              above the designated threshold at any                   characterization that the rule overall,                  other agencies, such as the DOL, already
                                              time in the future, then USCIS will                     the proposed framework for the public                    evaluate education and skills criteria. It
                                              conclude that the alien is not                          charge determination, and individual                     is true that the practical focus of DHS
                                              inadmissible as likely to become a                      factors, as published in the NPRM, lack
                                              public charge. On the other hand, if                    required specificity or are                                 535 See F.C.C. v. Fox Television Stations, Inc., 567

                                                                                                      impermissibly vague. When creating                       U.S. 239, 253 (2012); see also Connally v. General
                                              USCIS finds that the alien’s negative                                                                            Constr. Co., 269 U.S. 385, 391 (1926).
                                              factors outweigh the alien’s positive                   implementing regulations under the                          536 See Inadmissibility on Public Charge Grounds,

                                              factors, such that the alien is more likely             APA, an agency must provide notice                       83 FR 51114, 51211 (proposed Oct. 10, 2018).
                                              than not to receive one or more public                  that, among other things, articulates the                   537 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4).

                                              benefits above the designated threshold                 terms or substance of the proposed rule,                    538 See INA section 291, 8 U.S.C. 1361; 8 CFR

                                              at any time in the future, then USCIS                   or a description of the subjects and                     103.2(b)(1) (‘‘An applicant or petitioner must
                                                                                                      issues involved. A notice of proposed                    establish that he or she is eligible for the requested
                                              will find that the alien is inadmissible                                                                         benefit.’’); Matter of Brantigan, 11 I&N Dec. 493
                                              as likely to become a public charge.                    rulemaking must contain sufficient                       (BIA 1966).
                                                 USCIS, as with other applications,                   factual details and rationale to permit                     539 See Matter of Bett, 26 I&N Dec. 437, 440 (BIA

                                              will notify applicants of deficiencies in               interested parties to comment                            2014) (‘‘To be eligible for adjustment of status, an
                                                                                                      meaningfully. An agency is accorded                      applicant has the burden to show that he is clearly
                                              their applications with respect to public                                                                        and beyond doubt entitled to be admitted to the
                                              charge inadmissibility in accordance                    broad deference in selecting the level of                United States and is not inadmissible under section
                                              with the principles outlined in 8 CFR                                                                            212(a) of the Act.’’); Matter of Chawathe, 25 I&N
                                              103.2 and USCIS policy in regard to                     DHS notes that the failure to submit a completed         Dec. 369, 375 (2010) (‘‘Except where a different
                                                                                                      Form I–944, Declaration of Self-Sufficiency or Form      standard is specified by law, a petitioner or
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                                              notices, RFEs or NOIDs, and denials.533                 I–864, Affidavit of Support with the Form I–485,         applicant in administrative immigration
                                                                                                      Application to Register or Adjust Status, when           proceedings must prove by a preponderance of
                                                533 See USCIS Policy Memorandum Issuance of           required, may result in a rejection or a denial of the   evidence that he or she is eligible for the benefit
                                              Certain RFEs and NOIDs; Revisions to Adjudicator’s      Form I–485 without a prior RFE or NOID. See 8 CFR        sought.’’) (citations omitted). See also Kirong v.
                                              Field Manual (AFM) Chapter 10.5(a), Chapter             103.2(a)(7), (b)(8)(ii).                                 Mukasey, 529 F.3d 800, 803–804 (8th Cir. 2008)
                                              10.5(b), PM–602–0163 (Jul. 13, 2018) (https://            534 See INA section 245, 8 U.S.C. 1255; see also       (concluding that as an applicant for adjustment of
                                              www.uscis.gov/sites/default/files/USCIS/Laws/           USCIS Policy Manual Guidance on Adjustment of            status, the alien is put into the position of an alien
                                              Memoranda/AFM_10_Standards_for_RFEs_and_                Status under INA section 245, Volume 7, Part B,          seeking admission and must prove that he or she
                                              NOIDs_FINAL2.pdf (last visited June 21, 2019).          245(a) Adjustment.                                       is clearly and beyond doubt admissible).



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                                              in a public charge inadmissibility                      positive factors. Therefore, these                    charge.545 DHS also discussed, in detail,
                                              determination previously had been                       commenters believed that it would                     the relevance of each factor in the
                                              primarily on the sufficiency of an                      appear more likely an applicant could                 public charge determination and
                                              affidavit of support submitted on the                   be disqualified based on weighted                     supported its finding with relevant data.
                                              alien’s behalf. DHS, however, clarified                 negative factors even if their application            DHS, therefore, disagrees that it failed to
                                              the relationship between the Form I–864                 contains both positive and negative                   provide a reasonable explanation why
                                              and a public charge inadmissibility                     factors. Several commenters cited the                 the factors are relevant.
                                              determination in the NPRM.540 As                        MPI’s analysis of American Community                     Finally, although section 212(a)(4) of
                                              explained in the NPRM, given that the                   Survey (ACS) data from 2012–2016, that                the Act, 8 U.S.C. 1182(a)(4), lists
                                              statute 541 differentiates between the                  identified immigrants that are lawful                 required factors that must be
                                              affidavit of support requirement and the                permanent residents with fewer than                   considered, it does not preclude USCIS
                                              mandatory factors of the public charge                  five years of residency in the United                 from considering other considerations
                                              assessment, DHS considers it                            States. The study showed that a                       relevant in an applicant’s case. DHS
                                              inconsistent with the statutory language                significant number of these lawful                    agrees that officers will encounter
                                              to solely use the affidavit of support as               permanent residents would have one or                 various circumstances not specifically
                                              a means to determine public charge                      more negative factors counted against                 accounted for in the regulation, but
                                              inadmissibility. Similarly, while certain               them, indicating substantial reduction                plans to give officers the necessary tools
                                              employment-based immigrant categories                   in the number of potential green cards                through guidance and training to fairly
                                              are required to obtain labor                            issued if the proposed rule was                       adjudicate such cases, and believes that
                                              certifications from the DOL and to                      finalized.                                            officers are able to exercise their
                                              submit evidence of job qualifications,                     Multiple commenters stated that, in                judgment appropriately. As noted
                                              these requirements focus on an alien’s                  order to improve one’s education and                  above, Congress specifically provided
                                              ability to meet qualifications of the job               skills and to be self-sufficient, it is often         for the agency’s discretion to account for
                                              offered and the employer’s ability to pay               necessary to draw on short-term                       all aspects in an individual’s case.546
                                              the proffered wages 542 rather than an                  supportive services, but drawing on                   DHS disagrees with the commenters that
                                              alien’s likelihood of becoming a public                 such means-tested public benefits                     indicated that positive and negative
                                              charge because of age, health, financial                would be a negative consideration in the              factors are not treated equally because
                                              status, education, skills, etc. Therefore,              totality of the circumstances test. Thus,             DHS in its regulations listed more
                                              DOL’s assessments and certifications                    the rule sets up a contradictory situation            negative factors than positive ones.
                                              obtained by DOL are not redundant to                    in which individuals attempting to                    Although having more negative factors
                                              or a suitable substitute for public charge              strengthen their positive factors may                 may be a basis for finding a person
                                              determinations.                                         instead add to the negative factors for               inadmissible based on public charge,
                                                 Comment: Several commenters stated                   their case. A commenter stated that the               the number of negative factors does not
                                              that, although the proposed rule                        weighted factors used in the ‘‘totality of            by itself lead to a conclusion that a
                                              acknowledges that the public charge                     circumstances’’ test to determine                     person is likely to become a public
                                              determination is intended to be                         inadmissibility is the ‘‘only                         charge. USCIS will consider and weigh
                                              prospective, the proposed criteria are                  interpretation that would be consistent               each factor presented in an alien’s case
                                              actually retrospective and offered                      with the governing statutory language                 in the totality of the circumstances.547
                                              without any evidence that they are                      and established methods of statutory                  DHS notes that it has added an
                                              relevant to the determination of whether                construction.’’                                       additional heavily weighted positive
                                              an immigrant will become dependent on                      Response: DHS disagrees that it is at              factor in section III.R. of this preamble.
                                              the Government for support in the                       all problematic for DHS to consider                      Comment: Some commenters also
                                              future. Some commenters stated that the                 events in the alien’s past as part of a               indicated that it appeared more likely
                                              proposed rule completely ignores an                     prospective inadmissibility                           that applicants would be disqualified
                                              individual’s ability to learn, work,                    determination. As explained in the                    based on heavily weighted negative
                                              develop skills, and support himself or                  NPRM, DHS’s proposed totality of the                  factors even though their application
                                              herself and his or her family. Several                  circumstances standard involves the                   contains both positive and negative
                                              commenters recommended that DHS                         weighing of positive and negative                     factors.
                                              conduct research about the probability                  considerations in relation to the alien’s                Response: DHS agrees that some
                                              that an individual would be self-                       age, health, financial assets, education              applicants may be found in the totality
                                              sufficient or not based on the weighted                 and skills as well as the required                    of circumstances likely to become a
                                              factors included in the public charge                   affidavit of support and any other factor                545 See Matter of Vindman, 16 I&N Dec. 131 (Reg’l
                                              determination.                                          that warrants consideration in the                    Comm’s 1977) (consideration of past public benefits
                                                 One commenter agreed with the use                    alien’s case. The totality of the                     in determining the likelihood of becoming a public
                                              of data in Table 33 on the Totality of                  circumstances approach, including                     charge in the future); Matter of Martinez-Lopez, 10
                                              Circumstances Framework for Public                      consideration of events and                           I&N Dec. 409, 421–22 (BIA 1962; Att’y Gen. 1964)
                                              Charge Determinations in the NPRM,543                                                                         (in determining whether a person is likely to
                                                                                                      circumstances in the alien’s past, is                 become a public charge, factors to consider include
                                              but this commenter and many others                      consistent with the approach taken by                 age, health, and physical condition, physical or
                                              stated that positive and negative                       the former INS, the BIA, and Article III              mental defects which might affect earning capacity,
                                              weighted factors are not treated the                    case law.544 Thus, although these factors             vocation, past record of employment, current
                                              same, as there is an extensive list of                                                                        employment, offer of employment, number of
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                                                                                                      may require some retrospective                        dependents, existing conditions in the United
                                              negative factors and a short list of                    evaluation at the time of adjustment of               States, sufficient funds or assurances of support by
                                                540 See Inadmissibility on Public Charge Grounds,
                                                                                                      status, Congress and courts deemed the                relatives or friends in the United States, bond or
                                                                                                      alien’s past as relevant to the alien’s               undertaking, or any specific circumstances
                                              83 FR 51114, 51197 (proposed Oct. 10, 2018).                                                                  reasonably tending to show that the burden of
                                                541 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4).   likelihood of becoming a public                       supporting he alien is likely to be case on the
                                                542 See 20 CFR part 656.                                                                                    public.)
                                                543 See Inadmissibility on Public Charge Grounds,       544 See Inadmissibility on Public Charge Grounds,      546 See INA section 212(a)(4), 8 U.S.C. 1184(a)(4).

                                              83 FR 51114, 51211 (proposed Oct. 10, 2018).            83 FR 51114, 51179 (proposed Oct. 10, 2018).             547 See 8 CFR 212.22(a).




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                                              public charge even if they present                      receive public benefits. DHS relied on                 examine program payment rate error
                                              positive factors. If negative factors in the            such data for all heavily weighted                     information for this purpose. DHS
                                              alien’s case (factors that increases an                 factors. For instance, in proposing the                sought comment on its use of the SIPP
                                              alien’s likelihood of becoming a public                 heavily weighted negative factor for lack              data, and whether alternative reliable
                                              charge) outweigh positive factors                       of employability, DHS relied not only                  data sources are available.549 The
                                              (factors that decrease the alien’s                      on the reasonable premise that ‘‘[s]elf-               commenter did not identify an
                                              likelihood of becoming a public charge),                sufficiency generally involves people                  alternative reliable data source that
                                              DHS would conclude, in the totality of                  being capable and willing to work and                  controls for whether an alien is subject
                                              the circumstances, that the applicant is                being able to maintain gainful                         to the public charge ground of
                                              inadmissible for likely becoming a                      employment,’’ but also on Census                       inadmissibility.
                                              public charge. Therefore, it may be that                Bureau data showing that individuals                      Even if the commenter had identified
                                              an alien is found inadmissible in light                 with full-time work were less likely to                such data, however, adjudicators would
                                              of a heavily weighted negative factor                   receive means-tested benefits during the               not have been able to rely heavily on
                                              even if he or she may be able to present                year (ranging from 4.5 percent to 5.1                  such data, because the public charge
                                              positive factors.                                       percent) than those with either part-time              assessment requires a prediction based
                                                 Comment: One commenter                               work (ranging from 12.6 percent to 14.2                on an assessment of the alien’s
                                              recommended that DHS provide                            percent) or those who were unemployed                  particular circumstances within the
                                              guidance on how the ‘‘totality of                       (ranging from 24.8 percent to 31.2                     framework of multiple statutory factors,
                                              circumstances’’ and likelihood                          percent).548                                           and any other relevant considerations. A
                                              determination should be reached using                      That said, DHS cannot satisfy the                   data set tailored to such particular
                                              evidence-based methods, namely using                    commenter’s request that DHS ‘‘estimate                individuals’ circumstances may not be
                                              a base rate as a prior probability which                . . . base rates—both before the rule                  available, and in any event was not
                                              can be updated based on the evidence                    takes effect and again after a sufficiently            identified by the commenter.
                                              about a given alien. The commenter                      long interval to account for                              DHS acknowledges that the predictive
                                              stated that starting from the ‘‘inside                  disenrollment—for the proportion of                    analysis it will be conducting based on
                                              view’’ of the evidence about a given                    aliens non-exempt from public charge                   an individual’s particular circumstances
                                              alien rather than the ‘‘outside view’’ of               inadmissibility.’’ This is because as DHS              leaves some room for error, however, so
                                              base rates about the reference class of all             acknowledged in the proposed rule,                     would any predictive algorithm or data-
                                              aliens would likely lead DHS to                         DHS lacks access to data regarding the                 based ‘‘outside view’’ analysis,
                                              significantly more false positive                       specific categories of aliens that are                 particularly given the data limitations
                                              determinations. The commenter stated                    subject to the public charge ground of                 DHS encountered and the likelihood
                                              that DHS should estimate a base rate—                   inadmissibility, let alone data regarding              that even if comprehensive data sets
                                              both before the rule takes effect and                   such aliens’ public benefits use as it                 existed that could be utilized in the
                                              again after a sufficiently long interval to             relates to the statutory factors. For                  fashion the commenter suggests, they
                                              account for disenrollment—for the                       instance, the proposed rule explained                  would not be detailed enough or
                                              proportion of aliens non-exempt from                    that much of the data that DHS relied                  sufficiently timely to account for
                                              public charge inadmissibility who                       upon came from the 2014 Panel of the                   changes in trends. For example, a
                                              would be considered public charges.                     SIPP. The SIPP Panel includes                          dataset from the 2008–2010 timeframe
                                              This base rate should then be                           respondent-provided data on nativity,                  may predict an appreciably higher rate
                                              considered the prior probability that an                citizenship status, and initial                        of benefit receipt based on certain
                                              alien is likely to become a public                      immigration status, but does not provide               individual circumstances than a dataset
                                              charge. The commenter also stated that                  data on current immigration                            from 2015–2017. Therefore, in the
                                              DHS should also estimate average levels                 classification. Additionally, the                      absence of adequate tools that would
                                              of receipt, duration, and other kinds of                categories represented in the SIPP                     allow DHS to use a comprehensive
                                              evidence in the totality of the                         immigration status item do not align                   quantitative framework for individual
                                              circumstances so that officials may                     precisely with the populations covered                 public charge inadmissibility
                                              compare any given alien’s evidence to                   by this rule—for instance, the results                 determinations, USCIS officers will rely
                                              average levels and make appropriate                     include refugees, asylees, and other                   on their training and USCIS guidance to
                                              updates in the right direction. Another                 populations that may access public                     assess the relationship between factors
                                              commenter suggested weighing factors                    benefits but are not subject to the public             and the likelihood to receive public
                                              using valid statistical methods, using                  charge ground of inadmissibility.                      benefits above the designated threshold
                                              administrative survey data to create a                  Finally, the SIPP data and DHS’s                       at any time in the future. This analysis
                                              factor model to precisely calculate the                 analysis of this data do not examine                   will include an assessment of all
                                              probability of future use, and making                   whether the receipt of public benefits                 evidence provided by the alien in
                                              the factor model available online for                   was authorized, and DHS did not
                                                                                                                                                             support of his or her application,
                                              applicants to utilize before applying.
                                                                                                                                                             including any credible and probative
                                                 Response: The factors contained in                      548 See Inadmissibility on Public Charge Grounds,

                                              this rule are based, in significant part,               83 FR 51114, 51198 (proposed Oct. 10, 2018) (citing    data that is relevant to the assessment.
                                              on data regarding the relationship                      Jeongsoo Kim, Shelley K. Irving, & Tracy A.            Furthermore, to the extent USCIS is able
                                              between the minimum statutory factors
                                                                                                      Loveless, U.S. Census Bureau, Dynamics of              to identify credible and probative data
                                                                                                      Economic Well-Being: Participation in Government
                                              and a person’s likelihood of receiving                  Programs, 2004 to 2007 and 2009—Who Gets
                                                                                                                                                             sources that would provide context for
                                                                                                      Assistance? 12 (July 2012), available at https://
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                                              public benefits. In the preamble to the                                                                          549 See Inadmissibility on Public Charge Grounds,
                                                                                                      www2.census.gov/library/publications/2012/demo/
                                              proposed rule, for each positive and                    p70–130.pdf (last visited July 26, 2019); Shelley K.   83 FR 51114, 51160–61 (proposed Oct. 10, 2018).
                                              negative factor, DHS included                           Irving & Tracy A. Loveless, U.S. Census Bureau,        The commenter also suggested that DHS generate
                                              supportive reasoning that related to                    Dynamics of Economic Well-Being: Participation in      such data. But, it does not seem possible to estimate
                                              either inferences regarding self-                       Government Programs, 2009–2012: Who Gets               the probability of becoming a public charge by
                                                                                                      Assistance? 10 (May 2015), available at https://       following up with aliens who were subject to the
                                              sufficiency or empirical data regarding                 www.census.gov/content/dam/Census/library/             determination. For instance, many of those who
                                              the relationship between the factor and                 publications/2015/demo/p70–141.pdf) (last visited      were denied a benefit may not reside in the United
                                              the likelihood that a person would                      July 26, 2019).                                        States at a later date.



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                                              adjudicators in evaluating one or more                     domestic violence, trafficking and other                when coming to the United States or
                                              mandatory factors, USCIS may provide                       crimes. DHS therefore included these                    seeking to adjust status.
                                              such data sources to adjudicators and                      exemptions in this rulemaking.552                       Notwithstanding, DHS will be bound by
                                              ensure consistent application through                         Comment: A few commenters cited                      its own regulations in making public
                                              guidance and training.                                     the MPI study, which stated that of the                 charge inadmissibility determinations
                                                 Comment: A few commenters                               over 2 million individuals granted                      based on the totality of the alien’s
                                              provided feedback on the review                            lawful permanent residence status in                    circumstances, which includes
                                              process. One commenter stated that                         the past five years (between 2012 and                   considering and weighing all relevant
                                              immigration officers will have a limited                   2016), 69 percent of recent lawful                      factors that are favorable to the alien.
                                              amount of time to properly review                          permanent residents who are not                            Comment: Commenters indicated that
                                              documents and employment letters, and                      refugees or other humanitarian                          it is impossible to predict future self-
                                              will not undertake an effective, case-by-                  admissions would have had at least one                  sufficient behavior based on current
                                              case appraisal of applications. Similarly,                 negative factor under the proposed new                  resources of individuals who are, by
                                              commenters indicated that supervising                      definition, 43 percent at least two                     definition, in transition (or trying to be)
                                              officers will not have enough time to                      negative factors, and 17 percent had at                 from living in another country to
                                              review each denial thoroughly.                             least three negative factors.553 The same               finding and creating opportunity in the
                                                 Response: DHS understands the                           analysis reported that 39 percent of                    United States.
                                              concerns that the public charge                            recent lawful permanent residents did                      Response: DHS disagrees that it is
                                              determination could increase the                           not speak English well or not at all, 33                impossible to predict whether an
                                              adjudication time of immigration                           percent had household incomes below                     individual is likely to become a public
                                              benefits and that individuals, including                   125 percent of the FPG, 25 percent did                  charge in the future based on the factors
                                              attorneys, may have additional                             not have a high school diploma, and 12                  outlined in INA section 212(a)(4) of the
                                              questions. DHS and USCIS are                               percent were under age 18 or over age                   Act, 8 U.S.C 1182(a)(4). The
                                              committed to putting the necessary                         61. The analysis also estimated that 39                 commenters’ quarrel is with Congress,
                                              resources into place, including                            percent of recent lawful permanent                      not DHS. While DHS acknowledges that
                                              additional adjudicators, to minimize                       residents had incomes at or above 250                   the public charge determination is a
                                              any impact on current immigration                          percent of the FPG.                                     complex assessment, DHS described at
                                              benefits adjudications and to provide for                     Response: DHS thanks commenters                      length in the NPRM how it would
                                              thorough consideration of each case and                    for citing the findings of the MPI study,               evaluate an alien’s individual
                                              appropriate supervisory review.                            which also highlighted that ‘‘the rule                  circumstances, including the minimum
                                                 Comment: Many commenters voiced                         does not specify how many negative                      statutory factors, as part of the public
                                              concern about the disproportionate                         versus positive factors someone must                    charge determination. In Table 33 of the
                                              negative impact of the application of the                  have for their application to be                        NPRM, DHS also outlined in detail the
                                              mandatory factors on marginalized                          denied.’’ 554 While an alien may have                   totality of the circumstances assessment
                                              communities. This included negative                        one, two, three, or more negative factors,              and when the evidence in the totality of
                                              effects on immigrants belonging to the                     the mere fact that the alien’s negative                 the circumstances may be indicative of
                                              LGBTQ community, HIV positive                              factors outnumber the alien’s positive                  the individual becoming a public
                                              immigrants, immigrants with chronic                        factors is not a sufficient basis to find               charge. In this final rule, as explained
                                              health conditions and disabilities,                        the alien inadmissible. DHS must find                   below, DHS has further clarified and
                                              immigrants of color, Latino immigrants,                    that the alien’s negative factors                       expanded on its approach.
                                              AAPI immigrants, immigrants from                           outweigh the alien’s positive factors                      Comment: Commenters pointed out
                                              countries that are poor and largely                        based on the totality of circumstances                  that many who would be subject to the
                                              people of color, senior citizens, women,                   analysis, such that the alien is more                   public charge rule are already barred
                                              and victims of domestic violence and                       likely than not at any time in the future               from receiving public benefits for at
                                              sexual abuse.                                              to receive one or more public benefits,                 least 5 years due to past welfare reform
                                                 Response: Regardless of whether this                    as defined in 8 CFR 212.21(b), for more                 efforts.
                                              rule will impact the groups specified in                   than 12 months in the aggregate within                     Response: The commenters correctly
                                              these comments, DHS is not                                 any 36-month period.                                    pointed out that under PRWORA and
                                              promulgating this rule for a                                  Once effective, DHS is aware that this               other laws, most immigrants and
                                              discriminatory purpose. Rather, this                       rule will likely result in more findings                nonimmigrants are not eligible for
                                              rule will better ensure that aliens                        of public charge inadmissibility and                    certain public benefits for a duration of
                                              seeking to enter or remain in the United                   may result in fewer overall admissions                  at least five years. The public charge
                                              States either temporarily or permanently                   and approved adjustment of status                       ground of inadmissibility, however,
                                              are self-sufficient, and rely on their own                 applications to the United States, as                   does not have any temporal limits in
                                              capabilities and the resources of their                    DHS seeks to better enforce the public                  this regard and is prospective in nature;
                                              family, sponsors, and private                              charge ground of inadmissibility and to                 Congress directed the administering
                                              organizations, rather than the                             ensure that aliens are self-sufficient                  agencies to determine, for admissibility
                                              government.550 DHS will determine an
                                                                                                                                                                 purposes, whether the alien is likely, ‘‘at
                                              individual’s inadmissibility on public                       552 See 8 CFR 212.23.
                                                                                                                                                                 any time’’ to become a public charge.
                                              charge grounds of inadmissibility in the                     553 MPI, Gauging the Impact of DHS’ Proposed
                                              totality of the circumstances, based on                    Public-Charge Rule on U.S. Immigration (Nov.            I. Age
                                                                                                         2018), https://www.migrationpolicy.org/research/
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                                              the statutorily mandated factors.551                       impact-dhs-public-charge-rule-immigration (last         1. Standard
                                              Additionally, Congress did not make                        visited July 25, 2019).
                                              applicable the public charge ground of                       554 See Capps, Randy et al, ‘‘Gauging the Impact        Comment: A commenter expressed
                                              inadmissibility to certain classes of                      of DHS’ Proposed Public-Charge Rule on U.S.             support for the proposed designation of
                                                                                                         Immigration,’’ Migration Policy Institute.              the age range 18–61 as a positive factor
                                              aliens, including certain victims of                       (November 2018). Available at: https://
                                                                                                         www.migrationpolicy.org/research/impact-dhs-
                                                                                                                                                                 and stated that there is a strong
                                                550 8   U.S.C. 1601(2)(A).                               public-charge-rule-immigration (last visited July 26,   correlation between this prime working
                                                551 See   INA section 212(a)(4), 8 U.S.C. 1182(a)(4).    2019).                                                  age range and a much lower rate of use


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                                              of public benefits, compared to                           Engineering, and Medicine 556 for the                 also acknowledges that certain
                                              individuals outside that age range. The                   proposition that second-generation                    individuals, depending on their status
                                              commenter also added that that both                       child immigrants are the most fiscally                and circumstances, may not be eligible
                                              minors and elderly aliens, like their                     positive of all immigrants to the United              for public benefits in the near term and
                                              citizen counterparts, are more likely to                  States.                                               would take that fact into consideration
                                              be financially dependent on resources                        Another commenter, in opposition to                in the public charge inadmissibility
                                              other than employment income. One                         the age standard, said the question is                determination. DHS disagrees with the
                                              commenter suggested that DHS conduct                      not whether all children are likely to                suggestion that USCIS provide a more
                                              a more lenient ‘‘Public Charge Check’’                    receive benefits, but rather whether                  lenient review of public charge for those
                                              for aliens younger than 21 or older than                  children applying for lawful permanent                below 21 and above 55. USCIS will
                                              55 (if one is needed at all), and a more                  resident status will. The commenter                   apply the same public charge framework
                                              thorough check for aliens aged between                    indicated that DHS cites no authority for             for all cases subject to public charge.
                                              21 and 55. A commenter stated that                        its assertion that applicants who obtain              DHS disagrees that there was no
                                              since the 19th century, courts have                       lawful permanent resident status are                  justification in the NPRM for the age
                                              recognized that it would be absurd to                     more likely to become public charges                  range and will maintain the age ranges
                                              exclude every child from our shores,                      simply due to their being under 18 years              as identified in the NPRM. As
                                              since no child, by his personal efforts                   of age at the time of application. The                established by Congress, an alien’s age
                                              alone, can take care of himself.’’ 555                    commenter stated that because most                    is a mandatory factor that must be
                                                 Another commenter said the rule                        aliens are not eligible for means-tested              considered when determining whether
                                              provides no justification for why a                       public benefits for at least the first five           an alien is likely to become a public
                                              minor under 18 years old should be                        years after obtaining such status, the age            charge in the future.559 As discussed in
                                              scrutinized when they are not expected                    range is too high. The commenter also                 the NPRM, a person’s age may impact
                                              to be self-sufficient, or why immigrants                  stated that, for decades, DOS has used                his or her ability to legally or physically
                                              over the age of 61, many of whom work                     the age of 16 as the cut-off for when the             work and is therefore relevant to the
                                              or provide support to the rest of their                   child will be able to show employable                 likelihood of an alien becoming a public
                                              family, should be penalized merely                        job skills. The commenter sought                      charge.560
                                              because of their age. The commenter                       justification for the change. One                        In addition, regardless of an alien’s
                                              stated that the rule did not explain why                  commenter stated that DHS bases this                  age, DHS recognizes, consistent with
                                              these age thresholds are predictors of                    age standard on the minimum age at                    longstanding case law, that the alien
                                                                                                        which one can start to claim retirement               may have financial assets, resources,
                                              future public benefit use. One
                                                                                                        benefits under social security; however,              benefits through employment, education
                                              commenter stated that these age-range
                                                                                                        this was never meant to be used to say                or skills, family, or other means of
                                              requirements are overly broad, ignore
                                                                                                        that people are unable or even unlikely               support that decrease his or her
                                              the possibility of a familial sponsor, and
                                                                                                        to work after that age. Some commenters               likelihood of becoming a public charge.
                                              raise the income requirements in a cruel
                                                                                                        stated that many over 61-year-olds are                Therefore, age is but one factor in the
                                              way that is detrimental to society. One
                                                                                                        able to, willing to, and do work after                totality of the circumstances. As
                                              commenter asserted that DHS’s analysis
                                                                                                        immigrating.                                          discussed in the NPRM,561 the 18
                                              for an age standard overlooks the                            Response: DHS agrees that the age                  through 61 age range is based on the
                                              substantial benefits that minor children                  range is appropriate due to the general               ages at which people are generally able
                                              bring to a family, including future                       correlation between the 18–61 age range               to work full-time before being able to
                                              potential working capacity. One                           and a lower rate of use of public                     retire with some social security
                                              commenter similarly stated that the rule                  benefits, and that people outside of this             retirement benefits under Federal
                                              does not factor in the potential children                 age range are, in general, more likely to             law.562 DHS notes that considering 18
                                              have to add value to society and also                     be financially dependent on others.557                years old as the earliest age in which
                                              stated that seniors often play a critical                 DHS agrees that generally, most aliens                one is expected to be able to work is
                                              caregiver role which allows others to                     are not eligible for means-tested public              consistent with current DOS guidance
                                              work. Another commenter added that an                     benefits for at least the first five years            which directs consular officers to
                                              alien’s unemployment at age 16 or 17                      after obtaining such status; however,                 consider what skills individuals 18
                                              provides no evidence of their future                      there are certain exceptions under                    years of age or older have to make a
                                              employability. One commenter gave an                      PRWORA, including the availability of                 living.563 DHS declines the request from
                                              example that 16-year old high-school                      SNAP for children under 18.558 DHS                    the commenter to justify why this rule
                                              students are not likely to be employed                                                                          is contrary to past DOS guidance since
                                              for many years in the future, but once                      556 See National Academies of Sciences,
                                                                                                                                                              that guidance is from another
                                              they complete their education they can                    Engineering, and Medicine, The Economic and           Department and never was binding on
                                              reach their true potential. A commenter                   Fiscal Consequences of Immigration (2017).
                                                                                                          557 The rate of receipt of cash and noncash         DHS. DHS understands that children
                                              stated that, although those under the age                 benefits among noncitizen children age 0–17           may continue their education and
                                              of 18 are less likely to work since they                  decreased with the removal of Medicaid from           obtain employment in the future. DHS
                                              will be in school, and therefore are more                 consideration for that age group, changing from       would not make a determination of
                                              likely to become a public charge, those                   about 40 percent when the benefit was included to
                                                                                                        about 20 percent when it was not. The receipt rate
                                              individuals typically learn English very                  of cash and noncash benefits among noncitizen
                                                                                                                                                                 559 See INA section 212(a)(4)(B), 8 U.S.C.

                                              quickly, integrate readily, and after                     children age 0–17 was no longer significantly         1182(a)(4)(B).
                                                                                                                                                                 560 See Inadmissibility on Public Charge Grounds,
                                              completing their education (often                         different from that of noncitizens aged 18–61 when
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                                                                                                        Medicaid was included only for the older age          83 FR 51114, 51179–81 (proposed Oct. 10, 2018).
                                              including higher education), go on to                                                                              561 See Inadmissibility on Public Charge Grounds,
                                                                                                        group, and both of these age groups had much
                                              work, contribute, and pay taxes in the                    lower receipt of benefits than noncitizens aged 62    83 FR 51114, 511179–81 (proposed Oct. 10, 2018).
                                              United States for decades. A few                          and over. However, due to the restrictions on            562 See 29 U.S.C. 213(c), 42 U.S.C. 416(l)(2)

                                              commenters cited a report by the                          employment by minors and the fact that children       (‘‘Early retirement age’’ for social security
                                                                                                        are dependent on their parents or legal guardians,    purposes).
                                              National Academies of Sciences,                           as discussed in the NPRM, DHS still consider the         563 See 9 FAM 302.8–2)(B)(2), paragraph d,
                                                                                                        age range appropriate.                                available at https://fam.state.gov/FAM/09FAM/
                                                555 See   In re Day, 27 F. 678 (S.D.N.Y. 1886).           558 See, e.g., 8 U.S.C. 1612(a)(2)(J).              09FAM030208.html (last visited May 15, 2019).



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                                              inadmissibility based on public charge                  have to send money abroad for their                     not be deemed inadmissible on public
                                              solely based on the age of a child.                     care in their home country, which may                   charge grounds.
                                              Instead, USCIS would also review the                    require expensive residential care,                        DHS recognizes the tangible and
                                              support provided by a parent or other                   financially hampering citizens and                      intangible value to individuals and
                                              source in the totality of the                           sending those dollars outside of the U.S.               communities of strong family bonds and
                                              circumstances.                                          economy.                                                support across generations. DHS notes
                                                 Comment: Commenters stated DHS                                                                               that where an alien can establish that he
                                                                                                         One commenter stated there is a
                                              based the proposed age standard on the                                                                          or she is not likely to become a public
                                                                                                      priceless emotional benefit to U.S.
                                              minimum age at which one can start to                                                                           charge in light of all the relevant
                                                                                                      citizens having their parents nearby for
                                              claim retirement benefits under social                                                                          factors—including, for example, the
                                                                                                      love, support, and for their families to
                                              security; however, this was never meant                                                                         support of one or more family
                                              to be used to say that people are unable                be whole and enriched through the                       members—the alien would not be found
                                              or even unlikely to work after that age.                joyful and sorrowful life events of the                 inadmissible as a public charge.
                                              Several commenters explained that if                    birth of grandchildren and the passing                  Accordingly, DHS does not believe that
                                              DHS finalized the rule as proposed,                     of family elders. A commenter stated                    this rulemaking will necessarily render
                                              many U.S. citizens would no longer be                   that some U.S. citizens bring their                     it impossible for individuals to care for
                                              able to welcome their own parents into                  elderly parents to the United States                    family members. Rather, the rule seeks
                                              the country because it would be difficult               because caring for them here will ease                  to ensure that aliens rely on themselves
                                              for older adults to pass the ‘‘public                   the burden of worrying about their care                 and on private sources, including their
                                              charge’’ test under the new criteria. A                 in countries that are many thousands of                 families, to meet their needs, rather than
                                              commenter stated that applications for                  miles away. The commenter added that                    relying on public benefits. DHS does
                                              parents account for almost 30 percent of                the ability to care for loved ones at the               acknowledge that the rule could affect a
                                              all family-based applications. Some                     end stages of life is an important marker               family member’s admissibility or
                                              commenters stated that many seniors                     for all communities and nationalities,                  eligibility to adjust status in some cases,
                                              immigrate to the United States in order                 which would be nearly impossible if                     but notes that such effect would be a
                                              to help care for children and other                     DHS finalized the rule as proposed.                     consequence of the statutory scheme,
                                              family members. Commenters stated                          Response: DHS disagrees that the age                 under which the family member is
                                              this rule fails to recognize the value of               standard is arbitrary. As provided in the               subject to the public charge ground of
                                              intergenerational families who support                  NPRM,564 there is a correlation between                 inadmissibility.
                                              each other and the proposed rule                        the prime working age range and lower                      Comment: A commenter asserted the
                                              ‘‘callously’’ labels parents and                        rates of public benefit use. As indicated               statistics DHS used to establish the 18–
                                              grandparents as a burden because of                     in the NPRM,565 the 18 through 61 age                   61 age standard do not distinguish
                                              their age or health needs and ignores the               range is based on the ages at which                     between those who are refugees and
                                              critical roles many grandparents play in                people are generally able to work full-                 asylees and those who obtained legal
                                              caring for their grandchildren and other                time before being able to retire with                   status through a family or employment-
                                              family members, often enabling others                   some social security retirement benefits                based petition. The commenter added
                                              to work.                                                under Federal law.566 The age of 18 is                  that lawful permanent residents who
                                                 A few commenters stated that the                     based on the general age to be able to                  immigrate or adjust through other
                                              proposed rule fails to accord                           start working full-time; 567 the age of 61              means are barred for their first five years
                                              appropriate dignity and respect to                      is the year before the minimum ‘‘early                  from accessing SSI, and they are subject
                                              community elders seeking immigration                    retirement age’’ for social security                    to sponsor-to-alien deeming of income
                                              relief by treating them as economically                 purposes 568 (62 as of 2017). DHS will                  thereafter. The commenter stated that it
                                              disposable, and would have the effect of                still consider the alien’s age in relation              is inappropriate to lump this latter
                                              straining and fracturing families who                   to whether it makes the alien more or                   group of lawful permanent residents in
                                              seek to maintain seniors within the                     less likely to become a public charge,                  with refugees and asylees, who are in
                                              familial unit.                                          such as by impacting the alien’s ability                fact encouraged to participate in Federal
                                                 A commenter said having older adults                 to work. DHS is not establishing the age                benefit programs, and it is disingenuous
                                              at home can eliminate the cost of                       range as a statement that people outside                to use it as a basis to make age above
                                              childcare, which is one of the highest                  that range are unable to work. DHS                      61 years a negative factor.
                                              budget items for many families and can                  acknowledges that people under the age                     Response: As discussed in the NPRM,
                                              approach 20 percent of household                        of 18 and over the age of 61 may be                     DHS recognizes that the statistics
                                              income for low-income families. Citing                  working or have other adequate means                    provided do not distinguish the
                                              studies, a commenter stated that                        of support, such as from family                         immigrant status of the alien, and ‘‘the
                                              limiting the age of workers has been                    members. DHS would recognize such                       results include refugees, asylees, and
                                              shown to have a negative economic                       means as positive factors. In other                     other populations that may access
                                              impact on society. Another commenter                                                                            public benefits but are not subject to the
                                                                                                      words, a senior who establishes to
                                              remarked that the proposed rule could                                                                           public charge ground of
                                                                                                      DHS’s satisfaction that she or he is not
                                              prevent many American citizens from                                                                             inadmissibility.’’ 569 The SIPP data and
                                                                                                      likely to become a public charge would
                                              maintaining the dignity of their families                                                                       DHS’s analysis of this data do not
                                              due to ‘‘exclusionary factors’’ assigned                  564 See Inadmissibility on Public Charge Grounds,     examine whether the receipt of public
                                              to advanced age or receipt of life-saving               83 FR 51114, 51180 (proposed Oct. 10, 2018).            benefits was authorized, and DHS did
                                              medical savings under Medicare Part D.
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                                                                                                        565 See Inadmissibility on Public Charge Grounds,     not examine program payment rate error
                                              The commenter also stated that this                     83 FR 51114, 51180 (proposed Oct. 10, 2018).            information for this purpose.
                                              illustrates a critical flaw in the proposed               566 See 29 U.S.C. 213(c), 42 U.S.C. 416(l)(2).
                                                                                                                                                              Notwithstanding these limitations, DHS
                                              rule: it undervalues the important role                   567 See 29 U.S.C. 213(c); 29 CFR part 570; see also
                                                                                                                                                              believes the SIPP data on noncitizen
                                              a parent or grandparent contributes to a                Dep’t of Labor, Table of Employment/Age
                                                                                                      Certification Issuance Practice Under State Child       participation is instructive with respect
                                              family. A few commenters stated that if                 Labor Laws, available at https://www.dol.gov/whd/
                                              U.S. citizens are unable to bring their                 state/certification.htm (last visited July 26, 2019).     569 See Inadmissibility on Public Charge Grounds,

                                              parents to the United States, they would                  568 See 42 U.S.C. 416(l)(2).                          83 FR 51114, 51160 (proposed Oct. 10, 2018).



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                                              to the receipt of non-cash benefits by the              card recipients. The MPI study                          circumstance that may warrant
                                              noncitizen population overall.                          estimated that among recent green card                  consideration in the public charge
                                                 Comment: A few commenters stated                     recipients, about 45 percent of the                     inadmissibility determination.572 If the
                                              this proposal could undermine access to                 children would have had two or more                     negative factors outweigh the positive
                                              healthcare, nutrition, and housing                      negative factors if the proposed rule had               factors, then the alien would be found
                                              programs for children of immigrants and                 been applied to them.571 DHS                            inadmissible as likely to become a
                                              their aging family members. One                         appreciates the input on the potential                  public charge; if the positive factors
                                              commenter said the proposed                             impact. As indicated in the NPRM,                       outweigh the negative factors, then the
                                              consideration of age could contribute to                however, DHS is not able to quantify the                alien would not be found inadmissible
                                              family separations. The commenter                       number of aliens, including children,                   as likely to become a public charge.
                                              added that by weighing age negatively                   who would possibly be denied
                                              in the totality of circumstances,                                                                               2. Age Discrimination
                                                                                                      admission based on a public charge
                                              immigrant children younger than 18                      determination under this rule. Again,                      Comment: Some commenters stated
                                              years of age are likely to see their green              DHS is qualitatively acknowledging this                 that rule discriminates against people of
                                              card or visa applications denied, which                 potential impact.                                       certain ages. Commenters stated that the
                                              could lead to members of the same                          DHS would like to clarify, however,                  age standard is not only discriminatory
                                              family obtaining differing immigration                  the following aspects of the                            towards children, but is also logically
                                              statuses, with some members unable to                   inadmissibility determination in                        inconsistent as children have a lifetime
                                              remain in the United States. A few                      relation to children under the age of 18:               of productive years ahead of them.
                                              commenters said the rule could increase                 DHS understands that children may                       Commenters stated that adding age and
                                              family separation, which can cause                      continue their education and obtain                     disability discrimination into our
                                              emotional stress and trauma in children                 employment in the future. As indicated                  immigration regulations would unjustly
                                              that leads to negative health outcomes.                 throughout this preamble, DHS would                     deny U.S. citizens the ability to reunite
                                              Another commenter cited an MPI                          not make a public charge                                with, receive support from, and if
                                              analysis, which found that 45 percent of                inadmissibility determination solely                    necessary, provide support to their
                                              children who recently received green                    based on the age of a child. Instead,                   family members.
                                              cards had two or more negative factors.                 USCIS will review the support provided                     Response: DHS does not agree that
                                              The commenter added that depriving                      by a parent or the parents, and any other               this rule adds discrimination based on
                                              children, including U.S. citizens, of                   evidence addressing the resources and                   age or disability. An alien’s age is a
                                              access to public benefits that would                    assets available to the child in the                    mandatory factor that must be
                                              otherwise increase their families’ ability              totality of the circumstances when                      considered when determining whether
                                              to thrive will lead to deep stress, which               determining whether the child is more                   an alien is likely to become a public
                                              studies show then in turn leads to                      likely than not at any time in the future               charge in the future.573 Therefore, the
                                              reduced outcomes throughout life. A                     to become a public charge. DHS has also                 rule includes this factor. As DHS noted
                                              commenter indicated that being a child                  made a number of changes and                            in the NPRM, a person’s age may impact
                                              should not weigh against an individual                  clarifications in this final rule that are              his or her ability to legally or physically
                                              in a public charge determination. The                   relevant to the rule’s effects on children,             work and is therefore relevant to being
                                              commenter stated that because children                  including (1) excluding receipt of                      self-sufficient, and the likelihood of
                                              generally are not allowed to work, it is                Medicaid by children under age 21, and                  becoming a public charge. An alien’s
                                              unlikely they could have an income or                   (2) clarifying that receipt of benefits by              likelihood of becoming a public charge
                                              assets on their own equal to 125% or                    another beneficiary’s behalf is not                     is prospective and based on the totality
                                              more of the FPG.                                        attributed to the person who received it                of the alien’s circumstances. If an alien’s
                                                 Response: DHS understands that                       (such as a parent or legal guardian, for                positive factors outweigh the negative
                                              individuals, including children, will be                example). DHS does not anticipate                       factors, then the alien would not be
                                              impacted by this rulemaking, once                       outcomes that would require family                      found inadmissible as likely to become
                                              effective. When codifying section                       members to live in different countries,                 a public charge. No one factor, apart
                                              212(a)(4) of the Act, 8 U.S.C. 1182(a)(4),              so long as any family members who                       from the failure to submit a sufficient
                                              Congress did not generally exempt                       have applied for an immigration benefit                 affidavit of support where required, is
                                              children from the public charge                         for which admissibility is required can                 outcome determinative.
                                              inadmissibility ground and an alien’s                   demonstrate that they are not                              Additionally, to the extent that this
                                              age is a mandatory, statutory factor that               inadmissible.                                           rule may result in the denial of some
                                              DHS must be considered when                                Overall, DHS notes that the public                   applications filed by relatives of U.S.
                                              determining whether an alien is likely at               charge inadmissibility determination                    citizens, DHS disagrees that this rule
                                              any time in the future to become a                      requires DHS to evaluate the alien                      would deny U.S. citizens the ability to
                                              public charge.570 Accordingly, DHS will                 child’s particular circumstances. DHS’s                 reunite with, and support, their
                                              consider whether the alien’s age makes                  totality of the circumstances standard                  families. DHS acknowledges that the
                                              the alien more likely than not to become                involves weighing all the positive and                  rule could affect a family member’s
                                              a public charge, such as if the alien’s age             negative considerations related to an                   admissibility or eligibility for
                                              affects an alien’s ability to work. DHS                 alien’s age; health; family status; assets,             adjustment of status, but such effect
                                              understands that children are in a                      resources, and financial status;                        would be a consequence of the statutory
                                              unique position in some respects,                       education and skills; required affidavit                scheme, under which the family
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                                              especially as it relates to employability.              of support; and any other factor or                     member is subject to the public charge
                                              The commenter referred to the MPI’s                                                                             ground of inadmissibility. This rule
                                              study, which attempted to measure the                     571 See Capps, Randy et al, ‘‘Gauging the Impact
                                                                                                                                                              does not change the criteria applicable
                                              general impact of the proposed rule by                  of DHS’ Proposed Public-Charge Rule on U.S.
                                                                                                      Immigration,’’ Migration Policy Institute.
                                                                                                                                                              to a U.S. citizen filing Petition for Alien
                                              examining the situations of recent green                (November 2018). Available at: https://
                                                                                                                                                                572 See8 CFR 212.22.
                                                                                                      www.migrationpolicy.org/research/impact-dhs-
                                                570 Seesection INA section 212(a)(4)(B), 8 U.S.C.     public-charge-rule-immigration (last visited July 26,     573 SeeINA section 212(a)(4)(B), 8 U.S.C.
                                              1182(a)(4)(B).                                          2019).                                                  1182(a)(4)(B).



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                                              Relative (Form I–130), which does not                     of future self-sufficiency and full-time                 nature and extent of the abnormality;
                                              require the beneficiary’s admissibility.                  employment capabilities. Commenters                      the degree to which the alien is
                                              This rule addresses the criteria for                      noted that advances in medical                           incapable of normal physical activity;
                                              establishing eligibility for admission or                 technology could make certain                            and the extent to which the condition is
                                              adjustment of status and for                              conditions, such as HIV/AIDS more                        remediable . . . [as well as] the
                                              demonstrating that the applicant is not                   manageable in the future, with one                       likelihood, that because of the
                                              inadmissible as likely to become a                        noting that Type 1 Diabetes was a                        condition, the applicant will require
                                              public charge. In other words, even if an                 disabling condition in the 1950s but                     extensive medical care or
                                              alien may be eligible statutorily to be                   now adults and children with Type 1                      institutionalization.’’ 579 In addition, the
                                              granted adjustment of status based upon                   Diabetes lead full, productive, and                      CDC Technical Instructions for Medical
                                              the approval of a Form I–130 filed by a                   independent lives.                                       Examinations of Aliens, directs
                                              U.S. citizen relative, the alien is not                      Conversely, one commenter agreed                      physicians to provide information about
                                              entitled to be admitted to the United                     that the proposed health factor approach                 Class B conditions, which, although do
                                              States or granted adjustment,574 and the                  is appropriate for public charge                         not ‘‘constitute a specific excludable
                                              U.S. citizen is not entitled to be                        purposes, so long as the inquiry is                      condition, represents a departure from
                                              reunified with the applicant.                             limited to whether aliens are likely to be               normal health or well-being that is
                                                                                                        able to pay for health-related expenses                  significant enough to possibly interfere
                                              J. Health                                                 for themselves and any household                         with the person’s ability to care for
                                              1. Standard                                               dependents without the use of public                     himself or herself, to attend school or
                                                                                                        resources.                                               work, or that may require extensive
                                                 Comment: Several commenters stated                        Response: DHS recognizes that an
                                              that the rule perpetuates the ‘‘false                                                                              medical treatment or institutionalization
                                                                                                        individual with medical conditions may                   in the future.’’ 580 Such an assessment
                                              assumption’’ that a medical diagnosis is                  provide significant contributions to
                                              solely determinative of an individual’s                                                                            would necessarily account for any
                                                                                                        society. As established by Congress, an                  recent advancements in treating the
                                              current abilities and future prospects,                   alien’s health is a factor that must be
                                              with some asserting that chronic illness                                                                           medical condition, and goes directly to
                                                                                                        considered when determining whether                      the prospect of the alien being able to
                                              is not an accurate indicator of future                    an alien is likely to become a public
                                              self-sufficiency and full-time                                                                                     care for himself or herself and being
                                                                                                        charge at any time in the future.575 As                  able to attend school or go to work. And,
                                              employment capabilities. One                              indicated in the NPRM, the mere
                                              commenter stated that this policy                                                                                  of course, the alien could provide
                                                                                                        presence of a medical condition would                    further information with the
                                              assumes that the presence of a physical                   not render an alien inadmissible.576
                                              or mental condition is a financial risk to                                                                         application.
                                                                                                        Instead, DHS would consider the                             Comment: One commenter stated that,
                                              the state and fails to recognize the                      existence of a medical condition in light                while health has always been a factor in
                                              significant contributions that people                     of the effect that such medical condition                the public charge test, the proposed rule
                                              with chronic health and other                             is likely to have on the alien’s ability to              codifies and unduly weighs the specific
                                              conditions can and do make as                             provide and care for himself or herself;                 standard for evaluating an individual’s
                                              professionals and community members.                      DHS will weigh such evidence in the                      health. Similarly, another commenter
                                              One commenter stated the that                             totality of the circumstances. DHS                       stated that the proposed rule essentially
                                              consideration of disability in the health                 officers will not be making medical                      counts the same health status as two
                                              factor was a per se rule that is                          determinations or determining the                        negative factors and also as a heavily
                                              inconsistent with the fact that ‘‘health                  effects of the conditions. Instead,                      weighted negative factor: Once as a
                                              status is far from necessarily predictive                 officers will review any required Form                   negative health factor; again as a
                                              of a person’s ability to engage                           I–693 or applicable DOS medical                          negative assets, resources and financial
                                              productively in work and other aspects                    examination form 577 submitted in                        status factor; and then again as a heavily
                                              of community life.’’ Another commenter                    support of the application for the                       weighted negative factor if the non-
                                              stated that DHS failed to consider that                   diagnosis of medical conditions                          citizen is uninsured. A different
                                              with access to health insurance (e.g.,                    according to the procedures established                  commenter said the combination of
                                              Medicaid), preventive medical                             by HHS; 578 or any other evidence of a                   penalizing someone’s medical condition
                                              treatment, and health care professionals,                 medical condition that is likely to
                                              individuals with chronic medical                          require extensive medical treatment or                     579 42 CFR 34.4(b)(2) (Class A); 42 CFR 34.4(c)(2)
                                              conditions can exhibit drastic                            institutionalization after arrival, or that              (Class B).
                                              improvements in their health and                          will interfere with the alien’s ability to                 580 See Ctrs. for Disease Control & Prevention,

                                              productivity. A different commenter                       care for himself or herself, to attend                   Required Evaluations—Other Physical or Mental
                                              stated that counting conditions that                      school, or to work. The HHS regulations                  Abnormality, Disease, or Disability, Technical
                                                                                                                                                                 Instructions For Medical Examination Of Aliens,
                                              require extensive medical treatment                       direct physicians conducting the                         available at https://www.cdc.gov/immigrant
                                              and/or hospitalization as negative                        immigration medical examinations for                     refugeehealth/exams/ti/panel/technical-
                                              factors ignores the reality that a Class A                either Class A or Class B conditions to                  instructions/panel-physicians/other-physical-
                                              or B medical condition, especially a                      explain on the medical report ‘‘the                      mental.html (last updated Nov. 23, 2016) (last
                                                                                                                                                                 visited July 26, 2019); Ctrs. for Disease Control &
                                              curable one, is not an accurate indicator                                                                          Prevention, Required Evaluation Components Other
                                                                                                          575 See  INA section 212(a)(4), 8 U.S.C. 1182(a)(4).   Physical or Mental Abnormality, Disease or
                                                574 See                                                   576 See  Inadmissibility on Public Charge Grounds,
                                                        Mudric v. Att’y Gen. of U.S., 469 F.3d 94,                                                               Disability, Technical Instructions for the Medical
                                              98 (3d Cir. 2006) (‘‘While an alien may be eligible       83 FR 51114, 51181–84 (proposed Oct. 10, 2018).          Examination of Aliens in the United States,
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                                              for a grant of . . . adjustment of status under the          577 This is currently the Immigrant or Refugee        available at https://www.cdc.gov/immigrant
                                              immigration laws, he is not entitled to such benefits     Application (Form DS–2054).                              refugeehealth/exams/ti/civil/technical-instructions/
                                              as a constitutional matter.’’); see also, Matter of Ho,      578 The medical examination documentation             civil-surgeons/required-evaluation-components/
                                              19 I&N Dec. 582, 589 (BIA 1988) (holding that             indicates whether the applicant has either a Class       other-disease-disability.html (last updated Aug. 3,
                                              ‘‘[a]pproval of a visa petition is but a preliminary      A or a Class B medical condition. In addition, the       2010) (last visited July 26, 2019). The HHS
                                              step in the visa or adjustment of status application      alien must provide a vaccination record as part of       regulations require physicians conducting medical
                                              process, and the beneficiary is not, by mere              the medical examination. Class A and Class B             examinations for an alien to comply with the CDC’s
                                              approval of the petition, entitled to an immigrant        medical conditions are defined in the HHS                Technical Instructions for Medical Examinations of
                                              visa or to adjustment of status.’’)                       regulations. See 42 CFR 34.2.                            Aliens. 42 CFR 34.3(i).



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                                              and negatively weighting use of benefits                rule contained vague wording. One                     applicant has a ‘‘reasonable prospect of
                                              and services that help to treat that                    commenter stated that considering ‘‘any               future employment.’’ A different
                                              medical condition will create an                        physical or mental condition’’ as part of             commenter said the rule would
                                              insurmountable bar for many older                       the individual’s health is overly broad               authorize non-medically trained
                                              adults and people living with chronic                   and open to interpretation. Another                   personnel to overrule a medical
                                              illnesses or disabilities. Another                      commenter stated that the rule would                  professional’s determination about
                                              commenter said health and disability                    stretch the INA’s public charge language              whether a person’s health should be a
                                              are factors that are improperly                         beyond recognition by adding vague                    barrier to admission. Another
                                              considered twice under the rubric of the                references to ‘‘extensive medical                     commenter said immigration officials
                                              proposed rule.                                          treatment’’ and ‘‘interference’’ with an              lacking any specialized medical
                                                 Response: DHS disagrees that the                     individual’s ability to work, attend                  knowledge would rely on hastily
                                              review of the health factor in the public               school, or otherwise be self-sufficient.              composed medical reports (frequently
                                              charge inadmissibility determination is                 The commenter stated that the manner                  from medical providers who would
                                              an insurmountable bar for people with                   in which DHS proposed to consider the                 have no established medical
                                              chronic illness or disabilities. The mere               health of an immigrant in making a                    relationship with an individual) to
                                              presence of a medical condition would                   forward-looking public charge                         exclude a noncitizen from the
                                              not render an alien inadmissible.                       determination leaves so much room for                 immigration benefit solely because of
                                              Instead, DHS would consider the                         discretion that it renders the health                 the presence of a particular illness or
                                              existence of a medical condition in light               factor consideration meaningless. A                   disability that may appear ‘‘grave’’ or
                                              of the effect that such medical condition               different commenter objected to using                 ‘‘costly’’ based on preconceived and
                                              is likely to have on the alien’s ability to             the standard of whether a health                      often erroneous assumptions. Some
                                              attend school or work, and weigh such                   condition ‘‘interferes with work or                   commenters said the proposed rule
                                              evidence in the totality of the                         school’’ as too broad, vague, and biased              discounts future advancements in
                                              circumstances. As part of the assets,                   against people of color who will be                   medical science and social norms by
                                              resources and financial status factor,                  prejudiced by this generic standard. The              allowing DHS officials to make present-
                                              DHS would also consider whether the                     commenter stated that social                          day judgements about an individual’s
                                              alien has the resources to pay for                      determinants of health are one of the                 future capabilities. A couple of
                                              associated medical costs.                               main inequalities between whites and                  commenters stated that the rule does not
                                                 As stated in the NPRM, an alien is at                persons of color. A commenter said that               provide meaningful guidance on
                                              high risk of becoming a public charge if                the proposed rule’s consideration of                  permissible and impermissible
                                              he or she does not have the resources to                medical conditions ‘‘likely’’ to require              considerations when factoring in a
                                              pay for reasonably foreseeable medical                  extensive medical treatment in the                    person’s disability during a public
                                              costs, including costs related to a                     future was highly speculative, and that               charge inadmissibility finding, which
                                              medical condition that is likely to                     medical predictions about the future are              leaves immigration officials with
                                              require extensive medical treatment or                  notoriously inaccurate.                               seemingly open-ended interpretation.
                                              institutionalization or that will interfere                One commenter stated that, although                   Response: DHS disagrees that the
                                              with the alien’s ability to provide care                the rule claims to use a physician’s                  wording regarding the health factor is
                                              for himself or herself, to attend school,               medical examination/report with two                   vague and does not provide guidance on
                                              or to work.581                                          classes of medical conditions, it is                  the consideration of disability. DHS’s
                                                 The mere presence, however, of any                   vague, provides the physician with great              language mirrors the language as
                                              one enumerated circumstance, would                      latitude, and does not provide a clear                provided by HHS regulations and CDC
                                              not alone be determinative. A heavily                   definition of which medical conditions                guidance. In identifying a Class A
                                              weighted factor could be outweighed by                  would be considered as a negative                     medical condition, the HHS regulations
                                              countervailing evidence in the totality                 factor. This commenter stated that this               direct physicians conducting the
                                              of the circumstances. DHS also                          suggests that any pre-existing condition              immigration medical examinations to
                                              disagrees that it is impermissibly                      may be counted against a green card                   explain on the medical report ‘‘the
                                              counting factors twice. DHS                             applicant regardless of whether it will               nature and extent of the abnormality;
                                              acknowledges that multiple factors may                  seriously undermine an individual’s                   the degree to which the alien is
                                              coincide or relate to each other and                    self-sufficiency.                                     incapable of normal physical activity;
                                              emphasizes that the public charge                          Some commenters provided input on                  and the extent to which the condition is
                                              determination reviews all factors in the                the role of DHS adjudicators as it relates            remediable . . . [as well as] the
                                              totality of the circumstances. Therefore,               to the health factor. Several commenters              likelihood, that because of the
                                              the fact that a person has a medical                    questioned the ability of an adjudicator              condition, the applicant will require
                                              condition that prevents him or her from                 to determine if someone living with a                 extensive medical care or
                                              working or going to school and lacks                    chronic condition will be a public                    institutionalization.’’ 582
                                              private health insurance is considered                  charge in the future. One commenter                      A Class B medical condition is
                                              in the totality of the circumstances                    said authorizing DHS personnel to make                defined as a physical or mental
                                              without assigning a point system or                     projections about whether a person’s                  condition, disease, or disability serious
                                              value to various factors. Finally, as                   health condition could, in the future,                in degree or permanent in nature.583
                                              discussed in section III. R. of this                    affect their ability to work, study or care           Currently, the CDC Technical
                                              preamble, DHS has added a heavily                       for themselves or require expensive                   Instructions for Medical Examinations
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                                              weighted positive factor for private                    treatment invites unbridled speculation               of Aliens, which direct physicians to
                                              health insurance appropriate to                         and discrimination against persons with               provide information about Class B
                                              intended the duration of the alien’s stay.              disabilities or other observable physical             conditions, describe a Class B condition
                                                 Comment: Some commenters                             conditions. Another commenter stated                  as one that, although it does not
                                              expressed concern that this aspect of the               that USCIS lays out no standards for                  ‘‘constitute a specific excludable
                                                                                                      determining whether a disability or
                                                581 See Inadmissibility on Public Charge Grounds,     other serious health condition will lead                582 42   CFR 34.4(b)(2).
                                              83 FR 51114, 51182 (proposed Oct. 10, 2018).            the agency to decide whether an                         583 See   42 CFR 34.2(b)(2).



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                                              condition, represents a departure from                  opportunity for the alien to provide the              impermissible use of regulatory
                                              normal health or well-being that is                     full context surrounding his or her                   authority. As part of the public charge
                                              significant enough to possibly interfere                health.                                               determination, Congress directed
                                              with the person’s ability to care for                      Comment: Another commenter stated                  agencies to consider, among other
                                              himself or herself, to attend school or                 that the Form I–693 medical exam could                factors, the health of the alien.586 As
                                              work, or that may require extensive                     not be expected to detect ailments or                 explained in the NPRM,587 prior to
                                              medical treatment or institutionalization               conditions not indicated on Form I–693,               Congress establishing health as a factor
                                              in the future.’’ 584                                    and therefore, DHS may never be made                  for the public charge determination, the
                                                As discussed in the NPRM,585 as part                  aware of many health conditions among                 courts, the BIA and INS had also held
                                              of the immigration medical                              future applicants and petitioners. The                that a person’s physical and mental
                                              examination, when identifying a Class B                 commenter further indicated that an                   condition was of major significance to
                                              medical condition, civil surgeons and                   individual could delay seeking                        the public charge determination,
                                              panel physicians are required to report                 treatment for a condition, and could                  generally in relation to the ability to
                                              on certain disabilities, including the                  delay application for Medicaid or                     earn a living.588 Accordingly, DHS
                                              nature and severity of the disability, its              Medicare until after naturalizing.                    proposed that when considering an
                                              impact on the alien’s ability to work,                  Another commenter expressed concern                   alien’s health, DHS will consider
                                              attend school, or otherwise support                     that the list of medical conditions                   whether the alien has any physical or
                                              himself or herself, and whether the                     included in the Form I–693 medical                    mental condition that, although not
                                              disability will require hospitalization or              exam may be subject to additions after                considered a condition or disorder that
                                              institutionalization. DHS would only                    finalization of the proposed rule                     would render the alien inadmissible
                                              consider disability as part of the health               threatening the hard-won progress                     under the health-related ground of
                                              factor to the extent that such disability,              towards ending many epidemics in the                  inadmissibility,589 is significant enough
                                              in the context of the alien’s individual                United States.                                        to interfere with the person’s ability to
                                              circumstances, impacts the likelihood of                   Response: DHS’s general reference for              care for himself or herself or to attend
                                              the alien becoming a public charge; i.e.,               review of the health factor is the Form               school or work, or that is likely to
                                              the rule calls for a consideration of the               I–693. Civil surgeons test for Class A                require extensive medical treatment or
                                              potential effects on the alien’s ability to             and Class B conditions and report the                 institutionalization in the future.
                                              work, attend school or otherwise                        findings on the Form I–693, as directed               USCIS-designated civil surgeons and
                                              support himself or herself. Further, if an              by the CDC Technical Instructions; an                 DOS-designated panel physicians
                                              immigration medical examination by a                    officer would review the civil surgeon’s              examine whether an alien has a
                                              civil surgeon or panel physician is                     findings in the totality of the                       condition that renders the alien
                                              required, officers will generally defer to              circumstances. However, DHS would
                                                                                                                                                            inadmissible on medical grounds (a
                                              the report when assessing whether an                    also take into consideration any
                                                                                                                                                            Class A medical condition according
                                              individual’s medical condition will                     additional medical records or related
                                                                                                                                                            HHS regulation) 590 or whether the alien
                                              affect a person’s ability to care for                   information provided by the alien to
                                                                                                                                                            has a medical condition that is
                                              himself or herself, work, or go to school.              clarify any medical condition included
                                                                                                                                                            significant enough to interfere with the
                                              DHS would generally defer to such                       on the medical form or other
                                                                                                                                                            person’s ability to take care of himself
                                              report, unless there is evidence that the               information that may outweigh any
                                                                                                                                                            or herself, to attend school or to work
                                              report is incomplete. DHS has amended                   negative factors. Such documentation
                                                                                                                                                            and would likely receive extensive
                                              the regulatory text consistent with this                may include, for instance, a licensed
                                                                                                                                                            medical treatment (a Class B
                                              approach. Consistent with the NPRM,                     doctor’s attestation of prognosis and
                                                                                                      treatment of a medical condition. DHS                 condition).591 If the alien is required to
                                              however, DHS will also permit the alien
                                              to submit other documentation                           would consider the evidence in the                      586 See INA section 212(a)(4), 8 U.S.C. 1182.
                                              regarding the alien’s medical conditions                totality of the circumstances. DHS                      587 See Inadmissibility on Public Charge Grounds,
                                              to assess whether the alien’s health                    acknowledges that this approach is                    83 FR 51114, 51181–84 (proposed Oct. 10, 2018).
                                              makes the alien more likely than not to                 imperfect, but believes that it                         588 See, e.g., Matter of Martinez-Lopez, 10 I&N


                                              become a public charge at any time in                   appropriately implements the statute in               Dec. 409, 421–23 (Att’y Gen. 1964); see also Matter
                                                                                                      the context of adjudicators’ limited                  of A-, 19 I&N Dec. 867, 869 (Comm’r 1988) (citing
                                              the future. This should provide ample                                                                         Matter of Harutunian, 14 I&N Dec. 583 (Reg’l
                                                                                                      expertise.                                            Comm’r 1974); Matter of Vindman, 16 I&N Dec. 131
                                                584 See Ctrs. for Disease Control & Prevention,          Comment: A commenter said the                      (Reg’l Comm’r 1977)).
                                              Required Evaluations—Other Physical or Mental           rule’s inclusion of Class B medical                     589 See INA section 212(a)(1), 8 U.S.C. 1182(a)(1).

                                              Abnormality, Disease, or Disability, Technical          conditions as impacting admissibility is                590 See INA section 212(a)(1), 8 U.S.C. 1182(a)(1).

                                              Instructions For Medical Examination Of Aliens,         an impermissible use of regulatory                      591 A Class B condition is defined as a physical
                                              available at https://www.cdc.gov/immigrant                                                                    or mental condition disease or disability serious in
                                              refugeehealth/exams/ti/panel/technical-
                                                                                                      power. Specifically, the commenter said
                                                                                                                                                            degree or permanent in nature. See 42 CFR
                                              instructions/panel-physicians/other-physical-           the proposed rule seeks to create a new               34.2(b)(2). The Technical Instructions for the
                                              mental.html (last updated Nov. 23, 2016) (last          ground of inadmissibility by finding                  Medical Examination of Aliens directs physicians
                                              visited July 26, 2019); Ctrs. for Disease Control &     those who are not inadmissible under                  to provide information about Class B conditions in
                                              Prevention, Required Evaluation Components Other                                                              the medical forms submitted as part of the
                                              Physical or Mental Abnormality, Disease or
                                                                                                      section 212(a)(1) of the Act,
                                                                                                                                                            immigration benefits application. See Ctrs. for
                                              Disability, Technical Instructions for the Medical      inadmissible under section 212(a)(4) of               Disease Control & Prevention, Required
                                              Examination of Aliens in the United States,             the Act and is attempting to substitute               Evaluations—Other Physical or Mental
                                              available at https://www.cdc.gov/immigrant              medical determinations by                             Abnormality, Disease, or Disability, Technical
                                              refugeehealth/exams/ti/civil/technical-instructions/                                                          Instructions For Medical Examination Of Aliens,
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                                              civil-surgeons/required-evaluation-components/
                                                                                                      congressionally enabled civil surgeons
                                                                                                                                                            available at https://www.cdc.gov/immigrant
                                              other-disease-disability.html (last updated Aug. 3,     and panel physicians with its own                     refugeehealth/exams/ti/panel/technical-
                                              2010) (last visited July 26, 2019). The HHS             determination about medical                           instructions/panel-physicians/other-physical-
                                              regulations require physicians conducting medical       inadmissibility.                                      mental.html (last updated Nov. 23, 2016) (last
                                              examinations for an alien to comply with the CDC’s         Response: DHS disagrees with the                   visited July 26, 2019); Ctrs. for Disease Control &
                                              Technical Instructions for Medical Examinations of                                                            Prevention, Required Evaluation Components Other
                                              Aliens. See 42 CFR 34.3(i).                             commenter that considering Class B                    Physical or Mental Abnormality, Disease or
                                                585 See Inadmissibility on Public Charge Grounds,     medical conditions as part of the public              Disability, Technical Instructions for the Medical
                                              83 FR 51114, 51181–84 (proposed Oct. 10, 2018).         charge determination is an                                                                        Continued




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                                              undergo an immigration medical                          resources available to the State and the                this rule would discriminate against
                                              examination, USCIS will generally defer                 needs of others with mental                             individuals with chronic health
                                              to the findings from the civil surgeon or               disabilities.593 At issue was whether the               conditions such as heart disease, which
                                              panel physician made in the                             state interpreted the reasonable                        tend to disproportionally impact
                                              immigration medical examination report                  accommodation provision properly or                     communities of color. One commenter
                                              (unless the report appears incomplete)                  incorrectly continued to institutionalize               noted that the very definition of
                                              in regard to the determination of the                   the plaintiff because community                         disability, a condition that ‘‘ ‘interferes’
                                              medical condition and its impact on the                 placement would have been costly.594                    with a person’s ability to do such things
                                              person’s ability to take care of himself                   Title II of the ADA does not govern                  as go to school or work,’’ means that
                                              or herself, to attend school or to work,                DHS’s actions in this context. In                       ‘‘virtually every person with a health
                                              or whether the condition requires                       addition, unlike in the ADA provision                   condition affecting her or his life could
                                              medical treatment. USCIS may also use                   and the regulatory provision discussed                  be deemed a public charge, no matter
                                              other evidence of medical conditions in                 in Olmstead, Congress did not single out                how well the person has coped with the
                                              the alien’s file.592                                    disability in section 212(a)(4) of the Act.             condition.’’ A couple of commenters
                                                                                                      As explained in the NPRM,595 DHS has                    warned that the discrimination against
                                              2. Health and Disability Discrimination                 carefully considered the interaction                    individuals with disabilities would have
                                                 Comment: A commenter said the                        between various federal laws and                        the unintended consequence of splitting
                                              inclusion of ‘‘interfere[nce] with the                  regulations with respect to                             up families, even in an asylum seeking
                                              alien’s ability to provide and care for                 discrimination and determined that                      application, or penalizing family
                                              him- or herself’’ at 8 CFR 212.22(b)(2)(i)              considering, as part of the health factor,              members providing support for
                                              in the NPRM also raises concerns under                  an applicant’s disability diagnosis, in                 individuals with disabilities.
                                              Olmstead v. L.C., 527 U.S. 581 (1999),                  the context of the alien’s individual                      Several commenters stated that the
                                              which recognized that the Americans                     circumstances and how it affects his or                 rule penalizes and discriminates against
                                              with Disabilities Act (ADA) mandate                     her ability to work, attend school, or                  individuals with serious medical
                                              provides people with disabilities a life                otherwise care for himself or herself, is               conditions, such as cancer, cystic
                                              in the most integrated setting                          not inconsistent with these laws. The                   fibrosis, multiple sclerosis, heart, lung
                                              appropriate to their needs. Relatedly, a                alien’s disability is treated just like any             disease. Commenters also stated that,
                                              commenter stated that the proposed rule                 other medical condition that affects an                 under this proposed policy, an
                                              codifies discriminatory standards for                   alien’s likelihood, in the totality of the              individual cancer survivor would be
                                              evaluating a noncitizen’s health and                    circumstances, of becoming a public                     penalized, regardless of the individual’s
                                              may be in violation of the ADA. The                     charge—it is neither singled out nor                    type of cancer, period of survivorship,
                                              commenter also indicated that                           treated differently and, within the                     or long-term health outcome, which is
                                              individuals with disabilities who would                 totality of the circumstances, is also not              discriminatory. An individual
                                              have been institutionalized before                      the sole basis for an inadmissibility                   commenter said the classification of
                                              Olmstead live at home with their                        finding.596 Similarly, DHS does not                     arthritis and heart disease as serious
                                              families, go to school, and hold jobs                   single out or treat differently any one                 health conditions seems overly
                                              even though they cannot solely care for                 health-related or medical condition over                exaggerated and extreme, since almost
                                              themselves. Therefore, the commenter                    another but has continuously                            50 percent of individuals over 65 have
                                              indicated that the ‘‘ability to care for                emphasized that all factors will have to                doctor reported arthritis and healthy
                                              oneself’’ factor excludes many people                   be considered in the totality of the                    lifestyle can help reduce the negative
                                              who are not public charges and is likely                alien’s circumstances and that no one                   consequences of heart disease.
                                              to generate the kind of discrimination                  factor is determinative.                                   Multiple commenters said the
                                              that Olmstead seeks to prevent.                            Comment: Several commenters                          proposal would equate any person with
                                                 Response: DHS disagrees with the                     expressed concern that the proposed                     a serious health condition as effectively
                                              commenter’s assertion that the rule, as                 changes would be discriminatory                         having a ‘‘pre-existing condition’’ that
                                              proposed, would generate the kind of                    against or penalize immigrants based on                 disqualifies them for immigration,
                                              discrimination that Olmstead sought to                  their health status, particularly those                 asserting that this would have a
                                              prevent. In Olmstead, the Court held                    with chronic health conditions and                      profound impact on racial and ethnic
                                              that, in accordance with Title II of the                disabilities and the elderly. One                       minorities who, because of many social
                                              ADA, and under the implementing                         commenter noted that ‘‘[w]hile it is                    determinants of health,
                                              regulations, states are required to                     illegal to discriminate against someone                 disproportionately experience a number
                                              provide community-based treatment for                   on the basis of disability, the proposed                of chronic conditions (with many citing
                                              persons with mental disabilities when                   rule encourages this form of                            studies as support). One commenter
                                              the State’s treatment professionals                     discrimination, and furthers the idea                   pointed to studies indicating that social
                                              determine that such placement is                        that some people are more worthy than                   determinants of health are one of the
                                              appropriate, the affected persons do not                others.’’ A commenter expressed that                    main inequalities between whites and
                                              oppose such treatment, and the                          individuals with the misfortune of                      persons of color.
                                              placement can be reasonably                             suffering serious health issues or living                  Numerous commenters expressed
                                              accommodated, taking into account the                   with a disability will be at risk of a high             general concern about the rule’s
                                                                                                      rate of application denials under this                  negative effects on aliens with
                                              Examination of Aliens in the United States,             proposed rule. One commenter stated                     disabilities and their families. Many
                                              available at https://www.cdc.gov/immigrant                                                                      commenters also expressed concern
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                                              refugeehealth/exams/ti/civil/technical-instructions/
                                              civil-surgeons/required-evaluation-components/
                                                                                                        593 Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581,   over the negative assessments that
                                              other-disease-disability.html (last updated Aug. 3,     607 (1999).                                             individuals with intellectual and
                                                                                                        594 See Olmstead v. L.C. ex rel. Zimring, 527 U.S.
                                              2010) (last visited July 26, 2019). The HHS                                                                     developmental disabilities, psychiatric
                                              regulations require physicians conducting medical       581, 598 (1999).
                                                                                                        595 See Inadmissibility on Public Charge Grounds,
                                                                                                                                                              disabilities, or physical disabilities
                                              examinations for an alien to comply with the CDC’s
                                              Technical Instructions for Medical Examinations of      83 FR 51114, 51184 (proposed Oct. 10, 2018).            would receive under the ‘‘health’’ factor
                                              Aliens. 42 CFR 34.3(i).                                   596 See Inadmissibility on Public Charge Grounds,     in public charge determination. The
                                                592 See 8 CFR 212.22(b)(2)(ii).                       83 FR 51114, 51184 (proposed Oct. 10, 2018).            commenters indicated that the rule


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                                              discriminates against immigrants with                   without working, then the alien may not               the proposed rule ‘‘reflects the types of
                                              disabilities because a range of medical                 be likely to become a public charge.                  bias and ‘‘archaic attitudes’’ about
                                              conditions that constitute disabilities, as                Comment: A commenter stated the                    disabilities that the Rehab Act was
                                              well as the existence of a disability,                  rule should require immigration                       meant to overcome.’’ Other commenters
                                              would be unduly weighted in the                         officials to take the letter and spirit of            stated that the proposed rule
                                              determination of whether an immigrant                   federal anti-discrimination laws into                 discriminates against individuals with
                                              is likely to become a public charge.                    account when determining public                       disabilities. An individual commenter
                                              Multiple commenters remarked that                       charge. Multiple commenters stated that               stated that, while DHS states that the
                                              individuals with disabilities often lack                the rule ‘‘disfavor[s] people with                    impact of using health as a factor in
                                              private health insurance and are                        disabilities in the public charge                     determining if they will become a
                                              currently using or recently used                        analysis,’’ and will deem,                            public charge would not violate IDEA or
                                              Medicaid, which are two heavily                         inappropriately, people with                          the ADA, it is hard to see how DHS
                                              weighted negative factors. Other                        disabilities, who contribute to the                   actually thinks that will happen given
                                                                                                      economy, public charges.                              that a disability is concretely being
                                              commenters expressed concern that the                      Several commenters stated that the
                                              rule’s health standard is overbroad,                                                                          deemed a negative factor which needs to
                                                                                                      rule is contrary to decades of bipartisan             be ‘‘rectified’’ by ability to work. This
                                              specifically in its inclusion of                        congressional lawmaking regarding                     and other commenters said DHS’s
                                              individuals with chronic health                         disability inclusion, including the ADA,              interpretation seems to violate 6 CFR
                                              conditions, like heart disease, cancer,                 Section 1551 of the ACA, Fair Housing                 15.30(b)(1)(i) by denying a benefit on
                                              trauma, mental disorders, and                           Act, and the Rehabilitation Act of 1973               the basis of disability.
                                              pulmonary conditions, and potentially                   (Rehab Act). A few commenters, in                       Response: DHS disagrees with the
                                              individuals who may need                                particular, warned that the rule would                comments stating that the rule
                                              Individualized Education Plans to study                 echo the types of bias and archaic                    discriminates against individuals with
                                              or reasonable accommodations to work.                   attitudes about disability that the Rehab             disabilities or those with specific
                                              Some commenters stated that the rule                    Act was meant to overcome. One                        medical conditions. As noted in the
                                              would perpetuate the false notion that a                commenter stated that, while the                      NPRM, in enacting section 212(a)(4) of
                                              medical diagnosis is solely                             proposed changes to the totality of                   the Act, 8 U.S.C. 1182(a)(4), Congress
                                              determinative of an individual’s current                circumstances would especially affect                 required DHS to consider, as part of the
                                              abilities and future capabilities.                      people with disabilities, excluding them              public charge inadmissibility
                                                 Response: DHS neither proposed to                    from the United States by claiming they               determination, an alien’s health.
                                              exclude from the United States                          are more likely to need government                    Although Congress has, over time,
                                              individuals who have specific health                    assistance, the Rehab Act makes it                    significantly reduced the prohibitions
                                              conditions, nor sought to                               unlawful to discriminate against anyone               on immigration for persons with mental
                                              disproportionally impact communities                    on the basis of disability, whether or not            and physical disabilities and also
                                              of color or people with disabilities. DHS               they are a citizen. Some commenters                   amended PRWORA to restore the ability
                                              is required by statute to consider in the               stated that the proposed rule’s broad                 of certain aliens with disabilities to
                                              totality of the circumstances whether                   reading of the statutory health and                   receive certain public assistance, such
                                              any health condition an alien may have                  resources factors for public charge                   as SSI,597 Congress has never
                                              would make the alien likely to become                   determinations are inconsistent with                  correspondingly prohibited the
                                                                                                      Section 504’s prohibition on disability-              application of the public charge
                                              a public charge. This determination
                                                                                                      based discrimination.                                 inadmissibility ground to aliens with
                                              takes into account any health condition                    One commenter stated that the rule is
                                              in the context of the alien’s ability to                                                                      disabilities who receive, or are likely to
                                                                                                      inconsistent with the intent of the 1990              receive, disability benefits for which
                                              support himself or herself and like all of              amendments to the INA, which ensured
                                              the mandatory factors, is highly fact-                                                                        they are eligible.598
                                                                                                      that individuals were not deemed                        As noted in the NPRM, this rule is not
                                              specific; i.e., dependent on the alien’s                inadmissible based on their disability
                                              precise circumstances. For example, an                                                                        inconsistent with federal statutes and
                                                                                                      status by deleting the prior grounds of               regulations with respect to
                                              alien may have a health condition that                  exclusion for, among others, paupers
                                              does not impact the alien’s ability to                                                                        discrimination against aliens with
                                                                                                      and those with a physical disability.                 disabilities, as an alien’s disability is
                                              work or secure employment or                            The same commenter stated that the
                                              constitute a drain on the alien’s                       rule is also contradictory to Section                    597 See generally Mark C. Weber, Opening the
                                              financial resources, and therefore such                 504’s bar on disability-based                         Golden Door: Disability and the Law of
                                              health condition would not make the                     discrimination in DHS’s programs and                  Immigration, by 8 Journal of Gender, Race, and
                                              alien likely to become a public charge.                 activities.                                           Justice at pp. 4–5, 8 (Spring 2004) (discussing
                                                                                                                                                            historical changes in 1986 and 1990 immigration
                                              Similarly, an alien may have a health                      A couple of commenters stated that                 laws that removed various prohibitions on aliens
                                              condition that if unmanaged would                       the rule would violate the                            with mental and physical disabilities, unless they
                                              affect the alien’s ability to work but if               Developmental Disabilities Assistance                 represented a threat to themselves or others;
                                              successfully managed would not impact                   and Bill of Rights Act. One commenter                 describing restoration of SSI disability benefits to
                                                                                                                                                            aliens who had been receiving them before Aug. 22,
                                              the alien’s ability to work or find                     noted that ‘‘that further clarification is            1996). See also John F. Stanton, The Immigration
                                              employment or constitute a drain on the                 needed explaining precisely how DHS                   Laws from a Disability Perspective: Where We Were,
                                              alien’s financial resources. In those                   will consider certain factors like a                  Where We Are, Where We Should Be, 10 Geo.
                                              cases, USCIS would look at whether the                  disability ‘‘to the extent that such                  Immigr. L. J. 441 (Spring, 1996) (pre-PRWORA
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                                                                                                                                                            analysis).
                                              alien has or is likely to obtain private                disability . . . would entail                            598 Congress did permit a waiver of INA section
                                              health insurance or any other means to                  consideration of the potential effects on             212(a)(4), 8 U.S.C. 1182(a)(4), for aliens seeking
                                              pay for medical treatment. Finally, even                the alien’s ability to work, attend school            lawful permanent resident status under the
                                              if an alien has a health condition that                 or otherwise support himself or                       legalization provision of the Immigration Reform
                                                                                                                                                            and Control Act of 1986 (IRCA) if they met the age,
                                              precludes employment, if the alien has                  herself.’’ Other commenters stated that               blindness, or disability standards for SSI. See INA
                                              the financial means to pay for medical                  the rule needs to make accommodations                 section 245A(d)(2)(B)(ii)(IV), 8 U.S.C.
                                              treatment and is able to be self-sufficient             for individuals with disabilities and that            1255a(d)(2)(B)(ii)(IV).



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                                              treated just as any other medical                       grounds of exclusion with the grounds                 minority backgrounds are fully included
                                              condition that affects an alien’s                       of inadmissibility. The rule is not                   in all activities provided under this
                                              likelihood, in the totality of the                      recreating the prior grounds of                       title.’’
                                              circumstances, of becoming a public                     excludability that, prior to 1990,                       Based on the language in the DD Act,
                                              charge. A diagnosis of a disability is                  included persons certified to have a                  DHS believes that services under the DD
                                              related to an alien’s health, and                       ‘‘physical defect, disease, or disability’’           Act are not public benefits as defined in
                                              therefore is properly considered as part                who is required to work.602 Rather, the               the rule, because all individuals with
                                              of the public charge analysis.                          rule is providing guidance to the public              developmental disabilities, without
                                                 An alien’s health is not outcome                     charge inadmissibility ground as it has               regard to income, are eligible for
                                              determinative—that is, an alien’s health                existed since the 1990 amendments to                  services that the DD Act allows.
                                              cannot be the sole basis for a finding                  the INA.603                                              DHS further does not believe that the
                                              that an alien is inadmissible as likely to                 As to the comment that the public                  rule violates the DD Act. While the
                                              become a public charge. As such, a                      charge inadmissibility rule violates the              policy of the DD Act is to offer
                                              diagnosis that an alien has a disability,               Developmental Disabilities Assistance                 protections and advocacy to individuals
                                              alone, will never result in a public                    and Bill of Rights Act of 2000 (DD Act)               with developmental disabilities, and
                                              charge inadmissibility finding. As with                 (42 U.S.C. 15001 et seq.),604 the statute             while the services provided pursuant to
                                              any other medical condition identified                  was enacted to ensure that individuals                the DD Act would not make an
                                              in the alien’s application and                          with developmental disabilities and                   individual a public charge, DHS does
                                              supporting documentation, the alien’s                   their families ‘‘participate in the design            not believe the DD Act would govern
                                              disability will be considered in the                    of and have access to needed                          DHS’s public charge determination
                                              totality of the circumstances framework.                community services, individualized                    regarding other benefits. The DD Act is
                                              An alien with a disability will neither                 supports, and other forms of assistance               silent regarding the issue of whether an
                                              be treated differently nor singled out,                 that promote self-determination,                      individual can be considered a public
                                              and the disability itself would not be the              independence, productivity, and                       charge based upon receipt of services
                                              sole basis for an inadmissibility finding.              integration and inclusion in all facets of            that do not fall under the DD Act. Other
                                              In other words, as with any other                       community life, through culturally                    HHS disability and aging statutes and
                                              mandated factor and consideration in                    competent programs. . . ’’ 605 The                    programs such as the Traumatic Brain
                                              the public charge inadmissibility                       programs within the DD Act are funded                 Injury Act, Limb Loss Act, Older
                                              determination, DHS would look at each                   through congressional appropriations                  Americans Act, and the Christopher and
                                              of the mandatory factors, and the                       for the Administration for Community                  Dana Reeves Paralysis Act do not
                                              affidavit of support, if required, as well              Living, which are not related to                      receive Medicaid or Medicare funds and
                                              as all other relevant factors in the                    Medicaid or TANF appropriations or                    do not have restrictions on immigration
                                              totality of the circumstances. Therefore,               other federal benefit programs covered                or citizenship status.
                                              consideration of a disability in the                    by the proposed public charge rule. The                  Comment: Some commenters
                                              context of the totality of circumstances                State Councils on Developmental                       suggested that the USCIS should
                                              does not violate the Rehabilitation Act’s               Disabilities, Protection and Advocacy                 estimate the extent to which any
                                              prohibition on denying a benefit ‘‘solely               Systems, University Centers of                        regulatory changes will impact the
                                              by reason of [an applicant’s]                           Excellence in Developmental                           number of otherwise eligible applicants
                                              disability.’’ 599                                       Disabilities, and Projects of National                with disabilities when compared to the
                                                 Likewise, DHS does not believe the                   Significance participate in capacity                  current and historical baselines, and
                                              rule is in violation of or inconsistent                 building, systems change, advocacy,                   then reconsider other less harmful
                                              with the other cited authorities. For                   protect legal and human rights of people              alternatives.
                                                                                                      with developmental disabilities,                         Response: As indicated in the NPRM,
                                              example, the rule is not inconsistent
                                                                                                      conduct research, provide inter-                      DHS would only consider disability as
                                              with the regulation that prohibits DHS
                                                                                                      disciplinary training for students and                part of the health factor to the extent
                                              from denying benefits to a ‘‘qualified
                                                                                                      fellows, leadership training, direct                  that such disability, in the context of the
                                              individual with a disability . . . by
                                                                                                      support services training, community                  alien’s individual circumstances,
                                              reason of his or her disability.’’ 600
                                                                                                      based training, and clinical or other                 impacts the likelihood of the alien
                                              Public charge determinations will be
                                                                                                      training to strengthen the workforce that             becoming a public charge.607 Although
                                              made based on the totality of
                                              circumstances and not on the basis of a                 serves individuals with developmental                 a study of the correlations between
                                              disability, and the regulatory definition               disabilities.                                         different disabilities and the array of
                                                                                                         The DD Act is intended for all                     positive and negative factors were not
                                              of a ‘‘qualified individual with a
                                                                                                      individuals with developmental                        included in the text of the rule, DHS
                                              disability’’ requires a person to ‘‘meet
                                                                                                      disabilities and their families regardless            understands that those correlations may
                                              the essential eligibility
                                                                                                      of immigration status.606 The DD Act                  exist and may also be affected by the
                                              requirements.’’ 601 The essential
                                                                                                      states that: ‘‘there is a need to ensure              type and severity of the disability.
                                              requirements in the context of
                                                                                                      that services, supports, and other                    However, DHS would not distinguish
                                              admission and adjustment of status
                                                                                                      assistance are provided in a culturally               between Medicaid recipients who are
                                              require that an applicant not be likely at
                                                                                                      competent manner that ensures that                    disabled from those who are not
                                              any time in the future to become a
                                                                                                      individuals from racial and ethnic                    disabled. Instead, DHS would look to
                                              public charge.
                                                 DHS does not believe the rule is                                                                           the information provided in the medical
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                                              inconsistent with the 1990 amendments
                                                                                                        602 See section 212(a)(7) of the Act, 8 U.S.C.
                                                                                                                                                            certification as to whether it would
                                                                                                      1182(a)(7) (1988).                                    affect the person’s ability to work or
                                              to the INA and its revision of the prior                  603 See Immigration Act of 1990, Public Law 101–

                                                                                                      649, section 601, 110 Stat. 4978, 5072 (Nov. 29,
                                                                                                                                                            attend school. DHS provided estimates
                                                599 29 U.S.C. 794(a).                                 1990).                                                of benefit use by an array of
                                                600 6 CFR 15.30(a). See also 6 CFR 15.30(b)(1)(i)       604 Public Law 106–402, 114 Stat. 1677 (Oct. 30,    characteristics in the NPRM, and does
                                              (prohibiting denying a benefit ‘‘on the basis of a      2000).
                                              disability’’).                                            605 Id.                                               607 See Inadmissibility on Public Charge Grounds,
                                                601 6 CFR 15.3(e)(2).                                   606 See INA section 101(b) and 101(c).              83 FR 51114, 51183 (proposed Oct. 10, 2018).



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                                              not believe additional tables for                          As discussed in the NPRM,609 DHS                   will potentially forego subsidized
                                              disability are needed in the justification              has determined that considering, as part              healthcare treatment due to this rule,
                                              for the rule.                                           of the health factor, an applicant’s                  resulting in substantial negative health
                                                 Comment: Numerous commenters                         disability diagnosis that, in the context             outcomes, not only to affected
                                              cited to the impact on individuals with                 of the alien’s individual circumstances,              individuals but also the community at
                                              disabilities and children with                          affects his or her ability to work, attend            large. Multiple commenters stated that
                                              disabilities. Many commenters cited the                 school, or otherwise care for himself or              reports are already emerging of
                                              statistic that roughly 2.6 million                      herself, is not inconsistent with federal             individuals who are considering waiting
                                              children in immigrant families have a                   statutes and regulations with respect to              to begin life-saving treatment in the
                                              disability or special healthcare need.                  discrimination, as the alien’s disability             belief that this will ensure their
                                              Numerous commenters asserted that                       is treated just as any other medical                  eligibility.
                                              children with special health and                        condition that affects an alien’s                        Several commenters stated that the
                                              developmental needs require medical,                    likelihood, in the totality of the                    rule sends the signal that individuals
                                              behavioral, and educational services                    circumstances, of becoming a public                   with HIV/AIDS and other chronic health
                                              above and beyond typical children,                      charge. Under the totality of the                     conditions are ‘‘undesirable.’’ A couple
                                              which makes immigrant families                          circumstances framework, an alien with                of commenters said the proposal will
                                              vulnerable to economic hardship. Many                   a disability is not being treated                     create a ‘‘backdoor means’’ of excluding
                                              commenters cited the fact that children                 differently, or singled out, and the                  those with HIV from the United States
                                              with disabilities are more likely to live               disability itself would not be the sole               by classifying HIV/AIDS as a Class B
                                              in low-income households experiencing                   basis for an inadmissibility finding.                 medical condition that can be used as a
                                              food insecurity and housing instability.                DHS would look at each of the                         negative factor in determining public
                                              Multiple commenters concluded that                      mandatory factors, and the affidavit of               charge. Some commenters said the
                                              access to Medicaid is uniquely critical,                support, if required, as well as all other            inclusion of HIV as a negatively
                                              as children with disabilities rely on the               factors in the totality of the                        weighted factor undoes congressional
                                              public health coverage for occupational,                circumstances.                                        intent in removing HIV as a ground of
                                                                                                         Therefore, an applicant’s disability               inadmissibility and draws disturbing
                                              physical, or speech therapies and
                                                                                                      could not be the sole basis for a public              parallels to the 1987 HIV travel and
                                              prescription drugs. One commenter
                                                                                                      charge inadmissibility finding. In                    immigration ban overturned in 2010.610
                                              stated that, although there is a Medicaid
                                                                                                      addition, DHS recognizes that the ADA,                A commenter said the rule could
                                              exception for foreign-born children
                                                                                                      the Rehabilitation Act, IDEA, and other               operate as a de facto ban on admission
                                              adopted by U.S. citizens, there is not
                                                                                                      laws provide important protections for                of HIV positive immigrants because it
                                              one for special needs children that are
                                                                                                      individuals with disabilities, including              would be difficult for an HIV positive
                                              foreign-born with immigrant parents.
                                                                                                      with respect to employment                            noncitizen to withstand the revised
                                              One commenter stated that individuals
                                                                                                      opportunities. Furthermore, as it relates             public charge analysis. This commenter
                                              with disabilities will be uniquely                      to a determination of inadmissibility
                                              affected by the rule because of the                                                                           also said the de facto ban on HIV
                                                                                                      under section 212(a)(4) of the Act, 8                 positive noncitizens runs against the
                                              inclusion of Medicaid-funded services,                  U.S.C. 1182(a)(4), when the alien is
                                              including services in the home and in                                                                         stated goal of the Trump Administration
                                                                                                      applying for the immigration benefit,                 to lead a global effort against HIV/AIDS
                                              communities, and will be                                DHS does not stand in the position of
                                              disproportionately impacted by the                                                                            and undermines U.S. leadership in this
                                                                                                      an employer or school where additional                area.
                                              inclusion of housing and food assistance                provisions of the ADA and Rehab Act or
                                              programs.                                                                                                        Many commenters said the rule
                                                                                                      IDEA would apply.                                     ignores the reality that suffering from a
                                                 Response: DHS appreciates the                           Comment: Numerous commenters                       chronic illness such as HIV/AIDS is not
                                              numerous programs that provide                          expressed concern about the impact this               an accurate indicator of future self-
                                              services to individuals with disabilities.              rule would have on individuals living                 sufficiency and full-time employment
                                              As discussed in the NPRM,608 as part of                 with HIV/AIDS. A commenter said most                  capabilities. One commenter stated that
                                              the immigration medical examination,                    applicants with HIV will automatically                a large portion of people living with
                                              when identifying a Class B medical                      have two heavily weighted negative                    HIV/AIDS have incomes below the
                                              condition, civil surgeons and panel                     factors: Having a health condition                    poverty line, which is not due to their
                                              physicians are required to report on                    without private insurance to cover the                inability to work due to health
                                              certain disabilities, including the nature              cost of treatment and receiving a public              conditions, but rather due to the
                                              and severity of the disability, its impact              benefit in the form of Medicaid. Some                 continued stigma of HIV/AIDS on
                                              on the alien’s ability to work, attend                  commenters expressed concern that,                    people’s ability to get work.
                                              school, or otherwise support himself or                 because treatment is prohibitively                       Another commenter stated that the
                                              herself, and whether the disability will                expensive unless subsidized by                        disproportionate negative impact on
                                              require hospitalization or                              government programs, these individuals                people living with HIV/AIDS will also
                                              institutionalization. DHS would only                    would be subjected to additional                      cause a disproportionate negative
                                              consider disability as part of the health               constraints regarding the enrollment of               impact on LGBT immigrants who apply
                                              factor to the extent that such disability,              health insurance (i.e., they would be                 for admission to the United States
                                              in the context of the alien’s individual                forced into buying non-subsidized                     because they account for a large portion
                                              circumstances, impacts the likelihood of                medical coverage, which does not                      of the HIV diagnoses.
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                                              the alien becoming a public charge; i.e.,               typically cover anti-retroviral therapy,                 For similar reasons expressed above
                                              a consideration of the potential effects                or buying additional coverage due to                  relating to HIV, some commenters
                                              on the alien’s ability to work, attend                  lack of adequate coverage from their                  expressed concerns about the rule’s
                                              school, or otherwise support himself or                 government-subsidized plan). Multiple                 impact on individuals with Hepatitis B
                                              herself.                                                commenters said immigrants with HIV
                                                                                                                                                               610 74 FR 56547 (Nov. 2, 2009) (removing HIV
                                                608 SeeInadmissibility on Public Charge Grounds,        609 SeeInadmissibility on Public Charge Grounds,    from the list of communicable diseases of public
                                              83 FR 51114, 51182–84 (proposed Oct. 10, 2018).         83 FR 51114, 51182–84 (proposed Oct. 10, 2018).       health significance at 42 CFR 34.2).



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                                              and Hepatitis C. One commenter said                     alien’s household as the primary                        proposed 8 CFR 212.21(d). As with the
                                              the proposed rule would undermine its                   element of the family status factor,                    other factors, household size, on its
                                              approach, as a State agency, to                         adding that this factor appropriately                   own, would never dictate the outcome
                                              combating HIV/AIDS and Hepatitis C.                     involves the assessment of whether an                   of a public charge inadmissibility
                                                 Response: As indicated in the                        alien has a household to support, or is                 determination. Household size is also
                                              NPRM,611 DHS will consider any                          being supported by another household,                   not an inherently negative factor under
                                              medical condition diagnosed in the                      when calculating the alien’s household                  DHS’s regulations, as certain
                                              totality of the circumstances. The fact                 size. The commenter also stated that the                commenters indicate. If an alien
                                              that an alien has been diagnosed with a                 NPRM correctly notes research showing                   demonstrates that the alien’s household
                                              medical condition would not serve as                    that receipt of non-cash benefits                       structure and members offer advantages
                                              the sole factor considered when                         increases as family size increases.                     that decrease the alien’s likelihood of
                                              determining whether an alien is likely at                  Response: DHS is required by statute                 receiving one or more public benefits at
                                              any time in the future to become a                      to consider an applicant’s family status                any time in the future above the 12
                                              public charge.612 The consideration                     when determining whether the alien is                   aggregate months in a 36-month period
                                              entails whether, in light of the alien’s                likely at any time in the future to                     threshold, then DHS will consider
                                              health, the alien will be able to care for              become a public charge.616 As discussed                 household size a positive factor.
                                              himself or herself, to attend school, or                in the NPRM, DHS will consider                             The rule also permits consideration of
                                              to work.613 Relatedly, as part of the                   whether the alien has a household to                    the alien’s family status within the
                                              assets, resources and financial status                  support or whether the alien is being                   context of assessing the alien’s
                                              factor, DHS would consider whether the                  supported by another household and                      household income, assets, and resources
                                              alien either has sufficient household                   whether the alien’s household size                      instead of simply the alien’s own
                                              assets and resources, including but not                 makes the alien more or less likely to                  income, assets, and resources.
                                              limited to private health insurance, to                 become a public charge.617 The receipt                  Therefore, an alien may present
                                              cover any reasonably foreseeable                        of non-cash benefits generally increases                evidence of how the alien’s household
                                              medical costs.614 The rule does not                     as family size increases 618 and is                     provides advantages relevant to
                                              focus on any specific medical condition                 relevant to assessing self-sufficiency.                 consideration under income, assets, and
                                              and people living with certain                          Therefore, DHS will retain the                          resources and makes the alien less likely
                                              conditions may still be able to care for                household size as a consideration in the                at any time to become a public charge.
                                              themselves, attend school, or go to                     public charge inadmissibility                           For instance, an alien who is part of a
                                              work,615 which the medical professional                 determination.                                          large family may have more household
                                              would be able to affirm in the medical                     Comment: A commenter stated that                     assets and resources available to use or
                                              certification.                                          DHS does not provide sufficient data or                 may have his or her own income or
                                                                                                      explanation for stakeholders to                         access to additional assets and resources
                                              K. Family Status                                        meaningfully comment on the way it                      that would assist in supporting the
                                                 Comment: Several commenters                          will evaluate family status in a public                 household. DHS would take these
                                              requested family size be removed from                   charge determination, so the                            family status-related considerations into
                                              consideration as a public charge. One                   requirement to provide sufficient notice                account when examining the totality of
                                              commenter indicated that the proposal                   under the APA has not been met. A few                   the alien’s circumstances.
                                              would be harmful to families, including                 commenters stated that the rule fails to                   Comment: A commenter expressed
                                              all members of the nuclear family, and                  provide any evidence that larger                        concern for how family status could
                                              may prohibit nuclear families from                      household sizes results in lack of self-                impact families that have a member
                                              immigrating.                                            sufficiency, pointing to research                       with chronic conditions because family
                                                 A few commenters voiced concerns                     showing that household size, by itself,                 members would be spending a
                                              about the statement that the applicant’s                is not an indicator of future public                    significantly higher proportion of their
                                              household size would be counted in                      benefit use or self-sufficiency. Another                income and resources on the family
                                              both the family status factor and the                   commenter said an extended family                       member with that condition, which
                                              assets, resources, and financial status                 structure offers many advantages,                       under the proposed rule would be
                                              factor, claiming the rule has the                       including stability, coherence, and                     weighted as a negative factor against
                                              potential to double-count negative                      physical and psychological support,                     those families.
                                              factors. Another commenter stated that                  particularly in times of need and should                   Response: DHS recognizes that
                                              family status should not count as a                     not be counted as a negative factor.                    chronic conditions may impact a
                                              negative factor if an immigrant has                        Response: DHS disagrees that the                     person’s income availability. However,
                                              sufficient income and resources.                        NPRM does not provide data or an                        an applicant’s family status is a factor
                                                 Conversely, a commenter expressed                    explanation about family status. The                    that must be considered when
                                              support for considering the size of an                  NPRM states that ‘‘Table 16 and Table                   determining whether the alien is likely
                                                                                                      17 show that among both U.S. citizens                   to become a public charge in the
                                                611 See Inadmissibility on Public Charge Grounds,     and noncitizens, the receipt of non-cash                future.620 As explained in the NPRM,
                                              83 FR 51114, 51183 (proposed Oct. 10, 2018).            benefits generally increased as family                  DHS’s proposed totality of the
                                                612 See Inadmissibility on Public Charge Grounds,
                                                                                                      size increased.’’ 619 Based on that data,               circumstances standard would involve
                                              83 FR 51114, 51183 (proposed Oct. 10, 2018).            DHS would consider the number of                        weighing all the positive and negative
                                                613 See Inadmissibility on Public Charge Grounds,
                                                                                                      people in a household as defined in the                 considerations related to an alien’s age;
                                              83 FR 51114, 51183 (proposed Oct. 10, 2018).
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                                                614 See Inadmissibility on Public Charge Grounds,
                                                                                                                                                              health; family status; assets, resources,
                                              83 FR 51114, 51183 (proposed Oct. 10, 2018).
                                                                                                        616 See 8 CFR 212.2; see also INA section             and financial status; education and
                                                615 See HIV.gov, Aging with HIV available at          212(a)(4)(B)(i)(III), 8 U.S.C. 1182(a)(4)(B)(i)(III).   skills; required affidavit of support; and
                                                                                                        617 See Inadmissibility on Public Charge Grounds,
                                              https://www.hiv.gov/hiv-basics/living-well-with-hiv/                                                            any other factor or circumstance that
                                              taking-care-of-yourself/aging-with-hiv (last visited    83 FR 51114, 51184 (proposed Oct. 10, 2018).
                                                                                                        618 See Inadmissibility on Public Charge Grounds,
                                                                                                                                                              may warrant consideration in the public
                                              January 17, 2019); and HIV.gov, Working with HIV,
                                              available at https://www.hiv.gov/hiv-basics/living-     83 FR 51114, 51184–85 (proposed Oct. 10, 2018).         charge inadmissibility determination.
                                              well-with-hiv/taking-care-of-yourself/employment-         619 Inadmissibility on Public Charge Grounds, 83

                                              and-health (last visited January 17, 2019).             FR 51114, 51184 (proposed Oct. 10, 2018).                620 See   INA section 212(a)(4), 8 U.S.C. 1182(a)(4).



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                                              However, DHS would not consider the                     As previously indicated Congress                       support someone else rather than
                                              medical conditions of a member of the                   established that family status would be                themselves. An individual commenter
                                              alien’s household. DHS would only                       a factor in the public charge                          said the proposed rule would affect
                                              consider the household size in                          inadmissibility determination.622                      spouses of individuals seeking a ‘‘green
                                              relationship to the FPG level for the                   Having a larger family does not                        card’’ because the proposed rule
                                              assets, resources and financial status                  necessarily lead to a conclusion that the              requires the couple’s income to be at
                                              factor.                                                 person is likely to be a public charge.                $41,000. Therefore, the commenter said
                                                 Regardless of household size, an alien               The household may have multiple                        that this rule would result in making
                                              may present other factors (e.g., assets,                sources of income that increase the                    decisions on whom to marry based on
                                              resources, financial status, education,                 income, assets, and resources of the                   a potential spouse’s income, which
                                              and skills) that weigh for or against a                 household allowing the person and                      could increase fraudulent marriages.
                                              finding that the alien is likely to become              household to be self-sufficient.                          In contrast, one commenter voiced
                                              a public charge. For instance, an alien                 Alternatively, a single person may or                  general support for the proposed
                                              who is part of a large household may                    may not have additional income, assets,                threshold of 125 percent of the FPG, and
                                              have his or her own income or access                    or resources to be self-sufficient. While              another commenter suggested that the
                                              to additional assets and resources that                 the receipt of non-cash benefits                       rule include a provision that requires
                                              would assist in supporting the                          generally increases as family size                     applicants to show that they make an
                                              household which would also be                           increases as discussed in the NPRM,623                 income high enough that neither they
                                              considered in the totality of the                       DHS will never determine that a person                 nor their dependents qualify for public
                                              circumstances.                                          is likely to become a public charge                    benefits.
                                                 Comment: One commenter said this                     based on family size alone. DHS                           Response: Even though this rule
                                              rule would punish applicants who have                   recognizes that family status can also                 considers an applicant’s income in the
                                              larger families, thus creating another                  have positive benefits and would take                  totality of the circumstances, which may
                                              disincentive to have children. Another                  all relevant factors into account when                 negatively impact low-income aliens,
                                              commenter stated the rule would                         assessing the totality of the                          DHS disagrees with comments that this
                                              discriminate against immigrants from                    circumstances regarding the alien’s                    rule is aimed at denying the admission
                                              countries whose cultural or religious                   likelihood to become a public charge.                  or adjustment of status of low income
                                              traditions encourage larger and multi-                                                                         aliens. Instead, this rule is aimed at
                                              generational families, disregarding                     L. Assets, Resources, and Financial
                                                                                                      Status                                                 better ensuring the self-sufficiency of
                                              whether such interdependence was                                                                               aliens seeking to reside in the United
                                              required or recognized by law.                          1. Income Standard                                     States.
                                              Similarly, a commenter suggested that                                                                             As noted elsewhere in this final rule,
                                                                                                         Comment: Multiple commenters
                                              Asian Americans would be most                                                                                  an alien’s income is one of many pieces
                                                                                                      expressed general concern that the
                                              affected by this rule because they are the                                                                     of evidence that DHS will consider in
                                                                                                      income assessment would penalize low-
                                              most likely to live in multigenerational                income immigrants. One commenter                       the totality of the circumstances. As
                                              homes. Another commenter said this                      said that the income threshold is                      provided in the NPRM, DHS will
                                              aspect of the proposed rule would have                  arbitrary. Using hypotheticals to                      generally consider whether the alien has
                                              the greatest impact on applicants from                  illustrate that someone seeking to adjust              a gross household income of at least 125
                                              Mexico and Central America (71                          status might still be found to be likely               percent of the FPG based on the alien’s
                                              percent), Africa (69 percent), and Asia                 to become a public charge despite                      household size. If the alien’s household
                                              (52 percent)—regions that typically                     minimal use of benefits and adequate                   income is less than 125 percent of the
                                              account for substantial numbers of                      family support, a commenter stated that                FPG, DHS will generally consider
                                              Muslim immigrants. The commenter                        having a low income and multiple                       whether the alien has assets and
                                              stated this aspect would have                           negative or heavily weighted negative                  resources is at least five times the
                                              substantially lower impacts on                          factors had no clear correlation to self-              difference between the household
                                              European or Canadian applicants. One                    sufficiency, and that the rule slanted                 income and 125 percent of the FPG
                                              commenter stated that DHS has not                       toward denials. One commenter stated                   based on the household size.624 DHS
                                              adequately analyzed the adverse impact                  that the assets, resources, and financial              also disagrees that the standard is
                                              this proposal would have on families                    status factors are not realistic given the             unconnected to becoming a public
                                              seeking lawful permanent residence for                  realities of low-wage work. Another                    charge or should be raised to other
                                              a spouse or a child. One commenter                      commenter said that the proposed                       levels. DHS is adopting the standard
                                              asked if DHS would consider it more                     assets, resources, and financial status                established by Congress with the
                                              beneficial to be single and unmarried                   factor ignores the cultural and economic               affidavit of support, which has long
                                              than to be in a committed relationship                  value of immigrants. Several                           served as a touchpoint for public charge
                                              with children and/or parents living with                commenters stated that having an                       inadmissibility determinations.625 An
                                              the family.                                             income threshold is in conflict with the               alien subject to section 213A of the Act,
                                                 Response: DHS appreciates the                        American ideal of upward mobility.
                                              comments but disagrees that the rule                    Other commenters stated that the                          624 This is consistent with the provisions for

                                              punishes people with larger families. As                proposed income threshold of 125                       assets under the affidavit of support in 8 CFR
                                              discussed in the NPRM, DHS will                                                                                213a.2(c)(2)(iii)(B)(3). As explained below, in
                                                                                                      percent of the FPG lacked rational basis               certain cases, the standard applied may be less than
                                              consider whether the alien has a                        in that the affidavit of support standard              five times under 8 CFR 213a.2(c)(2)(iii)(B)(1) and
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                                              household to support, or whether the                    is unconnected with the likelihood of an               (2). To be fully consistent with the affidavit of
                                              alien is being supported by another                     applicant becoming a public charge and                 support provisions, DHS also applies the other
                                              household and whether the alien’s                                                                              standards for purposes of the public charge
                                                                                                      relates to whether the sponsor can                     determination and amended the provision
                                              household size makes the alien more or                                                                         accordingly.
                                              less likely to become a public charge.621                 622 See INA section 212(a)(4)(B)(i)(III), 8 U.S.C.      625 See INA section 213A(f)(1)(E), 8 U.S.C.
                                                                                                      1182(a)(4)(B)(i)(III).                                 1183a(f)(1)(E); see Inadmissibility on Public Charge
                                                621 See Inadmissibility on Public Charge Grounds,       623 See Inadmissibility on Public Charge Grounds,    Grounds, 83 FR 51114, 51187 (proposed Oct. 10,
                                              83 FR 51114, 51184 (proposed Oct. 10, 2018).            83 FR 51114, 51184–85 (proposed Oct. 10, 2018).        2018).



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                                              8 U.S.C. 1183a, who does not have a                     a gross household income 629 of at least                regards to income level used and
                                              sponsor capable of supporting himself                   125 percent of the FPG for the                          amended the provision to reflect that
                                              or herself, the household, and the alien                household size, and alternatively,                      those aliens on active duty, other than
                                              would currently be found inadmissible                   whether the applicant has substantial                   in training, in the U.S. Armed Forces
                                              based on public charge grounds.                         assets as described in the rule and the                 have to establish household income
                                                 DHS also notes that to the extent that               FPG for the household size, because it                  reflecting 100 percent of the most recent
                                              aliens will make marriage decisions                     has long served as a touchpoint for                     FPG for the alien’s household size.
                                              based how much income a potential                       public charge inadmissibility                              Additionally, to be more consistent
                                              spouse earns in order to avoid any                      determination and the enforceable                       with the affidavit of support regulations,
                                              negative consequences that might stem                   affidavit of support.630 The suggestion                 DHS also decided to define significant
                                              from having household income under                      to reduce the standard to a ratio of two                assets for purposes of the assets and
                                              125 percent of the FPG, aliens who enter                times was also a comment in response                    resources factor in the public charge
                                              into marriage for the sole purpose of                   to the Affidavit of Support Rule                        inadmissibility determination, using a
                                              circumventing the immigration laws                      promulgated in 2006 and was not                         similar standard, as that outlined in 8
                                              have not entered into a valid marriage                  incorporated because the purpose of the                 CFR 213a.2(c)(2)(iii)(B), but applying it
                                              for immigration purposes and would not                  requirement was ‘‘to ensure that a                      to the public charge rule and the alien’s
                                              be eligible for adjustment of status.626                sponsor whose income is not sufficient                  household. According to 8 CFR
                                                 Comment: One commenter opposed                       will nevertheless be able to provide the                213a.2(c)(2)(iii), if the sponsor is unable
                                              DHS’s proposal that an alien who fails                  needed support until the sponsorship                    to meet the 125 percent of the FPG (100
                                              to demonstrate income greater than 125                  obligation ends.’’ 631 Similarly, the                   percent for those on active duty, other
                                              percent of the FPG may overcome the                     significant assets provision in this rule               than training, in the U.S. Armed Forces)
                                              deficiency by providing evidence of                     allows an alien whose income is below                   income requirement, he or she can use
                                              assets totaling at least five times the                 the applicable income threshold to                      significant assets to make up the
                                              difference between the household                        demonstrate sufficient assets to support                difference between the sponsor’s
                                              income and 125 percent of the FPG for                   himself or herself, thereby reducing the                income and the required FPG standard
                                              the household size. This commenter                      likelihood of becoming a public charge.                 according to a particular formula
                                              indicated that DHS failed to provide any                   The five times the FPG was chosen for                similarly in 8 CFR 213a.2(c)(iii)(B)(1),
                                              arguments or evidence as to why this                    the Affidavit of Support because ‘‘[i]n                 (2), and (3), as applicable to the
                                              threshold is appropriate or relevant to                 most cases, an alien is not eligible for                sponsor’s household.
                                                                                                      naturalization until he or she has been                    In applying this provision for
                                              the public charge determination. A
                                                                                                      a permanent resident alien for at least 5               purposes of the public charge
                                              commenter suggested that if the rule
                                                                                                      years,’’ 632 to show that the sponsor has               determination, the rule provides that an
                                              must include a ratio of assets to the
                                                                                                      the assets to support the beneficiary                   alien may establish ownership of
                                              difference between household income
                                                                                                      until they generally qualified for                      significant assets, such as savings
                                              and 125 percent of the FPG, it should be
                                                                                                      naturalization. In addition to being                    accounts, stocks, bonds, certificates of
                                              a ratio of two times. The commenter
                                                                                                      similar to the support obligation, five                 deposit, real estate or other assets, in
                                              stated that this would enable the                                                                               which the combined cash value of all
                                                                                                      times would also be consistent with the
                                              individual or household to have a two-                                                                          the assets (the total value of the assets
                                                                                                      reasoning behind the bond cancellation
                                              year period of financial security during                                                                        less any offsetting liabilities) exceeds:
                                                                                                      authority under 8 CFR 103.6(c)(1) in
                                              which they may be able to increase their                                                                           (1) If the intending immigrant is the
                                                                                                      1984. As explained in the NPRM, INS
                                              income.                                                                                                         spouse or child of a United States
                                                                                                      reasoned that if an alien is self-
                                                 Response: DHS disagrees that it failed               sustaining for a five-year period, it                   citizen (and the child has reached his or
                                              to outline the appropriateness of the                   would not be probable that the alien                    her 18th birthday), three times the
                                              standard and that the standard is                       would become deportable as a public                     difference between the alien’s
                                              arbitrary and capricious. DHS will also                 charge after five years because an alien                household income and 125 percent of
                                              not incorporate the commenter’s                         is deportable as a public charge only if                the FPG (100 percent for those on active
                                              suggestion to change the standard to a                  the reason for the becoming a public                    duty, other than training, in the U.S.
                                              ratio of two times. DHS disagrees that                  charge is based on factors in existence                 Armed Forces) for the alien’s household
                                              two times the FPG is more appropriate                   prior to admission as an immigrant.633                  size;
                                              because the commenter’s reasoning                          After further consideration and                         (2) If the intending immigrant is an
                                              relies on increasing income in the future               consistent with the explanation in the                  orphan who will be adopted in the
                                              and as discussed in the NPRM, whether                   proposed rule, however, DHS has                         United States after the alien orphan
                                              a person may be qualified for public                    decided to adjust the amount to match                   acquires permanent residence (or in
                                              benefits frequently depends on where                    the affidavit of support provision in                   whose case the parents will need to seek
                                              the person’s household income falls                                                                             a formal recognition of a foreign
                                              with respect to the FPG.627                                629 Gross income includes ‘‘all income you           adoption under the law of the State of
                                                 As explained in the NPRM,628 DHS                     receive in the form of money, goods, property, and      the intending immigrant’s proposed
                                              will consider whether the applicant has                 services that isn’t exempt from tax. It also includes
                                                                                                      income from sources outside the United States or
                                                                                                                                                              residence because at least one of the
                                                                                                      from the sale of your main home (even if you can        parents did not see the child before or
                                                626 See Matter of Patel, 19 I&N Dec 774 (BIA          exclude all or part of it).’’ See IRS Publication 17,   during the adoption), and who will, as
                                              1988).                                                  Your Federal Income Tax, page 5 (2018), available       a result of the adoption or formal
                                                627 The poverty guidelines are updated                at https://www.irs.gov/pub/irs-pdf/p17.pdf (last
                                                                                                                                                              recognition of the foreign adoption,
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                                              periodically in the Federal Register by HHS. The        visited July 26, 2019).
                                              U.S. Census Bureau definition of family and family         630 See Inadmissibility on Public Charge Grounds,    acquire citizenship under section 320 of
                                              household can be found in U.S. Census Bureau,           83 FR 51114, 51187 (proposed Oct. 10, 2018); see        the Act, 8 U.S.C. 1431, the difference
                                              Current Population Survey 2017 Annual Social and        also INA sections 213A(f)(1)(E) and                     between the alien’s household income
                                              Economic Supplement (ASEC) 9–1 to 9–2, available        213A(f)(6)(A)(ii), 8 U.S.C. 1183a(f)(1)(E) and
                                                                                                      1183a(f)(1)(E) and 8 CFR 213a.2.                        and 125 percent of the FPG (100 percent
                                              at https://www2.census.gov/programs-surveys/cps/
                                              techdocs/cpsmar17.pdf (last visited July 26, 2019).        631 See 71 FR 35731, 35739.                          for those on active duty, other than
                                                628 See Inadmissibility on Public Charge Grounds,        632 See 71 FR 35731, 35739.                          training, in the U.S. Armed Forces) for
                                              83 FR 51114, 51187 (proposed Oct. 10, 2018).               633 See 49 FR 24010, 24011.                          the alien’s household size; or


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                                                 (3) In all other cases, five times the               difficult and less predictable to extend                 Some commenters warned that the
                                              difference between the alien’s                          the status of highly skilled workers on               proposed income threshold would be
                                              household income and 125 percent of                     H–1B nonimmigrant (skilled worker)                    nearly impossible for immigrants from
                                              the FPG (100 percent for those on active                visas or recruit students, unless the                 very poor countries to achieve, and
                                              duty, other than training, in the U.S.                  employer offers a salary of more than                 would therefore disproportionately and
                                              Armed Forces) for the alien’s household                 the newly created 250 percent                         negatively affect immigrants from
                                              size.                                                   threshold, or risk that the worker is not             poorer regions of the world compared to
                                                 Comment: Many commenters                             able to renew the work visa given the                 immigrants from wealthier regions, such
                                              expressed general concern that the                      complex and subjective considerations                 as Europe and Canada. A commenter
                                              income assessment would penalize low-                   from USCIS adjudicators.                              stated that the proposed income
                                              income immigrants, low-wage workers,                       Additionally, some commenters                      thresholds are arbitrary and
                                              members of ‘‘marginalized groups,’’ and                 stated that if the proposed income tests              unreasonable and will be compounded
                                              families and farmworkers. A commenter                   are applied to U.S. citizens, many                    by income inequality and variations in
                                              stated that counting wealth and income                  would fail the test and therefore the                 cost of living in the United States.
                                              as indicators of a person’s future                      tests should not be applied. Another                     Some commenters stated that the rule
                                              contribution amounts to a sea change in                 commenter further stated that if the                  will have a disproportionate effect on
                                              U.S. immigration policy. Other                          proposed public charge test is applied to             low income workers, leading to
                                              commenters stated that the proposed                     U.S. born citizens, only five percent                 shortages in industries in which
                                              income thresholds are biased against                    would meet the criteria, as compared to               immigrants make up a substantial
                                              low and middle-income immigrants                        29 percent under current guidance.                    portion of the workforce.
                                              while unfairly favoring wealthy                         Another commenter indicated that                         Response: DHS understands that the
                                              immigrants; disregard and devalue low                   currently, 21 percent of immigrants                   rule changes the public charge
                                              wage-workers and their contributions to                 nationally fall below the 125 percent                 inadmissibility determination as set
                                              society; and ignore the ability of                      threshold and 17 percent of citizens do               forth in the 1999 Interim Field
                                              immigrants to raise their wages over                    as well. The commenter asserted that if               Guidance. However, Congress mandates
                                              time. A few commenters said the 125                     the current public charge rule was                    that, as part of the public charge
                                              percent income threshold is too high.                   applied to all Kentuckians, just 8                    inadmissibility assessment, officers
                                              Others provided data on starting salaries               percent would fall into the ‘‘public                  consider the applicant’s assets,
                                              and on some of the fastest growing                      charge’’ category, but under the                      resources, and financial status, which,
                                              occupations that are in fields with low                 proposed rule 33 percent of all                       as explained in the NPRM, includes
                                              wages. A commenter stated that six of                   Kentuckians would.                                    consideration of whether the applicant’s
                                              the 20 largest occupational fields in the                  Some commenters provided data on                   household income is at or above 125
                                              country have median wages close to or                   the number of people in the United                    percent of the FPG income. DHS chose
                                              below the poverty threshold for a family                States living below 125 percent of the                the 125 percent of FPG threshold (100
                                              of three. According to the commenter,                   FPL and facts about the affected low-                 percent for an alien on active duty,
                                              this means that lawfully present non-                   income population. Other commenters                   other than training, in the U.S. Armed
                                              citizens who have jobs in these sectors                 stated that the 125 percent income                    Forces) standard because Congress
                                              through an employment visa may not be                   threshold would be incredibly difficult               imposed it as part of the affidavit of
                                              able to renew that visa. Another                        for young adults working in entry-level               support, which has long been a
                                              commenter indicated that immigrants                     jobs to overcome. A commenter noted                   touchpoint for the public charge ground
                                              increasingly are needed to fill middle-                 that the 125 percent of FPG standard has              of inadmissibility.634 Therefore, DHS
                                              skill level jobs, referring to those jobs               been the income threshold to be met by                disagrees that the threshold is arbitrary.
                                              that require more than a high school                    sponsors who are required to submit an                   DHS also disagrees that if a sponsor
                                              diploma but less than a four-year                       affidavit of support, not by the                      is expected to demonstrate an income of
                                              degree. Therefore, the commenter                        immigrant subject to the public charge                125 percent of the FPG, the alien should
                                              asserted, businesses that largely employ                inadmissibility determination. The                    not be subject to the same standard. As
                                              individuals at low wages would suffer,                  commenter questioned why, if a sponsor                noted elsewhere in this rule, Congress
                                              as legally present non-citizens could                   is expected to care for his or her own                did not add the affidavit of support
                                              become too encumbered to continue                       needs and the person he or she is                     requirements as a substitute for a public
                                              their employment, and those who have                    sponsoring based on an income of 125                  charge inadmissibility determination or
                                              low wages would be penalized because                    percent of the FPG, the same standard                 to supplant the mandatory factors set
                                              they use benefits to supplement their                   would apply individually to the                       forth in section 212(a)(4)(B), 8 U.S.C.
                                              wages, which allows them to thrive.                     intending immigrant.                                  1182(a)(4)(B). Instead, Congress added
                                                 One commenter indicated that the                        Several commenters indicated that                  the affidavit of support as an additional
                                              threshold for household income would                    those working for minimum wage                        assurance that the alien will not become
                                              have a large impact on the eligibility for              would not be able to meet the proposed                a public charge at any time in the future.
                                              admission of intending immigrants and                   threshold even if working full time, and              As Congress believed that 125 percent
                                              make it very difficult for entry level                  that the minimum wage has not kept                    was an appropriate minimum threshold
                                              workers and other individuals to seek                   pace with changes in the cost of living               in the affidavit of support context, DHS
                                              admission to the United States; this                    in the United States. A commenter                     does not believe the threshold should be
                                              would harm the U.S. economy,                            stated that basing entry into this country            lowered. Although Congress believed
                                                                                                      and adjustment of status solely on the
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                                              educational institutions and businesses,                                                                      that 125 percent of the FPG based on the
                                              and sends a message that only those                     basis of wealth is not only anathema to               sponsor’s household income was a
                                              with financial resources are welcome                    longstanding American values of                       reasonable minimum threshold in the
                                              although study after study has shown                    upward mobility, but it also destabilizes             affidavit of support context to support
                                              that immigrants are job creators and                    financial security of immigrant families              the sponsored alien and the sponsor’s
                                              provide a net benefit to the United                     already in the United States,                         household, it does not necessarily
                                              States. Another commenter indicated                     particularly in instances of family-based
                                              that U.S. employers will find it more                   green card petitions.                                   634 Under   INA section 213A, 8 U.S.C. 1183a.



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                                              follow that Congress believed that half                   be considered.636 If such a Federal                      the circumstances, render the alien
                                              that amount (assuming the sponsor used                    income tax return transcript is                          admissible.
                                              half the amount to support himself or                     unavailable, DHS will consider other                        Comment: A few commenters stated
                                              herself), or any amount lower than 125                    credible and probative evidence of the                   the proposed threshold could lead to
                                              percent of the FPG, would be sufficient                   household member’s income, including                     greater family separation and
                                              to demonstrate that the alien is not more                 an explanation why the evidence is not                   undermine family unity. Another
                                              likely than not to become a public                        available,637 which may include Form                     commenter stated that the rule will have
                                              charge. Rather, Congress’ retention of                    W–2, Wages and Tax Statement, Social                     an immediate and direct effect on
                                              the public charge inadmissibility                         Security Statements, or Form SSA–                        families and their ability to stay united,
                                              determination indicates that Congress                     1099, Social Security Benefit Statement.                 and could lead to the separation of U.S.
                                              believed it was necessary to consider                       Concerning nonimmigrants seeking                       citizen children from their immigrant
                                              the alien’s assets, resources, financial                  extension of stay or change of status,                   parents. The commenter stated that U.S.
                                              status (including, of course, income),                    DHS notes that the rule does not require                 citizens will also be directly harmed by
                                              and other relevant factors in addition to                 them to demonstrate that they have                       the rule, as they will be unable to
                                              requiring the affidavit of support.                       income over 125 or 250 percent of the                    petition for and sponsor family
                                              Further, household income below 125                       FPG. That threshold is a heavily                         members. The commenter provided an
                                              percent of the FPG would be reviewed                      weighted negative factor in the public                   example of a U.S. citizen mother and
                                              along with the other factors in the                       charge inadmissibility determination,                    wife, who relies on the income of her
                                              totality of the circumstances such that                   which is not applied to extension of stay                non-U.S. citizen husband who entered
                                              on its own, such income would not be                      and change of status. Further, as                        the U.S. on a visa and who would be
                                              a basis for a public charge                               previously indicated, DHS is no longer                   unable to sponsor her husband under
                                              inadmissibility determination.                            reviewing whether the alien is likely to                 the NPRM because she has no income.
                                                 DHS disagrees that the rule bases                      receive public benefits in the future in                 The commenter stated that if the U.S.
                                              entry into this country and adjustment                    extension of stay and change of status                   citizen’s husband cannot demonstrate
                                              of status solely on wealth. DHS notes                     determinations, and therefore, none of                   sufficient assets or earnings, she would
                                              that it must consider an applicant’s                      the factors in the public charge                         need to find another sponsor for her
                                              assets, resources, and financial status in                inadmissibility determination will be                    husband.
                                                                                                        considered for nonimmigrants.                               Other commenters stated that the
                                              making a public charge inadmissibility
                                                                                                          Comment: A few commenters stated                       proposed income threshold would
                                              determination, which includes
                                                                                                        that the heavy positive weight assigned                  negatively affect U.S. citizen children,
                                              consideration of the applicant’s
                                                                                                        to household income 250 percent above                    as having children would make meeting
                                              household income.635 However, DHS
                                                                                                        the poverty level discriminates against                  the standard more difficult, which is
                                              does not intend the rule to penalize or                   persons with disabilities because                        counter-productive to encouraging self-
                                              negatively affect any particular group,                   individuals with disabilities and their                  sufficiency because family-based
                                              and being a low-income worker would                       families are more likely to live in                      immigration has a positive impact on
                                              not necessarily in itself render an                       poverty than those without disabilities,                 immigrant success. A couple of
                                              applicant inadmissible on public charge                   and that such individuals will                           commenters said that the proposed
                                              grounds. The rule abides by the                           consequently not have the benefit of the                 income threshold particularly affects
                                              statutory requirement as provided in                      heavily-weighted positive factor to                      multigenerational households, a
                                              section 212(a)(4) of the Act, 8 U.S.C.                    offset any negative factors. In the same                 common practice among Asian
                                              1182(a)(4), and is consistent with                        vein, commenters stated that                             American families, and that it would
                                              congressional statements relating to self-                individuals with disabilities will be                    discourage people from supporting
                                              sufficiency in 8 U.S.C. 1601, when                        disproportionately affected by the                       family members. An individual
                                              Congress declared it to be the United                     negative weight associated with                          commenter suggested that placing an
                                              States’ continued immigration policy                      incomes that fall below 125 percent of                   income threshold at 125 percent FPG
                                              that ‘‘aliens within the Nation’s borders                 the poverty level.                                       would decrease the number of
                                              not depend on public resources to meet                      Response: DHS disagrees that                           immigrant families with a stay-at-home
                                              their needs, but rather rely on their own                 considering household income at or                       parent, despite the benefits to the family
                                              capabilities and the resources of their                   above 250 percent of the FPG a heavily                   of having a stay-at-home parent.
                                              families, their sponsors, and private                     weighted positive factor in the totality                    Response: DHS disagrees that the 125
                                              organizations.’’ Further, the data in the                 of the circumstances discriminates                       percent income threshold standard
                                              NPRM shows that the percentage of                         against persons with disabilities. DHS                   would lead to family separation, or
                                              people receiving these public benefits                    recognizes that any income threshold                     otherwise undermines family unity. The
                                              generally goes down as the income                         may affect aliens with low-income.                       rule is not intended to separate families
                                              percentage increases. Therefore, DHS                      However, DHS did not intend, in adding                   or otherwise undermine the family, but
                                              will maintain the 125 percent of the                      this income threshold as a heavily                       instead ensures that the statutory
                                              FPG (100 percent for an alien on active                   weighted positive factor, to discriminate                requirements, as provided in section
                                              duty, other than training, in the U.S.                    against applicants on the basis of their                 212(a)(4) of the Act, 8 U.S.C. 1182(a)(4)
                                              Armed Forces) standard. After                             applicant’s race, nationality, medical                   are implemented, which mandate that
                                              consideration of the comments, DHS                        condition, disability, or membership in                  USCIS must consider an applicant’s
                                              also believes it necessary to clarify that                any protected class. Even if applicants                  assets, resources, and financial status in
                                              when assessing the alien’s annual gross                                                                            making a public charge inadmissibility
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                                                                                                        who have low income are unable to get
                                              household income, DHS will consider                       the benefit of this heavily-weighted                     determination. This approach is also
                                              as evidence the most recent tax-year                      positive factor to offset any negative                   consistent with congressional policy
                                              transcripts from the IRS, U.S. Individual                 factors, the presence of any other                       statements relating to self-sufficiency in
                                              Tax Return (Form 1040) from each                          positive factors could, in the totality of               8 U.S.C. 1601, which provides that,
                                              household member whose income will                                                                                 ‘‘aliens within the Nation’s borders not
                                                                                                          636 See   8 CFR 212.22(b)(4)(ii)(A)(1).                depend on public resources to meet
                                                635 See   INA section 212(a)(4), 8 U.S.C. 1182(a)(4).     637 See   8 CFR 212.22(b)(4)(ii)(A)(2).                their needs, but rather rely on their own


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                                              capabilities and the resources of their                 many older and disabled Americans                     more effective implementation of the
                                              families, their sponsors, and private                   without access to caregivers.                         congressionally mandated self-
                                              organizations.’’ 638 As discussed in the                   Response: DHS understands that some                sufficiency policy aims as articulated in
                                              NPRM,639 DHS chose a household                          applicants or some families may have                  this rule are paramount.
                                              income of at least 125 percent of the                   household members or family members                      Comment: A few commenters stated
                                              FPG (100 percent for an alien on active                 that provide services within the family,              this portion of the rule would strongly
                                              duty, other than training, in the U.S.                  such as caregivers, stay at home parents,             impact farmworkers and their families.
                                              Armed Forces), which has long served                    and others who will not be readily able               Other commenters cited to a family
                                              as a touchpoint for public charge                       to document either their work or                      income below 100 percent FPL and that
                                              inadmissibility determinations.640 As                   income. To account for this, DHS will                 farm labor’s wages are among some of
                                              discussed in the NPRM, DHS also cited                   consider the applicant’s household                    the lowest in the nation. Another
                                              data demonstrating that the percentage                  income, which may include the income                  commenter indicated that many of their
                                              of people who receive public benefits                   of other household members who are                    patients, including agriculture workers,
                                              generally decreases as income increases.                more able to document their income and                live below 150 percent FPL. Many
                                              In other words, the data established a                  who provide the applicant with                        commenters echoed this sentiment and
                                              correlation between having low income                   financial support. Accordingly, an                    remarked that farmworkers earn an
                                              and the receipt of public benefits.641                  applicant who provides care to a                      average of around $17,500 per year.
                                              Therefore, DHS will maintain the 125                    relative without pay may still be able to             With low wages, these workers are
                                              percent of the FPG standard. However,                   demonstrate that his or her household                 highly unlikely to have assets to rule out
                                              as reiterated in other areas, USCIS will                income meets the 125 percent FPG                      this negative factor. Another commenter
                                              not make a public charge determination                  threshold. DHS notes that there is no                 indicated that the proposed rule would
                                              based on one factor alone; rather, a                    evidence, however, that being a                       particularly affect farmworkers in
                                              determinations will be based on the                     caregiver of others, or living in a                   Michigan, as the work is largely
                                              totality of the alien’s circumstances.                  household with a caregiver, in and of                 seasonal and farmworkers in the state
                                              Therefore, in addition to the household                 itself, is indicative of self-sufficiency or          are not subject to the state minimum
                                              income determination, the review of                     lack thereof. Although caregivers may                 wage if they work on small farms. One
                                              public charge inadmissibility takes into                benefit the household by eliminating the              commenter stated that farmworkers
                                              consideration the other factors                         need for childcare expenses, each                     provide valuable and skilled labor that
                                              enumerated in this rule and all other                   person must establish he or she is not                contributes greatly to our nation’s
                                              relevant information.                                   likely to be a public charge based on the             agricultural productivity.
                                                 DHS also disagrees that U.S. citizens                totality of the factors based an                         Response: As previously indicated in
                                              will be directly harmed by the rule                     individual’s circumstances. However, as               the section discussing extension of stay
                                              because they will be unable to petition                 discussed further below, DHS has added                and change of status, and as explained
                                              for and sponsor family members. The                     a separate provision under the                        in the notice of proposed rulemaking,
                                              rule does not directly impact who may                   Education and Skills factor that would                DHS will not apply the public charge
                                              file a family based immigration petition,               allow DHS to take into positive                       inadmissibility grounds under section
                                              or the sponsorship requirements under                   consideration that the alien is a primary             212(a)(4) of the Act, 8 U.S.C. 1182(a)(4)
                                              section 213A of the INA, 8 U.S.C. 1183a.                caregiver of another person within his                to nonimmigrants (including
                                              DHS acknowledges that the rule may                      or her household where there is                       farmworkers present in the United
                                              result in more family members of U.S.                   evidence that the alien is currently                  States under the temporary worker
                                              citizens being denied adjustment of                     unemployed, under employed or lacks                   program for agricultural services (H–
                                              status after being found inadmissible on                an employment history but expects to                  2A)), seeking an extension of their stay
                                              public charge grounds, but believes that                rejoin the workforce. As discussed in                 or a change of status to another
                                              Congress intended that aliens be self-                  this final rule, DHS has also defined                 nonimmigrant classification. Instead,
                                              sufficient, and DHS has created through                 primary caregiver as an alien who is 18               DHS imposes as one of the terms and
                                              this rulemaking a fair and robust                       years of age or older and has significant             conditions of granting an extension of
                                              standard that is likely to have this this               responsibility for actively caring for and            stay or change of status, that the alien
                                              result in more cases than under the                     managing the well-being of a child or an              establishes that he or she had not
                                                                                                      elderly, ill, or disabled person in the               received, since obtaining the
                                              current policy.
                                                 Comment: One commenter stated that                   alien’s household.                                    nonimmigrant status that he or she is
                                              the proposed income threshold does not                     Additionally, as discussed elsewhere               seeking to extend or change, any public
                                              take into account the value of unpaid                   in the rule, DHS acknowledges that,                   benefits as defined in 8 CFR 212.21(b),
                                              labor a family member may provide,                      once the rule is effective, it will likely            for 12 months in the aggregate within a
                                              such as a stay at home parent or                        result in more adverse determinations.                36-month period. Based on this
                                              grandparent providing childcare.                        DHS also acknowledges the possibility                 information, USCIS would then issue
                                              Commenters also stated that the                         that this rule, in turn, may impact the               the decision on the application for
                                                                                                      admissions of certain types of workers                extension of stay or change of status.
                                              proposed rule could cause a shortage in
                                                                                                      such as direct care workers. Congress                    Comment: A commenter said that the
                                              direct care workers who are unable to
                                                                                                      did not exempt such workers from the                  FPL is a poor guideline due to
                                              remain in the United States, leaving                                                                          differences in cost of living throughout
                                                                                                      public charge inadmissibility ground.
                                                638 See Personal Responsibility and Work
                                                                                                      DHS anticipates that the employment of                the United States. Another commenter
                                                                                                                                                            stated that differences in costs of living
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                                              Opportunity Reconciliation Act of 1996, Public Law      such individuals as direct care workers
                                              104–193, section 400, 110 Stat. 2105, 2260 (Aug. 22,    may diminish the likelihood that they                 could mean that two people working
                                              1996) (codified at 8 U.S.C. 1601(2)).                   will be considered public charges, but,               full time at minimum wage could fall
                                                639 See Inadmissibility on Public Charge Grounds,
                                                                                                      if the totality of the circumstances                  short of affording adequate housing in
                                              83 FR 51114, 51187 (proposed Oct. 10, 2018).
                                                640 See INA section 213A(f)(1)(E), 8 U.S.C.
                                                                                                      establish they, like any other applicant,             the district they represent. Another
                                              1183a(f)(1)(E).                                         are likely to become public charges,                  commenter stated that due to the high
                                                641 See Inadmissibility on Public Charge Grounds,     consistent with this rule, they will be               cost of living in many large cities,
                                              83 FR 51114, 51204 (proposed Oct. 10, 2018).            deemed inadmissible. DHS believes a                   reliance on public assistance is not a


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                                              sign of a lack of self-sufficiency, but                 and conditions of entry, as well as the                  commenter stated that taxes paid in the
                                              rather a symptom of a high cost of                      residence of aliens.642 DHS is the                       past are indicative of ability and future
                                              living. Other commenters stated that the                Federal agency with the authority to                     potential, and surely has a strong
                                              proposed rule would trap immigrants in                  establish regulations regarding the                      correlation with the likelihood of
                                              a cycle of poverty instead of giving them               public charge inadmissibility                            drawing from a benefits program in the
                                              the opportunity to prosper.                             determination.643 Section 212(a) of the                  future. Another commenter stated that
                                                 Response: DHS agrees that the cost of                INA, 8 U.S.C. 1182(a), sets forth the                    the proposed income threshold would
                                              living is different across the United                   aliens who are ineligible for visas,                     discourage immigrants from entering the
                                              States but disagrees that reliance on                   admission, or adjustment of status, the                  country legally. Commenters also
                                              public assistance for housing is not a                  public charge ground of inadmissibility                  indicated that DHS’s own conclusory
                                              sign of lack of self-sufficiency. Through               and the minimum factors DHS is                           assumption that receipt of this level of
                                              this rule, DHS has defined public charge                required to consider in the public                       funding represents a lack of self-
                                              as an alien who receives one or more                    charge inadmissibility analysis. DHS                     sufficiency was rebutted by the ample
                                              public benefit as defined in the rule for               must consider an applicant’s age,                        research showing that immigrants pay
                                              longer than the designated threshold, to                health, family status, assets, resources                 more into the United States healthcare
                                              include public housing or housing                       and financial status, and education and                  system than they take out and that most
                                              vouchers. HUD programs are based on                     skills. The statute does not include the                 immigrant pay taxes.
                                              the cost of living in the area, which                   consideration of race, or any other                         Response: DHS declines to adopt the
                                              denotes that a person is unable to pay                  characteristics and DHS did not propose                  commenters’ suggestion to consider the
                                              for local rent and therefore unable to be               to consider an alien applicant’s race or                 amount of income taxes paid as an
                                              self-sufficient and instead must use                    any other characteristics when making a                  indicator of a likelihood to receive
                                              public benefits in order to afford the                  public charge determination. Similarly,                  public benefits. The public charge
                                              rent. Therefore, DHS will consider 125                  DHS did not propose to take into                         inadmissibility determination looks at a
                                              percent of the FPG threshold in the                     account an applicant’s ‘‘social status.’’                person’s individual circumstances to
                                              totality of the circumstances rather than                  With respect to Immigration                           determine whether he or she is likely to
                                              the cost of living.                                     regulations applicable to aliens, the                    become a public charge in the future.
                                                 Comment: One commenter stated that                   rational basis scrutiny applies.644 DHS’s                Not everyone is required to pay taxes
                                              the proposed factors institutionalize                   public charge rule is rationally related                 and even if a person pays taxes, he or
                                              income bias and discrimination.                         to the Government’s interest, as enacted                 she may be eligible for public benefits.
                                              According to the commenter, this                        in PRWORA, to minimize the incentive                     Given that Congress reiterated that the
                                              income bias disregards the fact that                    of aliens to attempt to immigrate to the                 immigration policy continues to be that,
                                              many full-time workers earning a                        United States, or to adjust status in this               ‘‘aliens within the Nation’s borders not
                                              minimum wage would fall well below                      country, due to the availability of public               depend on public resources to meet
                                              the threshold for being accorded                        benefits, as well as to promote the self-                their needs, but rather rely on their own
                                              positive weight. This commenter noted                   sufficiency of aliens within the United                  capabilities and the resources of their
                                              that such a stringent test creates a policy             States.645                                               families, their sponsors, and private
                                              that is biased against working families,                  Comment: A commenter said the sum                      organizations,’’ 646 DHS believes that the
                                              and perpetuates the myth that                           total of past income taxes paid by an                    proposed rule has properly and
                                              immigrants are a drain on our society                   individual, and their contribution to the                consistently balanced the value of assets
                                              and overly dependent on Government                      welfare programs, should be balanced                     and resources of the public charge
                                              benefits. Some commenters stated that                   against the total value of benefits                      determination to ensure that those
                                              the proposed income threshold of 125                    received by the individual. The                          seeking status in the United States do
                                              percent FPG would have an outsized                                                                               not become a public charge. With this
                                              and disproportionate impact on                            642 Mathews     v. Diaz, 426 U.S. 67, 81–82, (1976).   rule, DHS is not seeking to deter
                                              members of marginalized groups                            643 See   Homeland Security Act of 2002 section        immigration but to implement the
                                              including children; families; immigrants                102, 6 U.S.C. 112; INA section 103, 8 U.S.C. 1103.
                                                                                                          644 Korab v. Fink, 797 F.3d 572, 577–79 (9th Cir.
                                                                                                                                                               congressional mandate given in section
                                              of color; survivors of domestic violence                2014) (‘‘[F]ederal statutes regulating alien             212(a)(4) of the Act, 8 U.S.C. 1182(a)(4).
                                              and sexual assault; people with                         classifications are subject to the easier-to-satisfy        Comment: A commenter stated that
                                              disabilities; elderly; low-wage workers;                rational-basis review . . . Although aliens are          employment alone was not sufficient
                                              AAPI; South Asian Americans; Latino                     protected by the Due Process and Equal Protection        evidence of an immigrant’s self-
                                                                                                      Clauses, this protection does not prevent Congress
                                              immigrants; those living with HIV and                   from creating legitimate distinctions either between     sufficiency and that the criteria should
                                              their families; immigrants with                         citizens and aliens or among categories of aliens        focus on an immigrant’s ability to earn
                                              disabilities; older adults and families                 and allocating benefits on that basis . . . The          wages at least three times the FPL.
                                              attempting to reunify; LGBTQ                            difference between state and federal distinctions           Response: DHS disagrees with the
                                                                                                      based on alienage is the difference between the
                                              immigrants; and women, especially                       limits that the Fourteenth Amendment places on
                                                                                                                                                               commenter’s suggestions to consider
                                              women with other intersecting                           discrimination by states and the power the               three times the FPL as the threshold.
                                              identities regarding race, ethnicity, and               Constitution grants to the federal government over       DHS uses the FPG published by the
                                              sexuality. Additionally, another                        immigration.’’) (citation omitted); Lewis v.             HHS as a threshold in immigration
                                                                                                      Thompson, 252 F.3d 567, 570 (2d Cir 2001), citing
                                              commenter remarked that the proposed                    Lake v. Reno, 226 F.3d 141, 148 (2d Cir.2000) (‘‘We
                                                                                                                                                               matters. As explained in the NPRM,647
                                              standards would penalize victims of                     have recently recognized that a ‘highly deferential’     the 125 percent household income
                                              sexual and domestic violence; and                       standard is appropriate in matters of immigration .      threshold has long served as a
                                                                                                      . . .’’). Generally, laws and regulations that neither   touchpoint for public charge
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                                              pregnant women.
                                                                                                      involve fundamental rights nor include suspect
                                                 Response: DHS disagrees with the                     classifications are reviewed under rational basis
                                                                                                                                                               inadmissibility determinations as part of
                                              comments that this rule institutionalizes               scrutiny, under which the person challenging the
                                              bias and discrimination. The Federal                    law must show that the government has no                   646 See Personal Responsibility and Work

                                              Government is responsible for                           legitimate interest in the law or policy or that there   Opportunity Reconciliation Act of 1996, Public Law
                                                                                                      is no rational link between the interest and the         104–193, section 400, 110 Stat. 2105, 2260 (Aug. 22,
                                              ‘‘regulating the relationship between the               challenge law or regulation. Heller v. Doe by Doe,       1996) (codified at 8 U.S.C. 1601(2)).
                                              United States and our alien visitors,’’                 509 U.S. 312, 319 (1993).                                  647 See Inadmissibility on Public Charge Grounds,

                                              which includes regulating the manner                        645 See 8 U.S.C. 1601.                               83 FR 51114, 51187 (proposed Oct. 10, 2018).



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                                              affidavits of support and public charge.                honest and accurate information and                   Federal, State, or tribal public benefits.
                                              Therefore, DHS will continue to apply                   requires information to be provided                   DHS also acknowledges the possibility
                                              the 125 percent of the FPG threshold.                   under penalty of perjury. DHS reiterates              that individuals, including those aging
                                              DHS agrees, however, with the                           that not providing truthful information               out of foster care, may be likely to
                                              commenter that employment alone is                      on immigration applications according                 disenroll from public benefits because
                                              insufficient evidence of self-sufficiency.              to the best of an applicant’s knowledge               of this rulemaking. DHS notes, however,
                                              The public charge determination                         and ability may have immigration                      that individuals are typically placed in
                                              reviews all factors in the totality of the              consequences, including denial of the                 out-of-home care, such as foster care,
                                              circumstances and one factor alone,                     benefit or ineligibility for benefits in the          because of abuse, neglect or other
                                              except for an insufficient affidavit of                 future.                                               violence. U.S. law provides certain
                                              support when required, will not                            DHS acknowledges that this                         protections and statuses for aliens who
                                              conclude that an alien is inadmissible                  rulemaking may discourage certain                     have become victims of violence, such
                                              based on public charge. An alien’s                      aliens from seeking adjustment of status              as refugee or asylee status, T
                                              education and skills, which reflect a                   that of a lawful permanent resident in                nonimmigrant status for certain victims
                                              person’s ability to earn wages, are also                the United States. However, with this                 of human trafficking, U nonimmigrant
                                              considered in the totality of the                       rulemaking, DHS seeks to better enforce               status for victims of certain crimes,
                                              circumstances.                                          the public charge ground of                           VAWA protections for victims of battery
                                                 Comment: One commenter suggested                     inadmissibility codified by Congress.                 or extreme cruelty, and-Special
                                              that community involvement be                           Additionally, DHS is also seeking to                  Immigrant Juvenile status for victims of
                                              included when considering evidence of                   ensure that those seeking admission in                child abuse, neglect, abandonment, or a
                                              assets and resources.                                   the United States are self-sufficient                 similar basis under State law. Generally,
                                                 Response: DHS recognizes that                        upon admission and not likely to                      the public charge inadmissibility
                                              community involvement may be an                         become a public charge at any time in                 ground does not apply to these
                                              asset to the community as a whole and                   the future.                                           individuals and therefore, the level of
                                              appreciates the suggestion. However,                       Comment: Commenters indicated that                 income or the receipt of public benefits
                                              community involvement does not                          the proposed rule seeks to set an income              would be a consideration.
                                              establish the person’s self-sufficiency or              standard for income above 125% of the
                                                                                                      FPG, making it extremely difficult for                2. Evidence of Assets and Resources
                                              evidence of income, assets or financial
                                              status.                                                 low income immigrant young adults                        Comment: Some commenters stated
                                                 Comment: A commenter stated that                     previously in foster care and earning                 that the proposed rule penalizes
                                              the evidence of assets and resources                    less than 125 percent of the FPL                      immigrants for having a mortgage,
                                              requirement, namely the completion of                   ($31,375 annually for a family of four),              despite real estate being a wise
                                              the declaration of self-sufficiency as                  meeting the new income threshold of                   investment. Several other commenters
                                              proposed in 8 CFR 245.4(b),648 does not                 the public charge test. Given that youth              said the criteria undervalues
                                              change the fact that someone could                      aging out of foster care often need to                homeownership. A commenter stated
                                              become gravely ill and be unable to                     access public cash and shelter benefits               that home ownership is a gauge of
                                              work and never be self-sufficient. The                  to secure housing or to attend college or             middle class status in the United States
                                              same commenter stated that the                          training, this could result in denying                and that the longer an immigrant lives
                                              evidentiary requirements encourage                      these young adults lawful permanent                   in the United States, the more likely
                                              people to lie or discourages them from                  resident status. The commenter                        they will own a home. Another
                                              completing the process of seeking                       therefore believed that the proposed                  commenter expressed doubts whether
                                              adjustment of status altogether.                        rule only serves to heavily favor                     the assets and resources threshold
                                                 Response: DHS agrees that                            immigrants with wealth, while                         would have the required predictive
                                              individuals’ future circumstances may                   punishing low-income immigrants,                      value for purposes of public charge.
                                              be different than the ones that exist at                including immigrant young adults who                  Additionally, the same commenter also
                                              the time of adjudication and the public                 are working in important, but low-wage                expressed skepticism that real estate
                                              charge assessment. However, the statute                 jobs to sustain themselves and their                  could be easily convertible into cash
                                              requires DHS to rely on present and past                families.                                             within 12 months. This commenter
                                              conditions and circumstances as the                        Response: With this rulemaking, DHS                reasoned that such assets are typically
                                              best available evidence to determine an                 is seeking to better enforce the public               the residence of the alien or his
                                              alien’s likelihood of becoming a public                 charge ground of inadmissibility                      household, which cannot be readily
                                              charge. Although it is a remote                         codified by Congress. DHS, therefore,                 liquidated without imposing offsetting
                                              possibility that everyone could become                  disagrees with the commenters’                        new housing costs; and, in case of a
                                              sick and not be able to work, DHS is not                statement that this rulemaking only                   commercial property, liquidation within
                                              assuming that this will happen. DHS                     serves to favor wealthy immigrants and                twelve months is an unlikely prospect
                                              would review reasonable possibilities in                to punish those with low-income. The                  in most U.S. real estate markets. The
                                              the future based on the person’s current                determination whether somebody is                     commenter requested a better
                                              and parent circumstances.                               likely at any time in the future to                   justification for the assets and resources
                                                 Further, while it is true that some                  become a public charge is based on the                threshold of five times the difference
                                              applicants may not provide USCIS with                   totality of the alien’s circumstances, and            between the alien’s household gross
                                              honest answers, DHS expects all                         one factor alone, such as the financial               annual income and the FPG for the
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                                              applicants and petitions to provide                     status of the alien or the current receipt            alien’s household size, and the
                                                                                                      of public benefits, is not outcome                    inclusion of real estate as an asset that
                                                 648 The commenter referred to 245.5. 8 CFR 245.5     determinative.                                        could be converted into cash within 12
                                              is the regulatory provision addressing the medical         DHS acknowledges a possible impact                 months; or, preferably, the elimination
                                              examination of individuals seeking adjustment of        of this rulemaking, once effective, on                of these standards from the final rule.
                                              status. The NPRM proposed to amend 8 CFR 245.4
                                              by requiring a new documentary requirement for
                                                                                                      those in Federal, State, or tribal foster                Response: DHS disagrees that the rule
                                              purposes of the public charge determination under       care or those who are aging out of foster             penalizes immigrants for having
                                              INA section 212(a)(4), 8 U.S.C. 1182(a)(4).             care but may continue to obtain certain               mortgages. There is no requirement that


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                                              an alien have a mortgage-free home; and                   evidence to support the proposition that              determination, the alien’s household
                                              an alien with a mortgage could use the                    an alien would be unable to liquidate                 income is relevant to the determination
                                              total value of the home minus the                         commercial property within 12 months,                 of whether the alien’s assets, resources
                                              amount of the mortgage to meet the                        and DHS sees no reason to treat                       and financial status make the alien more
                                              assets threshold. In other words,                         commercial property differently from                  likely than not in the totality of the
                                              homeownership could help the alien                        residential property in this context. In              alien’s circumstances to become a
                                              establish that he or she is meets the                     addition, 8 CFR 213a.2(c)(2)(iii)(B) does             public charge. Whether or not the alien
                                              income threshold and is not likely to                     specifically consider real estate in the              engaged in unauthorized employment
                                              become a public charge where the alien                    calculation of significant assets, and it is          and any immigration consequences
                                              can provide evidence that he or she has                   similarly reasonable to consider                      flowing from such unauthorized
                                              available assets through value in a home                  commercial property as assets in this                 employment is a separate
                                              to overcome any negative factors of the                   context. Therefore, DHS will continue to              determination.653 DHS will therefore
                                              absence of regular income through                         use the 12-month standard for                         consider any past employment and any
                                              employment or substantial assets in                       liquidation of assets.                                income derived from such employment
                                              bank accounts.                                               Comment: A commenter stated that                   in the public charge inadmissibility
                                                 The ‘‘five times equivalency’’ test to                 the income threshold in the NPRM fails                determination. In addition, as not all
                                              establish significant assets to cover the                 to exclude income from illegal conduct,               income is required to be reported in tax
                                              difference between the 125 percent                        unlike what the commenter states is the               returns, DHS will continue to consider
                                              standard and the actual income has long                   definition of income used by DOS.651                  additional income that is not listed on
                                              been recognized for public charge                         The commenter reasoned that no alien                  the IRS forms as provided in the I–944
                                              inadmissibility in the affidavit of                       may work in the United States without                 instructions.
                                              support context.649 DHS disagrees that                    authorization, either by operation of law                However, DHS does agree that income
                                              having assets to cover five times the                     or by specific application.652 The                    derived from illegal activities or sources
                                              difference between income below 125                       commenter strongly recommended that                   should be excluded from the calculation
                                              percent of the FPG and the 125 percent                    income from unauthorized employment                   of gross annual household income
                                              amount fails to meet any predictive                       should be excluded from the calculation               including, but not limited to, income
                                              value, because such assets could be                       of gross annual household income, in                  gained illegally from drug sales,
                                              readily converted to cash and substitute                  the same manner as unlawful income                    gambling, prostitution, or alien
                                              for income, thereby helping ensure that                   from drug dealing, gambling, or                       smuggling.
                                              the alien does not rely on public                         smuggling. The commenter further
                                              benefits to meet his or her basic needs.                  suggested that no evidence of irregular               3. Public Benefits
                                                 DHS disagrees that typically the                       income that is not documented on a tax                   Comment: Some commenters
                                              residence of the alien or his household                   return or equivalent document, such as                referenced DHS’s request regarding
                                              cannot be readily liquidated without                      an IRS Wage and Tax Statement (Form                   whether use of other benefits should be
                                              imposing offsetting new housing costs                     W–2) or Return of Organization Exempt                 counted in the totality of circumstances
                                              or in case of a commercial property,                      from Income Tax (Form 990), should be                 test. Those commenters opposed
                                              liquidation within twelve months is an                    accepted; that income earned under a                  considering the use of non-listed
                                              unlikely prospect in most U.S. real                       taxpayer identification number rather                 programs in the totality of
                                              estate markets. An alien may be able to                   than a Social Security number should be               circumstances test. Additionally, other
                                              liquidate the home and then obtain a                      presumptively unacceptable; and that                  commenters stated that DHS should not
                                              new lower cost home or start renting.                     this approach would streamline the                    allow public benefits that are not
                                                 Additionally, DHS also disagrees with                  adjudication of public charge                         explicitly enumerated in the rule to be
                                              the commenter about the assessment of                     determinations, by eliminating                        weighted negatively in the totality of the
                                              the 12-month benchmark; this                              consideration of most evidence of                     circumstances review. Several
                                              benchmark is used for affidavit of                        income other than recognized IRS                      commenters said that Federal assistance
                                              support purposes 650 which, again, has                    documentation.                                        programs or public benefits should not
                                              long been part of the public charge                          Response: DHS appreciates the
                                                                                                                                                              be a deciding factor in the public charge
                                              inadmissibility determination. The                        comments and would like to clarify that
                                                                                                                                                              inadmissibility determination. One
                                              affidavit of support permits listing of                   an alien’s employment and income
                                                                                                                                                              commenter cited a study showing that
                                              assets that may be liquidated within one                  derived from employment without an
                                                                                                                                                              immigrants have a lower unemployment
                                              year only, and specifically includes the                  employment authorization card or status
                                                                                                                                                              rate than native-born citizens and
                                              net value of the sponsor’s or the                         which authorizes employment will be
                                                                                                        considered as part of the assets,                     requested the agency’s rationale for
                                              sponsored immigrant’s home as a                                                                                 focusing on discouraging immigrants
                                              permissible asset. Although the affidavit                 resources and financial status factor and
                                                                                                        the education and skills factor. DHS                  from using public benefits, despite their
                                              of support does not specifically address                                                                        lower unemployment rate as a
                                              commercial property in terms of liquid                    believes that limiting consideration of
                                                                                                        employment and income to only that                    demographic group.
                                              assets, the commenter provided no                                                                                  Some commenters stated that receipt
                                                                                                        derived from authorized employment
                                                649 See 8 CFR 213a.2(c)(2)(iii)(B). See also 64 FR      goes beyond the narrow purpose of this                of benefits was not evidence of weak
                                              54346, 54348 (October 20, 1997) (explaining the           rule, which is ensuring that aliens are               financial status, as benefits are used
                                              rationale for the significant asset rule as part of the   self-sufficient and do not rely on the                temporarily to help people get back on
                                              interim affidavit of support rule) and 71 FR 35732,
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                                              35739 (June 21, 2006) (explaining the rational for
                                                                                                        government to meet their basic living                   653 Furthermore, a general limitation of the type
                                              adopting the current affidavit of support rule at 8       needs. For purposes of a public charge                suggested by the commenter could be in tension
                                              CFR 213a, which provides for additional standards                                                               with USCIS policy. See USCIS Policy Memorandum
                                              for certain aliens). DHS has amended the public             651 The commenter cited to the former FAM           PM–602–0119, Qualifying U.S. Work Experience for
                                              charge regulatory provision to reflect that DHS will      section on public charge at 9 FAM 40.41. The          Special Immigrant Religious Workers (July 5, 2015),
                                              adopt the three standards used in the significant         public charge FAM section is now located at 9 FAM     https://www.uscis.gov/sites/default/files/USCIS/
                                              asset provision for purposes of the public charge         302.8.                                                Laws/Memoranda/2015/2015-0705_Lawful_Status_
                                              determination.                                              652 See INA sections 274A(a)(1), (h)(3), 8 U.S.C.   PM_Effective.pdf; Shalom Pentecostal Church v.
                                                650 See Form I–864, Instructions, Part 7.               1324a(a)(1), (h)(3).                                  Acting Secretary DHS, 783 F.3d 156 (3d Cir. 2015).



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                                              their feet. Another commenter stated                    rates of public benefits receipt among                apply for benefits, however, the rule
                                              that many of the public benefits                        aliens as a whole would warrant                       does not intend to disproportionally
                                              considered under the proposed rule                      abandoning this rule, which applies the               affect any group of people as previously
                                              would in fact make someone less likely                  public charge ground of inadmissibility               discussed.
                                              to be a public charge, especially when                  to individual aliens. As provided in the                 Comment: A commenter indicated
                                              the benefits are received by children. A                NPRM,654 and elsewhere in this                        that the proposed regulation states only
                                              few other commenters expressed                          regulation, current or past applications              that DHS would consider whether a
                                              concern that using prior receipt of                     for, or receipt of, or certification for              noncitizen has ‘‘applied for’’ or
                                              public benefits as evidence of financial                future receipt of public benefits, as                 ‘‘received’’ benefits or fee waivers,
                                              status ignores the role public benefits                 defined in 8 CFR 212.21(b), suggests                  without defining those terms. The
                                              play in promoting self-sufficiency. A                   that the alien’s overall financial status is          commenter wrote that the proposed rule
                                              commenter indicated that past receipt of                so weak that he or she is or was unable               did not plainly state that DHS will only
                                              benefits is not even mentioned by                       to fully support himself or herself                   consider a noncitizen’s application for
                                              Congress as a factor that should be given               without public benefits, i.e., that the               benefits on her own behalf. These
                                              any weight in the public charge                         alien will receive such public benefits               omissions, according to the commenter,
                                              determination. Another commenter                        in the future. Accordingly, as discussed              would allow immigration officers to
                                              cited a 1999 letter from HHS stating that               more fully in the discussion on the                   penalize a noncitizen during a public
                                              it could not imagine any way in which                   public benefits threshold section, DHS                charge determination when she is the
                                              an individual could become primarily                    believes that it is reasonable to consider            formal applicant for, or payee of,
                                              dependent on public benefits. Another                   any application, approval, or                         benefits for which her children or others
                                              commenter asserted that the current                     certification for, or receipt of, public              are the true beneficiaries.
                                              provisions surrounding public benefits                  benefits as a negative factor in the                     Another commenter expressed
                                              are sufficient to be used in public charge              totality of the circumstances, as this is             concern that many affected families will
                                              determinations. A few commenters                        relevant to determining the likelihood of             include U.S. citizens. The commenter
                                              stated that counting benefits as a                      becoming, at any time in the future, a                explained that although the proposed
                                              negative factor when used by children                   public charge. DHS understands                        rule stated that DHS did not intend to
                                              in the public charge assessment is                      however, that certain individuals may                 consider benefits received by a mixed
                                              contrary to the purpose of the public                   have become self-sufficient over time                 status household where a noncitizen
                                              charge ground of inadmissibility                        after having received or having been                  would not be entitled to receive a
                                              because benefits providing essential                    certified to receive public benefits, and             benefit or was not counted for purposes
                                              health, nutrition and housing assistance                therefore, either have disenrolled, or                of calculating household size, the
                                              prepare children to be productive,                      have requested disenrollment from the                 proposed regulatory text did not clearly
                                                                                                      public benefits. To account for these                 implement DHS’s stated intent. The
                                              working adults; counting it as a negative
                                                                                                      positive developments in an alien’s life,             commenter stated that as a consequence,
                                              factor would unfairly base a child’s
                                                                                                      DHS decided to include as a                           an immigrant applying for benefits
                                              future potential for self-sufficiency on
                                                                                                      consideration evidence of the                         exclusively on behalf of U.S. citizen
                                              their use of benefits as a child. A
                                                                                                      disenrollment, or a request for                       dependents could still face adverse
                                              commenter stated that using prior
                                                                                                      disenrollment or withdrawal from                      consequences in a public charge
                                              receipt of benefits in public charge
                                                                                                      public benefit receipt.                               determination for the family’s receipt of
                                              determinations is contrary to the totality
                                                                                                         Overall, however, Congress implicitly              such benefits, leaving the household
                                              of circumstances test. One commenter
                                                                                                      recognized that past receipt of public                with the choice of either not applying
                                              indicated that considering the use of
                                                                                                      benefits can be considered in                         for benefits and facing food and housing
                                              public benefits as evidence of financial                                                                      insecurity, or the applying for the
                                              status would negatively and                             determining likelihood of someone
                                                                                                      becoming a public charge when it                      benefits and increasing the likelihood of
                                              disproportionately impact LGBTQ                                                                               adverse immigration consequences for
                                              immigrants and immigrants with                          prohibited consideration of benefits that
                                                                                                      were authorized under 8 U.S.C. 1641(c)                some family members.
                                              disabilities. Another commenter stated                                                                           Similarly, a commenter stated that the
                                              that, since most applications for public                for ‘‘certain battered aliens.’’ 655
                                                                                                      Congress’ prohibition of consideration                proposed regulatory text fails both to
                                              assistance consider a wide range of                                                                           clearly explain how DHS will identify
                                              benefits, immigrants would be kept from                 of prior receipt of benefits by a specific
                                                                                                      class of aliens indicates Congress                    ‘‘the portion of the benefit that is
                                              applying from all benefits, even those                                                                        attributable to the alien’’ (for example,
                                              not mentioned in the proposed rule.                     understood and accepted the agency’s
                                                                                                      consideration of past receipt of benefits             when the individual lives in a
                                              Some commenters stated that including                                                                         household that receives housing
                                              receipt of benefits as evidence of                      in other circumstances.
                                                                                                         DHS agrees that public benefits play               assistance and he or she would not be
                                              financial status would lead to a                                                                              eligible to receive such assistance). The
                                              widespread chilling effect among                        a role in promoting and helping people
                                                                                                      obtain self-sufficiency; however, the                 commenter wrote that the proposed rule
                                              immigrants and citizens alike. One                                                                            did not plainly state that DHS will only
                                              commenter asserted that, unless DHS is                  primary reason people seek public
                                                                                                      benefits is the inability to be self-                 consider a noncitizen’s application for
                                              willing to compel employers in                                                                                benefits on her own behalf. Another
                                              agriculture and in other industries to                  sufficient. In addition, the 1999 Interim
                                                                                                      Field Guidance, in which other agencies               commenter stated that DHS should
                                              provide a living wage and health                                                                              commission research on the cash value
                                              benefits, it is cruel and unjust to punish              commented, involved the ‘‘primary
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                                                                                                      dependence’’ standard, which is                       equivalence when determining the
                                              hard-working immigrants who rely on                                                                           discount factor for housing benefits.
                                              public benefits but who also benefit the                different from the standard set forth in
                                                                                                      this final rule. While DHS understands                   Response: DHS agrees with
                                              United States.                                                                                                commenters that additional clarification
                                                                                                      that some people may choose not to
                                                 Response: DHS disagrees with the                                                                           of when DHS will consider application,
                                              commenters and maintains that receipt                     654 See Inadmissibility on Public Charge Grounds,   certification, or receipt of public
                                              of public benefits indicates weak                       83 FR 51114, 51188 (proposed Oct. 10, 2018).          benefits will weigh negatively in the
                                              financial status. DHS also disagrees                      655 INA section 212(s), 8 U.S.C. 1182(s).           totality of the circumstances could be


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                                              helpful. Therefore, DHS has added a                     received non-monetized benefits for 11                    that public benefits and assistance
                                              new definition of ‘‘receipt of public                   consecutive months leading up to an                       programs exist in other countries.
                                              benefits’’ to 8 CFR 212.21(e) to clarify                application, even though such fact                        However, DHS did not propose and will
                                              that DHS will only consider the alien to                would be directly relevant to whether                     not consider public benefits provided by
                                              have received a public benefit if the                   the alien is likely to exceed the                         foreign countries.657 Public benefits in
                                              alien is a named beneficiary of the                     applicable threshold in the future.                       foreign countries have different
                                              benefit but not where an alien is                          Following careful consideration of the                 standards and objectives. For example,
                                              applying, being certified, or receiving a               issue, DHS has determined that it is                      in some countries, healthcare is
                                              public benefit not on his or her own                    reasonable to consider any application,                   provided on a national basis irrespective
                                              behalf but on behalf of another person.                 approval, or certification for, or receipt                of income or need and is, therefore, not
                                              For example, if a parent is applying for                of, public benefits as a negative factor in               comparable to public benefits or to the
                                              a public benefit on behalf of a U.S.                    the totality of the circumstances,                        public charge standard in the United
                                              citizen child, such application for                     regardless of whether the benefits                        States. In addition, the inadmissibility
                                              public benefits will not be considered                  exceed the threshold for becoming a                       determination addresses whether a
                                              negatively against the parent. Similarly,               public charge. While DHS does not                         person is likely to become a public
                                              if an alien is the legal guardian or power              believe that past receipt of the benefits                 charge in the United States in the future.
                                              of attorney of the alien’s lawful                       enumerated in this rule for 12 months                        Additionally, all applicants for
                                              permanent resident parent and is                        or less, on its own, makes the alien                      admission and adjustment of status
                                              applying for a benefit on behalf of such                likely to become a public charge in the                   applicants must demonstrate that they
                                              parent, such application and/or                         future, such receipt will in some cases                   are clearly and beyond a doubt not
                                              associated administration of the public                 suggest that the alien is not self-                       inadmissible to the United States.658
                                              benefit on behalf of the alien’s parent                 sufficient, or may soon lack self-                        The ground of inadmissibility under
                                              will not count negatively against the                   sufficiency. Accordingly, under the                       section 212(a) of the Act, 8 U.S.C. 1182,
                                              alien. DHS would only count as a public                 assets, resources, and financial status                   include the public charge grounds of
                                              benefit any benefit for which the alien                 factor, DHS will consider it to be a                      inadmissibility under section 212(a)(4)
                                              is specifically listed as a beneficiary.                negative factor (though not a heavily                     of the Act, 8 U.S.C. 1182(a)(4). DHS
                                              The new definition also clarifies that                  weighted negative factor) if the alien has                explained in the proposed rule that it
                                              application for a public benefit is not                 applied for, been approved or certified                   provided a more comprehensive
                                              the same as receipt but is indicative of                for, or has received, public benefits for                 framework to determining public charge
                                              an alien’s intent to receive such a                     any amount of time.656 The fact that an                   inadmissibility, including certain and
                                              benefit. Similarly, certification is not the            alien has in the past applied for, been                   new paper-based applications, as
                                              same as receipt but may impact the                      approved or certified for, or has                         additional evidence related to public
                                              likelihood that the alien will in the                   received public benefits for any amount                   charge considerations.659 DHS also
                                              future receive such public benefit.                     of time, would never be dispositive on                    explained that, due to operational
                                                 Comment: Commenters stated, in                       its own, but would be relevant to                         differences, this additional evidence
                                              response to a call for comments in the                  assessing an alien’s likelihood of                        would not generally be required at ports
                                              proposed rule preamble, that DHS                        becoming at any time in the future a                      of entry.660 Applicants for admission are
                                              should not revise the rule to allow                     public charge. USCIS will consider the                    inspected by immigration officers at or,
                                              adjudicators to consider an alien’s                     duration, amount, and recentness of an                    when encountered, between ports of
                                              receipt of public benefits below the                    alien’s past approval or certification for,               entry in a timeframe and setting distinct
                                              applicable threshold, as part of DHS’s                  or receipt of, public benefits, when                      from the adjudications process. This,
                                              assessment of whether the alien is likely               deciding how much weight to give this                     however, does not imply that DHS does
                                              at any time in the future to become a                   past activity as part of the prospective                  not screen applicants for admission for
                                              public charge (i.e., to receive benefits                totality of the circumstances                             grounds of inadmissibility, including
                                              above the applicable threshold). A                      determination.                                            public charge grounds of
                                              commenter wrote that all individuals,                      Comment: An individual commenter                       inadmissibility. Therefore, DHS does
                                              citizen or non-citizen alike, may have                  stated that the proposed assets,                          not fundamentally treat those who seek
                                              emergency situations or unanticipated                   resources, and financial status factors                   adjustment of status in the United States
                                              job losses that could result in a need for              would treat immigrants who have been                      differently from those seeking
                                              benefits on a temporary basis. Another                  living in the country fundamentally                       admission to the United States.
                                              commenter wrote that if any benefit                     different than those arriving at ports of                    Comment: One commenter stated that
                                              receipt below the threshold were to be                  entry and are therefore arbitrary. The                    the proposed rule ignores that under
                                              considered in the totality of                           commenter indicated that this                             PRWORA applicants for admission are
                                              circumstances, the thresholds would                     difference in treatment is wholly                         and will remain ineligible for public
                                              become ‘‘entirely meaningless.’’                        inequitable and fundamentally wrong                       benefits even after admission, and that
                                                 Response: No commenters established                  because an individual who has                             applicants for adjustment of status are
                                              that receipt of designated public                       continually received public assistance                    and will remain ineligible for most
                                              benefits below the applicable threshold                 in a foreign country could potentially be                 public benefits until they have green
                                              has no bearing on whether the alien                     allowed to enter the United States. In                    cards for five years. The same
                                              may, in the future, receive designated                  contrast, individuals who are applying                    commenter stated that the rule’s
                                              public benefits above the applicable                    for adjustment of status within the
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                                              threshold. In addition, the proposed                    United States could be denied                               657 See 8 CFR 212.21(b). See Inadmissibility on

                                              rule, as drafted, would have effectively                adjustment of status for a brief,                         Public Charge Grounds, 83 FR 51114, 51158–51174
                                              required DHS to be willfully blind to                   temporary use of a low dollar amount of                   (proposed Oct. 10, 2018).
                                                                                                                                                                  658 See INA section 235(b)(2)(A), 8 U.S.C.
                                              evidence of significant benefits use that               public assistance.
                                                                                                                                                                1225(b)(2)(A).
                                              fell short of the threshold. For instance,                 Response: DHS disagrees that the                         659 See Inadmissibility on Public Charge Grounds,
                                              it was unclear whether the proposed                     proposal is arbitrary. DHS understands                    83 FR 51114, 51116 (proposed Oct. 10, 2018).
                                              rule would allow adjudicators to                                                                                    660 See Inadmissibility on Public Charge Grounds,

                                              consider the fact that an alien had                       656 8   CFR 212.22(b)(4)(ii)(F)(1), (2).                83 FR 51114, 51116 (proposed Oct. 10, 2018).



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                                              ‘‘weighing scheme’’ is impermissibly                     as part of its totality of the                       for adjustment of status. In making this
                                              vague. The commenter pointed to one of                   circumstances determination. DHS has                 determination, DHS would take into
                                              the examples in the proposed rule as                     therefore revised the regulatory text to             consideration the fact that the alien is
                                              indicative of the unpredictable nature of                make clear that DHS would consider                   working while in school and thus that
                                              the determination, namely that an                        evidence from a Federal, State, local, or            the nature and hours of employment
                                              individual who is in school and                          tribal agency administering a particular             may be limited by his need to attend
                                              employed with an income of 120                           benefit that shows the alien does not                classes. DHS would also look at the
                                              percent of the FPG and does not have                     qualify for the public benefit, so long as           likelihood that the alien’s earning
                                              health insurance but has no other                        the alien submits the necessary                      capacity would increase as a result of
                                              negative factors would not be deemed                     evidence and specifically identifies it as           his education—for example, U.S.
                                              likely to become a public charge. But                    relating to eligibility.                             Census data shows that a college degree
                                              the commenter noted that if the                             For example, an alien could provide               nearly doubles earnings.662 Similarly,
                                              individual was not precluded by                          a letter from a benefit-granting agency              there is no evidence that the alien had
                                              immigration status from receiving                        indicating that the alien is not eligible            previously received, or even attempted
                                              public benefits, the individual would be                 for a particular benefit based on the                to apply for, or been certified to receive
                                              income-eligible for SNAP, Medi-Cal,                      alien’s immigration status. In the                   public benefits.663 Therefore,
                                              and Federal housing assistance. The                      alternative, the alien could provide                 notwithstanding the commenter’s
                                              commenter stated that it is not clear                    information from a public benefit-                   observation about potential future
                                              why DHS would not deem the                               granting agency listing the immigration              eligibility for such benefits, the alien,
                                              individual likely to become a public                     classifications not eligible for public              based on the facts, would not be more
                                              charge at any time in the future.                        benefits and evidence of the alien’s                 likely than not receive public benefits at
                                                 Response: DHS disagrees with the                      prospective immigration status that                  any time in the future. However, if there
                                              commenter that the rule fails to consider                together indicate that the alien is not              were evidence that, the alien was
                                              the alien’s immigration status in                        eligible for the benefit because the alien           discontinuing his or her education, or
                                              determining whether an alien could                       does not have an immigration                         had a chronic health condition that
                                              qualify for public benefits, and has                     classification that the public benefit-              would impair the alien’s ability to work,
                                              added language in the rule to clarify.                   granting agency has identified as                    or that the alien had attempted to apply
                                              DHS also disagrees that the totality of                  eligible. Similarly, the alien could                 for public benefits but had been found
                                              the circumstances determination is                       provide evidence of his or her gross                 ineligible based on his immigration
                                              impermissibly vague and unpredictable,                   household income together with                       status, such evidence could tip the
                                              or that the example the commenter cited                  information from a public benefit                    determination the other way and USCIS
                                              illustrates the unpredictability of the                  agency’s website showing the eligibility             may determine that the alien is more
                                              determination. In the proposed rule,                     income threshold for the state in which              likely than not to receive public benefits
                                              DHS established as one of the                            the alien resides, or will reside upon               above the designated threshold at any
                                              mandatory regulatory factors the                         becoming a lawful permanent resident,                time in the future. Therefore, DHS
                                              consideration of the alien’s prospective                 that specifically indicates that the                 appreciates that a real world
                                              immigration status and expected period                   alien’s gross household income exceeds               circumstance is likely to include facts
                                              of admission. DHS notes that there are                   the threshold. DHS would consider such               beyond those included in the
                                              a number of legal and practical                          evidence in the totality of the                      hypothetical fact pattern that could lead
                                              limitations on DHS’s ability to consider                 circumstances. DHS notes that an                     to a different adjudication.
                                              eligibility for public benefits as part of               assessment that an alien is not currently
                                              its totality of the circumstances                        eligible for any or all designated public            4. Fee Waivers for Immigration Benefits
                                              determination. For instance, DHS does                    benefits may carry some weight in the                   Comment: Many commenters said the
                                              not have the expertise to apply the                      totality of the circumstances, but will              rule overweighs receipt of one-time
                                              varied and often complex framework of                    never be outcome determinative. DHS                  immigration fee waivers to predict
                                              public benefit eligibility criteria, either              must consider all statutory factors to               whether a person will become a public
                                              on a state-by-state basis or according to                determine whether the alien is likely at             charge by double counting, as use of a
                                              general Federal standards; cannot                        any time in the future to become a                   fee waiver is a function of income.
                                              reliably predict the alien’s likely state of             public charge.
                                              residence at any time in the future; and                    With respect to the specific example                 662 See College Degree Nearly Doubles Annual

                                                                                                       cited by the commenter, DHS notes that               Earnings: https://www.thoughtco.com/college-
                                              cannot assume that all aliens who are                                                                         degree-nearly-doubles-annual-earnings-3320979
                                              ineligible for the designated benefits in                evidence of alien’s income being below               (last visited June 27, 2019); U.S. Census Bureau
                                              the near-term will not use them in the                   125 percent of the FPG or evidence that              Educational Attainment in the United States: 2004:
                                              long term.661                                            the alien’s immigration status may not               https://www.census.gov/data/tables/2004/demo/
                                                 But if an alien provides evidence from                be disqualifying, are not necessarily                educational-attainment/cps-detailed-tables.html
                                                                                                                                                            (last visited June 27, 2019); U.S. Census Bureau
                                              a Federal, State, local, or tribal agency                determinative factors in the totality of             Post-Secondary Employment Outcomes (PSEO)
                                              specifically identifying that alien does                 the circumstances. In the example                    (Beta) https://lehd.ces.census.gov/data/pseo_
                                              not qualify for one or more public                       commenter discusses (Table 34,                       beta.html.
                                                                                                                                                               663 Even though some studies show that low
                                              benefits, USCIS can use that information                 example A in the proposed rule), DHS
                                                                                                                                                            income earners receive one or more public benefits
                                                                                                       would determine that the alien is not                at higher rates, DHS would not necessarily find this
                                                 661 See, e.g., Medicaid.gov, Medicaid, Children’s     likely to become a public charge                     trend to be outcome determinative in the case of an
                                              Health Insurance Program, & Basic Health Program
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                                                                                                       notwithstanding the alien’s lower                    individual enrolled in a Bachelor’s degree program.
                                              Eligibility Levels, https://www.medicaid.gov/                                                                 See, e.g., The New York Times, Working, but
                                              medicaid/program-information/medicaid-and-chip-
                                                                                                       income and lack of health insurance                  Needing Public Assistance Anyway https://
                                              eligibility-levels/index.html (discussing Medicaid       because the alien is fundamentally a                 www.nytimes.com/2015/04/13/business/economy/
                                              eligibility from state to state) (last visited June 5,   young and healthy person (age 30) of a               working-but-needing-public-assistance-
                                              2019); State TANF Policies: A Graphical Overview         working age, with an employment                      anyway.html (April 12, 2015) (last visited July 26,
                                              of State TANF Policies as of July 2016, available at                                                          2019); U.C. Berkeley Labor Center: High Public Cost
                                              https://www.acf.hhs.gov/sites/default/files/opre/
                                                                                                       history and education (attending a                   of Low Wages http://laborcenter.berkeley.edu/the-
                                              wrd_2016_databook_companion_piece_05_15_18_              Bachelor’s degree program), and the                  high-public-cost-of-low-wages/ (last visited on June
                                              508.pdf (last visited June 5, 2019).                     alien is an employment-based applicant               27, 2019).



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                                              Another commenter stated that there is                  high income, would be counted under                       that the inclusion of fee waivers in
                                              not enough data to determine whether                    the proposed rule.                                        public charge determinations would
                                              one-time receipt of a fee waiver was                       Response: DHS disagrees that the                       result in fewer immigrants being willing
                                              related to a person being a public                      consideration of a fee waiver would be                    and able to seek citizenship. A
                                              charge. A commenter noted that a                        impermissibly retroactive. First, fee                     commenter stated that many of their
                                              separate consideration of the use of a fee              waivers applied for or received before                    clients were worried about whether
                                              waiver means that factors such as                       the effective date will not be                            using a fee waiver would impact their
                                              income would be unfairly counted                        considered.665 Second, any fee waiver                     chances of having their applications
                                              twice—once based on their household                     received on or after the effective date of                approved. A commenter stated that the
                                              income and a second time when the fee                   the rule, will be considered in the                       fee waivers would be limiting the
                                              waiver is granted because of their                      totality of circumstances and, alone,                     options immigrants have to file for
                                              income.                                                 would not result in a finding that a                      immigration benefits and would harm
                                                 Response: DHS disagrees that the                     person is likely at any time in the future                families, citing a story about a client in
                                              receipt of a fee waiver for an                          to become a public charge. In the                         the process of applying for citizenship.
                                              immigration benefit is over weighted.                   totality of the circumstances analysis,                   An individual commenter stated that it
                                              The fee waivers for immigration benefits                evidence of a change in circumstances,                    is cruel to offer fee waivers and then
                                              is only one evidentiary consideration in                e.g., steady employment and income,                       hold the use of said fee waiver against
                                              the totality of the circumstances and it                would also be taken into consideration.                   immigrants in their application.
                                              is not heavily weighted. As indicated in                Third, simply because the regulation                      Additionally, another commenter stated
                                              the NPRM,664 since fee waivers are                      bases the consideration of public charge                  that the standards for fee waivers are
                                              based on an inability to pay (i.e., receipt             in part on an occurrence of a fee waiver                  often more lenient than the finding of
                                              of means-tested public benefits or                      on or after the effective date of the rule,               inadmissibility under the proposed rule,
                                              income at the FPG level), a fee waiver                  does not make the regulation                              and therefore should not be used in
                                              for an immigration benefit suggests an                  impermissibly retroactive.666 Through                     public charge determinations. A
                                              inability to be self-sufficient. DHS                    this regulation, DHS simply specifies                     different commenter stated that the use
                                              recognizes that some of the factors                     considerations as part of implementing                    of fee waivers in public charge
                                              required to obtain a fee waiver may be                  the public charge determination,                          determination would likely
                                              similar to those used as part of the                    according to the best evidence available                  disadvantage naturalized citizens in
                                              public charge determination. These                      at the time of the adjudication,                          efforts to reunite their families. A
                                              factors, however, are reviewed                          including past occurrences of a fee                       couple commenters stated that receipt of
                                                                                                      waiver request or grant as a                              a fee waiver often serves as a step
                                              differently according to their respective
                                                                                                      consideration, in the totality of the                     toward self-sufficiency and decreases
                                              purposes. For purpose of the public
                                                                                                      alien’s circumstances. Finally, and                       the likelihood that an immigrant will be
                                              charge inadmissibility determination,
                                                                                                      similar to the receipt of public benefits,                dependent on government assistance in
                                              all the factors and circumstances will be
                                                                                                      DHS will, in the totality of the                          the future. Another commenter stated
                                              reviewed in the totality of the
                                                                                                      circumstances, consider how long ago                      that fee waivers are often used when
                                              circumstances without a counting
                                                                                                      the fee waiver was received. If the fee                   applying for work authorization, as at
                                              system currently used for fee waiver
                                                                                                      waiver was received recently, it would                    that time immigrants have no income,
                                              purposes, in which each factor is
                                                                                                      have more relevance to the public                         and considering fee waivers would lead
                                              individually ranked or scored to assess
                                                                                                      charge determination, whereas if the fee                  to longer unemployment periods and
                                              whether a fee waiver is warranted. As
                                                                                                      waiver was received some time ago, for                    increase use of public benefits. A
                                              such, DHS will consider the alien’s
                                                                                                      example, before the alien obtained new,                   commenter stated that often immigrants
                                              financial liabilities and the request or
                                                                                                      steady employment, the relevance of the                   apply for fee waivers when they need to
                                              the receipt of a fee waiver as evidence
                                                                                                      fee waiver in the totality of the                         file an application in a timely manner,
                                              of financial liabilities and status in the
                                                                                                      circumstances would be diminished.                        but do not have the time to save enough
                                              totality of the circumstances. Other
                                                                                                         Comment: Some commenters stated                        money to afford the application fee.
                                              evidence may provide the same
                                                                                                      that the rule seemed to reduce or                         Another commenter stated that
                                              information and therefore, DHS would
                                                                                                      potentially eliminate the use of the                      including a fee waiver in public charge
                                              consider the evidence as a whole but
                                                                                                      application fee waivers and stated that                   determinations would increase the
                                              not individually rank or score the
                                                                                                      the fee waiver program is founded on its                  burden on immigrants.
                                              evidence.                                                                                                            Response: DHS disagrees that the rule
                                                                                                      own policy rationale, which, according
                                                 Comment: One commenter said it is                    to the commenters, is not the subject of                  eliminates fee waiver requests.
                                              impermissibly retroactive to consider                   this rule. A commenter stated that fee                    Applicants would still be able to request
                                              the past receipt of a fee waiver because                waivers are typically only available for                  fee waivers in accordance with the
                                              ‘‘it impermissibly penalizes applicants                 applications not subject to the public                    applicable regulations and form
                                              for their financial status on the date of               charge ground of inadmissibility and                      instructions.667 The consideration of a
                                              the application for the fee waiver and                  stated that using fee waivers in public                   fee waiver in the public charge
                                              not on the date of application for                      charge determinations will only serve to                  inadmissibility determination is but one
                                              admission, adjustment of status, or for a               chill overall immigration applications.                   factor in the totality of the
                                              visa.’’ Commenters indicated that often,                Another commenter further remarked                        circumstances. As indicated in the
                                              an individual’s economic situation                                                                                NPRM,668 requesting or receiving a fee
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                                              improves after receiving immigration                      665 8 CFR 212.22(b)(4)(ii)(G).                          waiver for an immigration benefit
                                              benefits for which applicants receive a                   666 ‘‘A regulation has retroactive effect ‘when it      suggests a weak financial status. Since
                                              fee waiver. A commenter stated that                     takes away or impairs vested rights acquired under        fee waivers are based on an inability to
                                              even immigrants who applied for a fee                   existing laws, or creates a new obligation, imposes
                                                                                                                                                                pay, seeking or obtaining a fee waiver
                                              waiver and were rejected for having                     a new duty, or attaches a new disability, in respect
                                                                                                      to transactions or considerations already past.’ ’’ See
                                                                                                                                                                  667 See8 CFR 103.7(c).
                                                                                                      Mejia v. Gonzales, 499 F.3d 991, 995—99 (9th Cir.
                                                664 SeeInadmissibility on Public Charge Grounds,      2007) (quoting INS v. St. Cyr, 533 U.S. 289, 321            668 SeeInadmissibility on Public Charge Grounds,
                                              83 FR 51114, 51188 (proposed Oct. 10, 2018).            (2001)).                                                  83 FR 51114, 51188 (proposed Oct. 10, 2018).



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                                              for an immigration benefit suggests an                    a T nonimmigrant at time of admission,                between agencies, and that the score
                                              inability to be self-sufficient. In                       and an applicant for, or individual who               reported to a consumer may not be the
                                              addition, the Senate Appropriations                       is granted, U nonimmigrant status are                 same as the score used by lenders. Many
                                              Report for the Department of Homeland                     generally exempt from the public charge               commenters asserted that an applicant’s
                                              Security for FY 2017, stated that ‘‘the                   ground of inadmissibility. For reasons                credit history could be impacted by
                                              Committee is concerned about the                          discussed earlier in this preamble, DHS               factors outside their control from which
                                              increased use of fee waivers, as those                    amended this final rule to clarify that T             they may recover. Additionally, a
                                              paying fees are forced to absorb costs for                nonimmigrants seeking any immigration                 commenter indicated that credit report
                                              which they receive no benefit. In                         benefit subject to section 212(a)(4) of the           and income alone does not depict a
                                              addition, those unable to pay USCIS                       Act, 8 U.S.C. 1182(a)(4), are generally               clear picture of an immigrant’s full
                                              fees are less likely to live in the United                exempt from the public charge ground                  financial situation or their ability to
                                              States independent of government                          of inadmissibility, as previously                     raise their credit score. A couple of
                                              assistance.669 However, the House                         discussed. Because these survivors of                 other commenters stated that credit
                                              Report on Department of Homeland                          human trafficking and domestic                        reports and scores do not contain
                                              Security Appropriations Bill, 2019, said                  violence are generally exempt from the                enough information about an
                                              ‘‘USCIS is expected to continue the use                   public charge inadmissibility ground,                 individual’s earnings or incomes.
                                              of fee waivers for applicants who can                     they would not be impacted by this rule.              Another commenter stated that many
                                              demonstrate an inability to pay the                          Comment: Several commenters stated                 consumers who are credit invisible or
                                              naturalization fee. USCIS is also                         that the consideration of receipt of a fee            unscoreable will be disadvantaged by
                                              encouraged to consider whether the                        waiver would keep immigrants from                     the rule and provided data on the
                                              current naturalization fee is a barrier to                accessing their right to justice in                   population who falls into these groups.
                                              naturalization for those earning between                  immigration proceedings.                                 Many commenters stated that credit
                                              150 percent and 200 percent of the                           Response: DHS disagrees that the                   scores are a poor way to evaluate the
                                              federal poverty guidelines, who are not                   consideration of requests for, and                    past ability to pay bills, since scores do
                                              currently eligible for a fee waiver.’’                    receipt of, fee waivers would prevent                 not reflect rent payments, which are
                                              Therefore, DHS would not consider the                     individuals in removal proceedings                    often the largest recurring expense a
                                              request or receipt of reduced fee for the                 from applying for any benefits for which              household or individual will incur.
                                              naturalization application as part of the                 they are eligible. Although request and               Some commenters stated that medical
                                              public charge inadmissibility.                            receipt of a fee waiver is a consideration            debt is often reflected in credit reports
                                                 DHS also disagrees that this rule                      in the public charge inadmissibility                  and is not an accurate or reliable
                                              would deter individuals from applying                     determination, it is but one factor in the            measure of an individual’s financial
                                              for U.S. citizenship or otherwise                         totality of the circumstances, and could              status. One commenter stated that credit
                                              imposes additional burdens on                             not, alone, form the basis of an                      reports should not be included as a
                                              applicants. This rule addresses how                       inadmissibility determination. The                    negative factor, but that individuals
                                              DHS determines inadmissibility of                         consideration of fee waivers within                   should be allowed to submit a good
                                              aliens on account of public charge; and                   public charge inadmissibility                         credit score as a positive factor if they
                                              it does not apply to individuals seeking                  determinations conducted by                           so choose. An individual commenter
                                              to be naturalized who would apply for                     immigration judges in removal                         stated that there may be additional
                                              a fee waiver request because the public                   proceeding is more appropriately                      credit data, which provides for non-
                                              charge ground of inadmissibility does                     addressed by DOJ in the context of their              traditional credit activity (i.e., short-
                                              not apply to naturalization                               public charge rulemaking. DHS’s rule                  term payday lending, rent-to-own, auto
                                              proceedings.670                                           only addresses the consideration of fee               lending data) that could be used in
                                                 For clarification purposes, DHS has                    waivers in the context of matters before              public charge determinations.
                                              amended the regulatory text in 8 CFR                      DHS.                                                     Response: A weaker financial status
                                              212.21(b) to provide that fee waiver                                                                            may, in the totality of the
                                                                                                        5. Credit Report and Score
                                              requests submitted or granted as part of                                                                        circumstances, lead to a public charge
                                              immigration benefits that are not subject                    Comment: Several commenters noted                  determination. As indicated in the
                                              to the public charge inadmissibility                      that a credit scores and credit histories             NPRM,671 USCIS would consider an
                                              ground under section 212(a)(4) of the                     are not designed to assess an alien’s                 alien’s liabilities and information of
                                              Act, 8 U.S.C. 1182(a)(4) will not be                      likelihood of becoming a public charge,               such liabilities in a U.S. credit report
                                              considered as part of the public charge                   were not designed to be used in the                   and score as part of the financial status
                                              determination. See 8 CFR                                  immigration context, and do not assess                factor in the totality of the
                                              212.22(b)(4)(G).                                          an alien’s self-sufficiency. A commenter              circumstances. As provided in the
                                                 Comment: One commenter stated that                     also noted that credit reports do not                 NPRM, a good credit score in the United
                                              considering fee waivers would unfairly                    address at all whether an alien can                   States is a positive factor that indicates
                                              and disproportionately impact survivors                   financially provide for himself or herself            a person is likely to be self-sufficient
                                              of human trafficking and domestic                         because credit reports do not reflect the             and support the household. Conversely,
                                              violence who are less likely to have the                  subject’s payment of rent, utilities,                 a lower credit score or negative credit
                                              ability to pay for fee-based forms.                       income, savings, or other financial                   history in the United States may
                                              Another commenter further remarked                        resources. A few commenters stated that               indicate that a person’s financial status
                                              that the use of fee waivers in public                     a person’s credit history should not                  is weak and that he or she may not be
                                                                                                        impact their ability to change
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                                              charge determination would                                                                                      self-sufficient. Credit reports and credit
                                              disproportionately affect women,                          immigration status. Many commenters                   scores provide information about a
                                              survivors of abuse, and people of color.                  said there is no correlation between a                person’s bill paying history, loans, age
                                                 Response: As discussed in the NPRM,                    low credit score and the evaluation                   of current accounts, current debts, as
                                              an alien who is a VAWA self-petitioner,                   factor. Many commenters stated that                   well as work, residences, lawsuits,
                                                                                                        credit reports are highly inaccurate.
                                                669 See   S. Rep. No. 114–264, at 125 (2016).           Further, a commenter remarked that                      671 See Inadmissibility on Public Charge Grounds,
                                                670 See   INA section 311–347, 8 U.S.C. 142–1458.       credit reporting scores vary widely                   83 FR 51114, 51189 (proposed Oct. 10, 2018).



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                                              arrests, collections, actions, outstanding                   Comment: A commenter expressed                    be used as a negative factor in a public
                                              debts and bankruptcies in the United                      concern that inclusion of credit history             charge determination.
                                              States.672 Credit reports generally assist                in public charge determinations would                   Response: DHS would only consider
                                              creditors to determine the credit                         amount to double counting of some of                 the information included in the latest
                                              worthiness or risk of a person, and affect                the evidence upon which such reports                 credit report and score as provided by
                                              the terms of the credit the person is                     and scores are based and would already               the alien at the time of adjudication for
                                              offered.673 DHS’s use of the credit report                factor into the public charge                        public charge inadmissibility purposes.
                                              or scores focuses on the assessment of                    determination.                                       The fact that some had a previous
                                              these debts, liabilities, and related                        Response: DHS recognizes that some                negative or positive score will not be
                                              indicators, as one indicator of an alien’s                of the factors enumerated in the public              taken into account in the public charge
                                              strong or weak financial status, so that                  charge rule may be based on similar                  inadmissibility determination.
                                              in the totality of the circumstances and                  circumstances; however, some of the                     Comment: One commenter questioned
                                              as part of all considerations affecting the               considerations may be reviewed                       how DHS plans to collect, protect, and
                                              alien, the alien is more or less likely to                differently depending on the factor.                 manage sensitive data surrounding
                                              become, in the future, a public charge.                   However, all the factors and                         credit report scores. Another commenter
                                              DHS believes it is useful information in                  circumstances will be reviewed in the                noted that USCIS would be required to
                                                                                                        totality of the circumstances without                comply with the storage and disposal
                                              determining whether aliens are able to
                                                                                                        ranking the factors numerically. DHS                 requirements for credit information at
                                              support themselves. However, DHS
                                                                                                        would consider the alien’s financial                 15 U.S.C. 1681x.
                                              understands that not everyone has a
                                                                                                        liabilities and past receipt of public                  Response: DHS takes seriously its
                                              credit history in the United States and
                                                                                                        benefits; the credit report and score                responsibility to properly protect
                                              would not consider the lack of a credit                   would simply serve as evidence of
                                              report or score as a negative factor. DHS                                                                      sensitive information in its
                                                                                                        financial liabilities and status. Other              possession.679 DHS follows the Privacy
                                              also understands that the three main                      evidence may provide the same
                                              different credit reporting agencies do                                                                         Act requirements, which apply to
                                                                                                        information and therefore DHS would                  information that is maintained in a
                                              not provide identical scores. DHS                         consider the evidence as a whole but
                                              believes that the credit report and score                                                                      ‘‘system of records’’ from which
                                                                                                        not individually rank or score the                   information is retrieved by the name of
                                              are nonetheless sufficiently reliable to                  evidence.                                            an individual or by some identifying
                                              be useful in reviewing a person’s                            Comment: One commenter stated that                number, symbol, or other identifying
                                              financial status in determining whether                   the guidelines in the proposed rule                  particular assigned to the individual.
                                              an applicant is likely to become a public                 regarding credit score were broad and                The materials in alien files (A-files) are
                                              charge.674 As the Consumer Finance                        ambiguous. A commenter stated that                   considered permanent records and are
                                              Protection Board has said ‘‘A credit                      using credit scores in public charge                 transferred to the National Archives and
                                              report generally is considered s                          evaluation would lead to ‘‘arbitrary,                Records Administration 100 years after
                                              reasonably reliable third-party record . .                inconsistent, and unfair’’ public charge             the subject’s birth,680 and therefore not
                                              . for purposes of verifying items                         determinations. The commenter further                subject to the disposal requirements of
                                              customarily found on a credit report,                     stated that the mechanics of going                   the Fair Credit Reporting Act (FCRA).
                                              such as the consumer’s current debt                       through immigrants’ credit reports and               To the extent that credit information
                                              obligations, monthly debts, and credit                    scores are impractical.                              subject to the FCRA is maintained in
                                              history.’’ 675 Further, if the alien has a                   Response: DHS disagrees that the
                                                                                                                                                             other agency records systems, such
                                              confirmed error on the report or score,                   language on credit scores is broad and
                                                                                                                                                             records will be destroyed in accordance
                                              USCIS would not consider the report a                     ambiguous or that it would lead to an
                                                                                                                                                             with applicable General and/or Agency
                                              negative factor. USCIS will review the                    arbitrary, inconsistent and unfair public
                                                                                                                                                             Records Schedules which would be in
                                              latest credit report and score provided                   charge determination. As indicated in
                                                                                                                                                             compliance with the FCRA
                                              by the alien. DHS notes that a credit                     the NPRM,676 USCIS would generally
                                                                                                                                                             requirements.681 As with all forms and
                                              report or score alone would not lead to                   consider a credit score characterized as
                                                                                                                                                             private identifiable information, DHS
                                              an inadmissibility determination based                    ‘‘good’’ or better to be a positive factor
                                                                                                        as it demonstrates an applicant may be               will follow all applicable regulations
                                              on public charge because the assessment                                                                        and procedures to safeguard and protect
                                              of public charge is made in the totality                  able to support himself or herself and
                                                                                                        any dependents assuming all other                    any sensitive information.
                                              of the circumstances and no one factor                                                                            Comment: A commenter indicated
                                              or consideration (with the exception of                   financial records are sufficient. A
                                                                                                        ‘‘good’’ credit report is generally near or          that if DHS includes credit reports in
                                              an insufficient affidavit of support or no                                                                     the public charge determination DHS
                                              affidavit of support, where required) is                  slightly above the average of U.S.
                                                                                                        consumers,677 and therefore the person               should not exclude non-U.S. credit
                                              outcome determinative for being found                                                                          reports because credit reporting in the
                                              inadmissible based on public charge.                      may be self-sufficient and less likely to
                                                                                                        become a public charge. A poor credit                United States is exclusively the
                                                                                                        report is well below the average of U.S.             province of private-sector corporations,
                                                 672 See USA.gov, Credit Reports and Scores,
                                                                                                        consumers.678                                        this is not the case in many countries.
                                              available at https://www.usa.gov/credit-reports (last
                                              updated July 18, 2019) (last visited July 26, 2019).         Comment: Multiple commenters                      The commenter cited the World Bank,
                                                 673 See Inadmissibility on Public Charge Grounds,      asked whether past poor credit would                 which stated that at least 30 countries
                                              83 FR 51114, 51189 (proposed Oct. 10, 2018).
                                                 674 See generally Marting Realty, Inc. v. Marks,         676 Inadmissibility on Public Charge Grounds, 83      679 See generally Notice of Modified Privacy Act
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                                              1986 WL 4647 (Ohio Ct. App. 9th Dist. 1986)               FR 51114, 51189 (proposed Oct. 10, 2018).            System of Records, 82 FR 43556, 43564 (Sept. 18,
                                              (‘‘Credit reports are held to be highly reliable by the     677 MyFICO, Understanding FICO Scores 5,           2017) (‘‘DHS/USCIS safeguards records in this
                                              business world and should be admitted where such          available at https://www.myfico.com/Downloads/       system according to applicable rules and policies,
                                              reliability is not challenged.’’) (citation omitted).     Files/myFICO_UYFS_Booklet.pdf (last visited July     including all applicable DHS automated systems
                                                 675 Official Interpretation 43(c)(3)-3 to 12 CFR       26, 2019).                                           security and access policies. USCIS has imposed
                                              1026.43(c)(3), published as part of Ability-to-Repay        678 MyFICO, Understanding FICO Scores 5,           strict controls to minimize the risk of compromising
                                              and Qualified Mortgage Standards Under the Truth          available at https://www.myfico.com/Downloads/       the information that is being stored.’’).
                                                                                                                                                                680 82 FR 43556, 43564.
                                              in Lending Act (Regulation Z), 78 FR 6408, 6607           Files/myFICO_UYFS_Booklet.pdf (last visited July
                                              (Jan. 30, 2013).                                          26, 2019).                                              681 See 15 U.S.C. 1681w; 16 CFR 682.3.




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                                              operate public credit registries,                          Response: DHS disagrees that                         further stated that the only people to
                                              including seven nations in the European                 considering credit scores and reports as                prosper from the proposed rule would
                                              Union and 17 in Latin America and the                   a negative factor is directly contrary to               be the credit repair industry.
                                              Caribbean.                                              the case law established in Howe v.                        A few commenters stated that credit
                                                 Response: DHS will not include credit                United States ex rel Savitsky.685 In                    reports are not available in languages
                                              reports from other countries in the                     Howe, the court criticized the public                   other than English, which can
                                              public charge inadmissibility                           charge determination made by the                        disadvantage immigrants with limited
                                              determination. DHS agrees that credit                   immigration inspector, finding that                     English proficiency from accessing their
                                              reporting systems vary significantly                    immigration inspector’s ‘‘latitudinarian                score and disputing mistakes made to
                                              throughout the world, including but not                 construction’’ of the term public charge                their credit. Adding to this a commenter
                                              limited to how they are established, the                would render all other grounds                          stated that immigrants often are not
                                              information collected, and the rating                   redundant because everybody could be                    aware or are not able to correct errors on
                                              policy used.682 As explained in the                     considered a public charge.686 The court                their credit score. One commenter stated
                                              NPRM, the information obtained                          indicated that the public charge                        that not using credit cards can
                                              through a U.S. credit report may be                     determination could not be simple                       negatively impact one’s credit score
                                              indicative of a person’s financial status               conjecture but that there must be some                  even though not using credit cards can
                                              and the person’s self-sufficiency in the                indication that an otherwise physically                 be a financially responsible choice.
                                              United States.683 Given that the focus of               fit individual were to become a public                  Adding to this, a few commenters stated
                                              the public charge determination is the                  charge for want of means to support                     that many people lack credit history
                                              alien’s likelihood of becoming a public                 themselves in the future before he or she               because they are frugal which shows a
                                              charge to the United States in the future,              could be found inadmissible.687 The                     lack of likelihood of becoming a public
                                              DHS believes that the U.S. credit report                court did not imply or mandate that any                 charge.
                                              provides the best means to obtain                       aspect of an individual’s financial                        Response: DHS recognizes that the
                                              relevant information regarding assets,                  history be excluded from a public                       credit reports and scores may be
                                              resources and financial status. As it is                charge determination. Additionally, the                 unavailable or inaccurate. As provided
                                              the case with all factors, USCIS will                   case was decided based on the 1910                      in the NPRM,691 the absence of an
                                              assess the information obtained through                 version of Section 2 of the Immigration                 established U.S. credit history would
                                              a U.S. credit report or score and its                   Act of 1907; the provision at the time                  not be a negative factor when evaluating
                                              impact on the public charge                             did not specifically require immigration                public charge in the totality of the
                                              determination in the totality of the                    officers to consider the alien’s ‘‘assets,              circumstances. Absent a U.S. credit
                                              circumstances; USCIS will not base the                  resources and financial status’’ as part of             report or score, USCIS may give positive
                                              inadmissibility determination solely on                 the public charge determination.688 In                  weight to an alien who can show little
                                              the results of the credit report or score.              contrast, with the 1996 amendments of                   to no debt and a history of paying bills
                                                 Comment: Another commenter                           IIRIRA, Congress specifically required                  timely. An alien may provide evidence
                                              indicated that considering credit scores                immigration officers to consider these                  of regular and timely payment of bills,
                                              and reports as a negative factor is                     factors as part of the public charge                    and limited balances on credit cards and
                                              directly contrary to case law, citing to                determination.689 As explained in the                   loans. In addition, USCIS would not
                                              Howe v. United States ex rel Savitsky,                  NPRM,690 DHS considers an alien’s                       consider any error on a credit score that
                                              247 F. 292 (2d Cir. 1917). The                          liabilities and information of such                     has been verified by the credit agency in
                                              commenter explained that in this case                   liabilities in the U.S. credit report and               determining whether an alien is likely
                                              the immigration inspector found the                     score indicative of the state of an alien’s             to become a public charge in the future.
                                              alien to be a public charge for having                  assets, resources, and financial status                    Comment: Several commenters stated
                                              drawn a check abroad which ultimately                   and the person’s ability to be self-                    that considering credit scores will
                                              proved bad and that in a dispute arising                sufficient.                                             disparately affect ‘‘marginalized
                                              from contractual matter, the alien had                     Comment: Many commenters                             communities.’’ Additionally, a few
                                              sold the equipment at issue and kept the                remarked that immigrants are more                       commenters stated that using an
                                              proceeds.684 The Second Circuit                         likely to have no credit history or an                  immigrant’s credit history in public
                                              reversed the decision explaining that                   insufficient amount of information to                   charge determinations would have a
                                              Congress meant the public charge                        generate a reliable score. A commenter                  disproportionate impact on immigrants
                                              provision to exclude persons who are                    stated that in their experience helping                 of color; women; survivors of sexual and
                                              likely to become occupants of                           enroll immigrant populations in ACA                     domestic abuse; people with lower
                                              almshouses for want of means with                       open enrollment, credit scores were                     levels of education; and local
                                              which to support themselves in the                      often either unavailable or inaccurate. A               communities where credit scores there
                                              future.’’                                               commenter stated that many immigrants                   are lower than the national average. A
                                                                                                      are often victims of financial frauds and               commenter stated that the use of credit
                                                 682 The commenter cited to Margaret Miller,          financial abuse, which could negatively                 scores in public charge determinations
                                              ‘‘Credit Reporting Systems Around the Globe’’           affect their credit score. The commenter
                                              (Washington; World Bank, June 2000), available at,
                                                                                                                                                              may have the unintended consequence
                                              http://siteresources.worldbank.org/INTRES/                                                                      of trapping immigrants in a cycle of
                                                                                                        685 See Howe v. United States ex rel Savitsky, 247
                                              Resources/469232–1107449512766/Credit_                                                                          payday loans.
                                              Reporting_Systems_Around_The_Globe.pdf (last            F. 292 (2d Cir. 1917).
                                                                                                        686 See Howe v. United States ex rel Savitsky, 247       Response: DHS disagrees that
                                              visited July 24, 2019).
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                                                 683 See Inadmissibility on Public Charge Grounds,    F. 292, 294 (2d Cir. 1917).                             consideration of credit scores will
                                              83 FR 51114, 51189 (proposed Oct. 10, 2018).
                                                                                                        687 See Howe v. United States ex rel Savitsky, 247    disparately affect certain groups of
                                                 684 Howe v. United States ex rel Savitsky, 247 F.    F. 292, 294 (2d Cir. 1917).                             aliens. DHS must consider an
                                                                                                        688 See Howe v. United States ex rel Savitsky, 247
                                              292 (2d Cir. 1917) (He had drawn a check for $113                                                               applicant’s assets, resources, and
                                              before leaving Canada which proved bad and that         F. 292, 293 (2d Cir. 1917). See Comp. St. 1916, Sec.
                                                                                                      4244.                                                   financial status in making a public
                                              in a dispute with one Solomon Cohen arising out
                                                                                                        689 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4).
                                              of the purchase of a milk route, Cohen charged him
                                              with having sold some of the equipment and kept           690 See Inadmissibility on Public Charge Grounds,       691 See Inadmissibility on Public Charge Grounds,

                                              the proceeds.)                                          83 FR 51114, 51188–89 (proposed Oct. 10, 2018).         83 FR 51114, 51189 (proposed Oct. 10, 2018).



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                                              charge determination.692 The rule                       medical care is vague and impossible to               their own capabilities and the resources
                                              abides by the statutory requirement as                  determine fairly. One commenter said                  of their families, their sponsors, and
                                              provided in section 212(a)(4) of the Act,               considering lack of private health                    private organizations.’’ 697 Financial
                                              8 U.S.C. 1182(a)(4), and is consistent                  insurance seems ‘‘outlandish’’ when                   means to pay for reasonably foreseeable
                                              with congressional statements relating                  fewer than half of private employers in               medical costs is part of being self-
                                              to self-sufficiency set forth in 8 U.S.C.               the United States provide health                      sufficient. In evaluating the alien’s
                                              1601. DHS does not believe that the use                 insurance to their workers. Similarly, a              ability to pay for reasonably foreseeable
                                              of credit scores will trap people into a                commenter said that many people who                   medical costs, DHS will consider
                                              cycle of payday loans since the rule in                 are employed do not have access to                    whether the alien has private health
                                              general, and the use of credit scores in                affordable healthcare coverage. Another               insurance (which, on its own, can
                                              particular, do not require anyone to                    commenter stated that immigrants are                  constitute a heavily weighted positive
                                              incur any debts.                                        more likely than citizens to work in                  factor in certain circumstances, as
                                                 Comment: A few commenters said                       low-income industries that do not                     described below) or other household
                                              that if public charge determinations are                provide health insurance or pay enough                assets and resources. DHS notes that
                                              made using credit reports or scores, it                 for employees to afford health                        such an evaluation may in some cases
                                              must be in compliance with user duties                  insurance. One commenter suggested                    require DHS to consider an alien’s
                                              under the FCRA. Specifically, the                       the agency provide more information on                publicly funded or subsidized health
                                              commenters noted that the FCRA                          how an immigrant can obtain insurance,                insurance that is not defined as a public
                                              applies to USCIS as a Government                        since employer insurance is not always                benefit under this rule. As previously
                                              agency,693 and that FCRA requires                       an option. Some commenters stated that                indicated, DHS will not base the
                                              persons to provide the consumer with a                  low-wage workers should not be denied                 inadmissibility determination on simply
                                              written notice if it takes an ‘‘adverse                 status because they lack health                       one factor but will review all the factors
                                              action’’ against that person ‘‘based in                 insurance. A couple commenters                        and circumstances in the totality of the
                                              whole or in part’’ on a credit report.694               remarked that the lack of private health              circumstances without a rating or
                                              A USCIS denial would qualify as an                      insurance in the United States provided               numerical standard.
                                              ‘‘adverse action’’ since it would be                    the rationale behind the passing of the                  Comment: Some commenters stated
                                              denying a ‘‘license or other benefit                    ACA. An individual commenter stated                   that the proposed rule, with its
                                              granted by a governmental                               that the proposed financial means to                  statement that ‘‘individuals in poor to
                                              instrumentality required by law to                      pay for medical costs factor introduces
                                                                                                                                                            fair health are more likely to access
                                              consider an applicant’s financial                       a conundrum in deciding which will be
                                                                                                                                                            public benefits to treat their medical
                                              responsibility or status.’’ 695 USCIS                   weighted more heavily: Having private
                                                                                                                                                            condition’’ erroneously suggests that all
                                              would be required to provide the                        insurance now or previously having
                                                                                                                                                            immigrants suffer from preexisting
                                              required written notice required under                  used public insurance. Another
                                                                                                                                                            conditions and that they will all access
                                              the FCRA. Some commenters stated that                   commenter stated that the proposed
                                                                                                                                                            federally subsidized health insurance.
                                              the burden caused by complying with                     standard would be double counting
                                                                                                      with other factors in the public charge                  Response: DHS disagrees that the rule
                                              the FCRA would outweigh the benefits                                                                          assumes that all immigrants suffer from
                                              from using the credit score.                            determination.
                                                                                                         Response: As explained in the NPRM,                pre-existing conditions and obtain
                                                 Response: DHS appreciates the
                                                                                                      USCIS will consider whether a person                  federally subsidized health insurance.
                                              comments. DHS agrees that it would be
                                                                                                      has health insurance or has the                       Whether a person has a medical
                                              subject to FCRA when it relied on whole
                                                                                                      household assets and resources to pay                 condition is but one factor in the totality
                                              or on part on a credit report or credit
                                                                                                      for reasonably foreseeable medical                    of the circumstances. DHS will also
                                              score obtained from a credit report or
                                                                                                      costs.696 In addition, as discussed in                consider whether the alien has the
                                              other consumer report to deny a benefit.
                                                                                                      section III.R. below, based on DHS’s                  resources to pay for reasonably
                                              In such cases, USCIS will include the
                                                                                                      review of the relevant data, DHS has                  foreseeable medical costs, and DHS will
                                              information required by 15 U.S.C.
                                                                                                      determined to designate a heavily                     consider it a heavily weighted positive
                                              1681m(a) as part of its communication
                                                                                                      weighted positive factor for having                   factor if the alien has private health
                                              with applicants. However, DHS
                                                                                                      private health insurance, so long as such             insurance, so long as such insurance is
                                              disagrees that the burden imposed upon
                                                                                                      insurance is appropriate to the expected              appropriate for the expected period of
                                              USCIS would outweigh the benefits
                                                                                                      period of admission, and the alien does               admission and the alien does not
                                              from using a credit score and will retain
                                                                                                      not receive premium tax credits under                 receive premium tax credits under the
                                              the score as part of the rule.
                                                                                                      the ACA for such insurance. DHS                       ACA for such insurance.
                                              6. Financial Means To Pay for Medical                   understands that certain individuals                     Comment: Another commenter stated
                                              Costs                                                   may choose to forego public health                    that requiring the financial means to pay
                                                 Comment: One commenter supported                     insurance, such as Medicaid, because of               for medical costs is in direct conflict
                                              the proposal to assess whether an                       the impact on public charge. The rule,                with the goals of the ACA.
                                              immigrant has private medical                           however, abides by the statutory                         Response: DHS disagrees that
                                              insurance. Another commenter                            requirement as provided in section                    requiring financial means to pay for
                                              disagreed with the proposal to include                  212(a)(4) of the Act, 8 U.S.C. 1182(a)(4),            medical costs is in conflict with the
                                              financial means to cover medical costs.                 and is consistent with congressional                  ACA. Although the ACA provides for
                                              A couple commenters stated that the                     statements relating to self-sufficiency in            affordable health insurance for a greater
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                                              requirement that an immigrant have                      8 U.S.C. 1601. As Congress indicated                  number of people, it also limits coverage
                                              sufficient assets to cover the costs of                 that the immigration policies continues               to categories of immigrants eligible for
                                                                                                      to be that, ‘‘aliens within the Nation’s              subsidies and assistance through the
                                                692 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4).   borders not depend on public resources
                                                693 15 U.S.C. 1681a(b) (including government          to meet their needs, but rather rely on                 697 See Personal Responsibility and Work
                                              agencies in the definition of persons).                                                                       Opportunity Reconciliation Act of 1996, Public Law
                                                694 15 U.S.C. 1681m(a).                                 696 See Inadmissibility on Public Charge Grounds,   104–193, section 400, 110 Stat. 2105, 2260 (Aug. 22,
                                                695 15 U.S.C. 1681b(a)(3)(D).                         83 FR 51114, 51189 (proposed Oct. 10, 2018).          1996) (codified at 8 U.S.C. 1601(2)).



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                                              ACA.698 DHS is also not limiting the                    United States for lack of education and                  Comment: A commenter stated that
                                              ability of people to receive subsidized                 that the new definition of public charge,             the proposed rule assumes that
                                              health insurance, through the ACA or                    in general, benefits the wealthy, putting             individuals who have a highly
                                              other programs. Insurance obtained                      them above hardworking families that                  recognized degree or a unique skill are
                                              from a private health insurance provider                actually help the country’s economy.                  more likely to succeed in the United
                                              through the ACA marketplace would be                    Another commenter equated the                         States, but these individuals often
                                              considered private health insurance                     education requirement to a wealth test                experience downward mobility post-
                                              under this rule, although, as explained                 with no bearing on an individual’s                    migration because their foreign degrees,
                                              more fully in section III.R below, private              potential. In contrast, a commenter                   credentials, and work experience are not
                                              health insurance for which the alien                    stated that education should be                       directly transferable to the United States
                                              receives premium tax credits under the                  considered in a public charge                         job market. The commenter further
                                              ACA would not qualify as private health                 determination because it is a key                     stated that recent data shows education
                                              insurance for purposes of the heavily                   indicator of welfare use. The commenter               is a misguided factor in a public charge
                                              weighted positive factor.                               added that, while the majority of                     determination citing one study that
                                                 Comment: A commenter stated that                     immigrants come for work and most are                 found that even though many first-
                                              the agency should provide the data used                 employed, their lack of education                     generation Americans may face issues
                                              to determine the cost of caring for                     results in low average income and heavy               with lower education levels, subsequent
                                              chronic disease treatment and that the                  use of means-tested benefits programs.                generations dramatically improve their
                                              agency should further their analysis to                 The commenter expressed support for                   educational profiles. Another
                                              reflect the cost to taxpayers. They                     an even higher standard and suggested                 commenter stated that being employed
                                              further stated that DHS should illustrate               that if an applicant has only a high                  or currently enrolled in STEM (science,
                                              how immigrants could access health                      school education or did not graduate                  technology, engineering, and
                                              insurance.                                              high school, the burden must be on the                mathematics) or information technology
                                                 Response: The NPRM included a                        applicant to show they will not be a                  (IT) fields should be listed as a positive
                                              discussion of healthcare costs, and the                 public charge. Another commenter                      factor.
                                              importance of considering an                            stated that, while the proposed                          Response: As previously indicated,
                                              individual’s health when making the                     evidentiary criteria to support the                   education and skills is a mandatory
                                              determination of public charge. DHS                     education requirement are all                         factor established by Congress.701 DHS
                                              does not believe a more detailed                        reasonable to consider as contributing                would individually review a person’s
                                              analysis of the costs associated with                   factors, it is critical that they not be              education and skills to determine
                                              chronic disease treatment is necessary.                 treated as separate elements, but as                  whether they are able to maintain or
                                              DHS does not have current information                   distinct ways to prove education and                  obtain employment to avoid becoming a
                                              on all available health insurance plans,                skills. The commenter concluded that                  public charge. As occupations vary in
                                              however, an applicant can seek                          treating each of these elements as                    education and skills requirements, DHS
                                              information through HHS or through                      separate factors is inconsistent with                 is not limiting its review to specific
                                              their local government.                                 congressional intent and the general                  education or occupations. Therefore,
                                                 Comment: Many commenters stated                      concept of a totality of the                          DHS does not find it necessary to
                                              that this factor would negatively and                   circumstances approach.                               specify in the rule education and
                                              disproportionately affect people with                      Response: When Congress amended                    occupations in STEM or other similar
                                              disabilities; people with chronic health                section 212(a)(4) of the Act, 8 U.S.C.                fields. It is DHS’s intent that officer
                                              conditions; immigrants of color; Asian                  1182(a)(4), it directed officers to                   should examine every consideration,
                                              Americans; victims of human                             consider the alien’s education and                    including education and skills, set forth
                                              trafficking; farmworkers; and survivors                 skills, and the rule implements                       by the alien in the totality of the
                                              of sexual abuse and violence.                           Congress’s directive on this mandatory                circumstances when ascertaining
                                                 Response: DHS does not intend to                     statutory factor. Additionally, DHS cited             whether an alien is likely to become a
                                              disproportionately affect such groups.                  in the NPRM to various studies and data               public charge based upon the
                                              The rule abides by the requirements as                  supporting the concept that a person’s                applicability of the alien’s education
                                              provided in section 212(a)(4) of the Act,               education and skills, including skills in             and skills to available employment at
                                              8 U.S.C. 1182(a)(4), and is consistent                  the English language, are correlated to               the time of adjudication.
                                              with congressional statements relating                  an individual’s self-sufficiency and                     Comment: Commenters stated that the
                                              to self-sufficiency in 8 U.S.C. 1601. As                therefore a positive factor.699 The goal of           education requirement discriminates
                                              Congress indicated that the immigration                 this rule is to ensure an alien’s self-               against farm workers and other trade
                                              policies continues to be that, ‘‘aliens                 sufficiency and therefore, the                        workers because they may not have a
                                              within the Nation’s borders not depend                  implementation of this factor, as                     formal education, but could have been
                                              on public resources to meet their needs,                proposed by the NPRM, is consistent                   working in the United States for many
                                              but rather rely on their own capabilities               with congressional statements relating                years. A commenter indicated that,
                                              and the resources of their families, their              to self-sufficiency in 8 U.S.C. 1601. DHS             while individuals that lack a high
                                              sponsors, and private organizations.’’                  will review and consider evidence                     school or equivalent education generally
                                                                                                      brought forward by the applicant,                     earn less than persons with more formal
                                              M. Education and Skills                                                                                       education, they have many
                                                                                                      including, but not limited to, evidence
                                              1. Education                                            of the alien’s employment history; an                 opportunities for gainful employment.
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                                                                                                      alien’s degrees; occupational skills,                 The commenter noted that there are
                                                 Comment: A commenter said that it                                                                          numerous jobs with no formal
                                              should be unlawful to preclude                          licenses or certifications; and evidence
                                                                                                      of the alien’s and proficiency in                     educational requirement, primarily in
                                              individuals from immigrating to the                                                                           the agricultural, food processing and
                                                                                                      English.700
                                                698 See Healthcare.gov, Immigration status and
                                                                                                                                                            preparation, and building trades sectors,
                                              the Marketplace, available at https://                    699 See Inadmissibility on Public Charge Grounds,   which are essential to the economy.
                                              www.healthcare.gov/immigrants/immigration-              83 FR 51114, 51189–96 (proposed Oct. 10, 2018).
                                              status (last visited July 24, 2019).                      700 See 8 CFR 212.22(a).                              701 See   INA section 212(a)(4), 8 U.S.C. 1182(a)(4).



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                                              Another commenter said consideration                    Salvador, and China, are less likely to               lawful permanent resident status unless
                                              of an immigrant’s educational level is                  have completed high school, and are                   the applicant holds a skill that is in high
                                              impermissible under the governing                       therefore, less likely to overcome a                  demand and for which the market pays
                                              statute, in light of that factor’s failure to           negative assessment based on this                     a high salaries. Additionally, DHS
                                              accurately predict a likelihood of                      factor. Similarly, a commenter stated                 disagrees that it does not give sufficient
                                              reliance on public benefits. The                        that the negative weight for lack of a                weight to the education standard: The
                                              commenter suggested that studies have                   high school diploma and lack of                       public charge assessment considers each
                                              shown that low-skilled and low-                         employment history would impact a                     factor and circumstance applicable to
                                              educated immigrant men demonstrate                      significant portion of women from                     the alien and each factor is accordingly
                                              ‘‘substantially higher rates of                         Asian countries who are adjusting their               weighted to determine whether an alien
                                              employment’’ than do comparable                         status.                                               will be self-sufficient while in the
                                              native-born men, particularly because of                   Response: DHS will examine the                     United States. The DHS standard
                                              migrant selectivity in deciding where to                totality of the individual’s                          recognizes, consistent with the statute,
                                              locate and work. The commenter                          circumstances, regardless of the                      that it is possible that an alien’s other
                                              concluded by saying lack of a formal                    individual’s nationality, sex or other                positive factors may outweigh the lack
                                              secondary education does not indicate,                  characteristic, to assess whether the                 of formal education with the result that
                                              among immigrant populations, a                          individual is likely to become a public               an alien is not deemed to be likely at
                                              likelihood of becoming a public charge                  charge in the future. Among the factors               any time in the future to become a
                                              and indicates the contrary.                             to consider, education and skills is but              public charge.
                                                 Response: As indicated above,                        one factor and is not outcome                            Comment: Several commenters
                                              education is one of the mandatory                       determinative on its own. When                        expressed concern over the negative
                                              factors in section 212(a)(4) of the Act, 8              evaluating whether the alien has                      assessments that individuals with
                                              U.S.C. 1182(a)(4) that DHS must                         adequate education or skills to either                disabilities may encounter under the
                                              consider in the public charge                           obtain or maintain employment, USCIS’                 education and skills factor in public
                                              determination. Employment history will                  considerations include, but are not                   charge determination. One commenter
                                              also be considered in the public charge                 limited to the alien’s past employment                noted that in order to work and go to
                                              inadmissibility determination to                        history; whether the alien has a high                 school, many individuals with
                                              determine whether the alien may obtain                  school degree or its equivalent, or any               disabilities rely upon Medicaid-funded
                                              or maintain employment. Therefore,                      higher education; whether the alien has               services that would be considered in the
                                              while the lack of formal education such                 any occupational skills, certifications or
                                                                                                                                                            public charge inadmissibility
                                              as the lack of a high school diploma or                 licenses; and the alien’s proficiency in
                                                                                                                                                            determination’s assets, resources and
                                              other education, are generally a negative               the English or other languages in
                                                                                                                                                            financial status factor, and will also
                                              consideration, the alien’s employment                   addition to English. DHS also
                                                                                                                                                            impact the education and skills factor.
                                              history as well as any occupational                     encourages the applicant to bring
                                              skills, certifications or licenses are                  forward any consideration he or she                      A few commenters added that
                                              generally positive considerations. DHS                  believes are relevant to the                          unemployment rates for individuals
                                              agrees that there are many opportunities                determination whether the alien has                   with disabilities are drastically higher
                                              for gainful employment, but DHS                         sufficient education or skills to not                 than those for individuals without
                                              disagrees that consideration of an                      become a public charge at any time in                 disabilities. Many commenters
                                              immigrant’s educational level is                        the future.                                           addressed how the education
                                              impermissible as it is part of Congress’                   Comment: A commenter stated that                   requirements might negatively affect
                                              mandatory factors to consider in section                the level and quality of the education                immigrants with disabilities, arguing
                                              212(a)(4) of the Act, 8 U.S.C. 1182(A)(4).              attained by a prospective immigrant can               that disparity in education and
                                              Additionally, the NPRM showed a clear                   help predict how likely they are to                   educational barriers for people with a
                                              link between increased education and                    become a public charge and suggested                  disability have been ongoing in the
                                              increased employability, employment                     prioritizing higher education in the                  United States for generations, resulting
                                              productivity, as well as earnings, and a                immigration process. The commenter                    in lower rates of high school
                                              reduction in public benefits use.702                    stated that immigrants with a high                    completion, and great disparities exist
                                                 DHS will consider a range of evidence                school education or less should not                   when comparing the attainment of
                                              as to education and skills. To clarify                  qualify for a green card unless the                   higher-level degrees. A couple of
                                              additional types of documentation that                  applicant holds a skill(s) that is in high            commenters said attaining education
                                              establishes a steady employment                         demand and can be expected to earn a                  and employment are areas where many
                                              history, DHS has revised the evidentiary                high enough salary that they would not                people with disabilities often face
                                              considerations in the rule to indicate                  need to enroll in any welfare programs.               significant discrimination based on their
                                              that applicants should include federal                  Another commenter said not enough                     disability.
                                              tax return transcripts for the previous 3               weight is being given to an education                    Response: DHS appreciates the
                                              years, if applicable, or, if the alien was              standard, noting that while 37 percent                comments and understands that
                                              not required to file federal income taxes,              of households headed by noncitizens                   employment opportunities individuals
                                              other probative evidence of the alien’s                 with at least some college use welfare,               with disabilities are different. Officers
                                              employment history including Form W–                    the rate rises to 81 percent for                      will not find an individual inadmissible
                                              2 for the previous 3 years.                             households headed by noncitizens with                 solely on account of his or her
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                                                 Comment: Some commenters stated                      only a high school diploma or less.                   education, skills, or his or her disability.
                                              that an education requirement would be                     Response: Congress legislates which                Rather, officers will assess, based on the
                                              more difficult for immigrant women,                     individuals should be qualified for                   totality of the circumstances, whether
                                              stating that immigrant women from                       lawful permanent resident status, and                 the individual is likely to be self-
                                              certain countries, such as Mexico, El                   not DHS. Therefore, DHS cannot                        sufficient. As indicated in the NPRM,703
                                                                                                      implement the suggestion that
                                                702 See Inadmissibility on Public Charge Grounds,     immigrants with a high school                           703 See Inadmissibility on Public Charge Grounds,

                                              83 FR 51114, 51189–97 (proposed Oct. 10, 2018).         education or less should not qualify for              83 FR 51114, 51184 (proposed Oct. 10, 2018).



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                                              Federal laws 704 and regulations prohibit                factors in the public charge                          identifies a substantial burden on his,
                                              discrimination against individuals with                  determination, the commenter                          her, or an organization’s exercise of
                                              disabilities. DHS recognizes that                        expressed concern that religious                      religion such that the RFRA may require
                                              individuals with disabilities and other                  workers would be immediately                          specific relief from any provision of this
                                              conditions make substantial                              disadvantaged.                                        rule may assert such a claim.707
                                              contributions to the American economy.                      Additionally, the commenter                           Among the requirements for a special
                                              DHS has analyzed these laws and                          expressed concern about the                           immigrant religious worker, the
                                              regulations, and has determined that                     administrative and economic burden                    sponsoring religious organization must
                                              assessing an alien’s education and                       imposed on religious organizations to                 provide an attestation, attesting, among
                                              skills, including work history, is not                   demonstrate that special immigrant                    other things, that the employee will be
                                              inconsistent with adhering to non-                       religious workers are not likely to                   employed at least 35 hours a week, and
                                              discrimination requirements with                         become a public charge. The commenter                 that the worker will be provided a
                                              respect to individuals with disabilities.                indicated that sponsors of religious                  complete package of salaried or non-
                                                 Comment: A commenter expressed                        workers may not possess the financial                 salaried compensation.708 As part of the
                                              concern that adjudicators would apply                    ability of typical U.S. employers. The                petition, the employer provides detailed
                                              the education and skills factor                          commenter also stated that the                        evidence as to the compensation
                                              inconsistently with respect to the                       imposition of additional documentary                  package being offered to the religious
                                              mission and duties of certain religious                  and form requirements to demonstrate                  worker, which may include salaried and
                                              workers. The commenter stated that                       that a religious worker is not likely to              non-salaried compensation, such as
                                              qualifying religious workers come from                   become a public charge would increase                 room, board and other remuneration.709
                                              diverse educational backgrounds and                      costs to the religious worker sponsor.                Additionally, as part of the attestation,
                                              perform a diverse range of work duties,                  The commenter indicated that these                    the sponsoring religious organization
                                              depending on the nature and mission of                   organization will maximize their                      also has to demonstrate the ability and
                                              the religious order. The commenter                       resources to serve their mission in the               intention to compensate the alien at a
                                              stated that work duties may include                      Catholic Church, and that to impose                   level at which the alien and
                                              duties that do not produce any income                    additional economic burdens on U.S.                   accompanying family members will not
                                              at all, such as meditation and prayer, in                religious organizations seems contrary                become public charges, and that funds
                                              those orders that pursue a more                          to American values of religious freedom               to pay the alien’s compensation do not
                                              monastic way of life. Another                            and liberty.                                          include any monies obtained from the
                                              commenter stated that the proposed                          Finally, the commenter expressed                   alien, excluding reasonable donations or
                                              education and skills factor could                        concern about the rule’s negative impact              tithing to the religious organization.710
                                              negatively impact those seeking visas as                 on individuals and communities in the                 To the extent that the sponsoring
                                                                                                       United States. The commenter stated                   religious organization complies with
                                              religious workers.
                                                                                                       that many international religious                     these evidentiary requirements with
                                                 A commenter suggested that DHS
                                                                                                       workers play a vital role in the daily                respect to the religious worker’s
                                              exempt special immigrant religious
                                                                                                       lives of individuals and families in the              compensation package, DHS does not
                                              worker category 705 from public charge
                                                                                                       United States. In addition to the                     anticipate, in general, that special
                                              inadmissibility determinations or clarify
                                                                                                       spiritual and ministerial role played,                immigrant religious workers, including
                                              that these workers would still be
                                                                                                       many religious workers also participate               those who have taken a vow of poverty
                                              admissible. The commenter stated that
                                                                                                       in activities and duties supporting the               are disadvantaged regarding
                                              the regulations define a religious
                                                                                                       communities directly. Therefore, the                  consideration of their income, assets
                                              vocation as a ‘‘formal lifetime                          commenter requested clarification these
                                              commitment . . . to a religious way of                                                                         and resources because the sponsoring
                                                                                                       special immigrant religious workers                   religious organization provides
                                              life’’ and cover religious workers who                   continue to qualify for the status or be
                                              have taken a vow of poverty. The                                                                               compensation to the religious worker
                                                                                                       exempt from public charge.                            such that the religious worker would
                                              commenter indicated that as part of the                     Response: DHS acknowledges that
                                              vow of poverty, many religious workers                                                                         generally be relying on private rather
                                                                                                       special immigrant religious workers,                  than on public benefits.
                                              relinquish personal property and assets,                 and immigrants who perform religious                     Additionally, DHS does not believe
                                              and are not permitted by their religious                 work generally, provide valuable                      that considering the education and
                                              order to receive compensation. Instead,                  contributions to the United States and                skills of a religious worker applicant
                                              their religious order or community                       are in a special position, as                         may result in inconsistent adjudications
                                              obligates itself to provide non-salaried                 acknowledged by Congress in the                       or violate due process. As explained
                                              support to its vowed member, such as                     special immigrant religious worker                    above, DHS is required to consider an
                                              room and board, health insurance, a                      classification.706 Congress, however, did             applicant’s education and skills as part
                                              small allowance, etc. In addition, the                   not exempt these workers from the                     of the public charge inadmissibility
                                              commenter stated that a religious order                  public charge ground of inadmissibility               determination. As provide in the rule,
                                              may be obligated to support this                         and, therefore, DHS will not exempt                   when considering an alien’s education
                                              member as long as they remain a                          them in this rule. As noted elsewhere in              and skills, DHS will consider whether
                                              member. Given that ‘‘assets, resources,                  this final rule, DHS believes that this               the alien has adequate education and
                                              and financial status’’ is one of the main                regulation, and other provisions of the               skills to either obtain or maintain
                                                                                                       INA and implementing regulations, can
                                                704 See, e .g., the Rehabilitation Act of 1973, Pub.
                                                                                                       be administered consistently with the
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                                                                                                                                                                707 Note that that individuals ‘‘located outside
                                              L. 93–112, 87 Stat 355 (Sept. 26, 1973) (codified as
                                              amended, in pertinent part, at 29 U.S.C. 794), the       RFRA. DHS acknowledges that any                       sovereign United States territory at the time their
                                              Americans with Disabilities Act of 1990, Pub. L.         individual or organization who                        alleged RFRA claim arose’’ are not ‘‘person[s]’’
                                              101–336, 104 Stat. 327 (July 26, 1990) (codified as                                                            within the meaning of RFRA. Rasul v. Myers, 512
                                              amended at 42 U.S.C. 12101–12213), and the                 706 For example, special immigrant religious        F.3d 644, 672 (DC Cir.), cert. granted, judgment
                                              Individuals with Disabilities Education Act (IDEA),                                                            vacated on other grounds, 555 U.S. 1083 (2008).
                                                                                                       workers under INA section 101(a)(27)(C), 8 U.S.C.
                                                                                                                                                                708 See 8 CFR 204.5(m)(7)(vi), (vii), and (xii).
                                              Pub. L. 108–446, 118 Stat 2647 (Dec. 3, 2004).           1101(a)(27)(C) qualify for adjustment of status
                                                705 See INA section 101(a)(27)(C), 8 U.S.C.                                                                     709 See 8 CFR 204.5(m)(10).
                                                                                                       under INA section 245(a), notwithstanding certain
                                              101(a)(27)(C).                                           bars under INA section 245(c).                           710 See 8 CFR 204.5(m)(7)(xii).




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                                              employment in a lawful industry with                    strong connection between better basic                relatively large standard error should
                                              income that is sufficient to avoid being                skills and higher earnings, which means               not be interpreted to mean that the
                                              more likely than not to become a public                 that as an immigrant improves their                   underlying rate being estimated is low.
                                              charge. In the context of a special                     reading, math, and spoken English                     Findings from the SIPP tables were only
                                              immigrant religious worker, the relevant                skills, they will be better able to                   discussed in the text of the NPRM if
                                              is question is whether the alien’s skills               contribute economically to American                   they are significant at the 95 percent
                                              are suitable for the alien’s intended                   society. Stating that data demonstrates               confidence level.
                                              occupation. DHS will not assume that                    that the use of cash benefits by                         DHS understands that aliens may
                                              the religious worker will be likely to                  immigrant populations that are not                    improve their English skills in the
                                              receive a public benefit because of the                 English-proficient is so low as to be                 future. The Form I–944 does allow a
                                              nature of the employment or lack of                     within the study’s margin of error, a                 person to identify any courses or
                                              income at the indicated threshold.                      commenter reasoned that many                          certifications in English. Furthermore,
                                              Instead, DHS would consider provisions                  immigrants with limited English                       DHS is not mandating English
                                              for housing, food, and medical care                     proficiency (LEP) are taxpaying business              proficiency for admissibility.
                                              provided by the religious institution as                owners, or work in white collar or blue-              Proficiency in English is one positive
                                              available resources.                                    collar jobs. The commenter further                    aspect for purposes of the education and
                                                 Further, this rule is not intended to                noted that although lack of English-                  skills factor to establish an alien’s
                                              negatively impact special immigrant                     speaking skills may be a hindrance to                 ability to obtain or maintain
                                              religious workers or communities in                     obtaining certain employment,                         employment and that the alien,
                                              which such workers would reside.                        proficiency in a foreign language may                 therefore, would be self-sufficient. Lack
                                              Rather, this rule is aimed at better                    bolster an immigrant’s ability to obtain              of English proficiency alone would not
                                              ensuring that those seeking admission to                other employment. One commenter                       establish public charge inadmissibility,
                                              the United States are self-sufficient and               suggested investing in English language               but would be one consideration in the
                                              rely on their own resources and the                     learning programs instead of                          totality of the circumstances.
                                              resources of their sponsors and private                 ‘‘punishing’’ immigrants for lack of                     Comment: One commenter stated that
                                              organizations.                                          English language proficiency. Another                 requiring English language proficiency
                                                                                                      commenter reasoned that the ability to                could extend to all kinds of visas, which
                                              2. Language Proficiency                                                                                       could have a negative impact on
                                                                                                      immigrate lawfully increases
                                                 Comment: A commenter said that it                    opportunities and ability to improve                  tourism.
                                              should be unlawful to preclude                          English and by limiting access to legal                  Response: DHS reiterates that is not
                                              individuals from immigrating to the                     immigration, the rule would perpetuate                imposing an English proficiency
                                              United States because of a language                     an underclass of immigrants who                       requirement on nonimmigrants or
                                              barrier and that the new definition of                  continue to be prohibited from service                immigrants—it is merely a
                                              public charge, in general, benefits the                 that could improve their lives, including             consideration within the totality of the
                                              wealthy, putting them above                             their English.                                        circumstances when determining for an
                                              hardworking families that actually help                    Response: DHS disagrees with the                   immigrant applying for adjustment of
                                              the country’s economy. One commenter                    commenters’ suggestions to remove                     status whether the alien is more likely
                                              said the United States has no official                  English language proficiency as a                     than not to become a public charge in
                                              language, so there should be no                         consideration in the public charge                    the United States. As previously
                                              language requirement. Many                              inadmissibility determination. DHS is                 discussed, DHS has removed the
                                              commenters stated that requiring                        not mandating English proficiency for                 forward-looking aspect of the public
                                              English proficiency would mark a                        admissibility. DHS recognizes that                    benefits condition for extension of stay
                                              fundamental change from the nation’s                    individuals who lack English                          and change of status applications.
                                              historic commitment to welcoming and                    proficiency may already participate in                Therefore, lack of English proficiency
                                              integrating immigrants. A couple of                     the workforce or may be able to obtain                will not impact nonimmigrant visitors
                                              commenters stated that the rule                         employment. However, as discussed in                  or the tourism industry. Further,
                                              acknowledges the centrality of English                  the NPRM,711 people with the lowest                   nonimmigrants seeking extension of
                                              language skills to economic self-                       English speaking ability tend to have the             stay or change of status are not subject
                                              sufficiency, but individuals commonly                   lowest employment rate, lowest rate of                to the public charge ground of
                                              improve their English skills through                    full-time employment, and lowest                      inadmissibility under section 212(a)(4)
                                              participation in education programs and                 median earnings. Further as illustrated               of the Act, 8 U.S.C. 1182(a)(4).
                                              rely on Medicaid or other public                        in Table 24 in the NPRM, among the                    Nonetheless, B nonimmigrant visitors
                                              benefits to enable them to succeed in                   noncitizen adults who speak a language                would have to establish that they have
                                              their English language classes. A                       other than English at home, the                       maintained their status and that they
                                              commenter indicated that the expanded                   participation rates for both cash and                 have not received, since obtaining the
                                              negative weights for English language                   non-cash benefits are higher among                    nonimmigrant status that they are
                                              proficiency and educational/skills                      those who do not speak English well, or               seeking to extend or change, any public
                                              attainment conflict with longstanding                   at all, than among those who speak the                benefits as defined in 8 CFR 212.21(b),
                                              policy and principles that support                      language well. The margin of error of an              for 12 months in the aggregate within a
                                              upward mobility and self-sufficiency.                   estimate, and likewise its standard error,            36-month period.
                                                 Some commenters indicated that                       are affected by the number of people                     Comment: A few commenters stated
                                              individuals who rely on Medicaid or                                                                           that most people who settle here
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                                                                                                      surveyed to construct the estimate,
                                              other public benefits to enable them to                 which in the case of a percentage or rate             permanently will develop English
                                              succeed in their English language                       will include those who respond that                   proficiency by the time they become
                                              classes could be discouraged from                       they have the characteristic and those                citizens. These commenters reasoned
                                              continuing their education and                          who respond that they do not. A                       that this is why is there is no English
                                              improving their employability by fear of                                                                      language test until an individual is
                                              being found a public charge. Some                         711 See Inadmissibility on Public Charge Grounds,   being naturalized and that this method
                                              commenters cited research showing a                     83 FR 51114, 51195–96 (proposed Oct. 10, 2018).       provides several years for immigrants to


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                                              immerse themselves in the English                       individuals who communicate through                   force than men and more than twice as
                                              language. Another commenter stated                      assistive devices, and immigrants with                likely to work in low-wage service
                                              that Congress made English proficiency                  intellectual and developmental                        occupations as women with English
                                              a requirement for citizenship and not                   disabilities.                                         proficiency, and older immigrants with
                                              the initial stage of becoming a legal                      Response: DHS disagrees that the rule              LEP. Another commenter stated that the
                                              permanent resident and that imposing                    discriminates against deaf immigrants or              proposed rule will cause additional
                                              an English proficiency requirement in                   other disabilities. DHS does not                      harm to trafficking survivors who have
                                              this rule bypasses Congress. A                          mandate English proficiency as a pre-                 yet to gain proficiency in English
                                              commenter stated that the rule penalizes                requisite for legal immigration or as a               because they have newly entered the
                                              people for speaking languages other                     determinative factor within the public                United States or have been intentionally
                                              than English, an English proficiency                    charge inadmissibility determination.                 barred from learning English or
                                              requirement places strain on shared                     Adjudicators would not consider it a                  accessing education by their traffickers.
                                              heritage as a source of social support                  negative factor for a deaf immigrant to               Another commenter said that DHS’s
                                              and resiliency, as well as creates                      read and write English but not speak it.              analysis fails to account for the fact that
                                              redundancy given that our immigration                   And in view of ADA requirements                       many immigrants reside in
                                              systems requirement of English fluency                  applicable to employers, adjudicators                 multigenerational households where the
                                              for citizenship. A commenter asserted                   would give equal weight to a deaf                     English-speaking capacity of younger
                                              that while English has long been a                      immigrant’s ability to communicate                    generations serves to benefit older
                                              requirement for those seeking to become                 through American Sign Language. An                    generations that do not speak English as
                                              naturalized citizens of the United States,              alien’s Form I–693 may also establish                 readily. The commenter also noted that
                                              the rule would create an English                        that a person has a hearing or speech                 the vast majority of immigrants to the
                                              language requirement for nonimmigrant                   disorder, for which DHS would provide                 United States have not been English-
                                              visas, family-based, and employment-                    the appropriate accommodation for any                 speaking and this has not prevented
                                              based visas, even when a language                       interview. Although DHS may consider                  immigrants from becoming contributing
                                              requirement is already a consideration,                 any medical condition in the totality of              members of their communities. Some
                                              and even where it is irrelevant. A                      the circumstances, the fact that an alien             commenters addressed the adverse
                                              commenter stated that the proposed                      is deaf or hard of hearing or has hearing             impact of the rule on immigrants of
                                              English-language proficiency factor                     or speech disabilities, communicates                  Asian descent because nearly three out
                                              would reduce family reunification.                      through assistive devices, or that the                of four speak languages other than
                                                 Response: DHS is not imposing an                     alien has intellectual and                            English at home and 35 percent have
                                              English proficiency requirement or as a                 developmental disabilities will not                   limited English proficiency. Other
                                              factor that is outcome determinative in                 alone lead to a determination of                      commenters stated that this requirement
                                              the public charge determination.                        inadmissibility based on the public                   favors immigrants from wealthier,
                                              English proficiency is among the                        charge ground.                                        European countries and potentially
                                              considerations evaluated when                              Comment: Some commenters stated                    disfavor immigrants from Latin
                                              assessing education and skills; the alien               that USCIS does not have the authority                America, Africa, Asia, the Caribbean,
                                              may submit any evidence relevant to the                 to impose an official language and that               Asia, South America and more.
                                              factor.                                                 there is no law that allows the                          Response: DHS disagrees that the rule
                                                 DHS understands that certain                         Government to prefer those who speak                  imposes a language requirement or
                                              individual’s English will improve over                  English over those with LEP. Others                   impedes LEP individuals from entering
                                              time in the United States and that the                  stated that considering English                       the United States. DHS is not imposing
                                              ability to read, write and understand the               proficiency in the public charge                      an English proficiency requirement for
                                              English language is tested as part of                   determination violates constitutional                 admission to the United States, but
                                              naturalization proceedings. However,                    and statutory mandates prohibiting                    solely uses English proficiency as one
                                              DHS has established, through data                       language-based discrimination, which                  consideration among others when
                                              presented in the NPRM, that an                          the Supreme Court has interpreted as a                assessing an alien’s education and
                                              individual’s inability to speak and                     form of national origin discrimination.               skills. Additionally, DHS disagrees that
                                              understand English may adversely affect                 One commenter stated that by                          considering an alien’s proficiency in the
                                              an alien’s employability, and may                       discriminating based on English                       English language as a consideration
                                              increase receipt of public benefits.712                 language proficiency the proposed rule                impermissibly discriminates on the
                                              Therefore, DHS will consider the                        violates laws banning national origin                 basis of national origin or otherwise
                                              applicant’s proficiency as one of the                   discrimination. Several commenters                    violates the Equal Protection Clause.
                                              consideration for purposes of assessing                 cited several Federal civil rights acts               Courts have applied rational basis
                                              education and skills; DHS will consider                 that show LEP persons are protected                   scrutiny to immigration regulations
                                              any factor applicable to the alien in the               from discrimination on the basis of                   applicable to aliens,713 and there is a
                                              totality of the circumstances. DHS                      English proficiency and those acts
                                              would also consider whether the alien                   included Title VI, the Civil Rights Act,                 713 Korab v. Fink, 797 F.3d 572, 577–79 (9th Cir.

                                                                                                      the ACA, and more. Other commenters                   2014) (‘‘[F]ederal statutes regulating alien
                                              is already employed or has education                                                                          classifications are subject to the easier-to-satisfy
                                              and skills that would allow the alien to                indicated that the INA, the U.S.                      rational-basis review . . . Although aliens are
                                              obtain or maintain employment and                       Constitution’s Equal Protection Clause                protected by the Due Process and Equal Protection
                                              avoid becoming a public charge.                         and other authority demonstrate that                  Clauses, this protection does not prevent Congress
                                                                                                                                                            from creating legitimate distinctions either between
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                                                 Comment: Some commenters                             individuals cannot be discriminated
                                                                                                                                                            citizens and aliens or among categories of aliens
                                              suggested that including English                        against on the basis of LEP.                          and allocating benefits on that basis . . . The
                                              proficiency in the factor discriminates                    Many commenters stated that                        difference between state and federal distinctions
                                              against deaf immigrants, individuals                    consideration of English language                     based on alienage is the difference between the
                                                                                                      proficiency would disproportionately                  limits that the Fourteenth Amendment places on
                                              with hearing or speech disabilities,                                                                          discrimination by states and the power the
                                                                                                      impact women with LEP, citing to                      Constitution grants to the federal government over
                                                712 See Inadmissibility on Public Charge Grounds,     studies indicating that women with LEP                immigration.’’) (citation omitted); Lewis v.
                                              83 FR 51114, 51190–97 (proposed Oct. 10, 2018).         are less likely to participate in the labor                                                      Continued




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                                              rational and non-discriminatory basis                   level of self-sufficiency as jobs that may            rule and in Form I–944, which includes
                                              for consideration of English proficiency                be held by an individual who are able                 questions on education and language
                                              as an element of the education and                      to effectively communicate in English                 skills. In general, certifications in a
                                              skills factor. As explained in the NPRM,                and who may be employed in a higher                   language or other evidence
                                              consideration of English proficiency in                 skilled, higher paying job. Therefore,                demonstrating an alien’s education in
                                              determining whether an applicant is                     DHS has retained the consideration of                 the English and any other languages, for
                                              likely to become a public charge is                     English proficiency.                                  example, may demonstrate that the alien
                                              based on the fact that an inability to                     The consideration of English                       has attained some proficiency in the
                                              speak and understand English may                        proficiency is thus based on the                      English language or another language.
                                              adversely affect whether an alien can                   factually neutral likelihood of someone               DHS is not requiring an English
                                              obtain employment,714 which is                          obtaining sufficient employment to                    proficiency written test or provide a
                                              consistent with the Census Bureau                       avoid becoming a public charge and not                reading or writing test. Instead, DHS
                                              study cited in the NPRM.715 During the                  on a discriminatory motive. The alien is              would review the documentation of
                                              drafting of this final rule, DHS also                   not precluded from bringing forth any                 English proficiency such as
                                              considered the Social Security                          other consideration, which will be                    certifications or an alien’s transcript for
                                              Administration analysis published in                    considered under the circumstances of                 a course of study that was primarily in
                                              that agency’s notice of proposed                        the particular alien.                                 English (such as a native speaker’s
                                              rulemaking that showed high levels of                      Comment: A commenter stated the                    secondary school transcript). In
                                              labor market participation among                        agency should indicate how it would                   addition, USCIS may confirm an alien’s
                                              individuals with LEP, and an increase                   test English language proficiency, as                 speaking and understanding of the
                                              in LEP labor market participants over                   developing a test similar to the                      English language through the question
                                              time.716 Upon considering this                          citizenship test would be costly in terms             and answer process of the I–485 form
                                              information, DHS believes, however,                     of development, training for                          during the adjustment of status
                                              that while individuals with LEP may be                  immigration officers, and the time it                 interview.
                                              working in the United States, the jobs                  takes to conduct the test at each                        Comment: A commenter stated that
                                              these individuals may be holding low                    individual interview. A few commenters                English proficiency is not required for
                                              skilled jobs which are typically                        said the rule has no fair or narrowly                 employment in the United States and
                                              available at lower pay. Because the                     tailored process for assessing language               cited employment statistics that indicate
                                              purpose of this rule is to ensure that                  ability, which will result in arbitrary               there is demand for a workforce that is
                                              aliens are self-sufficient, such lower                  decisions and will lead to abuse of                   not necessarily proficient in English.
                                              paying jobs may not denote the same                     discretion and discriminatory conduct.                Other commenters asserted that the
                                                                                                      The commenters also stated that the                   proposed rule fails to consider that
                                              Thompson, 252 F.3d 567, 570 (2d Cir 2001) (citing       proposed rule does not explain how                    immigrants may travel and secure
                                              Lake v. Reno, 226 F.3d 141, 148 (2d Cir. 2000) (‘‘We    DHS will make this determination and                  employment in other areas where
                                              have recently recognized that a ‘highly deferential’    does not explain what level of English                multiple languages are spoken alongside
                                              standard is appropriate in matters of immigration
                                              . . . .’’)).
                                                                                                      language proficiency is needed, how                   English. Similarly, other commenters
                                                 714 Inadmissibility on Public Charge Grounds, 83     individuals can demonstrate that ability,             indicated that this rule assumes that
                                              FR 51114, 51195 (proposed Oct. 10, 2018).               or how staff will verify the appropriate              non-English speakers cannot perform
                                                 715 See Jennifer Cheeseman Day and Hyon B.           level. A few commenters stated that, if               jobs where English is not required,
                                              Shin, U.S. Census Bureau, How Does Ability to           English proficiency is to be considered,              citing agriculture as an example and
                                              Speak English Affect Earnings? 2 (2005), available
                                              at https://www.census.gov/hhes/socdemo/language/
                                                                                                      there needs to be a clear definition for              claiming the H–2A visa program itself
                                              data/acs/PAA_2005_AbilityandEarnings.pdf (last          what that means and how it will be                    does not require English to work
                                              visited July 26, 2019).                                 determined and not left to the USCIS’                 temporarily in agriculture. Many
                                                 716 Removing Inability To Communicate in             opinion or sole determination. Another                commenters indicated that this rule
                                              English as an Education Category, Proposed Rule,        commenter expressed similar concerns                  would improperly reject many people
                                              84 FR 1006, 1008 (Feb. 1, 2009). (‘‘In absolute
                                              numbers, the working age population (ages 25–64)
                                                                                                      over how the English proficiency                      with practical job skills doing essential
                                              with LEP increased from approximately 5.4 to 17.8       requirement would be measured,                        work in our economy that have limited
                                              million between 1980 and 2016, while more than          remarking that the NPRM does not                      formal education and English
                                              doubling, from 5.1% to 10.5%, as a percentage of        indicate what tests might be employed,                proficiency and highlighted
                                              the population. Within this group, the number of
                                              individuals who spoke no English more than
                                                                                                      whether they would be standardized,                   farmworkers as an example.
                                              quadrupled from approximately 682,000 to 2.8            what questions might be asked so that                    Response: DHS understands that
                                              million (representing growth from 0.6% to 1.7%, as      a test is administered uniformly,                     English proficiency is not be required to
                                              a percentage of the working age population).            whether an adjudicator would perform                  be employed in the United States. DHS
                                              Between 1980 and 2016, the number of non-English        the test, whether there would be
                                              speaking workers in the 25–64 age range grew from                                                             is not requiring or mandating English
                                              approximately 373,000 to 1.7 million. During the        exceptions or accommodations                          proficiency as a requisite to immigrating
                                              same period, the labor force participation rate for     available, whether the test would be in               to the United States. English proficiency
                                              working age individuals who speak no English            writing or administered orally, and how               is a consideration in the assessment
                                              increased from approximately 54.7% to 61.5%.41.         an officer would evaluate an applicant’s
                                              Notably, considering the working age population                                                               whether the alien possesses education
                                              with ‘‘less than high school diploma,’’ the 2016        proficiency in other languages.                       and skills sufficient to maintain or
                                              labor force participation rate for those speaking no       Response: DHS disagrees with some                  obtain employment as to not likely to
                                              English (60.5%) surpassed the labor force               commenters’ assessment that the current               become a public charge. As explained in
                                              participation rate of those speaking ‘‘only English’’   content of the NPRM and the related
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                                              (48.9%). In 1980, the reverse was true; working age                                                           the NPRM,717 data on the relationship
                                              individuals with less than a high school diploma
                                                                                                      documents provided as part of the                     between the level of English proficiency
                                              speaking only English had a 60.7% labor force           proposed rulemaking insufficiently                    and employment as well as public
                                              participation rate that exceeded the 54.5% rate for     outlines the considerations that DHS                  benefits participation highlights that
                                              those speaking no English. The increase in labor        will be employing to assessing the
                                              force participation by individuals who lack English                                                           proficiency in the English language is a
                                              proficiency may be in part due to the increase in
                                                                                                      alien’s education and skills. Evidentiary
                                              low-skilled work in the national economy.’’             requirements for purposes of the public                 717 See Inadmissibility on Public Charge Grounds,

                                              (internal citations omitted)).                          charge determination are outlined in the              83 FR 51114, 51195 (proposed Oct. 10, 2018).



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                                              relevant consideration. DHS will                        Current Population Survey data nearly                   should explicitly indicate that Spanish
                                              consider all circumstances of the alien’s               30 years old, which is insufficient to                  skills have a high market value, at least
                                              case and all factors in the totality of the             support DHS’s proposed change.                          in the construction industry.
                                              circumstances; therefore, no single                        Response: DHS analysis showed that                      Response: DHS will consider the
                                              factor is outcome determinative in this                 lack of English proficiency was a factor                ability to speak other languages in
                                              assessment, including the lack or the                   that affected the likelihood of receiving               addition to English as part of the totality
                                              existence of English proficiency. In                    welfare. DHS does not dispute that                      of the circumstances when evaluating
                                              individual circumstances, DHS would                     likelihood of public benefits receipt may               all of the relevant skills that apply to an
                                              also consider the alien’s employment as                 also be affected by the state of                        alien’s employability, education and
                                              a positive factor despite lack of                       residency. DHS’s findings were not                      skills. The ability to speak a language or
                                              proficiency in English.                                 interpreted to suggest that lack of                     language proficiency may have differing
                                                 Comment: Many commenters                             English proficiency necessarily led to                  impacts depending on the nature of the
                                              addressed the 2014 SIPP data about the                  welfare receipt, or that there was any                  work and the employer, and is best
                                              use of benefits by populations at various               causal relationship between the two. As                 considered individually in the context
                                              levels of English language ability cited                such, complex inter-relationships such                  of each alien’s application in the totality
                                              by DHS. A commenter asserted that                       as the one mentioned were not                           of the circumstances. DHS recognizes
                                              DHS failed to provide any causal                        investigated. The studies provided by                   that certain professions or employment
                                              linkage between the data cited and its                  DHS regarding English proficiency                       require that an alien speak another
                                              conclusions. A commenter stated that                    included SIPP data representing U.S.                    language in addition to English.
                                              the survey relied upon cross-sectional                  noncitizens in 2013,718 as well as a                    However, the public charge assessment
                                              studies that capture information from a                 study using data from the 2000                          is geared toward becoming a public
                                              given point in time and that DHS does                   Census.719 One report that was                          charge in the United States; the data
                                              not cite longitudinal studies that follow               referenced was international in its                     presented in the NPRM 721 clearly
                                              the same population and capture                         scope, and included a discussion of                     demonstrated a connection between the
                                              relevant information over time. The                     different European countries, as well as                inability to speak and understand
                                              commenter said DHS cannot predict                       the United States.720                                   English in relation to employment,
                                              whether an individual non-citizen is                       Comment: A few commenters stated                     public benefit receipt, and financial
                                              likely to become a public charge in the                 multilingualism should be considered                    status. Therefore, DHS retained the
                                              future based on such studies. One                       an asset. Another commenter indicated                   English proficiency provision. However,
                                              commenter cited information showing                     that DHS based its consideration of                     nothing in the regulation precludes an
                                              that while children of newly-                           English proficiency or additional                       alien from presenting evidence and
                                              immigrated families speak a non-                        languages on the assumption that                        consideration relating to education or
                                              English language at home, English                       English skills are required to enter the                skills other than the considerations
                                              language learning children are amongst                  U.S. job market. According to the                       mentioned in the regulation; all
                                              the most successful students at school                  commenter, however, the large number                    considerations will be evaluated based
                                              in the United States, especially once                   of Spanish speaking workers in the                      on the totality of the circumstances.722
                                              they become fully proficient in English.                construction industry undermined the                    3. Skills
                                              The commenter stated that this                          premise that English skills are required
                                              information contradicts studies cited by                                                                           Comment: A commenter indicated
                                                                                                      to enter the U.S. job market. The
                                              DHS.                                                                                                            that the expanded negative weights for
                                                                                                      commenter acknowledged that DHS
                                                 Response: DHS discusses English                                                                              educational/skills attainment conflict
                                                                                                      would consider other languages
                                              proficiency as an indicator of potential                                                                        with longstanding policy and principles
                                                                                                      depending on their market value, but
                                              public benefits receipt, which does not                                                                         that support upward mobility and self-
                                                                                                      that the rule was silent on
                                              rely on an assumption that the                                                                                  sufficiency. Another commenter
                                                                                                      considerations guiding this
                                              relationship is cause-and-effect. The                                                                           indicated that DHS failed to describe
                                                                                                      determination, such as the market value
                                              cross-sectional analysis showed that not                                                                        how DHS will consider, among other
                                                                                                      assessment for Spanish skills. Therefore,
                                              being proficient in English is an                                                                               things, the education and skills
                                                                                                      the commenter suggested that the rule
                                              indicator of public benefit receipt in the                                                                      requirement. The commenter stated that
                                              near term, which is considered in the                      718 See Table 24, Inadmissibility on Public Charge
                                                                                                                                                              the rule could prejudice the many
                                              public charge determination. The DHS                    Grounds, 83 FR 51114, 51196 (proposed Oct. 10,          foreign-born workers in the construction
                                              analysis shows a relationship between                   2018).                                                  worker industry, who have little formal
                                              public benefit receipt and English                         719 See Jennifer Cheeseman Day and Hyon B.
                                                                                                                                                              education but skills that are in high
                                              proficiency among adults age 18 and                     Shin, U.S. Census Bureau, How Does Ability to           demand and that these workers earn a
                                                                                                      Speak English Affect Earnings? 6 (2005), available
                                              over, and does not describe outcomes                    at https://www.census.gov/hhes/socdemo/language/        good wage. The commenter suggested
                                              for the population of English language                  data/acs/PAA_2005_AbilityandEarnings.pdf (last          that DHS should change the
                                              learning children, so the results of the                visited July 26, 2019).                                 requirement that it considers ‘‘no high
                                              studies do not appear contradictory.                       720 Barry R. Chiswick & Paul W. Miller, Immigrant
                                                                                                                                                              school diploma or other education or
                                                 Comment: Multiple commenters                         Earnings: Language Skills, Linguistic
                                                                                                      Concentrations and the Business Cycle, 15 J.
                                                                                                                                                              skills’’ as a negative factor in the public
                                              stated that DHS failed to consider                      Population Econ., 31, 31–57 (2002); Christian           charge analysis, and that DHS should
                                              alternative reasons that people who are                 Dustmann, Fluency, Writing Fluency, and Earnings        instead consider education only as a
                                              LEP may be more likely to access                        of Migrants, 7 J. Population Econ., 133, 133–156        positive factor. The commenter
                                              benefits, adding that that states that                  (1994); Ingo E. Isphording, IZA Discussion Paper
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                                                                                                      No. 7360, Disadvantages of Linguistic Origin:
                                                                                                                                                              suggested that in the alternative, the
                                              have high numbers of LEP populations,                   Evidence from Immigrant Literacy Scores (2013),         lack of education should only be
                                              such as New York and California, also                   available at http://ftp.iza.org/dp7360.pdf (last        considered a negative factor when
                                              have high income thresholds for                         visited July 26, 2019); Org. for Econ. Cooperation      coupled with unemployment. The
                                              Medicaid. The commenters concluded                      & Dev./European Union, Indicators of Immigrant
                                                                                                      Integration 2015: Settling In (2015), available at
                                                                                                                                                              commenter stated that DHS fails to
                                              by stating that three out of the four                   http://www.oecd.org/els/mig/Indicators-of-
                                              studies DHS cited used data derived                     Immigrant-Integration-2015.pdf (last visited July 26,    721 See   83 FR 51114, 51195–97.
                                              from Europe, while the fourth relies on                 2019).                                                   722 See   8 CFR 212.22(a) and 8 CFR 212.22(b)(5).



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                                              define ‘‘skills’’ and expressed concern                 occupations, such as healthcare support               be applicable to all job skills. Overall,
                                              that the skills that workers have may be                and personal care, for which                          education and skills will be considered
                                              difficult to demonstrate as an                          certification procedures do not exist, but            as part of the totality of the
                                              evidentiary matter and that this could                  on which many in the United States                    circumstances. DHS is not mandating
                                              cause DHS adjudicators to improperly                    may depend.                                           any particular level of education or skill
                                              discount skills that often take many                       Response: Education and skills are                 to overcome a public charge
                                              years to develop. Along with providing                  mandatory statutory factors as                        inadmissibility determination.
                                              certain data noting that a significant                  established by Congress under section                    Comment: One commenter stated that
                                              percentage of both foreign-born (over 90                212(a)(4) of the Act, 8 U.S.C. 1182(a)(4).            using both DOL, which already has
                                              percent) and native-born workers (over                  DHS disagrees that it did not                         education and skills criteria for
                                              85 percent) in the construction industry                sufficiently outline the consideration of             immigrants entering the country to
                                              do not have a four-year college degree,                 the factors in the NPRM.723 DHS                       work, and DHS to evaluate labor needs
                                              the commenter pointed out that, for                     appreciates the suggestions from                      and skills was redundant, unnecessary,
                                              example, a brick layer may be highly                    commenters, including the suggestions                 and a waste of public funds.
                                              skilled but lacks a way of demonstrating                relating to the construction industry.                   Response: DHS disagrees that the rule
                                              a formal certification. The commenter                   However, DHS will not remove the lack                 conflicts with DOL’s evaluation of labor
                                              requested that the final rule explicitly                of a high school diploma or other                     needs and skills. Under this rule, DHS
                                              indicate that Spanish language skills                   education or skills provisions from the               will be considering whether an alien
                                              have a high market value, at least for                  rule as a negative factor in the public               possesses education and skills that
                                              those in the construction industry. The                 charge analysis. Further, DHS will                    would contribute to the alien being
                                              commenter also suggested that Form I–                   consider both the positive and negative               employable in the United States and
                                              944 be amended to clarify that DHS will                 factors associated with education and                 thus able to be self-sufficient. This
                                              consider experience-based construction                  skills, as described in the NPRM. As                  determination does not entail
                                              skills in the analysis, as the form as                  evidenced by the commenters                           determining whether an alien meets an
                                              currently drafted largely focuses on the                addressing various industries, each                   employer’s minimum job requirements
                                              certification.                                          industry and area of employment may                   for a particular position or qualifies for
                                                 Another commenter suggested that                     be different. The DHS proposed rule is                employment in a particular
                                              DHS amend its consideration of                          flexible enough to account for all factors            occupational classification. In addition,
                                              education and skills as a prerequisite to               and circumstances in any particular                   even if an alien is found to not possess
                                              legal immigration because the legal                     industry and an individual’s case so that             any education or skills but instead has
                                              immigrants that are entering the direct                 each alien may set forth the                          sufficient financial means to support
                                              care workforce are entering a career                    considerations applicable to him or her               himself or herself and any dependents,
                                              pathway to a successful lifelong career.                demonstrating why the individual is not               DHS may determine in the totality of the
                                              The commenter stated that although                      likely to become a public charge.                     circumstances that the alien is not likely
                                              many such immigrants have increasing                       As discussed in the NPRM, education                to become a public charge. In contrast,
                                              levels of responsibility, the workforce is              has been found to have a significant                  DOL has a statutory mandate to certify
                                              not highly skilled. The commenter                       impact on public benefit usage. As it is              before an alien may be admitted in
                                              reasoned that preventing some of the                    possible for an alien to be employed and              certain employment-based immigrant
                                              most eligible individuals from entering                 still be a public charge, the mere fact of            classifications that there are no able,
                                              the United States prevents them from                    employment cannot categorically                       willing, qualified, and available U.S.
                                              addressing the direct care workforce                    remove education from an analysis of                  workers to perform the job for which an
                                              deficit, which will negatively impact                   the totality of the circumstance because              employer seeks to hire the alien, and
                                              people with disabilities and the elderly                education is a statutorily mandated                   that the alien’s employment will not
                                              in the United States, which rely on this                factor. Although education would                      have an adverse effect on the wages and
                                              workforce to maintain their well-being                  certainly weigh positively, the exact                 working conditions of similarly
                                              and quality of life.                                    nature of the education (or lack thereof)             employed U.S. workers. In doing so,
                                                 A couple of commenters stated that                   and employment would have to be                       DOL examines whether the alien’s
                                              although agricultural work is considered                considered. The level and quality of the              education, skills, and job qualifications
                                              unskilled labor under some technical                    education attained by a prospective                   meet the employers’ stated minimum
                                              definitions, it is in fact a skilled                    immigrant can help estimate how likely                job requirements. Therefore, the two
                                              occupation requiring years of                           they are to become a public charge.                   departments fulfill two different
                                              experience to gain the necessary                        Therefore, while not having high school               responsibilities in the immigration
                                              knowledge, precision, exercise of                       diploma or other education or skills are              process.724
                                              judgment, endurance, and speed that                     generally a negative factor, the lack of a               Comment: A commenter asserted that
                                              many of these workers already have and                  high school diploma, for example, may                 DHS does not have the ability to
                                              which contribute to their employer’s                    be overcome by skills or other positive               adequately evaluate occupational skills,
                                              profitability. The commenters                           circumstances.                                        certifications, or licenses, and many
                                              concluded by arguing that that the                         DHS agrees that skills gained as part              occupations do not require them. The
                                              proposed rule would improperly reject                   of employment are positive even when                  commenter stated that this requirement
                                              the value of many farmworkers’                          certifications are not available.                     would cause a great burden on
                                              contributions to our economy and                        Regardless of occupation, an alien may                employers and agencies who must
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                                              society. Similarly, a commenter                         demonstrate that he or she has skills                 comply with these new requests.
                                              expressed their concern that the ‘‘skills’’             through employment that are positive                     Response: DHS will evaluate all
                                              component of the education and skills                   factors. This showing will not be                     occupational skills, certifications,
                                              factor is undervalued by the proposed                   focused on construction, but generally,               licenses, and any other evidence that
                                              rule. The commenter stated that this
                                              narrow view of skilled work will have                     723 See Inadmissibility on Public Charge Grounds,     724 See INA section 212(a)(5)(A), 8 U.S.C.
                                              a particularly harmful impact on                        83 FR 51114, 51189–51196 (proposed Oct. 10,           1182(a)(5)(A), 20 CFR and 656.1 (DOL’s labor
                                              immigrants who staff many vital                         2018).                                                certification requirements for immigrant workers).



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                                              establishes a skill in an occupation, as                  country, or volunteer work experience                 had to quit or were forced to leave their
                                              presented by the alien. The alien has the                 in the United States, that will be                    job within the first year and stated that
                                              burden to establish that he or she                        considered as part of the totality of the             by heavily weighting the lack of
                                              qualifies for the immigration benefit and                 alien’s circumstances.                                employment, the proposed rule doubly
                                              is not inadmissible.725 Generally, forms                     However, DHS notes that it would                   penalizes a victim for the economic
                                              and their instructions outline, in detail,                consider any employment history                       effects that domestic violence and
                                              the necessary evidence to apply for a                     outside the United States as part of the              sexual assault abusers perpetrate.
                                              benefit; similarly Form I–944 and its                     public charge inadmissibility                            Response: DHS appreciates the
                                              instructions outline possible evidence                    determination. Moreover, USCIS would                  commenters’ input. As explained in the
                                              that an alien can submit to establish that                also review the likelihood that the alien             NPRM, USCIS will assess the alien’s
                                              he or she has the requisite education or                  will work upon filing for or being                    education and skills with the focus
                                              skills as to be able to maintain or obtain                granted adjustment of status, i.e., when              whether the alien has adequate
                                              employment. If USCIS believes that the                    authorized to work. In addition, USCIS                education and skills to either obtain or
                                              alien has not submitted sufficient                        would consider whether the alien may                  maintain employment sufficient to
                                              evidence to establish that he or she is                   have sufficient assets and resources,                 avoid becoming a public charge.727 As
                                              not likely to become a public charge,                     including a pension or a household                    part of the assessment, USCIS will
                                              where applicable, it may issue a RFE or                   member’s assets and resources, which                  consider the totality of the alien’s
                                              a NOID to obtain clarification.726                        may overcome any negative factor                      circumstances, including any and all
                                                                                                        related to lack of employment. The                    factors and considerations set forth by
                                              4. Employment                                             assets and resources would include                    the alien. Furthermore, T and U
                                                 Comment: A commenter indicated                         those of the household, which may                     nonimmigrants, VAWA self-petitioners,
                                              that because immigrants who are in the                    include a sponsor when the sponsor is                 and others listed in 8 CFR 212.23, are
                                              United States without work                                part of the household.                                generally exempt from inadmissibility
                                              authorization are not able to work                           DHS will not, however, include                     on account of public charge and
                                              legally, it will be impossible for many                   provisions in this rule to provide aliens             therefore, they are not likely impacted
                                              immigrants to demonstrate their past                      subject to this rule time to enter the                by this regulation.
                                              employment history. The commenter                         country and work before being subject                    Comment: One commenter stated
                                              stated that the proposed rule will                        to the public charge inadmissibility                  requiring employment history would be
                                              therefore place immigrants in an                          determination. As noted previously, the               problematic for many international
                                              impossible situation: if they comply                      public charge ground of inadmissibility               students attending American
                                              with the law that prohibits them from                     applies at the time of the alien’s                    universities, arguing that that foreign
                                              working without having first obtained                     application for a visa, admission, or                 nationals on student visas are generally
                                              employment authorization, they will                       adjustment of status.                                 not permitted to work while engaging in
                                              forfeit the ability to obtain legal status                   Comment: Some commenters                           studies on the F–1 visa. This commenter
                                              because they will be unable to show                       provided input on how the employment                  stated that nearly one-quarter (20 out of
                                              current employment or a recent history                    history requirements impacts domestic                 91) of the billion-dollar startup
                                              of employment. Another commenter                          violence survivors. These commenters                  companies had a founder who first came
                                              stated that DHS cannot accurately assess                  indicated that DHS disregards the                     to the United States as an international
                                              an individual’s likelihood of becoming                    reality of many crime survivors who are               student, and stated that holding student
                                              a public charge if DHS does not first                     faced with losing their jobs due to                   loan and credit card debt against the
                                              grant work authorization to such an                       intense trauma, reduced productivity,                 students could have a negative impact.
                                              individual.                                               harassment at work by perpetrators, and               The commenter stated that, under the
                                                 Other commenters stated that certain                   other reasons stemming from violence.                 proposed rule, these individuals would
                                              visas, such as the K–1 fiancé visa, do                   One commenter stated that secure                      be subject to the public charge test even
                                              not permit a grantee to work. Another                     immigration status can help survivors of              as nonimmigrants when seeking to
                                              commenter stated that the use of an                       abuse access employment opportunities,                change status from that of a student to
                                              employability factor in a public charge                   escape violent relationships, and help                that of an employee on an employment-
                                              determination would put many                              alleviate the trauma they have suffered.              based visa.
                                              immigrants in a catch-22 where their                      This commenter stated that the                           Response: DHS does not require that
                                              options would be to either work                           proposed rule is actually setting up                  the alien have an employment history as
                                              illegally and be denied citizenship or                    barriers to employment for survivors,                 part of the public charge determination.
                                              not work and be denied immigration                        which is also a barrier to self-                      As discussed above, DHS has removed
                                              status due to lack of employment.                         sufficiency. Other commenters stated                  the forward-looking determination for
                                              Another commenter suggested that an                       that several studies have documented                  nonimmigrant applicants for extension
                                              applicant should be given time to enter                   how domestic violence perpetrators                    of stay or change or status. Therefore,
                                              the country and work before being                         deliberately try to sabotage their                    DHS would not be reviewing the factors
                                              subject to the public charge test.                        victims’ efforts to obtain and keep paid              for nonimmigrants applicant for
                                                 Response: As discussed in the NPRM,                    employment; that domestic violence                    extension of stay or change of status,
                                              DHS recognizes that not everyone                          survivors are forced to become                        such as students. Further, the NPRM
                                              subject to this rule is authorized to work                dependent on their abusive partners’                  indicates that for purposes of the
                                              in the United States. Although an                         incomes; or that some survivors have                  assessment of employment and skills,
                                                                                                        had their work permits or lawful
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                                              applicant may not be authorized for                                                                             USCIS’ considerations include, but are
                                              employment in the United States at the                    permanent residence cards taken by                    not limited to the alien’s employment
                                              time of filing the adjustment of status                   their abusers, making it impossible to                history.728 In general, students acquire
                                              application, he or she may have                           show that they had legal authorization                skills as part of their studies; also,
                                              employment history in a foreign                           to work and had to, at times, pay filing              USCIS would not consider it to be a
                                                                                                        fees to get their replacement documents.
                                                725 See   INA section 291, 8 U.S.C. 1361.               One commenter stated that half of                       727 See   8 CFR 212.22(b)(5).
                                                726 See   generally 8 CFR 103.2.                        women who experienced sexual assault                    728 See   8 CFR 212.22(b)(5).



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                                              heavily weighted negative factor if a                   a mother is not currently employed and                  employment or recent employment
                                              student, applying for adjustment of                     is raising children, DHS would not                      history if the alien is not a primary
                                              status for a valid basis, is not working                exclusively focus on the mother’s lack                  caregiver. As indicated above, DHS has
                                              because she or he lacks employment                      of current employment. DHS would also                   also added a definition of ‘‘primary
                                              authorization. For these reasons, DHS                   take into full account other factors that               caregiver’’ under 8 CFR 212.21(f) to
                                              does not believe that students in                       could be favorable to the mother and                    correspond to this provision; primary
                                              universities in the United States will be               could outweigh her current                              caregiver means an alien who is 18
                                              adversely impacted by DHS’s                             unemployment: her household’s                           years of age or older and has significant
                                              consideration of the education and                      income, assets, and resources; an                       responsibility for actively caring for and
                                              skills factor, as set forth in this rule.               affidavit of support and relationship to                managing the well-being of a child or an
                                                 Comment: A commenter stated that                     her sponsor, if applicable; and her                     elderly, ill, or disabled person in the
                                              pregnant women may be forced to leave                   reasonable prospects to obtain and                      alien’s household.
                                              the work force and stay home to deal                    maintain lawful employment based on                        Comment: Multiple commenters
                                              with medical complications of a                         her age, education, skills, and any                     wrote that the rule misunderstands the
                                              pregnancy or to care for a child during                 previous work history. This same level                  nature of low-wage work, indicating that
                                              the first months, due to reasons such as                of consideration would also apply to                    there are not simply ‘‘people who work’’
                                              the high cost of out-of-home daycare,                   other similarly situated parents,                       and ‘‘people who receive benefits,’’
                                              and that therefore, they will be less                   guardians, and caregivers who are                       rather there is an overlap between the
                                              likely to show employment history. A                    currently unemployed or who are                         two groups.
                                              few commenters stated that                              employed part-time.                                        Response: DHS understands that there
                                              consideration of employment history                        Consistent with the above, and                       is an overlap between ‘‘people who
                                              would unfairly discriminate against                     following consideration of these and                    work’’ and ‘‘people who receive
                                              women, particularly those who stay                      other comments about contributions of                   benefits.’’ People who are employed but
                                              home and care for their children.                       caregivers, DHS is adding under the                     nonetheless receive public benefits may
                                              Another commenter stated that often the                 Education and Skills factor an                          not be self-sufficient. However, the fact
                                              work of a caregiver, such as a stay-at-                 additional positive consideration,                      that an alien who is subject to a public
                                              home parent or grandparent, is vitally                  namely whether the alien is a primary                   charge inadmissibility determination
                                              important for the emotional and                         caregiver of another person in the                      has in the past received public benefits
                                              financial well-being of a family. One                   alien’s household. This will be taken                   is not outcome determinative. Whether
                                              commenter remarked that the rule                        into consideration in the totality of the               an alien is inadmissible because he or
                                              unfairly penalizes individuals who may                  circumstances, and is intended to                       she is likely at any time in the future to
                                              have additional caregiving                              account for difficult-to-monetize                       become a public charge depends on a
                                              responsibilities due to a child’s special               contributions by aliens who may lack                    review of a range of factors, including
                                              needs, inability to afford child-care, or               current full time employment or recent                  work history, in the totality of the
                                              even religious beliefs.                                 employment history due to their unpaid                  circumstances.
                                                 Response: As indicated throughout                    engagement in the household. As with                    N. Affidavit of Support
                                              this rulemaking, DHS will assess the                    all other considerations, the
                                                                                                      consideration of whether an alien is a                     Comment: Several commenters stated
                                              likelihood of becoming a public charge                                                                          that the affidavit of support is sufficient
                                              based on the totality of the                            primary caregiver would not alone
                                                                                                      establish that an alien is not likely at                to satisfy the standard because the
                                              circumstances of the individual’s case.                                                                         sponsor agrees to provide the necessary
                                              While there are certain temporary                       any time in the future to become a
                                                                                                      public charge. Rather, DHS would not                    financial support or to reimburse
                                              medical conditions or other conditions                                                                          providing agencies. One commenter
                                              that may require an individual to                       consider it a negative factor if an alien
                                                                                                      of a working age who would normally                     stated that the Form I–864 already
                                              interrupt a certain employment activity                                                                         provides a method for objective public
                                              or have a temporary absence, one can                    be employable lacks full time
                                                                                                      employment, or a recent employment                      charge analysis. Many commenters
                                              hardly regard such incidents as negating                                                                        stated that Form I–864 creates a legally
                                              an individual’s employment history, or                  history. This consideration could cover
                                                                                                      a range of circumstances, including, for                binding contractual agreement between
                                              his or her education or skills generally.                                                                       the petitioner/sponsor and the
                                              Additionally, the applicant may bring                   example, a parent who stays at home to
                                                                                                                                                              government that the intending
                                              forward evidence to establish that he or                care for a newborn child, or an adult
                                                                                                                                                              immigrant will not receive public
                                              she has adequate education and skills to                child who stays at home to care for an
                                                                                                                                                              benefits. Some of the commenters
                                              either obtain or maintain employment to                 elderly parent. DHS has limited this
                                                                                                                                                              indicated that relegating the Form I–864
                                              avoid becoming a public charge.                         consideration so that only one alien
                                                                                                                                                              to a mere factor and proposing to
                                                 DHS acknowledges that an MPI paper                   within the household can be considered
                                                                                                                                                              replace it with a bond eliminates the
                                              observed that women could encounter                     the primary caregiver of the same
                                                                                                                                                              true potential of the Form I–864: to
                                              difficulty with the totality of                         person in his or her household. Because
                                                                                                                                                              deter new immigrants from applying for
                                              circumstances analysis, because women                   some commenters responding to various
                                                                                                                                                              government assistance. The commenters
                                              comprised 70 percent of the over 43                     aspects of the totality of the
                                                                                                                                                              stated that in lieu of the Form I–864, the
                                              percent of recent green card holders                    circumstances analysis raised concerns
                                                                                                                                                              government now proposes to increase
                                              who were neither employed nor in                        about ‘‘double counting’’ negative
                                                                                                                                                              the use of public charge bonds and the
                                              school. MPI added that many immigrant                   factors, DHS notes that it will only take
                                                                                                                                                              bond amount to levels that most
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                                              women do not work because of child                      the primary caregiver role into
                                                                                                                                                              immigrants will not be able to pay, and
                                              care responsibilities and child care                    consideration if relevant, i.e., DHS will
                                                                                                                                                              involves a third party private bond
                                              costs.729 In instances such as this where               not use this consideration to negatively
                                                                                                                                                              company. One commenter stated that
                                                                                                      compound the absence of full time
                                                729 See Capps, Randy et al, ‘‘Gauging the Impact
                                                                                                                                                              the proposed heavily weighted factors
                                              of DHS’ Proposed Public-Charge Rule on U.S.             www.migrationpolicy.org/research/impact-dhs-
                                                                                                                                                              do not achieve the stated goals of the
                                              Immigration,’’ Migration Policy Institute.              public-charge-rule-immigration (last visited July 26,   rule; the commenter indicated that the
                                              (November 2018). Available at: https://                 2019).                                                  agency has not stated a sufficient reason


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                                              why the existence of a binding contract                 entirely inconsistent with laws and                    applicant, or any other related
                                              from a financially-capable sponsor, such                policies in the United States.                         considerations, is inadequate as it fails
                                              as the affidavit of support that used to                   Another commenter stated that the                   to provide a standard for evaluating
                                              be sufficient for public charge purposes                focus should remain on the sponsor and                 these standards, and will lead to
                                              would not satisfy the standard for                      their ability to maintain the intending                inconsistent decisions that are also
                                              purposes of public charge, and others                   immigrant at 125 percent of the FPG,                   based on officer’s assumptions and
                                              stated that this is especially the case,                asserting that DHS should only consider                biases and exceeds the statutory
                                              when the question addressed with the                    the other heavily weighted factors in                  wording in regard to affidavits of
                                              affidavit of support is whether an                      ‘‘unusual cases.’’ Another commenter                   support. Additionally, referring to a
                                              immigrant is likely to become a public                  stated that the proposed rule shifts the               1998 DOS cable on the sufficiency of
                                              charge. Another commenter stated that                   focus of an applicant’s eligibility away               affidavits of support, the commenter
                                              the affidavit of support, by statutory                  from an applicant’s sponsor and onto                   indicated that the proposed provision
                                              definition, requires the immigrant to                   the applicant.                                         upends, without justification, prior
                                              demonstrate financial support to ensure                    Response: DHS rejects the assertion                 practice that instructed that the intent of
                                              that he or she is not a public charge, but              that the rule shifts the emphasis away                 the sponsor and the verification of the
                                              the rulemaking arbitrarily relegates the                from the affidavit of support, as the                  sources is not a consideration once a
                                              affidavit of support to a non-substantial               statute does not require or even permit                sufficient affidavit of support has been
                                              factor. The commenter disagreed that                    DHS to focus the public charge                         presented. The commenter furthermore
                                              the affidavit of support should just be                 inadmissibility determination solely on                indicated that DHS justification and
                                              one factor and stated that the proposed                 the affidavit of support. In fact, the                 evidence—referring to reports that are
                                              rule allows for the possibility of a                    minimum mandatory factors that must                    nine and sixteen years old—does not
                                              heavily weighted factor to outweigh the                 be considered as part of the public                    support the agency’s position. Another
                                              contractual showing of the sponsorship,                 charge inadmissibility determination                   commenter stated that the proposed rule
                                              as outlined by Congress. The commenter                  under section 212(a)(4) of the Act, 8                  creates opportunities for arbitrary
                                              also stated that without according the                  U.S.C. 1182(a)(4), do not include the                  decision-making when assessing one’s
                                              affidavit of support any weight, the                    affidavit of support. Rather, Congress                 family status or financial status, because
                                              NPRM effectively eviscerated the                        added that any affidavit of support                    the rule tasks the adjudicator with
                                              affidavit of support process and goes                   under section 213A of the Act, 8 U.S.C.                assessing the closeness of the sponsor-
                                              against congressional intent to establish               1183a, may be considered in the public                 alien relationship and with the
                                              clear guidelines and a meaningful                       charge inadmissibility determination.730               assumption that a close family member
                                              measure of likelihood of becoming a                     An affidavit of support is required for                ‘‘would be more likely to financially
                                              public charge.                                          most family-sponsored immigrant                        support the alien if necessary.’’ The
                                                 Two commenters stated this proposed                  applicants and certain employment-                     commenter indicated, however, that the
                                              regulation diminishes the consideration                 sponsored immigrant applicants, and                    closeness of a relationship is a
                                              of a sufficient affidavit of support in the             the absence of a sufficient affidavit of               subjective determination and not
                                              determination of likely to become a                     support will result in an inadmissibility              necessarily based on the existence of a
                                              public charge, and drastically                          finding.731 Because the lack of a                      blood relationship but rather on
                                              diminishes the sponsor’s role as they                   sufficient affidavit of support, when                  personal connections and history that
                                              exist within the current standards. One                 required, automatically results in a                   an outside adjudicator would find
                                              commenter said the affidavit of support                 finding of public charge inadmissibility,              difficult to comprehend. Similarly,
                                              requirement can be hard to meet for                     it would be inconsistent with the statute              another commenter provided that
                                              some potential adjustment of status                     to place an emphasis on the affidavit of               evaluating the relationship between a
                                              applicants. The commenter said if the                   support in the public charge                           sponsor and an applicant may be
                                              petitioner’s income and assets are not                  determination. Under this rule, DHS                    particularly prejudicial if the agency
                                              adequate, it can be difficult to find                   will give positive weight to a sufficient              fails to account for cultural differences
                                              another person (a ‘‘joint sponsor’’) who                affidavit of support, but it would not,                in family dynamics. A commenter stated
                                              is willing to hand over their sensitive                 and cannot under the statute, be                       that, once an affidavit of support is
                                              identification and financial documents                  outcome determinative.                                 determined to be legally sufficient, DHS
                                              and sign a binding contract to ensure                      Comment: Another commenter                          should not substitute its agents’
                                              the intending immigrant will not                        asserted that the proposed rule does not               judgment for that of Congress by
                                              depend on public benefits.                              provide any standards for evaluating                   requiring a different income threshold
                                                 A few commenters indicated that the                  factors or the likelihood that the sponsor             or encouraging them to speculate about
                                              current system already places a high                    would actually provide the required                    a sponsor’s relationship to an applicant.
                                              burden on petitioners and immigrants,                   financial support to the alien, and that                  Another commenter said the guidance
                                              and that the affidavit of support system                such vagueness invites officers to make                in the FAM, which explains that a joint
                                              has done a good job in making sure that                 decisions on the basis of their personal               sponsor ‘‘can be a friend or a non-
                                              immigrants will not become public                       assumptions and biases, which will                     relative who does not reside in and is
                                              charges after entry. One commenter said                                                                        not necessarily financially connected
                                                                                                      almost certainly result in inconsistent
                                              the demotion of the affidavit of support                                                                       with the sponsor’s household’’ was
                                                                                                      application of the standards. Another
                                              is another way that the re-framed                                                                              consistent with the statutory language at
                                                                                                      commenter also stated that DHS’s
                                              totality of circumstances would allow                                                                          section 213A of the Act, 8 U.S.C. 1183a
                                                                                                      justification for independently
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                                              only those already with resources to                                                                           that defined the requirements of a
                                                                                                      considering the sponsor’s income and
                                              enter or remain in this county.                                                                                ‘‘sponsor’’ but does not include a
                                                                                                      resources, relationship to the applicant
                                              Similarly, commenters stated this rule                                                                         requirement that a joint sponsor have a
                                                                                                      and the likelihood of supporting the
                                              would make it harder for low-income                                                                            familial relationship to the immigrant.
                                              immigrants to get their green card or                     730 See INA section 212(a)(4)(B)(ii), 8 U.S.C.
                                                                                                                                                                Response: DHS does not believe that
                                              visa, and tilt away from family-based                   1182(a)(4)(B)(ii).                                     the proposed public charge
                                              immigration to a wealth-based system                      731 See INA section 212(a)(4)(C) and (D), 8 U.S.C.   inadmissibility determination,
                                              that would be both deeply unethical and                 1182(a)(4)(C) and (D).                                 including the consideration relating to


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                                              the affidavit of support, is not                        provides the requirements for a valid                   action against a sponsor who fails to
                                              sufficiently detailed or nebulous. DHS                  affidavit of support. The guidance of                   fulfill their contract obligations to
                                              put forth a detailed assessment of the                  how to assess it is contained in section                support the alien financially. The
                                              factors and how they are applied in the                 212(a)(4) of the Act, 8 U.S.C. 1182(a)(4),              commenter stated that integrating this as
                                              NPRM. Additionally, DHS provided                        which specifically provides that the lack               a factor or ground would significantly
                                              additional information in the proposed                  of an affidavit of support, where                       facilitate DHS’s goal of ensuring self-
                                              forms and the form’s instructions. As                   required, renders an applicant                          sufficiency. The commenter also said
                                              provided in the NPRM, a sufficient                      inadmissible on the public charge                       the sponsored beneficiary could also
                                              affidavit of support does not guarantee                 ground; the statute further states an                   meet this obligation if the sponsor was
                                              that the alien will not receive public                  officer may consider any affidavit of                   sued for reimbursement by the funding
                                              benefits in the future and, therefore,                  support under section 213A of the Act,                  Government agency. Another
                                              DHS would only consider the affidavit                   8 U.S.C. 1183a, when assessing the                      commenter stated that, if the concern of
                                              of support as one factor in the totality                public charge ground of                                 DHS is to lessen the financial strain
                                              of the circumstances.732 The inability or               inadmissibility.733 DHS, therefore,                     Federal public benefit programs create,
                                              unwillingness of the sponsor to                         determined that it will consider the                    then a more effective and less harmful
                                              financially support the alien may be                    affidavit of support as a factor in the                 to public-health-and-safety alternative
                                              viewed as a negative factor in the                      totality of the circumstances.734                       would be to enforce the affidavit of
                                              totality of the circumstances. DHS                         The statute under section 212(a)(4) of               support, which is a binding contract as
                                              expects that a sponsor’s sufficient                     the Act, 8 U.S.C. 1182(a)(4) also does                  signed.
                                              affidavit of support would not be an                    not mandate how much weight an                             Response: DHS does not have the
                                              outcome-determinative factor in most                    affidavit of support must be given.                     authority to create such a required
                                              cases; the presence of a sufficient                     Therefore, it is appropriate for DHS to                 ground of inadmissibility under
                                              affidavit of support does not eliminate                 regulate that the weight should be                      authority of section 212(a)(4) of the Act,
                                              the need to consider all of the                         assessed based on the sponsor’s annual                  8 U.S.C. 1182(a)(4). Additionally, DHS
                                              mandatory factors in the totality of the                income, assets, resources and his or her                does not believe adding an additional
                                              circumstances.                                          financial status, as well as the closeness              factor to this rule regarding sponsor
                                                 USCIS would assess the sponsor’s                     of the relationship which would be                      reimbursement of any amount of public
                                              annual income, assets, resources, and                   indicative of the willingness and ability               benefits provided by an applicant is
                                              financial status, relationship to                       of the sponsor to financially support the               consistent with the public charge
                                              applicant, the likelihood that the                      alien.735 DHS appreciates the reference                 ground of inadmissibility, or that
                                              sponsor would actually provide                          to DOS’ guidance on that issue, but DOS                 enforcing the sponsor’s affidavit of
                                              financial support to the alien, and any                 guidance is not binding on DHS.                         support obligation is relevant to the
                                              other related considerations. In order to                  In sum, the INA does not preclude                    public charge inadmissibility
                                              assess the sponsor’s likelihood of                      DHS from establishing a framework for                   determination.
                                              meeting his or her obligation to support                officers to provide the appropriate                        DHS notes that while the existence of
                                              the alien, DHS would look at how close                  weight of the affidavit of support within               a sufficient affidavit of support, where
                                              of a relationship the sponsor has to the                the totality of the circumstances. In                   required to be submitted, is considered
                                              alien, as close family members would be                 cases where the statute requires an alien               as a positive factor in any public charge
                                              more likely to financially support the                  to submit an affidavit of support and the               inadmissibility determination, the
                                              alien if necessary. DHS would also look                 alien fails to do so, the statute mandates              sponsorship obligation set forth on the
                                              at whether the sponsor lives with this                  a finding of public charge                              affidavit of support does not attach until
                                              alien, as this could be indicative of the               inadmissibility.736 As explained in the                 after the application for an immigrant
                                              sponsor’s willingness to support the                    NPRM,737 however, the submission of a                   visa or adjustment of status is
                                              alien if needed. Additionally, DHS                      sufficient affidavit of support does not                granted.738 The subsequent action of
                                              would look at whether the sponsor has                   guarantee that the alien will not receive               enforcing the affidavit of support is
                                              submitted an affidavit of support with                  public benefits in the future. The                      distinct from the actual inadmissibility
                                              respect to other individuals, as this may               submission of a sponsor’s sufficient                    determination. Therefore, DHS will not,
                                              be indicative of the sponsor’s                          affidavit of support also does not                      in adjudicating an adjustment of status
                                              willingness or ability to financially                   eliminate the need to consider all of the               application, consider the sponsor’s
                                              support the alien.                                      mandatory factors in the totality of the                potential future reimbursement in a
                                                 DHS furthermore disagrees with the                   circumstances.                                          public charge inadmissibility
                                              commenters’ assessment in regard to the                    Comment: A commenter suggested                       determination when there is not yet a
                                              weight provided to a sufficient and                     that DHS codify as a ground of                          reimbursement obligation. Rather, DHS
                                              properly executed affidavit of support.                 exclusion on public charge, that a                      will consider the existence of a
                                              The statute, under section 213A of the                  beneficiary sue the sponsor for                         sufficient affidavit of support and the
                                              Act, 8 U.S.C. 1183a does not mandate                    reimbursement of listed public funds                    likelihood that the sponsor would
                                              that the affidavit is outcome                           received, or else be deemed a public                    actually provide the statutorily-required
                                              determinative, nor does it limit DHS’s                  charge. The commenter explained                         amount of financial support to the alien,
                                              discretion how to weigh the affidavit in                beneficiaries have the option, but not                  and any other related considerations.
                                              the totality of the circumstances: It                   the obligation, to initiate a private legal                Moreover, the statute is forward-
                                              simply puts forth that ‘‘[n]o affidavit of                                                                      looking and requires DHS to determine
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                                              support may be accepted by the                            733 See INA section 212(a)(4), 8 U.S.C. 1182(a)(4).   whether the alien is likely at any time
                                                                                                        734 See 8 CFR 212.22(b)(7).
                                              Attorney General or by any consular                                                                             to become a public charge. While past
                                                                                                        735 See 8 CFR 212.22(b)(7); see also
                                              officer to establish that an alien is not                                                                       receipt of public benefits is a factor to
                                                                                                      Inadmissibility on Public Charge Grounds, 83 FR
                                              excludable as a public charge under                     51114, 51198 (proposed Oct. 10, 2018).                  consider, the fact that the beneficiary or
                                              section 1182(a)(4) of this title’’ and                    736 See INA section 212(a)(4)(C) and (D), 8 U.S.C.    the funding Government agency seeks
                                                                                                      1182(a)(4)(C) and (D).
                                                732 Inadmissibility on Public Charge Grounds, 83        737 See Inadmissibility on Public Charge Grounds,       738 See INA section 213A, 8 U.S.C. 1183a; 8 CFR

                                              FR 51114, 51197 (proposed Oct. 10, 2018).               83 FR 51114, 51198 (proposed Oct. 10, 2018).            213a.2(d).



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                                              reimbursement for such receipt is                       likely to become a public charge. The                 factors in public charge determinations.
                                              unrelated to an alien’s likelihood of                   commenter, while noting that benefits                 The commenter also indicated that the
                                              becoming a public charge in the future.                 such as costly long-term institutional                general considerations are turned into a
                                              Imposing such a requirement would not                   care were unlikely to be reimbursed,                  complex, variable-factor test that always
                                              meaningfully contribute to DHS’s goal                   stated that there was no reason to think              involves more than five factors, and that
                                              of ensuring self-sufficiency of those                   that very modest amounts of Medicaid                  it will massively increase the error rate
                                              foreign nationals in the United States.                 or SNAP benefits would not be                         for public charge decisions. The
                                              For these reasons, DHS will not include                 reimbursed if the public entity                       commenter indicated that the example
                                              reimbursement of the cost of public                     providing the benefits sought                         in Table 35 in the NPRM and rule
                                              benefits provided to an alien as part of                reimbursement. This commenter noted                   specify quantitative weights to the
                                              the factors is an appropriate                           that the Government has the authority to              factors. The commenter indicated that
                                              consideration.                                          obtain reimbursement from a sponsor                   the factor labeled ‘‘not applicable’’ has
                                                                                                      under an affidavit of support. The                    a presumed weight of zero and is not
                                              O. Additional Factors To Consider
                                                                                                      commenter noted that the current                      included in the numerator or
                                                 Comment: A commenter stated that                     SNAP, Medicaid, SSI, and TANF                         denominator of any quantitative or
                                              being a past recipient of public benefits               programs permit reimbursement. This                   qualitative final ‘‘score’’ of the proposed
                                              should not be a heavily weighted                        commenter stated that lower thresholds                test; and that ‘‘heavily weighted factors’’
                                              negative factor and suggested that                      for public charge determinations                      have a much greater weight than all
                                              certain positive factors, or                            increase the likelihood of receiving                  other factors. The commenter further
                                              considerations, should offset negative                  reimbursements of benefits that would                 assumed that the agency intends each of
                                              factors such as being a caregiver for a                 push the amount of benefits received                  the applicable factors to have a weight
                                              U.S. citizen child, being an elderly                    below the public charge threshold as set              equal to one, and heavily weighted
                                              person or an individual with                            by DHS. And finally, the commenter                    factors have a weight equal to two. The
                                              disabilities, having a child under the age              requested that consideration of                       commenter concluded that that while
                                              of five, being recently pregnant, being                 reimbursement, and how it will be                     this would be the most straightforward
                                              someone who had a temporary health                      determined, as part of the regulatory                 reading of the factors and the tables
                                              condition which caused the individual                   action on public charge, should be done               included in the NPRM, the commenter
                                              to be unable to work which has since                    with notice and comment because it is                 stated it is actually unclear what the
                                              improved, and those receiving                           such a major aspect of the rule.                      rule requires.
                                              Medicaid.                                                  Response: Although an adjustment of                   Response: DHS disagrees that the
                                                 Response: Aside from the above-                      status applicant who is required to                   standard of identifying heavily weighted
                                              referenced clarification with respect to                submit a sufficient affidavit of support              factors limits an officer’s ability to
                                              caregivers, DHS will not add additional                 must submit Form I–864 with his or her                consider the totality of the
                                              factors or considerations to the rule                   application, the sponsor’s obligations                circumstances.739 The heavily weighted
                                              along the lines proposed by the                         with respect to the applicant do not                  factors provide guidance as to how to
                                              commenter. There is no evidence that                    become effective until the adjustment of              weigh all the factors present in an
                                              these listed factors, such as being a                   status application is granted. Therefore,             alien’s case. Each case has different
                                              caregiver for a U.S. citizen child, being               at the time the applicant files an                    circumstances that will be reviewed in
                                              an elderly person or an individual with                 application for adjustment of status,                 the totality of the circumstances. DHS
                                              disabilities, having a child under the age              there would not be anyone responsible                 believes that while the heavily weighted
                                              of five, or being a Medicaid recipient, is              for reimbursing a public benefit-granting             factors are more indicative of an alien’s
                                              indicative of self-sufficiency. Although                agency. The reimbursement of public                   likelihood to become a public charge,
                                              caregivers may benefit the household by                 benefits may be more applicable in the                these factors, under the totality of the
                                              eliminating the need for childcare or                   deportability context and out of scope of             circumstances framework, are still
                                              eldercare expenses, each person must                    this rule.                                            evaluated in conjunction with the other
                                              establish he or she is not likely to be a
                                                                                                      P. Heavily Weighted Factors General                   relevant positive and negative factors,
                                              public charge based on the totality of
                                                                                                      Comments                                              and accorded the weight they are due in
                                              the factors of an individual’s
                                                                                                        Comment: A commenter opposed                        an alien’s individual circumstances.
                                              circumstances. However, as noted
                                                                                                      proposed establishment of heavily                     Further, one factor alone, even those
                                              above, USCIS, on an individual basis,
                                                                                                      weighted positive and negative factors                that are heavily weighted, will not
                                              may take into consideration that a
                                                                                                      in a public charge inadmissibility                    determine whether an alien is likely at
                                              person is a caregiver for others in the
                                                                                                      determination. The commenter                          any time to become a public charge.
                                              household as part of the Education and
                                                                                                                                                               The totality of the circumstances
                                              Skills factor or that a sponsor provides                indicated the proposed system of
                                                                                                                                                            approach is consistent with the
                                              sufficient support for the alien. When                  heavily weighted negative and positive
                                                                                                                                                            statutory requirement that DHS consider
                                              considering whether the alien is likely                 factors effectively limits an adjudicator’s
                                                                                                      ability to consider the totality of                   certain minimum factors, as well as a
                                              to become a public charge, DHS will
                                                                                                      circumstances. Many commenters stated                 body of administrative case law that has
                                              consider the totality of the alien’s
                                                                                                      that the proposed rule would yield                    developed over the past 50 years, which
                                              circumstances. The alien is not
                                                                                                      inconsistent outcomes as there is no                  generally directs the agency to
                                              precluded from advancing any argument
                                                                                                      clear guidelines to what extent heavily               ‘‘consider all the factors bearing on the
                                              or providing evidence that would
                                                                                                      weighted positive or negative factors                 alien’s ability or potential ability to be
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                                              indicate that, in the totality of the
                                                                                                      should inform a final decision. Another               self-supporting.’’ 740 Additionally, as
                                              circumstances, the alien is not likely to
                                                                                                      commenter stated that the proposed                    discussed in the NPRM, DHS has
                                              become a public charge.
                                                 Comment: One commenter suggested                     weighting scheme unreasonably under-                  determined that certain factual
                                              that DHS should take reimbursement (or                  weighs the most important factors                       739 See Inadmissibility on Public Charge Grounds,
                                              the possibility of reimbursement) of                    (ability to work in the future and having             83 FR 51114, 51178 (proposed Oct. 10, 2018).
                                              public benefits into account when                       potential family support) and                           740 See Matter of Vindman 16 I&N Dec. 131, 132

                                              determining whether an individual is                    overweighs several other marginal                     (Reg’l Comm’r 1977).



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                                              circumstances would weigh heavily                       is neither a formulaic scheme nor will                 negative factor for lacking financial
                                              because DHS considered them to be                       it ignore important considerations in an               means to pay for reasonably foreseeable
                                              particularly indicative of an alien being               alien’s case, such as the alien’s ability              medical costs would disproportionately
                                              more of less likely to become a public                  to work or the family support that she                 harm immigrants with disabilities, and
                                              charge.741 In the sections that follow,                 or he receives, or any other positive                  those living with chronic medical
                                              DHS addresses public comments                           contributions by the alien that                        conditions. Several commenters stated
                                              regarding specific heavily weighted                     demonstrate self-sufficiency.                          that this proposed factor would
                                              factors.                                                   DHS also disagrees that the heavily                 disproportionately affect survivors of
                                                 Again, the inclusion of heavily                      weighted factors are not realistic given               domestic and sexual abuse, and certain
                                              weighted factors does not change that                   the realities of the current job market in             subpopulations of Asian Americans.
                                              the public charge inadmissibility                       the United States and that these factors                  Response: DHS understands that the
                                              determination is one that is made based                 are misaligned with efforts to grow the                rule may result in more public charge
                                              on the totality of the alien’s individual               U.S. economy. This rule is designed to                 inadmissibility findings, which may
                                              facts and circumstances. Therefore, DHS                 better ensure that those seeking to come               have specific effects on certain groups.
                                              disagrees with the commenter’s                          to and remain in the United States                     For example, the rule will affect some
                                              assessment on the quantitative weight                   either temporarily or permanently are                  aliens who have low incomes; however,
                                              assessment of the factors. DHS does not                 self-sufficient, as directed by                        income is relevant to the alien’s assets,
                                              review the factors quantitatively, so                   Congress.744 However, DHS notes that                   resources, and financial status, which
                                              there is not a factor that has a weight                 as addressed elsewhere in this rule, this              DHS is required to consider in
                                              equal to zero, one, or two. The use of                  rule does not aim to address the U.S.                  determining whether an alien is likely at
                                              the term ‘‘neutral’’ in the ‘‘Weight of                 economy or the U.S. job market.                        any time to become a public charge in
                                              Factor’’ column in Table 35 of the                         Comment: Several commenters stated                  the totality of the circumstances.
                                              NPRM refers to the fact that the factor                 that four in ten noncitizens who entered               Similarly, DHS understands that the
                                              is not heavily weighted. The factors                    the United States without a green card                 rule will affect aliens who do not work,
                                              would still be positive or negative                     would have characteristics that would                  but employability has obvious relevance
                                              unless designated as heavily weighted                   be considered heavily weighted negative                to whether a person is likely at any time
                                              factor.                                                 factors. Many commenters stated that                   to become a public charge. Again, an
                                                 Comment: A commenter stated that                     the heavily weighted factors would                     officer evaluates all of the factors in the
                                              the heavily weighted negative factors                   disproportionately affect immigrant                    totality of the circumstances and an
                                              are highly correlated and ‘‘puts a thumb                women; survivors of domestic and                       alien may have positive factors that
                                              on the scales’’ against low-income                      sexual abuse; immigrants with                          outweigh lack of past, current, or future
                                              immigrants. A couple of commenters                      disabilities; immigrants with HIV and                  employment. Finally, an alien’s recent
                                              stated that the heavily weighted factors                other chronic health conditions; LGBTQ                 receipt of public benefits (or an alien’s
                                              ignore the positive contributions of                    immigrants; children and families;                     continuing enrollment in public benefits
                                              immigrants to society. A commenter                      seniors; multigenerational families;                   such as Medicaid) is also relevant to the
                                              stated that the heavily weighted factors                racial and ethnic minorities; and AAPI                 alien’s assets, resources, and financial
                                              in the proposed rule are not realistic                  immigrants. For example, several                       status, which DHS is also required to
                                              given the realities of the current job                  commenters stated that the                             consider in determining whether an
                                              market in the United States. A                          employability factor would negatively                  alien is likely at any time to become a
                                              commenter stated that negatively                        and disproportionately impact survivors
                                                                                                                                                             public charge. However, as noted
                                              weighted factors in the proposed rule,                  of sexual and domestic violence. A
                                                                                                                                                             previously, this is one relevant factor in
                                              such as family size or being under the                  commenter stated that women are more
                                                                                                                                                             the totality of the circumstances, and an
                                              age of 18, are misaligned with efforts to               likely to be victims of harassment at
                                                                                                                                                             alien could always show evidence of
                                              grow the U.S. economy. Another                          work, and are more likely to face
                                                                                                                                                             disenrollment, or evidence that the alien
                                              commenter expressed concern that the                    negative consequences if they speak out.
                                                                                                                                                             obtained private health insurance or
                                              negative weighted factors ignore the                    Another commenter stated that the
                                                                                                                                                             other means of support to offset this
                                              positive impacts receiving public                       employability factor and receipt within
                                                                                                                                                             heavily weighted negative factor.
                                              benefits have on future self-sufficiency.               the previous 36 months of one or more
                                                                                                                                                                As noted elsewhere in this rule,
                                                 Response: As explained in the NPRM,                  public benefits above the threshold
                                              the mere presence of any of the factual                                                                        Congress has generally exempted certain
                                                                                                      would unfairly affect individuals with
                                              circumstances listed in the rule would                                                                         vulnerable populations from the public
                                                                                                      disabilities. Some commenters stated
                                              not, alone, be outcome determinative. A                                                                        charge ground of inadmissibility, such
                                                                                                      that survivors of domestic and sexual
                                              circumstance that the rule designates as                                                                       as VAWA, T, and U applicants, and
                                                                                                      abuse would be disproportionately
                                              warranting heavy weight might be                                                                               DHS included these exemptions in the
                                                                                                      affected by heavily weighting recent
                                              outweighed by countervailing evidence                                                                          regulatory text in this final rule. DHS,
                                                                                                      receipt of one or more public benefits.
                                              in the totality of the circumstances.742                                                                       however, will not adjust the statutory
                                                                                                      A commenter stated that the proposed
                                              Other evidence may also be probative of                 rule’s lookback period will negatively                 factors to otherwise accommodate
                                              an alien’s likelihood to become a public                impact pregnant women as well as                       specific groups whom Congress has
                                              charge in the context of an alien’s                     women and families with children                       made subject to the public charge
                                              individual circumstances.743 Therefore,                 because they are eligible to receive                   ground of inadmissibility.
                                              the public charge inadmissibility                       benefits for a longer period of time.                  Q. Heavily Weighted Negative Factors
                                              determination, as proposed in the
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                                                                                                      Another commenter stated that using
                                              NPRM and as set forth in this final rule,               recent receipt of public benefits as a                 1. Lack of Employability
                                                                                                      heavily weighted negative factor would                    Comment: One commenter supported
                                                741 See Inadmissibility on Public Charge Grounds,
                                                                                                      have disastrous effects on those                       lack of employability as a heavily
                                              83 FR 51114, 51198–206 (proposed Oct. 10, 2018).                                                               weighted negative factor, and stated that
                                                742 See Inadmissibility on Public Charge Grounds,
                                                                                                      receiving Medicaid. Several commenters
                                              83 FR 51114, 51198 (proposed Oct. 10, 2018).            stated that the heavily weighted                       lack of employability should be the only
                                                743 See Inadmissibility on Public Charge Grounds,                                                            disqualifying factor. Another
                                              83 FR 51114, 51198 (proposed Oct. 10, 2018).              744 See   8 U.S.C. 1601.                             commenter stated that employment


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                                              alone does not guarantee an immigrant’s                 employment. Because this factor                       society and the economy but believes
                                              economic self-sufficiency, because                      assesses whether an alien who has work                that including public benefits as a
                                              much of the work done by immigrants                     authorization has worked or can                       heavily weighted negative factor is an
                                              is low-wage and does not fully cover the                demonstrate the ability to work in the                appropriate consideration in
                                              cost of living in the United States.                    future, it goes directly to whether the               determining who is likely to become a
                                                 Response: DHS agrees that                            alien is employable, which DHS                        public charge.
                                              employment alone does not guarantee                     believes is particularly indicative of                   Comment: One commenter stated that
                                              that a person will be self-sufficient. DHS              whether an alien is more likely to                    the heavily weighted factors would
                                              disagrees, however, with the comment                    become a public charge.                               impair rather than advance the financial
                                              suggesting that the lack of employability                  With respect to the commenter’s                    stability of immigrants. A commenter
                                              should be disqualifying in the public                   objections regarding vagueness, DHS                   stated the negative factors in the rule
                                              charge inadmissibility determination.                   believes it is reasonable and consistent              ignore the role public benefits and
                                              All the factors as listed in the statute                with a totality of the circumstances                  family support play in advancing self-
                                              and this final rule, including the heavily              approach to not limit the review of                   sufficiency. Another commenter stated
                                              weighted negative factors, are reviewed                 employability to specific time periods or             that using receipt of one or more public
                                              in the totality of the circumstances. The               specific types of employment. Form I–                 benefits as a heavily weighted factor
                                              fact that an alien is not a full-time                   485 requests information on the last 5                would hurt the ability of public benefit-
                                              student and is authorized to work but                   years of employment. An applicant may                 granting agencies to combine multiple
                                              cannot demonstrate employment history                   be able to demonstrate prospects of                   benefits that work in concert to improve
                                              or a reasonable prospect of future                      future employment through their                       self-sufficiency of the recipients.
                                              employment will not be the sole factor                  employment history and education and                     Response: DHS agrees that public
                                              that would lead to a determination that                 skills.                                               benefits can assist in advancing self-
                                              the applicant is inadmissible as likely at                                                                    sufficiency but believes the rule is a
                                              any time to become a public charge.745                  2. Current Receipt of One of More
                                                                                                                                                            proper interpretation of the
                                              Even where an alien has this heavily                    Public Benefit
                                                                                                                                                            congressional mandate regarding the
                                              weighted negative factor, that factor, in                  Comment: A few commenters stated                   public charge provisions.747 Further, the
                                              and of itself, will not render an                       that considering current receipt of one               rule does not prevent public benefit-
                                              applicant likely at any time to become                  or more public benefits is not in keeping             granting agencies from working to
                                              a public charge in the totality of the                  with the totality of circumstances test.              improve the self-sufficiency of
                                              circumstances analysis.                                 In addition to this, one commenter                    recipients, although it does create
                                                 DHS will not implement the                           stated that including receipt of one or               consequences for an alien’s receipt of
                                              suggestion that the lack of employability               more public benefits to the public                    certain public benefits.
                                              be the only disqualifying factor. As                    charge determination was a drastic                       Comment: One commenter said this
                                              noted above, none of the heavily                        change in the scope of the test. One                  factor was appropriately weighted but
                                              weighted negative factors is                            commenter stated that including public                indicated that an alien’s reliance on a
                                              disqualifying and further, DHS has                      benefits as a heavily weighted negative               foreign government assistance program
                                              determined that there are other factual                 factor ignores the contributions of low-              should not be considered as a negative
                                              circumstances (e.g., income, assets,                    wage workers to society and the                       factor, as in many cases, the dependence
                                              resources at or above 250 percent) apart                economy. A few commenters stated                      on such programs is customary, or the
                                              from employability that are also                        there was not sufficient evidence to                  program is designed to be one where the
                                              particularly indicative of an alien being               state that receipt of one or more public              immigrant would not have had to opt
                                              more of less likely to become a public                  benefits is indicative of someone                     into.
                                              charge and therefore, are heavily                       becoming a public charge. Other                          Response: DHS appreciates the
                                              weighted negative factors.                              commenters said that some people who                  comment and agrees that the factor is
                                                 Comment: A commenter stated that                     are self-sufficient will access benefits,             appropriately weighted. DHS did not
                                              the factor is misleadingly characterized                and that this has been supported by                   propose and will not consider public
                                              in the preamble as a ‘‘Lack of                          congressional intent.                                 benefits provided by foreign
                                              Employability.’’ The commenter                             Response: DHS disagrees that                       countries.748 Public benefits in foreign
                                              indicated that it is not clear how                      considering prior or current receipt of               country have different standards and
                                              recently a person needs to have worked,                 public benefits is inconsistent with the              objectives. For example, in some
                                              or how they would demonstrate the                       totality of the circumstances test. As                countries, such as Canada, healthcare is
                                              prospect of future work, or even the                    discussed in the NPRM, DHS believes                   provided on a national basis and is not
                                              type of work that would avoid the                       that receipt of benefits is a key gauge to            based on income eligibility and not
                                              application of this heavily weighted                    determining the likelihood of future use              aligned to a need-based standard. In
                                              negative factor. Some commenters                        of public benefits and becoming a                     addition, the inadmissibility
                                              stated that the employability heavily                   public charge. All else being equal, a                determination is whether a person is
                                              weighted negative factor was vague and                  person who is currently receiving public              likely to become a public charge in the
                                              poorly defined.                                         benefits is more likely to receive public             United States.
                                                 Response: DHS does not believe that                  benefits in the future than a person who
                                              the heading for this factor is misleading.              is not currently receiving such benefits.             3. Receipt of Public Benefits Within 36
                                              The factor relates to whether an alien                  The 1999 Interim Field Guidance                       Months Before Filing
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                                              who is not a full-time student and is                   recognizes this by directing officers to                Comment: Some commenters stated
                                              authorized to work, is able to                          consider current and past receipt of                  that a retrospective test is inconsistent
                                              demonstrate current employment,                         covered benefits.746 DHS appreciates                  with the prospective nature of the
                                              recent employment history, or a                         that low-wage workers contribute to
                                              reasonable prospect of future                                                                                   747 See8 U.S.C. 1601.
                                                                                                        746 SeeField Guidance on Deportability and            748 See8 CFR 212.21(b). See Inadmissibility on
                                                745 See Inadmissibility on Public Charge Grounds,     Inadmissibility on Public Charge Grounds, 64 FR       Public Charge Grounds, 83 FR 51114, 51158–74
                                              83 FR 51114, 51178 (proposed Oct. 10, 2018).            28689, 28690 (May 26, 1999).                          (proposed Oct. 10, 2018).



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                                              public charge inadmissibility                           of stable employment or income would                   certified to receive, or approval to
                                              determination. Other commenters                         be a consideration in the totality of the              receive one or more public benefits, as
                                              asserted that weighing receipt of public                circumstances. However, DHS believes,                  defined, for more than 12 months
                                              benefits within the previous 36 months                  as discussed in the NPRM, that past                    within any 36 month period, beginning
                                              is inconsistent with the totality of                    receipt of public benefits for more than               from 36 months prior to the alien’s
                                              circumstances test, and represented a                   12 months in the aggregate within 36                   application for admission or adjustment
                                              significant and troubling departure from                months is an indicator that an alien will              of status, will be considered a heavily-
                                              current federal policy. A commenter                     continue to receive (or again receive)                 weighted negative factor in the totality
                                              commented that the ‘‘studies provide                    public benefits, and therefore is likely to            of the circumstances assessment.
                                              zero evidence that previous receipt of                  become a public charge.                                   The NPRM explains that the weight
                                              the newly added benefits is an indicator                   Comment: A commenter indicated                      given to public benefits will depend on
                                              of future use.’’ A few commenters                       that the 36-month standard is                          whether the alien received multiple
                                              commented that receipt of public                        unreasonable because the study                         benefits, how long ago the benefits were
                                              benefits is a clear benchmark that an                   conducted by HHS in 2001 is outdated                   received, and the amounts received.750
                                              immigrant was deemed eligible for a                     and does not appear to provide a                       For example, the receipt of a public
                                              benefit by another Federal agency and it                reasonable basis for the 36-month                      benefit five years ago may be a negative
                                              is therefore inappropriate to consider                  period that DHS has included in this                   factor; however, a public benefit
                                              previous receipt of public benefits.                    proposed rule. A couple of commenters                  received six months before the
                                              Several commenters stated that if the                   stated there was not adequate rationale                adjustment of status application would
                                              specific circumstances that led to the                  to support negatively weighting receipt                be considered a heavily weighted
                                              use of public benefits no longer apply,                 of public benefit within the prior 36                  negative factor. DHS will consider
                                              the previous use of benefits is irrelevant.             months. Another commenter stated that                  receipt of (or application or certification
                                              One commenter added to this and said                    it was unclear how prior benefit use                   for) public benefits after the effective
                                              that they opposed the proposed addition                 would be weighted. A couple of                         date of the rule. DHS will also consider
                                              of receipt of public benefits within last               commenters stated that the 36-month                    those benefits that were previously
                                              36 months of filing application as there                rule is unfair because no one could have               considered under the 1999 Interim Field
                                              are many cases where someone needs                      predicted this rule or can predict their               Guidance including SSI, TANF, State
                                              help only temporarily. Another                          circumstances, and would cause great                   and local cash assistance programs that
                                              commenter stated that many individuals                  fear and confusion.                                    provide benefits for income
                                              would just disenroll from benefits for 3                   Response: As discussed in the NPRM,                 maintenance (often called ‘‘General
                                              years and re-enroll once they receive                   some studies suggest that although most                Assistance’’ programs), and those
                                                                                                      people who leave welfare programs are                  benefits received (including Medicaid)
                                              adjustment of status, but in the
                                                                                                      working after they leave those programs,               to support the alien’s
                                              meantime could suffer. Many
                                                                                                      people may come back to receive                        institutionalization for long-term care.
                                              commenters stated that a lookback
                                                                                                      additional public benefits.749 As                      The publication of the rule and effective
                                              period disregards the positive effects of
                                                                                                      explained in the NPRM, DHS would                       date provides sufficient notice for
                                              public benefits, including future self-
                                                                                                      view past receipt of public benefits                   people to cancel current receipt of
                                              sufficiency. Several commenters stated
                                                                                                      within 36 months as an indicator that an               public benefits.
                                              that the 36-month rule is retrospective
                                                                                                      alien will continue to receive (or again                  Comment: One commenter requested
                                              and has no place in a rule that is meant
                                                                                                      receive) public benefits, and therefore is             an explanation of the necessity of the
                                              to be forward looking, and commented
                                                                                                      likely to become a public charge. With                 36-month lookback period as most
                                              that prior receipt of public benefits has
                                                                                                      respect to the statement that the study                immigrants who would qualify for
                                              no bearing on whether an individual                     is outdated or insufficient, DHS notes
                                              will be dependent on the Government in                                                                         public benefits are either exempt from
                                                                                                      that although there are limitations to the             public charge determinations or have
                                              the future. A commenter indicated that                  data, this study was particularly of
                                              the past receipt of public benefits                                                                            already adjusted status.
                                                                                                      interest in that it examined repeated                     Response: As explained previously,
                                              should receive no weight. One                           return to public benefit programs.
                                              commenter expressed concern that by                                                                            the 36-month component of the public
                                                                                                         As explained elsewhere in this rule,                charge threshold is an appropriate
                                              using a lookback period, even                           DHS has also clarified as part of the
                                              individuals who were able to increase                                                                          timeframe to determine whether an
                                                                                                      definition of receipt of public benefits,              alien is more likely than not to become
                                              their earnings to a point where                         that although an application or
                                              assistance is no longer needed will be                                                                         a public charge at any time in the future.
                                                                                                      certification for public benefits is not               That said, DHS will not make a public
                                              penalized. Adding to this, a commenter                  considered receipt, DHS believes that
                                              that the proposed lookback period will                                                                         charge inadmissibility determination
                                                                                                      the application for, or being certified to             with respect to aliens who are exempt
                                              disproportionately hurt those who are                   receive in the future to receive public
                                              gainfully employed and may therefore                                                                           from public charge inadmissibility or
                                                                                                      benefits may suggest a likelihood of                   who have already adjusted status to that
                                              be eligible to access benefits for longer               future receipt. Correspondingly, DHS
                                              than those who are not employed.                                                                               of a lawful permanent resident, and
                                                                                                      also amended the heavily weighted                      would not otherwise be considered
                                                 Response: DHS understands that a                     factor to state an alien’s receipt, being              applicants for admission. Therefore,
                                              person may no longer need public
                                                                                                                                                             DHS will not consider whether such
                                              benefits in the future if the                              749 See Lashawn Richburg-Hayes & Stephen

                                                                                                      Freedman, A Profile of Families Cycling On and Off     aliens have received public benefits.
                                              circumstances that led to the use of
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                                                                                                      Welfare 4 (Apr. 2004), available at https://           With respect to other aliens, as
                                              public benefits no longer apply, and                    aspe.hhs.gov/system/files/pdf/73451/report.pdf         discussed in this final rule, DHS has
                                              DHS would take that into consideration.                 (last visited July 26, 2019). See also U.S. Dep’t of   added the consideration of credible and
                                              DHS would take into consideration that                  Health & Human Servs., Office of the Assistant
                                                                                                      Sec’y for Planning & Evaluation, Status Report on      probative evidence presented by the
                                              the public benefit was used temporarily
                                                                                                      Research on the Outcomes of Welfare Reform app.
                                              and that the person may not be likely to                B (Aug. 2001), available at https://aspe.hhs.gov/        750 This proposed policy is generally consistent
                                              receive public benefits in the future. No               report/status-report-research-outcomes-welfare-        with longstanding policy affording less weight to
                                              longer receiving public benefits because                reform-2001 (last visited July 26, 2019).              benefits that were received longer ago in the past.



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                                              alien from a Federal, state, or local                   disabilities from entering or remaining               Form I–693 or DOS medical
                                              government agency that demonstrates                     in the United States. The commenter                   examination form, USCIS will be relying
                                              the alien is not eligible for one or more               further stated that assigning the factor a            on the diagnoses set forth by the civil
                                              public benefits. This information will be               heavy weight would codify                             surgeon or designated panel physician
                                              taken into consideration in the totality                discriminatory assumptions regarding                  on such forms submitted in support of
                                              of the circumstances.                                   people with disabilities. The commenter               the application for the diagnosis of any
                                                                                                      stated that disability should remain a                medical conditions; USCIS will also rely
                                              4. Financial Means To Pay for Medical
                                                                                                      factor to be measured on a case-by-case               on evidence, as provided by the
                                              Costs
                                                                                                      basis free of an automatically assigned               applicant, of a medical condition that is
                                                 Comment: Some commenters stated                      heavy negative weight.                                likely to require extensive medical
                                              that many people do not have the ability                   Response: DHS will retain the heavily              treatment or institutionalization after
                                              to afford their own healthcare due to                   weighted negative factor based on the                 arrival, or that will interfere with the
                                              low wages and the high cost of                          applicant’s lack of financial means to                alien’s ability to care for himself or
                                              healthcare, making this factor unfair to                pay for reasonably foreseeable medical                herself, to attend school, or to work.
                                              low-wage workers and immigrants.                        costs if the alien does not have private              DHS will not speculate as to the cost of
                                              Another commenter expanded on this                      health insurance. As established in the               medical conditions or the ability of a
                                              and remarked that this factor will                      NPRM, certain chronic medical                         person to provide for himself or herself
                                              simply exclude individuals without                      conditions can be costly to treat and                 or go to school or work.
                                              substantial resources and who do not                    certain conditions may adversely affect                  Comment: Multiple commenters
                                              understand the complicated healthcare                   an applicant’s ability to obtain and                  stated that farmworkers often lack
                                              system in the United States. One                        retain gainful employment, or to                      health insurance, even if offered by their
                                              commenter expressed concern that the                    otherwise support himself or herself.                 employer, because they cannot afford it,
                                              rule asserts that a sign of self-sufficiency            Evidence outlined in the NPRM also                    and stated this factor is unfair to these
                                              is having enough cash on-hand to deal                   indicated that individuals in poor to fair            workers.
                                              with serious illness, asserting that most               health are more likely to access public                  Response: For nonimmigrants’
                                              Americans born in this country could                    benefits to treat their medical condition.            admission, DHS will also consider the
                                              not pass this test. Another commenter                   DHS agrees with the commenter that                    proposed length of stay of the
                                              stated that it is impossible to predict an              this factor may be applicable even if the             nonimmigrant and the assets, resources
                                              individual’s future healthcare costs.                   applicant has not received any public                 and financial status of the applicant.
                                                 Response: The basis for including                    benefits, but disagrees that this factor              Some employers may provide for
                                              Medicaid in the rule is discussed earlier               would keep most people with                           medical assistance for the duration of
                                              in this preamble. Even if the alien does                disabilities from entering or remaining               the alien’s stay. Whether a person has
                                              not have health insurance, he or she                    in the United States. Since the public                the ability to pay for reasonably
                                              should have sufficient funds to provide                 charge inadmissibility determination is               foreseeable medical costs is but one
                                              for any reasonably foreseeable medical                  made on a case-by-case basis and in the               factor in the totality of the
                                              costs, which is only one consideration                  totality of the alien’s individual                    circumstances. As previously indicated
                                              in the totality of the circumstances.                   circumstances, an applicant could                     for extension of stay and change of
                                              Further, DHS will not consider                          overcome this heavily weighted                        status purposes, DHS removed the
                                              assistance for an ‘‘emergency medical                   negative factor through presentation of               forward looking determination and will
                                              condition’’ as provided under section                   other evidence.                                       only consider whether the
                                              1903(v) of Title XIX of the Social                         Additionally, DHS notes that the fact              nonimmigrant received public benefits
                                              Security Act, 42 U.S.C. 1396b(v), and in                that an applicant has a disability does               during the stay.
                                              implementing regulations at 42 CFR                      not mean that the applicant has this
                                              440.255(c) as part of the public charge                                                                       5. Alien Previously Found Inadmissible
                                                                                                      heavily weighted negative factor, and
                                              inadmissibility determination. Having                                                                         or Deportable Based on Public Charge
                                                                                                      disagrees that the rule codifies
                                              health insurance or being able to pay for               discriminatory assumptions. As is the                    Comment: Some commenters asserted
                                              medical expenses is only one factor in                  case with any other applicant,                        that by using whether a person was
                                              the totality of the circumstances. This                 individuals with disability may                       previously found inadmissible or
                                              factor does not call for the alien to be                establish their self-sufficiency                      deportable as a public charge as a
                                              able to pay for medical costs that are not              notwithstanding their medical condition               heavily weighted factor, DHS would be
                                              reasonably foreseeable.                                 that is likely to require extensive                   ignoring the prospective nature of the
                                                 Comment: Commenters suggested that                   medical treatment or institutionalization             public charge assessment. One
                                              DHS eliminate the proposed heavily                      or that will interfere with the alien’s               commenter stated that since the prior
                                              weighted negative factor for an alien                   ability to provide for himself or herself,            finding of not being a public charge is
                                              who (1) has been diagnosed with a                       attend school, or work. Such applicants               not accorded comparable weight in the
                                              medical condition that is likely to                     may do so by providing proof of income,               proposed rule this factor would be
                                              require extensive medical treatment or                  employment, education and skills,                     arbitrary and unfair. The commenter
                                              institutionalization or that will interfere             private health insurance, and private                 stated that in addition, because the only
                                              with the alien’s ability to provide for                 resources.                                            heavily weighted positive factor that
                                              himself or herself, attend school, or                      Comment: One commenter expressed                   could counterbalance this one is income
                                              work, and who (2) is uninsured and has                  concern that this factor would allow                  or assets above 250 percent of the FPG,
                                              neither the prospect of obtaining private                                                                     reliance on such a factor would
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                                                                                                      DHS personnel to overrule the opinions
                                              health insurance, nor the financial                     of medical professionals in a move that               arbitrarily impose a more difficult
                                              resources to pay for reasonably                         would invite ‘‘unbridled speculation                  evidentiary hurdle for immigrants below
                                              foreseeable medical costs related to a                  and discrimination.’’                                 that level than for immigrants above it
                                              medical condition. A commenter stated                      Response: DHS disagrees that this                  without rational justification, as well as
                                              that the factor is applicable even if the               heavily weighted negative factor would                disproportionately harm immigrants of
                                              applicant has not used public benefits                  permit DHS to overrule the opinions of                color, who are less likely to earn above
                                              and would keep most people with                         medical professionals. In reviewing the               that level, as described infra in our


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                                              comments on the 250 percent criteria.                   improperly adjudicated. One                           generally. DHS chose to study
                                              Another commenter warned that this                      commenter stated the 250 percent                      noncitizens specifically despite the
                                              factor would be an arbitrary addition                   threshold does not go far enough to help              inherent issues in making inferences
                                              and would serve no purpose other than                   qualified individuals overcome the                    from small sample sizes, since the
                                              to deter individuals from applying for                  public charge test. Other commenters                  population of noncitizens more closely
                                              adjustment of status out of fear it would               stated that the proposed heavily                      corresponded to the individuals who
                                              ruin their future attempts to gain lawful               weighted positive factor ignores the                  would be subject to the public charge
                                              permanent residence status.                             positive contributions of immigrants.                 rule than foreign-born generally, which
                                                 Response: DHS disagrees that                         One commenter stated that using 250                   includes naturalized citizens. In Table
                                              considering a prior inadmissibility                     percent as the sole positive factor                   27 of the NPRM, DHS showed that there
                                              determination as a heavily weighted                     undermines and minimizes the value of                 is lower public benefit program
                                              negative factor would be arbitrary and                  other key economic and wealth building                participation rates among those in
                                              unfair or that considering an alien’s                   milestones. Additionally, some                        higher income categories for the
                                              prior admissibility under the public                    commenters stated that the proposed                   population of citizens in the tables
                                              charge ground would merit comparable                    heavily weighted positive factors                     listed in the NPRM. Lower participation
                                              favorable treatment. A previous finding                 undervalue those who contribute to                    rates may also be shown in the overall
                                              of inadmissibility on public charge                     society in nonmonetary ways, such as                  population by averaging across both
                                              grounds would likely be documented.                     stay at home parents. Another                         citizens and noncitizens (i.e., Tables 27
                                              By contrast, there would not necessarily                commenter stated that the 250 percent                 and 28 of the NPRM). Table 28 of the
                                              be a statement of the Government’s                      threshold functions as a ‘‘wealth-test.’’             NPRM is not inconsistent with such a
                                              reasons for admitting the alien or                      Another commenter said that most                      relationship. The justification still holds
                                              approving his or her application for                    legally present noncitizens would not                 for using income as a percentage of FPG
                                              adjustment of status.                                   meet the 250 percent FPG threshold.                   in the public charge determination, and
                                                 DHS acknowledges that an alien’s                     Similarly, other commenters stated that               persons with an income at a higher
                                              circumstances may have changed since                    much of the U.S. population would not                 percentage of the FPG are less likely the
                                              a previous application for admission or                 qualify to have a heavily weighted                    to receive public benefits than those at
                                              determination of inadmissibility or                     positive factor. Many commenters said                 a low percentage. Further, DHS
                                              deportability based on the public charge                the threshold for a family of four is                 disagrees that the 250 percent threshold
                                              ground. DHS would take those new                        higher than the 2017 median household                 would discourage people from
                                              circumstances into account in the                       income for the United States ($63,000                 supporting their families as 125 percent
                                              totality of the circumstances when                      vs. $61,372). One commenter stated that               is the threshold for positive
                                              making a new public charge                              in some regions of the United States                  consideration in the totality the
                                              inadmissibility determination. There is                 those earning above 250 percent FPG                   circumstances and the 250 percent
                                              no requirement to specifically ‘‘balance                would be among the wealthiest in their                threshold a heavily weighted positive
                                              out’’ a heavily weighted negative factor                communities. One commenter stated                     factor but not a requirement. DHS
                                              with a heavily weighted positive one.                   that the proposed 250 percent FPG                     acknowledges that the income threshold
                                              Rather adjudicators will consider the                   threshold would do little to improve the              may be harder to meet if the alien has
                                              alien’s specific circumstances within                   systemic issues of income inequality in               a larger household size, however, DHS
                                              the totality of the circumstances                       the United States.                                    would also take into account any
                                              framework when assessing the alien’s                      Response: DHS disagrees that the rule
                                                                                                                                                            income, assets, or resources the other
                                              likelihood of becoming a public charge,                 provides a wealth test. The 250 percent
                                                                                                                                                            household members also provide.
                                              and will afford specific facts the weight               FPG standard is a heavily weighted
                                                                                                                                                            Nevertheless, family status is still a
                                              they are due in the context of this rule’s              positive factor and not a requirement
                                                                                                                                                            mandatory factor as established by
                                              adjudicative framework.                                 that aliens need to meet in order to
                                                                                                                                                            Congress.751
                                                                                                      overcome a public charge
                                              R. Heavily Weighted Positive Factors                    inadmissibility finding. As previously                   Comment: One commenter stated that
                                                                                                      stated, income is one factor in the                   heavily weighing household income at
                                              1. Proposed Standard                                                                                          or above 250 percent FPG would
                                                                                                      totality of the circumstances, and any
                                                 Comment: Several commenters stated                   income above 125 percent of the FPG is                confuse the threshold for the affidavit of
                                              that having the 250 percent threshold as                a positive factor.                                    support.
                                              the sole heavily weighted positive factor                 Comment: Several commenters cited                      Response: The affidavit of support is
                                              in the public charge test would                         research showing there was not a                      a different requirement and has a
                                              represent a fundamental change to                       statistically significant difference in               specific form associated with it. The
                                              immigration policy and the immigrant                    receipt of benefits between immigrants                affidavit of support threshold is 125
                                              population. A commenter stated a                        above and below the 250 percent                       percent of the FPG of the sponsor’s
                                              bright-line positive or negative income                 threshold. Some commenters stated that                income and that threshold is not being
                                              threshold subverts the totality of                      the 250 percent FPG threshold would                   changed with this rule. The income
                                              circumstances consideration. Some                       have a perverse effect of discouraging                threshold for the alien’s household is
                                              commenters stated that the 250 percent                  people from supporting family members                 part of this rule’s totality of the
                                              threshold was another example of                        out of fear it would change their public              circumstances public charge assessment
                                              double counting in public charge                        charge determination.                                 is 250 percent of the FPG. Income at this
                                              inadmissibility determinations under                      Response: DHS acknowledges that                     level is considered a heavily weighted
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                                              the proposed rule. Another commenter                    certain tests involving estimates of                  positive factor (as opposed to income at
                                              stated the 250 percent threshold was                    noncitizens yielded results in Table 28               the 125 percent of the FPG (100 percent
                                              there to prevent immigration through                    of the NPRM that were not statistically               for member of the U.S. Armed forces in
                                              administrative means. Another                           significant, which in some cases was a                active duty), which is a positive
                                              commenter stated that those falling                     consequence of small sample sizes due                 consideration).
                                              between 125 percent and 250 percent of                  to forming estimates on only
                                              the FPG would have their cases                          noncitizens instead of foreign-born more                751 See   INA section 212(a)(4), 8 U.S.C. 1182(a)(4).



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                                                 Comment: Another commenter stated                    a heavily weighted positive factor                    skilled employees such as post-doctoral
                                              there may not be enough time for                        because it is particularly indicative of              research fellows may not make enough
                                              migrants under certain visa                             an alien being less likely to become a                money to qualify for the heavily
                                              classifications to seek, obtain, and begin              public charge. An applicant subject to                weighted positive factor. Some
                                              a job with the income necessary to meet                 the public charge ground of                           commenters remarked that many skilled
                                              the 250 percent of FPG level.                           inadmissibility is not required to                    workers are compensated with stock
                                                 Response: The burden is upon the                     demonstrate that he or she has income                 options as part of their regular income,
                                              alien to establish that he or she is                    at or above 250 percent of the FPG in                 and it is unclear if this will be
                                              eligible to be admitted into the United                 order to establish admissibility, and an              considered under the heavily weighted
                                              States. Further, certain nonimmigrant                   alien’s failure to demonstrate such                   positive factor. One commenter
                                              and immigrant classifications require                   income does not receive ‘‘negative’’                  expressed concern that the 250 percent
                                              the employment to be established before                 weight in the totality of the                         threshold does not take into account
                                              the nonimmigrant visa is issued. That                   circumstances unless that income is                   that many workers will increase their
                                              said, DHS notes that there is no                        below 125 percent of the FPG. The                     income the longer they work. A few
                                              requirement that an applicant subject to                standard only serves to assist                        commenters stated that that the 250
                                              the public charge ground of                             individuals in establishing self-                     percent threshold would pose a unique
                                              inadmissibility demonstrate that he or                  sufficiency.                                          challenge for California, where it would
                                              she has income at or above 250 percent                     Comment: A commenter stated that                   make it more difficult to extend the
                                              of the FPG in order to gain admission or                many couples seeking adjustment of                    status of H–1B visa holders and create
                                              adjustment of status. Rather, the fact                  status would be affected by the 250                   a labor shortage for California’s
                                              that an applicant who has income at or                  percent threshold, as many of these                   agriculture industry, which heavily
                                              above 250 percent of the FPG will weigh                 visas prohibit immigrants from working.               relies on the H–2A visa program.
                                              heavily in favor of finding the applicant               The commenter stated that according to                   Response: DHS understands that not
                                              is admissible in the totality of the                    one analysis, about 31 percent of                     everyone is authorized to work or needs
                                              circumstances, but is not outcome                       foreign-born spouses were unemployed                  to work in order to be self-sufficient. As
                                              determinative. Therefore, an applicant                  when they applied for a marriage-based                previously indicated the 250 percent of
                                              who has household income below 250                      green card, as many were prohibited                   the FPG standard is not a requirement
                                              percent of the FPG will not, based on                   from working on their nonimmigrant                    to establish admissibility and is one
                                              that fact alone, be denied admission or                 visas, such as the F–1 or F–2 student                 consideration in the totality of the
                                              adjustment of status.                                   visas, or B–2 visitor visas. For those                circumstances. Further, when
                                                 Comment: Several commenters stated                   who did work, about 22 percent of them                adjudicating a nonimmigrant’s
                                              the proposed 250 percent heavily                        held jobs that would unlikely meet the                application for extension of stay or
                                              weighted positive threshold would                       250 percent income threshold, and even                change of status, USCIS will review
                                              disproportionately affect members of                    if DHS were to allow both spouses to                  whether the alien has established that
                                              marginalized communities; hard-                         pool their income to meet the new                     he or she has not received, since
                                              working low- and middle-income                          threshold, 36 percent of couples could                obtaining the nonimmigrant status he or
                                              families; immigrants of color; South                    still find themselves unable to qualify               she is seeking to extend or change, any
                                              Asian immigrants; Latino immigrants;                    for a marriage green card. The                        public benefit as defined in 8 CFR
                                              Muslim immigrants; immigrants with                      commenter stated that it is basic                     212.21(b), for more than 12 months, in
                                              disabilities; those with pre-existing                   common sense that a student who is                    the aggregate, within a 36 months
                                              health conditions; women and single                     prohibited from working would likely                  period. The heavily weighted factors do
                                              mothers; victims of domestic and sexual                 have some student loans, potentially                  not apply in that context.
                                              abuse; families with children who have                  credit card loans, and would not have
                                              special healthcare needs; and the health                                                                      2. Additional Positive Heavily Weighted
                                                                                                      significant savings, and that the rule
                                              and well-being of children of immigrant                                                                       Factors
                                                                                                      would allow primarily the
                                              parents.                                                independently wealthy to be eligible for                 Comment: One commenter said that
                                                 A few commenters stated that the                     marriage-based adjustment of status.                  the 250 percent of the FPG standard
                                              proposed heavily weighted positive                         One commenter said the proposed                    should be downgraded from ‘‘highly
                                              factor would increase family separations                heavily weighted positive factor creates              positive’’ to just considered. Some
                                              and would have a negative impact on                     a ‘‘Catch-22’’ for nonimmigrants on                   commenters stated that earning 125
                                              family-based immigration. Many                          student visas who are married to U.S.                 percent of the FPG should be a heavily
                                              commenters stated that the proposed                     citizens because they are not allowed to              weighted positive factor.
                                              heavily weighted positive factor would                  work. Some commenters cited a study                      Response: DHS declines to adopt the
                                              effectively bar lower income                            that many H–1B visa holders make less                 commenter’s suggested changes in this
                                              immigrants; disregards the efforts and                  than the amount necessary to support a                final rule. The rule already provides for
                                              contributions of low-wage workers; and                  family of five and qualify for the                    125 percent of the FPG as a positive
                                              that the majority of legally present                    proposed income threshold of 250                      factor in the totality of the
                                              noncitizens would fail to meet the 250                  percent of FPG. Another commenter                     circumstances. Making 250 percent of
                                              percent FPG threshold.                                  stated that the proposed rule would                   the FPG a general positive factor instead
                                                 Response: DHS understands that the                   negatively impact skilled workers who                 of a heavily weighted positive factor
                                              rule may affect certain groups who may                  are supporting families and are making                would further limit an alien’s ability to
                                              have low incomes; however, income is                                                                          establish admissibility. An alien would
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                                                                                                      prevailing, middle-class wages. One
                                              but one factor in the totality of the                   commenter mentioned that the vast                     not need to establish income at or above
                                              circumstances and will not serve as the                 majority of scientific researchers                    250 percent of the FPG in other to be
                                              sole reason to find an alien inadmissible               applying for permanent resident status                admitted into the United States. Any
                                              based on public charge grounds. As                      based upon an approved EB–1A, EB–1B                   income between 125 percent and 250
                                              previously indicated, if an applicant has               or NIW petition do not meet this 250                  percent of the FPG is still a positive
                                              household income at or above 250                        percent income requirement. Another                   factor in the totality of the
                                              percent of the FPG it will be treated as                commenter also stated that some highly                circumstances. The 125 percent income


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                                              threshold is based on the income                        b. Family Relationships                               obtained. People who spoke a language
                                              threshold set by Congress for sponsors                     Comment: Commenters suggested that                 other than English at home were less
                                              for a Form I–864, which is required for                 the rule add close family relationship to             likely to be employed, and less likely to
                                              most family-based AOS applications                      the U.S. citizen or lawful permanent                  find full-time work when employed.752
                                              and some employment-based AOS                           resident, or having a relative in the                 The SIPP data provided in the NPRM
                                              applications. In order to maintain                      United Stated providing support, as a                 indicates that the rate of coverage of
                                              consistency with the income threshold                   heavily weighted positive factor because              non-cash benefits among those who
                                              set forth in the Form I–864 context, DHS                it is strongly associated with self-                  spoke English either well or very well
                                              believes that the 125 percent threshold                 sufficiency. The commenter notes that                 (about 15 to 20 percent) was
                                              is appropriate for use in the public                                                                          significantly lower than the rate among
                                                                                                      immigrants overwhelmingly come to the
                                              charge rule and will not lower the                                                                            those who either spoke English poorly
                                                                                                      United States to work and advance their
                                              threshold. Any household income                                                                               or not at all (about 25 to 30 percent).
                                                                                                      own and their families’ financial
                                              between 125 percent and 250 percent of                                                                        Further, DHS understands that not all
                                                                                                      prospects. The commenter cited their
                                              the FPG is considered a positive factor                                                                       employment requires English
                                                                                                      own report that estimates that 2.25
                                              in the totality of the circumstances.                                                                         proficiency. DHS believes that while it
                                                                                                      million undocumented persons and
                                                                                                                                                            is appropriate to consider English
                                              a. Affidavit of Support                                 212,000 nonimmigrants have a
                                                                                                                                                            proficiency in the consideration of
                                                                                                      qualifying family relationship to a U.S.
                                                 Comment: A commenter stated that                                                                           likelihood to become a public charge in
                                                                                                      citizen or lawful permanent resident
                                              the proposed rule mandates denial for                                                                         the future, it is inappropriate to include
                                                                                                      living in their household that makes                  English proficiency as a heavily
                                              anyone who cannot provide an affidavit                  them potentially eligible for an
                                              of support, yet the presence of one is not                                                                    weighted positive factor in light of the
                                                                                                      immigrant visa or adjustment to lawful                fact that many jobs do not require it.
                                              a heavily weighted positive factor under                permanent resident status. The report
                                              the proposed rule. Several commenters                   further indicated that out of this                    d. Education
                                              stated the filing of a legally enforceable              population, 982,000 live in families that
                                              affidavit of support by a sponsor should                                                                        Comment: One commenter suggested
                                                                                                      earn at least 250 percent of the FPG.                 that a high school education or beyond
                                              be a heavily weighted positive factor                      Response: DHS will not add a close
                                              and it should be sufficient to overcome                                                                       should be a heavily weighted factor. The
                                                                                                      family relationship to the U.S. citizen or            commenter stated that the totality of the
                                              any heavily weighted negative factors.                  lawful permanent resident as a heavily                circumstances test affords insufficient
                                                 Response: DHS appreciates the                        weighted positive factor. There is                    weight to factors strongly associated
                                              comments but declines to establish the                  insufficient evidence that the fact that              with self-sufficiency and requesting
                                              affidavit of support as a heavily                       an applicant’s household includes a                   additional heavily weighted positive
                                              weighted positive factor. The                           U.S. citizen or lawful permanent                      factors.
                                              submission of an affidavit of support                   resident is indicative of self-sufficiency,             Response: The rule provides that DHS
                                              under section 213A of the Act, 8 U.S.C.                 or that having family members in the                  would consider whether the alien has a
                                              1183a is a requirement for certain                      United States is in and of itself                     high school degree or higher education
                                              categories of immigrants. See section                   indicative of self-sufficiency. As with               as positive factors. However, a person’s
                                              212(a)(4)(C) and (D) of the Act, 8 U.S.C.               every mandatory factor, an applicant’s                education may or may not assist him or
                                              1182(a)(4)(C) and (D). Not all aliens are               family status will not serve as the sole              her in becoming self-sufficient,
                                              required to submit the affidavit of                     basis of a finding of inadmissibility, as             depending on other factors specific to
                                              support. According to section 212(a)(4)                 this factor must be considered in the                 the alien’s circumstances, such as the
                                              of the Act, 8 U.S.C. 1182 (a)(4), the lack              totality of the circumstances.                        job market where the alien lives,
                                              of a sufficient affidavit of support,                                                                         outstanding liabilities and support
                                              where required, renders an alien                        c. English Ability
                                                                                                                                                            obligations, or other personal or family
                                              inadmissible on the public charge                          Comment: One commenter suggested                   circumstances. Therefore, DHS will not
                                              ground. Congress mandated the                           that the ability to speak English well or             include education as a heavily weighted
                                              presence of an affidavit of support in                  very well should be a heavily weighted                positive factor.
                                              certain cases as a separate requirement,                positive factor. The commenter
                                              but did not establish submission of the                 indicated that the totality of the                    e. Private Health Insurance
                                              affidavit of support as a mandatory                     circumstances test affords insufficient                  Comment: One commenter suggested
                                              factor in all public charge                             weight to factors strongly associated                 that private health insurance coverage
                                              inadmissibility determinations.                         with self-sufficiency and requested                   should be considered as a heavily
                                                 There is no indication that Congress                 additional heavily weighted positive                  weighted positive factor, as it is strongly
                                              believed that a sufficient affidavit of                 factors. The commenter’s study found                  associated with self-sufficiency. The
                                              support would warrant a finding that                    that 1.32 million of the 2.25 million that            commenter explained that 1.1 million
                                              the alien is not likely becoming a public               would be directly affected by the                     individuals have health insurance (out
                                              charge. Had Congress believed that to be                proposed rule speak English well or                   of the 2.25 million that would be
                                              true, Congress would have specified                     very well.                                            directly affected by this rule based on a
                                              such a provision in the statute. Instead,                  Response: DHS will consider whether                study conducted by the commenter, a
                                              Congress listed the other factors as the                the alien is proficient in English or                 non-profit think-tank and educational
                                              minimum mandatory factors in section                    proficient in other languages in addition             institute focused on international
                                              212(a)(4) of the Act, 8 U.S.C. 1182(a)(4),              to English as part of the public charge
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                                                                                                                                                            migration) and argued that the rule’s
                                              which do not include the affidavit of                   inadmissibility determination. The                    totality of the circumstances test affords
                                              support. For these reasons, and                         ‘‘speaking English well or very well’’
                                              consistent with congressional intent,                   language comes from the SIPP survey                     752 See Jennifer Cheeseman Day and Hyon B.

                                              DHS will retain the affidavit of support                analysis in which people assessed their               Shin, U.S. Census Bureau, How Does Ability to
                                                                                                                                                            Speak English Affect Earnings? 6 (2005), available
                                              as a factor considered in the totality of               own speaking abilities. As provided in                at https://www.census.gov/hhes/socdemo/language/
                                              the circumstances, but will not make it                 the NPRM, the better the person spoke                 data/acs/PAA_2005_AbilityandEarnings.pdf (last
                                              a heavily weighted positive factor.                     English, the higher the income he or she              visited July 26, 2019).



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                                              insufficient weight to factors strongly                 believe it is appropriate to include a                g. Receipt of Grants, Contracts, and
                                              associated with self-sufficiency.                       heavily weighted positive factor for this             Licensures
                                                 Response: DHS agrees that having                     type of health insurance, although this                  Comment: A commenter suggested
                                              private health insurance is a strong                    type of health insurance would                        that receipt of grants, contracts, and
                                              indicator of self-sufficiency. DHS                      generally be considered positively as                 licensures should be a heavily weighted
                                              analyzed the SIPP data and found that                   part of the consideration of the totality             positive factor. The commenter stated
                                              individuals who have private health                     of the alien’s circumstances, such as                 that excluding grants, contracts, and
                                              insurance are significantly less likely to              with respect to the alien’s ability to pay            licensures from consideration was not
                                              be receiving one or more enumerated                     for reasonably foreseeable health care                appropriate and that an individual’s
                                              public benefits in this rule than those                 costs. Private health insurance                       receipt of a grant, contract, or license is
                                              individuals who do not have private                     purchased through an ACA Marketplace                  likely demonstrative of their ability to
                                              health insurance. The rate of receipt of                without such credits will count for
                                              public benefits among those covered by                                                                        support themselves without recourse to
                                                                                                      purposes of this heavily weighted                     public benefits, as such receipt is
                                              private health insurance was 4 percent                  positive factor.
                                              for citizens and 6 percent for                                                                                indicative of ongoing work, skills/
                                              noncitizens, while the rate of receipt for              f. Work History                                       proficiencies, and qualifications
                                              those not covered by private health                                                                           recognized by the relevant government
                                                                                                         Comment: One commenter stated that
                                              insurance was 40 percent for citizens                                                                         entity. The commenter further indicated
                                                                                                      work history, without regard to wage
                                              and 30 percent for noncitizens. DHS has                                                                       that grants, contracts, and licensures
                                                                                                      history, should be a heavily weighted
                                              therefore revised the rule to include a                                                                       may have a direct bearing on the future
                                                                                                      positive factor. This commenter stated
                                              heavily weighted positive factor for an                                                                       likelihood of an individual becoming a
                                                                                                      that the essence of a ‘‘public charge’’ is
                                              alien who has private health insurance,                                                                       public charge and thus should be
                                                                                                      where an individual is not willing or
                                              subject to two provisos. First, the health                                                                    recognized as a positive factor.
                                                                                                      able to work and the rule should not                     Response: DHS is not excluding
                                              insurance must be appropriate for the                   focus on workers that earn low wages.
                                              expected period of admission.753                                                                              grants, contracts, and licensures from
                                                                                                      This commenter explained that farm                    the public charge inadmissibility
                                              Second, the health insurance may not be                 workers toil in extremely difficult
                                              subsidized via premium tax credits                                                                            determination. DHS agrees that grants,
                                                                                                      conditions, performing work few others                contracts, and licensures are indicative
                                              (including advance premium tax                          are willing to do, and at a low
                                              credits) authorized under the ACA.                                                                            of an alien’s likely self-sufficiency. As
                                                                                                      compensation rate that cannot possibly                with other signs of likely self-
                                              Although individuals receiving such                     sustain a family, through no fault of
                                              benefits have significantly lower odds of                                                                     sufficiency, these would be positive
                                                                                                      their own. Another commenter stated                   considerations in the totality of the
                                              concurrently receiving the public                       that entrepreneurship should be
                                              benefits designated in this rule, they                                                                        circumstances. However, DHS does not
                                                                                                      considered a heavily weighted factor, as              agree that these specifically should be
                                              receive government subsidies to fulfill a               it is strongly associated with self-
                                              basic living need, and qualify on a                                                                           included as heavily weighted positive
                                                                                                      sufficiency.                                          factors.
                                              means-tested basis.754 DHS does not                        Response: The rule provides for
                                                                                                      employment history to be considered as                h. Caregivers
                                                753 See USCIS analysis of private health insurance    a positive factor. However, every factor                 Comment: A commenter suggested
                                              in Wave 1 of the 2014 Survey of Income and
                                              Program Participation (SIPP). Private health            must be considered in the totality of the             that being a caregiver should be a
                                              insurance includes coverage through another             circumstances. There might be instances               heavily weighted positive factor. This
                                              person in the household and Medigap, and does not       where a person has long-term                          commenter shared an anecdote
                                              include Medicaid, Medicare parts B or D, or             employment, but is not able to be self-
                                              military- or government-provided insurance.                                                                   regarding a single father petitioning on
                                                 754 USCIS was unable to identify a variable in the   sufficient and must receive public                    behalf of his elderly mother so she
                                              SIPP data for private health insurance paid for         benefits and conversely, there might be               could enter the United States to provide
                                              using a premium tax credit. USCIS also analyzed         instances that a person does not have                 care to his children while he worked
                                              the SIPP data on private health insurance and           long-term employment and would
                                              receipt of public benefits, while controlling for                                                             full time and pointed out that some
                                              income levels. The data support the proposition
                                                                                                      otherwise be self-sufficient. DHS                     contributions may not be monetary or
                                              that having private health insurance, regardless of     believes that income is a proper                      employment-based but will instead have
                                              income level, is a significant determinant of           consideration in the totality of                      a ‘‘trickle down’’ effect that benefits
                                              whether the individual receives the designated          circumstances and as a heavily
                                              public benefits. For example, 13.2 percent of                                                                 others.
                                              individuals with private health insurance at an
                                                                                                      weighted positive factor since it is                     Response: DHS declines to adopt this
                                              income level between 125 percent and 250 percent        indicative of self-sufficiency. DHS also              recommendation. As previously
                                              of FPG receive the designated public benefits. By       recognizes that different types of                    discussed, although caregivers may
                                              contrast, 54.8 percent of individuals without private   employment may provide additional
                                              health insurance, at that same income level, receive                                                          provide assistance to the overall
                                              the designated public benefits. Similarly, 10.3
                                                                                                      income, however, DHS does not believe                 household, the public charge
                                              percent of individuals with private health insurance    it is appropriate to specify just one form            inadmissibility determination is based
                                              at an income level between 250 percent and 400          of employment as a heavily weighted                   on the totality of the alien’s individual
                                              percent of FPG receive the designated public            positive factor. Therefore, DHS will not
                                              benefits. By contrast, 47.5 percent of individuals                                                            circumstances and being a caregiver
                                              without private health insurance, at those same
                                                                                                      include entrepreneurship as a heavily                 does not establish self-sufficiency or
                                              income levels, receive the designated public            weighted positive factor.                             strongly suggest that the person is not
                                              benefits. See USCIS analysis of private health                                                                likely to receive the designated public
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                                              insurance and income level in Wave 1 of the 2014        levels decline as income rises (13.2 percent for
                                              Survey of Income and Program Participation (SIPP).      individuals with income levels between 125
                                                                                                                                                            benefits above the designated threshold.
                                                 In addition, the data also appear to show a          percent and 250 percent of FPG; 10.3 percent for      Although caregivers may benefit the
                                              relationship between income level and receipt of        individuals with income levels between 250            household by eliminating the need for
                                              public benefits, within the population of               percent and 400 percent of FPG; and 3.2 percent for   childcare or eldercare expenses, DHS
                                              individuals who have private health insurance. For      individuals with income levels above 400 percent
                                              example, 15.3 percent of individuals with private       of FPG). See USCIS analysis of private health
                                                                                                                                                            does not believe that a person’s status as
                                              health insurance below 125 percent of the FPG           insurance and income level in Wave 1 of the 2014      a caregiver warrants a heavily weighted
                                              receive the designated public benefits. Receipt         Survey of Income and Program Participation (SIPP).    positive factor. DHS, as previously


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                                              discussed, did include a provision                      S. Public Charge Bonds for Adjustment                 stated that the NPRM does not provide
                                              regarding caregivers within the                         of Status Applicants                                  a clear standard defining who should
                                              Education and Skills factor.                                                                                  qualify for a public charge bond and
                                                                                                      1. Standard
                                                                                                                                                            that the proposed public charge bond
                                              i. Ability To Work in the Future                           Comment: Several commenters                        system is vulnerable to an abuse of
                                                                                                      supported the requirement that all new                discretion. A commenter suggested that
                                                 Comment: A commenter indicated                       immigrants post a bond when they                      DHS codify a criteria for exercising
                                              that the ability to work in the future                  apply for entry into the United States.               discretion regarding whether or not to
                                              should be a heavily weighted positive                   A commenter requested that DHS allow                  offer the bond in this rule, noting that
                                              factor and stated that it, along with                   ‘‘any alien determined inadmissible’’ on              there should be uniformity and
                                              having potential family support, had                    public charge grounds to apply for a                  predictability of enforcement on the part
                                              been one of the two heavily weighted                    public charge bond.755 One commenter                  of DHS, and that the manner in which
                                              factors for over a century under Federal                stated that the public charge bond                    this discretion is utilized should be
                                              law. The commenter questioned why                       would be most useful in the category of               clear and objective. One commenter
                                              work ability and having legally                         immigrants that have an income                        asked for the justification of warranting
                                              enforceable family support should be                    between 125 percent and 250 percent of                a public charge bond in certain
                                              weighted less heavily than past receipt                 FPG.                                                  circumstances and asked that DHS
                                              of Medicaid or SNAP. The commenter                         Response: DHS appreciates these                    almost always allow for an individual to
                                              indicated that this kind of disparate                   comments regarding the applicability of               post a bond. Another commenter
                                              treatment might be justifiable if                       the public charge bond. However, DHS                  requested that DHS clarify when a
                                              Congress had drafted the public charge                  will not require all aliens seeking                   public charge bond would be used and
                                              test in a way that explicitly directed the              admission as immigrants to post a                     also provided recommendations,
                                              agency to give heavier weight to past                   public charge bond. Section 213 of the                including that public charge bonds
                                              receipt of benefits than to future                      Act, 8 U.S.C. 1183, neither requires all              should be available only if the applicant
                                              employability and family support,                       such aliens to post a public charge                   has obtained private medical insurance,
                                              which Congress did not. The commenter                   bond, nor authorizes DHS to require one               and the applicant is part of an existing
                                                                                                      from every intending immigrant.                       family unit whose only reason for
                                              provided a list of twenty occupations
                                                                                                      Instead, consistent with its statutory                separation would be an adverse public
                                              that the commenter stated would have
                                                                                                      authority, USCIS will offer the public                charge inadmissibility determination.
                                              the most job growth over the next
                                                                                                      charge bond to certain applicants for                 The commenter further stated that DHS
                                              decade. The commenter stated that in                    adjustment of status, who are
                                              nine of the 20 occupations, a full-time                                                                       should only offer a public charge bond
                                                                                                      inadmissible only due to the likelihood               to applicants who can demonstrate
                                              worker in a household of one who earns                  of becoming a public charge and when                  hardship such as extreme hardship or
                                              the median salary for such occupation                   a favorable exercise of discretion is                 exceptional and extremely unusual
                                              would not meet the 250 percent of the                   warranted, based upon the totality of the             hardship.
                                              FPG standard. The commenter also                        alien’s facts and circumstances.                         Response: DHS disagrees that the rule
                                              stated that in 14 of 20 occupations, a                     Comment: One commenter noted that                  is unclear in describing how DHS will
                                              full-time worker in a household of two                  the public charge bond process might                  exercise its discretion to offer a public
                                              who earns the median salary for such                    lead to pressure on DHS officials to                  charge bond. Public charge bonds will
                                              occupation would not meet the 250                       make inadmissibility findings and offer               be offered only in limited circumstances
                                              percent of the FPG standard. The                        public charge bonds.                                  to those inadmissible aliens USCIS has
                                              commenter indicated that the agency                        Response: USCIS will not find an                   determined warrant a favorable exercise
                                              provides no reason or evidence for a                    applicant is likely at any time in the                of discretion, in the totality of the
                                              standard that effectively classifies                    future to become a public charge for the              alien’s facts and circumstances, and by
                                              millions of full-time, year-round                       sole purpose of collecting a public                   weighing all positive and negative
                                              workers in high-demand occupations as                   charge bond. Although Congress has                    factors available. As noted in the NPRM,
                                              public charges, or as not self-sufficient.              created certain exceptions and waivers                offering a public charge bond in the
                                                                                                      to inadmissibility, the determination                 adjustment of status context, generally,
                                                 Response: DHS disagrees that it is
                                                                                                      that an alien is inadmissible is                      will only be warranted if an alien has no
                                              classifying millions of full-time, year-
                                                                                                      mandatory where the alien meets any of                heavily weighted negative factors, such
                                              round workers in high-demand
                                                                                                      the grounds described in section 212 of               as those that are particularly indicative
                                              occupations as public charges. Under                    the Act, 8 U.S.C. 1182. USCIS is
                                              the education and skills factor, DHS                                                                          of the likelihood that an alien would
                                                                                                      required to find an alien inadmissible if             become a public charge. However, and
                                              would consider whether the alien has                    the alien is likely to become a public                as noted in the NPRM, the presence of
                                              adequate education and skills to either                 charge. As noted in the NPRM, a public                heavily weighted negative factors will
                                              obtain or maintain employment                           charge bond in the adjustment of status               not automatically preclude USCIS from
                                              sufficient to avoid becoming a public                   context would generally only be offered               offering a public charge bond. Rather, as
                                              charge if authorized for employment.                    in limited circumstances in which the                 with any discretionary determination,
                                              The evidence DHS will consider                          alien has no heavily weighted negative                USCIS could also find that the heavily
                                              includes the alien’s employment and                     factors and when offering the option of               weighted negative factor(s) are
                                              income derived from such employment.                    a public charge bond to an alien is                   outweighed by certain positive factors
                                              As noted above, the fact that the alien
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                                                                                                      warranted based upon the totality of the              like those that benefit national security,
                                              does not qualify for a heavily weighted                 alien’s facts and circumstances.                      or would be justified for exceptional
                                              positive factor does not render the alien                  Comment: A number of commenters                    humanitarian reasons.
                                              likely to become a public charge. In fact,              noted the standard DHS will use to                       DHS thanks the commenters for the
                                              many of the median wages identified by                  determine when to offer a public charge               suggestion to codify a more
                                              the commenter would generally result                    bond. One commenter stated that the                   ‘‘predictable’’ criteria for determining
                                              in a positive consideration, because they               public charge bond must be offered only               whether to offer an alien an opportunity
                                              exceed 125 percent of the FPG.                          in rare cases. A few commenters further               to post a public charge bond, but


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                                              declines to do so. The criteria outlined                  that if an alien has one or more heavily               discretion of USCIS; there is no right or
                                              in the rule balances the need for                         weighted negative factors, as defined in               entitlement to a public charge bond.
                                              certainty and predictability with that for                8 CFR 212.22, present in his or her case,              Generally, USCIS will not favorably
                                              flexibility USCIS adjudicators need to                    USCIS generally will not favorably                     exercise its discretion in situations
                                              account for a wide array of facts and                     exercise discretion to allow the alien to              where the alien has one or more heavily
                                              circumstances. For similar reasons, DHS                   submit a public charge bond. USCIS                     weighted negative factors. In addition,
                                              also declines to limit its discretion to                  notes that a disability that affects an                USCIS is formulating training and
                                              only permit submission of a public                        applicant’s ability to care for himself or             policy guidance related to the exercise
                                              charge bond by aliens who have                            herself, to attend school, or to work is               of this discretion to ensure that
                                              obtained and will maintain private                        not in itself a heavily weighted negative              discretionary decisions on whether or
                                              health insurance, or to aliens who are                    factor, but rather, one factor USCIS will              not to offer a public charge bond are fair
                                              members of an existing family unit                        consider in the totality of the                        and consistent.
                                              whose only reason for separation would                    circumstances. Accordingly, a disability                  Comment: A commenter asked that
                                              be an adverse public charge                               alone could not be the sole basis for a                DHS eliminate public charge bonds. A
                                              inadmissibility determination. DHS                        determination that the alien is likely at              few commenters stated that the NPRM
                                              believes that limited approach would                      any time in the future to become a                     bond section lacks justification for
                                              not account for the variety of factual                    public charge.                                         changing current and longstanding
                                              scenarios USCIS may encounter.                               Similarly, an alien’s disability, alone,            procedure.
                                              Furthermore, DHS believes that limiting                   will not serve as the sole basis for                      Response: DHS disagrees that the
                                              the opportunity to post a public charge                   USCIS deciding not to exercise its                     public charge bond should be
                                              bond to only a particular narrow range                    discretion to permit an alien to submit                eliminated. The public charge bond
                                              of circumstances would unreasonably                       a public charge bond.757 In determining                provision was established by Congress
                                              exclude from the possibility of a bond                    whether to offer the alien a public                    in the Immigration Act of 1952, in
                                              applicants who might otherwise merit a                    charge bond, USCIS will consider all of                section 213 of the Act, 8 U.S.C. 1183,758
                                              positive exercise of discretion.756 Given                 the positive and negative factors                      and, as discussed in the NPRM,759 has
                                              that a bond is offered to applicants as a                 applicable to the alien’s case. The                    existed without essential variation since
                                              matter of discretion on a case-by-case                    NPRM provides examples where a bond                    1907.760 Public charge bonds allow an
                                              basis, USCIS reserves the right to                        may be offered, including instances                    alien who would otherwise be
                                              determine, based on the particular facts                  where allowing the alien to become a                   inadmissible because of the likelihood
                                              of the case, when the alien’s individual                  lawful permanent resident would offer                  of becoming a public charge to
                                              circumstances warrant a favorable                         benefits to national security, or would                nonetheless be admitted to the United
                                              exercise of discretion.                                   be justified for exceptional                           States. Since the changes to immigration
                                                 USCIS also disagrees that it should                    humanitarian reasons. As provided in                   law implemented by IIRIRA, DHS has
                                              only offer public charge bonds to                         the NPRM, DHS believes that offering a                 lacked a formal mechanism for the
                                              applicants who have demonstrated                          public charge bond in the adjustment of                issuance of public charge bonds.761 This
                                              hardship. As is the case with any                         status context will generally only be                  rule creates a formal public charge bond
                                              discretionary determination, USCIS may                    warranted in limited circumstances in                  procedure that conforms with both the
                                              consider any of a range of positive and                   which the alien has no heavily weighted                statutory language and past practices.
                                              negative factors applicable to the alien’s                negative factors, but the presence of any                 Comment: Other commenters
                                              case when determining whether the                         such factors will not automatically                    suggested that public charge bonds
                                              alien should be offered the option to                     preclude USCIS from offering the alien                 should be eliminated based on the
                                              post a public charge bond and be                          the opportunity to submit a public                     history of monetary bonds in the
                                              admitted to the United States on bond.                    charge bond.                                           criminal pre-trial context, which have
                                              USCIS respectfully declines to limit its                     As this rule is implemented, USCIS                  been discredited as inefficient and
                                              consideration in this regard.                             will provide training and guidance in                  unfair.
                                                 Comment: A commenter stated that                       the USCIS Policy Manual to all officers                   Response: DHS reiterates that public
                                              DHS should not offer a public charge                      in making these discretionary                          charge bonds are authorized under the
                                              bond to any applicant with a heavily                      determinations to allow an alien to                    Act,762 and the Act provides a
                                              weighted negative factor. Other                           submit a bond.                                         mechanism whereby DHS can
                                              commenters were concerned that an                            Comment: A commenter asked for                      nonetheless admit aliens who are
                                              applicant with a heavily weighted                         clarification on ‘‘permitting an alien                 inadmissible only under section
                                              negative factor, such as use of Medicaid                  who is found inadmissible as a public                  212(a)(4) of the Act, 8 U.S.C. 1182(a)(4).
                                              to pay for services associated with his                   charge but is otherwise admissible to                  DHS cannot ignore this authority and
                                              or her disability that are not covered by                 submit a public charge bond is within                  must consider whether to exercise its
                                              private medical insurance, will not be                    DHS’s discretion.’’                                    discretion on a case-by-case basis to
                                              considered for a public charge bond.                         Response: An alien who is found to be               allow such aliens to submit a public
                                              One commenter added that individuals                      inadmissible only on the public charge                 charge bond.
                                              with one or more heavily weighted                         ground may be permitted to submit a                       DHS disagrees that a public charge
                                              factors will not have access to sufficient                public charge bond. In other words,                    bond is directly comparable to a pre-
                                              resources to be able to submit a public                   under section 213 of the Act, 8 U.S.C.                 trial appearance bond. The Act states
                                              charge bond. Another commenter asked                      1183, the alien cannot be inadmissible                 that the purpose of the public charge is
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                                              if USCIS would provide guidance, such                     under any other ground but the public
                                              as via the USCIS Policy Manual, with                      charge ground in order for USCIS to                      758 See   INA of 1952, section 213, 66 Stat. 163,
                                              guidelines for officers to follow and that                consider exercising its discretion to                  188.
                                                                                                                                                                 759 See Inadmissibility on Public Charge Grounds,
                                              will be available for public review.                      permit the alien to submit a public                    83 FR 51114, 51134 (proposed Oct. 10, 2018).
                                                 Response: DHS appreciates the                          charge bond. The decision whether to                     760 See Act of February 20, 1907, ch. 1134, section
                                              comments and will retain the provision                    issue a public charge bond is at the sole              26, 34 Stat. 898, 907.
                                                                                                                                                                 761 See Public Law 104–208 (Sept. 30, 1996).
                                                756 See   INA section 213, 8 U.S.C. 1183.                 757 See   INA section 213, 8 U.S.C. 1183.              762 See INA section 213, 8 U.S.C. 1183.




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                                              to hold the United States, and all states,              the mandatory factors for consideration               DHS should not expand the use of
                                              territories, counties, towns and                        in a public charge determination at the               bonds because studies have shown that
                                              municipalities and districts harmless                   same time it created the enforceable                  bonds have been proven to be highly
                                              against bonded aliens becoming public                   affidavit of support as a non-mandatory               discriminatory and increase financial
                                              charges.763 USCIS will provide officers                 factor for consideration, while also                  instability. Many commenters provided
                                              with guidance and training to ensure                    retaining the public charge bond                      research on the effects of custodial
                                              that discretion is exercised in a fair,                 provision in section 213 of the Act, 8                bonds and stated that bonds cause long-
                                              efficient, and consistent manner.                       U.S.C. 1183, suggests that Congress did               term hardship and increase the
                                                 Comment: A commenter opposed the                     not believe the enforceable affidavit of              likelihood of financial instability. Many
                                              implementation of a public charge bond                  support, on its own, sufficiently                     commenters said the use of public
                                              and stated that while DHS created a                     safeguarded against an alien becoming a               charge bonds would place an impossible
                                              distinction between the affidavit of                    public charge after admission.                        burden on immigrant families, and there
                                              support and the public charge bond in                      Comment: A few commenters stated                   is no evidence that public charge bonds
                                              this rule, it did not provide support for               that a public charge bond system is                   will prevent them from becoming
                                              the idea that the affidavit of support is               ‘‘redundant and nonsensical,’’ stating                dependent on government assistance in
                                              an insufficient safeguard. A commenter                  that the Government has not provided                  the future. Multiple commenters stated
                                              stated that affidavits of support already               sufficient reasoning for adding the                   that families will face years of annual
                                              give the Government sufficient                          public charge bond system to the                      fees, non-refundable premiums and
                                              assurances that an individual will not                  immigration process while the affidavit               liens on the homes and cars put up as
                                              become overly reliant on the social                     of support already exists and allows the              collateral charged by for-profit surety
                                              safety net, without forcing immigrants                  Government to recoup the cost of public               companies and their agents. A
                                              to freeze significant assets in                         benefits received by immigrants.                      commenter stated that the bond system
                                              Government-held bonds.                                     Response: DHS disagrees with the                   would result in a loss of money and
                                                 Response: DHS disagrees that the                     comments that the public charge bond                  adverse immigration consequences if
                                              affidavit of support sufficiently                       provisions are redundant and                          the immigrant suffers an unexpected
                                              safeguards against an alien becoming a                  nonsensical in light of the affidavit of              issue and is forced to forfeit their bond.
                                              public charge after admission. Had                      support requirement. Although the                        Response: As indicated above, DHS
                                              Congress intended a sufficient affidavit                public charge bond provision pre-dates                does not believe that the rule itself
                                              of support to be the sole basis to                      the creation of the affidavit of support              disproportionately negatively impacts
                                              safeguard against an alien becoming a                   requirements in IIRIRA, Congress                      certain groups, and does not believe the
                                              public charge after admission, Congress                 expressly amended the public charge                   public charge bond provisions
                                              would not have added the mandatory                      bond provision in IIRIRA by amending                  disproportionately impact particular
                                              factors in section 212(a)(4) of the Act, 8              section 213 of the Act, 8 U.S.C. 1183, to             groups. Although commenters cited
                                              U.S.C. 1182(a)(4), to determine an                      reference the affidavit of support and                studies on the effects of custodial bonds
                                              applicant’s likelihood of becoming a                    require it as a condition for admission               on particular communities, DHS does
                                              public charge. Congress would have                      in some cases in addition to the posting              not believe the public charge bond is
                                              simply required all applicants subject to               of a public charge bond.765 This means                directly comparable to custodial bonds,
                                              public charge inadmissibility to submit                 that Congress was aware at the time it                and thus does not believe that such
                                              a sufficient affidavit of support without               created the enforceable affidavit of                  studies are directly applicable. Rather,
                                              requiring an assessment of the                          support and amended the public charge                 public charge bonds offer an
                                              applicant’s age, health, family status,                 bond provision that a public charge                   opportunity for an alien who is
                                              assets, resources and financial status,                 bond could still be offered to certain                inadmissible, based only upon the
                                              and education and skills.                               aliens at the agency’s discretion, in                 likelihood of becoming a public charge,
                                                 Additionally, had Congress                           addition to the alien’s submission of a               to be admitted to the United States.
                                              considered the affidavit of support alone               sufficient affidavit of support. DHS’s                Breach of a public charge bond may
                                              to be the best way to safeguard against                 inclusion of public charge bonds in this              result in loss of money and adverse
                                              an alien becoming a public charge,                      rule is consistent with Congress’ intent              immigration consequences. This is a
                                              Congress would have eliminated the                      in maintaining public charge bonds after              result of the alien’s action, and the
                                              public charge bond provision altogether,                IIRIRA created the enforceable affidavit              longstanding statutory scheme. As noted
                                              and certainly would not have provided                   of support.                                           above, USCIS will provide officers with
                                              in section 213 of the Act, 8 U.S.C. 1183,                  Comment: Commenters stated that the                guidance and training to ensure that
                                              for DHS to exercise its discretion to offer             bonds would have a disproportionately                 USCIS’ discretion to offer this
                                              a public charge bond to aliens who may                  negative impact on minorities,                        opportunity is exercised in a fair and
                                              also be subject to the affidavit of support             communities of color, and their                       consistent manner.
                                                                                                      families, citing studies on custodial                    Comment: A commenter stated that
                                              requirement at section 213A of the Act,
                                                                                                      bonds. Another commenter said that the                the public charge bond process would
                                              8 U.S.C. 1183a.764 That Congress created
                                                                                                      changes to public charge bonds will not               further complicate and increase
                                                 763 See INA section 213, 8 U.S.C. 1183. While        prevent individuals from bypassing new                inefficiency in the adjustment of status
                                              there is currently no statutory mechanism for DHS       regulations and will affect average                   process. Specifically, the commenter
                                              to directly reimburse benefit-granting agencies, the    immigrants by restricting access to                   said the creation of two new forms, and
                                              breached bond amounts will be deposited into an                                                               the accompanying processes and
                                              account designated by the U.S. Treasury for             services. A few commenters stated that
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                                              collecting breached immigration-related bond
                                                                                                                                                            training, as well as the collection of any
                                              amounts.                                                upon the giving of a suitable and proper bond or      information therein, will be a waste of
                                                 764 INA section 213, 8 U.S.C. 1183 reads, in part:   undertaking approved by the Attorney General, in      Government and applicant resources
                                              ‘‘An alien inadmissible under paragraph (4) of          such amount and containing such conditions as he      given the existence and ongoing
                                              section 1182(a) of this title may, if otherwise         may prescribe, to the United States (. . .).          adjudication of Form I–864. The
                                              admissible, be admitted in the discretion of the        [Emphasis added].
                                              Attorney General (subject to the affidavit of support     765 See IIRIRA, Public Law 104–208, div. C,         commenter further stated that the public
                                              requirement and attribution of sponsor’s income         section 534(f), 110 Stat. 3009–546, 3009–684 (Sept.   charge bond is unjust because it
                                              and resources under section 1183a of this title)        30, 1996).                                            removes the intending immigrant as a


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                                              party to the agreement, such that he or                   segment for commercial bond                            prompt payment of demands arising
                                              she neither has power to act against the                  companies, but imposes an unfunded                     from an administratively final
                                              obligor, nor has the ability to reply to                  mandate on state and local insurance                   determination that the bond has been
                                              the Government’s decisions.                               and financial services regulators.                     breached. DHS believes these safeguards
                                                 Response: DHS disagrees that the                       Similarly, these commenters and others                 reduce the risk that aliens will be
                                              bond process would increase                               said many non-citizens may accept the                  exploited. DHS also notes that whether
                                              inefficiency or that the process and                      ‘‘exceptionally harsh’’ procedures and                 the availability of public charge bonds
                                              training would be a waste of                              penalties and ‘‘crippling surety bond                  imposes an unnecessary administrative
                                              Government and applicant resources.                       terms’’ to avoid family separation. The                burden on USCIS is a question for
                                              DHS also disagrees that the existence of                  commenters stated that, in many cases,                 Congress, not DHS.
                                              the Form I–864 obviates the need for                      the non-citizen would have to pay the                     DHS also disagrees that it imposes an
                                              new forms to facilitate the public charge                 bond company up to 15 percent up-                      unfunded mandate on state and local
                                              bond process. The public charge bond is                   front, which could prove destabilizing                 insurance and financial services
                                              authorized by statute (separately from,                   for low and moderate-income families                   regulators through this rulemaking. As
                                              and in addition to, the affidavit of                      and stifle their ability to become self-               part of the NPRM,769 DHS analyzed any
                                              support).766 USCIS may choose to                          sufficient. A commenter also stated that               impact on State, local, and tribal
                                              exercise its discretion to allow an alien                 any new investment of USCIS resources                  governments in accordance with the
                                              to submit a bond in a particular case,                    to assess nonimmigrants on public                      Title II of the Unfunded Mandates
                                              allowing for aliens who are inadmissible                  charge would be an unnecessary                         Reform Act of 1995 (UMRA) 770 and
                                              to the United States based only upon the                  administrative burden. Another                         with E.O. 13132 (Federalism). The
                                              likelihood of becoming a public charge                    commenter stated that broad and vague                  obligation to regulate various aspects of
                                              to nonetheless be admitted to the United                  conditions governing breach of bonds                   the financial and securities markets
                                              States. DHS cannot decide to never                        heighten the risk of exploitation by for-              within states is already a function of the
                                              exercise this public charge bond                          profit companies managing public                       Federal Government; DHS does not
                                              authority. USCIS will review its                          charge bonds.                                          further impose any new unpaid
                                              resources and personnel to ensure that                       Response: DHS understands the                       mandate on State, local or tribal
                                              it will be able to efficiently carry out its              concerns about exploitation concerning                 governments by implementing a public
                                              discretionary public charge bond                          public charge bond terms and                           charge bond procedure in accordance
                                              authority. DHS does not believe the                       conditions, and about the potential                    with section 213 of the Act, 8 U.S.C.
                                              public charge bond would be a waste of                    challenges that bond terms and                         1183. It is up to financial institutions,
                                              Government resources or creates an                        conditions may pose to aliens with                     authorized to conduct business
                                              undue burden on aliens. DHS also                          limited resources. However, Congress                   according to the provisions
                                              disagrees that the public charge bond is                  has determined that the public charge                  implemented by states, to offer public
                                              unjust in that it removes the intending                   ground of inadmissibility is necessary.                charge bond products. This rule does
                                              immigrant as a party to the agreement.                    DHS has congressional authority to                     not impose any new obligations on
                                              Although the commenter states that this                   consider whether to allow an alien,                    states.
                                              leaves the alien unable to defend                         inadmissible only on the public charge
                                              himself or herself against a breach of                    ground, to submit a public charge bond,                2. Bond Amount
                                              contract action, a breach of contract                     (including a surety bond), on a case-by                   Comment: One commenter said DHS
                                              action against the alien in the case of an                case basis in the exercise of its                      should reduce the proposed bond
                                              alien with a surety bond could only be                    discretion. DHS has decided to exercise                amount. Commenters stated that a
                                              asserted by the obligor, with whom the                    its authority in cases involving                       $10,000 bond was excessive and would
                                              alien would be in contractual privity.                    applicants for adjustment of status who                create an opportunity for private bond
                                              With regard to appealing a USCIS                          are inadmissible only under section                    companies to exploit immigrant
                                              breach determination or a denial of a                     212(a)(4), 8 U.S.C. 1182(a)(4). As                     families, the elderly, and minorities.
                                              request to cancel a surety bond, the                      provided in the NPRM, DHS will accept                  Similarly, a few commenters stated that
                                              process will be similar to the existing                   surety bonds only from sureties certified              even the minimum amount may be
                                              process for seeking review of such                        by the Department of Treasury and                      beyond the means of most families. A
                                              determinations in the custodial                           listed in the Treasury Department                      couple of commenters stated that
                                              immigration bond context: i.e., the                       Circular 570.767 Department of                         increasing the minimum amount of the
                                              obligor may challenge the determination                   Treasury-certified sureties have agents                bond by one thousand percent was
                                              before the Administrative Appeals                         throughout the United States from                      grossly unfair. Many commenters added
                                              Office (AAO) pursuant to 8 CFR part                       whom aliens could seek assistance in                   that the cost was prohibitive for
                                              103, subpart A. Like the appeals process                  procuring an appropriate bond.768 The                  applicants who earn low incomes. Many
                                              in the long-established custodial bond                    Department of the Treasury certifies                   commenters stated that a family’s self-
                                              context, an alien with a surety bond                      companies only after having evaluated a                sufficiency would be destabilized and
                                              lacks standing to seek review in public                   surety company’s qualifications to                     provided example scenarios where
                                              charge bond context and is not                            underwrite Federal bonds, including                    families would be required to pay up to
                                              ‘‘removed’’ from the process. In the case                 whether those sureties meet the                        15 percent of $10,000.
                                              of an alien with a cash or cash                           specified corporate and financial                         A commenter stated that DHS
                                              equivalent bond, the alien would be the                   standards. Under 31 U.S.C. 9305(b)(3), a               provided no guidance on how
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                                              obligor and thus have standing to appeal                  surety (or the obligor) must be able to                evaluation of public charge bond sizes
                                              a denial of a cancellation request or a                   carry out its contracts and must comply                will be made. Another commenter asked
                                              breach determination. DHS disagrees                       with statutory requirements, including                 that the value of the public charge bond
                                              that this longstanding process is unjust.
                                                 Comment: A few commenters stated                         767 See 8 CFR 103.6(b); see also proposed 8 CFR        769 See Inadmissibility on Public Charge Grounds,
                                              that the NPRM creates a new market                        103.6, as published in 83 FR 25951 (June 5, 2018).     83 FR 51114, 51276 (proposed Oct. 10, 2018).
                                                                                                          768 See Dep’t of Treasury Circular 570, Listing of     770 See Pub. L. 104–4, 109 Stat. 48 (Mar. 22,
                                                766 See   INA section 213, 8 U.S.C. 1183.               Approved Sureties (July 1, 2018).                      1995).



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                                              be based on the value provided for                      submit a public charge bond, and the                  DHS should allow use of Medicaid as an
                                              monetizable benefits under 8 CFR                        amount of any such bond.                              exception to the breach of the full bond.
                                              212.21, which is 15 percent of the per-                                                                          Response: DHS disagrees that the rule
                                                                                                      3. Public Charge Bond Cancellation                    prioritizes the revenue of bond
                                              month Federal Poverty Guidelines for a
                                              single person. A few individual                            Comment: A commenter stated that                   companies over family unity. The
                                              commenters asked that the minimum                       the terms of cancellation of the public               public charge bond allows aliens who
                                              public charge bond be set to specific                   charge bond are unreasonable. The                     are inadmissible to nonetheless seek
                                              amounts, such as $1,000 or $8,100.                      commenter stated that since DHS only                  admission to the United States upon
                                                 In contrast, another commenter asked                 predicts less than three percent of                   posting of a public charge bond, which
                                              that DHS increase the minimum bond                      immigrants would be able to cancel                    facilitates family unity. Additionally,
                                              amount to $25,000 for the least educated                their bond, surety companies would set                the fees and collateral submitted to the
                                              or individuals with the most                            costly parameters and payment                         bond company are compensation for the
                                              dependents. Similarly, a commenter                      schedules. The commenter further                      risk a bond company takes in
                                              stated that the $10,000 bond does not                   stated that the process of cancelling the             guaranteeing the alien’s conduct under
                                              cover the potential cost of supporting                  public charge bond is difficult because               the bond. This rule is not aimed at
                                              individuals who need food, shelter, or                  an obligor must apply to have the bond                enriching private bond companies, but
                                              medical treatment.                                      cancelled, the application must be                    rather at ensuring that aliens subject to
                                                 Response: DHS agrees with the                        approved by DHS, and bonds are not                    the public charge ground of
                                                                                                      automatically released after completion.              inadmissibility are self-sufficient and
                                              commenter that for consistency with
                                                                                                         Response: DHS disagrees that the                   are relying on their resources and those
                                              prior agency practice, a minimum bond
                                                                                                      bond cancellation terms are                           of their family, friends, and sponsors.
                                              amount of $8,100, adjusted annually for                 unreasonable. Consistent with the                        As explained above, DHS will collect
                                              inflation, is appropriate, as this is equal             statute, public charge bonds may be                   the full amount of the public charge
                                              to the prior bond minimum adjusted for                  cancelled where an alien is no longer                 bond, as liquidated damages, because
                                              inflation. The amount of the bond                       likely to become a public charge, either              DHS considers it difficult, if not
                                              represents liquidated damages to                        because the alien naturalized, died, or               impossible, to calculate the alien’s
                                              compensate the Government for all                       permanently departed the United States.               public benefit receipt as well as the
                                              harms caused by a bonded individual                     Additionally, an alien may apply for                  government’s costs. DHS will not
                                              who violates the terms, not simply the                  cancellation of the bond if the alien                 exempt Medicaid from the benefits
                                              value of the benefits used. Furthermore,                obtains a different immigration status                listed that count towards the breach of
                                              some public benefits do not have an                     that is exempt from the public charge                 a public charge bond. A public charge
                                              easily quantifiable dollar value.                       inadmissibility provisions, or if the                 bond is issued on the condition that the
                                              Operational challenges make separate                    alien has reached his or her five-year                alien does not become a public charge
                                              determinations for public benefits that                 anniversary since becoming a lawful                   by not using the public benefits, as
                                              are distributed in quantifiable and non-                permanent resident. Cancellation is not               defined in 8 CFR 212.21(b) for more
                                              quantifiable values unfeasible. Making                  automatic and does not limit the                      than 12 months in the aggregate within
                                              liquidated damages in an amount                         duration of the bond, which remains in                any 36-month period (such that, for
                                              similar to historical precedent is a                    effect until canceled.                                instance, receipt of two benefits in one
                                              reasonable remedy.                                         DHS also disagrees that the                        month counts as two months). As is
                                                 Under this rule, public charge bonds                 cancellation process is unreasonable.                 generally the case for the benefits listed
                                              permit DHS to admit, in its discretion,                 An application for cancellation must be               in 8 CFR 212.21(b), Medicaid is one of
                                              an adjustment of status applicant who is                made so that DHS can verify that the                  the public benefits that constitute a
                                              inadmissible based only on the public                   alien or surety have met their burden of              major expenditure for the United States
                                              charge ground. Should DHS not exercise                  demonstrating that one of the public                  and the use of it generally indicates to
                                              its public charge bond authority in a                   charge bond cancellation conditions has               DHS that the person may not be self-
                                              particular case based on a review of the                been met, including that the bond was                 sufficient. Correspondingly, a public
                                              individual facts and circumstances of                   not breached, before the public charge                charge bond is issued under the
                                              that case, DHS will deny the adjustment                 bond can be cancelled and the funds                   condition that the alien does not use the
                                              of status application. DHS                              released. DHS carefully considered the                benefits listed in 8 CFR 212.21(b),
                                              acknowledges that an individual offered                 suggestion that public charge bonds be                including Medicaid, and DHS declines
                                              a bond has already been found likely to                 automatically released upon completion                to exempt its use from being a breach
                                              become a public charge and that bond                    of the terms of the bond, but determined              condition.
                                              expenses may further destabilize an                     that no viable mechanism would ensure                    Comment: A commenter presented
                                              applicant’s self-sufficiency. However,                  that the necessary conditions have been               research and stated that monetary bonds
                                              the additional assurance provided by                    met in each case.                                     would not be efficient or effective. Other
                                              the bond is necessary to overcome the                                                                         commenters stated that the minimum
                                              finding of inadmissibility due to                       4. Breach of Public Charge Bond                       bond amount bears no real relationship
                                              likelihood of becoming a public charge.                    Comment: A few commenters stated                   to the value of the public benefit that is
                                              Each applicant offered the opportunity                  that the NPRM prioritizes the revenue                 received. Several commenters stated
                                              to post a public charge bond will have                  streams of private bond companies over                that breach of public charge bond would
                                              to evaluate whether accepting the                       family unity because in the event of a                lead to economic destabilization for
                                              obligations of the public charge bond is                breach of public charge bond, the
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                                                                                                                                                            families.
                                              the right decision given his or her                     principal would have to reimburse the                    Response: The face value of the public
                                              circumstances.                                          bond company the full amount of the                   charge bond constitutes liquidated
                                                 As part of the implementation of the                 breach penalty. Several commenters                    damages for a breach of the conditions
                                              public charge bond, USCIS will provide                  stated that DHS should not be entitled                of that bond. As explained in the NPRM,
                                              training and guidance to all officers in                to recoup the entire bond amount in the               liquidated damages are an appropriate
                                              making these discretionary                              event of a breach by receipt of a public              remedy in situations such as the public
                                              determinations to allow an alien to                     benefit. The commenter also stated that               charge bond, where the total damages to


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                                              the Government are difficult, if not                    public charge will not be considered as                   received rather than ‘‘arbitrary
                                              impossible to calculate.771 Additionally,               part of the breach determination.772 As                   liquidated damages award.’’
                                              these damages go beyond the simple                      detailed in 8 CFR 213.1(h)(3), DHS will                      A commenter indicated that the
                                              amount of the benefits received (which                  determine whether the conditions of the                   proposal to require forfeiture of the
                                              are not always calculable), but also the                bond have been breached, and 8 CFR                        entire amount of the bond upon a
                                              overhead of the benefit agency in                       213.1(h) provides that an                                 showing that an alien has obtained any
                                              administering the benefit. DHS                          administratively final determination                      public benefit whatsoever is arbitrary,
                                              disagrees that monetary bonds are                       that a bond has been breached creates a                   capricious and, as the commenter stated
                                              ineffective. The purpose of a bond is to                claim in favor of the United States. Such
                                                                                                                                                                that DHS acknowledges, contrary to past
                                              provide some reimbursement for harms                    a breach determination is
                                              incurred should the alien violate the                                                                             practice, under which only the amount
                                                                                                      administratively final when the time to
                                              terms of the bond. As stated above, the                                                                           of the benefit would be forfeited. The
                                                                                                      file an appeal with the AAO pursuant to
                                              $8,100 minimum amount of the public                                                                               commenter also indicated that this
                                                                                                      8 CFR part 103, subpart A, has expired
                                              charge bond is consistent with the                                                                                makes little sense particularly since
                                                                                                      or when the appeal is dismissed or
                                              historical public charge bond minimum,                  rejected.                                                 many immigrants may be unclear as to
                                              that has been found reasonable and                                                                                the precise conditions that would result
                                                                                                         As explained in the NPRM,773 under                     in forfeiture. The commenter stated that
                                              enforceable, adjusted for inflation.                    the breach of bond provisions at 8 CFR
                                                 Comment: A commenter said the                                                                                  total forfeiture should be limited to the
                                                                                                      103.6(e), an immigration bond is                          rare instances in which DHS can prove
                                              rule’s requirements around breach of the                considered breached if there has been a
                                              public charge bond are unfair, put                                                                                by a preponderance of the evidence that
                                                                                                      substantial violation of the stipulated
                                              immigrants in economic jeopardy, and                                                                              the alien intentionally sought public
                                                                                                      condition. The term ‘‘substantial
                                              are a huge departure from previous                                                                                benefits with the knowledge that such
                                                                                                      violation’’ is generally interpreted
                                              policy. The commenter also stated that                                                                            benefits would result in bond forfeiture;
                                                                                                      according to contractual principles.774
                                              the rule removes the phrase ‘‘substantial                                                                         in other instances, the commenter
                                                                                                      However, in the NPRM, DHS proposed
                                              violation’’ from the conditions for                                                                               suggested, forfeiture should be limited
                                                                                                      to incorporate the substantial violation
                                              breaching bond, meaning that any                                                                                  to the amount of benefits received plus
                                                                                                      standard via incorporating principles
                                              breach of the terms of the bond, which                                                                            a surcharge for the administrative costs
                                                                                                      that govern the public charge and public
                                              are not fully outlined in the rule, would                                                                         of collection.
                                                                                                      benefits definitions.775 As explained in
                                              render the obligor liable for the full                                                                               Response: DHS disagrees. As
                                              amount of the bond. The commenter                       the statute, the public charge bond is
                                                                                                      intended to hold the United States, and                   explained in the NPRM, liquidated
                                              stated that this creates a punitive policy
                                                                                                      all states, territories, counties, towns                  damages are an appropriate remedy in
                                              against intending immigrants instead of
                                                                                                      and municipalities and districts                          situations such as the public charge
                                              fulfilling the purported purpose of
                                                                                                      harmless against aliens becoming a                        bond, where the total damages to the
                                              recouping losses from public benefits
                                              use. The commenter also stated that this                public charge.776 Whether the public                      Government are difficult, if not
                                              unnecessarily puts immigrants at great                  charge bond is unnecessary or punitive                    impossible to calculate and the amount
                                              financial risk.                                         is a question for Congress, not DHS.777                   of the damages is reasonable.778
                                                 Response: DHS disagrees with these                      Comment: Some commenters stated                        Additionally, these damages go beyond
                                              comments. The conditions that                           that the Government receiving full bond                   the simple amount of the benefits
                                              constitute breach of a public charge                    payment in those circumstances when                       received, encompassing not only the
                                              bond are listed in 8 CFR 213.1(h)(1) and                the public benefits paid out are less than                monetary value of the benefits received
                                              (2), and state that a public charge bond                the full amount of the bond is unfair,                    (which frequently are not calculable)
                                              is breached if the alien received public                unjust, and unlawful. A commenter                         but also the overhead of the benefit
                                              benefits, as defined in 8 CFR 212.21(b),                further stated that the proposed                          agency in administering the benefit.
                                              for more than 12 months in the                          regulations imposed an unlawful and                          As stated in the NPRM,779 the
                                              aggregate within any 36-month period                    strict standard for accidental, or                        minimum amount of the public charge
                                              (such that, for instance, receipt of two                inadvertent violations of bond                            bond is consistent with historical public
                                              benefits in one month counts as two                     conditions. Another commenter said the                    charge bond amounts, adjusted for
                                              months) after the alien’s adjustment of                 NPRM does not offer a coherent                            inflation, that have been found
                                              status to that of a lawful permanent                    explanation for why recovery of the                       reasonable and enforceable. Historically,
                                              resident or if any other condition of the               entire amount is appropriate, asserting                   public charge bonds have been forfeited
                                              public charge bond is violated, with                    that it makes little sense to forfeit the                 in their entirety upon breach.780 The
                                              limited exceptions. In particular, public               entire bond since DHS itself asserts that                 conditions that constitute breach of a
                                              benefits that are exempt from being                     the purpose of the bond is to ‘‘recoup                    public charge bond are delineated fully
                                              considered, as outlined in 8 CFR                        [the] cost of public benefits received.’’ A               in 8 CFR 213.1(h)(1) and (2), and any
                                              212.21(b), including while present in a                 commenter stated that in the case of a                    alien offered a bond has ample
                                              status exempt from public charge, do                    breach of public charge bond, the                         opportunity to review the conditions
                                              not count towards the breach                            individual should only be responsible                     and terms before agreeing to these
                                              determination as explained in the                       for the specific amount of benefits                       terms. Additionally, as explained in the
                                              NPRM. To make the bond provisions
                                              consistent with the amended public                        772 See  8 CFR 213.1(h)(4).                               778 See Inadmissibility on Public Charge Grounds,
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                                              benefits definition of 8 CFR 212.21(b),                   773 See  Inadmissibility on Public Charge Grounds,      83 FR 51114, 51226 (proposed Oct. 10, 2018).
                                              DHS has also amended the regulatory                     83 FR 51114, 51125 (proposed Oct. 10, 2018).                779 See Inadmissibility on Public Charge Grounds,
                                                                                                         774 See, e.g., Aguilar v. United States, 124 Fed. CL
                                              bond provision to clarify that public                                                                             83 FR 51114, 51221 (proposed Oct. 10, 2018).
                                                                                                      9, 16 (2015) (discussing substantial violation under        780 See, for example, United States v. Goldberg,
                                              benefits received after having been                     8 CFR 103.6(a) in relation to a delivery immigration      40 F.2d 406 (2d Cir. 1930); see Matta v. Tillinghast,
                                              granted a waiver of inadmissibility from                bond.)                                                    33 F.2d 64 (1st Cir. 1929); Ill. Surety Co. v United
                                                                                                         775 See 8 CFR 212.21(a) and (b).
                                                                                                                                                                States, 229 F. 527 (2d Cir. 1916); United States v.
                                                771 See Inadmissibility on Public Charge Grounds,        776 See INA section 213, 8 U.S.C. 1183.
                                                                                                                                                                Rubin, 227 F. 938 (E.D. Pa 1915); Matter of B-, 1
                                              83 FR 51114, 51226 (proposed Oct. 10, 2018).               777 See INA section 213, 8 U.S.C. 1183.                I&N Dec. 121 (BIA 1941).



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                                              NPRM,781 under the current breach of                    limited to surety bonds but should                    unlawful. The amount is based on a
                                              bond provisions of 8 CFR 103.6(e), an                   instead allow for cash, cashier’s check,              review of the amount originally
                                              immigration bond is considered                          or money order. Another commenter                     provided by 8 CFR 213.1 in 1964,783
                                              breached if there has been a substantial                stated that USCIS should accept only                  adjusted for inflation, to represent
                                              violation of the stipulated condition.                  surety bonds, not cash or equivalents,                present dollar values.784 Further, the
                                              The term ‘‘substantial violation’’ is                   until the effectiveness of the bonding                face value of the bond constitutes
                                              generally interpreted according to                      process can be assessed in practice. This             liquidated damages for a breach of the
                                              contractual principles.                                 commenter recommended that only                       conditions of that bond. As explained in
                                                 Comment: A commenter stated that                     limited-duration bonds be accepted, at                the NPRM,785 liquidated damages are an
                                              the NPRM’s proposals for the appeal of                  least initially. The commenter indicated              appropriate remedy in situations such
                                              public charge bond decisions are unfair                 that a periodic bond renewal process                  as the public charge bond, where the
                                              because the obligor must pay a $675 fee                 would provide valuable private sector                 total damages to the government are
                                              to have the same officer who issued the                 monitoring of the alien’s compliance,                 difficult, if not impossible to calculate.
                                              initial denial review that decision, and                especially where the time period                      Additionally, these damages go beyond
                                              because throughout the process, the                     between bond acceptance and eligibility               the simple amount of the benefits
                                              alien must rely on the obligor to                       for cancellation extends over multiple                received, encompassing not only the
                                              complete the steps, as the alien is not a               years.                                                monetary value of the benefits received
                                              party to the bond contract. A commenter                    Response: DHS agrees that bonds                    but also the overhead of the benefit
                                              further stated that the proposed rule                   should not be limited to surety, and                  agency in administering the benefit.
                                              would hinder the ability of noncitizens                 plans to accept cash equivalents once                    The public charge bond is offered to
                                              to meaningfully challenge harsh or                      the proper accounts and procedures can                allow aliens who are otherwise
                                              arbitrary breach determinations.                        be established. DHS disagrees that it is              inadmissible due to a likelihood of
                                                 Response: DHS disagrees. The public                  necessary to wait until the effectiveness             becoming a public charge an
                                              charge bond appeal process as described                 can be established before accepting cash              opportunity to overcome that finding of
                                              in the NPRM is a long established and                   bonds. The nature of cash bonds makes                 inadmissibility. The conditions that
                                              accepted method of disputing initial                    it unlikely that any situation would                  constitute breach of a bond are
                                              USCIS determinations. It is possible for                arise where DHS would have more                       delineated fully in 8 CFR 213.1(h)(1)
                                              obligors to appeal errors in either law or              difficulty collecting for a breached cash             and (2), and any alien offered a bond
                                              fact through well-established                           bond than for a breached surety bond.                 has ample opportunity to review them
                                              administrative remedies via the AAO                     DHS also disagrees that only limited                  before agreeing to these terms.
                                              without having to resort to bringing suit               duration bonds be accepted initially. As              Additionally, as explained in the
                                              in a Federal court. Although the alien is               a commenter has noted, public charge                  NPRM,786 under the current breach of
                                              not a party to the surety bond contract                 bonds of limited duration place an                    bond provisions of 8 CFR 103.6 an
                                              with DHS, the rule does not impair his                  additional burden in both time and                    immigration bond is considered
                                              or her ability to pursue or defend                      money on both the bonded alien and                    breached if there has been a substantial
                                              against traditional contract actions with               DHS, as they must be periodically                     violation of the stipulated condition.
                                              regard to the obligor, with whom he or                  renewed and these renewals must be                    The term ‘‘substantial violation’’ is
                                              she is in contractual privity. Similarly,               reviewed by DHS. For this reason, DHS                 generally interpreted according to
                                              if the alien is the obligor in that the                 will only accept public charge bonds of               contractual principles.787 However, in
                                              alien submits a cash equivalent bond,                   unlimited duration.                                   the NPRM, DHS proposed to incorporate
                                              the alien would be able to defend                          Comment: One commenter stated that                 the substantial violation standard via
                                              against a breach determination.                         if immigrants can afford to pay the high              incorporating principles that govern the
                                              Requiring USCIS to set up a separate                    cost of a guide to cross the border                   public charge and public charge benefits
                                              and distinct review process for bond                    illegally, they can probably afford a                 definitions.788 Whether the public
                                              appeals would be unnecessarily                          bond to guarantee their stay in the                   charge bond is punitive is a matter for
                                              burdensome and redundant.                               United States.                                        Congress; however, per the Act, the
                                                 Comment: An individual commenter                        Response: DHS appreciates concerns                 public charge bond’s purpose is to hold
                                              said the NPRM would add further fees                    raised about illegal entry but stresses               the United States, and all states,
                                              and expenses to an already costly                       that the public charge inadmissibility                territories, counties, towns and
                                              process. Some commenters provided a                     rule assesses an applicant’s likelihood               municipalities and districts harmless
                                              discussion of the costs associated with                 of becoming a public charge at any time
                                              filing a public charge bond application                 in the future. Whether an alien paid a                   783 Miscellaneous Amendments to Chapter, 29 FR

                                              and filing an appeal. The commenters                    guide to enter the United States without              10579 (July 30, 1964).
                                              said immigrants would be inflicted with                 permission, in and of itself, is not                     784 DHS uses the semi-annual average for the first

                                                                                                      relevant to the public charge                         half of 2018 and the annual average from 1964 from
                                              expensive fees and fines.                                                                                     the historical CPI–U for U.S. City Average, All
                                                 Response: USCIS is primarily funded                  inadmissibility determination, or to                  Items. See https://www.bls.gov/cpi/tables/
                                              by fees. Congress mandated that DHS                     whether DHS should exercise its                       supplemental-files/historical-cpi-u-201806.pdf (last
                                              may set IEFA fees in a manner                           discretion and allow an alien                         visited July 26, 2019).
                                                                                                      inadmissible only on the public charge                   Calculation: Annual average for 1st half of 2018
                                              commensurate with the expense of                                                                              (250.089)/annual average for 1964 (31) = 8.1; CPI–
                                              adjudicating the benefits in question.782               ground to submit a public charge bond.                U adjusted present dollar amount = $1,000 * 8.1 =
                                              The cost of filing a public charge bond                    Comment: A commenter stated that                   $8,100.
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                                              may be assessed in the USCIS fee rule,                  the government receiving full bond                       785 See Inadmissibility on Public Charge Grounds,

                                              as are other USCIS fees.                                payment in those circumstances when                   83 FR 51114, 51226 (proposed Oct. 10, 2018).
                                                 Comment: A commenter stated that                     the public benefits paid out are less than               786 See Inadmissibility on Public Charge Grounds,

                                                                                                      the full amount of the bond is unfair,                83 FR 51114, 51125 (proposed Oct. 10, 2018).
                                              the bond requirement should not be                                                                               787 See, e.g., Aguilar v. United States, 124 Fed. CL
                                                                                                      unjust, and unlawful.                                 9, 16 (2015) (discussing substantial violation under
                                                781 See Inadmissibility on Public Charge Grounds,        Response: DHS disagrees that                       8 CFR 103.6(a) in relation to a delivery immigration
                                              83 FR 51114, 51125 (proposed Oct. 10, 2018).            forfeiture of the full bond amount in the             bond.)
                                                782 See INA section 286(m), 8 U.S.C. 1356(m).         event of breach is unfair, unjust, or                    788 See 8 CFR 212.21(a) and (b).




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                                              against bonded aliens becoming public                   but also because of the impact on the                 Applications and petitions pending
                                              charges.789                                             legal services community and ethnic                   with USCIS on the effective date of the
                                                Comment: A commenter indicated                        community-based organizations who                     rule, i.e. were postmarked before the
                                              that sponsors of religious workers may                  would bear the brunt of dealing with                  effective date of the rule and were
                                              not possess the financial ability of                    immigrants fearful about how the new                  accepted by USCIS pursuant to 8 CFR
                                              typical U.S. employers, and may not be                  requirements will affect them and their               103.2(a)(1) and (a)(2)) will not be subject
                                              able to afford a bond.                                  families. Another commenter said DHS                  to the rule. For the purposes of
                                                Response: DHS acknowledges that                       should time the publication of the final              determining whether a case was
                                              special immigrant religious workers,                    rule so that the effective date falls                 postmarked before the effective date of
                                              and immigrants who perform religious                    within an ACA marketplace open                        the rule, DHS will consider the
                                              work generally, provide valuable                        enrollment period, so that those who are              postmark date for the application or
                                              contributions to the United States and                  currently using Medicaid or CHIP and                  petition currently before USCIS, not the
                                              are in a special position, as                           who may be affected by this rule, may                 postmark date for any previously-filed
                                              acknowledged by Congress in the                         discontinue that benefit and switch to                application or petition that USCIS
                                              special immigrant religious worker                      an ACA marketplace plan without an                    rejected pursuant to 8 CFR
                                              classification.790 Congress, however, did               interruption in health insurance                      103.2(a)(7)(ii).
                                              not exempt these workers from the                       coverage. A couple of commenters                         In addition, DHS will not consider the
                                              public charge ground of inadmissibility                 stated that the 60-day effective date may             receipt of public benefits excluded
                                              and therefore, DHS will not exempt                      be insufficient and reasoned that DHS                 under the 1999 Interim Field Guidance
                                              them in this rule. The public charge                    should delay the effective date of any                unless such benefits are received on or
                                              bond provides a way for individuals                     final regulation until at least January 1,            after the effective date of the final rule.
                                              who would otherwise be inadmissible                     2020, or one year after the publication                  As DHS stated elsewhere in this rule,
                                              due to likelihood of becoming a public                  of the final rule, which would minimize               DHS is not imposing any requirements
                                              charge to overcome that finding. While                  disruption to the markets, decrease                   on benefit-granting agencies through
                                              DHS will take into account the totality                 consumer confusion of mid-year                        this final rule or a requirement that
                                              of the circumstances regarding all                      changes, and allow affected entities to               these agencies specifically verify the
                                              applicants, and will adjudicate the                     adjust their outreach, messaging, and                 information provided on the Form I–
                                              applications of religious workers in light              technology to accommodate the                         944. While the Form I–944 includes a
                                              of the unique conditions under which                    changes. A commenter asked that the                   Federal Agency Disclosure and
                                              many of them live and work, in those                    proposed rule be delayed a minimum of                 Authorization, that part of the form will
                                              instances where a bond is offered it is                 three years to allow states to implement              only become relevant after DHS enters
                                              already an extraordinary exercise of                                                                          into information sharing agreements
                                                                                                      a comprehensive education program.
                                              discretion to allow the alien to adjust                                                                       with specific agencies to obtain
                                                                                                      Another commenter stated that if any
                                              status in the United States even when                                                                         verification of the information supplied
                                                                                                      changes are implemented public
                                              found inadmissible as likely to become                                                                        by applicants. DHS expects that this
                                                                                                      agencies will need far longer than 60
                                              a public charge. It is up to the applicant                                                                    process will take time and will likely be
                                                                                                      days to prepare, noting that contracts
                                              to determine whether it is in his or her                                                                      in effect at some point in the future after
                                                                                                      will need to be obtained with vendors
                                              best interests to accept the offered                                                                          the final rule becomes effective. In
                                                                                                      in order to reprogram computer systems,
                                              opportunity to post a public charge                                                                           addition, any such information sharing
                                                                                                      all materials pertaining to immigrant
                                              bond, and this rule does not require that                                                                     will depend on the ability of the
                                                                                                      eligibility will need to be reviewed,
                                              the sponsor post the bond, rather this                                                                        relevant agencies to share such
                                                                                                      workers will need to be trained, and                  information with DHS. Because this
                                              obligation is on the alien and the bond
                                              maybe posted by any entity or                           funding will need to be appropriated in               aspect of the rule’s implementation will
                                              individual that can serve as an obligor                 order to do these things through a state’s            necessarily involve inter-agency
                                              under section 8 CFR 103.6 and 213.1.                    budget cycle. The commenter cited to                  collaboration, DHS does not believe that
                                              DHS declines to further modify this                     the Medicaid expansion which, though                  delaying the effective date of the final
                                              exercise of discretion based upon either                passed in 2010, was not set to be                     rule beyond 60 days will be necessary
                                              the nature of the applicant’s                           implemented until January 2014;                       to address the agencies’ concerns related
                                              employment or the immigration                           computer systems and other processes                  to the verification of information on
                                              classification in which the alien seeks to              were not ready nearly 4 years later,                  Form I–944.
                                              adjust status.                                          causing adverse impacts on                               DHS is also not altering an alien’s
                                                                                                      Californians. Another commenter                       eligibility for public benefits, and
                                              T. Effective Date(s)                                    detailed other impacts or administrative              therefore does not believe that agencies
                                                Comment: Many commenters asked                        burdens the rule would place on                       would have to change their guidance in
                                              that the proposed rule be delayed as                    benefit-granting agencies. These impacts              that regard. The rule specifies what
                                              long as possible. One commenter noted                   include needing to provide aliens with                public benefits will be considered in the
                                              that the verification requirements                      documentation regarding benefit                       public charge inadmissibility
                                              related to the Form I–944 would create                  receipt, responding to inquiries from the             determination. DHS encourages
                                              new challenges and impose great                         public, updating communication                        agencies to update their web pages and
                                              burdens on State and local agencies.                    materials, and increased caseload.                    guidance to direct recipients of public
                                              Another commenter requested that the                       Response: DHS is retaining the 60-day              benefits to DHS guidance related to this
                                              rule be delayed as long as possible not                 effective date. Relatedly, DHS is also                final rule rather than repeat or explain
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                                              only because of the impact on agencies                  clarifying that DHS will apply the                    what receipt of public benefits may
                                                                                                      public charge final rule only to                      make a person a public charge. While
                                                789 SeeINA section 213, 8 U.S.C. 1183.                applications and petitions (in the                    aliens may choose to disenroll from
                                                790 Forexample, special immigrant religious           context of extensions of stay or changes              benefits to ensure the public benefit
                                              workers under section 101(a)(27)(C), 8 U.S.C.
                                              1101(a)(27)(C) qualify for adjustment of status
                                                                                                      of status) postmarked (or if applicable,              threshold is not triggered, DHS is
                                              under INA section 245(a), notwithstanding certain       electronically submitted) on or after the             moving to a duration-only threshold,
                                              bars under INA section 245(c).                          effective date of the final rule.                     aliens will have more time to adjust


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                                              their conduct in response to this rule.                 ‘‘primarily dependent’’ standard for                    and are pending on the effective date of
                                              Therefore any potential increase in                     TANF, SSI, and general assistance                       the final rule, but only to applications
                                              agencies’ caseloads will likely be spread               benefits received prior to the effective                or petitions postmarked (or if
                                              over a longer period of time which                      date of the rule.                                       applicable, electronically submitted) on
                                              would eliminate the need to further                        Response: DHS disagrees that it has                  or after the effective date of the final
                                              extend the effective date of the final                  given recipients of public benefits                     rule.
                                              rule.                                                   inadequate time to make decisions                          Comment: A commenter stated that
                                                 Finally, DHS is also not requiring that              about receiving public benefits before                  the proposed rule should be applied to
                                              benefit-granting agencies develop new                   the effective date of this rule. Through                applications filed on or after the
                                              documentation of benefits provided, but                 the NPRM, DHS provided advance                          effective date. Pending applications
                                              will accept documentation already                       notice to the public that DHS was                       would be affected by the new rule and
                                              provided in the normal course of benefit                changing which public benefits would                    would place a strain on DHS to re-
                                              administration. Such documentation                      be considered in public charge                          interview and re-adjudicate applications
                                              should be adequate given that DHS is                    inadmissibility determinations. The                     that are already pending. In contrast,
                                              simplifying the threshold standard to                   NPRM’s provisions, coupled with the                     one commenter stated the rule, if
                                              focus exclusively on the duration of                    60-day effective date of the final rule,                implemented, needs to apply
                                              receipt and not the amount. DHS notes                   provided adequate notice to the                         retroactively at some point in order to
                                              that examples of implementation of the                  regulated public with respect to the                    remove green cards from individuals
                                              Medicaid expansion program are not apt                  possible consequences associated with                   who may have already received them
                                              for comparison to the implementation of                 the receipt of public benefits.792                      and who could be deemed public
                                              this rule for the reasons explained                        DHS notes that in this final rule, DHS               charges under the proposed rule.
                                              above, namely, that this rule imposes no                will not consider public benefits listed                   Response: DHS agrees that the rule
                                              direct obligations on benefit-granting/                 in 8 CFR 212.21(b) that were previously                 will not be applied to applications
                                              administering agencies, and it does not                 excluded under the 1999 Interim Field                   pending on the effective date of the rule,
                                              modify eligibility criteria for the                     Guidance if received before the effective               i.e. were postmarked (or if applicable,
                                              benefits covered by this rule.                          date of this final rule. DHS will                       electronically submitted) and were
                                                 With respect to comments requesting                  continue to consider benefits listed in 8               accepted by USCIS pursuant to 8 CFR
                                              time so aliens can move from Medicaid                   CFR 212.21(b) that were previously                      103.2(a)(1) and (a)(2) the effective date
                                              to obtaining private health insurance                   considered under the 1999 Interim Field                 of the rule and were accepted by USCIS
                                              through the ACA marketplaces, DHS                       Guidance if received before the effective               pursuant to 8 CFR 103.2(a)(1) and (a)(2).
                                              notes that it believes aliens will have                 date of the final rule.793 The receipt of               As discussed above, DHS will continue
                                              sufficient time to obtain private health                such benefits would not be considered                   to review such cases under the 1999
                                              insurance through the ACA                               as a heavily weighted negative factor. In               Interim Field Guidance. For the
                                              marketplaces. Additionally, Medicaid                    addition, DHS is clarifying that this                   purposes of determining whether a case
                                              benefits included in the definition of                  final rule will not apply to any                        was postmarked before the effective date
                                              public benefit will only be a heavily                   applications or petitions postmarked                    of the rule, DHS will consider the
                                              weighted negative factor in the totality                before the effective date and accepted by               postmark date for the application or
                                              of the circumstances if the alien receives              USCIS pursuant to 8 CFR 103.2(a)(7)(ii),                petition currently before USCIS, not the
                                              Medicaid for more than 12 months in                                                                             postmark date for any previously-filed
                                              the aggregate, beginning 36 months                         792 See, e.g., Alcaraz v. Block, 746 F.2d 593, 611
                                                                                                                                                              application or petition that USCIS
                                              before the alien filed for adjustment of                (9th Cir. 1984) (‘‘In addition to the pre-              rejected pursuant to 8 CFR
                                                                                                      promulgation procedures, 5 U.S.C. 553(d) provides
                                              status. The open enrollment period for                  for a 30-day lag time between the rule’s publication    103.2(a)(7)(ii).
                                              2020 will run from November 1, 2019 to                  and its effective date. This post-adoption delay in        DHS will only apply this final rule to
                                              December 15, 2019.791 Because USCIS                     effectiveness affords parties affected by the           applications for admission or
                                                                                                      regulations reasonable time in which to adjust their    applications or petitions for
                                              will only consider benefits covered                     conduct or take other measures.’’) (citations
                                              under this final rule if received on or                 omitted).
                                                                                                                                                              immigration benefits postmarked (or if
                                              after the effective date of the final rule,                793 Under the 1999 Interim Field Guidance, DHS       applicable, electronically submitted) on
                                              and given that this rule published on                   would consider the current receipt of cash benefits     or after the effective date of the rule.
                                              August 14, 2019, aliens will have                       for income maintenance or long-term                     DHS does not anticipate a strain on
                                                                                                      institutionalization at government expense in the
                                              sufficient time to disenroll from                       totality of the circumstances. See Field Guidance on
                                                                                                                                                              USCIS resources due to the effective
                                              Medicaid and enroll in private health                   Deportability and Inadmissibility on Public Charge      date of this final rule. By applying the
                                              insurance through the ACA                               Grounds, 64 FR 28689, 28690 (May 26, 1999) (‘‘If        public charge rule to applications
                                              marketplaces without incurring a                        at the time of application for admission or             postmarked on or after the effective
                                                                                                      adjustment an alien is receiving a cash public
                                              heavily weighted negative factor for                    assistance for income maintenance or is
                                                                                                                                                              date, DHS ensures a smooth
                                              purposes of the public charge                           institutionalized for long-term care (as discussed in   implementation and ample notice to
                                              inadmissibility determination.                          section 6, below), that benefit should be taken into    applicants and petitioners.
                                              Therefore, DHS will implement the rule                  account under the totality of the circumstances test,
                                                                                                      along with the other statutory factors under section    Benefits Received Before Effective Date
                                              within 60 days from the date of                         212(a)(4)(B)(i) and any [adjustment of status].’’).     and Previously Excluded Benefits
                                              publication.                                            DHS would also consider past receipt of cash
                                                 Comment: A commenter stated that                     benefits for income maintenance or long-term              Comment: Several commenters
                                              DHS does not provide sufficient notice                  institutionalization at government expense in the       generally opposed the consideration of
                                                                                                      totality of the circumstances. See Field Guidance on    benefits received before the effective
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                                              to noncitizen benefit recipients of                     Deportability and Inadmissibility on Public Charge
                                              TANF, SSI, or general assistance about                  Grounds, 64 FR 28689, 28690 (May 26, 1999)
                                                                                                                                                              date of the rule, and that the 1999
                                              the impact of benefits received prior to                (‘‘[P]ast receipt of cash income-maintenance            Interim Field Guidance should be
                                              the effective date of the rule. The                     benefits does not automatically make an alien           applied to any receipt of benefits prior
                                                                                                      inadmissible as likely to become a public charge,       to the effective date of the final rule.
                                              commenter requested that DHS use the                    nor does past institutionalization for long-term care
                                                                                                      at government expense. Rather this history would
                                                                                                                                                              Some commenters disagreed with this
                                                791 https://www.healthcare.gov/quick-guide/           be one of many factors to be considered in applying     portion of the rule, stating it runs
                                              dates-and-deadlines/ (last visited May 1, 2019).        the totality of the circumstances test.’’).             counter to the original purpose of the


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                                              public charge test and the 1999 Interim                 adjustment of status applications filed               currently excluded from the public
                                              Field Guidance standard by which                        on or after the effective date of the rule,           charge determination, or for not being
                                              individuals are becoming a public                       an applicant’s receipt of any of the                  able to obtain a termination letter
                                              charge. A commenter expressed                           benefits listed in the 1999 Interim Field             quickly enough.
                                              disapproval of this section of the rule                 Guidance prior to the effective date of                  Response: DHS appreciates the
                                              because it would impact family                          the rule will be treated as a negative                suggestion but declines to incorporate a
                                              members who rely on cash benefits.                      factor in the totality of the                         3-year grace period for previously
                                                 Another commenter stated that the                    circumstances, as they were in the 1999               received benefits. As previously
                                              proposed rule could be retroactively                    Interim Field Guidance. Public benefits               indicated, the rule will only consider all
                                              applied so that immigrants’ receipt of                  that were not considered in the 1999                  benefits as listed in 8 CFR 212.21(b) if
                                              benefits prior to the effective date of the             Interim Guidance, such as SNAP, would                 the application was filed on or after the
                                              rule would be considered in a public                    not be considered at all in the public                effective date. For benefits received
                                              charge determination. The commenter                     charge inadmissibility determination;                 before the effective date and were also
                                              provided readings of the proposed                       they would only be considered if                      considered under the 1999 Interim Field
                                              regulatory text against the 1999 Interim                received on or after the effective date of            Guidance, USCIS will only consider the
                                              Field Guidance, arguing that SNAP,                      the rule. However, regardless of the                  benefits as they would have been
                                              specifically, could ‘‘fall through the                  length of time such benefits were                     considered under the 1999 Interim Field
                                              cracks.’’ Other commenters stated that                  received before the effective date of this            Guidance. The rule will become
                                              this part of the rule lacked clear                      rule, or the monetary amount of such                  effective within 60 days, which DHS
                                              guidance and proved difficult to                        benefits, DHS will not treat the receipt              believes is sufficient time for aliens to
                                              implement, providing examples and                       of these benefits as a heavily weighted               terminate any currently received public
                                              saying this section will be unfair and                  negative factor, as set forth in 8 CFR                benefits that may be reviewed in the
                                              unworkable. A commenter requested                       212.22(d).                                            public charge inadmissibility
                                              that DHS use the ‘‘primarily dependent’’                   DHS believes that it has minimized                 determination.
                                              standard for TANF, SSI, and general                     any adverse effects on applicants as a                   Comment: Commenters stated that
                                              assistance benefits received prior to the               result of having received benefits that               such a rule should not be applied to
                                              effective date of the rule. A commenter                 were listed in the 1999 Interim Field                 immigrants already in the United States
                                              said this portion of the rule is in                     Guidance before the effective date of                 who are on a pathway to ‘‘legalization’’
                                              contrast with what many social workers                  this rule. DHS believes that recipients of            (who are ‘‘in line’’).
                                              have advised their clients on in the past.              public benefits listed in the 1999                       Response: DHS disagrees with the
                                                 Response: DHS acknowledges that the                  Interim Field Guidance are being given                comment that the rule will be applied
                                              public charge inadmissibility standard                  adequate time to make decisions about                 to applicants with applications pending
                                              in this final rule is a departure from the              receiving public benefits on or after the             on the day the rule goes into effect. This
                                              1999 Interim Field Guidance. However,                   effective date of this rule. The NPRM’s               rule only applies to applications for
                                              this final rule as it pertains to public                discussion of how DHS would treat past                admission or adjustment of status
                                              charge inadmissibility will only apply                  receipt of benefits listed in the 1999                postmarked (or if applicable,
                                              to applications for admission or                        Interim Field Guidance, this rule’s                   electronically submitted) on or after the
                                              adjustment of status postmarked (or if                  explanation of how such benefits will be              effective date of the rule. Individuals
                                              applicable, electronically submitted) on                treated, and the proposed 60-day                      who have applications pending with
                                              or after the effective date of the rule. For            effective date of the final rule, provide             DHS on the effective date of the rule
                                              any application for admission or                        aliens an opportunity to discontinue the              will not be subject to this rule; USCIS
                                              adjustment of status postmarked (or if                  receipt of any public benefits before                 will adjudicate such applications under
                                              applicable, electronically submitted)                   filing an application for admission or                the terms of the 1999 Interim Field
                                              and pending before the effective date of                adjustment of status and provides an                  Guidance.
                                              the rule, USCIS will apply the 1999                     opportunity for public benefit-granting                  Comment: A commenter argued that
                                              Interim Field Guidance. For the                         agencies to communicate the                           past acceptance of legally-obtained
                                              purposes of determining whether a case                  consequences of receiving public                      Federal assistance programs or public
                                              was postmarked before the effective date                benefits, to the extent such agencies                 benefits should not count against
                                              of the rule, DHS will consider the                      deem appropriate.                                     immigrants already in the country, as it
                                              postmark date for the application or                       With respect to the public benefit                 is often U.S. born children who have
                                              petition currently before USCIS, not the                condition for extension of stay and                   qualified for and are receiving
                                              postmark date for any previously-filed                  change of status, DHS will not consider               assistance because their immigrant
                                              application or petition that USCIS                      any receipt of public benefits that                   parents are struggling. Neither the
                                              rejected pursuant to 8 CFR                              occurred before the effective date of this            parents nor the children should be
                                              103.2(a)(7)(ii).                                        final rule.                                           penalized for accepting public benefits
                                                 Additionally, for any application for                   Comment: A commenter proposed                      that were legally available for
                                              admission or adjustment of status                       that a 3-year grace period be applied for             assistance.
                                              postmarked (or if applicable,                           the consideration of previously                          Response: As noted elsewhere in this
                                              electronically submitted) on or after the               excluded benefits. The commenter                      preamble, benefits received by or on
                                              effective date of the rule, if the alien                indicated that, in some cases, the receipt            behalf of a U.S. citizen child are not
                                              received any included public benefit                    of benefits for up to 3 years prior to the            considered in the public charge
                                              listed in the 1999 Interim Field                        proposed rule’s enactment could count
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                                                                                                                                                            inadmissibility determination.
                                              Guidance (cash assistance for income                    against immigrants, and that such an                     Comment: A commenter requested
                                              maintenance, including SSI, TANF, and                   outcome would be absurd in light of the               that DHS use the ‘‘primarily dependent’’
                                              general assistance) before the effective                standard 3-year cycle process for                     standard for TANF, SSI, and general
                                              date of the rule, DHS will consider those               benefits. The commenter indicated that                assistance benefits received prior to the
                                              benefits as they would have been                        people should not be punished for                     effective date of the rule.
                                              considered under the 1999 Interim Field                 following the standard 3-year cycle                      Response: As noted, under this rule,
                                              Guidance. In other words, for                           process for receiving benefits which are              USCIS will continue to apply the


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                                              criteria set forth in the 1999 Interim                  government to meet their needs. DHS                   to Iraqi translators in the search for
                                              Field Guidance to applications                          also intends that this rule provide a                 asylum.
                                              postmarked (or if applicable,                           clear regulatory framework for assessing                 Response: DHS appreciates the
                                              electronically submitted) before, and                   the factors Congress established as                   comments. However, these comments
                                              pending on, the effective date of this                  mandatory considerations with respect                 are outside of the scope of DHS’s
                                              rule, and therefore, the receipt of                     to the public charge ground of                        rulemaking. Through this rulemaking,
                                              previously-included benefits in those                   inadmissibility.                                      DHS is exercising its authority to
                                              applications will be considered                            Comment: An individual commenter                   regulations implementing the public
                                              pursuant to the ‘‘primary dependence’’                  proposed creating a ‘‘self-sufficiency                charge ground of inadmissibility and the
                                              standard. However, for applications                     program’’ in place of the proposed rule.              public charge bond framework. DHS is
                                              postmarked (or if applicable,                           The commenter suggested the program                   also setting a public benefit condition
                                              electronically submitted) on or after the               be modeled after the ORR’s Voluntary                  related to extension of stay and change
                                              effective date of this rule in which the                Agencies Matching Grant Program that                  of status.
                                              applicant received previously-included                  provides intensive case management,                      Comment: Some commenters stated
                                              benefits before the effective date of the               English language and vocational                       that all individuals should be treated
                                              rule, DHS will consider the receipt of                  training, and a variety employment                    with dignity, compassion, and kindness.
                                              those benefits as a negative factor in the              services. A commenter suggested                          Response: DHS believes that this rule
                                              totality of the circumstances, but such                 creating classes or having resources                  implements the public charge ground of
                                              receipt will not be considered a heavily                available to aliens to help them                      inadmissibility consistent with those
                                              weighted negative factor.                               understand the importance of self-                    values, as well as other values
                                                                                                      sufficiency and methods to obtain that                prioritized by Congress.
                                              U. Other Comments                                       ideal goal. The commenter indicated                      Comment: One commenter suggested
                                                 Comment: A commenter indicated                       that those kinds of programs would                    that DHS should issue work
                                              that DHS did not affirmatively address                  provide more incentive to the aliens to               authorization cards to all aliens subject
                                              whether it consulted with Federal                       avoid public assistance than revoking or              to the public charge ground of
                                              benefit-granting agencies such as HHS,                  denying their citizenship status just                 inadmissibility and that USCIS should
                                              USDA, and HUD in developing its                         because they needed some help or might                amend the rule to include a work
                                              proposed definition of ‘‘public charge’’                need it in the future.                                authorization category for all pending
                                              as ‘‘an alien who receives one or more                     Response: DHS appreciates the                      applications. Another commenter
                                              public benefit[s]’’ and abandoning the                  suggestion. However, this rule                        suggested that USCIS amend the rule to
                                              current ‘‘primarily reliant’’ standard.                 establishes guidelines for the                        include a work authorization category
                                              Although the commenter acknowledged                     inadmissibility of aliens based on the                for all pending applications.
                                              that the NPRM indicated that DHS                        public charge ground of inadmissibility                  Response: These comments are
                                              consulted these benefit-granting                        as established by Congress. The rule                  outside of the scope of DHS’s
                                              agencies on other, tangential issues such               provides for the initial determination of             rulemaking. DHS will not offer
                                              as methodologies for considering and                    admissibility; other immigration related              employment authorization to all aliens
                                              quantifying an immigrant’s receipt of                   benefits or activities fall beyond the                subject to the public charge ground of
                                              non-cash, non-monetizable benefits, the                 scope of the rule. The programs offered               admissibility. DHS notes that aliens
                                              commenter was requesting that DHS                       to refugees are designated to assist                  with pending adjustment of status
                                              address, in the next public action,                     people who are not subject to the public              application may apply for employment
                                              whether or not it formally consulted                    charge inadmissibility ground. Further,               authorization under 8 CFR
                                              Federal benefit-granting agencies such                  neither the statute nor this final rule               274a.12(c)(9).
                                              as HHS, USDA, and HUD in developing                     permit revocation or denial of                           Comment: One commenter requested
                                              its proposed definition of ‘‘public                     citizenship status based on                           that DHS affirmatively review and
                                              charge,’’ and if so, that DHS publicly                  inadmissibility on public charge                      incorporate into the administrative
                                              disclose copies of any written feedback                 grounds.                                              record for this rulemaking the
                                              it received from these agencies.                           Comment: A commenter asked that a                  supporting evidence and authority cited
                                                 Response: Interagency discussions are                public information campaign be                        in the approximately 300 footnotes
                                              a part of the internal deliberative                     implemented that is targeted towards                  contained in the commenter’s
                                              process associated with the rulemaking.                 the general public to explain the rule                submission. The commenter also
                                                 Comment: Another commenter                           changes.                                              submitted to the docket 22 additional
                                              indicated that the rule would arbitrarily                  Response: DHS will provide                         documents, which included some but
                                              prevent immigrants from obtaining or                    additional information and                            not all of the commenter’s supporting
                                              maintaining lawful immigration status,                  communication materials on the rule                   evidence and authority.
                                              which data shows improves immigrants’                   and its provisions as part of the                        Response: DHS has fulfilled its
                                              hourly wages.                                           implementation of the final rule.                     obligation to meaningfully consider and
                                                 Response: DHS disagrees that the rule                   Comment: Some commenters                           respond to the public comments. With
                                              will impermissibly prevent immigrants                   provided general comments and                         respect to the commenter’s additional
                                              from obtaining or maintaining lawful                    recommendations on and other aspects                  request regarding the administrative
                                              immigration status. This rule only                      of the immigration system. Multiple                   record, the APA does not require DHS
                                              addresses one ground of inadmissibility                 commenters opposed the separation of                  to conduct the exercise requested by the
                                              and does not otherwise affect eligibility               families at the southwest border. Several
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                                                                                                                                                            commenter, and DHS respectfully
                                              for public benefits. As discussed                       commenters stated that asylum seekers                 declines to do so.
                                              elsewhere in this rule, DHS’s objective                 and refugees are unfairly treated.                       Comment: A commenter
                                              in promulgating this rule is to better                  Several commenters stated their support               recommended that the proposed rule
                                              ensure that aliens seeking admission,                   for suspension of all immigration via                 include the ‘‘protective effect of secure
                                              adjustment of status, extension of stay,                section 212(f) of the Act, 8 U.S.C.                   immigration status against abuse and
                                              and change of status, rely on their own                 1182(f). Commenters expressed concern                 exploitation, as well as the bolstering
                                              resources and capabilities and the not                  regarding the lack of support provided                effects on family stability.’’ The


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                                              commenter indicated that as recognized                     Comment: Some commenters                             sufficient for purpose of the alien’s
                                              under VAWA, admission to the United                     provided general comments and                           status.
                                              States or adjustment of status can help                 recommendations on public benefits                         With this rulemaking, DHS prevent
                                              victims access employment and increase                  and the welfare system in the United                    individuals from receiving public
                                              their ability to escape the violence or                 States. For example, multiple                           benefits for which they are eligible. DHS
                                              overcome the trauma they’ve suffered.                   commenters stated that immigrants are                   understands that individuals may be
                                              The commenter further stated that a                     putting a burden on public services and                 hesitant to apply for or receive public
                                              stable immigration status helps                         U.S. taxpayers. One commenter                           benefits in light of this rulemaking.
                                              individuals obtain secure better paying                 summarized potential methods for                        DHS, however, is implementing the
                                              jobs, reducing the stress associated with               saving money within the public welfare                  congressional mandate provided in
                                              exploitative working conditions, leading                system in the United States, as an                      section 212(a)(4) of the Act, 8 U.S.C.
                                              to better short-term and long-term                      alternative to changing how the                         1182(a)(4) to assess, as part of an alien’s
                                              outcomes for their families. The                        Government implements the public                        application for admission or adjustment
                                              commenter provided information on                       charge ground of inadmissibility. An                    of status, whether the alien is likely at
                                              research conducted among immigrant                      individual commenter in support of the                  any time to become a public charge.
                                              victims across the United States that                   rule provided information and views                        Comment: Commenters referenced
                                              indicated 65 percent of immigrant                       regarding fraud and abuse in the U.S.                   DOS’s January 2018, changes to public
                                              victims reported that their violent                     public welfare system, along with brief                 charge in the FAM. One commenter
                                              partner had used some form of a threat                  recommendations on how to address                       stated that if DOS adopted a standard
                                              of deportation after arrival in the United              such issues.                                            similar to the proposed rule, it would
                                              States as a form of abuse. The                             Response: DHS appreciates these                      result in significant increases of visa
                                              commenter suggested that DHS should                     comments. However, DHS’s public                         denials.
                                              consider the supportive and protective                                                                             Response: This rule only pertains to
                                                                                                      charge inadmissibility rule is not
                                              effects of stable immigration status to                                                                         aliens who seek admission into the
                                                                                                      intended to address public benefit fraud
                                              victims. The commenter indicated that                                                                           United States as a nonimmigrant, or as
                                                                                                      and abuse specifically. Rather, this rule
                                                                                                                                                              an immigrant, or seek an adjustment of
                                              such a consideration would support the                  is intended to align the self-sufficiency
                                                                                                                                                              status or a change of status or extension
                                              purpose and guidance of the important                   goals set forth by Congress with the
                                                                                                                                                              of stay. Although the standards set forth
                                              protections that Congress has afforded                  public charge ground of inadmissibility.                in the rule pertain to DHS’s
                                              for victims in various Federal laws, even                  Comment: One commenter requested                     determinations as a whole, the rule’s
                                              if they are not seeking admission under                 that USCIS ensure employers are paying                  cost analysis focuses on the impact to
                                              an exempt victim-specific category.                     living wages to immigrants. The                         USCIS adjudications, as the rule most
                                                 Response: DHS understands the                        commenter stated that SNAP                              directly impacts USCIS adjudication of
                                              concerns and emphasizes that VAWA, T                    participants are either employed or                     applications for adjustment of status, as
                                              and U applicant categories are generally                seeking jobs, or are children or elderly.               well as applications for extension of
                                              not subject to the public charge                        Similarly, another commenter asserted                   stay and change of status. DHS did not
                                              inadmissibility determinations. Further                 that, unless DHS is willing to compel                   include an analysis of the costs and
                                              DHS has provided that if a person                       employers in agriculture and in other                   benefits associated with public charge
                                              receives a public benefit during a status               industries to provide a living wage and                 inadmissibility determinations made by
                                              exempt from public charge                               health benefits, it is cruel and unjust to              the DOS in the immigrant and
                                              inadmissibility, and later applies for an               punish hard-working immigrants who                      nonimmigrant visa context. DHS defers
                                              immigration benefit under a different                   rely on public benefits but who also                    to DOS on any information related to
                                              status where admissibility is required,                 benefit the United States.                              the application of the public charge
                                              such public benefit receipt would not be                   Response: The vast majority of                       inadmissibility determination as part of
                                              considered in the public charge                         workers who enter the United States on                  the immigrant and nonimmigrant visa
                                              inadmissibility determination.                          employment-based nonimmigrant and                       process.
                                                 Comment: A commenter expressed                       immigrant visas, including temporary                       Comment: A commenter urged DHS to
                                              concern about restricting the possibility               agricultural workers, enter based on the                defer to the DOS’s public charge
                                              of filing Request for Fee Waiver (Form                  terms and the conditions that have been                 determination. Another commenter
                                              I–912), stating that many applicants                    certified by DOL.794 For a temporary                    stated that DOS could further modify its
                                              have an income below the Federal Tax                    agricultural worker (H–2A                               own public charge guidance in response
                                              Filling Requirement Threshold, do not                   nonimmigrant),795 the employer must                     to the proposed rule from DHS. The
                                              file tax returns, and will lack the                     offer the appropriate wage rate 796 and                 commenters stated that this would
                                              evidence to submit this request. The                    comply with other requirements as set                   cause more than one million individuals
                                              commenter went on to say that forcing                   by law and regulations.797 As such, DOL                 that seek visas from DOS annually to be
                                              applicants to submit evidence through                   deemed the financial aspect and                         subjected to arbitrary standards and
                                              IRS tax filing will increase the amount                 conditions of the employment itself                     potentially shut out of the country.
                                              of tax return moneys that low-income                                                                               Response: DHS is collaborating with
                                              tax payers are eligible to obtain, thus                   794 See 20 CFR parts 655 and 656.                     other departments and agencies with
                                              canceling out any additional income                       795 See INA section 101(a)(15)(H)(ii)(a), 218, 8      regard to the regulatory changes
                                              received by DHS if these applicants are                 U.S.C. 1101(a)(15)(H)(ii)(a), 1188.                     promulgated by this final rules. DHS is
                                                                                                        796 See 20 CFR 655.120(l). Employers must pay
                                              unable to qualify for the fee waiver.                                                                           working, and will continue to work,
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                                                                                                      H–2A workers and workers in corresponding
                                                 Response: This rule not change the                   employment, unless otherwise excepted by the            with DOS to ensure consistent
                                              eligibility or evidentiary requirements of              regulations, at least the highest of the Adverse        application of the public charge ground
                                              Form I–912. This comment seems                          Effect Wage Rate (AEWR), the prevailing hourly          of inadmissibility. As noted in the
                                              misdirected as it appears to relate to a                wage rate, the prevailing piece rate, the agreed-upon   NPRM, DHS expects that DOS will make
                                                                                                      collective bargaining wage (if applicable), or the
                                              routine revision of Form I–912 and not                  Federal or State minimum wage in effect at the time     any necessary amendments to the FAM
                                              this rule. Therefore, this comment is out               the work is performed.                                  in order to harmonize its approach to
                                              of scope of this rule.                                    797 See 20 CFR 655.100–185.                           public charge inadmissibility


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                                              determinations with the approach taken                  determination absent in the                               rely on the proposed rule as a guide,
                                              in this final rule.798                                  inadmissibility ground. Specifically, the                 while other immigration judges will not.
                                                 Comment: A commenter discussed                       public charge ground of deportability                     The commenter stated that this will
                                              the rule’s impact on consular                           applies to an alien who (1) within five                   create inconsistencies in adjudication,
                                              processing. A commenter stated that                     years after the date of entry, has become                 and increase administrative
                                              DOS is likely to adopt public charge                    a public charge (2) from causes not                       inefficiencies through additional
                                              rules consistent with DHS’s rules, thus                 affirmatively shown to have arisen since                  appeals and motions; will take
                                              exasperating and extending costs to                     entry.800 Whereas, the public ground                      significantly more court time for those
                                              applicants to many types of visa                        charge of inadmissibility is prospective                  cases already in front of the judge due
                                              programs. Multiple commenters stated                    and requires an analysis to determine                     to the heightened evidentiary
                                              the rule would result in increased                      whether there is a likelihood that an                     requirements; and need additional and
                                              administrative burdens to other                         alien will become a public charge at any                  more detailed testimony. These
                                              organizations such as DOS, as the                       time in the future. In the event there are                heightened evidentiary requirements
                                              proposed rule would require every                       any regulatory changes to the                             will also impact ICE attorneys, who will
                                              adjudicator to be trained to apply the                  interpretation of the public charge                       be required to review that evidence and
                                              proposed rule, which is already                         deportability ground, such changes will                   prepare a response, as well as the
                                              subjective and unclear.                                 necessarily comply with the APA and                       respondent and his or her counsel, if
                                                 Response: This rule provides a                       other statutory and regulatory                            represented. With an immigration court
                                              standard for determining whether an                     requirements.                                             backlog that is already above 750,000
                                              alien who seeks admission into the                         Comment: A commenter discussed                         cases, the public charge rule would
                                              United States as a nonimmigrant or as                   the rule’s impact on immigration courts.                  further exacerbate an already record
                                              an immigrant, or seeks adjustment of                    The commenter indicated that although                     high case volume. Additionally,
                                              status, is likely at any time in the future             immigration judges are not bound by                       increased evidentiary requirements,
                                              to become a public charge under section                 DHS rules, DOJ is in the process of                       heightened scrutiny, and uncertainty as
                                              212(a)(4) of the Act, 8 U.S.C. 1182(a)(4).              creating a public charge rule that is                     to what standard to apply will delay
                                              DHS defers to DOS as to the procedure                   likely to parallel the DHS proposed rule.                 adjudications, add to the backlog, and
                                              and timing for adopting changes                         However, until a DOJ rule is finalized,                   result in inconsistent court
                                              consistent with the policy articulated in               the DHS proposed rule is likely to be                     adjudications.
                                              this final rule, as well as on the impact               used as persuasive authority by                              Response: Comments regarding the
                                              of any changes to visa processing times                 immigration judges tasked with making                     manner in which EOIR will assess
                                              and costs incurred as a result of any                   public charge assessments. The                            public charge inadmissibility are
                                              such changes.                                           commenter pointed out that this will                      beyond the scope of DHS’s rule. DHS’s
                                                 Comment: A commenter stated that                     occur in at least three scenarios: (1)                    rule pertains to DHS’s public charge
                                              DHS should consider the implications                    Individuals without lawful status                         inadmissibility determinations for
                                              of defining the inadmissibility ground at               seeking to adjust status in removal                       applicants seeking admission to the
                                              section 212(a)(4) of the Act, 8 U.S.C.                  proceedings; (2) returning lawful                         United States and for applicants seeking
                                              1182(a)(4), on the public charge                        permanent residents who are treated as                    adjustment of status. If DHS denies an
                                              deportability ground at section 237(a)(5)               applicants for admission under section                    adjustment of status application and
                                              of the Act, 8 U.S.C. 1227(a)(5). The                    101(a)(13)(C) of the Act, 8 U.S.C.                        places the applicant into removal
                                              commenter stated that DHS should                        1101(a)(13)(C); and (3) lawful                            proceedings, the alien may renew the
                                              consider the impact and reasonableness                  permanent residents placed in removal                     adjustment of status application before
                                              of the proposed NPRM definition in the                  proceedings who are seeking to re-adjust                  an immigration judge unless the
                                              deportability context and how the                       status with a waiver under section                        immigration judge does not have
                                              definition ‘‘might further heighten fear                212(h) of the Act, 8 U.S.C. 1182(h).                      jurisdiction over the adjustment
                                              and anxiety related to deportation                      Additionally, the commenter stated that                   application.801 DHS has no authority
                                              among lawful permanent residents and                    the adjudication of adjustment of status                  over EOIR’s inadmissibility
                                              others.’’ The commenter that the                        applications in immigration courts will                   determinations.
                                              Administration ‘‘will likely act quickly                likely increase due to a 2018 policy                         DHS notes that all inadmissibility
                                              to adopt it for deportation purposes.’’                 change at USCIS, under which NTAs are                     determinations are made on a case-by-
                                                 Response: DHS does not believe it is                 issued in any case in which USCIS                         case basis and depend on the facts and
                                              essential to consider the impact on the                 issues a denial, leaving the applicant                    circumstances, as well as the available
                                              public charge deportability ground. The                 with no legal status upon denial of the                   evidence, in each case. As such, it is
                                              rule is limited to the ground of                        adjustment application. This, according                   impossible to anticipate the arguments
                                              inadmissibility. Additionally, as                       to the commenter, will result in an                       that might be made or the evidence that
                                              explained in the NPRM, standards                        increase of adjustment of status                          might be submitted in support of a
                                              applicable to DOJ continue to govern the                applications in front of an immigration                   charge of inadmissibility. However, as
                                              standard regarding the public charge                    judge, increasing the frequency of cases                  noted above, under section 291 of the
                                                                                                      requiring a public charge adjudication.                   Act, 8 U.S.C. 1361, the burden of proof
                                              deportability ground.799 While the
                                                                                                      Until a DOJ rule is promulgated, ICE                      is on an applicant for admission to
                                              forward-looking inadmissibility ground
                                                                                                      trial attorneys, who are bound by DHS                     establish that he or she is not
                                              and the past-looking deportability
                                                                                                      regulations, will likely argue that                       inadmissible to the United States under
                                              grounds both use the phrase ‘‘become a
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                                                                                                      immigration judges should apply the                       any provision of the Act. Similarly,
                                              public charge,’’ the two provisions are
                                                                                                      proposed rule’s heightened standards.                     under section 240(c)(2)(A) of the Act, 8
                                              significantly different. Most notably, the
                                                                                                      Lacking any binding precedent on the                      U.S.C. 1229a(c)(2)(A), an applicant for
                                              deportability ground requires a two-step
                                                                                                      interpretation of section 212(a)(4) of the                admission in removal proceedings has
                                                798 See Inadmissibility on Public Charge Grounds,
                                                                                                      Act, 8 U.S.C. 1182(a)(4), some                            the burden of establishing that he or she
                                              83 FR 51114, 51135 (proposed Oct. 10, 2018).            immigration judges will agree and will                    is clearly and beyond doubt entitled to
                                                799 See Inadmissibility on Public Charge Grounds,

                                              83 FR 51114, 51134 (proposed Oct. 10, 2018).              800 See   INA section 237(a)(5), 8 U.S.C. 1227(a)(5).    801 8   CFR 245.2(a)(5)(ii) and 8 CFR 1245.2(a)(1).



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                                              be admitted and is not inadmissible                     demonstrate that they have not received,              confusion among aliens, who therefore
                                              under section 212 of the Act, 8 U.S.C.                  since obtaining the nonimmigrant status               voluntarily disenroll from or forgo
                                              1182. As noted above, DHS believes that                 they are seeking to extend or change,                 enrollment in public benefits.803
                                              concerns about DOJ’s adjudication of                    any public benefit, as defined in 8 CFR               However, the study notes that most of
                                              cases pending before immigration                        212.21(b), for more than 12 months, in                the individuals who may experience a
                                              courts, including immigration court                     the aggregate, within a 36-month period.              chilling effect are those who will not be
                                              backlogs, are more appropriately                        Although this rule may impact aliens                  subject to a public charge
                                              addressed by DOJ in the context of their                from South Asian countries to a larger                inadmissibility determination. DHS
                                              public charge rulemaking.                               extent solely because they account for a              acknowledges that some individuals
                                                                                                      larger percentage of foreign nationals                may disenroll or forego enrollment in
                                              V. Public Comments and Responses to
                                                                                                      who may apply for an extension of stay                public benefits programs even though
                                              the NPRM’s Statutory and Regulatory
                                                                                                      or change of status, DHS did not add the              they are not directly regulated by this
                                              Requirements Section
                                                                                                      public benefits condition to extension of             rule. DHS has provided an estimate of
                                              1. Comments on Costs and Benefits                       stay and change of status applications in             the number of individuals that may
                                              a. Population Seeking Extension of Stay                 order to specifically target aliens from              choose to disenroll or forego enrollment
                                              or Change of Status                                     South Asian countries or for any other                due to the final rule, but it is unclear
                                                                                                      discriminatory purpose. Instead, in                   how long such individuals would
                                                 Comment: Commenters stated the rule                  including the public benefits condition,              remain disenrolled or forego enrollment.
                                              will have a disproportionate impact on                  DHS is seeking to ensure that aliens                     As shown in the economic analysis of
                                              South Asian immigrants seeking an                       present in the United States do not                   this rule, DHS estimates that the total
                                              extension of stay or change of status,                  depend on public benefits to meet their               population seeking to adjust status that
                                              stating that more than 550,000 from                     needs.                                                will be subject to a public charge review
                                              South Asian countries lawfully reside in                                                                      for inadmissibility is about 382,264
                                              the United States. Particularly, a                      b. Other Comments on Affected                         annually. Further, DHS estimates that
                                              commenter states that the rule will have                Population                                            about 324,438 individuals who are
                                              a detrimental impact because it requires                   Comment: Multiple commenters                       members of households with foreign-
                                              applicants for an extension or a change                 stated that if the rule is finalized it               born non-citizens and about 9,632
                                              of status completing the Form I–129 or                  could negatively impact between 24 and                households with at least one foreign-
                                              Form I–539 to complete an additional                    26 million immigrants and their family                born non-citizen will choose to
                                              Form I–944.                                             members. Commenters stated that this                  disenroll from or forego enrollment in a
                                                 Response: DHS appreciates the                        estimate was based on a study that                    public benefits program, based on a 2.5
                                              commenters’ concerns regarding the                      determined the number of aliens and                   percent rate of disenrollment or
                                              impact this rule will have specifically                 their family members with incomes                     foregone enrollment.
                                              on South Asian immigrants. DHS does                     below 250 percent of FPG. Another                        Moreover, DHS notes that this rule
                                              not believe that the rule would impact                  commenter stated that between 22.2 and                does not force individuals who are
                                              all of the 550,000 aliens from South                    41.1 million noncitizens and their                    eligible for public benefits to disenroll
                                              Asian countries that the commenter                      family members could be impacted by                   or forego enrollment in such benefits
                                              references, as it is unclear that all aliens            the rule, and that out of this population,            programs and acknowledges that those
                                              from these countries would apply for an                 an estimated 4.9 million legal                        who choose to disenroll may need to
                                              extension of stay or change of status. In               immigrants would lose healthcare                      rely on other means of support within
                                              addition, after reviewing the comments,                 coverage. Other commenters estimated                  their family or community. Nonetheless,
                                              DHS removed the requirement that                        that nearly 40 percent of individuals                 through this rule, DHS seeks to better
                                              individuals must establish that they are                who sought adjustment of status last                  ensure that applicants for admission to
                                              not likely to receive public benefits by                year (380,000 of 1.1 million, according               the United States and applicants for
                                              submitting Form I–944. Under the                        to the commenters) would be subject to                adjustment of status who are subject to
                                              revised standard, aliens seeking to                     a public charge determination.                        the public charge ground of
                                              change or extend their nonimmigrant                        A few commenters stated that the rule              inadmissibility are self-sufficient, i.e.,
                                              status will have to demonstrate that they               could increase the number of                          do not depend on public resources to
                                              have not received any public benefit                    immigrants that would be considered a                 meet their needs, but rely on their own
                                              since obtaining the nonimmigrant status                 public charge from the current three                  capabilities and the resources of their
                                              the alien is seeking to extend or change,               percent to 47 percent. Other                          family, sponsor, and private
                                              as defined in 8 CFR 212.21, for more                    commenters argued the rule could                      organizations.
                                              than 12 months, in the aggregate, within                reduce naturalization overall because                    Comment: Numerous commenters
                                              a 36-month period.                                      immigrants would be deterred from                     focused on the rule’s impact on
                                                 However, to the extent that South                    adjusting status. Another commenter                   children, with some providing estimates
                                              Asians may seek extension of stay or                    stated that DHS has not indicated an                  of the number of impacted children.
                                              change of status in large numbers given                 estimate of the number of noncitizens                 These include estimates that one in four
                                              their percentage of total foreign                       that will be denied admissibility under               children have at least one foreign-born
                                              nationals present in the United States,                 the rule.                                             parent, between nine and 10 million
                                              the public benefit condition does not                      Response: DHS appreciates the                      children who are U.S. citizens born of
                                              have a disparate impact that is                         comments regarding the potential                      immigrant parents would be impacted
                                                                                                      negative effects of the rule and the                  by the rule, and that approximately 18.4
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                                              ‘‘unexplainable on grounds other than’’
                                              national origin.802 Rather, under this                  number of individuals who may be                      million children live in immigrant
                                              rule, all applicants for extension of stay              affected. The study the commenters                    families and approximately 16 million
                                              and change of status, regardless of                     cited estimated that 24 million to 26
                                              national origin, will be required to                    million aliens and their family members                 803 See Fiscal Policy Institute, ‘‘How a Trump

                                                                                                      would be affected by the rule’s potential             Rule’s Chilling Effect Will Harm the U.S.’’ Oct. 10,
                                                                                                                                                            2018. Available at http://fiscalpolicy.org/wp-
                                                802 Vill. of Arlington Heights v. Metro. Hous. Dev.   chilling effect, i.e., a circumstance                 content/uploads/2018/10/US-Impact-of-Public-
                                              Corp., 429 U.S. 252, 266 (1977).                        under which the rule results in fear and              Charge.pdf, (last visited May 21, 2019).



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                                              of those children were born in the                      Status,’’ rather than using internal data             applicants in asylum, refugee, and other
                                              United States. Other commenters noted                   or data from approvals.                               classifications that are exempt from a
                                              estimates that approximately 90 percent                    Response: DHS does not have                        public charge review. After removing
                                              of the children of foreign-born parents                 historical data to serve as a basis of how            the categories that are exempt from the
                                              in the United States are citizens of the                many applicants currently are subject to              data the commenter cited, there were
                                              United States. Many commenters                          a negative public charge determination                approximately 417,390 applications for
                                              estimated that 45 percent of children                   or how many are ultimately denied                     adjustment of status annually and about
                                              who recently became permanent                           admission due to negative factors.                    388,724 approvals annually.
                                              residents of the United States could                    Additionally, DHS notes that we use                      By contrast, the total population in
                                              have multiple negative factors that                     data from internal and external sources               the dataset DHS uses in its economic
                                              could prevent adjustment of status.                     as appropriate, and ensures that all data             analysis (including those who are
                                              Some commenters noted that                              are current, valid, reliable, and accurate.           exempt from public charge) is about
                                              approximately 14 million children                       For this economic analysis, DHS used                  544,246 lawful permanent resident
                                              enrolled in CHIP live in a household                    publicly available data in various years              approvals annually. After removing the
                                              with at least one immigrant parent.                     of DHS statistical reports, ‘‘Yearbook of             classifications that are exempt from a
                                              Many commenters noted the support                       Immigration Statistics,’’ which are                   public charge review of inadmissibility,
                                              that public benefits programs, including                thoroughly vetted through the                         DHS estimates approximately 382,264
                                              Medicaid and other health services as                   agency.804 DHS used these data not only               law approvals annually. Thus, the
                                              well as nutrition assistance, provide for               because of their quality, but because                 difference between the data cited by the
                                              individuals and families, often pointing                they provide the detailed classifications             commenter that uses receipts with
                                              to the support these programs provide to                of those adjusting status to determine                general categories of applicants that are
                                              children. Some commenters stated the                    those who are exempt from                             exempt from a public charge review of
                                              rule would have negative consequences                   inadmissibility based on the public                   inadmissibility and the approvals data
                                              on families and ‘‘grand families,’’                     charge ground and those who are not.                  DHS used in its analysis is
                                              including family separation.                            Additionally, the USCIS data that the                 approximately 35,126 applicants
                                                 Response: DHS refers the reader to                   commenter cites does not provide                      annually.
                                              DHS’s response regarding Potential                      enough detail to show the visa                           Comment: A commenter indicated
                                              Disenrollment Impacts in section III.D.5                classifications of applicants for                     that the NPRM fails to provide data
                                              of this preamble. With respect to                       admission and adjustment of status. The               regarding the specific impact it might
                                              comments that specifically referenced                   information is necessary for DHS to                   have on the individual, beyond the
                                              DHS’s initial regulatory impact analysis,               tailor the analysis to those who are                  opportunity cost of time taken to
                                              DHS notes that in consideration of the                  subject to the inadmissibility based on               familiarize oneself with the changes in
                                              comments, it has revised the analysis for               the public charge ground. The data cited              policies and the time taken to accurately
                                              this final rule to include a range of                   only provide aggregate receipt totals                 fill out new forms.
                                              potential disenrollment impacts.                        whereby it is not possible to remove                     Response: DHS provides the direct
                                                 Comment: Many commenters stated                      individuals from the population count                 costs of this rule for individuals, which
                                              the rule would have a negative effect on                who are exempt from a public charge                   include the familiarization costs of the
                                              low-wage workers with some stating it                   review of inadmissibility. As the data                rule and the costs associated with filling
                                              would reduce economic mobility and                      used for the analysis considers all                   out forms as well as any new or adjusted
                                              reduce the ability to support families.                 applicants who obtained lawful                        form fees. The commenter did not
                                              Commenters noted workers in specific                    permanent resident status, the estimated              provide DHS with any specific data or
                                              industries, such as healthcare,                         number of individuals who disenroll or                additional costs for consideration.
                                              construction, hospitality, agriculture,                 forego enrollment due to the rule is                  Additionally, the economic analysis of
                                              and recreation, would be negatively                     likely overestimated.                                 this final rule discusses several indirect
                                              affected by the rule, as would those who                   DHS notes that in the data cited by                impacts that are likely to occur because
                                              benefit from these industries.                          the commenter, there were                             of the final regulatory changes in order
                                                 Response: DHS reiterates that the goal               approximately 567,640 applications for                to provide a more thorough overview of
                                              of this regulation is to ensure that aliens             adjustment of status annually and about               the costs of this rule. However, indirect
                                              who are admitted to the United States,                  532,887 approvals annually, based on                  costs are less certain and more variable,
                                              adjust status, or obtain extension of stay              the 5-year average number of                          therefore making it more difficult to
                                              or change of status, are self-sufficient                                                                      reliably estimate what those costs may
                                                                                                      application received during the period
                                              and do not depend on public benefits.                                                                         be. The long term impacts are not
                                                                                                      fiscal year 2012 to 2016.805 The data the
                                              This rule does not aim to reduce                                                                              known at this time.
                                                                                                      commenter cites only presents data in
                                              economic mobility or the ability to
                                                                                                      the broad categories of adjustments,                  c. Determination of Inadmissibility
                                              support families, but rather aims to do
                                                                                                      including family-based, employment-                   Based on Public Charge Grounds
                                              the opposite, by ensuring that those
                                                                                                      based, asylum, and refugee, among
                                              families who enter or remain in the                                                                              Comment: A commenter noted that
                                                                                                      others. In general, applicants in family-
                                              United States are self-sufficient.                                                                            the cost estimates of filing Form I–485,
                                                 Comment: A commenter states the                      based and employment-based
                                                                                                                                                            Form I–693, and Form I–912 should not
                                              projected annual average of adjustment                  classifications will be subject to a public
                                                                                                                                                            be considered as new and additional
                                              applicants subject to public charge                     charge review of inadmissibility, while
                                                                                                                                                            costs.
                                              review is underestimated. The                                                                                    Response: DHS presents these forms
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                                                                                                        804 See Dept. of Homeland Security. Yearbook of
                                              commenter suggested using the publicly                  Immigration Statistics. Available at: https://        and costs to establish the baseline for
                                              available USCIS datasets titled ‘‘Data                  www.dhs.gov/immigration-statistics/yearbook (last     this analysis. The Office of Management
                                              Set: All USCIS Application and Petition                 visited July 26, 2019).                               and Budget (OMB) Circular A–4 directs
                                                                                                        805 DHS notes that using the 5-year average over
                                              Form Types,’’ ‘‘All USCIS Application                                                                         agencies to include differences from the
                                                                                                      the period fiscal year 2012 to 2016 is consistent
                                              and Petition Form Types,’’ and                          with the economic analysis that accompanies this
                                                                                                                                                            baseline as costs, benefits, or transfers in
                                              ‘‘Number of Service-wide Forms by                       rule, which can be found in the rule docket at        the analysis of the rule. DHS also
                                              Fiscal Year To-Date, Quarter, and Form                  www.regulations.gov.                                  provides estimates of the additional


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                                              costs associated with the rule’s changes                consider the estimated opportunity cost               this rule at this time. The Form I–944 is
                                              to some of these forms.                                 of time for filling out the Form I–944 to             meant for the alien to provide
                                                                                                      be a ‘‘benefit’’ of the rule. DHS                     information about the factors, which an
                                              d. Other Comments on Baseline
                                                                                                      estimated the costs of this rule on those             immigration officer would then review
                                              Estimates
                                                                                                      seeking to adjust status, or pursuing                 to determine whether the alien is likely
                                                 Comment: A commenter stated that                     extension of stay or change of status.                to become a public charge at any time
                                              the rule incorrectly implies there is                   DHS also notes that costs and/or                      in the future. The form has been
                                              rampant abuse of public benefits by                     benefits of a rule are generally estimated            updated for clarity.
                                              immigrants. The commenter cites the                     from the perspective of what the societal
                                              PRWORA and a Cato Institute working                                                                              Comment: Several commenters noted
                                                                                                      costs and/or benefits of the rule will be.
                                              paper to note which immigrants have                                                                           that applicants may incur additional
                                                                                                      We have reviewed the data provided by
                                              access to Federal public benefit                                                                              costs as a result of having to pay for a
                                                                                                      commenters and where possible
                                              programs, those who are not eligible for                                                                      credit report, an appraisal for a home,
                                                                                                      quantified the indirect impacts of the
                                              these programs, and who is likely to use                                                                      and retaining an attorney or accredited
                                                                                                      rule. Where quantification was not
                                              certain public benefit programs                                                                               representative, and that applicants will
                                                                                                      possible, the economic analysis
                                              compared to native born or naturalized                                                                        need to expend time and effort to gather
                                                                                                      provides a qualitative discussion of
                                              citizens.                                               indirect impacts that might result due to             all documentation and estimate debts
                                                 Response: DHS did not intentionally                  this rule. To be clear, aliens who are                and assets from a variety of sources.
                                              use language that would imply abuse of                  already lawful permanent residents of                    Response: DHS notes that applicants
                                              public benefits. DHS acknowledges the                   the United States are not applying for                may incur additional costs associated
                                              provisions in PRWORA that limit public                  adjustment of status, extension of stay,              with fulfilling the requirements of
                                              assistance to eligible classes of aliens                or change of status, and therefore                    completing Form I–944 such as
                                              and confirms that this regulation is                    generally, will not be directly affected              obtaining a credit report or appraisal for
                                              consistent with PRWORA. The Cato                        by the rule. Elsewhere in this preamble,              a home and includes theses costs in the
                                              Institute working paper, which is based                 DHS addresses the suggestion that DHS                 economic analysis, where possible. The
                                              on Census data (and the Medical                         apply the rule differently to those who               economic analysis that accompanies
                                              Expenditure Panel Survey), concludes                    are already in the United States, as                  this rule can be found in the rule docket
                                              that low-income non-citizen immigrants                  compared to those who seek admission                  at www.regulations.gov. Completion of
                                              are less likely to receive public benefits              from abroad. The Form I–944 is                        Form I–944, which includes gathering
                                              than low-income native-born citizens                    intended to apply to all aliens who are               all necessary evidence, does entail time
                                              and that the value of benefits received                 subject to the public charge ground of                and cost burdens. DHS reported
                                              per recipient is less for immigrant                     inadmissibility and who apply for                     estimated time and cost burdens in the
                                              groups.806 These findings are not                       adjustment of status before USCIS.                    NPRM and in this final rule in
                                              inconsistent with this final rule.                        Comment: One commenter stated that                  compliance with the PRA.
                                              e. Costs to Applicants To Adjust Status                 the rule changes are intended to prevent                 Comment: A commenter stated that
                                                                                                      legal immigrants from applying to adjust
                                                 Comment: Many commenters                                                                                   employers will likely not be able to
                                                                                                      status to lawful permanent resident as
                                              remarked the impact the rule would                                                                            prepare Form I–944 on their employees’
                                                                                                      the fee increases are enormous and the
                                              have on applicants who may apply to                                                                           behalf like more general immigration
                                                                                                      bureaucratic hurdles outrageous.
                                              adjust status. One individual                             Response: DHS disagrees the rule is                 forms due to sensitive financial data
                                              commenter stated that, given the overall                intended to prevent eligible individuals              requested.
                                              objectives of this rule, the estimated                  from adjusting status to that of a lawful                Response: DHS has revised the public
                                              increased cost to immigrants seeking to                 permanent resident. Rather, the rule is               benefit condition for extension of stay
                                              adjust their status and economic loss                   intended to better ensure that                        and change of status, such that officer
                                              which might represent a significant                     individuals seeking admission or                      will not issue an RFE for the Form I–944
                                              barrier to filing the application. The                  adjustment of status are able to                      in that context. No employers will be
                                              commenter stated that such a barrier                    demonstrate that they are self-sufficient.            required to complete the Form I–944.
                                              might in fact suit the agency’s goals and               DHS believes that the benefits to this                   Comment: One commenter stated the
                                              therefore represent a benefit. The                      rule justify the new costs it will impose.            rule may discourage nonimmigrants
                                              commenter stated that greater concern                   Where possible, DHS quantified the cost               from coming to or remaining in the
                                              are the costs borne by existing resident                of completing the new forms.                          United States, regardless of their
                                              aliens, with some existing status, who                                                                        financial status, and that the rule will
                                              are not the target of the rule and yet                  f. Lack of Clarity
                                                                                                                                                            reinforce the view that the United States
                                              stand to be affected by it significantly.                  Comment: Multiple commenters                       has become an undesirable destination,
                                              The commenter suggested a careful                       noted costs related to a lack of clarity              damaging the nation’s status as a
                                              review should be conducted to ensure                    and certainty around strongly positive                welcoming country, and could deprive
                                              that this impact on a non-target group of               and negative factors. One commenter                   the U.S. economy of a substantial
                                              people is warranted, or weigh whether                   noted this lack of clarity would make                 amount of tourism.
                                              this group should be forced to file all or              estimating compliance costs difficult.
                                              some of the new forms.                                  Another commenter wrote that the form                    Response: The commenter did not
                                                 Response: DHS agrees that there are                  is highly confusing, because it conflates             provide evidence or sources to support
                                                                                                                                                            the claim that the rule will discourage
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                                              benefits to this rule that justify the new              negative consideration of non-monetary
                                              costs it will impose. DHS does not                      benefits if received for more than two                nonimmigrants from visiting, studying,
                                                                                                      months in the aggregate within a 36-                  or working in the United States. As
                                                806 The Use of Public Assistance Benefits by
                                                                                                      month period, and lacks questions                     stated above, this rule is intended to
                                              Citizens and Non-Citizen Immigrants in the United       seeking to elicit factors that would                  better ensure that aliens inside the
                                              States, Cato Institute Working Paper; Leighton Ku                                                             United States ‘‘do not depend on public
                                              and Brian Bruen, February 19, 2013. https://            provide a basis for a positive finding.
                                              object.cato.org/sites/cato.org/files/pubs/pdf/             Response: DHS agrees that it is unable             resources to meet their needs, but rather
                                              workingpaper-13l1.pdf (last visited July 26, 2019).     to quantify the full compliance costs of              rely on their own capabilities and the


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                                              resources of their families, their                        opportunity cost of time on the mean                  hour to estimate the opportunity cost of
                                              sponsors, and private organizations.’’ 807                average for all occupations ($24.35 per               time for individuals who cannot, or
                                                 Comment: A commenter stated that an                    hour) instead of the mean national                    choose not to, participate in the labor
                                              immigration service provider would                        minimum wage ($10.66 per hour)                        market as these individuals incur
                                              need to develop expertise in all public                   suggests ‘‘a desire to minimize the                   opportunity costs and/or assign
                                              benefit programs applicants may have                      negative impact of the proposed rule by               valuation in deciding how to allocate
                                              used in any state where the applicant                     offsetting the negative impact with what              their time. Moreover, this analysis uses
                                              resided, that it will be virtually                        appears to be a net positive, despite the             the Federal minimum wage rate since
                                              impossible for people to obtain proof                     analyzed wage applying to only a small                approximately 80 percent of the total
                                              that they did not trigger a negative factor               segment of the population that this                   number of individuals who obtained
                                              for public charge test, and that their                    proposed rule seeks to reach.’’ Another               lawful permanent resident status were
                                              group will likely invest $500,000 to $1                   commenter stated that USCIS should                    in a class of admission under family-
                                              million in trainings to assist the legal                  consider using a more varied rate for                 sponsored preferences and other non-
                                              and service provider sector to                            calculated opportunity costs. The                     employment-based classifications such
                                              understand this change, although the                      commenter further stated that the RIA                 as diversity, refugees and asylees, and
                                              commenter stated that it still would not                  uses $10.66 an hour, but many                         parolees.811 Moreover, approximately
                                              be able to advise with any certainty.                     individuals affected by the rule may                  70 percent of the total number of
                                                 Response: The commenter did not                        have a higher hourly rate.                            individuals who obtained lawful
                                              explain how it developed the estimated                      Response: DHS does not understand                   permanent resident status were in a
                                              training costs of $500,000 to $1 million.                 the commenter’s arguments regarding                   class of admission that were also subject
                                              As discussed above, DHS will train and                    minimizing the negative impact of the                 to the public charge inadmissibility
                                              provide internal guidance to USCIS                        proposed rule. Where appropriate and                  determination. Therefore, DHS assumes
                                              officials processing these forms so they                  based on the population of focus, DHS                 many of these applicants hold positions
                                              can accurately adjudicate cases. DHS                      uses various wage rates to estimate                   in occupations that are likely to pay
                                              also notes that it considered the costs                   opportunity costs of time. DHS uses the               around the Federal minimum wage.
                                              presented by commenters and provided                      average hourly wage for all occupations                 Comment: There were a number of
                                              estimates for additional indirect costs                   ($24.34 per hour plus benefits) to                    other general comments on costs and
                                              that might result from this rule in the                   estimate the opportunity cost of time for             potential burdens to applicants:
                                              RIA.                                                      some, not all, populations in the                       • One commenter stated that the costs
                                                 Comment: One commenter indicated                       economic analysis. Populations for                    and fees imposed on applicants could
                                              there was no justification for imposing                   which this hourly wage is applicable                  burden non-citizens and require them to
                                              compliance costs on every alien seeking                   include those submitting an affidavit of              turn to public assistance programs as a
                                              to adjust status, or on substantial                       support for an immigrant seeking to                   result.
                                              numbers of nonimmigrants seeking                          adjust status and those requesting                      • Another commenter stated that
                                              routine extensions of status, even where                  extension of stay or change of status. For            USCIS did not consider ‘‘departure
                                              nothing in that person’s background or                    these populations, DHS assumes that                   costs’’ such as plane tickets or broken
                                              circumstances suggests the prospect that                  individuals are dispersed throughout                  leases/contracts for individuals that will
                                              the public charge ground of                               the various occupational groups and                   need to leave the country due to the
                                              inadmissibility might be an issue.                        industry sectors of the U.S. economy.                 NPRM’s provisions.
                                                 Response: DHS believes that the                        Therefore, DHS calculates the average                   • A commenter stated that the NPRM
                                              questions posed in the I–944 are                          total rate of compensation as $35.78 per              places a significant burden on
                                              relevant and necessary for the public                     hour, where the mean hourly wage is                   community organizations, requiring
                                              charge inadmissibility determination                      $24.34 per hour worked and average                    them to become experts on requirements
                                              and allows the alien an opportunity to                    benefits are $11.46 per hour.808 809 As               to explain them to the community.
                                              provide all information regarding the                     noted in the economic analysis of the                   • Another commenter stated that
                                              factors as discussed in the rule. DHS                     rule, DHS generally uses $10.66 per                   NPRM would lead to a substantial
                                              reiterates that the public charge                         hour ($7.25 Federal minimum wage                      increase in general legal costs related to
                                              inadmissibility ground does not apply                     base plus $3.41 weighted average                      applications citing a figure of $40
                                              to those seeking a change of status or                    benefits) as a reasonable proxy of time               million for every 100,000 adjustments of
                                              extension of stay. Additionally, DHS has                  valuation to estimate the opportunity                 status or immigrant visa applications.
                                              decided against asking nonimmigrants                      costs of time for individuals who are                   Response: DHS appreciates comments
                                              seeking to extend or change such status                   applying for adjustment of status and                 regarding costs to applicants and the
                                              to submit Form I–944. DHS notes that                      must be reviewed for determination of                 potential burdens that this rule may
                                              those categories of aliens exempt from                    inadmissibility based on public charge                impose on those seeking immigration
                                              the public charge inadmissibility                         grounds.810 DHS also uses $10.66 per                  benefits. DHS notes that the purpose of
                                              ground by statute face no additional                                                                            this rule is to better ensure that aliens
                                              compliance costs as a result of this rule.                  808 The national mean hourly wage across all        subject to the public charge
                                                                                                        occupations is reported to be $24.34. See             inadmissibility ground are self-
                                              g. Other Comments on Costs to
                                                                                                        Occupational Employment and Wage Estimates            sufficient, i.e., do not depend on public
                                              Applicants                                                United States. May 2017. Department of Labor, BLS,    resources to meet their needs, and rely
                                                 Comment: One commenter stated that                     Occupational Employment Statistics program;
                                                                                                        available at https://www.bls.gov/oes/2017/may/oes_    on their own capabilities, as well as the
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                                              the agency acknowledges that most                         nat.htm (last visited July 26, 2019).                 resources of family members, sponsors,
                                              individuals this rule applies to would                      809 The calculation of the weighted mean hourly

                                              be making close to the Federal                            wage for applicants: $24.34 per hour * 1.47 =           811 See United States Department of Homeland

                                              minimum wage of $7.25 an hour. The                        $35.779 = $35.78 (rounded) per hour.                  Security. Yearbook of Immigration Statistics: 2016,
                                                                                                          810 See 29 U.S.C. 206. See also U.S. Department     Table 7. Washington, DC, U.S. Department of
                                              commenter stated that the agency’s
                                                                                                        of Labor, Wage and Hour Division. The minimum         Homeland Security, Office of Immigration
                                              decision to base its estimates of                         wage in effect as of May 24, 2018. Available at       Statistics, 2017. Available at https://www.dhs.gov/
                                                                                                        https://www.dol.gov/general/topic/wages/              immigration-statistics/yearbook/2016 (last visited
                                                807 8   U.S.C. 1601(2)(A).                              minimumwage (last visited July 26, 2019).             July 26, 2019).



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                                              and private organizations.812 Moreover,                    have enough information on the number                 administration’s objective of ensuring
                                              DHS sets the fees associated with                          of immigrants who would incur                         immigrants remain self-sufficient.
                                              requesting immigration benefits as                         departure costs nor the amount that                      The commenter indicated that USCIS
                                              necessary to recover the full operating                    each immigrant would incur.                           has failed to adequately document and
                                              costs associated with administering the                       DHS appreciates comments asserting                 justify the costs related to how many
                                              nation’s lawful immigration system,                        that the rule would lead to a substantial             people will secure public charge bonds;
                                              safeguarding its integrity, and efficiently                increase in general legal costs related to            costs of bond for those using them to
                                              and fairly adjudicating immigration                        applications of around $40 million per                overcome the public charge definition;
                                              benefit requests.                                          100,000 adjustment of status or                       costs imposed on families; cost imposed
                                                 DHS appreciates receiving comments                      immigrant visa applications. DHS notes                on families that fall on hard times with
                                              regarding the additional burden this                       that the estimated costs of this rule are             a public charge bond; upfront and
                                              rule imposes on community                                  based on the estimated populations for                ongoing fees, bond cancellation fees,
                                              organizations, requiring them to become                    relevant forms and the requirements for               and fees related to ending a bond;
                                              experts on the requirements in the rule                    filing those forms, including any                     benefits to bond surety companies; and
                                              to explain them to the community. DHS                      applicable filing fees, opportunity costs             costs to state and localities related to
                                              acknowledges that the final rule will                      of time, travel costs for fulfilling a filing         bonds.
                                              add new direct and indirect impacts on                     requirement such as submitting                           A commenter wrote that the bond-
                                              various entities and individuals                           biometrics information, among other                   related fees will never compensate for
                                              associated with regulatory                                 requirements. DHS has updated the                     the additional administrative costs
                                              familiarization with the provisions of                     economic analysis to account for                      incurred by operation of the program,
                                              the rule. Familiarization costs involve                    additional legal costs as some applicants             and these fees themselves will make the
                                              the time spent reading the details of a                    may retain a lawyer for help in filling               program cost prohibitive for many
                                              rule to understand its changes. To the                     out and filing the forms.                             applicants and their families. Similarly,
                                              extent that an individual or entity                           With respect to the comment that this              a commenter wrote that USCIS
                                              directly regulated by the rule incurs                      rule will also impact legal costs                     anticipates that the $25 filing fee for
                                              familiarization costs, those                               associated with filing applications for               Forms I–945 and I–356 would cover the
                                              familiarization costs are a direct cost of                 immigrant visas, as noted above, DHS                  necessary administrative costs, but then
                                              the rule. In addition to those individuals                                                                       later in the analysis suggests the fee
                                                                                                         has estimated the costs for the
                                              or entities the rule directly regulates, a                                                                       would not fully recover intake costs.
                                                                                                         populations that are directly regulated
                                              wide variety of other entities would                                                                             Another commenter wrote that the
                                                                                                         by this rule—applicants for adjustment
                                              likely choose to read and understand                                                                             public bond cost should be subtracted
                                                                                                         of status, and those seeking change of
                                              the rule and, therefore, would incur                                                                             from gross costs of the rule as it does not
                                                                                                         status or extension of stay. DHS is
                                              familiarization costs. For example,                                                                              qualify as a marginal benefit.
                                                                                                         unable to estimate costs and benefits
                                              immigration lawyers, immigration                                                                                    Response: Although DHS agrees that
                                                                                                         associated with applicants for
                                              advocacy groups, health care providers                                                                           there may be a cost associated a bond
                                                                                                         immigrant visas filed with DOS.
                                              of all types, non-profit organizations,                                                                          an alien choose to submit (if eligible), as
                                              non-governmental organizations, and                           Comment: An individual commenter
                                                                                                         wrote that if USCIS took on credit score              described in the economic analysis,
                                              religious organizations, among others,                                                                           DHS disagrees that the amount of the
                                              may need or want to become familiar                        reporting costs from the beginning of the
                                                                                                         process it would lower the cost burden                bond was not properly justified. DHS
                                              with the provisions of this final rule.                                                                          had generally based the amount on the
                                              DHS believes such non-profit                               for applicants.
                                                                                                            Response: It appears that this                     original regulatory amount adjusted for
                                              organizations and other advocacy                                                                                 inflation. However, in order to more
                                              groups might choose to read the rule in                    commenter misunderstands the credit
                                                                                                         report and score requirement in this rule             precisely match the effect of prior
                                              order to provide information to those                                                                            regulations, DHS has decided to have
                                              foreign-born non-citizens that might be                    and believes that DHS will reimburse
                                                                                                         the cost of obtaining a credit score and/             the minimum amount of the bond to be
                                              affected by a reduction in Federal and                                                                           the exact amount as adjusted for
                                              state transfer payments. Familiarization                   or report associated with the public
                                                                                                         charge inadmissibility determination.                 inflation. The current 8 CFR 213.1 refers
                                              costs incurred by those not directly                                                                             to a bond amount of at least $1,000. 8
                                              regulated are indirect costs such as                       However, under this rule, DHS will not
                                                                                                         reimburse applicants for costs incurred               CFR 213.1 was promulgated in July of
                                              those listed. DHS estimates the time that                                                                        1964. This provision has not been
                                              would be necessary to read this final                      as a result of obtaining a credit score
                                                                                                         and/or report to individuals. Aliens                  updated and inflation has never been
                                              rule would be approximately 16 to 20
                                                                                                         seeking immigration benefits who are                  accounted to represent present dollar
                                              hours per person, resulting in
                                                                                                         subject to public charge inadmissibility              values. Simply adjusting the amount for
                                              opportunity costs of time. Additionally,
                                                                                                         will bear the cost of obtaining a credit              inflation using CPI–U would bring the
                                              an entity, such as a non-profit or
                                                                                                         score and/or report solely, as described              bond floor in June 2018 to about
                                              advocacy group, may have more than
                                                                                                         in the final rule and economic analysis.              $8,100.813
                                              one person that reads the rule.
                                                 With regard to USCIS’ consideration                     DHS notes that an applicant may obtain                   Once the alien has been determined to
                                              of ‘‘departure costs’’ for individuals who                 a credit report for free, but in its                  likely to become a public charge, and
                                              must leave the United States as a                          estimates DHS assumed that applicants                 provided the opportunity to submit a
                                              consequence of a public charge                             would pay for the report.                             bond, the bond acts a deterrent and
                                                                                                                                                               penalty if the bond is breach. Whether
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                                              inadmissibility determination, DHS
                                                                                                         h. Costs Related to Public Charge Bond                the public charge bonds will achieve the
                                              agrees that some people may be required
                                              to depart the United States due to the                       Comment: One commenter noted that                   administration’s objective of ensuring
                                              requirements of this rule. However, DHS                    the public charge bond provision in the               immigrants remain self-sufficient is not
                                              is unable to quantify the departure costs                  NPRM would increase the overall costs                   813 Calculation: Annual average for 1st half of
                                              listed by the commenter as we do not                       for applicants, and that USCIS has not                2018 (250.089)/annual average for 1964 (31) = 8.1;
                                                                                                         provided sufficient evidence that public              CPI–U adjusted present dollar amount = $1,000 *
                                                812 See   8 U.S.C. 1601(1), (2)(A).                      charge bonds will achieve the                         8.1 = $8,100.



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                                              a necessary consideration as DHS would                  provided that USCIS may set fees for                  qualify as a marginal benefit, DHS notes
                                              have already determine that the alien is                providing adjudication and                            that the public charge bond process is
                                              likely to become a public charge and                    naturalization services at a level that               being newly established and, therefore,
                                              would be giving the alien the                           will ensure recovery of the full costs of             any costs associated with the bond
                                              opportunity to be admitted with the                     providing all such services, including                process are considered to be new costs
                                              condition that he or she not receive                    the costs of similar services provided                to the public. Additionally, should DHS
                                              public benefits. Further, the bond                      without charge to asylum applicants or                determine that the fees set for the
                                              provides was establish by Congress and                  other immigrants.817 Moreover, USCIS                  relevant forms related to the public
                                              therefore a requirement for DHS to                      conducts biennial reviews of the fee                  charge review process, including those
                                              consider affording the alien an                         amounts charged for each immigration                  for the bond process, are not sufficient
                                              opportunity to provide a bond even                      and naturalization benefit request. Fees              to cover the full cost of the associated
                                              though he or she may be likely to                       are collected from individuals and                    services adjudicating immigration
                                              become a public charge.814                              entities filing immigration benefit                   benefit requests, the agency will
                                                 When posting a surety bond, an                       requests and are deposited into IEFA.                 propose to adjust these form fees in a
                                              individual generally would pay between                  Those funds then are used to cost of                  subsequent fee rule. DHS sets the fees
                                              1 to 15 percent of the bond amount for                  adjudicating immigration benefit                      associated with requesting immigration
                                              a surety company to post a bond.815 The                 requests, including those provided                    benefits as necessary to recover the full
                                              percentage that an individual must pay                  without charge to refugee, asylum, and                operating costs associated with
                                              may be dependent on the individual’s                    certain other applicants. The primary                 administering the nation’s lawful
                                              credit score where those with higher                    objective of the fee review is to                     immigration system, safeguarding its
                                              credit scores would be required to pay                  determine whether current immigration                 integrity, and efficiently and fairly
                                              a lower percentage of the bond to be                    and naturalization benefit fees will                  adjudicating immigration benefit
                                              posted. DHS notes that an individual                    generate sufficient revenue to fund the               requests. DHS also notes that the new
                                              may be allowed to submit cash or cash                   anticipated operating costs associated                costs estimated for the public charge
                                              equivalent, such as a cashier’s check or                with administering the nation’s legal                 bond process are considered costs, not
                                              money order as another possible option                  immigration system. Therefore, if the                 benefits. As shown in the economic
                                              for securing a public charge bond.                      results of this review indicate that                  analysis, which can be found in the
                                                 DHS will charge a filing fee of $25.00               current fee levels are insufficient to                Public Charge final rule docket at
                                              to submit a public charge bond using                    recover the full cost of operations, DHS              www.regulations.gov, DHS estimates the
                                              Form I–945 and $25.00 to request                        may propose to adjust USCIS fees. For                 baseline cost of the rule and then
                                              cancellation of a public charge bond fee                the forms used in the newly established               estimates the costs and benefits of the
                                              using Form I–356, which would cover                     public charge bond process, should DHS                policy changes that the final rule will
                                              the estimated administrative costs of                   determine that the fees set for these                 implement. The difference between the
                                              processing these forms. Where possible,                 forms are not sufficient to cover the full            estimated current baseline costs and
                                              DHS sets fees at levels sufficient to                   cost of the associated services                       benefits and the estimated costs and
                                              cover the full cost of the corresponding                adjudicating these immigration benefit                benefits of the policy changes are
                                              services associated with fairly and                     requests, the agency will propose to                  considered to be, and presented as, the
                                              efficiently adjudicating immigration                    adjust these form fees.                               new costs and benefits of the final rule.
                                              benefit requests.816 Congress has                          A legal requirement to provide a                   j. Costs to U.S. Employers
                                                                                                      monetized total cost estimate for this
                                                814 See  INA section 213, 8 U.S.C. 1183.              rule does not exist. The public charge                   Comment: Many commenters stated
                                                815 See  also Surety Bond Authority, Frequently       bond process is newly established and,                that the rule would impose significant
                                              Asked Questions about Surety Bonds, https://            therefore, historical data is not                     compliance costs and administrative
                                              suretybondauthority.com/frequently-asked-
                                                                                                      available. DHS explained in the NPRM                  burdens on employers that would
                                              questions/ (last visited May 8, 2019) and Surety                                                              interfere with hiring and staff retention.
                                              Bond Authority, Learn More, https://                    the many factors that were not within
                                                                                                                                                            Commenters also stated that search
                                              suretybondauthority.com/learn-more/ (last visited       the control of DHS that would influence
                                              May 8, 2019). DHS notes that the company cited is                                                             costs would increase for employers by
                                                                                                      total costs. To the extent possible DHS
                                              for informational purposes only.                                                                              reducing the supply of low-wage
                                                816 See INA section 286(m), 8 U.S.C. 1356(m),         quantified the costs of the bond
                                                                                                                                                            workers and skilled workers. The
                                              provides broader fee-setting authority and is an        provision, for example DHS estimates
                                                                                                                                                            commenter indicated that the supply of
                                              exception from the stricter costs-for-services-         that approximately 960 aliens will be
                                              rendered requirements of the Independent Offices                                                              skilled workers could be reduced as
                                                                                                      eligible to file for a public charge bond
                                              Appropriations Act, 1952, 31 U.S.C. 9701(c)                                                                   non-citizen residents reduce
                                                                                                      annually using Form I–945 and
                                              (IOAA). See Seafarers Int’l Union of N. Am. v. U.S.                                                           investments in human capital and
                                              Coast Guard, 81 F.3d 179 (DC Cir. 1996) (IOAA           approximately 25 aliens will request to
                                                                                                                                                            skilled non-citizens are denied entry or
                                              provides that expenses incurred by agency to serve      cancel a public charge bond annually
                                              some independent public interest cannot be                                                                    discouraged from seeking entry into the
                                                                                                      using Form I–356. DHS does not have                   United States. A commenter stated that
                                              included in cost basis for a user fee, although
                                              agency is not prohibited from charging applicant
                                                                                                      enough information to estimate the costs              the analysis does not include the effect
                                              full cost of services rendered to applicant which       imposed on families that fall on hard                 on legal immigration to the United
                                              also results in some incidental public benefits).       times with a public charge bond,                      States, including how many applicants
                                              Congress initially enacted immigration fee authority    upfront and ongoing fees, benefits to
                                              under the IOAA. See Ayuda, Inc. v. Attorney                                                                   would be issued RFEs or estimating a
                                              General, 848 F.2d 1297 (DC Cir. 1988). Congress
                                                                                                      bond surety companies, and costs to                   potential denial rate. Several
                                              thereafter amended the relevant provision of law to     state and localities related to bonds.                commenters stated that the RFE
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                                              require deposit of the receipts into the separate          With regard to the comment that the
                                              Immigration Examinations Fee Account of the
                                                                                                                                                            provision could cause potential delays
                                                                                                      public bond cost should be subtracted
                                              Treasury as offsetting receipts to fund operations,                                                           and backlogs causing increased costs to
                                                                                                      from gross costs of the rule as it does not
                                              and broadened the fee-setting authority.                                                                      employers. Many commenters stated
                                              Departments of Commerce, Justice, and State, the                                                              that the rule change would make it
                                              Judiciary, and Related Agencies Appropriations          Fee Account fees that would not be considered in
                                              Act, 1991, Public Law 101–515, section 210(d), 104      setting fees under the IOAA. See 72 FR at 29866–      harder for employers to extend H–1B
                                              Stat. 2101, 2111 (Nov. 5, 1990). Additional values      7.                                                    visas or change students from F–1 to H–
                                              are considered in setting Immigration Examinations         817 See INA section 286(m), 8 U.S.C. 1356(m).      1B visas. A commenter stated the rule


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                                              could lead employers to make their own                  certification process, and worsened                   benefits to provide the required
                                              public charge determinations. Multiple                  healthcare outcomes.                                  documents and information. Beyond the
                                              commenters wrote that a broad list of                      Response: DHS appreciates receiving                indirect costs and other economic
                                              industries would experience a reduction                 comments regarding administrative                     effects described in the economic
                                              in immigrant labor force or face                        changes that will be needed in response               analysis of this rule, it is unclear the
                                              challenges meeting their labor demand                   to the rule regarding, for example,                   effect that this rule will have on the
                                              as a result of the rule.                                reprogramming computer software and                   entities mentioned by the commenters.
                                                 Response: DHS disagrees with these                   redesigning application forms and
                                              commenters concerning the impact on                     processing. DHS agrees that some                      j. Costs Related to States and Local
                                              the supply of labor to employers. This                  entities may incur costs related to the               Governments, and Public Benefit-
                                              rule is not intended to change the                      changes commenters identified and                     Granting Agencies
                                              composition of the labor market.                        describes these costs in the economic                    Comment: A commenter stated that
                                              Employers will still be permitted to seek               analysis based on the data provided by                most states have already established
                                              extensions of stay and change of status                 commenters. However, DHS is unable to                 their budgets based on expected
                                              for eligible nonimmigrants.                             determine the entities that will choose               enrollment in programs such as SNAP
                                              Additionally, this rule is not intended to              to make administrative changes to their               and Medicaid. Another commenter
                                              discourage nonimmigrants from seeking                   business processes.                                   wrote that resources for programs such
                                              to extend their nonimmigrant stays or                      Comment: Many organizations said                   as the USDA Community Eligibility
                                              changing to another nonimmigrant                        that states, localities, and healthcare               Provision program are allocated based
                                              status. Employers will still be permitted               providers will incur increased costs in               on direct certification data, which is
                                              to file immigrant visa petitions for                    many unprecedented ways, including                    based on SNAP enrollment, and that
                                              potential alien employees, who would                    handling general inquiries related to the             non-citizens in the program who
                                              still be able to file for adjustment of                 rule, creating public awareness                       disenroll based on public charge
                                              status. Instead, this rule as it pertains to            campaigns, providing notice to current                provisions will cause additional
                                              extension of stay and change of status                  participants, retraining and educating                administrative work for the localities to
                                              sets additional conditions, which are                   staff, hiring additional response staff,              adjust and compensate. Another
                                              intended to better ensure that aliens                   and providing aid to partner programs.                commenter stated that local
                                              present in the United States continue to                   Other commenters said that states,                 governments have already adjusted and
                                              remain self-sufficient for the duration of              localities, healthcare providers, and                 planned services based on the location
                                              their nonimmigrant stay. DHS notes that                 housing providers will be bombarded                   and living situations of immigrant
                                              aliens seeking extension of stay and                    with requests from current and former                 communities that this rule could greatly
                                              change of status are not subject to the                 program participants for official                     affect. A commenter wrote that their
                                              public charge ground of inadmissibility.                documentation verifying that they have                state’s housing investments could be
                                              Instead they are subject only to the                    not received public benefits during a                 destabilized by the rule.
                                              condition that the applicant has not                    specific time frame, requiring significant               Response: DHS appreciates the
                                              received public benefits since obtaining                resources in gathering this historical                comments regarding the effects of the
                                              the nonimmigrant status from which he                   data and responding to these requests                 rule on State and local budgets. As
                                              or she seeks to change, as described in                 while also obeying privacy restrictions               discussed above, DHS agrees that some
                                              8 CFR 212.21(b) for more than 12                        and other technical constraints.                      entities, such as State and local
                                              months, in the aggregate, within a 36-                  According to a commenter, many                        governments or other businesses and
                                              month period.                                           agencies will not have older                          organizations, would incur costs related
                                                                                                      documentation available in their                      to the changes commenters identified.
                                              i. Costs Related to Program Changes and                 records, or records will be incomplete or             DHS considers these costs qualitatively
                                              Public Inquiries                                        inaccessible. According to a commenter,               in the final rule since it is unclear how
                                                 Comment: Several commenters noted                    state and local officials will likely see a           many entities will choose to make
                                              that states, localities, universities, and              significant volume of communication                   administrative changes to their business
                                              healthcare providers will face the                      related to questions about eligibility for            processes and what the cost of making
                                              enormous task of reprogramming                          certain programs and the impact on                    such changes will be. DHS notes that, in
                                              computer software, redesigning                          immigration status.                                   the economic analysis accompanying
                                              application forms and processes, and                       Response: DHS acknowledges that the                this rule, which can be found in the rule
                                              other aspects pertaining to benefit                     final rule will add new direct and                    docket at www.regulations.gov, we
                                              programs processes. As an example, a                    indirect impacts on various entities and              estimate the reduction in transfer
                                              commenter stated that online                            individuals associated with the                       payments from federal and state
                                              application portals for public benefits                 provisions of the rule. However, in                   governments to certain individuals who
                                              often highlight disclaimers that                        response to the commenters’ concerns                  receive public benefits and discusses
                                              applying for assistance will not affect                 about the availability of older                       certain indirect impacts that are likely
                                              immigration status. One commenter                       documentation related to receipt of                   to occur because of the final regulatory
                                              stated that in some states like                         public benefits, DHS does not agree that              changes. These indirect impacts are
                                              Pennsylvania, individuals can submit                    the new requirements associated with                  borne by entities that are not
                                              an application for healthcare coverage                  public charge inadmissibility                         specifically regulated by this final rule,
                                              and simultaneously be eligible for                      determinations would pose an                          but may incur costs due to changes in
                                              Medicaid, CHIP, or SNAP; however the                    unnecessary administrative burden, as                 behavior caused by this final rule. The
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                                              rule will require local authorities to                  DHS has determined that it is necessary               primary sources of the reduction in
                                              provide new systems to shield                           to establish a public charge                          transfer payments from the federal
                                              applicants from public charge risk. In                  inadmissibility rule. While age and                   government are the disenrollment or
                                              addition, multiple commenters stated                    availability of record of public benefits             foregone enrollment of individuals in
                                              that ‘‘churn’’ is associated with higher                receipts may vary among Federal and                   public benefits programs. The primary
                                              administrative costs, increased clinic                  State agencies, it is the responsibility of           sources of the consequences and
                                              time spent on paperwork and                             the individual seeking immigration                    indirect impacts of the final rule are


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                                              costs to various entities that the final                specifically mentioned were issues                    l. Costs to the Federal Government
                                              rule does not directly regulate, such as                related to education and employment. A                   Comment: Several commenters
                                              hospital systems, state agencies, and                   commenter stated that state and local                 discussed the costs of the rule to the
                                              other organizations that provide public                 officials will incur costs related to not             Federal Government. Many commenters
                                              assistance to aliens and their                          just familiarizing officials with the rule,           said the rule will add new adjudication
                                              households. Indirect costs associated                   but also in understanding                             costs to the Government while
                                              with this rule include familiarization                  recommendations, policies, and                        increasing the already overstretched and
                                              with the rule for those entities that are               procedures with the general public.                   delayed processing and regulatory
                                              not directly regulated but still want to                Some commenters said the rule would                   burden. Many commenters stated that
                                              understand the final rule.                              discourage workforce professionals,                   the rule would impose an immense
                                                The commenter’s statement that the                    such as healthcare professionals and                  administrative burden on USCIS and
                                              rule could destabilize the state’s                      social workers, from providing advice to              require USCIS to conduct
                                              housing investments is unclear. This                    clients because of the risk of increased              individualized public charge
                                              rule does not directly regulate the                     liability caused by providing advice                  determinations and adjudications of
                                              availability of Federal housing benefits                beyond these workforce professionals’                 Form I–944 for hundreds of thousands
                                              and how states choose to allocate those                 expertise. Some commenters wrote that                 of applicants with increased evidentiary
                                              funds. Rather, the rule directly regulates              USCIS would incur familiarization costs
                                              only aliens who, at the time of                                                                               requirements, heightened scrutiny, and
                                                                                                      associated with the rule as well as                   uncertainty as to what standards will
                                              application for admission or adjustment                 understanding State laws and
                                              of status, are subject to the public charge                                                                   apply. Multiple commenters highlighted
                                                                                                      procedures associated with programs                   the increased administrative burdens to
                                              inadmissibility ground, as well as aliens
                                                                                                      such as Medicaid eligibility. Research                USCIS and other organizations such as
                                              seeking extension of stay or change of
                                                                                                      organizations suggested that the                      DOS, as the rule will require every
                                              status who are subject to the public
                                                                                                      familiarization costs of eight to 10 hours            adjudicator to be trained to apply rules
                                              benefits condition on eligibility. DHS is
                                                                                                      is an underestimate and should be                     which are already subjective and
                                              prescribing how it will determine
                                              whether an alien is inadmissible                        increased because of time spent on                    unclear.
                                              because he or she is likely at any time                 translation, public outreach, training,                  According to a commenter, the
                                              in the future to become a public charge                 research, legal consultation, fielding                increased complexity of applying the
                                              and identifying the types of public                     questions, and dealing with the                       public charge definition would lead to
                                              benefits that will be considered in the                 ‘‘chilling effect.’’                                  increased work for USCIS related to
                                              public charge determinations. An alien                     Response: DHS increased the                        adjudicating appeals. An individual
                                              applying for admission or adjustment of                 expected familiarization burden to range              commenter suggested USCIS would face
                                              status generally must establish that he                 between 16 to 20 hours after reviewing                additional costs related to removal
                                              or she is not likely at any time in the                 the time estimates in response to                     proceedings as a result of the rule by
                                              future to become a public charge.                       comments we received. DHS does not                    requiring it to issue more NTAs. A
                                                                                                      quantify the potential population that                couple of commenters said public
                                              k. Regulatory Familiarization Costs                                                                           charge assessments of individuals
                                                                                                      may incur familiarization costs
                                                 Comment: Many commenters                             associated with the rule due to the                   making requests to extend or change
                                              expressed concerns that NPRM was very                   uncertainty surrounding the estimated                 nonimmigrant status creates additional
                                              complex and therefore would cause                       number of people that will familiarize                and unnecessary administrative burden
                                              confusion, stress, and fear among those                 themselves with this rule. The net effect             on USCIS.
                                              directly and indirectly affected by it,                                                                          Response: DHS believes that the
                                                                                                      this rule will have on the population
                                              including the immigrant community,                                                                            burdens associated with improved
                                                                                                      seeking an adjustment of status in terms
                                              lawyers, government agencies,                                                                                 administration of the public charge
                                                                                                      of additional assistance sought is not
                                              educational and social service                                                                                ground of inadmissibility, including the
                                                                                                      known. However, to the extent possible
                                              providers, and community and                                                                                  expanded information collection, are
                                                                                                      DHS has incorporated the costs                        justified. Adjudicators will be
                                              charitable organizations. Other
                                                                                                      provided by commenters into the                       appropriately trained on Form I–944
                                              commenters noted that familiarization
                                                                                                      economic analysis.                                    and will make their determinations in as
                                              costs would be particularly burdensome
                                              for applicants with multiple jobs or                       As discussed above, USCIS has a                    timely a manner as possible. In
                                              limited English proficiency, small and                  robust stakeholder communication and                  addition, DHS does not agree that the
                                              medium sized businesses, as well as                     engagement program that covers all                    new requirements associated with
                                              large complex healthcare providers,                     aspects of the agency’s operations. This              public charge inadmissibility
                                              groups assisting applicants including                   program will engage stakeholders when                 determinations would waste resources
                                              advocacy groups and state and local                     this rule becomes final to help ensure                and be an unnecessary administrative
                                              agencies. Some commenters argue that                    that applicants for immigration benefits              burden, as DHS has determined that it
                                              the complexity of the rule would result                 and their representatives fully                       is necessary to establish a public charge
                                              in almost all applicants needing legal                  understand the new rule. With respect                 inadmissibility rule. Should DHS
                                              assistance. Other commenters noted that                 to comments about healthcare                          determine that the fees set for the
                                              the complexity of the rule, and the                     professionals and social workers being                relevant forms related to the public
                                              resulting confusion, could lead                         concerned about liability and not                     charge review process are not sufficient
                                              immigrants to face discrimination,                      providing advice, DHS notes that these                to cover the full cost of the associated
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                                              receive incorrect legal advice, or forego               professionals can provide information                 services adjudicating immigration
                                              public benefits even if they are not                    and disseminate that guidance that                    benefit requests, the agency will
                                              affected by this rule. Many commenters                  USCIS will issue to assist individuals                propose to adjust these form fees in a
                                              believe substantial training and                        understand and comply with this rule,                 subsequent fee rule. DHS sets the fees
                                              administrative work would be needed in                  but should not be providing legal advice              associated with requesting immigration
                                              order to provide accurate guidance to                   without being licensed to practice law                benefits as necessary to recover the full
                                              immigrant applicants and their families,                in the state.                                         operating costs associated with


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                                              administering the nation’s lawful                         potential ‘‘chilling effect,’’ as well as the         housing to those with serious mental
                                              immigration system, safeguarding its                      eligibility of affected aliens for the                illness would reduce healthcare costs by
                                              integrity, and efficiently and fairly                     designated benefits, elsewhere in the                 24 percent, arguing that housing is
                                              adjudicating immigration benefit                          preamble.                                             pivotal to healthcare. Low-income
                                              requests. DHS does not believe the costs                     DHS appreciates concerns expressed                 households with children that pay more
                                              of additional NTAs will be significant.                   about increasing healthcare costs, worse              than half of their monthly income on
                                              As discussed above, while the rule may                    health outcomes, increased use of                     rent spend considerably less on other
                                              increase USCIS processing times, such                     emergency rooms, and the economic                     basic necessities—they spend $200 less
                                              is the burden of robust enforcement of                    health of hospitals. As explained in                  per month on food, nearly $100 less on
                                              the law.                                                  greater detail elsewhere in this rule,                transportation, and about $80 less on
                                                                                                        DHS has made a number of changes in                   healthcare. An individual commenter
                                              m. Costs to Non-Citizens and Their                        the final rule itself. DHS has excluded               stated that a homeless person on the
                                              Communities                                               the Medicare Part D LIS, receipt of                   street may cost more to public service
                                                 Comment: A number of commenters                        public benefits by children eligible for              providers and healthcare facilities, such
                                              highlighted the impact the proposed                       acquisition of citizenship, and Medicaid              as ambulances, city street clean-up, law
                                              rule would have on non-citizens and                       receipt by aliens under the age of 18                 enforcement, etc., than the annual cost
                                              their communities. Commenters stated                      from the definition of public benefit in              of providing them housing. The
                                              that the rule holds non-citizen workers                   the public charge determination. In                   commenter stated that housing is a basic
                                              responsible for the low wages offered by                  addition, DHS is not including CHIP in                need that provides stability for all things
                                              employers utilizing visa programs,                        the public benefit definition. DHS also               needed to be contributing members of
                                              when instead the costs of the public                      adopted a simplified, uniform duration                society and that without quality
                                              charge determination should be placed                     standard for public charge                            affordable housing, families are forced
                                              on employers.                                             determinations for assessing the use of               to pay for unsafe and unsanitary living
                                                 Response: DHS appreciates the                          public benefits.                                      conditions, which results in negative
                                              comments concerning the impact on                            Finally, DHS does not agree that                   consequences for society.
                                              noncitizens and their communities.                        USCIS will ‘‘seize’’ health records of                   A commenter cited studies where
                                              DHS does not agree that this rule holds                   patients. Most adjustment of status                   more students may experience
                                              noncitizen workers responsible for low                    applicants are already required to                    homelessness under this rule.
                                              wages offered by employers using visa                     undergo an immigration medical                        Commenters stated there is an
                                              programs. DHS also does not agree that                    examination and submit Form I–693                     affordable housing and homelessness
                                              employers should incur the costs of the                   with their adjustment application. As                 crisis across the country that would be
                                              public charge determination. As the                       noted previously, DHS will rely on the                exacerbated by this rule, including
                                              alien has the burden of proof of                          medical information provided by civil                 overcrowding, long wait lists and
                                              establishing admissibility into the                       surgeons on the Form I–693, or report of              inundated housing authorities, and
                                              United States, the cost burden is                         a panel physician, to assess whether the              make public housing more necessary for
                                              appropriately on the individual seeking                   alien has been diagnosed with a medical               immigrants and citizens. A commenter
                                              the immigration benefit in the United                     condition that is likely to require                   stated that the Government failed to
                                              States.                                                   extensive medical treatment or                        consider a potential increased cost of
                                                                                                        institutionalization, or that will interfere          homelessness to local governments and
                                              n. Healthcare-Related Costs
                                                                                                        with the alien’s ability to provide and               cited a cost benefit analysis.
                                                 Comment: A commenter wrote that                        care for himself or herself, to attend                Commenters stated that they use HCV as
                                              the rule would increase costs related to                  school, or to work upon admission or                  additional funding to cover costs and
                                              general administrative burdens having                     adjustment of status. The data collected              support permanent public housing,
                                              to manage disenrollment, reenrollment,                    on Form I–693 is collected and kept in                arguing that this rule would add to their
                                              and inquiries related to the rule. A                      an alien’s administrative record                      overall costs. Another commenter stated
                                              commenter stated that Medicaid                            consistent with the Privacy Act and                   that even with access to food assistance,
                                              coverage is heavily linked to the                         SORN. DHS must comply with the                        57 percent of households that face food-
                                              economic health of hospitals and, as a                    Privacy Act in safeguarding information               insecurity are forced to choose between
                                              result, hospitals could realize significant               in the applicable systems of records. As              buying enough food and paying for
                                              costs due to the rule. Similarly, a                       noted on the instructions to Form I–693,              housing. The commenter further stated
                                              commenter wrote that the rule could see                   consistent with the Privacy Act, DHS                  that due in large part to California’s
                                              administrative costs and                                  may share the information an alien and                booming economy, there is a significant
                                              uncompensated care significantly                          the civil surgeon provide on Form I–693               need for affordable housing in the state.
                                              increase. Finally, another commenter                      with Federal, State, local, and foreign               Renters struggle to find affordable
                                              wrote about concerns regarding costs                      government agencies, and authorized                   housing, particularly in California cities,
                                              related to the privacy of patient data and                organizations for law enforcement                     where the cost of living is higher than
                                              security as the rule may require USCIS                    purposes, or in the interest of national              the national average (nearly one-third of
                                              to seize health records.                                  security. The civil surgeon may share                 renter households in California spend at
                                                 Response: As discussed elsewhere,                      the results of the immigration medical                least half of their income on rent). The
                                              this rule furthers the Government’s                       examination with public health                        commenter stated that of the
                                              interest, as set forth in PRWORA, to                      authorities.                                          approximately 491,000 low-income
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                                              minimize the incentive of aliens to                                                                             households in California that use
                                              attempt to immigrate to the United                        o. Housing and Homelessness-Related                   Federal housing rental assistance, 90
                                              States due to the availability of public                  Costs                                                 percent include children, the elderly, or
                                              benefits, as well as promote the self-                       Comment: Some commenters cited                     the disabled who would be
                                              sufficiency of aliens within the United                   various studies regarding the costs of                disproportionately impacted by the rule.
                                              States.818 DHS addresses the rule’s                       housing, homelessness, and healthcare.                   Response: DHS appreciates the
                                                                                                        Another commenter referenced research                 comments regarding the potential effects
                                                818 See   8 U.S.C. 1601.                                showing that providing access to public               and costs the rule may have regarding


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                                              housing, homelessness, and healthcare                     assertion of federal savings in housing               commenter stated that the rule would
                                              and the citation to various studies that                  programs, because HUD rental                          reduce immigration and hurt the
                                              address and estimate these issues.                        assistance programs are discretionary                 country’s economic future given the
                                              However, in most cases, the studies that                  programs, not entitlements, and are                   need for immigrant workers to replenish
                                              commenters reference are not the focus                    provided with a fixed amount of                       an increasingly aging population.
                                              of the NPRM and its economic analysis,                    funding that falls very far below what is             Similarly, a commenter stated that
                                              but instead look at different populations                 needed to serve all eligible households.              demographic shifts mean that immigrant
                                              of interest (e.g., specific metropolitan                  The commenter stated that therefore, net              communities represented the future of
                                              areas or very low-income individuals/                     transfer payments for housing assistance              their state, and the rule would
                                              households), and/or are not                               would remain roughly the same as a                    significantly harm those communities.
                                              generalizable. For example, the                           result of the proposed rule and would                 A commenter wrote that approximately
                                              commenter who referenced research                         yield no net savings for the Federal                  20 percent of their local businesses are
                                              showing that providing access to public                   Government.                                           run by foreign-born individuals and,
                                              housing to those with serious mental                         Response: DHS appreciates the                      therefore, the rule would hurt not just
                                              illness would reduce healthcare costs by                  comment regarding the effect the rule                 non-citizen families, but also local
                                              24 percent cited a case study that                        may have on PHAs. The commenter                       communities.
                                              examines the Mercy Maricopa                               mischaracterizes ‘‘cost savings’’ in their               Response: DHS appreciates the
                                              Integrated Care contract for the Phoenix,                 comment to DHS. As DHS shows in the                   comments regarding the potential effect
                                              Arizona area, which is highly localized                   economic analysis of the rule, the effect             of the rule on the economy, innovation,
                                              and not generalizable to the wider U.S.                   of disenrollment or foregone enrollment               and growth. Beyond the indirect costs
                                              population.                                               by individuals in public benefits                     and other economic effects described in
                                                 Regarding the effect of this rule on                   programs are likely to result in a                    the economic analysis of this rule, DHS
                                              homelessness, this rule does not directly                 reduction in transfer payments from                   is unable to determine the effect this
                                              regulate eligibility for Federal housing                  Federal and State governments to                      rule will have on every economic entity
                                              benefits or other public benefits that                    certain individuals who receive public                mentioned or all aspects of future
                                              individuals who are homeless, or at risk                  benefits, not a cost savings. Transfer                economic growth. DHS agrees that there
                                              of being homeless, may rely upon.                         payments are monetary payments from                   may be effects on the U.S. economy and
                                              Rather, the rule directly regulates only                  one group to another that do not affect               on individuals seeking immigration
                                              aliens who, at the time of application for                total resources available to society. The             benefits. DHS describes the potential
                                              admission or adjustment of status, are                    reduction in transfer payments are                    economic effects in the economic
                                              subject to the public charge                              quantified in the transfer payments                   analysis of this rule, which can be found
                                              inadmissibility ground, as well as aliens                 section of the economic analysis of this              in the rule docket at
                                              seeking extension of stay or change of                    rule in accordance with OMB’s Circular                www.regulations.gov.
                                              status who are subject to the public                      A–4. However, DHS notes that there is                    However, this rule does not directly
                                              benefits condition on eligibility.819                     great uncertainty regarding the effects               regulate businesses, nonprofits, or
                                              Moreover, this rule does not eliminate                    that changes in transfer payments will                educational organizations. DHS notes
                                              funding for public benefits programs. As                  have on the broader economy and                       that this rule directly regulates only
                                              a result, DHS only estimated the                          estimating those effects are beyond the               aliens who, at the time of application for
                                              potential effect on individuals who                       scope of this rule.                                   admission, or adjustment of status, are
                                              choose to disenroll or forego enrollment                     Additionally, with regard to                       deemed likely at any time in the future
                                              in a public benefits program. DHS                         administrative costs that PHAs may                    to become a public charge or who are
                                              provides estimates of the amount of the                   incur due to the rule, DHS agrees that                seeking extension of stay or change of
                                              reduction in transfer payments from the                   some entities may incur costs, but these              status.820 DHS is prescribing how it will
                                              Federal and State governments to                          costs are considered to be indirect costs             determine whether an alien is
                                              certain individuals who receive public                    of the rule since this rule does not                  inadmissible because he or she is likely
                                              benefits in the RIA, which can be found                   directly regulate these entities and does             at any time to become a public charge
                                              in the public docket of this final rule.                  not require them to make changes to                   and identify the types of public benefits
                                                 Comment: A commenter stated that                       their business processes. DHS considers               that will be considered in the public
                                              any disenrollment or return of housing                    these indirect costs as qualitative,                  charge determination or the public
                                              assistance will not result in any cost                    unquantified effects of the final rule                benefit condition.
                                              savings to public housing authorities                     since it is unclear how many entities                    Comment: Commenters stated that the
                                              (PHA) or federal programs because the                     will choose to make administrative                    number of noncitizens who will be
                                              demand for such assistance far outstrips                  changes to their business processes and               forced to avoid benefits will have a
                                              the available assistance. The commenter                   the cost of making such changes.                      significant impact on the U.S. economy.
                                              stated that PHAs will be faced with                                                                             Commenters quoted cost estimates
                                                                                                        p. Economic Costs                                     associated with the rule, including some
                                              increased administrative costs given the
                                              anticipated disenrollment/new                               Comment: A number of commenters                     estimates as high as $164.4 billion.
                                              enrollment turnover. As a result, PHAs                    had broad concerns about costs the rule               Several commenters quoted an
                                              will have to proceed with processing the                  would have on the economy as well as                  economic impact of $33.8 billion and a
                                              next individual on the waiting list, as                   innovation and growth. Commenters                     loss of 230,000 jobs. Similarly, one
                                              well as closing out the family that is                    wrote that the rule is essentially an                 commenter stated that the annual
                                                                                                        unfunded mandate to businesses,
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                                              exiting the program.                                                                                            income of workers potentially impacted
                                                 Another commenter stated that the                      nonprofits, and educational                           by the rule is $96 billion, and losing
                                              DHS estimates of reduce housing                           organizations with substantial                        these workers would have a $68 billion
                                              assistance payments by $71 million per                    compliance costs. A commenter wrote                   impact on the economy with $168
                                              year is highly problematic. That                          that the rule would stifle economic risk              billion in damages total. A commenter
                                              commenter takes issue with the                            taking and the entrepreneurial spirit in              wrote that the rule would have national
                                                                                                        immigrants, thus costing the American
                                                819 See   INA section 212(a)(4), 8 U.S.C. 1182(a)(4).   economy over the long term. One                         820 See   INA section 212(a)(4), 8 U.S.C. 1182(a)(4).



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                                              effects across a number of sectors and                    rule.822 In addition, the analysis                    and possibly provide materials on
                                              industries in the economy. A                              estimates that there would be about $68               request.
                                              commenter wrote that effects of the rule                  billion in indirect economic effects as                  Response: DHS does not intend the
                                              could total between $453 million and                      part of the estimated $164.4 billion total            rule to disproportionately affect poor
                                              $1.3 billion due to various effects of                    cost. However, the validity and                       communities. As described elsewhere,
                                              increased poverty, reduced                                reliability of the analysis cited by the              the purpose of the rule is to ensure the
                                              productivity, etc. Another commenter                      commenter is unclear as the                           self-sufficiency of aliens who are subject
                                              wrote that the rule would result in an                    calculations of the analysis are not                  to the public charge ground of
                                              increase in healthcare costs for their city               presented, which makes it difficult to                inadmissibility. As described in the
                                              of at least $45 million annually.                         assess comparability with DHS’s                       economic analysis accompanying this
                                                 Response: DHS appreciates the                          economic analysis.                                    rule, which can be found in the rule
                                              comments regarding the impact of the                         The final rule, under section 3(f)(1) of           docket at www.regulations.gov, some
                                              rule on the U.S. economy. DHS does not                    E.O. 12866, is designated a ‘‘significant             may incur indirect costs of the rule.
                                              agree that noncitizens will be forced to                  regulatory action’’ that is economically              Additionally, the final rule does not
                                              avoid benefits. Although individuals                      significant since it is estimated that the            force individuals who are eligible for
                                              may choose to disenroll from or forego                    final rule would have an annual effect                public benefits to disenroll or forego
                                              enrollment in public benefits programs                    on the economy of $100 million or more                enrolling in public benefits programs
                                              for which they are eligible, this rule                    (annualized costs are estimated to range              and acknowledges that those who
                                              does not, and cannot, require                             from about $89.8 million to $144.4                    choose to disenroll may need to rely on
                                              individuals to do so and does not                         million). In addition, DHS estimates                  other means of support within their
                                              change the eligibility requirements for                   approximately $2.47 billion for a                     family or community. Individuals may
                                              public benefits. Under the rule, DHS                      reduction in transfer payments from the               choose to disenroll from or forego
                                              will conduct a public charge                              Federal Government and State                          enrollment in public benefits programs
                                              inadmissibility determination when an                     governments to public benefits                        for which they are eligible, but this rule
                                              alien seeks an adjustment of status, by                   recipients who are members of                         does not, and cannot, require
                                              evaluating an alien’s particular                          households that include foreign-born                  individuals to do so and does not
                                              circumstances, including an alien’s age;                  non-citizens, which includes the                      change the eligibility requirements for
                                              health; family status; assets, resources,                 estimated federal- and state-level shares             public benefits. As such, the Federal
                                              and financial status; education and                       of transfer payments to foreign-born                  Government is not intentionally
                                              skills; required affidavit of support; and                non-citizens. While the commenters                    reducing transfer payments for public
                                              any other factor or circumstance that                     mentioned above provided estimates of                 benefits programs through this rule, but
                                              may warrant consideration in the public                   the costs of the rule, DHS will maintain              DHS estimates there is likely to be a
                                              charge inadmissibility determination.821                  the cost and transfer payments estimates              reduction in transfer payments from
                                              In addition, DHS will only consider the                   we presented in the economic analysis                 individuals to federal and state
                                              applicant’s own receipt of public                         of the rule, which can be found in the                governments because a number of
                                              benefits.                                                 rule docket at www.regulations.gov.
                                                 DHS also appreciates the comments                                                                            individuals may choose to disenroll
                                                                                                        Where possible, DHS discusses the costs               from or forego enrollment in public
                                              that included cost estimates and the                      presented by commenters and provides
                                              potential effects of the rule on the U.S.                                                                       benefits program for which they are
                                                                                                        a range of additional costs that states,              eligible.
                                              economy. DHS agrees that there may be                     cities, businesses and people could
                                              some effects on the U.S. economy and                                                                               Comment: A number of commenters
                                                                                                        incur because of this rule. However,
                                              on individuals seeking immigration                                                                              provided input on the cost analysis of
                                                                                                        DHS was unable to determine the
                                              benefits from the United States. In the                                                                         the rule provided by USCIS. A
                                                                                                        number of entities and people that
                                              economic analysis of this rule, which                                                                           commenter wrote that the rule does not
                                                                                                        would be affected.
                                              can be found in the rule docket at                                                                              attempt to engage with strategies for
                                                                                                           Comment: Some commenters noted
                                              www.regulations.gov, DHS estimates the                                                                          avoiding the costs imposed by the rule’s
                                                                                                        the economic costs the rule would
                                              direct and indirect costs according to                                                                          changes to the public charge
                                                                                                        impose on aliens who have low income.
                                              the methodology presented using the                                                                             inadmissibility determination. A
                                                                                                        One commenter stated that the most
                                              best available data; DHS also estimates                                                                         commenter wrote that USCIS did not
                                                                                                        significant costs of the rule will be
                                              the amount of the reduction in transfer                                                                         accurately estimate of the number of
                                                                                                        concentrated on the poorest
                                              payments from the Federal Government                                                                            people who will disenroll from or forego
                                                                                                        communities in cities with large
                                              to individuals who may choose to                                                                                enrollment in public benefits programs
                                                                                                        numbers of immigrants. A commenter
                                              disenroll from or forego enrollment in a                                                                        as a result of the rule. The commenter
                                                                                                        wrote that if the Federal Government
                                              public benefits program.                                                                                        also noted that DHS did not did not
                                                                                                        reduces transfer payments, the costs
                                                 In response to the commenter stating                                                                         monetize the costs of this disenrollment
                                                                                                        will be passed onto other entities such
                                              that the rule will cost as much as $164.4                                                                       and foregone enrollment; did not
                                                                                                        as food banks, pantries, religious
                                              billion dollars, DHS notes that this                                                                            account for the costs to the U.S.
                                                                                                        organizations, etc. According to another
                                              estimate is not comparable to the                                                                               economy of deeming a greater number
                                                                                                        commenter, the rule will incur costs to
                                              estimates DHS presents in the economic                                                                          of foreign-born noncitizens inadmissible
                                                                                                        housing providers who will need to be
                                              analysis that accompanies this rule,                                                                            to the country; did not account for the
                                                                                                        prepared to answer inquiries from
                                              which can be found in the rule docket                                                                           non-financial costs of adverse public
                                                                                                        tenants and others related to the rule,
                                                                                                                                                              charge determinations for affected
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                                              at www.regulations.gov. The $164.4
                                              billion estimated cost of the rule the                       822 See New American Economy Research Fund,        foreign-born noncitizens; and did not
                                              commenter cites comes from an analysis                    ‘‘How Proposed Rule Change Could Impact               provide any evidence for its low
                                              from New American Economy and is                          Immigrants and U.S. Economy.’’ Oct. 31, 2018.         estimate of the rule’s familiarization
                                              comprised of the total annual income of                   Available at: https://                                costs. One commenter wrote that the
                                                                                                        research.newamericaneconomy.org/report/
                                              workers who could be affected by this                     economic-impact-of-proposed-rule-change-
                                                                                                                                                              rule acknowledges effects of changes on
                                                                                                        inadmissibility-on-public-charge-grounds/ (last       communities that could be harmful, but
                                                821 See   8 CFR 212.22.                                 visited July 26, 2019).                               it fails to quantify this effect.


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                                                 Response: DHS appreciates receiving                  from public benefit programs, such as                 a negative effect on U.S.
                                              comments regarding aspects of the cost-                 Medicaid and SNAP. Several                            competitiveness or economic growth.
                                              benefit analysis of this rule. The                      commenters stated that this rule would                Rather, through this final rule DHS
                                              purpose of the economic analysis is not                 pose substantial costs to New York City,              seeks to better ensure that applicants for
                                              to provide suggestions for avoiding costs               which is home to a large number of                    admission to the United States and
                                              that regulated entities may impose.                     immigrants and children with foreign-                 applicants for adjustment of status who
                                              Instead, the purpose of the economic                    born parents. Other commenters                        are subject to the public charge ground
                                              analysis is to estimate the costs and                   provided data detailing the rule’s                    of inadmissibility, as well as applicants
                                              benefits of policy changes the agency is                economic impact to Los Angeles                        for extension of stay and change of
                                              implementing through a regulation                       County, CA; Austin, TX; Minneapolis,                  status, are self-sufficient, i.e., do not
                                              compared to current practices.                          MN; San Jose, CA; Philadelphia, PA; St.               depend on public resources to meet
                                              Elsewhere in this preamble, DHS                         Paul, MN; Boston, MA; and Dallas, TX.                 their needs, but rely on their own
                                              addresses specific alternatives and cost-                  One commenter stated that the rule                 capabilities and the resources of their
                                              saving recommendations submitted by                     will undermine our nation’s global                    family, sponsor, and private
                                              commenters.                                             competitiveness because a highly-                     organizations.823
                                                 The final rule will affect individuals               educated workforce spurs economic                        Comment: Several commenters stated
                                              who are present in the United States                    growth and strengthens state and local                that DHS’s assessment of the
                                              and are seeking an adjustment of status                 economies. Similarly, a commenter                     downstream economic impacts of the
                                              to that of a lawful permanent resident                  noted that the rule will undermine our                rule is insufficient. A commenter said
                                              and who are not expressly exempted,                     competitive advantage and allow other                 DHS provides no basis for its assertion
                                              and individuals seeking extension of                    countries permitting natural                          that the state share of the total transfer
                                              stay or change of status. DHS estimated                 immigration flows to take the United                  impact of the rule would be 50 percent
                                              the effect of the rule on foreign-born                  States’ place on the global economic                  of the federal share, concluding that
                                              non-citizens as accurately as possible                  stage. The same commenter continued                   evaluation of the rule’s impact on states
                                              given the requirements that are being                   by writing that innovation carried out                should be part of any sound justification
                                              implemented for aliens to submit to a                   by immigrants has the potential to                    for the rule. A commenter similarly
                                              review for a public charge                              increase the productivity of native-born              referenced DHS’s statement that half of
                                              determination. However, due to serious                  Americans, likely raising economic                    the savings will be from lower transfers
                                              data limitations, DHS is not able to                    growth per capita. This commenter also                from State and local governments and
                                              estimate the effect of being deemed                     cited a report finding that immigration               stated that, should DHS accept the
                                              inadmissible as a public charge.                        has positive effects, with little to no               commenter’s recommendations to end
                                                 Comment: Commenters wrote that the                   negative effects, on wages and                        various additional exemptions from the
                                              inability to submit forms related to the                employment for native-born Americans.                 list of public charge-related benefits,
                                              rule electronically increases costs.                       Additionally, at the state level, several
                                                                                                                                                            these transfer payment savings would
                                                 Response: DHS does not agree that not                commenters noted that in California (the
                                                                                                                                                            increase significantly. This commenter
                                              having the option to submit forms                       5th largest economy in the world if it
                                                                                                      were a country), studies project a $718               also stated that the cost-benefit ratio as
                                              related to the rule electronically
                                                                                                      million to $1.67 billion reduction in                 proposed would thus be very favorable,
                                              increases costs. Submitting forms via
                                                                                                      public benefits would lead to 7,600 to                between $14 to $37 in taxpayer saving
                                              mail to USCIS is current practice, which
                                                                                                      17,700 lost jobs, $1.2 to 2.8 billion in              for every dollar expended by the agency
                                              is not changing with this final rule, and
                                                                                                      lost economic output, and $65 to $151                 and the applicant to prepare and review
                                              therefore estimated costs are expected to
                                                                                                      million in lost State and local tax                   documentation for a public charge
                                              remain the same. However, USCIS is
                                                                                                      revenue. Several commenters cited a                   determination.
                                              taking steps towards implementing a
                                                                                                      study concluding that reduced                            Response: DHS appreciates the
                                              system for electronic filing of all
                                                                                                      participation in California’s Medicaid                comments regarding downstream
                                              immigration forms in the future,
                                                                                                      program, Medi-Cal, and California’s                   economic effects of the rule as well as
                                              including the forms affected by this
                                                                                                      SNAP program, CalFresh, could result                  DHS’s estimate for the amount of
                                              rule, which is expected to reduce costs
                                                                                                      in tens of thousands of jobs lost in                  transfer payments at the state-level. DHS
                                              to the agency and ultimately those who
                                                                                                      California, as well as billions of dollars            notes there is not a legal requirement to
                                              file forms with USCIS to request
                                                                                                      in lost federal funding and more than                 provide a monetized total cost estimate
                                              immigration benefits.
                                                 Comment: One commenter stated that                   $150 million in lost tax revenue in                   for this rule. DHS explained in the
                                              DHS has disregarded the costs                           California. Some commenters provided                  proposed rule the many factors that
                                              associated with the proposed age                        data relating to the rule’s economic                  were not within the control of DHS that
                                              standard.                                               impact on specific states, such as                    would influence total costs. As
                                                 Response: DHS is unable to estimate                  Michigan, Oregon, New York,                           previously explained, DHS described
                                              the specific cost to individuals, society,              Washington, Pennsylvania, Rhode                       and monetized, where possible, the
                                              or the Government, that a single factor                 Island, Colorado, Florida, Ohio,                      types of costs that would result from
                                              considered as part of public charge                     Kentucky, Massachusetts, Illinois,                    this rule and has added many additional
                                              reviews for inadmissibility may have                    Pennsylvania, Wisconsin, Maine,                       costs that were provided by the
                                              because the public charge                               Georgia, Maryland, and North Carolina.                commenters. For those costs and
                                              inadmissibility determination will be                      Response: DHS appreciates the                      benefits that DHS was not able to
                                                                                                      comments concerning immigration and                   quantify and monetize to calculate a
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                                              conducted based on an individual’s
                                              ‘‘totality of the circumstances.’’                      U.S. economic competitiveness. The                    total cost, the economic analysis
                                                                                                      final rule does not limit the number of               includes a description of those costs and
                                              r. Economic Impact and Job Loss                         individuals who may seek immigration                  benefits and a reasoned discussion
                                                 Comment: Commenters cited studies                    benefits or restrict the existing                     about why they could not be quantified
                                              pointing to the substantial impact on                   categories of immigrants and                          or monetized.
                                              local economies and healthcare systems                  nonimmigrants. Additionally, DHS does
                                              due to a significant drop in enrollment                 not agree that this final rule will have                823 See   8 U.S.C. 1601(2).



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                                                 DHS addressed its assumption that                     lawful permanent resident status who                    are immigrants, many of whom are paid
                                              the state-level share of transfer                        are subject to the public charge ground                 low wages and rely on public assistance
                                              payments is 59 percent of the estimated                  of inadmissibility, as well as aliens                   who would either leave the profession
                                              amount of Federal transfer payments.                     seeking extension of stay or change of                  or forego health coverage and put their
                                              Because state participation in these                     status, are self-sufficient, i.e., do not               health at risk. Some commenters
                                              programs may vary depending on the                       depend on public resources to meet                      emphasized that this obstacle to
                                              type of benefit provided, DHS is only                    their needs, but rely on their own                      expanding the workforce would be
                                              able to estimate the impact of state                     capabilities and the resources of their                 particularly impactful at a time when
                                              transfers. For example, the Federal                      family, sponsor, and private                            the need for home care workers is
                                              Government funds all SNAP food                           organizations.826                                       growing rapidly due to an aging U.S.
                                              expenses, but only 59 percent of                                                                                 population. Commenters state that an
                                                                                                       s. Economic Impact on Healthcare
                                              allowable administrative costs for                                                                               exacerbated direct care workforce
                                                                                                       System
                                              regular operating expenses.824 Similarly,                                                                        shortage would particularly impact
                                              Federal Medical Assistance Percentages                      Comment: Some commenters stated                      people with disabilities since many
                                              (FMAP) in some HHS programs, like                        that the rule will result in decreased tax              direct care workers are immigrants who
                                              Medicaid, can vary from between 50                       revenue and lower productivity for                      often rely on publicly-funded programs
                                              percent to an enhanced rate of 100                       individuals who delay primary care.                     due to low wages. Some commenters
                                              percent in some cases.825 However,                          Response: DHS appreciates the                        stated that if home health care workers
                                              upon consideration of the commenter’s                    comment regarding decreased tax                         are unable to continue working,
                                              point and further review of the                          revenue and lower productivity for                      vulnerable populations may be forced to
                                              published FMAPs for each state and                       individuals who delay primary care.                     leave their homes and receive more
                                              territory of the United States, DHS has                  DHS agrees that working age individuals                 expensive care in nursing homes.
                                                                                                       who fall ill would have lower                           Commenters stated that this would not
                                              revised its estimates of the state share of
                                                                                                       productivity at their jobs and possibly                 only put these vulnerable populations at
                                              transfer payments from 50 percent to 59
                                                                                                       cause decreased tax revenue if such                     risk, but also would destroy decades of
                                              percent, which is the national average
                                                                                                       individuals are forced to take unpaid                   federal and state efforts, including
                                              FMAP.
                                                                                                       sick leave or must quit working                         millions of federal dollars spent, to
                                                 Comment: Commenters said the
                                                                                                       altogether. However, DHS does not                       reduce the number of individuals
                                              strength of America’s economic future is
                                                                                                       agree that this rule would be the cause                 residing in nursing homes. Some
                                              dependent on the well-being and
                                                                                                       of such unfortunate events. DHS                         commenters said the costs to hospitals
                                              success of children, who are our future
                                                                                                       reiterates that the main purpose of the                 and the public health system would
                                              workforce and tax base, and the rule
                                                                                                       rule is to provide guidance on the                      amount to more than any cost-savings
                                              could jeopardize our country’s                           public charge inadmissibility ground
                                              economic future by causing tax-paying                                                                            from lower enrollment in public
                                                                                                       statutory provision for those seeking                   programs.
                                              individuals who are legally eligible for                 admission or adjusting status in
                                              support to forego it.                                                                                               Response: DHS agrees that some
                                                                                                       establishing that the person is not likely              entities such as hospitals would incur
                                                 Response: DHS appreciates the                         at any time in the future to become a
                                              comments regarding children and the                                                                              costs related to the rule such as rule
                                                                                                       public charge.                                          familiarization costs and various
                                              economic future of the United States.                       Comment: Multiple commenters                         administrative costs. DHS considers
                                              DHS agrees that children are part of                     stated that the rule would cause                        these costs as qualitative, unquantified
                                              what will continue to make the U.S.                      reductions in reimbursement, patient                    effects of the final rule since it is
                                              economy strong into the future.                          use, and collectability, which would                    unclear how many entities will choose
                                              However, DHS does not agree that this                    have substantial negative financial                     to make administrative changes to their
                                              rule will jeopardize the economic future                 impacts on hospitals and health centers,                business processes and the cost of
                                              of the United States. While DHS                          with many citing supporting data on                     making such changes.
                                              acknowledges the potential                               potentially lost revenue. Some                             Additionally, in response to
                                              disenrollment (or foregone enrollment)                   commenters pointed to a study showing                   commenters’ concern that this rule will
                                              from public benefits by aliens based on                  that enrollees affected by the rule                     cause a direct care worker shortage,
                                              the final rule, the final rule does not                  account for $68 billion in Medicaid and                 DHS is unable to quantify or confirm
                                              force individuals who are legally                        CHIP healthcare services. One                           these effects because DHS does not
                                              eligible for public benefits to disenroll                commenter calculated the amount of                      know how aliens will change their
                                              or forego enrolling in such benefits                     hospital Medicaid payments at risk for                  behavior in response to this rule. DHS
                                              programs. Instead, through this final                    13 million beneficiaries who are likely                 reiterates that the intent of this rule is
                                              rule DHS seeks to better ensure that                     to experience a chilling effect from this               not to prevent individuals such as these
                                              applicants for admission to the United                   rule, finding that hospitals could lose                 from working, but to provide guidance
                                              States and applicants for adjustment to                  up to $17 billion annually in payments                  on determining whether an alien
                                                 824 Per section 16(a) of the Food and Nutrition Act
                                                                                                       from these programs.                                    seeking admission or adjustment of
                                              of 2008. See also USDA, FNS Handbook 901, p. 41
                                                                                                          Many commenters stated that the rule                 status is likely at any time in the future
                                              available at: https://fns-prod.azureedge.net/sites/      would negatively impact the healthcare                  to become a public charge.
                                              default/files/apd/FNS_HB901_v2.2_internet_               workforce, particularly direct care                        Comment: One commenter stated that,
                                              Ready_Format.pdf (last visited July 26, 2019).           workers. Commenters cited data                          without the contributions made by
                                                 825 See Dept. of Health and Human Services,
                                                                                                                                                               immigrants to the healthcare system,
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                                                                                                       indicating that the rule will impact
                                              ‘‘Federal Financial Participation in State Assistance
                                              Expenditures; Federal Matching Shares for                health and long-term care agencies’                     health insurance premiums could be
                                              Medicaid, the Children’s Health Insurance Program,       ability to hire and retain their health                 expected to rise for Americans who rely
                                              and Aid to Needy Aged, Blind, or Disabled Persons        care workers, as approximately 25                       on that coverage, concluding that the
                                              for October 1, 2016 through September 30, 2017.’’        percent of healthcare support workers,                  rule neither mentions nor considers
                                              ASPE FMAP 2017 Report. Dec. 29, 2015. Available
                                              at https://aspe.hhs.gov/basic-report/fy2017-federal-     such as nursing and home health aides,                  these costs to U.S. citizens in its
                                              medical-assistance-percentages (last visited July 26,                                                            economic analysis. This commenter also
                                              2019).                                                    826 See   8 U.S.C. 1601(2).                            said DHS should take into account that


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                                              the rule would actually increase Federal                could occur because of follow-on effects                 After asserting that the rule will cause
                                              Medicaid expenditures for HHS. The                      of the reduction in transfer payments                 job losses and economic decline, a
                                              commenters points to three factors that                 identified in the final rule. DHS is                  commenter said restricting the number
                                              were included in the proposed rule, or                  provides a list of the primary non-                   of immigrants to the United States could
                                              could be included in the final rule, that               monetized potential consequences of                   leave the nation at a vulnerable position
                                              would exacerbate their concern. The                     the final rule where disenrollment or                 given the current national employment
                                              commenters recommended not                              foregoing enrollment in public benefits               boom.
                                              including them as part of the final rule.               programs by aliens who are otherwise                     Response: DHS appreciates the
                                              The concerns were: (1) Including                        eligible could lead to issues such as                 comments regarding the impact on the
                                              Medicaid or Medicare Part D LIS as                      increases in uncompensated care in                    U.S. workforce, particularly the effect
                                              negative factors in public charge                       which a treatment or service is not paid              that the rule will have on specific
                                              determinations; (2) including the                       for by an insurer or patient. However,                industries. DHS does not anticipate that
                                              Children’s Health Insurance Program                     DHS notes that it is not able to estimate             this rule will have a strong or extensive
                                              (CHIP) in public charge determinations;                 such costs at this time.                              effect on the U.S. workforce overall or
                                              and (3) considering premium tax credits                                                                       across specific industries as discussed
                                                                                                      t. Impact on U.S. Workforce                           in the economic analysis that
                                              for purchasing individual market
                                              coverage in a public charge                                Comment: Some commenters pointed                   accompanies this rule, which can be
                                              determination.                                          to a study indicating that over 91                    found in the rule docket at
                                                 Response: The commenter states that                  percent of all adults active in the labor             www.regulations.gov, and the Final
                                              health insurance premiums could rise                    force who would be affected by the                    Regulatory Flexibility Analysis. DHS
                                              and Federal Medicaid expenditures will                  public charge rule are employed in                    estimates the potential impacts to
                                              increase as an effect of the rule. DHS                  critical industries, such as farming,                 businesses, states and small entities
                                              notes that the Public Charge final rule                 construction, mining, hospitality,                    using the data provided by commenters.
                                              no longer includes Medicare Part D LIS                  manufacturing, and professional and                   Small entities that could be impacted by
                                              as a public benefits program considered                 business services. A commenter                        this final rule are those who file Form
                                              in public charge determinations, nor                    provided data indicating the rule’s                   I–129 or Form I–129CW as petitioners
                                              does it include CHIP or Medicaid for                    destabilizing impact on multiple sectors              on behalf of beneficiaries requesting an
                                              aliens under the age of 21 or pregnant                  of the California workforce that are                  extension of stay or change of status as
                                              women. In addition, the final rule does                 comprised of a large number of low-                   well as obligors that would request a
                                              not consider premium tax credits in                     wage immigrants, including agriculture,               cancellation of a public charge bond.
                                              public charge determinations.                           construction, child care and early
                                                                                                      education, and students. Some                         u. Economic Impacts Related to
                                              Therefore, these changes to the final
                                                                                                      commenters provided data regarding the                Nutrition Programs
                                              rule is responsive to a number of the
                                              commenters’ concerns.                                   rule’s impact on the workforce in                        Comment: Some commenters said a
                                                 Comment: Several commenters stated                   Massachusetts, particularly in the                    significant drop in use of food stamps
                                              that, in the long-run, some of the                      construction field. A commenter wrote                 and other food programs will negatively
                                              uncompensated care incurred by                          about the rule’s potential impact on the              affect farmers, local growers, and
                                              hospitals will be reimbursed by the                     immigrants in the construction industry               grocery sales at retailers and farmers
                                              Federal Government in the form of                       who have been helping to rebuild                      markets. A commenter said reduced
                                              Medicare and Medicaid                                   Houston after Hurricane Harvey and                    enrollment in SNAP will shift the
                                              disproportionate share hospital                         who contribute billions each year in                  burden to local communities and food
                                              payments, which is another instance of                  state and local taxes. The commenter                  banks that are already stretched to meet
                                              unaccounted for cost shifting that the                  notes that this rule would prevent                    demand. A commenter stated that in
                                              rule will cause. One commenter                          immigrants from partaking in benefits                 2017 more than $22.4 million in SNAP
                                              requested that USCIS systematically                     that their tax dollars help support and               benefits were spent at farmers markets.
                                              research the increased costs that this                  will cause confusion in the immigrant                 The commenter also asserted that many
                                              rule will cost our healthcare system. An                community for using benefits that lead                small farmers, farm workers, and their
                                              individual commenter cited DHS’s                        to a better life. Another commenter                   families are beneficiaries of SNAP,
                                              reference to the decrease in particular                 stated that Maine faces extraordinary                 which the commenter concluded meant
                                              healthcare providers’ revenues, but                     demands to replace an aging and                       that they would be hit doubly hard by
                                              asserted that there is no reference to                  retiring workforce.                                   the proposed rule. Similarly, an
                                              findings showing either an increased or                    Two commenters described the rule’s                academic commenter stated that
                                              a decreased percentage of                               impact on the workforce in areas such                 limiting the ability of immigrants to use
                                              uncompensated care. To determine if                     as agriculture, ranching, hotels, and                 SNAP would hurt the American farming
                                              including both non-monetary and                         restaurants. Two other individual                     community and destabilize the
                                              monetary public benefits is a positive,                 commenters provided input on the                      American food system, reasoning that
                                              the commenter said there must be some                   rule’s impact on the horse industry,                  the revenues of farmers would be
                                              information on the amount of                            stating that putting immigrants in                    reduced and some farmworkers would
                                              uncompensated care that healthcare                      situations where they are working in                  lose access to SNAP benefits.
                                              providers provide to non-citizen aliens.                physically demanding jobs with no                        A commenter said the rule would
                                                 Response: DHS acknowledges in the                    access to healthcare could be                         withdraw nearly $200 million in
                                              economic analysis accompanying this                     ‘‘disastrous’’ for all involved. Another              Federal SNAP funding, amounting to
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                                              rule that various entities may incur                    individual commenter stated that,                     approximately $358 million in lost
                                              indirect costs associated with the rule.                because the disenrollment and foregone                economic activity when taking the
                                              Additionally, in the economic analysis                  enrollment figures are unclear or                     economic multiplier into account. A
                                              that accompanies this rule, which can                   uncalculated, it is impossible to know                couple of commenters stated that SNAP
                                              be found in the rule docket at                          what the immediate economic impact                    is an economic driver in local
                                              www.regulations.gov, DHS notes there                    will be in agriculture, healthcare, retail,           economies, especially rural
                                              are a number of consequences that                       and rental markets.                                   communities. Commenters stated that


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                                              lower participation in SNAP means less                   federal nutrition funding to support                      is not likely at any time in the future to
                                              federal funding to support local                         healthy meals for children, the local                     become a public charge.
                                              economies and lower worker                               retail and agriculture food economy,                         As explained in the preamble of the
                                              productivity. Other commenters                           and revenue for child care businesses.                    rule,830 DHS believes that the
                                              provided estimates for the amount of                       Response: DHS appreciates the                           government interest in ensuring the self-
                                              economic activity that would be lost in                  comment regarding the effect of the final                 sufficiency and non-reliance on public
                                              certain states as a result of immigrants                 rule on enrollment in reduced and free                    benefits of aliens, including
                                              foregoing critical nutritional benefits.                 school lunches. DHS does not believe                      nonimmigrants, as articulated by
                                                 Response: DHS appreciates the                         the rule will reduce school                               Congress in PRWORA,831 applies to all
                                              comments regarding the economic                          reimbursement for reduced and free                        aliens within the United States,
                                              effects of disenrollment or foregone                     school lunches beyond the effect of                       including to those whose stays are
                                              enrollment in the SNAP benefits                          individuals who may choose to                             temporary. Moreover, although the
                                              program. As noted in the NPRM, DHS                       disenroll from or forego enrollment in a                  extension of stay or change of status
                                              recognizes that reductions in federal                    public benefits program. Again, the final                 provisions in the INA and the
                                              and state transfers under Federal benefit                rule only regulates applicants for                        regulations do not specifically reference
                                              programs may have downstream                             admission to the United States and                        an alien’s self-sufficiency, consideration
                                              impacts on state and local economies,                    applicants for adjustment of status to                    of an alien’s self-sufficiency in these
                                              large and small businesses, and                          lawful permanent resident who are                         applications is consistent with the
                                              individuals. However, DHS is generally                   subject to the public charge ground of                    principles of PRWORA and aligns
                                              not able to quantify these impacts due                   inadmissibility, as well as aliens seeking                DHS’s administration of the INA to
                                              to uncertainty and availability of data.                 change of status or extension of stay.828                 those principles.832
                                              DHS estimated these impacts or
                                                                                                       v. Other Economic Impacts                                 w. DHS Estimates of Discounted Direct
                                              discussed them qualitatively to the
                                                                                                                                                                 Costs and Reduced Transfer Payments
                                              extent possible in the economic analysis                    Comment: A commenter stated the
                                              for this final rule. For example, the rule                                                                            Comment: A commenter stated that
                                                                                                       rule will adversely impact colleges and                   USCIS characterization of reduced
                                              might result in reduced revenues for                     universities, as even a slight decrease in
                                              grocery retailers participating in SNAP,                                                                           transfer payments as the primary benefit
                                                                                                       international student enrollment has                      of the rule ignores long-standing
                                              agricultural producers who grow foods                    drastic impacts on higher education
                                              that are eligible for purchase using                                                                               principles of regulatory cost-benefit
                                                                                                       institutions because international                        analysis distinguishing between benefits
                                              SNAP benefits, or landlords
                                                                                                       students often receive little or no                       and transfers. This commenter suggests
                                              participating in federally funded
                                                                                                       financial aid and pay higher out-of-state                 that the cost-benefit analysis should
                                              housing programs. DHS notes that the
                                                                                                       tuition at public universities. Similarly,                estimate the net effect that the reduced
                                              economic impact will result in a
                                                                                                       a school said colleges across the country                 transfer payments would have on the
                                              reduction in transfer payments from the
                                                                                                       could see significant decrease in                         larger economy. A commenter stated the
                                              Federal Government and State
                                                                                                       enrollment and increased burden on                        exactness of the values used in our
                                              governments to individuals who may
                                                                                                       student health centers.                                   range of estimates leave little room for
                                              choose to disenroll from or forego
                                              enrollment in a public benefits program.                    Response: DHS appreciates the                          error as well as suggesting a more
                                              However, the same amount of funding                      comments regarding the effect of the                      enhanced analysis given the broadness
                                              for public benefits programs, such as                    rule on colleges and universities,                        of the estimated range.
                                              SNAP, will be available for qualified                    including student health centers, as it                      Another commenter questioned
                                              individuals. This final rule does not                    relates to international student                          USCIS’ approach in estimating costs and
                                              appropriate or disappropriate funding                    enrollment. However, this rule does not                   benefits of the rule stating that the
                                              for public benefits programs, but                        regulate international student                            reduction in transfer payments to non-
                                              ensures that applicants for admission to                 enrollment in colleges and universities                   citizens is itself a cost to those
                                              the United States and applicants for                     nor the amount of financial aid awards                    individuals per the guidelines of OMB
                                              adjustment of status to lawful                           or the rate of tuition that colleges and                  Circular A–4 and should be defined as
                                              permanent resident who are subject to                    universities charge. The final rule also                  such in the regulatory impact analysis
                                              the public charge ground of                              does not regulate student health centers                  (RIA). A commenter also stated that cost
                                              inadmissibility, as well as aliens seeking               located at colleges and universities.                     savings of $2.27 billion will not be
                                              extension of stay or change of status, are               Rather, the rule directly regulates aliens                realized due to the effect on temporary
                                              self-sufficient, i.e., do not depend on                  who, at the time of application for                       visa applications and the potential that
                                              public resources to meet their needs, but                admission or adjustment of status, are                    DOS starts applying public charge
                                              rely on their own capabilities and the                   deemed likely at any time in the future                   standards to applicants abroad. Another
                                              resources of their family, sponsor, and                  to become a public charge, as well as                     commenter said that the cost benefit
                                              private organizations.827                                aliens seeking extension of stay or                       analysis did not have sufficient
                                                 Comment: A commenter stated that a                    change of status.829 DHS is prescribing                   documentation, and the rule’s cost
                                              reduction in SNAP enrollment could                       how it will determine whether an alien                    savings of $2.2 billion was chosen for its
                                              also reduce school reimbursement for                     is inadmissible because he or she is                      ‘‘wow’’ factor.
                                              free and reduced lunches in states that                  likely at any time in the future to                          Finally, a commenter stated that
                                              have extended SNAP benefits above 130                    become a public charge and identify the                   USCIS highlights $23 billion in savings
                                                                                                       types of public benefits that will be                     related to Medicaid, but fails to account
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                                              percent of FPL. A commenter indicated
                                              an expectation to see a decline in                       considered in the public charge                           for the beneficial impacts of the program
                                              families willing to complete the forms                   determinations. An alien applying for
                                                                                                                                                                   830 See Inadmissibility on Public Charge Grounds,
                                              in the Child and Adult Care Food                         admission or adjustment of status
                                                                                                                                                                 83 FR 51114, 51135–36 (proposed Oct. 10, 2018).
                                              Program center-based child care                          generally must establish that he or she                     831 See 8 U.S.C. 1601.
                                              programs, which would result in less                                                                                 832 See Southern S.S. Co. v. N.L.R.B., 316 U.S. 31,
                                                                                                         828 See   id.                                           47 (1942) (requiring ‘‘careful accommodation of one
                                                827 See   id.                                            829 See   INA section 212(a)(4), 8 U.S.C. 1182(a)(4).   statutory scheme to another. . . .’’).



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                                              and the effects of losing Medicaid                      regarding the effects that changes in                 that they are aware of the requirements
                                              coverage.                                               transfer payments will have on the                    of this rule and to prevent any
                                                 Response: DHS appreciates the                        broader economy and DHS is unable to                  administrative inconsistency. In
                                              comments regarding transfer payments.                   estimate those effects.                               addition, DHS did not include an
                                              DHS notes that the $2.27 billion in cost                                                                      analysis of costs and benefits associated
                                              savings that a commenter refers to are                  x. Benefits of Proposed Regulatory
                                                                                                                                                            with public charge inadmissibility
                                              actually the estimated transfer payments                Changes
                                                                                                                                                            determinations made by CBP in the
                                              of the rule as shown in the economic                       Comment: A few commenters                          admission context. This rule would
                                              analysis, which can be found in the rule                provided input on the benefits of the                 potentially limit entries into the United
                                              docket at www.regulations.gov. The                      rule. A benefit noted by commenters is                States in that CBP officers would deny
                                              method and calculation of the estimated                 that the rule enforces the requirement                admission to aliens at the ports of entry
                                              transfer payments is shown as clearly as                that immigrants should be self-                       on public charge grounds, but CBP is
                                              possible in the economic analysis of the                sufficient. One commenter provided                    already responsible for administering
                                              rule. As previously discussed, DHS                      scenarios and personal experiences as                 the public charge ground of
                                              estimates the reduction in transfer                     examples of fraudulent claims and                     inadmissibility and we do not anticipate
                                              payments from the Federal and State                     behavior of immigrants. An educational                a meaningful change in the amount of
                                              governments to certain individuals who                  institution said the rule ensures                     time the determination would take.
                                              receive public benefits and discusses                   participation of immigrant families in                   Comment: A commenter remarked on
                                              certain indirect impacts that are likely                federal or state-funded public benefit                USCIS’ approach to estimating costs and
                                              to occur because of the final regulatory                programs are monitored and limited.                   benefits of the rule noting that USCIS
                                              changes. The primary sources of the                     Two individual commenters provided                    states the rule will have no effect on
                                              reduction in transfer payments from the                 comments, data, or studies relating to                wages or growth, but this is unlikely
                                              Federal and State governments of this                   immigrants’ dependence on public                      given the rule will cause a fundamental
                                              final rule are the disenrollment or                     assistance programs causing continued                 change in future working populations.
                                              foregone enrollment of individuals in                   decay on American culture. One                        The commenter cited research with data
                                              public benefits programs. DHS notes                     commenter stated that the rule would                  and suggested using it as a model for
                                              there is not a legal requirement to                     save American taxpayers money.                        this rule’s economic analysis.834
                                              provide a monetized total cost estimate                 Another commenter noted the rule is                      Response: DHS does not expect this
                                              for this rule. As previously explained,                 non-discriminatory by creating a                      rule to have a direct effect on wages or
                                              DHS described and monetized where                       uniform process, and that the additional              economic growth as this rule does not
                                              possible the types of costs that would                  forms will allow better collection of                 regulate hiring practices of employers in
                                              result from this rule and has added                     information.                                          the United States. This final rule
                                              many additional costs provided by the                      Response: DHS appreciates these                    requires an individual seeking
                                              commenters. For those costs and                         comments. DHS’s public charge                         admission or adjusting status to
                                              benefits that DHS was not able to                       inadmissibility rule is neither intended              establish that he or she is not likely at
                                              quantify and monetize to calculate a                    to address public benefit fraud and                   any time in the future to become a
                                              total cost, the economic analysis                       abuse nor ensure that alien access to                 public charge, and that aliens seeking
                                              includes a description of those costs and               public benefit programs is monitored                  change of status or extension of stay
                                              benefits and a reasoned discussion                      and limited. As stated throughout this                meet the public benefits condition.
                                              about why they could not be quantified                  preamble, this rule is intended to align              Moreover, DHS notes that the research
                                              or monetized. DHS does not agree that                   the self-sufficiency goals set forth in the           the commenter cites is not relevant to a
                                              it is not adhering to long-standing                     PRWORA with the public charge ground                  discussion of wages or economic growth
                                              principles of regulatory cost-benefit                   of inadmissibility.                                   that may result from this rule.835 The
                                              analysis. The economic analysis for this                y. Cost Benefit Analysis Issues                       research cited primarily discusses the
                                              final rule was conducted based on the                                                                         effects on applicants when they are
                                                                                                         Comment: Some commenters stated                    reviewed for public charge based on the
                                              guidelines set forth in OMB’s Circular                  that DOS’s January changes to public
                                              A–4, which provides guidance to                                                                               factors that will be considered in the
                                                                                                      charge has led to improper denials, and               ‘‘totality of the circumstances.’’
                                              agencies for conducting cost-benefit                    that the rule may exacerbate that
                                              analyses and, in this case, a discussion                                                                         Comment: Several commenters
                                                                                                      problem and lead to administrative                    provided suggestions on how the
                                              on the distinction between cost and/or                  inconsistency. Another commenter
                                              benefits and transfer payments.833 As                                                                         analysis could have been done
                                                                                                      argued that DHS failed to adequately                  differently overall. One commenter said
                                              noted in OMB Circular A–4 (p. 38),                      consider the costs of the rule on CBP
                                              ‘‘[b]enefit and cost estimates should                                                                         that USCIS should consider a general
                                                                                                      application of the rule, citing studies.              equilibrium analysis to better analyze
                                              reflect real resource use. Transfer                        Response: Although the standards set
                                              payments are monetary payments from                                                                           the holistic impacts of the rule
                                                                                                      forth in the rule pertain both to whether             throughout the entire economy. Another
                                              one group to another that do not affect                 an alien who seeks admission as a
                                              total resources available to society.’’ The                                                                   commenter said in order to develop an
                                                                                                      nonimmigrant or immigrant or seeks
                                              reduction in transfer payments are                      adjustment of status is inadmissible, the               834 See MPI, Gauging the Impact of DHS’
                                              quantified in the transfer payments                     rule’s economic analysis, which can be                Proposed Public-Charge Rule on U.S. Immigration
                                              section of the economic analysis of this                found in the rule docket at                           (Nov. 2019), available at https://
                                              rule, in accordance with OMB’s Circular                 www.regulations.gov, focuses on the                   www.migrationpolicy.org/sites/default/files/
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                                              A–4. A reduction in transfer payments                                                                         publications/MPI-PublicChargeImmigrationImpact_
                                                                                                      impact to USCIS adjudications, as the                 FinalWeb.pdf (last visited April, 18, 2019).
                                              is not quantified in the benefits section               rule primarily impacts USCIS’                           835 See Capps, et al. (2018). Gauging the Impact
                                              of this rule. There is great uncertainty                adjudication of applications for                      of DHS’ Proposed Public-Charge Rule on U.S.
                                                                                                      adjustment of status, as well as                      Immigration. Washington, DC: Migration Policy
                                                833 OMB Circular A–4 is available at https://                                                               Institute, available at https://
                                              www.whitehouse.gov/sites/whitehouse.gov/files/
                                                                                                      applications for extension of stay and                www.migrationpolicy.org/sites/default/files/
                                              omb/circulars/A4/a-4.pdf (last accessed July 26,        change of status. DHS is working closely              publications/MPI-PublicChargeImmigrationImpact_
                                              2019).                                                  with the Department of State to ensure                FinalWeb.pdf (last visited April, 18, 2019).



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                                              accurate portrayal of the rule’s cost and               litigation that accurately capture the                that the rule requires additional
                                              benefits, USCIS must use actual benefit                 pain and suffering these individuals                  sensitivity analysis.
                                              receipt information to determine the                    would undergo.                                           Comment: A commenter stated that
                                              affected population rather than DHS                        Response: DHS conducted its                        USCIS significantly overestimated the
                                              summary statistics.                                     economic analysis to the best of its                  average cost of housing assistance per
                                                 Response: DHS appreciates the                        ability given the complexity of the                   person in calculating costs and benefits.
                                              commenters’ suggestions. DHS did not                    analysis and the availability of data.                   Response: DHS used the publicly
                                              consider a general equilibrium analysis                 DHS does not agree that the economic                  available HUD Federal Rental
                                              to be appropriate here. We do not have                  analysis should employ ‘‘actuarial                    Assistance and HUD HCV programs
                                              enough data to build a general                          models or models used in personal                     report data on the household level in
                                              equilibrium model that would be able to                 injury litigation’’ to estimate the                   order to estimate the number of
                                              estimate the impact of this rule. In                    economic effects of this rule. Actuarial              households that may be receiving
                                              addition, due to the complexity of                      models assess risk and probabilities                  housing benefits. The average annual
                                              potential benefits, issues of                           utilizing a given set of parameters.                  benefit of $8,121.16 is the estimate DHS
                                              confidentiality, and data limitations, it               Unfortunately, DHS does not have                      calculated per household. DHS
                                              was not possible to use actual benefit                  enough data on the usage of various                   recognizes that actual average annual
                                              receipt information for the analysis.                   subsidies nor the rate of disenrollment               benefits may be less due to the size and
                                                 Comment: A commenter stated that                     needed to create an accurate model.                   location of a particular household.
                                              USCIS has not made any attempt to                       More specifically, in the case of                        Comment: A commenter stated that
                                              detail costs related to processing delays               actuarial models used in personal injury              USCIS failed to estimate the number of
                                              and noted that public charge                            litigation, each person’s situation is                applicants who will be deemed
                                              determinations will inevitably slow                     unique and DHS would need to know                     inadmissible, and the associated effects.
                                              down federal agency processing times,                   the specific impacts for each person in                  Response: DHS is unable to estimate
                                              for which DHS did not estimate the                      order to utilize that type of model. DHS              the number of applicants who will be
                                              opportunity cost of such delays.                        reiterates that the main purpose of the               deemed inadmissible due to this rule.
                                                 Response: DHS appreciates the                        rule is to provide guidance on the                    The review for public charge
                                              comment. DHS was unable to quantify                     public charge inadmissibility ground                  inadmissibility will be based on the
                                              such costs at this time. DHS notes that                 statutory provision for those seeking                 totality of the circumstances that
                                              delays in processing various forms may                  admission or adjusting status in                      considers many positive and negative
                                              occur, but that every effort is taken to                establishing that the person is not likely            factors that are specific to each
                                              avoid such delays whenever possible.                    at any time in the future to become a                 applicant. Therefore, DHS is unable to
                                              DHS does not agree that the new                         public charge.                                        estimate the number of individuals who
                                              requirements associated with public                        Comment: A commenter stated that                   may be deemed inadmissible based on
                                              charge inadmissibility determinations                   the cost benefit analysis fails to consider           public charge. However, DHS estimated
                                              would waste resources and be an                         the upward mobility of immigrant                      the annual population that will be
                                              unnecessary administrative burden, as                   communities, the impact of lower levels               subject to a public charge review for
                                              DHS has determined that it is necessary                 of immigration on the economy, and                    inadmissibility in the economic analysis
                                              to establish a public charge                            other costs such as separation of                     for this rule, which can be found in the
                                              inadmissibility rule. Should DHS                        families, businesses losing workers, and              rule docket at www.regulations.gov.
                                              determine that the fees set for the                     families going without needed                            Comment: A commenter stated that
                                              relevant forms related to the public                    assistance.                                           USCIS should monetize the costs of
                                              charge review process are not sufficient                   Response: Where possible, DHS has                  reduced participation in public benefits
                                              to cover the full cost of the associated                tried to quantify the indirect impacts of             programs.
                                              services adjudicating immigration                       this rule, but DHS is unable to fully                    Response: DHS appreciates the
                                              benefit requests, the agency will                       quantify the impact of lower                          comment regarding monetizing the costs
                                              propose to adjust these form fees in a                  immigration on the economy and other                  of reduced participation in public
                                              subsequent fee rule. DHS sets the fees                  costs that could indirectly result from               benefits programs. DHS monetized the
                                              associated with requesting immigration                  this rule.                                            effect of disenrollment in public
                                              benefits as necessary to recover the full                  Comment: A commenter stated that                   benefits programs to the extent possible
                                              operating costs associated with                         the cost benefit analysis details an                  based on the best available data. While
                                              administering the nation’s lawful                       increase in the number of denials for                 DHS provides estimates of the direct
                                              immigration system, safeguarding its                    adjustment of status applications, but it             costs of the final rule in the economic
                                              integrity, and efficiently and fairly                   does not provide a monetization of these              analysis, we also provide estimates and
                                              adjudicating immigration benefit                        impacts. A commenter stated that the                  detailed methodology of the reduction
                                              requests. As discussed above, while the                 proposed rule requires additional                     in transfer payments from the Federal
                                              rule may increase USCIS processing                      sensitivity analysis. Another commenter               and State governments to certain
                                              times, such is the burden of robust                     stated that USCIS fails to consider key               individuals who receive public benefits
                                              enforcement of the law.                                 impacts centered around increased                     such as those individuals who choose to
                                                 Comment: A commenter stated that                     denials for admission, change of status,              disenroll or forego future enrollment in
                                              USCIS fails to properly estimate the                    or re-entry, and USCIS should complete                public benefits programs due to fear or
                                              impact of effects such as immigrants                    a further literature review around these              confusion. As noted in OMB Circular
                                              foregoing noncash benefits and other                                                                          A–4 (p. 38), ‘‘[b]enefit and cost
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                                                                                                      issues.
                                              reductions in transfer payments.                           Response: DHS was able to detail an                estimates should reflect real resource
                                              Another commenter stated that the                       increase in the number of denials for                 use. Transfer payments are monetary
                                              impact that a loss of public benefits                   adjustment of status applications, but                payments from one group to another
                                              would have on immigrant communities                     did not have enough detailed                          that do not affect total resources
                                              should be calculated in a more robust                   information on specific aliens to                     available to society.’’ The reduction in
                                              way by using actuarial models or                        monetize the impacts such denials may                 transfer payments are quantified in the
                                              models used in personal injury                          have on the economy. DHS disagrees                    transfer section of the economic analysis


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                                              of this rule, in accordance with OMB’s                  benefits that DHS was not able to                     wage multiplier raised the Federal
                                              Circular A–4. However, a reduction in                   quantify and monetize to calculate a                  minimum wage to $10.59, which could
                                              transfer payments are not quantified in                 total cost, the economic analysis                     account for wages above $7.25 that do
                                              the benefits section of this rule. DHS                  includes a description of those costs and             not receive non-wage benefits.838 The
                                              notes that there is great uncertainty                   benefits and a reasoned discussion                    cost savings presented in the analysis
                                              regarding the effects changes in transfer               about why they could not be quantified                were based on the provisions of the
                                              payments will have on the broader                       or monetized.                                         proposed rule and have been updated in
                                              economy, and estimating those effects                      Comment: One commenter submitted                   the final rule. Administrative costs were
                                              are beyond the scope of this rule.                      a detailed comment on the cost-benefit                not calculated.
                                                 Comment: A commenter stated that                     analysis accompanying the proposed                       The analysis does not quantify
                                              USCIS includes the removal of Form I–                   rule stating that over half of foreign-born           potential effects on admissibility, as
                                              864W as a benefit, but does not present                 spouses eligible for green cards would                opposed to adjustment of status.
                                              a primary, minimum, or maximum                          be impacted by USCIS’ rule.836 The                    Instead, the purpose of the rule is to
                                              estimate of the benefits.                               commenter also stated that USCIS has                  determine whether an alien is
                                                 Response: As noted in the economic                   not provided sufficient analysis to                   inadmissible to the United States under
                                              analysis, which can be found in the rule                determine how many temporary visitors                 section 212(a)(4) of the Act, 8 U.S.C.
                                              docket at www.regulations.gov, DHS is                   to the United States would be impacted,               1182(a)(4), because an alien is likely at
                                              eliminating Form I–864W and instead                     that the number of individuals likely to              any time in the future to become a
                                              individuals will be required to provide                 be impacted by the proposed rule’s                    public charge. Aliens who seek
                                              the information previously requested on                 Form I–944 requirement on an annual                   adjustment of status or a visa, or who
                                              the Form I–864W using Form I–485.                       basis is 436,029 as opposed to 382,264,               are applicants for admission, must
                                              Based on the information provided in                    and that the opportunity costs model                  establish that they are not likely at any
                                              the Form I–485, an adjudication officer                 used by USCIS is flawed largely due to                time to become a public charge, unless
                                              can verify whether an immigrant is                      the use of a weighted minimum wage                    Congress has expressly exempted them
                                              statutorily required to file an affidavit of            rather than the average prevailing wage.              from this ground of inadmissibility or
                                              support. DHS estimated the cost per                     The commenter stated that the number                  has otherwise permitted them to seek a
                                              petitioner for filing Form I–864W, but                  of individuals impacted by the proposed               waiver of inadmissibility. Moreover,
                                              was unable to determine the number                      rule who receive minimum wage is                      DHS will require all aliens seeking an
                                              filings of Form I–864W and was unable                   likely significantly lower than 28.5%,                extension of stay or change of status to
                                              to estimate the total annual cost savings               and the minimum wage is often higher                  demonstrate that they have not, since
                                              of eliminating this form.                               in a number of states than the national               obtaining the nonimmigrant status they
                                                 Comment: A commenter stated that
                                                                                                      average. The commenter stated that the                wish to extend or change, received
                                              the lack of a sufficient economic model
                                                                                                      cost of attorney fees to applicants will              public benefits, as defined in this rule,
                                              showing the potential impact this could
                                                                                                      be significantly higher than DHS                      for more than 12 months in the
                                              have on families and the economy
                                              should be grounds to reject the                         recognizes. When correcting for these                 aggregate within any 36-month period
                                              proposed rule.                                          effects, the proposed rule would incur                unless the nonimmigrant classification
                                                 Response: DHS does not agree that                    total costs of $2,260,448,302, or about               that they seek to extend, or to which
                                              DHS did not conduct a sufficient                        17 times greater than USCIS’ estimate. A              they seek to change, is exempt from the
                                              economic analysis for this final rule.                  commenter stated that the cost savings                public charge ground of inadmissibility.
                                              E.O. 12866 directs agencies subordinate                 related to healthcare provisions were                    In addition, DHS acknowledges the
                                              to the President to assess costs and                    unworkable given the disjointed nature                commenter’s estimate of the population
                                              benefits of available regulatory                        of exempting some health services such                that would be affected by this rule’s
                                              alternatives and, when regulation is                    as immunizations but punishing use of                 requirement to submit the new Form I–
                                              necessary, to select regulatory                         Medicaid and CHIP. A commenter                        944. However, DHS notes that we use
                                              approaches that maximize net benefits                   stated that the proposed rule would lead              data from internal and external sources
                                              (including potential economic,                          to significant increase in administrative             as appropriate, and ensures that all data
                                              environmental, public health and safety,                costs to deal with public charge                      are current, valid, reliable, and accurate.
                                              and other advantages, distributive                      provisions.                                           DHS declines use the commenter’s
                                              impacts, and equity). In implementing                      Response: DHS appreciates these                    population estimate in favor of the
                                              E.O. 12866, OMB has provided further                    comments. The analysis used the                       estimates we present in the economic
                                              internal guidance to agencies through                   Federal minimum wage rate since                       analysis that accompanies this rule,
                                              OMB Circular A–4 (Sept. 17, 2003),                      approximately 80 percent of the total                 which can be found in the rule docket
                                              found at https://www.whitehouse.gov/                    number of individuals who obtained                    at www.regulations.gov. The data DHS
                                              sites/whitehouse.gov/files/omb/                         lawful permanent resident status were                 used for its estimates were necessary
                                              circulars/A4/a-4.pdf. OMB Circular A–4                  in a class of admission under family-                 since it provides detailed information
                                              states that it ‘‘is designed to assist                  sponsored preferences and other non-                  showing the classes of applicants for
                                              analysts in the regulatory agencies by                  employment-based classifications such                 admission, adjustment of status, or
                                              defining good regulatory analysis . . .                 as diversity, refugees and asylees, and               registry according to statute or
                                              and standardizing the way benefits and                  parolees.837 Further, the benefits-to-                regulation that are exempt from
                                              costs of Federal regulatory actions are                   836 See Looming Immigration Directive Could         Statistics, 2017. Available at https://www.dhs.gov/
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                                              measured and reported.’’ OMB Circular                   Separate Nearly 200,000 Married Couples Each          immigration-statistics/yearbook/2016. (last visited
                                              A–4, at 3.                                              Year, Boundless Immigration Inc. (Sept. 24,           July 26, 2019).
                                                 As previously explained, DHS                         2018),https://www.boundless.com/blog/looming-           838 Note that the benefits-to-wage multiplier of

                                              described and monetized where                           immigration-directive-separate-nearly-200000-         1.47 used in the proposed rule has been updated
                                              possible the types of costs that would                  married-couples. (last visited July 26, 2019).        to 1.46 for the final rule based on an annual data
                                                                                                        837 See United States Department of Homeland        update released by the Bureau of Labor Statistics.
                                              result from this rule and has added                     Security. Yearbook of Immigration Statistics: 2016,   Therefore, DHS updated its wage estimate using the
                                              many additional costs provided by the                   Table 7. Washington, DC, U.S. Department of           Federal minimum wage plus benefits from $10.66
                                              commenters. For those costs and                         Homeland Security, Office of Immigration              per hour to $10.59 per hour.



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                                              inadmissibility based on the public                     analysis of the NPRM’s federalism                     policy, USCIS must consult with States
                                              charge ground. Other data that are                      implications. The commenter further                   and localities about the impact of the
                                              available are informative, but only                     stated that because of the serious impact             public charge rule on state and local
                                              provide aggregate receipt totals whereby                the NPRM will have on the States, it is               choice and policy. The need for this
                                              it is not possible to remove individuals                improper for DHS to forego the                        consultation was apparent because the
                                              from the population count who are                       federalism summary impact statement.                  formulation of the guidance document
                                              exempt from a public charge review of                   The commenter also stated that E.O.                   this regulation proposes to replace
                                              inadmissibility.                                        13132 requires DHS to produce a                       considered state and local public health
                                                 Finally, based on comments received,                 federalism summary impact statement.                  concerns.
                                              DHS amended its economic analysis,                      One commenter stated that DHS did not                    Response: DHS has considered the
                                              where possible, to account for                          engage in adequate consultation with                  relevant public comments and engaged
                                              individuals who choose to hire an                       governors pursuant to E.O. 13132, and                 in many meetings with state and local
                                              attorney for legal representation on their              requested that DHS engage in a                        entities as part of the E.O. 12866
                                              behalf.                                                 meaningful and formal way before                      process. Aliens entitled to public
                                                 Comment: A commenter noted that                      taking further action on the public                   benefits under State or local law may
                                              though the rule impacts only a small                    charge rule. The commenter noted that                 elect to receive such benefits and this
                                              number of immigrants, its chilling effect               the rule would likely impose significant              rule does not, and cannot, change that
                                              impacts will outweigh its intentional                   financial and administrative burdens on               fact. However, DHS believes that the
                                              impacts. This, the commenter and                        states, including costly and labor-                   consideration of an alien’s receipt of
                                              others commenters asserted, is an                       intensive changes in how states                       designated public benefits is consistent
                                              abdication of DHS’s APA duties to                       implement their shared eligibility                    with congressional intent, as set forth in
                                              consider costs and benefits. Further, a                 systems among human services and                      PRWORA, that the receipt of public
                                              commenter stated that DHS failed to                     health programs.                                      benefits should not be an incentive to
                                              satisfactorily justify the prospective                     Response: This final rule does not                 come to the United States, and aligns
                                              harm of the chilling effect of this rule.               have federalism implications because it               DHS’s administration of the INA to
                                              Another commenter stated that DHS’s                     does not have substantial direct effects              those principles.840
                                              cost analysis is arbitrary, stating that its            on the States, on the relationship                       Comment: Some commenters stated
                                              estimates appear in some cases to reflect               between the Federal Government and                    that the rule violates state’s rights to
                                              a range based on simply moving                          the States, or on the distribution of                 provide benefits to children and
                                              decimal places rather than evidence.                    power and responsibilities among the                  immigrants experiencing short-term
                                              Elsewhere, the commenters say                           various levels of government. Although                crises. Some commenters said this rule
                                              estimates are inconsistent, such as the                 this rule defines public benefit to                   impinges on a state’s right to provide
                                              Form I–944 cost estimates in the PRA                    include certain cash and non-cash                     healthcare services and increases federal
                                              analysis versus elsewhere in the                        benefits, some of which may be fully or               intrusion into local issues. Commenters
                                              proposed rule. A few commenters noted                   partially administered by states or local             stated that some state statutes and
                                              that the public charge definition is not                governments, DHS is not purporting to                 constitutions, as well as DHS’s own
                                              supported by or tied to any benefit to                  regulate which aliens may receive such                1999 Interim Field Guidance, make it a
                                              ‘‘health, well-being, businesses,                       benefits or how states and local                      state interest to provide certain benefits
                                              economies, or communities.’’ One                        governments administer such programs.                 to non-citizens.
                                              commenter stated that the rule ‘‘does                   DHS does not expect that this final rule                 Several commenters stated that the
                                              not point to any expected benefits for                  will impose substantial direct                        proposed rule impermissibly overrides
                                              individual or public health, for national,              compliance costs on State and local                   state authority. Others stated that the
                                              state or local economies, for businesses,               governments, or preempt State law.                    proposed rule would bar their states’
                                              for healthcare systems, or for our                      Accordingly, in accordance with section               from providing state-funded aid to their
                                              communities.’’                                          6 of E.O. 13132, this rule requires no                own residents, regardless of
                                                 Response: DHS disagrees with these                   further agency action or analysis.                    immigration status. A commenter stated
                                              comments. E.O. 13563 directs agencies                      Comment: A commenter stated that                   that the proposed rule violates the 10th
                                              to propose or adopt a regulation only                   this rule impinges on a state’s right to              Amendment of the U.S. Constitution
                                              upon a reasoned determination that its                  provide healthcare services and                       because it commandeers state resources
                                              benefits justify its costs; the regulation              increases federal intrusion into local                by compelling agencies to implement
                                              is tailored to impose the least burden on               issues.                                               the rule, especially in providing notice
                                              society, consistent with achieving the                     Response: DHS disagrees that this rule             and information to applicants. Another
                                              regulatory objectives; and in choosing                  impinges on state’s rights to provide                 commenter stated that the rule violates
                                              among alternative regulatory                            healthcare services and increases federal             a federalism principle by imposing an
                                              approaches, the agency has selected                     intrusion into local issues. This rule                unfunded mandate. One commenter
                                              those approaches that maximize net                      enforces a law that has been in place, in             stated that the proposed rule will
                                              benefits. E.O. 13563 recognizes that                    one form or another, since the late 19th              impose substantial costs on State and
                                              some benefits are difficult to quantify                 century. The review of public charge                  local governments such that federalism
                                              and provides that, where appropriate                    inadmissibility, which is an                          concerns are implicated. Other
                                              and permitted by law, agencies may                      immigration matter, is a matter of
                                                                                                                                                            commenters stated that the proposed
                                              consider and discuss qualitatively                      Federal jurisdiction alone, as indicated
                                                                                                                                                            rule would harm their states. A
                                                                                                      by the Supreme Court.839
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                                              values that are difficult or impossible to                                                                    commenter stated that the proposed rule
                                              quantify, including equity, human                          Comment: A commenter indicated
                                                                                                      that as a matter of law and effective                 would undermine a state statute that
                                              dignity, fairness, and distributive                                                                           was passed with bipartisan support in
                                              impacts.                                                                                                      order to extend CHIP.
                                                                                                        839 See, e.g., Hines v. Davidowitz, 312 U.S. 52

                                              2. Federalism Comments                                  (1941); see also Arizona v. United States, 567 U.S.
                                                                                                      387, 394 (2012) (‘‘The Government of the United         840 See Southern S.S. Co. v. N.L.R.B., 316 U.S. 31,
                                                 Comment: A commenter stated that                     States has broad, undoubted power over the subject    47 (1942) (requiring ‘‘careful accommodation of one
                                              DHS did not conduct an adequate                         of immigration and the status of aliens.’’).          statutory scheme to another.’’).



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                                                 Another commenter asserted that,                        Another commenter stated that this                     As discussed in the NPRM,842 DHS
                                              even if the proposed rule were passed                   rule could result in the separation of at              has determined that the rule may
                                              in the form of a statute, it would violate              least 200,000 married couples annually.                decrease disposable income and
                                              Article I of the Spending Clause for                    Another commenter provided data on                     increase the poverty of certain families
                                              coercively restricting state use of                     the impact of the study on marriage-                   and children, including U.S. citizen
                                              Federal grant money.                                    based permanent residency                              children. And as discussed previously,
                                                 Response: DHS did not propose in the                 applications, saying the proposed rule                 DHS has modified some provisions in
                                              NPRM to, in any way, regulate or                        would undermine family unity and                       ways that will mitigate the impact on
                                              circumscribe the ability of states to offer             stability. A commenter stated that the                 families, such as by exempting receipt
                                              public benefits to children and                         proposed rule would chill access to                    of Medicaid by aliens under 21 and
                                              immigrants, or to require states to                     their state’s Department of Children and               pregnant women. Ultimately, however,
                                              implement the DHS rule. Similarly, this                 Families and Juvenile Court, leading to                DHS continues to believe that the
                                              final rule neither prohibits states from                                                                       financial impact on the family is
                                                                                                      children remaining dependent on state
                                              providing benefits to children and                                                                             justified.
                                                                                                      child welfare programs.                                   Additionally, because the final rule
                                              immigrants nor prohibits any category
                                              of immigrants from receiving any state                     Many commenters said this rule                      considers receipt of public benefits that
                                              or local benefits for which they are                    would dramatically hurt and jeopardize                 were not considered under the 1999
                                              eligible. Furthermore, the rule’s                       families, as well as place undue burden                Interim Field Guidance, DHS
                                              definition of public benefit does not                   on all family members. A commenter                     determined that the aliens found
                                              include emergency aid, emergency                        stated that the proposed rule fails to                 inadmissible under section 212(a)(4) of
                                              medical assistance, or disaster relief.                 analyze the rule’s effect on the well-                 the Act, 8 U.S.C. 1182(a)(4), will likely
                                              Likewise, the rule does not impact the                  being of families, especially its impact               increase. However, given the compelling
                                              Spending Clause since it does not                       to family stability, and on the                        legal and policy reasons associated with
                                              restrict a state’s ability to use Federal               disposable income of families and                      this rulemaking, including but not
                                              funds.                                                  children. Some commenters provided                     limited to, better ensuring self-
                                                                                                      studies showing how children could be                  sufficiency, DHS determined that this
                                              3. Family Assessment Comments                           severely and irreversibly harmed,                      rulemaking’s impact is justified and no
                                                 Comment: One commenter said that                     including children’s health, by                        further actions are required. DHS also
                                              the rule violated Section 654 of the                    separation as part of a strategy to                    determined that this final rule will not
                                              Treasury General Appropriations Act,                    prevent immigrants from legalizing their               have any impact on the autonomy or
                                              1999, Public Law 105–277, which                         status.                                                integrity of the family as an institution.
                                                                                                                                                                Furthermore, with this rulemaking,
                                              requires agencies to assess their                          A commenter stated that the rule                    DHS does not intend to separate
                                              policies’ impact on family stability,                   contravenes international and domestic                 families. DHS’s intent is to implement
                                              families’ ability to function, and other                policies that support children’s best                  Congress’ mandate to assess whether an
                                              indicators of family well-being. Another                interests, citing the U.N. Convention on               alien has met his or her burden to
                                              commenter stated that DHS’s Family                      the Rights of the Child.                               demonstrate that he or she is not likely
                                              Policymaking Assessment failed to fully
                                                                                                         Response: Section 654 of the Treasury               at any time to become a public charge
                                              and meaningfully evaluate the
                                                                                                      and General Government                                 under section 212(a)(4)(A) of the Act, 8
                                              rulemaking’s effects on family well-
                                                                                                      Appropriations Act, 1999 841 requires                  U.S.C. 1182(a)(4), given the
                                              being under section 654(c)(1) and did
                                                                                                      Federal agencies to issue a Family                     congressional policy to ensure that
                                              not address 654(c)(2)–(7) at all. Other
                                                                                                      Policymaking Assessment for any rule                   those coming to the United States
                                              commenters generally agreed that the
                                                                                                      that may affect family well-being.                     should be self-sufficient and not rely on
                                              family assessment in the proposed rule
                                                                                                      Agencies must assess whether: (1) The                  the government for assistance to meet
                                              is insufficient.
                                                                                                      action strengthens or erodes the stability             their needs.843
                                                 Several commenters stated this rule                                                                            DHS agrees that family unity is a
                                              will unnecessarily harm family unity,                   or safety of the family and, particularly,
                                                                                                      the marital commitment; (2) the action                 significant tenet of the family-based
                                              such as by making it difficult for some                                                                        immigration system. As indicated
                                              spouses of U.S. citizens to enter the                   strengthens or erodes the authority and
                                                                                                      rights of parents in the education,                    above, the rule does not alter eligibility
                                              United States or adjust status. A                                                                              criteria for a family-based immigrant
                                              commenter generally stated that the                     nurture, and supervision of their
                                                                                                                                                             petition, although it could have some
                                              proposed rule’s definition of                           children; (3) the action helps the family
                                                                                                                                                             impact on the ultimate outcome of such
                                              ‘‘household,’’ along with the asset and                 perform its functions, or substitutes
                                                                                                                                                             petitions. DHS has taken certain steps
                                              income standards, would pressure                        governmental activity for the function;
                                                                                                                                                             that mitigate the potential effects of this
                                              families to separate. The commenter                     (4) the action increases or decreases
                                                                                                                                                             rule on families. For instance, DHS will
                                              also stated that the proposal to subject                disposable income or poverty of families
                                                                                                                                                             not attribute U.S. citizen children’s
                                              residents to public charge                              and children; (5) the proposed benefits                receipt of public benefits to their
                                              determinations upon reentering the                      of the action justify the financial impact             parents who are subject to the public
                                              United States would discourage                          on the family; (6) the action may be                   charge inadmissibility ground. Like all
                                              immigrants from preserving contact                      carried out by State or local government               other applicants for admission or
                                              with family outside of the United States.               or by the family; and whether (7) the                  adjustment of status who are subject to
                                              A commenter added that it would make                    action establishes an implicit or explicit
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                                                                                                                                                             the public charge or any other ground of
                                              it especially difficult for immigrants to               policy concerning the relationship                     inadmissibility, aliens are not
                                              let their parents join them in the United               between the behavior and personal                      guaranteed admission or adjustment of
                                              States. Another commenter cited an                      responsibility of youth, and the norms                 status merely by virtue of their
                                              article noting that there are 9,000,000                 of society.
                                              mixed status families in the United                                                                              842 See Inadmissibility on Public Charge Grounds,
                                              States, and many would be faced with                      841 Public   Law 105–277, 112 Stat. 2681 (Oct. 21,   83 FR 51114, 51277 (proposed Oct. 10, 2018).
                                              the threat of coerced separation.                       1998).                                                   843 See 8 U.S.C. 1601(1) and (2).




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                                              relationship to a U.S. citizen or lawful                and that DHS has failed to justify                    to an employment-based nonimmigrant
                                              permanent resident.844                                  requiring it.                                         category, must provide certain
                                                                                                         Response: DHS disagrees that the                   biographical information to employers
                                              4. Paperwork Reduction Act Comments                     Form I–944 needs to be simplified and                 as part of the application process. Form
                                                 Comment: A commenter stated that                     more carefully targeted or is overly                  I–129 and Form I–539/Form I–539A
                                              the newly proposed Form I–944 is                        burdensome. Form I–944 requests                       already provide for some information
                                              duplicative and unnecessary in light of                 information about all the relevant                    from both employers and employees
                                              the Form I–864. Another commenter                       factors as established by section                     when the benefit is related to
                                              stated that DHS has not shown that                      212(a)(4) of the Act, 8 U.S.C. 1182(a)(4),            employment-based immigration. As
                                              there are not less burdensome ways of                   and the rule to determine whether the                 noted on the instructions for USCIS
                                              gaining the information from I–944 than                 alien is inadmissible based on public                 forms, the failure to provide requested
                                              the form requires.                                      charge ground.                                        information, or any other requested
                                                 Response: DHS disagrees that the                        The Form I–944 instructions state that             evidence, may delay adjudication or
                                              Form I–944 duplicates information                       only applicants filing Form I–485 who                 result in a denial of the benefit
                                              collected on Form I–864 and is therefore                are subject to the public charge ground               requested.
                                              duplicative. However, DHS has updated                   of inadmissibility must file Form I–944.                 Comment: A commenter stated that
                                              the forms to remove the questions about                 The Form I–944 instructions also                      DHS appears to be acting on the basis
                                              employment that are also on the I–485.                  explain that an alien who is exempt                   of either conflicting information or no
                                              In addition, DHS added language to the                  from the public charge ground of                      information at all. For example, in the
                                              forms, indicating to the applicant that if              inadmissibility does not need to file                 context of its PRA analysis, DHS
                                              tax forms were submitted as part of                     Form I–944, and subsequently lists all                estimates that 382,264 individuals will
                                              Form I–485, Form I–864 or Form I–944,                   categories of aliens that are exempt from             be required to fill out Form I–944, that
                                              the same tax returns do not need to be                  the public charge ground of                           the hour burden per response will be 4
                                              submitted with the I–864. Any                           inadmissibility. Therefore, DHS believes              hours, and that the monetary burden is
                                              document that is submitted as part of                   the declaration of self-sufficiency is                $59,931,350. Those figures seem to
                                              another form related to the immigrant                   appropriately targeted to the aliens that             directly conflict with DHS’s earlier
                                              benefit does not need to be submitted                   might trigger public charge concerns.                 estimates that Form I–944 would take
                                              multiple times. Form I–864 is an                           Comment: A commenter noted that                    4.5 hours to fill out and that the annual
                                              affidavit of support submitted by an                    there was no way to specify the receipt               cost would be $25,963,371.845 The
                                              intending immigrant’s sponsor, as                       of public benefits was for an emergency               commenter notes that the number of
                                              required for certain categories of aliens               on the Form I–944, nor did the form                   applicants is similarly in conflict. DHS
                                              subject to the affidavit of support                     indicate that such services were                      also appears to assume that only
                                              requirements under section 213A of the                  excluded.
                                                                                                                                                            applicants for adjustment will fill out
                                              Act, 8 U.S.C. 1183a. Form I–864 is a                       Response: DHS appreciates the
                                                                                                                                                            Form I–944.846 DHS overtly states,
                                              contract between the sponsor and the                    comment and has updated the form to
                                                                                                      include questions regarding the                       however, that at least some
                                              U.S. Government in which the sponsor
                                                                                                      exemptions and updated the description                nonimmigrant visa applicants would
                                              agrees to use his or her income, assets,
                                                                                                      of the designated public benefits to                  have to fill out that form as well, and
                                              and resources to support the intending
                                                                                                      clarify the information being sought.                 it provides statistics showing annual
                                              immigrants named in Form I–864, if it
                                                                                                         Comment: A commenter opposed                       averages of those applicants over
                                              becomes necessary. The sponsor
                                              completing and signing Form I–864                       requiring that employees provide                      200,000.847 The commenter concludes
                                              must show that he or she has enough                     employers with certain information,                   from this information that DHS does not
                                              income and/or assets to maintain the                    whether through Form I–129, Form I–                   know how many people will have to fill
                                              intending immigrants listed on the                      539, or Form I–944. The commenter                     out the form, how long it will take them,
                                              affidavit and the rest of the sponsor’s                 stated that requiring a nonimmigrant to               or how much it will cost on an
                                              household at 125 percent of the FPG.                    provide such personal information to                  annualized basis.
                                                                                                      his or her employer or prospective                       Response: DHS has corrected an error
                                              The sponsor, therefore, is largely
                                              submitting information regarding his or                 employer to overcome the presumption                  in the estimated time burden for Form
                                              her financial situation.                                that he or she is or could become a                   I–944 from 4 hours to 4.5 hours. DHS
                                                 However, Form I–944 is completed by                  public charge, such as medical                        uses historical data to estimate the
                                              the intending immigrant, i.e., applicant                payments, tax return transcripts, W–2s,               populations and burdens reported. In
                                              for adjustment of status, and requests                  or documents for temporary housing                    some instances, DHS does not have
                                              information on the relevant factors as                  needs, is an unfair and unreasonable                  historical data on a population and may
                                              established by section 212(a)(4) of the                 imposition on any employee. The                       need to derive these populations using
                                              Act, 8 U.S.C. 1182(a)(4), and the final                 commenter stated the employer should                  statistical methods. For example, the 5-
                                              rule, which are distinct from the                       not know such personal information,                   year average of those filing Form I–485
                                              requirements of the affidavit of support.               and that the requirement could                        who are not exempt from the public
                                                 Comment: A commenter suggested a                     potentially expose an employer to                     charge inadmissibility determination is
                                              simplification of the declaration of self-              liability. The commenter stated further               estimated at 382,264. DHS used this
                                              sufficiency that targets aliens that might              that it is unclear who would be                       population for the Form I–944 estimate.
                                              trigger public charge concerns, rather                  responsible to pay for the Form I–944,                Additionally, as part of the calculation
                                              than, for example, all aliens who seek to                                                                     of the 5-year average estimated
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                                                                                                      especially in the context of H–1B-based
                                              adjust status. Another commenter stated                 change or extension of status petitions,              population, DHS used the FY 2016
                                              that Form I–944 imposes undue burdens                   where the employer is generally                       population of those who are not exempt
                                                                                                      required to pay the fees associated with                845 83
                                                844 See Agyeman v. INS, 296 F.3d 871, 879 (9th                                                                       FR 51284–85, at 51254.
                                                                                                      the filing.                                             846 83 FR 51284–85, at 51240 (calculating that
                                              Cir. 2002) (‘‘[A]pproval of the I–130 petition does
                                              not automatically entitle the alien to adjustment of
                                                                                                         Response: Employees seeking                        382,769 adjustment applicants would be subject to
                                              status as an immediate relative of a United States      employment-based nonimmigrant visas                   public charge review).
                                              citizen.’’).                                            and those seeking to extend of change                   847 83 FR 51284–85, at 51243–44.




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                                              from public charge review (382,769                      stated that the Form I–944 would                      would likely result in hiring and
                                              filers), which is very close to the 5-year              require the alien to list the name of                 specially training additional personnel.
                                              average estimate. In sum, the economic                  every household member, amount of                     The commenter further indicated that
                                              analysis used the 5-year average of those               current assets and resources, recent                  counties will need to work with their
                                              filing Form I–485 of 382,264 and the FY                 Federal tax return history for the                    respective states to develop
                                              2016 population of those not exempt                     applicant and household members,                      standardized processes for receiving
                                              from public charge review, to estimate                  credit score, proof of debts and                      requests and providing information
                                              the population that will be subject to                  liabilities, complete list of all public              across the state that safeguards personal
                                              public charge inadmissibility                           benefits applied for or received, and                 data. The commenter stated that this is
                                              determination and, therefore, will have                 education and employment history),                    not only a significant workload but also
                                              to submit Form I–944.                                   and that accurately completing the form               would include potentially major
                                                 Finally, DHS is required to estimate                 and providing all required information                automation costs, given the level of
                                              cost burden in multiple ways: (1) The                   with documentation would be a                         detail required.
                                              PRA requires estimating cost burden                     significant effort for non-citizens and                  Response: The purpose of Form I–944
                                              based on the average hourly wage of the                 their families.                                       is to demonstrate that an adjustment of
                                              respondent; (2) the PRA also requires                      Response: DHS acknowledges that the                status applicant subject to the public
                                              estimating the annual cost burden based                 time that it would take each individual               charge ground of inadmissibility is not
                                              on expenses incurred to complete the                    to complete Form I–944 could be more                  likely at any time in the future to
                                              information collection including but not                or less time than the reported estimated              become a public charge, as required by
                                              limited to attorney’s fees, shipping and                average time burden, depending on the                 Congress in section 212(a)(4) of the Act,
                                              handling, etc., and (3) E.O. 12866                      applicant’s individual facts and                      8 U.S.C. 1182(a)(4). Form I–944 collects
                                              requires estimating the benefits and                    circumstances. For example, some                      information relevant to the mandatory
                                              costs of the regulation, including the                  applicants would be children who do                   factors, such as age, family status,
                                              opportunity cost of time, among other                   not have extensive education, assets,                 assets, resources, financial status,
                                              costs.                                                  and liabilities to report on the Form I–              education, and skills. DHS is required to
                                                 Comment: A commenter stated that                     944. In contrast, an older applicant                  assess an applicant’s assets and
                                              the proposed rule would also impose                     could have extensive education, assets,               resources as part of the public charge
                                              unreasonable burdens and financial                      and liabilities to report on the Form I–              inadmissibility determination, which
                                              costs on immigration benefit applicants                 944. Moreover, in estimating the time                 entails a review of the alien’s income.
                                              and petitioners, specifically mentioning                burden, DHS does not include the time                 These factors are mandated by Congress
                                              Form I–944. The comment indicated                       burden already accounted for by other                 in section 212(a)(4) of the Act, and DHS
                                              that though DHS projects an average                     information collections subject to the                does not have the authority to disregard
                                              Form I–944 preparation time of 4 hours                  PRA nor inactive time to obtain the                   these factors. Additionally, the
                                              and 30 minutes, the evidentiary                         necessary evidence required. DHS also                 estimated burden on any alien
                                              requirements associated with the form                   notes that an alien does not always have              submitting Form I–944 was provided in
                                              and the public charge assessment                        to provide information about the net                  the NPRM.
                                              overall suggest that DHS has seriously                  value of a home and the related                          DHS acknowledges in the economic
                                              underestimated the time commitment.                     evidence. In general, the alien would                 analysis accompanying this rule that
                                              For example, using a method of                          need to provide information regarding                 various government agencies may incur
                                              assessing ‘‘household size’’ that differs               the home and its net value if aliens                  indirect costs associated with the rule
                                              significantly from the long-accepted                    using the home as evidence of his or her              such as, for example, the potential need
                                              definition used to evaluate Form I–864,                 assets or resources. DHS will maintain                to update administrative processes and
                                              the proposed rule and Form I–944                        the estimated time burden at 4.5 hours.               provide additional training. However,
                                              instructions require individuals to                        Comment: One commenter detailed                    Form I–944 imposes no requirements on
                                              submit extensive supporting                             several issues with Form I–944 and its                Federal, State, or local government
                                              documentation of the financial status of                requirements, saying that it will                     agencies. Instead, applicants required to
                                              the applicant’s household, including all                disproportionately harm low-income
                                                                                                                                                            submit Form I–944 must submit certain
                                              sources of household income and all                     applicants and their families, place an
                                                                                                                                                            evidence from Federal, State, and local
                                              cash and non-cash assets that can be                    unreasonable burden on families
                                                                                                                                                            government agencies such as Federal
                                              converted into cash within 12 months.                   especially those who apply with their
                                                                                                                                                            income tax returns and documentation
                                              For every such asset, an applicant must                 minor children, impose costly
                                                                                                                                                            of receipt of public benefits. DHS has
                                              provide a description of the asset, along               administrative burdens on Federal,
                                                                                                                                                            reviewed the data provided by
                                              with the value, basis of the claim for the              State, and local government agencies,
                                                                                                                                                            commenters and updated the cost
                                              value, and proof of ownership. The net                  generate a huge workload for social
                                                                                                                                                            estimates to account for the indirect
                                              value of a home may be included as an                   services agencies, and undermine
                                                                                                                                                            effects of this rule, where possible.
                                              asset, but only if accompanied by                       privacy rights of applicants. The
                                              documentation of ownership, evidence                    commenter also noted that the rule will               IV. Statutory and Regulatory
                                              of all secured loans or liens, and a                    likely make it more difficult for low-                Requirements
                                              recent appraisal completed by a                         income and vulnerable immigrants to
                                              licensed appraiser (estimated to cost an                remain on the path to U.S. citizenship,               A. Executive Order 12866 (Regulatory
                                              average of $300 to $400 for a single                    will dissuade many potential applicants               Planning and Review), Executive Order
                                                                                                                                                            13563 (Improving Regulation and
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                                              family home). The commenter indicated                   from pursuing adjustment due to the
                                              that these requirements alone could                     costs of the application process, create              Regulatory Review), and Executive
                                              consume significant amounts of time                     financial hardship for people, and result             Order 13771 (Reducing Regulation and
                                              beyond the DHS estimate. In addition,                   in processing delays and lengthy wait                 Controlling Regulatory Costs)
                                              multiple commenters stated that the                     times. One commenter said that the                       Executive Orders 12866 and 13563
                                              documentation and information                           Form I–944 requirement would require                  direct agencies to assess the costs and
                                              applicants would be required to collect                 states and counties to develop new work               benefits of available regulatory
                                              and present is extensive (the commenter                 processes, require system updates, and                alternatives and, if regulation is


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                                              necessary, to select regulatory                             This final rule will impose new costs               cost to file Form I–356 would be
                                              approaches that maximize net benefits                    on the population applying to adjust                   approximately $824 annually.850
                                              (including potential economic,                           status using Form I–485 that are subject                  The final rule will also result in a
                                              environmental, public health and safety                  to the public charge ground of                         reduction in transfer payments from the
                                              effects, distributive impacts, and                       inadmissibility who will now be                        Federal Government to individuals who
                                              equity). Executive Order 13563                           required to file the new Form I–944 as                 may choose to disenroll from or forego
                                              emphasizes the importance of                             part of the public charge inadmissibility              enrollment in a public benefits program.
                                              quantifying both costs and benefits,                     determination. DHS will require any                    Individuals who might choose to
                                              reducing costs, harmonizing rules, and                   adjustment applicants subject to the                   disenroll from or forego future
                                              promoting flexibility. Executive Order                   public charge inadmissibility ground to                enrollment in a public benefits program
                                              13771 directs agencies to reduce                         submit Form I–944 with their Form I–                   include foreign-born non-citizens as
                                              regulation and control regulatory costs.                 485 to demonstrate they are not likely                 well as U.S. citizens who are members
                                                 The Office of Information and                         at any time in the future to become a                  of mixed-status households,851 who
                                              Regulatory Affairs has designated this                   public charge. The final rule will also                otherwise may be eligible for the public
                                              final rule as a ‘‘significant regulatory                 impose additional costs for completing                 benefits. DHS estimates that the total
                                              action’’ that is economically significant                Forms I–485, I–129, I–129CW, and I–                    reduction in transfer payments from the
                                              since it is estimated that the final rule                539 as the associated time burden                      Federal and State governments will be
                                              would have an annual effect on the                       estimate for completing each of these                  approximately $2.47 billion annually
                                              economy of $100 million or more, under                   forms will increase. Moreover, the final               due to disenrollment or foregone
                                              section 3(f)(1) of E.O. 12866.                           rule will impose new costs associated                  enrollment in public benefits programs
                                              Accordingly, OMB has reviewed this                       with the new public charge bond                        by foreign-born non-citizens who may
                                              final regulation.                                        process, including new costs for                       be receiving public benefits. DHS
                                                 This rule is a regulatory action under                completing and filing Forms I–945 and                  estimates that the 10-year discounted
                                              E.O. 13771.                                              I–356. DHS estimates that the additional               federal and state transfer payments
                                              1. Summary                                               total cost of the final rule will be                   reduction of this final rule will be
                                                                                                       approximately $35,202,698 annually to                  approximately $21.0 billion at a 3
                                                 As discussed above, DHS is modifying                  the population applying to adjust status               percent discount rate and about $17.3
                                              its regulations to add new regulatory                    who is also required to file Form I–944,               billion at a 7 percent discount rate.
                                              provisions for inadmissibility                           for the opportunity cost of time                       However, DHS notes there may be
                                              determinations based on the public                       associated with the increased time                     additional reductions in transfer
                                              charge ground under the INA. DHS is                      burden estimates for Forms I–485, I–                   payments, or categories of transfers such
                                              prescribing how it will determine                        129, I–129CW, and I–539, and for                       as increases in uncompensated health
                                              whether an alien is inadmissible                         requesting or cancelling a public charge               care or greater reliance on food banks or
                                              because he or she is likely at any time                  bond using Form I–945 and Form I–356,                  other charities, that we are unable to
                                              in the future to become a public charge                  respectively.                                          quantify.
                                              and is identifying the types of public                      Over the first 10 years of
                                              benefits that will be considered in the                                                                            There also may be additional
                                                                                                       implementation, DHS estimates the total                reductions in transfer payments from
                                              public charge determinations. An alien                   quantified new direct costs of the final
                                              applying for admission at the port of                                                                           states to individuals who may choose to
                                                                                                       rule will be about $352,026,980                        disenroll from or forego enrollment in a
                                              entry, or adjustment of status generally                 (undiscounted). In addition, DHS
                                              must establish that he or she is not                                                                            public benefits program. For example,
                                                                                                       estimates that the 10-year discounted                  the Federal Government funds all SNAP
                                              likely at any time in the future to                      total direct costs of this final rule will
                                              become a public charge. DHS will weigh                                                                          food expenses, but only 50 percent of
                                                                                                       be about $300,286,154 at a 3 percent                   allowable administrative costs for
                                              certain factors positively or negatively,                discount rate and about $247,249,020 at
                                              depending on how the factor impacts                                                                             regular operating expenses.852 Similarly,
                                                                                                       a 7 percent discount rate.                             FMAP in some HHS programs, like
                                              the immigrant’s likelihood to become a                      The final rule will also potentially
                                              public charge. DHS is also revising                                                                             Medicaid, can vary from between 50
                                                                                                       impose new costs on obligors                           percent to an enhanced rate of 100
                                              existing regulations to require all aliens               (individuals or companies) if an alien
                                              seeking an extension of stay or change                                                                          percent in some cases.853 Since the state
                                                                                                       has been determined to be likely at any
                                              of status to demonstrate that they have                  time in the future to become a public                     850 Calculation: $33.00 (cost per obligor to file
                                              not received public benefits, as defined                 charge and will be permitted to submit                 Form I–356) * 25 (estimated annual population who
                                              in this rule unless the nonimmigrant                     a public charge bond, for which USCIS                  would file Form I–356) = $825.00 annual total cost
                                              classification that they seek to extend or               will use the new Form I–945. DHS                       to file Form I–356.
                                              to which they seek to change is exempt                   estimates the total cost to file Form I–
                                                                                                                                                                 851 DHS uses the term ‘‘foreign-born non-citizen’’

                                              from the public charge ground of                                                                                since it is the term the U.S. Census Bureau uses.
                                                                                                       945 will be, at minimum, about $34,166                 DHS generally interprets this term to mean alien in
                                              inadmissibility. Finally, DHS is revising                annually.849                                           this analysis. In addition, DHS notes that the
                                              its regulations governing the Secretary’s                                                                       Census Bureau publishes much of the data used in
                                                                                                          Moreover, the final rule will
                                              discretion to accept a public charge                                                                            this analysis.
                                                                                                       potentially impose new costs on aliens                    852 Per section 16(a) of the Food and Nutrition Act
                                              bond or similar undertaking under
                                                                                                       or obligors who submit Form I–356 as                   of 2008, Pub. L. 110–234, tit. IV, 122 Stat. 923, 1092
                                              section 213 of the Act, 8 U.S.C. 1183.
                                                                                                       part of a request to cancel the public                 (May 22, 2008) (codified as amended at 7 U.S.C.
                                              Similar to a waiver, a public charge                                                                            2025). See also USDA, FNS Handbook 901, at p. 41
                                                                                                       charge bond. DHS estimates the total
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                                              bond permits an alien deemed                                                                                    (2017). Available at: https://fns-prod.azureedge.net/
                                              inadmissible on the public charge                                                                               sites/default/files/apd/FNS_HB901_v2.2_Internet_
                                                                                                       waiver of the public charge ground of                  Ready_Format.pdf, (last visited May 7, 2019).
                                              ground to obtain adjustment of status, if                inadmissibility. See Matter of Ulloa, 22 I&N Dec.         853 See Dept. of Health and Human Servs. Notice,
                                              otherwise admissible.848                                 725, 726 (BIA 1999).                                   Federal Financial Participation in State Assistance
                                                                                                          849 Calculation: $35.59 (cost per obligor to file   Expenditures; Federal Matching Shares for
                                                848 There is no mention of ‘‘waiver’’ or ‘‘waive’’     Form I–945) * 960 (estimated annual population         Medicaid, the Children’s Health Insurance Program,
                                              in INA section 213, 8 U.S.C. 1183. However, the          who would file Form I–945) = $34,166.40 = $34,166      and Aid to Needy Aged, Blind, or Disabled Persons
                                              BIA has viewed that provision as functioning as a        (rounded) annual total cost to file Form I–945.                                                    Continued




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                                              share of FFP varies from state to state,                familiarization costs. To the extent that             will produce some benefits for T
                                              DHS uses the average FMAP across all                    an individual or entity directly                      nonimmigrants applying for adjustment
                                              states and U.S. territories of 59 percent               regulated by the rule incurs                          of status based on their T nonimmigrant
                                              to estimate the amount of state transfer                familiarization costs, those                          status, as this population will no longer
                                              payments. Therefore, the estimated 10-                  familiarization costs are a direct cost of            need to submit Form I–601 seeking a
                                              year undiscounted amount of state                       the rule. In addition to those individuals            waiver on the public charge ground of
                                              transfer payments that could occur as a                 or entities the rule directly regulates, a            inadmissibility. DHS estimates the total
                                              result of the provisions of this final rule             wide variety of other entities would                  benefits for this population is $15,176
                                              is about $1.01 billion annually. The                    likely choose to read and understand                  annually.854
                                              estimated 10-year discounted amount of                  the rule and, therefore, would incur                     The primary benefit of the final rule
                                              state transfer payments of the provisions               familiarization costs. For example,                   would be to better ensure that aliens
                                              of this final rule would be                             immigration lawyers, immigration
                                                                                                                                                            who are admitted to the United States,
                                              approximately $8.63 billion at a 3                      advocacy groups, health care providers
                                                                                                                                                            seek extension of stay or change of
                                              percent discount rate and about $7.12                   of all types, non-profit organizations,
                                                                                                                                                            status, or apply for adjustment of status
                                              billion at a 7 percent discount rate.                   non-governmental organizations, and
                                                                                                                                                            are not likely to receive public benefits
                                              Finally, DHS recognizes that reductions                 religious organizations, among others,
                                                                                                                                                            and will be self-sufficient, i.e.,
                                              in federal and state transfers under                    may need or want to become familiar
                                                                                                                                                            individuals will rely on their own
                                              Federal benefit programs may have                       with the provisions of this final rule.
                                                                                                                                                            financial resources, as well as the
                                              downstream impacts on state and local                   DHS believes such non-profit
                                                                                                                                                            financial resources of the family,
                                              economies, large and small businesses,                  organizations and other advocacy
                                                                                                                                                            sponsors, and private organizations.855
                                              and individuals. For example, the rule                  groups might choose to read the rule in
                                                                                                                                                            DHS also anticipates that the final rule
                                              might result in reduced revenues for                    order to provide information to those
                                              healthcare providers participating in                                                                         will produce some benefits from the
                                                                                                      foreign-born non-citizens that might be
                                              Medicaid, companies that manufacture                                                                          elimination of Form I–864W. The
                                                                                                      affected by a reduction in federal and
                                              medical supplies or pharmaceuticals,                                                                          elimination of this form will potentially
                                                                                                      state transfer payments. Familiarization
                                              grocery retailers participating in SNAP,                                                                      reduce the number of forms USCIS
                                                                                                      costs incurred by those not directly
                                              agricultural producers who grow foods                                                                         would have to process. DHS estimates
                                                                                                      regulated are indirect costs.
                                              that are eligible for purchase using                       DHS estimates the time that would be               the amount of cost savings that will
                                              SNAP benefits, or landlords                             necessary to read this final rule would               accrue from eliminating Form I–864W
                                              participating in federally funded                       be approximately 16 to 20 hours per                   will be about $36.47 per petitioner.856
                                              housing programs.                                       person depending on an individual’s                   However, DHS is unable to determine
                                                 Additionally, the final rule will have               average reading speed and level of                    the annual number of filings of Form I–
                                              new direct and indirect impacts on                      review, resulting in opportunity costs of             864W and, therefore, currently is unable
                                              various entities and individuals                        time. An entity, such as a non-profit or              to estimate the total annual cost savings
                                              associated with regulatory                              advocacy group, may have more than                    of this change. Additionally, a public
                                              familiarization with the provisions of                  one person that reads the rule. Using the             charge bond process will also provide
                                              the rule. Familiarization costs involve                 average total rate of compensation as                 benefits to applicants as they potentially
                                              the time spent reading the details of a                 $36.47 per hour for all occupations,                  will be given the opportunity for
                                              rule to understand its changes. A                       DHS estimates that the opportunity cost               adjustment if otherwise admissible, at
                                              foreign-born non-citizen (such as those                 of time will range from about $583.52 to              the discretion of DHS, after a
                                              contemplating disenrollment or                          $729.40 per individual who must read                  determination that he or she is likely to
                                              foregoing enrollment in a public                        and review the final rule.                            become a public charge.
                                              benefits program) might review the rule                    The final rule will produce some                      Table 2 provides a more detailed
                                              to determine whether she or he is                       quantified benefits due to the regulatory             summary of the final provisions and
                                              subject to its provisions and may incur                 changes DHS is making. The final rule                 their impacts.

                                                                   TABLE 2—SUMMARY OF MAJOR PROVISIONS AND ECONOMIC IMPACTS OF THE FINAL RULE
                                                                Provision                                        Purpose                                       Expected impact of final rule

                                              Revising 8 CFR 212.18. Application for             To clarify that T nonimmigrants seeking        Quantitative:
                                                Waivers of Inadmissibility in connection           adjustment of status are not subject         Benefits:
                                                with an application for adjustment of              to public charge ground of inadmis-          • Benefits of $15,176 annually to T nonimmigrants apply-
                                                status by T nonimmigrant status hold-              sibility.                                      ing for adjustment of status who will no longer need to
                                                ers.                                                                                              submit Form I–601 seeking a waiver on public charge
                                              Revising 8 CFR 245.23. Adjustment of                                                                grounds of inadmissibility.
                                                aliens in T nonimmigrant classification.                                                        Costs:
                                                                                                                                                • None.
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                                              for October 1, 2016 through September 30, 2017, 80      nonimmigrants filing Form I–601 seeking a waiver        855 8U.S.C. 1601(2).
                                              FR 73779 (Nov. 25, 2015).                               of grounds of inadmissibility. Therefore, the           856 Calculation of savings from opportunity cost
                                                854 Calculation: $14,880 (Filing fees for Form I–     estimated total benefits of the final rule for T      of time for no longer having to complete and submit
                                                                                                      nonimmigrants applying for adjustment of status
                                              601) + $296.48 (Opportunity cost of time for Form                                                             Form I–864W: ($36.47 per hour * 1.0 hours) =
                                                                                                      using Form I–601 seeking a waiver on grounds of
                                              I–601) = $15,176.48 = $15,176 (rounded) total           inadmissibility will equal the current cost to file   $36.47.
                                              current estimated annual cost for filing T              Form I–601 for this population.



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                                                          TABLE 2—SUMMARY OF MAJOR PROVISIONS AND ECONOMIC IMPACTS OF THE FINAL RULE—Continued
                                                                Provision                                        Purpose                                       Expected impact of final rule

                                              Adding 8 CFR 212.20. Purpose and ap-               To define the categories of aliens that        Quantitative:
                                                plicability of public charge inadmis-              are subject to the public charge de-         Benefits:
                                                sibility.                                          termination.                                 • Benefits of $36.47 per applicant from no longer having to
                                              Adding 8 CFR 212.21. Definitions ...........       To establish key definitions, including          complete and file Form I–864W.
                                              Adding 8 CFR 212.22. Public charge de-               ‘‘public charge,’’ ‘‘public benefit,’’       Costs:
                                                termination.                                       ‘‘likely to become a public charge,’’        • DHS anticipates a likely increase in the number of deni-
                                                                                                   ‘‘household,’’ and ‘‘receipt of public         als for adjustment of status applicants based on public
                                                                                                   benefits.’’                                    charge inadmissibility determinations due to formalizing
                                                                                                 Clarifies that evaluating public charge          and standardizing the criteria and process for inadmis-
                                                                                                   is a prospective determination based           sibility determinations.
                                                                                                   on the totality of the circumstances.        Quantitative:
                                                                                                 Outlines minimum and additional fac-           Benefits:
                                                                                                   tors considered when evaluating              • Better ensure that aliens who are seeking admission to
                                                                                                   whether an alien immigrant is inad-            the United States or apply for adjustment of status are
                                                                                                   missible based on the public charge            self-sufficient through an improved review process of the
                                                                                                   ground. Positive and negative factors          mandatory statutory factors.
                                                                                                   are weighed to determine an individ-
                                                                                                   ual’s likelihood of becoming a public
                                                                                                   charge at any time in the future.
                                              Adding 8 CFR 212.23. Exemptions and                Outlines exemptions and waivers for in-
                                                waivers for public charge ground of in-            admissibility based on the public
                                                admissibility.                                     charge ground.

                                              Adding 8 CFR 214.1(a)(3)(iv) and                   To provide, with limited exceptions, that      Quantitative:
                                                amending 8 CFR 214.1(c)(4)(iv). Non-               an application for extension of stay         Costs:
                                                immigrant general requirements.                    or change of nonimmigrant status will        • $6.1 million annually for an increased time burden for
                                              Amending 8 CFR 248.1(a) and adding 8                 be denied unless the applicant dem-            completing and filing Form I–129;
                                                CFR 248.1(c)(4). Change of non-                    onstrates that he or she has not re-         • $0.12 million annually for an increased time burden for
                                                immigrant classification eligibility.              ceived public benefits since obtaining         completing and filing Form I–129CW;
                                                                                                   the nonimmigrant status that he or           • $2.4 million annually for an increased time burden for
                                                                                                   she is seeking to extend or change,            completing and filing Form I–539.
                                                                                                   as defined in final 8 CFR 212.21(b),         Quantitative:
                                                                                                   for 12 months, in the aggregate,             Benefits:
                                                                                                   within a 36 month period.                    • Better ensures that aliens who are seeking to extend or
                                                                                                                                                  change to a status that is not exempt from the section
                                                                                                                                                  212(a)(4) inadmissibility ground who apply for extension
                                                                                                                                                  of stay or change of status continue to be self-sufficient
                                                                                                                                                  during the duration of their nonimmigrant stay.

                                              Amending 8 CFR 245. Adjustment of sta-             To outline requirements that aliens            Quantitative:
                                               tus to that of person admitted for lawful           submit a declaration of self-suffi-          Direct Costs:
                                               permanent residence.                                ciency on the form designated by             • Total annual direct costs of the final rule will range from
                                                                                                   DHS and any other evidence re-                 about $45.5 to $131.2 million, including:
                                                                                                   quested by DHS in the public charge              • $25.8 million to applicants who must file Form I–
                                                                                                   inadmissibility determination.                      944;
                                                                                                                                                    • $0.69 million to applicants applying to adjust status
                                                                                                                                                       using Form I–485 with an increased time burden;
                                                                                                                                                    • $0.34 million to public charge bond obligors for filing
                                                                                                                                                       Form I–945; and
                                                                                                                                                    • $823.50 to filers for filing Form I–356.
                                                                                                                                                • Total costs over a 10-year period will range from:
                                                                                                                                                    • $352.0 million for undiscounted costs;
                                                                                                                                                    • $300.1 million at a 3 percent discount rate; and
                                                                                                                                                    • $247.2 million at a 7 percent discount rate.
                                                                                                                                                Transfer Payments
                                                                                                                                                • Total annual transfer payments of the final rule would be
                                                                                                                                                  about $2.47 billion from foreign-born non-citizens and
                                                                                                                                                  their households who disenroll from or forego enrollment
                                                                                                                                                  in public benefits programs. The federal-level share of
                                                                                                                                                  annual transfer payments will be about $1.46 billion and
                                                                                                                                                  the state-level share of annual transfer payments will be
                                                                                                                                                  about $1.01 billion.
                                                                                                                                                • Total transfer payments over a 10-year period, including
                                                                                                                                                  the combined federal- and state-level shares, will be:
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                                                                                                                                                    • $24.7 billion for undiscounted costs;
                                                                                                                                                    • $21.0 billion at a 3 percent discount rate; and
                                                                                                                                                    • $17.3 billion at a 7 percent discount rate.
                                                                                                                                                Quantitative:
                                                                                                                                                Benefits:
                                                                                                                                                • Potential to make USCIS’ in the review of public charge
                                                                                                                                                  inadmissibility more effective.
                                                                                                                                                Costs:



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                                                          TABLE 2—SUMMARY OF MAJOR PROVISIONS AND ECONOMIC IMPACTS OF THE FINAL RULE—Continued
                                                                Provision                                                        Purpose                                                         Expected impact of final rule

                                                                                                                                                                          • DHS anticipates a likely increase in the number of deni-
                                                                                                                                                                            als for adjustment of status applicants based on public
                                                                                                                                                                            charge inadmissibility determinations due to formalizing
                                                                                                                                                                            and standardizing the criteria and process for public
                                                                                                                                                                            charge determination.
                                                                                                                                                                          • Costs to various entities and individuals associated with
                                                                                                                                                                            regulatory familiarization with the provisions of the final
                                                                                                                                                                            rule. Costs will include the opportunity cost of time to
                                                                                                                                                                            read the final rule and subsequently determine applica-
                                                                                                                                                                            bility of the final rule’s provisions. DHS estimates that the
                                                                                                                                                                            time to read this final rule in its entirety would be 16 to
                                                                                                                                                                            20 hours per individual. DHS estimates that the oppor-
                                                                                                                                                                            tunity cost of time will range from about $583.52 to
                                                                                                                                                                            $729.40 per individual who must read and review the
                                                                                                                                                                            final rule. However, DHS cannot determine the number
                                                                                                                                                                            of individuals who will read the final rule.

                                                                                                                             Public Charge Bond Provisions

                                              Amending 8 CFR 103.6. Public charge                       To set forth the Secretary’s discretion                           Quantitative:
                                               bonds.                                                     to approve bonds, cancellation, bond                            Costs:
                                                                                                          schedules, and breach of bond, and                              • $34,166 annually to obligors for submitting Public
                                                                                                          to move principles governing public                               Charge Bond (Form I–945); and
                                                                                                          charge bonds to final 8 CFR 213.1.                              • $823.50 annually to filers for submitting Request for
                                                                                                                                                                            Cancellation of Public Charge Bond (Form I–356).
                                              Amending 8 CFR 103.7. Fees .................              To add fees for new Form I–945, Pub-                              • Fees paid to bond companies to secure public charge
                                                                                                          lic Charge Bond, and Form I–356,                                  bonds. Fees could range from 1–15 percent of the public
                                                                                                          Request for Cancellation of Public                                charge bond amount based on an individual’s credit
                                                                                                          Charge Bond.                                                      score.
                                              Amending 8 CFR 213.1. Admission or                        In 8 CFR 213.1, to add specifics to the                           Quantitative:
                                               adjustment of status of aliens on giving                   public charge bond provision for                                Benefits:
                                               of a public charge bond.                                   aliens who are seeking adjustment of                            • Potentially enable an alien who was found inadmissible
                                                                                                          status, including the discretionary                               only on the public charge ground to adjust his or her sta-
                                                                                                          availability and the minimum amount                               tus by posting a public charge bond with DHS.
                                                                                                          required for a public charge bond.
                                                 Source: USCIS analysis.


                                                DHS has prepared a full analysis                                1615–AA22 on www.regulations.gov. In                                         accounting statement showing the costs
                                              according to E.O.s 12866 and 13563,                               addition to the impacts summarized                                           associated with this final regulation.857
                                              and can be found in the docket for this                           above and as required by OMB Circular
                                              rulemaking or by searching for RIN                                A–4, Table 8 presents the prepared

                                                                                                         TABLE 8—OMB A–4 ACCOUNTING STATEMENT
                                                                                                                                             [$, 2018]

                                                         Category                             Primary estimate                                   Minimum estimate                                   Maximum estimate                            Source citation

                                                                                                                                           BENEFITS:

                                              Monetized Benefits ..............   The final rule will produce some benefits for T nonimmigrants applying for adjustment of status                                                               RIA.
                                                                                  based on their T nonimmigrant status, as this population will no longer need to submit Form I–
                                                                                  601 seeking a waiver on grounds of inadmissibility. DHS estimates the total benefits for this pop-
                                                                                  ulation is $15,176 annually.
                                                                                  Form I–485 applicants will no longer have to file Form I–864W. Benefits to applicants will be ap-
                                                                                  proximately $36.47 per petition based on the opportunity cost of time.

                                              Annualized quantified, but            .................................................   .................................................   .................................................   RIA.
                                                un-monetized, benefits.

                                              Unquantified Benefits ..........    The primary benefit of the final rule is to ensure that aliens who are admitted to the United                                                                 RIA.
                                                                                  States or apply for adjustment of status will not use or receive one or more public benefits for
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                                                                                  which they are entitled to receive, and instead, will rely on their financial resources, and those of
                                                                                  family members, sponsors, and private organizations.




                                               857 OMB Circular A–4 is available at https://

                                              www.whitehouse.gov/sites/whitehouse.gov/files/
                                              omb/circulars/A4/a-4.pdf.

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                                                                                        TABLE 8—OMB A–4 ACCOUNTING STATEMENT—Continued
                                                                                                                           [$, 2018]

                                                        Category                         Primary estimate                    Minimum estimate                    Maximum estimate       Source citation

                                                                                Potential to improve the efficiency for USCIS in the review process for public charge inadmis-
                                                                                sibility.

                                                                                                                           COSTS:

                                              Annualized monetized costs                (3%) $35,202,698                               N/A                               N/A            RIA.
                                                (discount rate in paren-                (7%) $35,202,698                               N/A                               N/A
                                                thesis).

                                              Annualized quantified, but        N/A.
                                                un-monetized, costs.
                                              Qualitative (unquantified)        DHS anticipates a likely increase in the number of denials for adjustment of status applicants          RIA.
                                                costs.                          based on public charge inadmissibility determinations due to formalizing and standardizing the
                                                                                criteria and process for public charge determination.
                                                                                Costs to various entities and individuals associated with regulatory familiarization with the provi-
                                                                                sions of the rule. Costs will include the opportunity cost of time to read the final rule and subse-
                                                                                quently determine applicability of the final rule’s provisions. DHS estimates that the time to read
                                                                                this final rule in its entirety would be 16 to 20 hours per individual. DHS estimates that the oppor-
                                                                                tunity cost of time will range from about $583.52 to $729.40 per individual who must read and re-
                                                                                view the final rule. However, DHS cannot determine the number of individuals who will read the
                                                                                final rule.
                                                                                Fees paid by aliens to obligors to secure public charge bond.
                                                                                Other qualitative, unquantified effects of the final rule could include:
                                                                                   • Potential lost productivity,
                                                                                   • Adverse health effects,
                                                                                   • Additional medical expenses due to delayed health care treatment, and
                                                                                   • Increased disability insurance claims
                                                                                   • Administrative changes to business processes such as reprogramming computer software
                                                                                and redesigning application forms and processing.

                                                                                                                        TRANSFERS:

                                              Annualized monetized trans-                ($1,455,724,086)                              N/A                               N/A            RIA.
                                                fers: ‘‘on budget’’.

                                              From whom to whom? ........       Reduction in transfer payments from the federal government to public benefits recipients who are        RIA.
                                                                                 members of households that include foreign-born non-citizens. This amount includes the esti-
                                                                                 mated federal-level shares of transfer payments to members of households that include for-
                                                                                 eign-born non-citizens.

                                              Annualized monetized trans-                ($1,011,604,874)                              N/A                               N/A
                                                fers: ‘‘off-budget’’.

                                                   From whom to whom?           Reduction in transfer payments from state governments to public benefits recipients who are
                                                                                members of households that include foreign-born non-citizens. This amount includes the esti-
                                                                                mated state-level shares of transfer payments to members of households that include foreign-
                                                                                born non-citizens. DHS estimates that the state-level share of transfer payments is 59 percent of
                                                                                the estimated amount of federal transfer payments. DHS estimates the annual federal-level
                                                                                share would be about $1.46 billion and the annual state-level share of transfer payments would
                                                                                be about $1.01 billion.
                                                      Miscellaneous                                                                  Effects                                            Source citation
                                                    analyses/category

                                              Effects on state, local, and/     DHS believes that the rule may have indirect effects on state, local, and/or tribal government, but     RIA.
                                                or tribal governments.           DHS does not know the full extent of the effect on state, local, and/or tribal governments.
                                                                                 There may be costs to various entities associated with familiarization of and compliance with
                                                                                 the provisions of the rule, including salaries and opportunity costs of time to monitor and un-
                                                                                 derstand regulation requirements, disseminate information, and develop or modify information
                                                                                 technology (IT) systems as needed. It may be necessary for many government agencies to
                                                                                 update guidance documents, forms, and webpages. It may be necessary to prepare training
                                                                                 materials and retrain staff at each level of government, which will require additional staff time
                                                                                 and will generate associated costs.
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                                              Effects on small businesses       DHS believes there may be some impacts to those small entities that file Form I–129 or Form I–          RIA.
                                                                                 129CW for beneficiaries that extend stay or change status. These petitioners will have an in-
                                                                                 crease in time burden for completing and filing Form I–129 or Form I–129CW and possibly
                                                                                 have labor turnover costs if the Form I–129 or Form I–129CW EOS/COS request is denied
                                                                                 and the beneficiary has to leave the United States or the Commonwealth of the Northern Mar-
                                                                                 iana Islands (CNMI), respectively. DHS also believes that some surety companies that are
                                                                                 small entities may be impacted by filing Form I–356. DHS estimates the total annual cost to
                                                                                 file Form I–356 will be about $823.50.



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                                                      Miscellaneous                                                                                      Effects                                                                             Source citation
                                                    analyses/category

                                              Effects on wages .................   None ..................................................................................................................................................   None.
                                              Effects on growth ................   None ..................................................................................................................................................   None.



                                              B. Regulatory Flexibility Act                                    129CW beneficiary, for whom a Form I–                                       obtaining the nonimmigrant status that
                                                 The Regulatory Flexibility Act of 1980                        129 or Form I–129CW petitioner (i.e.,                                       they wish to extend or change. This
                                              (RFA), 5 U.S.C. 601–612, as amended by                           the employer) sought either an                                              ‘‘public benefit condition’’ serves the
                                              the Small Business Regulatory                                    extension of stay or a change of status,                                    same policy goals as the rule generally.
                                              Enforcement Fairness Act of 1996,                                may have to leave the United States if                                      b. A statement of the significant issues
                                              Public Law 104–121 (March 29, 1996),                             the employer’s request was denied. In                                          raised by the public comments in
                                              imposes certain requirements on                                  these cases, the petitioner may lose the                                       response to the initial regulatory
                                              Federal agency rules that are subject to                         beneficiary as an employee and may                                             flexibility analysis, a statement of the
                                              the notice and comment requirements of                           incur labor turnover costs. DHS presents                                       assessment of the agency of such
                                              the APA, 5 U.S.C. 553(b), and are likely                         this Final Regulatory Flexibility                                              issues, and a statement of any changes
                                              to have a significant economic impact                            Analysis (FRFA) to examine these                                               made in the proposed rule as a result
                                              on a substantial number of small                                 impacts.                                                                       of such comments.
                                              entities. The RFA requires Federal                               1. Final Regulatory Flexibility Analysis                                       Comment: Some commenters stated
                                              agencies to consider the potential                                                                                                           that the rule will negatively impact
                                                                                                                  The small entities that could be                                         small businesses. An individual
                                              impact of regulations on small
                                                                                                               impacted by this final rule are those                                       commenter stated that the rule would
                                              businesses, small governmental
                                                                                                               who file Form I–129 or Form I–129CW                                         undercut small and mid-sized
                                              jurisdictions, and small organizations
                                                                                                               as petitioners on behalf of beneficiaries                                   businesses’ ability to manage their talent
                                              during the development of their rules.
                                                                                                               requesting an extension of stay or                                          pipelines. The commenter stated that
                                              The term ‘‘small entities’’ comprises
                                                                                                               change of status as well as obligors that                                   nearly 48 percent of private-sector
                                              small businesses, not-for-profit
                                                                                                               would request a cancellation of a public                                    workers in the United States are
                                              organizations that are independently
                                                                                                               charge bond.                                                                employed in these small and mid-sized
                                              owned and operated and are not
                                              dominant in their fields, or                                     a. A Statement of the Need for, and                                         businesses, and that small businesses
                                              governmental jurisdictions with                                  Objectives of, the Rule                                                     rely on strategic partnerships and
                                              populations of less than 50,000.858 This                                                                                                     related tools to ensure a strong talent
                                                                                                                  DHS seeks to better ensure that                                          pipeline of workers who are equipped
                                              final rule requires an individual seeking                        applicants for admission to the United
                                              admission at the port of entry or                                                                                                            with the skills they need. The
                                                                                                               States and applicants for adjustment of                                     commenter stated that the rule would
                                              adjusting status to establish that he or                         status to lawful permanent resident who
                                              she is not likely at any time in the future                                                                                                  penalize individuals who often draw
                                                                                                               are subject to the public charge ground                                     upon public benefits to support
                                              to become a public charge. Most of this                          of inadmissibility are self-sufficient, i.e.,
                                              rule’s regulatory changes do not fall                                                                                                        themselves or their families during their
                                                                                                               they will rely on their own financial                                       training period or even when they first
                                              under the RFA because they directly                              resources as well as the financial
                                              regulate individuals who are not, for                                                                                                        begin work. The commenter stated that
                                                                                                               resources of their family, sponsors, and                                    in view of currently low unemployment,
                                              purposes of the RFA, within the                                  private organizations as necessary.859
                                              definition of small entities established                                                                                                     employers need access to labor that is
                                                                                                               Under section 212(a)(4) of the Act, 8                                       able to attend training while still relying
                                              by 5 U.S.C. 601(6). However, DHS                                 U.S.C. 1182(a)(4), an alien is
                                              recognizes that there may be some                                                                                                            on public benefits programs to provide
                                                                                                               inadmissible if, at the time of an                                          for their families’ basic needs.
                                              provisions of this final rule that would                         application for admission or adjustment
                                              directly regulate small entities, and,                                                                                                          A commenter stated that the RFA
                                                                                                               of status, he or she is likely at any time                                  mandates that DHS consider more
                                              therefore, DHS has examined the impact                           to become a public charge. The statute                                      impacts than it has such as labor
                                              of this final rule on small entities.                            requires DHS to consider the following
                                                 This final rule would increase the                                                                                                        turnover costs, or reduced productivity
                                                                                                               minimum factors that reflect the                                            and educational attainment.
                                              time burden by an additional 30
                                                                                                               likelihood that an alien will become a                                         Response: DHS appreciates the
                                              minutes for petitioners who file Form I–
                                                                                                               public charge: The alien’s age; health;                                     comments regarding the effect of the
                                              129 or Form I–129CW on behalf of a
                                                                                                               family status; assets, resources, and                                       rule on small entities, including small
                                              beneficiary requesting an extension of
                                                                                                               financial status; and education and                                         business, and DHS’s RFA analysis. The
                                              stay or change of status, which would
                                                                                                               skills. In addition, DHS may consider                                       RFA analysis discusses and estimates
                                              impose direct costs on these petitioners.
                                                                                                               any affidavit of support submitted by                                       the potential direct costs that small
                                              Additionally, the provisions to establish
                                                                                                               the alien’s sponsor and any other factors                                   businesses could incur and explains the
                                              a public charge bond process included                                                                                                        limitations for providing a more
                                                                                                               relevant to the likelihood of the alien
                                              in this final rule would allow for either                                                                                                    thorough quantification of the potential
                                                                                                               becoming a public charge.
                                              an alien or an obligor (individual or an                            Separate from these requirements, as                                     costs to small businesses. Additionally,
                                              entity) to request a cancellation of a                           a condition for permitting extension of                                     the economic analysis that accompanies
                                              public bond. As a result, this final rule
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                                                                                                               stay or change of status for certain                                        this rule, which can be found in the rule
                                              could have direct impacts on small                               nonimmigrant aliens, this rule requires                                     docket at www.regulations.gov,
                                              entities that are obligors. DHS also                             such aliens (or their petitioning                                           discusses the direct and indirect effects
                                              recognizes that a Form I–129 or Form I–                          employer) to establish that they have                                       of the rule, including on small
                                                858 A small business is defined as any
                                                                                                               not received certain public benefits                                        businesses. Most of this rule’s regulatory
                                              independently owned and operated business not                    above a particular threshold since                                          effects, such as the effects described in
                                              dominant in its field that qualifies as a small                                                                                              the comment summary above, do not
                                              business per the Small Business Act, 15 U.S.C. 632.                 859 See   8 U.S.C. 1601(2).                                              fall under the RFA because they directly


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                                              regulate individuals who are not, for                   I–129CW on behalf of a beneficiary                     companies post public charge bonds
                                              purposes of the RFA, within the                         requesting an extension of stay or                     with USCIS, we can assume that four
                                              definition of small entities established                change of status, which would impose                   surety companies may be considered as
                                              by 5 U.S.C. 601(6). However, DHS                        direct costs on these petitioners and                  small entities. However, USCIS cannot
                                              recognizes that there may be some                       entities.861 As previously discussed in                predict the exact impact to these small
                                              provisions of this final rule that would                the E.O. 12866 section of this final rule,             entities at this time. We expect that
                                              directly regulate small entities, and,                  DHS estimates an annual population of                  obligors would be able to pass along the
                                              therefore, DHS has examined the impact                  336,335 beneficiaries seeking extension                costs of this rulemaking to the aliens.
                                              of this final rule on small entities.                   of stay or change of status through a                  e. A description of the projected
                                                 The primary effect on small entities is              petitioning employer using Form I–129.                    reporting, recordkeeping, and other
                                              that this rule will increase the time                   In addition, DHS estimates an annual                      compliance requirements of the rule,
                                              burden for petitioners who file Form I–                 population of 6,307 beneficiaries                         including an estimate of the classes of
                                              129 or Form I–129CW on behalf of a                      seeking extension of stay or change of                    small entities that will be subject to
                                              beneficiary requesting an extension of                  status through a petitioning employer                     the requirement and the type of
                                              stay or change of status, which would                   using Form I–129CW. DHS estimates                         professional skills necessary for
                                              impose direct costs on these petitioners                that the 30-minute increase in the                        preparation of the report or record.
                                              via opportunity costs of time. DHS also                 estimated time burden for these                           In addition to time burden costs
                                              recognizes that a Form I–129 or Form I–                 populations would increase the                         discussed in Section 4 of this FRFA,
                                              129CW beneficiary, for whom a Form I–                   opportunity cost of time for completing                DHS recognizes that a Form I–129 or
                                              129 or Form I–129CW petitioner (i.e.,                   and filing Form I–129 and Form I–                      Form I–129CW beneficiary, for whom a
                                              the employer) sought either an                          129CW and would result in about $6.1                   Form I–129 or Form I–129CW petitioner
                                              extension of stay or a change of status,                million and about $115,040 million in                  (i.e., the employer) sought either an
                                              may have to leave the United States if                  costs, respectively.                                   extension of stay or a change of status,
                                              the employer’s request was denied. In                      The provisions regarding the bond                   may have to leave the United States if
                                              these cases, the petitioner may lose the                process included in this final rule will               the employer’s request is denied. In
                                              beneficiary as an employee and may                      allow a surety company to become an                    these cases, the petitioner may lose the
                                              incur labor turnover costs. Additionally,               obligor on a public charge bond (Form                  beneficiary as an employee and may
                                              this rule could have direct impacts on                  I–945) and, later, to request a                        incur labor turnover costs. A 2012
                                              small entities as the provisions establish              cancellation of such a bond (Form I–                   report published by the Center for
                                              a public charge bond process included                   356). Therefore, this final rule could                 American Progress surveyed several
                                              in this final rule would allow for either               have some impacts to surety companies,                 dozen studies that considered both
                                              an alien or an obligor (individual or an                some of which are small entities. A                    direct and indirect costs and determined
                                              entity) to request a cancellation of a                  request for cancellation of a public bond              that turnover costs per employee ranged
                                              public bond.                                            using Form I–356 includes a time                       from 10 to 30 percent of the salary for
                                                 DHS believes it has considered all                   burden of 15 minutes per request and a
                                                                                                                                                             most salaried workers.864 An employer
                                              impacts that the RFA requires. The                      fee to DHS of $25.00. The number of
                                                                                                                                                             paid an average of about 20 percent of
                                              courts have held that the RFA requires                  surety bond companies that might
                                                                                                                                                             the worker’s salary in total labor
                                              an agency to perform a regulatory                       complete and file Forms I–945 and I–
                                                                                                                                                             turnover costs. Specifically, for workers
                                              flexibility analysis of small entity                    356 is not known due to a lack of
                                                                                                                                                             earning $50,000 or less, and for workers
                                              impacts only when a rule directly                       historical data and uncertainty in the
                                                                                                                                                             earning $75,000 or less, the average
                                              regulates them.860 However, DHS notes                   number individuals that may be granted
                                                                                                                                                             turnover cost was about 20 percent for
                                              that we have also considered other,                     the opportunity to post a public charge
                                                                                                                                                             both earning levels. According to the
                                              indirect impacts in the economic                        bond. However, DHS estimates that the
                                                                                                                                                             study, these earning levels
                                              analysis that accompanies this rule.                    filing volume for Form I–945 might be
                                                                                                      about 960 and the filing volume for                    corresponded to the 75th and 90th
                                              c. The response of the agency to any                                                                           percentiles of typical earnings,
                                                 comments filed by the Chief Counsel                  Form I–356 might be approximately 25.
                                                                                                      While DHS cannot predict the exact                     respectively. Assuming Form I–129 and
                                                 for Advocacy of the Small Business                                                                          Form I–129CW beneficiaries are
                                                 Administration in response to the                    number of surety companies that might
                                                                                                      be impacted by this final rule, nine out               employed, DHS believes it is reasonable
                                                 proposed rule, and a detailed                                                                               to assume an annual mean wage of
                                                 statement of any change made to the                  of 273 Treasury-certified surety
                                                                                                      companies in fiscal year 2015 posted                   $50,620 across all occupations.865
                                                 proposed rule in the final rule as a                                                                        Assuming an average labor turnover cost
                                                 result of the comments.                              new immigration bonds with ICE.862
                                                                                                      DHS found that of the nine surety                      of 20 percent of $50,620, on average, an
                                                 No comments were filed by the Chief                  companies, four entities were                          employer could incur costs of
                                              Counsel for Advocacy of the Small                       considered ‘‘small’’ based on the                      approximately $10,124 per beneficiary
                                              Business Administration (SBA).                          number of employees or revenue being
                                              d. A description of and an estimate of                  less than their respective SBA size                    American Industry Classification System (NAICS)
                                                 the number of small entities to which                                                                       Codes, October 1, 2017. https://www.sba.gov/sites/
                                                                                                      standard.863 Assuming these nine surety                default/files/files/Size_Standards_Table_2017.pdf
                                                 the rule will apply or an explanation                                                                       (Last visited July 26, 2019).
                                                 of why no such estimate is available.                  861 In the context of Form I–129, a petitioner is      864 See ‘‘There Are Significant Business Costs to

                                                 This final rule will increase the time               typically an employer or the representative of an      Replacing Employees,’’ by Heather Boushey and
                                                                                                      employer who files on behalf of a nonimmigrant         Sarah Jane Glynn (2012), Center for American
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                                              burden by an additional 30 minutes for                  worker (or beneficiary) to come to the United States   Progress, available: https://
                                              petitioners who file Form I–129 or Form                 temporarily to perform services or labor, or to        www.americanprogress.org/issues/economy/
                                                                                                      receive training. See https://www.uscis.gov/i-129.     reports/2012/11/16/44464/there-are-significant-
                                                 860 See U.S. Small Business Administration,            862 See DHS, Procedures and Standards for            business-costs-to-replacing-employees/ (last visited
                                              Office of Advocacy. The RFA in a Nutshell: A            Declining Surety Immigration Bonds and                 July 26, 2019).
                                              Condensed Guide to the Regulatory Flexibility Act.      Administrative Appeal Requirement for Breaches           865 Bureau of Labor Statistics, May 2017 National

                                              Oct. 2010. Available at: https://www.sba.gov/           NPRM, 83 FR 25951, 25962–25965 (June 5, 2018).         Occupational Employment and Wage Estimates, All
                                              advocacy/rfa-nutshell-condensed-guide-regulatory-         863 U.S. Small Business Administration, Table of     Occupations https://www.bls.gov/oes/2017/may/
                                              flexibility-act (Last visited July 25, 2019).           Small Business Size Standards Matched to North         oes_nat.htm (last visited July 26, 2019).



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                                              that would be separated from                            benefits for income maintenance and                   significantly or uniquely affect small
                                              employment as a result of a denied                      high-expenditure non-cash benefits.                   governments. Accordingly, the UMRA
                                              request for an extension of stay or                     DHS expects that, as compared to the                  requires no further agency action or
                                              change of status. However, DHS does                     broader alternative, the approach DHS                 analysis.
                                              not know the number of small entities                   decided to pursue may reduce the
                                                                                                                                                            E. Executive Order 13132 (Federalism)
                                              within this population of petitioners                   overall effect of the rule on transfers, but
                                              that might incur labor turnover costs.                  enhance its administrability and                        This final rule does not have
                                                 Additionally, DHS also recognizes                    predictability. Employers filing Forms                federalism implications because it does
                                              that a Form I–129 or Form I–129CW                       I–129 and I–129CW, and surety                         not have substantial direct effects on the
                                              beneficiary, for whom a Form I–129 or                   companies will have a better                          States, on the relationship between the
                                              Form I–129CW petitioner (i.e., the                      understanding of the types of non-cash                national government and the States, or
                                              employer) sought either an extension of                 benefits that may be covered under this               on the distribution of power and
                                              stay or a change of status and the                      final rule than they would under the                  responsibilities among the various
                                              request was denied, may still be able to                broader alternative, and may realize cost             levels of government. Accordingly, E.O.
                                              get a visa and return to the U.S.,                      savings as a result. In addition, certain             13132, Federalism, requires no further
                                              including pursuant to other means.                      indirect effects of the rule may be                   agency action or analysis.
                                                 DHS does not believe it would be                     different as a result of the decision to              F. Executive Order 12988 (Civil Justice
                                              necessary for Form I–129 or Form I–                     reject this alternative.
                                                                                                                                                            Reform)
                                              129CW petitioners, or for surety bond                      DHS has revised the final rule to
                                              companies (obligors) to acquire                         eliminate the future-looking aspect of                  This final rule was drafted and
                                              additional types of professional skills as              the public benefit condition, which will              reviewed in accordance with E.O.
                                              a result of this final rule. These                      reduce burden on small entities.                      12988, Civil Justice Reform. This final
                                              petitioners and obligors should already                                                                       rule was written to provide a clear legal
                                                                                                      C. Congressional Review Act                           standard for affected conduct and was
                                              possess the expertise to fill out the
                                              associated forms for this final rule.                      DHS has sent this final rule to the                carefully reviewed to eliminate drafting
                                              Additionally, these petitioners and                     Congress and to the Comptroller General               errors and ambiguities, so as to
                                              obligors would be familiar with the final               under the Congressional Review Act, 5                 minimize litigation and undue burden
                                              rule and such familiarization costs are                 U.S.C. 801 et seq. The Administrator of               on the Federal court system. DHS has
                                              accounted for the in the E.O. 12866                     the Office of Information and Regulatory              determined that this final rule meets the
                                              sections.                                               Affairs has determined that this rule is              applicable standards provided in
                                                                                                      a ‘‘major rule’’ within the meaning of                section 3 of E.O. 12988.
                                              f. Description of the steps the agency
                                                                                                      the Congressional Review Act. The rule
                                                 has taken to minimize the significant                                                                      G. Executive Order 13175 Consultation
                                                                                                      therefore requires at least a 60-day
                                                 economic impact on small entities                                                                          and Coordination With Indian Tribal
                                                                                                      delayed effective date.
                                                 consistent with the stated objectives                                                                      Governments
                                                 of applicable statutes, including a                  D. Unfunded Mandates Reform Act                         This final rule does not have ‘‘tribal
                                                 statement of factual, policy, and legal                 The Unfunded Mandates Reform Act                   implications’’ because it does not have
                                                 reasons for selecting the alternative                of 1995 (UMRA) is intended, among                     substantial direct effects on one or more
                                                 adopted in the final rule and why                    other things, to curb the practice of                 Indian tribes, on the relationship
                                                 each one of the other significant                    imposing unfunded Federal mandates                    between the Federal Government and
                                                 alternatives to the rule considered by               on State, local, and tribal governments.              Indian tribes, or on the distribution of
                                                 the agency which affect the impact on                Title II of UMRA requires each Federal                power and responsibilities between the
                                                 small entities was rejected.                         agency to prepare a written statement                 Federal Government and Indian tribes.
                                                 DHS considered a range of potential                  assessing the effects of any Federal                  Accordingly, E.O. 13175, Consultation
                                              alternatives to the final rule. First, under            mandate in a proposed or final agency                 and Coordination with Indian Tribal
                                              a ‘‘no action’’ alternative, DHS would                  rule that may directly result in a $100               Governments, requires no further
                                              continue administering the public                       million or more expenditure (adjusted                 agency action or analysis.
                                              charge ground of inadmissibility under                  annually for inflation) in any one year
                                              the 1999 Interim Field Guidance, and                    by State, local, and tribal governments,              H. Family Assessment
                                              would not impose a public benefit                       in the aggregate, or by the private sector.              Section 654 of the Treasury and
                                              condition for extension of stay and                     The inflation-adjusted value of $100                  General Government Appropriations
                                              change of status. For reasons explained                 million in 1995 is approximately $165                 Act, 1999 (Pub. L. 105–277) requires
                                              more fully elsewhere in the preamble to                 million in 2018 based on the Consumer                 Federal agencies to issue a Family
                                              the final rule, DHS determined that this                Price Index for All Urban Consumers                   Policymaking Assessment for any rule
                                              alternative would not adequately ensure                 (CPI–U).866                                           that may affect family well-being.
                                              the self-sufficiency of aliens subject to                  This final rule does not contain such              Agencies must assess whether the
                                              the public charge ground of                             a mandate as it does not include any                  regulatory action: (1) Impacts the
                                              inadmissibility. Second, DHS                            Federal mandate that may result in                    stability or safety of the family,
                                              considered including a more expansive                   increased expenditures by State, local,               particularly in terms of marital
                                              definition of ‘‘public benefit,’’                       or tribal governments; nor does it                    commitment; (2) impacts the authority
                                              potentially to include a range of non-                  increase private sector expenditures by               of parents in the education, nurture, and
                                              cash benefit programs falling in specific                                                                     supervision of their children; (3) helps
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                                                                                                      more than $165 million annually
                                              categories (such as other programs that                 (inflation adjusted); nor does it                     the family perform its functions; (4)
                                              provide assistance for basic food and                                                                         affects disposable income or poverty of
                                              nutrition, housing, and healthcare). For                  866 U.S. Bureau of Labor Statistics, Historical     families and children; (5) if the
                                              reasons explained more fully elsewhere                  Consumer Price Index for All Urban Consumers          regulatory action financially impacts
                                                                                                      (CPI–U): U.S. City Average, All Items, available at
                                              in the preamble to the final rule, DHS                  https://www.bls.gov/cpi/tables/supplemental-files/
                                                                                                                                                            families, are justified; (6) may be carried
                                              chose the approach contained in this                    historical-cpi-u-201902.pdf (last visited April 25,   out by State or local government or by
                                              final rule—a more limited list of cash                  2019).                                                the family; and (7) establishes a policy


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                                              concerning the relationship between the                 significant effect on the human                       extend or change, public benefits for a
                                              behavior and personal responsibility of                 environment and, therefore, do not                    duration of more than 12 months in the
                                              youth and the norms of society. If the                  require an Environmental Assessment                   aggregate within a 36-month period. As
                                              determination is affirmative, then the                  (EA) or Environmental Impact                          discussed in detail above, this final rule
                                              Agency must prepare an impact                           Statement (EIS). 40 CFR                               establishes a definition of public charge
                                              assessment to address criteria specified                1507.3(b)(1)(iii), 1508.4. DHS                        and expands the types of public benefits
                                              in the law. As discussed in the                         Instruction 023–01–001 Rev. 01                        that DHS would consider as part of its
                                              NPRM,867 DHS has determined that the                    establishes such Categorical Exclusions               public charge inadmissibility
                                              rule may decrease disposable income                     that DHS has found to have no such                    determinations. The final rule also
                                              and increase the poverty of certain                     effect. Inst. 023–01–001 Rev. 01                      proposes to establish a regulatory
                                              families and children, including U.S.                   Appendix A Table 1. For an action to be               framework based on the statutory factors
                                              citizen children. DHS continues to be of                categorically excluded, DHS Inst. 023–                that must be considered in public
                                              the opinion that the benefits of the                    01–001 Rev. 01 requires the action to                 charge determinations, including
                                              action justify the financial impact on the              satisfy each of the following three                   enhanced evidentiary requirements for
                                              family. Additionally, because the final                 conditions:                                           public charge inadmissibility
                                              rule considers public benefits for                         (1) The entire action clearly fits                 determinations by USCIS. Finally, the
                                              purposes of the inadmissibility                         within one or more of the Categorical                 final rule revises the public charge bond
                                              determination that were not considered                  Exclusions;                                           process. Overall, the final rule requires
                                              under the 1999 Interim Field Guidance,                     (2) the action is not a piece of a larger          an in-depth adjudication that may result
                                              DHS determined that the aliens found                    action; and                                           in additional findings of inadmissibility,
                                              inadmissible under section 212(a)(4) of                    (3) no extraordinary circumstances                 ineligibility for adjustment of status on
                                              the Act, 8 U.S.C. 1182(a)(4), will likely               exist that create the potential for a                 public charge grounds, or denials of
                                              increase. However, given the compelling                 significant environmental effect.                     requests for extension of stay or change
                                              need for this rulemaking, including but                 Inst. 023–01–001 Rev. 01 section                      of status based on the public benefit
                                              not limited to ensuring self-sufficiency                V.B(1)–(3).                                           condition.
                                              and minimizing the incentive to                                                                                  DHS cannot estimate with any degree
                                              immigrate based on the U.S. social                         DHS has analyzed this action and has
                                                                                                      concluded that NEPA does not apply                    of certainty the extent to which any
                                              safety net, DHS determined that this                                                                          potentially increased findings of
                                              rulemaking’s impact is justified and no                 due to the excessively speculative
                                                                                                      nature of any effort to conduct an                    inadmissibility on public charge
                                              further actions are required. DHS also                                                                        grounds would result in fewer
                                              determined that this final rule will not                impact analysis. This final rule fits
                                                                                                      within the Categorical Exclusion found                individuals being admitted to the
                                              have any impact on the autonomy or                                                                            United States. DHS is similarly unable
                                              integrity of the family as an institution.              in DHS Inst. 023–01–001 Rev. 01,
                                                                                                      Appendix A, Table 1, number A3(d):                    to estimate the extent to which there
                                              I. National Environmental Policy Act                    ‘‘Promulgation of rules . . . that                    would be an increased denial of
                                              (NEPA)                                                  interpret or amend an existing                        applications for extension of stay or
                                                                                                      regulation without changing its                       change of status. Even if DHS could
                                                 DHS analyzes actions to determine
                                                                                                      environmental effect.’’ This final rule is            estimate any of these numerical effects,
                                              whether NEPA applies to them and if so
                                                                                                      not part of a larger action. This final rule          any assessment of derivative
                                              what degree of analysis is required. DHS
                                                                                                      presents no extraordinary circumstances               environmental effect at the national
                                              Directive (Dir) 023–01 Rev. 01 and
                                                                                                      creating the potential for significant                level would be unduly speculative. This
                                              Instruction Manual (Inst.) 023–01–001
                                                                                                      environmental effects. Therefore, this                final rule is not part of a larger action.
                                              Rev. 01 establish the procedures that
                                                                                                      final rule is categorically excluded from             This final rule presents no extraordinary
                                              DHS and its components use to comply
                                                                                                      further NEPA review.                                  circumstances creating the potential for
                                              with NEPA and the Council on
                                                                                                         This final rule applies to applicants              significant environmental effects.
                                              Environmental Quality (CEQ)
                                                                                                      for admission or adjustment of status, as             Therefore, this final rule is categorically
                                              regulations for implementing NEPA, 40
                                                                                                      long as the individual is applying for an             excluded from further NEPA review.
                                              CFR parts 1500 through 1508. The CEQ
                                              regulations allow Federal agencies to                   immigration status that is subject to the             J. Paperwork Reduction Act
                                              establish, with CEQ review and                          public charge ground of inadmissibility.
                                                                                                      In addition, this final rule would                       Under the PRA, all Departments are
                                              concurrence, categories of actions
                                                                                                      potentially affect individuals applying               required to submit to OMB, for review
                                              (‘‘categorical exclusions’’) which
                                                                                                      for an extension of stay or change of                 and approval, any reporting
                                              experience has shown do not
                                                                                                      status because these individuals would                requirements inherent in a rule. See
                                              individually or cumulatively have a
                                                                                                      have to demonstrate that they have not                Public Law 104–13, 109 Stat. 163 (May
                                                867 See Inadmissibility on Public Charge Grounds,     received, since obtaining the                         22, 1995). Table 9 below is a listing of
                                              83 FR 51114, 51277 (proposed Oct. 10, 2018).            nonimmigrant status they are seeking to               all forms impacted by this rule.
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                                                                                                                 TABLE 9—SUMMARY OF FORMS
                                                                                            New or updated              General purpose of                                                       Applicability to
                                                 Form              Form name                                                                             General categories filing
                                                                                                forms                         form                                                              public charge rule

                                              I–944 .......    Declaration of Self-      New ........................   This form is used to     Anyone who is subject to a public             This form is the pri-
                                                                Sufficiency.                                              demonstrate that         charge inadmissibility determination.         mary basis for de-
                                                                                                                          an alien is not          See Tables 2–7 for a full list.               termining whether
                                                                                                                          likely to become a                                                     an applicant is in-
                                                                                                                          public charge.                                                         admissible on
                                                                                                                                                                                                 public charge
                                                                                                                                                                                                 grounds, as it
                                                                                                                                                                                                 asks questions
                                                                                                                                                                                                 about the factors
                                                                                                                                                                                                 considered.
                                              I–356 .......    Request for Can-          Update—Previously              This form is used to     An obligor who posted Form I–945 on           This form is used to
                                                                cellation of a Pub-        discontinued.                  request cancella-        the alien’s behalf or an alien who            seek cancellation
                                                                lic Charge Bond.                                          tion of the bond         posted Form I–945 posted on his or            of the Form I–945
                                                                                                                          that was sub-            her own behalf, and who seeks to              the criteria as
                                                                                                                          mitted on Form I–        cancel Form I–945 because the alien           provided in the
                                                                                                                          945, Public              has permanently departed the United           rule.
                                                                                                                          Charge Bond, on          States, naturalized, or died; the obli-
                                                                                                                          behalf of an alien.      gor or the alien seeks cancellation of
                                                                                                                                                   the bond following the alien’s fifth an-
                                                                                                                                                   niversary of admission to the United
                                                                                                                                                   States as a lawful permanent resident;
                                                                                                                                                   or the alien, following the initial grant
                                                                                                                                                   of lawful permanent resident status,
                                                                                                                                                   obtains an immigration status that is
                                                                                                                                                   exempt from the public charge ground
                                                                                                                                                   of inadmissibility.
                                              I–945 .......    Public Charge Bond        New ........................   This form is the         For aliens inadmissible only based on         If an alien seeking
                                                                                                                          bond contract be-        public charge and who are permitted            adjustment of sta-
                                                                                                                          tween USCIS and          to post bond. The form is completed            tus has been
                                                                                                                          the obligor.             by the obligor, who posts the bond on          found inadmis-
                                                                                                                                                   the alien’s behalf.                            sible he or she
                                                                                                                                                                                                  may be admitted
                                                                                                                                                                                                  to the United
                                                                                                                                                                                                  States upon the
                                                                                                                                                                                                  posting of a suit-
                                                                                                                                                                                                  able and proper a
                                                                                                                                                                                                  bond at the dis-
                                                                                                                                                                                                  cretion of DHS.
                                              I–485 .......    Application to Reg-       Update—adds                    This form is used by     For aliens applying for adjustment of         Adjustment of status
                                                                 ister Permanent          questions and in-               aliens present in        status including: Immediate relatives          applicants gen-
                                                                 Residence or Ad-         structions to clar-             the United States        (spouses, children, and parents of             erally must be ad-
                                                                 just Status.             ify what cat-                   to obtain lawful         U.S. citizens) Family-based immi-              missible, including
                                                                                          egories need to                 permanent resi-          grants (principal beneficiaries and            with regard to the
                                                                                          file Form I–944                 dent status..            their dependents) Employment-based             public charge in-
                                                                                          and Form I–864.                                          immigrants (principal beneficiaries and        admissibility
                                                                                                                                                   their dependents) Those who entered            ground.
                                                                                                                                                   as Ks (Fiance(e)s or certain spouses
                                                                                                                                                   of U.S. citizens, and their children)
                                                                                                                                                   who are seeking lawful permanent
                                                                                                                                                   resident status based on the primary
                                                                                                                                                   beneficiary’s marriage to the U.S. cit-
                                                                                                                                                   izen petitioner.
                                              I–864 .......    Affidavit of Support      Update—reference               Statement/contract       Most family-based immigrants and some         The affidavit of sup-
                                                                 Under Section            to Form I–864W,                 provided by a            employment-based immigrants must              port, when re-
                                                                 213A of the INA.         which is being                  sponsor to show          have a sponsor submit this form. See          quired, is part of
                                                                                          discontinued.                   that the sponsor         additional Tables 2–7 for a full list.        the public charge
                                                                                                                          has adequate fi-                                                       inadmissibility de-
                                                                                                                          nancial resources                                                      termination.
                                                                                                                          to support the
                                                                                                                          alien.
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                                                                                                     TABLE 9—SUMMARY OF FORMS—Continued
                                                                                            New or updated         General purpose of                                                        Applicability to
                                                 Form              Form name                                                                          General categories filing
                                                                                                forms                    form                                                               public charge rule

                                              I–864EZ ...      Affidavit of Support      Update—reference          Statement/contract        The sponsor is the person who filed or        The affidavit of sup-
                                                                 Under Section            to Form I–864W,            provided by spon-          is filing Form I–130, Petition for Alien     port, when re-
                                                                 213A of the Act.         which is being             sor to show that           Relative, for a relative being spon-         quired, is part of
                                                                                          discontinued.              the sponsor has            sored; the relative the sponsor is           the public charge
                                                                                                                     adequate financial         sponsoring is the only person listed         inadmissibility de-
                                                                                                                     resources to sup-          on Form I–130; and the income the            termination.
                                                                                                                     port the alien.            sponsor is using to qualify is based
                                                                                                                     This is a simpler          entirely on the sponsor’s salary or
                                                                                                                     version of Form            pension and is shown on one or more
                                                                                                                     I–864.                     Internal Revenue Service (IRS) Form
                                                                                                                                                W–2s provided by the sponsor’s em-
                                                                                                                                                ployers or former employers.
                                              I–864W ....      Request for Exemp-        Discontinued—infor-       Certain classes of        Aliens who have earned 40 quarters of         Although some peo-
                                                                tion for Intending         mation incor-             immigrants are             SSA coverage. Children who will be-          ple may be ex-
                                                                Immigrant’s Affi-          porated into Form         exempt from the            come U.S. citizens upon entry or ad-         empt from the af-
                                                                davit of Support.          I–485.                    affidavit of sup-          justment into the United States under        fidavit of support
                                                                                                                     port, Form I–864,          INA 320. Self-Petitioning Widow(er)          requirement, the
                                                                                                                     requirement and            Form I–360, Petition for Amerasian,          person may still
                                                                                                                     therefore must file        Widow(er) or Special Immigrant; Self-        be subject to pub-
                                                                                                                     Form I–864W in-            Petitioning bettered spouse or child.        lic charge.
                                                                                                                     stead.
                                              I–129 .......    Petition for Non-         Update—adds               This form issued by       • E–2 CNMI—treaty investor exclusively        As a condition of
                                                                 immigrant Worker.        questions and in-          an employer to            in the Commonwealth of the Northern           granting exten-
                                                                                          structions about           petition USCIS for        Mariana Islands (CNMI).                       sion of stay and
                                                                                          receipt of public          an alien bene-          • H–1B—specialty occupation worker;             change of status,
                                                                                          benefits.                  ficiary to come           an alien coming to perform services of        the applicant
                                                                                                                     temporarily to the        an exceptional nature that relate to a        must show that
                                                                                                                     United States as          U.S. Department of Defense-adminis-           he or she has not
                                                                                                                     a nonimmigrant to         tered project; or a fashion model of          received, since
                                                                                                                     perform services          distinguished merit and ability.              obtaining the non-
                                                                                                                     or labor, or to re-     • H–2A—temporary agricultural worker            immigrant status
                                                                                                                     ceive training.         • H–2B—temporary            nonagricultural     he or she is seek-
                                                                                                                     This form is also         worker.                                       ing to extend or
                                                                                                                     used by certain         • H–3—trainee                                   change public
                                                                                                                     nonimmigrants to        • L–1—intracompany transferee                   benefits, as de-
                                                                                                                     apply for EOS or        • O–1—alien of extraordinary ability in         fined in 8 CFR
                                                                                                                     COS.                      arts, science, education, business, or        212.21(b), for
                                                                                                                                               athletics.                                    more than 12
                                                                                                                                             • O–2—accompanying alien who is                 months in the ag-
                                                                                                                                               coming to the United States to assist         gregate, within a
                                                                                                                                               in the artistic or athletic performance       36-month period.
                                                                                                                                               of an O–1 artist or athlete.
                                                                                                                                             • P–1—major league sports
                                                                                                                                             • P–1—internationally recognized ath-
                                                                                                                                               lete/entertainment group.
                                                                                                                                             • P–1S—essential support personnel for
                                                                                                                                               a P–1.
                                                                                                                                             • P–2—artist/entertainer in reciprocal
                                                                                                                                               exchange program.
                                                                                                                                             • P–2S—essential support personnel for
                                                                                                                                               a P–2.
                                                                                                                                             • P–3—artist/entertainer coming to the
                                                                                                                                               United States to perform, teach, or
                                                                                                                                               coach under a program that is cul-
                                                                                                                                               turally unique.
                                                                                                                                             • P–3S—essential support personnel for
                                                                                                                                               a P–3.
                                                                                                                                             • Q–1—alien coming temporarily to par-
                                                                                                                                               ticipate in an international cultural ex-
                                                                                                                                               change program. Extension of Status.
                                                                                                                                             • E–1—treaty trader
                                                                                                                                             • E–2—treaty investor (not including E–
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                                                                                                                                               2 CNMI treaty investors).
                                                                                                                                             • E–3—Free Trade Agreement profes-
                                                                                                                                               sionals from Australia. Free Trade
                                                                                                                                               Nonimmigrants—H–1B1 specialty oc-
                                                                                                                                               cupation workers from Chile or Singa-
                                                                                                                                               pore and TN professionals from Can-
                                                                                                                                               ada or Mexico.
                                                                                                                                             • R–1—religious worker



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                                                                                                           TABLE 9—SUMMARY OF FORMS—Continued
                                                                                                   New or updated        General purpose of                                                                    Applicability to
                                                 Form               Form name                                                                                         General categories filing
                                                                                                       forms                   form                                                                           public charge rule

                                              I–129CW          Petition for a CNMI-              Update—adds             .................................    This form is used by an employer to re-        As a condition of
                                                                 Only Non-                         questions and in-                                            quest an extension of stay or change           granting exten-
                                                                 immigrant Transi-                 structions about                                             of status for a Commonwealth of the            sion of stay and
                                                                 tional Worker.                    receipt of public                                            Northern Mariana Islands (CNMI) tem-           change of status,
                                                                                                   benefits.                                                    porarily to perform services or labor          the applicant
                                                                                                                                                                as a CW–1, CNMI-Only Transitional              must show that
                                                                                                                                                                Worker.                                        he or she has not
                                                                                                                                                                                                               received, since
                                                                                                                                                                                                               obtaining the non-
                                                                                                                                                                                                               immigrant status
                                                                                                                                                                                                               he or she is seek-
                                                                                                                                                                                                               ing to extend or
                                                                                                                                                                                                               change public
                                                                                                                                                                                                               benefits, as de-
                                                                                                                                                                                                               fined in 8 CFR
                                                                                                                                                                                                               212.21(b), for
                                                                                                                                                                                                               more than 12
                                                                                                                                                                                                               months in the ag-
                                                                                                                                                                                                               gregate within a
                                                                                                                                                                                                               36-month period.
                                              I–539 .......    Application to Ex-                Update—adds             This form is used by                 CNMI residents applying for an initial         As a condition of
                                                                 tend/Change                      questions and in-        certain non-                        grant of status; Student (F) and voca-          granting exten-
                                                                 Nonimmigrant                     structions about         immigrants (prin-                   tional students (M) applying for rein-          sion of stay and
                                                                 Status.                          receipt of public        cipal filers) to                    statement; and Persons seeking V                change of status,
                                                                                                  benefits for prin-       apply for an ex-                    nonimmigrant status or an extension             the applicant
                                                                                                  cipal aliens.            tension of stay or                  of stay as a V nonimmigrant (spouse             must show that
                                                                                                                           change of status.                   or child of a lawful permanent resident         he or she has not
                                                                                                                           In certain cir-                     who filed a petition on or before De-           received since
                                                                                                                           cumstances, this                    cember 21, 2000).                               obtaining the non-
                                                                                                                           form may be used                                                                    immigrant status
                                                                                                                           as an initial non-                                                                  he or she is seek-
                                                                                                                           immigrant status,                                                                   ing to extend or
                                                                                                                           or reinstatement                                                                    from which he or
                                                                                                                           of F–1 or M–1                                                                       she is seeking to
                                                                                                                           status (students).                                                                  change public
                                                                                                                                                                                                               benefits, as de-
                                                                                                                                                                                                               fined in 8 CFR
                                                                                                                                                                                                               212.21(b), for
                                                                                                                                                                                                               more than 12
                                                                                                                                                                                                               months in the ag-
                                                                                                                                                                                                               gregate within a
                                                                                                                                                                                                               36-month period.
                                              I–539A .....        ............................   Update—adds             This form is used by                 Co-Applicants of I–539 principal filers ....   As a condition of
                                                                                                  questions and in-        certain non-                                                                        granting exten-
                                                                                                  structions about         immigrants (co-                                                                     sion of stay and
                                                                                                  receipt of public        applicants of the                                                                   change of status,
                                                                                                  benefits by co-ap-       primary I–539 ap-                                                                   the co-applicant
                                                                                                  plicants of I–539        plicants) to apply                                                                  must show that
                                                                                                  applicants.              for an extension                                                                    he or she has not
                                                                                                                           of stay or change                                                                   received, since
                                                                                                                           of status.                                                                          obtaining the non-
                                                                                                                                                                                                               immigrant status
                                                                                                                                                                                                               he or she is seek-
                                                                                                                                                                                                               ing to extend or
                                                                                                                                                                                                               from which he or
                                                                                                                                                                                                               she is seeking to
                                                                                                                                                                                                               change, public
                                                                                                                                                                                                               benefits, as de-
                                                                                                                                                                                                               fined in 8 CFR
                                                                                                                                                                                                               212.21(b), for
                                                                                                                                                                                                               more than 12
                                                                                                                                                                                                               months in the ag-
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                                                                                                                                                                                                               gregate within a
                                                                                                                                                                                                               36-month period.




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                                                                                                    TABLE 9—SUMMARY OF FORMS—Continued
                                                                                           New or updated         General purpose of                                                     Applicability to
                                                 Form              Form name                                                                         General categories filing
                                                                                               forms                    form                                                            public charge rule

                                              I–912 .......    Request for Fee          Update—provides a         This form may be          Certain Form I–485 applicants, generally   A request of a fee
                                                                Waiver.                  notice that a re-          filed with certain        those who are not subject to the pub-      waiver is a factor
                                                                                         quest for a fee            USCIS applica-            lic charge ground of inadmissibility       in the determina-
                                                                                         waiver may be a            tions, petitions,         and those applying under certain hu-       tion of Public
                                                                                         factor in the pub-         and requests in           manitarian programs, may request a         Charge.
                                                                                         lic charge deter-          order to request a        fee waiver on Form I–912. Applicants
                                                                                         mination.                  fee waiver.               for E–2 CNMI investor nonimmigrant
                                                                                                                                              status under 8 CFR 214.2(e)(23) filing
                                                                                                                                              Form I–129 or Form I–539 may re-
                                                                                                                                              quest a fee waiver..
                                              I–407 .......    Record of Abandon-       No changes ............   This form is used to      An alien who wants to record the vol-      If a public charge
                                                                ment of Lawful                                      record an alien’s         untary abandonment of his or her law-       bond has been
                                                                Permanent Resi-                                     abandonment of            ful permanent resident status.              posted on the
                                                                dent Status.                                        status as a lawful                                                    alien’s behalf, the
                                                                                                                    permanent resi-                                                       obligor or the
                                                                                                                    dent in the United                                                    alien may request
                                                                                                                    States.                                                               that the bond be
                                                                                                                                                                                          cancelled be-
                                                                                                                                                                                          cause the alien
                                                                                                                                                                                          permanently de-
                                                                                                                                                                                          parted the United
                                                                                                                                                                                          States. The alien
                                                                                                                                                                                          shows that he or
                                                                                                                                                                                          she voluntarily
                                                                                                                                                                                          abandoned his or
                                                                                                                                                                                          her status by sub-
                                                                                                                                                                                          mitting proof that
                                                                                                                                                                                          he or she exe-
                                                                                                                                                                                          cuted Form I–407
                                                                                                                                                                                          and that he or
                                                                                                                                                                                          she physically de-
                                                                                                                                                                                          parted the United
                                                                                                                                                                                          States.
                                              I–693 .......    Report of Medical        No changes ............   This form is used to      Generally, adjustment of status appli-     Form I–693 is used
                                                                Examination and                                     report results of        cants are required to submit Form I–         as part of the
                                                                Vaccination                                         an immigration           693. Nonimmigrants seeking a change          health factor to
                                                                Record.                                             medical examina-         or extension of status are generally         identify medical
                                                                                                                    tion performed by        not required to submit Form I–693,           conditions that
                                                                                                                    a civil surgeon to       except for nonimmigrants seeking a           will affect an ap-
                                                                                                                    USCIS..                  change of status to spouse of legal          plicant’s ability to
                                                                                                                                             permanent resident (V) status. See           provide and care
                                                                                                                                             table in https://www.uscis.gov/policy        for himself or her-
                                                                                                                                             manual/HTML/PolicyManual-Volume8-            self, to attend
                                                                                                                                             PartB-Chapter3.html.                         school or to work.



                                                 To conform with the requirements set                  abstract: Primary: Individuals or                     charge, the declarant may need to
                                              forth by the PRA, on October 10, 2018,                   households. USCIS will require an                     provide additional evidence to
                                              at 83 FR 51114, USCIS requested                          individual applying to adjust status to               overcome this determination.
                                              comments on the following information                    lawful permanent residence (Form I–                     (5) An estimate of the total number of
                                              collection. USCIS did receive comments                   485) and who is subject to the public                 respondents and the amount of time
                                              on some of these information collections                 charge ground of inadmissibility to file              estimated for an average respondent to
                                              after publishing that notice. USCIS                      Form I–944. The data collected on these               respond: The estimated total number of
                                              responded to these comments above in                     forms will be used by USCIS to                        respondents for the information
                                              Section III. At this time, the following                                                                       collection I–944 is 382,264 and the
                                                                                                       determine the likelihood of a declarant
                                              forms are not open for comment.                                                                                estimated hour burden per response is
                                                                                                       becoming a public charge based on the
                                                                                                                                                             4.5 hours.
                                              USCIS Form I–944                                         factors regarding age; health; family                   (6) An estimate of the total public
                                                (1) Type of Information Collection                     status; assets, resources, and financial              burden (in hours) associated with the
                                              Request: New Collection.                                 status; and education and skills. The                 collection: The total estimated annual
                                                                                                       information collection serves the
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                                                (2) Title of the Form/Collection:                                                                            hour burden associated with this
                                              Declaration of Self-Sufficiency.                         purpose of standardizing public charge                collection is 1,720,188 hours.
                                                (3) Agency form number, if any, and                    evaluation metrics and ensures that                     (7) An estimate of the total public
                                              the applicable component of the DHS                      declarants provide all essential                      burden (in cost) associated with the
                                              sponsoring the collection: Form I–944;                   information required for USCIS to assess              collection: The estimated total annual
                                              USCIS.                                                   self-sufficiency and adjudicate the                   cost burden associated with this
                                                (4) Affected public who will be asked                  declaration. If USCIS determines that a               collection of information is
                                              or required to respond, as well as a brief               declarant is likely to become a public                $177,943,892.


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                                              USCIS Form I–356                                        adjustment of status to that of a lawful                (6) An estimate of the total public
                                                 (1) Type of Information Collection                   permanent resident. An acceptable                     burden (in hours) associated with the
                                              Request: New Collection.                                surety is generally any company listed                collection: The total estimated annual
                                                 (2) Title of the Form/Collection:                    on the Department of the Treasury’s                   hour burden associated with this
                                              Request for Cancellation of Public                      Listing of Approved Sureties                          collection is 2,885,243 hours.
                                                                                                      (Department Circular 570) in effect on                  (7) An estimate of the total public
                                              Charge Bond.
                                                                                                      the date the bond is requested or an                  burden (in cost) associated with the
                                                 (3) Agency form number, if any, and
                                                                                                      individual or an entity that deposits                 collection: The estimated total annual
                                              the applicable component of the DHS
                                                                                                      cash or a cash equivalent, such as a                  cost burden associated with this
                                              sponsoring the collection: Form I–356;
                                                                                                      cashier’s check or money order for the                collection of information is
                                              USCIS.
                                                                                                      full value of the bond.                               $131,116,552.
                                                 (4) Affected public who will be asked
                                              or required to respond, as well as a brief                (5) An estimate of the total number of              USCIS Forms I–864; I–864A; I–864EZ
                                              abstract: Primary: Individuals or                       respondents and the amount of time
                                                                                                      estimated for an average respondent to                   (1) Type of Information Collection
                                              household, business or other for profits.                                                                     Request: Revision of a Currently
                                              The alien (on whose behalf a public                     respond: The estimated total number of
                                                                                                      respondents for the information                       Approved Collection.
                                              charge bond has been posted) or the                                                                              (2) Title of the Form/Collection:
                                              obligor (surety) (who is the obligor who                collection I–945 is 960 and the
                                                                                                                                                            Affidavit of Support Under Section
                                              posted a bond on the alien’s behalf). The               estimated hour burden per response is
                                                                                                                                                            213A of the INA; Contract Between
                                              form is used to request cancellation of                 one hour.
                                                                                                                                                            Sponsor and Household Member;
                                              the public charge bond because of the                     (6) An estimate of the total public                 Affidavit of Support under Section 213
                                              alien’s naturalization, permanent                       burden (in hours) associated with the                 of the Act.
                                              departure, or death. The form is also                   collection: The total estimated annual                   (3) Agency form number, if any, and
                                              used by the alien or the obligor to                     hour burden associated with this                      the applicable component of the DHS
                                              request cancellation of the public charge               collection is 960 hours.                              sponsoring the collection: Form I–864;
                                              bond upon the fifth anniversary of the                    (7) An estimate of the total public                 Form I–864A; and Form I–864EZ;
                                              alien’s admission to the United States as               burden (in cost) associated with the                  USCIS.
                                              a lawful permanent resident.                            collection: The estimated total annual                   (4) Affected public who will be asked
                                                 (5) An estimate of the total number of               cost burden associated with this                      or required to respond, as well as a brief
                                              respondents and the amount of time                      collection of information is $0.                      abstract: Primary: Individuals or
                                              estimated for an average respondent to                  USCIS Form I–485                                      households. Form I–864: USCIS uses the
                                              respond: The estimated total number of                                                                        data collected on Form I–864 to
                                              respondents for the information                            (1) Type of Information Collection                 determine whether the sponsor has the
                                              collection I–356 is 25 and the estimated                Request: Revision of a Currently                      ability to support the sponsored alien
                                              hour burden per response is 0.75 hour.                  Approved Collection.                                  under section 213A of the INA. This
                                                 (6) An estimate of the total public                     (2) Title of the Form/Collection:                  form standardizes evaluation of a
                                              burden (in hours) associated with the                   Application to Register Permanent                     sponsor’s ability to support the
                                              collection: The total estimated annual                  Residence or Adjust Status.                           sponsored alien and ensures that basic
                                              hour burden associated with this                           (3) Agency form number, if any, and                information required to assess eligibility
                                              collection is 19 hours.                                 the applicable component of the DHS                   is provided by petitioners. The
                                                 (7) An estimate of the total public                  sponsoring the collection: Form I–485;                information collection required on Form
                                              burden (in cost) associated with the                    Supplement A; and Supplement J;                       I–864A is necessary for public benefit
                                              collection: The estimated total annual                  USCIS.                                                agencies to enforce the affidavit of
                                              cost burden associated with this                           (4) Affected public who will be asked              support in the event the sponsor used
                                              collection of information is $6,250.                    or required to respond, as well as a brief            income of his or her household
                                                                                                      abstract: Primary: Individuals or                     members to reach the required income
                                              USCIS Form I–945                                        households. The information collected                 level and the public benefit agencies are
                                                (1) Type of Information Collection                    is used to determine eligibility to adjust            requesting reimbursement from the
                                              Request: New Collection.                                status under section 245 of the INA.                  sponsor. Form I–864A: Form I–864A is
                                                (2) Title of the Form/Collection:                        (5) An estimate of the total number of             a contract between the sponsor and the
                                              Public Charge Bond.                                     respondents and the amount of time                    sponsor’s household members. It is only
                                                (3) Agency form number, if any, and                   estimated for an average respondent to                required if the sponsor used income of
                                              the applicable component of the DHS                     respond: The estimated total number of                his or her household members to reach
                                              sponsoring the collection: Form I–945;                  respondents for the information                       the required 125 percent of the FPG.
                                              USCIS.                                                  collection I–485 is 382,264 and the                   The contract holds these household
                                                (4) Affected public who will be asked                 estimated hour burden per response is                 members jointly and severally liable for
                                              or required to respond, as well as a brief              6.42 hours. The estimated total number                the support of the sponsored immigrant.
                                              abstract: Primary: Individuals or                       of respondents for the information                    The information collection required on
                                              households, business or other for profit.               collection Supplement A is 36,000 and                 Form I–864A is necessary for public
                                              In certain instances, a surety bond, or                 the estimated hour burden per response                benefit agencies to enforce the affidavit
                                              cash or any cash equivalent and contract                is 1.25 hours. The estimated total                    of support in the event the sponsor used
                                              to secure the bond, can be posted on                    number of respondents for the                         income of his or her household
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                                              behalf of the alien to guarantee a set of               information collection Supplement J is                members to reach the required income
                                              conditions set by the Government                        28,309 and the estimated hour burden                  level and the public benefit agencies are
                                              concerning an alien, i.e., that the alien               per response is one hour. The estimated               requesting reimbursement from the
                                              will not become a public charge as                      total number of respondents for the                   sponsor. Form I–864EZ: USCIS uses
                                              defined in 8 CFR 212.21 because he or                   information collection of Biometrics is               Form I– 864EZ in exactly the same way
                                              she will not receive public benefits, as                305,811 and the estimated hour burden                 as Form I–864; however, USCIS collects
                                              defined in the rule, after the alien’s                  per response is 1.17 hours.                           less information from the sponsors as


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                                              less information is needed from those                     (5) An estimate of the total number of              sponsoring the collection: Form I–
                                              who qualify in order to make an                         respondents and the amount of time                    129CW; USCIS.
                                              adjudication.                                           estimated for an average respondent to                   (4) Affected public who will be asked
                                                (5) An estimate of the total number of                respond: The estimated total number of                or required to respond, as well as a brief
                                              respondents and the amount of time                      respondents for the information                       abstract: Primary: Business or other for
                                              estimated for an average respondent to                  collection I–129 is 552,000 and the                   profit. USCIS uses the data collected on
                                              respond: The estimated total number of                  estimated hour burden per response is                 this form to determine eligibility for the
                                              respondents for the information                         2.84 hours. The estimated total number                requested immigration benefits. An
                                              collection I–864 is 453,345 and the                     of respondents for the information                    employer uses this form to petition
                                              estimated hour burden per response is                   collection I–129, E–1/E–2 Classification              USCIS for an alien to temporarily enter
                                              6 hours. The estimated total number of                  Supplement is 4,760 and the estimated                 as a nonimmigrant into the CNMI to
                                              respondents for the information                         hour burden per response is 0.67 hours.               perform services or labor as a CNMI-
                                              collection I–864A is 215,800 and the                    The estimated total number of                         Only Transitional Worker (CW–1). An
                                              estimated hour burden per response is                   respondents for the information                       employer also uses this form to request
                                              1.75 hours. The estimated total number                  collection I–129, Trade Agreement                     an extension of stay or change of status
                                              of respondents for the information                      Supplement is 3,057 and the estimated                 on behalf of the alien worker. The form
                                              collection I–864EZ is 100,000 and the                   hour burden per response is 0.67 hours.               serves the purpose of standardizing
                                              estimated hour burden per response is                   The estimated total number of                         requests for these benefits, and ensuring
                                              2.5 hours.                                              respondents for the information                       that the basic information required to
                                                (6) An estimate of the total public                   collection I–129, H Classification                    determine eligibility, is provided by the
                                              burden (in hours) associated with the                   Supplement is 255,872 and the                         petitioners. USCIS collects biometrics
                                              collection: The total estimated annual                  estimated hour burden per response is                 from aliens present in the CNMI at the
                                              hour burden associated with this                        two hours. The estimated total number                 time of requesting initial grant of CW–
                                              collection is 3,347,720 hours.                          of respondents for the information                    1 status. The information is used to
                                                (7) An estimate of the total public                   collection I–129, H–1B and H–1B1 Data                 verify the alien’s identity, background
                                              burden (in cost) associated with the                    Collection and Filing Fee Exemption                   information and ultimately adjudicate
                                              collection: The estimated total annual                  Supplement is 243,965 and the                         their request for CW–1 status.
                                              cost burden associated with this                        estimated hour burden per response is                    (5) An estimate of the total number of
                                              collection of information is                            one hour. The estimated total number of               respondents and the amount of time
                                              $135,569,525.                                           respondents for the information                       estimated for an average respondent to
                                              USCIS Form I–129                                        collection I–129, L Classification                    respond: The estimated total number of
                                                                                                      Supplement is 37,831 and the estimated                respondents for the information
                                                (1) Type of Information Collection                    hour burden per response is 1.34 hours.               collection I–129CW is 3,749 and the
                                              Request: Revision of a Currently                        The estimated total number of                         estimated hour burden per response is
                                              Approved Collection.                                    respondents for the information                       3.5 hours.
                                                (2) Title of the Form/Collection:                     collection I–129, O and P Classifications                (6) An estimate of the total public
                                              Petition for Nonimmigrant Worker.                       Supplement is 22,710 and the estimated                burden (in hours) associated with the
                                                (3) Agency form number, if any, and                   hour burden per response is one hour.                 collection: The total estimated annual
                                              the applicable component of the DHS                     The estimated total number of                         hour burden associated with this
                                              sponsoring the collection: Form I–129;                  respondents for the information                       collection is 13,122 hours.
                                              USCIS.                                                  collection I–129, Q–1 Classification                     (7) An estimate of the total public
                                                (4) Affected public who will be asked
                                                                                                      Supplement is 155 and the estimated                   burden (in cost) associated with the
                                              or required to respond, as well as a brief
                                                                                                      hour burden per response is 0.34 hours.               collection: The estimated total annual
                                              abstract: Primary: Business or other for-
                                                                                                      The estimated total number of                         cost burden associated with this
                                              profit. USCIS uses the data collected on
                                                                                                      respondents for the information                       collection of information is $459,253.
                                              this form to determine eligibility for the
                                                                                                      collection I–129, R–1 Classification is
                                              requested nonimmigrant petition and/or                                                                        USCIS Form I–539 and Form I–539A
                                                                                                      6,635 and the estimated hour burden
                                              requests to extend or change                                                                                    (1) Type of Information Collection
                                                                                                      per response is 2.34 hours.
                                              nonimmigrant status. An employer (or                      (6) An estimate of the total public                 Request: Revision of a Currently
                                              agent, where applicable) uses this form                 burden (in hours) associated with the                 Approved Collection.
                                              to petition USCIS for an alien to                       collection: The total estimated annual                  (2) Title of the Form/Collection:
                                              temporarily enter as a nonimmigrant.                    hour burden associated with this                      Application to Extend/Change
                                              An employer (or agent, where                            collection is 2,417,609 hours.                        Nonimmigrant Status.
                                              applicable) also uses this form to                        (7) An estimate of the total public                   (3) Agency form number, if any, and
                                              request an extension of stay or change                  burden (in cost) associated with the                  the applicable component of the DHS
                                              of status on behalf of the alien worker.                collection: The estimated total annual                sponsoring the collection: Form I–539;
                                              The form serves the purpose of                          cost burden associated with this                      USCIS.
                                              standardizing requests for                              collection of information is                            (4) Affected public who will be asked
                                              nonimmigrant workers, and ensuring                      $132,368,220.                                         or required to respond, as well as a brief
                                              that basic information required for                                                                           abstract: Primary: Individuals or
                                              assessing eligibility is provided by the                USCIS Form I–129CW                                    households. This form will be used for
                                              petitioner while requesting that
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                                                                                                        (1) Type of Information Collection                  nonimmigrants to apply for an
                                              beneficiaries be classified under certain               Request: Revision of a Currently                      extension of stay, for a change to
                                              nonimmigrant employment categories. It                  Approved Collection.                                  another nonimmigrant classification, or
                                              also assists USCIS in compiling                           (2) Title of the Form/Collection:                   for obtaining V nonimmigrant
                                              information required by Congress                        Petition for a CNMI-Only Nonimmigrant                 classification.
                                              annually to assess effectiveness and                    Transitional Worker.                                    (5) An estimate of the total number of
                                              utilization of certain nonimmigrant                       (3) Agency form number, if any, and                 respondents and the amount of time
                                              classifications.                                        the applicable component of the DHS                   estimated for an average respondent to


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                                              respond: The estimated total number of                  the form or instructions and does not                 bonds posted in immigration cases must
                                              respondents for the information                         impact the number of respondents, time                be executed on the forms designated by
                                              collection Form I–539 paper filers is                   or cost burden. This form is currently                DHS, a copy of which, and any rider
                                              174,289 and the estimated hour burden                   approved by OMB under the PRA. The                    attached thereto, must be furnished to
                                              per response is two hours. The                          OMB control number for this                           the obligor. DHS is authorized to
                                              estimated total number of respondents                   information collection is 1615–0033.                  approve a bond, a formal agreement for
                                              for the information collection Form I–                                                                        the extension of liability of surety, a
                                                                                                      V. List of Subjects and Regulatory
                                              539 e-filers is 74,696 and the estimated                                                                      request for delivery of collateral security
                                                                                                      Amendments
                                              hour burden per response is 1.08 hours.                                                                       to a duly appointed and undischarged
                                              The estimated total number of                           List of Subjects                                      administrator or executor of the estate of
                                              respondents for the information                                                                               a deceased depositor, and a power of
                                                                                                      8 CFR Part 103
                                              collection I–539A is 54,375 and the                                                                           attorney executed on the form
                                              estimated hour burden per response is                     Administrative practice and                         designated by DHS, if any. All other
                                              0.5 hour. The estimated total number of                 procedure, Authority delegations                      matters relating to bonds, including a
                                              respondents for the information                         (Government agencies), Freedom of                     power of attorney not executed on the
                                              collection of Biometrics is 248,985 and                 information, Immigration, Privacy,                    form designated by DHS and a request
                                              the estimated hour burden per response                  Reporting and recordkeeping                           for delivery of collateral security to
                                              is 1.17 hours.                                          requirements, Surety bonds.                           other than the depositor or his or her
                                                 (6) An estimate of the total public                                                                        approved attorney in fact, will be
                                                                                                      8 CFR Part 212
                                              burden (in hours) associated with the                                                                         forwarded to the appropriate office for
                                              collection: The total estimated annual                    Administrative practice and                         approval.
                                              hour burden associated with this                        procedure, Aliens, Immigration,                          (2) Bond riders—(i) General. A bond
                                              collection is 747,974 hours.                            Passports and visas, Reporting and                    rider must be prepared on the form(s)
                                                 (7) An estimate of the total public                  recordkeeping requirements.                           designated by DHS, and attached to the
                                              burden (in cost) associated with the                    8 CFR Part 213                                        bond. If a condition to be included in
                                              collection: The estimated total annual                                                                        a bond is not on the original bond, a
                                              cost burden associated with this                          Immigration, Surety bonds.
                                                                                                                                                            rider containing the condition must be
                                              collection of information is $56,121,219.               8 CFR Part 214                                        executed.
                                              USCIS Form I–912                                          Administrative practice and                         *      *    *     *     *
                                                Under the PRA DHS is required to                      procedure, Aliens, Cultural exchange                     (c) * * *
                                                                                                      programs, Employment, Foreign                            (1) Public charge bonds. Special rules
                                              submit to OMB, for review and
                                                                                                      officials, Health professions, Reporting              for the cancellation of public charge
                                              approval, covered reporting
                                                                                                      and recordkeeping requirements,                       bonds are described in 8 CFR 213.1.
                                              requirements inherent in a rule. This
                                              rule will require non-substantive edits                 Students.                                             *      *    *     *     *
                                              to USCIS Form I–912, Request for Fee                                                                             (d) * * *
                                                                                                      8 CFR Part 245                                           (3) Public charge bonds. The
                                              Waiver. These edits make clear to those
                                              who request fee waivers that an                           Aliens, Immigration, Reporting and                  threshold bond amount for public
                                              approved fee waiver can negatively                      recordkeeping requirements.                           charge bonds is set forth in 8 CFR 213.1.
                                              impact eligibility for an immigration                   8 CFR Part 248                                           (e) Breach of bond. Breach of public
                                              benefit that is subject to the public                                                                         charge bonds is governed by 8 CFR
                                                                                                         Aliens, Reporting and recordkeeping                213.1. For other immigration bonds, a
                                              charge inadmissibility determination.                   requirements.
                                              Accordingly, USCIS has submitted a                                                                            bond is breached when there has been
                                              PRA Change Worksheet, Form OMB 83–                         Accordingly, DHS amends chapter I of               a substantial violation of the stipulated
                                              C, and amended information collection                   title 8 of the Code of Federal                        conditions. A final determination that a
                                              instrument to OMB for review and                        Regulations as follows:                               bond has been breached creates a claim
                                              approval in accordance with the PRA.                                                                          in favor of the United States which may
                                                                                                      PART 103—IMMIGRATION BENEFITS;                        not be released by the officer. DHS will
                                              USCIS Form I–407                                        BIOMETRIC REQUIREMENTS;                               determine whether a bond has been
                                                Under the PRA, DHS is required to                     AVAILABILITY OF RECORDS                               breached. If DHS determines that a bond
                                              submit to OMB, for review and                           ■ 1. The authority citation for part 103              has been breached, it will notify the
                                              approval, covered reporting                             continues to read as follows:                         obligor of the decision, the reasons
                                              requirements inherent in a rule. This                                                                         therefor, and inform the obligor of the
                                              rule requires the use of USCIS Form I–                    Authority: 5 U.S.C. 301, 552, 552a; 8               right to appeal the decision in
                                                                                                      U.S.C. 1101, 1103, 1304, 1356, 1365b; 31              accordance with the provisions of this
                                              407 but does not require any changes to                 U.S.C. 9701; Public Law 107–296, 116 Stat.
                                              the form or instructions and does not                   2135 (6 U.S.C. 1 et seq.); E.O. 12356, 47 FR
                                                                                                                                                            part.
                                              impact the number of respondents, time                  14874, 15557, 3 CFR, 1982 Comp., p.166; 8             ■ 3. Section 103.7 is amended by adding
                                              or cost burden. This form is currently                  CFR part 2; Pub. L. 112–54.                           paragraphs (b)(1)(i)(LLL) and (MMM) to
                                              approved by OMB under the PRA. The                      ■ 2. Section 103.6 is amended by:                     read as follows:
                                              OMB control number for this                               a. Revising paragraphs (a)(1), (a)(2)(i),
                                              information collection is 1615–0130.                                                                          § 103.7    Fees.
                                                                                                      and (c)(1);
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                                                                                                      ■ b. Adding paragraph (d)(3); and                     *     *     *   *    *
                                              USCIS Form I–693                                                                                                (b) * * *
                                                                                                      ■ c. Revising paragraph (e) The
                                                Under the PRA, DHS is required to                     revisions and additions read as follows:                (1) * * *
                                              submit to OMB, for review and                                                                                   (i) * * *
                                              approval, covered reporting                             § 103.6 Surety bonds.                                   (LLL) Public Charge Bond, Form I–
                                              requirements inherent in a rule. This                     (a) * * *                                           945. $25.
                                              rule requires the use of USCIS Form I–                    (1) Extension agreements; consent of                  (MMM) Request for Cancellation of
                                              693 but does not require any changes to                 surety; collateral security. All surety               Public Charge Bond, Form I–356. $25.


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                                              PART 212—DOCUMENTARY                                       (a) Public Charge. Public charge                      (i) Enlisted in the U.S. Armed Forces
                                              REQUIREMENTS: NONIMMIGRANTS;                            means an alien who receives one or                    under the authority of 10 U.S.C.
                                              WAIVERS; ADMISSION OF CERTAIN                           more public benefits, as defined in                   504(b)(1)(B) or 10 U.S.C. 504(b)(2), or
                                              INADMISSIBLE ALIENS; PAROLE                             paragraph (b) of this section, for more                  (ii) Serving in active duty or in the
                                                                                                      than 12 months in the aggregate within                Ready Reserve component of the U.S.
                                              ■ 4. The authority citation for part 212                any 36-month period (such that, for                   Armed Forces, or
                                              continues to read as follows:                           instance, receipt of two benefits in one                 (iii) Is the spouse or child, as defined
                                                Authority: 6 U.S.C. 111, 202(4) and 271;              month counts as two months).                          in section 101(b) of the Act, of an alien
                                              8 U.S.C. 1101 and note, 1102, 1103, 1182 and               (b) Public benefit. Public benefit                 described in paragraphs (b)(7)(i) or (ii)
                                              note, 1184, 1185 note (section 7209 of Pub.             means:                                                of this section.
                                              L. 108–458), 1187, 1223, 1225, 1226, 1227,                 (1) Any Federal, State, local, or tribal              (8) In a subsequent adjudication for a
                                              1255, 1359; 8 CFR part 2.                               cash assistance for income maintenance                benefit for which the public charge
                                              ■ 5. Amend § 212.18 by revising                         (other than tax credits), including:                  ground of inadmissibility applies,
                                              paragraph (b)(2) and (3) to read as                        (i) Supplemental Security Income                   public benefits, as defined in this
                                              follows:                                                (SSI), 42 U.S.C. 1381 et seq.;                        section, do not include any public
                                                                                                         (ii) Temporary Assistance for Needy                benefits received by an alien during
                                              § 212.18 Application for Waivers of                                                                           periods in which the alien was present
                                                                                                      Families (TANF), 42 U.S.C. 601 et seq.;
                                              inadmissibility in connection with an                                                                         in the United States in an immigration
                                              application for adjustment of status by T               or
                                                                                                         (iii) Federal, State or local cash                 category that is exempt from the public
                                              nonimmigrant status holders
                                                                                                      benefit programs for income                           charge ground of inadmissibility, as set
                                              *      *      *    *     *                                                                                    forth in 8 CFR 212.23(a), or for which
                                                 (b) * * *                                            maintenance (often called ‘‘General
                                                                                                      Assistance’’ in the State context, but                the alien received a waiver of public
                                                 (2) If an applicant is inadmissible                                                                        charge inadmissibility, as set forth in 8
                                              under section 212(a)(1) of the Act,                     which also exist under other names);
                                                                                                      and                                                   CFR 212.23(b).
                                              USCIS may waive such inadmissibility                                                                             (9) Public benefits, as defined in this
                                              if it determines that granting a waiver is                 (2) Supplemental Nutrition Assistance
                                                                                                      Program (SNAP), 7 U.S.C. 2011 to                      section, do not include any public
                                              in the national interest.                                                                                     benefits that were or will be received
                                                 (3) If any other applicable provision of             2036c;
                                                                                                         (3) Section 8 Housing Assistance                   by—
                                              section 212(a) renders the applicant                                                                             (i) Children of U.S. citizens whose
                                              inadmissible, USCIS may grant a waiver                  under the Housing Choice Voucher
                                                                                                                                                            lawful admission for permanent
                                              of inadmissibility if the activities                    Program, as administered by HUD under
                                                                                                                                                            residence and subsequent residence in
                                              rendering the alien inadmissible were                   42 U.S.C. 1437f;
                                                                                                                                                            the legal and physical custody of their
                                              caused by or were incident to the                          (4) Section 8 Project-Based Rental
                                                                                                                                                            U.S. citizen parent will result
                                              victimization and USCIS determines                      Assistance (including Moderate
                                                                                                                                                            automatically in the child’s acquisition
                                              that it is in the national interest to waive            Rehabilitation) under Section 8 of the
                                                                                                                                                            of citizenship, upon meeting the
                                              the applicable ground or grounds of                     U.S. Housing Act of 1937 (42 U.S.C.
                                                                                                                                                            eligibility criteria of section 320(a)–(b)
                                              inadmissibility.                                        1437f); and
                                                                                                                                                            of the Act, in accordance with 8 CFR
                                              ■ 6. Add §§ 212.20 through 212.23 to                       (5) Medicaid under 42 U.S.C. 1396 et
                                                                                                                                                            part 320; or
                                              read as follows:                                        seq., except for:                                        (ii) Children of U.S. citizens whose
                                              Sec.                                                       (i) Benefits received for an emergency             lawful admission for permanent
                                              *      *     *       *      *                           medical condition as described in 42                  residence will result automatically in
                                              212.20 Applicability of public charge                   U.S.C. 1396b(v)(2)–(3), 42 CFR                        the child’s acquisition of citizenship
                                                  inadmissibility.                                    440.255(c);                                           upon finalization of adoption (if the
                                              212.21 Definitions.                                        (ii) Services or benefits funded by                child satisfies the requirements
                                              212.22 Public charge inadmissibility                    Medicaid but provided under the                       applicable to adopted children under
                                                  determination.                                      Individuals with Disabilities Education
                                              212.23 Exemptions and waivers for public
                                                                                                                                                            INA 101(b)(1)), in the United States by
                                                                                                      Act (IDEA) 20 U.S.C. 1400 et seq.;                    the U.S. citizen parent(s), upon meeting
                                                  charge ground of inadmissibility.                      (iii) School-based services or benefits            the eligibility criteria of section 320(a)–
                                              § 212.20 Applicability of public charge                 provided to individuals who are at or                 (b) of the Act, in accordance with 8 CFR
                                              inadmissibility.                                        below the oldest age eligible for                     part 320; or
                                                8 CFR 212.20 through 212.23 address                   secondary education as determined                        (iii) Children of U.S. citizens who are
                                              the public charge ground of                             under State or local law;                             entering the United States for the
                                              inadmissibility under section 212(a)(4)                    (iv) Benefits received by an alien                 purpose of attending an interview under
                                              of the Act. Unless the alien requesting                 under 21 years of age, or a woman                     section 322 of the Act in accordance
                                              the immigration benefit or classification               during pregnancy (and during the 60-                  with 8 CFR part 322.
                                              has been exempted from section                          day period beginning on the last day of                  (c) Likely at any time to become a
                                              212(a)(4) of the Act as listed in 8 CFR                 the pregnancy).                                       public charge. Likely at any time to
                                              212.23(a), the provisions of §§ 212.20                     (6) Public Housing under section 9 of              become a public charge means more
                                              through 212.23 of this part apply to an                 the U.S. Housing Act of 1937.                         likely than not at any time in the future
                                              applicant for admission or adjustment of                   (7) Public benefits, as defined in                 to become a public charge, as defined in
                                              status to lawful permanent resident, if                 paragraphs (b)(1) through (b)(6) of this              212.21(a), based on the totality of the
                                                                                                      section, do not include any public
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                                              the application is postmarked (or, if                                                                         alien’s circumstances.
                                              applicable, submitted electronically) on                benefits received by an alien who at the                 (d) Alien’s household. For purposes of
                                              or after October 15, 2019.                              time of receipt of the public benefit, or             public charge inadmissibility
                                                                                                      at the time of filing or adjudication of              determinations under section 212(a)(4)
                                              § 212.21   Definitions.                                 the application for admission or                      of the Act:
                                                For the purposes of 8 CFR 212.20                      adjustment of status, or application or                  (1) If the alien is 21 years of age or
                                              through 212.23, the following                           request for extension of stay or change               older, or under the age of 21 and
                                              definitions apply:                                      of status is—                                         married, the alien’s household includes:


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                                                 (i) The alien;                                       least 50 percent of the other children’s              consideration of the alien’s age; health;
                                                 (ii) The alien’s spouse, if physically               financial support, as evidenced by a                  family status; education and skills; and
                                              residing with the alien;                                child support order or agreement, a                   assets, resources, and financial status, as
                                                 (iii) The alien’s children, as defined in            custody order or agreement, or any other              follows:
                                              101(b)(1) of the Act, physically residing               order or agreement specifying the                        (1) The alien’s age—(i) Standard.
                                              with the alien;                                         amount of financial support to be                     When considering an alien’s age, DHS
                                                 (iv) The alien’s other children, as                  provided by the parents or legal                      will consider whether the alien’s age
                                              defined in section 101(b)(1) of the Act,                guardians; and                                        makes the alien more likely than not to
                                              not physically residing with the alien                     (vii) Any other individual(s) to whom              become a public charge at any time in
                                              for whom the alien provides or is                       the alien’s parents or legal guardians                the future, such as by impacting the
                                              required to provide at least 50 percent                 provide, or are required to provide at                alien’s ability to work, including
                                              of the children’s financial support, as                 least 50 percent of such individual’s                 whether the alien is between the age of
                                              evidenced by a child support order or                   financial support or who is listed as a               18 and the minimum ‘‘early retirement
                                              agreement a custody order or agreement,                 dependent on the parent’s or legal                    age’’ for Social Security set forth in 42
                                              or any other order or agreement                         guardian’s federal income tax return.                 U.S.C. 416(l)(2).
                                              specifying the amount of financial                         (e) Receipt of public benefits. Receipt               (ii) [Reserved]
                                              support to be provided by the alien;                    of public benefits occurs when a public                  (2) The alien’s health—(i) Standard.
                                                 (v) Any other individuals (including a               benefit-granting agency provides a                    DHS will consider whether the alien’s
                                              spouse not physically residing with the                 public benefit, as defined in paragraph               health makes the alien more likely than
                                              alien) to whom the alien provides, or is                (b) of this section, to an alien as a                 not to become a public charge at any
                                              required to provide, at least 50 percent                beneficiary, whether in the form of cash,             time in the future, including whether
                                              of the individual’s financial support or                voucher, services, or insurance                       the alien has been diagnosed with a
                                              who are listed as dependents on the                     coverage. Applying for a public benefit               medical condition that is likely to
                                              alien’s federal income tax return; and                  does not constitute receipt of public                 require extensive medical treatment or
                                                 (vi) Any individual who provides to                  benefits although it may suggest a                    institutionalization or that will interfere
                                              the alien at least 50 percent of the                    likelihood of future receipt. Certification           with the alien’s ability to provide and
                                              alien’s financial support, or who lists                 for future receipt of a public benefit                care for himself or herself, to attend
                                              the alien as a dependent on his or her                  does not constitute receipt of public                 school, or to work upon admission or
                                              federal income tax return.                              benefits, although it may suggest a                   adjustment of status.
                                                 (2) If the alien is a child as defined in            likelihood of future receipt. An alien’s                 (ii) Evidence. USCIS’ consideration
                                              section 101(b)(1) of the Act, the alien’s               receipt of, application for, or                       includes but is not limited to the
                                              household includes the following                        certification for public benefits solely on           following:
                                              individuals:                                            behalf of another individual does not
                                                 (i) The alien;                                                                                                (A) A report of an immigration
                                                                                                      constitute receipt of, application for, or            medical examination performed by a
                                                 (ii) The alien’s children as defined in              certification for such alien.
                                              section 101(b)(1) of the Act physically                                                                       civil surgeon or panel physician where
                                                                                                         (f) Primary caregiver means an alien               such examination is required (to which
                                              residing with the alien;                                who is 18 years of age or older and has
                                                 (iii) The alien’s other children as                                                                        USCIS will generally defer absent
                                                                                                      significant responsibility for actively               evidence that such report is
                                              defined in section 101(b)(1) of the Act                 caring for and managing the well-being
                                              not physically residing with the alien                                                                        incomplete); or
                                                                                                      of a child or an elderly, ill, or disabled               (B) Evidence of a medical condition
                                              for whom the alien provides or is                       person in the alien’s household.
                                              required to provide at least 50 percent                                                                       that is likely to require extensive
                                              of the children’s financial support, as                 § 212.22 Public charge inadmissibility                medical treatment or institutionalization
                                              evidenced by a child support order or                   determination.                                        or that will interfere with the alien’s
                                              agreement, a custody order or                              This section relates to the public                 ability to provide and care for himself
                                              agreement, or any other order or                        charge ground of inadmissibility under                or herself, to attend school, or to work
                                              agreement specifying the amount of                      section 212(a)(4) of the Act.                         upon admission or adjustment of status.
                                              financial support to be provided by the                    (a) Prospective determination based                   (3) The alien’s family status—(i)
                                              alien;                                                  on the totality of circumstances. The                 Standard. When considering an alien’s
                                                 (iv) The alien’s parents, legal                      determination of an alien’s likelihood of             family status, DHS will consider the
                                              guardians, or any other individual                      becoming a public charge at any time in               alien’s household size, as defined in 8
                                              providing or required to provide at least               the future must be based on the totality              CFR 212.21(d), and whether the alien’s
                                              50 percent of the alien’s financial                     of the alien’s circumstances by weighing              household size makes the alien more
                                              support to the alien as evidenced by a                  all factors that are relevant to whether              likely than not to become a public
                                              child support order or agreement, a                     the alien is more likely than not at any              charge at any time in the future.
                                              custody order or agreement, or any other                time in the future to receive one or more                (ii) [Reserved]
                                              order or agreement specifying the                       public benefits, as defined in 8 CFR                     (4) The alien’s assets, resources, and
                                              amount of financial support to be                       212.21(b), for more than 12 months in                 financial status—(i) Standard. When
                                              provided to the alien;                                  the aggregate within any 36-month                     considering an alien’s assets, resources,
                                                 (v) The parents’ or legal guardians’                 period. Except as necessary to fully                  and financial status, DHS will consider
                                              other children as defined in section                    evaluate evidence provided in                         whether such assets, resources, and
                                                                                                                                                            financial status excluding any income
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                                              101(b)(1) of the Act physically residing                paragraph (b)(4)(ii)(E)(3) of this section,
                                              with the alien;                                         DHS will not specifically assess whether              from illegal activities or sources (e.g.,
                                                 (vi) The alien’s parents’ or legal                   an alien qualifies or would qualify for               proceeds from illegal gambling or drug
                                              guardians’ other children as defined in                 any public benefit, as defined in 8 CFR               sales, and income from public benefits
                                              section 101(b)(1) of the Act, not                       212.21(b).                                            listed in 8 CFR 212.21(b)), make the
                                              physically residing with the alien for                     (b) Minimum factors to consider. A                 alien more likely than not to become a
                                              whom the parent or legal guardian                       public charge inadmissibility                         public charge at any time in the future,
                                              provides or is required to provide at                   determination must at least entail                    including whether:


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                                                 (A) The alien’s household’s annual                   for himself or herself, to attend school,             defined in 212.21(b), that the alien has
                                              gross income is at least 125 percent of                 or to work;                                           specifically identified as showing that
                                              the most recent Federal Poverty                            (D) The alien has any financial                    the alien does not qualify or would not
                                              Guideline (100 percent for an alien on                  liabilities; and whether                              qualify for such public benefit by virtue
                                              active duty, other than training, in the                   (E) The alien has applied for, been                of, for instance, the alien’s annual gross
                                              U.S. Armed Forces) based on the alien’s                 certified to receive, or received public              household income or prospective
                                              household size as defined by section                    benefits, as defined in 8 CFR 212.21(b),              immigration status or length of stay;
                                              212.21(d);                                              on or after October 15, 2019.                            (F) Whether the alien has applied for
                                                 (B) If the alien’s household’s annual                   (ii) Evidence. USCIS’ consideration                or has received a USCIS fee waiver for
                                              gross income is less than 125 percent of                includes, but is not limited to the                   an immigration benefit request on or
                                              the most recent Federal Poverty                         following:                                            after October 15, 2019, unless the fee
                                              Guideline (100 percent for an alien on                     (A) The alien’s annual gross                       waiver was applied for or granted as
                                              active duty, other than training, in the                household income including, but not                   part of an application for which a public
                                              U.S. Armed Forces), the alien may                       limited to:                                           charge inadmissibility determination
                                              submit evidence of ownership of                            (1) For each member of the household               under section 212(a)(4) of the Act was
                                              significant assets. For purposes of this                whose income will be considered, the                  not required.
                                              paragraph, an alien may establish                       most recent tax-year transcript from the                 (G) The alien’s credit history and
                                              ownership of significant assets, such as                U.S. Internal Revenue Service (IRS) of                credit score in the United States, and
                                              savings accounts, stocks, bonds,                        such household member’s IRS Form                      other evidence of the alien’s liabilities
                                              certificates of deposit, real estate or                 1040, U.S. Individual Income Tax                      not reflected in the credit history and
                                              other assets, in which the combined                     Return; or                                            credit score (e.g., any mortgages, car
                                              cash value of all the assets (the total                    (2) If the evidence in paragraph                   loans, unpaid child or spousal support,
                                              value of the assets less any offsetting                 (b)(4)(ii)(A)(1) of this section is                   unpaid taxes, and credit card debt); and
                                              liabilities) exceeds:                                   unavailable for a household member,                      (H) Whether the alien has sufficient
                                                 (1) If the intending immigrant is the                other credible and probative evidence of              household assets and resources
                                              spouse or child of a United States                      such household member’s income,                       (including, for instance, health
                                              citizen (and the child has reached his or               including an explanation of why such                  insurance not designated as a public
                                              her 18th birthday), three times the                     transcript is not available, such as if the           benefit under 8 CFR 212.21(b)) to pay
                                              difference between the alien’s                          household member is not subject to                    for reasonably foreseeable medical costs,
                                              household income and 125 percent of                     taxation in the United States.                        such as costs related to a medical
                                              the FPG (100 percent for those on active                   (B) Any additional income from                     condition that is likely to require
                                              duty, other than training, in the U.S.                  individuals not included in the alien’s               extensive medical treatment or
                                              Armed Forces) for the alien’s household                 household provided to the alien’s                     institutionalization or that will interfere
                                              size;                                                   household on a continuing monthly or                  with the alien’s ability to provide care
                                                 (2) If the intending immigrant is an                 yearly basis for the most recent calendar             for himself or herself, to attend school,
                                              orphan who will be adopted in the                       year and on which the alien relies or                 or to work;
                                              United States after the alien orphan                    will rely to meet the standard at 8 CFR                  (5) The alien’s education and skills.
                                              acquires permanent residence (or in                     212.22(b)(4)(i);                                      (i) Standard. When considering an
                                              whose case the parents will need to seek                   (C) The household’s cash assets and                alien’s education and skills, DHS will
                                              a formal recognition of a foreign                       resources. Evidence of such cash assets               consider whether the alien has adequate
                                              adoption under the law of the State of                  and resources may include checking                    education and skills to either obtain or
                                              the intending immigrant’s proposed                      and savings account statements covering               maintain lawful employment with an
                                              residence because at least one of the                   12 months prior to filing the                         income sufficient to avoid being more
                                              parents did not see the child before or                 application;                                          likely than not to become a public
                                              during the adoption), and who will, as                     (D) The household’s non-cash assets                charge.
                                              a result of the adoption or formal                      and resources, that can be converted                     (ii) Evidence. USCIS’ consideration
                                              recognition of the foreign adoption,                    into cash within 12 months, such as net               includes but is not limited to the
                                              acquire citizenship under section 320 of                cash value of real estate holdings minus              following: (A) The alien’s history of
                                              the Act, the difference between the                     the sum of all loans secured by a                     employment, excluding employment
                                              alien’s household income and 125                        mortgage, trust deed, or other lien on                involving illegal activities, e.g., illegal
                                              percent of the FPG (100 percent for                     the home; annuities; securities;                      gambling or drug sales. The alien must
                                              those on active duty, other than                        retirement and educational accounts;                  provide the following:
                                              training, in the U.S. Armed Forces) for                 and any other assets that can easily be                  (1) The last 3 years of the alien’s tax
                                              the alien’s household size; or                          converted into cash;                                  transcripts from the U.S. Internal
                                                 (3) In all other cases, five times the                  (E) Evidence that the alien has:                   Revenue Service (IRS) of the alien’s IRS
                                              difference between the alien’s                             (1) Applied for or received any public             Form 1040, U.S. Individual Income Tax
                                              household income and 125 percent of                     benefit, as defined in 8 CFR 212.21(b),               Return; or
                                              the FPG (100 percent for those on active                on or after October 15, 2019 or                          (2) If the evidence in paragraph
                                              duty, other than training, in the U.S.                  disenrolled or requested to be                        (b)(5)(ii)(A)(1) of this section is
                                              Armed Forces) for the alien’s household                 disenrolled from such benefit(s); or                  unavailable, other credible and
                                              size.                                                      (2) Been certified or approved to                  probative evidence of the alien’s history
                                                 (C) The alien has sufficient household
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                                                                                                      receive any public benefit, as defined in             of employment for the last 3 years,
                                              assets and resources to cover any                       8 CFR 212.21(b), on or after October 15,              including an explanation of why such
                                              reasonably foreseeable medical costs,                   2019 or withdrew his or her application               transcripts are not available, such as if
                                              including as related to a medical                       or disenrolled or requested to be to                  the alien is not subject to taxation in the
                                              condition that is likely to require                     disenrolled from such benefit(s);                     United States;
                                              extensive medical treatment or                             (3) Submitted evidence from a                         (B) Whether the alien has a high
                                              institutionalization or that will interfere             Federal, State, local, or tribal agency               school diploma (or its equivalent) or has
                                              with the alien’s ability to provide care                administering a public benefit, as                    a higher education degree;


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                                                 (C) Whether the alien has any                           (c) Heavily weighted factors. The                  this paragraph (c)(2)(iii), private health
                                              occupational skills, certifications, or                 factors below will weigh heavily in a                 insurance must be appropriate for the
                                              licenses; and                                           public charge inadmissibility                         expected period of admission, and does
                                                 (D) Whether the alien is proficient in               determination. The mere presence of                   not include health insurance for which
                                              English or proficient in other languages                any one heavily weighted factor does                  the alien receives subsidies in the form
                                              in addition to English.                                 not, alone, make the alien more or less               of premium tax credits under the Patient
                                                 (E) Whether the alien is a primary                   likely than not to become a public                    Protection and Affordable Care Act, as
                                              caregiver as defined in 8 CFR 212.21(f),                charge.                                               amended.
                                              such that the alien lacks an employment                    (1) Heavily weighted negative factors.                (d) Treatment of benefits received
                                              history, is not currently employed, or is               The following factors will weigh heavily              before October 15, 2019. For purposes of
                                              not employed full time. Only one alien                  in favor of a finding that an alien is                this regulation, DHS will consider, as a
                                              within a household can be considered a                  likely at any time in the future to                   negative factor, but not as a heavily
                                              primary caregiver of the same                           become a public charge:                               weighted negative factor as described in
                                              individual within the household.                           (i) The alien is not a full-time student           paragraph (c)(1) of this section, any
                                              USCIS’ consideration with respect this                  and is authorized to work, but is unable              amount of cash assistance for income
                                              paragraph includes but is not limited to                to demonstrate current employment,                    maintenance, including Supplemental
                                              evidence that an individual the alien is                recent employment history, or a                       Security Income (SSI), Temporary
                                              caring for resides in the alien’s                       reasonable prospect of future                         Assistance for Needy Families (TANF),
                                              household, evidence of the individual’s                 employment;                                           State and local cash assistance programs
                                              age, and evidence of the individual’s                      (ii) The alien has received or has been            that provide benefits for income
                                              medical condition, including disability,                certified or approved to receive one or               maintenance (often called ‘‘General
                                              if any.                                                 more public benefits, as defined in                   Assistance’’ programs), and programs
                                                 (6) The alien’s prospective                          § 212.21(b), for more than 12 months in               (including Medicaid) supporting aliens
                                              immigration status and expected period                  the aggregate within any 36-month                     who are institutionalized for long-term
                                              of admission.                                           period, beginning no earlier than 36                  care, received, or certified for receipt,
                                                 (i) Standard. DHS will consider the                  months prior to the alien’s application               before October 15, 2019, as provided
                                              immigration status that the alien seeks                 for admission or adjustment of status on              under the 1999 Interim Field Guidance,
                                              and the expected period of admission as                 or after October 15, 2019;                            also known as the 1999 Field Guidance
                                              it relates to the alien’s ability to                       (iii)(A) The alien has been diagnosed              on Deportability and Inadmissibility on
                                              financially support for himself or herself              with a medical condition that is likely               Public Charge Grounds. DHS will not
                                              during the duration of the alien’s stay,                to require extensive medical treatment                consider as a negative factor any other
                                              including:                                              or institutionalization or that will                  public benefits received, or certified for
                                                 (A) Whether the alien is applying for                interfere with the alien’s ability to                 receipt, before October 15, 2019.
                                              adjustment of status or admission in a                  provide for himself or herself, attend
                                                                                                      school, or work; and                                  § 212.23 Exemptions and waivers for
                                              nonimmigrant or immigrant                                                                                     public charge ground of inadmissibility.
                                                                                                         (B) The alien is uninsured and has
                                              classification; and                                                                                              (a) Exemptions. The public charge
                                                                                                      neither the prospect of obtaining private
                                                 (B) If the alien is seeking admission as                                                                   ground of inadmissibility under section
                                                                                                      health insurance, nor the financial
                                              a nonimmigrant, the nonimmigrant                                                                              212(a)(4) of the Act does not apply,
                                                                                                      resources to pay for reasonably
                                              classification and the anticipated period                                                                     based on statutory or regulatory
                                                                                                      foreseeable medical costs related to such
                                              of temporary stay.                                                                                            authority, to the following categories of
                                                                                                      medical condition; or
                                                 (ii) [Reserved]                                         (iv) The alien was previously found                aliens:
                                                 (7) An affidavit of support under                    inadmissible or deportable on public                     (1) Refugees at the time of admission
                                              section 213A of the Act, when required                  charge grounds by an Immigration Judge                under section 207 of the Act and at the
                                              under section 212(a)(4) of the Act, that                or the Board of Immigration Appeals.                  time of adjustment of status to lawful
                                              meets the requirements of section 213A                     (2) Heavily weighted positive factors.             permanent resident under section 209 of
                                              of the Act and 8 CFR 213a—(i)                           The following factors will weigh heavily              the Act;
                                              Standard. If the alien is required under                in favor of a finding that an alien is not               (2) Asylees at the time of grant under
                                              sections 212(a)(4)(C) or (D) to submit an               likely to become a public charge:                     section 208 of the Act and at the time
                                              affidavit of support under section 213A                    (i) The alien’s household has income,              of adjustment of status to lawful
                                              of the Act and 8 CFR part 213a, and                     assets, or resources, and support                     permanent resident under section 209 of
                                              submits such a sufficient affidavit of                  (excluding any income from illegal                    the Act;
                                              support, DHS will consider the                          activities, e.g., proceeds from illegal                  (3) Amerasian immigrants at the time
                                              likelihood that the sponsor would                       gambling or drug sales, and any income                of application for admission as
                                              actually provide the statutorily-required               from public benefits as defined in                    described in sections 584 of the Foreign
                                              amount of financial support to the alien,               § 212.21(b)) of at least 250 percent of the           Operations, Export Financing, and
                                              and any other related considerations.                   Federal Poverty Guidelines for the                    Related Programs Appropriations Act of
                                                 (A) Evidence. USCIS consideration                    alien’s household size;                               1988, Public Law 100–202, 101 Stat.
                                              includes but is not limited to the                         (ii) The alien is authorized to work               1329–183, section 101(e) (Dec. 22,
                                              following:                                              and is currently employed in a legal                  1987), as amended, 8 U.S.C. 1101 note;
                                                 (1) The sponsor’s annual income,                     industry with an annual income,                          (4) Afghan and Iraqi Interpreter, or
                                              assets, and resources;                                                                                        Afghan or Iraqi national employed by or
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                                                                                                      excluding any income from illegal
                                                 (2) The sponsor’s relationship to the                activities such as proceeds from illegal              on behalf of the U.S. Government as
                                              applicant, including but not limited to                 gambling or drug sales, of at least 250               described in section 1059(a)(2) of the
                                              whether the sponsor lives with the                      percent of the Federal Poverty                        National Defense Authorization Act for
                                              alien; and                                              Guidelines for the alien’s household                  Fiscal Year 2006 Public Law 109–163
                                                 (3) Whether the sponsor has                          size; or                                              (Jan. 6, 2006), as amended, and section
                                              submitted an affidavit of support with                     (iii) The alien has private health                 602(b) of the Afghan Allies Protection
                                              respect to other individuals.                           insurance, except that for purposes of                Act of 2009, Public Law 111–8, title VI


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                                              (Mar. 11, 2009), as amended, 8 U.S.C.                   accordance with section 102 of the Act                   (24) Texas Band of Kickapoo Indians
                                              1101 note, and section 1244(g) of the                   and 22 CFR 41.21(d);                                  of the Kickapoo Tribe of Oklahoma,
                                              National Defense Authorization Act for                    (16) A nonimmigrant classifiable as                 Public Law 97–429 (Jan. 8, 1983);
                                              Fiscal Year 2008, as amended Public                     NATO–1, NATO–2, NATO–3, NATO–4                           (25) Nationals of Vietnam, Cambodia,
                                              Law 110–181 (Jan. 28, 2008);                            (NATO representatives), and NATO–6                    and Laos applying for adjustment of
                                                (5) Cuban and Haitian entrants                        in accordance with 22 CFR 41.21(d);                   status under section 586 of Public Law
                                              applying for adjustment of status under                   (17) An applicant for nonimmigrant                  106–429 under 8 CFR 245.21;
                                              section 202 of the Immigration Reform                   status under section 101(a)(15)(T) of the                (26) Polish and Hungarian Parolees
                                              and Control Act of 1986 (IRCA), Public                  Act, in accordance with 8 CFR                         who were paroled into the United States
                                              Law 99–603, 100 Stat. 3359 (Nov. 6,                     212.16(b);                                            from November 1, 1989 to December 31,
                                              1986), as amended, 8 U.S.C. 1255a note;                   (18) Except as provided in section                  1991 under section 646(b) of the IIRIRA,
                                                (6) Aliens applying for adjustment of                                                                       Public Law 104–208, Div. C, Title VI,
                                                                                                      212.23(b), an individual who is seeking
                                              status under the Cuban Adjustment Act,                                                                        Subtitle D (Sept. 30, 1996), 8 U.S.C.
                                                                                                      an immigration benefit for which
                                              Public Law 89–732 (Nov. 2, 1966), as                                                                          1255 note; and
                                                                                                      admissibility is required, including but
                                              amended, 8 U.S.C. 1255 note;                                                                                     (27) Any other categories of aliens
                                                                                                      not limited to adjustment of status
                                                (7) Nicaraguans and other Central                                                                           exempt under any other law from the
                                                                                                      under section 245(a) of the Act and
                                              Americans applying for adjustment of                                                                          public charge ground of inadmissibility
                                                                                                      section 245(l) of the Act and who:
                                              status under sections 202(a) and section                                                                      provisions under section 212(a)(4) of the
                                              203 of the Nicaraguan Adjustment and                      (i) Has a pending application that sets
                                                                                                      forth a prima facie case for eligibility for          Act.
                                              Central American Relief Act (NACARA),                                                                            (b) Limited Exemption. Aliens
                                              Public Law 105–100, 111 Stat. 2193                      nonimmigrant status under section
                                                                                                      101(a)(15)(T) of the Act, or                          described in §§ 212.23(a)(18) through
                                              (Nov. 19, 1997), as amended, 8 U.S.C.                                                                         (21) must submit an affidavit of support
                                              1255 note;                                                (ii) Has been granted nonimmigrant
                                                                                                                                                            as described in section 213A of the Act
                                                (8) Haitians applying for adjustment                  status under section 101(a)(15)(T) of the
                                                                                                                                                            if they are applying for adjustment of
                                              of status under section 902 of the                      Act, provided that the individual is in
                                                                                                                                                            status based on an employment-based
                                              Haitian Refugee Immigration Fairness                    valid T nonimmigrant status at the time
                                                                                                                                                            petition that requires such an affidavit
                                              Act of 1998, Public Law 105–277, 112                    the benefit request is properly filed with
                                                                                                                                                            of support as described in section
                                              Stat. 2681 (Oct. 21, 1998), as amended,                 USCIS and at the time the benefit
                                                                                                                                                            212(a)(4)(D) of the Act.
                                              8 U.S.C. 1255 note;                                     request is adjudicated;
                                                                                                                                                               (c) Waivers. A waiver for the public
                                                (9) Lautenberg parolees as described                    (19) Except as provided in § 212.23(b),             charge ground of inadmissibility may be
                                              in section 599E of the Foreign                            (i) A petitioner for nonimmigrant                   authorized based on statutory or
                                              Operations, Export Financing, and                       status under section 101(a)(15)(U) of the             regulatory authority, for the following
                                              Related Programs Appropriations Act of                  Act, in accordance with section                       categories of aliens:
                                              1990, Public Law 101–167, 103 Stat.                     212(a)(4)(E)(ii) of the Act; or                          (1) Applicants for admission as
                                              1195, title V (Nov. 21, 1989), as                         (ii) An individual who is granted                   nonimmigrants under 101(a)(15)(S) of
                                              amended, 8 U.S.C. 1255 note;                            nonimmigrant status under section                     the Act;
                                                (10) Special immigrant juveniles as                   101(a)(15)(U) of the Act in accordance                   (2) Nonimmigrants admitted under
                                              described in section 245(h) of the Act;                 with section 212(a)(4)(E)(ii) of the Act,
                                                (11) Aliens who entered the United                                                                          section 101(a)(15)(S) of the Act applying
                                                                                                      who is seeking an immigration benefit                 for adjustment of status under section
                                              States prior to January 1, 1972, and who                for which admissibility is required,
                                              meet the other conditions for being                                                                           245(j) of the Act (witnesses or
                                                                                                      including, but not limited to,                        informants); and
                                              granted lawful permanent residence                      adjustment of status under section
                                              under section 249 of the Act and 8 CFR                                                                           (3) Any other waiver of the public
                                                                                                      245(a) of the Act, provided that the                  charge ground of inadmissibility that is
                                              part 249 (Registry);                                    individual is in valid U nonimmigrant
                                                (12) Aliens applying for or re-                                                                             authorized by law or regulation.
                                                                                                      status at the time the benefit request is
                                              registering for Temporary Protected                     properly filed with USCIS and at the                  PART 213—PUBLIC CHARGE BONDS
                                              Status as described in section 244 of the               time the benefit request is adjudicated.
                                              Act in accordance with section                                                                                ■  7. The authority citation for part 213
                                                                                                        (20) Except as provided in section
                                              244(c)(2)(A)(ii) of the Act and 8 CFR                                                                         is revised to read as follows:
                                                                                                      212.23(b), any alien who is a VAWA
                                              244.3(a);
                                                (13) A nonimmigrant described in                      self-petitioner under section                              Authority: 8 U.S.C. 1103; 1183; 8 CFR part
                                              section 101(a)(15)(A)(i) and (A)(ii) of the             212(a)(4)(E)(i) of the Act;                           2.
                                              Act (Ambassador, Public Minister,                         (21) Except as provided in section                  ■ 8. Revise the part heading to read as
                                              Career Diplomat or Consular Officer, or                 212.23(b), a qualified alien described in             set forth above.
                                              Immediate Family or Other Foreign                       section 431(c) of the Personal
                                                                                                                                                            ■ 9. Revise § 213.1 to read as follows:
                                              Government Official or Employee, or                     Responsibility and Work Opportunity
                                              Immediate Family), in accordance with                   Reconciliation Act of 1996, 8 U.S.C.                  § 213.1 Adjustment of status of aliens on
                                              section 102 of the Act and 22 CFR                       1641(c), under section 212(a)(4)(E)(iii) of           submission of a public charge bond.
                                              41.21(d);                                               the Act;                                                 (a) Inadmissible aliens. In accordance
                                                (14) A nonimmigrant classifiable as                     (22) Applicants adjusting status who                with section 213 of the Act, after an
                                              C–2 (alien in transit to U.N.                           qualify for a benefit under section 1703              alien seeking adjustment of status has
                                                                                                      of the National Defense Authorization                 been found inadmissible as likely at any
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                                              Headquarters) or C–3 (foreign
                                              government official), 22 CFR 41.21(d);                  Act, Public Law 108–136, 117 Stat. 1392               time in the future to become a public
                                                (15) A nonimmigrant described in                      (Nov. 24, 2003), 8 U.S.C. 1151 note                   charge under section 212(a)(4) of the
                                              section 101(a)(15)(G)(i), (G)(ii), (G)(iii),            (posthumous benefits to surviving                     Act, DHS may allow the alien to submit
                                              and (G)(iv), of the Act (Principal                      spouses, children, and parents);                      a public charge bond, if the alien is
                                              Resident Representative of Recognized                     (23) American Indians born in Canada                otherwise admissible, in accordance
                                              Foreign Government to International                     determined to fall under section 289 of               with the requirements of 8 CFR 103.6
                                              Organization, and related categories), in               the Act;                                              and this section. The public charge


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                                              bond must meet the conditions set forth                 submitted to DHS in accordance with                   permanent resident status associated
                                              in 8 CFR 103.6 and this section.                        the instructions of the form designated               with the public charge bond.
                                                (b) Discretion. The decision to allow                 by DHS for this purpose, with the fee                    (2) Permanent Departure Defined. For
                                              an alien inadmissible under section                     prescribed in 8 CFR 103.7(b), and any                 purposes of this section, permanent
                                              212(a)(4) of the Act to submit a public                 procedures contained in the DHS                       departure means that the alien lost or
                                              charge bond is in DHS’s discretion. If an               notification to the alien. DHS will                   abandoned his or her lawful permanent
                                              alien has one or more heavily weighted                  specify the bond amount and any other                 resident status, whether by operation of
                                              negative factors as defined in 8 CFR                    conditions, as appropriate for the alien              law or voluntarily, and physically
                                              212.22 in his or her case, DHS generally                and the immigration benefit being                     departed the United States. An alien is
                                              will not favorably exercise discretion to               sought. USCIS will notify the alien and               only deemed to have voluntarily lost
                                              allow submission of a public charge                     the alien’s representative, if any, that              lawful permanent resident status when
                                              bond.                                                   the bond has been accepted, and will                  the alien has submitted a record of
                                                 (c) Public Charge Bonds. (1) Types.                  provide a copy to the alien and the                   abandonment of lawful permanent
                                              DHS may require an alien to submit a                    alien’s representative, if any, of any                resident status, on the form prescribed
                                              surety bond, as listed in 8 CFR 103.6, or               communication between the obligor and                 by DHS, from outside the United States,
                                              cash or any cash equivalents specified                  the U.S. government. An obligor must                  and in accordance with the form’s
                                              by DHS. DHS will notify the alien of the                notify DHS within 30 days of any                      instructions.
                                              type of bond that may be submitted. All                 change in the obligor’s or the alien’s                   (3) Cancellation Request. A request to
                                              surety, cash, or cash equivalent bonds                  physical and mailing address.                         cancel a public charge bond must be
                                              must be executed on a form designated                      (f) Substitution. (1) Substitution                 made by submitting a form designated
                                              by DHS and in accordance with form                      Process. Either the obligor of the bond               by DHS, in accordance with that form’s
                                              instructions. When a surety bond is                     previously submitted to DHS or a new                  instructions and the fee prescribed in 8
                                              accepted, the bond must comply with                     obligor may submit a substitute bond on               CFR 103.7(b). If a request for
                                              requirements applicable to surety bonds                 the alien’s behalf. The substitute bond               cancellation of a public charge bond is
                                              in 8 CFR 103.6 and this section. If cash                must specify an effective date. The                   not filed, the bond shall remain in effect
                                              or a cash equivalent, is being provided                 substitute bond must meet all of the                  until the form is filed, reviewed, and a
                                              to secure a bond, DHS must issue a                      requirements applicable to the initial                decision is rendered. DHS may in its
                                              receipt on a form designated by DHS.                    bond as required by this section and 8                discretion cancel a public charge bond
                                                 (2) Amount. Any public charge bond                                                                         if it determines that an alien otherwise
                                                                                                      CFR 103.6, and if the obligor is different
                                              must be in an amount decided by DHS,                                                                          meets the eligibility requirements of
                                                                                                      from the original obligor, the new
                                              not less than $8,100, annually adjusted                                                                       paragraphs (g)(1) of this section.
                                                                                                      obligor must assume all liabilities of the               (4) Adjudication and Burden of Proof.
                                              for inflation based on the Consumer
                                              Price Index for All Urban Consumers                     initial obligor. The substitute bond must             The alien and the obligor have the
                                              (CPI–U), and rounded up to the nearest                  also cover any breach of the bond                     burden to establish, by a preponderance
                                              dollar. The bond amount decided by                      conditions which occurred before DHS                  of the evidence, that one of the
                                              DHS may not be appealed by the alien                    accepted the substitute bond, in the                  conditions for cancellation of the public
                                              or the bond obligor.                                    event DHS did not learn of the breach                 charge bond listed in paragraph (g)(1) of
                                                 (d) Conditions of the bond. A public                 until after DHS accepted the substitute               this section has been met. If DHS
                                              charge bond must remain in effect until                 bond.                                                 determines that the information
                                              USCIS grants a request to cancel the                       (2) Acceptance. Upon submission of                 included in the cancellation request is
                                              bond in accordance with paragraph (g)                   the substitute bond, DHS will review                  insufficient to determine whether
                                              of this section, whereby the alien                      the substitute bond for sufficiency as set            cancellation is appropriate, DHS may
                                              naturalizes or otherwise obtains U.S.                   forth in this section. If the substitute              request additional information as
                                              citizenship, permanently departs the                    bond is sufficient DHS will cancel the                outlined in 8 CFR 103.2(b)(8). DHS must
                                              United States, dies, the alien has                      bond previously submitted to DHS, and                 cancel a public charge bond if DHS
                                              reached his or her 5-year anniversary                   replace it with the substitute bond. If               determines that the conditions of the
                                              since becoming a lawful permanent                       the substitute bond is insufficient, DHS              bond have been met, and that the bond
                                              resident, or the alien changes                          will notify the obligor of the substitute             was not breached, in accordance with
                                              immigration status to one not subject to                bond to correct the deficiency within                 paragraph (h) of this section. For
                                              public charge ground of inadmissibility.                the timeframe specified in the notice. If             cancellations under paragraph (g)(1)(iv)
                                              An alien on whose behalf a public                       the deficiency is not corrected within                of this section, the alien or the obligor
                                              charge bond has been submitted may                      the timeframe specified, the previously               must establish that the public charge
                                              not receive any public benefits, as                     submitted bond will remain in effect.                 bond has not been breached during the
                                              defined in 8 CFR 212.21(b), for more                       (g) Cancellation of the Public Charge              5-year period preceding the alien’s fifth
                                              than 12 months in the aggregate within                  Bond. (1) An alien or obligor may                     anniversary of becoming a lawful
                                              any 364month period (such that, for                     request that DHS cancel a public charge               permanent resident.
                                              instance, receipt of two benefits in one                bond if the alien:                                       (5) Decision. DHS will notify the
                                              month counts as two months, after the                      (i) Naturalized or otherwise obtained              obligor, the alien, and the alien’s
                                              alien’s adjustment of status to that of a               United States citizenship;                            representative, if any, of its decision
                                              lawful permanent resident, until the                       (ii) Permanently departed the United               regarding the request to cancel the
                                              bond is cancelled in accordance with                    States;                                               public charge bond. When the public
                                                                                                         (iii) Died;                                        charge bond is cancelled, the obligor is
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                                              paragraph (g) of this section. An alien
                                              must also comply with any other                            (iv) Reached his or her 5-year                     released from liability. If the public
                                              conditions imposed as part of the bond.                 anniversary since becoming a lawful                   charge bond has been secured by a cash
                                                 (e) Submission. A public charge bond                 permanent resident; or                                deposit or a cash equivalent, DHS will
                                              may be submitted on the alien’s behalf                     (v) Obtained a different immigration               refund the cash deposit and any interest
                                              only after DHS notifies the alien and the               status not subject to public charge                   earned to the obligor consistent with 8
                                              alien’s representative, if any, that a bond             inadmissibility, as listed in 8 CFR                   U.S.C. 1363 and 8 CFR 293.1. If DHS
                                              may be submitted. The bond must be                      212.23, following the grant of lawful                 denies the request to cancel the bond,


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                                              DHS will notify the obligor and the                     determines that it has insufficient                   ■ b. Removing the term, ‘‘and’’ in
                                              alien, and the alien’s representative, if               information from the alien or the                     paragraph (c)(4)(iii);
                                              any, of the reasons why, and of the right               obligor, it may request additional                      The additions read as follows:
                                              of the obligor to appeal in accordance                  information as outlined in 8 CFR part
                                              with the requirements of 8 CFR part                                                                           § 214.1 Requirements for admission,
                                                                                                      103 before making a breach
                                                                                                                                                            extension, and maintenance of status.
                                              103, subpart A. An obligor may file a                   determination. If DHS intends to declare
                                              motion pursuant to 8 CFR 103.5 after an                 a bond breached based on information                    (a) * * *
                                              unfavorable decision on appeal.                         that is not otherwise protected from                    (3) * * *
                                                 (h) Breach. (1) Breach and Claim in                  disclosure to the obligor, DHS will                     (iv) Except where the nonimmigrant
                                              Favor of the United States. An                          disclose such information to the obligor              classification for which the alien seeks
                                              administratively final determination                    to the extent permitted by law, and                   to extend is exempt from section
                                              that a bond has been breached creates a                 provide the obligor with an opportunity               212(a)(4) of the Act or that section has
                                              claim in favor of the United States. Such               to respond and submit rebuttal                        been waived, as a condition for approval
                                              claim may not be released or discharged                 evidence, including specifying a                      of extension of status, the alien must
                                              by an immigration officer. A breach                     deadline for a response. DHS will send                demonstrate that he or she has not
                                              determination is administratively final                 a copy of this notification to the alien              received since obtaining the
                                              when the time to file an appeal with the                and the alien’s representative, if any.               nonimmigrant status he or she seeks to
                                              Administrative Appeals Office (AAO)                     After the obligor’s response, or after the            extend one or more public benefits as
                                              pursuant to 8 CFR part 103, subpart A,                  specified deadline has passed, DHS will               defined in 8 CFR 212.21(b), for more
                                              has expired or when the appeal is                       make a breach determination.                          than 12 months in the aggregate within
                                              dismissed or rejected.                                     (4) Decision. DHS will notify the                  any 36-month period (such that, for
                                                 (2) Breach of Bond Conditions. (i) The               obligor and the alien, and the alien’s                instance, receipt of two benefits in one
                                              conditions of the bond are breached if                  representative, if any, of the breach                 month counts as two months). For the
                                              the alien has received public benefits, as              determination. If DHS determines that a               purposes of this determination, DHS
                                              defined in 8 CFR 212.21(b), for more                    bond has been breached, DHS will                      will only consider public benefits
                                              than 12 months in the aggregate within                  inform the obligor of the right to appeal             received on or after October 15, 2019 for
                                              any 36-month period (such that, for                     in accordance with the requirements of                petitions or applications postmarked
                                              instance, receipt of two benefits in one                8 CFR part 103, subpart A. With respect               (or, if applicable, submitted
                                              month counts as two months), after the                  to a breach determination for a surety                electronically) on or after that date.
                                              alien’s adjustment of status to that of a               bond, the alien or the alien’s                        *      *     *    *     *
                                              lawful permanent resident and before                    representative, if any, may not appeal
                                              the bond is cancelled under paragraph                   the breach determination or file a                    PART 245—ADJUSTMENT OF STATUS
                                              (g) of this section. DHS will not consider              motion.                                               TO THAT OF A PERSON ADMITTED
                                              any public benefits, as defined in 8 CFR                   (5) Demand for Payment. Demands for                FOR PERMANENT RESIDENCE
                                              212.21(b), received by the alien during                 amounts due under the terms of the
                                              periods while an alien was present in                                                                         ■ 12. The authority citation for part 245
                                                                                                      bond will be sent to the obligor and any              continues to read as follows:
                                              the United States in a category that is
                                                                                                      agent/co-obligor after a declaration of
                                              exempt from the public charge ground                                                                            Authority: 8 U.S.C. 1101, 1103, 1182, 1255;
                                                                                                      breach becomes administratively final.
                                              of inadmissibility or for which the alien                                                                     Pub. L. 105–100, section 202, 111 Stat. 2160,
                                                                                                         (6) Amount of Bond Breach and Effect
                                              received a waiver of public charge                                                                            2193; Pub. L. 105–277, section 902, 112 Stat.
                                                                                                      on Bond. The bond must be considered                  2681; Pub. L. 110–229, tit. VII, 122 Stat. 754;
                                              inadmissibility, as set forth in 8 CFR
                                                                                                      breached in the full amount of the bond.              8 CFR part 2.
                                              212.21(b) and 8 CFR 212.23, and public
                                                                                                         (i) Exhaustion of administrative
                                              benefits received after the alien obtained                                                                    ■ 13. Amend § 245.4 by redesignating
                                                                                                      remedies. Unless an administrative
                                              U.S. citizenship, when determining                                                                            the undesignated text as paragraph (a)
                                                                                                      appeal is precluded by regulation, a
                                              whether the conditions of the bond have                                                                       and adding paragraph (b) to read as
                                                                                                      party has not exhausted the
                                              been breached. DHS will not consider                                                                          follows:
                                                                                                      administrative remedies available with
                                              any public benefits, as defined in 8 CFR
                                                                                                      respect to a public charge bond under                 § 245.4    Documentary requirements.
                                              212.21 (b)(1) through (b)(3), received by
                                              an alien who, at the time of receipt                    this section until the party has obtained
                                                                                                                                                            *     *     *     *     *
                                              filing, adjudication or bond breach or                  a final decision in an administrative
                                                                                                                                                              (b) For purposes of public charge
                                              cancellation determination, is enlisted                 appeal under 8 CFR part 103, subpart A.
                                                                                                                                                            determinations under section 212(a)(4)
                                              in the U.S. Armed Forces under the                         (ii) [Reserved]
                                                                                                                                                            of the Act and 8 CFR 212.22, an alien
                                              authority of 10 U.S.C. 504(b)(1)(B) or 10               PART 214—NONIMMIGRANT CLASSES                         who is seeking adjustment of status
                                              U.S.C. 504(b)(2), serving in active duty                                                                      under this part must submit a
                                              or in the Ready Reserve component of                    ■ 10. The authority citation for part 214             declaration of self-sufficiency on a form
                                              the U.S. Armed Forces, or if received by                continues to read as follows:                         designated by DHS, in accordance with
                                              such an individual’s spouse or child as                                                                       form instructions.
                                                                                                         Authority: 6 U.S.C. 202, 236; 8 U.S.C.
                                              defined in section 101(b) of the Act; or                1101, 1102, 1103, 1182, 1184, 1186a, 1187,            ■ 14. In § 245.23, revise paragraph (c)(3)
                                                 (ii) The conditions of the bond                      1221, 1281, 1282, 1301–1305 and 1372; sec.            to read as follows:
                                              otherwise imposed by DHS as part of                     643, Pub. L. 104–208, 110 Stat. 3009–708;
                                              the public charge bond are breached.                    Public Law 106–386, 114 Stat. 1477–1480;              § 245.23 Adjustment of aliens in T
                                                 (3) Adjudication. DHS will determine                                                                       nonimmigrant classification.
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                                                                                                      section 141 of the Compacts of Free
                                              whether the conditions of the bond have                 Association with the Federated States of              *     *     *    *     *
                                              been breached. If DHS determines that                   Micronesia and the Republic of the Marshall             (c) * * *
                                              it has insufficient information from the                Islands, and with the Government of Palau,              (3) The alien is inadmissible under
                                              benefit-granting agency to determine                    48 U.S.C. 1901 note, and 1931 note,                   any applicable provisions of section
                                              whether a breach occurred, DHS may                      respectively; 48 U.S.C. 1806; 8 CFR part 2.           212(a) of the Act and has not obtained
                                              request additional information from the                 ■   11. Section 214.1 is amended by:                  a waiver of inadmissibility in
                                              benefit-granting agency. If DHS                         ■   a. Adding paragraph (a)(3)(iv),                   accordance with 8 CFR 212.18 or


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                                              214.11(j). Where the alien establishes                  § 248.1   Eligibility.                                the procedures set forth in 8 CFR
                                              that the victimization was a central                      (a) General. Except for those classes               214.15(f) and 214.14, respectively.
                                              reason for the applicant’s unlawful                     enumerated in § 248.2 of this part, any                  (b) Decision in change of status
                                              presence in the United States, section                  alien lawfully admitted to the United                 proceedings. Where an applicant or
                                              212(a)(9)(B)(iii) of the Act is not                     States as a nonimmigrant, including an                petitioner demonstrates eligibility for a
                                              applicable, and the applicant need not                  alien who acquired such status in                     requested change of status, it may be
                                              obtain a waiver of that ground of                       accordance with section 247 of the Act                granted at the discretion of DHS. There
                                              inadmissibility. The alien, however,                    who is continuing to maintain his or her              is no appeal from the denial of an
                                              must submit with the Form I–485                         nonimmigrant status, may apply to have                application for change of status.
                                              evidence sufficient to demonstrate that                 his or her nonimmigrant classification
                                                                                                                                                               (c) * * *
                                              the victimization suffered was a central                changed to any nonimmigrant
                                              reason for the unlawful presence in the                 classification other than that of a spouse               (4) As a condition for approval, an
                                              United States. To qualify for this                      or fiance(e), or the child of such alien,             alien seeking to change nonimmigrant
                                              exception, the victimization need not be                under section 101(a)(15)(K) of the Act or             classification must demonstrate that he
                                              the sole reason for the unlawful                        as an alien in transit under section                  or she has not received, since obtaining
                                              presence but the nexus between the                      101(a)(15)(C) of the Act. Except where                the nonimmigrant status from which he
                                              victimization and the unlawful presence                 the nonimmigrant classification to                    or she seeks to change, one or more
                                              must be more than tangential,                           which the alien seeks to change is                    public benefits, as defined in 8 CFR
                                              incidental, or superficial.                             exempted by law or regulation from                    212.21(b), for more than 12 months in
                                                                                                      section 212(a)(4) of the Act, as a                    the aggregate within any 36-month
                                              PART 248—CHANGE OF                                      condition for approval of a change of                 period (such that, for instance, receipt of
                                              NONIMMIGRANT CLASSIFICATION                             nonimmigrant status, the alien must                   two benefits in one month counts as two
                                                                                                      demonstrate that he or she has not                    months). For purposes of this
                                              ■ 15. The authority citation for part 248               received since obtaining the                          determination, DHS will only consider
                                              continues to read as follows:                           nonimmigrant status from which he or                  public benefits received on or after
                                                                                                      she seeks to change, public benefits, as              October 15, 2019 for petitions or
                                                Authority: 8 U.S.C. 1101, 1103, 1184, 1258;
                                              8 CFR part 2.                                           described in 8 CFR 212.21(b), for more                applications postmarked (or, if
                                                                                                      than 12 months in the aggregate within                applicable, submitted electronically) on
                                              ■ 16. Section 248.1 is amended by:                      any 36-month period (such that, for                   or after that date. This provision does
                                              ■ a. Revising paragraph (a);                            instance, receipt of two benefits in one              not apply to classes of nonimmigrants
                                              ■ b. Redesignating paragraphs (b)                       month counts as two months). DHS will                 who are explicitly exempt by law or
                                              through (e) as paragraphs (c) through (f),              only consider public benefits received                regulation from section 212(a)(4) of the
                                              respectively; and                                       on or after October 15, 2019 for petitions            Act.
                                                                                                      or applications postmarked (or, if                    *      *     *    *     *
                                              ■ c. Adding a new paragraph (b); and
                                                                                                      applicable, submitted electronically) on
                                              ■ d. Revising newly redesignated                        or after that date . An alien defined by              Kevin K. McAleenan,
                                              paragraph (c)(4).                                       section 101(a)(15)(V) or 101(a)(15)(U) of             Acting Secretary of Homeland Security.
                                                The revisions and additions read as                   the Act may be accorded nonimmigrant                  [FR Doc. 2019–17142 Filed 8–12–19; 8:45 am]
                                              follows:                                                status in the United States by following              BILLING CODE 9111–97–P
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